Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 1 of 494 Page ID
                                 #:1881




                  EXHIBIT A
                Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 2 of 494 Page ID
                                                 #:1882

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                Trademark/Service Mark Statement of Use
                                                      (15 U.S.C. Section 1051(d))


                                                    The table below presents the data as entered.

                                      Input Field                                                 Entered
             SERIAL NUMBER                                      77698591
             LAW OFFICE ASSIGNED                                LAW OFFICE 108
             EXTENSION OF USE                                   NO
             MARK SECTION
             MARK                                               http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=77698591
             LITERAL ELEMENT                                    ROGUE
             STANDARD CHARACTERS                                YES
             USPTO-GENERATED IMAGE                              YES
                                                                The mark consists of standard characters, without claim to any particular
             MARK STATEMENT
                                                                font style, size or color.
             OWNER SECTION (current)
             NAME                                               RML Jackson, LLC
             STREET                                             8899 Beverly Blvd., Suite 510
             CITY                                               Los Angeles
             STATE                                              California
             ZIP/POSTAL CODE                                    90048
             COUNTRY                                            United States
             PHONE                                              310.859.1250
             FAX                                                310.859.1254
             OWNER SECTION (proposed)
             NAME                                               RML Jackson, LLC
             STREET                                             9242 Beverly Blvd., Suite 300
             CITY                                               Beverly Hills
             STATE                                              California
             ZIP/POSTAL CODE                                    90210
             COUNTRY                                            United States
             PHONE

             FAX

             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                009
                                                                Cinematographic films featuring a wide variety of themes, namely, action,
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 3 of 494 Page ID
                                  #:1883

                                          adventure, family, mystery, news, war, film noir, comedy, drama, westerns,
                                          war, dance, crime, historical, biographical, suspense, thriller, fantasy,
                                          horror, sports, romance, reality, science fiction, educational, documentary,
                                          mockumentary, and animation topics; Computer software that provides
                                          web-based access to applications and services through a web operating
                                          system or portal interface; Digital media, namely, CDs, DVDs, high
                                          definition digital discs, and downloadable files featuring movies, television
                                          shows; Downloadable films and television programs featuring a wide
                                          variety of themes, namely, action, adventure, family, mystery, news, war,
                                          film noir, comedy, drama, westerns, war, dance, crime, historical,
                                          biographical, suspense, thriller, fantasy, horror, sports, romance, reality,
                                          science fiction, educational, documentary, mockumentary, exercise and
                                          fitness, health, religion, cooking, and animation topics provided via a video-
                                          on-demand service; Downloadable MP3 files and MP3 recordings featuring
                                          movies, television shows; Downloadable multimedia file containing
                                          artwork, text, audio, video, and Internet Web links relating to a wide variety
CURRENT IDENTIFICATION
                                          of themes, namely, action, adventure, family, mystery, news, war, film noir,
                                          comedy, drama, westerns, war, dance, crime, historical, biographical,
                                          suspense, thriller, fantasy, horror, sports, romance, reality, science fiction,
                                          educational, documentary, mockumentary, exercise and fitness, health,
                                          religion, cooking, and animation topics; Downloadable video recordings
                                          featuring movies, television shows; Downloadable movies, television
                                          shows, multimedia files containing text, audio, video, via the internet and
                                          wireless devices; Motion picture films about a wide variety of themes,
                                          namely, action, adventure, family, mystery, news, war, film noir, comedy,
                                          drama, westerns, war, dance, crime, historical, biographical, suspense,
                                          thriller, fantasy, horror, sports, romance, reality, science fiction,
                                          educational, documentary, mockumentary, and animation topics; Pre-
                                          recorded CDs, video tapes, laser disks and DVDs featuring movies and
                                          television shows; Pre-recorded digital media featuring movies, television
                                          shows; Pre-recorded electronic media featuring movies, television shows;
                                          Video discs featuring movies, television shows; Video recordings featuring
                                          movies, television shows
GOODS OR SERVICES                         KEEP ALL LISTED
FIRST USE ANYWHERE DATE                   00/00/2009
FIRST USE IN COMMERCE DATE                00/00/2009
                                          \\TICRS\EXPORT16\IMAGEOUT 16\776\985\77698591\xml7\
SPECIMEN FILE NAME(S)
                                          SOU0002.JPG
                                          \\TICRS\EXPORT16\IMAGEOUT 16\776\985\77698591\xml7\
                                          SOU0003.JPG
                                          \\TICRS\EXPORT16\IMAGEOUT 16\776\985\77698591\xml7\
                                          SOU0004.JPG
SPECIMEN DESCRIPTION                      photos of DVD case
REQUEST TO DIVIDE                         NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE                  1
SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   100
TOTAL AMOUNT                              100
SIGNATURE SECTION
DECLARATION SIGNATURE                     /cag/
SIGNATORY'S NAME                          Carol A. Genis
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 4 of 494 Page ID
                                  #:1884

SIGNATORY'S POSITION           Attorney of record, Illinois bar member
DATE SIGNED                    01/15/2014
FILING INFORMATION
SUBMIT DATE                    Wed Jan 15 10:48:44 EST 2014
                               USPTO/SOU-XXX.XXX.XX.X-20
                               140115104844346296-776985
                               91-500bd6df280a7ae1a4d05f
TEAS STAMP
                               b9182bb769a780c479d26f8b6
                               1c581d96fbc51ce4d5-DA-824
                               2-20140113151808944317
                Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 5 of 494 Page ID
                                                 #:1885
PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                              Trademark/Service Mark Statement of Use
                                                    (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: ROGUE(Standard Characters, see http://tess2.uspto.gov/ImageAgent/ImageAgentProxy?getImage=77698591)
SERIAL NUMBER: 77698591



The applicant, RML Jackson, LLC, having an address of
    9242 Beverly Blvd., Suite 300
    Beverly Hills, California 90210
    United States
is submitting the following allegation of use information:

For International Class 009:
Current identification: Cinematographic films featuring a wide variety of themes, namely, action, adventure, family, mystery, news, war, film
noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, sports, romance, reality, science
fiction, educational, documentary, mockumentary, and animation topics; Computer software that provides web-based access to applications and
services through a web operating system or portal interface; Digital media, namely, CDs, DVDs, high definition digital discs, and downloadable
files featuring movies, television shows; Downloadable films and television programs featuring a wide variety of themes, namely, action,
adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
horror, sports, romance, reality, science fiction, educational, documentary, mockumentary, exercise and fitness, health, religion, cooking, and
animation topics provided via a video-on-demand service; Downloadable MP3 files and MP3 recordings featuring movies, television shows;
Downloadable multimedia file containing artwork, text, audio, video, and Internet Web links relating to a wide variety of themes, namely, action,
adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
horror, sports, romance, reality, science fiction, educational, documentary, mockumentary, exercise and fitness, health, religion, cooking, and
animation topics; Downloadable video recordings featuring movies, television shows; Downloadable movies, television shows, multimedia files
containing text, audio, video, via the internet and wireless devices; Motion picture films aabout a wide variety of themes, namely, action,
adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
horror, sports, romance, reality, science fiction, educational, documentary, mockumentary, and animation topics; Pre-recorded CDs, video tapes,
laser disks and DVDs featuring movies and television shows; Pre-recorded digital media featuring movies, television shows; Pre-recorded
electronic media featuring movies, television shows; Video discs featuring movies, television shows; Video recordings featuring movies,
television shows

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 00/00/2009,
and first used in commerce at least as early as 00/00/2009, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) photos of DVD case.
Specimen File1
Specimen File2
Specimen File3


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                   Declaration

Applicant requests registration of the above-identified trademark/service mark in the United States Patent and Trademark Office on the Principal
Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq., as amended). Applicant is the owner of the mark sought to be
registered, and is using the mark in commerce on or in connection with the goods/services identified above, as evidenced by the attached
          Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 6 of 494 Page ID
                                           #:1886

specimen(s) showing the mark as used in commerce.

The undersigned, being hereby warned that willful false statements and the like so made are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements may jeopardize the validity of the form or any resulting registration, declares that
he/she is properly authorized to execute this form on behalf of the applicant; he/she believes the applicant to be the owner of the
trademark/service mark sought to be registered; and that all statements made of his/her own knowledge are true; and that all statements made on
information and belief are believed to be true.


Signature: /cag/    Date Signed: 01/15/2014
Signatory's Name: Carol A. Genis
Signatory's Position: Attorney of record, Illinois bar member

RAM Sale Number: 77698591
RAM Accounting Date: 01/15/2014

Serial Number: 77698591
Internet Transmission Date: Wed Jan 15 10:48:44 EST 2014
TEAS Stamp: USPTO/SOU-XXX.XXX.XX.X-20140115104844346
296-77698591-500bd6df280a7ae1a4d05fb9182
bb769a780c479d26f8b61c581d96fbc51ce4d5-D
A-8242-20140113151808944317
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 7 of 494 Page ID
                                 #:1887
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 8 of 494 Page ID
                                 #:1888
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 9 of 494 Page ID
                                 #:1889
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 10 of 494 Page ID
                                  #:1890
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 11 of 494 Page ID
                                  #:1891




                   EXHIBIT B
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 12 of 494 Page ID
                                                 #:1892

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


                       Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                     The table below presents the data as entered.

                                     Input Field                                                                 Entered
             REGISTRATION NUMBER                                       4514831
             REGISTRATION DATE                                         04/15/2014
             SERIAL NUMBER                                             77698591
             MARK SECTION
             MARK                                                      ROGUE (see, https://tmng-al.uspto.gov/resting2/api/img/77698591/large)
             ATTORNEY SECTION (no change)
             NAME                                                      Cydney A. Tune
             FIRM NAME                                                 PILLSBURY WINTHROP SHAW PITTMAN LLP
             STREET                                                    P.O. BOX 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                      Yes
             DOCKET/REFERENCE NUMBER                                   53481-502562
             CORRESPONDENCE SECTION (no change)
             NAME                                                      Cydney A. Tune
             FIRM NAME                                                 PILLSBURY WINTHROP SHAW PITTMAN LLP
             STREET                                                    P.O. BOX 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                      Yes
             DOCKET/REFERENCE NUMBER                                   53481-502562
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 13 of 494 Page ID
                                   #:1893

GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                    009

                                       Computer software that provides web-based access to applications and
                                       services through a web operating system or portal interface; television
                                       shows; television programs; television shows; Internet Web links; television
GOODS OR SERVICES TO BE DELETED
                                       shows; television shows; video tapes, laser disks; television shows; television
                                       shows; television shows; Video discs featuring movies, television shows;
                                       television shows
                                       Cinematographic films featuring a wide variety of themes, namely, action,
                                       adventure, family, mystery, news, war, film noir, comedy, drama, westerns,
                                       war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror,
                                       sports, romance, reality, science fiction, educational, documentary,
                                       mockumentary, and animation topics; Digital media, namely, CDs, DVDs,
                                       high definition digital discs, and downloadable files featuring movies;
                                       Downloadable films featuring a wide variety of themes, namely, action,
                                       adventure, family, mystery, news, war, film noir, comedy, drama, westerns,
                                       war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror,
                                       sports, romance, reality, science fiction, educational, documentary,
                                       mockumentary, exercise and fitness, health, religion, cooking, and animation
                                       topics provided via a video-on-demand service; Downloadable MP3 files and
                                       MP3 recordings featuring movies; Downloadable multimedia file containing
                                       artwork, text, audio, and video relating to a wide variety of themes, namely,
GOODS OR SERVICES IN USE IN COMMERCE
                                       action, adventure, family, mystery, news, war, film noir, comedy, drama,
                                       westerns, war, dance, crime, historical, biographical, suspense, thriller,
                                       fantasy, horror, sports, romance, reality, science fiction, educational,
                                       documentary, mockumentary, exercise and fitness, health, religion, cooking,
                                       and animation topics; Downloadable video recordings featuring movies;
                                       Downloadable movies, multimedia files containing text, audio, video, via the
                                       internet and wireless devices; Motion picture films about a wide variety of
                                       themes, namely, action, adventure, family, mystery, news, war, film noir,
                                       comedy, drama, westerns, war, dance, crime, historical, biographical,
                                       suspense, thriller, fantasy, horror, sports, romance, reality, science fiction,
                                       educational, documentary, mockumentary, and animation topics; Pre-
                                       recorded CDs and DVDs featuring movies; Pre-recorded digital media
                                       featuring movies; Pre-recorded electronic media featuring movies; Video
                                       recordings featuring movies
  SPECIMEN FILE NAME(S)

                                       SPN0-20422723018-20190710203500593395_._Specimen_-_ROGUE_-
  ORIGINAL PDF FILE
                                       _Class_9.pdf
  CONVERTED PDF FILE(S)
  (4 pages)
                                       \\TICRS\EXPORT17\IMAGEOUT17\776\985\77698591\xml3\8150002.JPG

                                       \\TICRS\EXPORT17\IMAGEOUT17\776\985\77698591\xml3\8150003.JPG
                                       \\TICRS\EXPORT17\IMAGEOUT17\776\985\77698591\xml3\8150004.JPG
                                       \\TICRS\EXPORT17\IMAGEOUT17\776\985\77698591\xml3\8150005.JPG
                                       screenshots of film credits and from webpages showing how to purchase and
SPECIMEN DESCRIPTION
                                       download the films
OWNER SECTION (current)
NAME                                   UV RML NL ASSETS LLC
INTERNAL ADDRESS                       660 MADISON AVENUE
STREET                                 15TH FLOOR
CITY                                   NEW YORK
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 14 of 494 Page ID
                                   #:1894

STATE                                     New York
ZIP/POSTAL CODE                           10065
COUNTRY                                   United States
LEGAL ENTITY SECTION (current)
TYPE                                      limited liability company
STATE/COUNTRY WHERE LEGALLY ORGANIZED     Delaware
PAYMENT SECTION
NUMBER OF CLASSES                         1
NUMBER OF CLASSES PAID                    1
COMBINED §§ 8 & 15 FILING FEE PER CLASS   325
TOTAL FEE PAID                            325
SIGNATURE SECTION
SIGNATURE                                 /Sam E. Iverson/
SIGNATORY'S NAME                          Sam E. Iverson
SIGNATORY'S POSITION                      Attorney of record, California bar member
DATE SIGNED                               07/10/2019
SIGNATORY'S PHONE NUMBER                  415-983-1234
PAYMENT METHOD                            DA
                                          FILING INFORMATION
SUBMIT DATE                               Wed Jul 10 20:49:23 EDT 2019
                                          USPTO/S08N15-XXX.XXX.XXX.
                                          XX-20190710204923799870-4
                                          514831-62059374fbb01f4cda
TEAS STAMP
                                          42c16271b699d4061f259e547
                                          e7573d9bc3e7e68fedc84-DA-
                                          6528-20190710203500593395
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 15 of 494 Page ID
                                                 #:1895

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PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4514831
REGISTRATION DATE: 04/15/2014

MARK: ROGUE

The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address of
     660 MADISON AVENUE
     15TH FLOOR
     NEW YORK, New York 10065
     United States
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 009, this filing does NOT cover the following goods or services for this specific class listed in the registration, and these
goods or services are to be permanently deleted from the registration: Computer software that provides web-based access to applications and
services through a web operating system or portal interface; television shows; television programs; television shows; Internet Web links;
television shows; television shows; video tapes, laser disks; television shows; television shows; television shows; Video discs featuring movies,
television shows; television shows

The mark is in use in commerce on or in connection with the following goods or services listed in the existing registration for this specific class:
Cinematographic films featuring a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama,
westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, sports, romance, reality, science fiction, educational,
documentary, mockumentary, and animation topics; Digital media, namely, CDs, DVDs, high definition digital discs, and downloadable files
featuring movies; Downloadable films ffeaturing a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir,
comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, sports, romance, reality, science fiction,
educational, documentary, mockumentary, exercise and fitness, health, religion, cooking, and animation topics provided via a video-on-demand
service; Downloadable MP3 files and MP3 recordings featuring movies; Downloadable multimedia file containing artwork, text, audio, and
video relating to a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war,
dance, crime, historical, biographical, suspense, thriller, fantasy, horror, sports, romance, reality, science fiction, educational, documentary,
mockumentary, exercise and fitness, health, religion, cooking, and animation topics; Downloadable video recordings featuring movies;
Downloadable movies, multimedia files containing text, audio, video, via the internet and wireless devices; Motion picture films about a wide
variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical,
biographical, suspense, thriller, fantasy, horror, sports, romance, reality, science fiction, educational, documentary, mockumentary, and animation
topics; Pre-recorded CDs and DVDs featuring movies; Pre-recorded digital media featuring movies; Pre-recorded electronic media featuring
movies; Video recordings featuring movies

For the remaining goods or services, the mark has been continuously used in commerce for five (5) consecutive years after the date of
registration, or the date of publication under Section 12(c), and is still in use in commerce on or in connection with these goods or services. Also,
no final decision adverse to the owner's claim of ownership of such mark for those goods or services exists, or to the owner's right to register the
same or to keep the same on the register; and, no proceeding involving said rights pending and not disposed of in either the U.S. Patent and
Trademark Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) screenshots of film credits and from webpages showing how to purchase and download the films.

Original PDF file:
SPN0-20422723018-20190710203500593395_._Specimen_-_ROGUE_-_Class_9.pdf
Converted PDF file(s) (4 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 16 of 494 Page ID
                                           #:1896

A fee payment in the amount of $325 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                 Declaration
        Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
        or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
        Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
        connection with the goods/services/collective membership organization.
        The mark has been in continuous use in commerce for five consecutive years after the date of registration, or the date of publication
        under 15 U.S.C. § 1062(c), and is still in use in commerce on or in connection with all goods/services, or to indicate membership in the
        collective membership organization, listed in the existing registration.
        There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or to indicate
        membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the register.
        There is no proceeding involving said rights pending and not finally disposed of either in the United States Patent and Trademark Office
        or in a court.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Sam E. Iverson/ Date: 07/10/2019
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California bar member
Signatory's Phone: 415-983-1234

Mailing Address:
 PILLSBURY WINTHROP SHAW PITTMAN LLP
 P.O. BOX 2824
 San Francisco, California 94126-2824

Serial Number: 77698591
Internet Transmission Date: Wed Jul 10 20:49:23 EDT 2019
TEAS Stamp: USPTO/S08N15-XXX.XXX.XXX.XX-201907102049
23799870-4514831-62059374fbb01f4cda42c16
271b699d4061f259e547e7573d9bc3e7e68fedc8
4-DA-6528-20190710203500593395
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 17 of 494 Page ID
                                  #:1897
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 18 of 494 Page ID
                                  #:1898
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 19 of 494 Page ID
                                  #:1899
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 20 of 494 Page ID
                                  #:1900
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 21 of 494 Page ID
                                  #:1901
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 22 of 494 Page ID
                                  #:1902




                   EXHIBIT C
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 23 of 494 Page ID
                                                 #:1903

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                    Trademark/Service Mark Statement of Use
                                                          (15 U.S.C. Section 1051(d))


                                                       The table below presents the data as entered.

                                      Input Field                                                  Entered
             SERIAL NUMBER                                85202077
             LAW OFFICE ASSIGNED                          LAW OFFICE 101
             EXTENSION OF USE                             NO
             MARK SECTION
             MARK                                         http://tsdr.uspto.gov/img/85202077/large
             LITERAL ELEMENT                              ROGUE PICTURES
             STANDARD CHARACTERS                          YES
             USPTO-GENERATED IMAGE                        YES
                                                          The mark consists of standard characters, without claim to any particular font style,
             MARK STATEMENT
                                                          size or color.
             OWNER SECTION (current)
             NAME                                         Relativity Rogue, LLC
             CITY                                         Beverly Hills
             STATE                                        California
             ZIP/POSTAL CODE                              90210
             COUNTRY                                      United States
             OWNER SECTION (proposed)
             NAME                                         Relativity Rogue, LLC
             STREET                                       9242 Beverly Boulevard, Suite 300
             CITY                                         Beverly Hills
             STATE                                        California
             ZIP/POSTAL CODE                              90210
             COUNTRY                                      United States
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                          009
                                                          Audio recordings featuring music; Cinematographic films featuring a wide variety of
                                                          themes, namely, action, adventure, family, mystery, news, war, film noir, comedy,
                                                          drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
                                                          horror, music, sports, musicals, romance, reality, science fiction, educational,
                                                          documentary, mockumentary, and animation topics; Compact discs featuring music;
                                                          Computer game software; Computer programs for video and computer games;
                                                          Computer software featuring musical sound recordings and musical video recordings;
                                                          Computer software that provides web-based access to applications and services through
                                                          a web operating system or portal interface; Digital media, namely, CDs, DVDs, high
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                                   #:1904

                                 definition digital discs, and downloadable files featuring movies, television shows,
                                 computer games and music; Digital music downloadable from the Internet;
                                 Downloadable films and television programs featuring a wide variety of themes,
                                 namely, action, adventure, family, mystery, news, war, film noir, comedy, drama,
                                 westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror,
                                 music, sports, musicals, romance, reality, science fiction, educational, documentary,
                                 mockumentary, exercise and fitness, health, religion, cooking, and animation topics
                                 provided via a video-on-demand service; Downloadable MP3 files and MP3 recordings
                                 featuring movies, television shows, games and music; Downloadable multimedia file
CURRENT IDENTIFICATION           containing artwork, text, audio, video, games, and Internet Web links relating to a wide
                                 variety of themes; Downloadable musical sound recordings; Downloadable ring tones
                                 for mobile phones; Downloadable video recordings featuring movies, television shows,
                                 games and music; Downloadable movies, television shows, multimedia files containing
                                 text, audio, video, games and music via the internet and wireless devices; DVDs
                                 featuring movies, television shows, games and music; Electronic game programs;
                                 Electronic game software; Game software; Interactive multimedia computer game
                                 program; Interactive video game programs; Motion picture films about a wide variety
                                 of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy,
                                 drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
                                 horror, music, sports, musicals, romance, reality, science fiction, educational,
                                 documentary, mockumentary, and animation topics; Musical sound recordings;
                                 Musical video recordings; Pre-recorded CDs, video tapes, laser disks and DVDs
                                 featuring movies, television shows, games and music; Pre-recorded digital media
                                 featuring movies, television shows, games and music; Pre-recorded electronic media
                                 featuring movies, television shows, games and music; Sunglasses; Video and computer
                                 game programs; Video discs featuring movies, television shows, video games and
                                 music; Video game cartridges and discs; Video game software; Video recordings
                                 featuring movies, television shows, games and music; Virtual reality game software
                                 Audio recordings featuring music; Compact discs featuring music; Computer game
                                 software; Computer programs for video and computer games; Computer software
                                 featuring musical sound recordings and musical video recordings; Computer software
                                 that provides web-based access to applications and services through a web operating
                                 system or portal interface; CDs, television shows, computer games and music; Digital
                                 music downloadable from the Internet; television programs, television shows, games
                                 and music; Downloadable multimedia file containing artwork, text, audio, video,
                                 games, and Internet Web links relating to a wide variety of themes; Downloadable
GOODS OR SERVICES DELETED FROM   musical sound recordings; Downloadable ring tones for mobile phones; television
THE APPLICATION                  shows, games and music; television shows, multimedia files containing text, audio,
                                 video, games and music, television shows, games and music; Electronic game
                                 programs; Electronic game software; Game software; Interactive multimedia computer
                                 game program; Interactive video game programs; Musical sound recordings; Musical
                                 video recordings; CDs, video tapes, laser disks and television shows, games and music;
                                 television shows, games and music; television shows, games and music; Sunglasses;
                                 Video and computer game programs; television shows, video games and music; Video
                                 game cartridges and discs; Video game software; television shows, games and music;
                                 Virtual reality game software
                                 Cinematographic films featuring a wide variety of themes, namely, action, adventure,
                                 family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime,
                                 historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals,
                                 romance, reality, science fiction, educational, documentary, mockumentary, and
                                 animation topics; Digital media, namely DVDs, high definition digital discs, and
                                 downloadable files featuring movies, Downloadable films featuring a wide variety of
                                 themes, namely, action, adventure, family, mystery, news, war, film noir, comedy,
                                 drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
                                 horror, music, sports, musicals, romance, reality, science fiction, educational,
GOODS OR SERVICES IN USE IN      documentary, mockumentary, exercise and fitness, health, religion, cooking, and
COMMERCE                         animation topics provided via a video-on-demand service; Downloadable MP3 files
                                 and MP3 recordings featuring movies; Downloadable video recordings featuring
                                 movies; Downloadable movies via the internet and wireless devices; DVDs featuring
                                 movies; Motion picture films about a wide variety of themes, namely, action,
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                                   #:1905

                                 adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance,
                                 crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports,
                                 musicals, romance, reality, science fiction, educational, documentary, mockumentary,
                                 and animation topics; Pre-recorded DVDs featuring movies; Pre-recorded digital media
                                 featuring movies; Pre-recorded electronic media featuring movies; Video discs
                                 featuring movies; Video recordings featuring movies
FIRST USE ANYWHERE DATE          10/00/1998
FIRST USE IN COMMERCE DATE       10/00/1998
SPECIMEN FILE NAME(S)

  ORIGINAL PDF FILE              SPN0-205149229-20150205120218144047_._Specimen_for_ROGUE_PICTURES.pdf
  CONVERTED PDF FILE(S)
                                 \\TICRS\EXPORT16\IMAGEOUT16\852\020\85202077\xml16\SOU0002.JPG
  (4 pages)

                                 \\TICRS\EXPORT16\IMAGEOUT16\852\020\85202077\xml16\SOU0003.JPG
                                 \\TICRS\EXPORT16\IMAGEOUT16\852\020\85202077\xml16\SOU0004.JPG
                                 \\TICRS\EXPORT16\IMAGEOUT16\852\020\85202077\xml16\SOU0005.JPG
SPECIMEN DESCRIPTION             online page showing downloadable movies and music
REQUEST TO DIVIDE                NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE         1
SUBTOTAL AMOUNT [ALLEGATION OF
                                 100
USE FEE]

TOTAL AMOUNT                     100
SIGNATURE SECTION
DECLARATION SIGNATURE            /Kathryn Starshak/
SIGNATORY'S NAME                 Kathryn Starshak
SIGNATORY'S POSITION             Attorney of record, Illinois bar member
DATE SIGNED                      02/05/2015
SIGNATORY'S PHONE NUMBER         312-781-6013
FILING INFORMATION
SUBMIT DATE                      Fri Feb 06 10:32:09 EST 2015
                                 USPTO/SOU-XXX.XXX.XX.X-20
                                 150206103209237990-852020
                                 77-53027ed2d82e6d71f298ab
TEAS STAMP
                                 cbd5968634020b9f096b55527
                                 3979c0a1aec614a3060-DA-86
                                 64-20150205120218144047
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 26 of 494 Page ID
                                                 #:1906
PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                              Trademark/Service Mark Statement of Use
                                                    (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: ROGUE PICTURES(Standard Characters, see http://tsdr.uspto.gov/img/85202077/large)
SERIAL NUMBER: 85202077



The applicant, Relativity Rogue, LLC, having an address of
    9242 Beverly Boulevard, Suite 300
    Beverly Hills, California 90210
    United States
is submitting the following allegation of use information:

For International Class 009:
Current identification: Audio recordings featuring music; Cinematographic films featuring a wide variety of themes, namely, action, adventure,
family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror,
music, sports, musicals, romance, reality, science fiction, educational, documentary, mockumentary, and animation topics; Compact discs
featuring music; Computer game software; Computer programs for video and computer games; Computer software featuring musical sound
recordings and musical video recordings; Computer software that provides web-based access to applications and services through a web
operating system or portal interface; Digital media, namely, CDs, DVDs, high definition digital discs, and downloadable files featuring movies,
television shows, computer games and music; Digital music downloadable from the Internet; Downloadable films and television programs
featuring a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance,
crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals, romance, reality, science fiction, educational,
documentary, mockumentary, exercise and fitness, health, religion, cooking, and animation topics provided via a video-on-demand service;
Downloadable MP3 files and MP3 recordings featuring movies, television shows, games and music; Downloadable multimedia file containing
artwork, text, audio, video, games, and Internet Web links relating to a wide variety of themes; Downloadable musical sound recordings;
Downloadable ring tones for mobile phones; Downloadable video recordings featuring movies, television shows, games and music;
Downloadable movies, television shows, multimedia files containing text, audio, video, games and music via the internet and wireless devices;
DVDs featuring movies, television shows, games and music; Electronic game programs; Electronic game software; Game software; Interactive
multimedia computer game program; Interactive video game programs; Motion picture films about a wide variety of themes, namely, action,
adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
horror, music, sports, musicals, romance, reality, science fiction, educational, documentary, mockumentary, and animation topics; Musical sound
recordings; Musical video recordings; Pre-recorded CDs, video tapes, laser disks and DVDs featuring movies, television shows, games and
music; Pre-recorded digital media featuring movies, television shows, games and music; Pre-recorded electronic media featuring movies,
television shows, games and music; Sunglasses; Video and computer game programs; Video discs featuring movies, television shows, video
games and music; Video game cartridges and discs; Video game software; Video recordings featuring movies, television shows, games and
music; Virtual reality game software

This allegation of use does NOT cover the following goods/services listed in either the application or Notice of Allowance or as subsequently
modified for this specific class; these goods/services are permanently deleted: Audio recordings featuring music; Compact discs featuring
music; Computer game software; Computer programs for video and computer games; Computer software featuring musical sound recordings and
musical video recordings; Computer software that provides web-based access to applications and services through a web operating system or
portal interface; CDs, television shows, computer games and music; Digital music downloadable from the Internet; television programs,
television shows, games and music; Downloadable multimedia file containing artwork, text, audio, video, games, and Internet Web links relating
to a wide variety of themes; Downloadable musical sound recordings; Downloadable ring tones for mobile phones; television shows, games and
music; television shows, multimedia files containing text, audio, video, games and music, television shows, games and music; Electronic game
programs; Electronic game software; Game software; Interactive multimedia computer game program; Interactive video game programs; Musical
sound recordings; Musical video recordings; CDs, video tapes, laser disks and television shows, games and music; television shows, games and
music; television shows, games and music; Sunglasses; Video and computer game programs; television shows, video games and music; Video
game cartridges and discs; Video game software; television shows, games and music; Virtual reality game software

The mark is in use in commerce on or in connection with the following goods/services listed in either the application or Notice of Allowance or
as subsequently modified for this specific class: Cinematographic films featuring a wide variety of themes, namely, action, adventure, family,
mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, music,
sports, musicals, romance, reality, science fiction, educational, documentary, mockumentary, and animation topics; Digital media, namely DVDs,
high definition digital discs, and downloadable files featuring movies, Downloadable films featuring a wide variety of themes, namely, action,
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                                            #:1907

adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy,
horror, music, sports, musicals, romance, reality, science fiction, educational, documentary, mockumentary, exercise and fitness, health, religion,
cooking, and animation topics provided via a video-on-demand service; Downloadable MP3 files and MP3 recordings featuring movies;
Downloadable video recordings featuring movies; Downloadable movies via the internet and wireless devices; DVDs featuring movies; Motion
ppicture
  icture films about a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama, westerns, war,
 dance, crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals, romance, reality, science fiction, educational,
 documentary, mockumentary, and animation topics; Pre-recorded DVDs featuring movies; Pre-recorded digital media featuring movies; Pre-
 recorded electronic media featuring movies; Video discs featuring movies; Video recordings featuring movies
 The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 10/00/1998,
 and first used in commerce at least as early as 10/00/1998, and is now in use in such commerce. The applicant is submitting one specimen for the
 class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) online page showing downloadable
 movies and music.

Original PDF file:
SPN0-205149229-20150205120218144047_._Specimen_for_ROGUE_PICTURES.pdf
Converted PDF file(s) (4 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                    Declaration

STATEMENTS: The signatory believes that: if the applicant is filing the amendment to allege use under 15 U.S.C. Section 1051(c) or a
statement of use under 15 U.S.C. Section 1051(d), the applicant is the owner of the trademark/service mark sought to be registered; the applicant
or the applicant's related company or licensee is using the mark in commerce on or in connection with all the goods/services in the application or
notice of allowance, or as subsequently modified, and such use by the applicant's related company or licensee inures to the benefit of the
applicant; that to the best of the signatory's knowledge and belief, no other person has the right to use the mark in commerce, either in the
identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services of such other person, to cause
confusion or mistake, or to deceive; and the specimen(s) shows the mark as used on or in connection with the goods/services in commerce.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any
registration resulting therefrom, declares that all statements made of his/her own knowledge are true and that all statements made on information
and belief are believed to be true.


Signature: /Kathryn Starshak/ Date Signed: 02/05/2015
Signatory's Name: Kathryn Starshak
Signatory's Position: Attorney of record, Illinois bar member
Signatory's Phone: 312-781-6013

RAM Sale Number: 85202077
RAM Accounting Date: 02/06/2015

Serial Number: 85202077
Internet Transmission Date: Fri Feb 06 10:32:09 EST 2015
TEAS Stamp: USPTO/SOU-XXX.XXX.XX.X-20150206103209237
990-85202077-53027ed2d82e6d71f298abcbd59
68634020b9f096b555273979c0a1aec614a3060-
DA-8664-20150205120218144047
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 28 of 494 Page ID
                                  #:1908
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 29 of 494 Page ID
                                  #:1909
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 30 of 494 Page ID
                                  #:1910
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 31 of 494 Page ID
                                  #:1911
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 32 of 494 Page ID
                                  #:1912
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 33 of 494 Page ID
                                  #:1913




                   EXHIBIT D
                 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 34 of 494 Page ID
                                                   #:1914

PTO- 1583
Approved for use through 10/31/2021. OMB 0651-0055
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                          Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                                               The table below presents the data as entered.

                                                 Input Field                                                                                                 Entered
              REGISTRATION NUMBER                                                                           4712692
              REGISTRATION DATE                                                                             03/31/2015
              SERIAL NUMBER                                                                                 85202077
              MARK SECTION
              MARK                                                                                          ROGUE PICTURES (see, mark)
              ATTORNEY INFORMATION (current)
              NAME                                                                                          Michelle A. Cooke
              ATTORNEY BAR MEMBERSHIP NUMBER                                                                XXX
              YEAR OF ADMISSION                                                                             XXXX
              U.S. STATE/ COMMONWEALTH/ TERRITORY                                                           XX
              FIRM NAME                                                                                     Manatt, Phelps & Phillips, LLP
              STREET                                                                                        2049 Century Park East, Suite 1700
              CITY                                                                                          Los Angeles
              STATE                                                                                         California
              POSTAL CODE                                                                                   90067
              COUNTRY/REGION/JURISDICTION/U.S.
                                                                                                            United States
              TERRITORY

              PHONE                                                                                         310-312-4208
              FAX                                                                                           310-996-6942
              EMAIL                                                                                         MCooke@manatt.com
              DOCKET/REFERENCE NUMBER                                                                       65818-TBD
              ATTORNEY INFORMATION (proposed)
              NAME                                                                                          Michelle A. Cooke
              ATTORNEY BAR MEMBERSHIP NUMBER                                                                XXX
              YEAR OF ADMISSION                                                                             XXXX
              U.S. STATE/ COMMONWEALTH/ TERRITORY                                                           XX
              FIRM NAME                                                                                     Manatt, Phelps & Phillips, LLP
              STREET                                                                                        2049 Century Park East, Suite 1700
              CITY                                                                                          Los Angeles
              STATE                                                                                         California
              POSTAL CODE                                                                                   90067
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 35 of 494 Page ID
                                   #:1915
COUNTRY/REGION/JURISDICTION/U.S.
                                        United States
TERRITORY

PHONE                                   310-312-4208
FAX                                     310-996-6942
EMAIL                                   MCooke@manatt.com
DOCKET/REFERENCE NUMBER                 65818-043
                                        Jessica A. Wood, Irah H. Donner, Robert Becker, Charles Kertell, Samantha
OTHER APPOINTED ATTORNEY
                                        J. Katze
CORRESPONDENCE INFORMATION (current)
NAME                                    Michelle A. Cooke
PRIMARY EMAIL ADDRESS FOR
CORRESPONDENCE
                                        MCooke@manatt.com

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        MHopkins@manatt.com; JBurns@manatt.com; IPDocket@manatt.com
COPIES)

DOCKET/REFERENCE NUMBER                 65818-TBD
CORRESPONDENCE INFORMATION (proposed)
NAME                                    Michelle A. Cooke
PRIMARY EMAIL ADDRESS FOR
                                        MCooke@manatt.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        RRozen@manatt.com; JBurns@manatt.com; IPDocket@manatt.com
COPIES)

DOCKET/REFERENCE NUMBER                 65818-043
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                     009

                                        Downloadable MP3 files and MP3 recordings featuring movies; Video discs
GOODS OR SERVICES TO BE DELETED
                                        featuring movies
                                        Cinematographic films featuring a wide variety of themes, namely, action,
                                        adventure, family, mystery, news, war, film noir, comedy, drama, westerns,
                                        war, dance, crime, historical, biographical, suspense, thriller, fantasy,
                                        horror, music, sports, musicals, romance, reality, science fiction,
                                        educational, documentary, mockumentary, and animation topics; Digital
                                        media, namely, DVDs, high definition digital discs, and downloadable files
                                        featuring movies, Downloadable films featuring a wide variety of themes,
                                        namely, action, adventure, family, mystery, news, war, film noir, comedy,
                                        drama, westerns, war, dance, crime, historical, biographical, suspense,
                                        thriller, fantasy, horror, music, sports, musicals, romance, reality, science
                                        fiction, educational, documentary, mockumentary, exercise and fitness,
GOODS OR SERVICES IN USE IN COMMERCE
                                        health, religion, cooking, and animation topics provided via a video-on-
                                        demand service; Downloadable video recordings featuring movies;
                                        Downloadable movies via the internet and wireless devices; DVDs featuring
                                        movies; Motion picture films about a wide variety of themes, namely,
                                        action, adventure, family, mystery, news, war, film noir, comedy, drama,
                                        westerns, war, dance, crime, historical, biographical, suspense, thriller,
                                        fantasy, horror, music, sports, musicals, romance, reality, science fiction,
                                        educational, documentary, mockumentary, and animation topics; Pre-
                                        recorded DVDs featuring movies; Pre-recorded digital media featuring
                                        movies; Pre-recorded electronic media featuring movies; Video recordings
                                        featuring movies
  SPECIMEN FILE NAME(S)
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 36 of 494 Page ID
                                   #:1916

                                          SPN0-260017009e905b90f105 2d2a52b1aeed-202109161911
   ORIGINAL PDF FILE
                                          57449487_._ROGUE_PICTURES _-_Specimen.pdf

   CONVERTED PDF FILE(S)                  \\TICRS\EXPORT18\IMAGEOUT 18\852\020\85202077\xml3\
   (2 pages)                              8150002.JPG
                                          \\TICRS\EXPORT18\IMAGEOUT 18\852\020\85202077\xml3\
                                          8150003.JPG
                                          photos of DVD cover and close-up view of mark on the cover in use with
SPECIMEN DESCRIPTION
                                          the offered goods
   WEBPAGE URL                            None Provided
   WEBPAGE DATE OF ACCESS                 None Provided
OWNER SECTION (current)
NAME                                      UV RML NL ASSETS LLC
MAILING ADDRESS                           5900 Wilshire Blvd., 20th Floor
CITY                                      Los Angeles
STATE                                     California
ZIP/POSTAL CODE                           90036
COUNTRY/REGION/JURISDICTION/U.S.
                                          United States
TERRITORY

EMAIL                                     XXXX
OWNER SECTION (proposed)
NAME                                      UV RML NL ASSETS LLC
MAILING ADDRESS                           5900 Wilshire Blvd., 20th Floor
CITY                                      Los Angeles
STATE                                     California
ZIP/POSTAL CODE                           90036
COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                          United States

EMAIL                                     XXXX
LEGAL ENTITY SECTION (current)
TYPE                                      limited liability company
STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                          Delaware
TERRITORY WHERE LEGALLY ORGANIZED

PAYMENT SECTION
NUMBER OF CLASSES                         1
NUMBER OF CLASSES PAID                    1
COMBINED §§ 8 & 15 FILING FEE PER CLASS   425
GRACE PERIOD FEE FOR §8                   100
TOTAL FEE PAID                            525
SIGNATURE SECTION
SIGNATURE                                 /Alexis B Miron/
SIGNATORY'S NAME                          Lex Miron
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 37 of 494 Page ID
                                   #:1917

SIGNATORY'S POSITION            Chief Executive Officer
DATE SIGNED                     09/17/2021
SIGNATURE METHOD                Sent to third party for signature
PAYMENT METHOD                  DA
                              FILING INFORMATION
SUBMIT DATE                     Fri Sep 17 18:36:10 ET 2021
                                USPTO/S08N15-XXXX:XXXX:XX
                                XX:XXXX:XXXX:XXXX:XXXX:XX
                                XX-20210917183610273095-4
                                712692-781e5d19fca445fdd6
TEAS STAMP
                                9699faffba134a3d95e82fb66
                                865b6389acf1a8ff2ead7a-DA
                                -36084236-202109161911574
                                49487
                 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 38 of 494 Page ID
                                                   #:1918
PTO- 1583
Approved for use through 10/31/2021. OMB 0651-0055
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4712692
REGISTRATION DATE: 03/31/2015

MARK: ROGUE PICTURES

Current: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
   5900 Wilshire Blvd., 20th Floor
   Los Angeles, California 90036
   United States
   XXXX

Proposed: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
     5900 Wilshire Blvd., 20th Floor
     Los Angeles, California 90036
     United States
     XXXX
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class 009, this filing does NOT cover the following goods or services for this specific class listed in the registration, and these
goods or services are to be permanently deleted from the registration: Downloadable MP3 files and MP3 recordings featuring movies; Video
discs featuring movies

The mark is in use in commerce on or in connection with the following goods or services listed in the existing registration for this specific class:
Cinematographic films featuring a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy, drama,
westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals, romance, reality, science fiction,
educational, documentary, mockumentary, and animation topics; Digital media, namely, DVDs, high definition digital discs, and downloadable
files featuring movies, Downloadable films featuring a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir,
comedy, drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals, romance, reality,
science fiction, educational, documentary, mockumentary, exercise and fitness, health, religion, cooking, and animation topics provided via a
video-on-demand service; Downloadable video recordings featuring movies; Downloadable movies via the internet and wireless devices; DVDs
featuring movies; Motion picture films about a wide variety of themes, namely, action, adventure, family, mystery, news, war, film noir, comedy,
drama, westerns, war, dance, crime, historical, biographical, suspense, thriller, fantasy, horror, music, sports, musicals, romance, reality, science
fiction, educational, documentary, mockumentary, and animation topics; Pre-recorded DVDs featuring movies; Pre-recorded digital media
featuring movies; Pre-recorded electronic media featuring movies; Video recordings featuring movies

For the remaining goods or services, the mark has been continuously used in commerce for five (5) consecutive years after the date of
registration, or the date of publication under Section 12(c), and is still in use in commerce on or in connection with these goods or services. Also,
no final decision adverse to the owner's claim of ownership of such mark for those goods or services exists, or to the owner's right to register the
same or to keep the same on the register; and, no proceeding involving said rights pending and not disposed of in either the U.S. Patent and
Trademark Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) photos of DVD cover and close-up view of mark on the cover in use with the offered goods.

Original PDF file:
SPN0-260017009e905b90f105 2d2a52b1aeed-202109161911 57449487_._ROGUE_PICTURES _-_Specimen.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 39 of 494 Page ID
                                           #:1919

Webpage URL: None Provided
Webpage Date of Access: None Provided
The owner's/holder's current attorney information: Michelle A. Cooke. Michelle A. Cooke of Manatt, Phelps & Phillips, LLP, is a member of the
XX bar, admitted to the bar in XXXX, bar membership no. XXX, is located at

   2049 Century Park East, Suite 1700
   Los Angeles, California 90067
   United States
The docket/reference number is 65818-TBD.

The phone number is 310-312-4208.

The fax number is 310-996-6942.

The email address is MCooke@manatt.com

The owner's/holder's proposed attorney information: Michelle A. Cooke. Other appointed attorneys are Jessica A. Wood, Irah H. Donner, Robert
Becker, Charles Kertell, Samantha J. Katze. Michelle A. Cooke of Manatt, Phelps & Phillips, LLP, is a member of the XX bar, admitted to the
bar in XXXX, bar membership no. XXX, and the attorney(s) is located at

   2049 Century Park East, Suite 1700
   Los Angeles, California 90067
   United States
The docket/reference number is 65818-043.

The phone number is 310-312-4208.

The fax number is 310-996-6942.

The email address is MCooke@manatt.com

Michelle A. Cooke submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

Correspondence Information (current):
   Michelle A. Cooke
   PRIMARY EMAIL FOR CORRESPONDENCE: MCooke@manatt.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): MHopkins@manatt.com; JBurns@manatt.com; IPDocket@manatt.com

The docket/reference number is 65818-TBD.

Correspondence Information (proposed):
   Michelle A. Cooke
   PRIMARY EMAIL FOR CORRESPONDENCE: MCooke@manatt.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): RRozen@manatt.com; JBurns@manatt.com; IPDocket@manatt.com

The docket/reference number is 65818-043.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the owner/holder and the
owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark Electronic
Application System (TEAS).

A fee payment in the amount of $525 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                 Declaration
        Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
        or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
        Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
        connection with the goods/services/collective membership organization.
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 40 of 494 Page ID
                                           #:1920

        The mark has been in continuous use in commerce for five consecutive years after the date of registration, or the date of publication
        under 15 U.S.C. § 1062(c), and is still in use in commerce on or in connection with all goods/services, or to indicate membership in the
        collective membership organization, listed in the existing registration.
        There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or to indicate
        membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the register.
        There is no proceeding involving said rights pending and not finally disposed of either in the United States Patent and Trademark Office
        or in a court.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Alexis B Miron/ Date: 09/17/2021
Signatory's Name: Lex Miron
Signatory's Position: Chief Executive Officer
Signature method: Sent to third party for signature


Mailing Address (current):
 Manatt, Phelps & Phillips, LLP
 2049 Century Park East, Suite 1700
 Los Angeles, California 90067

Mailing Address (proposed):
 Manatt, Phelps & Phillips, LLP
 2049 Century Park East, Suite 1700
 Los Angeles, California 90067

Serial Number: 85202077
Internet Transmission Date: Fri Sep 17 18:36:10 ET 2021
TEAS Stamp: USPTO/S08N15-XXXX:XXXX:XXXX:XXXX:XXXX:XX
XX:XXXX:XXXX-20210917183610273095-471269
2-781e5d19fca445fdd69699faffba134a3d95e8
2fb66865b6389acf1a8ff2ead7a-DA-36084236-
20210916191157449487
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 41 of 494 Page ID
                                  #:1921
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 42 of 494 Page ID
                                  #:1922
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 43 of 494 Page ID
                                  #:1923
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 44 of 494 Page ID
                                  #:1924




                   EXHIBIT E
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 45 of 494 Page ID
                                                 #:1925

PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)


                                                    Trademark/Service Mark Statement of Use
                                                          (15 U.S.C. Section 1051(d))


                                                       The table below presents the data as entered.

                                      Input Field                                                    Entered
             SERIAL NUMBER                                       77698599
             LAW OFFICE ASSIGNED                                 LAW OFFICE 108
             EXTENSION OF USE                                    NO
             MARK SECTION
             MARK                                                http://tsdr.uspto.gov/img/77698599/large
             LITERAL ELEMENT                                     ROGUE
             STANDARD CHARACTERS                                 YES
             USPTO-GENERATED IMAGE                               YES
                                                                 The mark consists of standard characters, without claim to any particular font
             MARK STATEMENT
                                                                 style, size or color.
             OWNER SECTION
             NAME                                                RML Jackson, LLC
             STREET                                              9242 Beverly Boulevard, Suite 300
             CITY                                                Beverly Hills
             STATE                                               California
             ZIP/POSTAL CODE                                     90210
             COUNTRY                                             United States
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                 041
                                                                 Entertainment services, namely, production and distribution of motion picture
                                                                 films; cinema studios; cinema theaters, cinematographic adaptation and editing;
                                                                 direction of making radio or television programs; distribution of radio programs
             CURRENT IDENTIFICATION                              for others; distribution of television programming to cable television systems;
                                                                 production of radio or television programs; distribution of television programs
                                                                 for others; editing of radio and television programmes; providing advice and
                                                                 information for film concept and script development; film editing
                                                                 cinema theaters, direction of making radio programs, distribution of radio
             GOODS OR SERVICES DELETED FROM THE
             APPLICATION
                                                                 programs for others; production of radio programs; editing of radio
                                                                 programmes
                                                                 Entertainment services, namely, production and distribution of motion picture
                                                                 films; cinema studios; cinematographic adaptation and editing; direction of
                                                                 making television programs; distribution of television programming to cable
             GOODS OR SERVICES IN USE IN COMMERCE
                                                                 television systems; production of television programs; distribution of television
                                                                 programs for others; editing of television programmes; providing advice and
                                                                 information for film concept and script development; film editing
             FIRST USE ANYWHERE DATE                             10/00/1998
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 46 of 494 Page ID
                                   #:1926

FIRST USE IN COMMERCE DATE           10/00/1998
SPECIMEN FILE NAME(S)

  ORIGINAL PDF FILE                  SPN0-205149229-175739600_._1Specimen_for_ROGUE_-_Cl_2.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT16\IMAGEOUT16\776\985\77698599\xml10\SOU0002.JPG
  (2 pages)

                                     \\TICRS\EXPORT16\IMAGEOUT16\776\985\77698599\xml10\SOU0003.JPG
                                     SPN0-1-205149229-175739600_._1Specimen_for_ROGUE_in_Cl_41_-
  ORIGINAL PDF FILE
                                     __3.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT16\IMAGEOUT16\776\985\77698599\xml10\SOU0004.JPG
  (1 page)

  ORIGINAL PDF FILE                  SPN0-205149229-175739600_._1Specimen_for_ROGUE__Cl_41_.pdf
  CONVERTED PDF FILE(S)
                                     \\TICRS\EXPORT16\IMAGEOUT16\776\985\77698599\xml10\SOU0005.JPG
  (2 pages)

                                     \\TICRS\EXPORT16\IMAGEOUT16\776\985\77698599\xml10\SOU0006.JPG
SPECIMEN DESCRIPTION                 website pages
REQUEST TO DIVIDE                    NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE             1
SUBTOTAL AMOUNT [ALLEGATION OF USE
                                     100
FEE]

TOTAL AMOUNT                         100
SIGNATURE SECTION
DECLARATION SIGNATURE                /cag/
SIGNATORY'S NAME                     Carol A. Genis
SIGNATORY'S POSITION                 Attorney of record, Illinois bar member
DATE SIGNED                          04/29/2014
FILING INFORMATION
SUBMIT DATE                          Tue Apr 29 18:18:19 EDT 2014
                                     USPTO/SOU-XXX.XXX.XX.X-20
                                     140429181819690899-776985
                                     99-50035218af16d1f46377e6
TEAS STAMP
                                     1c1d07e55287c947938111630
                                     d53d66ae1513aacd84-DA-560
                                     0-20140429175739600011
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 47 of 494 Page ID
                                                 #:1927
PTO Form 1553 (Rev 9/2005)
OMB No. 0651-0054 (Exp. 10/31/2017)




                                              Trademark/Service Mark Statement of Use
                                                    (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: ROGUE(Standard Characters, see http://tsdr.uspto.gov/img/77698599/large)
SERIAL NUMBER: 77698599



The applicant, RML Jackson, LLC, having an address of
    9242 Beverly Boulevard, Suite 300
    Beverly Hills, California 90210
    United States
is submitting the following allegation of use information:

For International Class 041:
Current identification: Entertainment services, namely, production and distribution of motion picture films; cinema studios; cinema theaters,
cinematographic adaptation and editing; direction of making radio or television programs; distribution of radio programs for others; distribution
of television programming to cable television systems; production of radio or television programs; distribution of television programs for others;
editing of radio and television programmes; providing advice and information for film concept and script development; film editing

This allegation of use does NOT cover the following goods/services listed in either the application or Notice of Allowance or as subsequently
modified for this specific class; these goods/services are permanently deleted: cinema theaters, direction of making radio programs, distribution
of radio programs for others; production of radio programs; editing of radio programmes

The mark is in use in commerce on or in connection with the following goods/services listed in either the application or Notice of Allowance or
as subsequently modified for this specific class: Entertainment services, namely, production and distribution of motion picture films; cinema
studios; cinematographic adaptation and editing; direction of making television programs; distribution of television programming to cable
television systems; production of television programs; distribution of television programs for others; editing of television programmes; providing
advice and information for film concept and script development; film editing
The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 10/00/1998,
and first used in commerce at least as early as 10/00/1998, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) website pages.

Original PDF file:
SPN0-205149229-175739600_._1Specimen_for_ROGUE_-_Cl_2.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
Original PDF file:
SPN0-1-205149229-175739600_._1Specimen_for_ROGUE_in_Cl_41_-__3.pdf
Converted PDF file(s) (1 page)
Specimen File1
Original PDF file:
SPN0-205149229-175739600_._1Specimen_for_ROGUE__Cl_41_.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                   Declaration
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 48 of 494 Page ID
                                           #:1928

STATEMENTS: The signatory believes that: if the applicant is filing the amendment to allege use under 15 U.S.C. Section 1051(c) or a
statement of use under 15 U.S.C. Section 1051(d), the applicant is the owner of the trademark/service mark sought to be registered; the applicant
or the applicant's related company or licensee is using the mark in commerce on or in connection with all the goods/services in the application or
notice of allowance, or as subsequently modified, and such use by the applicant's related company or licensee inures to the benefit of the
applicant; that to the best of the signatory's knowledge and belief, no other person has the right to use the mark in commerce, either in the
identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services of such other person, to cause
confusion or mistake, or to deceive; and the specimen(s) shows the mark as used on or in connection with the goods/services in commerce.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
18 U.S.C. Section 1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any
registration resulting therefrom, declares that all statements made of his/her own knowledge are true and that all statements made on information
and belief are believed to be true.


Signature: /cag/    Date Signed: 04/29/2014
Signatory's Name: Carol A. Genis
Signatory's Position: Attorney of record, Illinois bar member

RAM Sale Number: 77698599
RAM Accounting Date: 04/30/2014

Serial Number: 77698599
Internet Transmission Date: Tue Apr 29 18:18:19 EDT 2014
TEAS Stamp: USPTO/SOU-XXX.XXX.XX.X-20140429181819690
899-77698599-50035218af16d1f46377e61c1d0
7e55287c947938111630d53d66ae1513aacd84-D
A-5600-20140429175739600011
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 49 of 494 Page ID
                                  #:1929
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 50 of 494 Page ID
                                  #:1930
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 51 of 494 Page ID
                                  #:1931
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 52 of 494 Page ID
                                  #:1932
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 53 of 494 Page ID
                                  #:1933
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 54 of 494 Page ID
                                  #:1934
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 55 of 494 Page ID
                                  #:1935




                   EXHIBIT F
  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 56 of 494 Page ID
                                    #:1936

Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8


                               The table below presents the data as entered.

                 Input Field                                               Entered
 REGISTRATION NUMBER                       4572598
 REGISTRATION DATE                         07/22/2014
 SERIAL NUMBER                             77698599
 MARK SECTION
 MARK                                      ROGUE (see, mark)
 ATTORNEY INFORMATION (current)
 NAME                                      Cydney A. Tune
 ATTORNEY BAR MEMBERSHIP NUMBER            NOT SPECIFIED

 YEAR OF ADMISSION                         NOT SPECIFIED

 U.S. STATE/ COMMONWEALTH/ TERRITORY       NOT SPECIFIED

 FIRM NAME                                 PILLSBURY WINTHROP SHAW PITTMAN LLP
 STREET                                    P.O. BOX 2824
 CITY                                      San Francisco
 STATE                                     California
 POSTAL CODE                               94126-2824
 COUNTRY/REGION/JURISDICTION/U.S.
                                           United States
 TERRITORY

 PHONE                                     415-983-6443
 FAX                                       415-983-1200
 EMAIL                                     sftrademarks@pillsburylaw.com
 DOCKET/REFERENCE NUMBER                   53481-502563
 ATTORNEY INFORMATION (proposed)
 NAME                                      Cydney A. Tune
 ATTORNEY BAR MEMBERSHIP NUMBER            XXX
 YEAR OF ADMISSION                         XXXX
 U.S. STATE/ COMMONWEALTH/ TERRITORY       XX
 FIRM NAME                                 PILLSBURY WINTHROP SHAW PITTMAN LLP
 STREET                                    P.O. BOX 2824
 CITY                                      San Francisco
 STATE                                     California
 POSTAL CODE                               94126-2824
 COUNTRY/REGION/JURISDICTION/U.S.
                                           United States
 TERRITORY

 PHONE                                     4159836443
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 57 of 494 Page ID
                                   #:1937

FAX                                     415-983-1200
EMAIL                                   sftrademarks@pillsburylaw.com
DOCKET/REFERENCE NUMBER                 53481-502563
                                        Laura C. Gustafson, Sam E. Iverson, all members of Pillsbury Winthrop
OTHER APPOINTED ATTORNEY
                                        Shaw Pittman LLP, and all other attorneys associated with that firm
CORRESPONDENCE INFORMATION (current)
NAME                                    Cydney A. Tune
PRIMARY EMAIL ADDRESS FOR
CORRESPONDENCE
                                        sftrademarks@pillsburylaw.com

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        NOT PROVIDED
COPIES)

DOCKET/REFERENCE NUMBER                 53481-502563
CORRESPONDENCE INFORMATION (proposed)
NAME                                    Cydney A. Tune
PRIMARY EMAIL ADDRESS FOR
                                        sftrademarks@pillsburylaw.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        NOT PROVIDED
COPIES)

DOCKET/REFERENCE NUMBER                 53481-502563
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                     041
                                        Entertainment services, namely, production and distribution of motion
                                        picture films; cinema studios; cinematographic adaptation and editing;
                                        direction of making television programs; distribution of television
GOODS OR SERVICES                       programming to cable television systems; production of television
                                        programs; distribution of television programs for others; editing of
                                        television programmes; providing advice and information for film concept
                                        and script development; film editing
                                        \\TICRS\EXPORT18\IMAGEOUT 18\776\985\77698599\xml1 \
SPECIMEN FILE NAME(S)
                                        S080002.JPG
                                        \\TICRS\EXPORT18\IMAGEOUT 18\776\985\77698599\xml1 \
                                        S080003.JPG
                                        screenshots of webpages showing films using mark in association with
SPECIMEN DESCRIPTION
                                        registered services
                                        The owner claims excusable nonuse only with respect to the following
                                        registered services: Cinematographic adaptation and editing; direction of
                                        making television programs; production of television programs; distribution
                                        of television programs for others; editing of television programmes; film
                                        editing. The owner claims use in commerce for, such that this explanation
                                        of excusable nonuse does not pertain to, the following registered services:
                                        Entertainment services, namely, production and distribution of motion
                                        picture films; cinema studios; distribution of television programming to
                                        cable television systems; providing advice and information for film concept
                                        and script development. With respect to the services for which the owner
                                        claims excusable nonuse, the previous owner stopped using the mark in
                                        connection with such services approximately around July 30, 2015 due to
                                        being forced to file for bankruptcy protection from circumstances beyond
                                        the owner's control. Specifically, between 2005 and 2010, a hedge fund (the
                                        "Hedge Fund") made a significant investment in the previous owner
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 58 of 494 Page ID
                                   #:1938

                                   ("Relativity"). In 2012, the Hedge Fund forced a buyout of its interest in
                                   Relativity. To satisfy this, Relativity borrowed another significant amount in
                                   debt and sold certain assets to the Hedge Fund, leaving Relativity in an
                                   over-leveraged, under-capitalized position. Thereafter, Relativity
                                   experienced severe liquidity constraints and increasing limitations imposed
                                   by forbearance agreements and new debt issuances. Eventually, with
                                   significant outstanding matured secured debt, and unable to finalize any
                                   further financing, Relativity was forced to file for bankruptcy protection.
                                   Relativity filed for bankruptcy protection on July 30, 2015 (the "First
                                   Bankruptcy"). Due to the constraints that led to the First Bankruptcy,
                                   Relativity was forced to suspend certain business operations around that
                                   time, which included the registered services for which the owner claims
EXCUSABLE NONUSE EXPLANATION       excusable nonuse. On February 8, 2016, the Bankruptcy Court entered an
                                   order, which became effective on April 14, 2016. From April 14, 2016
                                   through at least the Fall of 2017, Relativity engaged with a wide range of
                                   parties regarding a multitude of possible transactions, including: (a) for the
                                   equity raise, at least thirty-three high net worth individuals, companies
                                   and/or funds, (b) for the debt recapitalization, at least fourteen companies
                                   and/or funds, (c) for a sale of the film library, at least seven companies
                                   and/or funds, and (d) for an investment in the film production slate, at least
                                   three companies. Despite these efforts, only one potential transaction led to
                                   an investment in Relativity, yet the arrangement was never fully
                                   consummated. Accordingly, despite Relativity's efforts, Relativity was
                                   unable to secure the debt or equity capital necessary to execute on its
                                   business plan, and the size and scope of Relativity's business operations
                                   were severely curtailed. By May 2018, Relativity's work force had been
                                   reduced significantly. On May 3, 2018, Relativity filed for bankruptcy
                                   protection for the second time (the "Second Bankruptcy"). On February 26,
                                   2018, Relativity signed a restructuring support agreement with the new
                                   owner ("UltraV"), providing the framework for the sale of Relativity's assets
                                   to UltraV, which was eventually consummated on October 10, 2018. As a
                                   result of the First Bankruptcy, the Second Bankruptcy, Relativity's efforts to
                                   obtain financing and resume its business operations in between, and
                                   UltraV's ongoing efforts to reestablish its business operations since, UltraV
                                   has not yet resumed offering the registered services for which excusable
                                   nonuse is claimed under the ROGUE mark, but UltraV is continuing to take
                                   steps to resume use for those services and expects to resume use within the
                                   next twelve months. For the foregoing reasons, UltraV has shown special
                                   circumstances that justify and excuse the temporary nonuse of the registered
                                   mark for those services, and that UltraV is taking steps to resume use.
OWNER SECTION (current)
NAME                               UV RML NL ASSETS LLC
INTERNAL ADDRESS                   660 MADISON AVENUE
MAILING ADDRESS                    15TH FLOOR
CITY                               NEW YORK
STATE                              New York
ZIP/POSTAL CODE                    10065
COUNTRY/REGION/JURISDICTION/U.S.
                                   United States
TERRITORY

OWNER SECTION (proposed)
NAME                               UV RML NL ASSETS LLC
INTERNAL ADDRESS                   660 MADISON AVENUE
MAILING ADDRESS                    15TH FLOOR
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 59 of 494 Page ID
                                   #:1939

CITY                                      NEW YORK
STATE                                     New York
ZIP/POSTAL CODE                           10065
COUNTRY/REGION/JURISDICTION/U.S.
                                          United States
TERRITORY

EMAIL                                     XXXX
LEGAL ENTITY SECTION (current)
TYPE                                      limited liability company
STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                          Delaware
TERRITORY WHERE LEGALLY ORGANIZED

PAYMENT SECTION
NUMBER OF CLASSES                         1
NUMBER OF CLASSES PAID                    1
FILING § 8 AFFIDAVIT PER CLASS            125
TOTAL FEE PAID                            125
SIGNATURE SECTION
SIGNATURE                                 /Andrew W Levin/
SIGNATORY'S NAME                          Andrew W Levin
SIGNATORY'S POSITION                      General Counsel
DATE SIGNED                               07/22/2020
PAYMENT METHOD                            DA
                                         FILING INFORMATION
SUBMIT DATE                               Wed Jul 22 18:51:57 ET 2020
                                          USPTO/SECT08-XXX.XXX.XXX.
                                          X-20200722185157253066-45
                                          72598-7406c4c391ad193e057
TEAS STAMP                                4ead62abbe419d2ef9637c0c9
                                          b0d22de9dfcf23cafafa2-DA-
                                          51565388-2020072214084729
                                          9197
          Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 60 of 494 Page ID
                                            #:1940



             Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4572598
REGISTRATION DATE: 07/22/2014

MARK: ROGUE

Current: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
   15TH FLOOR 660 MADISON AVENUE
    NEW YORK, New York 10065
   United States

Proposed: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
     660 MADISON AVENUE
     15TH FLOOR
     NEW YORK, New York 10065
     United States
     XXXX
is filing a Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8.

For International Class 041, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: Entertainment services, namely, production and
distribution of motion picture films; cinema studios; cinematographic adaptation and editing; direction of making television programs;
distribution of television programming to cable television systems; production of television programs; distribution of television programs for
others; editing of television programmes; providing advice and information for film concept and script development; film editing ; or, the owner
is making the listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) screenshots of webpages showing films using mark in association with registered services.
Specimen File1
Specimen File2

The following explanation of excusable nonuse has been made of record: The owner claims excusable nonuse only with respect to the following
registered services: Cinematographic adaptation and editing; direction of making television programs; production of television programs;
distribution of television programs for others; editing of television programmes; film editing. The owner claims use in commerce for, such that
this explanation of excusable nonuse does not pertain to, the following registered services: Entertainment services, namely, production and
distribution of motion picture films; cinema studios; distribution of television programming to cable television systems; providing advice and
information for film concept and script development. With respect to the services for which the owner claims excusable nonuse, the previous
owner stopped using the mark in connection with such services approximately around July 30, 2015 due to being forced to file for bankruptcy
protection from circumstances beyond the owner's control. Specifically, between 2005 and 2010, a hedge fund (the "Hedge Fund") made a
significant investment in the previous owner ("Relativity"). In 2012, the Hedge Fund forced a buyout of its interest in Relativity. To satisfy this,
Relativity borrowed another significant amount in debt and sold certain assets to the Hedge Fund, leaving Relativity in an over-leveraged, under-
capitalized position. Thereafter, Relativity experienced severe liquidity constraints and increasing limitations imposed by forbearance agreements
and new debt issuances. Eventually, with significant outstanding matured secured debt, and unable to finalize any further financing, Relativity
was forced to file for bankruptcy protection. Relativity filed for bankruptcy protection on July 30, 2015 (the "First Bankruptcy"). Due to the
constraints that led to the First Bankruptcy, Relativity was forced to suspend certain business operations around that time, which included the
registered services for which the owner claims excusable nonuse. On February 8, 2016, the Bankruptcy Court entered an order, which became
effective on April 14, 2016. From April 14, 2016 through at least the Fall of 2017, Relativity engaged with a wide range of parties regarding a
multitude of possible transactions, including: (a) for the equity raise, at least thirty-three high net worth individuals, companies and/or funds, (b)
for the debt recapitalization, at least fourteen companies and/or funds, (c) for a sale of the film library, at least seven companies and/or funds, and
(d) for an investment in the film production slate, at least three companies. Despite these efforts, only one potential transaction led to an
investment in Relativity, yet the arrangement was never fully consummated. Accordingly, despite Relativity's efforts, Relativity was unable to
secure the debt or equity capital necessary to execute on its business plan, and the size and scope of Relativity's business operations were severely
curtailed. By May 2018, Relativity's work force had been reduced significantly. On May 3, 2018, Relativity filed for bankruptcy protection for
the second time (the "Second Bankruptcy"). On February 26, 2018, Relativity signed a restructuring support agreement with the new owner
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 61 of 494 Page ID
                                           #:1941

("UltraV"), providing the framework for the sale of Relativity's assets to UltraV, which was eventually consummated on October 10, 2018. As a
result of the First Bankruptcy, the Second Bankruptcy, Relativity's efforts to obtain financing and resume its business operations in between, and
UltraV's ongoing efforts to reestablish its business operations since, UltraV has not yet resumed offering the registered services for which
excusable nonuse is claimed under the ROGUE mark, but UltraV is continuing to take steps to resume use for those services and expects to
resume use within the next twelve months. For the foregoing reasons, UltraV has shown special circumstances that justify and excuse the
temporary nonuse of the registered mark for those services, and that UltraV is taking steps to resume use.

The owner's/holder's current attorney information: Cydney A. Tune. Cydney A. Tune of PILLSBURY WINTHROP SHAW PITTMAN LLP, is
located at

   P.O. BOX 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502563.

The phone number is 415-983-6443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

The owner's/holder's proposed attorney information: Cydney A. Tune. Other appointed attorneys are Laura C. Gustafson, Sam E. Iverson, all
members of Pillsbury Winthrop Shaw Pittman LLP, and all other attorneys associated with that firm. Cydney A. Tune of PILLSBURY
WINTHROP SHAW PITTMAN LLP, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is
located at

   P.O. BOX 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502563.

The phone number is 4159836443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

Cydney A. Tune submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

Correspondence Information (current):
   Cydney A. Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502563.

Correspondence Information (proposed):
   Cydney A. Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502563.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the owner/holder and the
owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark Electronic
Application System (TEAS).

A fee payment in the amount of $125 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 62 of 494 Page ID
                                          #:1942

                                                                Declaration
       Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
       or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
       Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
       connection with the goods/services/collective membership organization.
       To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
       allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
       all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Andrew W Levin/ Date: 07/22/2020
Signatory's Name: Andrew W Levin
Signatory's Position: General Counsel

Mailing Address (current):
 PILLSBURY WINTHROP SHAW PITTMAN LLP
 P.O. BOX 2824
 San Francisco, California 94126-2824

Mailing Address (proposed):
 PILLSBURY WINTHROP SHAW PITTMAN LLP
 P.O. BOX 2824
 San Francisco, California 94126-2824

Serial Number: 77698599
Internet Transmission Date: Wed Jul 22 18:51:57 ET 2020
TEAS Stamp: USPTO/SECT08-XXX.XXX.XXX.X-2020072218515
7253066-4572598-7406c4c391ad193e0574ead6
2abbe419d2ef9637c0c9b0d22de9dfcf23cafafa
2-DA-51565388-20200722140847299197
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 63 of 494 Page ID
                                  #:1943
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 64 of 494 Page ID
                                  #:1944
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 65 of 494 Page ID
                                  #:1945
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 66 of 494 Page ID
                                  #:1946




                   EXHIBIT G
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 67 of 494 Page ID
                                                 #:1947

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


         Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8


                                                     The table below presents the data as entered.

                                     Input Field                                                                 Entered
             REGISTRATION NUMBER                                       4272503
             REGISTRATION DATE                                         01/08/2013
             SERIAL NUMBER                                             77698601
             MARK SECTION
             MARK                                                      ROGUE (see, https://tmng-al.uspto.gov/resting2/api/img/77698601/large)
             ATTORNEY SECTION (no change)
             NAME                                                      Cydney Tune
             FIRM NAME                                                 Pillsbury Winthrop Shaw Pittman LLP
             INTERNAL ADDRESS                                          Calendar/Docketing Department
             STREET                                                    P.O. Box 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                      Yes
             DOCKET/REFERENCE NUMBER                                   53481-502564
             CORRESPONDENCE SECTION (no change)
             NAME                                                      Cydney Tune
             FIRM NAME                                                 Pillsbury Winthrop Shaw Pittman LLP
             INTERNAL ADDRESS                                          Calendar/Docketing Department
             STREET                                                    P.O. Box 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 68 of 494 Page ID
                                   #:1948

AUTHORIZED TO COMMUNICATE VIA E-MAIL     Yes
DOCKET/REFERENCE NUMBER                  53481-502564
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                      042
                                         Computer services, namely, creating an on-line community for registered
GOODS OR SERVICES                        users to participate in discussions, get feedback from their peers, form virtual
                                         communities, and engage in social networking
   SPECIMEN FILE NAME(S)

                                         SPN0-20422723018-20190708165337536672_._I_AM_ROGUE_-
   ORIGINAL PDF FILE
                                         _iamROGUE.com.pdf
   CONVERTED PDF FILE(S)
                                         \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml3\S080002.JPG
   (2 pages)

                                         \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml3\S080003.JPG
SPECIMEN DESCRIPTION                     screenshot of a website
OWNER SECTION (current)
NAME                                     UV RML NL ASSETS LLC
INTERNAL ADDRESS                         660 MADISON AVENUE
STREET                                   15TH FLOOR
CITY                                     NEW YORK
STATE                                    New York
ZIP/POSTAL CODE                          10065
COUNTRY                                  United States
LEGAL ENTITY SECTION (current)
TYPE                                     limited liability company
STATE/COUNTRY WHERE LEGALLY ORGANIZED    Delaware
PAYMENT SECTION
NUMBER OF CLASSES                        1
NUMBER OF CLASSES PAID                   1
FILING § 8 AFFIDAVIT PER CLASS           125
ADDITIONAL FEE FOR FILING §8 AFFIDAVIT
                                         100
DURING GRACE PERIOD FEE PER CLASS

TOTAL FEE PAID                           225
SIGNATURE SECTION
SIGNATURE                                /Sam E. Iverson/
SIGNATORY'S NAME                         Sam E. Iverson
SIGNATORY'S POSITION                     Attorney of record, California bar member
DATE SIGNED                              07/08/2019
SIGNATORY'S PHONE NUMBER                 415-983-1234
PAYMENT METHOD                           DA
                                         FILING INFORMATION
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 69 of 494 Page ID
                                   #:1949

SUBMIT DATE                    Mon Jul 08 16:55:21 EDT 2019
                               USPTO/SECT08-XXX.XXX.XXX.
                               XX-20190708165521706129-4
                               272503-620389b6b3cb145215
TEAS STAMP
                               6e166a4168dddef3682e5dc81
                               bd5bc28f5268e6eef1e95-DA-
                               4631-20190708165337536672
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 70 of 494 Page ID
                                                 #:1950

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PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




             Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4272503
REGISTRATION DATE: 01/08/2013

MARK: ROGUE

The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address of
     660 MADISON AVENUE
     15TH FLOOR
     NEW YORK, New York 10065
     United States
is filing a Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8.

For International Class 042, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: Computer services, namely, creating an on-line
community for registered users to participate in discussions, get feedback from their peers, form virtual communities, and engage in social
networking ; or, the owner is making the listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) screenshot of a website.

Original PDF file:
SPN0-20422723018-20190708165337536672_._I_AM_ROGUE_-_iamROGUE.com.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2

A fee payment in the amount of $225 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                      Declaration
             Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
             or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
             Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
             connection with the goods/services/collective membership organization.
             To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
             allegations and other factual contentions made above have evidentiary support.
             The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
             1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
             all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Sam E. Iverson/ Date: 07/08/2019
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California bar member
Signatory's Phone: 415-983-1234

Mailing Address:
 Pillsbury Winthrop Shaw Pittman LLP
 P.O. Box 2824
 San Francisco, California 94126-2824
       Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 71 of 494 Page ID
                                         #:1951

Serial Number: 77698601
Internet Transmission Date: Mon Jul 08 16:55:21 EDT 2019
TEAS Stamp: USPTO/SECT08-XXX.XXX.XXX.XX-201907081655
21706129-4272503-620389b6b3cb1452156e166
a4168dddef3682e5dc81bd5bc28f5268e6eef1e9
5-DA-4631-20190708165337536672
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 72 of 494 Page ID
                                  #:1952
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 73 of 494 Page ID
                                  #:1953
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 74 of 494 Page ID
                                  #:1954
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 75 of 494 Page ID
                                  #:1955




                   EXHIBIT H
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 76 of 494 Page ID
                                                 #:1956

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form No Form Number (Rev 01/2012)
OMB No. 0651-0055 (Exp 10/31/2021)


                                         Response to Office Action for Post-Registration Matters


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         77698601
 REGISTRATION NUMBER                                                   4272503
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/77698601/large
 LITERAL ELEMENT                                                       ROGUE
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 FORM TEXT
 See arguments responding to the issues raised in the Office action in the attachments.
        ATTACHMENT(S)

       ORIGINAL PDF FILE                                               ROGUE_-_Response_to_Office_Action_202002113810738.pdf
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0002.jpg
       (3 pages)

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0003.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0004.jpg
       ORIGINAL PDF FILE                                               Evidence_202002114442617.PDF
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0005.jpg
       (10 pages)

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0006.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0007.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0008.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0009.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0010.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0011.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0012.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0013.jpg
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698601\xml6\TRS0014.jpg
                                                                       The filer has elected to bypass the checkbox indicating that a substitute specimen
 Substitute specimen bypass warning provided                           was in use in commerce during the relevant period for filing the 6-year or 10-year
                                                                       Section 8/71.
 SIGNATURE SECTION
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 77 of 494 Page ID
                                                 #:1957

 DECLARATION SIGNATURE                                                 /Sam E. Iverson/
 SIGNATORY'S NAME                                                      Sam E. Iverson
 SIGNATORY'S POSITION                                                  Attorney of record, California Bar member
 SIGNATORY'S PHONE NUMBER                                              4159831234
 DATE SIGNED                                                           01/21/2020
 SUBMISSION SIGNATURE                                                  /Sam E. Iverson/
 SIGNATORY'S NAME                                                      Sam E. Iverson
 SIGNATORY'S POSITION                                                  Attorney of record, California Bar member
 SIGNATORY'S PHONE NUMBER                                              4159831234
 DATE SIGNED                                                           01/21/2020
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Tue Jan 21 13:46:49 EST 2020
                                                                       USPTO/TRS-XXX.XXX.XXX.XX-
                                                                       20200121134649374673-4272
 TEAS STAMP                                                            503-20200121133526420315-
                                                                       N/A-N/A-20200121133526420
                                                                       315




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form No Form Number (Rev 01/2012)
OMB No. 0651-0055 (Exp 10/31/2021)




                           Response to Office Action for Post-Registration Matters
To the Commissioner for Trademarks:



The following is submitted for registration number: 4272503

FORM TEXT:

See arguments responding to the issues raised in the Office action in the attachments.


FORM FILE NAME(S):

Original PDF file:
ROGUE_-_Response_to_Office_Action_202002113810738.pdf
Converted PDF file(s) (3 pages)
Attachments-1
Attachments-2
Attachments-3
Original PDF file:
Evidence_202002114442617.PDF
Converted PDF file(s) (10 pages)
Attachments-1
Attachments-2
Attachments-3
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 78 of 494 Page ID
                                           #:1958

Attachments-4
Attachments-5
Attachments-6
Attachments-7
Attachments-8
Attachments-9
Attachments-10


The filer has elected to bypass the checkbox indicating that a substitute specimen was in use in commerce during the relevant period for filing the
6-year or 10-year Section 8/71.

Warning: If you are providing a substitute specimen and do not provide the required statement verifying use, upon review of your response, if it
is determined that verification is required, another Office action will issue requiring this statement to complete your response.
SIGNATURE(S)
Declaration Signature
The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001,
and that such willful false statements and the like may jeopardize the validity of the application, submission, or any registration resulting
therefrom, declares that the facts set forth above are true; all statements made of his/her own knowledge are true; and all statements made on
information and belief are believed to be true.

Signature: /Sam E. Iverson/ Date: 01/21/2020
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California Bar member
Signatory's Phone Number: 4159831234

Submission Signature
Signature: /Sam E. Iverson/ Date: 01/21/2020
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California Bar member
Signatory's Phone Number: 4159831234

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a
U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if filed in conjunction with a pending post-registration filing, and if prior to his/her
appointment another U.S.-licensed attorney not currently associated with his/her company/firm previously represented the owner/holder in this
matter: the owner/holder has revoked their power of attorney by a signed revocation or substitute power of attorney with the USPTO; the USPTO
has granted that attorney's withdrawal request; the owner/holder has filed a power of attorney appointing him/her in this matter; or the
owner's/holder's appointed U.S.-licensed attorney has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 77698601
Internet Transmission Date: Tue Jan 21 13:46:49 EST 2020
TEAS Stamp: USPTO/TRS-XXX.XXX.XXX.XX-202001211346493
74673-4272503-20200121133526420315-N/A-N
/A-20200121133526420315
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 79 of 494 Page ID
                                  #:1959
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 80 of 494 Page ID
                                  #:1960
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 81 of 494 Page ID
                                  #:1961
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 82 of 494 Page ID
                                  #:1962
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 83 of 494 Page ID
                                  #:1963
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 84 of 494 Page ID
                                  #:1964
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 85 of 494 Page ID
                                  #:1965
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 86 of 494 Page ID
                                  #:1966
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 87 of 494 Page ID
                                  #:1967
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 88 of 494 Page ID
                                  #:1968
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 89 of 494 Page ID
                                  #:1969
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 90 of 494 Page ID
                                  #:1970
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 91 of 494 Page ID
                                  #:1971
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 92 of 494 Page ID
                                  #:1972




                    EXHIBIT I
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 93 of 494 Page ID
                                                 #:1973

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


         Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8


                                                     The table below presents the data as entered.

                                     Input Field                                                                 Entered
             REGISTRATION NUMBER                                       4272504
             REGISTRATION DATE                                         01/08/2013
             SERIAL NUMBER                                             77698603
             MARK SECTION
             MARK                                                      ROGUE (see, https://tmng-al.uspto.gov/resting2/api/img/77698603/large)
             ATTORNEY SECTION (no change)
             NAME                                                      Cydney Tune
             FIRM NAME                                                 Pillsbury Winthrop Shaw Pittman LLP
             INTERNAL ADDRESS                                          Calendar/Docketing Department
             STREET                                                    P.O. Box 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                      Yes
             DOCKET/REFERENCE NUMBER                                   53481-502565
             CORRESPONDENCE SECTION (no change)
             NAME                                                      Cydney Tune
             FIRM NAME                                                 Pillsbury Winthrop Shaw Pittman LLP
             INTERNAL ADDRESS                                          Calendar/Docketing Department
             STREET                                                    P.O. Box 2824
             CITY                                                      San Francisco
             STATE                                                     California
             POSTAL CODE                                               94126-2824
             COUNTRY                                                   United States
             PHONE                                                     415-983-6443
             FAX                                                       415-983-1200
             EMAIL                                                     sftrademarks@pillsburylaw.com
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 94 of 494 Page ID
                                   #:1974

AUTHORIZED TO COMMUNICATE VIA E-MAIL     Yes
DOCKET/REFERENCE NUMBER                  53481-502565
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                      045
                                         Social networking services; on-line social networking services; providing a
GOODS OR SERVICES
                                         social networking website for entertainment purposes
   SPECIMEN FILE NAME(S)

                                         SPN0-20422723018-20190708162759163324_._I_AM_ROGUE_-
   ORIGINAL PDF FILE
                                         _iamROGUE.com.pdf
   CONVERTED PDF FILE(S)
                                         \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698603\xml3\S080002.JPG
   (2 pages)

                                         \\TICRS\EXPORT17\IMAGEOUT17\776\986\77698603\xml3\S080003.JPG
SPECIMEN DESCRIPTION                     screenshot of a webpage
                                         The previous owner stopped using the mark in connection with the registered
                                         social networking services on or around March 16, 2015 when the previous
                                         owner filed for bankruptcy and started searching for new ownership. See
                                         TMEP 1604.11 ("Temporary nonuse due to the sale of a business may be
                                         considered excusable"). The business continued its operations in going
EXCUSABLE NONUSE EXPLANATION             through two bankruptcy proceedings, one starting in 2015 and the second
                                         starting in 2018, but has not yet resumed use of the mark in connection with
                                         social networking services. The business was acquired by the current
                                         registrant in October 2018 and is undertaking steps to reinstate the social
                                         networking section of its website, estimating that it will resume using the
                                         mark in connection with such services within the next 12 months.
OWNER SECTION (current)
NAME                                     UV RML NL ASSETS LLC
INTERNAL ADDRESS                         660 MADISON AVENUE
STREET                                   15TH FLOOR
CITY                                     NEW YORK
STATE                                    New York
ZIP/POSTAL CODE                          10065
COUNTRY                                  United States
LEGAL ENTITY SECTION (current)
TYPE                                     limited liability company
STATE/COUNTRY WHERE LEGALLY ORGANIZED    Delaware
PAYMENT SECTION
NUMBER OF CLASSES                        1
NUMBER OF CLASSES PAID                   1
FILING § 8 AFFIDAVIT PER CLASS           125
ADDITIONAL FEE FOR FILING §8 AFFIDAVIT
                                         100
DURING GRACE PERIOD FEE PER CLASS

TOTAL FEE PAID                           225
SIGNATURE SECTION
 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 95 of 494 Page ID
                                   #:1975

SIGNATURE                      /Sam E. Iverson/
SIGNATORY'S NAME               Sam E. Iverson
SIGNATORY'S POSITION           Attorney of record, California bar member
DATE SIGNED                    07/08/2019
SIGNATORY'S PHONE NUMBER       415-983-1234
PAYMENT METHOD                 DA
                              FILING INFORMATION
SUBMIT DATE                    Mon Jul 08 16:52:26 EDT 2019
                               USPTO/SECT08-XXX.XXX.XXX.
                               XX-20190708165226511927-4
                               272504-620c03ae66347afeca
TEAS STAMP                     f6b67831a616132b348e9e17c
                               5a3aa283702f5b7275df8e8-D
                               A-4559-201907081627591633
                               24
               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 96 of 494 Page ID
                                                 #:1976

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




             Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4272504
REGISTRATION DATE: 01/08/2013

MARK: ROGUE

The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address of
     660 MADISON AVENUE
     15TH FLOOR
     NEW YORK, New York 10065
     United States
is filing a Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8.

For International Class 045, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: Social networking services; on-line social
networking services; providing a social networking website for entertainment purposes ; or, the owner is making the listed excusable nonuse
claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) screenshot of a webpage.

Original PDF file:
SPN0-20422723018-20190708162759163324_._I_AM_ROGUE_-_iamROGUE.com.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2

The following explanation of excusable nonuse has been made of record: The previous owner stopped using the mark in connection with the
registered social networking services on or around March 16, 2015 when the previous owner filed for bankruptcy and started searching for new
ownership. See TMEP 1604.11 ("Temporary nonuse due to the sale of a business may be considered excusable"). The business continued its
operations in going through two bankruptcy proceedings, one starting in 2015 and the second starting in 2018, but has not yet resumed use of the
mark in connection with social networking services. The business was acquired by the current registrant in October 2018 and is undertaking steps
to reinstate the social networking section of its website, estimating that it will resume using the mark in connection with such services within the
next 12 months.

A fee payment in the amount of $225 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                      Declaration
             Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
             or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
             Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
             connection with the goods/services/collective membership organization.
             To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
             allegations and other factual contentions made above have evidentiary support.
             The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
             1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
             all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Sam E. Iverson/ Date: 07/08/2019
Signatory's Name: Sam E. Iverson
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 97 of 494 Page ID
                                           #:1977

Signatory's Position: Attorney of record, California bar member
Signatory's Phone: 415-983-1234

Mailing Address:
 Pillsbury Winthrop Shaw Pittman LLP
 P.O. Box 2824
 San Francisco, California 94126-2824

Serial Number: 77698603
Internet Transmission Date: Mon Jul 08 16:52:26 EDT 2019
TEAS Stamp: USPTO/SECT08-XXX.XXX.XXX.XX-201907081652
26511927-4272504-620c03ae66347afecaf6b67
831a616132b348e9e17c5a3aa283702f5b7275df
8e8-DA-4559-20190708162759163324
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 98 of 494 Page ID
                                  #:1978
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 99 of 494 Page ID
                                  #:1979
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 100 of 494 Page ID
                                   #:1980
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 101 of 494 Page ID
                                   #:1981




                     EXHIBIT J
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 102 of 494 Page ID
                                                #:1982


PTO Form No Form Number (Rev 01/2012)
OMB No. 0651-0055 (Exp 10/31/2021)


                                         Response to Office Action for Post-Registration Matters


                                                   The table below presents the data as entered.

                                     Input Field                                                     Entered
 SERIAL NUMBER                                                77698603
 REGISTRATION NUMBER                                          4272504
 MARK SECTION
 MARK                                                         https://tmng-al.uspto.gov/resting2/api/img/77698603/large
 LITERAL ELEMENT                                              ROGUE
 STANDARD CHARACTERS                                          YES
 USPTO-GENERATED IMAGE                                        YES
                                                              The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                              size or color.
 FORM TEXT
 In response to the Office Action requesting additional information explaining the nonuse of the registered mark, and specifically for the date of
 last use of the mark and details explaining the special circumstances excusing nonuse, registrant (“UltraV”) hereby submits the following:

 Between 2005 and 2010, a hedge fund (the “Hedge Fund”) made a significant investment in the prior owner (“Relativity”).

 In 2012, the Hedge Fund forced a buyout of its interest in Relativity. To satisfy this, Relativity borrowed another significant amount in debt
 and sold certain assets to the Hedge Fund, leaving Relativity in an over-leveraged, under-capitalized position.

 Thereafter, Relativity experienced severe liquidity constraints and increasing limitations imposed by forbearance agreements and new debt
 issuances. Eventually, with significant outstanding matured secured debt, and unable to finalize any further financing, Relativity was forced to
 file for bankruptcy protection.

 Relativity filed for bankruptcy protection on July 30, 2015 (the “First Bankruptcy”). Due to the constraints that led to the First Bankruptcy,
 Relativity was forced to suspend certain business operations around that time, which included the social networking services offered under
 Relativity’s ROGUE mark.

 On February 8, 2016, the Bankruptcy Court entered an order confirming a plan for reorganization (the "Plan"), which became effective on
 April 14, 2016.

 From April 14, 2016 through at least the Fall of 2017, Relativity engaged with a wide range of parties regarding a multitude of possible
 transactions to consummate the Plan, including: (a) for an equity raise, at least thirty-three high net worth individuals, companies and/or funds,
 (b) for a debt recapitalization, at least fourteen companies and/or funds, (c) for a sale of the film library, at least seven companies and/or funds,
 and (d) for an investment in the film production slate, at least three companies. Despite these efforts, only one potential transaction led to an
 investment in Relativity, yet the arrangement was never fully consummated.

 Accordingly, despite Relativity’s efforts, Relativity was unable to secure the debt or equity capital necessary to execute on its Plan, and the
 size and scope of Relativity’s business operations were severely curtailed. By May 2018, Relativity’s work force had been reduced
 significantly.

 On May 3, 2018, Relativity filed for bankruptcy protection for the second time (the “Second Bankruptcy”).

 On February 26, 2018, Relativity signed a restructuring support agreement with the new owner, UltraV, providing the framework for the sale
 of Relativity’s assets to UltraV, which was eventually consummated on October 10, 2018.
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 103 of 494 Page ID
                                           #:1983

As a result of the First Bankruptcy, the Second Bankruptcy, Relativity’s efforts to obtain financing and resume its business operations in
between, and UltraV’s ongoing efforts to reestablish its business operations since, UltraV has not yet resumed offering the registered services
under the ROGUE mark, but UltraV is taking steps to resume use for those services.

For the foregoing reasons, UltraV has sufficiently shown special circumstances that justify and excuse the temporary nonuse of the registered
mark for the registered services, and that UltraV is taking steps to resume use. Thus, we request that the Section 8 Affidavit be accepted.
Owner Information (Current)
NAME                                                      UV RML NL ASSETS LLC

INTERNAL ADDRESS                                          660 MADISON AVENUE

MAILING ADDRESS                                           15TH FLOOR

CITY                                                      NEW YORK

STATE                                                     New York

COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                United States

ZIP/POSTAL CODE                                           10065

EMAIL                                                     Not Provided

Owner Information (Proposed)
NAME                                                      UV RML NL ASSETS LLC

INTERNAL ADDRESS                                          660 MADISON AVENUE

MAILING ADDRESS                                           15TH FLOOR

CITY                                                      NEW YORK

STATE                                                     New York

COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                United States

ZIP/POSTAL CODE                                           10065

EMAIL                                                     XXXX

ATTORNEY INFORMATION (current)
NAME                                                      Cydney Tune
ATTORNEY BAR MEMBERSHIP NUMBER                            NOT SPECIFIED

YEAR OF ADMISSION                                         NOT SPECIFIED

U.S. STATE/ COMMONWEALTH/ TERRITORY                       NOT SPECIFIED

FIRM NAME                                                 Pillsbury Winthrop Shaw Pittman LLP
INTERNAL ADDRESS                                          Calendar/Docketing Department
STREET                                                    P.O. Box 2824
CITY                                                      San Francisco
STATE                                                     California
POSTAL CODE                                               94126-2824
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                United States
PHONE                                                     415-983-6443
FAX                                                       415-983-1200
EMAIL                                                     sftrademarks@pillsburylaw.com
DOCKET/REFERENCE NUMBER                                   53481-502565
ATTORNEY INFORMATION (proposed)
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 104 of 494 Page ID
                                           #:1984

NAME                                            Cydney Tune
ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
YEAR OF ADMISSION                               XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
FIRM NAME                                       Pillsbury Winthrop Shaw Pittman LLP
STREET                                          P.O. Box 2824
CITY                                            San Francisco
STATE                                           California
POSTAL CODE                                     94126-2824
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
PHONE                                           415-983-6443
FAX                                             415-983-1200
EMAIL                                           sftrademarks@pillsburylaw.com
DOCKET/REFERENCE NUMBER                         53481-502565
                                                Sam E. Iverson, all members of Pillsbury Winthrop Shaw Pittman LLP, and all other
OTHER APPOINTED ATTORNEY
                                                attorneys associated with that firm
CORRESPONDENCE INFORMATION (current)
NAME                                            Cydney Tune
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        sftrademarks@pillsburylaw.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   NOT PROVIDED
DOCKET/REFERENCE NUMBER                         53481-502565
CORRESPONDENCE INFORMATION (proposed)
NAME                                            Cydney Tune
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        sftrademarks@pillsburylaw.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   NOT PROVIDED
DOCKET/REFERENCE NUMBER                         53481-502565
                                                The filer has elected to bypass the checkbox indicating that a substitute specimen
Substitute specimen bypass warning provided     was in use in commerce during the relevant period for filing the 6-year or 10-year
                                                Section 8/71.
SIGNATURE SECTION
DECLARATION SIGNATURE                           /Andrew W. Levin/
SIGNATORY'S NAME                                Levin, Andrew W.
SIGNATORY'S POSITION                            General Counsel
DATE SIGNED                                     05/20/2020
SUBMISSION SIGNATURE                            /Sam E. Iverson/
SIGNATORY'S NAME                                Sam E. Iverson
SIGNATORY'S POSITION                            Attorney of record, California Bar member
DATE SIGNED                                     05/20/2020
AUTHORIZED SIGNATORY                            YES
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 105 of 494 Page ID
                                                #:1985

 FILING INFORMATION SECTION
 SUBMIT DATE                                                 Wed May 20 12:56:02 ET 2020
                                                             USPTO/TRS-XXX.XXX.XXX.X-2
                                                             0200520125602461830-42725
 TEAS STAMP                                                  04-20200430183306269687-N
                                                             /A-N/A-202004301833062696
                                                             87




PTO Form No Form Number (Rev 01/2012)
OMB No. 0651-0055 (Exp 10/31/2021)




                           Response to Office Action for Post-Registration Matters
To the Commissioner for Trademarks:



The following is submitted for registration number: 4272504

FORM TEXT:


In response to the Office Action requesting additional information explaining the nonuse of the registered mark, and specifically for the date of
last use of the mark and details explaining the special circumstances excusing nonuse, registrant (“UltraV”) hereby submits the following:

Between 2005 and 2010, a hedge fund (the “Hedge Fund”) made a significant investment in the prior owner (“Relativity”).

In 2012, the Hedge Fund forced a buyout of its interest in Relativity. To satisfy this, Relativity borrowed another significant amount in debt and
sold certain assets to the Hedge Fund, leaving Relativity in an over-leveraged, under-capitalized position.

Thereafter, Relativity experienced severe liquidity constraints and increasing limitations imposed by forbearance agreements and new debt
issuances. Eventually, with significant outstanding matured secured debt, and unable to finalize any further financing, Relativity was forced to
file for bankruptcy protection.

Relativity filed for bankruptcy protection on July 30, 2015 (the “First Bankruptcy”). Due to the constraints that led to the First Bankruptcy,
Relativity was forced to suspend certain business operations around that time, which included the social networking services offered under
Relativity’s ROGUE mark.

On February 8, 2016, the Bankruptcy Court entered an order confirming a plan for reorganization (the "Plan"), which became effective on April
14, 2016.

From April 14, 2016 through at least the Fall of 2017, Relativity engaged with a wide range of parties regarding a multitude of possible
transactions to consummate the Plan, including: (a) for an equity raise, at least thirty-three high net worth individuals, companies and/or funds,
(b) for a debt recapitalization, at least fourteen companies and/or funds, (c) for a sale of the film library, at least seven companies and/or funds,
and (d) for an investment in the film production slate, at least three companies. Despite these efforts, only one potential transaction led to an
investment in Relativity, yet the arrangement was never fully consummated.

Accordingly, despite Relativity’s efforts, Relativity was unable to secure the debt or equity capital necessary to execute on its Plan, and the size
and scope of Relativity’s business operations were severely curtailed. By May 2018, Relativity’s work force had been reduced significantly.

On May 3, 2018, Relativity filed for bankruptcy protection for the second time (the “Second Bankruptcy”).

On February 26, 2018, Relativity signed a restructuring support agreement with the new owner, UltraV, providing the framework for the sale of
Relativity’s assets to UltraV, which was eventually consummated on October 10, 2018.

As a result of the First Bankruptcy, the Second Bankruptcy, Relativity’s efforts to obtain financing and resume its business operations in
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 106 of 494 Page ID
                                           #:1986

between, and UltraV’s ongoing efforts to reestablish its business operations since, UltraV has not yet resumed offering the registered services
under the ROGUE mark, but UltraV is taking steps to resume use for those services.

For the foregoing reasons, UltraV has sufficiently shown special circumstances that justify and excuse the temporary nonuse of the registered
mark for the registered services, and that UltraV is taking steps to resume use. Thus, we request that the Section 8 Affidavit be accepted.




The filer has elected to bypass the checkbox indicating that a substitute specimen was in use in commerce during the relevant period for filing the
6-year or 10-year Section 8/71.

Warning: If you are providing a substitute specimen and do not provide the required statement verifying use, upon review of your response, if it
is determined that verification is required, another Office action will issue requiring this statement to complete your response.

The owner proposes to amend the following:
Current: UV RML NL ASSETS LLC, having an address of
   660 MADISON AVENUE
   15TH FLOOR
   NEW YORK, New York 10065
   United States

Proposed: UV RML NL ASSETS LLC, having an address of
   660 MADISON AVENUE
   15TH FLOOR
   NEW YORK, New York 10065
   United States
   Email Address: XXXX

The owner's/holder's current attorney information: Cydney Tune. Cydney Tune of Pillsbury Winthrop Shaw Pittman LLP, is located at

   Calendar/Docketing Department
   P.O. Box 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502565.

The phone number is 415-983-6443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

The owner's/holder's proposed attorney information: Cydney Tune. Other appointed attorneys are Sam E. Iverson, all members of Pillsbury
Winthrop Shaw Pittman LLP, and all other attorneys associated with that firm. Cydney Tune of Pillsbury Winthrop Shaw Pittman LLP, is a
member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at

   P.O. Box 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502565.

The phone number is 415-983-6443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

Cydney Tune submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of a
U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 107 of 494 Page ID
                                            #:1987

Correspondence Information (current):
   Cydney Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502565.

Correspondence Information (proposed):
   Cydney Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502565.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).

SIGNATURE(S)
Declaration Signature
The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001,
and that such willful false statements and the like may jeopardize the validity of the application, submission, or any registration resulting
therefrom, declares that the facts set forth above are true; all statements made of his/her own knowledge are true; and all statements made on
information and belief are believed to be true.

Signature: /Andrew W. Levin/ Date: 05/20/2020
Signatory's Name: Levin, Andrew W.
Signatory's Position: General Counsel

Submission Signature
Signature: /Sam E. Iverson/ Date: 05/20/2020
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California Bar member

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a
U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S.-licensed attorney not currently associated
with his/her company/firm previously represented the owner/holder in this matter: the owner/holder has revoked their power of attorney by a
signed revocation or substitute power of attorney with the USPTO; the USPTO has granted that attorney's withdrawal request; the owner/holder
has filed a power of attorney appointing him/her in this matter; or the owner's/holder's appointed U.S.-licensed attorney has filed a power of
attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Cydney Tune
 Pillsbury Winthrop Shaw Pittman LLP
 Calendar/Docketing Department
 P.O. Box 2824
 San Francisco, California 94126-2824
Mailing Address: Cydney Tune
 Pillsbury Winthrop Shaw Pittman LLP

 P.O. Box 2824
 San Francisco, California 94126-2824

Serial Number: 77698603
Internet Transmission Date: Wed May 20 12:56:02 ET 2020
TEAS Stamp: USPTO/TRS-XXX.XXX.XXX.X-2020052012560246
1830-4272504-20200430183306269687-N/A-N/
A-20200430183306269687
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 108 of 494 Page ID
                                   #:1988




                   EXHIBIT K
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 109 of 494 Page ID
                                                #:1989

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 88577372
                                                                       Filing Date: 08/13/2019


                                                      The table below presents the data as entered.

                                     Input Field                                                                Entered
             SERIAL NUMBER                                             88577372
             MARK INFORMATION
             *MARK                                                     ROGUE
             STANDARD CHARACTERS                                       YES
             USPTO-GENERATED IMAGE                                     YES
             LITERAL ELEMENT                                           ROGUE
                                                                       The mark consists of standard characters, without claim to any particular font
             MARK STATEMENT
                                                                       style, size, or color.
             REGISTER                                                  Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                            UV RML NL ASSETS LLC
             INTERNAL ADDRESS                                          15TH FLOOR
             *STREET                                                   660 MADISON AVENUE
             *CITY                                                     NEW YORK
             *STATE
                                                                       New York
             (Required for U.S. applicants)

             *COUNTRY                                                  United States
             *ZIP/POSTAL CODE
                                                                       10065
             (Required for U.S. and certain international addresses)

             LEGAL ENTITY INFORMATION
             TYPE                                                      limited liability company
             STATE/COUNTRY WHERE LEGALLY
                                                                       Delaware
             ORGANIZED

             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                       009
                                                                       Digital media, namely, television content; Downloadable television content
                                                                       featuring a wide variety of themes provided via a video-on-demand service;
                                                                       Downloadable video recordings featuring television content; Pre-recorded
             *IDENTIFICATION
                                                                       DVDs featuring television content; Pre-recorded digital media featuring
                                                                       television content; Pre-recorded electronic media featuring television content;
                                                                       Video recordings featuring television content
             FILING BASIS                                              SECTION 1(a)
                  FIRST USE ANYWHERE DATE                              At least as early as 07/00/2011
                  FIRST USE IN COMMERCE DATE                           At least as early as 07/00/2011
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 110 of 494 Page ID
                                   #:1990

  SPECIMEN FILE NAME(S)

  ORIGINAL PDF FILE                   SPE0-2042272555-20190807181024732678_._Class_9_Specimens.pdf
  CONVERTED PDF FILE(S)
                                      \\TICRS\EXPORT17\IMAGEOUT17\885\773\88577372\xml1\RFA0003.JPG
  (4 pages)

                                      \\TICRS\EXPORT17\IMAGEOUT17\885\773\88577372\xml1\RFA0004.JPG
                                      \\TICRS\EXPORT17\IMAGEOUT17\885\773\88577372\xml1\RFA0005.JPG
                                      \\TICRS\EXPORT17\IMAGEOUT17\885\773\88577372\xml1\RFA0006.JPG
  SPECIMEN DESCRIPTION                screenshots showing mark in credits of downloadable television content
ATTORNEY INFORMATION
NAME                                  Cydney A. Tune
ATTORNEY BAR MEMBERSHIP NUMBER        XXX
YEAR OF ADMISSION                     XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY   XX
FIRM NAME                             PILLSBURY WINTHROP SHAW PITTMAN LLP
INTERNAL ADDRESS                      22nd Floor
STREET                                Four Embarcadero Center
CITY                                  San Francisco
STATE                                 California
COUNTRY                               United States
ZIP/POSTAL CODE                       94111-5998
PHONE                                 415-983-6443
FAX                                   415-983-1200
EMAIL ADDRESS                         sftrademarks@pillsburylaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL   Yes
                                      Patrick J. Jennings, Sam E. Iverson, all members of Pillsbury Winthrop Shaw
OTHER APPOINTED ATTORNEY
                                      Pittman LLP, and all other attorneys associated with that firm
CORRESPONDENCE INFORMATION
NAME                                  Cydney A. Tune
FIRM NAME                             PILLSBURY WINTHROP SHAW PITTMAN LLP
INTERNAL ADDRESS                      22nd Floor
STREET                                Four Embarcadero Center
CITY                                  San Francisco
STATE                                 California
COUNTRY                               United States
ZIP/POSTAL CODE                       94111-5998
PHONE                                 415-983-6443
FAX                                   415-983-1200
*EMAIL ADDRESS                        sftrademarks@pillsburylaw.com; cydney.tune@pillsburylaw.com
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 111 of 494 Page ID
                                   #:1991

*AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
FEE INFORMATION
APPLICATION FILING OPTION                TEAS RF
NUMBER OF CLASSES                        1
APPLICATION FOR REGISTRATION PER CLASS   275
*TOTAL FEE DUE                           275
*TOTAL FEE PAID                          275
SIGNATURE INFORMATION
SIGNATURE                                /Andrew W Levin/
SIGNATORY'S NAME                         Andrew W Levin
SIGNATORY'S POSITION                     General Counsel
SIGNATORY'S PHONE NUMBER                 8188176310
DATE SIGNED                              08/13/2019
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 112 of 494 Page ID
                                                #:1992

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 88577372
                                                                       Filing Date: 08/13/2019
To the Commissioner for Trademarks:

MARK: ROGUE (Standard Characters, see mark)
The literal element of the mark consists of ROGUE. The mark consists of standard characters, without claim to any particular font style, size, or
color.
The applicant, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address of
    15TH FLOOR
    660 MADISON AVENUE
    NEW YORK, New York 10065
    United States

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 009: Digital media, namely, television content; Downloadable television content featuring a wide variety of themes provided
via a video-on-demand service; Downloadable video recordings featuring television content; Pre-recorded DVDs featuring television content;
Pre-recorded digital media featuring television content; Pre-recorded electronic media featuring television content; Video recordings featuring
television content

In International Class 009, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 07/00/2011, and first used in commerce at least as early as 07/00/2011, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) screenshots showing mark in credits of downloadable television content.

Original PDF file:
SPE0-2042272555-20190807181024732678_._Class_9_Specimens.pdf
Converted PDF file(s) (4 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4



The applicant hereby appoints Cydney A. Tune. Other appointed attorneys are Patrick J. Jennings, Sam E. Iverson, all members of Pillsbury
Winthrop Shaw Pittman LLP, and all other attorneys associated with that firm. Cydney A. Tune of PILLSBURY WINTHROP SHAW
PITTMAN LLP, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at
   22nd Floor
   Four Embarcadero Center
   San Francisco, California 94111-5998
   United States
   415-983-6443(phone)
   415-983-1200(fax)
   sftrademarks@pillsburylaw.com (authorized).

Cydney A. Tune submitted the following statement: I attest that I am an attorney who is an active member in good standing of the bar of the
highest court of a U.S. state (including the District of Columbia and any U.S. Commonwealth or territory).
The applicant's current Correspondence Information:
    Cydney A. Tune
    PILLSBURY WINTHROP SHAW PITTMAN LLP
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 113 of 494 Page ID
                                           #:1993

   22nd Floor
   Four Embarcadero Center
   San Francisco, California 94111-5998
   415-983-6443(phone)
   415-983-1200(fax)
   sftrademarks@pillsburylaw.com; cydney.tune@pillsburylaw.com (authorized).

Email Authorization: I authorize the USPTO to send email correspondence concerning the application to the applicant, the applicant's attorney,
or the applicant's domestic representative at the email address provided in this application. I understand that a valid email address must be
maintained and that the applicant or the applicant's attorney must file the relevant subsequent application-related submissions via the Trademark
Electronic Application System (TEAS). Failure to do so will result in the loss of TEAS Reduced Fee status and a requirement to submit an
additional processing fee of $125 per international class of goods/services.

A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce on or in connection with the goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce on or in connection with the goods/services in the
              application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Andrew W Levin/ Date: 08/13/2019
Signatory's Name: Andrew W Levin
Signatory's Position: General Counsel
Payment Sale Number: 88577372
Payment Accounting Date: 08/13/2019

Serial Number: 88577372
Internet Transmission Date: Tue Aug 13 18:15:05 EDT 2019
TEAS Stamp: USPTO/BAS-XXX.XXX.XXX.X-2019081318150522
1526-88577372-610ac51192a344011fba2976ab
6ccea7da5a9fc1fea998c5997945d50a39e275b2
0-DA-15054044-20190813180827220029
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 114 of 494 Page ID
                                   #:1994
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 115 of 494 Page ID
                                   #:1995
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 116 of 494 Page ID
                                   #:1996
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 117 of 494 Page ID
                                   #:1997
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 118 of 494 Page ID
                                   #:1998
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 119 of 494 Page ID
                                   #:1999




                    EXHIBIT L
     Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 120 of 494 Page ID
                                        #:2000



                                         NOTE TO THE FILE

SERIAL NUMBER:               88577372

DATE:                       11/15/2019

NAME:                       cdetmer1

NOTE:

Discussed file with
Attorney/Applicant via:
        phone                                   Left message with
    X   email                                   Attorney/Applicant

 X      Changed TRADEUPS to: Amend ID.

From: Iverson, Sam E. <sam.iverson@pillsburylaw.com>
Sent: Thursday, November 14, 2019 4:35 PM
To: Detmer, Carolyn <Carolyn.Detmer1@USPTO.GOV>
Cc: Tune, Cydney A. <cydney.tune@pillsburylaw.com>
Subject: RE: 88577372 ROGUE USPTO Required Application Amendment

Dear Carolyn,

Thank you for your email. Please proceed to amend the identification as follows, with our additions in blue/bold and deletions
in red/strikethrough:

Digital media, namely, DVDs, high definition digital discs, and downloadable files featuring television content shows and
movies featuring a wide variety of genres, namely, comedy, drama, action, adventure, mystery, crime, suspense,
thriller, fantasy, horror, science fiction, and documentaries; Downloadable television content shows and movies
featuring a wide variety of genres, namely, comedy, drama, action, adventure, mystery, crime, suspense, thriller,
fantasy, horror, science fiction, and documentaries provided via a video-on-demand service; Downloadable video
recordings featuring television content shows and movies featuring a wide variety of genres, namely, comedy, drama,
action, adventure, mystery, crime, suspense, thriller, fantasy, horror, science fiction, and documentaries; Pre-
recorded DVDs featuring television content shows and movies featuring a wide variety of genres, namely, comedy,
drama, action, adventure, mystery, crime, suspense, thriller, fantasy, horror, science fiction, and documentaries; Pre-
recorded digital media devices featuring television content shows and movies featuring a wide variety of genres, namely,
comedy, drama, action, adventure, mystery, crime, suspense, thriller, fantasy, horror, science fiction, and
documentaries; Pre-recorded electronic media devices featuring television content shows and movies featuring a wide
variety of genres, namely, comedy, drama, action, adventure, mystery, crime, suspense, thriller, fantasy, horror,
science fiction, and documentaries; Audio and video recordings featuring television content shows and movies featuring
a wide variety of genres, namely, comedy, drama, action, adventure, mystery, crime, suspense, thriller, fantasy,
horror, science fiction, and documentaries.

If you have any questions or concerns, please feel free to give me a call at 415-983-1234 to discuss. Otherwise, please
proceed to enter the amendments via examiner’s amendment.

Best,
Sam


Sam E. Iverson | Associate
Pillsbury Winthrop Shaw Pittman LLP
Four Embarcadero Center, 22nd Floor | San Francisco, CA 94111-5998
t +1.415.983.1234
sam.iverson@pillsburylaw.com | website bio
  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 121 of 494 Page ID
                                     #:2001

sam.iverson@pillsburylaw.com | website bio


From: Detmer, Carolyn <Carolyn.Detmer1@USPTO.GOV>
Sent: Wednesday, November 13, 2019 1:48 PM
To: SFtrademarks <SFtrademarks@Pillsburylaw.com>
Cc: Tune, Cydney A. <cydney.tune@pillsburylaw.com>
Subject: 88577372 ROGUE USPTO Required Application Amendment

* EXTERNAL EMAIL *

Dear Ms. Tune,

I am the trademark examining attorney handling the trademark application for ROGUE (88577372). In review, there is one
issue that can be corrected without the need for an office action.

Specifically, I require an amended identification of the goods identified in International Class 009 because much of the wording
is indefinite and must be clarified because. The suggested identification would read, with suggested changes in bold:

International Class 009: Digital media, namely, {specify form of the goods, e.g. CDs, DVDs etc.} featuring television
{specify type of content, e.g. shows, moves etc.} content featuring a wide variety of themes, namely, {specify subject
matter and field of shows, e.g. comedy, action etc.}; Downloadable television {specify type of content, e.g. shows,
moves etc.} content featuring a wide variety of themes, namely, {specify subject matter and field of shows, e.g. comedy,
action etc.} provided via a video-on-demand service; Downloadable video recordings featuring television {specify type of
content, e.g. shows, moves etc.} content featuring a wide variety of themes, namely, {specify subject matter and field
of shows, e.g. comedy, action etc.}; Pre-recorded DVDs featuring television {specify type of content, e.g. shows, moves
etc.} content featuring a wide variety of themes, namely, {specify subject matter and field of shows, e.g. comedy,
action etc.}; Pre-recorded digital media devices featuring television {specify type of content, e.g. shows, moves etc.}
content featuring a wide variety of themes, namely, {specify subject matter and field of shows, e.g. comedy, action
etc.}; Pre-recorded electronic media devices featuring television {specify type of content, e.g. shows, moves etc.} content
featuring a wide variety of themes, namely, {specify subject matter and field of shows, e.g. comedy, action etc.};
Audio and video recordings featuring television {specify type of content, e.g. shows, moves etc.} content featuring a
wide variety of themes, namely, {specify subject matter and field of shows, e.g. comedy, action etc.}

Please let me know if you would approve of my amending the identification as described.

If you have any questions, comments, or concerns please feel free to call or e-mail me using the information provided in my
signature block below. Please respond no later than 2 PM EST on Friday, November 13, 2019. Thank you.

Best,
Carolyn Detmer


Carolyn Detmer
Trademark Examining Attorney
Law Office 127
(571) 272-2722
carolyn.detmer1@uspto.gov

Please note that although all relevant e-mail communications will be placed in the official application record, this email
communication does not constitute a formal response to an office action. Although the trademark examining attorney may
provide additional explanation pertaining to the application, the trademark examining attorney may not provide legal advice or
statements about applicant’s rights. See TMEP §§705.02, 709.06.




The contents of this message, together with any attachments, are intended only for the use of the individual or entity to which they are
addressed and may contain information that is legally privileged, confidential and exempt from disclosure. If you are not the intended
recipient, you are hereby notified that any dissemination, distribution, or copying of this message, or any attachment, is strictly prohibited.
  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 122 of 494 Page ID
                                     #:2002

If you have received this message in error, please notify the original sender or the Pillsbury Winthrop Shaw Pittman Service Desk at Tel:
800-477-0770, Option 1, immediately by telephone and delete this message, along with any attachments, from your computer. Nothing in
this message may be construed as a digital or electronic signature of any employee of Pillsbury Winthrop Shaw Pittman. Thank you.
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 123 of 494 Page ID
                                   #:2003




                   EXHIBIT M
           Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 124 of 494 Page ID
                                              #:2004


From:                       TMOfficialNotices@USPTO.GOV
Sent:                       Tuesday, December 31, 2019 01:38 AM
To:                         sftrademarks@pillsburylaw.com
Cc:                         cydney.tune@pillsburylaw.com
Subject:                    Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 88577372: ROGUE

                                          TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION

U.S. Serial Number: 88577372
Mark: ROGUE
International Class(es): 009
Owner: UV RML NL ASSETS LLC
Docket/Reference Number:

The mark identified above has been published in the Trademark Official Gazette (TMOG) on Dec 31, 2019.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2019-12-31&serialNumber=88577372

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. For corrections or amendments after
publication, please use the Post-Approval/Publication/Post-Notice of Allowance (NOA) Amendment Form, accessible at https://teas.uspto.gov/office/ppa. For general
information about this notice, please contact the Trademark Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a certificate of
      registration should issue.

To check the status of the application, go to https://tsdr.uspto.gov/#caseNumber=88577372&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=88577372&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next
business day after receipt of this e-mail.
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 125 of 494 Page ID
                                   #:2005




                   EXHIBIT N
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 126 of 494 Page ID
                                   #:2006

                                               Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                     ESTTA Tracking number:         ESTTA1032461
                                                                                   Filing date:        01/30/2020

                          IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                            BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
    Applicants                                    UV RML NL ASSETS LLC
    Application Serial Number                              88577372
    Application Filing Date                                08/13/2019
    Mark                                                   ROGUE
    Date of Publication                                    12/31/2019
    Potential Opposer's                                    Louis DiSanto
    Correspondence Information                             Banner & Witcoff, Ltd.
                                                           71 South Wacker Drive, Suite 3600
                                                           Chicago, IL 60606
                                                           UNITED STATES
                                                           ldisanto@bannerwitcoff.com,
                                                           emaurer@bannerwitcoff.com, ak-
                                                           ing@bannerwitcoff.com, lbrodzin-
                                                           ski@bannerwitcoff.com, bwlitdock-
                                                           et@bannerwitcoff.com,
                                                           bwptotm@bannerwitcoff.com
                                                           312-463-5000


       First 90 Day Request for Extension of Time to Oppose for Good
                                                   Cause
   Pursuant to 37 C.F.R. Section 2.102, Coulter Ventures, LLC, 545 E 5th Avenue, Columbus, OH 43201,
   UNITED STATES, a limited liability company, organized under the laws of Ohio, respectfully requests that it
   be granted a 90-day extension of time to file a notice of opposition against the above-identified mark for
   cause shown.
   Potential opposer believes that good cause is established for this request by:
   - The potential opposer needs additional time to confer with counsel
   The time within which to file a notice of opposition is set to expire on 01/30/2020. Coulter Ventures, LLC re-
   spectfully requests that the time period within which to file an opposition be extended until 04/29/2020.
   Respectfully submitted,
   /Anna King/
   Anna King
   ldisanto@bannerwitcoff.com, emaurer@bannerwitcoff.com, aking@bannerwitcoff.com, lbrodzin-
   ski@bannerwitcoff.com, bwlitdocket@bannerwitcoff.com, bwptotm@bannerwitcoff.com
   01/30/2020
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 127 of 494 Page ID
                                   #:2007




                   EXHIBIT O
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 128 of 494 Page ID
                                                #:2008

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 88762489
                                                                       Filing Date: 01/16/2020


                                                      The table below presents the data as entered.

                                           Input Field                                                                   Entered
             SERIAL NUMBER                                                              88762489
             MARK INFORMATION
             *MARK                                                                      ROGUE
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            ROGUE
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             UV RML NL ASSETS LLC
             INTERNAL ADDRESS                                                           15TH FLOOR
             *STREET                                                                    660 MADISON AVENUE
             *CITY                                                                      NEW YORK
             *STATE
                                                                                        New York
             (Required for U.S. applicants)

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
                                                                                        10065
             (Required for U.S. and certain international addresses)

             LEGAL ENTITY INFORMATION
             TYPE                                                                       limited liability company
             STATE/COUNTRY WHERE LEGALLY ORGANIZED                                      Delaware
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        042
                                                                                        Computer services, namely, creating an on-line community for
                                                                                        registered users to participate in discussions, get feedback from
                                                                                        their peers, form virtual communities, engage in social
             *IDENTIFICATION
                                                                                        networking; Hosting an online community website featuring
                                                                                        shared communications between community members
                                                                                        interested in movies, television, and entertainment news
             FILING BASIS                                                               SECTION 1(b)
             ATTORNEY INFORMATION
             NAME                                                                       Cydney A. Tune
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 129 of 494 Page ID
                                   #:2009

ATTORNEY DOCKET NUMBER                   53481
ATTORNEY BAR MEMBERSHIP NUMBER           XXX
YEAR OF ADMISSION                        XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY      XX
FIRM NAME                                Pillsbury Winthrop Shaw Pittman LLP
STREET                                   P.O. Box 2824
CITY                                     San Francisco
STATE                                    California
COUNTRY                                  United States
ZIP/POSTAL CODE                          94126-2824
PHONE                                    415-983-6443
FAX                                      415-983-1200
EMAIL ADDRESS                            sftrademarks@pillsburylaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL      Yes
                                         Laura C. Gustafson, Sam E. Iverson, all members of Pillsbury
OTHER APPOINTED ATTORNEY                 Winthrop Shaw Pittman LLP, and all other attorneys
                                         associated with that firm
CORRESPONDENCE INFORMATION
NAME                                     Cydney A. Tune
FIRM NAME                                Pillsbury Winthrop Shaw Pittman LLP
STREET                                   P.O. Box 2824
CITY                                     San Francisco
STATE                                    California
COUNTRY                                  United States
ZIP/POSTAL CODE                          94126-2824
PHONE                                    415-983-6443
FAX                                      415-983-1200
*EMAIL ADDRESS                           sftrademarks@pillsburylaw.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
FEE INFORMATION
APPLICATION FILING OPTION                TEAS RF
NUMBER OF CLASSES                        1
APPLICATION FOR REGISTRATION PER CLASS   275
*TOTAL FEE DUE                           275
*TOTAL FEE PAID                          275
SIGNATURE INFORMATION
SIGNATURE                                /Sam E. Iverson/
SIGNATORY'S NAME                         Sam E. Iverson
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 130 of 494 Page ID
                                   #:2010

SIGNATORY'S POSITION                   Attorney of record, California Bar member
SIGNATORY'S PHONE NUMBER               415-983-1234
DATE SIGNED                            01/16/2020
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 131 of 494 Page ID
                                                #:2011

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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 88762489
                                                                       Filing Date: 01/16/2020
To the Commissioner for Trademarks:

MARK: ROGUE (Standard Characters, see mark)
The literal element of the mark consists of ROGUE. The mark consists of standard characters, without claim to any particular font style, size, or
color.
The applicant, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address of
    15TH FLOOR
    660 MADISON AVENUE
    NEW YORK, New York 10065
    United States

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 042: Computer services, namely, creating an on-line community for registered users to participate in discussions, get
feedback from their peers, form virtual communities, engage in social networking; Hosting an online community website featuring shared
communications between community members interested in movies, television, and entertainment news
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services.



The applicant hereby appoints Cydney A. Tune. Other appointed attorneys are Laura C. Gustafson, Sam E. Iverson, all members of Pillsbury
Winthrop Shaw Pittman LLP, and all other attorneys associated with that firm. Cydney A. Tune of Pillsbury Winthrop Shaw Pittman LLP, is a
member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at
   P.O. Box 2824
   San Francisco, California 94126-2824
   United States
   415-983-6443(phone)
   415-983-1200(fax)
   sftrademarks@pillsburylaw.com (authorized).
The attorney docket/reference number is 53481.
Cydney A. Tune submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
    Cydney A. Tune
    Pillsbury Winthrop Shaw Pittman LLP
    P.O. Box 2824
    San Francisco, California 94126-2824
    415-983-6443(phone)
    415-983-1200(fax)
    sftrademarks@pillsburylaw.com (authorized).

Email Authorization: I authorize the USPTO to send email correspondence concerning the application to the applicant, the applicant's attorney,
or the applicant's domestic representative at the email address provided in this application. I understand that a valid email address must be
maintained and that the applicant or the applicant's attorney must file the relevant subsequent application-related submissions via the Trademark
Electronic Application System (TEAS). Failure to do so will result in the loss of TEAS Reduced Fee status and a requirement to submit an
additional processing fee of $125 per international class of goods/services.

A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 132 of 494 Page ID
                                           #:2012

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce on or in connection with the goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce on or in connection with the goods/services in the
              application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Sam E. Iverson/ Date: 01/16/2020
Signatory's Name: Sam E. Iverson
Signatory's Position: Attorney of record, California Bar member
Payment Sale Number: 88762489
Payment Accounting Date: 01/16/2020

Serial Number: 88762489
Internet Transmission Date: Thu Jan 16 18:12:23 EST 2020
TEAS Stamp: USPTO/BAS-XXX.XXX.XXX.XX-202001161812233
30123-88762489-700846d6eed65d3d42b6b1b7d
764325c32a29f054af267c543e5aa6dc5ff8ccb0
-DA-12239699-20200116180145153918
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 133 of 494 Page ID
                                   #:2013
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 134 of 494 Page ID
                                   #:2014




                    EXHIBIT P
           Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 135 of 494 Page ID
                                              #:2015


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, May 12, 2020 00:56 AM
To:                        sftrademarks@pillsburylaw.com
Subject:                   Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 88762489: ROGUE: Docket/Reference No. 53481

                                         TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION

U.S. Serial Number: 88762489
Mark: ROGUE
International Class(es): 042
Owner: UV RML NL ASSETS LLC
Docket/Reference Number: 53481

The mark identified above has been published in the Trademark Official Gazette (TMOG) on May 12, 2020.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2020-05-12&serialNumber=88762489

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. For corrections or amendments after
publication, please use the Post-Approval/Publication/Post-Notice of Allowance (NOA) Amendment Form, accessible at https://teas.uspto.gov/office/ppa. For general
information about this notice, please contact the Trademark Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a notice of
      allowance (NOA) should issue. (Note: The applicant must file a complete Statement of Use or Extension Request with the required fees within six (6) months after the
      NOA issues to avoid abandonment of the application.)

To check the status of the application, go to https://tsdr.uspto.gov/#caseNumber=88762489&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=88762489&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next
business day after receipt of this e-mail.
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 136 of 494 Page ID
                                   #:2016




                   EXHIBIT Q
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 137 of 494 Page ID
                                   #:2017

                                               Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                     ESTTA Tracking number:         ESTTA1060055
                                                                                   Filing date:        06/05/2020

                          IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                            BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
    Applicants                                    UV RML NL ASSETS LLC
    Application Serial Number                              88762489
    Application Filing Date                                01/16/2020
    Mark                                                   ROGUE
    Date of Publication                                    05/12/2020
    Potential Opposer's                                    Louis DiSanto
    Correspondence Information                             Banner & Witcoff, Ltd.
                                                           71 South Wacker Drive, Suite 3600
                                                           Chicago, IL 60606
                                                           UNITED STATES
                                                           ldisanto@bannerwitcoff.com,
                                                           emaurer@bannerwitcoff.com, ak-
                                                           ing@bannerwitcoff.com, lbrodzin-
                                                           ski@bannerwitcoff.com, bwlitdock-
                                                           et@bannerwitcoff.com,
                                                           bwptotm@bannerwitcoff.com
                                                           312-463-5000


       First 90 Day Request for Extension of Time to Oppose for Good
                                                   Cause
   Pursuant to 37 C.F.R. Section 2.102, Coulter Ventures, LLC, 545 E 5th Avenue, Columbus, OH 43201,
   UNITED STATES, a limited liability company, organized under the laws of Ohio, respectfully requests that it
   be granted a 90-day extension of time to file a notice of opposition against the above-identified mark for
   cause shown.
   Potential opposer believes that good cause is established for this request by:
   - The potential opposer needs additional time to confer with counsel
   The time within which to file a notice of opposition is set to expire on 06/11/2020. Coulter Ventures, LLC re-
   spectfully requests that the time period within which to file an opposition be extended until 09/09/2020.
   Respectfully submitted,
   /Anna King/
   Anna King
   ldisanto@bannerwitcoff.com, emaurer@bannerwitcoff.com, aking@bannerwitcoff.com, lbrodzin-
   ski@bannerwitcoff.com, bwlitdocket@bannerwitcoff.com, bwptotm@bannerwitcoff.com
   06/05/2020
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 138 of 494 Page ID
                                   #:2018




                   EXHIBIT R
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 139 of 494 Page ID
                                                #:2019

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)


         Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             REGISTRATION NUMBER                                        4436723
             REGISTRATION DATE                                          11/19/2013
             SERIAL NUMBER                                              77815550
             MARK SECTION
             MARK                                                       ROGUELIFE (see, mark)
             ATTORNEY INFORMATION (current)
             NAME                                                       Cydney A. Tune
             ATTORNEY BAR MEMBERSHIP NUMBER                             NOT SPECIFIED

             YEAR OF ADMISSION                                          NOT SPECIFIED

             U.S. STATE/ COMMONWEALTH/ TERRITORY                        NOT SPECIFIED

             FIRM NAME                                                  PILLSBURY WINTHROP SHAW PITTMAN LLP
             STREET                                                     P.O. BOX 2824
             CITY                                                       San Francisco
             STATE                                                      California
             POSTAL CODE                                                94126-2824
             COUNTRY/REGION/JURISDICTION/U.S.
                                                                        United States
             TERRITORY

             PHONE                                                      415-983-6443
             FAX                                                        415-983-1200
             EMAIL                                                      sftrademarks@pillsburylaw.com
             DOCKET/REFERENCE NUMBER                                    53481-502571
             ATTORNEY INFORMATION (proposed)
             NAME                                                       Cydney A. Tune
             ATTORNEY BAR MEMBERSHIP NUMBER                             XXX
             YEAR OF ADMISSION                                          XXXX
             U.S. STATE/ COMMONWEALTH/ TERRITORY                        XX
             FIRM NAME                                                  PILLSBURY WINTHROP SHAW PITTMAN LLP
             STREET                                                     P.O. BOX 2824
             CITY                                                       San Francisco
             STATE                                                      California
             POSTAL CODE                                                94126-2824
             COUNTRY/REGION/JURISDICTION/U.S.
                                                                        United States
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 140 of 494 Page ID
                                   #:2020
TERRITORY

PHONE                                   4159836443
FAX                                     415-983-1200
EMAIL                                   sftrademarks@pillsburylaw.com
DOCKET/REFERENCE NUMBER                 53481-502571
                                        Sam E. Iverson, all members of Pillsbury Winthrop Shaw Pittman LLP, and
OTHER APPOINTED ATTORNEY
                                        all other attorneys associated with that firm
CORRESPONDENCE INFORMATION (current)
NAME                                    Cydney A. Tune
PRIMARY EMAIL ADDRESS FOR
                                        sftrademarks@pillsburylaw.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        NOT PROVIDED
COPIES)

DOCKET/REFERENCE NUMBER                 53481-502571
CORRESPONDENCE INFORMATION (proposed)
NAME                                    Cydney A. Tune
PRIMARY EMAIL ADDRESS FOR
                                        sftrademarks@pillsburylaw.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES) (COURTESY
                                        NOT PROVIDED
COPIES)

DOCKET/REFERENCE NUMBER                 53481-502571
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                     041
                                        providing a website site featuring information, news and commentary
                                        regarding the arts, entertainment, sports, and the media; providing a website
                                        where users can post ratings, reviews, or recommendations on events and
                                        activities in the fields of the arts, entertainment, sports, and the media;
                                        providing a website featuring non-downloadable musical or spoken
GOODS OR SERVICES                       performances, musical or non-musical videos, related film clips,
                                        photographs, and other multimedia materials featuring news, fashion,
                                        culture, entertainment, the arts, comedy, history, music and lifestyles;
                                        providing a web site featuring user-generated videos on a wide variety of
                                        topics and subjects; providing an Internet news portal featuring links to
                                        news stories and articles in the field of current events
  SPECIMEN FILE NAME(S)

                                        SPN0-2042272555-202005191 72716877075_._ROGUELIFE_S
  ORIGINAL PDF FILE
                                        pecimen.pdf

  CONVERTED PDF FILE(S)                 \\TICRS\EXPORT18\IMAGEOUT 18\778\155\77815550\xml1\
  (5 pages)                             S080002.JPG
                                        \\TICRS\EXPORT18\IMAGEOUT 18\778\155\77815550\xml1\
                                        S080003.JPG
                                        \\TICRS\EXPORT18\IMAGEOUT 18\778\155\77815550\xml1\
                                        S080004.JPG
                                        \\TICRS\EXPORT18\IMAGEOUT 18\778\155\77815550\xml1\
                                        S080005.JPG
                                        \\TICRS\EXPORT18\IMAGEOUT 18\778\155\77815550\xml1\
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 141 of 494 Page ID
                                   #:2021

                                   S080006.JPG
SPECIMEN DESCRIPTION               a brochure
                                   The previous owner stopped using the mark approximately around July 30,
                                   2015 due to being forced to file for bankruptcy protection from
                                   circumstances beyond the owner's control. Specifically, between 2005 and
                                   2010, a hedge fund (the "Hedge Fund") made a significant investment in the
                                   previous owner ("Relativity"). In 2012, the Hedge Fund forced a buyout of
                                   its interest in Relativity. To satisfy this, Relativity borrowed another
                                   significant amount in debt and sold certain assets to the Hedge Fund,
                                   leaving Relativity in an over-leveraged, under-capitalized position.
                                   Thereafter, Relativity experienced severe liquidity constraints and
                                   increasing limitations imposed by forbearance agreements and new debt
                                   issuances. Eventually, with significant outstanding matured secured debt,
                                   and unable to finalize any further financing, Relativity was forced to file for
                                   bankruptcy protection. Relativity filed for bankruptcy protection on July 30,
                                   2015 (the "First Bankruptcy"). Due to the constraints that led to the First
                                   Bankruptcy, Relativity was forced to suspend certain business operations
                                   around that time, which included the registered services offered under
                                   Relativity's ROGUELIFE mark. On February 8, 2016, the Bankruptcy Court
                                   entered an order, which became effective on April 14, 2016. From April 14,
                                   2016 through at least the Fall of 2017, Relativity engaged with a wide range
                                   of parties regarding a multitude of possible transactions, including: (a) for
                                   the equity raise, at least thirty-three high net worth individuals, companies
                                   and/or funds, (b) for the debt recapitalization, at least fourteen companies
EXCUSABLE NONUSE EXPLANATION
                                   and/or funds, (c) for a sale of the film library, at least seven companies
                                   and/or funds, and (d) for an investment in the film production slate, at least
                                   three companies. Despite these efforts, only one potential transaction led to
                                   an investment in Relativity, yet the arrangement was never fully
                                   consummated. Accordingly, despite Relativity's efforts, Relativity was
                                   unable to secure the debt or equity capital necessary to execute on its
                                   business plan, and the size and scope of Relativity's business operations
                                   were severely curtailed. By May 2018, Relativity's work force had been
                                   reduced significantly. On May 3, 2018, Relativity filed for bankruptcy
                                   protection on for the second time (the "Second Bankruptcy"). On February
                                   26, 2018, Relativity signed a restructuring support agreement with the new
                                   owner ("UltraV"), providing the framework for the sale of Relativity's assets
                                   to UltraV, which was eventually consummated on October 10, 2018. As a
                                   result of the First Bankruptcy, the Second Bankruptcy, Relativity's efforts to
                                   obtain financing and resume its business operations in between, and
                                   UltraV's ongoing efforts to reestablish its business operations since, UltraV
                                   has not yet resumed offering the registered services under the ROGUELIFE
                                   mark, but UltraV is continuing to take steps to resume use for those services
                                   and expects to resume use within the next twelve months. For the foregoing
                                   reasons, UltraV has shown special circumstances that justify and excuse the
                                   temporary nonuse of the registered mark for the registered services, and that
                                   UltraV is taking steps to resume use.
OWNER SECTION (current)
NAME                               UV RML NL ASSETS LLC
INTERNAL ADDRESS                   660 MADISON AVENUE
MAILING ADDRESS                    15TH FLOOR
CITY                               NEW YORK
STATE                              New York
ZIP/POSTAL CODE                    10065
COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                   United States
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 142 of 494 Page ID
                                   #:2022

OWNER SECTION (proposed)
NAME                                      UV RML NL ASSETS LLC
INTERNAL ADDRESS                          660 MADISON AVENUE
MAILING ADDRESS                           15TH FLOOR
CITY                                      NEW YORK
STATE                                     New York
ZIP/POSTAL CODE                           10065
COUNTRY/REGION/JURISDICTION/U.S.
                                          United States
TERRITORY

EMAIL                                     XXXX
LEGAL ENTITY SECTION (current)
TYPE                                      limited liability company
STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                          Delaware
TERRITORY WHERE LEGALLY ORGANIZED

PAYMENT SECTION
NUMBER OF CLASSES                         1
NUMBER OF CLASSES PAID                    1
FILING § 8 AFFIDAVIT PER CLASS            125
ADDITIONAL FEE FOR FILING §8 AFFIDAVIT
                                          100
DURING GRACE PERIOD FEE PER CLASS

TOTAL FEE PAID                            225
SIGNATURE SECTION
SIGNATURE                                 /Andrew W. Levin/
SIGNATORY'S NAME                          Levin, Andrew W.
SIGNATORY'S POSITION                      General Counsel
DATE SIGNED                               05/19/2020
PAYMENT METHOD                            DA
                                         FILING INFORMATION
SUBMIT DATE                               Tue May 19 18:00:56 ET 2020
                                          USPTO/SECT08-XXX.XXX.XXX.
                                          X-20200519180056460639-44
                                          36723-710831a57c2ad298ebe
TEAS STAMP                                bdb1e6c249ba97cea4b04e829
                                          b502b74e0c381fd76ee068-DA
                                          -00551431-202005191727168
                                          77075
             Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 143 of 494 Page ID
                                                #:2023

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PTO Form 1563 (Rev 05/2006)
OMB No. 0651-0055 (Exp 10/31/2021)




             Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 4436723
REGISTRATION DATE: 11/19/2013

MARK: ROGUELIFE

Current: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
   15TH FLOOR 660 MADISON AVENUE
    NEW YORK, New York 10065
   United States

Proposed: The owner, UV RML NL ASSETS LLC, a limited liability company legally organized under the laws of Delaware, having an address
of
     660 MADISON AVENUE
     15TH FLOOR
     NEW YORK, New York 10065
     United States
     XXXX
is filing a Declaration of Use and/or Excusable Nonuse of Mark in Commerce under Section 8.

For International Class 041, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: providing a website site featuring information, news
and commentary regarding the arts, entertainment, sports, and the media; providing a website where users can post ratings, reviews, or
recommendations on events and activities in the fields of the arts, entertainment, sports, and the media; providing a website featuring non-
downloadable musical or spoken performances, musical or non-musical videos, related film clips, photographs, and other multimedia materials
featuring news, fashion, culture, entertainment, the arts, comedy, history, music and lifestyles; providing a web site featuring user-generated
videos on a wide variety of topics and subjects; providing an Internet news portal featuring links to news stories and articles in the field of current
events ; or, the owner is making the listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) a brochure.

Original PDF file:
SPN0-2042272555-202005191 72716877075_._ROGUELIFE_S pecimen.pdf
Converted PDF file(s) (5 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5

The following explanation of excusable nonuse has been made of record: The previous owner stopped using the mark approximately around July
30, 2015 due to being forced to file for bankruptcy protection from circumstances beyond the owner's control. Specifically, between 2005 and
2010, a hedge fund (the "Hedge Fund") made a significant investment in the previous owner ("Relativity"). In 2012, the Hedge Fund forced a
buyout of its interest in Relativity. To satisfy this, Relativity borrowed another significant amount in debt and sold certain assets to the Hedge
Fund, leaving Relativity in an over-leveraged, under-capitalized position. Thereafter, Relativity experienced severe liquidity constraints and
increasing limitations imposed by forbearance agreements and new debt issuances. Eventually, with significant outstanding matured secured
debt, and unable to finalize any further financing, Relativity was forced to file for bankruptcy protection. Relativity filed for bankruptcy
protection on July 30, 2015 (the "First Bankruptcy"). Due to the constraints that led to the First Bankruptcy, Relativity was forced to suspend
certain business operations around that time, which included the registered services offered under Relativity's ROGUELIFE mark. On February
8, 2016, the Bankruptcy Court entered an order, which became effective on April 14, 2016. From April 14, 2016 through at least the Fall of 2017,
Relativity engaged with a wide range of parties regarding a multitude of possible transactions, including: (a) for the equity raise, at least thirty-
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                                            #:2024

three high net worth individuals, companies and/or funds, (b) for the debt recapitalization, at least fourteen companies and/or funds, (c) for a sale
of the film library, at least seven companies and/or funds, and (d) for an investment in the film production slate, at least three companies. Despite
these efforts, only one potential transaction led to an investment in Relativity, yet the arrangement was never fully consummated. Accordingly,
despite Relativity's efforts, Relativity was unable to secure the debt or equity capital necessary to execute on its business plan, and the size and
scope of Relativity's business operations were severely curtailed. By May 2018, Relativity's work force had been reduced significantly. On May
3, 2018, Relativity filed for bankruptcy protection on for the second time (the "Second Bankruptcy"). On February 26, 2018, Relativity signed a
restructuring support agreement with the new owner ("UltraV"), providing the framework for the sale of Relativity's assets to UltraV, which was
eventually consummated on October 10, 2018. As a result of the First Bankruptcy, the Second Bankruptcy, Relativity's efforts to obtain financing
and resume its business operations in between, and UltraV's ongoing efforts to reestablish its business operations since, UltraV has not yet
resumed offering the registered services under the ROGUELIFE mark, but UltraV is continuing to take steps to resume use for those services and
expects to resume use within the next twelve months. For the foregoing reasons, UltraV has shown special circumstances that justify and excuse
the temporary nonuse of the registered mark for the registered services, and that UltraV is taking steps to resume use.

The owner's/holder's current attorney information: Cydney A. Tune. Cydney A. Tune of PILLSBURY WINTHROP SHAW PITTMAN LLP, is
located at

   P.O. BOX 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502571.

The phone number is 415-983-6443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

The owner's/holder's proposed attorney information: Cydney A. Tune. Other appointed attorneys are Sam E. Iverson, all members of Pillsbury
Winthrop Shaw Pittman LLP, and all other attorneys associated with that firm. Cydney A. Tune of PILLSBURY WINTHROP SHAW
PITTMAN LLP, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located at

   P.O. BOX 2824
   San Francisco, California 94126-2824
   United States
The docket/reference number is 53481-502571.

The phone number is 4159836443.

The fax number is 415-983-1200.

The email address is sftrademarks@pillsburylaw.com

Cydney A. Tune submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

Correspondence Information (current):
   Cydney A. Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502571.

Correspondence Information (proposed):
   Cydney A. Tune
   PRIMARY EMAIL FOR CORRESPONDENCE: sftrademarks@pillsburylaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 53481-502571.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the owner/holder and the
owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark Electronic
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 145 of 494 Page ID
                                           #:2025

Application System (TEAS).

A fee payment in the amount of $225 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.


                                                                 Declaration
        Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods/services
        or to indicate membership in the collective membership organization identified above, as evidenced by the attached specimen(s).
        Unless the owner has specifically claimed excusable nonuse, the specimen(s) shows the mark as currently used in commerce on or in
        connection with the goods/services/collective membership organization.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of this submission and the registration, declares that
        all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.

Signature: /Andrew W. Levin/ Date: 05/19/2020
Signatory's Name: Levin, Andrew W.
Signatory's Position: General Counsel

Mailing Address (current):
 PILLSBURY WINTHROP SHAW PITTMAN LLP
 P.O. BOX 2824
 San Francisco, California 94126-2824

Mailing Address (proposed):
 PILLSBURY WINTHROP SHAW PITTMAN LLP
 P.O. BOX 2824
 San Francisco, California 94126-2824

Serial Number: 77815550
Internet Transmission Date: Tue May 19 18:00:56 ET 2020
TEAS Stamp: USPTO/SECT08-XXX.XXX.XXX.X-2020051918005
6460639-4436723-710831a57c2ad298ebebdb1e
6c249ba97cea4b04e829b502b74e0c381fd76ee0
68-DA-00551431-20200519172716877075
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 146 of 494 Page ID
                                   #:2026
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 147 of 494 Page ID
                                   #:2027
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                                   #:2029
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                                   #:2030
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                                   #:2031
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 152 of 494 Page ID
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                                           #:2033
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Client Reference:     008893.00726
Trademark:            ROGUE
Intl Class(es):       9, 41, and 42
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Chart Of Tagged Records
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TM/AN/RN/Disclaimer     Status/Key Dates           Full Goods/Services                         Owner Information
52*8()/,;               5HJLVWHUHG-DQXDU\    ,QW O&ODVV                             5RNYX//& &DOLIRUQLD
51                                      ,QW O&ODVV                           /LPLWHG/LDELOLW\
61            ,QW O&ODVV            (QWHUWDLQPHQWLQIRUPDWLRQ                  &RPSDQ\ 
                        )LUVW8VH-XQH    (QWHUWDLQPHQWVHUYLFHVQDPHO\             (&2/25$'2
                         )LOHG-XQH       SURYLGLQJDZHEVLWHIHDWXULQJ              %/9'68,7(
                         5HJLVWHUHG-DQXDU\    SKRWRJUDSKLFDXGLRYLGHRDQGSURVH        3DVDGHQD&DOLIRUQLD
                                                SUHVHQWDWLRQVIHDWXULQJHQWHUWDLQPHQW       8QLWHG6WDWHVRI
                         5HJLVWHU7\SH3ULQFLSDO   LQIRUPDWLRQQHZVDQGFRPPHQWDU\            $PHULFD
                         5HJLVWHU                   UHJDUGLQJWKHDUWVHQWHUWDLQPHQW          
                                                    VSRUWVDQGWKHPHGLD(QWHUWDLQPHQW
                                                     VHUYLFHVQDPHO\SURYLGLQJRQOLQH
                                                     UHYLHZVRIPRYLHV)LOPDQGYLGHR
                                                     SURGXFWLRQ0RWLRQSLFWXUHILOP
                                                     SURGXFWLRQ3K\VLFDOILWQHVV
                                                     LQVWUXFWLRQ3URYLGLQJDZHEVLWH
                                                     IHDWXULQJLQIRUPDWLRQRQH[HUFLVHDQG
                                                     ILWQHVV3URYLGLQJDZHEVLWHIHDWXULQJ
                                                     QRQGRZQORDGDEOHLQVWUXFWLRQDOYLGHRV
                                                     LQWKHILHOGRIPDUWLDODUWV3URYLGLQJD
                                                     ZHEVLWHWKDWIHDWXUHVLQIRUPDO
                                                     LQVWUXFWLRQRQVHOIGHIHQVH3URYLGLQJ
                                                     DZHEVLWHIHDWXULQJHQWHUWDLQPHQW
                                                     LQIRUPDWLRQ3URYLGLQJHQWHUWDLQPHQW
                                                     LQIRUPDWLRQYLDDZHEVLWH3URYLGLQJ
                                                     LQIRUPDWLRQRQSK\VLFDOH[HUFLVH
                                                     3URYLGLQJLQIRUPDWLRQQHZVDQG
                                                     FRPPHQWDU\LQWKHILHOGRI
                                                     HQWHUWDLQPHQW5HQWDORIPRWLRQ
                                                     SLFWXUHV5HQWDORISUHUHFRUGHG
                                                     YLGHRVWKDWPD\EHGRZQORDGHGIURP
                                                     DQ,QWHUQHWZHEVLWH
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52*8(+281'             5HJLVWHUHG-XQH       ,QW O&ODVV                             5RJXH+RXQG
(17(57$,10(17                                    ,QW O&ODVV                           (QWHUWDLQPHQW6WXGLRV
678',26                 ,QW O&ODVV            (QWHUWDLQPHQWVHUYLFHVQDPHO\             //& 0LFKLJDQ/LPLWHG
51             )LUVW8VH-DQXDU\     PXOWLPHGLDSURGXFWLRQVHUYLFHV              /LDELOLW\&RPSDQ\ 
61                                                                               /DNHYLHZ6W
'LVFODLPHU             )LOHG1RYHPEHU                                                '(752,70LFKLJDQ
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                        5HJLVWHU7\SH3ULQFLSDO                                                
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TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services                           Owner Information
52*8(+281'          5HJLVWHUHG-XQH       ,QW O&ODVV                               5RJXH+RXQG
(17(57$,10(17                                 ,QW O&ODVV                              (QWHUWDLQPHQW6WXGLRV
678',26DQG'HVLJQ    ,QW O&ODVV             (QWHUWDLQPHQWVHUYLFHVQDPHO\              //& 0LFKLJDQ/LPLWHG
                      )LUVW8VH-DQXDU\     PXOWLPHGLDSURGXFWLRQVHUYLFHV                /LDELOLW\&RPSDQ\
                                                                                            /DNHYLHZ6W
                      )LOHG1RYHPEHU                                                  '(752,70LFKLJDQ
                      5HJLVWHUHG-XQH                                                     8QLWHG6WDWHVRI
                                                                                            $PHULFD
                      5HJLVWHU7\SH3ULQFLSDO
                      5HJLVWHU

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'LVFODLPHU
(17(57$,10(17
678',26


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51           ,QW O&ODVV              ,QW O&ODVV                              ,QGLYLGXDO
61          )LUVW8VH-XO\     3URGXFWLRQDQGGLVWULEXWLRQRIPRWLRQ        :HVW0DJQROLD
                      )LOHG0D\          SLFWXUHV3URYLVLRQRILQIRUPDWLRQ           %OYG%XUEDQN
                      5HJLVWHUHG-XO\   UHODWLQJWRGLVWULEXWLRQRIWHOHYLVLRQ       &DOLIRUQLD8QLWHG
                      5HJLVWHU7\SH3ULQFLSDO   VKRZVPRWLRQSLFWXUHILOPDQGUDGLR         6WDWHVRI$PHULFD
                      5HJLVWHU                    VKRZV7HOHYLVLRQVKRZSURGXFWLRQ
                                                  7HOHYLVLRQYLGHRDQGPRYLHILOPLQJ
                                                  VHUYLFHV


52*8(75223(5         5HJLVWHUHG)HEUXDU\    ,QW O&ODVV                   .LQJVOH\-DVRQ *E
51                                    ,QW O&ODVV                              ,QGLYLGXDO
61          )LOHG)HEUXDU\    &RPSDFWGLVFV'9'VDQGRWKHU                5LYHUVLGH+RXVH
                      5HJLVWHUHG)HEUXDU\    GLJLWDOUHFRUGLQJPHGLDQDPHO\03        2VQH\0HDG2[IRUG
                                              03IHDWXULQJYLGHRVLQWKHILHOGRI         8QLWHG.LQJGRP
                      5HJLVWHU7\SH3ULQFLSDO   DFWLRQDGYHQWXUHDQLPDWLRQ                .LQJVOH\&KULVWRSKHU
                      5HJLVWHU                    ELRJUDSK\FRPHG\FULPH                     *E,QGLYLGXDO
                                                  GRFXPHQWDU\GUDPDIDPLO\IDQWDV\         5LYHUVLGH+RXVH
                                                  ILOPQRLU KLVWRU\KRUURUPXVLF           2VQH\0HDG2[IRUG
                                                  PXVLFDOP\VWHU\URPDQFHVFLHQFH           8QLWHG.LQJGRP
                                                  ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                                  DQGDXGLRLQWKHILHOGRIPXVLF
                                                  0HFKDQLVPVIRUFRLQRSHUDWHG
                                                  DSSDUDWXVFRPSXWHUVRIWZDUH
                                                  QDPHO\FRPSXWHUJUDSKLFVVRIWZDUH
                                                  FRPSXWHURSHUDWLQJVRIWZDUH
                                                  FRPSXWHUJDPHVRIWZDUHFRPSXWHU
                                                  VRIWZDUHGHYHORSPHQWWRROVPXVLF
                                                  GLVFVDFWLRQFRPSXWHUJDPHV
                                                  FRPSXWHUDFWLRQJDPHVIRUXVHRQD
                                                  FRQVROHDFWLRQPRELOHVRIWZDUH
                                                  JDPHVDFWLRQUROHSOD\LQJFRPSXWHU
                                                  JDPHVDFWLRQUROHSOD\LQJPRELOH
                                                  VRIWZDUHJDPHVDFWLRQUROHSOD\LQJ
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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           DFWLRQDGYHQWXUHFRPSXWHUJDPHV
                                           DFWLRQDGYHQWXUHPRELOHVRIWZDUH
                                           JDPHVDFWLRQDGYHQWXUHVRIWZDUH
                                           DGDSWLYHVRIWZDUHDGYHQWXUH
                                           FRPSXWHUJDPHVDGYHQWXUHPRELOH
                                           VRIWZDUHJDPHVDGYHQWXUHVRIWZDUH
                                           DGYHUJDPHFRPSXWHUJDPHV
                                           DGYHUJDPHPRELOHVRIWZDUHJDPHV
                                           DGYHUJDPHVRIWZDUHDSSOLFDWLRQ
                                           VRIWZDUHXVHGIRUFRPSXWHUJDPHV
                                           DSSOLFDWLRQVRIWZDUHIRUVRFLDO
                                           QHWZRUNLQJVHUYLFHVYLDLQWHUQHW
                                           DUFDGHPRELOHVRIWZDUHJDPHVDUW
                                           JDPHFRPSXWHUJDPHVDUWJDPH
                                           PRELOHVRIWZDUHJDPHVDUWJDPH
                                           VRIWZDUHDUWLOOHU\FRPSXWHUJDPHV
                                           DUWLOOHU\PRELOHVRIWZDUHJDPHV
                                           DVVLVWLYHVRIWZDUHIRUXVHE\WKRVH
                                           ZLWKGLVDELOLWLHVDXGLRGLVFVIHDWXULQJ
                                           PXVLFEHDW HP XSFRPSXWHUJDPHV
                                           EHDW HP XSPRELOHVRIWZDUHJDPHV
                                           ELRLQIRUPDWLFVVRIWZDUH%,26
                                           VRIWZDUHFRPSXWHUJDPHVERDUG
                                           JDPHVRIWZDUHFDUGJDPHFRPSXWHU
                                           JDPHVFDUGJDPHPRELOHVRIWZDUH
                                           JDPHVFDUGJDPHVRIWZDUHFDVXDO
                                           FRPSXWHUJDPHVFDVXDOPRELOH
                                           VRIWZDUHJDPHVFDVXDOVRIWZDUH
                                           JDPHVFLQHPDWRJUDSKLFILOPVLQWKH
                                           ILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           FRPPXQLFDWLRQVRIWZDUHRQOLQH
                                           FRPPXQLW\VRIWZDUHFRPSDFWGLVFV
                                           IHDWXULQJUHDGRQO\PHPRU\PXVLF
                                           DXGLRFRPSHWLWLYHFRPSXWHUJDPHV
                                           FRPSHWLWLYHPRELOHVRIWZDUHJDPHV
                                           FRPSHWLWLYHJDPHVRIWZDUHFRPSLOHU
                                           VRIWZDUHXVHGIRUWUDQVIRUPLQJVRXUFH
                                           FRGHLQWRWKHWDUJHWODQJXDJH
                                           FRPSXWHUDSSOLFDWLRQVRIWZDUHXVHG
                                           IRUFRPSXWHUJDPHVHOHFWURQLF
                                           GDWDEDVHLQWKHILHOGRIFRPSXWHU
                                           JDPHVRIWZDUHUHFRUGHGRQFRPSXWHU
                                           PHGLDFRPSXWHUJDPHGLVFV
                                           FRPSXWHUJDPHVVRIWZDUHFRPSXWHU
                                           JDPHVFRPSXWHUJDPHVXVHGLQ
                                           EXVLQHVVFRPSXWHUJDPHVXVHGIRU
                                           EXVLQHVVSXUSRVHVFRPSXWHUJDPLQJ
                                           VRIWZDUHFRPSXWHUJUDSKLFVVRIWZDUH
                                           FRPSXWHURSHUDWLQJVRIWZDUH


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           FRPSXWHUSURJUDPVXVHGIRUFRPSXWHU
                                           JDPHVGHVLJQFRPSXWHUVRIWZDUH
                                           XVHGIRUYLUWXDOUHDOLW\FRPSXWHU
                                           WHOHSKRQ\VRIWZDUHFRQVWUXFWLRQRU
                                           PDQDJHPHQWVLPXODWLRQFRPSXWHU
                                           JDPHVFRQVWUXFWLRQRUPDQDJHPHQW
                                           VLPXODWLRQPRELOHVRIWZDUHJDPHV
                                           FRQVWUXFWLRQRUPDQDJHPHQW
                                           VLPXODWLRQVRIWZDUHFUHGLWVFUHHQLQJ
                                           VRIWZDUHGDWDFRPPXQLFDWLRQV
                                           VRIWZDUHGDWDFRPSUHVVLRQVRIWZDUH
                                           GDWDSURFHVVLQJVRIWZDUHGDWDEDVH
                                           PDQDJHPHQWVRIWZDUHXVHGLQWKH
                                           ILHOGRIFRPSXWHUJDPHVGDWDEDVH
                                           VRIWZDUHXVHGLQWKHILHOGRIFRPSXWHU
                                           JDPHVGHFRGHUVRIWZDUHGLJLWDO
                                           YHUVDWLOHGLVFVIHDWXULQJJDPHV
                                           PXVLFYLGHRVVRIWZDUH
                                           GRZQORDGDEOHHOHFWURQLFSXEOLFDWLRQV
                                           LQWKHQDWXUHRIUHSRUWVERRNV
                                           UHYLHZVQHZVDUWLFOHVHVVD\V
                                           JXLGHVPDQXDOVSRVWHUVDQG
                                           PDJD]LQHVLQWKHILHOGRIFRPSXWHU
                                           VRIWZDUHILOPVWHOHYLVLRQDQG
                                           FRPSXWHUJDPHVGRZQORDGDEOH
                                           PRYLHVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQ
                                           GRZQORDGDEOHYLGHRUHFRUGLQJVLQWKH
                                           ILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
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                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           '9'GLVFVLQWKHILHOGRIDFWLRQ
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                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
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                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQ(OHFWURQLF
                                           SXEOLFDWLRQVQDPHO\UHSRUWVERRNV
                                           UHYLHZVQHZVDUWLFOHVHVVD\V
                                           JXLGHVPDQXDOVSRVWHUVDQG
                                           PDJD]LQHVLQWKHILHOGRIFRPSXWHU
                                           VRIWZDUHILOPVWHOHYLVLRQFRPSXWHU
                                           JDPHVPXVLFDQGYLGHRVUHFRUGHG
                                           RQFRPSXWHUPHGLDHQFRGHGGLVFV
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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                           Owner Information
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQRSWLFDOGLVFV
                                           SUHUHFRUGHGFDVVHWWHVSUHUHFRUGHG
                                           FRPSDFWGLVFVSUHUHFRUGHGGLJLWDO
                                           YHUVDWLOHGLVFVDOOIHDWXULQJILOPVLQWKH
                                           ILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           SUHUHFRUGHGGLJLWDOYHUVDWLOHGLVFV
                                           IHDWXULQJPXVLFSUHUHFRUGHGGLJLWDO
                                           YHUVDWLOHGLVFVIHDWXULQJYLGHRVLQWKH
                                           ILHOGRIFRPSXWHUJDPHVSUHUHFRUGHG
                                           GLVFVLQWKHILHOGRIFRPSXWHUJDPHV
                                           SUHUHFRUGHGILOPVRQGLVFVDQGPS
                                           LQWKHILHOGRIDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           YLGHRFRPSDFWGLVFVLQWKHILHOGRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           YLGHRILOPVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQ'9'GLVFVLQ
                                           WKHILHOGRIDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           '9'FDVHV9LGHRGLVFVLQWKHILHOGRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           'RZQORDGDEOHPRYLHVLQWKHILHOGRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           'RZQORDGDEOHSRGFDVWVLQWKHILHOGRI
                                           QHZVFXUUHQWDIIDLUVDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUFRPSXWHUVRIWZDUH
                                           FRPSXWHUJDPHVDQGZHVWHUQ
                                           'RZQORDGDEOHFRPLFVWULSV
                                           'RZQORDGDEOHHOHFWURQLFQHZVSDSHUV
                                           LQWKHILHOGRIFRPSXWHJDPHVFXUUHQW
                                           DIIDLUVFRPSXWHUVRIWZDUH
                                           'RZQORDGDEOHHOHFWURQLFERRNVLQWKH
                                           ILHOGRIFRPSXWHUJDPHVFRPSXWHU
                                           VRIWZDUH'RZQORDGDEOHYLGHRILOHVLQ
                                           WKHILHOGRIQHZVFXUUHQWDIIDLUV
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           'RZQORDGDEOHPXVLFDOVRXQG
                                           UHFRUGLQJVGRZQORDGDEOHFRPSXWHU
                                           VRIWZDUHDSSOLFDWLRQVXVHGIRU
                                           FRPSXWHUJDPHVGRZQORDGDEOH
                                           FRPSXWHUVRIWZDUHXVHGIRUFRPSXWHU
                                           JDPHVGRZQORDGDEOHJDPHV
                                           VRIWZDUHGRZQORDGDEOHPRYLHVLQWKH
                                           ILHOGRIQHZVFXUUHQWDIIDLUVDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQHGXFDWLRQDO
                                           FRPSXWHUJDPHVHGXFDWLRQDOPRELOH
                                           VRIWZDUHJDPHVHOHFWURQLFVSRUWV
                                           FRPSXWHUJDPHVHOHFWURQLFVSRUWV
                                           PRELOHVRIWZDUHJDPHVHOHFWURQLF
                                           VSRUWVVRIWZDUHHQWHUWDLQPHQW
                                           VRIWZDUHXVHGIRUSOD\LQJILOPVPXVLF
                                           DXGLRFRPSXWHUJDPHVYLGHRV
                                           H[HUFLVHFRPSXWHUJDPHVH[HUFLVH
                                           PRELOHVRIWZDUHJDPHVH[HUFLVH
                                           JDPHVRIWZDUHH[SORUHH[SDQG


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           H[SORLWRUH[WHUPLQDWHFRPSXWHU
                                           JDPHVH[SORUHH[SDQGH[SORLWRU
                                           H[WHUPLQDWHPRELOHVRIWZDUHJDPHV
                                           H[SORUHH[SDQGH[SORLWRU
                                           H[WHUPLQDWHVRIWZDUHIDFLDODQDO\VLV
                                           VRIWZDUHIDFLDOUHFRJQLWLRQVRIWZDUH
                                           ILJKWLQJFRPSXWHUJDPHVILJKWLQJ
                                           PRELOHVRIWZDUHJDPHVILJKWLQJJDPH
                                           VRIWZDUHILUVWSHUVRQVKRRWHU
                                           FRPSXWHUJDPHVILUVWSHUVRQVKRRWHU
                                           PRELOHVRIWZDUHJDPHVILUVWSHUVRQ
                                           VKRRWHUVRIWZDUHJUDQGVWUDWHJ\
                                           ZDUJDPHFRPSXWHUJDPHVJUDQG
                                           VWUDWHJ\ZDUJDPHPRELOHVRIWZDUH
                                           JDPHVJUDQGVWUDWHJ\ZDUJDPH
                                           VRIWZDUHLGOHJDPLQJFRPSXWHU
                                           JDPHVLGOHJDPLQJPRELOHVRIWZDUH
                                           JDPHVLGOHJDPLQJVRIWZDUHLPDJH
                                           UHFRJQLWLRQVRIWZDUHLQFUHPHQWDO
                                           FRPSXWHUJDPHVLQFUHPHQWDOPRELOH
                                           VRIWZDUHJDPHVLQGXVWULDOVRIWZDUH
                                           XVHGIRUFUHDWLQJJDPHVILOPV
                                           VRIWZDUHPXVLFDXGLRYLGHRV
                                           LQWHUDFWLYHPRYLHFRPSXWHUJDPHV
                                           LQWHUDFWLYHPRYLHPRELOHVRIWZDUH
                                           JDPHVLQWHUIDFHVRIWZDUHXVHGIRU
                                           DOORZLQJWZRRUPRUHVHSDUDWH
                                           FRPSRQHQWVRIDFRPSXWHUV\VWHPWR
                                           H[FKDQJHLQIRUPDWLRQLQWHUQHW
                                           PHVVDJLQJVRIWZDUHOLIHVLPXODWLRQ
                                           FRPSXWHUJDPHVOLIHVLPXODWLRQ
                                           PRELOHVRIWZDUHJDPHVOLIHVLPXODWLRQ
                                           VRIWZDUHJHRORFDOLVDWLRQVRIWZDUH
                                           ORJLFFRPSXWHUJDPHVORJLFPRELOH
                                           VRIWZDUHJDPHVPDVVLYHO\
                                           PXOWLSOD\HURQOLQHFRPSXWHUJDPHV
                                           PDVVLYHO\PXOWLSOD\HURQOLQHPRELOH
                                           VRIWZDUHJDPHVPDVVLYHO\
                                           PXOWLSOD\HURQOLQHUROHSOD\LQJJDPHV
                                           PRELOHJDPHVPHGLDVRIWZDUHXVHG
                                           IRUSOD\LQJJDPHVYLGHRVILOPV
                                           PXVLFDXGLRPHWURLGYDQLDFRPSXWHU
                                           JDPHVPHWURLGYDQLDPRELOHVRIWZDUH
                                           JDPHVPHWURLGYDQLDVRIWZDUHPRWLRQ
                                           SLFWXUHVLQWKHILHOGRIQHZVFXUUHQW
                                           DIIDLUVDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           PXOWLPHGLDVRIWZDUHXVHGIRUQHZV
                                           FXUUHQWDIIDLUVDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           PXOWLPHGLDVRIWZDUHXVHGIRUQHZV
                                           FXUUHQWDIIDLUVDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           PXVLFFRPSXWHUJDPHVPXVLFPRELOH
                                           VRIWZDUHJDPHVPXVLFVRIWZDUHXVHG
                                           IRUSOD\LQJDQGUHFRUGLQJPXVLF
                                           PXVLFFRPSRVLWLRQVRIWZDUHQRQ
                                           YLROHQWFRPSXWHUJDPHVQRQYLROHQW
                                           PRELOHVRIWZDUHJDPHVRSHUDWLQJ
                                           VRIWZDUHSDUW\FRPSXWHUJDPHVSDUW\
                                           PRELOHVRIWZDUHJDPHVSODWIRUP
                                           FRPSXWHUJDPHVSODWIRUPPRELOH
                                           VRIWZDUHJDPHVSUHUHFRUGHG
                                           FRPSDFWGLVFVDQGSUHUHFRUGHG
                                           GLJLWDOYHUVDWLOHGLVFVIHDWXULQJJDPHV
                                           SUHUHFRUGHGGLJLWDOYHUVDWLOHGLVFV
                                           IHDWXULQJILOPVLQWKHILHOGRIQHZV
                                           FXUUHQWDIIDLUVDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           SUHUHFRUGHGGLJLWDOYHUVDWLOHGLVFV
                                           IHDWXULQJPXVLFSUHUHFRUGHGGLJLWDO
                                           YHUVDWLOHGLVFVIHDWXULQJYLGHRVLQWKH
                                           ILHOGRIQHZVFXUUHQWDIIDLUVDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQSUHUHFRUGHG
                                           GLVFVIHDWXULQJQHZVFXUUHQWDIIDLUV
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           SUHUHFRUGHGVRIWZDUHXVHGIRU
                                           JDPHVSULYDF\VRIWZDUHXVHGIRU
                                           SURWHFWLQJWKHSULYDF\RILWVXVHUV
                                           SURJUDPPLQJFRPSXWHUJDPHV
                                           SURJUDPPLQJPRELOHVRIWZDUHJDPHV
                                           FRPSXWHUSURJUDPPLQJVRIWZDUH


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                       Owner Information
                                           UDFLQJFRPSXWHUJDPHVUDFLQJPRELOH
                                           VRIWZDUHJDPHVUDFLQJVRIWZDUHUHDO
                                           WLPH'DGYHQWXUHFRPSXWHUJDPHV
                                           UHDOWLPH'DGYHQWXUHPRELOH
                                           VRIWZDUHJDPHVUHDOWLPH'
                                           DGYHQWXUHVRIWZDUHUHDOWLPHVWUDWHJ\
                                           FRPSXWHUJDPHVUHDOWLPHVWUDWHJ\
                                           PRELOHVRIWZDUHJDPHVUHDOWLPH
                                           VWUDWHJ\VRIWZDUHUHDOWLPHWDFWLFV
                                           FRPSXWHUJDPHVUHDOWLPHWDFWLFV
                                           PRELOHVRIWZDUHJDPHVUHDOWLPH
                                           WDFWLFVVRIWZDUHUHFRUGHGILOPVLQWKH
                                           ILHOGRIQHZVFXUUHQWDIIDLUVDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQUROHSOD\LQJ
                                           FRPSXWHUJDPHVUROHSOD\LQJPRELOH
                                           VRIWZDUHJDPHVUROHSOD\LQJVRIWZDUH
                                           VDQGER[UROHSOD\LQJFRPSXWHU
                                           JDPHVVDQGER[UROHSOD\LQJPRELOH
                                           VRIWZDUHJDPHVVDQGER[UROHSOD\LQJ
                                           VRIWZDUHVFLHQFHVRIWZDUHXVHGIRU
                                           HGXFDWLRQDOSXUSRVHVF\EHUVHFXULW\
                                           VRIWZDUHVHULRXVFRPSXWHUJDPHV
                                           VHULRXVPRELOHVRIWZDUHJDPHV
                                           VKRRWHUFRPSXWHUJDPHVVKRRWHU
                                           PRELOHVRIWZDUHJDPHVVKRRWHUJDPH
                                           VRIWZDUHVLGHVFUROOLQJFRPSXWHU
                                           JDPHVVLGHVFUROOLQJPRELOHVRIWZDUH
                                           JDPHVVLGHVFUROOLQJVRIWZDUH
                                           VLPXODWLRQFRPSXWHUJDPHV
                                           VLPXODWLRQPRELOHVRIWZDUHJDPHV
                                           VLPXODWLRQVRIWZDUHVLPXODWLRQ
                                           VRIWZDUHVRIWZDUHGULYHUVVRIWZDUH
                                           IRU*36QDYLJDWLRQV\VWHPVVRIWZDUH
                                           SURJUDPPDEOHPLFURSURFHVVRUV
                                           VSHHFKDQDO\WLFVVRIWZDUHVSRUWV
                                           FRPSXWHUJDPHVVSRUWVPRELOH
                                           VRIWZDUHJDPHVVSRUWVEDVHGILJKWLQJ
                                           FRPSXWHUJDPHVVSRUWVEDVHG
                                           ILJKWLQJJDPHVVSRUWVEDVHGILJKWLQJ
                                           PRELOHVRIWZDUHJDPHVVSRUWVEDVHG
                                           ILJKWLQJVRIWZDUHVWHDOWKFRPSXWHU
                                           JDPHVVWHDOWKPRELOHVRIWZDUH
                                           JDPHVVWUDWHJ\FRPSXWHUJDPHV
                                           VWUDWHJ\PRELOHVRIWZDUHJDPHV
                                           VWXGHQWVRIWZDUHXVHGIRUHGXFDWLRQ
                                           SXUSRVHVVXUYLYDOKRUURUFRPSXWHU
                                           JDPHVVXUYLYDOKRUURUPRELOH
                                           VRIWZDUHJDPHVVXUYLYDOKRUURU
                                           VRIWZDUHWDFWLFDOUROHSOD\LQJ


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           FRPSXWHUJDPHVWDFWLFDOUROHSOD\LQJ
                                           PRELOHVRIWZDUHJDPHVWDFWLFDOUROH
                                           SOD\LQJVRIWZDUHWDFWLFDOVKRRWHU
                                           FRPSXWHUJDPHVWDFWLFDOVKRRWHU
                                           PRELOHVRIWZDUHJDPHVWDFWLFDO
                                           VKRRWHUVRIWZDUHVRIWZDUHIRU
                                           WHDFKHUVWHOHFRPPXQLFDWLRQV
                                           VRIWZDUHXVHGIRUSURYLGLQJUHPRWH
                                           DFFHVVWRV\VWHPVDQGH[FKDQJHILOHV
                                           DQGPHVVDJHVLQWH[WDXGLRDQGRU
                                           YLGHRIRUPDWVEHWZHHQGLIIHUHQW
                                           FRPSXWHUVRUXVHUVWH[WDGYHQWXUH
                                           FRPSXWHUJDPHVWH[WDGYHQWXUH
                                           PRELOHVRIWZDUHJDPHVWH[W
                                           DGYHQWXUHVRIWZDUHWKLUGSHUVRQ
                                           VKRRWHUFRPSXWHUJDPHVWKLUGSHUVRQ
                                           VKRRWHUPRELOHVRIWZDUHJDPHVWKLUG
                                           SHUVRQVKRRWHUVRIWZDUHWRZHU
                                           GHIHQVHFRPSXWHUJDPHVWRZHU
                                           GHIHQVHPRELOHVRIWZDUHJDPHV
                                           WUDLQLQJVRIWZDUHXVHGIRUHGXFDWLRQ
                                           SXUSRVHVWULYLDFRPSXWHUJDPHV
                                           WULYLDPRELOHVRIWZDUHJDPHVWULYLD
                                           VRIWZDUHWXUQEDVHGVWUDWHJ\
                                           FRPSXWHUJDPHVWXUQEDVHGVWUDWHJ\
                                           PRELOHVRIWZDUHJDPHVWXUQEDVHG
                                           VWUDWHJ\VRIWZDUHWXUQEDVHGWDFWLFV
                                           FRPSXWHUJDPHVWXUQEDVHGWDFWLFV
                                           PRELOHVRIWZDUHJDPHVWXUQEDVHG
                                           WDFWLFVVRIWZDUH86%RSHUDWLQJ
                                           VRIWZDUHXWLOLW\VRIWZDUHYHKLFOH
                                           VLPXODWLRQFRPSXWHUJDPHVYHKLFOH
                                           VLPXODWLRQPRELOHVRIWZDUHJDPHV
                                           YHKLFOHVLPXODWLRQVRIWZDUHYLGHR
                                           JDPHGLVFVYLGHRJDPHVRIWZDUH
                                           YLGHRJDPHVVRIWZDUHYLGHRJDPHV
                                           VRIWZDUHYLUWXDOUHDOLW\JDPHVRIWZDUH
                                           YLUWXDOUHDOLW\VRIWZDUHXVHGIRUSOD\LQJ
                                           JDPHVYLVXDOQRYHOFRPSXWHUJDPHV
                                           YLVXDOQRYHOPRELOHVRIWZDUHJDPHV
                                           YLVXDOQRYHOVRIWZDUHXVHGIRUUHDGLQJ
                                           931RSHUDWLQJVRIWZDUH:$1
                                           RSHUDWLQJVRIWZDUHZDUJDPH
                                           FRPSXWHUJDPHVZDUJDPHPRELOH
                                           VRIWZDUHJDPHVZDUJDPHVRIWZDUH
                                           ZRUNIORZVRIWZDUHSDUWVWKHUHIRU
                                           FRPSDFWGLVFVDQGGLJLWDOYHUVDWLOH
                                           GLVFVIHDWXULQJYLGHRVLQWKHILHOGRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           DQGDXGLRLQWKHILHOGRIPXVLFSDUWV
                                           WKHUHIRUIRUWKHDIRUHVDLG
                                            ,QW O&ODVV 
                                           3ULQWHGPDWWHUQDPHO\SDPSKOHWV
                                           EURFKXUHVDGYHUWLVLQJERRNOHWV
                                           ERRNVPDJD]LQHVPDQXDOVDQG
                                           SHULRGLFDOVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQQHZVSDSHUV
                                           DQGSKRWRJUDSKVVWDWLRQHU\SULQWHG
                                           LQVWUXFWLRQDODQGWHDFKLQJPDWHULDOLQ
                                           WKHILHOGRIFRPSXWHUJDPHKLQWVWLSV
                                           DQGJXLGHVDGYHUWLVLQJSDPSKOHWV
                                           DGYHUWLVLQJSRVWHUVDGYHUWLVLQJ
                                           SXEOLFDWLRQVQDPHO\SDPSKOHWV
                                           SRVWHUVERDUGVIO\HUVDQGVLJQV
                                           ERRNVLQWKHILHOGRIILFWLRQFRPHG\
                                           GUDPDKRUURUQRQILFWLRQUHDOLVWLF
                                           ILFWLRQURPDQFHQRYHOVDWLUHVFLHQFH
                                           ILFWLRQWUDJHG\WUDJLFRPHG\IDQWDV\
                                           P\WKRORJ\WUDGLQJFDUGVJXLGHERRNV
                                           DQGPDJD]LQHVLQWKHILHOGRIILFWLRQ
                                           PDQXDOVLQWKHILHOGRIILFWLRQ
                                           SDPSKOHWVLQWKHILHOGRIDGYHUWLVLQJ
                                           FRPLFERRNVFRPLFPDJD]LQHV
                                           FRPLFVIDQWDV\ERRNVVHULHVRIILFWLRQ
                                           ERRNVSHULRGLFDOPDJD]LQHVLQWKH
                                           ILHOGRIFRPSXWHUJDPHVVFLHQFH
                                           ILFWLRQSHULRGLFDOSXEOLFDWLRQVQDPHO\
                                           SDPSKOHWVSRVWHUVEURFKXUHV
                                           DGYHUWLVLQJERRNOHWVERRNVFRPLFV
                                           PDJD]LQHVPDQXDOVSHULRGLFDOV
                                           QHZVSDSHUVDQGSKRWRJUDSKVLQWKH
                                           ILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           SHULRGLFDOVQDPHO\SDPSKOHWV
                                           SRVWHUVEURFKXUHVDGYHUWLVLQJ
                                           ERRNOHWVERRNVFRPLFVPDJD]LQHV
                                           PDQXDOVSHULRGLFDOVQHZVSDSHUVDQG
                                           SKRWRJUDSKVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQSRVWHU


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           PDJD]LQHVSRVWHUVSULQWHG
                                           SXEOLFDWLRQVQDPHO\QDPHO\
                                           SDPSKOHWVSRVWHUVEURFKXUHV
                                           DGYHUWLVLQJERRNOHWVERRNVFRPLFV
                                           PDJD]LQHVPDQXDOVSHULRGLFDOV
                                           QHZVSDSHUVDQGSKRWRJUDSKVLQWKH
                                           ILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           VHULHVRIFRPSXWHUJDPHKLQWERRNV
                                           VWLFNHUVVWUDWHJ\JXLGHERRNVIRUFDUG
                                           JDPHVVWUDWHJ\JXLGHERRNVIRU
                                           FRPSXWHUJDPHVWUDGLQJFDUGVERRNV
                                           IRUFKLOGUHQFRORXULQJERRNVVWLFNHU
                                           ERRNVSHQVSHQFLOVZULWLQJSDSHU
                                           JUHHWLQJVFDUGVVHULHVRIILFWLRQ
                                           QRYHOVDQGERRNVFULPHQRYHOVDQG
                                           ERRNVGHWHFWLYHQRYHOVDQGERRNV
                                           GUDPDQRYHOVDQGERRNVIDEOHQRYHOV
                                           DQGERRNVIDLU\WDOHQRYHOVDQG
                                           ERRNVIDQILFWLRQQRYHOVDQGERRNV
                                           IDQWDV\QRYHOVDQGERRNVIRONORUH
                                           QRYHOVDQGERRNVKLVWRULFDOILFWLRQ
                                           QRYHOVDQGERRNVKRUURUQRYHOVDQG
                                           ERRNVKXPRXUQRYHOVDQGERRNV
                                           OHJHQGQRYHOVDQGERRNVPDJLFDO
                                           UHDOLVPQRYHOVDQGERRNVPHWDILFWLRQ
                                           QRYHOVDQGERRNVP\VWHU\QRYHOVDQG
                                           ERRNVP\WKRORJ\QRYHOVDQGERRNV
                                           SLFWXUHERRNQRYHOVUHDOLVWLFILFWLRQ
                                           QRYHOVDQGERRNVVHULHVRIVFLHQFH
                                           ILFWLRQQRYHOVDQGERRNVVKRUWVWRU\
                                           QRYHOVDQGERRNVLQWKHILHOGRIILFWLRQ
                                           VXVSHQVHQRYHOVDQGERRNVWKULOOHU
                                           QRYHOVDQGERRNVWDOOWDOHQRYHOVDQG
                                           ERRNVZHVWHUQQRYHOVDQGERRNV
                                           ELRJUDSKLHVDXWRELRJUDSKLHV
                                           PHPRLUVSDUWVWKHUHIRU
                                            ,QW O&ODVV 
                                           *DPHVDQGSOD\WKLQJVQDPHO\
                                           DUFDGHJDPHVEDOORRQVERDUG
                                           JDPHVFDUGJDPHVGLFHJDPHV
                                           GROOVKDQGSXSSHWVQRYHOW\PDVNV
                                           SOXVKWR\VSXSSHWVUXEEHUFKDUDFWHU
                                           WR\VWR\ZDWFKHVWR\YHKLFOHVWR\
                                           PRGHOVWR\JXQVWR\ILJXUHVWR\FDUV
                                           WUDGLQJFDUGJDPHVYLGHRJDPH
                                           FRQVROHVYLGHRJDPHPDFKLQHV\R
                                           \RVERDUGJDPHVFDUGJDPHV
                                           FROOHFWDEOHWR\ILJXUHVGROOVGLFH
                                           JDPHVHOHFWURQLFERDUGJDPHV


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           JDPHVQDPHO\DUFDGHJDPHV
                                           EDOORRQVERDUGJDPHVFDUGJDPHV
                                           GLFHJDPHVGROOVKDQGSXSSHWV
                                           QRYHOW\PDVNVSOXVKWR\VSXSSHWV
                                           UXEEHUFKDUDFWHUWR\VWR\ZDWFKHV
                                           WR\YHKLFOHVWR\PRGHOVWR\JXQVWR\
                                           ILJXUHVWR\FDUVWUDGLQJFDUGJDPHV
                                           YLGHRJDPHFRQVROHVYLGHRJDPH
                                           PDFKLQHV\R\RVPRGHOVIRUXVHZLWK
                                           UROHSOD\LQJJDPHVSOD\LQJFDUGV
                                           VFDOHPRGHOILJXUHVVFDOHPRGHO
                                           YHKLFOHVWR\DFWLRQILJXULQHVWR\
                                           ILJXUHVWR\ILJXULQHVWR\PRGHOVWR\V
                                           JDPHVSOD\WKLQJVDQGQRYHOWLHV
                                           QDPHO\DUFDGHJDPHVEDOORRQV
                                           ERDUGJDPHVFDUGJDPHVGLFH
                                           JDPHVGROOVKDQGSXSSHWVQRYHOW\
                                           PDVNVSOXVKWR\VSXSSHWVUXEEHU
                                           FKDUDFWHUWR\VWR\ZDWFKHVWR\
                                           YHKLFOHVWR\PRGHOVWR\JXQVWR\
                                           ILJXUHVWR\FDUVWUDGLQJFDUGJDPHV
                                           YLGHRJDPHFRQVROHVYLGHRJDPH
                                           PDFKLQHV\R\RVSDUWVWKHUHIRU
                                            ,QW O&ODVV 
                                           (GXFDWLRQDOVHUYLFHVQDPHO\
                                           SURYLGLQJFODVVHVVHPLQDUV
                                           ZRUNVKRSVOHFWXUHVLQWKHILHOGRI
                                           FRPSXWHUVVRIWZDUHFRPSXWHU
                                           JDPHVILOPVDQGWHOHYLVLRQSURJUDPV
                                           SURYLGLQJRIWUDLQLQJLQWKHILHOGRI
                                           FRPSXWHUVVRIWZDUHFRPSXWHU
                                           JDPHVILOPVDQGWHOHYLVLRQSURJUDPV
                                           HQWHUWDLQPHQWVHUYLFHVQDPHO\
                                           SURYLGLQJILOPVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQFRPSXWHU
                                           JDPLQJVHUYLFHVSURYLGLQJSRGFDVWV
                                           LQWKHILHOGRIDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           RUJDQL]LQJVSRUWLQJDQGFXOWXUDO
                                           DFWLYLWLHVDUUDQJHPHQWRIFRQYHQWLRQV
                                           IRUHGXFDWLRQDOSXUSRVHV
                                           DUUDQJHPHQWRIFRQYHQWLRQVIRU
                                           UHFUHDWLRQDOSXUSRVHVDUUDQJLQJRI
                                           FRPSHWLWLRQVYLDWKHLQWHUQHW
                                           DUUDQJLQJRIFRQYHQWLRQVIRUFXOWXUDO


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           SXUSRVHVDUUDQJLQJRIFRQYHQWLRQVIRU
                                           HQWHUWDLQPHQWSXUSRVHVDUUDQJLQJ
                                           RUJDQL]LQJRUFRQGXFWLQJRI
                                           FRQYHQWLRQVFRQIHUHQFHV
                                           V\PSRVLXPVVHPLQDUVOHFWXUHV
                                           VRFLDOVDQGSDUWLHVIRUHGXFDWLRQDODQG
                                           HQWHUWDLQPHQWSXUSRVHV
                                           HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRI
                                           DUUDQJLQJVRFLDOHQWHUWDLQPHQWHYHQWV
                                           ERRNSXEOLVKLQJHOHFWURQLFSXEOLVKLQJ
                                           QDPHO\SDPSKOHWVEURFKXUHV
                                           DGYHUWLVLQJERRNOHWVERRNV
                                           PDJD]LQHVPDQXDOVDQGSHULRGLFDOV
                                           LQWKHILHOGRIDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           H[KLELWLRQGLVWULEXWLRQDQGSURGXFWLRQ
                                           RIILOPVLQWHUDFWLYHHQWHUWDLQPHQWLQ
                                           WKHQDWXUHRIRQOLQHFRPSXWHUJDPHV
                                           PXVLFDQGILOPVLQWHUDFWLYH
                                           HQWHUWDLQPHQWLQWKHQDWXUHRIRQOLQH
                                           WHOHYLVLRQSURJUDPVLQWKHILHOGRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           PDJD]LQHSXEOLVKLQJPRWLRQSLFWXUH
                                           SURGXFWLRQPXOWLPHGLDHQWHUWDLQPHQW
                                           VRIWZDUHSXEOLVKLQJVHUYLFHV
                                           RUJDQL]DWLRQRIFRPSHWLWLRQVRU
                                           DZDUGVIRUHGXFDWLRQDOSXUSRVHV
                                           RUJDQL]DWLRQRIVSRUWVFRPSHWLWLRQV
                                           RUJDQL]DWLRQRIFRQIHUHQFHV
                                           H[KLELWLRQVRUFRPSHWLWLRQVIRU
                                           HGXFDWLRQDOSXUSRVHVRUJDQL]DWLRQRI
                                           HQWHUWDLQPHQWFRPSHWLWLRQVLQWKH
                                           QDWXUHRIFRPSXWHUJDPHV
                                           FRPSHWLWLRQVRUJDQL]DWLRQRI
                                           UHFUHDWLRQDOFRPSHWLWLRQV
                                           SKRWRJUDSK\VHUYLFHVSXEOLVKLQJRI
                                           SULQWHGPDWWHUQDPHO\SDPSKOHWV
                                           EURFKXUHVDGYHUWLVLQJERRNOHWV
                                           ERRNVPDJD]LQHVPDQXDOVDQG
                                           SHULRGLFDOVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           WKULOOHUZDUDQGZHVWHUQVRIWZDUH
                                           SXEOLVKLQJVHUYLFHVLQWKHILHOGRI
                                           FRPSXWHUJDPHVFRPSXWHUVRIWZDUH
                                           PXVLFILOPVERRNVDQGPDJD]LQHV
                                           7HOHYLVLRQSURJUDPPHSURGXFWLRQ
                                           (GLWLQJRIWHOHYLVLRQSURJUDPPHV
                                           3URGXFWLRQRIWHOHYLVLRQSURJUDPPHV
                                           3URGXFWLRQRIHQWHUWDLQPHQWLQWKH
                                           IRUPRIDWHOHYLVLRQVHULHV7HOHYLVLRQ
                                           VKRZSURGXFWLRQ7HOHYLVLRQ
                                           HQWHUWDLQPHQWVHUYLFHVQDPHO\
                                           SURYLGLQJRQJRLQJWHOHYLVLRQVKRZV
                                           DQGILOPVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQ7HOHYLVLRQ
                                           SURJUDPSURGXFWLRQ5DGLRDQG
                                           WHOHYLVLRQHQWHUWDLQPHQWQDPHO\WKH
                                           SURYLVLRQRIWHOHYLVLRQVKRZVDQG
                                           UDGLRVKRZVLQWKHILHOGRIDFWLRQ
                                           DGYHQWXUHDQLPDWLRQELRJUDSK\
                                           FRPHG\FULPHGRFXPHQWDU\GUDPD
                                           IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                           KRUURUPXVLFPXVLFDOP\VWHU\
                                           URPDQFHVFLHQFHILFWLRQVSRUW
                                           WKULOOHUZDUDQGZHVWHUQ3URGXFWLRQRI
                                           WHOHYLVLRQILOPV)LOPHGLWLQJ)LOP
                                           VWXGLRV)LOPSURGXFWLRQ)LOP
                                           GLVWULEXWLRQ9LGHRHGLWLQJ9LGHR
                                           SURGXFWLRQ6FULSWZULWLQJVHUYLFHVIRU
                                           QRQDGYHUWLVLQJSXUSRVHV6FUHHQSOD\
                                           ZULWLQJ:ULWLQJVFUHHQSOD\V
                                           3URGXFWLRQRI79VKRZV9LGHRDQG
                                           '9'ILOPSURGXFWLRQ3URYLVLRQRIQRQ
                                           GRZQORDGDEOHILOPVLQWKHJHQUHRI
                                           DFWLRQDGYHQWXUHDQLPDWLRQ
                                           ELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           QRWGRZQORDGDEOH3URYLGLQJILOPVLQ
                                           WKHJHQUHRIDFWLRQDGYHQWXUH
                                           DQLPDWLRQELRJUDSK\FRPHG\FULPH
                                           GRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                           ILOPQRLUKLVWRU\KRUURUPXVLF
                                           PXVLFDOP\VWHU\URPDQFHVFLHQFH
                                           ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                           QRWGRZQORDGDEOHYLDYLGHRRQ
                                           GHPDQGWUDQVPLVVLRQVHUYLFHV0RYLH
                                           VWXGLRVHUYLFHV3URGXFWLRQRIOLYH


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TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services                        Owner Information
                                                  WHOHYLVLRQSURJUDPPHV&LQHPD
                                                  HQWHUWDLQPHQWQDPHO\FLQHPD
                                                  WKHDWUHV&LQHPDVWXGLRVHUYLFHV
                                                  1RQGRZQORDGDEOHHOHFWURQLF
                                                  SXEOLFDWLRQVLQWKHQDWXUHRIDFWLRQ
                                                  DGYHQWXUHDQLPDWLRQELRJUDSK\
                                                  FRPHG\FULPHGRFXPHQWDU\GUDPD
                                                  IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                                  KRUURUPXVLFPXVLFDOP\VWHU\
                                                  URPDQFHVFLHQFHILFWLRQVSRUW
                                                  WKULOOHUZDUDQGZHVWHUQ3URYLGLQJRQ
                                                  OLQHYLGHRVLQWKHJHQUHVRIDFWLRQ
                                                  DGYHQWXUHDQLPDWLRQELRJUDSK\
                                                  FRPHG\FULPHGRFXPHQWDU\GUDPD
                                                  IDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                                  KRUURUPXVLFPXVLFDOP\VWHU\
                                                  URPDQFHVFLHQFHILFWLRQVSRUW
                                                  WKULOOHUZDUDQGZHVWHUQQRW
                                                  GRZQORDGDEOHPDVVLYHO\PXOWLSOD\HU
                                                  RQOLQHUHDOWLPHVWUDWHJ\JDPHV
                                                  PDVVLYHO\PXOWLSOD\HURQOLQHUHDOWLPH
                                                  VWUDWHJ\PRELOHJDPHVPDVVLYHO\
                                                  PXOWLSOD\HURQOLQHUHDOWLPHVWUDWHJ\
                                                  VRIWZDUHPDVVLYHO\PXOWLSOD\HURQOLQH
                                                  UROHSOD\LQJJDPHVFRQVROHJDPHV
                                                  PDVVLYHO\PXOWLSOD\HURQOLQHUROH
                                                  SOD\LQJJDPHVPXOWLSOD\HURQOLQH
                                                  EDWWOHDUHQDFRPSXWHUJDPHV
                                                  PXOWLSOD\HURQOLQHEDWWOHDUHQDFRQVROH
                                                  JDPHVPXOWLSOD\HURQOLQHEDWWOHDUHQD
                                                  JDPHVPXOWLSOD\HURQOLQHEDWWOHDUHQD
                                                  PRELOHJDPHVPXOWLSOD\HURQOLQH
                                                  EDWWOHDUHQDVRIWZDUHLQIRUPDWLRQ
                                                  FRQVXOWDQF\RUDGYLVRU\VHUYLFHV
                                                  UHODWLQJWRWKHDIRUHVDLG


52*8($*(1'$DQG     5HJLVWHUHG-XO\   ,QW O&ODVV                            5RJXH$JHQGD//&
'HVLJQ                ,QW O&ODVV              ,QW O&ODVV                            0LQQHVRWD/LPLWHG
                      )LUVW8VH1RYHPEHU     (QWHUWDLQPHQWVHUYLFHVLQWKHQDWXUH      /LDELOLW\&RPSDQ\
                                              RIGHYHORSPHQWFUHDWLRQSURGXFWLRQ      32%R[0DUFK
                      )LOHG0DUFK        DQGSRVWSURGXFWLRQVHUYLFHVRI           $LU5HVHUYH%DVH
                      5HJLVWHUHG-XO\   PXOWLPHGLDHQWHUWDLQPHQWFRQWHQW           &DOLIRUQLD8QLWHG
                      5HJLVWHU7\SH3ULQFLSDO                                              6WDWHVRI$PHULFD
                      5HJLVWHU




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52*8(1$7,21DQG     5HJLVWHUHG-XO\   ,QW O&ODVV                        5RJXH1DWLRQ3W\/7'


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TM/AN/RN/Disclaimer    Status/Key Dates              Full Goods/Services                        Owner Information
'HVLJQ                 )LOHG2FWREHU         ,QW O&ODVV                            $X/LPLWHG/LDELOLW\
                       5HJLVWHUHG-XO\     $GYHUWLVLQJQDPHO\SURPRWLRQRI         &RPSDQ\
                       ,QW O5HJ'DWH2FWREHU   FRQFHUWVFRQFHUWSURPRWLRQVIRU          &0RUURZV/HJDO3W\
                                                 RWKHUVDJHQWV VHUYLFHVQDPHO\         /WG/)UHVKZDWHU3O
                       5HJLVWHU7\SH3ULQFLSDO     EXVLQHVVPDQDJHPHQWRIDFWRUV            6RXWKEDQN%YG
                       5HJLVWHU                      DUWLVWVDXWKRUVSHUIRUPLQJDUWLVWV     6287+%$1.9,&
                                                     SKRWRJUDSKHUVDQGZULWHUVDUWLVWV        $XVWUDOLD
51                                          DJHQWVHUYLFHVQDPHO\EXVLQHVV
61                                         PDQDJHPHQW RIDUWLVWVEXVLQHVV
                                                     PDQDJHPHQWRISHUIRUPLQJDUWLVWV
                                                     SXEOLFLW\DJHQF\VHUYLFHV
                                                      ,QW O&ODVV
                                                     $UUDQJLQJDQGFRQGXFWLQJRIFRQFHUWV
                                                     DUUDQJLQJRIFRQFHUWVHYHQW
                                                     PDQDJHPHQWVHUYLFHVQDPHO\
                                                     RUJDQLVDWLRQRIFRQFHUWVDQGPXVLFDO
                                                     SHUIRUPDQFHVDGYLVRU\VHUYLFHV
                                                     UHODWLQJWRHQWHUWDLQPHQWQDPHO\
                                                     HQWHUWDLQPHQWLQIRUPDWLRQDUUDQJLQJ
                                                     RIHQWHUWDLQPHQWQDPHO\DUUDQJLQJRI
                                                     FRQFHUWVDQGPXVLFDOSHUIRUPDQFHV
                                                     DUUDQJLQJRIH[KLELWLRQVIRU
                                                     HQWHUWDLQPHQWSXUSRVHVDUUDQJLQJRI
                                                     PXVLFHQWHUWDLQPHQWQDPHO\
                                                     DUUDQJLQJRIPXVLFDOFRQFHUWVDQG
                                                     PXVLFDOSHUIRUPDQFHVERRNLQJRI
                                                     HQWHUWDLQPHQWQDPHO\IDFLOLWDWLQJ
                                                     FRQFHUWDQGHQWHUWDLQPHQWHYHQW
                                                     ERRNLQJE\SURYLGLQJFRQFHUWDQG
                                                     HQWHUWDLQPHQWHYHQWERRNLQJVHUYLFHV
                                                     GLVVHPLQDWLRQRIHQWHUWDLQPHQW
                                                     PDWHULDOQDPHO\SURYLGLQJ
                                                     HQWHUWDLQPHQWLQIRUPDWLRQYLDD
                                                     ZHEVLWHSURYLGLQJDZHEVLWHIHDWXULQJ
                                                     HQWHUWDLQPHQWLQIRUPDWLRQSURYLGLQJ
                                                     HQWHUWDLQPHQWLQIRUPDWLRQYLDUDGLR
                                                     WHOHYLVLRQQHZVSDSHUPDJD]LQH
                                                     SDPSKOHWDQGSRVWHUHQWHUWDLQPHQW
                                                     QDPHO\SURYLGLQJHQWHUWDLQPHQW
                                                     LQIRUPDWLRQDUUDQJLQJRIOLYHPXVLF
                                                     FRQFHUWVDQGSHUIRUPDQFHV
                                                     FRQGXFWLQJFRQWHVWVHQWHUWDLQPHQW
                                                     LQIRUPDWLRQHQWHUWDLQPHQWQDPHO\
                                                     IDQFOXEVHUYLFHVLQIRUPDWLRQVHUYLFHV
                                                     UHODWLQJWRHQWHUWDLQPHQWOLYH
                                                     HQWHUWDLQPHQWQDPHO\OLYHPXVLF
                                                     FRQFHUWVOLYHPXVLFDO SHUIRUPDQFHV
                                                     E\DPXVLFDUWLVWOLYHHQWHUWDLQPHQW
                                                     SURGXFWLRQVHUYLFHVQDPHO\
                                                     SURGXFWLRQRIRSHUDVDQGSURGXFWLRQV
                                                     RISOD\VHYHQWPDQDJHPHQWVHUYLFHV
                                                     QDPHO\RUJDQLVDWLRQRIHQWHUWDLQPHQW
                                                     HYHQWVLQWKHQDWXUHRIFXOWXUDODQG
                                                     DUWVHYHQWVFRPPXQLW\PXVLFIHVWLYDOV


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TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services                          Owner Information
                                           IRUHQWHUWDLQPHQWSXUSRVHVDQG
                                           FXOWXUDOHYHQWVDQGVRFLDO
                                           HQWHUWDLQPHQWHYHQWVHYHQW
                                           PDQDJHPHQWVHUYLFHVQDPHO\
                                           RUJDQL]DWLRQRIFXOWXUDOHYHQWV
                                           PXVLFDOHQWHUWDLQPHQWVHUYLFHV
                                           QDPHO\SUHVHQWDWLRQRIPXVLF
                                           SHUIRUPDQFHVOLYHSHUIRUPDQFHVE\D
                                           PXVLFDODUWLVWRUEDQGUHFRUGLQJDQG
                                           SURGXFWLRQRIPXVLFDOVRXQG
                                           UHFRUGLQJRUJDQLVDWLRQDQG
                                           FRQGXFWLQJRIGDQFHPXVLFDQGRWKHU
                                           HQWHUWDLQPHQWIHVWLYDOVRUJDQLVDWLRQ
                                           RIHQWHUWDLQPHQWFRPSHWLWLRQV
                                           QDPHO\HQWHUWDLQPHQWFRQWHVWV
                                           RUJDQLVDWLRQRIHQWHUWDLQPHQWHYHQWV
                                           QDPHO\RUJDQLVDWLRQRIFXOWXUDO
                                           VKRZVRUJDQLVDWLRQRIH[KLELWLRQVIRU
                                           PXVLFDOHQWHUWDLQPHQWHQWHUWDLQPHQW
                                           HYHQWVRUJDQLVLQJH[KLELWLRQVIRU
                                           HQWHUWDLQPHQWSXUSRVHVRUJDQLVLQJ
                                           HYHQWVIRUHQWHUWDLQPHQWSXUSRVHV
                                           QDPHO\RUJDQLVLQJRIGDQFLQJHYHQWV
                                           RUJDQLVLQJFXOWXUDODQGDUWVHYHQWV
                                           RUJDQLVLQJRIHQWHUWDLQPHQWQDPHO\
                                           RUJDQLVLQJVRFLDOHQWHUWDLQPHQW
                                           HYHQWVRUJDQLVLQJILOPIHVWLYDOVIRU
                                           HQWHUWDLQPHQWSXUSRVHVRUJDQLVLQJRI
                                           HQWHUWDLQPHQWDQGVRFLDOHYHQWV
                                           QDPHO\RUJDQLVLQJVRFLDO
                                           HQWHUWDLQPHQWHYHQWVSURGXFWLRQRI
                                           DXGLRHQWHUWDLQPHQWQDPHO\
                                           SURGXFWLRQRIDXGLRUHFRUGLQJ
                                           SURGXFWLRQRIUDGLRSURJUDPV
                                           SURGXFWLRQRIPXVLFSURYLGLQJ
                                           IDFLOLWLHVIRUHQWHUWDLQPHQWQDPHO\
                                           SURYLGLQJUHFUHDWLRQIDFLOLWLHV
                                           SURYLGLQJIDFLOLWLHVIRUPXVLFDOHYHQWV
                                           SURYLGLQJDPXVHPHQWIDFLOLWLHV
                                           SURYLGLQJLQIRUPDWLRQLQFOXGLQJRQOLQH
                                           DERXWPXVLFHQWHUWDLQPHQWDQG
                                           FXOWXUDODFWLYLWLHVSURYLVLRQRI
                                           HQWHUWDLQPHQWIDFLOLWLHVQDPHO\
                                           SURYLGLQJUHFUHDWLRQIDFLOLWLHV
                                           SURYLVLRQRIHQWHUWDLQPHQWVHUYLFHVYLD
                                           DQRQOLQHIRUXPQDPHO\SURYLGLQJDQ
                                           LQWHUQHWZHEVLWHSRUWDOLQWKHILHOGRI
                                           PXVLFSURYLGLQJDQLQWHUQHWZHEVLWH
                                           SRUWDOIHDWXULQJOLQNVWRPXVLFDODUWLVWLF
                                           ZHEVLWHVDQGPXVLFSHUIRUPDQFH
                                           WLFNHWLQIRUPDWLRQSURYLVLRQRIOLYH
                                           HQWHUWDLQPHQWQDPHO\OLYHPXVLF
                                           FRQFHUWVOLYHUDGLRSHUVRQDOLW\
                                           SHUIRUPDQFHVUDGLRHQWHUWDLQPHQW


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TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services                        Owner Information
                                                    QDPHO\HQWHUWDLQPHQWLQWKHQDWXUHRI
                                                    OLYHUDGLRSHUVRQDOLW\SHUIRUPDQFHV
                                                    SURYLGLQJDQRQJRLQJUDGLRSURJUDPLQ
                                                    WKHILHOGRIPXVLFUDGLRHQWHUWDLQPHQW
                                                    SURGXFWLRQHQWHUWDLQHUVHUYLFHV
                                                    QDPHO\OLYHWHOHYLVHGDQGPRYLH
                                                    DSSHDUDQFHVE\DSURIHVVLRQDO
                                                    HQWHUWDLQHUOLYHPXVLFVHUYLFHV
                                                    QDPHO\OLYHPXVLFFRQFHUWVOLYH
                                                    SHUIRUPDQFHVE\DPXVLFDOJURXS
                                                    SUHVHQWLQJOLYHPXVLFDOSHUIRUPDQFHV
                                                    PXVLFIHVWLYDOVHUYLFHVQDPHO\
                                                    RUJDQLVLQJPXVLFIHVWLYDOVIRUFXOWXUDO
                                                    RUHQWHUWDLQPHQWSXUSRVHVFRQGXFWLQJ
                                                    HQWHUWDLQPHQWH[KLELWLRQVLQWKHQDWXUH
                                                    RIPXVLFIHVWLYDOVPXVLFKDOOVHUYLFHV
                                                    PXVLFSHUIRUPDQFHVHUYLFHVQDPHO\
                                                    SUHVHQWDWLRQRIPXVLFDOSHUIRUPDQFHV
                                                    OLYHSHUIRUPDQFHVE\DPXVLFDOJURXS
                                                    PXVLFSXEOLVKHUVHUYLFHVQDPHO\
                                                    SXEOLFDWLRQRIPXVLFPXVLFSXEOLVKLQJ
                                                    VHUYLFHVPXVLFUHFRUGLQJVWXGLR
                                                    VHUYLFHVPXVLFDOSHUIRUPDQFH
                                                    VHUYLFHVQDPHO\OLYHPXVLFFRQFHUWV
                                                    SUHVHQWDWLRQRIPXVLFDOSHUIRUPDQFHV
                                                    SURGXFWLRQRIPXVLFDOUHFRUGLQJV
                                                    RWKHUWKDQDGYHUWLVLQJSURYLGLQJ
                                                    GLJLWDOQRQGRZQORDGDEOHPXVLFIURP
                                                    WKHLQWHUQHWQDPHO\HQWHUWDLQPHQW
                                                    VHUYLFHVLQWKHQDWXUHRISURYLGLQJ
                                                    QRQGRZQORDGDEOHSUHUHFRUGHG
                                                    PXVLFSXEOLFDWLRQRIPXVLFUHFRUGLQJ
                                                    RIPXVLFFRQFHUWSHUIRUPDQFHV
                                                    QDPHO\HQWHUWDLQPHQWLQWKHQDWXUHRI
                                                    OLYHPXVLFFRQFHUWVDUUDQJLQJDQG
                                                    FRQGXFWLQJRIPXVLFFRQFHUWVVLQJLQJ
                                                    FRQFHUWSHUIRUPDQFHVQDPHO\
                                                    SUHVHQWDWLRQRIPXVLFDOVLQJLQJ
                                                    FRQFHUWSHUIRUPDQFHVHQWHUWDLQPHQW
                                                    QDPHO\OLYHEDQGSHUIRUPDQFHV
                                                    UHFRUGLQJVWXGLRVHUYLFHVSODQQLQJ
                                                    DQGDUUDQJHPHQWRIPXVLF
                                                    SHUIRUPDQFHVOLYHVKRZSURGXFWLRQ
                                                    VHUYLFHVRUJDQLVDWLRQRIPXVLFDO
                                                    HQWHUWDLQPHQWHYHQWVSODQQLQJDQG
                                                    DUUDQJHPHQWRIPXVLFVKRZV
                                                    SURGXFWLRQRIPXVLFVKRZVVRQJ
                                                    ZULWLQJVHUYLFHVVRQJZULWLQJ
                                                    SURGXFWLRQRIDXGLRUHFRUGLQJVRWKHU
                                                    WKDQDGYHUWLVLQJ
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TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services                          Owner Information
61          $FFHSWHGDQG             (GXFDWLRQDODQGHQWHUWDLQPHQW                68,7(
                      $FNQRZOHGJHG                VHUYLFHVQDPHO\SURYLGLQJ                  1277,1*+,//*$7(
                       ,QW O&ODVV             PRWLYDWLRQDODQGHGXFDWLRQDO                 /21'21:-(
                       )LUVW8VH'HFHPEHU      VSHDNHUV(GXFDWLRQDOVHUYLFHV              8QLWHG.LQJGRP
                                               QDPHO\FRQGXFWLQJFODVVHV                  
                       )LOHG-XO\        VHPLQDUVFRQIHUHQFHVZRUNVKRSV
                       5HJLVWHUHG$SULO   ILHOGWULSVQRQGRZQORDGDEOH
                       5HJLVWHU7\SH3ULQFLSDO    ZHELQDUVSURJUDPVH[HFXWLYH
                       5HJLVWHU                    FRDFKLQJRQOLQHZRUNVKRSVOLYH
                                                   WUDLQLQJFRDFKLQJDQGPHQWRULQJ
                                                    DGYDQFHGXQLYHUVLW\OHYHOFRXUVHVLQ
                                                    WKHILHOGRIWUDYHOILQDQFHLQYHVWLQJ
                                                    KLVWRU\FXOWXUHDUWPXVLFEXVLQHVV
                                                    FXUUHQWDIIDLUVJHRJUDSK\JHRSROLWLFV
                                                    SROLWLFDOVFLHQFHVSRUWVDQG
                                                    GLVWULEXWLRQRIWUDLQLQJPDWHULDOLQ
                                                    FRQQHFWLRQWKHUHZLWK(QWHUWDLQPHQW
                                                    VHUYLFHVQDPHO\PXOWLPHGLD
                                                    SURGXFWLRQVHUYLFHV(QWHUWDLQPHQW
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                                                    GLVWULEXWLRQRIRQJRLQJWHOHYLVLRQ
                                                    SURJUDPVLQWKHILHOGRIWUDYHOIRRG
                                                    ILQDQFHSROLWLFVEXVLQHVVLQYHVWLQJ
                                                    FXOWXUHUHOLJLRQKLVWRU\DUWPXVLF
                                                    H[SORUDWLRQILOPVVSRUWV
                                                    (QWHUWDLQPHQWVHUYLFHVQDPHO\
                                                    SURGXFWLRQRIVSHFLDOHIIHFWVLQFOXGLQJ
                                                    PRGHOPDNLQJVHUYLFHVFRPSXWHU
                                                    JHQHUDWHGLPDJHU\DQGFRPSXWHU
                                                    JHQHUDWHGJUDSKLFVIRUWKHSURGXFWLRQ
                                                    RIPRWLRQSLFWXUHVYLGHRVDQGPRYLH
                                                    WUDLOHUV(QWHUWDLQPHQWVHUYLFHV
                                                    QDPHO\SURYLGLQJDZHEVLWHIHDWXULQJ
                                                    SKRWRJUDSKLFDXGLRYLGHRDQGSURVH
                                                    SUHVHQWDWLRQVLQWKHILHOGVRIIRRG
                                                    FXOWXUHKLVWRU\DUWPXVLFDQGILOPV
                                                    )LOPDQGYLGHRSURGXFWLRQFRQVXOWLQJ
                                                    VHUYLFHV)LOPHGLWLQJ0XOWLPHGLD
                                                    HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRI
                                                    GHYHORSPHQWSURGXFWLRQDQGSRVW
                                                    SURGXFWLRQVHUYLFHVLQWKHILHOGVRI
                                                    YLGHRDQGILOPV2SHUDWLRQRIYLGHR
                                                    HTXLSPHQWRUDXGLRHTXLSPHQWHWFIRU
                                                    SURGXFWLRQRIUDGLRRUWHOHYLVLRQ
                                                    SURJUDPV3RVWSURGXFWLRQHGLWLQJ
                                                    VHUYLFHVLQWKHILHOGRIPXVLFYLGHRV
                                                    DQGILOP3URGXFWLRQRIDXGLR
                                                    UHFRUGLQJ3URGXFWLRQRI'9'V
                                                    YLGHRWDSHVDQGWHOHYLVLRQSURJUDPV
                                                    IHDWXULQJWUDYHOIRRGILQDQFHSROLWLFV
                                                    EXVLQHVVLQYHVWLQJFXOWXUHUHOLJLRQ
                                                    KLVWRU\DUWPXVLFH[SORUDWLRQILOPV
                                                    3URGXFWLRQRIILOPV3URGXFWLRQRI
                                                    PRQRVFRSLFDQGRUVWHUHRVFRSLF


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TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services                       Owner Information
                                                   HOHFWURQLFGLJLWDOYLGHRDQGRUILOP
                                                   3URGXFWLRQRIUDGLRRUWHOHYLVLRQ
                                                   SURJUDPV6SHFLDOHIIHFWVDQLPDWLRQ
                                                   VHUYLFHVIRUILOPDQGYLGHR
                                                   

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:$566725<                                 ,QW O&ODVV                           &DOLIRUQLD/LPLWHG
51           ,QW O&ODVV            3URGXFWLRQSUHVHQWDWLRQGLVWULEXWLRQ   /LDELOLW\&RPSDQ\ 
61          )LUVW8VH'HFHPEHU    DQGUHQWDORIPRWLRQSLFWXUHILOPV       2QH/HWWHUPDQ'ULYH
'LVFODLPHU6725<                          SURGXFWLRQSUHVHQWDWLRQGLVWULEXWLRQ   %OGJ%6DQ)UDQFLVFR
                      )LOHG-DQXDU\    DQGUHQWDORIVRXQGDQGYLVXDO            &DOLIRUQLD8QLWHG
                       5HJLVWHUHG1RYHPEHU       UHFRUGLQJVSURGXFWLRQRIOLYHDFWLRQ     6WDWHVRI$PHULFD
                                          HQWHUWDLQPHQWVKRZVDQGLQWHUDFWLYH       
                       5HJLVWHU7\SH3ULQFLSDO   SURJUDPVIRUGLVWULEXWLRQYLDDXGLRDQG
                       5HJLVWHU                   YLVXDOPHGLDDQGHOHFWURQLFPHDQV
                                                  SURGXFWLRQDQGSURYLVLRQRI
                                                   HQWHUWDLQPHQWQHZVDQGHQWHUWDLQPHQW
                                                   LQIRUPDWLRQYLDFRPPXQLFDWLRQDQG
                                                   FRPSXWHUQHWZRUNVSURYLGLQJ
                                                   HQWHUWDLQPHQWVHUYLFHVYLDDJOREDO
                                                   FRPPXQLFDWLRQQHWZRUNLQWKHQDWXUH
                                                   RIZHEVLWHVIHDWXULQJDZLGHYDULHW\RI
                                                   JHQHUDOLQWHUHVWHQWHUWDLQPHQW
                                                   LQIRUPDWLRQUHODWLQJWRPRWLRQSLFWXUH
                                                   ILOPVPXVLFDOYLGHRVUHODWHGILOP
                                                   FOLSVSKRWRJUDSKVDQGRWKHU
                                                   PXOWLPHGLDPDWHULDOVDPXVHPHQW
                                                   SDUNDQGWKHPHSDUNVHUYLFHV
                                                   HGXFDWLRQDODQGHQWHUWDLQPHQW
                                                   VHUYLFHVUHQGHUHGLQRUUHODWLQJWR
                                                   WKHPHSDUNVQDPHO\OLYHVWDJH
                                                   VKRZVOLYHDPXVHPHQWSDUNVKRZV
                                                   OLYHSHUIRUPDQFHVE\FRVWXPHG
                                                   FKDUDFWHUVDQGSUHVHQWDWLRQRIOLYH
                                                   WKHDWULFDOSHUIRUPDQFHVSUHVHQWDWLRQ
                                                   RIOLYHVWDJHVKRZVSUHVHQWDWLRQRI
                                                   OLYHVKRZSHUIRUPDQFHVWKHDWHU
                                                   SURGXFWLRQVHQWHUWDLQHUVHUYLFHV
                                                   QDPHO\OLYHDSSHDUDQFHVE\D
                                                   SURIHVVLRQDOHQWHUWDLQHU
                                                   

67$5:$5652*8(       5HJLVWHUHG2FWREHU    ,QW O&ODVV                           /XFDVILOP/7'/OF
21(                                            ,QW O&ODVV                           &DOLIRUQLD/LPLWHG
51           ,QW O&ODVV            SUHUHFRUGHG&'VIHDWXULQJVWRULHV       /LDELOLW\&RPSDQ\ 
61          )LUVW8VH'HFHPEHU       DXGLRERRNVIHDWXULQJILFWLRQDXGLR      2QH/HWWHUPDQ'ULYH
                                             UHFRUGLQJVIHDWXULQJVWRULHVFRPSXWHU    %OGJ%6DQ)UDQFLVFR
                       )LOHG0DUFK      KDUGZDUHDQGSHULSKHUDOGHYLFHV          &DOLIRUQLD8QLWHG
                       5HJLVWHUHG2FWREHU    KHDGSKRQHV                                6WDWHVRI$PHULFD
                                                                                        
                       5HJLVWHU7\SH3ULQFLSDO
                       5HJLVWHU
                       


&RUVHDUFK                                                                                                   
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TM/AN/RN/Disclaimer      Status/Key Dates            Full Goods/Services                          Owner Information
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52*8(',3/20$76          5HJLVWHUHG'HFHPEHU     ,QW O&ODVV                              %UHLQHU&KULVWLQH
51                                        ,QW O&ODVV                            6FKDUI 8V,QGLYLGXDO 
61             ,QW O&ODVV             (QWHUWDLQPHQWQDPHO\OLYH                  UG6WUHHW$SW
                         )LUVW8VH0DUFK   SHUIRUPDQFHVE\DPXVLFDOEDQG              $6725,$1<
                          )LOHG0D\         3URGXFWLRQRIPXVLF3URGXFWLRQRI           8QLWHG6WDWHVRI
                          5HJLVWHUHG'HFHPEHU     PXVLFDOVRXQGUHFRUGLQJ3URGXFWLRQ          $PHULFD
                                                  RIVRXQGDQGPXVLFYLGHRUHFRUGLQJV         %UHLQHU0DWWKHZ 8V
                          5HJLVWHU7\SH3ULQFLSDO    (QWHUWDLQPHQWVHUYLFHVE\DPXVLFDO          ,QGLYLGXDO 
                          5HJLVWHU                    DUWLVWDQGSURGXFHUQDPHO\PXVLFDO         UG6WUHHW$SW
                                                      FRPSRVLWLRQIRURWKHUVDQGSURGXFWLRQ        $6725,$1<
                                                       RIPXVLFDOVRXQGUHFRUGLQJV                  8QLWHG6WDWHVRI
                                                                                                    $PHULFD
                                                                                                     

52*8(29(5/$1'           5HJLVWHUHG-XO\   ,QW O&ODVV                              5RJXH2YHUODQG//&
51              ,QW O&ODVV               ,QW O&ODVV                              1HYDGD/LPLWHG
61             )LUVW8VH-XQH     (QWHUWDLQPHQWVHUYLFHVQDPHO\              /LDELOLW\&RPSDQ\ 
'LVFODLPHU29(5/$1'   )LOHG'HFHPEHU    SURYLGLQJDZHEVLWHIHDWXULQJ               2GHWWH/Q/$6
                         5HJLVWHUHG-XO\   SKRWRJUDSKVYLGHRVDQGDEORJ               9(*$61HYDGD
                          5HJLVWHU7\SH3ULQFLSDO    IHDWXULQJRIIURDGYHKLFOHVRIIURDGLQJ     8QLWHG6WDWHVRI
                          5HJLVWHU                    DFWLYLWLHVDQGRXWGRRUDFWLYLWLHV          $PHULFD
                                                      3URYLGLQJQRQGRZQORDGDEOHYLGHRVLQ         
                                                       WKHILHOGRIRIIURDGYHKLFOHVRII
                                                       URDGLQJDFWLYLWLHVDQGRXWGRRU
                                                       DFWLYLWLHV
                                                       

52*8(                    5HJLVWHUHG6HSWHPEHU       ,QW O&ODVV                              2UHJRQ%UHZLQJ
51                                    ,QW O&ODVV                            &RPSDQ\ 2UHJRQ
61             ,QW O&ODVV             3URYLGLQJDZHEVLWHIHDWXULQJEORJV         &RUSRUDWLRQ 
                         )LUVW8VH-XQH       DQGQRQGRZQORDGDEOHSXEOLFDWLRQVLQ         268'5,9(
                          )LOHG0DUFK       WKHQDWXUHRIDUWLFOHVDQGYLGHRVLQWKH     1HZSRUW2UHJRQ
                          5HJLVWHUHG6HSWHPEHU       ILHOGVRIFUDIWEHHUEUHZLQJDQG             8QLWHG6WDWHVRI
                                              GLVWLOOLQJRIVSLULWVDQGSURYLGLQJD       $PHULFD
                          5HJLVWHU7\SH3ULQFLSDO    ZHEVLWHIHDWXULQJHQWHUWDLQPHQW              
                          5HJLVWHU                    LQIRUPDWLRQLQWKHQDWXUHRIVWRU\WHOOLQJ
                                                      RQWKHWRSLFVRIFUDIWEHHUEUHZLQJDQG
                                                       GLVWLOOLQJRIVSLULWV
                                                       

52*8(3/$1(7             5HJLVWHUHG'HFHPEHU        ,QW O&ODVV                      'D\EUHDN*DPH
*$0(6                                         ,QW O&ODVV                             &RPSDQ\//&
51              ,QW O&ODVV       'RZQORDGDEOHFRPSXWHUJDPH                     'HODZDUH/LPLWHG
61             )LUVW8VH-DQXDU\      VRIWZDUHDQGGRZQORDGDEOHYLGHR              /LDELOLW\&RPSDQ\ 
'LVFODLPHU*$0(6                              JDPHVRIWZDUHGRZQORDGDEOH                  (YHQLQJ&UHHN
                         )LOHG-XQH        PXOWLSOD\HUUHDOWLPHFRPSXWHUDQG          'ULYH16XLWH
                          5HJLVWHUHG'HFHPEHU        YLGHRJDPHVRIWZDUHWKDWLV                  6$1',(*2&DOLIRUQLD
                                              GRZQORDGDEOHYLDDQRQOLQHVHUYLFH           8QLWHG6WDWHVRI
                          5HJLVWHU7\SH3ULQFLSDO    EHLQJDJOREDOFRPSXWHUQHWZRUNIRU          $PHULFD
                          5HJLVWHU                    HQWHUWDLQPHQWSXUSRVHV                       
                                                       ,QW O&ODVV 
                                                       3URYLGLQJRQOLQHIDFLOLWLHVIRUUHDOWLPH



&RUVHDUFK                                                                                                         
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TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services                         Owner Information
                                                   LQWHUDFWLRQZLWKRWKHUFRPSXWHUXVHUV
                                                   FRQFHUQLQJWRSLFVUHODWHGWRJDPHV
                                                   DQGJDPLQJSURYLGLQJRQOLQHIDFLOLWLHV
                                                   IRUUHDOWLPHLQWHUDFWLRQZLWKRWKHU
                                                   FRPSXWHUXVHUVIRUWRSLFVUHODWHGWR
                                                   SOD\LQJJDPHV
                                                     ,QW O&ODVV 
                                                   3URGXFWLRQRIYLGHRHOHFWURQLFDQG
                                                   FRPSXWHUJDPHVRIWZDUHDXGLRDQG
                                                   YLGHRUHFRUGLQJSURGXFWLRQVHUYLFHV
                                                   HQWHUWDLQPHQWVHUYLFHVQDPHO\
                                                   SURGXFWLRQRIJDPHVVRIWZDUHDQG
                                                   JDPLQJVRIWZDUHHQWHUWDLQPHQW
                                                   VHUYLFHVQDPHO\SURYLGLQJRQOLQH
                                                   YLGHRHOHFWURQLFDQGFRPSXWHU
                                                   JDPHVSURYLGLQJWHPSRUDU\XVHRI
                                                   QRQGRZQORDGDEOHYLGHRHOHFWURQLF
                                                   DQGFRPSXWHUJDPHVSURYLGLQJ
                                                   LQIRUPDWLRQUHODWLQJWRYLGHR
                                                   HOHFWURQLFDQGFRPSXWHUJDPHVDQG
                                                   HQKDQFHPHQWVIRUJDPHV
                                                   HQWHUWDLQPHQWVHUYLFHVQDPHO\
                                                   SURYLGLQJDZHEVLWHIHDWXULQJJDPHV
                                                   SURYLGLQJDZHEVLWHIHDWXULQJQRQ
                                                   GRZQORDGDEOHJDPHVRIWZDUH
                                                   

52*8($1'             5HJLVWHUHG-XQH   ,QW O&ODVV                             /DXUD6ZDQ6LHFNPDQ
5($621('              ,QW O&ODVV              ,QW O&ODVV                           //& ,OOLQRLV/LPLWHG
51           )LUVW8VH0D\    (QWHUWDLQPHQWVHUYLFHVQDPHO\             /LDELOLW\&RPSDQ\ 
61          )LOHG6HSWHPEHU       SURYLGLQJYLGHRSRGFDVWVLQWKHILHOGRI    1HZEULGJH&LUFOH
                                             OLIHVW\OH(QWHUWDLQPHQWVHUYLFHV          (/*,1,OOLQRLV
                       5HJLVWHUHG-XQH   QDPHO\SURYLGLQJYLGHRSRGFDVWVLQ         8QLWHG6WDWHVRI
                       5HJLVWHU7\SH3ULQFLSDO   WKHILHOGRIEXVLQHVV2QOLQHMRXUQDOV    $PHULFD
                       5HJLVWHU                   QDPHO\EORJVIHDWXULQJEXVLQHVV2Q        
                                                  OLQHMRXUQDOVQDPHO\EORJVIHDWXULQJ
                                                   OLIHVW\OH2QOLQHYLGHRMRXUQDOV
                                                   QDPHO\YORJVIHDWXULQJ
                                                   QRQGRZQORDGDEOHYLGHRVLQWKHILHOGRI
                                                   EXVLQHVV2QOLQHYLGHRMRXUQDOV
                                                   QDPHO\YORJVIHDWXULQJ
                                                   QRQGRZQORDGDEOHYLGHRVLQWKHILHOGRI
                                                   OLIHVW\OH3URYLGLQJDZHEVLWHIHDWXULQJ
                                                   EORJVDQGQRQGRZQORDGDEOH
                                                   SXEOLFDWLRQVLQWKHQDWXUHRIMRXUQDOVLQ
                                                   WKHILHOG V RIOLIHVW\OHDQGEXVLQHVV
                                                   3URYLGLQJRQOLQHQRQGRZQORDGDEOH
                                                   MRXUQDOVLQWKHILHOGRIOLIHVW\OH
                                                   3URYLGLQJRQOLQHQRQGRZQORDGDEOH
                                                   MRXUQDOVLQWKHILHOGRIEXVLQHVV
                                                   

52*8(75803(7         $SSOLFDWLRQSHQGLQJ        ,QW O&ODVV                             0DONR-RQDWKDQ
61          SXEOLFDWLRQ$XJXVW     ,QW O&ODVV                            $XJXVW 8QLWHG6WDWHV


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'LVFODLPHU75803(7                           'LJLWDOPHGLDQDPHO\SUHUHFRUGHG      ,QGLYLGXDO 
                        2IILFH6WDWXV6X         '9'VGRZQORDGDEOHDXGLRDQGYLGHR       %RZHUV6W
                         5HJLVWUDWLRQ5HYLHZ         UHFRUGLQJVDQG&'VIHDWXULQJDQG        -(56(<&,7<1HZ
                         &RPSOHWH                    SURPRWLQJRULJLQDOPXVLFDOFRQWHQWE\    -HUVH\8QLWHG
                         ,QW O&ODVV             WKHPXVLFDOHQWLW\NQRZQDV5RJXH        6WDWHVRI$PHULFD
                         )LUVW8VH-DQXDU\       7UXPSHW                                  
                                                 
                         )LOHG-XO\
                         5HJLVWHU7\SH3ULQFLSDO
                         5HJLVWHU
                         

52*8(                   5HQHZHG-XQH      ,QW O&ODVV                          5RJXH(QWHUSULVHV,QF
51             2IILFH6WDWXV5HJLVWHUHG     ,QW O&ODVV                          *HRUJLD&RUSRUDWLRQ 
61            DQG5HQHZHG                 SKRQRJUDSKUHFRUGVFRPSDFWGLVFV       %$&21675((7
                        ,QW O&ODVV             DQGFDVVHWWHWDSHVFRQWDLQLQJPXVLFDO    0$<69,//(*HRUJLD
                         )LUVW8VH$XJXVW   SHUIRUPDQFH                              8QLWHG6WDWHVRI
                         )LOHG1RYHPEHU                                             $PHULFD
                         5HJLVWHUHG1RYHPEHU                                                  
                         
                         /DVW5HQHZDO1RYHPEHU
                         
                         5HJLVWHU7\SH3ULQFLSDO
                         5HJLVWHU
                         

52*8(                   $SSOLFDWLRQSHQGLQJ         ,QW O&ODVV                          0RRJ0XVLF,QF 1RUWK
61            SXEOLFDWLRQ6HSWHPEHU        ,QW O&ODVV                        &DUROLQD&RUSRUDWLRQ 
                                            'RZQORDGDEOHDQGUHFRUGHGVRIWZDUH       %URDGZD\6WUHHW
                         2IILFH6WDWXV)LUVW        IRUV\QWKHVL]LQJPXVLF                   $6+(9,//(1RUWK
                         ([WHQVLRQ*UDQWHG                                                  &DUROLQD8QLWHG
                         )LOHG2FWREHU                                               6WDWHVRI$PHULFD
                         5HJLVWHU7\SH3ULQFLSDO                                              
                         5HJLVWHU
                         

52*8(:$9(              5HQHZHG$XJXVW         ,QW O&ODVV                      6FKZDUW]=DFK 8V
51                                       ,QW O&ODVV                        ,QGLYLGXDO 
61            2IILFH6WDWXV5HJLVWHUHG   0XVLFDOVRXQGUHFRUGLQJV3UH            FR&RXQVHO//3
                        DQG5HQHZHG                 UHFRUGHG&'VIHDWXULQJPXVLF             &DOLIRUQLD6W6WH
                         ,QW O&ODVV               ,QW O&ODVV                        6DQ)UDQFLVFR
                         )LUVW8VH$XJXVW       (QWHUWDLQPHQWLQWKHQDWXUHRIOLYH      &DOLIRUQLD8QLWHG
                                                 PXVLFDOSHUIRUPDQFHVE\DQLQGLYLGXDO    6WDWHVRI$PHULFD
                         ,QW O&ODVV             PXVLFLDQHLWKHUDORQHRUDVSDUWRID   
                         )LUVW8VH6HSWHPEHU    PXVLFDOJURXS
                                                 
                         )LOHG'HFHPEHU
                         5HJLVWHUHG$XJXVW
                         
                         /DVW5HQHZDO$XJXVW
                         
                         5HJLVWHU7\SH3ULQFLSDO
                         5HJLVWHU
                         



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7+(52*8(6            5HJLVWHUHG$XJXVW       ,QW O&ODVV                       :RWKNH6WHYHQ
51                                      ,QW O&ODVV                         5DQGDOO 8QLWHG6WDWHV
61          ,QW O&ODVV              PXVLFDOVRXQGUHFRUGLQJVE\D             ,QGLYLGXDO 
                      )LUVW8VH2FWREHU        PXVLFDOJURXS                             :DXJK'ULYH
                                                  ,QW O&ODVV                         30%+RXVWRQ
                       ,QW O&ODVV              HQWHUWDLQPHQWQDPHO\OLYH               7H[DV8QLWHG
                       )LUVW8VH$XJXVW        SHUIRUPDQFHVE\DPXVLFDOJURXS           6WDWHVRI$PHULFD
                                                                                          
                       )LOHG2FWREHU
                       5HJLVWHUHG$XJXVW
                       
                       5HJLVWHU7\SH3ULQFLSDO
                       5HJLVWHU
                       

52*8(75,2            5HJLVWHUHG$SULO   ,QW O&ODVV                           .DWKOHHQ6WUDKP 8V
51           ,QW O&ODVV                ,QW O&ODVV                         ,QGLYLGXDO 
61          )LUVW8VH$XJXVW    (QWHUWDLQPHQWQDPHO\OLYH               (WK3O
'LVFODLPHU75,2    )LOHG$XJXVW       SHUIRUPDQFHVE\DPXVLFDOEDQG            7(03($UL]RQD
                      5HJLVWHUHG$SULO                                             8QLWHG6WDWHVRI
                       5HJLVWHU7\SH3ULQFLSDO                                                $PHULFD
                       5HJLVWHU                                                                
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52*8(6$021*86       5HJLVWHUHG)HEUXDU\     ,QW O&ODVV                           1HVE\5REHUW 8QLWHG
51                                      ,QW O&ODVV                         6WDWHV,QGLYLGXDO 
61          ,QW O&ODVV              (QWHUWDLQPHQWLQIRUPDWLRQVHUYLFHV       5XQQLQJ,URQ'U
                      )LUVW8VH'HFHPEHU      QDPHO\SURYLGLQJLQIRUPDWLRQDQG         +RFNOH\7H[DV
                                                QHZVUHOHDVHVDERXWDPXVLFDODUWLVW     8QLWHG6WDWHVRI
                       )LOHG6HSWHPEHU         /LYHSHUIRUPDQFHVE\DPXVLFDO            $PHULFD
                                                JURXS(QWHUWDLQPHQWVHUYLFHV            %HQDYLGHV0DUN
                       5HJLVWHUHG)HEUXDU\     QDPHO\SURYLGLQJQRQGRZQORDGDEOH          8QLWHG6WDWHV
                                                SUHUHFRUGHGPXVLFLQIRUPDWLRQLQWKH     ,QGLYLGXDO 
                       5HJLVWHU7\SH3ULQFLSDO     ILHOGRIPXVLFDQGFRPPHQWDU\DQG        'XQODS)LHOG
                       5HJLVWHU                     DUWLFOHVDERXWPXVLFDOORQOLQHYLDD   /DQH5LFKPRQG7H[DV
                                                    JOREDOFRPSXWHUQHWZRUN                  8QLWHG6WDWHVRI
                                                     (QWHUWDLQPHQWQDPHO\OLYH               $PHULFD
                                                     SHUIRUPDQFHVE\DPXVLFDOEDQG            )U\RX%UDGOH\ 8QLWHG
                                                                                               6WDWHV,QGLYLGXDO 
                                                                                                /RPD/DQH
                                                                                                6SULQJ7H[DV
                                                                                                8QLWHG6WDWHVRI
                                                                                                $PHULFD
                                                                                                0HDQV-RQDWKDQ
                                                                                                  8QLWHG6WDWHV
                                                                                                ,QGLYLGXDO 
                                                                                                'DZVRQ&UHHN
                                                                                                'ULYH3DVDGHQD7H[DV
                                                                                                8QLWHG6WDWHVRI
                                                                                                $PHULFD
                                                                                                

52*8(%$//(5,1$       5HJLVWHUHG)HEUXDU\     ,QW O&ODVV                           3D]FRJXLQ*HRUJLQD
51                                     ,QW O&ODVV                           8V,QGLYLGXDO 



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TM/AN/RN/Disclaimer      Status/Key Dates             Full Goods/Services                     Owner Information
61            ,QW O&ODVV               (QWHUWDLQPHQWVHUYLFHVLQWKHQDWXUH    :HVWWK6WUHHW
'LVFODLPHU%$//(5,1$ )LUVW8VH-XO\       RIOLYHGDQFHSHUIRUPDQFHV              E1(:<25.1HZ
                        )LOHG$SULO                                                 <RUN8QLWHG
                         5HJLVWHUHG)HEUXDU\                                               6WDWHVRI$PHULFD
                                                                                            
                         5HJLVWHU7\SH3ULQFLSDO
                         5HJLVWHU
                         

52*8()0                 5HJLVWHUHG$SULO   ,QW O&ODVV                         -DPWUD[[0HGLD,QF
51              ,QW O&ODVV                ,QW O&ODVV                         ,OOLQRLV&RUSRUDWLRQ 
61             )LUVW8VH'HFHPEHU         (QWHUWDLQPHQWVHUYLFHVQDPHO\         6XLWH1RUWK
                                                  SURYLGLQJDQRQJRLQJUDGLRSURJUDP     +DUOHP$YHQXH
                          )LOHG'HFHPEHU     LQWKHILHOGRISRSXODUPXVLF          &+,&$*2,OOLQRLV
                          5HJLVWHUHG$SULO   3URGXFWLRQRIUDGLRSURJUDPV5DGLR     8QLWHG6WDWHVRI
                          5HJLVWHU7\SH3ULQFLSDO     HQWHUWDLQPHQWSURGXFWLRQ5DGLR         $PHULFD
                          5HJLVWHU                     HQWHUWDLQPHQWVHUYLFHVQDPHO\UDGLR   
                                                       SURJUDPVIHDWXULQJSHUIRUPDQFHVE\
                                                        SRSXODUPXVLFJURXSV
                                                        
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Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 179 of 494 Page ID
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                    EXHIBIT T
        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 180 of 494 Page ID
                                           #:2060
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Client Reference:       008893.00726
Trademark:              ROGUE
Intl Class(es):         9, 41, and 42
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Chart Of Tagged Records
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TM          TM/AN/RN/Disclaimer      Status/Key Dates           Full Goods/Services           Owner Information
Record
86           52*8()/,;              5HJLVWHUHG-DQXDU\    ,QW O&ODVV               5RNYX//& &DOLIRUQLD
)HGHUDO      51                                    ,QW O&ODVV              /LPLWHG/LDELOLW\
4           61           ,QW O&ODVV            (QWHUWDLQPHQW                 &RPSDQ\ 
XI                                )LUVW8VH-XQH    LQIRUPDWLRQ                  (&2/25$'2
                                      )LOHG-XQH       (QWHUWDLQPHQWVHUYLFHV       %/9'68,7(
                                      5HJLVWHUHG-DQXDU\    QDPHO\SURYLGLQJDZHE       3DVDGHQD&DOLIRUQLD
                                                             VLWHIHDWXULQJ                8QLWHG6WDWHVRI
                                      5HJLVWHU7\SH3ULQFLSDO   SKRWRJUDSKLFDXGLR          $PHULFD
                                      5HJLVWHU                   YLGHRDQGSURVH               
                                                                 SUHVHQWDWLRQVIHDWXULQJ
                                                                  HQWHUWDLQPHQW
                                                                  LQIRUPDWLRQQHZVDQG
                                                                  FRPPHQWDU\UHJDUGLQJ
                                                                  WKHDUWVHQWHUWDLQPHQW
                                                                  VSRUWVDQGWKHPHGLD
                                                                  (QWHUWDLQPHQWVHUYLFHV
                                                                  QDPHO\SURYLGLQJRQOLQH
                                                                  UHYLHZVRIPRYLHV)LOP
                                                                  DQGYLGHRSURGXFWLRQ
                                                                  0RWLRQSLFWXUHILOP
                                                                  SURGXFWLRQ3K\VLFDO
                                                                  ILWQHVVLQVWUXFWLRQ
                                                                  3URYLGLQJDZHEVLWH
                                                                  IHDWXULQJLQIRUPDWLRQRQ
                                                                  H[HUFLVHDQGILWQHVV
                                                                  3URYLGLQJDZHEVLWH
                                                                  IHDWXULQJQRQ
                                                                  GRZQORDGDEOH
                                                                  LQVWUXFWLRQDOYLGHRVLQWKH
                                                                  ILHOGRIPDUWLDODUWV
                                                                  3URYLGLQJDZHEVLWHWKDW
                                                                  IHDWXUHVLQIRUPDO
                                                                  LQVWUXFWLRQRQVHOI
                                                                  GHIHQVH3URYLGLQJD
                                                                  ZHEVLWHIHDWXULQJ
                                                                  HQWHUWDLQPHQW
                                                                  LQIRUPDWLRQ3URYLGLQJ
                                                                  HQWHUWDLQPHQWLQIRUPDWLRQ
                                                                  YLDDZHEVLWH3URYLGLQJ
                                                                  LQIRUPDWLRQRQSK\VLFDO
                                                                  H[HUFLVH3URYLGLQJ
                                                                  LQIRUPDWLRQQHZVDQG
                                                                  FRPPHQWDU\LQWKHILHOGRI

&RUVHDUFK                                                                                         ZZZFRUVHDUFKFRP
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                                           #:2061


TM            TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services           Owner Information
Record
                                                                HQWHUWDLQPHQW5HQWDORI
                                                                PRWLRQSLFWXUHV5HQWDORI
                                                                SUHUHFRUGHGYLGHRVWKDW
                                                                PD\EHGRZQORDGHGIURP
                                                                DQ,QWHUQHWZHEVLWH


86           52*8(+281'          5HJLVWHUHG-XQH       ,QW O&ODVV               5RJXH+RXQG
)HGHUDO       (17(57$,10(17                                 ,QW O&ODVV              (QWHUWDLQPHQW6WXGLRV
4            678',26               ,QW O&ODVV             (QWHUWDLQPHQWVHUYLFHV      //& 0LFKLJDQ/LPLWHG
XI          51           )LUVW8VH-DQXDU\     QDPHO\PXOWLPHGLD           /LDELOLW\&RPSDQ\
              61                                  SURGXFWLRQVHUYLFHV           /DNHYLHZ6W
              'LVFODLPHU          )LOHG1RYHPEHU                                  '(752,70LFKLJDQ
              (17(57$,10(17       5HJLVWHUHG-XQH                                     8QLWHG6WDWHVRI
              678',26                                                                    $PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU


86           52*8(+281'          5HJLVWHUHG-XQH       ,QW O&ODVV               5RJXH+RXQG
)HGHUDO       (17(57$,10(17                                  ,QW O&ODVV              (QWHUWDLQPHQW6WXGLRV
4            678',26DQG'HVLJQ    ,QW O&ODVV             (QWHUWDLQPHQWVHUYLFHV      //& 0LFKLJDQ/LPLWHG
XI                                )LUVW8VH-DQXDU\     QDPHO\PXOWLPHGLD           /LDELOLW\&RPSDQ\
                                                            SURGXFWLRQVHUYLFHV           /DNHYLHZ6W
                                    )LOHG1RYHPEHU                                  '(752,70LFKLJDQ
                                    5HJLVWHUHG-XQH                                     8QLWHG6WDWHVRI
                                                                                          $PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU

              51
              61
              'LVFODLPHU
              (17(57$,10(17
              678',26


86           52*8(67$7(           5HJLVWHUHG-XO\   ,QW O&ODVV               :KHHOHU6FRWW 8V
)HGHUDO       51           ,QW O&ODVV              ,QW O&ODVV              ,QGLYLGXDO
4            61          )LUVW8VH-XO\     3URGXFWLRQDQG               :HVW0DJQROLD
XI                                )LOHG0D\          GLVWULEXWLRQRIPRWLRQ       %OYG%XUEDQN&DOLIRUQLD
                                    5HJLVWHUHG-XO\   SLFWXUHV3URYLVLRQRI       8QLWHG6WDWHVRI
                                    5HJLVWHU7\SH3ULQFLSDO   LQIRUPDWLRQUHODWLQJ WR      $PHULFD
                                    5HJLVWHU                    GLVWULEXWLRQRIWHOHYLVLRQ
                                                                VKRZVPRWLRQSLFWXUHILOP
                                                                DQGUDGLRVKRZV
                                                                7HOHYLVLRQVKRZ
                                                                SURGXFWLRQ7HOHYLVLRQ
                                                                YLGHRDQGPRYLHILOPLQJ
                                                                VHUYLFHV


86           52*8($*(1'$DQG     5HJLVWHUHG-XO\   ,QW O&ODVV               5RJXH$JHQGD//&


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TM            TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services            Owner Information
Record
)HGHUDO       'HVLJQ                ,QW O&ODVV              ,QW O&ODVV                0LQQHVRWD/LPLWHG
4                                  )LUVW8VH1RYHPEHU     (QWHUWDLQPHQWVHUYLFHVLQ     /LDELOLW\&RPSDQ\
XI                                                        WKHQDWXUHRI                 32%R[0DUFK$LU
                                    )LOHG0DUFK        GHYHORSPHQWFUHDWLRQ        5HVHUYH%DVH&DOLIRUQLD
                                    5HJLVWHUHG-XO\   SURGXFWLRQDQGSRVW           8QLWHG6WDWHVRI
                                    5HJLVWHU7\SH3ULQFLSDO   SURGXFWLRQVHUYLFHVRI        $PHULFD
                                    5HJLVWHU                    PXOWLPHGLDHQWHUWDLQPHQW
                                                                FRQWHQW



              51
              61


86           67$5:$5652*8(      5HJLVWHUHG2FWREHU    ,QW O&ODVV                /XFDVILOP/7'/OF
)HGHUDO       21(                                            ,QW O&ODVV                &DOLIRUQLD/LPLWHG
4            51           ,QW O&ODVV             SUHUHFRUGHG&'V              /LDELOLW\&RPSDQ\
XI          61          )LUVW8VH'HFHPEHU       IHDWXULQJVWRULHVDXGLR      2QH/HWWHUPDQ'ULYH
                                                            ERRNV IHDWXULQJILFWLRQ      %OGJ%6DQ)UDQFLVFR
                                    )LOHG0DUFK       DXGLRUHFRUGLQJVIHDWXULQJ    &DOLIRUQLD8QLWHG
                                    5HJLVWHUHG2FWREHU    VWRULHVFRPSXWHU             6WDWHVRI$PHULFD
                                                            KDUGZDUHDQGSHULSKHUDO
                                    5HJLVWHU7\SH3ULQFLSDO   GHYLFHVKHDGSKRQHV
                                    5HJLVWHU


86           52*8(21($67$5     5HJLVWHUHG1RYHPEHU       ,QW O&ODVV                /XFDVILOP/7'/OF
)HGHUDO       :$566725<                                  ,QW O&ODVV               &DOLIRUQLD/LPLWHG
4            51           ,QW O&ODVV             3URGXFWLRQSUHVHQWDWLRQ     /LDELOLW\&RPSDQ\
XI          61          )LUVW8VH'HFHPEHU    GLVWULEXWLRQDQGUHQWDORI   2QH/HWWHUPDQ'ULYH
              'LVFODLPHU6725<                           PRWLRQSLFWXUHILOPV         %OGJ%6DQ)UDQFLVFR
                                    )LOHG-DQXDU\     SURGXFWLRQSUHVHQWDWLRQ     &DOLIRUQLD8QLWHG
                                    5HJLVWHUHG1RYHPEHU       GLVWULEXWLRQDQGUHQWDORI   6WDWHVRI$PHULFD
                                                        VRXQGDQGYLVXDO
                                    5HJLVWHU7\SH3ULQFLSDO   UHFRUGLQJVSURGXFWLRQRI
                                    5HJLVWHU                    OLYHDFWLRQHQWHUWDLQPHQW
                                                                VKRZVDQGLQWHUDFWLYH
                                                                SURJUDPVIRUGLVWULEXWLRQ
                                                                YLDDXGLRDQGYLVXDO
                                                                PHGLDDQGHOHFWURQLF
                                                                PHDQVSURGXFWLRQDQG
                                                                SURYLVLRQRIHQWHUWDLQPHQW
                                                                QHZVDQGHQWHUWDLQPHQW
                                                                LQIRUPDWLRQYLD
                                                                FRPPXQLFDWLRQDQG
                                                                FRPSXWHUQHWZRUNV
                                                                SURYLGLQJHQWHUWDLQPHQW
                                                                VHUYLFHVYLDDJOREDO
                                                                FRPPXQLFDWLRQQHWZRUNLQ
                                                                WKHQDWXUHRIZHEVLWHV
                                                                IHDWXULQJDZLGHYDULHW\RI
                                                                JHQHUDOLQWHUHVW


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                                           #:2063


TM            TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services           Owner Information
Record
                                                                  HQWHUWDLQPHQWLQIRUPDWLRQ
                                                                  UHODWLQJWRPRWLRQSLFWXUH
                                                                  ILOPVPXVLFDOYLGHRV
                                                                  UHODWHGILOPFOLSV
                                                                  SKRWRJUDSKVDQGRWKHU
                                                                  PXOWLPHGLDPDWHULDOV
                                                                  DPXVHPHQWSDUNDQG
                                                                  WKHPHSDUNVHUYLFHV
                                                                  HGXFDWLRQDODQG
                                                                  HQWHUWDLQPHQWVHUYLFHV
                                                                  UHQGHUHGLQRUUHODWLQJWR
                                                                  WKHPHSDUNVQDPHO\OLYH
                                                                  VWDJHVKRZVOLYH
                                                                  DPXVHPHQWSDUNVKRZV
                                                                  OLYHSHUIRUPDQFHVE\
                                                                  FRVWXPHGFKDUDFWHUVDQG
                                                                  SUHVHQWDWLRQRIOLYH
                                                                  WKHDWULFDOSHUIRUPDQFHV
                                                                  SUHVHQWDWLRQRIOLYHVWDJH
                                                                  VKRZVSUHVHQWDWLRQRI
                                                                  OLYHVKRZSHUIRUPDQFHV
                                                                  WKHDWHUSURGXFWLRQV
                                                                  HQWHUWDLQHUVHUYLFHV
                                                                  QDPHO\OLYHDSSHDUDQFHV
                                                                  E\DSURIHVVLRQDO
                                                                  HQWHUWDLQHU
                                                                  

86           52*8(',3/20$76       5HJLVWHUHG'HFHPEHU     ,QW O&ODVV               %UHLQHU&KULVWLQH6FKDUI
)HGHUDO      51                                     ,QW O&ODVV               8V,QGLYLGXDO 
4           61          ,QW O&ODVV             (QWHUWDLQPHQWQDPHO\        UG6WUHHW$SW
XI                               )LUVW8VH0DUFK   OLYHSHUIRUPDQFHVE\D        $6725,$1<
                                     )LOHG0D\         PXVLFDOEDQG3URGXFWLRQ      8QLWHG6WDWHVRI$PHULFD
                                     5HJLVWHUHG'HFHPEHU     RIPXVLF3URGXFWLRQRI       %UHLQHU0DWWKHZ 8V
                                                             PXVLFDOVRXQGUHFRUGLQJ      ,QGLYLGXDO 
                                     5HJLVWHU7\SH3ULQFLSDO    3URGXFWLRQRIVRXQGDQG       UG6WUHHW$SW
                                     5HJLVWHU                    PXVLFYLGHRUHFRUGLQJV       $6725,$1<
                                                                 (QWHUWDLQPHQWVHUYLFHVE\     8QLWHG6WDWHVRI$PHULFD
                                                                  DPXVLFDODUWLVWDQG          
                                                                  SURGXFHUQDPHO\
                                                                  PXVLFDOFRPSRVLWLRQIRU
                                                                  RWKHUVDQGSURGXFWLRQRI
                                                                  PXVLFDOVRXQGUHFRUGLQJV
                                                                  

86           52*8(75223(5         5HJLVWHUHG)HEUXDU\     ,QW O&ODVV   .LQJVOH\-DVRQ *E
)HGHUDO      51                                    ,QW O&ODVV              ,QGLYLGXDO 
4           61          )LOHG)HEUXDU\    &RPSDFWGLVFV'9'V           5LYHUVLGH+RXVH2VQH\
XI                               5HJLVWHUHG)HEUXDU\     DQGRWKHUGLJLWDOUHFRUGLQJ   0HDG2[IRUG8QLWHG
                                                             PHGLDQDPHO\03           .LQJGRP
                                     5HJLVWHU7\SH3ULQFLSDO    03IHDWXULQJYLGHRVLQ       .LQJVOH\&KULVWRSKHU *E
                                     5HJLVWHU                    WKHILHOGRIDFWLRQ          ,QGLYLGXDO 
                                                                 DGYHQWXUHDQLPDWLRQ         5LYHUVLGH+RXVH2VQH\


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Record
                                                         ELRJUDSK\FRPHG\            0HDG2[IRUG8QLWHG
                                                         FULPHGRFXPHQWDU\           .LQJGRP
                                                         GUDPDIDPLO\IDQWDV\       
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQDQGDXGLRLQWKH
                                                         ILHOGRIPXVLF
                                                         0HFKDQLVPVIRUFRLQ
                                                         RSHUDWHGDSSDUDWXV
                                                         FRPSXWHUVRIWZDUH
                                                         QDPHO\FRPSXWHU
                                                         JUDSKLFVVRIWZDUH
                                                         FRPSXWHURSHUDWLQJ
                                                         VRIWZDUHFRPSXWHUJDPH
                                                         VRIWZDUHFRPSXWHU
                                                         VRIWZDUHGHYHORSPHQW
                                                         WRROVPXVLFGLVFVDFWLRQ
                                                         FRPSXWHUJDPHV
                                                         FRPSXWHUDFWLRQJDPHV
                                                         IRUXVHRQDFRQVROH
                                                         DFWLRQPRELOHVRIWZDUH
                                                         JDPHVDFWLRQUROH
                                                         SOD\LQJFRPSXWHUJDPHV
                                                         DFWLRQUROHSOD\LQJPRELOH
                                                         VRIWZDUHJDPHVDFWLRQ
                                                         UROHSOD\LQJVRIWZDUH
                                                         DFWLRQJDPHVRIWZDUH
                                                         DFWLRQDGYHQWXUH
                                                         FRPSXWHUJDPHVDFWLRQ
                                                         DGYHQWXUHPRELOH
                                                         VRIWZDUHJDPHVDFWLRQ
                                                         DGYHQWXUHVRIWZDUH
                                                         DGDSWLYHVRIWZDUH
                                                         DGYHQWXUHFRPSXWHU
                                                         JDPHVDGYHQWXUHPRELOH
                                                         VRIWZDUHJDPHV
                                                         DGYHQWXUHVRIWZDUH
                                                         DGYHUJDPHFRPSXWHU
                                                         JDPHVDGYHUJDPH
                                                         PRELOHVRIWZDUHJDPHV
                                                         DGYHUJDPHVRIWZDUH
                                                         DSSOLFDWLRQVRIWZDUHXVHG
                                                         IRUFRPSXWHUJDPHV
                                                         DSSOLFDWLRQVRIWZDUHIRU
                                                         VRFLDOQHWZRUNLQJ
                                                         VHUYLFHVYLDLQWHUQHW
                                                         DUFDGHPRELOHVRIWZDUH
                                                         JDPHVDUWJDPH
                                                         FRPSXWHUJDPHVDUW
                                                         JDPHPRELOHVRIWZDUH
                                                         JDPHVDUWJDPH


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         VRIWZDUHDUWLOOHU\
                                                         FRPSXWHUJDPHVDUWLOOHU\
                                                         PRELOHVRIWZDUHJDPHV
                                                         DVVLVWLYHVRIWZDUHIRUXVH
                                                         E\WKRVHZLWKGLVDELOLWLHV
                                                         DXGLRGLVFVIHDWXULQJ
                                                         PXVLFEHDW HP XS
                                                         FRPSXWHUJDPHVEHDW
                                                          HP XSPRELOHVRIWZDUH
                                                         JDPHVELRLQIRUPDWLFV
                                                         VRIWZDUH%,26VRIWZDUH
                                                         FRPSXWHUJDPHVERDUG
                                                         JDPHVRIWZDUHFDUG
                                                         JDPHFRPSXWHUJDPHV
                                                         FDUGJDPHPRELOH
                                                         VRIWZDUHJDPHVFDUG
                                                         JDPHVRIWZDUHFDVXDO
                                                         FRPSXWHUJDPHVFDVXDO
                                                         PRELOHVRIWZDUHJDPHV
                                                         FDVXDOVRIWZDUHJDPHV
                                                         FLQHPDWRJUDSKLFILOPVLQ
                                                         WKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQFRPPXQLFDWLRQ
                                                         VRIWZDUHRQOLQH
                                                         FRPPXQLW\VRIWZDUH
                                                         FRPSDFWGLVFVIHDWXULQJ
                                                         UHDGRQO\PHPRU\PXVLF
                                                         DXGLRFRPSHWLWLYH
                                                         FRPSXWHUJDPHV
                                                         FRPSHWLWLYHPRELOH
                                                         VRIWZDUHJDPHV
                                                         FRPSHWLWLYHJDPH
                                                         VRIWZDUHFRPSLOHU
                                                         VRIWZDUHXVHGIRU
                                                         WUDQVIRUPLQJVRXUFHFRGH
                                                         LQWRWKHWDUJHWODQJXDJH
                                                         FRPSXWHUDSSOLFDWLRQ
                                                         VRIWZDUHXVHGIRU
                                                         FRPSXWHUJDPHV
                                                         HOHFWURQLFGDWDEDVHLQWKH
                                                         ILHOGRIFRPSXWHUJDPH
                                                         VRIWZDUHUHFRUGHGRQ
                                                         FRPSXWHUPHGLD
                                                         FRPSXWHUJDPHGLVFV
                                                         FRPSXWHUJDPHV


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Record
                                                         VRIWZDUHFRPSXWHU
                                                         JDPHVFRPSXWHUJDPHV
                                                         XVHGLQEXVLQHVV
                                                         FRPSXWHUJDPHVXVHGIRU
                                                         EXVLQHVVSXUSRVHV
                                                         FRPSXWHUJDPLQJ
                                                         VRIWZDUHFRPSXWHU
                                                         JUDSKLFVVRIWZDUH
                                                         FRPSXWHURSHUDWLQJ
                                                         VRIWZDUHFRPSXWHU
                                                         SURJUDPVXVHGIRU
                                                         FRPSXWHUJDPHVGHVLJQ
                                                         FRPSXWHUVRIWZDUHXVHG
                                                         IRUYLUWXDOUHDOLW\
                                                         FRPSXWHUWHOHSKRQ\
                                                         VRIWZDUHFRQVWUXFWLRQRU
                                                         PDQDJHPHQWVLPXODWLRQ
                                                         FRPSXWHUJDPHV
                                                         FRQVWUXFWLRQRU
                                                         PDQDJHPHQWVLPXODWLRQ
                                                         PRELOHVRIWZDUHJDPHV
                                                         FRQVWUXFWLRQRU
                                                         PDQDJHPHQWVLPXODWLRQ
                                                         VRIWZDUHFUHGLWVFUHHQLQJ
                                                         VRIWZDUHGDWD
                                                         FRPPXQLFDWLRQVVRIWZDUH
                                                         GDWDFRPSUHVVLRQ
                                                         VRIWZDUHGDWDSURFHVVLQJ
                                                         VRIWZDUHGDWDEDVH
                                                         PDQDJHPHQWVRIWZDUH
                                                         XVHGLQWKHILHOGRI
                                                         FRPSXWHUJDPHV
                                                         GDWDEDVHVRIWZDUHXVHG
                                                         LQWKHILHOGRIFRPSXWHU
                                                         JDPHVGHFRGHUVRIWZDUH
                                                         GLJLWDOYHUVDWLOHGLVFV
                                                         IHDWXULQJJDPHVPXVLF
                                                         YLGHRVVRIWZDUH
                                                         GRZQORDGDEOHHOHFWURQLF
                                                         SXEOLFDWLRQVLQWKHQDWXUH
                                                         RIUHSRUWVERRNV
                                                         UHYLHZVQHZVDUWLFOHV
                                                         HVVD\VJXLGHVPDQXDOV
                                                         SRVWHUVDQGPDJD]LQHVLQ
                                                         WKHILHOGRIFRPSXWHU
                                                         VRIWZDUHILOPVWHOHYLVLRQ
                                                         DQGFRPSXWHUJDPHV
                                                         GRZQORDGDEOHPRYLHVLQ
                                                         WKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services            Owner Information
Record
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQGRZQORDGDEOH
                                                         YLGHRUHFRUGLQJVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ'9'GLVFVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ(OHFWURQLF
                                                         SXEOLFDWLRQVQDPHO\
                                                         UHSRUWVERRNVUHYLHZV
                                                         QHZVDUWLFOHVHVVD\V
                                                         JXLGHVPDQXDOVSRVWHUV
                                                         DQGPDJD]LQHVLQWKH
                                                         ILHOGRIFRPSXWHU
                                                         VRIWZDUHILOPVWHOHYLVLRQ
                                                         FRPSXWHUJDPHVPXVLF
                                                         DQGYLGHRVUHFRUGHGRQ
                                                         FRPSXWHUPHGLDHQFRGHG
                                                         GLVFVPRWLRQSLFWXUHVLQ
                                                         WKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQRSWLFDOGLVFV
                                                         SUHUHFRUGHGFDVVHWWHV
                                                         SUHUHFRUGHGFRPSDFW
                                                         GLVFVSUHUHFRUGHGGLJLWDO
                                                         YHUVDWLOHGLVFVDOO
                                                         IHDWXULQJILOPVLQWKHILHOG
                                                         RIDFWLRQDGYHQWXUH


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Record
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
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                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSUHUHFRUGHG
                                                         GLJLWDOYHUVDWLOHGLVFV
                                                         IHDWXULQJPXVLFSUH
                                                         UHFRUGHGGLJLWDOYHUVDWLOH
                                                         GLVFVIHDWXULQJYLGHRVLQ
                                                         WKHILHOGRIFRPSXWHU
                                                         JDPHVSUHUHFRUGHG
                                                         GLVFVLQWKHILHOGRI
                                                         FRPSXWHUJDPHVSUH
                                                         UHFRUGHGILOPVRQGLVFV
                                                         DQGPSLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
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                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQYLGHRFRPSDFW
                                                         GLVFVLQWKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
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                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQYLGHRILOPVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
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                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
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Record
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
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                                                         9LGHRGLVFVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ'RZQORDGDEOH
                                                         PRYLHVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ'RZQORDGDEOH
                                                         SRGFDVWVLQWKHILHOGRI
                                                         QHZVFXUUHQWDIIDLUV
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDU
                                                         FRPSXWHUVRIWZDUH
                                                         FRPSXWHUJDPHVDQG
                                                         ZHVWHUQ'RZQORDGDEOH
                                                         FRPLFVWULSV
                                                         'RZQORDGDEOHHOHFWURQLF
                                                         QHZVSDSHUVLQWKHILHOGRI
                                                         FRPSXWHJDPHVFXUUHQW
                                                         DIIDLUVFRPSXWHU
                                                         VRIWZDUH'RZQORDGDEOH
                                                         HOHFWURQLFERRNVLQWKH
                                                         ILHOGRIFRPSXWHUJDPHV
                                                         FRPSXWHUVRIWZDUH
                                                         'RZQORDGDEOHYLGHRILOHV
                                                         LQWKHILHOGRIQHZV


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Record
                                                         FXUUHQWDIIDLUVDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
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                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ'RZQORDGDEOH
                                                         PXVLFDOVRXQG
                                                         UHFRUGLQJVGRZQORDGDEOH
                                                         FRPSXWHUVRIWZDUH
                                                         DSSOLFDWLRQVXVHGIRU
                                                         FRPSXWHUJDPHV
                                                         GRZQORDGDEOHFRPSXWHU
                                                         VRIWZDUHXVHGIRU
                                                         FRPSXWHUJDPHV
                                                         GRZQORDGDEOHJDPHV
                                                         VRIWZDUHGRZQORDGDEOH
                                                         PRYLHVLQWKHILHOGRI
                                                         QHZVFXUUHQWDIIDLUV
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
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                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQHGXFDWLRQDO
                                                         FRPSXWHUJDPHV
                                                         HGXFDWLRQDOPRELOH
                                                         VRIWZDUHJDPHV
                                                         HOHFWURQLFVSRUWV
                                                         FRPSXWHUJDPHV
                                                         HOHFWURQLFVSRUWVPRELOH
                                                         VRIWZDUHJDPHV
                                                         HOHFWURQLFVSRUWV
                                                         VRIWZDUHHQWHUWDLQPHQW
                                                         VRIWZDUHXVHGIRUSOD\LQJ
                                                         ILOPVPXVLFDXGLR
                                                         FRPSXWHUJDPHVYLGHRV
                                                         H[HUFLVHFRPSXWHU
                                                         JDPHVH[HUFLVHPRELOH
                                                         VRIWZDUHJDPHVH[HUFLVH
                                                         JDPHVRIWZDUHH[SORUH
                                                         H[SDQGH[SORLWRU
                                                         H[WHUPLQDWHFRPSXWHU
                                                         JDPHVH[SORUHH[SDQG
                                                         H[SORLWRUH[WHUPLQDWH
                                                         PRELOHVRIWZDUHJDPHV


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services          Owner Information
Record
                                                         H[SORUHH[SDQGH[SORLW
                                                         RUH[WHUPLQDWHVRIWZDUH
                                                         IDFLDODQDO\VLVVRIWZDUH
                                                         IDFLDOUHFRJQLWLRQ
                                                         VRIWZDUHILJKWLQJ
                                                         FRPSXWHUJDPHVILJKWLQJ
                                                         PRELOHVRIWZDUHJDPHV
                                                         ILJKWLQJJDPHVRIWZDUH
                                                         ILUVWSHUVRQVKRRWHU
                                                         FRPSXWHUJDPHVILUVW
                                                         SHUVRQVKRRWHUPRELOH
                                                         VRIWZDUHJDPHVILUVW
                                                         SHUVRQVKRRWHUVRIWZDUH
                                                         JUDQGVWUDWHJ\ZDUJDPH
                                                         FRPSXWHUJDPHVJUDQG
                                                         VWUDWHJ\ZDUJDPHPRELOH
                                                         VRIWZDUHJDPHVJUDQG
                                                         VWUDWHJ\ZDUJDPH
                                                         VRIWZDUHLGOHJDPLQJ
                                                         FRPSXWHUJDPHVLGOH
                                                         JDPLQJPRELOHVRIWZDUH
                                                         JDPHVLGOHJDPLQJ
                                                         VRIWZDUHLPDJH
                                                         UHFRJQLWLRQVRIWZDUH
                                                         LQFUHPHQWDOFRPSXWHU
                                                         JDPHVLQFUHPHQWDO
                                                         PRELOHVRIWZDUHJDPHV
                                                         LQGXVWULDOVRIWZDUHXVHG
                                                         IRUFUHDWLQJJDPHVILOPV
                                                         VRIWZDUHPXVLFDXGLR
                                                         YLGHRVLQWHUDFWLYHPRYLH
                                                         FRPSXWHUJDPHV
                                                         LQWHUDFWLYHPRYLHPRELOH
                                                         VRIWZDUHJDPHVLQWHUIDFH
                                                         VRIWZDUHXVHGIRUDOORZLQJ
                                                         WZRRUPRUHVHSDUDWH
                                                         FRPSRQHQWVRID
                                                         FRPSXWHUV\VWHPWR
                                                         H[FKDQJHLQIRUPDWLRQ
                                                         LQWHUQHWPHVVDJLQJ
                                                         VRIWZDUHOLIHVLPXODWLRQ
                                                         FRPSXWHUJDPHVOLIH
                                                         VLPXODWLRQPRELOH
                                                         VRIWZDUHJDPHVOLIH
                                                         VLPXODWLRQVRIWZDUHJHR
                                                         ORFDOLVDWLRQVRIWZDUH
                                                         ORJLFFRPSXWHUJDPHV
                                                         ORJLFPRELOHVRIWZDUH
                                                         JDPHVPDVVLYHO\
                                                         PXOWLSOD\HURQOLQH
                                                         FRPSXWHUJDPHV
                                                         PDVVLYHO\PXOWLSOD\HU
                                                         RQOLQHPRELOHVRIWZDUH


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         JDPHVPDVVLYHO\
                                                         PXOWLSOD\HURQOLQHUROH
                                                         SOD\LQJJDPHVPRELOH
                                                         JDPHVPHGLDVRIWZDUH
                                                         XVHGIRUSOD\LQJJDPHV
                                                         YLGHRVILOPVPXVLF
                                                         DXGLRPHWURLGYDQLD
                                                         FRPSXWHUJDPHV
                                                         PHWURLGYDQLDPRELOH
                                                         VRIWZDUHJDPHV
                                                         PHWURLGYDQLDVRIWZDUH
                                                         PRWLRQSLFWXUHVLQWKH
                                                         ILHOGRIQHZVFXUUHQW
                                                         DIIDLUVDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQPXOWLPHGLD
                                                         VRIWZDUHXVHGIRUQHZV
                                                         FXUUHQWDIIDLUVDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQPXOWLPHGLD
                                                         VRIWZDUHXVHGIRUQHZV
                                                         FXUUHQWDIIDLUVDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQPXVLFFRPSXWHU
                                                         JDPHVPXVLFPRELOH
                                                         VRIWZDUHJDPHVPXVLF
                                                         VRIWZDUHXVHGIRUSOD\LQJ
                                                         DQGUHFRUGLQJPXVLF
                                                         PXVLFFRPSRVLWLRQ
                                                         VRIWZDUHQRQYLROHQW
                                                         FRPSXWHUJDPHVQRQ
                                                         YLROHQWPRELOHVRIWZDUH


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         JDPHVRSHUDWLQJ
                                                         VRIWZDUHSDUW\FRPSXWHU
                                                         JDPHVSDUW\PRELOH
                                                         VRIWZDUHJDPHVSODWIRUP
                                                         FRPSXWHUJDPHV
                                                         SODWIRUPPRELOHVRIWZDUH
                                                         JDPHVSUHUHFRUGHG
                                                         FRPSDFWGLVFVDQGSUH
                                                         UHFRUGHGGLJLWDOYHUVDWLOH
                                                         GLVFVIHDWXULQJJDPHV
                                                         SUHUHFRUGHGGLJLWDO
                                                         YHUVDWLOHGLVFVIHDWXULQJ
                                                         ILOPVLQWKHILHOGRIQHZV
                                                         FXUUHQWDIIDLUVDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSUHUHFRUGHG
                                                         GLJLWDOYHUVDWLOHGLVFV
                                                         IHDWXULQJPXVLFSUH
                                                         UHFRUGHGGLJLWDOYHUVDWLOH
                                                         GLVFVIHDWXULQJYLGHRVLQ
                                                         WKHILHOGRIQHZVFXUUHQW
                                                         DIIDLUVDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSUHUHFRUGHG
                                                         GLVFVIHDWXULQJQHZV
                                                         FXUUHQWDIIDLUVDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSUHUHFRUGHG
                                                         VRIWZDUHXVHGIRUJDPHV
                                                         SULYDF\VRIWZDUHXVHGIRU
                                                         SURWHFWLQJWKHSULYDF\RI
                                                         LWVXVHUVSURJUDPPLQJ


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         FRPSXWHUJDPHV
                                                         SURJUDPPLQJPRELOH
                                                         VRIWZDUHJDPHV
                                                         FRPSXWHUSURJUDPPLQJ
                                                         VRIWZDUHUDFLQJFRPSXWHU
                                                         JDPHVUDFLQJPRELOH
                                                         VRIWZDUHJDPHVUDFLQJ
                                                         VRIWZDUHUHDOWLPH'
                                                         DGYHQWXUHFRPSXWHU
                                                         JDPHVUHDOWLPH'
                                                         DGYHQWXUHPRELOH
                                                         VRIWZDUHJDPHVUHDOWLPH
                                                         'DGYHQWXUHVRIWZDUH
                                                         UHDOWLPHVWUDWHJ\
                                                         FRPSXWHUJDPHVUHDO
                                                         WLPHVWUDWHJ\PRELOH
                                                         VRIWZDUHJDPHVUHDOWLPH
                                                         VWUDWHJ\VRIWZDUHUHDO
                                                         WLPHWDFWLFVFRPSXWHU
                                                         JDPHVUHDOWLPHWDFWLFV
                                                         PRELOHVRIWZDUHJDPHV
                                                         UHDOWLPHWDFWLFVVRIWZDUH
                                                         UHFRUGHGILOPVLQWKHILHOG
                                                         RIQHZVFXUUHQWDIIDLUV
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQUROHSOD\LQJ
                                                         FRPSXWHUJDPHVUROH
                                                         SOD\LQJPRELOHVRIWZDUH
                                                         JDPHVUROHSOD\LQJ
                                                         VRIWZDUHVDQGER[UROH
                                                         SOD\LQJFRPSXWHUJDPHV
                                                         VDQGER[UROHSOD\LQJ
                                                         PRELOHVRIWZDUHJDPHV
                                                         VDQGER[UROHSOD\LQJ
                                                         VRIWZDUHVFLHQFH
                                                         VRIWZDUHXVHGIRU
                                                         HGXFDWLRQDOSXUSRVHV
                                                         F\EHUVHFXULW\VRIWZDUH
                                                         VHULRXVFRPSXWHUJDPHV
                                                         VHULRXVPRELOHVRIWZDUH
                                                         JDPHVVKRRWHUFRPSXWHU
                                                         JDPHVVKRRWHUPRELOH
                                                         VRIWZDUHJDPHVVKRRWHU
                                                         JDPHVRIWZDUHVLGH
                                                         VFUROOLQJFRPSXWHU


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services          Owner Information
Record
                                                         JDPHVVLGHVFUROOLQJ
                                                         PRELOHVRIWZDUHJDPHV
                                                         VLGHVFUROOLQJVRIWZDUH
                                                         VLPXODWLRQFRPSXWHU
                                                         JDPHVVLPXODWLRQPRELOH
                                                         VRIWZDUHJDPHV
                                                         VLPXODWLRQVRIWZDUH
                                                         VLPXODWLRQVRIWZDUH
                                                         VRIWZDUHGULYHUVVRIWZDUH
                                                         IRU*36QDYLJDWLRQ
                                                         V\VWHPVVRIWZDUH
                                                         SURJUDPPDEOH
                                                         PLFURSURFHVVRUVVSHHFK
                                                         DQDO\WLFVVRIWZDUHVSRUWV
                                                         FRPSXWHUJDPHVVSRUWV
                                                         PRELOHVRIWZDUHJDPHV
                                                         VSRUWVEDVHGILJKWLQJ
                                                         FRPSXWHUJDPHVVSRUWV
                                                         EDVHGILJKWLQJJDPHV
                                                         VSRUWVEDVHGILJKWLQJ
                                                         PRELOHVRIWZDUHJDPHV
                                                         VSRUWVEDVHGILJKWLQJ
                                                         VRIWZDUHVWHDOWK
                                                         FRPSXWHUJDPHVVWHDOWK
                                                         PRELOHVRIWZDUHJDPHV
                                                         VWUDWHJ\FRPSXWHUJDPHV
                                                         VWUDWHJ\PRELOHVRIWZDUH
                                                         JDPHVVWXGHQWVRIWZDUH
                                                         XVHGIRUHGXFDWLRQ
                                                         SXUSRVHVVXUYLYDOKRUURU
                                                         FRPSXWHUJDPHVVXUYLYDO
                                                         KRUURUPRELOHVRIWZDUH
                                                         JDPHVVXUYLYDOKRUURU
                                                         VRIWZDUHWDFWLFDOUROH
                                                         SOD\LQJFRPSXWHUJDPHV
                                                         WDFWLFDOUROHSOD\LQJ
                                                         PRELOHVRIWZDUHJDPHV
                                                         WDFWLFDOUROHSOD\LQJ
                                                         VRIWZDUHWDFWLFDOVKRRWHU
                                                         FRPSXWHUJDPHVWDFWLFDO
                                                         VKRRWHUPRELOHVRIWZDUH
                                                         JDPHVWDFWLFDOVKRRWHU
                                                         VRIWZDUHVRIWZDUHIRU
                                                         WHDFKHUV
                                                         WHOHFRPPXQLFDWLRQV
                                                         VRIWZDUHXVHGIRU
                                                         SURYLGLQJUHPRWHDFFHVV
                                                         WRV\VWHPVDQGH[FKDQJH
                                                         ILOHVDQGPHVVDJHVLQ
                                                         WH[WDXGLRDQGRUYLGHR
                                                         IRUPDWVEHWZHHQGLIIHUHQW
                                                         FRPSXWHUVRUXVHUVWH[W
                                                         DGYHQWXUHFRPSXWHU


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         JDPHVWH[WDGYHQWXUH
                                                         PRELOHVRIWZDUHJDPHV
                                                         WH[WDGYHQWXUHVRIWZDUH
                                                         WKLUGSHUVRQVKRRWHU
                                                         FRPSXWHUJDPHVWKLUG
                                                         SHUVRQVKRRWHUPRELOH
                                                         VRIWZDUHJDPHVWKLUG
                                                         SHUVRQVKRRWHUVRIWZDUH
                                                         WRZHUGHIHQVHFRPSXWHU
                                                         JDPHVWRZHUGHIHQVH
                                                         PRELOHVRIWZDUHJDPHV
                                                         WUDLQLQJVRIWZDUHXVHGIRU
                                                         HGXFDWLRQSXUSRVHVWULYLD
                                                         FRPSXWHUJDPHVWULYLD
                                                         PRELOHVRIWZDUHJDPHV
                                                         WULYLDVRIWZDUHWXUQEDVHG
                                                         VWUDWHJ\FRPSXWHUJDPHV
                                                         WXUQEDVHGVWUDWHJ\
                                                         PRELOHVRIWZDUHJDPHV
                                                         WXUQEDVHGVWUDWHJ\
                                                         VRIWZDUHWXUQEDVHG
                                                         WDFWLFVFRPSXWHUJDPHV
                                                         WXUQEDVHGWDFWLFVPRELOH
                                                         VRIWZDUHJDPHVWXUQ
                                                         EDVHGWDFWLFVVRIWZDUH
                                                         86%RSHUDWLQJVRIWZDUH
                                                         XWLOLW\VRIWZDUHYHKLFOH
                                                         VLPXODWLRQFRPSXWHU
                                                         JDPHVYHKLFOHVLPXODWLRQ
                                                         PRELOHVRIWZDUHJDPHV
                                                         YHKLFOHVLPXODWLRQ
                                                         VRIWZDUHYLGHRJDPH
                                                         GLVFVYLGHRJDPH
                                                         VRIWZDUHYLGHRJDPHV
                                                         VRIWZDUHYLGHRJDPHV
                                                         VRIWZDUHYLUWXDOUHDOLW\
                                                         JDPHVRIWZDUHYLUWXDO
                                                         UHDOLW\VRIWZDUHXVHGIRU
                                                         SOD\LQJJDPHVYLVXDO
                                                         QRYHOFRPSXWHUJDPHV
                                                         YLVXDOQRYHOPRELOH
                                                         VRIWZDUHJDPHVYLVXDO
                                                         QRYHOVRIWZDUHXVHGIRU
                                                         UHDGLQJ931RSHUDWLQJ
                                                         VRIWZDUH:$1RSHUDWLQJ
                                                         VRIWZDUHZDUJDPH
                                                         FRPSXWHUJDPHV
                                                         ZDUJDPHPRELOHVRIWZDUH
                                                         JDPHVZDUJDPH
                                                         VRIWZDUHZRUNIORZ
                                                         VRIWZDUHSDUWVWKHUHIRU
                                                         FRPSDFWGLVFVDQGGLJLWDO
                                                         YHUVDWLOHGLVFVIHDWXULQJ


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services            Owner Information
Record
                                                         YLGHRVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQDQGDXGLRLQWKH
                                                         ILHOGRIPXVLFSDUWV
                                                         WKHUHIRUIRUWKHDIRUHVDLG
                                                          ,QW O&ODVV 
                                                         3ULQWHGPDWWHUQDPHO\
                                                         SDPSKOHWVEURFKXUHV
                                                         DGYHUWLVLQJERRNOHWV
                                                         ERRNVPDJD]LQHV
                                                         PDQXDOVDQGSHULRGLFDOV
                                                         LQWKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQQHZVSDSHUVDQG
                                                         SKRWRJUDSKVVWDWLRQHU\
                                                         SULQWHGLQVWUXFWLRQDODQG
                                                         WHDFKLQJPDWHULDOLQWKH
                                                         ILHOGRIFRPSXWHUJDPH
                                                         KLQWVWLSVDQGJXLGHV
                                                         DGYHUWLVLQJSDPSKOHWV
                                                         DGYHUWLVLQJSRVWHUV
                                                         DGYHUWLVLQJSXEOLFDWLRQV
                                                         QDPHO\SDPSKOHWV
                                                         SRVWHUVERDUGVIO\HUV
                                                         DQGVLJQVERRNVLQWKH
                                                         ILHOGRIILFWLRQFRPHG\
                                                         GUDPDKRUURUQRQILFWLRQ
                                                         UHDOLVWLFILFWLRQURPDQFH
                                                         QRYHOVDWLUHVFLHQFH
                                                         ILFWLRQWUDJHG\
                                                         WUDJLFRPHG\IDQWDV\
                                                         P\WKRORJ\WUDGLQJFDUGV
                                                         JXLGHERRNVDQG
                                                         PDJD]LQHVLQWKHILHOGRI
                                                         ILFWLRQPDQXDOVLQWKH
                                                         ILHOGRIILFWLRQSDPSKOHWV
                                                         LQWKHILHOGRIDGYHUWLVLQJ
                                                         FRPLFERRNVFRPLF


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         PDJD]LQHVFRPLFV
                                                         IDQWDV\ERRNVVHULHVRI
                                                         ILFWLRQERRNVSHULRGLFDO
                                                         PDJD]LQHVLQWKHILHOGRI
                                                         FRPSXWHUJDPHVVFLHQFH
                                                         ILFWLRQSHULRGLFDO
                                                         SXEOLFDWLRQVQDPHO\
                                                         SDPSKOHWVSRVWHUV
                                                         EURFKXUHVDGYHUWLVLQJ
                                                         ERRNOHWVERRNVFRPLFV
                                                         PDJD]LQHVPDQXDOV
                                                         SHULRGLFDOVQHZVSDSHUV
                                                         DQGSKRWRJUDSKVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSHULRGLFDOV
                                                         QDPHO\SDPSKOHWV
                                                         SRVWHUVEURFKXUHV
                                                         DGYHUWLVLQJERRNOHWV
                                                         ERRNVFRPLFV
                                                         PDJD]LQHVPDQXDOV
                                                         SHULRGLFDOVQHZVSDSHUV
                                                         DQGSKRWRJUDSKVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQSRVWHU
                                                         PDJD]LQHVSRVWHUV
                                                         SULQWHGSXEOLFDWLRQV
                                                         QDPHO\QDPHO\
                                                         SDPSKOHWVSRVWHUV
                                                         EURFKXUHVDGYHUWLVLQJ
                                                         ERRNOHWVERRNVFRPLFV
                                                         PDJD]LQHVPDQXDOV
                                                         SHULRGLFDOVQHZVSDSHUV
                                                         DQGSKRWRJUDSKVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQVHULHVRI
                                                         FRPSXWHUJDPHKLQW
                                                         ERRNVVWLFNHUVVWUDWHJ\
                                                         JXLGHERRNVIRUFDUG
                                                         JDPHVVWUDWHJ\JXLGH
                                                         ERRNVIRUFRPSXWHU
                                                         JDPHVWUDGLQJFDUGV
                                                         ERRNVIRUFKLOGUHQ
                                                         FRORXULQJERRNVVWLFNHU
                                                         ERRNVSHQVSHQFLOV
                                                         ZULWLQJSDSHUJUHHWLQJV
                                                         FDUGVVHULHVRIILFWLRQ
                                                         QRYHOVDQGERRNVFULPH
                                                         QRYHOVDQGERRNV
                                                         GHWHFWLYHQRYHOVDQG
                                                         ERRNVGUDPDQRYHOVDQG
                                                         ERRNVIDEOHQRYHOVDQG
                                                         ERRNVIDLU\WDOHQRYHOV
                                                         DQGERRNVIDQILFWLRQ
                                                         QRYHOVDQGERRNVIDQWDV\
                                                         QRYHOVDQGERRNVIRONORUH
                                                         QRYHOVDQGERRNV
                                                         KLVWRULFDOILFWLRQQRYHOV
                                                         DQGERRNVKRUURUQRYHOV
                                                         DQGERRNVKXPRXU
                                                         QRYHOVDQGERRNVOHJHQG
                                                         QRYHOVDQGERRNV
                                                         PDJLFDOUHDOLVPQRYHOV
                                                         DQGERRNVPHWDILFWLRQ
                                                         QRYHOVDQGERRNV
                                                         P\VWHU\QRYHOVDQG
                                                         ERRNVP\WKRORJ\QRYHOV
                                                         DQGERRNVSLFWXUHERRN
                                                         QRYHOVUHDOLVWLFILFWLRQ
                                                         QRYHOVDQGERRNVVHULHV
                                                         RIVFLHQFHILFWLRQQRYHOV
                                                         DQGERRNVVKRUWVWRU\
                                                         QRYHOVDQGERRNVLQWKH
                                                         ILHOGRIILFWLRQVXVSHQVH
                                                         QRYHOVDQGERRNVWKULOOHU
                                                         QRYHOVDQGERRNVWDOOWDOH
                                                         QRYHOVDQGERRNV
                                                         ZHVWHUQQRYHOVDQG
                                                         ERRNVELRJUDSKLHV
                                                         DXWRELRJUDSKLHV
                                                         PHPRLUVSDUWVWKHUHIRU
                                                          ,QW O&ODVV 
                                                         *DPHVDQGSOD\WKLQJV


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         QDPHO\DUFDGHJDPHV
                                                         EDOORRQVERDUGJDPHV
                                                         FDUGJDPHVGLFHJDPHV
                                                         GROOVKDQGSXSSHWV
                                                         QRYHOW\PDVNVSOXVK
                                                         WR\VSXSSHWVUXEEHU
                                                         FKDUDFWHUWR\VWR\
                                                         ZDWFKHVWR\YHKLFOHVWR\
                                                         PRGHOVWR\JXQVWR\
                                                         ILJXUHVWR\FDUVWUDGLQJ
                                                         FDUGJDPHVYLGHRJDPH
                                                         FRQVROHVYLGHRJDPH
                                                         PDFKLQHV\R\RVERDUG
                                                         JDPHVFDUGJDPHV
                                                         FROOHFWDEOHWR\ILJXUHV
                                                         GROOVGLFHJDPHV
                                                         HOHFWURQLFERDUGJDPHV
                                                         JDPHVQDPHO\DUFDGH
                                                         JDPHVEDOORRQVERDUG
                                                         JDPHVFDUGJDPHVGLFH
                                                         JDPHVGROOVKDQG
                                                         SXSSHWVQRYHOW\PDVNV
                                                         SOXVKWR\VSXSSHWV
                                                         UXEEHUFKDUDFWHUWR\VWR\
                                                         ZDWFKHVWR\YHKLFOHVWR\
                                                         PRGHOVWR\JXQVWR\
                                                         ILJXUHVWR\FDUVWUDGLQJ
                                                         FDUGJDPHVYLGHRJDPH
                                                         FRQVROHVYLGHRJDPH
                                                         PDFKLQHV\R\RVPRGHOV
                                                         IRUXVHZLWKUROHSOD\LQJ
                                                         JDPHVSOD\LQJFDUGV
                                                         VFDOHPRGHOILJXUHV
                                                         VFDOHPRGHOYHKLFOHVWR\
                                                         DFWLRQILJXULQHVWR\
                                                         ILJXUHVWR\ILJXULQHVWR\
                                                         PRGHOVWR\VJDPHV
                                                         SOD\WKLQJVDQGQRYHOWLHV
                                                         QDPHO\DUFDGHJDPHV
                                                         EDOORRQVERDUGJDPHV
                                                         FDUGJDPHVGLFHJDPHV
                                                         GROOVKDQGSXSSHWV
                                                         QRYHOW\PDVNVSOXVK
                                                         WR\VSXSSHWVUXEEHU
                                                         FKDUDFWHUWR\VWR\
                                                         ZDWFKHVWR\YHKLFOHVWR\
                                                         PRGHOVWR\JXQVWR\
                                                         ILJXUHVWR\FDUVWUDGLQJ
                                                         FDUGJDPHVYLGHRJDPH
                                                         FRQVROHVYLGHRJDPH
                                                         PDFKLQHV\R\RVSDUWV
                                                         WKHUHIRU
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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services            Owner Information
Record
                                                         (GXFDWLRQDOVHUYLFHV
                                                         QDPHO\SURYLGLQJ
                                                         FODVVHVVHPLQDUV
                                                         ZRUNVKRSVOHFWXUHVLQWKH
                                                         ILHOGRIFRPSXWHUV
                                                         VRIWZDUHFRPSXWHU
                                                         JDPHVILOPVDQG
                                                         WHOHYLVLRQSURJUDPV
                                                         SURYLGLQJRIWUDLQLQJLQWKH
                                                         ILHOGRIFRPSXWHUV
                                                         VRIWZDUHFRPSXWHU
                                                         JDPHVILOPVDQG
                                                         WHOHYLVLRQSURJUDPV
                                                         HQWHUWDLQPHQWVHUYLFHV
                                                         QDPHO\SURYLGLQJILOPVLQ
                                                         WKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQFRPSXWHU
                                                         JDPLQJVHUYLFHV
                                                         SURYLGLQJSRGFDVWVLQWKH
                                                         ILHOGRIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQRUJDQL]LQJ
                                                         VSRUWLQJDQGFXOWXUDO
                                                         DFWLYLWLHVDUUDQJHPHQWRI
                                                         FRQYHQWLRQVIRU
                                                         HGXFDWLRQDOSXUSRVHV
                                                         DUUDQJHPHQWRI
                                                         FRQYHQWLRQVIRU
                                                         UHFUHDWLRQDOSXUSRVHV
                                                         DUUDQJLQJRIFRPSHWLWLRQV
                                                         YLDWKHLQWHUQHWDUUDQJLQJ
                                                         RIFRQYHQWLRQVIRUFXOWXUDO
                                                         SXUSRVHVDUUDQJLQJRI
                                                         FRQYHQWLRQVIRU
                                                         HQWHUWDLQPHQWSXUSRVHV
                                                         DUUDQJLQJRUJDQL]LQJRU
                                                         FRQGXFWLQJRI
                                                         FRQYHQWLRQV


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Record
                                                         FRQIHUHQFHV
                                                         V\PSRVLXPVVHPLQDUV
                                                         OHFWXUHVVRFLDOVDQG
                                                         SDUWLHVIRUHGXFDWLRQDO
                                                         DQGHQWHUWDLQPHQW
                                                         SXUSRVHVHQWHUWDLQPHQW
                                                         VHUYLFHVLQWKHQDWXUHRI
                                                         DUUDQJLQJVRFLDO
                                                         HQWHUWDLQPHQWHYHQWV
                                                         ERRNSXEOLVKLQJ
                                                         HOHFWURQLFSXEOLVKLQJ
                                                         QDPHO\SDPSKOHWV
                                                         EURFKXUHVDGYHUWLVLQJ
                                                         ERRNOHWVERRNV
                                                         PDJD]LQHVPDQXDOVDQG
                                                         SHULRGLFDOVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQH[KLELWLRQ
                                                         GLVWULEXWLRQDQG
                                                         SURGXFWLRQRIILOPV
                                                         LQWHUDFWLYHHQWHUWDLQPHQW
                                                         LQWKHQDWXUHRIRQOLQH
                                                         FRPSXWHUJDPHVPXVLF
                                                         DQGILOPVLQWHUDFWLYH
                                                         HQWHUWDLQPHQWLQWKH
                                                         QDWXUHRIRQOLQHWHOHYLVLRQ
                                                         SURJUDPVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQPDJD]LQH
                                                         SXEOLVKLQJPRWLRQSLFWXUH
                                                         SURGXFWLRQPXOWLPHGLD
                                                         HQWHUWDLQPHQWVRIWZDUH
                                                         SXEOLVKLQJVHUYLFHV
                                                         RUJDQL]DWLRQRI
                                                         FRPSHWLWLRQVRUDZDUGV
                                                         IRUHGXFDWLRQDOSXUSRVHV
                                                         RUJDQL]DWLRQRIVSRUWV


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Record
                                                         FRPSHWLWLRQV
                                                         RUJDQL]DWLRQRI
                                                         FRQIHUHQFHVH[KLELWLRQV
                                                         RUFRPSHWLWLRQVIRU
                                                         HGXFDWLRQDOSXUSRVHV
                                                         RUJDQL]DWLRQRI
                                                         HQWHUWDLQPHQW
                                                         FRPSHWLWLRQVLQWKHQDWXUH
                                                         RIFRPSXWHUJDPHV
                                                         FRPSHWLWLRQV
                                                         RUJDQL]DWLRQRI
                                                         UHFUHDWLRQDOFRPSHWLWLRQV
                                                         SKRWRJUDSK\VHUYLFHV
                                                         SXEOLVKLQJRISULQWHG
                                                         PDWWHUQDPHO\
                                                         SDPSKOHWVEURFKXUHV
                                                         DGYHUWLVLQJERRNOHWV
                                                         ERRNVPDJD]LQHV
                                                         PDQXDOVDQGSHULRGLFDOV
                                                         LQWKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQVRIWZDUH
                                                         SXEOLVKLQJVHUYLFHVLQWKH
                                                         ILHOGRIFRPSXWHUJDPHV
                                                         FRPSXWHUVRIWZDUH
                                                         PXVLFILOPVERRNVDQG
                                                         PDJD]LQHV7HOHYLVLRQ
                                                         SURJUDPPHSURGXFWLRQ
                                                         (GLWLQJRIWHOHYLVLRQ
                                                         SURJUDPPHV3URGXFWLRQ
                                                         RIWHOHYLVLRQSURJUDPPHV
                                                         3URGXFWLRQRI
                                                         HQWHUWDLQPHQWLQWKHIRUP
                                                         RIDWHOHYLVLRQVHULHV
                                                         7HOHYLVLRQVKRZ
                                                         SURGXFWLRQ7HOHYLVLRQ
                                                         HQWHUWDLQPHQWVHUYLFHV
                                                         QDPHO\SURYLGLQJRQ
                                                         JRLQJWHOHYLVLRQVKRZV
                                                         DQGILOPVLQWKHILHOGRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services            Owner Information
Record
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ7HOHYLVLRQ
                                                         SURJUDPSURGXFWLRQ
                                                         5DGLRDQGWHOHYLVLRQ
                                                         HQWHUWDLQPHQWQDPHO\
                                                         WKHSURYLVLRQRIWHOHYLVLRQ
                                                         VKRZVDQGUDGLRVKRZVLQ
                                                         WKHILHOGRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ3URGXFWLRQRI
                                                         WHOHYLVLRQILOPV)LOP
                                                         HGLWLQJ)LOPVWXGLRV)LOP
                                                         SURGXFWLRQ)LOP
                                                         GLVWULEXWLRQ9LGHRHGLWLQJ
                                                         9LGHRSURGXFWLRQ
                                                         6FULSWZULWLQJVHUYLFHVIRU
                                                         QRQDGYHUWLVLQJSXUSRVHV
                                                         6FUHHQSOD\ZULWLQJ
                                                         :ULWLQJVFUHHQSOD\V
                                                         3URGXFWLRQRI79VKRZV
                                                         9LGHRDQG'9'ILOP
                                                         SURGXFWLRQ3URYLVLRQRI
                                                         QRQGRZQORDGDEOHILOPVLQ
                                                         WKHJHQUHRIDFWLRQ
                                                         DGYHQWXUHDQLPDWLRQ
                                                         ELRJUDSK\FRPHG\
                                                         FULPHGRFXPHQWDU\
                                                         GUDPDIDPLO\IDQWDV\
                                                         ILOPQRLUKLVWRU\KRUURU
                                                         PXVLFPXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQQRW
                                                         GRZQORDGDEOH3URYLGLQJ
                                                         ILOPVLQWKHJHQUHRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG


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Record
                                                         ZHVWHUQQRW
                                                         GRZQORDGDEOHYLDYLGHR
                                                         RQGHPDQGWUDQVPLVVLRQ
                                                         VHUYLFHV0RYLHVWXGLR
                                                         VHUYLFHV3URGXFWLRQRI
                                                         OLYHWHOHYLVLRQ
                                                         SURJUDPPHV&LQHPD
                                                         HQWHUWDLQPHQWQDPHO\
                                                         FLQHPDWKHDWUHV&LQHPD
                                                         VWXGLRVHUYLFHV1RQ
                                                         GRZQORDGDEOHHOHFWURQLF
                                                         SXEOLFDWLRQVLQWKHQDWXUH
                                                         RIDFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQ3URYLGLQJRQOLQH
                                                         YLGHRVLQWKHJHQUHVRI
                                                         DFWLRQDGYHQWXUH
                                                         DQLPDWLRQELRJUDSK\
                                                         FRPHG\FULPH
                                                         GRFXPHQWDU\GUDPD
                                                         IDPLO\IDQWDV\ILOPQRLU
                                                         KLVWRU\KRUURUPXVLF
                                                         PXVLFDOP\VWHU\
                                                         URPDQFHVFLHQFHILFWLRQ
                                                         VSRUWWKULOOHUZDUDQG
                                                         ZHVWHUQQRW
                                                         GRZQORDGDEOHPDVVLYHO\
                                                         PXOWLSOD\HURQOLQHUHDO
                                                         WLPHVWUDWHJ\JDPHV
                                                         PDVVLYHO\PXOWLSOD\HU
                                                         RQOLQHUHDOWLPHVWUDWHJ\
                                                         PRELOHJDPHVPDVVLYHO\
                                                         PXOWLSOD\HURQOLQHUHDO
                                                         WLPHVWUDWHJ\VRIWZDUH
                                                         PDVVLYHO\PXOWLSOD\HU
                                                         RQOLQHUROHSOD\LQJJDPHV
                                                         FRQVROHJDPHV
                                                         PDVVLYHO\PXOWLSOD\HU
                                                         RQOLQHUROHSOD\LQJ
                                                         JDPHVPXOWLSOD\HURQOLQH
                                                         EDWWOHDUHQDFRPSXWHU
                                                         JDPHVPXOWLSOD\HURQOLQH
                                                         EDWWOHDUHQDFRQVROH
                                                         JDPHVPXOWLSOD\HURQOLQH
                                                         EDWWOHDUHQDJDPHV
                                                         PXOWLSOD\HURQOLQHEDWWOH


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TM            TM/AN/RN/Disclaimer   Status/Key Dates             Full Goods/Services           Owner Information
Record
                                                                   DUHQDPRELOHJDPHV
                                                                   PXOWLSOD\HURQOLQHEDWWOH
                                                                   DUHQDVRIWZDUH
                                                                   LQIRUPDWLRQFRQVXOWDQF\
                                                                   RUDGYLVRU\VHUYLFHV
                                                                   UHODWLQJWRWKHDIRUHVDLG
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86           52*8(%,//,21$,5(     5HJLVWHUHG$SULO   ,QW O&ODVV               $ $ 8V/LPLWHG/LDELOLW\
)HGHUDO      51           2IILFH6WDWXV6HFWLRQ     ,QW O&ODVV              &RPSDQ\ 
4           61          $FFHSWHGDQG              (GXFDWLRQDODQG               68,7(1277,1*
XI                              $FNQRZOHGJHG                 HQWHUWDLQPHQWVHUYLFHV       +,//*$7(/21'21
                                     ,QW O&ODVV              QDPHO\SURYLGLQJ             :-(8QLWHG.LQJGRP
                                     )LUVW8VH'HFHPEHU       PRWLYDWLRQDODQG              
                                                              HGXFDWLRQDOVSHDNHUV
                                     )LOHG-XO\         (GXFDWLRQDOVHUYLFHV
                                     5HJLVWHUHG$SULO    QDPHO\FRQGXFWLQJ
                                     5HJLVWHU7\SH3ULQFLSDO     FODVVHVVHPLQDUV
                                     5HJLVWHU                     FRQIHUHQFHVZRUNVKRSV
                                                                  ILHOGWULSVQRQ
                                                                   GRZQORDGDEOHZHELQDUV
                                                                   SURJUDPVH[HFXWLYH
                                                                   FRDFKLQJRQOLQH
                                                                   ZRUNVKRSVOLYHWUDLQLQJ
                                                                   FRDFKLQJDQGPHQWRULQJ
                                                                   DGYDQFHGXQLYHUVLW\OHYHO
                                                                   FRXUVHVLQWKHILHOGRI
                                                                   WUDYHOILQDQFHLQYHVWLQJ
                                                                   KLVWRU\FXOWXUHDUW
                                                                   PXVLFEXVLQHVVFXUUHQW
                                                                   DIIDLUVJHRJUDSK\
                                                                   JHRSROLWLFVSROLWLFDO
                                                                   VFLHQFHVSRUWVDQG
                                                                   GLVWULEXWLRQRIWUDLQLQJ
                                                                   PDWHULDOLQFRQQHFWLRQ
                                                                   WKHUHZLWK(QWHUWDLQPHQW
                                                                   VHUYLFHVQDPHO\
                                                                   PXOWLPHGLDSURGXFWLRQ
                                                                   VHUYLFHV(QWHUWDLQPHQW
                                                                   VHUYLFHVQDPHO\
                                                                   SURGXFWLRQDQG
                                                                   GLVWULEXWLRQRIRQJRLQJ
                                                                   WHOHYLVLRQSURJUDPVLQWKH
                                                                   ILHOGRIWUDYHOIRRG
                                                                   ILQDQFHSROLWLFV
                                                                   EXVLQHVVLQYHVWLQJ
                                                                   FXOWXUHUHOLJLRQKLVWRU\
                                                                   DUWPXVLFH[SORUDWLRQ
                                                                   ILOPVVSRUWV
                                                                   (QWHUWDLQPHQWVHUYLFHV
                                                                   QDPHO\SURGXFWLRQRI
                                                                   VSHFLDOHIIHFWVLQFOXGLQJ
                                                                   PRGHOPDNLQJVHUYLFHV


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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services           Owner Information
Record
                                                                 FRPSXWHUJHQHUDWHG
                                                                 LPDJHU\DQGFRPSXWHU
                                                                 JHQHUDWHGJUDSKLFVIRU
                                                                 WKHSURGXFWLRQRIPRWLRQ
                                                                 SLFWXUHVYLGHRVDQG
                                                                 PRYLHWUDLOHUV
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJDZHE
                                                                 VLWHIHDWXULQJ
                                                                 SKRWRJUDSKLFDXGLR
                                                                 YLGHRDQGSURVH
                                                                 SUHVHQWDWLRQVLQWKHILHOGV
                                                                 RIIRRGFXOWXUHKLVWRU\
                                                                 DUWPXVLFDQGILOPV)LOP
                                                                 DQGYLGHRSURGXFWLRQ
                                                                 FRQVXOWLQJVHUYLFHV)LOP
                                                                 HGLWLQJ0XOWLPHGLD
                                                                 HQWHUWDLQPHQWVHUYLFHVLQ
                                                                 WKHQDWXUHRI
                                                                 GHYHORSPHQWSURGXFWLRQ
                                                                 DQGSRVWSURGXFWLRQ
                                                                 VHUYLFHVLQWKHILHOGVRI
                                                                 YLGHRDQGILOPV
                                                                 2SHUDWLRQRIYLGHR
                                                                 HTXLSPHQWRUDXGLR
                                                                 HTXLSPHQWHWFIRU
                                                                 SURGXFWLRQRIUDGLRRU
                                                                 WHOHYLVLRQSURJUDPV3RVW
                                                                 SURGXFWLRQHGLWLQJ
                                                                 VHUYLFHVLQWKHILHOGRI
                                                                 PXVLFYLGHRVDQGILOP
                                                                 3URGXFWLRQRIDXGLR
                                                                 UHFRUGLQJ3URGXFWLRQRI
                                                                 '9'VYLGHRWDSHVDQG
                                                                 WHOHYLVLRQSURJUDPV
                                                                 IHDWXULQJWUDYHOIRRG
                                                                 ILQDQFHSROLWLFV
                                                                 EXVLQHVVLQYHVWLQJ
                                                                 FXOWXUHUHOLJLRQKLVWRU\
                                                                 DUWPXVLFH[SORUDWLRQ
                                                                 ILOPV3URGXFWLRQRIILOPV
                                                                 3URGXFWLRQRIPRQRVFRSLF
                                                                 DQGRUVWHUHRVFRSLF
                                                                 HOHFWURQLFGLJLWDOYLGHR
                                                                 DQGRUILOP3URGXFWLRQRI
                                                                 UDGLRRUWHOHYLVLRQ
                                                                 SURJUDPV6SHFLDOHIIHFWV
                                                                 DQLPDWLRQVHUYLFHVIRUILOP
                                                                 DQGYLGHR
                                                                 

86           52*8(1$7,21DQG      5HJLVWHUHG-XO\ ,QW O&ODVV            5RJXH1DWLRQ3W\/7'
)HGHUDO      'HVLJQ                )LOHG2FWREHU     ,QW O&ODVV               $X/LPLWHG/LDELOLW\


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TM            TM/AN/RN/Disclaimer   Status/Key Dates              Full Goods/Services           Owner Information
Record
4                                  5HJLVWHUHG-XO\     $GYHUWLVLQJQDPHO\         &RPSDQ\
XI                               ,QW O5HJ'DWH2FWREHU   SURPRWLRQRIFRQFHUWV       &0RUURZV/HJDO3W\
                                                              FRQFHUWSURPRWLRQVIRU       /WG/)UHVKZDWHU3O
                                    5HJLVWHU7\SH3ULQFLSDO     RWKHUVDJHQWV VHUYLFHV    6RXWKEDQN%YG
                                    5HJLVWHU                      QDPHO\EXVLQHVV             6287+%$1.9,&
                                                                  PDQDJHPHQWRIDFWRUV        $XVWUDOLD
              51                                         DUWLVWVDXWKRUV
              61                                        SHUIRUPLQJDUWLVWV
                                                                  SKRWRJUDSKHUVDQG
                                                                  ZULWHUVDUWLVWV DJHQW
                                                                  VHUYLFHVQDPHO\
                                                                  EXVLQHVVPDQDJHPHQWRI
                                                                  DUWLVWVEXVLQHVV
                                                                  PDQDJHPHQWRI
                                                                  SHUIRUPLQJDUWLVWV
                                                                  SXEOLFLW\DJHQF\VHUYLFHV
                                                                   ,QW O&ODVV
                                                                  $UUDQJLQJDQGFRQGXFWLQJ
                                                                  RIFRQFHUWVDUUDQJLQJRI
                                                                  FRQFHUWVHYHQW
                                                                  PDQDJHPHQWVHUYLFHV
                                                                  QDPHO\RUJDQLVDWLRQRI
                                                                  FRQFHUWVDQGPXVLFDO
                                                                  SHUIRUPDQFHVDGYLVRU\
                                                                  VHUYLFHVUHODWLQJWR
                                                                  HQWHUWDLQPHQWQDPHO\
                                                                  HQWHUWDLQPHQW
                                                                  LQIRUPDWLRQDUUDQJLQJRI
                                                                  HQWHUWDLQPHQWQDPHO\
                                                                  DUUDQJLQJRIFRQFHUWVDQG
                                                                  PXVLFDOSHUIRUPDQFHV
                                                                  DUUDQJLQJRIH[KLELWLRQV
                                                                  IRUHQWHUWDLQPHQW
                                                                  SXUSRVHVDUUDQJLQJRI
                                                                  PXVLFHQWHUWDLQPHQW
                                                                  QDPHO\DUUDQJLQJRI
                                                                  PXVLFDOFRQFHUWVDQG
                                                                  PXVLFDOSHUIRUPDQFHV
                                                                  ERRNLQJRIHQWHUWDLQPHQW
                                                                  QDPHO\IDFLOLWDWLQJ
                                                                  FRQFHUWDQG
                                                                  HQWHUWDLQPHQWHYHQW
                                                                  ERRNLQJE\SURYLGLQJ
                                                                  FRQFHUWDQG
                                                                  HQWHUWDLQPHQWHYHQW
                                                                  ERRNLQJVHUYLFHV
                                                                  GLVVHPLQDWLRQRI
                                                                  HQWHUWDLQPHQWPDWHULDO
                                                                  QDPHO\SURYLGLQJ
                                                                  HQWHUWDLQPHQWLQIRUPDWLRQ
                                                                  YLDDZHEVLWHSURYLGLQJD
                                                                  ZHEVLWHIHDWXULQJ
                                                                  HQWHUWDLQPHQW


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services          Owner Information
Record
                                                         LQIRUPDWLRQSURYLGLQJ
                                                         HQWHUWDLQPHQWLQIRUPDWLRQ
                                                         YLDUDGLRWHOHYLVLRQ
                                                         QHZVSDSHUPDJD]LQH
                                                         SDPSKOHWDQGSRVWHU
                                                         HQWHUWDLQPHQWQDPHO\
                                                         SURYLGLQJHQWHUWDLQPHQW
                                                         LQIRUPDWLRQDUUDQJLQJRI
                                                         OLYHPXVLFFRQFHUWVDQG
                                                         SHUIRUPDQFHVFRQGXFWLQJ
                                                         FRQWHVWVHQWHUWDLQPHQW
                                                         LQIRUPDWLRQ
                                                         HQWHUWDLQPHQWQDPHO\
                                                         IDQFOXEVHUYLFHV
                                                         LQIRUPDWLRQVHUYLFHV
                                                         UHODWLQJWRHQWHUWDLQPHQW
                                                         OLYHHQWHUWDLQPHQW
                                                         QDPHO\OLYHPXVLF
                                                         FRQFHUWVOLYHPXVLFDO
                                                         SHUIRUPDQFHVE\DPXVLF
                                                         DUWLVWOLYHHQWHUWDLQPHQW
                                                         SURGXFWLRQVHUYLFHV
                                                         QDPHO\SURGXFWLRQRI
                                                         RSHUDVDQGSURGXFWLRQVRI
                                                         SOD\VHYHQWPDQDJHPHQW
                                                         VHUYLFHVQDPHO\
                                                         RUJDQLVDWLRQRI
                                                         HQWHUWDLQPHQWHYHQWVLQ
                                                         WKHQDWXUHRIFXOWXUDODQG
                                                         DUWVHYHQWVFRPPXQLW\
                                                         PXVLFIHVWLYDOVIRU
                                                         HQWHUWDLQPHQWSXUSRVHV
                                                         DQGFXOWXUDOHYHQWVDQG
                                                         VRFLDOHQWHUWDLQPHQW
                                                         HYHQWVHYHQW
                                                         PDQDJHPHQWVHUYLFHV
                                                         QDPHO\RUJDQL]DWLRQRI
                                                         FXOWXUDOHYHQWVPXVLFDO
                                                         HQWHUWDLQPHQWVHUYLFHV
                                                         QDPHO\SUHVHQWDWLRQRI
                                                         PXVLFSHUIRUPDQFHVOLYH
                                                         SHUIRUPDQFHVE\D
                                                         PXVLFDODUWLVWRUEDQG
                                                         UHFRUGLQJDQGSURGXFWLRQ
                                                         RIPXVLFDOVRXQG
                                                         UHFRUGLQJRUJDQLVDWLRQ
                                                         DQGFRQGXFWLQJRIGDQFH
                                                         PXVLFDQGRWKHU
                                                         HQWHUWDLQPHQWIHVWLYDOV
                                                         RUJDQLVDWLRQRI
                                                         HQWHUWDLQPHQW
                                                         FRPSHWLWLRQVQDPHO\
                                                         HQWHUWDLQPHQWFRQWHVWV


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services           Owner Information
Record
                                                         RUJDQLVDWLRQRI
                                                         HQWHUWDLQPHQWHYHQWV
                                                         QDPHO\RUJDQLVDWLRQRI
                                                         FXOWXUDOVKRZV
                                                         RUJDQLVDWLRQRIH[KLELWLRQV
                                                         IRUPXVLFDOHQWHUWDLQPHQW
                                                         HQWHUWDLQPHQWHYHQWV
                                                         RUJDQLVLQJH[KLELWLRQVIRU
                                                         HQWHUWDLQPHQWSXUSRVHV
                                                         RUJDQLVLQJHYHQWVIRU
                                                         HQWHUWDLQPHQWSXUSRVHV
                                                         QDPHO\RUJDQLVLQJRI
                                                         GDQFLQJHYHQWV
                                                         RUJDQLVLQJFXOWXUDODQG
                                                         DUWVHYHQWVRUJDQLVLQJRI
                                                         HQWHUWDLQPHQWQDPHO\
                                                         RUJDQLVLQJVRFLDO
                                                         HQWHUWDLQPHQWHYHQWV
                                                         RUJDQLVLQJILOPIHVWLYDOV
                                                         IRUHQWHUWDLQPHQW
                                                         SXUSRVHVRUJDQLVLQJRI
                                                         HQWHUWDLQPHQWDQGVRFLDO
                                                         HYHQWVQDPHO\
                                                         RUJDQLVLQJVRFLDO
                                                         HQWHUWDLQPHQWHYHQWV
                                                         SURGXFWLRQRIDXGLR
                                                         HQWHUWDLQPHQWQDPHO\
                                                         SURGXFWLRQRIDXGLR
                                                         UHFRUGLQJSURGXFWLRQRI
                                                         UDGLRSURJUDPV
                                                         SURGXFWLRQRIPXVLF
                                                         SURYLGLQJIDFLOLWLHVIRU
                                                         HQWHUWDLQPHQWQDPHO\
                                                         SURYLGLQJUHFUHDWLRQ
                                                         IDFLOLWLHVSURYLGLQJ
                                                         IDFLOLWLHVIRUPXVLFDO
                                                         HYHQWVSURYLGLQJ
                                                         DPXVHPHQWIDFLOLWLHV
                                                         SURYLGLQJLQIRUPDWLRQ
                                                         LQFOXGLQJRQOLQHDERXW
                                                         PXVLFHQWHUWDLQPHQWDQG
                                                         FXOWXUDODFWLYLWLHV
                                                         SURYLVLRQRIHQWHUWDLQPHQW
                                                         IDFLOLWLHVQDPHO\
                                                         SURYLGLQJUHFUHDWLRQ
                                                         IDFLOLWLHVSURYLVLRQRI
                                                         HQWHUWDLQPHQWVHUYLFHV
                                                         YLDDQRQOLQHIRUXP
                                                         QDPHO\SURYLGLQJDQ
                                                         LQWHUQHWZHEVLWHSRUWDOLQ
                                                         WKHILHOGRIPXVLF
                                                         SURYLGLQJDQLQWHUQHW
                                                         ZHEVLWHSRUWDOIHDWXULQJ


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TM            TM/AN/RN/Disclaimer   Status/Key Dates   Full Goods/Services          Owner Information
Record
                                                         OLQNVWRPXVLFDODUWLVWLF
                                                         ZHEVLWHVDQGPXVLF
                                                         SHUIRUPDQFHWLFNHW
                                                         LQIRUPDWLRQSURYLVLRQRI
                                                         OLYHHQWHUWDLQPHQW
                                                         QDPHO\OLYHPXVLF
                                                         FRQFHUWVOLYHUDGLR
                                                         SHUVRQDOLW\SHUIRUPDQFHV
                                                         UDGLRHQWHUWDLQPHQW
                                                         QDPHO\HQWHUWDLQPHQWLQ
                                                         WKHQDWXUHRIOLYHUDGLR
                                                         SHUVRQDOLW\SHUIRUPDQFHV
                                                         SURYLGLQJDQRQJRLQJ
                                                         UDGLRSURJUDPLQWKHILHOG
                                                         RIPXVLFUDGLR
                                                         HQWHUWDLQPHQWSURGXFWLRQ
                                                         HQWHUWDLQHUVHUYLFHV
                                                         QDPHO\OLYHWHOHYLVHG
                                                         DQGPRYLHDSSHDUDQFHV
                                                         E\DSURIHVVLRQDO
                                                         HQWHUWDLQHUOLYHPXVLF
                                                         VHUYLFHVQDPHO\OLYH
                                                         PXVLFFRQFHUWVOLYH
                                                         SHUIRUPDQFHVE\D
                                                         PXVLFDOJURXSSUHVHQWLQJ
                                                         OLYHPXVLFDO
                                                         SHUIRUPDQFHVPXVLF
                                                         IHVWLYDOVHUYLFHVQDPHO\
                                                         RUJDQLVLQJPXVLFIHVWLYDOV
                                                         IRUFXOWXUDORU
                                                         HQWHUWDLQPHQWSXUSRVHV
                                                         FRQGXFWLQJHQWHUWDLQPHQW
                                                         H[KLELWLRQVLQWKHQDWXUH
                                                         RIPXVLFIHVWLYDOVPXVLF
                                                         KDOOVHUYLFHVPXVLF
                                                         SHUIRUPDQFHVHUYLFHV
                                                         QDPHO\SUHVHQWDWLRQRI
                                                         PXVLFDOSHUIRUPDQFHV
                                                         OLYHSHUIRUPDQFHVE\D
                                                         PXVLFDOJURXSPXVLF
                                                         SXEOLVKHUVHUYLFHV
                                                         QDPHO\SXEOLFDWLRQRI
                                                         PXVLFPXVLFSXEOLVKLQJ
                                                         VHUYLFHVPXVLFUHFRUGLQJ
                                                         VWXGLRVHUYLFHVPXVLFDO
                                                         SHUIRUPDQFHVHUYLFHV
                                                         QDPHO\OLYHPXVLF
                                                         FRQFHUWVSUHVHQWDWLRQRI
                                                         PXVLFDOSHUIRUPDQFHV
                                                         SURGXFWLRQRIPXVLFDO
                                                         UHFRUGLQJVRWKHUWKDQ
                                                         DGYHUWLVLQJSURYLGLQJ
                                                         GLJLWDOQRQGRZQORDGDEOH


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TM            TM/AN/RN/Disclaimer      Status/Key Dates            Full Goods/Services          Owner Information
Record
                                                                     PXVLFIURPWKHLQWHUQHW
                                                                     QDPHO\HQWHUWDLQPHQW
                                                                     VHUYLFHVLQWKHQDWXUHRI
                                                                     SURYLGLQJQRQ
                                                                     GRZQORDGDEOHSUH
                                                                     UHFRUGHGPXVLF
                                                                     SXEOLFDWLRQRIPXVLF
                                                                     UHFRUGLQJRIPXVLF
                                                                     FRQFHUWSHUIRUPDQFHV
                                                                     QDPHO\HQWHUWDLQPHQWLQ
                                                                     WKHQDWXUHRIOLYHPXVLF
                                                                     FRQFHUWVDUUDQJLQJDQG
                                                                     FRQGXFWLQJRIPXVLF
                                                                     FRQFHUWVVLQJLQJFRQFHUW
                                                                     SHUIRUPDQFHVQDPHO\
                                                                     SUHVHQWDWLRQRIPXVLFDO
                                                                     VLQJLQJFRQFHUW
                                                                     SHUIRUPDQFHV
                                                                     HQWHUWDLQPHQWQDPHO\
                                                                     OLYHEDQGSHUIRUPDQFHV
                                                                     UHFRUGLQJVWXGLRVHUYLFHV
                                                                     SODQQLQJDQG
                                                                     DUUDQJHPHQWRIPXVLF
                                                                     SHUIRUPDQFHVOLYHVKRZ
                                                                     SURGXFWLRQVHUYLFHV
                                                                     RUJDQLVDWLRQRIPXVLFDO
                                                                     HQWHUWDLQPHQWHYHQWV
                                                                     SODQQLQJDQG
                                                                     DUUDQJHPHQWRIPXVLF
                                                                     VKRZVSURGXFWLRQRI
                                                                     PXVLFVKRZVVRQJ
                                                                     ZULWLQJVHUYLFHVVRQJ
                                                                     ZULWLQJSURGXFWLRQRI
                                                                     DXGLRUHFRUGLQJVRWKHU
                                                                     WKDQDGYHUWLVLQJ
                                                                     

86           52*8(29(5/$1'           5HJLVWHUHG-XO\   ,QW O&ODVV              5RJXH2YHUODQG//&
)HGHUDO      51              ,QW O&ODVV               ,QW O&ODVV              1HYDGD/LPLWHG/LDELOLW\
4           61             )LUVW8VH-XQH     (QWHUWDLQPHQWVHUYLFHV      &RPSDQ\ 
XI        'LVFODLPHU29(5/$1'   )LOHG'HFHPEHU    QDPHO\SURYLGLQJDZHE      2GHWWH/Q/$6
                                       5HJLVWHUHG-XO\   VLWHIHDWXULQJ               9(*$61HYDGD
                                        5HJLVWHU7\SH3ULQFLSDO    SKRWRJUDSKVYLGHRVDQG      8QLWHG6WDWHVRI$PHULFD
                                        5HJLVWHU                    DEORJIHDWXULQJRIIURDG    
                                                                    YHKLFOHVRIIURDGLQJ
                                                                     DFWLYLWLHVDQGRXWGRRU
                                                                     DFWLYLWLHV3URYLGLQJQRQ
                                                                     GRZQORDGDEOHYLGHRVLQ
                                                                     WKHILHOGRIRIIURDG
                                                                     YHKLFOHVRIIURDGLQJ
                                                                     DFWLYLWLHVDQGRXWGRRU
                                                                     DFWLYLWLHV
                                                                     


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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services            Owner Information
Record
86           52*8(                 5HJLVWHUHG6HSWHPEHU      ,QW O&ODVV                2UHJRQ%UHZLQJ
)HGHUDO      51                                ,QW O&ODVV              &RPSDQ\ 2UHJRQ
4           61          ,QW O&ODVV            3URYLGLQJDZHEVLWH            &RUSRUDWLRQ 
XI                              )LUVW8VH-XQH      IHDWXULQJEORJVDQGQRQ       268'5,9(
                                     )LOHG0DUFK      GRZQORDGDEOH                   1HZSRUW2UHJRQ
                                     5HJLVWHUHG6HSWHPEHU      SXEOLFDWLRQVLQWKHQDWXUH     8QLWHG6WDWHVRI$PHULFD
                                                        RIDUWLFOHVDQGYLGHRVLQ      
                                     5HJLVWHU7\SH3ULQFLSDO   WKHILHOGVRIFUDIWEHHU
                                     5HJLVWHU                   EUHZLQJDQGGLVWLOOLQJRI
                                                                VSLULWVDQGSURYLGLQJD
                                                                 ZHEVLWHIHDWXULQJ
                                                                 HQWHUWDLQPHQWLQIRUPDWLRQ
                                                                 LQWKHQDWXUHRI
                                                                 VWRU\WHOOLQJRQWKHWRSLFV
                                                                 RIFUDIWEHHUEUHZLQJDQG
                                                                 GLVWLOOLQJRIVSLULWV
                                                                 

86           52*8(3/$1(7          5HJLVWHUHG'HFHPEHU       ,QW O&ODVV        'D\EUHDN*DPH
)HGHUDO      *$0(6                                     ,QW O&ODVV               &RPSDQ\//& 'HODZDUH
4           51           ,QW O&ODVV      'RZQORDGDEOHFRPSXWHU          /LPLWHG/LDELOLW\
XI        61          )LUVW8VH-DQXDU\     JDPHVRIWZDUHDQG              &RPSDQ\ 
              'LVFODLPHU*$0(6                          GRZQORDGDEOHYLGHR             (YHQLQJ&UHHN
                                    )LOHG-XQH       JDPHVRIWZDUH                 'ULYH16XLWH6$1
                                     5HJLVWHUHG'HFHPEHU       GRZQORDGDEOHPXOWLSOD\HU      ',(*2&DOLIRUQLD
                                                        UHDOWLPHFRPSXWHUDQG         8QLWHG6WDWHVRI$PHULFD
                                     5HJLVWHU7\SH3ULQFLSDO   YLGHRJDPHVRIWZDUHWKDW       
                                     5HJLVWHU                   LVGRZQORDGDEOHYLDDQ
                                                                RQOLQHVHUYLFHEHLQJD
                                                                 JOREDOFRPSXWHUQHWZRUN
                                                                 IRUHQWHUWDLQPHQW
                                                                 SXUSRVHV
                                                                  ,QW O&ODVV 
                                                                 3URYLGLQJRQOLQHIDFLOLWLHV
                                                                 IRUUHDOWLPHLQWHUDFWLRQ
                                                                 ZLWKRWKHUFRPSXWHUXVHUV
                                                                 FRQFHUQLQJWRSLFVUHODWHG
                                                                 WRJDPHVDQGJDPLQJ
                                                                 SURYLGLQJRQOLQHIDFLOLWLHV
                                                                 IRUUHDOWLPHLQWHUDFWLRQ
                                                                 ZLWKRWKHUFRPSXWHUXVHUV
                                                                 IRUWRSLFVUHODWHGWR
                                                                 SOD\LQJJDPHV
                                                                  ,QW O&ODVV 
                                                                 3URGXFWLRQRIYLGHR
                                                                 HOHFWURQLFDQGFRPSXWHU
                                                                 JDPHVRIWZDUHDXGLRDQG
                                                                 YLGHRUHFRUGLQJ
                                                                 SURGXFWLRQVHUYLFHV
                                                                 HQWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURGXFWLRQRI
                                                                 JDPHVVRIWZDUHDQG
                                                                 JDPLQJVRIWZDUH


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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services           Owner Information
Record
                                                                 HQWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJRQOLQH
                                                                 YLGHRHOHFWURQLFDQG
                                                                 FRPSXWHUJDPHV
                                                                 SURYLGLQJWHPSRUDU\XVH
                                                                 RIQRQGRZQORDGDEOH
                                                                 YLGHRHOHFWURQLFDQG
                                                                 FRPSXWHUJDPHV
                                                                 SURYLGLQJLQIRUPDWLRQ
                                                                 UHODWLQJWRYLGHR
                                                                 HOHFWURQLFDQGFRPSXWHU
                                                                 JDPHVDQG
                                                                 HQKDQFHPHQWVIRUJDPHV
                                                                 HQWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJD
                                                                 ZHEVLWHIHDWXULQJJDPHV
                                                                 SURYLGLQJDZHEVLWH
                                                                 IHDWXULQJQRQ
                                                                 GRZQORDGDEOHJDPH
                                                                 VRIWZDUH
                                                                 

86           52*8($1'             5HJLVWHUHG-XQH   ,QW O&ODVV               /DXUD6ZDQ6LHFNPDQ
)HGHUDO      5($621('              ,QW O&ODVV              ,QW O&ODVV             //& ,OOLQRLV/LPLWHG
4           51           )LUVW8VH0D\    (QWHUWDLQPHQWVHUYLFHV       /LDELOLW\&RPSDQ\ 
XI        61          )LOHG6HSWHPEHU       QDPHO\SURYLGLQJYLGHR       1HZEULGJH&LUFOH
                                                           SRGFDVWVLQWKHILHOGRI      (/*,1,OOLQRLV
                                     5HJLVWHUHG-XQH   OLIHVW\OH(QWHUWDLQPHQW      8QLWHG6WDWHVRI$PHULFD
                                     5HJLVWHU7\SH3ULQFLSDO   VHUYLFHVQDPHO\             
                                     5HJLVWHU                   SURYLGLQJYLGHRSRGFDVWV
                                                                LQWKHILHOGRIEXVLQHVV
                                                                 2QOLQHMRXUQDOVQDPHO\
                                                                 EORJVIHDWXULQJEXVLQHVV
                                                                 2QOLQHMRXUQDOVQDPHO\
                                                                 EORJVIHDWXULQJOLIHVW\OH
                                                                 2QOLQHYLGHRMRXUQDOV
                                                                 QDPHO\YORJVIHDWXULQJ
                                                                 QRQGRZQORDGDEOHYLGHRV
                                                                 LQWKHILHOGRIEXVLQHVV
                                                                 2QOLQHYLGHRMRXUQDOV
                                                                 QDPHO\YORJVIHDWXULQJ
                                                                 QRQGRZQORDGDEOHYLGHRV
                                                                 LQWKHILHOGRIOLIHVW\OH
                                                                 3URYLGLQJDZHEVLWH
                                                                 IHDWXULQJEORJVDQGQRQ
                                                                 GRZQORDGDEOH
                                                                 SXEOLFDWLRQVLQWKHQDWXUH
                                                                 RIMRXUQDOVLQWKHILHOG V 
                                                                 RIOLIHVW\OHDQGEXVLQHVV
                                                                 3URYLGLQJRQOLQHQRQ
                                                                 GRZQORDGDEOHMRXUQDOVLQ
                                                                 WKHILHOGRIOLIHVW\OH
                                                                 3URYLGLQJRQOLQHQRQ


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TM            TM/AN/RN/Disclaimer     Status/Key Dates            Full Goods/Services           Owner Information
Record
                                                                    GRZQORDGDEOHMRXUQDOVLQ
                                                                    WKHILHOGRIEXVLQHVV
                                                                    

86           52*8(75803(7           $SSOLFDWLRQSHQGLQJ         ,QW O&ODVV               0DONR-RQDWKDQ$XJXVW
)HGHUDO      61            SXEOLFDWLRQ$XJXVW       ,QW O&ODVV               8QLWHG6WDWHV,QGLYLGXDO 
4           'LVFODLPHU75803(7                           'LJLWDOPHGLDQDPHO\        %RZHUV6W-(56(<
XI                                2IILFH6WDWXV6X         SUHUHFRUGHG'9'V            &,7<1HZ-HUVH\
                                       5HJLVWUDWLRQ5HYLHZ         GRZQORDGDEOHDXGLRDQG        8QLWHG6WDWHVRI$PHULFD
                                       &RPSOHWH                    YLGHRUHFRUGLQJVDQG         
                                       ,QW O&ODVV             &'VIHDWXULQJDQG
                                       )LUVW8VH-DQXDU\       SURPRWLQJRULJLQDO
                                                               PXVLFDOFRQWHQWE\WKH
                                       )LOHG-XO\        PXVLFDOHQWLW\NQRZQDV
                                       5HJLVWHU7\SH3ULQFLSDO    5RJXH7UXPSHW
                                       5HJLVWHU                    
                                       

86           52*8(                   5HQHZHG-XQH      ,QW O&ODVV               5RJXH(QWHUSULVHV,QF
)HGHUDO      51             2IILFH6WDWXV5HJLVWHUHG     ,QW O&ODVV               *HRUJLD&RUSRUDWLRQ 
4           61            DQG5HQHZHG                 SKRQRJUDSKUHFRUGV           %$&21675((7
XI                                ,QW O&ODVV             FRPSDFWGLVFVDQG            0$<69,//(*HRUJLD
                                       )LUVW8VH$XJXVW   FDVVHWWHWDSHVFRQWDLQLQJ     8QLWHG6WDWHVRI
                                       )LOHG1RYHPEHU    PXVLFDOSHUIRUPDQFH           $PHULFD
                                       5HJLVWHUHG1RYHPEHU                                      
                                       
                                       /DVW5HQHZDO1RYHPEHU
                                       
                                       5HJLVWHU7\SH3ULQFLSDO
                                       5HJLVWHU
                                       

86           52*8(:$9(              5HQHZHG$XJXVW         ,QW O&ODVV           6FKZDUW]=DFK 8V
)HGHUDO      51                                       ,QW O&ODVV             ,QGLYLGXDO 
4           61            2IILFH6WDWXV5HJLVWHUHG   0XVLFDOVRXQG                 FR&RXQVHO//3
XI                                DQG5HQHZHG                 UHFRUGLQJV3UHUHFRUGHG      &DOLIRUQLD6W6WH
                                       ,QW O&ODVV             &'VIHDWXULQJPXVLF           6DQ)UDQFLVFR&DOLIRUQLD
                                       )LUVW8VH$XJXVW         ,QW O&ODVV             8QLWHG6WDWHVRI
                                                               (QWHUWDLQPHQWLQWKH          $PHULFD
                                       ,QW O&ODVV             QDWXUHRIOLYHPXVLFDO        
                                       )LUVW8VH6HSWHPEHU    SHUIRUPDQFHVE\DQ
                                                               LQGLYLGXDOPXVLFLDQHLWKHU
                                       )LOHG'HFHPEHU     DORQHRUDVSDUWRID
                                       5HJLVWHUHG$XJXVW       PXVLFDOJURXS
                                                               
                                       /DVW5HQHZDO$XJXVW
                                       
                                       5HJLVWHU7\SH3ULQFLSDO
                                       5HJLVWHU
                                       

86           7+(52*8(6              5HJLVWHUHG$XJXVW      ,QW O&ODVV           :RWKNH6WHYHQ5DQGDOO
)HGHUDO      51                                      ,QW O&ODVV              8QLWHG6WDWHV,QGLYLGXDO 



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TM            TM/AN/RN/Disclaimer       Status/Key Dates             Full Goods/Services           Owner Information
Record
4           61              ,QW O&ODVV              PXVLFDOVRXQGUHFRUGLQJV      :DXJK'ULYH30%
XI                                  )LUVW8VH2FWREHU        E\DPXVLFDOJURXS            +RXVWRQ7H[DV
                                                                    ,QW O&ODVV             8QLWHG6WDWHVRI
                                         ,QW O&ODVV              HQWHUWDLQPHQWQDPHO\        $PHULFD
                                         )LUVW8VH$XJXVW        OLYHSHUIRUPDQFHVE\D        
                                                                  PXVLFDOJURXS
                                         )LOHG2FWREHU      
                                         5HJLVWHUHG$XJXVW
                                         
                                         5HJLVWHU7\SH3ULQFLSDO
                                         5HJLVWHU
                                         

86           52*8(75,2                5HJLVWHUHG$SULO   ,QW O&ODVV               .DWKOHHQ6WUDKP 8V
)HGHUDO      51               ,QW O&ODVV                ,QW O&ODVV             ,QGLYLGXDO 
4           61              )LUVW8VH$XJXVW    (QWHUWDLQPHQWQDPHO\        (WK3O7(03(
XI        'LVFODLPHU75,2        )LOHG$XJXVW       OLYHSHUIRUPDQFHVE\D        $UL]RQD8QLWHG
                                        5HJLVWHUHG$SULO   PXVLFDOEDQG                  6WDWHVRI$PHULFD
                                         5HJLVWHU7\SH3ULQFLSDO                                   
                                         5HJLVWHU
                                         

86           52*8(6$021*86           5HJLVWHUHG)HEUXDU\     ,QW O&ODVV               1HVE\5REHUW 8QLWHG
)HGHUDO      51                                          ,QW O&ODVV             6WDWHV,QGLYLGXDO 
4           61              ,QW O&ODVV              (QWHUWDLQPHQWLQIRUPDWLRQ     5XQQLQJ,URQ'U
XI                                  )LUVW8VH'HFHPEHU      VHUYLFHVQDPHO\             +RFNOH\7H[DV
                                                                  SURYLGLQJLQIRUPDWLRQDQG     8QLWHG6WDWHVRI$PHULFD
                                         )LOHG6HSWHPEHU         QHZVUHOHDVHVDERXWD         %HQDYLGHV0DUN 8QLWHG
                                                                  PXVLFDODUWLVW/LYH          6WDWHV,QGLYLGXDO 
                                         5HJLVWHUHG)HEUXDU\     SHUIRUPDQFHVE\D             'XQODS)LHOG/DQH
                                                                  PXVLFDOJURXS                5LFKPRQG7H[DV
                                         5HJLVWHU7\SH3ULQFLSDO     (QWHUWDLQPHQWVHUYLFHV       8QLWHG6WDWHVRI$PHULFD
                                         5HJLVWHU                     QDPHO\SURYLGLQJQRQ         )U\RX%UDGOH\ 8QLWHG
                                                                      GRZQORDGDEOH                  6WDWHV,QGLYLGXDO 
                                                                       SUHUHFRUGHGPXVLF            /RPD/DQH6SULQJ
                                                                       LQIRUPDWLRQLQWKHILHOGRI   7H[DV8QLWHG
                                                                       PXVLFDQGFRPPHQWDU\         6WDWHVRI$PHULFD
                                                                       DQGDUWLFOHVDERXWPXVLF     0HDQV-RQDWKDQ 8QLWHG
                                                                       DOORQOLQHYLDDJOREDO      6WDWHV,QGLYLGXDO 
                                                                       FRPSXWHUQHWZRUN             'DZVRQ&UHHN
                                                                       (QWHUWDLQPHQWQDPHO\        'ULYH3DVDGHQD7H[DV
                                                                       OLYHSHUIRUPDQFHVE\D        8QLWHG6WDWHVRI
                                                                       PXVLFDOEDQG                  $PHULFD
                                                                                                     

86           52*8(%$//(5,1$           5HJLVWHUHG)HEUXDU\     ,QW O&ODVV               3D]FRJXLQ*HRUJLQD 8V
)HGHUDO      51                                          ,QW O&ODVV             ,QGLYLGXDO 
4           61              ,QW O&ODVV              (QWHUWDLQPHQWVHUYLFHVLQ     :HVWWK6WUHHWE
XI        'LVFODLPHU%$//(5,1$   )LUVW8VH-XO\      WKHQDWXUHRIOLYHGDQFH      1(:<25.1HZ<RUN
                                        )LOHG$SULO        SHUIRUPDQFHV                  8QLWHG6WDWHVRI
                                         5HJLVWHUHG)HEUXDU\                                   $PHULFD
                                                                                                 
                                         5HJLVWHU7\SH3ULQFLSDO



&RUVHDUFK                                                                                                          
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TM            TM/AN/RN/Disclaimer   Status/Key Dates             Full Goods/Services            Owner Information
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                                    5HJLVWHU


86           52*8()0              5HJLVWHUHG$SULO   ,QW O&ODVV                -DPWUD[[0HGLD,QF
)HGHUDO       51           ,QW O&ODVV               ,QW O&ODVV                ,OOLQRLV&RUSRUDWLRQ
4            61          )LUVW8VH'HFHPEHU        (QWHUWDLQPHQWVHUYLFHV       6XLWH1RUWK
XI                                                        QDPHO\SURYLGLQJDQRQ       +DUOHP$YHQXH
                                    )LOHG'HFHPEHU     JRLQJUDGLRSURJUDPLQ        &+,&$*2,OOLQRLV
                                    5HJLVWHUHG$SULO   WKHILHOGRISRSXODUPXVLF   8QLWHG6WDWHVRI$PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO    3URGXFWLRQRIUDGLR
                                    5HJLVWHU                     SURJUDPV5DGLR
                                                                 HQWHUWDLQPHQWSURGXFWLRQ
                                                                 5DGLRHQWHUWDLQPHQW
                                                                 VHUYLFHVQDPHO\UDGLR
                                                                 SURJUDPVIHDWXULQJ
                                                                 SHUIRUPDQFHVE\SRSXODU
                                                                 PXVLFJURXSV


86           52*8(                 $SSOLFDWLRQSHQGLQJ         ,QW O&ODVV                0RRJ0XVLF,QF 1RUWK
)HGHUDO       61          SXEOLFDWLRQ6HSWHPEHU       ,QW O&ODVV               &DUROLQD&RUSRUDWLRQ
4                                                       'RZQORDGDEOHDQG              %URDGZD\6WUHHW
XI                               2IILFH6WDWXV)LUVW        UHFRUGHGVRIWZDUHIRU         $6+(9,//(1RUWK
                                    ([WHQVLRQ*UDQWHG          V\QWKHVL]LQJPXVLF             &DUROLQD8QLWHG
                                    )LOHG2FWREHU                                     6WDWHVRI$PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU


86           52*8(:$9(62)7   5HQHZHG)HEUXDU\       ,QW O&ODVV                5RJXH:DYH6RIWZDUH
)HGHUDO       :$5(DQG'HVLJQ                              ,QW O&ODVV               ,QF 'HODZDUH
4                                  2IILFH6WDWXV5HJLVWHUHG   FRPSXWHUVRIWZDUHXVHG        &RUSRUDWLRQ
XI                               DQG5HQHZHG                  IRUWKHFUHDWLRQRIRWKHU     :HVW&HQWXU\'ULYH
                                    ,QW O&ODVV              FRPSXWHUSURJUDPV              6XLWH/28,69,//(
                                    )LUVW8VH$SULO                                   &RORUDGR8QLWHG
                                    )LOHG-XQH                                        6WDWHVRI$PHULFD
                                    5HJLVWHUHG-DQXDU\
                                    
                                    /DVW5HQHZDO-DQXDU\
              51           
              61          5HJLVWHU7\SH3ULQFLSDO
              'LVFODLPHU          5HJLVWHU
              62)7:$5(


86           52*8(:$9(            5HQHZHG2FWREHU        ,QW O&ODVV                5RJXH:DYH6RIWZDUH
)HGHUDO       51                                     ,QW O&ODVV               ,QF 'HODZDUH
4            61          2IILFH6WDWXV5HJLVWHUHG   FRPSXWHUVRIWZDUH XVHG        &RUSRUDWLRQ
XI                               DQG5HQHZHG                  IRUFUHDWLRQRIRWKHU         :HVW&HQWXU\'ULYH
                                    ,QW O&ODVV              FRPSXWHUSURJUDPV              6XLWH/28,69,//(
                                    )LUVW8VH1RYHPEHU                                    &28QLWHG6WDWHV
                                                                                            RI$PHULFD
                                    )LOHG)HEUXDU\
                                    5HJLVWHUHG1RYHPEHU


&RUVHDUFK                                                                                                     
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Record
                                     
                                     /DVW5HQHZDO1RYHPEHU
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(/($'(5          5HQHZHG0D\        ,QW O&ODVV               /XFDVILOP(QWHUWDLQPHQW
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG     ,QW O&ODVV             &RPSDQ\/7'/OF
4           61          DQG5HQHZHG                 >FRPSXWHUJDPH                 &DOLIRUQLD 
XI                              ,QW O&ODVV             VRIWZDUH@YLGHRJDPH        21(/(77(50$1
                                     )LUVW8VH2FWREHU      VRIWZDUHLQWHUDFWLYHYLGHR   '5,9(%/'*%6DQ
                                                             JDPHV>DQGLQWHUDFWLYH      )UDQFLVFR&$/,)251,$
                                     )LOHG2FWREHU     FRPSXWHUJDPHV@              8QLWHG6WDWHVRI
                                     5HJLVWHUHG0D\                                  $PHULFD
                                     /DVW5HQHZDO0D\                                      
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           6$9257+(52*8(       5HQHZHG0DUFK      ,QW O&ODVV               3DODFH,QGXVWULHV3XEOLF
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG     ,QW O&ODVV             %HQHILW&RUSRUDWLRQ
4           61          DQG5HQHZHG                 (QWHUWDLQPHQWLQWKH            'HODZDUH&RUSRUDWLRQ 
XI                              ,QW O&ODVV             QDWXUHRIIRRGDQGZLQH       1257+)5217
                                     )LUVW8VH-DQXDU\      WDVWLQJHYHQWV                675((7&HQWUDO3RLQW
                                                                                           2UHJRQ8QLWHG
                                     )LOHG)HEUXDU\                                   6WDWHVRI$PHULFD
                                     5HJLVWHUHG-XO\                                  
                                     /DVW5HQHZDO-XO\
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(6<1$36(         5HQHZHG-XO\       ,QW O&ODVV               6LQQHVORVFKHQ//&
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG     ,QW O&ODVV               7H[DV/LPLWHG/LDELOLW\
4           61          DQG5HQHZHG                 HQWHUWDLQPHQWVHUYLFHV       &RPSDQ\ 
XI                              ,QW O&ODVV             QDPHO\SURYLGLQJRQOLQH     %(9(5/<'5,9(
                                     )LUVW8VH$XJXVW   FRPSXWHUJDPHVDQG            'DOODV7H[DV
                                     )LOHG'HFHPEHU     RULJLQDODUWZRUN              8QLWHG6WDWHVRI$PHULFD
                                     5HJLVWHUHG-DQXDU\                                   
                                     
                                     /DVW5HQHZDO-DQXDU\
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(                 5HQHZHG$SULO     ,QW O&ODVV               0DUFKRQ(\HZHDU,QF
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG    ,QW O&ODVV               1HZ<RUN&RUSRUDWLRQ 
4           61          DQG5HQHZHG                 JRJJOHVIRUPRWRFURVV         2/'&28175<
XI                              ,QW O&ODVV             UDFLQJDQGSDUWVDQG          52$'7+,5')/225



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Record
                                     )LUVW8VH'HFHPEHU       DFFHVVRULHVWKHUHIRUH       0HOYLOOH1HZ<RUN
                                                              QDPHO\UHSODFHPHQW          8QLWHG6WDWHVRI$PHULFD
                                     )LOHG-XO\         OHQVHVIUDPHVKHDG         
                                     5HJLVWHUHG$SULO    VWUDSVQRVHSLHFHVDQG
                                     /DVW5HQHZDO$SULO       IRDPVWULSVDQGFDVHV
                                                              VSHFLDOO\DGDSWHGIRU
                                     5HJLVWHU7\SH3ULQFLSDO     JRJJOHV
                                     5HJLVWHU                     
                                     

86           52*8(                 5HQHZHG-XQH       ,QW O&ODVV              /HXSROG 6WHYHQV,QF
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG      ,QW O&ODVV              2UHJRQ&RUSRUDWLRQ 
4           61          DQG5HQHZHG                  )LHOGKXQWLQJDQGELUGLQJ   /HJDO'HSDUWPHQW
XI                              ,QW O&ODVV              ELQRFXODUVQRWIRUXVHLQ    1:*UHHQEULHU3DUNZD\
                                     )LUVW8VH)HEUXDU\      JROILQJ                      %($9(57212UHJRQ
                                                                                           8QLWHG6WDWHVRI
                                     )LOHG6HSWHPEHU                                       $PHULFD
                                                                                            
                                     5HJLVWHUHG$SULO
                                     /DVW5HQHZDO$SULO
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(648$'521        5HQHZHG-XO\       ,QW O&ODVV              /XFDVILOP(QWHUWDLQPHQW
)HGHUDO      51           2IILFH6WDWXV5HJLVWHUHG      ,QW O&ODVV            &RPSDQ\/7'/OF
4           61          DQG5HQHZHG                  FRPSXWHUJDPHVRIWZDUH         &DOLIRUQLD/LPLWHG
XI                              ,QW O&ODVV              DQGLQVWUXFWLRQPDQXDOV      /LDELOLW\&RPSDQ\ 
                                     )LUVW8VH1RYHPEHU      GLVWULEXWHGDVDXQLW        2QH/HWWHUPDQ'ULYH
                                                                                           %OGJ%6DQ)UDQFLVFR
                                     )LOHG-XQH                                        &$8QLWHG6WDWHV
                                     5HJLVWHUHG-XQH                                   RI$PHULFD
                                     /DVW5HQHZDO-XQH                                      
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(1$7,21          5HQHZHG2FWREHU         ,QW O&ODVV              2UHJRQ%UHZLQJ
)HGHUDO      51                                      ,QW O&ODVV            &RPSDQ\ 2UHJRQ
4           61          2IILFH6WDWXV5HJLVWHUHG    DVVRFLDWLRQVHUYLFHV        &RUSRUDWLRQ 
XI                              DQG5HQHZHG                  QDPHO\SURPRWLQJWKH        268'ULYH
                                     ,QW O&ODVV              LQWHUHVWVRIDPLFUR         1HZSRUW2UHJRQ
                                     )LUVW8VH-XO\     DVVRFLDWLRQRISHRSOHZKR    8QLWHG6WDWHVRI$PHULFD
                                     )LOHG-XO\         VKDUHYDOXHVDQGGHVLUHD    
                                     5HJLVWHUHG6HSWHPEHU     FKDQFHWRLQKDELWDQ
                                                              LQGHSHQGHQWFRXQWU\WKDW
                                     /DVW5HQHZDO6HSWHPEHU      HPEUDFHVFKDQJH
                                                           
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
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Record
86           52*8(                 5HQHZHG$SULO       ,QW O&ODVV                ([SRLPDJLQJ,QF
)HGHUDO       51           2IILFH6WDWXV5HJLVWHUHG    ,QW O&ODVV                &DOLIRUQLD&RUSRUDWLRQ
4            61          DQG5HQHZHG                  3KRWRJUDSKLF                  $9,$7,21:$<
XI                               ,QW O&ODVV              DFFHVVRULHVQDPHO\          :DWVRQYLOOH&DOLIRUQLD
                                    )LUVW8VH-XQH      &ROODSVLEOHOLJKWGLUHFWRUV   8QLWHG6WDWHVRI
                                    )LOHG$SULO        DQGGLIIXVHUVIRUXVHZLWK    $PHULFD
                                    5HJLVWHUHG'HFHPEHU        SKRWRJUDSKLFOLJKWLQJ
                                                         HTXLSPHQWIRU
                                    /DVW5HQHZDO'HFHPEHU      SURIHVVLRQDODQG
                                                         UHFUHDWLRQDOSKRWRJUDSK\
                                    5HJLVWHU7\SH3ULQFLSDO    /LJKWGLUHFWRUVDQG
                                    5HJLVWHU                     SKRWRJUDSKLFOLJKWLQJ
                                                                 WHQWVDOOIRUXVHZLWK
                                                                 SKRWRJUDSKLFOLJKWLQJ
                                                                 HTXLSPHQWIRU
                                                                 SURIHVVLRQDO DQG
                                                                 UHFUHDWLRQDOSKRWRJUDSK\
                                                                 6WDQGVIRUSKRWRJUDSKLF
                                                                 DSSDUDWXV


86           52*8(                5HQHZHG-XQH       ,QW O&ODVV                5RJXH(QWHUWDLQPHQW
)HGHUDO       (17(57$,10(17         2IILFH6WDWXV5HJLVWHUHG    ,QW O&ODVV               ,QF 7H[DV&RUSRUDWLRQ
4            51           DQG5HQHZHG                  ,QWHUDFWLYHYLGHRJDPHV        /RZU\5RDG
XI         61          ,QW O&ODVV              RIYLUWXDOUHDOLW\            6+5(9(3257
              'LVFODLPHU          )LUVW8VH0D\         FRPSULVHGRI>FRPSXWHU       /RXLVLDQD8QLWHG
              (17(57$,10(17       )LOHG1RYHPEHU     KDUGZDUHDQG@VRIWZDUH      6WDWHVRI$PHULFD
                                    5HJLVWHUHG0DUFK       FRPSXWHUJDPH
                                                             SURJUDPVLQWHUDFWLYH
                                    /DVW5HQHZDO0DUFK     YLGHRJDPHSURJUDPV
                                                             LQWHUDFWLYHPXOWLPHGLD
                                    5HJLVWHU7\SH3ULQFLSDO    FRPSXWHUJDPH
                                    5HJLVWHU                     SURJUDPVFRPSXWHU
                                                                 JDPHVRIWZDUH


86           52*8(:$9(DQG       5HQHZHG-XO\        ,QW O&ODVV            /$/RXYHU*DOOHU\,QF
)HGHUDO       'HVLJQ                2IILFH6WDWXV5HJLVWHUHG    ,QW O&ODVV                &DOLIRUQLD&RUSRUDWLRQ
4                                  DQG5HQHZHG                  DUWJDOOHULHV                  1RUWK9HQLFH
XI                               ,QW O&ODVV            ,QW O&ODVV               %RXOHYDUG9HQLFH
                                    )LUVW8VH-XQH     HGXFDWLRQDODQG               &DOLIRUQLD8QLWHG
                                    )LOHG-XO\         HQWHUWDLQPHQWVHUYLFHV       6WDWHVRI$PHULFD
                                    5HJLVWHUHG$SULO    QDPHO\SUHVHQWLQJ
                                    /DVW5HQHZDO$SULO      VHPLQDUVOHFWXUHV
                                                             VFUHHQLQJVDQG
              51           5HJLVWHU7\SH3ULQFLSDO    H[KLELWLRQVLQWKHILHOGRI
              61          5HJLVWHU                     DUWDQGDUWDSSUHFLDWLRQ


86           52*8(:$9(            5HQHZHG-XO\        ,QW O&ODVV            /$/RXYHU*DOOHU\,QF
)HGHUDO       51           2IILFH6WDWXV5HJLVWHUHG    ,QW O&ODVV                &DOLIRUQLD&RUSRUDWLRQ
4            61          DQG5HQHZHG                  DUWJDOOHULHV                  1RUWK9HQLFH
XI                               ,QW O&ODVV            ,QW O&ODVV               %RXOHYDUG9HQLFH


&RUVHDUFK                                                                                                      
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Record
                                     )LUVW8VH-XQH    HGXFDWLRQDODQG               &DOLIRUQLD8QLWHG
                                     )LOHG-XO\        HQWHUWDLQPHQWVHUYLFHV       6WDWHVRI$PHULFD
                                     5HJLVWHUHG$SULO   QDPHO\SUHVHQWLQJ            
                                     /DVW5HQHZDO$SULO      VHPLQDUVOHFWXUHV
                                                             VFUHHQLQJVDQG
                                     5HJLVWHU7\SH3ULQFLSDO    H[KLELWLRQVLQWKHILHOGRI
                                     5HJLVWHU                    DUWDQGDUWDSSUHFLDWLRQ
                                                                 

86           52*8(5$76            5HJLVWHUHG6HSWHPEHU    ,QW O&ODVV               5HQHJDGH5HGQHFN
)HGHUDO      51                                     ,QW O&ODVV             3URGXFWLRQV//&
4           61          ,QW O&ODVV             'RZQORDGDEOHFRPSXWHU           :DVKLQJWRQ/LPLWHG
XI                              )LUVW8VH-DQXDU\      JDPHSURJUDPV*DPH           /LDELOLW\&RPSDQ\ 
                                                             VRIWZDUH                      32%R[.DKORWXV
                                     )LOHG)HEUXDU\                                   :DVKLQJWRQ8QLWHG
                                     5HJLVWHUHG6HSWHPEHU                                   6WDWHVRI$PHULFD
                                                                                            
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           0,66,21,03266,%/(   5HJLVWHUHG'HFHPEHU     ,QW O&ODVV               3DUDPRXQW3LFWXUHV
)HGHUDO      52*8(1$7,21                                    ,QW O&ODVV             &RUSRUDWLRQ 'HODZDUH
4           51           ,QW O&ODVV             'RZQORDGDEOHHOHFWURQLF       &RUSRUDWLRQ 
XI        61          )LUVW8VH0DUFK   JDPHSURJUDPV                0HOURVH$YHQXH
                                    )LOHG0DUFK       (OHFWURQLFJDPHVRIWZDUH      +ROO\ZRRG&DOLIRUQLD
                                     5HJLVWHUHG'HFHPEHU     IRUKDQGKHOGHOHFWURQLF       8QLWHG6WDWHVRI
                                                             GHYLFHV,QWHUDFWLYHYLGHR    $PHULFD
                                     5HJLVWHU7\SH3ULQFLSDO    JDPHSURJUDPV                 
                                     5HJLVWHU                    
                                     

86           52*8($57%<0(          5HJLVWHUHG'HFHPEHU     ,QW O&ODVV           5RJXHDUWE\PH(OHQD
)HGHUDO      51                                     ,QW O&ODVV             )HUQDQGH]8VD 1HYDGD
4           61          ,QW O&ODVV          $UWSULQWV                    6ROH3URSULHWRUVKLS 
XI                              )LUVW8VH-XQH       ,QW O&ODVV             (+RQGXUDV3O
                                     )LOHG0D\          (GXFDWLRQDOVHUYLFHV         1257+/$69(*$6
                                     5HJLVWHUHG'HFHPEHU     QDPHO\FRQGXFWLQJ            1HYDGD8QLWHG
                                                             FODVVHVLQWKHILHOGRIDUW   6WDWHVRI$PHULFD
                                     5HJLVWHU7\SH3ULQFLSDO                                  
                                     5HJLVWHU
                                     

86           52*8(                 5HJLVWHUHG6HSWHPEHU       ,QW O&ODVV               $IO7HOHFRPPXQLFDWLRQV
)HGHUDO      51                                 ,QW O&ODVV             //& 'HODZDUH/LPLWHG
4           61          ,QW O&ODVV             +DQGKHOGZLUHOHVVGLJLWDO     /LDELOLW\&RPSDQ\ 
XI                              )LUVW8VH-DQXDU\    SRUWDEOHLQVWUXPHQW           5LGJHYLHZ&LUFOH
                                     )LOHG-DQXDU\     HPEHGGHGZLWKVRIWZDUH        '81&$16&
                                     5HJLVWHUHG6HSWHPEHU       IRUWHVWLQJDQDO\VLVDQG     8QLWHG6WDWHVRI$PHULFD
                                                         WURXEOHVKRRWLQJRI            
                                     5HJLVWHU7\SH3ULQFLSDO    FRPPXQLFDWLRQV
                                     5HJLVWHU                    HTXLSPHQWDQGQHWZRUNV
                                                                 



&RUVHDUFK                                                                                                     
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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services         Owner Information
Record
86           52*8(6&$/$5           5HJLVWHUHG1RYHPEHU    ,QW O&ODVV         6WRYHU%HQ)'ED
)HGHUDO      51                                    ,QW O&ODVV           5RJXHVFDODU 8QLWHG
4           61          ,QW O&ODVV         ,QWHUDFWLYHJDPHVRIWZDUH   6WDWHV,QGLYLGXDO 
XI                              )LUVW8VH0D\      ,QW O&ODVV           $SW%HQHGHWWL'U
                                     )LOHG0DUFK      6RIWZDUHDXWKRULQJ         1DSHUYLOOH,OOLQRLV
                                     5HJLVWHUHG1RYHPEHU    &RPSXWHUVRIWZDUH           8QLWHG6WDWHVRI$PHULFD
                                                            GHYHORSPHQW                 
                                     5HJLVWHU7\SH3ULQFLSDO   
                                     5HJLVWHU
                                     

86           52*8(/(*$&<          5HJLVWHUHG1RYHPEHU       ,QW O&ODVV             /HH.HQQ\ &D
)HGHUDO      51                               ,QW O&ODVV            ,QGLYLGXDO 
4           61          )LOHG'HFHPEHU    &RPSXWHUJDPH               +LOOFUHVW$YHQXH
XI                              5HJLVWHUHG1RYHPEHU       SURJUDPPHV&RPSXWHU        7RURQWR2QWDULR
                                                        JDPHSURJUDPPHV             01.&DQDGD
                                     5HJLVWHU7\SH3ULQFLSDO   GRZQORDGDEOHYLDWKH        
                                     5HJLVWHU                   ,QWHUQHW&RPSXWHUJDPH
                                                                SURJUDPV&RPSXWHU
                                                                 JDPHVRIWZDUH&RPSXWHU
                                                                 JDPHVRIWZDUH
                                                                 GRZQORDGDEOHIURPD
                                                                 JOREDOFRPSXWHUQHWZRUN
                                                                 &RPSXWHUJDPHVRIWZDUH
                                                                 IRUSHUVRQDOFRPSXWHUV
                                                                 DQGKRPHYLGHRJDPH
                                                                 FRQVROHV&RPSXWHU
                                                                 JDPHVRIWZDUHIRUXVHRQ
                                                                 PRELOHDQGFHOOXODU
                                                                 SKRQHV&RPSXWHUJDPH
                                                                 VRIWZDUHIRUXVHZLWK
                                                                 SHUVRQDOFRPSXWHUV
                                                                 KRPHYLGHRJDPH
                                                                 FRQVROHVXVHGZLWK
                                                                 WHOHYLVLRQVDQGDUFDGH
                                                                 EDVHGYLGHRJDPH
                                                                 FRQVROHV&RPSXWHU
                                                                 VRIWZDUHQDPHO\JDPH
                                                                 HQJLQHVRIWZDUHIRUYLGHR
                                                                 JDPHGHYHORSPHQWDQG
                                                                 RSHUDWLRQ'RZQORDGDEOH
                                                                 FRPSXWHUJDPH
                                                                 SURJUDPV'RZQORDGDEOH
                                                                 FRPSXWHUJDPHVRIWZDUH
                                                                 YLDDJOREDOFRPSXWHU
                                                                 QHWZRUNDQGZLUHOHVV
                                                                 GHYLFHV'RZQORDGDEOH
                                                                 HOHFWURQLFJDPH
                                                                 SURJUDPV'RZQORDGDEOH
                                                                 HOHFWURQLFJDPHVRIWZDUH
                                                                 IRUXVHRQPRELOHDQG
                                                                 FHOOXODUSKRQHVKDQGKHOG
                                                                 FRPSXWHUVSHUVRQDO


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TM            TM/AN/RN/Disclaimer       Status/Key Dates            Full Goods/Services          Owner Information
Record
                                                                    FRPSXWHUVJDPLQJ
                                                                    FRQVROHV(OHFWURQLF
                                                                    JDPHSURJUDPV
                                                                    (OHFWURQLFJDPHVRIWZDUH
                                                                    (OHFWURQLFJDPHVRIWZDUH
                                                                    IRUFHOOXODUWHOHSKRQHV
                                                                    (OHFWURQLFJDPHVRIWZDUH
                                                                    IRUKDQGKHOGHOHFWURQLF
                                                                    GHYLFHV(OHFWURQLFJDPH
                                                                    VRIWZDUHIRUZLUHOHVV
                                                                    GHYLFHV*DPHVRIWZDUH
                                                                    ,QWHUDFWLYHJDPH
                                                                    SURJUDPV,QWHUDFWLYH
                                                                    JDPHVRIWZDUH
                                                                    ,QWHUDFWLYH YLGHRJDPH
                                                                    SURJUDPV9LGHRDQG
                                                                    FRPSXWHUJDPH
                                                                    SURJUDPV9LGHRJDPH
                                                                    VRIWZDUH


86           52*8(:,=$5'6             5HJLVWHUHG'HFHPEHU    ,QW O&ODVV              6SHOOELQG6WXGLRV//&
)HGHUDO       51                                        ,QW O&ODVV              &DOLIRUQLD/LPLWHG
4            61              ,QW O&ODVV             'RZQORDGDEOHFRPSXWHU       /LDELOLW\&RPSDQ\
XI                                   )LUVW8VH6HSWHPEHU   JDPHSURJUDPV              0RVV6W8QLW6DQ
                                                                'RZQORDGDEOHPRELOH         )UDQFLVFR&DOLIRUQLD
                                        )LOHG-DQXDU\      DSSOLFDWLRQVIRUFRPSXWHU   8QLWHG6WDWHVRI
                                        5HJLVWHUHG'HFHPEHU    JDPLQJ9LGHRJDPH          $PHULFD
                                                                FDUWULGJHVDQGGLVFV
                                        5HJLVWHU7\SH3ULQFLSDO
                                        5HJLVWHU


86           52*8(<2*,DQG           5HJLVWHUHG)HEUXDU\   ,QW O&ODVV          -XOLH7UDQ%XRUQ 8V
)HGHUDO       'HVLJQ                                             ,QW O&ODVV             ,QGLYLGXDO
4                                      ,QW O&ODVV          *UDSKLF7VKLUWV6ZHDW     $VKWRQ$YH6DQ
XI                                   )LUVW8VH0D\     SDQWV<RJDSDQWV<RJD     )UDQFLVFR&DOLIRUQLD
                                        )LOHG-XQH        VKLUWV$WKOHWLFWRSVDQG   8QLWHG6WDWHVRI
                                        5HJLVWHUHG)HEUXDU\   ERWWRPVIRU\RJD             $PHULFD
                                                                 ,QW O&ODVV
                                        5HJLVWHU7\SH3ULQFLSDO   <RJDLQVWUXFWLRQ
                                        5HJLVWHU



              51
              61
              'LVFODLPHU<2*,)25
              ,17(51$7,21$/&/$66
              


86           52*8(-2851(<             5HJLVWHUHG0DUFK      ,QW O&ODVV          +DUERU0LQLVWULHV,QF


&RUVHDUFK                                                                                                       
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TM            TM/AN/RN/Disclaimer        Status/Key Dates            Full Goods/Services             Owner Information
Record
)HGHUDO       51                                         ,QW O&ODVV              1HEUDVND&RUSRUDWLRQ
4            61               ,QW O&ODVV          (GXFDWLRQDOVHUYLFHV       6RWK/LQFROQ
XI                                    )LUVW8VH1RYHPEHU    QDPHO\FRQGXFWLQJ          1(8QLWHG6WDWHV
                                                                 VHPLQDUVDQGSURJUDPVLQ RI$PHULFD
                                         )LOHG$XJXVW      WKHILHOGRISHUVRQDO
                                         5HJLVWHUHG0DUFK      VSLULWXDODQGSURIHVVLRQDO
                                                                 JURZWK
                                         5HJLVWHU7\SH3ULQFLSDO    ,QW O&ODVV
                                         5HJLVWHU                    5HOLJLRXVDQGVSLULWXDO
                                                                     VHUYLFHVQDPHO\
                                                                     SURYLGLQJJDWKHULQJVDQG
                                                                     UHWUHDWVWRGHYHORSDQG
                                                                     HQKDQFHWKHVSLULWXDOOLYHV
                                                                     RILQGLYLGXDOV


86           52*8(',6326$/           5HJLVWHUHG$SULO   ,QW O&ODVV    5RJXH:DVWH,QF
)HGHUDO       5(&<&/,1*,1&DQG       ,QW O&ODVV                                          2UHJRQ&RUSRUDWLRQ
4            'HVLJQ                                 ,QW O&ODVV                21(:(670$,1
XI                                    )LUVW8VH-DQXDU\     3ULQWHGHGXFDWLRQDO            675((768,7(
                                                                 PDWHULDOVLQWKHILHOGRI      0(')25'2UHJRQ
                                         )LOHG)HEUXDU\     UHF\FOLQJDQGFRPSRVWLQJ        8QLWHG6WDWHVRI
                                         5HJLVWHUHG$SULO    ,QW O&ODVV                $PHULFD
                                         5HJLVWHU7\SH3ULQFLSDO   2SHUDWLRQRIDEXVLQHVV
                                         5HJLVWHU                    IRURWKHUVQDPHO\ZDVWH
                                                                     ODQGILOOV
                                                                      ,QW O&ODVV
                                                                     0DLQWHQDQFHRIODQGILOOV
                                                                     IRURWKHUVZDVWHGLVSRVDO
              51                                            IRURWKHUVHQYLURQPHQWDO
              61                                           UHPHGLDWLRQVHUYLFHV
              'LVFODLPHU',6326$/                                QDPHO\ZDVWHGLVSRVDO
              5(&<&/,1*,1&                                       VROLGZDVWHODQGILOO
                                                                     VHUYLFHVDQGPHGLFDO
                                                                     ZDVWHGLVSRVDO
                                                                      ,QW O&ODVV
                                                                     *DUEDJHFROOHFWLRQ
                                                                     WUDQVSRUWDWLRQRIPHGLFDO
                                                                     ZDVWHDQGUHQWDORI
                                                                     VWRUDJHFRQWDLQHUV
                                                                      ,QW O&ODVV
                                                                     5HF\FOLQJVHUYLFHV
                                                                     GRFXPHQWVKUHGGLQJ
                                                                     VHUYLFHVZDVWHWUHDWPHQW
                                                                     VHUYLFHVIHDWXULQJWKH
                                                                     FROOHFWLRQDQGFRPSRVWLQJ
                                                                     RIRUJDQLFPDWHULDOV
                                                                     ZDVWHWUHDWPHQWVHUYLFHV
                                                                     QDPHO\UHFRYHU\RI
                                                                     PHWKDQHOLTXLGQDWXUDO
                                                                     JDVDQGRWKHUJDVHV
                                                                     IURPODQGILOOVDQG
                                                                     WUDQVIRUPDWLRQRIVDLG


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TM            TM/AN/RN/Disclaimer     Status/Key Dates             Full Goods/Services           Owner Information
Record
                                                                     JDVHVLQWRHOHFWULFLW\
                                                                       ,QW O&ODVV 
                                                                     (GXFDWLRQDO
                                                                     GHPRQVWUDWLRQLQVWUXFWLRQ
                                                                     DQGWUDLQLQJLQ
                                                                     FRPSRVWLQJWHFKQLTXHV
                                                                     HGXFDWLRQDO
                                                                     GHPRQVWUDWLRQLQVWUXFWLRQ
                                                                     DQGWUDLQLQJLQUHF\FOLQJ
                                                                     WHFKQLTXHV
                                                                     

86           :$5&200$1'(5          5HJLVWHUHG0D\      ,QW O&ODVV               .L[H\H,QF 'HODZDUH
)HGHUDO      52*8($66$8/7           ,QW O&ODVV                ,QW O&ODVV             &RUSRUDWLRQ 
4           51             )LUVW8VH'HFHPEHU      &RPSXWHUJDPHVRIWZDUH        %DVWLRQ6TXDUH
XI        61                                     IRUXVHRQPRELOHDQG         9,&725,$%&9(;
                                      )LOHG6HSWHPEHU         FHOOXODUSKRQHV              &DQDGD
                                                                GRZQORDGDEOHFRPSXWHU         
                                       5HJLVWHUHG0D\      JDPHSURJUDPV
                                       5HJLVWHU7\SH3ULQFLSDO     GRZQORDGDEOHFRPSXWHU
                                       5HJLVWHU                     JDPHVRIWZDUHYLDD
                                                                    JOREDOFRPSXWHUQHWZRUN
                                                                     DQGZLUHOHVVGHYLFHV
                                                                     

86           52*8(5811,1*           5HJLVWHUHG-XO\    ,QW O&ODVV               5RJXH(TXLSPHQW//&
)HGHUDO      51             2IILFH6WDWXV6HFWLRQ      ,QW O&ODVV               7H[DV/LPLWHG/LDELOLW\
4           61            $FFHSWHGDQG              $WKOHWLFWUDLQLQJVHUYLFHV   &RPSDQ\ 
XI        'LVFODLPHU5811,1*   $FNQRZOHGJHG                 3K\VLFDOILWQHVVWUDLQLQJ     35(66/(567
                                      ,QW O&ODVV              VHUYLFHV                      $867,17H[DV
                                       )LUVW8VH0D\                                    8QLWHG6WDWHVRI$PHULFD
                                       )LOHG$SULO                                       
                                       5HJLVWHUHG-XQH
                                       5HJLVWHU7\SH3ULQFLSDO
                                       5HJLVWHU
                                       

86           52*8($*(177+(        5HJLVWHUHG$XJXVW       ,QW O&ODVV               +LJK*DPHV//&
)HGHUDO      1(5235272&2/                                      ,QW O&ODVV               'HODZDUH/LPLWHG
4           51             ,QW O&ODVV              *DPHVRIWZDUH                 /LDELOLW\&RPSDQ\ 
XI        61            )LUVW8VH-XO\                                    0DF$UWKXU%OYG
                                      )LOHG)HEUXDU\                                     0DKZDK1HZ-HUVH\
                                       5HJLVWHUHG$XJXVW                                      8QLWHG6WDWHVRI
                                                                                               $PHULFD
                                       5HJLVWHU7\SH3ULQFLSDO                                    
                                       5HJLVWHU
                                       

86           *2<28*252*8(        5HJLVWHUHG6HSWHPEHU        ,QW O&ODVV               5RJXH&RPPXQLW\
)HGHUDO      51                                   ,QW O&ODVV              &ROOHJH 6WDWH
4           61            ,QW O&ODVV              (GXFDWLRQDOVHUYLFHV         &RPPXQLW\&ROOHJH 
XI                                )LUVW8VH1RYHPEHU      QDPHO\FRQGXFWLQJ            5HGZRRG+Z\
                                                                GLVWDQFHOHDUQLQJ             *5$1763$6625



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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services          Owner Information
Record
                                     )LOHG-XQH       LQVWUXFWLRQDWWKHFROOHJH   8QLWHG6WDWHVRI
                                     5HJLVWHUHG6HSWHPEHU      OHYHOHGXFDWLRQDO           $PHULFD
                                                        VHUYLFHVQDPHO\            
                                     5HJLVWHU7\SH3ULQFLSDO   SURYLGLQJFRXUVHVRI
                                     5HJLVWHU                   LQVWUXFWLRQDWWKHFROOHJH
                                                                OHYHODQGGLVWULEXWLRQRI
                                                                 FRXUVHPDWHULDOLQ
                                                                 FRQQHFWLRQWKHUHZLWK
                                                                 HGXFDWLRQDOVHUYLFHV
                                                                 QDPHO\SURYLGLQJRQOLQH
                                                                 FRXUVHVRILQVWUXFWLRQDW
                                                                 WKHFROOHJHOHYHO
                                                                 HGXFDWLQJDWXQLYHUVLW\RU
                                                                 FROOHJHVRUJDQL]LQJDQG
                                                                 FRQGXFWLQJFROOHJHVSRUW
                                                                 FRPSHWLWLRQVDQGDWKOHWLF
                                                                 HYHQWV
                                                                 

86           52*8(/(*,21          5HJLVWHUHG-DQXDU\    ,QW O&ODVV              7URRGR(QWHUWDLQPHQW
)HGHUDO      51                                   ,QW O&ODVV             /LPLWHG /LPLWHG
4           61          ,QW O&ODVV            (OHFWURQLFJDPHV             &RPSDQ\ /WG 
XI                              )LUVW8VH'HFHPEHU    VHUYLFHVSURYLGHGE\         ):LOORZ+RXVH&ULFNHW
                                                            PHDQVRIWKHLQWHUQHW       6T32%R[*UDQG
                                     )LOHG'HFHPEHU   (QWHUWDLQPHQWVHUYLFHV      &D\PDQ.<
                                     5HJLVWHUHG-DQXDU\    QDPHO\SURYLGLQJRQOLQH    &D\PDQ,VODQGV
                                                            FRPSXWHUJDPHV              
                                     5HJLVWHU7\SH3ULQFLSDO   (QWHUWDLQPHQWVHUYLFHV
                                     5HJLVWHU                   QDPHO\FRQGXFWLQJ
                                                                DOWHUQDWHUHDOLW\JDPHV
                                                                 YLDWKHLQWHUQHW
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJD
                                                                 ZHEVLWHIHDWXULQJJDPHV
                                                                 DQGSX]]OHV
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJDQRQ
                                                                 OLQHERDUGJDPH
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJDQRQ
                                                                 OLQHFRPSXWHUJDPH
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJRQOLQH
                                                                 HOHFWURQLFJDPHV
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJRQOLQH
                                                                 YLGHRJDPHV3URYLGLQJ
                                                                 RQOLQHFRPSXWHUJDPHV
                                                                 3URYLGLQJRQOLQH
                                                                 DXJPHQWHGUHDOLW\JDPHV
                                                                 3URYLGLQJDFRPSXWHU
                                                                 JDPHIRUXVHQHWZRUN
                                                                 ZLGHE\QHWZRUNXVHUV


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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services         Owner Information
Record
                                                                 3URYLGLQJDZHEEDVHG
                                                                 V\VWHPDQGRQOLQHSRUWDO
                                                                 IRUFXVWRPHUVWR
                                                                 SDUWLFLSDWHLQRQOLQH
                                                                 JDPLQJRSHUDWLRQDQG
                                                                 FRRUGLQDWLRQRIJDPH
                                                                 WRXUQDPHQWVOHDJXHVDQG
                                                                 WRXUVIRUUHFUHDWLRQDO
                                                                 FRPSXWHUJDPHSOD\LQJ
                                                                 SXUSRVHV3URYLGLQJD
                                                                 ZHEVLWHWKURXJKZKLFK
                                                                 SHRSOHORFDWHLQIRUPDWLRQ
                                                                 DERXWWRXUQDPHQWV
                                                                 HYHQWVDQGFRPSHWLWLRQV
                                                                 LQWKHYLGHRJDPHILHOG
                                                                 

86           52*8(/(*,21          5HJLVWHUHG-DQXDU\    ,QW O&ODVV             7URRGR(QWHUWDLQPHQW
)HGHUDO      51                                   ,QW O&ODVV            /LPLWHG /LPLWHG
4           61          ,QW O&ODVV            &RPSXWHUJDPH               &RPSDQ\ /WG 
XI                              )LUVW8VH'HFHPEHU    SURJUDPPHV                  ):LOORZ+RXVH&ULFNHW
                                                            GRZQORDGDEOHYLDWKH        6T32%R[*UDQG
                                     )LOHG'HFHPEHU   ,QWHUQHW&RPSXWHUJDPH     &D\PDQ.<
                                     5HJLVWHUHG-DQXDU\    SURJUDPV&RPSXWHU          &D\PDQ,VODQGV
                                                            JDPHVRIWZDUH&RPSXWHU     
                                     5HJLVWHU7\SH3ULQFLSDO   JDPHVRIWZDUH
                                     5HJLVWHU                   GRZQORDGDEOHIURPD
                                                                JOREDOFRPSXWHUQHWZRUN
                                                                 &RPSXWHUJDPHVRIWZDUH
                                                                 IRUXVHRQPRELOHDQG
                                                                 FHOOXODUSKRQHV
                                                                 &RPSXWHUJDPHVRIWZDUH
                                                                 IRUSHUVRQDOFRPSXWHUV
                                                                 DQGKRPHYLGHRJDPH
                                                                 FRQVROHV&RPSXWHU
                                                                 SURJUDPVIRUYLGHRDQG
                                                                 FRPSXWHUJDPHV
                                                                 &RPSXWHUVRIWZDUH
                                                                 QDPHO\JDPHHQJLQH
                                                                 VRIWZDUHIRUYLGHRJDPH
                                                                 GHYHORSPHQWDQG
                                                                 RSHUDWLRQ'RZQORDGDEOH
                                                                 FRPSXWHUJDPH
                                                                 SURJUDPV'RZQORDGDEOH
                                                                 FRPSXWHUJDPHVRIWZDUH
                                                                 YLDDJOREDOFRPSXWHU
                                                                 QHWZRUNDQGZLUHOHVV
                                                                 GHYLFHV'RZQORDGDEOH
                                                                 HOHFWURQLFJDPH
                                                                 SURJUDPV'RZQORDGDEOH
                                                                 HOHFWURQLFJDPHVRIWZDUH
                                                                 IRUXVHRQPRELOHDQG
                                                                 FHOOXODUSKRQHVKDQGKHOG


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TM            TM/AN/RN/Disclaimer      Status/Key Dates           Full Goods/Services           Owner Information
Record
                                                                    FRPSXWHUV*DPH
                                                                    VRIWZDUH*DPHVWKDW
                                                                    DFFHSWYLUWXDORUPRQHWDU\
                                                                    ZDJHUVVROGDVDIHDWXUH
                                                                    RIJDPHVRIWZDUH
                                                                    ,QWHUDFWLYHJDPH
                                                                    SURJUDPV,QWHUDFWLYH
                                                                    JDPHVRIWZDUH
                                                                    ,QWHUDFWLYHPXOWLPHGLD
                                                                    FRPSXWHUJDPH
                                                                    SURJUDPV,QWHUDFWLYH
                                                                    YLGHRJDPHSURJUDPV
                                                                    9LGHRJDPHVRIWZDUH
                                                                    9LUWXDOUHDOLW\JDPH
                                                                    VRIWZDUH
                                                                    

86           52*8(/$&5266(           5HJLVWHUHG0D\   ,QW O&ODVV           5RJXH/DFURVVH,QF 1HZ
)HGHUDO      51              ,QW O&ODVV             ,QW O&ODVV              <RUN&RUSRUDWLRQ 
4           61             )LUVW8VH-XO\   &RRUGLQDWLRQRI               32%R[6DUDWRJD
XI        'LVFODLPHU/$&5266(   ,QW O&ODVV            UHFUHDWLRQDOVSRUWLQJ         6SULQJV1<8QLWHG
                                       )LUVW8VH0D\    RSSRUWXQLWLHVIRU             6WDWHVRI$PHULFD
                                        )LOHG6HSWHPEHU       LQGLYLGXDOVZKRZLVKWR       
                                                               SDUWLFLSDWHLQWHDPOHDJXH
                                        5HJLVWHUHG0D\   VSRUWV3URYLGLQJRQOLQH
                                        5HJLVWHU7\SH3ULQFLSDO   UHJLVWUDWLRQVHUYLFHVIRU
                                        5HJLVWHU                   ODFURVVHFDPSVFOLQLFV
                                                                   DQGOHVVRQVDQGIRU
                                                                    ODFURVVHFRDFKLQJFOLQLFV
                                                                     ,QW O&ODVV 
                                                                    $PDWHXU\RXWKVSRUWV
                                                                    VHUYLFHVQDPHO\
                                                                    RUJDQL]LQJDQGSURYLGLQJ
                                                                    \RXWKVSRUWVDFWLYLWLHV
                                                                    $UUDQJLQJDQGFRQGXFWLQJ
                                                                    \RXWKVSRUWVSURJUDPVLQ
                                                                    WKHILHOGRIODFURVVH
                                                                    &RDFKLQJLQWKHILHOGRI
                                                                    VSRUWV,QVWUXFWLRQLQWKH
                                                                    QDWXUHRIODFURVVHSOD\LQJ
                                                                    DQGODFURVVHFRDFKLQJ
                                                                    FOLQLFV,QVWUXFWLRQLQWKH
                                                                    QDWXUHRIODFURVVHSOD\LQJ
                                                                    DQGODFURVVHFRDFKLQJ
                                                                    OHVVRQV3HHUWRSHHU
                                                                    FRDFKLQJVHUYLFHVLQWKH
                                                                    ILHOGRIODFURVVHSOD\LQJ
                                                                    DQGODFURVVHFRDFKLQJ
                                                                    3URIHVVLRQDOFRDFKLQJ
                                                                    VHUYLFHVLQWKHILHOGRI
                                                                    ODFURVVHSOD\LQJDQG
                                                                    ODFURVVHFRDFKLQJ
                                                                    3URYLGLQJFODVVHV


&RUVHDUFK                                                                                                       
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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services            Owner Information
Record
                                                                 ZRUNVKRSVVHPLQDUVDQG
                                                                 FDPSVLQWKHILHOGRI
                                                                 ODFURVVHSOD\LQJDQG
                                                                 ODFURVVHFRDFKLQJ
                                                                 3URYLGLQJDZHEVLWH
                                                                 IHDWXULQJLQIRUPDWLRQ
                                                                 UHODWLQJWRWKHVSRUWRI
                                                                 ODFURVVH6SRUWFDPSV
                                                                 6SRUWVLQVWUXFWLRQ
                                                                 VHUYLFHV6SRUWVWUDLQLQJ
                                                                 VHUYLFHVLQWKHILHOGRI
                                                                 ODFURVVH
                                                                 

86           +(52852*8(72       5HJLVWHUHG6HSWHPEHU      ,QW O&ODVV                7UDQVRODU*DPHV,QF
)HGHUDO      5('(037,21                                 ,QW O&ODVV                &DOLIRUQLD&RUSRUDWLRQ 
4           51           ,QW O&ODVV            &RPSXWHUJDPHVRIWZDUH         3R%R[2DNKXUVW
XI        61          )LUVW8VH-XO\                                   &DOLIRUQLD8QLWHG
                                    )LOHG$XJXVW                                     6WDWHVRI$PHULFD
                                     5HJLVWHUHG6HSWHPEHU                                      
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           0$,62152*8(          5HJLVWHUHG2FWREHU     ,QW O&ODVV            0DLVRQ5RJXH//& 1HZ
)HGHUDO      51                                    ,QW O&ODVV              -HUVH\/LPLWHG/LDELOLW\
4           61          ,QW O&ODVV         2QOLQHUHWDLOVWRUH           &RPSDQ\ 
XI                              )LUVW8VH-DQXDU\     VHUYLFHVIHDWXULQJ             FR&ROH6FKRW]3&
                                                            FORWKLQJVKRHVEDJV         0DLQ6WUHHW+DFNHQVDFN
                                     )LOHG-DQXDU\    MHZHOU\VXQJODVVHV           1-8QLWHG6WDWHV
                                     5HJLVWHUHG2FWREHU     IDVKLRQDFFHVVRULHV           RI$PHULFD
                                                            FRVPHWLFVSHUIXPHVDQG        
                                     5HJLVWHU7\SH3ULQFLSDO   IUDJUDQFHVQDLODQG
                                     5HJLVWHU                   VNLQFDUHSURGXFWV
                                                                KDLUFDUHSURGXFWVERRNV
                                                                 FDQGOHVFDUGVKRPH
                                                                 IXUQLVKLQJVKRPHGpFRU
                                                                 JRXUPHWIRRG
                                                                 GLQQHUZDUHJODVVZDUH
                                                                 DQGGULQNZDUH
                                                                   ,QW O&ODVV 
                                                                 (QWHUWDLQPHQWVHUYLFHV
                                                                 QDPHO\SURYLGLQJD
                                                                 ZHEVLWHIHDWXULQJRQOLQH
                                                                 QRQGRZQORDGDEOH
                                                                 PDJD]LQHVDQGDUWLFOHVLQ
                                                                 WKHILHOGRIIDVKLRQ
                                                                 GHVLJQDQGWUDYHO
                                                                 

86           52*8($9,$7,21        5HJLVWHUHG1RYHPEHU       ,QW O&ODVV   5RJXH$YLDWLRQ//&
)HGHUDO      51                                                           &DOLIRUQLD/LPLWHG



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TM            TM/AN/RN/Disclaimer      Status/Key Dates             Full Goods/Services          Owner Information
Record
4            61             ,QW O&ODVV         ,QW O&ODVV             /LDELOLW\&RPSDQ\
XI         'LVFODLPHU$9,$7,21   )LUVW8VH2FWREHU       3LQVEHLQJMHZHOU\           $/21'5$%/9'
                                                                 ,QW O &ODVV             &HUULWRV&$
                                       ,QW O&ODVV              /DQ\DUGVIRUKROGLQJ        8QLWHG6WDWHVRI$PHULFD
                                       )LUVW8VH-XQH      EDGJHVNH\V
                                       ,QW O&ODVV               ,QW O&ODVV
                                       )LUVW8VH6HSWHPEHU     7VKLUWV
                                                                 ,QW O&ODVV
                                       )LOHG-DQXDU\       3URYLGLQJWUDQVSRUWIRU
                                       5HJLVWHUHG1RYHPEHU        VLJKWVHHLQJWRXUV
                                                             ,QW O&ODVV
                                       5HJLVWHU7\SH3ULQFLSDO    +HOLFRSWHUIOLJKW
                                       5HJLVWHU                     LQVWUXFWLRQ


86           52*8(:$9(               5HJLVWHUHG$SULO   ,QW O&ODVV              5RJXH:DYH6RIWZDUH
)HGHUDO       62)7:$5(DQG'HVLJQ      ,QW O&ODVV               ,QW O&ODVV             ,QF 'HODZDUH
4                                     )LUVW8VH$SULO       6RIWZDUHDVDVHUYLFH       &RUSRUDWLRQ
XI                                  )LOHG2FWREHU       6$$6 VHUYLFHVIHDWXULQJ   :HVW&HQWXU\'ULYH
                                       5HJLVWHUHG$SULO   VRIWZDUHIRU:HEVLWH       6XLWH/28,69,//(
                                       5HJLVWHU7\SH3ULQFLSDO    GHYHORSPHQWDQG             &RORUDGR8QLWHG
                                       5HJLVWHU                     DUFKLWHFWXUHDQG            6WDWHVRI$PHULFD
              51                                           HQWHUSULVHV\VWHP
              61                                          PLJUDWLRQ&RPSXWHU
              'LVFODLPHU                                          VRIWZDUHGHVLJQ
              62)7:$5(                                            3URYLGLQJRQOLQHQRQ
                                                                    GRZQORDGDEOHVRIWZDUH
                                                                    IRUFRPSXWHUVRIWZDUH
                                                                    V\VWHPDQGDSSOLFDWLRQ
                                                                    VRIWZDUHGHYHORSPHQW
                                                                    GHSOR\PHQWDQG
                                                                    PDQDJHPHQWFRPSXWHU
                                                                    VRIWZDUHGHYHORSPHQW
                                                                    DQGSURJUDPPLQJIRU
                                                                    RWKHUVGHEXJJLQJ
                                                                    FRPSXWHUVRIWZDUHIRU
                                                                    RWKHUV,QWHUQHWEDVHG
                                                                    DSSOLFDWLRQVHUYLFH
                                                                    SURYLGHUQDPHO\
                                                                    GHVLJQLQJKRVWLQJ
                                                                    PDQDJLQJGHYHORSLQJ
                                                                    DQDO\]LQJDQG
                                                                    PDLQWDLQLQJWKH,7
                                                                    LQIUDVWUXFWXUHVRIWZDUH
                                                                    DSSOLFDWLRQVVRIWZDUH
                                                                    GHYHORSPHQWSURFHVV
                                                                    DSSOLFDWLRQSURJUDPPLQJ
                                                                    LQWHUIDFHV $3,V DQGZHE
                                                                    VLWHVRIRWKHUV6RIWZDUH
                                                                    DVDVHUYLFH 6$$6 
                                                                    VHUYLFHVIHDWXULQJ
                                                                    VRIWZDUHIRUORFDWLQJ
                                                                    PDQDJLQJGLDJQRVLQJ


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TM            TM/AN/RN/Disclaimer   Status/Key Dates             Full Goods/Services             Owner Information
Record
                                                                 DQGFRUUHFWLQJFRGLQJ
                                                                 HUURUVDQDO\]LQJ
                                                                 PDQDJLQJDQGDXGLWLQJ
                                                                 VRIWZDUHDQGVRIWZDUH
                                                                 FRGHFRPSXWHUVRIWZDUH
                                                                 FRQVXOWLQJFRPSXWHU
                                                                 VHFXULW\FRQVXOWDQF\
                                                                 &RPSXWHUVHFXULW\
                                                                 FRQVXOWDQF\QDPHO\GDWD
                                                                 DQGVRIWZDUHDSSOLFDWLRQ
                                                                 VHFXULW\FRQVXOWDQF\
                                                                 &RPSXWHUVRIWZDUH
                                                                 FRQVXOWDQF\LQWKHILHOGRI
                                                                 DSSOLFDWLRQSURJUDPPLQJ
                                                                 LQWHUIDFH $3, VRIWZDUH
                                                                 &RPSXWHUVRIWZDUH
                                                                 FRQVXOWLQJQDPHO\RSHQ
                                                                 VRXUFHDXGLWVDQG
                                                                 VRIWZDUHFRGHDQDO\VLV
                                                                 'HVLJQGHYHORSPHQW
                                                                 DQGLPSOHPHQWDWLRQRI
                                                                 VRIWZDUHQDPHO\WKH
                                                                 GHYHORSPHQWDQGGHOLYHU\
                                                                 RIWKHVRIWZDUH
                                                                 DSSOLFDWLRQVZHEEDVHG
                                                                 VRIWZDUHDSSOLFDWLRQV
                                                                 DSSOLFDWLRQSURJUDPPLQJ
                                                                 LQWHUIDFHV $3, V DQG
                                                                 EXVLQHVVDSSOLFDWLRQVRI
                                                                 RWKHUVDQGDUFKLWHFWXUH
                                                                 DQGHQWHUSULVHV\VWHP
                                                                 PLJUDWLRQFRPSXWHU
                                                                 VRIWZDUHFRQVXOWDQF\LQ
                                                                 WKHILHOGRIDSSOLFDWLRQ
                                                                 SURJUDPPLQJLQWHUIDFH
                                                                  $3, VRIWZDUHFRPSXWHU
                                                                 WHFKQLFDOVXSSRUW
                                                                 VHUYLFHVQDPHO\
                                                                 WURXEOHVKRRWLQJFRPSXWHU
                                                                 VRIWZDUHSUREOHPVLQWKH
                                                                 QDWXUHRI,7LQIUDVWUXFWXUH
                                                                 RSHUDWLQJV\VWHPV
                                                                 GDWDEDVHV\VWHPVDQG
                                                                 ZHEDSSOLFDWLRQV


86           52*8(:$9(            5HJLVWHUHG$SULO   ,QW O&ODVV                 5RJXH:DYH6RIWZDUH
)HGHUDO       62)7:$5(DQG'HVLJQ   ,QW O&ODVV               ,QW O&ODVV                ,QF 'HODZDUH
4                                  )LUVW8VH$SULO       &RPSXWHUHGXFDWLRQ             &RUSRUDWLRQ
XI                               )LOHG2FWREHU      WUDLQLQJQDPHO\WUDLQLQJ     :HVW&HQWXU\'ULYH
                                    5HJLVWHUHG$SULO   VHUYLFHVLQWKHILHOGRI       6XLWH/28,69,//(
                                    5HJLVWHU7\SH3ULQFLSDO    RSHQVRXUFHSURMHFWV          &RORUDGR8QLWHG
                                    5HJLVWHU                     VRIWZDUHDSSOLFDWLRQ          6WDWHVRI$PHULFD


&RUVHDUFK                                                                                                     
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TM            TM/AN/RN/Disclaimer   Status/Key Dates             Full Goods/Services            Owner Information
Record
              51                                        SURJUDPPLQJLQWHUIDFH
              61                                        $3, ZHEVLWHDQG
              'LVFODLPHU                                       HQWHUSULVHV\VWHPV
              62)7:$5(                                         GHYHORSPHQWDQG
                                                                 LPSOHPHQWDWLRQDQG
                                                                 SUHSDUDWLRQIRUFRPSXWHU
                                                                 FHUWLILFDWLRQWHVWLQJ
                                                                 HGXFDWLRQDOVHUYLFHV
                                                                 QDPHO\SURYLGLQJWUDLQLQJ
                                                                 YLDQRQGRZQORDGDEOH
                                                                 ZHELQDUVDQGLQSHUVRQ
                                                                 ZRUNVKRSVLQWKHILHOGRI
                                                                 RSHQVRXUFHVRIWZDUH
                                                                 DSSOLFDWLRQSURJUDPPLQJ
                                                                 LQWHUIDFH $3, 
                                                                 PDQDJHPHQWVRIWZDUH
                                                                 DSSOLFDWLRQVHFXULW\GDWD
                                                                 YLVXDOL]DWLRQDQG
                                                                 VWDQGDUGVFRPSOLDQFH


86           52*8(:$9(            5HJLVWHUHG$SULO   ,QW O&ODVV                5RJXH:DYH6RIWZDUH
)HGHUDO       62)7:$5(DQG'HVLJQ   ,QW O&ODVV               ,QW O&ODVV               ,QF 'HODZDUH
4                                  )LUVW8VH$SULO       FRPSXWHUVRIWZDUH             &RUSRUDWLRQ
XI                               )LOHG2FWREHU      GHYHORSPHQWWRROV            :HVW&HQWXU\'ULYH
                                    5HJLVWHUHG$SULO   FRPSXWHUVRIWZDUHIRU         6XLWH/28,69,//(
                                    5HJLVWHU7\SH3ULQFLSDO    FRPSXWHUV\VWHPDQG           &RORUDGR8QLWHG
                                    5HJLVWHU                     DSSOLFDWLRQGHYHORSPHQW      6WDWHVRI$PHULFD
              51                                        GHSOR\PHQWDQG
              61                                       PDQDJHPHQWFRPSXWHU
              'LVFODLPHU                                       VRIWZDUHIRUWKH
              62)7:$5(                                         LPSRUWDWLRQPDQLSXODWLRQ
                                                                 YLVXDOL]DWLRQLQWKHQDWXUH
                                                                 RIJUDSKLFDO
                                                                 UHSUHVHQWDWLRQDQG
                                                                 DQDO\VLVRIEXVLQHVV
                                                                 LQIRUPDWLRQIRUWKH
                                                                 GHYHORSPHQWDQG
                                                                 SURJUDPPLQJRIVRIWZDUH
                                                                 FRPSXWHUVRIWZDUH
                                                                 GRZQORDGDEOHIRU
                                                                 GHEXJJLQJFRGH
                                                                 FRPSXWHUVRIWZDUHIRU
                                                                 YLVXDOL]DWLRQLQWKHQDWXUH
                                                                 RIJUDSKLFDO
                                                                 UHSUHVHQWDWLRQDQG
                                                                 DQDO\VLVRIEXVLQHVV
                                                                 LQIRUPDWLRQIRUWKH
                                                                 GHYHORSPHQWRIVRIWZDUH
                                                                 XVHULQWHUIDFHV


86           52*8(DQG'HVLJQ      5HJLVWHUHG1RYHPEHU        ,QW O&ODVV                %HOO6SRUWV,QF


&RUVHDUFK                                                                                                     
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TM            TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services           Owner Information
Record
)HGHUDO                                                 ,QW O&ODVV                &DOLIRUQLD&RUSRUDWLRQ
4                                  2IILFH6WDWXV6HFWLRQ  3URWHFWLYHKHOPHWV            6&27769$//(<
XI                               $FFHSWHGDQG                                          '5,9(6FRWWV9DOOH\
                                    $FNQRZOHGJHG                                              &DOLIRUQLD8QLWHG
                                    ,QW O&ODVV                                           6WDWHVRI$PHULFD
                                    )LUVW8VH$SULO
                                    )LOHG0DUFK
                                    5HJLVWHUHG2FWREHU
              51           
              61          5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU


86           52*8(81,9(56(DQG   5HJLVWHUHG1RYHPEHU       ,QW O&ODVV           0XVWJDPHV&R/7'
)HGHUDO       'HVLJQ                                     ,QW O&ODVV               /LPLWHG&RPSDQ\ /WG
4                                  )LOHG2FWREHU     *DPLQJVHUYLFHVLQWKH       6WK)O
XI                               5HJLVWHUHG1RYHPEHU       QDWXUHRIFDVLQRJDPLQJ     'DHZDQJSDQJ\RUR
                                                        (OHFWURQLFJDPHV             EHRQJLO%XQGDQJJX
                                    5HJLVWHU7\SH3ULQFLSDO   VHUYLFHVSURYLGHGE\         6(21*1$0
                                    5HJLVWHU                    PHDQVRIDJOREDO            *<(21**,'25HSXEOLF
                                                                FRPPXQLFDWLRQQHWZRUN       RI.RUHD
                                                                (OHFWURQLFJDPHVSOD\HG
                                                                WKURXJKPRELOHJDPH
                                                                DSSOLFDWLRQV2QOLQHJDPH
              51
                                                                VHUYLFHVSOD\HGIURP
              61
                                                                PRELOHDSSOLFDWLRQV
                                                                0RELOHJDPHVHUYLFHV
                                                                (QWHUWDLQPHQWVHUYLFHV
                                                                QDPHO\SURYLGLQJRQOLQH
                                                                JDPHVSURYLGHGIURPD
                                                                FRPSXWHUQHWZRUN
                                                                3URYLGLQJRQOLQH
                                                                FRPSXWHUJDPHV
                                                                (OHFWURQLFJDPHV
                                                                SURYLGHGE\PHDQVRIWKH
                                                                LQWHUQHW3URYLGLQJRQOLQH
                                                                FRPSXWHUJDPHVSOD\HG
                                                                E\PHDQVRI
                                                                FRPPXQLFDWLRQVE\
                                                                FRPSXWHUWHUPLQDOVRU
                                                                PRELOHWHOHSKRQH5HQWDO
                                                                RIFRPSXWHUJDPH
                                                                VRIWZDUH
                                                                 ,QW O&ODVV
                                                                'HYHORSPHQWRIJDPH
                                                                VRIWZDUH'HYHORSPHQWRI
                                                                YLGHRJDPHVRIWZDUH
                                                                'HVLJQDQGGHYHORSPHQW
                                                                RISURJUDPVIRU
                                                                FRPSXWHUV3URJUDPPLQJ
                                                                RIFRPSXWHUJDPH
                                                                VRIWZDUH'HYHORSPHQWRI
                                                                FRPSXWHUJDPHVRIWZDUH


&RUVHDUFK                                                                                                   
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TM            TM/AN/RN/Disclaimer   Status/Key Dates           Full Goods/Services           Owner Information
Record
                                                                 &RPSXWHUJDPH
                                                                 SURJUDPPLQJ
                                                                 0DLQWHQDQFHDQG
                                                                 XSGDWLQJRIFRPSXWHU
                                                                 VRIWZDUH&RPSXWHU
                                                                 VRIWZDUHGHYHORSPHQW
                                                                 &RPSXWHUSURJUDPPLQJ
                                                                 

86           52*8(:$.(685)        5HJLVWHUHG'HFHPEHU    ,QW O&ODVV       6ZHOO9HQWXUHV//&
)HGHUDO      51                                    ,QW O&ODVV               0LQQHVRWD/LPLWHG
4           61          ,QW O&ODVV            /LIHYHVWV/LIHMDFNHWV      /LDELOLW\&RPSDQ\ 
XI        'LVFODLPHU           )LUVW8VH-DQXDU\     ,QW O&ODVV             /(,%(/675((7
              :$.(685)            ,QW O&ODVV            %RDWDFFHVVRULHV             12:KLWH%HDU
                                    )LUVW8VH            QDPHO\ZDNHVKDSHUV          /DNH0LQQHVRWD
                                     ,QW O&ODVV            VSHFLDOO\DGDSWHGIRU         8QLWHG6WDWHVRI$PHULFD
                                     )LUVW8VH-XQH      DWWDFKPHQWWRERDWVIRU       
                                     )LOHG)HEUXDU\   FUHDWLQJDQGLQFUHDVLQJ
                                     5HJLVWHUHG'HFHPEHU    WKHVL]HRIZDNHVIRU
                                                            ZDNHERDUGLQJZDNH
                                     5HJLVWHU7\SH3ULQFLSDO   VXUILQJVXUILQJWXELQJRU
                                     5HJLVWHU                   ZDWHUVNLLQJ
                                                                  ,QW O&ODVV 
                                                                 2QOLQHUHWDLOVWRUH
                                                                 VHUYLFHVIHDWXULQJERDW
                                                                 DQGPDULQHHTXLSPHQW
                                                                 SDUWVDQGDFFHVVRULHV
                                                                 

86           52*8(:$7(563257      5HJLVWHUHG'HFHPEHU       ,QW O&ODVV           6ZHOO9HQWXUHV//&
)HGHUDO      51                                ,QW O&ODVV               0LQQHVRWD/LPLWHG
4           61          ,QW O&ODVV         OLIHYHVWVOLIHMDFNHWV      /LDELOLW\&RPSDQ\ 
XI        'LVFODLPHU           )LUVW8VH2FWREHU     ,QW O&ODVV             /(,%(/67
              :$7(5632576         )LOHG)HEUXDU\   2QOLQHUHWDLOVWRUH           :KLWH%HDU/DNH
                                    5HJLVWHUHG'HFHPEHU       VHUYLFHVIHDWXULQJERDW       0LQQHVRWD8QLWHG
                                                        DQGPDULQHHTXLSPHQW         6WDWHVRI$PHULFD
                                     5HJLVWHU7\SH3ULQFLSDO   SDUWVDQGDFFHVVRULHV         
                                     5HJLVWHU                   
                                     

86           52*8(                 5HJLVWHUHG-DQXDU\    ,QW O&ODVV               5RJXH$UFKLWHFWXUH,QF
)HGHUDO      $5&+,7(&785(                                   ,QW O&ODVV               &RORUDGR&RUSRUDWLRQ 
4           51           ,QW O&ODVV            $UFKLWHFWXUDOVHUYLFHV       :DGVZRUWK
XI        61          )LUVW8VH1RYHPEHU    *UDSKLFGHVLJQVHUYLFHV      %RXOHYDUG6XLWH
              'LVFODLPHU                                  ,QWHULRUGHVLJQVHUYLFHV      :KHDW5LGJH&2
              $5&+,7(&785(        )LOHG-XO\                                      8QLWHG6WDWHVRI$PHULFD
                                    5HJLVWHUHG-DQXDU\                                   
                                     
                                     5HJLVWHU7\SH3ULQFLSDO
                                     5HJLVWHU
                                     

86           52*8(               5HJLVWHUHG)HEUXDU\    ,QW O&ODVV               7EF,QWHJUDWLRQ,QF



&RUVHDUFK                                                                                                        
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TM            TM/AN/RN/Disclaimer   Status/Key Dates            Full Goods/Services           Owner Information
Record
)HGHUDO       51                                    ,QW O&ODVV               &DOLIRUQLD&RUSRUDWLRQ
4            61          ,QW O&ODVV             &RPSXWHURSHUDWLQJ           7RZQ&HQWHU
XI                               )LUVW8VH$SULO      V\VWHPVFRPSXWHU            'ULYH6XLWH2
                                    )LOHG-XO\        QHWZRUNDWWDFKHGVWRUDJH     /DJXQD1LJXHO&DOLIRUQLD
                                    5HJLVWHUHG)HEUXDU\     1$6 KDUGZDUH              8QLWHG6WDWHVRI
                                                            FRPSXWHUQHWZRUN             $PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO   DWWDFKHGVWRUDJH 1$6 
                                    5HJLVWHU                    KDUGZDUHQDPHO\
                                                                LQWHOOLJHQWVWRUDJH
                                                                V\VWHPVFDSDEOHRI
                                                                QHWZRUNFRPPXQLFDWLRQ
                                                                FRPSULVLQJSURFHVVRUV
                                                                PHPRU\ RSHUDWLQJ
                                                                VRIWZDUHGDWDVWRUDJH
                                                                XQLWVIRUVWRULQJGDWDDQG
                                                                VRIWZDUHIRUPDQDJLQJ
                                                                DQGFRQWUROOLQJGDWD
                                                                FRPSXWHUKDUGZDUH
                                                                FRPSXWHUKDUGZDUH
                                                                QDPHO\LQWHOOLJHQW
                                                                VWRUDJHV\VWHPVFDSDEOH
                                                                RIQHWZRUN
                                                                FRPPXQLFDWLRQ
                                                                FRPSULVLQJSURFHVVRUV
                                                                PHPRU\RSHUDWLQJ
                                                                VRIWZDUHGDWDVWRUDJH
                                                                XQLWVIRUVWRULQJGDWDDQG
                                                                VRIWZDUHIRUPDQDJLQJ
                                                                DQGFRQWUROOLQJGDWD


86           52*8(.$&$'(0<     5HJLVWHUHG$SULO   ,QW O&ODVV               0FFDLQ$OH[DQGULD'ED
)HGHUDO       DQG'HVLJQ            ,QW O&ODVV              ,QW O&ODVV              5RJXH.$FDGHP\
4                                  )LUVW8VH$XJXVW   'RJWUDLQLQJ$QLPDO          8QLWHG6WDWHV,QGLYLGXDO
XI                               )LOHG$XJXVW      WUDLQLQJRIGRJV            'HHU%URRN6WUHHW
                                    5HJLVWHUHG$SULO   &KDULWDEOHVHUYLFHV         5DQFKR&XFDPRQJD
                                    5HJLVWHU7\SH3ULQFLSDO   QDPHO\WUDLQLQJVHUYLFH     &DOLIRUQLD8QLWHG
                                    5HJLVWHU                    GRJVIRUYHWHUDQV           6WDWHVRI$PHULFD
              51                                       3URYLGLQJLQIRUPDWLRQLQ
              61                                      WKHILHOGRIGRJWUDLQLQJ
              'LVFODLPHU.
              $&$'(0<


86           7+(+2125$%/(        5HJLVWHUHG-XQH       ,QW O&ODVV               :HQG\&+HUULQJWRQ
)HGHUDO       52*8(6                                         ,QW O&ODVV               8QLWHG6WDWHV,QGLYLGXDO
4            51           ,QW O&ODVV             'RZQORDGDEOHILFWLRQH       6:7D\ORU6WUHHW
XI         61          )LUVW8VH6HSWHPEHU    ERRNVQDPHO\DVHULHV      6&$3326(2UHJRQ
                                                            RIURPDQWLFQRYHOV            8QLWHG6WDWHVRI
                                    )LOHG6HSWHPEHU                                     $PHULFD
                                    
                                    5HJLVWHUHG-XQH
                                    


&RUVHDUFK                                                                                                   
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TM            TM/AN/RN/Disclaimer   Status/Key Dates              Full Goods/Services             Owner Information
Record
                                    5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU


86           52*8(6325(DQG      5HJLVWHUHG-XO\     ,QW O&ODVV                 (ULF5LWWHU 8QLWHG6WDWHV
)HGHUDO       'HVLJQ                ,QW O&ODVV                ,QW O&ODVV                ,QGLYLGXDO
4                                  )LUVW8VH'HFHPEHU       &HOOFXOWXUHDSSDUDWXVIRU     WHUU\URDG
XI                                                         ODERUDWRU\XVHQDPHO\        +DXSSDXJH1HZ<RUN
                                    )LOHG-DQXDU\       VWHULOHWUDQVIHUGHYLFHV        8QLWHG6WDWHVRI
                                    5HJLVWHUHG-XO\                                     $PHULFD
                                    5HJLVWHU7\SH3ULQFLSDO
                                    5HJLVWHU



              51
              61


86           52*8(%/2&.            5HJLVWHUHG$XJXVW        ,QW O&ODVV             7KH,QWHUQDWLRQDO
)HGHUDO       51                                      ,QW O&ODVV                $QWLFRXQWHUIHLWLQJ
4            61          2IILFH6WDWXV6HFWLRQ    6HFXUHRQOLQHSRUWDOWKDW      &RDOLWLRQ,QF 1HZ<RUN
XI                               $FFHSWHGDQG              IDFLOLWDWHVWKHVDIHIORZRI   &RUSRUDWLRQ
                                    $FNQRZOHGJHG                  LQIRUPDWLRQIURP,3ULJKWV     WK 6WUHHW1:WK
                                    ,QW O&ODVV            KROGHUVWRGHVLJQDWHG          )ORRU:DVKLQJWRQ'&
                                    )LUVW8VH'HFHPEHU      JRYHUQPHQWDO                   8QLWHG6WDWHVRI
                                                              HQIRUFHPHQWDJHQFLHV           $PHULFD
                                    )LOHG'HFHPEHU     DQGFUHGLWFDUGDQG
                                    5HJLVWHUHG0D\       SD\PHQWSURFHVVLQJ
                                    5HJLVWHU7\SH3ULQFLSDO     QHWZRUNVPHUFKDQWV
                                    5HJLVWHU                       ,QW O&ODVV
                                                                  +RVWLQJHYHQWVWRHGXFDWH
                                                                  SD\PHQWLQGXVWU\
                                                                  SHUVRQQHORQWKHULVNV
                                                                  DVVRFLDWHGZLWKWDNLQJRQ
                                                                  FRXQWHUIHLWPHUFKDQWV


86           52*8(                 5HJLVWHUHG$XJXVW     ,QW O&ODVV                   %HOO6SRUWV,QF
)HGHUDO       51                                    ,QW O&ODVV                   &DOLIRUQLD&RUSRUDWLRQ
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86           52*8(                 5HJLVWHUHG0D\     ,QW O&ODVV              5RJXH$UFKLWHFWXUH,QF
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86           52*8(67$7(             $SSOLFDWLRQSHQGLQJ         ,QW O&ODVV               /UGJDPHV,QF 1HZ<RUN
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Via E-mail – cydney.tune@pillsburylaw.com                                       CONFIDENTIAL
                                                                               Subject to Rule 408,
Cydney A. Tune                                                                   Fed. R. Civ. P.
Pillsbury Winthrop Shaw Pittman LLP
Four Embarcadero Center – 22nd Floor
San Francisco, CA 94111

        Re:      UltraV / Rogue Fitness

Dear Ms. Tune:

       This is further to my May 14, 2019 letter and in response to your May 3, 2019 letter to Mr. Mueller
of Rogue Fitness.

        Bill Henniger founded Rogue Fitness in Columbus, Ohio in 2006. Mr. Henniger is an Ohio native
with a degree in industrial engineering from Ohio University. Following his military service in the Ohio
Air National Guard, including a few years of active duty service, Mr. Henniger spent over seven years
building his knowledge and experience in metal-based manufacturing. He formed Rogue Fitness while
earning his MBA through night school at the University of Michigan. Soon after launching a website for
selling high-performance strength and fitness equipment in 2006, Mr. Henniger and a colleague of his
from the military opened a gym in Columbus, Ohio, cashing in his retirement account to buy the necessary
equipment and setting up the facility by hand.

       Soon after opening the gym, Rogue Fitness, relying on Mr. Henniger’s knowledge and experience
with high-quality metal manufacturing and the expertise provided by the skilled craftsmen that joined his
team, began manufacturing and warehousing its own strength and fitness equipment. To provide the
highest quality equipment possible, Rogue manufactures a majority of its Rogue-branded products in
Columbus, Ohio. Rogue Fitness has used the mark Rogue in connection with strength and fitness
equipment, accessories, apparel, and services since 2007.

        Rogue Fitness’ efforts to create a new market segment for the highest quality strength and fitness
products were an immediate success and Rogue Fitness’ Rogue-brand grew. In 2010, Rogue Fitness
opened a five thousand square foot facility in Columbus to increase its capacity to make strength and other
fitness equipment. Rogue Fitness’ Columbus facilities grew to a one hundred seventy thousand square


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Cydney A. Tune
June 7, 2019
Page 2


foot manufacturing center in 2012. Today, Rogue Fitness also operates a six hundred thousand square foot
facility in Columbus.

       Rogue Fitness’ strength and fitness products and services were well received with consumers in
markets across the United States. To support the growth of its brand, Rogue Fitness has advertised Rogue-
branded products and services throughout the country, sponsored strength and fitness events throughout
the country, and has enjoyed substantial, laudatory, unsolicited publicity throughout the country.

       As representative examples of Rogue’s success, exposure, and growth: (1) Rogue Fitness builds
and supplies equipment for prominent events such as USA Powerlifting events, The Arnold Sports
Festival®, The World’s Strongest Man competitions, and USA Weightlifting events; (2) Rogue Fitness
partners with top athletes around the world, including sponsorships of Hafþór Björnsson, Rich Froning,
Katrin Davidsdottir, Tia-Clair Toomey, Graham Holmberg, Josh Bridges, Jason Khalipa, and Mat Fraser,
among dozens of others; and (3) Rogue Fitness has been the exclusive equipment supplier to the CrossFit®
games for many years.

        Rogue Fitness has used the Rogue mark in connection with promotional videos and videos
featuring the numerous events and athletes it is connected with since at least 2011. Since no later than
2015, Rogue Fitness has also used the Rogue mark in connection with documentaries featuring the history
of strongman and woman culture and heritage, and has since published more than twenty-five such
documentaries.

        In addition to Rogue Fitness’ own, substantial online marketing and social media presence, many
of Rogue Fitness’ sponsored athletes have hundreds of thousands of followers on social media, and some
exceed 1 million followers (e.g. Hafþór Björnsson, Rich Froning, Katrin Davidsdottir, and Mat Fraser
currently have more than 1.5 million, 1.1 million, 1.3 million, and 1.3 million followers on Instagram®,
respectively, in addition to hundreds of thousands of followers on other platforms such as Twitter® and/or
Facebook®). Rogue-branded products and services gain public exposure to these many millions of
followers of Rogue-sponsored athletes through social media posts, and through Rogue Fitness’ own
substantial promotional and advertising materials.

        All told, Rogue invested substantial time, skill, and resources over the past 12-years in creating,
cultivating, and maintaining a reputation for the highest quality strength and fitness products and
services—as well as for an unparalleled commitment to championing the strength and fitness
communities. To protect its investments and the invaluable goodwill Rogue Fitness has built up through
years, Rogue Fitness has acquired various intellectual property rights, including trademarks, patents, and
copyrights. To that end, Rogue Fitness expects others to respect its intellectual property rights, just as it
respects the intellectual property rights of others.

       We share all of this with you for three reasons. First, Rogue Fitness’ nationally recognized uses of
the Rogue mark embody substantial goodwill in Rogue Fitness and have not caused any confusion with
your client’s purported rights, they are not likely to cause any confusion with your client’s purported

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rights, and they have been well-established in co-existence with any rights your client purportedly now
owns—absent any complaint or concern from your client. To that end, “ROGUE” is not just the renowned
and well-respected business name of Rogue Fitness. Today, Rogue Fitness owns its own, substantial
trademark rights in the Rogue mark, including in connection with promotional videos and documentaries.

       Second, your client’s purported rights—to the extent they exist at all—are circumscribed at best
and lack secondary meaning that could support the scope of allegations in your letter. To that end, your
suggestion that the mark has been diluted by Rogue Fitness is a gross overstatement; to the extent UltraV
owns any rights in Rogue, the mark is not famous in connection with UltraV or its predecessors.

         Finally, Rogue Fitness has been successful because it is pragmatic and focused on its business and
satisfying its consumers. While the allegations of your May 3 letter are unfounded, to the extent your
client intends to pursue its claims further, Rogue Fitness invites a dialogue aimed at resolving this dispute
short of court. That said, for all of the reasons set forth in this response and more, Rogue Fitness will
vigorously defend itself if forced.

I.       ROGUE FITNESS’ USES OF ROGUE HAVE NOT AND WILL NOT CAUSE A
         LIKELIHOOD OF CONFUSION WITH ULTRAV

        UltraV cannot sustain a claim of trademark infringement or unfair competition absent showing a
likelihood of confusion in the minds of relevant consumers. Notably, your May 3 letter ignores the factors
courts typically evaluate when assessing likelihood of confusion, for example: (1) the strength of the
purported mark(s); (2) the similarity of the parties’ uses; (3) the proximity of the parties’ products or
services in the marketplace; (4) the likelihood that the plaintiff will bridge the gap between the products;
(5) actual confusion; (6) intent in adopting the accused mark; (7) the quality of the accused product; and
(8) the sophistication of the relevant consumer group. Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d
492, 495 (2d Cir. 1961). Even a cursory evaluation of these factors reveals that there is no likelihood of
confusion between our clients’ respective uses of Rogue.

         A.    UltraV’s Purported Rights in Rogue, if they Exist, Are Weak

        UltraV’s cursory description of its purported “common law rights” and “family of federal
trademark registrations for the ROGUE mark” glosses over the fact that you did not provide evidence of
commercial use of the asserted marks over the past four years of Relativity Media’s bankruptcy. Indeed,
it appears that UltraV’s predecessors’ use of the marks may have peaked by about the year 2000 and, from
the 2000s to present, was not prominent, wide, continuous, or extensive, as alleged in your letter. To that
end, any historic commercial use appears to have largely fallen out of view by about 2012.

       As you likely know, ROGUE is a common mark used in films and entertainment. There are at least
seven registered U.S. trademarks that include “ROGUE” for films and entertainment services. There are
also dozens of movies that include Rogue in their titles and Rogue is a popular term used in connection
with songs, albums, video games, and TV shows. In this crowded field, mere registration of purported


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trademark rights in a common English word does not evidence trademark strength. 2 McCarthy on
Trademarks and Unfair Competition § 11:85 (5th ed.). To the contrary, and as addressed further below,
long periods of limited or non-use, including during Relativity Media’s recent bankruptcy, and numerous
purported transfers of interests in and/or uses of Rogue, suggest the marks may have been abandoned. To
the extent UltraV owns any rights in Rogue, its rights will be determined by the particular “when, where,
and how secondary meaning was established.” Id. at § 16:34. Because the marketplace context suggests
UltraV owns weak, if any, rights in Rogue, and because your letter does nothing to evidence purported
strength of UltraV’s purported rights, this factor weighs against any likelihood of confusion.

       B.      Dissimilarity in Uses of Rogue

        Again, in this crowded field described above, the mere fact that two entities both use Rogue does
not, in and of itself, establish likelihood of confusion. Id. at § 11.85. To the contrary, consumers that are
confronted with many facially similar marks “may have learned to carefully pick out one from the other.”
Id. To that end, the way “ROGUE PICTURES” and “ROGUE” appear, in motion, not in the still frames
pasted into page 2 of your May 3 letter, is different from how Rogue Fitness uses Rogue in its videos and
documentaries. Indeed, even the still frames of UltraV’s purported marks at page 2 of your letter look
different from the Rogue Fitness images on page 3 of your letter, including, at least, in their use of different
fonts, different kerning, different type styles, and different overall presentation.

        What is more, it appears that to the extent UltraV’s predecessors actually used Rogue, it appeared
as a subsidiary company name among a collection of other, more prominent, company names. In contrast
to Rogue Fitness’ use of Rogue, it is not apparent that UltraV’s predecessors used the mark in
commercially distinctive ways that could create secondary meaning. These differences in the ways Rogue
Fitness and UltraV’s predecessors use Rogue weigh against any likelihood of confusion or, at most, make
this factor neutral.

       C.       Lack of Competitive Proximity

        A review of UltraV’s and its various predecessors’ uses of Rogue reveals that their uses of
Rogue—while inconsistent and sporadic—never extend to strength and fitness topics, and it appears the
last time Relativity Media might have used Rogue in connection with a documentary was in 2010 (and,
then, the movie appears to have been about filmmakers and an online relationship). In contrast, Rogue
Fitness has built a strong reputation for the highest quality strength and fitness products and services—as
well as an unparalleled commitment to the strength and fitness communities, including through strongman
and woman documentaries. Because there is no overlap between our clients’ uses of Rogue, this factor
also weighs against a finding of likelihood of confusion.

       D.      The Gap Cannot Be Bridged

        Rogue Fitness’ products and services are sought-after by consumers of the highest quality strength
and fitness equipment, and they are distributed through limited channels that cater to athletes. The same
is true of Rogue Fitness’ videos and documentaries, which are available through Rogue Fitness’ own

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website and YouTube channel. These channels are markedly different from those UltraV’s predecessors
have used. Our investigation suggests, that, to the extent UltraV’s predecessors have used Rogue at all in
the past ten years, their use could best be characterized as distribution of low-budget horror and slasher
films. Because there is no indication that UltraV would or could ever span the chasm between Rogue
Fitness’ use of Rogue and UltraV’s predecessors’ use of Rogue, this factor weighs against a finding of
likelihood of confusion.

       E.      There Is Marketplace Clarity, Not Confusion

        Notwithstanding the fact Rogue Fitness has used the Rogue mark since 2007 and in connection
with videos since no later than 2012, Rogue Fitness is unaware of any actual consumer confusion, and
your May 3 letter does not allege any. To the contrary, Rogue Fitness built its own, strong brand
reputation—including in connection with videos and documentaries—during a period of many years when
UltraV’s purported trademarks appear to have no meaningful commercial presence. Consequently, there
is evidence of actual clarity in the market, not confusion. This factor weighs against a finding of likelihood
of confusion.

       F.      Rogue Fitness Acted in Good Faith

         There can be no question that Rogue Fitness acted in good faith because its use of Rogue in
connection with videos and documentaries is the same as its use of its well-known brand name throughout
its business activities—uses that span at least the past 12-years. Indeed, we do not understand your May
3 letter to suggest any bad faith on the part of Rogue Fitness and this factor weighs against a likelihood of
confusion.

       G.      There Is No Relevant Quality Issue

        Based on our investigation, UltraV’s predecessors made de minimis—if any—use of Rogue in
connection with documentaries, most recently around 2010, and it has no reputation whatsoever in
connection with sports and fitness equipment, services, videos, or documentaries. Accordingly, your client
cannot contend that Rogue Fitness’ use of Rogue causes any harm to consumers’ perceptions of your
client’s products/services when it does not produce anything like that produced by Rogue Fitness.
Therefore, this factor too weighs against a likelihood of confusion.

       H.      The Relevant Consumers Are Sophisticated and Discerning

       Consumers of Rogue Fitness products and services, videos, and documentaries, are sophisticated.
The products Rogue Fitness sells and the brand identity it has earned are of the highest quality. Rogue-
branded products, services, and media content are only available through Rogue Fitness controlled
channels. Rogue Fitness’ consumers are loyal. Moreover, Rogue Fitness products sell for premium prices
and are associated with the top athletes and events in the world.




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       As discussed above, consumers in a crowded field of Rogue marks in film are also likely to be
discerning about the marks they confront. Because the relevant consumers are sophisticated and
discerning, they are unlikely to be confused as to any association between our clients, and this factor
weighs against a likelihood of confusion.

       In sum, all of the factors courts typically consider when evaluating likelihood of confusion,
including all of the Polaroid factors, favor Rogue Fitness and indicate that there is no likelihood of
confusion.

II.    ULTRAV’S CLAIM TO OWNING TRADEMARK RIGHTS IN ROGUE IS NOT
       SUPPORTED

        Our investigation suggests that UltraV will need to clear numerous hurdles before it can establish
it owns relevant rights in the asserted Rogue marks. Among other things, a Wikipedia history about Rogue
Pictures describes one of UltraV’s predecessors as “defunct” for a period of 4 years in the 2000s. (See,
en.wikipedia.org/wiki/Rogue_Pictures, last visited May 31, 2019.) Then, from 2014-2018, UltraV’s
immediate predecessor was in bankruptcy and it is not apparent that the estate made commercial use of
the asserted Rogue marks or did anything to police those marks during the bankruptcy period—let alone
make commercial use or engage in policing that could sustain UltraV’s present claims against Rogue
Fitness. Because the estate had an obligation to preserve any goodwill in the marks, UltraV’s predecessors’
nonuse and/or abandonment of rights in Rogue suggest UltraV owns no rights in Rogue relevant to this
dispute. (9 Norton Bankr. L. & Prac. 3d § 177:6.)

        Thus, even if UltraV could establish a continuous ownership chain in the asserted marks through
its predecessors’ various defunct periods, assignments, security interests, and bankruptcy—a point Rogue
Fitness does not concede—it appears that UltraV acquired empty shells, not vessels filled with goodwill.
To the extent any secondary meaning remains in the asserted marks and it is owned by UltraV, the marks
are weak and have long coexisted with Rogue Fitness’ distinct use of Rogue, as described above.

III.   THIS DISPUTE SHOULD NOT BE LITIGATED

       For at least the reasons set forth above, UltraV has no case against Rogue Fitness. If anything,
Rogue Fitness has established stronger trademark rights in Rogue in connection with videos and
documentaries than UltraV. To that end, Rogue Fitness will defend its continued use of the Rogue mark
in connection with videos and documentaries in court if necessary.

        However, Rogue Fitness hopes the parties can avoid the costs and distractions of litigation. To the
extent UltraV is not willing to consider this matter resolved now, Rogue Fitness proposes that the parties
focus on negotiating a resolution. If the parties can avoid litigation and protracted deliberations, Rogue
Fitness would be willing to work toward an agreement under which UltraV and Rogue can co-exist in
some capacity.


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        In the meantime, we will consider this matter closed. That said, this letter is sent without prejudice
to Rogue Fitness’ rights and remedies against UltraV, all of which rights and remedies are expressly
reserved. Nothing in this letter constitutes an admission or a waiver of any claim or defense Rogue Fitness
may have in this matter, and Rogue Fitness reserves the right to supplement and/or modify any or all of
this response.

                                                            Sincerely,




                                                            Louis DiSanto


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         )XUWKHU \RXU VXJJHVWLRQ WKDW 5HODWLYLW\ VKRXOG EH IRUJLYHQ IRU QRQXVH GXULQJ LWV EDQNUXSWF\
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PDUNHW´ Fuel Clothing Co., Inc. v. Nike, Inc.  )6XSSG   ' 6 &DUROLQD   +HUH WKH
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8OWUD9¶VDVVHUWHGPDUNVDUHZHDNLIWKH\SRVVHVVDQ\JRRGZLOOZKDWVRHYHUId. ,IQRWKLQJHOVH5HODWLYLW\¶V
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ZRXOG EDU SUHVXLW PRQHWDU\ UHFRYHU\ DQG HVWDEOLVK DQ HVWRSSHO WKDW ZRXOG HQWLUHO\ EDU DQ\ PRQHWDU\
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        7RWKDWHQGWKH6XSUHPH&RXUW¶VUHFHQWRSLQLRQLQMission Product Holdings, Inc. v. Tempnology,
LLC, NKA Old Cold LLC6&W  VXSSRUWVRXUSRVLWLRQWKDWLI8OWUD9FODLPVWKHEHQHILW
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SURWHFWHGWKDWJRRGZLOOGXULQJLWVEDQNUXSWF\-XVWDVWKH6XSUHPH&RXUWH[SODLQHGLQMission Product
Holdings WKDW D EDQNUXSWF\ HVWDWH LV REOLJDWHG WR KRQRU WUDGHPDUN OLFHQVHV GXULQJ EDQNUXSWF\ IRU D
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FRH[LVWHQFHZLWK QXPHURXV RWKHU XVHV RI 52*8( IRUPDWLYH PDUNV IRU YLGHRHQWHUWDLQPHQW JRRGV DQG
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Producers) 6'1< KDVDQ\UHOHYDQFHWRWKLVGLVSXWH²ZKLFKLVWHQXRXVDWEHVW²LW
XQGHUPLQHV8OWUD9¶VSRVLWLRQ7KHUHWKHFRXUWUHIXVHGWRHQMRLQXVHRIDWLWOHLQSDUWEHFDXVH³WKHWLWOHKDV
EHHQWZLFHXVHGVLQFHWKDWWLPHRQRWKHUSKRWRSOD\V´Id. DW7REHSURWHFWHGWKHPDUNQHHGHGWR
GHPRQVWUDWHVHFRQGDU\PHDQLQJQRWZLWKVWDQGLQJWKLUGSDUW\XVHVId.

         7KH VDPH UHVXOW ZRXOG EH DSSURSULDWH KHUH 1DPHO\ 8OWUD9 FRXOG QRW SURYH OLNHOLKRRG RI
FRQIXVLRQ EHFDXVH WR WKH H[WHQW LW RZQV DQ\ ULJKWV LQ WKH DVVHUWHG PDUNV WKRVH ULJKWV DUH ZHDN DQG
QDUURZO\FLUFXPVFULEHGE\DFURZGHGILHOG²DFURZGHGILHOGWKDWH[LVWVGXH8OWUD9¶VRZQIDLOXUHWRPDNH
FRQVLVWHQWRUGLVWLQFWLYHFRPPHUFLDOXVHVRILWVPDUNVRUWRSROLFHLWVPDUNHWSODFHDQGLQZKLFKFRQVXPHUV
UHDGLO\GLVFHUQGLIIHUHQFHVEHWZHHQXVHVRIWKHPDUNMiss World (UK) Ltd. v. Mrs. America Pageants,
Inc.)G WK&LU  ³:HYLHZWKHEHDXW\SDJHDQWLQGXVWU\¶VPDUNVDVDµFURZGHG
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DQ\WZRRIWKHFURZGDQGPD\KDYHOHDUQHGWRFDUHIXOO\SLFNRXWRQHIURPWKHRWKHU¶´ abrogated in part
on other grounds by Eclipse Associates Ltd. v. Data Gen. Corp.)GQ WK&LU 
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         %ULHIO\ZHDOVRQRWHWKDW8OWUD9¶VPDUNVDUHQRW³DUELWUDU\´DV\RXWZLFHDVVHUW+RZHYHUZH
KRSH WR DYRLG D GLVSXWH EHWZHHQ RXU FOLHQWV LQ ZKLFK ZH SXEOLFO\ UDFH 52*8( WR WKH ERWWRP RI WKH
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)LWQHVV¶DQG8OWUD9¶VXVHVRI52*8(²QDPHO\WKDW8OWUD9GRHVQRWXVHWKHPDUNLQFRQQHFWLRQZLWK
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DWWHVWLQJ WKDW WKH PDUN FRYHUHG E\ WKH UHJLVWUDWLRQ KDV EHHQ FRQWLQXRXVO\ XVHG LQ FRPPHUFH IRU ILYH
FRQVHFXWLYH\HDUVDIWHUWKHGDWHRIUHJLVWUDWLRQDQGLVVWLOOLQXVHLQFRPPHUFHRQRULQFRQQHFWLRQZLWKDOO
RI WKH UHJLVWHUHG JRRGV LQFOXGLQJ VSRUWV DQG ILWQHVV UHODWHG YLGHRV -X[WDSRVLQJ 8OWUD9¶V -XO\ 
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WRZDWFK´ id. DW +RZHYHU³>J@RRGVDQGVHUYLFHVDUHQRWQHFHVVDULO\UHODWHGMXVWEHFDXVHWKH\µFRH[LVW
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 WK&LU see alsoKibler v. Hall)G WK&LU 

         3URSHUO\FRQVLGHULQJWKHVHIDFWRUVIURPWKHSHUVSHFWLYHRIUHOHYDQWFRQVXPHUVWRZKRPRXUFOLHQWV¶
UHVSHFWLYHJRRGVDUHPDUNHWHGDQGDSSHDOERWKIDFWRUVIDYRU5RJXH)LWQHVV$VH[SODLQHGLQRXU-XQH
OHWWHU 5RJXH )LWQHVV HQMR\V D EUDQG LGHQWLW\ DVVRFLDWHG ZLWK WKH KLJKHVW TXDOLW\ VWUHQJWK DQG ILWQHVV
HTXLSPHQW DQG WKH GRFXPHQWDULHV DQG YLGHRV LW SURYLGHVUHODWHWR H[FHSWLRQDO DVSHFWV RI VWUHQJWK DQG
ILWQHVVDWKOHWHVDQGFXOWXUH7RVXJJHVWWKDWFRQVXPHUVZRXOGEHOLHYHWKDW5HODWLYLW\¶VVODVKHUKRUURUILOPV
DQG5RJXH)LWQHVV¶WULEXWHVWRVWURQJPDQFRPSHWLWLRQVFRPHIURPWKHVDPHVRXUFHLVWRDGPLWWRKDYLQJ
QRWZDWFKHG5RJXH)LWQHVV¶YLGHRV2XUFOLHQWV¶UHVSHFWLYHXVHVRI52*8(PDUNHWGLVWLQFWO\GLIIHUHQW
SURGXFWVWRGLIIHUHQWDXGLHQFHVDQGWKHUHLVFODULW\QRWOLNHOLKRRGRIFRQIXVLRQKHUH

        7R WKDW HQG \RX QHYHU DGGUHVV WKH IDFW WKDW 5RJXH )LWQHVV WRGD\ RZQV LWV RZQ VXEVWDQWLDO
WUDGHPDUN ULJKWV LQ WKH 52*8( PDUN LQFOXGLQJ LQ FRQQHFWLRQ ZLWK SURPRWLRQDO YLGHRV DQG
GRFXPHQWDULHV 5RJXH )LWQHVV¶ ULJKWV JUHZ XQFKDOOHQJHG E\ 5HODWLYLW\ 7R WKH H[WHQW 5HODWLYLW\ ZDV
DFWXDOO\XVLQJLWVDVVHUWHGPDUNVLWVXVHZDVLQSHDFHIXOFRH[LVWHQFHZLWK5RJXH)LWQHVVDQGWKHUHKDV
EHHQ QR FRQVXPHU FRQIXVLRQ RYHU WKH SDVW GHFDGH 8OWUD9 FRXOG QRW SURYH WKHUH LV D OLNHOLKRRG RI
FRQIXVLRQQRZ
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       %HFDXVH5RJXH)LWQHVVRZQVLWVRZQWUDGHPDUNULJKWVLQ52*8(DQGIRUDOOWKHUHDVRQVVHWIRUWK
DERYH DQG LQ RXU -XQH  OHWWHU 5RJXH )LWQHVVLV SUHSDUHG WR YLJRURXVO\ GHIHQG LWVHOI DJDLQVW8OWUD9¶V
PHULWOHVVFODLPV:HH[SHFWWKDWOLWLJDWLRQZLOOFRVWERWKRIRXUFOLHQWVPLOOLRQVRIGROODUVDQGFRXQWOHVV
GLVWUDFWLRQVIURPWKHLUEXVLQHVVHV)LQDOUHVROXWLRQRIDGLVSXWHOLWLJDWHGWKURXJKDSSHDOZRXOGEH\HDUV
DZD\
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       $IWHU DOO RI WKDW 5RJXH )LWQHVV LV FHUWDLQ WKDW QHLWKHU SDUW\ ZRXOG EH HQWLUHO\ VDWLVILHG ZLWK D
MXGLFLDORXWFRPH5RJXH)LWQHVVWKHUHIRUHUHQHZVLWVVXJJHVWLRQWKDWWKHSDUWLHVIRFXVRQQHJRWLDWLQJD
UHVROXWLRQRIWKLVGLVSXWH%HFDXVH5RJXH)LWQHVVZDQWVWRTXLFNO\UHVROYHWKHFORXGRI8OWUD9¶VWKUHDWV
KDQJLQJRYHULWVEXVLQHVV5RJXH)LWQHVVDVNVIRU8OWUD9¶VFRPPLWPHQWWRGLVFXVVVHWWOHPHQWRIWKLVPDWWHU
ZLWKLQWKHQH[WWKUHHZHHNV,QWKHDOWHUQDWLYHSOHDVHFRQILUPWKDW8OWUD9FRQVLGHUVWKLVPDWWHUUHVROYHG
LQYLHZRIRXUFRUUHVSRQGHQFH

        :H ORRN IRUZDUG WR 8OWUD9¶V UHVSRQVH DQG , UHPDLQ DYDLODEOH WR GLVFXVV WKHVH LVVXHV DW \RXU
FRQYHQLHQFH

       7KLVOHWWHULVVHQWZLWKRXWSUHMXGLFHWR5RJXH)LWQHVV¶ULJKWVDQGUHPHGLHVDJDLQVW8OWUD9DOORI
ZKLFKDUHH[SUHVVO\UHVHUYHG1RWKLQJLQWKLVOHWWHUFRQVWLWXWHVDQDGPLVVLRQRUDZDLYHURIDQ\FODLPRU

                             CHICAGO     /   WASHINGTON, DC     /   BOSTON    /   PORTLAND
    Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 256 of 494 Page ID
                                       #:2136



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$XJXVW
3DJH
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GHIHQVH5RJXH)LWQHVVPD\KDYHLQWKLVPDWWHUDQG5RJXH)LWQHVVUHVHUYHVWKHULJKWWRVXSSOHPHQWDQGRU
PRGLI\DQ\RUDOORIWKLVUHVSRQVH
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                                             6LQFHUHO\




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                                                  /RXLV'L6DQWR
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/'MS
(QFORVXUHV




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                          CHICAGO   /       WASHINGTON, DC   /   BOSTON   /   PORTLAND
     Exhibit A
     August 26, 2019
     Trademark:             All pending allowed applications and living registrations in classes 9, 41 and
                             42 that include the word “ROGUE”
                             


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           TM Record    TM/AN/RN/Disclaimer      Owner                Status/Key Dates      Full Goods/Services
                                                   Information
    1.     86)HGHUDO   GO YOU, GO ROGUE         5RJXH               5HJLVWHUHG              ,QW O&ODVV 
           4           RN: 5292375               &RPPXQLW\           6HSWHPEHU         HGXFDWLRQDOVHUYLFHVQDPHO\FRQGXFWLQJGLVWDQFH
           XI                                   &ROOHJH 2UHJRQ                       OHDUQLQJLQVWUXFWLRQDWWKHFROOHJHOHYHOHGXFDWLRQDO
                         SN: 87088453             6WDWH               ,QW O&ODVV       VHUYLFHVQDPHO\SURYLGLQJFRXUVHVRILQVWUXFWLRQDWWKH
                                                  &RPPXQLW\           )LUVW8VH            FROOHJHOHYHODQGGLVWULEXWLRQRIFRXUVHPDWHULDOLQ
                                                   &ROOHJH             1RYHPEHU          FRQQHFWLRQWKHUHZLWKHGXFDWLRQDOVHUYLFHVQDPHO\
                                                   5HGZRRG                          SURYLGLQJRQOLQHFRXUVHVRILQVWUXFWLRQDWWKHFROOHJH
                                                   +Z\*UDQWV         )LOHG-XQH       OHYHOHGXFDWLQJDWXQLYHUVLW\RUFROOHJHVRUJDQL]LQJDQG
                                                   3DVV2UHJRQ                           FRQGXFWLQJFROOHJHVSRUWFRPSHWLWLRQVDQGDWKOHWLF
                                                                                       HYHQWV
                                                                                              
                                                                                                                                                                                                  #:2137




    2.     86)HGHUDO   GUARDIAN ROGUE            0D3DWULFN<      $OORZHG,QWHQWWR     ,QW O&ODVV 
           4           RANGERS                    8QLWHG6WDWHV     8VHVW([WHQVLRQ     9LGHRJDPHVRIWZDUHFRPSXWHUJDPHVRIWZDUH
           XI                                   &LWL]HQ             RI7LPH*UDQWHG         ,QW O&ODVV 
                         SN: 87847872             /DNH6W        -XO\          *UDSKLFQRYHOVFRPLFVPDJD]LQHVIHDWXULQJWR\VSRS
                                                  6DQ)UDQFLVFR       )LOHG0DUFK      FXOWXUHDUWDQGGHVLJQERRNVDQGZRUNERRNVLQWKH
                                                   &DOLIRUQLD                     ILHOGRIWR\VSRSFXOWXUHDUWDQGGHVLJQ
                                                                                               ,QW O&ODVV 
                                                                                               7R\VJDPHVDQGSOD\WKLQJVQDPHO\WR\DFWLRQILJXUHV
                                                                                               SOXVKWR\VILJXULQHVDQGERDUGJDPHV
                                                                                                 ,QW O&ODVV 
                                                                                               (QWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIRQJRLQJ
                                                                                               WHOHYLVLRQSURJUDPVZHEFDVWVSRGFDVWVRQJRLQJ
                                                                                               UDGLRVKRZVDQGQRQGRZQORDGDEOHVKRUWILOPVDOOLQ
                                                                                               WKHILHOGRIDQLPDWHGILFWLRQ
                                                                                               

    3.     86)HGHUDO   HERO-U ROGUE TO           7UDQVRODU           5HJLVWHUHG              ,QW O&ODVV 
           4           REDEMPTION               *DPHV,QF         6HSWHPEHU         &RPSXWHUJDPHVRIWZDUH
           XI                                    &DOLIRUQLD                           
                         RN: 5562452
                                                                                                                                                               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 257 of 494 Page ID




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         TM Record    TM/AN/RN/Disclaimer   Owner                Status/Key Dates      Full Goods/Services
                                              Information
                       SN: 87576919          &RUS               ,QW O&ODVV
                                             3R%R[         )LUVW8VH-XO\
                                              2DNKXUVW            
                                              &DOLIRUQLD   )LOHG$XJXVW
                                                                  
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    4.   86)HGHUDO   LUNAR ROGUE           'HWWZLOHU-XOLD    5HJLVWHUHG-XQH ,QW O&ODVV 
         4           RN: 4543219              8QLWHG6WDWHV                      HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIOLYHPXVLFDO
         XI                                &LWL]HQ             ,QW O&ODVV      SHUIRUPDQFHV
                       SN: 86097936          QG)ORRU1    )LUVW8VH$SULO 
                                             &DPGHQ'U          
                                              %HYHUO\+LOOV       )LOHG2FWREHU
                                              &DOLIRUQLD   
                                                                  

    5.   86)HGHUDO   MAISON ROGUE          0DLVRQ5RJXH       5HJLVWHUHG              ,QW O&ODVV 
         4           RN: 5578818            //& 1HZ            2FWREHU       RQOLQHUHWDLOVWRUHVHUYLFHVIHDWXULQJFORWKLQJVKRHV
         XI                                -HUVH\/LPLWHG      ,QW O&ODVV    EDJVMHZHOU\VXQJODVVHVIDVKLRQDFFHVVRULHV
                       SN: 87759984
                                                                                                                                                                                           #:2138




                                              /LDELOLW\           )LUVW8VH-DQXDU\    FRVPHWLFVSHUIXPHVDQGIUDJUDQFHVQDLODQGVNLQFDUH
                                             &RPSDQ\                           SURGXFWVKDLUFDUHSURGXFWVERRNVFDQGOHVFDUGV
                                              &2&ROH6FKRW]     )LOHG-DQXDU\    KRPHIXUQLVKLQJVKRPHGpFRUJRXUPHWIRRG
                                              3&0DLQ                         GLQQHUZDUHJODVVZDUHDQGGULQNZDUH
                                              6WUHHW                                      ,QW O&ODVV 
                                              +DFNHQVDFN                                 HQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJDZHEVLWH
                                              1HZ-HUVH\                                 IHDWXULQJRQOLQHQRQGRZQORDGDEOHPDJD]LQHVDQG
                                                                                   DUWLFOHVLQWKHILHOGRIIDVKLRQGHVLJQDQGWUDYHO
                                                                                         

    6.   86)HGHUDO   MIAMI ROGUE           -XOLDQ0RQWHUUH\    $OORZHG,QWHQWWR    ,QW O&ODVV 
         4           SN: 87714137           )LOPV//&           8VHQG([WHQVLRQ     PRWLRQSLFWXUHILOPVLQWKHILHOGVRIGUDPDDQGDFWLRQ
         XI                                 )ORULGD/LPLWHG    RI7LPH*UDQWHG       GRZQORDGDEOHPRWLRQSLFWXUHVDQGWHOHYLVLRQVKRZVLQ
                       Disclaimer: "MIAMI"   /LDELOLW\           -XO\          WKHILHOGRIGUDPDDQGDFWLRQGRZQORDGDEOHPXOWLPHGLD
                                             &RPSDQ\             )LOHG'HFHPEHU    ILOHVFRQWDLQLQJYLGHRDQGDXGLRUHODWHGWRDGUDPDWLF
                                              &ROOLQV                          WHOHYLVLRQVHULHVGRZQORDGDEOHHOHFWURQLFSXEOLFDWLRQV
                                              $YHQXH6XLWH                              LQWKHQDWXUHRIVFULSWVIRUGUDPDWLFWHOHYLVLRQVHULHV
                                              0LDPL                                  GRZQORDGDEOHLPDJHVUHODWHGWRDGUDPDWLFWHOHYLVLRQ
                                              %HDFK)ORULGD                              VHULHV
                                                                                                                                                        Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 258 of 494 Page ID




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    7.    86)HGHUDO   MISSION:               3DUDPRXQW           5HJLVWHUHG             ,QW O&ODVV 
          4           IMPOSSIBLE ROGUE       3LFWXUHV            'HFHPEHU     GRZQORDGDEOHHOHFWURQLFJDPHSURJUDPVHOHFWURQLF
          XI                                &RUSRUDWLRQ         ,QW O&ODVV      JDPHVRIWZDUHIRUKDQGKHOGHOHFWURQLFGHYLFHV
                        NATION                  'HODZDUH          )LUVW8VH0DUFK     LQWHUDFWLYHYLGHRJDPHSURJUDPV
                        RN: 4864659            &RUS                            
                        SN: 86573501          0HOURVH        )LOHG0DUFK
                                              $YHQXH              
                                               +ROO\ZRRG           
                                               &DOLIRUQLD
                                               

    8.    86)HGHUDO   OF ROGUES &            %URRNV%URWKHUV     5HJLVWHUHG             ,QW O&ODVV 
          4           GENTLEMEN             *URXS,QF         -DQXDU\     SURYLGLQJDZHEVLWHIHDWXULQJEORJVDQGQRQ
          XI                                  'HODZDUH          ,QW O&ODVV      GRZQORDGDEOHSXEOLFDWLRQVLQWKHQDWXUHRIDUWLFOHVDQG
                        RN: 4466614            &RUS               )LUVW8VH0DUFK    LPDJHU\LQWKHILHOG V RIIDVKLRQDQGOLIHVW\OH
                        SN: 86035367          3KRHQL[                          
                                                                                                                                                                                             #:2139




                                              $YHQXH(QILHOG      )LOHG$XJXVW
                                               &RQQHFWLFXW         
                                                             
                                               

    9.    86)HGHUDO   ROGUE                 ([SRLPDJLQJ        5HJLVWHUHG       ,QW O&ODVV 
          4           RN: 3896732            ,QF &DOLIRUQLD    -XQH         SKRWRJUDSKLFDFFHVVRULHVQDPHO\FROODSVLEOHOLJKW
          XI                               &RUS               ,QW O&ODVV      GLUHFWRUVDQGGLIIXVHUVIRUXVHZLWKSKRWRJUDSKLFOLJKWLQJ
                        SN: 85011955          $YLDWLRQ        )LUVW8VH-XQH   HTXLSPHQWIRUSURIHVVLRQDODQGUHFUHDWLRQDO
                                              :D\:DWVRQYLOOH                      SKRWRJUDSK\OLJKWGLUHFWRUVDQGSKRWRJUDSKLFOLJKWLQJ
                                               &DOLIRUQLD   )LOHG$SULO     WHQWVDOOIRUXVHZLWKSKRWRJUDSKLFOLJKWLQJHTXLSPHQW
                                                                                    IRUSURIHVVLRQDODQGUHFUHDWLRQDOSKRWRJUDSK\VWDQGV
                                                                    5HJLVWHUHG          IRUSKRWRJUDSKLFDSSDUDWXV
                                                                    'HFHPEHU         
                                                                    
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    10.   86)HGHUDO   ROGUE                 2UHJRQ%UHZLQJ      5HJLVWHUHG      ,QW O&ODVV 
          4                                  &RPSDQ\             1RYHPEHU         DUUDQJLQJFRQGXFWLQJRUJDQL]LQJDQGVSRQVRULQJOLYH
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                                               Information
          XI        RN: 4229601              2UHJRQ&RUS                        H[KLELWLRQVDQGIHVWLYDOVIHDWXULQJIRRGEHYHUDJHV
                        SN: 85565356          2VX'ULYH      ,QW O&ODVV       PXVLFDQGHQWHUWDLQPHQWRUJDQL]DWLRQRI>OLYHVSRUWLQJ
                                              1HZSRUW2UHJRQ      )LUVW8VH            DQG@UHFUHDWLRQDOHYHQWVQDPHO\>VXUILQJ
                                                             'HFHPEHU        FRPSHWLWLRQV@FRQWHVWVHYHQWVDQGJDPHVDQG
                                                                   )LOHG0DUFK       DUUDQJLQJDQGFRQGXFWLQJOLYHHQWHUWDLQPHQWH[KLELWLRQV
                                                                                      LQWKHQDWXUHRIIHVWLYDOVIHDWXULQJEUHZHULHVDQG
                                                                    5HJLVWHUHG           GLVWLOOHULHVDQGWKHLUSURGXFWV
                                                                    2FWREHU      
                                                                    

    11.   86)HGHUDO   ROGUE                 %HOO6SRUWV,QF   5HJLVWHUHG-XQH       ,QW O&ODVV 
          4           RN: 4552710              &DOLIRUQLD                    SURWHFWLYHKHOPHWV
          XI                               &RUS               ,QW O&ODVV     
                        SN: 85863424          6FRWWV         )LUVW8VH2FWREHU
                                              9DOOH\'ULYH        
                                               6FRWWV9DOOH\       )LOHG)HEUXDU\
                                               &DOLIRUQLD   
                                                                   
                                                                                                                                                                                            #:2140




    12.   86)HGHUDO   ROGUE                 $IO                 5HJLVWHUHG              ,QW O&ODVV 
          4           RN: 5041969            7HOHFRPPXQLFDWL      6HSWHPEHU         KDQGKHOGZLUHOHVVGLJLWDOSRUWDEOHLQVWUXPHQWHPEHGGHG
          XI                               RQV//&                               ZLWKVRIWZDUHIRUWHVWLQJDQDO\VLVDQGWURXEOHVKRRWLQJ
                        SN: 86509736            'HODZDUH          ,QW O&ODVV       RIFRPPXQLFDWLRQVHTXLSPHQWDQGQHWZRUNV
                                              /LPLWHG/LDELOLW\   )LUVW8VH-DQXDU\   
                                               &RPSDQ\             
                                               5LGJHYLHZ       )LOHG-DQXDU\
                                               &LUFOH'XQFDQ       
                                               6RXWK&DUROLQD      
                                               
                                               

    13.   86)HGHUDO   ROGUE                 5RJXH               5HQHZHG                 ,QW O&ODVV 
          4           RN: 2019131            (QWHUSULVHV,QF   1RYHPEHU          SKRQRJUDSKUHFRUGVFRPSDFWGLVFVDQGFDVVHWWHWDSHV
          XI                                 *HRUJLD&RUS                       FRQWDLQLQJPXVLFDOSHUIRUPDQFH
                        SN: 75020086          %DFRQ6WUHHW     ,QW O&ODVV       
                                              0D\VYLOOH           )LUVW8VH$XJXVW
                                               *HRUJLD      
                                                                   )LOHG1RYHPEHU
                                                                                                                                                         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 260 of 494 Page ID




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          TM Record    TM/AN/RN/Disclaimer   Owner                Status/Key Dates       Full Goods/Services
                                               Information
                                                                    
                                                                    5HJLVWHUHG
                                                                    1RYHPEHU
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    14.   86)HGHUDO   ROGUE                 0DUFKRQ             5HQHZHG$SULO         ,QW O&ODVV 
          4           RN: 3603403            (\HZHDU,QF                          JRJJOHVIRUPRWRFURVVUDFLQJDQGSDUWVDQGDFFHVVRULHV
          XI                                 1HZ<RUN          ,QW O&ODVV        WKHUHIRUHQDPHO\UHSODFHPHQWOHQVHVIUDPHVKHDG
                        SN: 77241226          &RUS               )LUVW8VH             VWUDSVQRVHSLHFHVDQGIRDPVWULSVDQGFDVHV
                                              2OG&RXQWU\     'HFHPEHU       VSHFLDOO\DGDSWHGIRUJRJJOHV
                                               5RDG7KLUG         )LOHG-XO\        
                                               )ORRU0HOYLOOH      
                                               1HZ<RUN     5HJLVWHUHG$SULO
                                                                   
                                                                    

    15.   86)HGHUDO   ROGUE                 /HXSROG            5HJLVWHUHG      ,QW O&ODVV 
          4           RN: 3781614            6WHYHQV,QF       -XO\        ILHOGKXQWLQJDQGELUGLQJELQRFXODUVQRWIRUXVHLQ
                                                                                                                                                                                           #:2141




          XI                                 2UHJRQ&RUS      ,QW O&ODVV     JROILQJ
                        SN: 77288223          32%R[        )LUVW8VH)HEUXDU\ 
                                              %HDYHUWRQ           
                                               2UHJRQ       )LOHG6HSWHPEHU
                                                                   
                                                                    5HJLVWHUHG$SULO
                                                                    
                                                                    

    16.   86)HGHUDO   52*8($*(1'$DQG      5RJXH$JHQGD        5HJLVWHUHG-XO\          ,QW O&ODVV 
          4           'HVLJQ                //& 0LQQHVRWD                     HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIGHYHORSPHQW
          XI                              /LPLWHG/LDELOLW\   ,QW O&ODVV        FUHDWLRQSURGXFWLRQDQGSRVWSURGXFWLRQVHUYLFHVRI
                                               &RPSDQ\             )LUVW8VH             PXOWLPHGLDHQWHUWDLQPHQWFRQWHQW
                                               32%R[       1RYHPEHU       
                                               0DUFK$LU           )LOHG0DUFK
                                               5HVHUYH%DVH        
                                               &DOLIRUQLD   
                                               
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                                         Information




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                   61


17.   86)HGHUDO   ROGUE AGENT: THE      +LJK*DPHV       5HJLVWHUHG$XJXVW      ,QW O&ODVV
      4           NERO PROTOCOL         //& 'HODZDUH                      JDPHVRIWZDUH
      XI                              /LPLWHG/LDELOLW\   ,QW O&ODVV
                   RN: 5271489           &RPSDQ\              )LUVW8VH-XO\
                   SN: 86186020          2QH:RUOG           
                                         7UDGH&HQWHU        )LOHG)HEUXDU\
                                         1HZ<RUN1HZ        
                                                                                                                                                                                       #:2142




                                         <RUN


18.   86)HGHUDO   52*8(DQG'HVLJQ      %HOO6SRUWV,QF   5HJLVWHUHG             ,QW O&ODVV
      4                                  &DOLIRUQLD         2FWREHU        SURWHFWLYHKHOPHWV
      XI                              &RUS                ,QW O&ODVV
                                         6FRWWV         )LUVW8VH$SULO
                                         9DOOH\'ULYH        
                                         6FRWWV9DOOH\       )LOHG0DUFK
                                         &DOLIRUQLD    

                   51
                   61


19.   86)HGHUDO   ROGUE                 5RJXH              5HJLVWHUHG              ,QW O&ODVV
      4           ARCHITECTURE          $UFKLWHFWXUH,QF 'HFHPEHU           DUFKLWHFWXUDOVHUYLFHVJUDSKLFGHVLJQVHUYLFHVLQWHULRU
      XI                               &RORUDGR&RUS                         GHVLJQVHUYLFHV
                                                                                                                                                    Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 262 of 494 Page ID




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                                               Information
                        CHALLENGING THE        :DGVZRUWK      ,QW O&ODVV      
                        STATUS QUO            %RXOHYDUG6XLWH    )LUVW8VH
                                               :KHDW           1RYHPEHU
                        RN: 4877244            5LGJH&RORUDGR      
                        SN: 86616840                         )LOHG0D\
                        Disclaimer:                                
                        "ARCHITECTURE"
                        

    20.   86)HGHUDO   ROGUE AVIATION        5RJXH$YLDWLRQ     5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5614891            //& &DOLIRUQLD     1RYHPEHU         SLQVEHLQJMHZHOU\
          XI                               /LPLWHG/LDELOLW\                      ,QW O&ODVV 
                        SN: 87743948           &RPSDQ\             ,QW O&ODVV         ODQ\DUGVIRUKROGLQJEDGJHVNH\V
                        Disclaimer:            $ORQGUD                      ,QW O&ODVV 
                        "AVIATION"            %OYG&HUULWRV       )LUVW8VH2FWREHU   WVKLUWV
                                              &DOLIRUQLD                   ,QW O&ODVV 
                                                                   ,QW O&ODVV      SURYLGLQJWUDQVSRUWIRUVLJKWVHHLQJWRXUV
                                                                    )LUVW8VH-XQH     ,QW O&ODVV 
                                                                                     KHOLFRSWHUIOLJKWLQVWUXFWLRQ
                                                                                                                                                                                     #:2143




                                                                    ,QW O&ODVV      
                                                                    )LUVW8VH
                                                                    6HSWHPEHU
                                                                    )LOHG-DQXDU\
                                                                    
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    21.   86)HGHUDO   ROGUE BALLERINA       3D]FRJXLQ          5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5683944            *HRUJLQD            )HEUXDU\    HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIOLYHGDQFH
          XI                                 8QLWHG6WDWHV     ,QW O&ODVV      SHUIRUPDQFHV
                        SN: 87884591           &LWL]HQ             )LUVW8VH-XO\   
                        Disclaimer:            :HVWWK        
                        "BALLERINA"           6WUHHW%1HZ      )LOHG$SULO
                                              <RUN1HZ<RUN       
                                                             
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    22.   86)HGHUDO   ROGUE                  $ $ 8QLWHG         5HJLVWHUHG         ,QW O&ODVV 
                                                                                                                                                  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 263 of 494 Page ID




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                                        Information
    4          BILLIONAIRE           6WDWHV/LPLWHG      $SULO         HGXFDWLRQDODQGHQWHUWDLQPHQWVHUYLFHVQDPHO\
    XI       RN: 4316388            /LDELOLW\           ,QW O&ODVV        SURYLGLQJPRWLYDWLRQDODQGHGXFDWLRQDOVSHDNHUV
                                        &RPSDQ\             )LUVW8VH             HGXFDWLRQDOVHUYLFHVQDPHO\FRQGXFWLQJFODVVHV
                 SN: 85687134          6XLWH        'HFHPEHU       VHPLQDUVFRQIHUHQFHVZRUNVKRSVILHOGWULSVQRQ
                                       1RWWLQJ+LOO*DWH   )LOHG-XO\        GRZQORDGDEOHZHELQDUVSURJUDPVH[HFXWLYHFRDFKLQJ
                                        /RQGRQ:-H                         RQOLQHZRUNVKRSVOLYHWUDLQLQJFRDFKLQJDQG
                                        8QLWHG.LQJGRP     5HJLVWHUHG$SULO   PHQWRULQJDGYDQFHGXQLYHUVLW\OHYHOFRXUVHVLQWKH
                                                                               ILHOGRIWUDYHOILQDQFHLQYHVWLQJKLVWRU\FXOWXUHDUW
                                                                                    PXVLFEXVLQHVVFXUUHQWDIIDLUVJHRJUDSK\JHRSROLWLFV
                                                                                     SROLWLFDOVFLHQFHVSRUWVDQGGLVWULEXWLRQRIWUDLQLQJ
                                                                                     PDWHULDOLQFRQQHFWLRQWKHUHZLWKHQWHUWDLQPHQW
                                                                                     VHUYLFHVQDPHO\PXOWLPHGLDSURGXFWLRQVHUYLFHV
                                                                                     HQWHUWDLQPHQWVHUYLFHVQDPHO\SURGXFWLRQDQG
                                                                                     GLVWULEXWLRQRIRQJRLQJWHOHYLVLRQSURJUDPVLQWKHILHOGRI
                                                                                     WUDYHOIRRGILQDQFHSROLWLFVEXVLQHVVLQYHVWLQJ
                                                                                     FXOWXUHUHOLJLRQKLVWRU\DUWPXVLFH[SORUDWLRQILOPV
                                                                                     VSRUWVHQWHUWDLQPHQWVHUYLFHVQDPHO\SURGXFWLRQRI
                                                                                     VSHFLDOHIIHFWVLQFOXGLQJPRGHOPDNLQJVHUYLFHV
                                                                                     FRPSXWHUJHQHUDWHGLPDJHU\DQGFRPSXWHUJHQHUDWHG
                                                                                                                                                                                         #:2144




                                                                                     JUDSKLFVIRUWKHSURGXFWLRQRIPRWLRQSLFWXUHVYLGHRV
                                                                                     DQGPRYLHWUDLOHUVHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                                                                     SURYLGLQJDZHEVLWHIHDWXULQJSKRWRJUDSKLFDXGLR
                                                                                     YLGHRDQGSURVHSUHVHQWDWLRQVLQWKHILHOGVRIIRRG
                                                                                     FXOWXUHKLVWRU\DUWPXVLFDQGILOPVILOPDQGYLGHR
                                                                                     SURGXFWLRQFRQVXOWLQJVHUYLFHVILOPHGLWLQJPXOWLPHGLD
                                                                                     HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIGHYHORSPHQW
                                                                                     SURGXFWLRQDQGSRVWSURGXFWLRQVHUYLFHVLQWKHILHOGVRI
                                                                                     YLGHRDQGILOPVRSHUDWLRQRIYLGHRHTXLSPHQWRUDXGLR
                                                                                     HTXLSPHQWHWFIRUSURGXFWLRQRIUDGLRRUWHOHYLVLRQ
                                                                                     SURJUDPVSRVWSURGXFWLRQHGLWLQJVHUYLFHVLQWKHILHOGRI
                                                                                     PXVLFYLGHRVDQGILOPSURGXFWLRQRIDXGLRUHFRUGLQJ
                                                                                     SURGXFWLRQRIGYGVYLGHRWDSHVDQGWHOHYLVLRQSURJUDPV
                                                                                     IHDWXULQJWUDYHOIRRGILQDQFHSROLWLFVEXVLQHVV
                                                                                     LQYHVWLQJFXOWXUHUHOLJLRQKLVWRU\DUWPXVLF
                                                                                     H[SORUDWLRQILOPVSURGXFWLRQRIILOPVSURGXFWLRQRI
                                                                                     PRQRVFRSLFDQGRUVWHUHRVFRSLFHOHFWURQLFGLJLWDO
                                                                                     YLGHRDQGRUILOPSURGXFWLRQRIUDGLRRUWHOHYLVLRQ
                                                                                                                                                      Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 264 of 494 Page ID




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                                                Information
                                                                                            SURJUDPVVSHFLDOHIIHFWVDQLPDWLRQVHUYLFHVIRUILOP
                                                                                            DQGYLGHR
                                                                                            

    23.   86)HGHUDO   ROGUE COMPANY          +L5H]6WXGLRV     $OORZHG,QWHQWWR     ,QW O&ODVV 
          4           SN: 87941766            ,QF 'HODZDUH      8VHVW([WHQVLRQ     YLGHRJDPHVRIWZDUHYLGHRJDPHVRIWZDUHWKDWPD\EH
          XI                                &RUS               RI7LPH*UDQWHG       GRZQORDGHGIURPDJOREDOFRPSXWHUQHWZRUNYLGHR
                        Disclaimer:             %URRNVLGH      0D\          JDPHVRIWZDUHIRUXVHRQPRELOHGHYLFHVWDEOHWVDQG
                        "COMPANY"              3DUNZD\             )LOHG0D\        FHOOXODUSKRQHVYLGHRJDPHVRIWZDUHIRUXVHRQ
                                               $OSKDUHWWD                            VWDQGDORQHFOLHQWV
                                                *HRUJLD                            
                                                

    24.   86)HGHUDO   ROGUE COMPANY          +L5H]6WXGLRV     $OORZHG,QWHQWWR     ,QW O&ODVV 
          4           SN: 87941868            ,QF 'HODZDUH      8VHVW([WHQVLRQ     HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIDQRQOLQH
          XI                                &RUS               RI7LPH*UDQWHG       LQWHUDFWLYHJDPHSURYLGHGE\PHDQVRIDJOREDO
                        Disclaimer:             %URRNVLGH      0D\          FRPSXWHUQHWZRUNSURYLGLQJLQIRUPDWLRQRQOLQHUHODWLQJ
                        "COMPANY"              3DUNZD\             )LOHG0D\        WRFRPSXWHUJDPHVRQOLQHFRPSXWHUJDPHVFRPSXWHU
                                               $OSKDUHWWD                            JDPHHQWHUWDLQPHQWDQGDPXVHPHQWDFWLYLWLHVDQG
                                                                                                                                                                                            #:2145




                                                *HRUJLD                            PXOWLSOD\HURQOLQHFRPSXWHUJDPHFRRSHUDWLRQDQG
                                                                                           FRPSHWLWLRQVSXEOLVKLQJRIHOHFWURQLFSXEOLFDWLRQV
                                                                                            

    25.   86)HGHUDO   ROGUE DIPLOMATS %UHLQHU0DWWKHZ 5HJLVWHUHG        ,QW O&ODVV 
          4           RN: 5350218       8QLWHG6WDWHV   'HFHPEHU HQWHUWDLQPHQWQDPHO\OLYHSHUIRUPDQFHVE\DPXVLFDO
          XI                         &LWL]HQ          ,QW O&ODVV  EDQGSURGXFWLRQRIPXVLFSURGXFWLRQRIPXVLFDOVRXQG
                        SN: 87444133    UG       )LUVW8VH0DUFK UHFRUGLQJSURGXFWLRQRIVRXQGDQGPXVLFYLGHR
                                               6WUHHW$SW                     UHFRUGLQJVHQWHUWDLQPHQWVHUYLFHVE\DPXVLFDODUWLVW
                                                $VWRULD1HZ         )LOHG0D\        DQGSURGXFHUQDPHO\PXVLFDOFRPSRVLWLRQIRURWKHUV
                                                <RUN                           DQGSURGXFWLRQRIPXVLFDOVRXQGUHFRUGLQJV
                                                                                          

    26.   86)HGHUDO   52*8(',6326$/        5RJXH:DVWH        5HJLVWHUHG$SULO    ,QW O&ODVV 
          4           5(&<&/,1*,1&DQG    ,QF 2UHJRQ                          SULQWHGHGXFDWLRQDOPDWHULDOVLQWKHILHOGRIUHF\FOLQJ
          XI        'HVLJQ                 &RUS               ,QW O&ODVV          DQGFRPSRVWLQJ
                                               2QH:HVW0DLQ             ,QW O&ODVV 
                                                6WUHHW6XLWH   )LUVW8VH-DQXDU\    RSHUDWLRQRIDEXVLQHVVIRURWKHUVQDPHO\ZDVWH
                                                0HGIRUG2UHJRQ                    ODQGILOOV
                                                                                                                                                         Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 265 of 494 Page ID




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                                              Information
                                                            )LOHG)HEUXDU\    ,QW O&ODVV
                                                                                    PDLQWHQDQFHRIODQGILOOVIRURWKHUVZDVWHGLVSRVDOIRU
                                                                                        RWKHUVHQYLURQPHQWDOUHPHGLDWLRQVHUYLFHVQDPHO\
                                                                                        ZDVWHGLVSRVDOVROLGZDVWHODQGILOOVHUYLFHVDQG
                                                                                        PHGLFDOZDVWHGLVSRVDO
                                                                                         ,QW O&ODVV
                                                                                        JDUEDJHFROOHFWLRQWUDQVSRUWDWLRQRIPHGLFDOZDVWHDQG
                                                                                        UHQWDORIVWRUDJHFRQWDLQHUV
                   51                                                           ,QW O&ODVV
                   61                                                         UHF\FOLQJVHUYLFHVGRFXPHQWVKUHGGLQJVHUYLFHVZDVWH
                   'LVFODLPHU',6326$/                                              WUHDWPHQWVHUYLFHVIHDWXULQJWKHFROOHFWLRQDQG
                   5(&<&/,1*,1&                                                     FRPSRVWLQJRIRUJDQLFPDWHULDOVZDVWHWUHDWPHQW
                                                                                        VHUYLFHVQDPHO\UHFRYHU\RIPHWKDQHOLTXLGQDWXUDO
                                                                                        JDVDQGRWKHUJDVHVIURPODQGILOOVDQGWUDQVIRUPDWLRQ
                                                                                        RIVDLGJDVHVLQWRHOHFWULFLW\
                                                                                         ,QW O&ODVV
                                                                                        HGXFDWLRQDOGHPRQVWUDWLRQLQVWUXFWLRQDQGWUDLQLQJLQ
                                                                                        FRPSRVWLQJWHFKQLTXHVHGXFDWLRQDOGHPRQVWUDWLRQ
                                                                                        LQVWUXFWLRQDQGWUDLQLQJLQUHF\FOLQJWHFKQLTXHV
                                                                                                                                                                                          #:2146




27.   86)HGHUDO   ROGUE ELEMENT              5RJXH(OHPHQW     5HJLVWHUHG            ,QW O&ODVV
      4           RN: 4281982                ,QF ,OOLQRLV     -DQXDU\      JUSDKLFGHVLJQVHUYLFHVIRUFUHDWLQJJUDSKLFORJRVIRU
      XI                                   &RUS               ,QW O&ODVV       RWKHUVGHLVJQRIERRNOD\RXWVDQGERRNVIRURWKHUV
                   SN: 85619269               1            )LUVW8VH           ZHEVLWHGHVLJQIRURWKHUV
                                              5DYHQVZRRG         1RYHPEHU
                                              $YH6XLWH    
                                              &KLFDJR,OOLQRLV   )LOHG0D\
                                              


28.   86)HGHUDO   ROGUE FM                   -DPWUD[[0HGLD    5HJLVWHUHG$SULO      ,QW O&ODVV
      4           RN: 5729013                ,QF ,OOLQRLV                   (QWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJDQRQJRLQJ
      XI                                   &RUS               ,QW O&ODVV       UDGLRSURJUDPLQWKHILHOGRISRSXODUPXVLF3URGXFWLRQ
                   SN: 87730777               6XLWH     )LUVW8VH           RIUDGLRSURJUDPV5DGLRHQWHUWDLQPHQWSURGXFWLRQ
                                              (DVW'HYRQ         'HFHPEHU        5DGLRHQWHUWDLQPHQWVHUYLFHVQDPHO\UDGLRSURJUDPV
                                              6WUHHW'HV         )LOHG'HFHPEHU      IHDWXULQJSHUIRUPDQFHVE\SRSXODUPXVLFJURXSV
                                                                                                                                                       Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 266 of 494 Page ID




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      TM Record    TM/AN/RN/Disclaimer     Owner               Status/Key Dates      Full Goods/Services
                                           Information
                                           3ODLQHV,OOLQRLV   
                                           


29.   86)HGHUDO   52*8(*81),*+7(55 5J,QWHOOLJHQFH        5HJLVWHUHG            ,QW O&ODVV
      4           $*7(*26,1(0(78 //& 'HODZDUH          -DQXDU\       EXOOHWSURRIYHVWVDQGFORWKLQJFORWKLQJIRUSURWHFWLRQ
      XI        DQG'HVLJQ          /LPLWHG/LDELOLW\      ,QW O&ODVV    DJDLQVWDFFLGHQWVLQVXODWHGFORWKLQJIRUSURWHFWLRQ
                                       &RPSDQ\                 )LUVW8VH-XO\   DJDLQVWDFFLGHQWRULQMXU\SURWHFWLYHEDOOLVWLFUHVLVWDQW
                                       /LQGHQ$YH                           DQGEODVWUHVLVWDQWERG\DUPRUFORWKLQJDQGJDUPHQWV
                                       %UDQIRUG               )LOHG0DUFK      SURWHFWLYHERG\DUPRUQDPHO\EDOOLVWLFEXOOHWEODVW
                                       &RQQHFWLFXW                              VODVKDQGVWDEUHVLVWDQWFORWKLQJSURWHFWLYHERG\DUPRU
                                                                               QDPHO\EDOOLVWLFEXOOHWEODVWVODVKDQGVWDEUHVLVWDQW
                                                                                     YHVWVSURWHFWLYHFORWKLQJQDPHO\KHDWHGJDUPHQWVLQ
                                                                                     WKHQDWXUHRIDSSDUHOFRQVLVWLQJRIFDUERQILEHUZKLFK
                                                                                     SURGXFHVKHDWSURWHFWLYHORDGEHDULQJYHVWVUHLQIRUFHG
                                                                                     ZLWKEDOOLVWLFDUPRUIRUKROGLQJWDFWLFDOHTXLSPHQW
                   51                                                        ,QW O&ODVV
                   61                                                      UHWDLODSSDUHOVWRUHVUHWDLOVSRUWLQJJRRGVVWRUHV
                   'LVFODLPHU
                                                                                                                                                                                         #:2147




                   *81),*+7(5


30.   86)HGHUDO   ROGUE                   :DIHU+DUROG      5HJLVWHUHG            ,QW O&ODVV
      4           HANDICAPPER              8QLWHG6WDWHV     2FWREHU      RQOLQHKRUVHUDFLQJDGYLFHVHUYLFHVIRUVHOHFWLQJ
      XI                                &LWL]HQ             ,QW O&ODVV       KRUVHVWRZDJHURQEHLWGDLO\KDQGLFDSSLQJDWD
                   RN: 4628051             (            )LUVW8VH-DQXDU\   UDFHWUDFNRULQKRUVHUDFLQJWRXUQDPHQWV
                   SN: 86212222            )DLUPRXQW6W      
                   Disclaimer:             7XFVRQ$UL]RQD     )LOHG0DUFK
                   "HANDICAPPER"                         


31.   86)HGHUDO   ROGUE INDUSTRIES        7RZHU              5HJLVWHUHG$SULO     ,QW O&ODVV
      4           RN: 4519893             3XEOLVKLQJ'ED                 FDUU\LQJFDVHVIRUPRELOHFRPSXWHUVFDVHVIRUPRELOH
      XI                                5RJXH,QGXVWULHV   ,QW O&ODVV   SKRQHV
                   SN: 85574842             0DLQH&RUS        )LUVW8VH0DUFK ,QW O&ODVV
                   Disclaimer:             6DFR5G                         EODQNZULWLQJMRXUQDOV
                   "INDUSTRIES"            6WDQGLVK0DLQH     )LOHG0DUFK
                                                         
                                                                                                                                                      Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 267 of 494 Page ID




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          TM Record    TM/AN/RN/Disclaimer   Owner               Status/Key Dates      Full Goods/Services
                                               Information
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    32.   86)HGHUDO   ROGUE JOURNEY         +DUERU             5HJLVWHUHG0DUFK        ,QW O&ODVV 
          4           RN: 5170961            0LQLVWULHV,QF                 HGXFDWLRQDOVHUYLFHVQDPHO\FRQGXFWLQJVHPLQDUVDQG
          XI                                 1HEUDVND         ,QW O&ODVV    SURJUDPVLQWKHILHOGRISHUVRQDOVSLULWXDODQG
                        SN: 87146637          &RUS              )LUVW8VH            SURIHVVLRQDOJURZWK
                                              6RWK      1RYHPEHU            ,QW O&ODVV 
                                               /LQFROQ                              UHOLJLRXVDQGVSLULWXDOVHUYLFHVQDPHO\SURYLGLQJ
                                               1HEUDVND    )LOHG$XJXVW     JDWKHULQJVDQGUHWUHDWVWRGHYHORSDQGHQKDQFHWKH
                                                                                    VSLULWXDOOLYHVRILQGLYLGXDOV
                                                                                         

    33.   86)HGHUDO   ROGUE LACROSSE        5RJXH/DFURVVH     5HJLVWHUHG0D\          ,QW O&ODVV 
          4           RN: 5468218            ,QF 1HZ<RUN                    FRRUGLQDWLRQRIUHFUHDWLRQDOVSRUWLQJRSSRUWXQLWLHVIRU
          XI                               &RUS              ,QW O&ODVV       LQGLYLGXDOVZKRZLVKWRSDUWLFLSDWHLQWHDPOHDJXH
                        SN: 87628565           3R%R[         )LUVW8VH-XO\   VSRUWVSURYLGLQJRQOLQHUHJLVWUDWLRQVHUYLFHVIRU
                        Disclaimer:            6DUDWRJD                             ODFURVVHFDPSVFOLQLFVDQGOHVVRQVDQGIRUODFURVVH
                        "LACROSSE"            6SULQJV1HZ        ,QW O&ODVV       FRDFKLQJFOLQLFV
                                              <RUN        )LUVW8VH0D\      ,QW O&ODVV 
                                                                                                                                                                                              #:2148




                                                                                    DPDWHXU\RXWKVSRUWVVHUYLFHVQDPHO\RUJDQL]LQJDQG
                                                                   )LOHG6HSWHPEHU      SURYLGLQJ\RXWKVSRUWVDFWLYLWLHVDUUDQJLQJDQG
                                                                                 FRQGXFWLQJ\RXWKVSRUWVSURJUDPVLQWKHILHOGRI
                                                                                         ODFURVVHFRDFKLQJLQWKHILHOGRIVSRUWVLQVWUXFWLRQLQ
                                                                                          WKHQDWXUHRIODFURVVHSOD\LQJDQGODFURVVHFRDFKLQJ
                                                                                          FOLQLFVLQVWUXFWLRQLQWKHQDWXUHRIODFURVVHSOD\LQJDQG
                                                                                          ODFURVVHFRDFKLQJOHVVRQVSHHUWRSHHUFRDFKLQJ
                                                                                          VHUYLFHVLQWKHILHOGRIODFURVVHSOD\LQJDQGODFURVVH
                                                                                          FRDFKLQJSURIHVVLRQDOFRDFKLQJVHUYLFHVLQWKHILHOGRI
                                                                                          ODFURVVHSOD\LQJDQGODFURVVHFRDFKLQJSURYLGLQJ
                                                                                          FODVVHVZRUNVKRSVVHPLQDUVDQGFDPSVLQWKHILHOGRI
                                                                                          ODFURVVHSOD\LQJDQGODFURVVHFRDFKLQJSURYLGLQJD
                                                                                          ZHEVLWHIHDWXULQJLQIRUPDWLRQUHODWLQJWRWKHVSRUWRI
                                                                                          ODFURVVHVSRUWFDPSVVSRUWVLQVWUXFWLRQVHUYLFHV
                                                                                          VSRUWVWUDLQLQJVHUYLFHVLQWKHILHOGRIODFURVVH
                                                                                          

    34.   86)HGHUDO   ROGUE LEADER          /XFDVILOP          5HQHZHG0D\        ,QW O&ODVV 
          4                                  (QWHUWDLQPHQW                        >FRPSXWHUJDPHVRIWZDUH@YLGHRJDPHVRIWZDUH
                                                                                                                                                           Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 268 of 494 Page ID




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          TM Record    TM/AN/RN/Disclaimer   Owner                Status/Key Dates     Full Goods/Services
                                               Information
          XI        RN: 2840876            &RPSDQ\/7'        ,QW O&ODVV      LQWHUDFWLYHYLGHRJDPHV>DQGLQWHUDFWLYHFRPSXWHU
                        SN: 76329357          /OF &DOLIRUQLD     )LUVW8VH2FWREHU   JDPHV@
                                              /LPLWHG/LDELOLW\                
                                               &RPSDQ\             )LOHG2FWREHU
                                               2QH/HWWHUPDQ       
                                               'ULYH%OGJ%       5HJLVWHUHG0D\
                                               6DQ)UDQFLVFR       
                                               &DOLIRUQLD   
                                               

    35.   86)HGHUDO   ROGUE LEGACY          /HH.HQQ\          5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5080582              &DQDGD&LWL]HQ    1RYHPEHU         FRPSXWHUJDPHSURJUDPPHVFRPSXWHUJDPH
          XI                               +LOOFUHVW                     SURJUDPPHVGRZQORDGDEOHYLDWKHLQWHUQHWFRPSXWHU
                        SN: 86837377          $YHQXH          )LOHG'HFHPEHU   JDPHSURJUDPVFRPSXWHUJDPHVRIWZDUHFRPSXWHU
                                              7RURQWR2QWDULR                     JDPHVRIWZDUHGRZQORDGDEOHIURPDJOREDOFRPSXWHU
                                               0QN&DQDGD                           QHWZRUNFRPSXWHUJDPHVRIWZDUHIRUSHUVRQDO
                                                                                         FRPSXWHUVDQGKRPHYLGHRJDPHFRQVROHVFRPSXWHU
                                                                                          JDPHVRIWZDUHIRUXVHRQPRELOHDQGFHOOXODUSKRQHV
                                                                                          FRPSXWHUJDPHVRIWZDUHIRUXVHZLWKSHUVRQDO
                                                                                                                                                                                           #:2149




                                                                                          FRPSXWHUVKRPHYLGHRJDPHFRQVROHVXVHGZLWK
                                                                                          WHOHYLVLRQVDQGDUFDGHEDVHGYLGHRJDPHFRQVROHV
                                                                                          FRPSXWHUVRIWZDUHQDPHO\JDPHHQJLQHVRIWZDUHIRU
                                                                                          YLGHRJDPHGHYHORSPHQWDQGRSHUDWLRQGRZQORDGDEOH
                                                                                          FRPSXWHUJDPHSURJUDPVGRZQORDGDEOHFRPSXWHU
                                                                                          JDPHVRIWZDUHYLDDJOREDOFRPSXWHUQHWZRUNDQG
                                                                                          ZLUHOHVVGHYLFHVGRZQORDGDEOHHOHFWURQLFJDPH
                                                                                          SURJUDPVGRZQORDGDEOHHOHFWURQLFJDPHVRIWZDUHIRU
                                                                                          XVHRQPRELOHDQGFHOOXODUSKRQHVKDQGKHOG
                                                                                          FRPSXWHUVSHUVRQDOFRPSXWHUVJDPLQJFRQVROHV
                                                                                          HOHFWURQLFJDPHSURJUDPVHOHFWURQLFJDPHVRIWZDUH
                                                                                          HOHFWURQLFJDPHVRIWZDUHIRUFHOOXODUWHOHSKRQHV
                                                                                          HOHFWURQLFJDPHVRIWZDUHIRUKDQGKHOGHOHFWURQLF
                                                                                          GHYLFHVHOHFWURQLFJDPHVRIWZDUHIRUZLUHOHVVGHYLFHV
                                                                                          JDPHVRIWZDUHLQWHUDFWLYHJDPHSURJUDPVLQWHUDFWLYH
                                                                                          JDPHVRIWZDUHLQWHUDFWLYHYLGHRJDPHSURJUDPVYLGHR
                                                                                          DQGFRPSXWHUJDPHSURJUDPVYLGHRJDPHVRIWZDUH
                                                                                          
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                                               Information
    36.   86)HGHUDO   ROGUE LEGION          7URRGR            5HJLVWHUHG           ,QW O&ODVV 
          4           RN: 5389479            (QWHUWDLQPHQW     -DQXDU\   HOHFWURQLFJDPHVVHUYLFHVSURYLGHGE\PHDQVRIWKH
          XI                               /LPLWHG &D\PDQ   ,QW O&ODVV    LQWHUQHWHQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJRQ
                        SN: 87269337          ,VODQGV/LPLWHG   )LUVW8VH         OLQHFRPSXWHUJDPHVHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                              &RPSDQ\ /WG     'HFHPEHU       FRQGXFWLQJDOWHUQDWHUHDOLW\JDPHVYLDWKHLQWHUQHW
                                               ):LOORZ                       HQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJDZHEVLWH
                                               +RXVH&ULFNHW     )LOHG'HFHPEHU    IHDWXULQJJDPHVDQGSX]]OHVHQWHUWDLQPHQWVHUYLFHV
                                               6T3R%R[              QDPHO\SURYLGLQJDQRQOLQHERDUGJDPHHQWHUWDLQPHQW
                                               *UDQG&D\PDQ                         VHUYLFHVQDPHO\SURYLGLQJDQRQOLQHFRPSXWHUJDPH
                                               .\                              HQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJRQOLQH
                                               &D\PDQ,VODQGV                       HOHFWURQLFJDPHVHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                                                                     SURYLGLQJRQOLQHYLGHRJDPHVSURYLGLQJRQOLQH
                                                                                      FRPSXWHUJDPHVSURYLGLQJRQOLQHDXJPHQWHGUHDOLW\
                                                                                      JDPHVSURYLGLQJDFRPSXWHUJDPHIRUXVHQHWZRUN
                                                                                      ZLGHE\QHWZRUNXVHUVSURYLGLQJDZHEEDVHGV\VWHP
                                                                                      DQGRQOLQHSRUWDOIRUFXVWRPHUVWRSDUWLFLSDWHLQRQOLQH
                                                                                      JDPLQJRSHUDWLRQDQGFRRUGLQDWLRQRIJDPH
                                                                                      WRXUQDPHQWVOHDJXHVDQGWRXUVIRUUHFUHDWLRQDO
                                                                                      FRPSXWHUJDPHSOD\LQJSXUSRVHVSURYLGLQJDZHEVLWH
                                                                                                                                                                                          #:2150




                                                                                      WKURXJKZKLFKSHRSOHORFDWHLQIRUPDWLRQDERXW
                                                                                      WRXUQDPHQWVHYHQWVDQGFRPSHWLWLRQVLQWKHYLGHR
                                                                                      JDPHILHOG
                                                                                      

    37.   86)HGHUDO   ROGUE LEGION          7URRGR            5HJLVWHUHG          ,QW O&ODVV 
          4           RN: 5389478            (QWHUWDLQPHQW     -DQXDU\   FRPSXWHUJDPHSURJUDPPHVGRZQORDGDEOHYLDWKH
          XI                               /LPLWHG &D\PDQ   ,QW O&ODVV    LQWHUQHWFRPSXWHUJDPHSURJUDPVFRPSXWHUJDPH
                        SN: 87269312          ,VODQGV/LPLWHG   )LUVW8VH         VRIWZDUHFRPSXWHUJDPHVRIWZDUHGRZQORDGDEOHIURP
                                              &RPSDQ\ /WG     'HFHPEHU       DJOREDOFRPSXWHUQHWZRUNFRPSXWHUJDPHVRIWZDUHIRU
                                               ):LOORZ                       XVHRQPRELOHDQGFHOOXODUSKRQHVFRPSXWHUJDPH
                                               +RXVH&ULFNHW     )LOHG'HFHPEHU    VRIWZDUHIRUSHUVRQDOFRPSXWHUVDQGKRPHYLGHRJDPH
                                               6T3R%R[              FRQVROHVFRPSXWHUSURJUDPVIRUYLGHRDQGFRPSXWHU
                                               *UDQG&D\PDQ                         JDPHVFRPSXWHUVRIWZDUHQDPHO\JDPHHQJLQH
                                               .\                              VRIWZDUHIRUYLGHRJDPHGHYHORSPHQWDQGRSHUDWLRQ
                                               &D\PDQ,VODQGV                       GRZQORDGDEOHFRPSXWHUJDPHSURJUDPVGRZQORDGDEOH
                                                                                     FRPSXWHUJDPHVRIWZDUHYLDDJOREDOFRPSXWHUQHWZRUN
                                                                                      DQGZLUHOHVVGHYLFHVGRZQORDGDEOHHOHFWURQLFJDPH
                                                                                                                                                       Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 270 of 494 Page ID




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      TM Record    TM/AN/RN/Disclaimer   Owner                Status/Key Dates       Full Goods/Services
                                         Information
                                                                                     SURJUDPVGRZQORDGDEOHHOHFWURQLFJDPHVRIWZDUHIRU
                                                                                     XVHRQPRELOHDQGFHOOXODUSKRQHVKDQGKHOG
                                                                                     FRPSXWHUVJDPHVRIWZDUHJDPHVWKDWDFFHSWYLUWXDORU
                                                                                     PRQHWDU\ZDJHUVVROGDVDIHDWXUHRIJDPHVRIWZDUH
                                                                                     LQWHUDFWLYHJDPHSURJUDPVLQWHUDFWLYHJDPHVRIWZDUH
                                                                                     LQWHUDFWLYHPXOWLPHGLDFRPSXWHUJDPHSURJUDPV
                                                                                     LQWHUDFWLYHYLGHRJDPHSURJUDPVYLGHRJDPHVRIWZDUH
                                                                                     YLUWXDOUHDOLW\JDPHVRIWZDUH


38.   86)HGHUDO   ROGUE NATION          2UHJRQ%UHZLQJ      5HQHZHG                ,QW O&ODVV
      4           RN: 2484994           &RPSDQ\             6HSWHPEHU      DVVRFLDWLRQVHUYLFHVQDPHO\SURPRWLQJWKHLQWHUHVWVRI
      XI                               2UHJRQ&RUS        ,QW O&ODVV        DPLFURDVVRFLDWLRQRISHRSOHZKRVKDUHYDOXHVDQG
                   SN: 76091047          2VX'ULYH      )LUVW8VH-XO\   GHVLUHDFKDQFHWRLQKDELWDQLQGHSHQGHQWFRXQWU\WKDW
                                         1HZSRUW2UHJRQ                         HPEUDFHVFKDQJH
                                                        )LOHG-XO\
                                                              
                                                              5HJLVWHUHG
                                                              6HSWHPEHU
                                                                                                                                                                                       #:2151




39.   86)HGHUDO   52*8(1$7,21DQG     5RJXH1DWLRQ        5HJLVWHUHG-XO\        ,QW O&ODVV
      4           'HVLJQ                3W\/7'                            DGYHUWLVLQJQDPHO\SURPRWLRQRIFRQFHUWVFRQFHUW
      XI                               $XVWUDOLD          )LOHG2FWREHU     SURPRWLRQVIRURWKHUVDJHQWV VHUYLFHVQDPHO\
                                         /LPLWHG/LDELOLW\                      EXVLQHVVPDQDJHPHQWRIDFWRUVDUWLVWVDXWKRUV
                                         &RPSDQ\              ,QW O5HJ'DWH       SHUIRUPLQJDUWLVWVSKRWRJUDSKHUVDQGZULWHUVDUWLVWV 
                                         &0RUURZV         2FWREHU        DJHQWVHUYLFHVQDPHO\EXVLQHVVPDQDJHPHQWRI
                                         /HJDO3W\/7'                             DUWLVWVEXVLQHVVPDQDJHPHQWRISHUIRUPLQJDUWLVWV
                                         /)UHVKZDWHU                            SXEOLFLW\DJHQF\VHUYLFHV
                   51
                                         3O6RXWKEDQN                             ,QW O&ODVV
                   61
                                         %YG 6RXWKEDQN                              DUUDQJLQJDQGFRQGXFWLQJRIFRQFHUWVDUUDQJLQJRI
                                         9LF                                   FRQFHUWVHYHQWPDQDJHPHQWVHUYLFHVQDPHO\
                                         $XVWUDOLD                                  RUJDQLVDWLRQRIFRQFHUWVDQGPXVLFDOSHUIRUPDQFHV
                                                                                     DGYLVRU\VHUYLFHVUHODWLQJWRHQWHUWDLQPHQWQDPHO\
                                                                                     HQWHUWDLQPHQWLQIRUPDWLRQDUUDQJLQJRIHQWHUWDLQPHQW
                                                                                     QDPHO\DUUDQJLQJRIFRQFHUWVDQG PXVLFDO
                                                                                     SHUIRUPDQFHVDUUDQJLQJRIH[KLELWLRQVIRU
                                                                                                                                                    Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 271 of 494 Page ID




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                                        Information
                                                                           HQWHUWDLQPHQWSXUSRVHVDUUDQJLQJRIPXVLF
                                                                           HQWHUWDLQPHQWQDPHO\DUUDQJLQJRIPXVLFDOFRQFHUWV
                                                                           DQGPXVLFDOSHUIRUPDQFHVERRNLQJRIHQWHUWDLQPHQW
                                                                           QDPHO\IDFLOLWDWLQJFRQFHUWDQGHQWHUWDLQPHQWHYHQW
                                                                           ERRNLQJE\SURYLGLQJFRQFHUWDQGHQWHUWDLQPHQWHYHQW
                                                                           ERRNLQJVHUYLFHVGLVVHPLQDWLRQRIHQWHUWDLQPHQW
                                                                           PDWHULDOQDPHO\SURYLGLQJHQWHUWDLQPHQWLQIRUPDWLRQ
                                                                           YLDDZHEVLWHSURYLGLQJDZHEVLWHIHDWXULQJ
                                                                           HQWHUWDLQPHQWLQIRUPDWLRQSURYLGLQJHQWHUWDLQPHQW
                                                                           LQIRUPDWLRQYLDUDGLRWHOHYLVLRQQHZVSDSHUPDJD]LQH
                                                                           SDPSKOHWDQGSRVWHUHQWHUWDLQPHQWQDPHO\SURYLGLQJ
                                                                           HQWHUWDLQPHQWLQIRUPDWLRQDUUDQJLQJRIOLYHPXVLF
                                                                           FRQFHUWVDQGSHUIRUPDQFHVFRQGXFWLQJFRQWHVWV
                                                                           HQWHUWDLQPHQWLQIRUPDWLRQHQWHUWDLQPHQWQDPHO\IDQ
                                                                           FOXEVHUYLFHVLQIRUPDWLRQVHUYLFHVUHODWLQJWR
                                                                           HQWHUWDLQPHQWOLYHHQWHUWDLQPHQWQDPHO\OLYHPXVLF
                                                                           FRQFHUWVOLYHPXVLFDOSHUIRUPDQFHVE\DPXVLFDUWLVW
                                                                           OLYHHQWHUWDLQPHQWSURGXFWLRQVHUYLFHVQDPHO\
                                                                           SURGXFWLRQRIRSHUDVDQGSURGXFWLRQVRISOD\VHYHQW
                                                                                                                                                                             #:2152




                                                                           PDQDJHPHQWVHUYLFHVQDPHO\RUJDQLVDWLRQRI
                                                                           HQWHUWDLQPHQWHYHQWVLQWKHQDWXUHRIFXOWXUDODQGDUWV
                                                                           HYHQWVFRPPXQLW\PXVLFIHVWLYDOVIRUHQWHUWDLQPHQW
                                                                           SXUSRVHVDQGFXOWXUDOHYHQWVDQGVRFLDOHQWHUWDLQPHQW
                                                                           HYHQWVHYHQWPDQDJHPHQWVHUYLFHVQDPHO\
                                                                           RUJDQL]DWLRQRIFXOWXUDOHYHQWVPXVLFDOHQWHUWDLQPHQW
                                                                           VHUYLFHVQDPHO\SUHVHQWDWLRQRIPXVLFSHUIRUPDQFHV
                                                                           OLYHSHUIRUPDQFHVE\DPXVLFDODUWLVWRUEDQGUHFRUGLQJ
                                                                           DQGSURGXFWLRQRIPXVLFDOVRXQGUHFRUGLQJ
                                                                           RUJDQLVDWLRQDQGFRQGXFWLQJRIGDQFHPXVLFDQGRWKHU
                                                                           HQWHUWDLQPHQWIHVWLYDOVRUJDQLVDWLRQRIHQWHUWDLQPHQW
                                                                           FRPSHWLWLRQVQDPHO\HQWHUWDLQPHQWFRQWHVWV
                                                                           RUJDQLVDWLRQRIHQWHUWDLQPHQWHYHQWVQDPHO\
                                                                           RUJDQLVDWLRQRIFXOWXUDOVKRZVRUJDQLVDWLRQRI
                                                                           H[KLELWLRQVIRUPXVLFDOHQWHUWDLQPHQWHQWHUWDLQPHQW
                                                                           HYHQWVRUJDQLVLQJH[KLELWLRQVIRUHQWHUWDLQPHQW
                                                                           SXUSRVHVRUJDQLVLQJHYHQWVIRUHQWHUWDLQPHQW
                                                                           SXUSRVHVQDPHO\RUJDQLVLQJRIGDQFLQJHYHQWV
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                                        Information
                                                                           RUJDQLVLQJFXOWXUDODQGDUWVHYHQWVRUJDQLVLQJRI
                                                                           HQWHUWDLQPHQWQDPHO\RUJDQLVLQJVRFLDOHQWHUWDLQPHQW
                                                                           HYHQWVRUJDQLVLQJILOPIHVWLYDOVIRUHQWHUWDLQPHQW
                                                                           SXUSRVHVRUJDQLVLQJRIHQWHUWDLQPHQWDQGVRFLDO
                                                                           HYHQWVQDPHO\RUJDQLVLQJVRFLDOHQWHUWDLQPHQWHYHQWV
                                                                           SURGXFWLRQRIDXGLRHQWHUWDLQPHQWQDPHO\SURGXFWLRQ
                                                                           RIDXGLRUHFRUGLQJSURGXFWLRQRIUDGLRSURJUDPV
                                                                           SURGXFWLRQRIPXVLFSURYLGLQJIDFLOLWLHVIRU
                                                                           HQWHUWDLQPHQWQDPHO\SURYLGLQJUHFUHDWLRQIDFLOLWLHV
                                                                           SURYLGLQJIDFLOLWLHVIRUPXVLFDOHYHQWVSURYLGLQJ
                                                                           DPXVHPHQWIDFLOLWLHVSURYLGLQJLQIRUPDWLRQLQFOXGLQJ
                                                                           RQOLQHDERXWPXVLFHQWHUWDLQPHQWDQGFXOWXUDO
                                                                           DFWLYLWLHVSURYLVLRQRIHQWHUWDLQPHQWIDFLOLWLHVQDPHO\
                                                                           SURYLGLQJUHFUHDWLRQIDFLOLWLHVSURYLVLRQRIHQWHUWDLQPHQW
                                                                           VHUYLFHVYLDDQRQOLQHIRUXPQDPHO\SURYLGLQJDQ
                                                                           LQWHUQHWZHEVLWHSRUWDOLQWKHILHOGRIPXVLFSURYLGLQJDQ
                                                                           LQWHUQHWZHEVLWHSRUWDOIHDWXULQJOLQNVWRPXVLFDODUWLVWLF
                                                                           ZHEVLWHVDQGPXVLFSHUIRUPDQFHWLFNHWLQIRUPDWLRQ
                                                                           SURYLVLRQRIOLYHHQWHUWDLQPHQWQDPHO\OLYHPXVLF
                                                                                                                                                                                #:2153




                                                                           FRQFHUWVOLYHUDGLRSHUVRQDOLW\SHUIRUPDQFHVUDGLR
                                                                           HQWHUWDLQPHQWQDPHO\HQWHUWDLQPHQWLQWKHQDWXUHRI
                                                                           OLYHUDGLRSHUVRQDOLW\SHUIRUPDQFHVSURYLGLQJDQ
                                                                           RQJRLQJUDGLRSURJUDPLQWKHILHOGRIPXVLFUDGLR
                                                                           HQWHUWDLQPHQWSURGXFWLRQHQWHUWDLQHUVHUYLFHVQDPHO\
                                                                           OLYHWHOHYLVHGDQGPRYLHDSSHDUDQFHVE\DSURIHVVLRQDO
                                                                           HQWHUWDLQHUOLYHPXVLFVHUYLFHVQDPHO\OLYHPXVLF
                                                                           FRQFHUWVOLYHSHUIRUPDQFHVE\DPXVLFDOJURXS
                                                                           SUHVHQWLQJOLYHPXVLFDOSHUIRUPDQFHVPXVLFIHVWLYDO
                                                                           VHUYLFHVQDPHO\RUJDQLVLQJPXVLFIHVWLYDOVIRUFXOWXUDO
                                                                           RUHQWHUWDLQPHQWSXUSRVHVFRQGXFWLQJHQWHUWDLQPHQW
                                                                           H[KLELWLRQVLQWKHQDWXUHRIPXVLFIHVWLYDOVPXVLFKDOO
                                                                           VHUYLFHVPXVLFSHUIRUPDQFHVHUYLFHVQDPHO\
                                                                           SUHVHQWDWLRQRIPXVLFDOSHUIRUPDQFHVOLYH
                                                                           SHUIRUPDQFHVE\DPXVLFDOJURXSPXVLFSXEOLVKHU
                                                                           VHUYLFHVQDPHO\SXEOLFDWLRQRIPXVLFPXVLFSXEOLVKLQJ
                                                                           VHUYLFHVPXVLFUHFRUGLQJVWXGLRVHUYLFHVPXVLFDO
                                                                           SHUIRUPDQFHVHUYLFHVQDPHO\OLYHPXVLFFRQFHUWV
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                                               Information
                                                                                          SUHVHQWDWLRQRIPXVLFDOSHUIRUPDQFHVSURGXFWLRQRI
                                                                                          PXVLFDOUHFRUGLQJVRWKHUWKDQDGYHUWLVLQJSURYLGLQJ
                                                                                          GLJLWDOQRQGRZQORDGDEOHPXVLFIURPWKHLQWHUQHW
                                                                                          QDPHO\HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRI
                                                                                          SURYLGLQJQRQGRZQORDGDEOHSUHUHFRUGHGPXVLF
                                                                                          SXEOLFDWLRQRIPXVLFUHFRUGLQJRIPXVLFFRQFHUW
                                                                                          SHUIRUPDQFHVQDPHO\HQWHUWDLQPHQWLQWKHQDWXUHRI
                                                                                          OLYHPXVLFFRQFHUWVDUUDQJLQJDQGFRQGXFWLQJRIPXVLF
                                                                                          FRQFHUWVVLQJLQJFRQFHUWSHUIRUPDQFHVQDPHO\
                                                                                          SUHVHQWDWLRQRIPXVLFDOVLQJLQJFRQFHUWSHUIRUPDQFHV
                                                                                          HQWHUWDLQPHQWQDPHO\OLYHEDQGSHUIRUPDQFHV
                                                                                          UHFRUGLQJVWXGLRVHUYLFHVSODQQLQJDQGDUUDQJHPHQWRI
                                                                                          PXVLFSHUIRUPDQFHVOLYHVKRZSURGXFWLRQVHUYLFHV
                                                                                          RUJDQLVDWLRQRIPXVLFDOHQWHUWDLQPHQWHYHQWVSODQQLQJ
                                                                                          DQGDUUDQJHPHQWRIPXVLFVKRZVSURGXFWLRQRIPXVLF
                                                                                          VKRZVVRQJZULWLQJVHUYLFHVVRQJZULWLQJSURGXFWLRQ
                                                                                          RIDXGLRUHFRUGLQJVRWKHUWKDQDGYHUWLVLQJ
                                                                                          
                                                                                                                                                                                              #:2154




    40.   86)HGHUDO   ROGUE ONE A STAR       /XFDVILOP/7'      5HJLVWHUHG            ,QW O&ODVV 
          4           WARS STORY            /OF &DOLIRUQLD     1RYHPEHU         SURGXFWLRQSUHVHQWDWLRQGLVWULEXWLRQDQGUHQWDORI
          XI                               /LPLWHG/LDELOLW\                    PRWLRQSLFWXUHILOPVSURGXFWLRQSUHVHQWDWLRQ
                        RN: 5338471            &RPSDQ\             ,QW O&ODVV      GLVWULEXWLRQDQGUHQWDORIVRXQGDQGYLVXDOUHFRUGLQJV
                        SN: 87306958           2QH/HWWHUPDQ       )LUVW8VH           SURGXFWLRQRIOLYHDFWLRQHQWHUWDLQPHQWVKRZVDQG
                        Disclaimer: "STORY"   'ULYH%OGJ%      'HFHPEHU         LQWHUDFWLYHSURJUDPVIRUGLVWULEXWLRQYLDDXGLRDQGYLVXDO
                                              6DQ)UDQFLVFR                        PHGLDDQGHOHFWURQLFPHDQVSURGXFWLRQDQGSURYLVLRQ
                                               &DOLIRUQLD   )LOHG-DQXDU\   RIHQWHUWDLQPHQWQHZVDQGHQWHUWDLQPHQWLQIRUPDWLRQ
                                                                                    YLDFRPPXQLFDWLRQDQGFRPSXWHUQHWZRUNVSURYLGLQJ
                                                                                         HQWHUWDLQPHQWVHUYLFHVYLDDJOREDOFRPPXQLFDWLRQ
                                                                                          QHWZRUNLQWKHQDWXUHRIZHEVLWHVIHDWXULQJDZLGH
                                                                                          YDULHW\RIJHQHUDOLQWHUHVWHQWHUWDLQPHQWLQIRUPDWLRQ
                                                                                          UHODWLQJWRPRWLRQSLFWXUHILOPVPXVLFDOYLGHRVUHODWHG
                                                                                          ILOPFOLSVSKRWRJUDSKVDQGRWKHUPXOWLPHGLDPDWHULDOV
                                                                                          DPXVHPHQWSDUNDQGWKHPHSDUNVHUYLFHVHGXFDWLRQDO
                                                                                          DQGHQWHUWDLQPHQWVHUYLFHVUHQGHUHGLQRUUHODWLQJWR
                                                                                          WKHPHSDUNVQDPHO\OLYHVWDJHVKRZVOLYHDPXVHPHQW
                                                                                          SDUNVKRZVOLYHSHUIRUPDQFHVE\FRVWXPHGFKDUDFWHUV
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                                               Information
                                                                                          DQGSUHVHQWDWLRQRIOLYHWKHDWULFDOSHUIRUPDQFHV
                                                                                          SUHVHQWDWLRQRIOLYHVWDJHVKRZVSUHVHQWDWLRQRIOLYH
                                                                                          VKRZSHUIRUPDQFHVWKHDWHUSURGXFWLRQVHQWHUWDLQHU
                                                                                          VHUYLFHVQDPHO\OLYHDSSHDUDQFHVE\DSURIHVVLRQDO
                                                                                          HQWHUWDLQHU
                                                                                          

    41.   86)HGHUDO   ROGUE PLAY            5RJXH3OD\,QF    5HJLVWHUHG$XJXVW      ,QW O&ODVV 
          4           RN: 4593996              &DOLIRUQLD                     FRPSXWHUJDPHFDUWULGJHVDQGGLVFVFRPSXWHUJDPH
          XI                               &RUS               ,QW O&ODVV   VRIWZDUHFRPSXWHUJDPHVRIWZDUHIRUSHUVRQDO
                        SN: 85946516          3DVWHXU6XLWH    )LUVW8VH0D\   FRPSXWHUVDQGKRPHYLGHRJDPHFRQVROHVFRPSXWHU
                                              ,UYLQH                           JDPHVRIWZDUHIRUXVHRQPRELOHDQGFHOOXODUSKRQHV
                                               &DOLIRUQLD   )LOHG0D\       GRZQORDGDEOHFRPSXWHUJDPHVRIWZDUHYLDDJOREDO
                                                                                    FRPSXWHUQHWZRUNDQGZLUHOHVVGHYLFHVHOHFWURQLF
                                                                                         JDPHVRIWZDUHIRUKDQGKHOGHOHFWURQLFGHYLFHV
                                                                                          HOHFWURQLFJDPHVRIWZDUHIRUZLUHOHVVGHYLFHVYLGHR
                                                                                          JDPHFDUWULGJHVDQGGLVFV
                                                                                            ,QW O&ODVV 
                                                                                          GHVLJQLQJDQGGHYHORSLQJFRPSXWHUJDPHVRIWZDUHDQG
                                                                                                                                                                                          #:2155




                                                                                          YLGHRJDPHVRIWZDUHIRUXVHZLWKFRPSXWHUVYLGHR
                                                                                          JDPHSURJUDPV\VWHPVDQGFRPSXWHUQHWZRUNV
                                                                                          

    42.   86)HGHUDO   ROGUE RATS            5HQHJDGH            5HJLVWHUHG           ,QW O&ODVV 
          4           RN: 4808330            5HGQHFN             6HSWHPEHU GRZQORDGDEOHFRPSXWHUJDPHSURJUDPVJDPH
          XI                               3URGXFWLRQV//&     ,QW O&ODVV    VRIWZDUH
                        SN: 86526136            :DVKLQJWRQ        )LUVW8VH-DQXDU\ 
                                              /LPLWHG/LDELOLW\   
                                               &RPSDQ\             )LOHG)HEUXDU\
                                               3R%R[           
                                               .DKORWXV            
                                               :DVKLQJWRQ
                                               
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    43.   86)HGHUDO   ROGUE RUNNING         5RJXH               5HJLVWHUHG      ,QW O&ODVV 
          4           RN: 3972923            (TXLSPHQW//&       -XO\        DWKOHWLFWUDLQLQJVHUYLFHVSK\VLFDOILWQHVVWUDLQLQJ
          XI                                7H[DV/LPLWHG      ,QW O&ODVV      VHUYLFHV
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                        SN: 85018111           /LDELOLW\           )LUVW8VH0D\   
                        Disclaimer:            &RPSDQ\             
                                               3UHVVOHU6W     )LOHG$SULO
                        "RUNNING"             $XVWLQ7H[DV        
                                                            5HJLVWHUHG-XQH
                                                                   
                                                                    

    44.   86)HGHUDO   ROGUE SQUADRON        /XFDVILOP           5HQHZHG-XQH       ,QW O&ODVV 
          4           RN: 2356054            (QWHUWDLQPHQW                       FRPSXWHUJDPHVRIWZDUHDQGLQVWUXFWLRQPDQXDOV
          XI                               &RPSDQ\/7'        ,QW O&ODVV     GLVWULEXWHGDVDXQLW
                        SN: 75498467          /OF &DOLIRUQLD     )LUVW8VH          
                                              /LPLWHG/LDELOLW\   1RYHPEHU
                                               &RPSDQ\             
                                               2QH/HWWHUPDQ       )LOHG-XQH
                                               'ULYH%OGJ%       5HJLVWHUHG-XQH
                                               6DQ)UDQFLVFR       
                                               &DOLIRUQLD   
                                               
                                                                                                                                                                                                #:2156




    45.   86)HGHUDO   ROGUE STATE           :KHHOHU6FRWW      5HJLVWHUHG-XO\        ,QW O&ODVV 
          4           RN: 4774921              8QLWHG6WDWHV                  SURGXFWLRQDQGGLVWULEXWLRQRIPRWLRQSLFWXUHVSURYLVLRQ
          XI                               &LWL]HQ             ,QW O&ODVV      RILQIRUPDWLRQUHODWLQJWRGLVWULEXWLRQRIWHOHYLVLRQVKRZV
                        SN: 85312551          :HVW           )LUVW8VH-XO\   PRWLRQSLFWXUHILOPDQGUDGLRVKRZVWHOHYLVLRQVKRZ
                                              0DJQROLD%OYG                        SURGXFWLRQWHOHYLVLRQYLGHRDQGPRYLHILOPLQJVHUYLFHV
                                               %XUEDQN             )LOHG0D\   
                                               &DOLIRUQLD   
                                               

    46.   86)HGHUDO   ROGUE SYNAPSE         6LQQHVORVFKHQ      5HQHZHG-DQXDU\      ,QW O&ODVV 
          4           RN: 3052170            //& 7H[DV                     HQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJRQOLQH
          XI                               /LPLWHG/LDELOLW\   ,QW O&ODVV    FRPSXWHUJDPHVDQGRULJLQDODUWZRUN
                        SN: 76564186          &RPSDQ\             )LUVW8VH$XJXVW  
                                              %HYHUO\        
                                               'ULYH'DOODV        )LOHG'HFHPEHU
                                               7H[DV        
                                                                   5HJLVWHUHG
                                                                    -DQXDU\
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    47.   86)HGHUDO   ROGUE TAXIDERMY       0DUEXU\5REHUW    5HJLVWHUHG              ,QW O&ODVV 
          4           RN: 4499714            5 8QLWHG6WDWHV   6XSSOHPHQWDO          SURYLGLQJLQIRUPDWLRQDERXWWKHILHOGRIDUWZRUNXWLOL]LQJ
          XI                               &LWL]HQ            5HJLVWHU0DUFK    WD[LGHUP\DQGWD[LGHUP\UHODWHGPDWHULDOVSURYLGLQJ
                        SN: 85887302           0LGGOHWRQ&W                       ZRUNVKRSVOHFWXUHVDQGFODVVHVLQWKHILHOGRI
                        Disclaimer:            %DOWLPRUH          ,QW O&ODVV       WD[LGHUP\SURYLGLQJRQJRLQJWHOHYLVLRQSURJUDPV
                        "TAXIDERMY"           0DU\ODQG    )LUVW8VH2FWREHU    DERXWWKHOLIHVW\OHVDQGSUDFWLFHVRIWD[LGHUPLVWV
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                                                                   )LOHG0DUFK
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    48.   86)HGHUDO   ROGUE TRIO            .DWKOHHQ6WUDKP    5HJLVWHUHG$SULO        ,QW O&ODVV 
          4           RN: 5180399              8QLWHG6WDWHV                  HQWHUWDLQPHQWQDPHO\OLYHSHUIRUPDQFHVE\DPXVLFDO
          XI                               &LWL]HQ            ,QW O&ODVV       EDQG
                        SN: 87143836           (WK3O    )LUVW8VH$XJXVW     
                        Disclaimer: "TRIO"    7HPSH$UL]RQD      
                                                           )LOHG$XJXVW
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    49.   86)HGHUDO   ROGUE TROOPER         .LQJVOH\          5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5394458            &KULVWRSKHU        )HEUXDU\      FRPSDFWGLVFVGYGVDQGRWKHUGLJLWDOUHFRUGLQJPHGLD
          XI                                 8QLWHG.LQJGRP   )LOHG)HEUXDU\   QDPHO\PSPSIHDWXULQJYLGHRVLQWKHILHOGRIDFWLRQ
                        SN: 87342096          &LWL]HQ                              DGYHQWXUHDQLPDWLRQELRJUDSK\FRPHG\FULPH
                                              5LYHUVLGH                                GRFXPHQWDU\GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\
                                               +RXVH2VQH\                              KRUURUPXVLFPXVLFDOP\VWHU\URPDQFHVFLHQFH
                                               0HDG2[IRUG                               ILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQDQGDXGLRLQWKH
                                               8QLWHG.LQJGRP                           ILHOGRIPXVLFPHFKDQLVPVIRUFRLQRSHUDWHG
                                                                                         DSSDUDWXVFRPSXWHUVRIWZDUHQDPHO\FRPSXWHU
                                                                                          JUDSKLFVVRIWZDUHFRPSXWHURSHUDWLQJVRIWZDUH
                                                                                          FRPSXWHUJDPHVRIWZDUHFRPSXWHUVRIWZDUH
                                                                                          GHYHORSPHQWWRROVPXVLFGLVFVDFWLRQFRPSXWHU
                                                                                          JDPHVFRPSXWHUDFWLRQJDPHVIRUXVHRQDFRQVROH
                                                                                          DFWLRQPRELOHVRIWZDUHJDPHVDFWLRQUROHSOD\LQJ
                                                                                          FRPSXWHUJDPHVDFWLRQUROHSOD\LQJPRELOHVRIWZDUH
                                                                                          JDPHVDFWLRQUROHSOD\LQJVRIWZDUHDFWLRQJDPH
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                                                                           DGYHQWXUHPRELOHVRIWZDUHJDPHVDFWLRQDGYHQWXUH
                                                                           VRIWZDUHDGDSWLYHVRIWZDUHDGYHQWXUHFRPSXWHU
                                                                           JDPHVDGYHQWXUHPRELOHVRIWZDUHJDPHVDGYHQWXUH
                                                                           VRIWZDUHDGYHUJDPHFRPSXWHUJDPHVDGYHUJDPH
                                                                           PRELOHVRIWZDUHJDPHVDGYHUJDPHVRIWZDUH
                                                                           DSSOLFDWLRQVRIWZDUHXVHGIRUFRPSXWHUJDPHV
                                                                           DSSOLFDWLRQVRIWZDUHIRUVRFLDOQHWZRUNLQJVHUYLFHVYLD
                                                                           LQWHUQHWDUFDGHPRELOHVRIWZDUHJDPHVDUWJDPH
                                                                           FRPSXWHUJDPHVDUWJDPHPRELOHVRIWZDUHJDPHVDUW
                                                                           JDPHVRIWZDUHDUWLOOHU\FRPSXWHUJDPHVDUWLOOHU\
                                                                           PRELOHVRIWZDUHJDPHVDVVLVWLYHVRIWZDUHIRUXVHE\
                                                                           WKRVHZLWKGLVDELOLWLHVDXGLRGLVFVIHDWXULQJPXVLFEHDW
                                                                            HP XSFRPSXWHUJDPHVEHDW HP XSPRELOHVRIWZDUH
                                                                           JDPHVELRLQIRUPDWLFVVRIWZDUHELRVVRIWZDUH
                                                                           FRPSXWHUJDPHVERDUGJDPHVRIWZDUHFDUGJDPH
                                                                           FRPSXWHUJDPHVFDUGJDPHPRELOHVRIWZDUHJDPHV
                                                                           FDUGJDPHVRIWZDUHFDVXDOFRPSXWHUJDPHVFDVXDO
                                                                           PRELOHVRIWZDUHJDPHVFDVXDOVRIWZDUHJDPHV
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                                                                           FLQHPDWRJUDSKLFILOPVLQWKHILHOGRIDFWLRQDGYHQWXUH
                                                                           DQLPDWLRQELRJUDSK\FRPHG\FULPHGRFXPHQWDU\
                                                                           GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLF
                                                                           PXVLFDOP\VWHU\URPDQFHVFLHQFHILFWLRQVSRUW
                                                                           WKULOOHUZDUDQGZHVWHUQFRPPXQLFDWLRQVRIWZDUH
                                                                           RQOLQHFRPPXQLW\VRIWZDUHFRPSDFWGLVFVIHDWXULQJ
                                                                           UHDGRQO\PHPRU\PXVLFDXGLRFRPSHWLWLYHFRPSXWHU
                                                                           JDPHVFRPSHWLWLYHPRELOHVRIWZDUHJDPHVFRPSHWLWLYH
                                                                           JDPHVRIWZDUHFRPSLOHUVRIWZDUHXVHGIRUWUDQVIRUPLQJ
                                                                           VRXUFHFRGHLQWRWKHWDUJHWODQJXDJHFRPSXWHU
                                                                           DSSOLFDWLRQVRIWZDUHXVHGIRUFRPSXWHUJDPHV
                                                                           HOHFWURQLFGDWDEDVHLQWKHILHOGRIFRPSXWHUJDPH
                                                                           VRIWZDUHUHFRUGHGRQFRPSXWHUPHGLDFRPSXWHUJDPH
                                                                           GLVFVFRPSXWHUJDPHVVRIWZDUHFRPSXWHUJDPHV
                                                                           FRPSXWHUJDPHVXVHGLQEXVLQHVVFRPSXWHUJDPHV
                                                                           XVHGIRUEXVLQHVVSXUSRVHVFRPSXWHUJDPLQJ
                                                                           VRIWZDUHFRPSXWHUJUDSKLFVVRIWZDUHFRPSXWHU
                                                                           RSHUDWLQJVRIWZDUHFRPSXWHUSURJUDPVXVHGIRU
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                                                                           FRPSXWHUJDPHVGHVLJQFRPSXWHUVRIWZDUHXVHGIRU
                                                                           YLUWXDOUHDOLW\FRPSXWHUWHOHSKRQ\VRIWZDUH
                                                                           FRQVWUXFWLRQRUPDQDJHPHQWVLPXODWLRQFRPSXWHU
                                                                           JDPHVFRQVWUXFWLRQRUPDQDJHPHQWVLPXODWLRQPRELOH
                                                                           VRIWZDUHJDPHVFRQVWUXFWLRQRUPDQDJHPHQW
                                                                           VLPXODWLRQVRIWZDUHFUHGLWVFUHHQLQJVRIWZDUHGDWD
                                                                           FRPPXQLFDWLRQVVRIWZDUHGDWDFRPSUHVVLRQVRIWZDUH
                                                                           GDWDSURFHVVLQJVRIWZDUHGDWDEDVHPDQDJHPHQW
                                                                           VRIWZDUHXVHGLQWKHILHOGRIFRPSXWHUJDPHV
                                                                           GDWDEDVHVRIWZDUHXVHGLQWKHILHOGRIFRPSXWHUJDPHV
                                                                           GHFRGHUVRIWZDUHGLJLWDOYHUVDWLOHGLVFVIHDWXULQJ
                                                                           JDPHVPXVLFYLGHRVVRIWZDUHGRZQORDGDEOH
                                                                           HOHFWURQLFSXEOLFDWLRQVLQWKHQDWXUHRIUHSRUWVERRNV
                                                                           UHYLHZVQHZVDUWLFOHVHVVD\VJXLGHVPDQXDOV
                                                                           SRVWHUVDQGPDJD]LQHVLQWKHILHOGRIFRPSXWHU
                                                                           VRIWZDUHILOPVWHOHYLVLRQDQGFRPSXWHUJDPHV
                                                                           GRZQORDGDEOHPRYLHVLQWKHILHOGRIDFWLRQDGYHQWXUH
                                                                           DQLPDWLRQELRJUDSK\FRPHG\FULPHGRFXPHQWDU\
                                                                           GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLF
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                                                                           PXVLFDOP\VWHU\URPDQFHVFLHQFHILFWLRQVSRUW
                                                                           WKULOOHUZDUDQGZHVWHUQGRZQORDGDEOHYLGHR
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                                                                           QDPHO\UHSRUWVERRNVUHYLHZVQHZVDUWLFOHVHVVD\V
                                                                           JXLGHVPDQXDOVSRVWHUVDQGPDJD]LQHVLQWKHILHOGRI
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                                                                           SUHUHFRUGHGFDVVHWWHVSUHUHFRUGHGFRPSDFWGLVFV
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                                                                           UHFRUGLQJVGRZQORDGDEOHFRPSXWHUVRIWZDUH
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                                                                           H[WHUPLQDWHVRIWZDUHIDFLDODQDO\VLVVRIWZDUHIDFLDO
                                                                           UHFRJQLWLRQVRIWZDUHILJKWLQJFRPSXWHUJDPHVILJKWLQJ
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                                                                           SHUVRQVKRRWHUFRPSXWHUJDPHVILUVWSHUVRQVKRRWHU
                                                                           PRELOHVRIWZDUHJDPHVILUVWSHUVRQVKRRWHUVRIWZDUH
                                                                           JUDQGVWUDWHJ\ZDUJDPHFRPSXWHUJDPHVJUDQG
                                                                           VWUDWHJ\ZDUJDPHPRELOHVRIWZDUHJDPHVJUDQG
                                                                           VWUDWHJ\ZDUJDPHVRIWZDUHLGOHJDPLQJFRPSXWHU
                                                                           JDPHVLGOHJDPLQJPRELOHVRIWZDUHJDPHVLGOH
                                                                           JDPLQJVRIWZDUHLPDJHUHFRJQLWLRQVRIWZDUH
                                                                           LQFUHPHQWDOFRPSXWHUJDPHVLQFUHPHQWDOPRELOH
                                                                           VRIWZDUHJDPHVLQGXVWULDOVRIWZDUHXVHGIRUFUHDWLQJ
                                                                           JDPHVILOPVVRIWZDUHPXVLFDXGLRYLGHRVLQWHUDFWLYH
                                                                           PRYLHFRPSXWHUJDPHVLQWHUDFWLYHPRYLHPRELOH
                                                                           VRIWZDUHJDPHVLQWHUIDFHVRIWZDUHXVHGIRUDOORZLQJ
                                                                           WZRRUPRUHVHSDUDWHFRPSRQHQWVRIDFRPSXWHU
                                                                           V\VWHPWRH[FKDQJHLQIRUPDWLRQLQWHUQHWPHVVDJLQJ
                                                                           VRIWZDUHOLIHVLPXODWLRQFRPSXWHUJDPHVOLIHVLPXODWLRQ
                                                                           PRELOHVRIWZDUHJDPHVOLIHVLPXODWLRQVRIWZDUHJHR
                                                                           ORFDOLVDWLRQVRIWZDUHORJLFFRPSXWHUJDPHVORJLF
                                                                           PRELOHVRIWZDUHJDPHVPDVVLYHO\PXOWLSOD\HURQOLQH
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                                                                           FRPSXWHUJDPHVPDVVLYHO\PXOWLSOD\HURQOLQHPRELOH
                                                                           VRIWZDUHJDPHVPDVVLYHO\PXOWLSOD\HURQOLQHUROH
                                                                           SOD\LQJJDPHVPRELOHJDPHVPHGLDVRIWZDUHXVHGIRU
                                                                           SOD\LQJJDPHVYLGHRVILOPVPXVLFDXGLR
                                                                           PHWURLGYDQLDFRPSXWHUJDPHVPHWURLGYDQLDPRELOH
                                                                           VRIWZDUHJDPHVPHWURLGYDQLDVRIWZDUHPRWLRQSLFWXUHV
                                                                           LQWKHILHOGRIQHZVFXUUHQWDIIDLUVDFWLRQDGYHQWXUH
                                                                           DQLPDWLRQELRJUDSK\FRPHG\FULPHGRFXPHQWDU\
                                                                           GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLF
                                                                           PXVLFDOP\VWHU\URPDQFHVFLHQFHILFWLRQVSRUW
                                                                           WKULOOHUZDUDQGZHVWHUQPXOWLPHGLDVRIWZDUHXVHGIRU
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                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
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                                                                           P\VWHU\URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDU
                                                                           DQGZHVWHUQPXOWLPHGLDVRIWZDUHXVHGIRUQHZV
                                                                           FXUUHQWDIIDLUVDFWLRQDGYHQWXUHDQLPDWLRQELRJUDSK\
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                                                                           UHFRUGLQJPXVLFPXVLFFRPSRVLWLRQVRIWZDUHQRQ
                                                                           YLROHQWFRPSXWHUJDPHVQRQYLROHQWPRELOHVRIWZDUH
                                                                           JDPHVRSHUDWLQJVRIWZDUHSDUW\FRPSXWHUJDPHV
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                                                                           JDPHVSODWIRUPPRELOHVRIWZDUHJDPHVSUHUHFRUGHG
                                                                           FRPSDFWGLVFVDQGSUHUHFRUGHGGLJLWDOYHUVDWLOHGLVFV
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                                                                           FULPHGRFXPHQWDU\GUDPDIDPLO\IDQWDV\ILOPQRLU
                                                                           KLVWRU\KRUURUPXVLFPXVLFDOP\VWHU\URPDQFH
                                                                           VFLHQFHILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQSUH
                                                                           UHFRUGHGGLJLWDOYHUVDWLOHGLVFVIHDWXULQJPXVLFSUH
                                                                           UHFRUGHGGLJLWDOYHUVDWLOHGLVFVIHDWXULQJYLGHRVLQWKH
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                                                                           DQLPDWLRQELRJUDSK\FRPHG\FULPHGRFXPHQWDU\
                                                                           GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLF
                                                                           PXVLFDOP\VWHU\URPDQFHVFLHQFHILFWLRQVSRUW
                                                                           WKULOOHUZDUDQGZHVWHUQSUHUHFRUGHGGLVFVIHDWXULQJ
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                                                                           DGYHQWXUHFRPSXWHUJDPHVUHDOWLPHGDGYHQWXUH
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                                                                           VRIWZDUHUHDOWLPHVWUDWHJ\FRPSXWHUJDPHVUHDOWLPH
                                                                           VWUDWHJ\PRELOHVRIWZDUHJDPHVUHDOWLPHVWUDWHJ\
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                                                                           DIIDLUVDFWLRQDGYHQWXUHDQLPDWLRQELRJUDSK\
                                                                           FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\IDQWDV\
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                                                                           PRELOHVRIWZDUHJDPHVUROHSOD\LQJVRIWZDUHVDQGER[
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                                                                           VFLHQFHVRIWZDUHXVHGIRUHGXFDWLRQDOSXUSRVHVF\EHU
                                                                           VHFXULW\VRIWZDUHVHULRXVFRPSXWHUJDPHVVHULRXV
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                                                                           VRIWZDUHVLGHVFUROOLQJFRPSXWHUJDPHVVLGHVFUROOLQJ
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                                                                           JDPHVVLPXODWLRQVRIWZDUHVLPXODWLRQVRIWZDUH
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                                                                           VRIWZDUHGULYHUVVRIWZDUHIRUJSVQDYLJDWLRQV\VWHPV
                                                                           VRIWZDUHSURJUDPPDEOHPLFURSURFHVVRUVVSHHFK
                                                                           DQDO\WLFVVRIWZDUHVSRUWVFRPSXWHUJDPHVVSRUWV
                                                                           PRELOHVRIWZDUHJDPHVVSRUWVEDVHGILJKWLQJFRPSXWHU
                                                                           JDPHVVSRUWVEDVHGILJKWLQJJDPHVVSRUWVEDVHG
                                                                           ILJKWLQJPRELOHVRIWZDUHJDPHVVSRUWVEDVHGILJKWLQJ
                                                                           VRIWZDUHVWHDOWKFRPSXWHUJDPHVVWHDOWKPRELOH
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                                                                           PRELOHVRIWZDUHJDPHVVWXGHQWVRIWZDUHXVHGIRU
                                                                           HGXFDWLRQSXUSRVHVVXUYLYDOKRUURUFRPSXWHUJDPHV
                                                                           VXUYLYDOKRUURUPRELOHVRIWZDUHJDPHVVXUYLYDOKRUURU
                                                                           VRIWZDUHWDFWLFDOUROHSOD\LQJFRPSXWHUJDPHVWDFWLFDO
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                                                                           VRIWZDUHWDFWLFDOVKRRWHUFRPSXWHUJDPHVWDFWLFDO
                                                                           VKRRWHUPRELOHVRIWZDUHJDPHVWDFWLFDOVKRRWHU
                                                                           VRIWZDUHVRIWZDUHIRUWHDFKHUVWHOHFRPPXQLFDWLRQV
                                                                           VRIWZDUHXVHGIRUSURYLGLQJUHPRWHDFFHVVWRV\VWHPV
                                                                           DQGH[FKDQJHILOHVDQGPHVVDJHVLQWH[WDXGLRDQGRU
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                                                                           WH[WDGYHQWXUHFRPSXWHUJDPHVWH[WDGYHQWXUHPRELOH
                                                                           VRIWZDUHJDPHVWH[WDGYHQWXUHVRIWZDUHWKLUGSHUVRQ
                                                                           VKRRWHUFRPSXWHUJDPHVWKLUGSHUVRQVKRRWHUPRELOH
                                                                           VRIWZDUHJDPHVWKLUGSHUVRQVKRRWHUVRIWZDUHWRZHU
                                                                           GHIHQVHFRPSXWHUJDPHVWRZHUGHIHQVHPRELOH
                                                                           VRIWZDUHJDPHVWUDLQLQJVRIWZDUHXVHGIRUHGXFDWLRQ
                                                                           SXUSRVHVWULYLDFRPSXWHUJDPHVWULYLDPRELOHVRIWZDUH
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                                                                           YHKLFOHVLPXODWLRQVRIWZDUHYLGHRJDPHGLVFVYLGHR
                                                                           JDPHVRIWZDUHYLGHRJDPHVVRIWZDUHYLGHRJDPHV
                                                                           VRIWZDUHYLUWXDOUHDOLW\JDPHVRIWZDUHYLUWXDOUHDOLW\
                                                                           VRIWZDUHXVHGIRUSOD\LQJJDPHVYLVXDOQRYHOFRPSXWHU
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                                                                           VRIWZDUHZDQRSHUDWLQJVRIWZDUHZDUJDPHFRPSXWHU
                                                                           JDPHVZDUJDPHPRELOHVRIWZDUHJDPHVZDUJDPH
                                                                           VRIWZDUHZRUNIORZVRIWZDUHSDUWVWKHUHIRUFRPSDFW
                                                                           GLVFVDQGGLJLWDOYHUVDWLOHGLVFVIHDWXULQJYLGHRVLQWKH
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                                                                           SDPSKOHWVDGYHUWLVLQJSRVWHUVDGYHUWLVLQJSXEOLFDWLRQV
                                                                           QDPHO\SDPSKOHWVSRVWHUVERDUGVIO\HUVDQGVLJQV
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                                                                           ILFWLRQWUDJHG\WUDJLFRPHG\IDQWDV\P\WKRORJ\
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                                                                           ILFWLRQPDQXDOVLQWKHILHOGRIILFWLRQSDPSKOHWVLQWKH
                                                                           ILHOGRIDGYHUWLVLQJFRPLFERRNVFRPLFPDJD]LQHV
                                                                           FRPLFVIDQWDV\ERRNVVHULHVRIILFWLRQERRNV
                                                                           SHULRGLFDOPDJD]LQHVLQWKHILHOGRIFRPSXWHUJDPHV
                                                                           VFLHQFHILFWLRQSHULRGLFDOSXEOLFDWLRQVQDPHO\
                                                                           SDPSKOHWVSRVWHUVEURFKXUHVDGYHUWLVLQJERRNOHWV
                                                                           ERRNVFRPLFVPDJD]LQHVPDQXDOVSHULRGLFDOV
                                                                           QHZVSDSHUVDQGSKRWRJUDSKVLQWKHILHOGRIDFWLRQ
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                                                                           SHULRGLFDOVQHZVSDSHUVDQGSKRWRJUDSKVLQWKHILHOGRI
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                                                                           FRPSXWHUJDPHVWUDGLQJFDUGVERRNVIRUFKLOGUHQ
                                                                           FRORXULQJERRNVVWLFNHUERRNVSHQVSHQFLOVZULWLQJ
                                                                           SDSHUJUHHWLQJVFDUGVVHULHVRIILFWLRQQRYHOVDQG
                                                                           ERRNVFULPHQRYHOVDQGERRNVGHWHFWLYHQRYHOVDQG
                                                                           ERRNVGUDPDQRYHOVDQGERRNVIDEOHQRYHOVDQG
                                                                           ERRNVIDLU\WDOHQRYHOVDQGERRNVIDQILFWLRQQRYHOV
                                                                           DQGERRNVIDQWDV\QRYHOVDQGERRNVIRONORUHQRYHOV
                                                                           DQGERRNVKLVWRULFDOILFWLRQQRYHOVDQGERRNVKRUURU
                                                                           QRYHOVDQGERRNVKXPRXUQRYHOVDQGERRNVOHJHQG
                                                                           QRYHOVDQGERRNVPDJLFDOUHDOLVPQRYHOVDQGERRNV
                                                                           PHWDILFWLRQQRYHOVDQGERRNVP\VWHU\QRYHOVDQG
                                                                           ERRNVP\WKRORJ\QRYHOVDQGERRNVSLFWXUHERRN
                                                                           QRYHOVUHDOLVWLFILFWLRQQRYHOVDQGERRNVVHULHVRI
                                                                           VFLHQFHILFWLRQQRYHOVDQGERRNVVKRUWVWRU\QRYHOVDQG
                                                                           ERRNVLQWKHILHOGRIILFWLRQVXVSHQVHQRYHOVDQGERRNV
                                                                           WKULOOHUQRYHOVDQGERRNVWDOOWDOHQRYHOVDQGERRNV
                                                                           ZHVWHUQQRYHOVDQGERRNVELRJUDSKLHV
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                                                                           DXWRELRJUDSKLHVPHPRLUVSDUWVWKHUHIRU
                                                                            ,QW O&ODVV 
                                                                           JDPHVDQGSOD\WKLQJVQDPHO\DUFDGHJDPHV
                                                                           EDOORRQVERDUGJDPHVFDUGJDPHVGLFHJDPHVGROOV
                                                                           KDQGSXSSHWVQRYHOW\PDVNVSOXVKWR\VSXSSHWV
                                                                           UXEEHUFKDUDFWHUWR\VWR\ZDWFKHVWR\YHKLFOHVWR\
                                                                           PRGHOVWR\JXQVWR\ILJXUHVWR\FDUVWUDGLQJFDUG
                                                                           JDPHVYLGHRJDPHFRQVROHVYLGHRJDPHPDFKLQHV
                                                                           \R\RVERDUGJDPHVFDUGJDPHVFROOHFWDEOHWR\
                                                                           ILJXUHVGROOVGLFHJDPHVHOHFWURQLFERDUGJDPHV
                                                                           JDPHVQDPHO\DUFDGHJDPHVEDOORRQVERDUGJDPHV
                                                                           FDUGJDPHVGLFHJDPHVGROOVKDQGSXSSHWVQRYHOW\
                                                                           PDVNVSOXVKWR\VSXSSHWVUXEEHUFKDUDFWHUWR\VWR\
                                                                           ZDWFKHVWR\YHKLFOHVWR\PRGHOVWR\JXQVWR\ILJXUHV
                                                                           WR\FDUVWUDGLQJFDUGJDPHVYLGHRJDPHFRQVROHV
                                                                           YLGHRJDPHPDFKLQHV\R\RVPRGHOVIRUXVHZLWKUROH
                                                                           SOD\LQJJDPHVSOD\LQJFDUGVVFDOHPRGHOILJXUHV
                                                                           VFDOHPRGHOYHKLFOHVWR\DFWLRQILJXULQHVWR\ILJXUHV
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                                                                           WR\ILJXULQHVWR\PRGHOVWR\VJDPHVSOD\WKLQJVDQG
                                                                           QRYHOWLHVQDPHO\DUFDGHJDPHVEDOORRQVERDUG
                                                                           JDPHVFDUGJDPHVGLFHJDPHVGROOVKDQGSXSSHWV
                                                                           QRYHOW\PDVNVSOXVKWR\VSXSSHWVUXEEHUFKDUDFWHU
                                                                           WR\VWR\ZDWFKHVWR\YHKLFOHVWR\PRGHOVWR\JXQV
                                                                           WR\ILJXUHVWR\FDUVWUDGLQJFDUGJDPHVYLGHRJDPH
                                                                           FRQVROHVYLGHRJDPHPDFKLQHV\R\RVSDUWVWKHUHIRU
                                                                            ,QW O&ODVV 
                                                                           HGXFDWLRQDOVHUYLFHVQDPHO\SURYLGLQJFODVVHV
                                                                           VHPLQDUVZRUNVKRSVOHFWXUHVLQWKHILHOGRIFRPSXWHUV
                                                                           VRIWZDUHFRPSXWHUJDPHVILOPVDQGWHOHYLVLRQ
                                                                           SURJUDPVSURYLGLQJRIWUDLQLQJLQWKHILHOGRIFRPSXWHUV
                                                                           VRIWZDUHFRPSXWHUJDPHVILOPVDQGWHOHYLVLRQ
                                                                           SURJUDPVHQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJ
                                                                           ILOPVLQWKHILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
                                                                           IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDO
                                                                           P\VWHU\URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDU
                                                                           DQGZHVWHUQFRPSXWHUJDPLQJVHUYLFHVSURYLGLQJ
                                                                                                                                                                               #:2168




                                                                           SRGFDVWVLQWKHILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
                                                                           IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDO
                                                                           P\VWHU\URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDU
                                                                           DQGZHVWHUQRUJDQL]LQJVSRUWLQJDQGFXOWXUDODFWLYLWLHV
                                                                           DUUDQJHPHQWRIFRQYHQWLRQVIRUHGXFDWLRQDOSXUSRVHV
                                                                           DUUDQJHPHQWRIFRQYHQWLRQVIRUUHFUHDWLRQDOSXUSRVHV
                                                                           DUUDQJLQJRIFRPSHWLWLRQVYLDWKHLQWHUQHWDUUDQJLQJRI
                                                                           FRQYHQWLRQVIRUFXOWXUDOSXUSRVHVDUUDQJLQJRI
                                                                           FRQYHQWLRQVIRUHQWHUWDLQPHQWSXUSRVHVDUUDQJLQJ
                                                                           RUJDQL]LQJRUFRQGXFWLQJRIFRQYHQWLRQVFRQIHUHQFHV
                                                                           V\PSRVLXPVVHPLQDUVOHFWXUHVVRFLDOVDQGSDUWLHVIRU
                                                                           HGXFDWLRQDODQGHQWHUWDLQPHQWSXUSRVHVHQWHUWDLQPHQW
                                                                           VHUYLFHVLQWKHQDWXUHRIDUUDQJLQJVRFLDOHQWHUWDLQPHQW
                                                                           HYHQWVERRNSXEOLVKLQJHOHFWURQLFSXEOLVKLQJQDPHO\
                                                                           SDPSKOHWVEURFKXUHVDGYHUWLVLQJERRNOHWVERRNV
                                                                           PDJD]LQHVPDQXDOVDQGSHULRGLFDOVLQWKHILHOGRI
                                                                           DFWLRQDGYHQWXUHDQLPDWLRQELRJUDSK\FRPHG\
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                                                                           KLVWRU\KRUURUPXVLFPXVLFDOP\VWHU\URPDQFH
                                                                           VFLHQFHILFWLRQVSRUWWKULOOHUZDUDQGZHVWHUQ
                                                                           H[KLELWLRQGLVWULEXWLRQDQGSURGXFWLRQRIILOPV
                                                                           LQWHUDFWLYHHQWHUWDLQPHQWLQWKHQDWXUHRIRQOLQH
                                                                           FRPSXWHUJDPHVPXVLFDQGILOPVLQWHUDFWLYH
                                                                           HQWHUWDLQPHQWLQWKHQDWXUHRIRQOLQHWHOHYLVLRQ
                                                                           SURJUDPVLQWKHILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
                                                                           IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDO
                                                                           P\VWHU\URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDU
                                                                           DQGZHVWHUQPDJD]LQHSXEOLVKLQJPRWLRQSLFWXUH
                                                                           SURGXFWLRQPXOWLPHGLDHQWHUWDLQPHQWVRIWZDUH
                                                                           SXEOLVKLQJVHUYLFHVRUJDQL]DWLRQRIFRPSHWLWLRQVRU
                                                                           DZDUGVIRUHGXFDWLRQDOSXUSRVHVRUJDQL]DWLRQRIVSRUWV
                                                                           FRPSHWLWLRQVRUJDQL]DWLRQRIFRQIHUHQFHVH[KLELWLRQV
                                                                           RUFRPSHWLWLRQVIRUHGXFDWLRQDOSXUSRVHVRUJDQL]DWLRQ
                                                                           RIHQWHUWDLQPHQWFRPSHWLWLRQVLQWKHQDWXUHRIFRPSXWHU
                                                                           JDPHVFRPSHWLWLRQVRUJDQL]DWLRQRIUHFUHDWLRQDO
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                                                                           FRPSHWLWLRQVSKRWRJUDSK\VHUYLFHVSXEOLVKLQJRI
                                                                           SULQWHGPDWWHUQDPHO\SDPSKOHWVEURFKXUHV
                                                                           DGYHUWLVLQJERRNOHWVERRNVPDJD]LQHVPDQXDOVDQG
                                                                           SHULRGLFDOVLQWKHILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
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                                                                           DQGZHVWHUQVRIWZDUHSXEOLVKLQJVHUYLFHVLQWKHILHOGRI
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                                                                           ERRNVDQGPDJD]LQHVWHOHYLVLRQSURJUDPPH
                                                                           SURGXFWLRQHGLWLQJRIWHOHYLVLRQSURJUDPPHV
                                                                           SURGXFWLRQRIWHOHYLVLRQSURJUDPPHVSURGXFWLRQRI
                                                                           HQWHUWDLQPHQWLQWKHIRUPRIDWHOHYLVLRQVHULHV
                                                                           WHOHYLVLRQVKRZSURGXFWLRQWHOHYLVLRQHQWHUWDLQPHQW
                                                                           VHUYLFHVQDPHO\SURYLGLQJRQJRLQJWHOHYLVLRQVKRZV
                                                                           DQGILOPVLQWKHILHOGRIDFWLRQDGYHQWXUHDQLPDWLRQ
                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
                                                                           IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDO
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                                                                           DQGZHVWHUQWHOHYLVLRQSURJUDPSURGXFWLRQUDGLRDQG
                                                                           WHOHYLVLRQHQWHUWDLQPHQWQDPHO\WKHSURYLVLRQRI
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                                                                           DGYHQWXUHDQLPDWLRQELRJUDSK\FRPHG\FULPH
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                                                                           KRUURUPXVLFPXVLFDOP\VWHU\URPDQFHVFLHQFH
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                                                                           WHOHYLVLRQILOPVILOPHGLWLQJILOPVWXGLRVILOPSURGXFWLRQ
                                                                           ILOPGLVWULEXWLRQYLGHRHGLWLQJYLGHRSURGXFWLRQ
                                                                           VFULSWZULWLQJVHUYLFHVIRUQRQDGYHUWLVLQJSXUSRVHV
                                                                           VFUHHQSOD\ZULWLQJZULWLQJVFUHHQSOD\VSURGXFWLRQRIWY
                                                                           VKRZVYLGHRDQGGYGILOPSURGXFWLRQSURYLVLRQRIQRQ
                                                                           GRZQORDGDEOHILOPVLQWKHJHQUHRIDFWLRQDGYHQWXUH
                                                                           DQLPDWLRQELRJUDSK\FRPHG\FULPHGRFXPHQWDU\
                                                                           GUDPDIDPLO\IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLF
                                                                           PXVLFDOP\VWHU\URPDQFHVFLHQFHILFWLRQVSRUW
                                                                           WKULOOHUZDUDQGZHVWHUQQRWGRZQORDGDEOHSURYLGLQJ
                                                                           ILOPVLQWKHJHQUHRIDFWLRQDGYHQWXUHDQLPDWLRQ
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                                                                           ELRJUDSK\FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\
                                                                           IDQWDV\ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDO
                                                                           P\VWHU\URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDU
                                                                           DQGZHVWHUQQRWGRZQORDGDEOHYLDYLGHRRQGHPDQG
                                                                           WUDQVPLVVLRQVHUYLFHVPRYLHVWXGLRVHUYLFHV
                                                                           SURGXFWLRQRIOLYHWHOHYLVLRQSURJUDPPHVFLQHPD
                                                                           HQWHUWDLQPHQWQDPHO\FLQHPDWKHDWUHVFLQHPDVWXGLR
                                                                           VHUYLFHVQRQGRZQORDGDEOHHOHFWURQLFSXEOLFDWLRQVLQ
                                                                           WKHQDWXUHRIDFWLRQDGYHQWXUHDQLPDWLRQELRJUDSK\
                                                                           FRPHG\FULPHGRFXPHQWDU\GUDPDIDPLO\IDQWDV\
                                                                           ILOPQRLUKLVWRU\KRUURUPXVLFPXVLFDOP\VWHU\
                                                                           URPDQFHVFLHQFHILFWLRQVSRUWWKULOOHUZDUDQG
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                                                                           GRZQORDGDEOHPDVVLYHO\PXOWLSOD\HURQOLQHUHDOWLPH
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                                                                                            VWUDWHJ\PRELOHJDPHVPDVVLYHO\PXOWLSOD\HURQOLQH
                                                                                            UHDOWLPHVWUDWHJ\VRIWZDUHPDVVLYHO\PXOWLSOD\HURQOLQH
                                                                                            UROHSOD\LQJJDPHVFRQVROHJDPHVPDVVLYHO\
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                                                                                            RQOLQHEDWWOHDUHQDFRPSXWHUJDPHVPXOWLSOD\HURQOLQH
                                                                                            EDWWOHDUHQDFRQVROHJDPHVPXOWLSOD\HURQOLQHEDWWOH
                                                                                            DUHQDJDPHVPXOWLSOD\HURQOLQHEDWWOHDUHQDPRELOH
                                                                                            JDPHVPXOWLSOD\HURQOLQHEDWWOHDUHQDVRIWZDUH
                                                                                            LQIRUPDWLRQFRQVXOWDQF\RUDGYLVRU\VHUYLFHVUHODWLQJWR
                                                                                            WKHDIRUHVDLG
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    50.   86)HGHUDO   ROGUE WAVE            /$/RXYHU         5HJLVWHUHG         ,QW O&ODVV 
          4           RN: 3941360            *DOOHU\,QF       -XQH          DUWJDOOHULHV
          XI                                 &DOLIRUQLD        ,QW O&ODVV       ,QW O&ODVV 
                        SN: 77780045          &RUS               )LUVW8VH-XQH    HGXFDWLRQDODQGHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                              1RUWK9HQLFH                        SUHVHQWLQJVHPLQDUVOHFWXUHVVFUHHQLQJVDQG
                                               %RXOHYDUG           )LOHG-XO\        H[KLELWLRQVLQWKHILHOGRIDUWDQGDUWDSSUHFLDWLRQ
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                                                             5HJLVWHUHG$SULO
                                                                   
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    51.   86)HGHUDO   ROGUE WAVE            6FKZDUW]=DFK      5HQHZHG$XJXVW           ,QW O&ODVV 
          4           RN: 3663131              8QLWHG6WDWHV                     PXVLFDOVRXQGUHFRUGLQJVSUHUHFRUGHGFGVIHDWXULQJ
          XI                               &LWL]HQ             ,QW O&ODVV        PXVLF
                        SN: 77628635          &2&RXQVHO         )LUVW8VH$XJXVW        ,QW O&ODVV 
                                              //3                            HQWHUWDLQPHQWLQWKHQDWXUHRIOLYHPXVLFDO
                                               &DOLIRUQLD6W      ,QW O&ODVV        SHUIRUPDQFHVE\DQLQGLYLGXDOPXVLFLDQHLWKHUDORQHRU
                                               6WH6DQ        )LUVW8VH             DVSDUWRIDPXVLFDOJURXS
                                               )UDQFLVFR           6HSWHPEHU          
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52.   86)HGHUDO   ROGUE WAVE            5RJXH:DYH          5HQHZHG              ,QW O&ODVV
      4           RN: 1734538           6RIWZDUH,QF      1RYHPEHU        FRPSXWHUVRIWZDUHXVHGIRUFUHDWLRQRIRWKHUFRPSXWHU
      XI                               'HODZDUH                            SURJUDPV
                   SN: 74245887          &RUS                ,QW O&ODVV
                                         :HVW           )LUVW8VH
                                         &HQWXU\'ULYH      1RYHPEHU
                                         6XLWH           
                                         /RXLVYLOOH          )LOHG)HEUXDU\
                                         &RORUDGR      
                                                              5HJLVWHUHG
                                                              1RYHPEHU
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53.   86)HGHUDO   52*8(:$9(DQG       /$/RXYHU         5HJLVWHUHG        ,QW O&ODVV
      4           'HVLJQ                *DOOHU\,QF       -XQH           DUWJDOOHULHV
      XI                               &DOLIRUQLD         ,QW O&ODVV       ,QW O&ODVV
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                                         &RUS                )LUVW8VH-XQH    HGXFDWLRQDODQGHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                         1RUWK9HQLFH                         SUHVHQWLQJVHPLQDUVOHFWXUHVVFUHHQLQJVDQG
                                         %RXOHYDUG           )LOHG-XO\        H[KLELWLRQVLQWKHILHOGRIDUWDQGDUWDSSUHFLDWLRQ
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                   61


54.   86)HGHUDO   52*8(:$9(62)7   5RJXH:DYH          5HQHZHG-DQXDU\         ,QW O&ODVV
      4           :$5(DQG'HVLJQ    6RIWZDUH,QF                      FRPSXWHUVRIWZDUHXVHGIRUWKHFUHDWLRQRIRWKHU
      XI                               'HODZDUH           ,QW O&ODVV         FRPSXWHUSURJUDPV
                                         &RUS                )LUVW8VH$SULO
                                         :HVW           
                                         &HQWXU\'ULYH      )LOHG-XQH
                                         6XLWH           
                                         /RXLVYLOOH          5HJLVWHUHG
                                         &RORUDGR      -DQXDU\
                   51
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55.   86)HGHUDO   ROGUE WIZARDS             6SHOOELQG           5HJLVWHUHG            ,QW O&ODVV
      4           RN: 5095796               6WXGLRV//&         'HFHPEHU      GRZQORDGDEOHFRPSXWHUJDPHSURJUDPVGRZQORDGDEOH
      XI                                   &DOLIRUQLD         ,QW O&ODVV       PRELOHDSSOLFDWLRQVIRUFRPSXWHUJDPLQJYLGHRJDPH
                   SN: 86158405              /LPLWHG/LDELOLW\   )LUVW8VH           FDUWULGJHVDQGGLVFV
                                             &RPSDQ\              6HSWHPEHU
                                             0RVV6W8QLW    
                                             6DQ              )LOHG-DQXDU\
                                             )UDQFLVFR           
                                             &DOLIRUQLD


56.   86)HGHUDO   52*8(<2*,DQG           -XOLH7UDQ%XRUQ    5HJLVWHUHG            ,QW O&ODVV
      4           'HVLJQ                     8QLWHG6WDWHV      )HEUXDU\     JUDSKLFWVKLUWVVZHDWSDQWV\RJDSDQWV\RJDVKLUWV
      XI                                  &LWL]HQ              ,QW O&ODVV    DWKOHWLFWRSVDQGERWWRPVIRU\RJD
                                             $VKWRQ$YH     )LUVW8VH0D\    ,QW O&ODVV
                                                                                                                                                                                         #:2173




                                             6DQ)UDQFLVFR                         \RJDLQVWUXFWLRQ
                                             &DOLIRUQLD    )LOHG-XQH
                                                                  




                   51
                   61
                   'LVFODLPHU<2*,)25
                   ,17(51$7,21$/&/$66
                   


57.   86)HGHUDO   ROGUEARTBYME              5RJXHDUWE\PH       5HJLVWHUHG            ,QW O&ODVV
      4           RN: 4866774               (OHQD               'HFHPEHU      DUWSULQWV
      XI                                  )HUQDQGH]8VD      ,QW O&ODVV     ,QW O&ODVV
                   SN: 86618366               1HYDGD6ROH        )LUVW8VH-XQH   HGXFDWLRQDOVHUYLFHVQDPHO\FRQGXFWLQJFODVVHVLQWKH
                                                                                                                                                      Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 293 of 494 Page ID




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                                               Information
                                              3URSULHWRUVKLS                       ILHOGRIDUW
                                               (         )LOHG0D\       
                                               +RQGXUDV3O     
                                               1RUWK/DV9HJDV
                                               1HYDGD
                                               

    58.   86)HGHUDO   ROGUEBLOCK            7KH,QWHUQDWLRQDO   5HJLVWHUHG0D\      ,QW O&ODVV 
          4           RN: 4525968            $QWLFRXQWHUIHLWLQ                     VHFXUHRQOLQHSRUWDOWKDWIDFLOLWDWHVWKHVDIHIORZRI
          XI                               J&RDOLWLRQ,QF   ,QW O&ODVV   LQIRUPDWLRQIURPLSULJKWVKROGHUVWRGHVLJQDWHG
                        SN: 86149174            1HZ<RUN          )LUVW8VH           JRYHUQPHQWDOHQIRUFHPHQWDJHQFLHVDQGFUHGLWFDUG
                                              &RUS               'HFHPEHU         DQGSD\PHQWSURFHVVLQJQHWZRUNVPHUFKDQWV
                                               6XLWH                        ,QW O&ODVV 
                                               06WUHHW1Z         )LOHG'HFHPEHU      KRVWLQJHYHQWVWRHGXFDWHSD\PHQWLQGXVWU\SHUVRQQHO
                                               :DVKLQJWRQ                       RQWKHULVNVDVVRFLDWHGZLWKWDNLQJRQFRXQWHUIHLW
                                               'LVWULFWRI                              PHUFKDQWV
                                               &ROXPELD                           
                                               
                                                                                                                                                                                              #:2174




    59.   86)HGHUDO   ROGUEFLIX             5RNYX//&           5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5116746              &DOLIRUQLD        -DQXDU\     HQWHUWDLQPHQWLQIRUPDWLRQHQWHUWDLQPHQWVHUYLFHV
          XI                               /LPLWHG/LDELOLW\   ,QW O&ODVV      QDPHO\SURYLGLQJDZHEVLWHIHDWXULQJSKRWRJUDSKLF
                        SN: 85651390          &RPSDQ\             )LUVW8VH-XQH   DXGLRYLGHRDQGSURVHSUHVHQWDWLRQVIHDWXULQJ
                                              (&RORUDGR                      HQWHUWDLQPHQWLQIRUPDWLRQQHZVDQGFRPPHQWDU\
                                               %OYG6XLWH   )LOHG-XQH      UHJDUGLQJWKHDUWVHQWHUWDLQPHQWVSRUWVDQGWKH
                                               3DVDGHQD                             PHGLDHQWHUWDLQPHQWVHUYLFHVQDPHO\SURYLGLQJRQ
                                               &DOLIRUQLD                        OLQHUHYLHZVRIPRYLHVILOPDQGYLGHRSURGXFWLRQ
                                                                                         PRWLRQSLFWXUHILOPSURGXFWLRQSK\VLFDOILWQHVV
                                                                                          LQVWUXFWLRQSURYLGLQJDZHEVLWHIHDWXULQJLQIRUPDWLRQRQ
                                                                                          H[HUFLVHDQGILWQHVVSURYLGLQJDZHEVLWHIHDWXULQJQRQ
                                                                                          GRZQORDGDEOHLQVWUXFWLRQDOYLGHRVLQWKHILHOGRIPDUWLDO
                                                                                          DUWVSURYLGLQJDZHEVLWHWKDWIHDWXUHVLQIRUPDO
                                                                                          LQVWUXFWLRQRQVHOIGHIHQVHSURYLGLQJDZHEVLWH
                                                                                          IHDWXULQJHQWHUWDLQPHQWLQIRUPDWLRQSURYLGLQJ
                                                                                          HQWHUWDLQPHQWLQIRUPDWLRQYLDDZHEVLWHSURYLGLQJ
                                                                                          LQIRUPDWLRQRQSK\VLFDOH[HUFLVHSURYLGLQJLQIRUPDWLRQ
                                                                                          QHZVDQGFRPPHQWDU\LQWKHILHOGRIHQWHUWDLQPHQW
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                                               Information
                                                                                           UHQWDORIPRWLRQSLFWXUHVUHQWDORISUHUHFRUGHGYLGHRV
                                                                                           WKDWPD\EHGRZQORDGHGIURPDQLQWHUQHWZHEVLWH
                                                                                           

    60.   86)HGHUDO   ROGUE-ONE             6RQLF)DFWLRQ      5HJLVWHUHG-XO\      ,QW O&ODVV 
          4           RN: 5505698            //& &DOLIRUQLD                       FRPSXWHUVRIWZDUHIRUJHQHUDWLQJPXVLFDQGVRXQGV
          XI                               /LPLWHG/LDELOLW\   ,QW O&ODVV       
                        SN: 86508781          &RPSDQ\             )LUVW8VH-DQXDU\
                                              1RUWK/D       
                                               %UHD+ROO\ZRRG      )LOHG-DQXDU\
                                               &DOLIRUQLD   
                                                                   

    61.   86)HGHUDO   ROGUES                6XSHUVFLHQFH       $OORZHG,QWHQWWR     ,QW O&ODVV 
          4           SN: 87882352          //& 5KRGH          8VHVW([WHQVLRQ     (QWHUWDLQPHQWVHUYLFHVQDPHO\RQOLQHFRPSXWHU
          XI                              ,VODQG/LPLWHG      RI7LPH*UDQWHG       JDPHV
                                               /LDELOLW\           -DQXDU\      
                                               &RPSDQ\             )LOHG$SULO
                                               $OWLHUL:D\       
                                                                                                                                                                                             #:2175




                                               :DUZLFN5KRGH       
                                               ,VODQG
                                               

    62.   86)HGHUDO   ROGUES AMONG US 0HDQV               5HJLVWHUHG                   ,QW O&ODVV 
          4           RN: 5407679      -RQDWKDQ             )HEUXDU\          HQWHUWDLQPHQWLQIRUPDWLRQVHUYLFHVQDPHO\SURYLGLQJ
          XI                          8QLWHG6WDWHV       ,QW O&ODVV            LQIRUPDWLRQDQGQHZVUHOHDVHVDERXWDPXVLFDODUWLVW
                        SN: 87625306    &LWL]HQ              )LUVW8VH                 OLYHSHUIRUPDQFHVE\DPXVLFDOJURXSHQWHUWDLQPHQW
                                              'DZVRQ    'HFHPEHU               VHUYLFHVQDPHO\SURYLGLQJQRQGRZQORDGDEOH
                                               &UHHN'ULYH                           SUHUHFRUGHGPXVLFLQIRUPDWLRQLQWKHILHOGRIPXVLF
                                               3DVDGHQD7H[DV )LOHG6HSWHPEHU           DQGFRPPHQWDU\DQGDUWLFOHVDERXWPXVLFDOORQOLQH
                                                                           YLDDJOREDOFRPSXWHUQHWZRUNHQWHUWDLQPHQWQDPHO\
                                                                                         OLYHSHUIRUPDQFHVE\DPXVLFDOEDQG
                                                                                           

    63.   86)HGHUDO   ROGUESCALAR           6WRYHU%HQ)     5HJLVWHUHG             ,QW O&ODVV 
          4           RN: 5072999            'ED                 1RYHPEHU      LQWHUDFWLYHJDPHVRIWZDUH
          XI                               5RJXHVFDODU         ,QW O&ODVV     ,QW O&ODVV 
                        SN: 86955100           8QLWHG6WDWHV      )LUVW8VH0D\    VRIWZDUHDXWKRULQJFRPSXWHUVRIWZDUHGHYHORSPHQW
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                                            &LWL]HQ              
                                            $SW         )LOHG0DUFK
                                            %HQHGHWWL'U        
                                            1DSHUYLOOH,OOLQRLV
                                            


64.   86)HGHUDO   52*8(:$9(               5RJXH:DYH         5HJLVWHUHG$SULO      ,QW O&ODVV
      4           62)7:$5(DQG'HVLJQ      6RIWZDUH,QF                   &RPSXWHUHGXFDWLRQWUDLQLQJQDPHO\WUDLQLQJVHUYLFHV
      XI                                  'HODZDUH          ,QW O&ODVV       LQWKHILHOGRIRSHQVRXUFHSURMHFWVVRIWZDUH
                                            &RUS               )LUVW8VH$SULO    DSSOLFDWLRQSURJUDPPLQJLQWHUIDFH $3, ZHEVLWHDQG
                                            :HVW                            HQWHUSULVHV\VWHPVGHYHORSPHQWDQGLPSOHPHQWDWLRQ
                                            &HQWXU\'ULYH     )LOHG2FWREHU   DQGSUHSDUDWLRQIRUFRPSXWHUFHUWLILFDWLRQWHVWLQJ
                   51              6XLWH                            HGXFDWLRQDOVHUYLFHVQDPHO\SURYLGLQJWUDLQLQJYLD
                   61             /RXLVYLOOH                               QRQGRZQORDGDEOHZHELQDUVDQGLQSHUVRQZRUNVKRSV
                   'LVFODLPHU62)7:$5(   &RORUDGR                           LQWKHILHOGRIRSHQVRXUFHVRIWZDUHDSSOLFDWLRQ
                                                                                      SURJUDPPLQJLQWHUIDFH $3, PDQDJHPHQWVRIWZDUH
                                                                                      DSSOLFDWLRQVHFXULW\GDWDYLVXDOL]DWLRQDQGVWDQGDUGV
                                                                                      FRPSOLDQFH
                                                                                                                                                                                         #:2176




65.   86)HGHUDO   52*8(:$9(               5RJXH:DYH         5HJLVWHUHG$SULO      ,QW O&ODVV
      4           62)7:$5(DQG'HVLJQ      6RIWZDUH,QF                   FRPSXWHUVRIWZDUHGHYHORSPHQWWRROVFRPSXWHU
      XI                                   'HODZDUH          ,QW O&ODVV       VRIWZDUHIRUFRPSXWHUV\VWHPDQGDSSOLFDWLRQ
                                            &RUS               )LUVW8VH$SULO    GHYHORSPHQWGHSOR\PHQWDQGPDQDJHPHQWFRPSXWHU
                                            :HVW                            VRIWZDUHIRUWKHLPSRUWDWLRQPDQLSXODWLRQYLVXDOL]DWLRQ
                                            &HQWXU\'ULYH     )LOHG2FWREHU   LQWKHQDWXUHRIJUDSKLFDOUHSUHVHQWDWLRQDQGDQDO\VLV
                   51              6XLWH                            RIEXVLQHVVLQIRUPDWLRQIRUWKHGHYHORSPHQWDQG
                   61             /RXLVYLOOH                               SURJUDPPLQJRIVRIWZDUHFRPSXWHUVRIWZDUH
                   'LVFODLPHU62)7:$5(   &RORUDGR                           GRZQORDGDEOHIRUGHEXJJLQJFRGHFRPSXWHUVRIWZDUH
                                                                                      IRUYLVXDOL]DWLRQLQWKHQDWXUHRIJUDSKLFDO
                                                                                      UHSUHVHQWDWLRQDQGDQDO\VLVRIEXVLQHVVLQIRUPDWLRQIRU
                                                                                      WKHGHYHORSPHQWRIVRIWZDUHXVHULQWHUIDFHV


66.   86)HGHUDO   52*8(:$9(               5RJXH:DYH         5HJLVWHUHG$SULO      ,QW O&ODVV
      4           62)7:$5(DQG'HVLJQ      6RIWZDUH,QF                   6RIWZDUHDVDVHUYLFH 6$$6 VHUYLFHVIHDWXULQJ
      XI                                  'HODZDUH          ,QW O&ODVV       VRIWZDUHIRU:HEVLWHGHYHORSPHQWDQGDUFKLWHFWXUHDQG
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                                            &RUS             )LUVW8VH$SULO    HQWHUSULVHV\VWHPPLJUDWLRQ&RPSXWHUVRIWZDUHGHVLJQ
                                            :HVW                          3URYLGLQJRQOLQHQRQGRZQORDGDEOHVRIWZDUHIRU
                                            &HQWXU\'ULYH   )LOHG2FWREHU   FRPSXWHUVRIWZDUHV\VWHPDQGDSSOLFDWLRQVRIWZDUH
                   51              6XLWH                          GHYHORSPHQWGHSOR\PHQWDQGPDQDJHPHQWFRPSXWHU
                   61             /RXLVYLOOH                             VRIWZDUHGHYHORSPHQWDQGSURJUDPPLQJIRURWKHUV
                   'LVFODLPHU62)7:$5(   &RORUDGR                         GHEXJJLQJFRPSXWHUVRIWZDUHIRURWKHUV,QWHUQHWEDVHG
                                                                                    DSSOLFDWLRQVHUYLFHSURYLGHUQDPHO\GHVLJQLQJKRVWLQJ
                                                                                    PDQDJLQJGHYHORSLQJDQDO\]LQJDQGPDLQWDLQLQJWKH
                                                                                    ,7LQIUDVWUXFWXUHVRIWZDUHDSSOLFDWLRQVVRIWZDUH
                                                                                    GHYHORSPHQWSURFHVVDSSOLFDWLRQSURJUDPPLQJ
                                                                                    LQWHUIDFHV $3,V DQGZHEVLWHVRIRWKHUV6RIWZDUHDVD
                                                                                    VHUYLFH 6$$6 VHUYLFHVIHDWXULQJVRIWZDUHIRUORFDWLQJ
                                                                                    PDQDJLQJGLDJQRVLQJDQGFRUUHFWLQJFRGLQJHUURUV
                                                                                    DQDO\]LQJPDQDJLQJDQGDXGLWLQJVRIWZDUHDQG
                                                                                    VRIWZDUHFRGHFRPSXWHUVRIWZDUHFRQVXOWLQJFRPSXWHU
                                                                                    VHFXULW\FRQVXOWDQF\&RPSXWHUVHFXULW\FRQVXOWDQF\
                                                                                    QDPHO\GDWDDQGVRIWZDUHDSSOLFDWLRQVHFXULW\
                                                                                    FRQVXOWDQF\&RPSXWHUVRIWZDUHFRQVXOWDQF\LQWKHILHOG
                                                                                    RIDSSOLFDWLRQSURJUDPPLQJLQWHUIDFH $3, VRIWZDUH
                                                                                                                                                                                       #:2177




                                                                                    &RPSXWHUVRIWZDUHFRQVXOWLQJQDPHO\RSHQVRXUFH
                                                                                    DXGLWVDQGVRIWZDUHFRGHDQDO\VLV'HVLJQ
                                                                                    GHYHORSPHQWDQGLPSOHPHQWDWLRQRIVRIWZDUHQDPHO\
                                                                                    WKHGHYHORSPHQWDQGGHOLYHU\RIWKHVRIWZDUH
                                                                                    DSSOLFDWLRQVZHEEDVHGVRIWZDUHDSSOLFDWLRQV
                                                                                    DSSOLFDWLRQSURJUDPPLQJLQWHUIDFHV $3, V DQG
                                                                                    EXVLQHVVDSSOLFDWLRQVRIRWKHUVDQGDUFKLWHFWXUHDQG
                                                                                    HQWHUSULVHV\VWHPPLJUDWLRQFRPSXWHUVRIWZDUH
                                                                                    FRQVXOWDQF\LQWKHILHOGRIDSSOLFDWLRQSURJUDPPLQJ
                                                                                    LQWHUIDFH $3, VRIWZDUHFRPSXWHUWHFKQLFDOVXSSRUW
                                                                                    VHUYLFHVQDPHO\WURXEOHVKRRWLQJFRPSXWHUVRIWZDUH
                                                                                    SUREOHPVLQWKHQDWXUHRI,7LQIUDVWUXFWXUHRSHUDWLQJ
                                                                                    V\VWHPVGDWDEDVHV\VWHPVDQGZHEDSSOLFDWLRQV


67.   86)HGHUDO   SAVOR THE ROGUE          3DODFH            5HQHZHG-XO\     ,QW O&ODVV
      4           RN: 2966757              ,QGXVWULHV3XEOLF                  HQWHUWDLQPHQWLQWKHQDWXUHRIIRRGDQGZLQHWDVWLQJ
      XI                                %HQHILW           ,QW O&ODVV      HYHQWV
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                                              &RUSRUDWLRQ         )LUVW8VH-DQXDU\ 
                                                 'HODZDUH          
                                               &RUS               )LOHG)HEUXDU\
                                               1RUWK)URQW     
                                               6WUHHW&HQWUDO      5HJLVWHUHG-XO\
                                               3RLQW2UHJRQ        
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    68.   86)HGHUDO   SPACE ROGUE           /LPLWHG/LDELOLW\   5HJLVWHUHG           ,QW O&ODVV 
          4           RN: 4680322            &RPSDQ\5HG        )HEUXDU\   FRPSXWHUVRIWZDUHUHFRUGHGIRUXVHLQDXWKRULQJ
          XI                              %HDW 8NUDLQH      )LOHG'HFHPEHU    GRZQORDGLQJWUDQVPLWWLQJUHFHLYLQJHGLWLQJH[WUDFWLQJ
                        SN: 79143762          /LPLWHG/LDELOLW\              HQFRGLQJGHFRGLQJSOD\LQJVWRULQJDQGRUJDQL]LQJ
                                              &RPSDQ\             ,QW O5HJ'DWH    WH[WGDWDLPDJHVDXGLRILOHVDQGYLGHRILOHVFRPSXWHU
                                               0RVNRYVNLL       'HFHPEHU       JDPHSURJUDPVFRPSXWHUSURJUDPVIRUXVHLQ
                                               $YH.\LY                    DXWKRULQJGRZQORDGLQJWUDQVPLWWLQJUHFHLYLQJHGLWLQJ
                                               8NUDLQH                               H[WUDFWLQJHQFRGLQJGHFRGLQJSOD\LQJVWRULQJDQG
                                                                                       RUJDQL]LQJWH[WGDWDLPDJHVDXGLRILOHVDQGYLGHRILOHV
                                                                                        FRPSXWHURSHUDWLQJSURJUDPVUHFRUGHGGRZQORDGDEOH
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                                                                                        JDPHVRIWZDUHGRZQORDGDEOHFRPSXWHUJDPH
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                                                                                        SKRQHVIRUXVHLQDXWKRULQJGRZQORDGLQJWUDQVPLWWLQJ
                                                                                        UHFHLYLQJHGLWLQJH[WUDFWLQJHQFRGLQJGHFRGLQJ
                                                                                        SOD\LQJVWRULQJDQGRUJDQL]LQJWH[WGDWDLPDJHVDXGLR
                                                                                        ILOHVDQGYLGHRILOHV
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    69.   86)HGHUDO   STAR WARS ROGUE        /XFDVILOP/7'      5HJLVWHUHG           ,QW O&ODVV 
          4           ONE                   /OF &DOLIRUQLD     2FWREHU   SUHUHFRUGHGFGVIHDWXULQJVWRULHVDXGLRERRNV
          XI                              /LPLWHG/LDELOLW\   ,QW O&ODVV    IHDWXULQJILFWLRQDXGLRUHFRUGLQJVIHDWXULQJVWRULHV
                        RN: 5306949            &RPSDQ\             )LUVW8VH         FRPSXWHUKDUGZDUHDQGSHULSKHUDOGHYLFHV
                        SN: 86561395          2QH/HWWHUPDQ       'HFHPEHU     KHDGSKRQHV
                                              'ULYH%OGJ%      )LOHG0DUFK   
                                               6DQ)UDQFLVFR       
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    70.   86)HGHUDO   TEAMROGUE             7HDPURJXH            5HJLVWHUHG               ,QW O&ODVV 
          4           RN: 4643321              7H[DV&RUS        1RYHPEHU           SK\VLFDOILWQHVVWUDLQLQJVHUYLFHVZKLFKLQFRUSRUDWH
          XI                              6DQ0DUFRV                         UXQQLQJDQGLVSURYLGHGWRSRVWFROOHJLDWHDWKOHWHV
                        SN: 85892855          6XLWH$XVWLQ     ,QW O&ODVV        FRQGXFWLQJHGXFDWLRQDOVHPLQDUVOHFWXUHVDQG
                                              7H[DV         )LUVW8VH-DQXDU\     ZRUNVKRSVUHODWHGWRUXQQLQJSURYLGLQJLQGLYLGXDODQG
                                                                                    JURXSLQVWUXFWLRQLQWKHILHOGRIUXQQLQJIRUSUHSDUDWLRQ
                                                                     )LOHG$SULO   IRUSHDNSHUIRUPDQFHLQUDFHVDQGFRQVXOWLQJVHUYLFHV
                                                                                            LQWKHILHOGRIILWQHVVHGXFDWLRQ
                                                                                             

    71.   86)HGHUDO   THE ROGUES            :RWKNH6WHYHQ       5HJLVWHUHG$XJXVW        ,QW O&ODVV 
          4           RN: 4788164            5DQGDOO 8QLWHG                     PXVLFDOVRXQGUHFRUGLQJVE\DPXVLFDOJURXS
          XI                              6WDWHV&LWL]HQ       ,QW O&ODVV          ,QW O&ODVV 
                        SN: 86104144          :DXJK           )LUVW8VH2FWREHU     HQWHUWDLQPHQWQDPHO\OLYHSHUIRUPDQFHVE\DPXVLFDO
                                              'ULYH3PE                        JURXS
                                               +RXVWRQ7H[DV        ,QW O&ODVV        
                                                              )LUVW8VH$XJXVW
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                                                                     )LOHG2FWREHU
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    72.   86)HGHUDO   THE SHAMROGUES        3KHODQ-DPHV        5HJLVWHUHG               ,QW O&ODVV 
          4           RN: 4688402              ,UHODQG&LWL]HQ    )HEUXDU\      HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIOLYHPXVLFDO
          XI                              /RFK            ,QW O&ODVV        SHUIRUPDQFHVHQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRI
                        SN: 86330929          5DYHQ%OYG           )LUVW8VH-DQXDU\     OLYHYLVXDODQGDXGLRSHUIRUPDQFHVE\DPXVLFDOJURXS
                                              7RZVRQ                               HQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRIOLYHYLVXDODQG
                                               0DU\ODQG             )LOHG-XO\    DXGLRSHUIRUPDQFHVDQGPXVLFDOYDULHW\QHZVDQG
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                                                                                            OLYHYLVXDODQGDXGLRSHUIRUPDQFHVQDPHO\PXVLFDO
                                                                                             EDQGURFNJURXSJ\PQDVWLFGDQFHDQGEDOOHW
                                                                                             SHUIRUPDQFHVHQWHUWDLQPHQWVHUYLFHVLQWKHQDWXUHRI
                                                                                             OLYHYRFDOSHUIRUPDQFHVE\DPXVLFDOJURXS
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                                                                                             PXVLFDOSHUIRUPDQFHVHQWHUWDLQPHQWVHUYLFHVQDPHO\
                                                                                             DQRQOLQHDFWLYLW\ZKHUH\RXFUHDWH\RXURZQPXVLF
                                                                                             YLGHRVHQWHUWDLQPHQWQDPHO\OLYHPXVLFFRQFHUWV
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                                                                                         EDQGHQWHUWDLQPHQWQDPHO\OLYHSHUIRUPDQFHVE\
                                                                                         PXVLFDOEDQGVOLYHSHUIRUPDQFHVE\DPXVLFDOJURXS
                                                                                         WKHDWULFDODQGPXVLFDOIORRUVKRZVSURYLGHGDW
                                                                                         SHUIRUPDQFHYHQXHV
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    73.   86)HGHUDO   WAR COMMANDER:         .L[H\H,QF         5HJLVWHUHG0D\     ,QW O&ODVV 
          4           ROGUE ASSAULT           'HODZDUH                          FRPSXWHUJDPHVRIWZDUHIRUXVHRQPRELOHDQGFHOOXODU
          XI                              &RUS               ,QW O&ODVV     SKRQHVGRZQORDGDEOHFRPSXWHUJDPHSURJUDPV
                        RN: 5200328            %XVK6WUHHW     )LUVW8VH          GRZQORDGDEOHFRPSXWHUJDPHVRIWZDUHYLDDJOREDO
                        SN: 86407665          6DQ)UDQFLVFR       'HFHPEHU        FRPSXWHUQHWZRUNDQGZLUHOHVVGHYLFHV
                                              &DOLIRUQLD                   
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Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 301 of 494 Page ID
                                   #:2181




                  EXHIBIT W
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 302 of 494 Page ID
                                   #:2182
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 303 of 494 Page ID
                                   #:2183
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 304 of 494 Page ID
                                   #:2184
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 305 of 494 Page ID
                                   #:2185




                   EXHIBIT X
  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 306 of 494 Page ID
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/',6$172#%$11(5:,7&2))&20



                                                                                    CONFIDENTIAL
Via E-mail – cydney.tune@pillsburylaw.com                                          Subject to Rule 408,
                                                                                     Fed. R. Civ. P.
Cydney A. Tune
Pillsbury Winthrop Shaw Pittman LLP
Four Embarcadero Center – 22nd Floor
San Francisco, CA 94111

        Re:      UltraV / Rogue Fitness

Dear Ms. Tune:

       This is further to my January 6 letter. We continue to evaluate UltraV’s December 12, 2019
settlement proposal with our client. While Rogue Fitness may ultimately determine otherwise, we are
encouraged by the terms proposed in your letter and are hopeful that the parties will be able to reach an
amicable resolution.

       That said, UltraV’s recently published U.S. Trademark Application Serial No. SN: 88577372 has
complicated the landscape. To that end, Rogue Fitness will be filing an extension of time to oppose the
application later this week and any settlement of this matter will need to address the ‘372 Application.

       We are working with Rogue Fitness on a response to your latest settlement proposal in view of the
published ‘372 Application and will substantively respond with a counter-proposal in the next couple of
weeks. In the meantime, this letter is sent without prejudice to Rogue Fitness’ rights and remedies against
UltraV, all of which are expressly reserved. Nothing in this letter constitutes an admission or a waiver of
any claim or defense Rogue Fitness may have in this matter, and Rogue Fitness reserves the right to
supplement and/or modify any or all of this response.


                                                             Sincerely,




                                                             Louis DiSanto

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Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 307 of 494 Page ID
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                   EXHIBIT Y
      Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 308 of 494 Page ID
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&KULVWLDQ:ROIJUDP

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6HQW                )ULGD\$XJXVW30
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6XEMHFW             5(8OWUD95RJXH)LWQHVV

,PSRUWDQFH          +LJK


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&ŝƚŶĞƐƐ͘tĞŚĂǀĞĐŽŶĨĞƌƌĞĚǁŝƚŚŽƵƌĐůŝĞŶƚ͕ĂŶĚďĂƐĞĚŽŶƚŚĞƉƌŽƉŽƐĂůƐǁĞĚŝƐĐƵƐƐĞĚŽŶŽƵƌĐĂůů͕hůƚƌĂsǁŽƵůĚďĞ
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dŚĞƐĞƚĞƌŵƐƌĞĨůĞĐƚǇŽƵƌƉƌŽƉŽƐĂůƚŚĂƚZŽŐƵĞ&ŝƚŶĞƐƐǁŽƵůĚďĞǁŝůůŝŶŐƚŽĂĚĚƚŚĞǁŽƌĚŝŶŐ͞ǇZŽŐƵĞ&ŝƚŶĞƐƐ͟ĂůŽŶŐƐŝĚĞ
ŝƚƐZK'hůŽŐŽŝŶĂůůĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚĂŶĚŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐ͕ǁŚŝůĞĂůƐŽŝŶĐůƵĚŝŶŐŵĂŶǇŽĨƚŚĞƚĞƌŵƐ
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ǁŽƵůĚďĞƵƐĞĚĨŽƌhůƚƌĂs͛ƐĂƉƉƌŽǀĂů͕ǁŚŝĐŚǁŽƵůĚďĞĞŶƚĞƌĞĚŝŶƚŚĞƐƉĂĐĞŝŶĚŝĐĂƚĞĚƵŶĚĞƌ^ĞĐƚŝŽŶϭ;ĂͿŽĨƚŚĞƐĞƚƚůĞŵĞŶƚ
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     tŽƌŬƐ͟ͿĂƐǁŽƌŬƐďǇ͞ZŽŐƵĞ&ŝƚŶĞƐƐ͕͟ŝŶĐůƵĚŝŶŐƚŚĞĨŽůůŽǁŝŶŐŵŝŶŝŵƵŵƌĞƋƵŝƌĞŵĞŶƚƐ͗
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         ŽƌĚŽǁŶůŽĂĚŝŶŐƚŚƌŽƵŐŚƚŚŝƌĚͲƉĂƌƚǇĐŚĂŶŶĞůƐ͕ŝŶĐůƵĚŝŶŐďƵƚŶŽƚůŝŵŝƚĞĚƚŽŽŶzŽƵdƵďĞĂŶĚEĞƚĨůŝǆ͕ŝƚƐŚĂůůƐƉĞĐŝĨǇ
         ƚŚĂƚƚŚĞǁŽƌŬǁĂƐƉƌŽĚƵĐĞĚďǇ͞ZŽŐƵĞ&ŝƚŶĞƐƐ͟ŝŶĂŶǇǁƌŝƚƚĞŶĐƌĞĚŝƚƐ͕ŚĞĂĚŝŶŐƐĚĞƐĐƌŝƉƚŝŽŶƐ͕ĂĚǀĞƌƚŝƐŝŶŐĂŶĚ
         ŽƚŚĞƌƉƌŽŵŽƚŝŽŶĂůƵƐĞƐĨŽƌƚŚĞǁŽƌŬƐ͘
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     ĐͿ ZŽŐƵĞ&ŝƚŶĞƐƐƐŚĂůůĂůǁĂǇƐĚŝƐƉůĂǇƚŚĞǁŽƌĚŝŶŐ͞ZŽŐƵĞ&ŝƚŶĞƐƐ͟ĐŽŶƐƉŝĐƵŽƵƐůǇŽŶĂůůǁĞďƉĂŐĞƐĐŽŶƚƌŽůůĞĚďǇ
         ZŽŐƵĞ&ŝƚŶĞƐƐƚŚĂƚŽĨĨĞƌĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ĂŶĚŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐĨŽƌƐƚƌĞĂŵŝŶŐŽƌ
         ĚŽǁŶůŽĂĚŝŶŐ͕ŝŶĐůƵĚŝŶŐďƵƚŶŽƚůŝŵŝƚĞĚƚŽŽŶŝƚƐǁĞďƐŝƚĞĂƚфǁǁǁ͘ƌŽŐƵĞĨŝƚŶĞƐƐ͘ĐŽŵх͕ŝƚƐzŽƵdƵďĞĐŚĂŶŶĞůĂƚ
         фǁǁǁ͘ǇŽƵƚƵďĞ͘ĐŽŵͬƵƐĞƌͬƌŽŐƵĞĨŝƚŶĞƐƐх͕ĂŶĚĂŶǇŽƚŚĞƌǁĞďƐŝƚĞƐĂŶĚƐŽĐŝĂůŵĞĚŝĂƉĂŐĞƐŝƚĐŽŶƚƌŽůƐ͘
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     ĚͿ ^ƵĐŚĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ŽƌŽƚŚĞƌĂƵĚŝŽǀŝƐƵĂůƉƌŽĚƵĐƚŝŽŶƐƐŚĂůůĂůǁĂǇƐďĞŶŽŶͲĨŝĐƚŝŽŶĂůĂŶĚŝŶƚŚĞ
         ĨŝĞůĚŽĨǁĞŝŐŚƚůŝĨƚŝŶŐ͕ĨŝƚŶĞƐƐ͕ĂŶĚƐƚƌĞŶŐƚŚĐƵůƚƵƌĞ͘
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ϮͿ ZŽŐƵĞ&ŝƚŶĞƐƐƐŚĂůůŝŵƉůĞŵĞŶƚĂŶǇĐŚĂŶŐĞƐƚŽĂŶǇĞǆŝƐƚŝŶŐĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ĂŶĚŽƚŚĞƌĂƵĚŝŽǀŝƐƵĂů
     ƉƌŽĚƵĐƚŝŽŶƐƚŽĐŽŵƉůǇǁŝƚŚ^ĞĐƚŝŽŶϭ͕ŝŶĐůƵĚŝŶŐŽŶĂŶǇĂŶĚĂůůƚŚŝƌĚͲƉĂƌƚǇƉůĂƚĨŽƌŵƐ͕ǁŝƚŚŝŶϵϬĚĂǇƐŽĨƚŚĞĚĂƚĞŽĨ
     ƚŚĞĂŐƌĞĞŵĞŶƚ͘
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ϯͿ WƌŽǀŝĚĞĚƚŚĞĨŽƌĞŐŽŝŶŐƵŶĚĞƌƚĂŬŝŶŐƐĂƌĞĨŽůůŽǁĞĚ͕ZŽŐƵĞ&ŝƚŶĞƐƐŵĂǇĐŽŶƚŝŶƵĞƚŽ͗
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    ĂͿ ŝŶĐůƵĚĞƐƉŽŬĞŶƌĞĨĞƌĞŶĐĞƐƚŽZK'hŝŶŝƚƐĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ĂŶĚŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐ͖
    ďͿ ĚŝƐƉůĂǇZK'hͲďƌĂŶĚĞĚǁĞŝŐŚƚůŝĨƚŝŶŐ͕ĨŝƚŶĞƐƐ͕ĂŶĚƐƚƌĞŶŐƚŚƉƌŽĚƵĐƚƐĂŶĚƐŝŐŶĂŐĞŝŶŝƚƐĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶ
         ĐŽŶƚĞŶƚ͕ĂŶĚŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐ͖ĂŶĚ
    ĐͿ ĚŝƐƉůĂǇĂŶĚŽƚŚĞƌǁŝƐĞŵĂŬĞƵƐĞŽĨŝƚƐZK'hůŽŐŽŽŶZŽŐƵĞ&ŝƚŶĞƐƐ͛ŽǁŶǁĞďƐŝƚĞ͕ŽǁŶƐŽĐŝĂůŵĞĚŝĂĐŚĂŶŶĞůƐ͕
         ĂŶĚŽǁŶzŽƵdƵďĞĐŚĂŶŶĞů͘
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ϰͿ ZŽŐƵĞ&ŝƚŶĞƐƐƐŚĂůůŶĞǀĞƌƵƐĞƚŚĞZK'hŵĂƌŬŝŶĞŝƚŚĞƌŽĨƚŚĞĨŽůůŽǁŝŶŐƐƚǇůŝǌĂƚŝŽŶƐƵƐĞĚďǇhůƚƌĂsŝŶĂŶǇ
    ĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ŽƌŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐ͘/ĨZŽŐƵĞ&ŝƚŶĞƐƐŝŶƚĞŶĚƐƚŽĂĚŽƉƚĂŶǇŶĞǁƐƚǇůŝǌĂƚŝŽŶŽĨŝƚƐ
    ZK'hŵĂƌŬĨŽƌƵƐĞŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ƚĞůĞǀŝƐŝŽŶĐŽŶƚĞŶƚ͕ŽƌŽƚŚĞƌƉƌŽĚƵĐƚŝŽŶƐ͕ŝƚƐŚĂůůĚŝƐĐůŽƐĞ
    ƐƵĐŚŶĞǁƐƚǇůŝǌĂƚŝŽŶƚŽhůƚƌĂsƉƌŝŽƌƚŽĐŽŵŵĞŶĐŝŶŐƵƐĞƚŚĞƌĞŽĨ͕ĂŶĚŝĨhůƚƌĂsŚĂƐĂŶǇŽďũĞĐƚŝŽŶƐƚŽƐƵĐŚŶĞǁ
    ƐƚǇůŝǌĂƚŝŽŶ͕ƚŚĞƉĂƌƚŝĞƐĂŐƌĞĞƚŽǁŽƌŬƚŽŐĞƚŚĞƌŝŶŐŽŽĚĨĂŝƚŚƚŽĂǀŽŝĚĂŶǇƉŽƚĞŶƚŝĂůĐŽŶƐƵŵĞƌĐŽŶĨƵƐŝŽŶďĞƚǁĞĞŶ
    ƚŚĞŝƌŵĂƌŬƐƉƵƌƐƵĂŶƚƚŽ^ĞĐƚŝŽŶϵ͘
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ϱͿ ZŽŐƵĞ&ŝƚŶĞƐƐƐŚĂůůŶĞǀĞƌĂƉƉůǇƚŽƌĞŐŝƐƚĞƌƚŚĞŵĂƌŬZK'h͕ĂůŽŶĞ͕ĨŽƌĂŶǇĨŝůŵͬŵŽǀŝĞͬŵŽƚŝŽŶƉŝĐƚƵƌĞ͕ƚĞůĞǀŝƐŝŽŶ͕Žƌ
    ŽƚŚĞƌǀŝĚĞŽͲƌĞůĂƚĞĚƉƌŽĚƵĐƚƐŽƌƐĞƌǀŝĐĞƐ͘
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ϲͿ hůƚƌĂsǁŽƵůĚŶŽƚŽƉƉŽƐĞ͕ƉĞƚŝƚŝŽŶƚŽĐĂŶĐĞů͕ŽƌŽƚŚĞƌǁŝƐĞŽďũĞĐƚƚŽZŽŐƵĞ&ŝƚŶĞƐƐ͛ǁŽƌůĚǁŝĚĞƌĞŐŝƐƚƌĂƚŝŽŶŽĨƚŚĞ
    ŵĂƌŬ͞ZK'h&/dE^^͟ŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚ͗͞ĞŶƚĞƌƚĂŝŶŵĞŶƚƐĞƌǀŝĐĞƐ͕ŶĂŵĞůǇ͕ƉƌŽĚƵĐƚŝŽŶĂŶĚĚŝƐƚƌŝďƵƚŝŽŶŽĨ
    ĂƵĚŝŽǀŝƐƵĂůǁŽƌŬƐ͕ŝŶĐůƵĚŝŶŐĚŽĐƵŵĞŶƚĂƌŝĞƐ͕ǀŝĚĞŽƐ͕ĂŶĚĨŝůŵƐĂďŽƵƚǁĞŝŐŚƚůŝĨƚŝŶŐ͕ĨŝƚŶĞƐƐ͕ĂŶĚƐƚƌĞŶŐƚŚĐƵůƚƵƌĞ͕͟
    ͞ĂƌƌĂŶŐŝŶŐ͕ŽƌŐĂŶŝǌŝŶŐ͕ĂŶĚĐŽŶĚƵĐƚŝŶŐůŝǀĞĂŶĚƌĞĐŽƌĚĞĚƐƚƌĞŶŐƚŚĂŶĚĨŝƚŶĞƐƐĞǀĞŶƚƐ͕ĐŽŶƚĞƐƚƐ͕ŐĂŵĞƐ͕ĂŶĚ
    ĐŽŵƉĞƚŝƚŝŽŶƐ͕͟ĂŶĚ͞ƉƌŽǀŝĚŝŶŐĂƵĚŝŽͲǀŝƐƵĂůĞŶƚĞƌƚĂŝŶŵĞŶƚĂďŽƵƚǁĞŝŐŚƚůŝĨƚŝŶŐ͕ĨŝƚŶĞƐƐ͕ĂŶĚƐƚƌĞŶŐƚŚĐƵůƚƵƌĞΗŝŶůĂƐƐ
    ϰϭ͕ĂŶĚŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚ͞ĂĚǀĞƌƚŝƐŝŶŐ͕ŶĂŵĞůǇ͕ƉƌŽŵŽƚŝŽŶŽĨǁĞŝŐŚƚůŝĨƚŝŶŐ͕ĨŝƚŶĞƐƐ͕ĂŶĚƐƚƌĞŶŐƚŚĐƵůƚƵƌĞ
    ĞŶƚĞƌƚĂŝŶŵĞŶƚ͕ŝŶĐůƵĚŝŶŐůŝǀĞĂŶĚƌĞĐŽƌĚĞĚĞǀĞŶƚƐ͕ĐŽŶƚĞƐƚƐ͕ŐĂŵĞƐ͕ĂŶĚĐŽŵƉĞƚŝƚŝŽŶƐ͟ĂŶĚ͞ƐƉŽŶƐŽƌƐŚŝƉŽĨĂƚŚůĞƚĞƐ
    ĂŶĚĂƚŚůĞƚŝĐĞǀĞŶƚƐ͟ŝŶůĂƐƐϯϱ͘
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ϳͿ ZŽŐƵĞ&ŝƚŶĞƐƐƐŚĂůůǁŝƚŚĚƌĂǁŝƚƐŽƉƉŽƐŝƚŝŽŶĂŐĂŝŶƐƚhůƚƌĂs͛Ɛh͘^͘ƚƌĂĚĞŵĂƌŬĂƉƉůŝĐĂƚŝŽŶĨŽƌƚŚĞŵĂƌŬZK'hŝŶůĂƐƐ
    ϵ;ƉƉ͘EŽ͘ϴϴϱϳϳϯϳϮͿĂŶĚĂŐƌĞĞŶŽƚƚŽŽƉƉŽƐĞ͕ƉĞƚŝƚŝŽŶƚŽĐĂŶĐĞů͕ŽƌŽƚŚĞƌǁŝƐĞŽďũĞĐƚƚŽhůƚƌĂs͛ƐƌĞŐŝƐƚƌĂƚŝŽŶƐĂŶĚ
    ĂƉƉůŝĐĂƚŝŽŶƐĨŽƌƚŚĞZK'hŵĂƌŬĨŽƌĨŝůŵͬŵŽǀŝĞͬŵŽƚŝŽŶƉŝĐƚƵƌĞ͕ƚĞůĞǀŝƐŝŽŶ͕ŽƌŽƚŚĞƌǀŝĚĞŽͲƌĞůĂƚĞĚƉƌŽĚƵĐƚƐŽƌ
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ϴͿ ǆĐĞƉƚĨŽƌĂǀŝŽůĂƚŝŽŶŽĨƚŚĞƉĂƌƚŝĞƐ͛ƐĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚ͕ĞĂĐŚƉĂƌƚǇƌĞůĞĂƐĞƐĂŶĚĐŽǀĞŶĂŶƚƐŶŽƚƚŽƐƵĞƚŚĞŽƚŚĞƌ
    ƉĂƌƚǇĨŽƌĂŶǇĂůůĞŐĞĚǀŝŽůĂƚŝŽŶƐŽĨƚŚĞŵĂƌŬZK'hŽƌĨŽƌŵĂƚŝǀĞƐƚŚĞƌĞŽĨ͘
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ϵͿ /ĨƉŽƚĞŶƚŝĂůĐŽŶĨƵƐŝŽŶďĞƚǁĞĞŶƚŚĞƉĂƌƚŝĞƐ͛ƌĞƐƉĞĐƚŝǀĞƵƐĞƐŽĨZK'hŝƐĚŝƐĐŽǀĞƌĞĚ͕ƚŚĞƉĂƌƚŝĞƐĂŐƌĞĞƚŽǁŽƌŬ
    ƚŽŐĞƚŚĞƌŝŶŐŽŽĚĨĂŝƚŚƚŽĞŶƐƵƌĞĐŽŶƐƵŵĞƌĐůĂƌŝƚǇĂŶĚĂǀŽŝĚĐŽŶƐƵŵĞƌĐŽŶĨƵƐŝŽŶ͘
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ϭϬͿdŚĞƉĂƌƚŝĞƐĐŽƵůĚ͕ďƵƚĂƌĞŶŽƚŽďůŝŐĂƚĞĚ͕ƚŽĚŝƐĐůŽƐĞƚŽŽŶĞĂŶŽƚŚĞƌŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƚŚŝƌĚͲƉĂƌƚǇƵƐĞƐŽĨZK'h
    ŵĂƌŬƐŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚŽŶĞĂŶŽƚŚĞƌ͛ƐĚŝƐƚŝŶĐƚŐŽŽĚƐͬƐĞƌǀŝĐĞƐĂŶĚĐŚĂŶŶĞůƐŽĨƚƌĂĚĞ͘
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ƐƐŽŽŶĂƐƉŽƐƐŝďůĞ͕ƉůĞĂƐĞĐŽŶĨŝƌŵŝĨƚŚĞƐĞƐĞƚƚůĞŵĞŶƚƚĞƌŵƐĂƌĞĂĐĐĞƉƚĂďůĞĂŶĚƉƌŽǀŝĚĞƚŚĞŵŽĐŬƵƉŽĨƚŚĞƉƌŽƉŽƐĞĚ
ƵƐĂŐĞƵŶĚĞƌƐĞĐƚŝŽŶϭ;ĂͿĨŽƌhůƚƌĂs͛ƐƌĞǀŝĞǁĂŶĚĂƉƉƌŽǀĂů͘tĞĐĂŶƚŚĞŶƉƌĞƉĂƌĞƚŚĞĨŽƌŵĂůƐĞƚƚůĞŵĞŶƚĂŐƌĞĞŵĞŶƚ͕ƐŽ
ƚŚĂƚǁĞĐĂŶŚŽƉĞĨƵůůǇƌĞƐŽůǀĞƚŚŝƐŵĂƚƚĞƌƐŽŽŶĞƌƌĂƚŚĞƌƚŚĂŶůĂƚĞƌ͘
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WŝůůƐďƵƌǇtŝŶƚŚƌŽƉ^ŚĂǁWŝƚƚŵĂŶ>>W
&ŽƵƌŵďĂƌĐĂĚĞƌŽĞŶƚĞƌ͕ϮϮŶĚ&ůŽŽƌͮ^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϭϭͲϱϵϵϴ
ƚнϭ͘ϰϭϱ͘ϵϴϯ͘ϭϮϯϰ
ƐĂŵ͘ŝǀĞƌƐŽŶΛƉŝůůƐďƵƌǇůĂǁ͘ĐŽŵͮǁĞďƐŝƚĞďŝŽ



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                    EXHIBIT Z
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 319 of 494 Page ID
                                   #:2199

  From:                      Weir, Charles
  To:                        Louis DiSanto
  Subject:                   UltraV / Rogue Fitness
  Date:                      Monday, April 19, 2021 8:10:32 PM
  Attachments:               image001.png


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  opening attachments, clicking links, or responding to this email.

  Louis,

  I am following up on our call a moment ago. As I mentioned, Manatt is representing UltraV and is
  taking over the Rogue Fitness matter from Pillsbury. I would like to talk with you further about the
  case and where things stand from your perspective. Thursday of this week is pretty open for me. I
  could also do Friday morning from 9:00-12:00 PT. Please let me know if any of those times will work
  for you.

  Best regards,

  CharlesWeir
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  Manatt, Phelps & Phillips,//3
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                 EXHIBIT AA
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 321 of 494 Page ID
                                   #:2201

  From:              Louis DiSanto
  To:                Weir, Charles
  Cc:                Erik Maurer
  Subject:           RE: UltraV / Rogue Fitness
  Date:              Thursday, June 3, 2021 2:49:20 PM
  Attachments:       image001.png
                     image002.jpg
                     image003.jpg
                     Rogue - UltraV Settlement Agreement.DOCX


  FRE 408

  Charles,

  Please find attached proposed settlement agreement.

  I can be available to discuss at your convenience.

  Best,

  Louis

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
  TEL: 312.463.5480 | MAIN: 312.463.5000
  bannerwitcoff.com | ldiSanto@bannerwitcoff.com

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Thursday, May 27, 2021 10:09 AM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  Louis,

  When can I expect a draft settlement agreement? We are going to start to run up against deadlines
  again.

  Thanks,


  Charles Weir
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  Partner
  __________________________
  Manatt, Phelps & Phillips, LLP
  2049 Century Park East
  Suite 1700
  Los Angeles, CA 90067
  D (310) 312-4280 F (310) 312-4224
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Thursday, May 20, 2021 9:44 AM
  To: Weir, Charles <CWeir@manatt.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness


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  FRE 408

  Hi Charles,

  We are still working on it and I have to review with the client. This is a tangled web and we would
  like clarity for the both of us.

  We expect to have something to you early next week.

  Best,

  Louis

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
  TEL: 312.463.5480 | MAIN: 312.463.5000
  bannerwitcoff.com | ldiSanto@bannerwitcoff.com
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 323 of 494 Page ID
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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Tuesday, May 18, 2021 12:06 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  Louis,

  Just checking in on the status of a draft settlement agreement. I believe we discussed having an
  initial draft circulated this week.

  Best regards,


  Charles Weir
  Partner
  __________________________
  Manatt, Phelps & Phillips, LLP
  2049 Century Park East
  Suite 1700
  Los Angeles, CA 90067
  D (310) 312-4280 F (310) 312-4224
  CWeir@manatt.com

  manatt.com




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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Thursday, May 06, 2021 10:48 AM
  To: Weir, Charles <CWeir@manatt.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness
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  Sounds good. I just sent an invite for our calendars.

  Best,

  Louis

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
  TEL: 312.463.5480 | MAIN: 312.463.5000
  bannerwitcoff.com | ldiSanto@bannerwitcoff.com

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Thursday, May 6, 2021 11:39 AM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  Why don’t we do a short call at 3:00 today. It would be good to get some color on the rationale for
  your proposal. We can then a follow up next week after I have had a chance to review with my
  client. Unfortunately, tomorrow doesn’t work for me.


  Charles Weir
  Partner
  __________________________
  Manatt, Phelps & Phillips, LLP
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  CWeir@manatt.com

  manatt.com
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 325 of 494 Page ID
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Thursday, May 06, 2021 9:14 AM
  To: Weir, Charles <CWeir@manatt.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness


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  How does 3pm PT today or tomorrow at 10am PT look for you?

  I had something come up today from 1-3pm PT today.

  Thank you.

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
  TEL: 312.463.5480 | MAIN: 312.463.5000
  bannerwitcoff.com | ldiSanto@bannerwitcoff.com

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Thursday, May 6, 2021 10:58 AM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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                                   #:2206

  Thanks for the letter. I can talk today. How about 1:00 PT?


  Charles Weir
  Partner
  __________________________
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Thursday, May 06, 2021 8:20 AM
  To: Weir, Charles <CWeir@manatt.com>
  Cc: Erik Maurer <EMaurer@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness


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  Charles,

  Please see attached.

  Please advise if you have availability yet today to discuss. Otherwise, tomorrow at 4pm CT or almost
  any time on Monday can work for me.

  Thank you.

  Best,

  Louis
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                                   #:2207


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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Tuesday, May 4, 2021 5:09 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  opening attachments, clicking links, or responding to this email.

  Louis,

  What time works for you on Thursday?

  Best regards,

  Charles Weir
  Partner
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  From: Weir, Charles
  Sent: Monday, May 03, 2021 8:12 AM
  To: 'Louis DiSanto' <LDiSanto@bannerwitcoff.com>
Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 328 of 494 Page ID
                                   #:2208

  Subject: RE: UltraV / Rogue Fitness

  Thursday is pretty open for me. Pick a time. Let’s not let this slip.


  Charles Weir
  Partner
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Monday, May 03, 2021 6:05 AM
  To: Weir, Charles <CWeir@manatt.com>
  Subject: RE: UltraV / Rogue Fitness


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  Hi Charles,

  Apologies as I was in depositions all last week. I need to discuss with my client and I will likely be able
  to connect again later this week.

  Can you please advise of your availability Thursday or Friday?

  Best,

  Louis
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                                   #:2209

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Friday, April 30, 2021 3:19 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  opening attachments, clicking links, or responding to this email.

  Louis,

  I am following up on my email below. What does Monday or Tuesday of next week look like for
  you?

  I am also pasted below what appears to me to be the last list of terms sent by our side to hopefully
  aid the discussion.

  Best regards,

  Charles

  *         *       *        *


  1) Rogue Fitness shall always identify its documentaries, television content, and other productions
     (“Rogue Fitness Works”) as works by “Rogue Fitness,” including the following minimum
     requirements:
     a) Whenever the ROGUE logo is displayed in the beginning credits, end credits, trailers,
         packaging, advertising and other promotional uses for its documentaries, television content,
         and other productions, Rogue Fitness shall include the text “By Rogue Fitness” in
         conspicuous lettering directly together with the ROGUE logo in the exact manner shown
         below;

            [to enter approved usage]

      b) Whenever Rogue Fitness distributes its documentaries, television content, and other
         productions for streaming or downloading through third-party channels, including but not
         limited to on YouTube and Netflix, it shall specify that the work was produced by “Rogue
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                                   #:2210

          Fitness” in any written credits, headings descriptions, advertising and other promotional
          uses for the works.

      c) Rogue Fitness shall always display the wording “Rogue Fitness” conspicuously on all
         webpages controlled by Rogue Fitness that offer documentaries, television content, and
         other productions for streaming or downloading, including but not limited to on its website
         at <www.roguefitness.com>, its YouTube channel at
         <www.youtube.com/user/roguefitness>, and any other websites and social media pages it
         controls.

      d) Such documentaries, television content, or other audiovisual productions shall always be
         non-fictional and in the field of weightlifting, fitness, and strength culture.

  2) Rogue Fitness shall implement any changes to any existing documentaries, television content,
     and other audiovisual productions to comply with Section 1, including on any and all third-party
     platforms, within 90 days of the date of the agreement.

  3) Provided the foregoing undertakings are followed, Rogue Fitness may continue to:

      a) include spoken references to ROGUE in its documentaries, television content, and other
         productions;
      b) display ROGUE-branded weightlifting, fitness, and strength products and signage in its
         documentaries, television content, and other productions; and
      c) display and otherwise make use of its ROGUE logo on Rogue Fitness’ own website, own
         social media channels, and own YouTube channel.

  4) Rogue Fitness shall never use the ROGUE mark in either of the following stylizations used by
     UltraV in any documentaries, television content, or other productions. If Rogue Fitness intends
     to adopt any new stylization of its ROGUE mark for use in connection with documentaries,
     television content, or other productions, it shall disclose such new stylization to UltraV prior to
     commencing use thereof, and if UltraV has any objections to such new stylization, the parties
     agree to work together in good faith to avoid any potential consumer confusion between their
     marks pursuant to Section 9.




  5) Rogue Fitness shall never apply to register the mark ROGUE, alone, for any film/movie/motion
     picture, television, or other video-related products or services.

  6) UltraV would not oppose, petition to cancel, or otherwise object to Rogue Fitness’ worldwide
     registration of the mark “ROGUE FITNESS” in connection with: “entertainment services, namely,
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                                   #:2211

        production and distribution of audiovisual works, including documentaries, videos, and films
        about weightlifting, fitness, and strength culture,” “arranging, organizing, and conducting live
        and recorded strength and fitness events, contests, games, and competitions,” and “providing
        audio-visual entertainment about weightlifting, fitness, and strength culture" in Class 41, and in
        connection with “advertising, namely, promotion of weightlifting, fitness, and strength culture
        entertainment, including live and recorded events, contests, games, and competitions” and
        “sponsorship of athletes and athletic events” in Class 35.

  7) Rogue Fitness shall withdraw its opposition against UltraV’s U.S. trademark application for the
     mark ROGUE in Class 9 (App. No. 88577372) and agree not to oppose, petition to cancel, or
     otherwise object to UltraV’s registrations and applications for the ROGUE mark for
     film/movie/motion picture, television, or other video-related products or services.

  8) Except for a violation of the parties’ settlement agreement, each party releases and covenants
     not to sue the other party for any alleged violations of the mark ROGUE or formatives thereof.

  9) If potential confusion between the parties’ respective uses of ROGUE is discovered, the parties
     agree to work together in good faith to ensure consumer clarity and avoid consumer confusion.

  10) The parties could, but are not obligated, to disclose to one another information about third-
      party uses of ROGUE marks in connection with one another’s distinct goods/services and
      channels of trade.




  Charles Weir
  Partner
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  From: Weir, Charles
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                                   #:2212

  Sent: Wednesday, April 28, 2021 2:14 PM
  To: 'Louis DiSanto' <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

  Louis,

  I was able to speak with my client about our call. There is certainly flexibility on the computer
  related services that you mentioned. I would like to understand what your client is looking for on
  that issue, but I would be surprised if this issue blocked the settlement. As I am sure you can
  appreciate, the key issue for us is the use of the Rogue mark in media areas – video, film creation,
  etc. In looking back through the settlement correspondence, it appears that there is largely
  agreement on the core issues. Are you available for a call tomorrow or Friday to walk through those
  primary terms? Assuming my review of the settlement correspondence is correct, I suggest we
  simply prepare a draft settlement agreement and make any further tweaks to language within that
  context. That way we don’t end up having to negotiate things twice. We can take the laboring oar
  on preparing the initial draft.

  Let me know your schedule over the next couple of days.

  Best regards,

  Charles Weir
  Partner
  __________________________
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Wednesday, April 21, 2021 7:41 PM
  To: Weir, Charles <CWeir@manatt.com>
  Subject: RE: UltraV / Rogue Fitness
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                                   #:2213

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  No problem. I updated the invite with a conference call line if that’s easier. I also included my
  colleague, Erik Maurer, who may attend.

  Best,

  Louis

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
  TEL: 312.463.5480 | MAIN: 312.463.5000
  bannerwitcoff.com | ldiSanto@bannerwitcoff.com

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Wednesday, April 21, 2021 7:58 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  Sounds good. I am going to invite my partner Samantha Katze.


  Charles Weir
  Partner
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Wednesday, April 21, 2021 5:27 PM
  To: Weir, Charles <CWeir@manatt.com>
  Subject: RE: UltraV / Rogue Fitness


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  Yes, apologies. I will be in the Eastern time zone on Friday and calculated from 2pm ET, but my
  calendar is on CT. I just resent the invite for 1pm CT / 11am PT.

  Best,

  Louis

  LOUIS DISANTO | ATTORNEY
  BANNER WITCOFF
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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Wednesday, April 21, 2021 7:23 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness

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  I think you may have sent me the wrong time in the invite. It was showing up as 12:00 PT. I can do
  11:00. I cannot do 12:00.


  Charles Weir
  Partner
  __________________________
  Manatt, Phelps & Phillips, LLP
  2049 Century Park East
  Suite 1700
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  From: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Sent: Wednesday, April 21, 2021 5:02 PM
  To: Weir, Charles <CWeir@manatt.com>
  Subject: RE: UltraV / Rogue Fitness


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  Hi Charles,

  Does 11am PT on Friday still work for you?

  Best,

  Louis

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  From: Weir, Charles <CWeir@manatt.com>
  Sent: Wednesday, April 21, 2021 6:50 PM
  To: Louis DiSanto <LDiSanto@bannerwitcoff.com>
  Subject: RE: UltraV / Rogue Fitness
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  Louis,

  I am just following up. Does Friday morning work for a call? If not, what does your Monday look
  like?

  Best regards,


  Charles Weir
  Partner
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  From: Weir, Charles
  Sent: Monday, April 19, 2021 6:10 PM
  To: 'LDISANTO@BANNERWITCOFF.COM' <LDISANTO@BANNERWITCOFF.COM>
  Subject: UltraV / Rogue Fitness

  Louis,

  I am following up on our call a moment ago. As I mentioned, Manatt is representing UltraV and is
  taking over the Rogue Fitness matter from Pillsbury. I would like to talk with you further about the
  case and where things stand from your perspective. Thursday of this week is pretty open for me. I
  could also do Friday morning from 9:00-12:00 PT. Please let me know if any of those times will work
  for you.

  Best regards,
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                                   #:2217

  Charles Weir
  Partner
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                                   #:2218




                 EXHIBIT BB
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                                           #:2219

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ĞůŽǁŝƐĂŶĞǆĂŵƉůĞŽĨǁŚĂƚ/ŚĂĚƉƌĞǀŝŽƵƐůǇƌĞĨĞƌĞŶĐĞĚƌĞŐĂƌĚŝŶŐĐĞƌƚĂŝŶƉŽƌƚŝŽŶƐŽĨZŽŐƵĞ&ŝƚŶĞƐƐ͛ƐĨŝůŵƐďĞŝŶŐ
ďƌĂŶĚĞĚǁŝƚŚZŽŐƵĞ&ŝƚŶĞƐƐ͘dŚŝƐŝƐĨƌŽŵŽŶĞŽĨƚŚĞ>ĞŐĞŶĚ^ĞƌŝĞƐ&ŝůŵƐ͘dŚĞůŝŶŬ
ŝƐ͗ŚƚƚƉƐ͗ͬͬǁǁǁ͘ǇŽƵƚƵďĞ͘ĐŽŵͬǁĂƚĐŚ͍ǀсϵϯ^ϴ'ϴũůǀĐΘůŝƐƚсW>DĐũĞ'ƚ<YͺͺĞEĨ^ϰĚͲƵ&:ϳĂϱƌϳϳ
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OHJDOO\SULYLOHJHG,I\RXDUHQRWWKHLQWHQGHGUHFLSLHQWRUDSHUVRQUHVSRQVLEOHIRUGHOLYHULQJLWWRWKHLQWHQGHGUHFLSLHQW\RXDUHKHUHE\QRWLILHGWKDWDQ\GLVFORVXUHFRS\LQJ
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LPPHGLDWHO\QRWLI\XVE\UHSO\HPDLODQGGHVWUR\WKHRULJLQDOWUDQVPLVVLRQDQGLWVDWWDFKPHQWVZLWKRXWUHDGLQJWKHPRUVDYLQJWKHPWRGLVN7KDQN\RX


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dŽ͗tĞŝƌ͕ŚĂƌůĞƐфtĞŝƌΛŵĂŶĂƚƚ͘ĐŽŵх
Đ͗<ĂƚǌĞ͕^ĂŵĂŶƚŚĂф^<ĂƚǌĞΛŵĂŶĂƚƚ͘ĐŽŵх͖EŽǀŝĂŶ͕zĂƐŵŝŶĞфzEŽǀŝĂŶΛŵĂŶĂƚƚ͘ĐŽŵх͖ƌŝŬDĂƵƌĞƌ
фDĂƵƌĞƌΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖ŚƌŝƐƚŝĂŶtŽůĨŐƌĂŵфtŽůĨŐƌĂŵΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖,ƵŐŚ͘tĂƌƌĞŶ͕s
ф,tĂƌƌĞŶΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖ĚĞƌĞƚƚĞǀŝůůĞ͕:ĂƐŽŶф:ĚĞƌĞƚƚĞǀŝůůĞΛƐƚƌĂĚůŝŶŐůĂǁ͘ĐŽŵх͖>Žďď͕^ĞĂŶ
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΀ydZE>΁WůĞĂƐĞĚŽŶŽƚƌĞƉůǇ͕ĐůŝĐŬůŝŶŬƐ͕ŽƌŽƉĞŶĂƚƚĂĐŚŵĞŶƚƐƵŶůĞƐƐǇŽƵƌĞĐŽŐŶŝǌĞƚŚĞƐŽƵƌĐĞŽĨƚŚŝƐŵĞƐƐĂŐĞĂŶĚ
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tŝƚŚƌĞŐĂƌĚƚŽƚŚĞƐĐŚĞĚƵůĞĨŽƌďƌŝĞĨŝŶŐĂŶĚŚĞĂƌŝŶŐŽŶWůĂŝŶƚŝĨĨ͛ƐŵŽƚŝŽŶĨŽƌƉƌĞůŝŵŝŶĂƌǇŝŶũƵŶĐƚŝŽŶ͕ƉůĞĂƐĞĐŽŶƐŝĚĞƌƚŚĞ
ƚǁŽŽƉƚŝŽŶƐďĞůŽǁ͘'ŝǀĞŶƚŚĞƐŚŽƌƚƚŝŵĞĨƌĂŵĞďĞĨŽƌĞĞĨĞŶĚĂŶƚ͛ƐƌĞƐƉŽŶƐĞŝƐĐƵƌƌĞŶƚůǇĚƵĞ͕ǁĞǁŝůůƌĞƋƵŝƌĞĂŐƌĞĞŵĞŶƚ
ďǇKWĂĐŝĨŝĐƚŝŵĞƚŽĚĂǇŽƌǁĞǁŝůůŚĂǀĞƚŽƐĞĞŬƌĞůŝĞĨĨƌŽŵƚŚĞŽƵƌƚ͘
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ƐĐŚĞĚƵůŝŶŐĐŽŶĨĞƌĞŶĐĞǁŝƚŚ:ƵĚŐĞWŚŝůůŝƉƐ͘/ŶůŝĞƵŽĨďƌŝĞĨŝŶŐƚŚĞW/DŽƚŝŽŶŶŽǁ͕ƚŚĞWĂƌƚŝĞƐǁŝůůĐŽŶĚƵĐƚĂZƵůĞϮϲ;ĨͿ
ĐŽŶĨĞƌĞŶĐĞƚŚĂƚŝŶĐůƵĚĞƐĂĚŝƐĐŽǀĞƌǇĂŶĚďƌŝĞĨŝŶŐƐĐŚĞĚƵůĞĨŽƌƚŚĞW/DŽƚŝŽŶ͘KŶĐĞŝŶĨŽƌŵĞĚŽĨƚŚĞWĂƌƚŝĞƐ͛ƌĞƐƉĞĐƚŝǀĞ
ǀŝĞǁƐŽŶKĐƚŽďĞƌϭϴ͕ƚŚĞŽƵƌƚĐĂŶƐĞƚĂŶŽǀĞƌĂůůĐĂƐĞŵĂŶĂŐĞŵĞŶƚƐĐŚĞĚƵůĞƚŚĂƚĂĨĨŽƌĚƐĨŽƌĂĨƵůƐŽŵĞƌĞĐŽƌĚŽŶ͕ĂŶĚ
ĂŶŝŶĨŽƌŵĞĚƌĞƐŽůƵƚŝŽŶŽĨ͕ƚŚĞŝƐƐƵĞƐƌĂŝƐĞĚďǇƚŚĞW/DŽƚŝŽŶ͘
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KƉƚŝŽŶϮ͗/ŶƚŚĞĂůƚĞƌŶĂƚŝǀĞ͕ƚŚĞWĂƌƚŝĞƐĂŐƌĞĞƚŽĂϮϴͲĚĂǇĞǆƚĞŶƐŝŽŶŽĨƚŝŵĞĨŽƌZŽŐƵĞƚŽƌĞƐƉŽŶĚƚŽƚŚĞW/DŽƚŝŽŶ͕ƵƉƚŽ
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ĨŝǀĞŝŶƚĞƌƌŽŐĂƚŽƌŝĞƐĂŶĚƵƉƚŽƚĞŶƉƌŽĚƵĐƚŝŽŶƌĞƋƵĞƐƚƐƌĞůĂƚŝŶŐƚŽƚŚĞW/DŽƚŝŽŶ͕ǁŝƚŚWůĂŝŶƚŝĨĨ͛ƐƌĞƐƉŽŶƐĞƐĚƵĞǁŝƚŚŝŶϮͲ
ǁĞĞŬƐŽĨƐĞƌǀŝĐĞŽĨZŽŐƵĞ͛ƐW/DŽƚŝŽŶǁƌŝƚƚĞŶĚŝƐĐŽǀĞƌǇ͘&ƵƌƚŚĞƌ͕ZŽŐƵĞŵĂǇĚĞƉŽƐĞWůĂŝŶƚŝĨĨ͛ƐW/DŽƚŝŽŶĨĂĐƚĚĞĐůĂƌĂŶƚ͕
ůĞǆŝƐDŝƌŽŶ͕ĨŽƌŶŽŵŽƌĞƚŚĂŶϱͲŚŽƵƌƐŽŶƚŚĞƌĞĐŽƌĚƌĞŐĂƌĚŝŶŐƚŚĞƐƵďƐƚĂŶĐĞŽĨŚŝƐĚĞĐůĂƌĂƚŝŽŶ͕ǁŝƚŚDƌ͘DŝƌŽŶƚŽ
ƚĞƐƚŝĨǇŶŽůĂƚĞƌƚŚĂŶKĐƚŽďĞƌϭϱ͕ϮϬϮϭ͘EŽŶĞŽĨƚŚĞĂĨŽƌĞŵĞŶƚŝŽŶĞĚW/DŽƚŝŽŶĚŝƐĐŽǀĞƌǇƐŚĂůůĐŽƵŶƚĂŐĂŝŶƐƚƚŚĞ
ĚŝƐĐŽǀĞƌǇůŝŵŝƚƐƐĞƚďǇƚŚĞ&ĞĚĞƌĂůZƵůĞƐŽĨŝǀŝůWƌŽĐĞĚƵƌĞŽƌĂŶǇŽƚŚĞƌĚŝƐĐŽǀĞƌǇůŝŵŝƚƐƚŚĞWĂƌƚŝĞƐƉƌŽƉŽƐĞĂŶĚͬŽƌƚŚĞ
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Đ͗<ĂƚǌĞ͕^ĂŵĂŶƚŚĂф^<ĂƚǌĞΛŵĂŶĂƚƚ͘ĐŽŵх͖EŽǀŝĂŶ͕zĂƐŵŝŶĞфzEŽǀŝĂŶΛŵĂŶĂƚƚ͘ĐŽŵх͖ƌŝŬDĂƵƌĞƌ
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ĂƚƚĂĐŚŵĞŶƚƐ͕ĐůŝĐŬŝŶŐůŝŶŬƐ͕ŽƌƌĞƐƉŽŶĚŝŶŐƚŽƚŚŝƐĞŵĂŝů͘
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tĞŝĚĞŶƚŝĨŝĞĚĞǆĂŵƉůĞƐŽŶŽƵƌůĂƐƚĐĂůů͘ƵƚŚĂƉƉǇƚŽĚŽŝƚĂŐĂŝŶ͘

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GLVWULEXWLRQRUXVHRIDQ\RIWKHLQIRUPDWLRQFRQWDLQHGLQRUDWWDFKHGWRWKLVPHVVDJHLV675,&7/<352+,%,7(',I\RXKDYHUHFHLYHGWKLVWUDQVPLVVLRQLQHUURUSOHDVH
LPPHGLDWHO\QRWLI\XVE\UHSO\HPDLODQGGHVWUR\WKHRULJLQDOWUDQVPLVVLRQDQGLWVDWWDFKPHQWVZLWKRXWUHDGLQJWKHPRUVDYLQJWKHPWRGLVN7KDQN\RX
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            KŶ^ĞƉϮϭ͕ϮϬϮϭ͕Ăƚϭ͗ϯϲWD͕>ŽƵŝƐŝ^ĂŶƚŽф>ŝ^ĂŶƚŽΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵхǁƌŽƚĞ͗

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            ΀ydZE>΁WůĞĂƐĞĚŽŶŽƚƌĞƉůǇ͕ĐůŝĐŬůŝŶŬƐ͕ŽƌŽƉĞŶĂƚƚĂĐŚŵĞŶƚƐƵŶůĞƐƐǇŽƵƌĞĐŽŐŶŝǌĞƚŚĞƐŽƵƌĐĞŽĨ
            ƚŚŝƐŵĞƐƐĂŐĞĂŶĚŬŶŽǁƚŚĞĐŽŶƚĞŶƚŝƐƐĂĨĞ͘

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 ůƐŽ͕ŝƚǁĂƐŵǇƵŶĚĞƌƐƚĂŶĚŝŶŐĨƌŽŵŽƵƌůĂƐƚĚŝƐĐƵƐƐŝŽŶƌĞŐĂƌĚŝŶŐƉŽƚĞŶƚŝĂůƐĞƚƚůĞŵĞŶƚƚŚĂƚǇŽƵǁĞƌĞ
 ŐŽŝŶŐƚŽƉƌŽǀŝĚĞƚŚĞŝŶĨŽƌŵĂƚŝŽŶǁĞƌĞƋƵĞƐƚĞĚŝŶŽƵƌůĞƚƚĞƌŽĨ:ƵůǇϮϯƌĚ͘^ƉĞĐŝĨŝĐĂůůǇ͕ǇŽƵĂŐƌĞĞĚƚŽ
 ŝĚĞŶƚŝĨǇĨŽƌƵƐĞǆĂŵƉůĞƐŽĨZŽŐƵĞ͛ƐĨŝůŵĐŽŶƚĞŶƚƚŚĂƚWůĂŝŶƚŝĨĨĐŽŶƐŝĚĞƌĞĚ͞ďƌĂŶĚĞĚĂƐĂƚůĞĂƐƚŝŶƉĂƌƚĂƐ
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 ƚŚŝƐĐŽŶƚĞŶƚŝŶĂŶĞĨĨŽƌƚƚŽĂĚǀĂŶĐĞƉŽƚĞŶƚŝĂůƐĞƚƚůĞŵĞŶƚĚŝƐĐƵƐƐŝŽŶƐ͘
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 dŽ͗>ŽƵŝƐŝ^ĂŶƚŽф>ŝ^ĂŶƚŽΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖<ĂƚǌĞ͕^ĂŵĂŶƚŚĂф^<ĂƚǌĞΛŵĂŶĂƚƚ͘ĐŽŵх͖EŽǀŝĂŶ͕
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 фtŽůĨŐƌĂŵΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖,ƵŐŚ͘tĂƌƌĞŶ͕sф,tĂƌƌĞŶΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖ĚĞƌĞƚƚĞǀŝůůĞ͕
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  ĐŽŶĨĞƌĞŶĐĞƐŝŶĐĞŝƚǁĂƐĂůƌĞĂĚǇŽŶĐĂůĞŶĚĂƌĂŶĚƐŽĨŽůŬƐǁŽƵůĚďĞĂǀĂŝůĂďůĞ͘/ĨǁĞŵŽǀĞƚŚĞĚĂƚĞĂďŝƚ͕
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 GLVWULEXWLRQRUXVHRIDQ\RIWKHLQIRUPDWLRQFRQWDLQHGLQRUDWWDFKHGWRWKLVPHVVDJHLV675,&7/<352+,%,7(',I\RXKDYHUHFHLYHGWKLVWUDQVPLVVLRQLQHUURUSOHDVH
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 ŚĞĂƌŝŶŐĚĂƚĞŽŶƚŚĞŵŽƚŝŽŶĨŽƌƉƌĞůŝŵŝŶĂƌǇŝŶũƵŶĐƚŝŽŶ͘/ĐĂŶďĞĂǀĂŝůĂďůĞƚŽĚŝƐĐƵƐƐĂƚǇŽƵƌĐŽŶǀĞŶŝĞŶĐĞ͘
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 dŽ͗ΖEŽǀŝĂŶ͕zĂƐŵŝŶĞΖфzEŽǀŝĂŶΛŵĂŶĂƚƚ͘ĐŽŵх͖ŚƌŝƐƚŝŶĞͺŚƵŶŐΛĐĂĐĚ͘ƵƐĐŽƵƌƚƐ͘ŐŽǀ
 Đ͗tĞŝƌ͕ŚĂƌůĞƐфtĞŝƌΛŵĂŶĂƚƚ͘ĐŽŵх͖<ĂƚǌĞ͕^ĂŵĂŶƚŚĂф^<ĂƚǌĞΛŵĂŶĂƚƚ͘ĐŽŵх͖ƌŝŬDĂƵƌĞƌ
 фĞŵĂƵƌĞƌΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖ŚƌŝƐƚŝĂŶtŽůĨŐƌĂŵфĐǁŽůĨŐƌĂŵΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖,ƵŐŚ͘
 tĂƌƌĞŶ͕sфŚǁĂƌƌĞŶΛďĂŶŶĞƌǁŝƚĐŽĨĨ͘ĐŽŵх͖ΖĚĞƌĞƚƚĞǀŝůůĞ͕:ĂƐŽŶΖф:ĚĞƌĞƚƚĞǀŝůůĞΛƐƚƌĂĚůŝŶŐůĂǁ͘ĐŽŵх͖
 >Žďď͕^ĞĂŶфƐƚůŽďďΛƐƚƌĂĚůŝŶŐůĂǁ͘ĐŽŵх
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34567894ÿ39;;78855                                                   cgScgPgOjgpÿMZHqrssÿ=tÿuvwsxyzÿ
<==>?>@Aÿ?<CC>DDEEÿ<=ÿFGHE?FIEJ                                                    )iggÿRMLfgÿ{LcÿRppcgPP,
?IEJ>D<IHÿ
KLMNOPÿQRSTROÿUUVÿ                                                                 Cx|}vrÿ~v|ÿ
WXLÿYNOZRLÿ[RO\]ÿ^P_ÿ̀                                                             KLMNOPÿQRSTROÿ
abbÿVRcdÿefgOhgÿ                                                                   abbÿVRcdÿefgOhgÿ
ihNjgÿak22ÿ                                                                        KLMNOPÿQRSTROÿUUVÿ
lgmÿnLcd]ÿlnÿ+22**ÿ                                                                lgmÿnLcd]ÿlnÿ+22**ÿ
*+*b̀o2/̀122                                                                       *+*0bo20/1o2ÿ
                                                                                   Rÿÿ*+*0bo20/1bbÿ
                                                                                   ^RNTÿmRO\cLMNOPdRSTROẀL
     =xx|ÿJvsy                                                                    JrqysÿDys
                                   ÿ+ÿ               RSjgcÿ++ÿLThOjRcZÿVgjNjNLOÿ{LcÿlLO0OpNfNphRT̀ÿcpgcÿ{LcÿKgTNg{
                                    )+aÿS\P,         ^Ojgcgpÿ̀iWgphTgÿeXÿphgÿ2.X+/X*2+oÿ̀iWgphTgÿÿphgÿ2.X+/X*2+o`
                                                     iWgphTgÿÿphgÿ2.X+/X*2+oÿ̀iWgphTgÿ^Xÿphgÿ2.X+/X*2+oÿ̀iWgphTgÿ
                                                     phgÿ2.X+/X*2+oÿ̀iWgphTgÿÿphgÿ2.X+/X*2+oÿ̀ihRcZÿL{ÿePPgjPÿROp
                                                     UNRMNTNjNgPÿphgÿ2.X+/X*2+oÿ̀ijRjggOjÿL{ÿNOROWNRTÿe{{RNcPÿphg
                                                     2.X+/X*2+oÿ̀ULWRTÿKhTgÿ+22/0*ÿe{{NpRfNjÿphgÿMZÿ2.X+/X*2+oÿ̀OWLSTgjg
                                                     NTNO\PÿphgÿMZÿ2.X+/X*2+o]ÿNTgpÿMZÿRcgZÿÿ̀iWcgNMgcÿL{ÿ[NOPjLOÿ
                                                     ijcRmOÿUUVÿLOÿMgRT{ÿL{ÿKgTRjNfNjZÿYgpNR]ÿUUÿ̀)iWcgNMgc]ÿRcgZ,
  2.X2aX*2+o                                         )^Ojgcgpÿ2.X2aX*2+o,
                                   ÿÿ                KgWgNSjÿL{ÿLThOjRcZÿVgjNjNLOÿ)RSjgcÿ++,)+o0++a.o,ÿNPW]o*1
                                                     )+/+/2̀2,ÿNTNO\ÿggÿ̀KgWgNSjÿOhMgcÿ+*.k2.+oÿ̀ggÿRLhOjÿ+/+/2̀2`
  2.X2aX*2+o                                         )KgÿLWÿÿ+,ÿ)ìÿ̀cgRPhcZ,ÿ)^Ojgcgpÿ2.X2aX*2+o,
                                   ÿÿ                hp\gÿYNWRgTÿ^ÿ̀[NTgPÿRppgpÿjLÿjgÿWRPgÿ̀)VLcjgc]ÿYNOONg,ÿ̀)^Ojgcgp
  2.X21X*2+o                                         2.X21X*2+o,
                                   ÿ*ÿ               YLjNLOÿ{LcÿLNOjÿepNONPjcRjNLOÿ{NTgpÿMZÿRccNgÿÿRcpROÿLOÿMgRT{ÿL{
                                    )1+ÿS\PÿaÿpLWP, KgTRjNfNjZÿYgpNR]ÿUUÿ̀)ejjRWgOjPÿÿ+ÿ^NMNjÿeÿ0ÿVcLSLPgpÿcpgcÿ
                                                     *ÿ^NMNjÿÿ0ÿepRPÿgWTRcRjNLO,ÿ)RcpRO]ÿRccNg,ÿ)^Ojgcgp
  2.X2/X*2+o                                         2.X2/X*2+o,
                                   ÿaÿ               eSSTNWRjNLOÿ{LcÿVcLÿRWÿNWgÿepNPPNLOÿÿ¡¢ÿ£¤ÿ¥¦§¨©¡ÿ{NTgpÿMZ
                                    )*ÿS\Pÿ*ÿpLWP, RcgZÿÿ̀iWcgNMgcÿLOÿMgRT{ÿL{ÿKgTRjNfNjZÿYgpNR]ÿUUÿ̀)ejjRWgOjPÿ
  2.X2/X*2+o                                         +ÿVcLSLPgpÿcpgc,ÿ)iWcgNMgc]ÿRcgZ,ÿ)^Ojgcgpÿ2.X2/X*2+o,
                                   ÿ1ÿ               eSSTNWRjNLOÿ{LcÿVcLÿRWÿNWgÿepNPPNLOÿÿ£¨ª«ÿ¬¤ÿ­®¢ªÿ{NTgpÿMZ
                                    )*ÿS\Pÿ*ÿpLWP, RcgZÿÿ̀iWcgNMgcÿLOÿMgRT{ÿL{ÿKgTRjNfNjZÿYgpNR]ÿUUÿ̀)ejjRWgOjPÿ
  2.X2/X*2+o                                         +ÿVcLSLPgpÿcpgc,ÿ)iWcgNMgc]ÿRcgZ,ÿ)^Ojgcgpÿ2.X2/X*2+o,
                                   ÿÿ                KgWgNSjÿL{ÿeSSTNWRjNLOÿ{LcÿVcLÿRWÿNWgÿepNPPNLO)+o0++a.o0gm,
                                                     LjNLO]+**ÿ)ÿ*222̀2,ÿNTNO\ÿggÿ̀KgWgNSjÿOhMgcÿ+*.k.*boÿ̀gg
  2.X2/X*2+o                                         RLhOjÿ*222̀2ÿ̀)KgÿLWÿÿa,ÿ)ìÿ̀cgRPhcZ,ÿ)^Ojgcgpÿ2.X2/X*2+o,
                                   ÿÿ                KgWgNSjÿL{ÿeSSTNWRjNLOÿ{LcÿVcLÿRWÿNWgÿepNPPNLO)+o0++a.o0gm,
                                                     LjNLO]+**ÿ)ÿ*222̀2,ÿNTNO\ÿggÿ̀KgWgNSjÿOhMgcÿ+*.k.*boÿ̀gg
  2.X2/X*2+o                                         RLhOjÿ*222̀2ÿ̀)KgÿLWÿÿ1,ÿ)ìÿ̀cgRPhcZ,ÿ)^Ojgcgpÿ2.X2/X*2+o,
  2.X2/X*2+o                       ÿ.ÿ               cpgcÿPN\OgpÿLOÿ.X/X*2+oÿRhjLcN̄NO\ÿjgÿ°LNOjÿRpNONPjcRjNLOÿL{ÿjgNc
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                                    )*+ÿ-./0              123-456ÿ**ÿ13/5/ÿ78956ÿ*:;**+<:ÿ)=5>34?@?4AÿB59?3CÿDDECÿ54ÿ3>0F
                                                           #:2230
                                                          )G5H?56I>3CÿJ31K75>?850Fÿ)L845659MÿN<ONPOQN*:0
                                   ÿRÿ                    E23-456ÿ**ÿI6ÿE23-456ÿSÿE3/5/ÿTI8;U89?@?973>MÿD?/4ÿIVÿE659?4I6/ÿW2I
                                    )*Nÿ-./0              X3@5ÿQNÿD36.5/4ÿY8/517659ÿE>3?Z/ÿ389ÿ[65ÿU8/?956/ÿ)\VV?1?3>ÿ]I6ZÿQN^0
                                                          _`abcadefghifÿkechÿalÿ̀mifehamcÿnoaÿpgqiÿhoiÿrsÿkgmtichÿubcivwmif
                                                          `dgexcÿgbfÿymiÿzahÿ{bcefimcÿ]?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIV
  N<ON:OQN*:                                              =5>34?@?4AÿB59?3CÿDDEFÿ)X369Z38CÿE366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿPÿ                    G51>3634?I8ÿalÿ̀adebÿ~ÿyfgxcÿebÿwamhÿalÿ̀oghimÿÿiheheabcÿgbf
                                    )**<ÿ-./0             emchÿgÿdigfebtcÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIVÿ=5>34?@?4A
  N<ON:OQN*:                                              B59?3CÿDDEFÿ)X369Z38CÿE366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿ:ÿ                    G51>3634?I8ÿalÿkameÿebgbgbÿebÿwamhÿalÿ̀oghimÿÿiheheabcÿemch
                                    )*Qÿ-./0                gÿdigfebtcÿgbfÿmaacifÿgdiÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>V
  N<ON:OQN*:                                              IVÿ=5>34?@?4AÿB59?3CÿDDEFÿ)X369Z38CÿE366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿSÿ                    BI4?I8ÿ4Iÿ[742I6?5ÿihamcÿ~aheabÿlamÿhoiÿbhmÿalÿgbÿmfimÿ{
                                    )QNÿ-./ÿQÿ9I1/0      ywhoameebtÿhoiÿihamcÿhaÿyÿmigmiÿgÿkechÿalÿ̀mifehamcÿebÿkeiwÿal
                                                          wxehhebtÿgÿamxghhifÿ~gedebtÿ~ghmeÿÿediÿgÿ̀abcadefghifÿkechÿal
                                                          hoiÿihamcÿrsÿkgmtichÿubcivwmifÿ̀mifehamcÿ`ÿifgvhÿ̀imhgeb
                                                          imcabgdÿ{fibhelevgheabÿ{blamxgheabÿlamÿ{bfeqefwgdÿ̀mifehamcÿgbfÿ
                                                          ~gedÿ{behegdÿzahevicÿgbfÿ{{ÿymaqebtÿhoiÿamxÿgbfÿ~gbbimÿal
                                                          zahelebtÿ̀mifehamcÿalÿhoiÿ̀axxibvixibhÿalÿhoiÿihamcÿ̀oghimÿ
                                                          `gcicÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIVÿ=5>34?@?4AÿB59?3CÿDDE
                                                          ?42ÿ2536?8.ÿ4Iÿ|5ÿ25>9ÿI8ÿ<OSOQN*:ÿ34ÿNQMNNÿHBÿ34ÿEI7646IIZÿR*P
                                                          )BLW0Fÿ)[44312Z584/Mÿÿ*ÿL2?|?4ÿ[ÿ;ÿH6I-I/59ÿ\69560ÿ)X369Z38C
  N<ON:OQN*:                                              E366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿ*Nÿ                   BI4?I8ÿ4Iÿ[742I6?5ÿ_ÿihamcÿ~aheabÿlamÿgbÿmfimÿywhoameebtÿhoi
                                    )QRÿ-./ÿQÿ9I1/0      chgdecoxibhÿalÿ̀imhgebÿzaheviÿ̀gciÿ~gbgtixibhÿgbfÿyfxebechmgheqi
                                                          mavifwmicÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIVÿ=5>34?@?4AÿB59?3C
                                                          DDEÿ?42ÿ2536?8.ÿ4Iÿ|5ÿ25>9ÿI8ÿ<OSOQN*:ÿ34ÿNQMNNÿHBÿ34ÿEI7646IIZÿR*P
                                                          )BLW0Fÿ)[44312Z584/Mÿÿ*ÿL2?|?4ÿ[ÿ;ÿH6I-I/59ÿ\69560ÿ)X369Z38C
  N<ON:OQN*:                                              E366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿ**ÿ                   BI4?I8ÿ4Iÿ[--I?84ÿH6?Z5ÿE>56ÿDDEÿ3/ÿE>3?Z/ÿ389ÿTI4?1?8.ÿ[.584ÿV?>59
                                    )^^ÿ-./ÿ^ÿ9I1/0      |AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIVÿ=5>34?@?4AÿB59?3CÿDDEÿ?42ÿ2536?8.ÿ4I
                                                          |5ÿ25>9ÿI8ÿ<OSOQN*:ÿ34ÿNQMNNÿHBÿ34ÿEI7646IIZÿR*Pÿ)BLW0F
                                                          )[44312Z584/Mÿÿ*ÿL2?|?4ÿ[ÿ;ÿH6?Z5ÿE>56ÿL8.3.5Z584ÿ[.655Z584ÿÿQ
                                                          L2?|?4ÿÿ;ÿ455>5ÿG51>3634?I8ÿÿ+ÿL2?|?4ÿEÿ;ÿH6I-I/59ÿ\69560
  N<ON:OQN*:                                              )X369Z38CÿE366?50ÿ)L845659MÿN<ON:OQN*:0
                                   ÿ*Qÿ                   BI4?I8ÿ4Iÿ[742I6?5ÿ_ÿihamcÿ~aheabÿlamÿbhmÿalÿ{bhimexÿgbfÿebgd
                                    )+^ÿ-./ÿ+ÿ9I1/0      mfimcÿywhoameebtÿwhÿbahÿemivhebtÿihamcÿhaÿyÿgÿ̀imhgeb
                                                          miiheheabÿngticÿgbfÿiexwmcgdiÿxdaiiÿibcicÿÿgÿgbf
                                                          pabamÿxdaiiÿ~ifevgdÿgbfÿhoimÿibilehcÿgbfÿ`ÿ̀abhebwi
                                                          xdaiiÿibilehÿmatmgxcÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIV
                                                          =5>34?@?4AÿB59?3CÿDDEÿ?42ÿ2536?8.ÿ4Iÿ|5ÿ25>9ÿI8ÿ<OSOQN*:ÿ34ÿNQMNNÿHB
                                                          34ÿEI7646IIZÿR*Pÿ)BLW0Fÿ)[44312Z584/Mÿÿ*ÿL2?|?4ÿ[ÿ;ÿH6I-I/59
                                                          U8456?Zÿ\6956ÿÿQÿL2?|?4ÿÿ;ÿH6I-I/59ÿ]?83>ÿ\69560ÿ)X369Z38CÿE366?50
  N<ON:OQN*:                                              )L845659MÿN<ON:OQN*:0
  N<ON:OQN*:                       ÿ*+ÿ                   BI4?I8ÿ4Iÿ=5514ÿ_ÿihamcÿ~aheabÿlamÿgbÿmfimÿywhoameebtÿhoi
                                    )*Qÿ-./ÿQÿ9I1/0      iivheabÿalÿ̀imhgebÿivwhamÿ̀abhmgvhcÿzwbvÿmaÿwbvÿhaÿhoiÿiheheab
                                                            ghiÿV?>59ÿ|AÿE366?5ÿ}ÿX369Z38ÿI8ÿ|523>VÿIVÿ=5>34?@?4AÿB59?3CÿDDEÿ?42
                                                          2536?8.ÿ4Iÿ|5ÿ25>9ÿI8ÿ<OSOQN*:ÿ34ÿNQMNNÿHBÿ34ÿEI7646IIZÿR*Pÿ)BLW0F
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                                                          *+,,-./012,34ÿ6ÿ7ÿ89/:;:,ÿ+ÿ<ÿ=>?@?31AÿB>A1>Cÿ*D->A0-2EÿF->>:1C
                                                           #:2231
                                                          *82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7Lÿ                   P?,:?2ÿ,?ÿ+Q,/?>:R1ÿSÿUVWXYZ[ÿ\YX]Y^ÿ_YZÿ̀^XZaÿY_ÿb^XVZ]cÿd^eÿf]^dg
                                    *KHÿ@M3NÿOÿA?.3C      hZeVZ[ÿijXkYZ]l]^mÿndacV^XÿY_ÿnZVoVX]X]Y^ÿpV[]ejdg[ÿd^eÿndZX]q]odX]Y^[
                                                          ]^ÿXkVÿhZe]^dZaÿrYjZ[VÿY_ÿsj[]^V[[ÿt:u1Aÿ;vÿF->>:1ÿwÿD->A0-2ÿ?2ÿ;1/-ut
                                                          ?tÿx1u-,:y:,vÿP1A:-EÿzzFÿ{:,/ÿ/1->:2Mÿ,?ÿ;1ÿ/1uAÿ?2ÿHI|IKG7Jÿ-,ÿGK4GG
                                                          =Pÿ-,ÿF?Q>,>??0ÿ}7~ÿ*P8Cÿ*+,,-./012,34ÿ6ÿ7ÿ89/:;:,ÿ+ÿ<ÿ=>?@?31A
                                                          2,1>:0ÿB>A1>ÿ6ÿKÿ89/:;:,ÿÿ<ÿ=>?@?31Aÿ:2-uÿB>A1>Cÿ*D->A0-2EÿF->>:1C
  GHIGJIKG7J                                              *82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7Hÿ                   P?,:?2ÿ,?ÿ+Q,/?>:R1ÿSÿUVWXYZ[ÿ\YX]Y^ÿ_YZÿd^ÿhZeVZÿiÿijXkYZ]l]^mÿWjX
                                    *KGÿ@M3NÿKÿA?.3C      ^YXÿU]ZVqX]^mÿXkVÿUVWXYZ[ÿXYÿrY^X]^jVÿnZVoVX]X]Y^ÿb^[jZd^qVÿrYVZdmV
                                                          d^eÿndaÿnZVoVX]X]Y^ÿhWg]mdX]Y^[ÿpVgdX]^mÿkVZVXYÿd^eÿsÿijXkYZ]l]^m
                                                          WjXÿ^YXÿU]ZVqX]^mÿdggÿf]^d^q]dgÿb^[X]XjX]Y^[ÿXYÿY^YZÿdggÿpVgdXVe
                                                          ndacV^XÿpVjV[X[ÿt:u1Aÿ;vÿF->>:1ÿwÿD->A0-2ÿ?2ÿ;1/-utÿ?tÿx1u-,:y:,v
                                                          P1A:-EÿzzFÿ*+,,-./012,34ÿ6ÿ7ÿ89/:;:,ÿ+ÿ<ÿ=>?@?31AÿB>A1>Cÿ*D->A0-2E
  GHIGJIKG7J                                              F->>:1Cÿ*82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7}ÿ                   P?,:?2ÿ,?ÿ+Q,/?>:R1ÿSÿUVWXYZ[ÿ\YX]Y^ÿ_YZÿ̀^XZaÿY_ÿb^XVZ]cÿd^eÿf]^dg
                                    *L}ÿ@M3NÿLÿA?.3C      hZeVZ[ÿiÿijXkYZ]l]^mÿrY^X]^jVeÿ[VÿY_ÿ̀][X]^mÿrd[kÿ\d^dmVcV^X
                                                          a[XVcÿsd^ÿiqqYj^X[ÿd^eÿsj[]^V[[ÿfYZc[ÿd^eÿndacV^XÿY_ÿpVgdXVe
                                                          nZVoVX]X]Y^ÿhWg]mdX]Y^[ÿsÿd]]^mÿrVZXd]^ÿb^V[XcV^Xÿd^eÿUVoY[]X
                                                          pVj]ZVcV^X[ÿY^ÿdÿ]c]XVeÿsd[][ÿrÿijXkYZ]l]^mÿrY^X]^jVe
                                                          `^mdmVcV^Xÿ]^ÿb^XVZqYcod^aÿZd^[dqX]Y^[ÿd^eÿUÿiqqYZe]^m
                                                          iec]^][XZdX]Vÿ̀oV^[VÿnZ]YZ]XaÿXdXj[ÿXYÿdggÿnY[XoVX]X]Y^ÿb^XVZqYcod^a
                                                          rgd]c[ÿt:u1Aÿ;vÿF->1vÿÿ./>1:;1>ÿ?2ÿ;1/-utÿ?tÿx1u-,:y:,vÿP1A:-EÿzzF
                                                          {:,/ÿ/1->:2Mÿ,?ÿ;1ÿ/1uAÿ?2ÿHI|IKG7Jÿ-,ÿGK4GGÿ=Pÿ-,ÿF?Q>,>??0ÿ}7~
                                                          *P8Cÿ*+,,-./012,34ÿ6ÿ7ÿ89/:;:,ÿ+ÿ6ÿKÿ89/:;:,ÿÿ6ÿOÿ89/:;:,ÿFC
  GHIGJIKG7J                                              *./>1:;1>EÿF->1vCÿ*82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7~ÿ                   P?,:?2ÿ,?ÿ+@@>?y1ÿ1;,?>ÿ:2ÿ=?33133:?2ÿ:2-2.:2MÿSÿUVWXYZ[ÿ\YX]Y^ÿfYZ
                                    *7OGÿ@M3NÿKÿA?.3C     `^XZaÿh_ÿb^XVZ]cÿi^eÿf]^dgÿhZeVZ[ÿbÿijXkYZ]l]^mÿkVÿUVWXYZ[ÿYÿi
                                                          hWXd]^ÿnY[XnVX]X]Y^ÿf]^d^q]^mÿi^eÿsÿ[Vÿrd[kÿrYggdXVZdgÿbb
                                                          Zd^X]^mÿieVjdXVÿnZYXVqX]Y^ÿbbbÿ\Ye]_a]^mÿkVÿijXYcdX]qÿXdaÿb
                                                          qkVejg]^mÿiÿf]^dgÿVdZ]^mÿi^eÿÿZd^X]^mÿpVgdXVeÿpVg]V_ÿt:u1Aÿ;v
                                                          F->1vÿÿ./>1:;1>ÿ?2ÿ;1/-utÿ?tÿx1u-,:y:,vÿP1A:-EÿzzFÿ{:,/ÿ/1->:2Mÿ,?
                                                          ;1ÿ/1uAÿ?2ÿHI|IKG7Jÿ-,ÿGK4GGÿ=Pÿ-,ÿF?Q>,>??0ÿ}7~ÿ*P8C
  GHIGJIKG7J                                              *+,,-./012,34ÿ6ÿ7ÿ89/:;:,ÿ+Cÿ*./>1:;1>EÿF->1vCÿ*82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7Jÿ                   ?,:.1ÿ?tÿ+M12A-ÿY_ÿ\dXXVZ[ÿqkVejgVeÿ_YZÿVdZ]^mÿY^ÿ\daÿÿÿdX
                                    *~ÿ@M3C               ÿn\ÿ`ÿt:u1Aÿ;vÿF->>:1ÿwÿD->A0-2ÿ?2ÿ;1/-utÿ?tÿx1u-,:y:,vÿP1A:-E
                                                          zzFÿ{:,/ÿ/1->:2Mÿ,?ÿ;1ÿ/1uAÿ?2ÿHI|IKG7Jÿ-,ÿGK4GGÿ=Pÿ-,ÿF?Q>,>??0ÿ}7~
  GHIGJIKG7J                                              *P8Cÿ*D->A0-2EÿF->>:1Cÿ*82,1>1A4ÿGHIGJIKG7JC
                                   ÿ7|ÿ                   ?,:.1ÿ?tÿ+@@1->-2.1ÿt:u1Aÿ;vÿx:./->AÿPÿ1u,R1>ÿ?2ÿ;1/-utÿ?tÿP?,:?2
                                    *Lÿ@M3C               =:.,Q>1ÿ2AQ3,>vÿ=123:?2ÿ-2AÿD1-u,/ÿ=u-23Eÿ>:,1>3ÿQ:uAÿ=123:?2ÿ=u-2
                                                          -2Aÿ2AQ3,>vÿD1-u,/ÿQ2AEÿ.>112ÿ+.,?>3ÿQ:uA<=>?AQ.1>3ÿ=123:?2ÿ
                                                          D1-u,/ÿ=u-23Eÿ:>1.,?>3ÿQ:uAÿ?tÿ+01>:.-Eÿ2.<=>?AQ.1>ÿ=123:?2ÿ-2A
                                                          D1-u,/ÿ=u-23Eÿ>:,1>3ÿQ:uAÿ?tÿ+01>:.-Eÿ13,Eÿ2.Eÿ.>112ÿ+.,?>3ÿQ:uA
                                                          <ÿ+01>:.-2ÿ1A1>-,:?2ÿ?tÿ1u1y:3:?2ÿ-2Aÿx-A:?ÿ+>,:3,3Eÿ:>1.,?>3ÿQ:uA
  GHIGJIKG7J                                              ?tÿ+01>:.-Eÿ2.ÿ*1u,R1>Eÿx:./->ACÿ*82,1>1A4ÿGHIGJIKG7JC
  GHIGJIKG7J                       ÿKGÿ                   ?,:.1ÿ?tÿ+@@1->-2.1ÿt:u1Aÿ;vÿ=1,1>ÿÿ1F/:->-ÿ?2ÿ;1/-utÿ?tÿ:>1.,?>3
                                    *Lÿ@M3C               Q:uAÿ?tÿ+01>:.-Eÿ2.Eÿ:>1.,?>3ÿQ:uAÿ?tÿ+01>:.-Eÿ2.<=>?AQ.1>
                                                          =123:?2ÿ-2AÿD1-u,/ÿ=u-23EÿP?,:?2ÿ=:.,Q>1ÿ2AQ3,>vÿ=123:?2ÿ-2AÿD1-u,/
                                                          =u-23Eÿ.>112ÿ+.,?>3ÿQ:uAÿ<ÿ+01>:.-2ÿ1A1>-,:?2ÿ?tÿ1u1y:3:?2ÿ-2A
                                                          x-A:?ÿ+>,:3,3Eÿ.>112ÿ+.,?>3ÿQ:uA<=>?AQ.1>3ÿ=123:?2ÿÿD1-u,/ÿ=u-23E
117 11! "#$55524%5&''2'2'5(5(45                                                           )1543
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                                                                        7ÿ7 Page 352 of 494 Page ID
                                                    )*+,-*.ÿ01+23ÿ4-5.+65ÿ4275ÿ753ÿ8531.,*9ÿ:-72,;ÿ<153=ÿ)*+,-*.ÿ01+23ÿ6>
                                                           #:2232
                                                    ?@-*+A7=ÿ)-.,=ÿ85ABBÿCD-E;+7*7=ÿ4-,-*FÿCG5,-*-3HÿIJKILKMINLF
                                   ÿMNÿ             R6,+A-ÿ6>ÿ?PP-7*75A-ÿ>+2-3ÿS9ÿT-2+..7ÿUBÿ)663.ÿ65ÿS-;72>ÿ6>ÿD+*-A,6*.
                                    COÿPQ.F         01+23ÿ6>ÿ?@-*+A7=ÿ85AB=ÿD+*-A,6*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ85ABV4*631A-*
                                                    4-5.+65ÿ753ÿ:-72,;ÿ4275.=ÿT6,+65ÿ4+A,1*-ÿ8531.,*9ÿ4-5.+65ÿ753ÿ:-72,;
                                                    4275.=ÿUA*--5ÿ?A,6*.ÿ01+23ÿVÿ?@-*+A75ÿ<-3-*7,+65ÿ6>ÿW-2-X+.+65ÿ753
                                                    Y73+6ÿ?*,+.,.=ÿUA*--5ÿ?A,6*.ÿ01+23V4*631A-*.ÿ4-5.+65ÿZÿ:-72,;ÿ4275.=
                                                    )*+,-*.ÿ01+23ÿ4-5.+65ÿ4275ÿ753ÿ8531.,*9ÿ:-72,;ÿ<153=ÿ)*+,-*.ÿ01+23ÿ6>
  IJKILKMINL                                        ?@-*+A7=ÿ)-.,=ÿ85ABBÿC)663.=ÿT-2+..7FÿCG5,-*-3HÿIJKILKMINLF
                                   ÿMMÿ             R6,+A-ÿ6>ÿ?PP-7*75A-ÿ>+2-3ÿS9ÿ?*,;1*ÿ[79ÿU,-+5S-*Qÿ65ÿS-;72>ÿ6>
                                    CMÿPQ.F         4*-P-,+,+65ÿT+3A7PÿU-A1*-3ÿ\-53-*.BÿCU,-+5S-*Q=ÿ?*,;1*FÿCG5,-*-3H
  IJKILKMINL                                        IJKILKMINLF
                                   ÿM]ÿ             ^*3-*ÿ.+Q5-3ÿ65ÿJKLKMINLÿ73@+,,+5QÿD75+-2ÿ[BÿTA01+*-=ÿG._Bÿ,6ÿP*7A,+A-
                                    CNÿPQF          P*6ÿ;7AÿX+A-ÿ+5ÿ,;+.ÿE61*,ÿCY-27,-3ÿD6Aÿ̀ÿ]FBÿCD-4+-*627=ÿ[7A_1-2+5-F
  IJKILKMINL                                        CG5,-*-3HÿIJKILKMINLF
                                   ÿMOÿ             ^*3-*ÿ.+Q5-3ÿ65ÿJKLKMINLÿ73@+,,+5Qÿ[1.,+5ÿGBÿY7a2+5.=ÿG._Bÿ,6ÿP*7A,+A-
                                    CNÿPQF          P*6ÿ;7AÿX+A-ÿ+5ÿ,;+.ÿE61*,ÿCY-27,-3ÿD6Aÿ̀ÿOFBÿCD-4+-*627=ÿ[7A_1-2+5-F
  IJKILKMINL                                        CG5,-*-3HÿIJKILKMINLF
                                   ÿMJÿ             bcdefghijkÿmnÿophÿqrstupkeÿvwwxÿR6,+A-ÿ6>ÿ?PP-7*75A-ÿyz{
                                    C]ÿPQ.F         |}~yz{ÿÿ}ÿyz{ÿy}ÿ>+2-3ÿS9ÿY+A;7*3ÿ\-X9ÿ[*Bÿ65ÿS-;72>ÿ6>
                                                    41*-ÿ<2+ÿG5,-*,7+5@-5,ÿ\\EBÿC\-X9=ÿY+A;7*3FÿT63+>+-3ÿ65ÿJKNIKMINL
  IJKILKMINL                                        CY+A;7*3.=ÿ-X-*29FBÿCG5,-*-3HÿIJKILKMINLF
                                   ÿMÿ             ?PP2+A7,+65ÿ>6*ÿ4*6ÿ:7Aÿ+A-ÿ?3@+..+65ÿÿ}ÿÿyzÿ>+2-3ÿS9
                                    C]ÿPQ.ÿMÿ36A.F T-2+..7ÿUBÿ)663.ÿ65ÿS-;72>ÿ6>ÿD+*-A,6*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ85AB=
                                                    D+*-A,6*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ85ABV4*631A-*ÿ4-5.+65ÿ753ÿ:-72,;ÿ4275.=
                                                    T6,+65ÿ4+A,1*-ÿ8531.,*9ÿ4-5.+65ÿ753ÿ:-72,;ÿ4275.=ÿUA*--5ÿ?A,6*.ÿ01+23ÿV
                                                    ?@-*+A75ÿ<-3-*7,+65ÿ6>ÿW-2-X+.+65ÿ753ÿY73+6ÿ?*,+.,.=ÿUA*--5ÿ?A,6*.
                                                    01+23V4*631A-*.ÿ4-5.+65ÿZÿ:-72,;ÿ4275.=ÿ)*+,-*.ÿ01+23ÿ4-5.+65ÿ4275
                                                    753ÿ8531.,*9ÿ:-72,;ÿ<153=ÿ)*+,-*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ)-.,=ÿ85ABB
                                                    C?,,7A;@-5,.Hÿ̀ÿNÿ4*6P6.-3ÿ^*3-*FÿC)663.=ÿT-2+..7FÿCG5,-*-3H
  IJKILKMINL                                        IJKILKMINLF
                                   ÿÿ               Y-A-+P,ÿ6>ÿ?PP2+A7,+65ÿ>6*ÿ4*6ÿ:7Aÿ+A-ÿ?3@+..+65CNLVNN]JLV@-aF
                                                    @6,+65=NMMÿCÿMIIBIIFÿ<+2+5Qÿ<--BÿY-A-+P,ÿ51@S-*ÿNMJL]Bÿ<--
  IJKILKMINL                                        7@615,ÿMIIBIIBÿCY-HÿD6Aÿ̀ÿMFÿCBUBÿW*-7.1*9FÿCG5,-*-3HÿIJKILKMINLF
                                   ÿMÿ             ?PP2+A7,+65ÿ>6*ÿ4*6ÿ:7Aÿ+A-ÿ?3@+..+65ÿÿ|y{ÿÿ{ÿ>+2-3ÿS9
                                    C]ÿPQ.ÿMÿ36A.F T-2+..7ÿUBÿ)663.ÿ65ÿS-;72>ÿ6>ÿD+*-A,6*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ85AB=
                                                    D+*-A,6*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ85ABV4*631A-*ÿ4-5.+65ÿ753ÿ:-72,;ÿ4275.=
                                                    T6,+65ÿ4+A,1*-ÿ8531.,*9ÿ4-5.+65ÿ753ÿ:-72,;ÿ4275.=ÿUA*--5ÿ?A,6*.ÿ01+23ÿV
                                                    ?@-*+A75ÿ<-3-*7,+65ÿ6>ÿW-2-X+.+65ÿ753ÿY73+6ÿ?*,+.,.=ÿUA*--5ÿ?A,6*.
                                                    01+23V4*631A-*.ÿ4-5.+65ÿZÿ:-72,;ÿ4275.=ÿ)*+,-*.ÿ01+23ÿ4-5.+65ÿ4275
                                                    753ÿ8531.,*9ÿ:-72,;ÿ<153=ÿ)*+,-*.ÿ01+23ÿ6>ÿ?@-*+A7=ÿ)-.,=ÿ85ABB
                                                    C?,,7A;@-5,.Hÿ̀ÿNÿ4*6P6.-3ÿ^*3-*FÿC)663.=ÿT-2+..7FÿCG5,-*-3H
  IJKILKMINL                                        IJKILKMINLF
                                   ÿÿ               Y-A-+P,ÿ6>ÿ?PP2+A7,+65ÿ>6*ÿ4*6ÿ:7Aÿ+A-ÿ?3@+..+65CNLVNN]JLV@-aF
                                                    @6,+65=NMMÿCÿMIIBIIFÿ<+2+5Qÿ<--BÿY-A-+P,ÿ51@S-*ÿNMJLIMBÿ<--
  IJKILKMINL                                        7@615,ÿMIIBIIBÿCY-HÿD6Aÿ̀ÿMFÿCBUBÿW*-7.1*9FÿCG5,-*-3HÿIJKILKMINLF
  IJKILKMINL                       ÿMLÿ             R6,+A-ÿ6>ÿ?PP-7*75A-ÿ>+2-3ÿS9ÿ?37@ÿE*7+Qÿ:7**+.ÿ65ÿS-;72>ÿ6>ÿ2,*7
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                                    )*ÿ,-./         012345-.ÿ6678ÿ)09::4.;ÿ<39=/ÿ)>5?@:@3AÿBCDBEDFBGE/
                                                           #:2233

                                   ÿFHÿ             I1?4J@ÿ1Kÿ<,,@9:95J@ÿK42@3ÿLMÿN@1:-@ÿO8ÿP@.4:@.ÿ15ÿL@Q92Kÿ1K
  BCDBEDFBGE                        )Fÿ,-./         R@JQ54J121:;ÿS5J88ÿ)P@.4:@.;ÿN@1:-@/ÿ)>5?@:@3AÿBCDBEDFBGE/
                                   ÿ*Bÿ             I1?4J@ÿ1Kÿ<,,@9:95J@ÿTUVWXYZÿV\ÿ]^^Z_`_aYZÿ_abÿcZdeZfWÿ\V`ÿgZ`hXYZÿV\
                                    )Fÿ,-./         i_^Z`fÿK42@3ÿLMÿj:95kÿ<8ÿl.m923ÿ15ÿL@Q92Kÿ1KÿO@29?4n4?Mÿ64?4-9?415ÿR:o.?
                                                    o53@:ÿ715K4:=@3ÿ7Q9,?@:ÿGGÿp295ÿK1:ÿO@29?4n4?Mÿj9.Q415;ÿ667ÿ@?ÿ928;8
  BCDBEDFBGE                                        )l.m923;ÿj:95k/ÿ)>5?@:@3AÿBCDBEDFBGE/
                                   ÿ*Gÿ             lLq@J?415ÿ?1ÿP1?415ÿTÿrstZYWXVaÿV\ÿWuZÿvaXWZbÿgW_WZfÿw`efWZZÿWVÿWuZ
                                    )GFÿ,-./        xZsWV`fyÿzVWXVaÿ\V`ÿ{aẀ|ÿV\ÿ}aWZ`X~ÿ_abÿXa_ÿr`bZ`fÿ]eWuV`XXaÿWuZ
                                                    xZsWV`fÿWVÿrsW_XaÿiVfWiZWXWXVaÿXa_aYXaÿ_abÿvfZÿ_fuÿV_WZ`_ÿ_ab
                                                    \V`ÿrWuZ`ÿcZXZ\ÿ):@29?@3ÿ31Jo=@5?)./G/ÿK42@3ÿLMÿ@5q9=45ÿ8ÿ04--45.ÿ15
                                                    L@Q92Kÿ1Kÿ54?@3ÿ?9?@.ÿR:o.?@@8ÿm4?QÿQ@9:45-ÿ?1ÿL@ÿQ@23ÿ15ÿCDHDFBGEÿ9?
                                                    BFABBÿpPÿ9?ÿ71o:?:11=ÿGÿ)P>/ÿ)04--45.;ÿ@5q9=45/ÿ)>5?@:@3A
  BCDBHDFBGE                                        BCDBHDFBGE/
                                   ÿ*Fÿ             <KK439n4?ÿ1Kÿ@:n4J@ÿV\ÿc_\_ZÿgWXWWÿcZ_`bXaÿX̀fWÿx_|ÿzVWXVafÿ_ab
                                    )GEÿ,-./        r`bZ`ÿxZY_`_WXVafÿV\ÿVXaÿzÿ]b_~fÿV`XÿgXa_a|_aÿ_abÿUVWXYZÿV\
                                                    ]Zab_ÿV\ÿz_WWZ`fÿgYuZbeZbÿ\V`ÿZ_`XaÿVaÿz_|ÿÿÿ_Wÿÿ^~
                                                    {wÿ):@29?@3ÿ31Jo=@5?)./GF;ÿG;ÿGE;ÿ;ÿH;ÿC;ÿG;ÿGB;ÿG*;ÿGG;ÿE;ÿG;ÿF;ÿGC/
                                                    j42@3ÿLMÿ<39=ÿP8ÿ<32@:ÿ15ÿL@Q92Kÿ1Kÿp:4=@ÿ72@:k;ÿ6678ÿ)<32@:;ÿ<39=/
  BCDBHDFBGE                                        )>5?@:@3AÿBCDBHDFBGE/
                                   ÿ**ÿ             lLq@J?415ÿ?1ÿP1?415ÿWVÿrsW_XaÿiVfWiZWXWXVaÿXa_aYXaÿ):@29?@3
                                    )Hÿ,-./         31Jo=@5?)./G/ÿK42@3ÿLMÿN@1:-@ÿO8ÿP@.4:@.ÿ15ÿL@Q92Kÿ1KÿR@JQ54J121:;
  BCDBHDFBGE                                        S5J88ÿ)P@.4:@.;ÿN@1:-@/ÿ)>5?@:@3AÿBCDBHDFBGE/
                                   ÿ*ÿ             l:3@:ÿ.4-5@3ÿ15ÿCDHDFBGEÿ93=4??45-ÿ1.@,Qÿ<8ÿ1Q95.k4;ÿ>.8ÿ?1ÿ,:9J?4J@
                                    )Gÿ,-/          ,:1ÿQ9Jÿn4J@ÿ45ÿ?Q4.ÿ71o:?ÿ)O@29?@3ÿ1JÿÿF/8ÿ)@p4@:129;ÿ9Jo@245@/
  BCDBHDFBGE                                        )>5?@:@3AÿBCDBHDFBGE/
                                   ÿ*Cÿ             l:3@:ÿ.4-5@3ÿ15ÿCDHDFBGEÿ93=4??45-ÿ9n43ÿ>8ÿ<Q311?;ÿ>.8ÿ?1ÿ,:9J?4J@
                                    )Gÿ,-/          ,:1ÿQ9Jÿn4J@ÿ45ÿ?Q4.ÿ71o:?ÿ)O@29?@3ÿ1JÿÿF/8ÿ)@p4@:129;ÿ9Jo@245@/
  BCDBHDFBGE                                        )>5?@:@3AÿBCDBHDFBGE/
                                   ÿ*ÿ             I1?4J@ÿ1Kÿ<,,@9:95J@ÿUVWXYZÿV\ÿ]^^Z_`_aYZÿ_abÿcZdeZfWÿ\V`ÿgZ`hXYZÿV\
                                    )*ÿ,-./         i_^Z`fÿK42@3ÿLMÿP9??Q@mÿ68ÿ9::@5ÿ15ÿL@Q92Kÿ1KÿO<ÿj42=ÿj4595J45-;
  BCDBHDFBGE                                        6678ÿ)9::@5;ÿP9??Q@m/ÿ)>5?@:@3AÿBCDBHDFBGE/
                                   ÿ*ÿ              I1?4J@ÿ1Kÿ<,,@9:95J@ÿUVWXYZÿV\ÿ]^^Z_`_aYZÿ_abÿcZdeZfWÿ\V`ÿgZ`hXYZÿV\
                                    )*ÿ,-./         i_^Z`fÿK42@3ÿLMÿP9??Q@mÿ68ÿ9::@5ÿ15ÿL@Q92Kÿ1KÿO<ÿj42=ÿj4595J45-;
  BCDBHDFBGE                                        6678ÿ)9::@5;ÿP9??Q@m/ÿ)>5?@:@3AÿBCDBHDFBGE/
                                   ÿ*Eÿ             <KK439n4?ÿ1Kÿ@:n4J@ÿT]\\Xb_hXWÿV\ÿgZ`hXYZÿV\ÿUVWXYZÿV\ÿ]^^Z_`_aYZÿ_ab
                                    )Fÿ,-./         cZdeZfWÿ\V`ÿgZ`hXYZÿV\ÿi_^Z`fÿ):@29?@3ÿ31Jo=@5?)./*B/ÿj42@3ÿLMÿj:95kÿ<8
                                                    l.m923ÿ15ÿL@Q92Kÿ1KÿO@29?4n4?Mÿ64?4-9?415ÿR:o.?ÿo53@:ÿ715K4:=@3ÿ7Q9,?@:
                                                    GGÿp295ÿK1:ÿO@29?4n4?Mÿj9.Q415;ÿ667ÿ@?ÿ928;8ÿ)l.m923;ÿj:95k/ÿ)>5?@:@3A
  BCDBHDFBGE                                        BCDBHDFBGE/
  BCDGBDFBGE                       ÿ*Hÿ             l:3@:ÿ.4-5@3ÿ15ÿCDGBDFBGEÿ9o?Q1:445-ÿ?Q@ÿ@L?1:.ÿ?1ÿ,:@,9:@ÿ9ÿ24.?ÿ1K
                                    )Eÿ,-.ÿFÿ31J./ J:@34?1:.ÿ45ÿ24@oÿ1Kÿ.oL=4??45-ÿ9ÿK1:=9??@3ÿ=94245-ÿ=9?:4;ÿK42@ÿ9
                                                    J15.12439?@3ÿ24.?ÿ1Kÿ?Q@ÿ@L?1:.ÿCBÿ29:-@.?ÿo5.@Jo:@3ÿJ:@34?1:.;ÿ:@39J?
                                                    J@:?945ÿ,@:.1592ÿ43@5?4K4J9?415ÿ45K1:=9?415ÿK1:ÿ4534n43o92ÿJ:@34?1:.ÿ953
                                                    =942ÿ454?492ÿ51?4J@.;ÿ953ÿ9,,:1n45-ÿ?Q@ÿK1:=ÿ953ÿ=955@:ÿ1Kÿ51?4KM45-
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                                                    *+,-./0+1ÿ03ÿ/4,ÿ*055,6*,5,6/ÿ03ÿ/4,ÿ7,8/0+19ÿ*4:;/,+ÿ<<ÿ*:1,1ÿ=>,?:/,-
                                                           #:2234
                                                    70*ÿ@ÿABCÿ=7,D.,+0?:EÿF:*GH,?.6,Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿPKÿ             R0/.*,ÿ03ÿS,:+.6Qÿ=+,?:/,-ÿ-0*H5,6/=1B<PEÿ<KEÿ<LEÿ<NEÿ<TBÿ3.?,-ÿ8UÿV:++.,
                                    =Nÿ;Q1B         WÿS:+-5:6ÿ06ÿ8,4:?3ÿ03ÿ>,?:/.X./UÿY,-.:EÿZZVCÿ[./4ÿ4,:+.6Qÿ/0ÿ8,ÿ4,?-
                                                    06ÿLM\KMNK<Oÿ:/ÿKNJKKÿDYÿ:/ÿV0H+/+005ÿ]<Tÿ=YI^Bÿ=S:+-5:6EÿV:++.,B
  KLM<KMNK<O                                        =I6/,+,-JÿKLM<KMNK<OB
                                   ÿP<ÿ             _+-,+ÿ1.Q6,-ÿ06ÿLM<KMNK<Oÿ:H/40+.̀.6Qÿ+,/,6/.06ÿ:6-ÿ:;;0.6/5,6/ÿ03
                                    =]ÿ;Q1B         D+.5,ÿV?,+aÿZZVÿ:1ÿ*?:.51ÿ:6-ÿ60/.*.6Qÿ:Q,6/Eÿ6H6*ÿ;+0ÿ/H6*ÿ/0ÿ/4,
                                                    ;,/./.06ÿ-:/,ÿ=>,?:/,-ÿ70*ÿ@ÿ<<BCÿ=7,D.,+0?:EÿF:*GH,?.6,Bÿ=I6/,+,-J
  KLM<KMNK<O                                        KLM<KMNK<OB
                                   ÿPNÿ             b6/,+.5ÿ_+-,+ÿ1.Q6,-ÿ06ÿLM<KMNK<Oÿ:H/40+.̀.6Qÿ*06/.6H,-ÿH1,ÿ03ÿ,c.1/.6Q
                                    =<Nÿ;Q1B        *:14ÿ5:6:Q,5,6/ÿ1U1/,5Eÿ8:6aÿ:**0H6/1ÿ:6-ÿ8H1.6,11ÿ30+51Eÿ:6-
                                                    ;:U5,6/ÿ03ÿ+,?:/,-ÿ;+,;,/./.06ÿ08?.Q:/.061Eÿ[:.X.6Qÿ*,+/:.6ÿ.6X,1/5,6/
                                                    :6-ÿ-,;01./ÿ+,GH.+,5,6/1ÿ06ÿ:ÿ?.5./,-ÿ8:1.1Eÿ:H/40+.̀.6Qÿ*06/.6H,-
                                                    ,6Q:Q,5,6/ÿ.6ÿ.6/,+*05;:6Uÿ/+:61:*/.061Eÿ:6-ÿ:**0+-.6Qÿ:-5.6.1/+:/.X,
                                                    ,c;,61,ÿ;+.0+./Uÿ1/:/H1ÿ/0ÿ:??ÿ;01/;,/./.06ÿ.6/,+*05;:6Uÿ*?:.51ÿ=+,?:/,-
                                                    -0*H5,6/=1B<]BCÿd.6:?ÿ4,:+.6Qÿ/0ÿ8,ÿ4,?-ÿ06ÿLM\KMNK<Oÿ:/ÿKNJKKÿDYÿ:/
  KLM<KMNK<O                                        V0H+/+005ÿ]<Tÿ=YI^BCÿ=7,D.,+0?:EÿF:*GH,?.6,Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿP\ÿ             b6/,+.5ÿ_+-,+ÿ1.Q6,-ÿ06ÿLM<KMNK<Oÿ:H/40+.̀.6QEÿ8H/ÿ60/ÿ-.+,*/.6QE
                                    =Lÿ;Q1B         7,8/0+1ÿ/0ÿ;:Uÿ*,+/:.6ÿ;+,;,/./.06ÿ[:Q,1ÿ:6-ÿ+,.58H+1:8?,ÿ,5;?0U,,
                                                    ,c;,61,1Eÿ;:Uÿ:6-ÿ4060+ÿ,5;?0U,,ÿ5,-.*:?ÿ:6-ÿ0/4,+ÿ8,6,3./1ÿ:6-
                                                    *06/.6H,ÿ,5;?0U,,ÿ8,6,3./ÿ;+0Q+:51ÿ=+,?:/,-ÿ-0*H5,6/=1B<NBCÿd.6:?
                                                    4,:+.6Qÿ/0ÿ8,ÿ4,?-ÿ06ÿLM\KMNK<Oÿ:/ÿKNJKKÿDYÿ:/ÿV0H+/+005ÿ]<Tÿ=YI^BC
  KLM<KMNK<O                                        =7,D.,+0?:EÿF:*GH,?.6,Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿPPÿ             R0/.*,ÿ03ÿ^./4-+:[:?ÿefÿhiijklkmnjÿkmoÿpjqrjstÿfelÿpjuevkwÿfleuÿxyz
                                    =<ÿ;QB          {jlv|njÿ=+,?:/,-ÿ-0*H5,6/=1BNLBÿ3.?,-ÿ8Uÿ>.*4:+-ÿZ,XUÿF+Cÿ06ÿ8,4:?3ÿ03
  KLM<KMNK<O                                        DH+,ÿd?.cÿI6/,+/:.65,6/ÿZZVCÿ=Z,XUEÿ>.*4:+-Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿPLÿ             b6/,+.5ÿ_+-,+ÿ1.Q6,-ÿ06ÿLM<KMNK<Oÿ:H/40+.̀.6Qÿ;:U5,6/ÿ03ÿ;+,;,/./.06
                                    =Pÿ;Q1B         +,1.-H:?1ÿ:6-ÿ;:+/.*.;:/.061ÿ.6ÿ/4,ÿ0+-.6:+Uÿ*0H+1,ÿ03ÿ8H1.6,11ÿ=+,?:/,-
                                                    -0*H5,6/=1B<PBCÿd.6:?ÿ4,:+.6Qÿ/0ÿ8,ÿ4,?-ÿ06ÿLM\KMNK<Oÿ:/ÿKNJKKÿDYÿ:/
  KLM<KMNK<O                                        V0H+/+005ÿ]<Tÿ=YI^BCÿ=7,D.,+0?:EÿF:*GH,?.6,Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿP]ÿ             _+-,+ÿ1.Q6,-ÿ06ÿLM<KMNK<Oÿ:H/40+.̀.6Qÿ/4,ÿ+,},*/.06ÿ03ÿ*,+/:.6ÿ,c,*H/0+
                                    =\ÿ;Q1B         *06/+:*/1ÿ6H6*ÿ;+0ÿ/H6*ÿ/0ÿ/4,ÿ;,/./.06ÿ-:/,ÿ=>,?:/,-ÿ70*ÿ@ÿ<\BCÿ~ÿ4,:+.6Q
                                                    .1ÿ1,/ÿ30+ÿY:Uÿ\KEÿNK<Oÿ:/ÿNJKKÿ;5ÿ06?Uÿ.3ÿ:6Uÿ*0H6/,+;:+/.,1ÿ1,,aÿ/0
                                                    *4:??,6Q,ÿ/4,ÿ+,},*/.06ÿ03ÿ/4,.+ÿ+,1;,*/.X,ÿ*06/+:*/Cÿ=7,D.,+0?:E
  KLM<KMNK<O                                        F:*GH,?.6,Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿPTÿ             ~;;?.*:/.06ÿ30+ÿD+0ÿS:*ÿW.*,ÿ~-5.11.06ÿefÿeuksÿxÿkttjlsemÿ3.?,-ÿ8U
                                    =Nÿ;Q1ÿNÿ-0*1B 7:X.-ÿYCÿH,11ÿ06ÿ8,4:?3ÿ03ÿR,/3?.cEÿb6*CCÿ=~//:*45,6/1Jÿ@ÿ<ÿD+0;01,-
  KLM<KMNK<O                                        _+-,+Bÿ=H,11Eÿ7:X.-Bÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿÿ               >,*,.;/ÿ03ÿ~;;?.*:/.06ÿ30+ÿD+0ÿS:*ÿW.*,ÿ~-5.11.06=<O<<\LO5,[B
                                                    50/.06E<NNÿ=ÿNKKCKKBÿd.?.6Qÿd,,Cÿ>,*,.;/ÿ6H58,+ÿ<NLT<T]TCÿd,,
  KLM<KMNK<O                                        :50H6/ÿNKKCKKCÿ=>,Jÿ70*ÿ@ÿPTBÿ=CCÿ+,:1H+UBÿ=I6/,+,-JÿKLM<KMNK<OB
                                   ÿPOÿ             ~;;?.*:/.06ÿ30+ÿD+0ÿS:*ÿW.*,ÿ~-5.11.06ÿefÿrw|kmÿÿrlrwjÿ3.?,-ÿ8U
                                    =Nÿ;Q1ÿNÿ-0*1B 7:X.-ÿYCÿH,11ÿ06ÿ8,4:?3ÿ03ÿR,/3?.cEÿb6*CCÿ=~//:*45,6/1Jÿ@ÿ<ÿD+0;01,-
  KLM<KMNK<O                                        _+-,+Bÿ=H,11Eÿ7:X.-Bÿ=I6/,+,-JÿKLM<KMNK<OB
  KLM<KMNK<O                       ÿÿ               >,*,.;/ÿ03ÿ~;;?.*:/.06ÿ30+ÿD+0ÿS:*ÿW.*,ÿ~-5.11.06=<O<<\LO5,[B
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                                                     )*+,-+./0112ÿ4ÿ1556557ÿ8-9-.:ÿ8;;6ÿ<;=;->,ÿ.?*@;Aÿ01BC0CDE6ÿ8;;
                                                           #:2235
                                                     F*+?.,ÿ1556556ÿ4<;GÿH+=ÿIÿJK7ÿ4L6M6ÿNA;FO?AP7ÿ4Q.,;A;RGÿ5BS05S150K7
                                   ÿJDÿ              T+,-=;ÿ+UÿV>>;FAF.=;ÿWXYÿ[\]^\_ÿ̀abcÿd\cefg\ÿbaÿhWi\c_ÿU-9;Rÿ@PÿHFj-R
                                    4Eÿ>:O7          k6ÿl?;OOÿ+.ÿ@;mF9Uÿ+UÿT;,U9-n/ÿo.=66ÿ4l?;OO/ÿHFj-R7ÿ4Q.,;A;RG
  5BS05S150K                                         5BS05S150K7
                                   ÿB5ÿ              T+,-=;ÿ+UÿV>>;FAF.=;ÿU-9;Rÿ@PÿpFA9;Pÿq6ÿl+9RO,;-.ÿ+.ÿ@;mF9Uÿ+UÿrrQ
  5BS05S150K                        4Eÿ>:O7          M,?R-+O/ÿo.=66ÿ4l+9RO,;-./ÿpFA9;P7ÿ4Q.,;A;RGÿ5BS05S150K7
                                   ÿB0ÿ              sAR;AÿO-:.;Rÿ+.ÿBS00S150KÿFR*-,,-.:ÿNm+*FOÿQ6ÿtF,,;AO+./ÿQOu6ÿ,+
                                    40ÿ>:7           >AF=,-=;ÿ>A+ÿmF=ÿj-=;ÿ-.ÿ,m-Oÿv+?A,ÿ4<;9F,;RÿH+=ÿIÿJC76ÿ4H;t-;A+9F/
  5BS00S150K                                         qF=u?;9-.;7ÿ4Q.,;A;RGÿ5BS00S150K7
                                   ÿB1ÿ              sAR;AÿO-:.;Rÿ+.ÿBS00S151KÿFR*-,,-.:ÿq?9-.Fÿo6ÿl?A?9;/ÿQOu6ÿ,+ÿ>AF=,-=;
                                    40ÿ>:7           >A+ÿmF=ÿj-=;ÿ-.ÿ,m-Oÿv+?A,ÿ4<;9F,;RÿH+=ÿIÿJK76ÿ4H;t-;A+9F/ÿqF=u?;9-.;7
  5BS00S150K                                         4Q.,;A;RGÿ5BS00S150K7
                                   ÿBEÿ              T+,-=;ÿ+UÿV>>;FAF.=;ÿwxbf̀g\ÿbaÿyii\WcWXg\ÿbaÿz\XX\`{ÿ|W}_~WXYÿWXY
                                    4Eÿ>:O7          [\]^\_ÿ̀abcÿd\cefg\ÿbaÿxbf̀g\_ÿWXYÿhWi\c_ÿU-9;Rÿ@Pÿ-=,+AÿVÿMFm.ÿ+.
  5BS00S150K                                         @;mF9Uÿ+Uÿ;..;,mÿpF9O@F.R6ÿ4MFm./ÿ-=,+A7ÿ4Q.,;A;RGÿ5BS00S150K7
                                   ÿCJÿ              NAF.O=A->,ÿA;:FAR-.:ÿp;FA-.:ÿp;9Rÿ+.ÿ5BS5DS150KÿF,ÿ1G5Kÿ>*ÿ<QGÿk+,-+.
                                    40BJÿ>:O7        ,+ÿF?,m+A-;ÿH;@,+AOÿ,+ÿ+@,F-.ÿ>+O,>;,-,-+.ÿU-.F.=-.:ÿF.Rÿ?O;ÿ=FOm
                                                     =+99F,;AF9/ÿ:AF.,-.:ÿFR;u?F,;ÿ>A+,;=,-+.ÿ*+R-UP-.:ÿ,m;ÿF?,+*F,-=ÿO,FP/
                                                     O=m;R?9-.:ÿFÿU-.F9ÿm;FA-.:/ÿF.Rÿ:AF.,-.:ÿA;9F,;RÿA;9-;Uÿk+,-+.ÿU+Aÿ-.,;A-*
                                                     F.RÿU-.F9ÿ+AR;AOÿF?,m+A--.:ÿ=+.,-.?;Rÿ?O;ÿ+Uÿ;n-O,-.:ÿ=FOmÿ*F.F:;*;.,
                                                     OPO,;*/ÿ@F.ÿF==+?.,OÿF.Rÿ@?O-.;OOÿU+A*O/ÿF.Rÿ>FP*;.,ÿ+UÿA;9F,;Rÿ>A;
                                                     >;,-,-+.ÿ+@9-:F,-+.O/ÿF-j-.:ÿ=;A,F-.ÿ-.j;O,*;.,ÿF.RÿR;>+O-,ÿA;u?-A;*;.,O
                                                     +.ÿFÿ9-*-,;Rÿ@FO-O/ÿF?,m+A--.:ÿ=+.,-.?;Rÿ;.:F:;*;.,ÿ-.ÿ-.,;A=+*>F.P
                                                     ,AF.OF=,-+.OÿF.RÿF==+AR-.:ÿFR*-.-O,AF,-j;ÿ;n>;.O;ÿ>A-+A-,PÿO,F,?Oÿ,+ÿF99
                                                     >+O,>;,-,-+.ÿ-.,;A=+*>F.Pÿ=9F-*O6ÿk+,-+.ÿF?,m+A--.:ÿ>FP*;.,ÿ+Uÿ>A;
                                                     >;,-,-+.ÿA;O-R?F9OÿF.Rÿ>FA,-=->F,-+.Oÿ-.ÿ,m;ÿ+AR-.FAPÿ=+?AO;ÿ+Uÿ@?O-.;OO6
                                                     k+,-+.ÿF?,m+A--.:ÿ,m;ÿA;;=,-+.ÿ+Uÿ=;A,F-.ÿ;n;=?,+APÿ=+.,AF=,Oÿ.?.=ÿ>A+
                                                     ,?.=ÿ,+ÿ,m;ÿ>;,-,-+.ÿRF,;666;,ÿF96ÿ<;*+,;ÿ;9;=,A+.-=ÿF==;OOÿ,+ÿ,m;ÿ,AF.O=A->,
                                                     -OÿA;O,A-=,;Rÿ?.,-9ÿKSDS150K6ÿNm;ÿ,AF.O=A->,ÿ*FPÿ@;ÿj-; ;RÿF,ÿ,m;
                                                     F.A?>,=Pÿv+?A,ÿv9;AOÿsUU-=;6ÿ)NAF.O=A->,-+.ÿM;Aj-=;ÿV:;.=PG
                                                     ;M=A-@;AO/ÿv626ÿ4M;;ÿ,m;ÿv+?A,Oÿr;@O-,;ÿU+Aÿ=+.,F=,ÿ-.U+A*F,-+.ÿU+Aÿ,m;
                                                     NAF.O=A->,-+.ÿM;Aj-=;ÿV:;.=P676ÿT+,-=;ÿ+Uÿo.,;.,ÿ,+ÿ<;u?;O,ÿ<;RF=,-+.
                                                     H;FR9-.;ÿH?;ÿPÿBS0KS150K6ÿM,F,;*;.,ÿ+Uÿ<;RF=,-+.ÿ<;u?;O,ÿH?;ÿP
                                                     S0S150K6ÿ<;RF=,;RÿNAF.O=A->,ÿM?@*-OO-+.ÿH?;ÿPÿS00S150K6ÿNAF.O=A->,
                                                     F==;OOÿ-99ÿ@;ÿA;O,A-=,;Rÿ,mA+?:mÿKSDS150K6ÿ4; -O/ÿN;.-99;7ÿ4Q.,;A;RG
  5BS00S150K                                         5BS0CS150K7
                                   ÿBJÿ              k+,-+.ÿ,+ÿV?,m+A-;ÿwÿ\~b̀c_ÿbf̀bXÿabcÿWXÿcY\cÿy^`{bcffXÿ̀{\
                                    415ÿ>:OÿEÿR+=O7 \~b̀c_ÿ̀bÿ~ẀfXÿWf}ÿX_^cWXg\ÿ̀bÿbXf̀X^\ÿhc\i\f̀f̀bXÿX_^cWXg\
                                                     be\cW\ÿWXYÿhWÿ~}fWf̀bX_ÿ[\}Wf̀Xÿ{\c\b̀ÿU-9;Rÿ@PÿvFAA-;ÿ
                                                     pFAR*F.ÿ+.ÿ@;mF9Uÿ+Uÿ<;9F,-j-,Pÿk;R-F/ÿvÿ-,mÿm;FA-.:ÿ,+ÿ@;ÿm;9Rÿ+.
                                                     BS0S150KÿF,ÿ51G55ÿtkÿF,ÿv+?A,A++*ÿ0Cÿ4kQr76ÿ4V,,F=m*;.,OGÿIÿ0
                                                     Qnm-@-,ÿVÿÿtA+>+O;RÿsAR;AÿIÿ1ÿQnm-@-,ÿÿÿVRF*OÿH;=9FAF,-+.7
  5BS01S150K                                         4pFAR*F./ÿvFAA-;7ÿ4Q.,;A;RGÿ5BS01S150K7
                                   ÿBBÿ              T+,-=;ÿ+Uÿp;FA-.:ÿ4A;9F,;RÿR+=?*;.,4O7BJ7ÿU-9;Rÿ@PÿvFAA-;ÿÿpFAR*F.ÿ+.
                                    41ÿ>:O7          @;mF9Uÿ+Uÿ<;9F,-j-,Pÿk;R-F/ÿv6ÿ-,mÿm;FA-.:ÿ,+ÿ@;ÿm;9Rÿ+.ÿBS0S150KÿF,
                                                     51G55ÿtkÿF,ÿv+?A,A++*ÿ0Cÿ4kQr7ÿ4pFAR*F./ÿvFAA-;7ÿ4Q.,;A;RG
  5BS01S150K                                         5BS01S150K7

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  )*+,-+.),/                       ÿ*1ÿ               ;<=>?@AÿB?7>?ÿ5@4<>7ÿ8<ÿ*+,-+.),/ÿCD=E8?@F@<4ÿG>H=8?5ÿ=8ÿ8H=C@<ÿ5>9D?>7
                                                           #:2236
                                    2/-ÿ3456ÿ.ÿ7895: 385=I3>=@=@8<ÿJ@<C<9@<4ÿC<7ÿD5>ÿ9C5Eÿ98KKC=>?CK6ÿ4?C<=@<4ÿC7>LDC=>
                                                      3?8=>9=@8<6ÿA87@JM@<4ÿ=E>ÿCD=8AC=@9ÿ5=CM6ÿ59E>7DK@<4ÿCÿJ@<CKÿE>C?@<4ÿC<7
                                                      4?C<=@<4ÿ?>KC=>7ÿ?>K@>Jÿ2?>KC=>7ÿ789DA><=25:,N:OÿP@<CKÿE>C?@<4ÿ=8ÿH>ÿE>K7
                                                      8<ÿ*+Q)+.),/ÿC=ÿ).R))ÿSTÿC=ÿU8D?=?88Aÿ1,Nÿ2TVW:Oÿ2G>S@>?8KCX
                                                      YC9LD>K@<>:ÿ2V<=>?>7Rÿ)*+,-+.),/:
                                   ÿ*Nÿ               BHZ>9=@8<ÿ=8ÿT8=@8<ÿ[\]\^_`ÿbcd_e^\fgÿfhÿi_^hj\klÿmgenÿ^fÿo_c^fpqrÿsf^\fg
                                    2*1ÿ345:          hfpÿtgÿbp`_pÿuv^wfp\x\gyÿ^w_ÿo_c^fpqÿ^fÿbc^t\gÿzt\jÿmgqvptge_ÿ^f
                                                      {fg^\gv_ÿ|p_}_^\^\fgÿmgqvptge_ÿ{f~_pty_ÿtg`ÿ|tÿbcj\yt^\fgqÿ_jt^\gy
                                                      zw_p_^fÿ2?>KC=>7ÿ789DA><=25:*-:ÿJ@K>7ÿHMÿGC@7ÿTOÿD>55ÿ8<ÿH>ECKJÿ8J
  )*+,*+.),/                                          >=JK@Xÿ;<9OOÿ2D>55XÿGC@7:ÿ2V<=>?>7Rÿ)*+,*+.),/:
                                   ÿ*/ÿ                 JJ@7C@=ÿ8Jÿ>?@9>ÿbhÿtht_jÿ^\^^ÿ_ytp`\gyÿif^\e_ÿfhÿ_tp\gylÿif^\e_
                                    2.Q1ÿ345:         fhÿ{f]]_ge_]_g^ÿtg`ÿo_c^fpqrÿsf^\fgÿhfpÿtgÿbp`_pÿuÿuv^wfp\x\gyl
                                                      cv^ÿgf^ÿo\p_e^\gylÿ^w_ÿo_c^fpqÿ^fÿ{fg^\gv_ÿ|p_}_^\^\fgÿmgqvptge_
                                                      {f~_pty_ÿtg`ÿ|tÿ|p_}_^\^\fgÿbcj\yt^\fgqÿ_jt^\gyÿ^w_p_^fÿtg`ÿ
                                                      uv^wfp\x\gylÿcv^ÿgf^ÿo\p_e^\gylÿtjjÿ\gtge\tjÿmgq^\^v^\fgqÿ^fÿfgfpÿtjj
                                                      _jt^_`ÿ|t]_g^ÿ_v_q^qÿ2?>KC=>7ÿ789DA><=25:-)Xÿ,*:ÿJ@K>7ÿHMÿS?@A>
  )*+,*+.),/                                          UK>?XÿUO2TCK8XÿGC@7:ÿ2V<=>?>7Rÿ)*+,*+.),/:
                                   ÿ*ÿ               8=@9>ÿ8Jÿ33>C?C<9>ÿJ@K>7ÿHMÿ>?8<@LD>ÿ<<>ÿ?HC<ÿ8<ÿH>ECKJÿ8JÿMC<
  )*+,1+.),/                        2Qÿ345:           CC<CD4EOÿ2?HC<Xÿ>?8<@LD>:ÿ2V<=>?>7Rÿ)*+,1+.),/:
                                   ÿ1)ÿ               >==>?ÿÿif^\e_ÿfhÿv}}j_]_g^tjÿo_ejtpt^\fgÿ\gÿv}}fp^ÿfhÿo_c^fpqr
                                    2,,*ÿ3456ÿ.ÿ7895: sf^\fgÿhfpÿtgÿbp`_pÿuv^wfp\x\gyÿ^w_ÿo_c^fpqÿ^fÿbc^t\gÿzt\jÿmgqvptge_ÿ^f
                                                      {fg^\gv_ÿ|p_}_^\^\fgÿmgqvptge_ÿ{f~_pty_ÿtg`ÿ|tÿbcj\yt^\fgqÿ_jt^\gy
                                                      zw_p_^fÿ2?>KC=>7ÿ789DA><=25:*-Xÿ*N:ÿP@K>7ÿHMÿUC??@>ÿÿC?7AC<ÿ8<
                                                      H>ECKJÿ8Jÿ>KC=@@=MÿT>7@CXÿUOÿ@=EÿE>C?@<4ÿ=8ÿH>ÿE>K7ÿ8<ÿ*+,1+.),/ÿC=
                                                      ).R))ÿSTÿC=ÿU8D?=?88Aÿ1,Nÿ2TVW:ÿ2==C9EA><=5Rÿÿ,ÿVE@H@=ÿ,ÿI
                                                      D33K>A><=CKÿ7CA5ÿG>9KC?C=@8<ÿ@<ÿD338?=ÿ8JÿC@KÿT8=@8<:2C?7AC<X
  )*+,1+.),/                                          UC??@>:ÿ2V<=>?>7Rÿ)*+,1+.),/:
                                   ÿ1,ÿ               8=@9>ÿ8Jÿ33>C?C<9>ÿtg`ÿ_v_q^ÿhfpÿ_p~\e_ÿfhÿ|t}_pqÿJ@K>7ÿHMÿT@=9E>K
                                    2Qÿ345:           OÿS>?@>Kÿ8<ÿH>ECKJÿ8JÿBKKC887ÿS?87D9=@8<5XÿUOÿ2S>?@>KXÿT@=9E>K:
  )*+,1+.),/                                          2V<=>?>7Rÿ)*+,1+.),/:
                                   ÿ1.ÿ               8=@9>ÿ8Jÿ33>C?C<9>ÿtg`ÿ_v_q^ÿhfpÿofev]_g^qÿJ@K>7ÿHMÿV?@9ÿYOÿW@5>
                                    2Qÿ345:           8<ÿH>ECKJÿ8JÿTC9LDC?@>ÿÿ?C7@<4ÿUXÿU?M5=CKÿ9?>><5ÿT>7@Cÿ;<9OO
  )*+,1+.),/                                          2W@5>XÿV?@9:ÿ2V<=>?>7Rÿ)*+,1+.),/:
                                   ÿ1Qÿ                 33K@9C=@8<ÿJ8?ÿS?8ÿC9ÿ@9>ÿ7A@55@8<ÿÿsf^\fgÿhfpÿu`]\qq\fgÿ^f
                                    2-ÿ345:           |pte^\e_lÿ|pfÿteÿ\e_ÿJ@K>7ÿHMÿV?@9ÿYOÿW@5>ÿ8<ÿH>ECKJÿ8JÿU?M5=CKÿ9?>><5
                                                      T>7@Cÿ;<9OXÿTC9LDC?@>ÿÿ?C7@<4ÿUOÿ2W@5>XÿV?@9:ÿ2V<=>?>7R
  )*+,1+.),/                                          )*+,1+.),/:
                                   ÿ1-ÿ                 33K@9C=@8<ÿJ8?ÿS?8ÿC9ÿ@9>ÿ7A@55@8<ÿÿsf^\fgÿhfpÿu`]\qq\fgÿ^f
                                    2-ÿ345:           |pte^\e_lÿ|pfÿteÿ\e_ÿJ@K>7ÿHMÿV?@9ÿYOÿW@5>ÿ8<ÿH>ECKJÿ8JÿU?M5=CKÿ9?>><5
                                                      T>7@Cÿ;<9OXÿTC9LDC?@>ÿÿ?C7@<4ÿUOÿ2W@5>XÿV?@9:ÿ2V<=>?>7R
  )*+,1+.),/                                          )*+,1+.),/:
                                   ÿ1*ÿ               B?7>?ÿ5@4<>7ÿ8<ÿ*+,1+.),/ÿC7A@==@<4ÿGC<@>KÿOÿG><<MXÿV5LOÿ=8ÿ3?C9=@9>
                                    2,ÿ34:            3?8ÿEC9ÿ@9>ÿ@<ÿ=E@5ÿU8D?=ÿ2>KC=>7ÿG89ÿÿ1Q:Oÿ2G>S@>?8KCXÿYC9LD>K@<>:
  )*+,1+.),/                                          2V<=>?>7Rÿ)*+,1+.),/:
  )*+,1+.),/                       ÿ11ÿ               B?7>?ÿ5@4<>7ÿ8<ÿ*+,1+.),/ÿC7A@==@<4ÿCAD>KÿOÿ>AC<XÿV5LOÿ=8
                                    2,ÿ34:            3?C9=@9>ÿ3?8ÿEC9ÿ@9>ÿ@<ÿ=E@5ÿU8D?=ÿ2>KC=>7ÿG89ÿÿ1-:Oÿ2G>S@>?8KCX
117 11! "#$55524%5&''2'2'5(5(45                                                        541543
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                                                           40-5   7ÿ09/30/21
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                                                          )*+,-./01.2ÿ4516.7.89ÿ:;<=><?:=@2
                                                           #:2237

                                   ÿ>Aÿ                   FCC/0+*60G1ÿHG7ÿI7GÿJ*+ÿK0+.ÿF8L0EE0G1ÿMNÿPQRSÿTUÿPQVWQVÿH0/.8ÿXY
                                    4BÿCDE2               Z0//0*LÿJ*GÿG1ÿX.[*/HÿGHÿ\].160.6[ÿ^.16-7Yÿ_G`ÿJGL.ÿ516.76*01L.16
  :;<=><?:=@                                              aa^bÿ4J*GcÿZ0//0*L2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿÿ                     d.+.0C6ÿGHÿFCC/0+*60G1ÿHG7ÿI7GÿJ*+ÿK0+.ÿF8L0EE0G14=@e==B;@eL.]2
                                                          fLG60G1c=??gÿ4ÿ?::b::2ÿ_0/01Dÿ_..bÿd.+.0C6ÿ1-LX.7ÿ=?;@:==:bÿ_..
  :;<=><?:=@                                              *LG-16ÿ?::b::bÿ4d.9ÿhG+ÿiÿ>A2ÿ4jbkbÿ\7.*E-7Y2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿ>@ÿ                   lG60+.ÿGHÿFCC.*7*1+.ÿmWnÿoQpqQrsÿNMVÿtQVuRvQÿMNÿwmxQVrÿH0/.8ÿXYÿZ0//0*L
                                    4BÿCDE2               J*GÿG1ÿX.[*/HÿGHÿ\].160.6[ÿ^.16-7Yÿ_G`ÿJGL.ÿ516.76*01L.16ÿaa^b
  :;<=><?:=@                                              4J*GcÿZ0//0*L2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿÿ                     d.+.0C6ÿGHÿFCC/0+*60G1ÿHG7ÿI7GÿJ*+ÿK0+.ÿF8L0EE0G14=@e==B;@eL.]2
                                                          fLG60G1c=??gÿ4ÿ?::b::2ÿ_0/01Dÿ_..bÿd.+.0C6ÿ1-LX.7ÿ=?;@:?;?bÿ_..
  :;<=><?:=@                                              *LG-16ÿ?::b::bÿ4d.9ÿhG+ÿiÿ>B2ÿ4jbkbÿ\7.*E-7Y2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿÿ                     d.+.0C6ÿGHÿFCC/0+*60G1ÿHG7ÿI7GÿJ*+ÿK0+.ÿF8L0EE0G14=@e==B;@eL.]2
                                                          fLG60G1c=??gÿ4ÿ?::b::2ÿ_0/01Dÿ_..bÿd.+.0C6ÿ1-LX.7ÿ=?;@:?;?bÿ_..
  :;<=><?:=@                                              *LG-16ÿ?::b::bÿ4d.9ÿhG+ÿiÿ>y2ÿ4jbkbÿ\7.*E-7Y2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿ>zÿ                   {78.7ÿE0D1.8ÿG1ÿ;<=><?:=@ÿ*-6[G70|01Dÿ6[.ÿh.X6G7Eÿ6GÿGX6*01ÿ6*0/
                                    4BÿCDE2               01E-7*1+.ÿ6Gÿ+G1601-.ÿC7.C.6060G1ÿ01E-7*1+.ÿ+G}.7*D.ÿ*18ÿC*YÿGX/0D*60G1E
                                                          7./*601Dÿ6[.7.6Gÿ4d./*6.8ÿhG+ÿiÿ;y2bÿ4h.I0.7G/*cÿ)*+,-./01.2ÿ4516.7.89
  :;<=><?:=@                                              :;<=><?:=@2
                                   ÿA:ÿ                   {78.7ÿE0D1.8ÿG1ÿ;<=><?:=@ÿ*8L06601Dÿa.0Xÿ~bÿa.71.7cÿ5E,bÿ6GÿC7*+60+.ÿC7G
                                    4=ÿCD2                [*+ÿ}0+.ÿ01ÿ6[0Eÿ^G-76ÿ4d./*6.8ÿhG+ÿiÿ>A2bÿ4h.I0.7G/*cÿ)*+,-./01.2
  :;<=><?:=@                                              4516.7.89ÿ:;<=><?:=@2
                                   ÿA=ÿ                   lG60+.ÿGHÿFCC.*7*1+.ÿmWnÿoQpqQrsÿNMVÿtQVuRvQÿMNÿMsRvQrÿmWnÿwmxQVr
                                    4BÿCDE2               H0/.8ÿXYÿdGX.76ÿlbÿ~0+[*./EG1ÿG1ÿX.[*/HÿGHÿF8*Lÿ_0./8Ebÿ4~0+[*./EG1c
  :;<=><?:=@                                              dGX.762ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿA?ÿ                   FHH08*}06ÿGHÿk.7}0+.ÿ47./*6.8ÿ8G+-L.164E2>@2ÿ_0/.8ÿXYÿZ0//0*LÿJ*GÿG1
                                    4BÿCDE2               X.[*/HÿGHÿ\].160.6[ÿ^.16-7Yÿ_G`ÿJGL.ÿ516.76*01L.16ÿaa^bÿ4J*Gc
  :;<=><?:=@                                              Z0//0*L2ÿ4516.7.89ÿ:;<=><?:=@2
                                   ÿABÿ                   FHH08*}06ÿGHÿk.7}0+.ÿMNÿmnQQÿmxmWRQÿoQmVnRWÿVQnRsMVÿTmsVR
                                    4=?ÿCDE2              VnQVÿwVRQÿQVÿoQsQWsRMWÿVnQVÿWsQVRÿmrÿTmWmQQWsÿTMsRMW
                                                          WsQVRÿmQrÿTMsRMWÿWsQVRÿVnRWmVÿMqVrQÿMNÿqrRWQrrÿVnQVÿmWn
                                                          MWsVmvsÿoQQvsRMWÿVnQVÿ47./*6.8ÿ8G+-L.164E2y?cÿy=cÿyBcÿBzcÿy;cÿy>2
                                                          _0/.8ÿXYÿF8*Lÿ~bÿF8/.7ÿG1ÿX.[*/HÿGHÿI70L.ÿ^/.7cÿaa^bÿ4F8/.7cÿF8*L2
  :;<=><?:=@                                              4516.7.89ÿ:;<=><?:=@2
                                   ÿA;ÿ                   FL.18.8ÿlG60+.ÿGHÿFCC.*7*1+.ÿmWnÿoQpqQrsÿNMVÿtQVuRvQÿMNÿMsRvQrÿmWn
                                    4?ÿCDE2               wmxQVrÿNMVÿnmÿRQnrÿ47./*6.8ÿ8G+-L.164E2A=2ÿH0/.8ÿXYÿdGX.76ÿlb
                                                          ~0+[*./EG1ÿG1ÿX.[*/HÿGHÿF8*Lÿ_0./8Ebÿ4~0+[*./EG1cÿdGX.762ÿ4516.7.89
  :;<=A<?:=@                                              :;<=A<?:=@2
                                   ÿA>ÿ                   lG60+.ÿGHÿZ06[87*]*/ÿMNÿxxQmVmWvQÿmWnÿoQpqQrsÿNMVÿtQVuRvQÿMNÿMsRvQr
                                    4?ÿCDE2               mWnÿwmxQVrÿ47./*6.8ÿ8G+-L.164E2A=2ÿH0/.8ÿXYÿdGX.76ÿlbÿ~0+[*./EG1ÿG1
  :;<=A<?:=@                                              X.[*/HÿGHÿF8*Lÿ_0./8Ebÿ4~0+[*./EG1cÿdGX.762ÿ4516.7.89ÿ:;<=A<?:=@2
  :;<=A<?:=@                       ÿAAÿ                   ~G60G1ÿ6Gÿk.//ÿI7GC.76Yÿ_7..ÿ*18ÿ^/.*7ÿGHÿa0.1Eÿj18.7ÿk.+60G1ÿB>B4H2ÿ
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                                    )**+ÿ-./0ÿ1ÿ234/5 6789:;<ÿ>:9?:@ÿA:;ÿ7@9;Bÿ:AÿC@ÿ:;67;ÿD?EÿCF9G:;?H?@I
                                                           #:2238
                                                      C@6ÿCJJ;:K?@IÿDCEÿ9G7ÿ6789:;<ÿ7@9;Bÿ?@9:ÿ9G7ÿC<<79
                                                      JF;LGC<7ÿCI;77>7@9ÿA:;ÿ9G7ÿ<CM7ÿ:Aÿ<F8<9C@9?CMMBÿCMM
                                                      9G7?;ÿC<<79<NÿD8Eÿ9G7ÿ<CM7ÿ:Aÿ<F8<9C@9?CMMBÿCMMÿ9G7
                                                      6789:;<ÿC<<79<ÿA;77ÿC@6ÿLM7C;ÿ:AÿM?7@<NÿLMC?><ÿC@6
                                                      7@LF>8;C@L7<ÿD:9G7;ÿ9GC@ÿC<<F>76ÿM?C8?M?9?7<E
                                                      JF;<FC@9ÿ9:ÿ<7L9?:@ÿOPOÿ:Aÿ9G7ÿ8C@Q;FJ9LBÿL:67ÿC@6
                                                      DLEÿ9G7ÿC<<F>J9?:@ÿC@6ÿC<<?I@>7@9ÿ:Aÿ7R7LF9:;B
                                                      L:@9;CL9<ÿC@6ÿF@7RJ?;76ÿM7C<7<ÿJF;<FC@9ÿ9:ÿ<7L9?:@
                                                      OPSÿ:Aÿ9G7ÿ8C@Q;FJ9LBÿL:67NÿC@6ÿD??EÿI;C@9?@Iÿ;7MC976
                                                      ;7M?7AÿTUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3TÿdWV[eUfUeYÿ_W2U[gÿhhi^
                                                      )jee[4ckW\e/lÿmÿ*ÿnocUXUeÿjÿpÿqb3-3/W2ÿrb2Wbÿmÿ+ÿnocUXUeÿsÿpÿjqj5
                                                      )_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿÿ                 dW4WU-eÿ3Tÿ_3eU3\ÿe3ÿyWVVÿqb3-WbeYÿzbWWÿ[\2ÿiVW[bÿ3TÿhUW\/ÿ{\2Wb
                                                      yW4eU3\ÿ1|1)T5)*xp**1uxpkW}5ÿ~k3eU3\gk/WVVÿ)ÿ*x*^tt5ÿzUVU\.ÿzWW^
                                                      dW4WU-eÿ\akXWbÿ*+ux*x*^ÿzWWÿ[k3a\eÿ*x*^tt^ÿ)dWlÿZ34ÿmÿww5ÿ){^y^
  tuv*wv+t*x                                          bW[/abY5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿwxÿ               jTTU2[fUeÿ3TÿyWbfU4Wÿÿ;ÿ<ÿÿ6 ÿ>ÿÿ
                                    )*1ÿ-./5          :ÿCÿÿ6 ÿÿ:ÿ9ÿ?ÿÿL
                                                      Jÿ?ÿLÿÿJÿ:ÿ;ÿ9
                                                      ÿ@ÿÿG ÿÿ>ÿPNÿÿÿÿÿD79Eÿ)bWV[eW2
                                                      234akW\e)/5ugÿuu5ÿTUVW2ÿXYÿqbUkWÿiVWbgÿhhi^)yeWWVWgÿsW\[kU\5
  tuv*wv+t*x                                          )n\eWbW2lÿtuv*wv+t*x5
                                   ÿwÿ               hU/eÿ3TÿnaUeYÿyW4abUeYÿ3V2Wb/ÿzUVW2ÿXYÿi[bbUWÿ¡ÿ[b2k[\ÿ3\ÿXWc[VTÿ3T
  tuv*wv+t*x                        )ÿ-./5           dWV[eUfUeYÿ_W2U[gÿhhi^ÿ)[b2k[\gÿi[bbUW5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿxtÿ               jTTU2[fUeÿ3TÿyWbfU4Wÿ:ÿ@ÿLÿÿ?ÿ:ÿD?E
                                    )*uÿ-./5          Cÿ6 ÿÿ:ÿ<ÿJ¢JÿAÿÿF
                                                      LÿL£ÿD??EÿIÿC¤ÿJ£ÿD???Eÿ>ÿ
                                                      Cÿ<£ÿD?KEÿ<ÿÿAÿG £ÿDKEÿÿI
                                                      ;ÿ;ÿ)bWV[eW2ÿ234akW\e)/5u|5ÿzUVW2ÿXYÿj2[kÿ_^ÿj2VWbÿ3\
  tuv*wv+t*x                                          XWc[VTÿ3TÿqbUkWÿiVWbgÿhhi^ÿ)j2VWbgÿj2[k5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿx*ÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[VÿOÿ6CB<ÿ9:ÿQ?MM
                                    )**ÿ-./5          J;:6FL9?:@<NÿMMLÿzUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3T
  tuv*wv+t*x                                          dWV[eUfUeYÿ_W2U[gÿhhi^ÿ)_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿx+ÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[Vÿÿ§ÿ:K7;
                                    )**ÿ-./5          J;:6FL9?:@<NÿMMLÿzUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3T
  tuv*wv+t*x                                          dWV[eUfUeYÿ_W2U[gÿhhi^ÿ)_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿx1ÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[Vÿ87<9ÿ:Aÿ>7
                                    )**ÿ-./5          J;:6FL9?:@<NÿMMLÿzUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3T
  tuv*wv+t*x                                          dWV[eUfUeYÿ_W2U[gÿhhi^ÿ)_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿxÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[Vÿ8MCLQÿ:;ÿ̈G?97
                                    )**ÿ-./5          A?M><NÿMMLÿzUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3TÿdWV[eUfUeYÿ_W2U[g
  tuv*wv+t*x                                          hhi^ÿ)_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
                                   ÿxuÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[Vÿ8MCLQ8?;6
                                    )**ÿ-./5          J;:6FL9?:@<NÿMMLÿzUVW2ÿXYÿZ[\UWVÿ]^ÿ_4`aUbWÿ3\ÿXWc[VTÿ3T
  tuv*wv+t*x                                          dWV[eUfUeYÿ_W2U[gÿhhi^ÿ)_4`aUbWgÿZ[\UWV5ÿ)n\eWbW2lÿtuv*wv+t*x5
  tuv*wv+t*x                       ÿx|ÿ               ye[eWkW\eÿ3TÿzU\[\4U[VÿjTT[Ub/ÿpÿ¥3\p¦\2UfU2a[Vÿ8;?LQÿ>C@<?:@<
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                                    )**ÿ,-./              0123454647859ÿ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QB
                                                           #:2239
                                                          H?@=DSÿTTUGÿ)HIJK=L?SÿCDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿ][ÿ                   ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿd78ÿe78
                                    )**ÿ,-./              0123454647859ÿ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QB
  XYZ*[Z\X*]                                              H?@=DSÿTTUGÿ)HIJK=L?SÿCDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿ]]ÿ                   ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿf3g801hÿf4;i59ÿ;;1
                                    )**ÿ,-./              <=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUG
  XYZ*[Z\X*]                                              )HIJK=L?SÿCDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿ]jÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿi0;0k460ÿlg7d31647859
                                    )**ÿ,-./      ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿjXÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿi7k4hÿlg7d31647859ÿ;;1
                                    )**ÿ,-./      <=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿj*ÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿl0g08740ÿ0123454647859
                                    )**ÿ,-./      ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿj\ÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿlm0867iÿ0123454647859
                                    )**ÿ,-./      ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿjnÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿf05m4789ÿ;;1
                                    )**ÿ,-./      <=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿjpÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿf4;i59ÿ;;1ÿ<=>?@
                                    )**ÿ,-./      ABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?SÿCDE=?>/
  XYZ*[Z\X*]                                      )VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿjYÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿf7gh4q89ÿ;;1
                                    )**ÿ,-./      <=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿjrÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿe01s5789ÿ;;1
                                    )**ÿ,-./      <=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*[Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿj[ÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿihd40
                                    )**ÿ,-./      d456g4t364789ÿ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DS
  XYZ*[Z\X*]                                      TTUGÿ)HIJK=L?SÿCDE=?>/ÿ)VEQ?L?@WÿXYZ*[Z\X*]/
                                   ÿj]ÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿi3541ÿqg73l9
                                    )**ÿ,-./      ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*]Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*]Z\X*]/
                                   ÿjjÿ           ^QDQ?_?EQÿMOÿ<=EDEI=D>ÿ̀OOD=L.ÿaÿbMEacE@=R=@KD>ÿgh;064k46oÿlg7d316478
                                    )**ÿ,-./      ;;1ÿ<=>?@ÿABÿCDE=?>ÿFGÿHIJK=L?ÿMEÿA?ND>OÿMOÿP?>DQ=R=QBÿH?@=DSÿTTUGÿ)HIJK=L?S
  XYZ*]Z\X*]                                      CDE=?>/ÿ)VEQ?L?@WÿXYZ*]Z\X*]/
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  )*+,-+.),-                       ÿ,))ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿNOPQKORSQOTU
                                                           #:2240
                                    0,,ÿ1234 OUQVKUWQOTUWMXÿMMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[
                                             a8F>7bÿcc\dÿ0^7BF97:bÿ\7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,),ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿOXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8b
  )*+,-+.),-                                 h7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,).ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿVYkTÿlOMLPXÿMMYÿ=>@8F
                                    0,,ÿ1234 Z[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:bÿ\7BB>84
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)mÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿOOÿ=>@8F
                                    0,,ÿ1234 Z[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8bÿh7:>8@4
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)nÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿkVYQTKÿlOMLPXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)*ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿOOOÿ=>@8F
                                    0,,ÿ1234 Z[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8bÿh7:>8@4
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)oÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿOUQVKUWQOTUWM
                                    0,,ÿ1234 WPPVQPXÿMMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\d
  )*+,-+.),-                                 0^7BF97:bÿ\7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)pÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿOqÿ=>@8F
                                    0,,ÿ1234 Z[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8bÿh7:>8@4
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)-ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿUTqVLRVKÿlOMLPX
                                    0,,ÿ1234 MMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,)rÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿTYSMSPÿlOMLPXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,,)ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿOsXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8b
  )*+,-+.),-                                 h7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,,,ÿ     5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿKTLVTÿWUNÿtSMOVQ
                                    0,,ÿ1234 lOMLPXÿMMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\d
  )*+,-+.),-                                 0^7BF97:bÿ\7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,,.ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMÿWYgSOPOQOTUPÿqXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿh7:>8@ÿidÿa?jH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?jH>B8b
  )*+,-+.),-                                 h7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,,mÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMÿQSKuVvPÿlOMLPXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
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  *+,-.,/*-.                       ÿ--1ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿXSYÿMMP
                                                           #:2241
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
                                             \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ--+ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿKLMÿiSjÿkSMLTYÿMMPÿ?@B:H
                                    2--ÿ3456 Z[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6
  *+,-.,/*-.                                 2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ--nÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿXSSYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ--oÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿKLMppÿkSWOWPSWqYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2m9DH;9<c
  *+,-.,/*-.                                 e9DD@:6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ--.ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿXSSSYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ--rÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿKVqRsÿpSqSUOMYÿMMPÿ?@B:H
                                    2--ÿ3456 Z[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6
  *+,-.,/*-.                                 2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/*ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿtYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/-ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿKVqRsÿqOLsTYÿMMPÿ?@B:H
                                    2--ÿ3456 Z[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6
  *+,-.,/*-.                                 2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-//ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿtSYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/uÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿKVqRsMSksÿMMPÿvpjO
                                    2--ÿ3456 KsMOUSXSUwÿpSqSUOMxÿ?@B:HÿZ[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[
  *+,-.,/*-.                                 _:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/1ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿTOksÿyOXsW
                                    2--ÿ3456 zKVpRPUSVWTYÿMMPÿ?@B:HÿZ[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[
  *+,-.,/*-.                                 _:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/+ÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿOPQRSTSUSVWTÿtSSSYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/nÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿhÿTWViÿiySUs
                                    2--ÿ3456 zKVpRPUSVWTYÿMMPÿ?@B:HÿZ[ÿe9DD@:ÿlÿm9DH;9<ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[
  *+,-.,/*-.                                 _:H@9cÿdde^ÿ2m9DH;9<cÿe9DD@:6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
                                   ÿ-/oÿ 7898:;:<8ÿ=>ÿ?@<9<A@9BÿC>>9@D5ÿEÿF=<EG<H@I@HJ9BÿKLMÿpsTsKUÿkSMLTYÿMMP
                                    2--ÿ3456 ?@B:HÿZ[ÿ\9<@:Bÿ]^ÿ_A`J@D:ÿ=<ÿZ:a9B>ÿ=>ÿb:B98@I@8[ÿ_:H@9cÿdde^ÿ2_A`J@D:c
  *+,-.,/*-.                                 \9<@:B6ÿ2f<8:D:Hgÿ*+,-.,/*-.6
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  )*+,-+.),-                       ÿ,.-ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMNOPQPOR
                                                           #:2242
                                    0,,ÿ1234 SLQLMTUVLWOXÿMMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[
                                             a8F>7bÿcc\dÿ0^7BF97:bÿ\7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,.gÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿNKVTKLSÿYNK
                                    0,,ÿ1234 UKTShYOPTWiXÿMMYÿ=>@8FÿZ[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[
  )*+,-+.),-                                 a8F>7bÿcc\dÿ0a?lH>B8bÿj7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,m)ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMNOPQPORÿVLSPNÿnPMViX
                                    0,,ÿ1234 MMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,m,ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿSKÿUKTShYOPTWiXÿMMYÿ=>@8F
                                    0,,ÿ1234 Z[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8bÿj7:>8@4
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,m.ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKLMNOPQPORÿKTohLXÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,mmÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKVMÿSPiOKPphOPTW
                                    0,,ÿ1234 STVLiOPYXÿMMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7b
  )*+,-+.),-                                 cc\dÿ0^7BF97:bÿ\7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,mqÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMNOPQLÿVTOPTWÿVhiPYX
                                    0,,ÿ1234 MMYÿ=>@8FÿZ[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8b
  )*+,-+.),-                                 j7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,m*ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿIÿKVMÿnPMVÿSLQLMTUVLWOX
                                    0,,ÿ1234 MMYÿ=>@8FÿZ[ÿ\7BB>8ÿ]ÿ^7BF97:ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0^7BF97:b
  )*+,-+.),-                                 \7BB>84ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,mrÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMNOPQLÿQLMTYPORÿVhiPYX
                                    0,,ÿ1234 MMYÿ=>@8FÿZ[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8b
  )*+,-+.),-                                 j7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,msÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKLMNOPQPORÿtTMSPWoiÿMMY
                                    0,,ÿ1234 =>@8FÿZ[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8b
  )*+,-+.),-                                 j7:>8@4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,m-ÿ 5676898:6ÿ;<ÿ=>:7:?>7@ÿA<<7>B3ÿCÿD;:CE:F>G>FH7@ÿKuvwxyzyx{ÿVu|ywXÿMMYÿ=>@8FÿZ[
                                    0m*ÿ1234 j7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8bÿj7:>8@4
  )*+,-+.),-                                 0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,mgÿ A11;>:698:6ÿ;<ÿ}<<>?>7@ÿ\B8F>6;B3~ÿ\;99>6688ÿIÿWxyuÿÿNyxuxÿ
                                    0.ÿ1234 TyywvÿYyxxuuÿÿhuu|ÿYu|yxÿ=>@8FÿZ[ÿ8:79>:ÿkdÿ^>22>:3ÿ;:
  )*+,-+.),-                                 Z8_7@<ÿ;<ÿ:>68Fÿ567683ÿBH3688dÿ0^>22>:3bÿ8:79>:4ÿ0e:68B8Ffÿ)*+,-+.),-4
                                   ÿ,q)ÿ 5?_8FH@83ÿ<>@8Ffÿ5?_8FH@8ÿA+ÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿ\ÿCÿD;:CE:F>G>FH7@b
                                    0mmÿ1234 5?_8FH@8ÿjÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿe+=ÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿlÿCÿD;:C
                                             E:F>G>FH7@bÿ5?_8FH@8ÿ^ÿCÿD;:CE:F>G>FH7@ÿÿSNRiÿOTÿPMMÿUKTShYOPTWiX
                                             MMYÿ=>@8FÿZ[ÿj7:>8@ÿkdÿa?lH>B8ÿ;:ÿZ8_7@<ÿ;<ÿ̀8@76>G>6[ÿa8F>7bÿcc\dÿ0a?lH>B8b
  )*+.)+.),-                                 j7:>8@4ÿ0e:68B8Ffÿ)*+.)+.),-4
  )*+.)+.),-                       ÿ,q,ÿ 5?_8FH@83ÿ<>@8Ffÿ5?_8FH@8ÿA+ÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿ\ÿCÿD;:CE:F>G>FH7@b
                                    0m-ÿ1234 5?_8FH@8ÿjÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿe+=ÿCÿD;:CE:F>G>FH7@bÿ5?_8FH@8ÿlÿCÿD;:C
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                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿ;<ÿ>ÿ?@ABÿCB?DEFGH?IJKÿLLF
                                                           #:2243
                                                  M,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
                                                  P/*,60\ÿ[]*X6U6+^ÿ_`ab_ab_cd\
                                   ÿcebÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [`fÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿlBm?BADÿFlBÿCB?DEFGH?IJK
                                                  LLFÿM,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
  _`ab_ab_cd                                      P/*,60\ÿ[]*X6U6+^ÿ_`ab_ab_cd\
                                   ÿcenÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [nfÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿoAJGÿ?pÿmAÿCB?DEFGH?IJKÿLLF
                                                  M,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
  _`ab_ab_cd                                      P/*,60\ÿ[]*X6U6+^ÿ_`ab_ab_cd\
                                   ÿceeÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [nbÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿoLlFqÿ?BÿrsHGAÿpHLmJKÿLLFÿM,06+
                                                  NOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61ÿP/*,60\
  _`ab_ab_cd                                      []*X6U6+^ÿ_`ab_ab_cd\
                                   ÿce`ÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [ntÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿoLlFqoHBDÿCB?DEFGH?IJKÿLLF
                                                  M,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
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                                   ÿcetÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [ncÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿoBHFqÿmlJH?IJÿlFuEHJHGH?IJK
                                                  LLFÿM,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
  _`ab_ab_cd                                      P/*,60\ÿ[]*X6U6+^ÿ_`ab_ab_cd\
                                   ÿcevÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [nbÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿD?Iÿw?IÿlFuEHJHGH?IJKÿLLFÿM,06+
                                                  NOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61ÿP/*,60\
  _`ab_ab_cd                                      []*X6U6+^ÿ_`ab_ab_cd\
                                   ÿcedÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [etÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿDBÿCB?DEFGH?IJKÿLLFÿM,06+ÿNO
                                                  P/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61ÿP/*,60\
  _`ab_ab_cd                                      []*X6U6+^ÿ_`ab_ab_cd\
                                   ÿcefÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [n`ÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿpEBIlFAÿpHLmJKÿLLFÿM,06+ÿNO
                                                  P/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61ÿP/*,60\
  _`ab_ab_cd                                      []*X6U6+^ÿ_`ab_ab_cd\
                                   ÿc`_ÿ          3456+.06iÿV,06+^ÿ3456+.06ÿjakÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿZÿ8ÿ9:*8)*+,-,+./01
                                    [nbÿghi\      3456+.06ÿPÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿ]aMÿ8ÿ9:*8)*+,-,+./01ÿ3456+.06ÿTÿ8ÿ9:*8
                                                  )*+,-,+./01ÿ3456+.06ÿ7ÿ8ÿ9:*8)*+,-,+./0ÿmlLl@HGlÿCB?DEFGH?IJKÿLLF
                                                  M,06+ÿNOÿP/*,60ÿQRÿS4T.,U6ÿ:*ÿN65/0Vÿ:VÿW60/X,-,XOÿS6+,/1ÿYYZRÿ[S4T.,U61
  _`ab_ab_cd                                      P/*,60\ÿ[]*X6U6+^ÿ_`ab_ab_cd\
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  *+,-*,-*./                       ÿ.+.ÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                                           #:2244
                                    12*ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQRSTUÿWXRYZ[\TR]^_ÿ̀`[ÿN?=:;ÿab
                                             LIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:JÿLIF?:=6
                                             1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+-ÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1j+ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿWkXk]RTkÿk[lZT^T\TR]^_ÿ̀`[
                                             N?=:;ÿabÿLIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:J
  *+,-*,-*./                                 LIF?:=6ÿ1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+jÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1-/ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿWmk]\RQÿk[lZT^T\TR]^_ÿ̀`[
                                             N?=:;ÿabÿLIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:J
  *+,-*,-*./                                 LIF?:=6ÿ1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+2ÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1-/ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TSUÿQR\TR]ÿQZ^T[_ÿ̀`[
                                             N?=:;ÿabÿLIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:J
  *+,-*,-*./                                 LIF?:=6ÿ1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.++ÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1-/ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TSUÿSU`R[T\nÿQZ^T[_ÿ̀`[
                                             N?=:;ÿabÿLIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:J
  *+,-*,-*./                                 LIF?:=6ÿ1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+oÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    12jÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TST\nÿYUSU`RWQU]\_ÿ̀`[
                                             N?=:;ÿabÿLIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:J
  *+,-*,-*./                                 LIF?:=6ÿ1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+pÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1j*ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TST\nÿqk^mTR]_ÿ̀`[ÿN?=:;ÿab
                                             LIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:JÿLIF?:=6
  *+,-*,-*./                                 1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+/ÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1j*ÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TST\nÿqT`Q^_ÿ̀`[ÿN?=:;ÿab
                                             LIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:JÿLIF?:=6
  *+,-*,-*./                                 1MFh:f:;@ÿ*+,-*,-*./6
                                   ÿ.+rÿ 789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA,BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFCGF;?H?;<I=J
                                    1jpÿ3456 789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM,NÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿOÿCÿDEFC
                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TST\nÿqRXUTs]_ÿ̀`[ÿN?=:;ÿab
                                             LIF?:=ÿcdÿe8O<?f:ÿEFÿa:9I=>ÿE>ÿg:=Ih?H?hbÿe:;?IJÿiiKdÿ1e8O<?f:JÿLIF?:=6
  *+,-*,-*./                                 1MFh:f:;@ÿ*+,-*,-*./6
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                                             GF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿXU`k\TST\nÿmR`YT]s^ÿ̀`[ÿN?=:;ÿab
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                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
                                                           #:2245
                                                  CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMKÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CJHÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYZ[\]^_^]`ÿb\cdefghÿ[[cÿW,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
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                                    CHLÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYZ[\]^_^]`ÿiZj^\ÿj^e]Y^kl]^fgh
                                                  [[cÿW,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMmÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CmmÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYZ[\]^_^]`ÿiZj^\ÿn^[iehÿ[[c
                                                  W,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
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                                    CMoÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
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                                                  W,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
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                                    CJrÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYZ[\]^_^]`ÿqYfjlc]^fgÿ[[c
                                                  W,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMMÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CmGÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYZ[\]^_^]`ÿYfplZhÿ[[cÿW,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMrÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CmmÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYi[ÿ\csl^e^]^fgeÿ^hÿ[[cÿW,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMLÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CmmÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYi[ÿ\csl^e^]^fgeÿ^^hÿ[[cÿW,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKMtÿ          Q39-?5.-Pÿ:,.-?FÿQ39-?5.-ÿRISÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿBÿTÿU7+TV+?,=,?5*.@
                                    CmKÿNOPD      Q39-?5.-ÿ)ÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿEIWÿTÿU7+TV+?,=,?5*.@ÿQ39-?5.-ÿ4ÿTÿU7+T
                                                  V+?,=,?5*.@ÿQ39-?5.-ÿXÿTÿU7+TV+?,=,?5*.ÿYi[ÿ\csl^e^]^fgeÿ^^^hÿ[[cÿW,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
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  )*+,)+,)-.                       ÿ-0)ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                                           #:2246
                                    123ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿZ_ÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
                                             1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-0-ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    12,ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿ_ÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-0,ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    122ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿ_Zÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-02ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    1,0ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿ_ZZÿ̀TTWÿO@>;<
                                             abÿMJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-03ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    1,jÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿ_ZZZÿ̀TTWÿO@>;<
                                             abÿMJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-0*ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    12-ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿZkÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-0lÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    1,.ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿkÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-00ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    12-ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿkZÿ̀TTWÿO@>;<ÿab
                                             MJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
                                   ÿ-0.ÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    1,0ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿVWXYZ[Z\Z]^[ÿkZZZÿ̀TTWÿO@>;<
                                             abÿMJG@;>ÿcdÿe9P=@f;ÿFGÿa;:J>?ÿF?ÿg;>Jh@I@hbÿe;<@JKÿiiLdÿ1e9P=@f;KÿMJG@;>7
  )*+,)+,)-.                                 1NGh;f;<Aÿ)*+,)+,)-.7
  )*+,)+,)-.                       ÿ-0jÿ 89:;<=>;6ÿ?@>;<Aÿ89:;<=>;ÿB+CÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿLÿDÿEFGDHG<@I@<=J>K
                                    12-ÿ4567 89:;<=>;ÿMÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿN+OÿDÿEFGDHG<@I@<=J>Kÿ89:;<=>;ÿPÿDÿEFGD
                                             HG<@I@<=J>Kÿ89:;<=>;ÿQÿDÿEFGDHG<@I@<=J>ÿRSTÿmn[nR\ÿoZTS[ÿ̀TTWÿO@>;<ÿab
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                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
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                                                  CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKLGÿ          P39-?5.-Oÿ:,.-?FÿP39-?5.-ÿQIRÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿBÿSÿT7+SU+?,=,?5*.@
                                    CKJGÿMNOD     P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿ\]^_X]`a_]bcÿ\bYd^_]ef
                                                  ZZeÿV,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
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                                    CHKÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿ\]^_X]`a_]bc
                                                  ]c_dXcg_]bcgZfÿZZeÿV,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>
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                                    ChiÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
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                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
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                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿk]ZYÿ\dmdZbnYdc_fÿZZe
                                                  V,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
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                                    ChJÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿjde_bXÿk]ZY^fÿZZeÿV,.-?ÿ8>
                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
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                                    ClHÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿ]c_dXcg_]bcgZÿg^^d_^fÿZZe
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  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
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                                                  U+?,=,?5*.@ÿP39-?5.-ÿWÿSÿT7+SU+?,=,?5*.ÿXYZÿcbmdY`dXÿk]ZY^fÿZZeÿV,.-?
                                                  8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
                                   ÿKLiÿ          P39-?5.-Oÿ:,.-?FÿP39-?5.-ÿQIRÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿBÿSÿT7+SU+?,=,?5*.@
                                    ChhÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
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                                                  )*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@ÿ)*+,-.D
  GHIJGIJGKL                                      CE+<-6-?FÿGHIJGIJGKLD
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                                    CJLÿMNOD      P39-?5.-ÿ)ÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿEIVÿSÿT7+SU+?,=,?5*.@ÿP39-?5.-ÿ4ÿSÿT7+S
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                                                  ZZeÿV,.-?ÿ8>ÿ)*+,-.ÿ01ÿ2345,6-ÿ7+ÿ8-9*.:ÿ7:ÿ;-.*<,=,<>ÿ2-?,*@ÿAAB1ÿC2345,6-@
  GHIJGIJGKL                                      )*+,-.DÿCE+<-6-?FÿGHIJGIJGKLD
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  )*+,)+,)-.                       ÿ-.0ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                                           #:2248
                                    12*ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQRS
                                                          TUQVWXYÿ[\SRY]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>
                                                          e:=If?H?f̀ÿc:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0)ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    12-ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQRSÿh\i
                                                          [\SRY]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀ÿc:;?IJ
  )*+,)+,)-.                                              ggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0-ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    120ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQRSjj
                                                          [\klk^\km]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀
  )*+,)+,)-.                                              c:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0,ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    122ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQnmUW
                                                          j\m\TlS]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀
  )*+,)+,)-.                                              c:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-02ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    1,*ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQnmUW
                                                          mlRWY]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀ÿc:;?IJ
  )*+,)+,)-.                                              ggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0oÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    12)ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=
                                                          QnmUWS\[WÿSS^ÿpjqiqlÿQWSlT\r\TXÿj\m\TlSsÿN?=:;ÿ_`ÿLIF?:=ÿab
                                                          c8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀ÿc:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6
  )*+,)+,)-.                                              1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0*ÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    12.ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿYl[W
                                                          tlrWkÿuQnjU^T\nkY]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>
  )*+,)+,)-.                                              e:=If?H?f̀ÿc:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
                                   ÿ-0vÿ                  789:;<=:5ÿ>?=:;@ÿ789:;<=:ÿA+BÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿKÿCÿDEFC
                                    1o)ÿ3456              GF;?H?;<I=Jÿ789:;<=:ÿLÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿM+NÿCÿDEFCGF;?H?;<I=J
                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿYknh
                                                          ht\TWÿuQnjU^T\nkY]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>
  )*+,)+,)-.                                              e:=If?H?f̀ÿc:;?IJÿggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
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                                                          789:;<=:ÿOÿCÿDEFCGF;?H?;<I=Jÿ789:;<=:ÿPÿCÿDEFCGF;?H?;<I=ÿQWSlT\r\TX
                                                          RWj\l]ÿSS^ÿN?=:;ÿ_`ÿLIF?:=ÿabÿc8O<?d:ÿEFÿ_:9I=>ÿE>ÿe:=If?H?f̀ÿc:;?IJ
  )*+,)+,)-.                                              ggKbÿ1c8O<?d:JÿLIF?:=6ÿ1MFf:d:;@ÿ)*+,)+,)-.6
  )*+,-+,)-.                       ÿ,))ÿ                  xdIF58d?3fÿd:4Id;?F4ÿP:Id?F4ÿP:=;ÿEFÿcI`ÿ-vJÿ,)-.ÿAfÿ,@)oÿycÿeM@
                                    1,0ÿ3456              cEf?EFÿA<f9Ed?z?F4ÿx9:ÿL:_fEd5ÿxEÿ{_fI?FÿxI?=ÿGF5<dIF8:ÿxEÿKEFf?F<:
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                                                    @+D/-+ÿ+?+6-*/0.6ÿ566+33ÿ-/ÿ-B+ÿ-*5036*.,-ÿ.3ÿ*+3-*.6-+;ÿ40-.?ÿEFGHFGHIEC
                                                    AB+ÿ-*5036*.,-ÿD5<ÿ>+ÿ8.+J+;ÿ5-ÿ-B+ÿK50L*4,-6<ÿ7/4*-ÿ7?+*L3ÿ=MM.6+C
                                                    NA*5036*.,-./0ÿO+*8.6+ÿ:9+06<Pÿ+O6*.>+*3QÿRR7CSCÿTO++ÿ-B+ÿ7/4*-3
                                                    U+>3.-+ÿM/*ÿ6/0-56-ÿ.0M/*D5-./0ÿM/*ÿ-B+ÿA*5036*.,-./0ÿO+*8.6+ÿ:9+06<CVC
                                                    W/-.6+ÿ/Mÿ20-+0-ÿ-/ÿ@+X4+3-ÿ@+;56-./0ÿY+5;?.0+ÿY4+ÿK<ÿZFGEFGHIEC
                                                    O-5-+D+0-ÿ/Mÿ@+;56-./0ÿ@+X4+3-ÿY4+ÿK<ÿ[FIIFGHIECÿ@+;56-+;ÿA*5036*.,-
                                                    O4>D.33./0ÿY4+ÿK<ÿ[FGIFGHIECÿA*5036*.,-ÿ566+33ÿJ.??ÿ>+ÿ*+3-*.6-+;
                                                    -B*/49BÿEFGHFGHIECÿTK*5.-BJ5.-+Qÿ\+0.3B.5VÿT]0-+*+;PÿHZFGGFGHIEV
                                   ÿÿ               )+0;.09ÿY+5;?.0+3ÿA+*D.05-+;PÿO6B+;4?+3ÿ:^_QÿO4DD5*<ÿ/MÿO6B+;4?+3Q
                                                    O-5-+D+0-ÿ/Mÿ̀.0506.5?ÿ:MM5.*3QÿR/65?ÿ@4?+ÿIHHa^Gÿ̀/*DCÿTb675MM*+<Q
  HZFGGFGHIE                                        Y5J0VCÿT]0-+*+;PÿHZFGGFGHIEV
                                   ÿIcEÿ            W/-.6+ÿ/Mÿ:,,+5*506+ÿdefÿhijkilmÿmnÿoiÿpffifÿmnÿqdlmirÿsirtuviÿwulm
                                    TGÿ,93V         M.?+;ÿ><ÿx5D+3ÿOCÿ75**ÿ/0ÿ>+B5?Mÿ/Mÿ7.0+;.9Dÿ7/*,CCÿT75**Qÿx5D+3V
  HZFGGFGHIE                                        T]0-+*+;PÿHZFGGFGHIEV
                                   ÿIccÿ            :,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0ÿn{ÿpdrneÿq|ÿ}noir~sulÿM.?+;
                                    TGÿ,93yÿGÿ;/63V ><ÿ75**.+ÿzÿ_5*;D50ÿ/0ÿ>+B5?Mÿ/Mÿ@+?5-.8.-<ÿb+;.5QÿRR7CÿT:--56BD+0-3P
  HZFGGFGHIE                                        ÿIÿ)*/,/3+;ÿ=*;+*VÿT_5*;D50Qÿ75**.+VÿT]0-+*+;PÿHZFGGFGHIEV
                                   ÿÿ               @+6+.,-ÿ/Mÿ:,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0TIE^IIZE^D+JV
                                                    ND/-./0QIGGSÿTÿGHHCHHVÿ̀.?.09ÿ̀++Cÿ@+6+.,-ÿ04D>+*ÿIGZEEEHCÿ̀++
  HZFGGFGHIE                                        5D/40-ÿGHHCHHCÿT@+PÿY/6ÿÿIccVÿTCOCÿA*+534*<VÿT]0-+*+;PÿHZFGGFGHIEV
                                   ÿGHIÿ            W/-.6+ÿ/Mÿ_+5*.09ÿT*+?5-+;ÿ;/64D+0-T3VHQÿIaVÿM.?+;ÿ><ÿ75*+<ÿYC
                                    TGÿ,93V         O6B*+.>+*ÿ/0ÿ>+B5?Mÿ/Mÿ@+?5-.8.-<ÿb+;.5QÿRR7CÿJ.-BÿB+5*.09ÿ-/ÿ>+ÿB+?;ÿ/0
                                                    [FIGFGHIEÿ5-ÿIIPHHÿ:bÿ5-ÿ7/4*-*//Dÿ[IaÿTb]UVÿ=>+6-./03ÿ;4+ÿ><
  HZFGGFGHIE                                        [FZFGHIEQÿTO6B*+.>+*Qÿ75*+<VÿT]0-+*+;PÿHZFGGFGHIEV
                                   ÿGHGÿ            =*;+*ÿ3.90+;ÿ/0ÿZFGFGHIEÿ5;D.--.09ÿ:5*/0ÿbCÿ/>+*^O.D3Qÿ]3XCÿ-/
                                    TIÿ,9V          ,*56-.6+ÿ,*/ÿB56ÿ8.6+ÿ.0ÿ-B.3ÿ7/4*-ÿT@+?5-+;ÿY/6ÿÿIccVCÿTY+).+*/?5Q
  HZFGFGHIE                                        x56X4+?.0+VÿT]0-+*+;PÿHZFGFGHIEV
                                   ÿGHÿ            W/-.6+ÿ/Mÿ:,,+5*506+ÿM.?+;ÿ><ÿb.0<5/ÿU509ÿ/0ÿ>+B5?Mÿ/Mÿ=``272:R
                                    Tÿ,93V         7=bb2AA]]ÿ=`ÿWO]7@]Yÿ7@]Y2A=@OCÿTU509Qÿb.0<5/V
  HZFGFGHIE                                        T]0-+*+;PÿHZFGFGHIEV
                                   ÿGHÿ            :,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0ÿn{ÿsvnmmÿ|ÿ}dkmuirÿM.?+;ÿ><
                                    Tÿ,93yÿGÿ;/63V b.0<5/ÿU509ÿ/0ÿ>+B5?Mÿ/Mÿ=``272:Rÿ7=bb2AA]]ÿ=`ÿWO]7@]Y
                                                    7@]Y2A=@OCÿT:--56BD+0-3PÿÿIÿ,*/,/3+;ÿ/*;+*VÿTU509Qÿb.0<5/V
  HZFGFGHIE                                        T]0-+*+;PÿHZFGFGHIEV
                                   ÿÿ               @+6+.,-ÿ/Mÿ:,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0TIE^IIZE^D+JV
                                                    ND/-./0QIGGSÿTÿGHHCHHVÿ̀.?.09ÿ̀++Cÿ@+6+.,-ÿ04D>+*ÿIGZcGHZCÿ̀++
  HZFGFGHIE                                        5D/40-ÿGHHCHHCÿT@+PÿY/6ÿÿGHVÿTCOCÿA*+534*<VÿT]0-+*+;PÿHZFGFGHIEV
                                   ÿGHZÿ            :,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0ÿn{ÿquvdiÿ|ÿideiÿM.?+;ÿ><
                                    Tÿ,93yÿGÿ;/63V b.0<5/ÿU509ÿ/0ÿ>+B5?Mÿ/Mÿ=``272:Rÿ7=bb2AA]]ÿ=`ÿWO]7@]Y
                                                    7@]Y2A=@OCÿT:--56BD+0-3PÿÿIÿ)*/,/3+;ÿ=*;+*VÿTU509Qÿb.0<5/V
  HZFGFGHIE                                        T]0-+*+;PÿHZFGFGHIEV
                                   ÿÿ               @+6+.,-ÿ/Mÿ:,,?.65-./0ÿM/*ÿ)*/ÿ_56ÿz.6+ÿ:;D.33./0TIE^IIZE^D+JV
                                                    ND/-./0QIGGSÿTÿGHHCHHVÿ̀.?.09ÿ̀++Cÿ@+6+.,-ÿ04D>+*ÿIGZcGHaHCÿ̀++
  HZFGFGHIE                                        5D/40-ÿGHHCHHCÿT@+PÿY/6ÿÿGHZVÿTCOCÿA*+534*<VÿT]0-+*+;PÿHZFGFGHIEV
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 370 of 494 Page ID
  )*+,-+,)./                       ÿ,)1ÿ             67897ÿ:;4<98ÿ=<ÿ*+,-+,)./ÿ>8?;@@;<4ÿAB=@@ÿCDÿE>F@;97GÿH:IDÿ@=ÿ37>B@;B9
                                                           #:2250
                                    2.ÿ345           37=ÿJ>BÿK;B9ÿ;<ÿ@J;:ÿL=F7@ÿ2M9N>@98ÿO=BÿPÿ,)-5Dÿ2O9Q;97=N>GÿR>BIF9N;<95
                                                     2H<@9798Sÿ)*+,-+,)./5
                                   ÿ,)Tÿ             67897ÿ:;4<98ÿ=<ÿ*+,-+,)./ÿ>8?;@@;<4ÿU;BJ>9NÿVDÿO9N><9WGÿH:IDÿ@=
                                    2.ÿ345           37>B@;B9ÿ37=ÿJ>BÿK;B9ÿ;<ÿ@J;:ÿL=F7@ÿ2M9N>@98ÿO=BÿPÿ,)*5Dÿ2O9Q;97=N>G
  )*+,-+,)./                                         R>BIF9N;<95ÿ2H<@9798Sÿ)*+,-+,)./5
                                   ÿ,)/ÿ             XYY;8>K;@ÿ=YÿA97K;B9ÿZ[ÿ]^_ÿ̀]_`Z̀ÿabc^defgcÿhZifjbÿZ[ÿkb^dfgcÿZgÿl_gb
                                    2.*ÿ34:5         mnoÿnpmqÿ^iÿmmrppÿ^stsÿuvwxÿ279N>@98ÿ8=BF?9<@2:5,).5ÿC;N98ÿyWÿX8>?ÿUD
                                                     X8N97ÿ=<ÿy9J>NYÿ=YÿQ7;?9ÿLN97zGÿ{{LDÿ2X8N97GÿX8>?5ÿ2H<@9798S
  )*+,*+,)./                                         )*+,*+,)./5
                                   ÿ,)|ÿ             }=@;B9ÿ=YÿX49<8>ÿ~ÿhZifjbÿZ[ÿcbge^ÿZ[ÿ^iibdÿjbe_b̀eÿ[Zdÿkb^dfgc
                                    21ÿ34:5          Zgÿ^ÿpoÿnpmqÿ^iÿnrppÿ]ÿuvwxÿY;N98ÿyWÿL>77;9ÿÿ>78?><ÿ=<ÿy9J>NY
  )*+,*+,)./                                         =YÿM9N>@;K;@WÿU98;>Gÿ{{LDÿ2>78?><GÿL>77;95ÿ2H<@9798Sÿ)*+,*+,)./5
                                   ÿ,.)ÿ             M9:3=<:9ÿ@=ÿU=@;=<ÿ[Zdÿ]Zi]bififZgÿfg^gjfgcÿ279N>@98ÿ8=BF?9<@2:5.T5
                                    21ÿ34:5          Y;N98ÿyWÿU;<W>=ÿ><4ÿ=<ÿy9J>NYÿ=Yÿ6CCLX{ÿL6UUVVHHÿ6C
  )*+,*+,)./                                         }AHLMHOÿLMHOV6MADÿ2><4GÿU;<W>=5ÿ2H<@9798Sÿ)*+,*+,)./5
                                   ÿ,..ÿ             XYY;8>K;@ÿ=YÿA97K;B9ÿu_b̀tbgi^x̀ÿZ[ÿib^gfbÿlZde^gÿabc^defgc
                                    2-ÿ34:5          hZifjbÿZ[ÿ^ibdÿmmÿ^gd_ijÿ^bÿ279N>@98ÿ8=BF?9<@2:5|5ÿC;N98ÿyW
                                                     X8>?ÿUDÿX8N97ÿ=<ÿy9J>NYÿ=YÿQ7;?9ÿLN97zGÿ{{LDÿ2X8N97GÿX8>?5ÿ2H<@9798S
  )*+,|+,)./                                         )*+,|+,)./5
                                   ÿ,.,ÿ             A@>@9?9<@ÿÿab_biÿZdÿ`^df[fj^ifZgÿÿwbÿfej^ÿvgififbÿfi
                                    2ÿ34:5          abbjiÿwZÿwbÿbiZdÿZifZgÿZdÿgÿgibdftÿdfecbÿdebd
                                                     _iZdffgcoÿgibdÿf̀^oÿbj_dbeÿ]Zi]bififZgÿfg^gjfgcÿ^geÿbÿ[
                                                     ^ÿZ``^ibd^ÿ̀udb`^ibeÿeZj_tbgiuxxoÿ279N>@98ÿ8=BF?9<@2:5.T5ÿY;N98
                                                     yWÿX7@JF7ÿR>WÿA@9;<y974ÿ=<ÿy9J>NYÿ=YÿQ7939@;@;=<ÿU;8B>3ÿA9BF798
  )*+,|+,)./                                         {9<897:Dÿ2A@9;<y974GÿX7@JF75ÿ2H<@9798Sÿ)*+,|+,)./5
                                   ÿ,.ÿ             U=@;=<ÿ@=ÿXF@J=7;9ÿ~ÿvwaÿwhÿ]ahwÿwÿmmÿsssÿ
                                    2.Tÿ34:ÿÿ8=B:5 mpÿhÿÿhÿvsÿasÿh asÿ]sÿppÿaÿvhwa¡ÿÿh
                                                     avaÿ]]a¢h£ÿ]whÿÿv¤vwa¡ÿhwaw
                                                     wkÿhvw¥¤oÿhsÿY;N98ÿyWÿO><;9NÿRDÿUBEF;79ÿ=<ÿy9J>NYÿ=YÿM9N>@;K;@W
                                                     U98;>Gÿ{{LDÿ2X@@>BJ?9<@:SÿPÿ.ÿH¦J;y;@ÿXÿ§ÿ{;:@ÿ=Yÿ@J9ÿ}9@YN;¦
                                                     X4799?9<@:ÿPÿ,ÿH¦J;y;@ÿ̈ÿ§ÿQ7=3=:98ÿ678975ÿ2UBEF;79GÿO><;9N5
  )*+)+,)./                                         2H<@9798Sÿ)*+)+,)./5
                                   ÿ,.-ÿ             }=@;B9ÿ=YÿQ7=3=:98ÿ67897ÿ~ÿhwvÿÿ¥h£ÿÿhwvaÿa£v
                                    2.)ÿ34:ÿ,ÿ8=B:5 avarÿuxÿwka©h£ÿvwaÿwÿwhÿvavÿ]w
                                                     ]vwwhÿhhh£ÿhÿvÿkÿ¥¥wva¥ªÿux
                                                     £ahwh£ÿv«wvÿ]awvwhªÿuxÿ¡h£ÿwkv
                                                     wwÿw¡ªÿu¢xÿkv¥h£ÿÿh¥ÿkvah£ªÿhÿu¢x
                                                     £ahwh£ÿav¥wvÿav¥vÿY;N98ÿyWÿL>79WÿODÿABJ79;y97ÿ=<ÿy9J>NYÿ=Y
                                                     M9N>@;K;@WÿU98;>Gÿ{{LDÿ¬;@JÿJ9>7;<4ÿ@=ÿy9ÿJ9N8ÿ=<ÿ*+)+,)./ÿ>@ÿ),S))
                                                     QUÿ>@ÿL=F7@7==?ÿ1.Tÿ2UH5ÿ2X@@>BJ?9<@:SÿPÿ.ÿH¦J;y;@ÿ.ÿ§ÿQ7=3=:98
  )*+)+,)./                                         <@97;?ÿ̈7;849ÿ6789752ABJ79;y97GÿL>79W5ÿ2H<@9798Sÿ)*+)+,)./5
                                   ÿ,.*ÿ             }=@;B9ÿ=YÿX49<8>ÿ~ÿhZifjbÿZ[ÿtbgebeÿcbge^ÿZ[ÿ^iibdÿjbe_b̀eÿ[Zd
                                    21ÿ34:5          kb^dfgcÿZgÿ^ÿpoÿnpmqÿ^iÿnrppÿ]ÿuvwxÿ279N>@98ÿ8=BF?9<@2:5.-Gÿ.)G
                                                     .*Gÿ,)|Gÿ.,Gÿ.1Gÿ.T5ÿC;N98ÿyWÿL>77;9ÿÿ>78?><ÿ=<ÿy9J>NYÿ=YÿM9N>@;K;@W
                                                     U98;>Gÿ{{LDÿ¬;@JÿJ9>7;<4ÿ@=ÿy9ÿJ9N8ÿ=<ÿ*+)+,)./ÿ>@ÿ),S))ÿQUÿ>@
  )*+)+,)./                                         L=F7@7==?ÿ1.Tÿ2UH5ÿ2>78?><GÿL>77;95ÿ2H<@9798Sÿ)*+)+,)./5
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 371 of 494 Page ID
  *+,-*,.*/0                       ÿ./2ÿ            9:;<=>ÿ:?ÿ@A:5:7>BÿCAB>AÿDÿFGHIJKÿGLÿLIMIFNÿGLÿKOPIQIHÿRÿHG
                                                           #:2251
                                    34ÿ5678         STGSGUKVÿIFHKTIWÿQTIVNKÿGTVKTXÿYIZÿR[HPGTI\IFN
                                                    VKQHGTUÿHGÿGQHRIFÿUKJ[TKVÿSGUH]SKHIHIGFÿLIFRFJIFNÿRFV
                                                    [UKÿJRUPÿJGMMRHKTRM^ÿYIIZÿNTRFHIFNÿRVK_[RHK
                                                    STGHKJHIGF^ÿYIIIZÿWGVIL`IFNÿHPKÿR[HGWRHIJÿUHR`^ÿYIaZ
                                                    UJPKV[MIFNÿRÿLIFRMÿPKRTIFN^ÿRFVÿYaZÿNTRFHIFNÿTKMRHKV
                                                    TKMIKLÿ3A>bc;>BÿB:=de>f;378./4gÿ/h8ÿ?<b>BÿijÿkcA>jÿlmÿn=oA><i>Aÿ:f
                                                    i>ocb?ÿ:?ÿp>bc;<q<;jÿr>B<cgÿsskmÿ3n=oA><i>AgÿkcA>j8ÿ3tf;>A>Bu
                                                    *+,-*,.*/08
                                   ÿ./hÿ            wf;>A<eÿxA<B6>ÿCAB>Aÿ7<6f>Bÿ:fÿ+,-/,.*/0ÿcd;o:A<y<f6ÿl>i;:A7ÿ;:ÿ:i;c<f
                                    30ÿ567vÿ.ÿB:=78 7>=dA>Bÿ5:7;z5>;<;<:fÿ?<fcf=<f6ÿcfBÿd7>ÿ=c7oÿ=:bbc;>Acbvÿ6Acf;<f6ÿcB>{dc;>
                                                    5A:;>=;<:f|ÿe:B<?j<f6ÿ;o>ÿcd;:ec;<=ÿ7;cjvÿ7=o>Bdb<f6ÿcÿ?<fcbÿo>cA<f6vÿcfB
                                                    6Acf;<f6ÿA>bc;>BÿA>b<>?ÿ3A>bc;>BÿB:=de>f;378/hgÿ+28mÿ}<fcbÿo>cA<f6ÿ;:ÿi>
                                                    o>bBÿ:fÿ2,/.,.*/0ÿc;ÿ//u**ÿ~rÿc;ÿk:dA;A::eÿ2/hÿ3rt8mÿ3l>@<>A:bcg
  *+,-/,.*/0                                        c={d>b<f>8ÿ3tf;>A>Buÿ*+,-/,.*/08
                                   ÿ./0ÿ            }<fcbÿCAB>Aÿ7<6f>Bÿ:fÿ+,-/,.*/0ÿcd;o:A<y<f6gÿid;ÿf:;ÿB<A>=;<f6gÿl>i;:A7
                                    34ÿ5678         ;:ÿ5cjÿ=>A;c<fÿ5A>5>;<;<:fÿc6>7ÿcfBÿA><eidA7cib>ÿ>e5b:j>>ÿ>5>f7>7g
                                                    5cjÿcfBÿo:f:Aÿ>e5b:j>>ÿe>B<=cbÿcfBÿ:;o>Aÿi>f>?<;7ÿcfBÿ=:f;<fd>
                                                    >e5b:j>>ÿi>f>?<;ÿ5A:6Ace7ÿ3p>bc;>Bÿl:=ÿÿ/.8mÿ3l>@<>A:bcgÿc={d>b<f>8
  *+,-/,.*/0                                        3tf;>A>Buÿ*+,-/,.*/08
                                   ÿ./ÿ            }<fcbÿCAB>Aÿ7<6f>Bÿ:fÿ+,-/,.*/0ÿcd;o:A<y<f6ÿ5cje>f;ÿ:?ÿ5A>5>;<;<:f
                                    34ÿ5678         A>7<Bdcb7ÿcfBÿ5cA;<=<5c;<:f7ÿ<fÿ;o>ÿ:AB<fcAjÿ=:dA7>ÿ:?ÿid7<f>77ÿ3p>bc;>B
  *+,-/,.*/0                                        l:=ÿÿ/48mÿ3l>@<>A:bcgÿc={d>b<f>8ÿ3tf;>A>Buÿ*+,-/,.*/08
                                   ÿ..*ÿ            CAB>Aÿ7<6f>Bÿ:fÿ+,-/,.*/0ÿcd;o:A<y<f6gÿid;ÿf:;ÿB<A>=;<f6gÿ;o>ÿl>i;:A7ÿ;:
                                    3+ÿ5678         =:f;<fd>ÿ5A>5>;<;<:fÿ<f7dAcf=>ÿ=:q>Ac6>ÿcfBÿ5cjÿ5A>5>;<;<:fÿ:ib<6c;<:f7
                                                    A>bc;<f6ÿ;o>A>;:ÿcfBÿcd;o:A<y<f6gÿid;ÿf:;ÿB<A>=;<f6gÿcbbÿ?<fcf=<cb
                                                    <f7;<;d;<:f7ÿ;:ÿo:f:AÿcbbÿA>bc;>Bÿ5cje>f;ÿA>{d>7;7ÿ3p>bc;>Bÿl:=ÿÿ/+8m
  *+,-/,.*/0                                        3l>@<>A:bcgÿc={d>b<f>8ÿ3tf;>A>Buÿ*+,-/,.*/08
                                   ÿ../ÿ            CAB>Aÿ7<6f>Bÿ:fÿ+,-/,.*/0ÿcd;o:A<y<f6ÿ;o>ÿ>7;cib<7oe>f;ÿ:?ÿ=>A;c<f
                                    3/-ÿ5678        f:;<=>gÿ=c7>ÿecfc6>e>f;ÿcfBÿcBe<f<7;Ac;<q>ÿ5A:=>BdA>7ÿ3p>bc;>Bÿl:=ÿ
  *+,-/,.*/0                                        /*8mÿ3l>@<>A:bcgÿc={d>b<f>8ÿ3tf;>A>Buÿ*+,-/,.*/08
                                   ÿ...ÿ            ~??<Bcq<;ÿ:?ÿn>Aq<=>ÿÿTÿWÿRÿTÿF ÿÿRÿ
                                    3/hÿ5678        WÿUÿÿPÿÿWÿÿÿÿXÿSWÿYKHZ
                                                    3A>bc;>BÿB:=de>f;378.*8ÿ}<b>Bÿijÿ~Bceÿrmÿ~Bb>Aÿ:fÿi>ocb?ÿ:?ÿ@A<e>
  *+,-/,.*/0                                        kb>Agÿsskmÿ3~Bb>Agÿ~Bce8ÿ3tf;>A>Buÿ*+,-/,.*/08
  *+,-/,.*/0                       ÿ.-/ÿ            Acf7=A<5;ÿA>6cAB<f6ÿ>cA<f6ÿ>bBÿ:fÿ*+,-*,.*/0ÿc;ÿ.u-hÿ5eÿptuÿr:;<:f
                                    3+-ÿ5678        cd;o:A<y<f6gÿid;ÿf:;ÿB<A>=;<f6gÿ;o>ÿl>i;:A7ÿ;:ÿ=:f;<fd>ÿ5A>5>;<;<:f
                                                    <f7dAcf=>ÿ=:q>Ac6>ÿcfBÿ5cjÿ5A>5>;<;<:fÿ:ib<6c;<:f7ÿA>bc;<f6ÿ;o>A>;:ÿcfB
                                                    cd;o:A<y<f6gÿid;ÿf:;ÿB<A>=;<f6gÿcbbÿ?<fcf=<cbÿ<f7;<;d;<:f7ÿ;:ÿo:f:AÿcbbÿA>bc;>B
                                                    5cje>f;ÿA>{d>7;7ÿ}<fcbÿo>cA<f6ÿptuÿe:;<:fÿcd;o:A<y<f6ÿ=:f;<fd>Bÿd7>ÿ:?
                                                    ><7;<f6ÿ=c7oÿecfc6>e>f;ÿ7j7;>egÿicfÿc==:df;7ÿcfBÿid7<f>77ÿ?:Ae7g
                                                    cfBÿ5cje>f;ÿ:?ÿA>bc;>Bÿ5A>5>;<;<:fÿ:ib<6c;<:f7gÿc<q<f6ÿ=>A;c<f
                                                    <fq>7;e>f;ÿcfBÿB>5:7<;ÿA>{d<A>e>f;7ÿ:fÿcÿb<e<;>Bÿic7<7gÿcd;o:A<y<f6
                                                    =:f;<fd>Bÿ>f6c6>e>f;ÿ<fÿ<f;>A=:e5cfjÿ;Acf7c=;<:f7gÿcfBÿc==:AB<f6
                                                    cBe<f<7;Ac;<q>ÿ>5>f7>ÿ5A<:A<;jÿ7;c;d7ÿ;:ÿcbbÿ5:7;z5>;<;<:fÿ<f;>A=:e5cfj
                                                    =bc<e7vÿ}<fcbÿo>cA<f6ÿptuÿe:;<:fÿcd;o:A<y<f6ÿ5cje>f;ÿ:?ÿ5A>5>;<;<:f
                                                    A>7<Bdcb7ÿcfBÿ5cA;<=<5c;<:f7ÿ<fÿ;o>ÿ:AB<fcAjÿ=:dA7>ÿ:?ÿid7<f>77ÿ}<fcb
                                                    >cA<f6ÿptuÿe:;<:fÿcd;o:A<y<f6ÿl>i;:A7ÿ;:ÿ:i;c<fÿ7>=dA>Bÿ5:7;z5>;<;<:f
                                                    ?<fcf=<f6ÿcfBÿd7>ÿ=c7oÿ=:bbc;>Acbvÿ6Acf;<f6ÿcB>{dc;>ÿ5A:;>=;<:fv
                                                    e:B<?j<f6ÿ;o>ÿcd;:ec;<=ÿ7;cjvÿ7=o>Bdb<f6ÿcÿ?<fcbÿo>cA<f6ÿcfBÿ6Acf;<f6
                                                    A>bc;>BÿA>b<>?mmm>;ÿcbmÿp>e:;>ÿ>b>=;A:f<=ÿc==>77ÿ;:ÿ;o>ÿ;Acf7=A<5;ÿ<7
117 11! "#$55524%5&''2'2'5(5(45                                                            2)1543
012312425Case 2:21-cv-04913-VAP-AS                Document678ÿ ÿFiled
                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 372 of 494 Page ID
                                                      )*+,)-.,*/ÿ12,-3ÿ456756894:ÿ;<*ÿ,)=2+.)->,ÿ?=@ÿA*ÿB-*C*/ÿ=,ÿ,<*
                                                           #:2252
                                                      D=2E)1>,.@ÿFG1),ÿF3*)E+ÿHII-.*:ÿJ;)=2+.)->,-G2ÿK*)B-.*ÿLM*2.@N
                                                      *K.)-A*)+OÿPPF:Q:ÿRK**ÿ,<*ÿFG1),+ÿS*A+-,*ÿIG)ÿ.G2,=.,ÿ-2IG)?=,-G2ÿIG)ÿ,<*
                                                      ;)=2+.)->,-G2ÿK*)B-.*ÿLM*2.@:T:ÿUG,-.*ÿGIÿV2,*2,ÿ,GÿW*X1*+,ÿW*/=.,-G2
                                                      Y*=/3-2*ÿY1*ÿD@ÿZ5[56894:ÿK,=,*?*2,ÿGIÿW*/=.,-G2ÿW*X1*+,ÿY1*ÿD@
                                                      Z56956894:ÿW*/=.,*/ÿ;)=2+.)->,ÿK1A?-++-G2ÿY1*ÿD@ÿ[5656894:ÿ;)=2+.)->,
                                                      =..*++ÿC-33ÿA*ÿ)*+,)-.,*/ÿ,<)G1M<ÿ456756894:ÿRP*C-+Oÿ;*2-33*TÿR\2,*)*/N
                                                      8Z58]56894T
                                   ÿ66^ÿ              UG,-.*ÿGIÿ̀**,-2MÿGIÿF)*/-,G)+ÿI-3*/ÿA@ÿF=))-*ÿaÿb=)/?=2ÿG2ÿA*<=3IÿGI
                                    R_ÿ>M+T           W*3=,-B-,@ÿ̀*/-=OÿPPF:ÿC-,<ÿ^_9R=Tÿ?**,-2Mÿ,GÿA*ÿ<*3/ÿG2ÿ]5^956894ÿ=,
                                                      96N88ÿc`ÿ=,ÿHII-.*ÿGIÿdK;ÿRH2*ÿDGC3-2Mÿe)**2Oÿf-I,<ÿf3GG)OÿWGG?
  8Z58956894                                          ]99T:ÿRb=)/?=2OÿF=))-*TÿR\2,*)*/Nÿ8Z58956894T
                                   ÿ66_ÿ              f-2=3ÿH)/*)ÿ+-M2*/ÿG2ÿZ5956894ÿ=1,<G)-g-2Mÿ.G2,-21*/ÿ1+*ÿGIÿ*h-+,-2M
                                    R9^ÿ>M+T          .=+<ÿ?=2=M*?*2,ÿ+@+,*?OÿA=2Eÿ=..G12,+ÿ=2/ÿA1+-2*++ÿIG)?+Oÿ=2/
                                                      >=@?*2,ÿGIÿ)*3=,*/ÿ>)*>*,-,-G2ÿGA3-M=,-G2+OÿC=-B-2Mÿ.*),=-2ÿ-2B*+,?*2,
                                                      =2/ÿ/*>G+-,ÿ)*X1-)*?*2,+ÿG2ÿ=ÿ3-?-,*/ÿA=+-+Oÿ=1,<G)-g-2Mÿ.G2,-21*/
                                                      *2M=M*?*2,ÿ-2ÿ-2,*).G?>=2@ÿ,)=2+=.,-G2+Oÿ=2/ÿ=..G)/-2Mÿ=/?-2-+,)=,-B*
                                                      *h>*2+*ÿ>)-G)-,@ÿ+,=,1+ÿ,Gÿ=33ÿ>G+,>*,-,-G2ÿ-2,*).G?>=2@ÿ.3=-?+ÿRW*3=,*/
  8Z58956894                                          YG.ÿiÿ9ZT:ÿRY*c-*)G3=Oÿj=.X1*3-2*TÿR\2,*)*/Nÿ8Z58956894T
                                   ÿ66]ÿ              L/B*)+=)@ÿ.=+*ÿ94l89]]6:ÿFG?>3=-2,ÿ=M=-2+,ÿW*3=,-B-,@ÿ̀*/-=OÿPPFO
                                    R98[ÿ>M+kÿ4ÿ/G.+T W`PÿY-+,)-A1,-G2ÿYG?*+,-.OÿPPFÿmnopqrsqtÿvwxyzs{|}ÿ~wqÿpzsqs}wqt
                                                      nxp|}ÿRf**ÿL?G12,ÿÿ^]8:T:ÿU=,1)*R+TÿGIÿK1-,NÿR79ÿRY*.3=)=,G)@
                                                       1/M?*2,TTÿf-3*/ÿA@ÿY=B-/ÿ̀:ÿe1*++ÿG2ÿA*<=3IÿGIÿU*,I3-hOÿV2.::
                                                      RL,,=.<?*2,+Nÿiÿ9ÿ\h<-A-,ÿLÿRP-.*2+*ÿLM)**?*2,Tÿiÿ6ÿ\h<-A-,ÿDÿRY*I=13,
                                                      UG,-.*Tÿiÿ^ÿ\h<-A-,ÿFÿRL>)-3ÿ6]ÿP*,,*)Tÿiÿ_ÿ\h<-A-,ÿYÿR`=@ÿ4ÿP*,,*)Tÿiÿ]
                                                      \h<-A-,ÿ\ÿRL//-,-G2=3ÿU*,I3-hÿP*,,*)TÿiÿZÿ\h<-A-,ÿfÿR`=@ÿ69ÿP*,,*)Tÿiÿ[
  8Z58956894                                          \h<-A-,ÿeÿR`=@ÿ6]ÿP*,,*)TTÿRe1*++OÿY=B-/TÿR\2,*)*/Nÿ8Z58956894T
                                   ÿ66Zÿ              LII-/=B-,ÿGIÿK*)B-.*ÿyyzpxp|}szÿw~ÿ|wÿvsqnwrwÿpsqn{|ÿw{|}
                                    R7ÿ>M+T           mnx{|{r}qs}{w|ÿw}{w|ÿs|nÿqnpqÿpzsqs}{w|rÿw~ÿvwz{|ÿÿmnsxrÿs|n
                                                      wq{ÿ{|s|ts|ÿp}wqrÿw}{w|ÿ~wqÿ}pÿ|}qtÿw~ÿs|ÿqnpqÿÿm}wq{{|
                                                      }pÿp}wqrÿ}wÿmÿqpysqpÿsÿ{r}ÿw~ÿvqpn{}wqrÿ{|ÿ{pÿw~ÿx{}}{|ÿs
                                                      wqxs}}pnÿs{z{|ÿs}q{ÿÿ{zpÿsÿvw|rwz{ns}pnÿ{r}ÿw~ÿ}pÿp}wqr
                                                      ÿsqpr}ÿ|rpqpnÿvqpn{}wqrÿvÿpns}ÿvpq}s{|ÿpqrw|sz
                                                      np|}{~{s}{w|ÿ|~wqxs}{w|ÿ~wqÿ|n{o{nszÿvqpn{}wqrÿs|nÿÿs{zÿ|{}{sz
                                                      w}{prÿs|nÿÿmyyqwo{|ÿ}pÿwqxÿs|nÿs||pqÿw~ÿw}{~t{|ÿvqpn{}wqr
                                                      w~ÿ}pÿvwxxp|pxp|}ÿw~ÿ}pÿp}wqrÿvsy}pqÿÿvsrprÿvsrp
                                                      s|spxp|}ÿw}{w|ÿw}{w|ÿ~wqÿp}p|}{w|ÿw~ÿq{xpÿvzpqÿvÿw}{w|
                                                      ~wqÿsprÿw}{w|ÿ}wÿpp}ÿvw|}qs}rÿqn{|sqtÿvwqrpÿw}{w|
                                                      |rqs|pÿw}{w|ÿvsrÿs|spxp|}ÿw}{w|ÿvsrÿvwzzs}pqszÿw}{w|
                                                      w}{pÿw~ÿ{qr}ÿstÿpsq{|ÿw}{pÿw~ÿvwxxp|pxp|}ÿs|nÿw}{pÿw~
                                                      x|{rÿpsq{|ÿR)*3=,*/ÿ/G.1?*2,R+T96Oÿ9ZOÿ94Oÿ[Oÿ_8Oÿ7Oÿ]Oÿ9_Oÿ98Oÿ9^O
                                                      ^7Oÿ99Oÿ4Oÿ9[Oÿ6Oÿ9]Tÿf-3*/ÿA@ÿL/=?ÿ̀:ÿL/3*)ÿG2ÿA*<=3IÿGIÿc)-?*ÿF3*)EO
  8Z58_56894                                          PPF:ÿRL/3*)OÿL/=?TÿR\2,*)*/Nÿ8Z58_56894T
                                   ÿ66[ÿ              L>>3-.=,-G2ÿ,Gÿ\?>3G@ÿ̀lVVVÿc=),2*)+ÿ=+ÿc)GB-/*)ÿGIÿV2,*)-?
                                    R]7ÿ>M+kÿ_ÿ/G.+T `=2=M*?*2,ÿK*)B-.*+ÿ¡ÿ¢ÿmvm¢ÿÿ¢£ÿÿm
                                                      ÿm¢ ¤¥ÿ¢ ÿ¢ÿ¢ÿÿ£ÿmÿ¢m
                                                      ¦ÿm¢ÿ¢ÿ§ÿ¢ÿmm¥¢ÿ§v
                                                      m¢ÿ¢ÿÿvÿ̈ÿ©ª©ÿvÿÿ¢vÿ¢ÿ¢ 
                                                      ¢¢ÿm¢ÿmÿÿ¥m¢ÿvÿmmÿmÿv 
                                                      ¢v¢¥ÿvÿI-3*/ÿA@ÿF=))-*ÿaÿb=)/?=2ÿG2ÿA*<=3IÿGI
                                                      W*3=,-B-,@ÿ̀*/-=OÿPPF:ÿRL,,=.<?*2,+Nÿiÿ9ÿ\h<-A-,ÿLÿlÿc)G>G+*/ÿH)/*)ÿi
                                                      6ÿ\h<-A-,ÿDÿlÿY*.3=)=,-G2ÿiÿ^ÿ\h<-A-,ÿFÿlÿ\2M=M*?*2,ÿP*,,*)TÿRb=)/?=2O
  8Z58_56894                                          F=))-*TÿR\2,*)*/Nÿ8Z58_56894T
117 11! "#$55524%5&''2'2'5(5(45                                                        2&1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 373 of 494 Page ID
  )*+),+-)./                       ÿ--/ÿ             ;22<=9>?=8@ÿ?8ÿAB2<8CÿD=@4?8@ÿEÿF?G>H@ÿIIJÿ>4ÿ;??8G@KC4ÿLÿNOPQRST
                                                           #:2253
                                    1**ÿ2345ÿ6ÿ7894: UVVWXYUQXRZÿ[RSÿOZQS\ÿR[ÿUZÿRSNOSÿU]Q^RSX_XZ`ÿQ^O
                                                     SOQOZQXRZÿUZNÿOaVWR\aOZQÿR[ÿbXZTQRZÿcÿTQSUbZÿWWVÿUT
                                                     UQQRSZO\Tÿ[RSÿQ^OÿNOPQRSTÿUZNÿNOPQRSTÿXZÿVRTTOTTXRZ
                                                     Z]ZYÿVSRÿQ]ZYÿQRÿQ^OÿVOQXQXRZÿNUQOÿd=<K7ÿeCÿf>GG=Kÿg
                                                     h>G7B>@ÿ8@ÿeKi><dÿ8dÿjK<>?=k=?CÿlK7=>mÿIIfnÿ1;??>9iBK@?4oÿpÿ.ÿAqi=e=?
                                                     ;ÿrÿJG8284K7ÿsG7KGÿpÿ-ÿAqi=e=?ÿtÿrÿuK9<>G>?=8@ÿ8dÿu>@=K<ÿvnÿl9wx=GKÿpÿy
                                                     Aqi=e=?ÿfÿrÿuK9<>G>?=8@ÿ8dÿf8<=@ÿlnÿ;7>B4ÿpÿ,ÿAqi=e=?ÿuÿrÿA@3>3KBK@?
                                                     IK??KG:ÿ1h>G7B>@mÿf>GG=K:ÿ1A@?KGK7oÿ)*+),+-)./:
                                   ÿ--zÿ             ;dd=7>k=?ÿ8dÿFKGk=9Kÿ{|ÿZ}~{ÿY{{ÿS~ÿN{ÿa{{~ÿ|{
                                    1./ÿ234:         O~ÿ{|ÿ~ÿRÿU{~ÿU}{~ÿ{|ÿO}{ÿY{~ÿ
                                                     Z|ÿX~ÿZ{ÿ{|ÿ[~ÿ{|ÿV{{ÿX~ÿPÿRÿX
                                                     U}{~ÿN{ÿ{ÿR~ÿT}ÿV{V{~ÿ[~~~ÿ~ÿ]
                                                     YÿY{ÿXXÿ̀~~ÿU}ÿV{{~ÿXXXÿa{|~ÿ
                                                     U}{ÿTÿXÿT}~ÿÿ[~ÿ^~ÿ~ÿÿ̀~~
                                                     SÿS|ÿ~ÿZ{ÿ{|ÿ[~ÿ{|ÿOÿUÿ{ÿV{{ÿX~
                                                     PÿRÿXÿU}{~ÿN{ÿ{ÿR~ÿT}ÿV{V{~
                                                     [~~~ÿ~ÿ]ÿYÿY{ÿXXÿ̀~~ÿU}ÿV{{~
                                                     XXXÿa{|~ÿÿU}{ÿTÿXÿT}~ÿÿ[~ÿ^~
                                                     ~ÿÿ̀~~ÿSÿS|ÿ1GK<>?K7ÿ789xBK@?14:-.,mÿ-.ymÿ-.*:ÿd=<K7
  )*+),+-)./                                         eCÿJG=BKÿf<KGmÿIIfn1F?KK<KmÿtK@>B=@:ÿ1A@?KGK7oÿ)*+),+-)./:
                                   ÿ-y)ÿ             seK9?=8@ÿ?8ÿl8?=8@ÿ1GK<>?K7ÿ789xBK@?14:.:ÿd=<K7ÿeCÿwK8G3KÿjnÿlK4=GK4
  )*+)6+-)./                        16ÿ234:          8@ÿeKi><dÿ8dÿK9i@=98<8Gmÿ@9nnÿ1lK4=GK4mÿwK8G3K:ÿ1A@?KGK7oÿ)*+)6+-)./:
                                   ÿ-y-ÿ             seK9?=8@ÿ?8ÿl8?=8@ÿWÿR¡{~ÿ~ÿS{~ÿ{|ÿSÿ{|
                                    1,ÿ234:          Z|ÿX~ÿ{ÿN{ÿa{{~ÿ|{ÿO~ÿ{|ÿX~ÿ~ÿ[~ÿRÿ
                                                     U}{~ÿÿN{ÿ{ÿÿR~ÿV{V{~ÿ[~~~ÿ~ÿ
                                                     ]ÿYÿY{ÿÿ̀~~ÿU}ÿV{{~ÿ ÿa{|~
                                                     ÿU}{ÿTÿÿT}~ÿÿ[~ÿ^~ÿ~ÿÿ̀~~
                                                     SÿS|ÿ1GK<>?K7ÿ789xBK@?14:.:ÿd=<K7ÿeCÿu>k=7ÿlnÿwxK44ÿ8@
  )*+)6+-)./                                         eKi><dÿ8dÿ¢K?d<=qmÿ@9nnÿ1wxK44mÿu>k=7:ÿ1A@?KGK7oÿ)*+)6+-)./:
                                   ÿ-yyÿ             seK9?=8@ÿ?8ÿl8?=8@ÿLÿT}~ÿR¡{~ÿ{|ÿÿ]~ÿT
                                    1ÿ234:          Q}ÿ{ÿÿN{ÿa{{~ÿ|{ÿO~ÿ{|ÿX~ÿ~ÿ[~ÿR
                                                     U}{~ÿÿN{ÿ{ÿR~ÿV{V{~ÿ[~~~ÿ~ÿ]ÿY
                                                     Y{ÿ~ÿ|{ÿRÿS|ÿ1GK<>?K7ÿ789xBK@?14:.:ÿd=<K7ÿeC
                                                     tK@>B=@ÿvnÿh=33=@4ÿ8@ÿeKi><dÿ8dÿ£@=?K7ÿF?>?K4ÿGx4?KKnÿH=?iÿiK>G=@3ÿ?8
                                                     eKÿiK<7ÿ8@ÿ*+.-+-)./ÿ>?ÿ..o))ÿ;lÿ>?ÿf8xG?G88Bÿ*.ÿ1lAD:ÿ1h=33=@4m
  )*+)6+-)./                                         tK@>B=@:ÿ1A@?KGK7oÿ)*+)6+-)./:
                                   ÿ-y,ÿ             ;22<=9>?=8@ÿd8GÿJG8ÿh>9ÿg=9Kÿ;7B=44=8@ÿd=<K7ÿeCÿu8x3<>4ÿvÿF9i@K<<KGÿ8@
                                    16ÿ234:          eKi><dÿ8dÿJxGKÿ¤<=qÿA@?KG?>=@BK@?ÿIIfnÿ1F9i@K<<KGmÿu8x3<>4:ÿ1A@?KGK7o
  )*+)*+-)./                                         )*+)*+-)./:
                                   ÿÿ                jK9K=2?ÿ8dÿ;22<=9>?=8@ÿd8GÿJG8ÿh>9ÿg=9Kÿ;7B=44=8@1./r..y6/rBKH:
                                                     ¥B8?=8@m.--¦ÿ1ÿ-))n)):ÿ¤=<=@3ÿ¤KKnÿjK9K=2?ÿ@xBeKGÿ.-*.-y6ynÿ¤KK
  )*+)*+-)./                                         >B8x@?ÿ-))n))nÿ1jKoÿu89ÿpÿ-y,:ÿ1£nFnÿGK>4xGC:ÿ1A@?KGK7oÿ)*+)*+-)./:
                                   ÿ-y6ÿ             ¢8?=9Kÿ8dÿ;22K>G>@9Kÿd=<K7ÿeCÿu8x3<>4ÿvÿF9i@K<<KGÿ8@ÿeKi><dÿ8dÿJxGKÿ¤<=q
  )*+)*+-)./                        1,ÿ234:          A@?KG?>=@BK@?ÿIIfnÿ1F9i@K<<KGmÿu8x3<>4:ÿ1A@?KGK7oÿ)*+)*+-)./:
  )*+)*+-)./                       ÿ-y*ÿ             ;dd=7>k=?ÿ8dÿFKGk=9KÿT}~ÿ{|ÿT~ÿÿ^~ÿS~
                                    1,ÿ234:          Z{ÿ{|ÿYÿ§§ÿP~¨}ÿYÿX~ÿRÿXÿU}{~
                                                     N{ÿ{ÿR~ÿT}ÿV{V{~ÿ[~~~ÿ~ÿ]ÿY
                                                     Y{ÿXXÿ̀~~ÿU}ÿV{{~ÿXXXÿa{|~ÿ
                                                     U}{ÿTÿXÿT}~ÿÿ[~ÿ^~ÿ~ÿÿ̀~~
117 11! "#$55524%5&''2'2'5(5(45                                                      231543
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                                                                        7ÿ7 Page 374 of 494 Page ID
                                                     *+,-.+/ÿ*+,1+23ÿ-4/ÿ56.17+ÿ62ÿ8+-914:ÿ64ÿ;<4+ÿ=>3ÿ>?=@ÿ-.ÿ==A??ÿ-BCB
                                                           #:2254
                                                     DEFGÿIJKLMNKOÿOPQRSKTNIUVWXYZÿ[\Zÿ]^Vÿ_L̀KOÿabÿcJS̀KÿdLKJeZÿffdgIhMLPZ
                                                     iMjÒVÿIkTNKJKOlÿX^mX^mWXYnV
                                   ÿW[oÿ             rJOKJÿUq̀TKOÿPTÿ^momWXYnÿMOSǸǸTqÿfL̀L̀MTÿsNKT_KLONZÿkUtgÿNPÿpJMQǸQKÿpJP
                                    IWÿpqUV          uMQÿjQ̀Kÿ̀TÿNuÙÿdPRJNÿIvKLMNKOÿiPQÿwÿW[xVgÿIiKcK̀JPLMZÿyMQtRKL̀TKV
  X^mXomWXYn                                         IkTNKJKOlÿX^mXomWXYnV
                                   ÿW[nÿ             z__ÒMjǸÿP_ÿsKJjQ̀Kÿ62ÿ{,-14ÿ|Bÿ}9-476+<9ÿ*+:-9/14:ÿ~+.69
                                    IYXÿpqUV         {,17-.164ÿ269ÿE4.9ÿ62ÿ-4ÿ9/+9ÿ{<.69114:ÿ.+ÿ~+.69ÿ.6ÿDGÿEC,6
                                                     -4/ÿ*+.-14ÿÿ-9.4+9ÿ.6ÿ961/+ÿ4.+91Cÿ-4-:+C+4.ÿ+917+ÿ4<4+
                                                     96ÿ.<4+ÿ.6ÿ.+ÿ+.1.164ÿ~-.+3ÿ-4/ÿDGÿ~+1:4-.+ÿ6,14ÿ{/-Cÿ-ÿ 1+2
                                                     *+.9<7.<914:ÿ2217+9ÿ-4/ÿ~+.69ÿ{,17-.164ÿ269ÿE4.9ÿ62ÿ-4ÿ9/+9
                                                     {<.69114:ÿ.+ÿ*+.+4.164ÿ-4/ÿEC,6C+4.ÿ62ÿ14.64ÿÿ.9-4ÿÿ-
                                                     {..694+ÿ269ÿ.+ÿ~+.69ÿ-4/ÿ~+.69ÿ14ÿ6+164ÿ4<4+ÿ96ÿ.<4+ÿ.6ÿ.+
                                                     +.1.164ÿ~-.+ÿIJKLMNKOÿOPQRSKTNIUVWWnZÿWWoVÿL̀KOÿabÿzOMSÿhgÿzOLKJÿPT
  X^mXomWXYn                                         aKuML_ÿP_ÿcJS̀KÿdLKJeZÿffdgÿIzOLKJZÿzOMSVÿIkTNKJKOlÿX^mXomWXYnV
                                   ÿW[\ÿ             rppPUǸP̀Tÿ.6ÿ~+.69ÿ6.164ÿ.6ÿ6.ÿ+.1.164ÿ}14-4714:ÿIJKLMNKO
                                    I[WÿpqUV         OPQRSKTNIUVYoVÿ_L̀KOÿabÿhT̀bMPÿMTqÿPTÿaKuML_ÿP_ÿrdzf
                                                     drhhkkÿrÿskdvkiÿdvkirvsgÿIMTqZÿhT̀bMPV
  X^mXnmWXYn                                         IkTNKJKOlÿX^mXnmWXYnV
                                   ÿWxXÿ             PǸQKÿP_ÿzqKTOMÿÿ5FEÿ}ÿ{E5~{ÿ}ÿ{FFE*ÿ8E~E~
                                    IxÿpqUV          }*ÿ8E{*5ÿ5ÿ;5Eÿ=>3ÿ>?=@ÿ{Fÿ>A??ÿÿDEFGÿ_L̀KOÿabÿdMJJK̀ÿ
                                                     MJOSMTÿPTÿaKuML_ÿP_ÿvKLMǸjǸbÿhKOM̀ZÿffdgÿǸuÿuKMJT̀qÿNPÿaKÿuKLOÿPT
                                                     ^mYWmWXYnÿMNÿXWlXXÿchÿMNÿdPRJNJPPSÿ^YoÿIhkVÿIMJOSMTZÿdMJJK̀V
  X^mXnmWXYn                                         IkTNKJKOlÿX^mXnmWXYnV
                                   ÿWxYÿ             PǸQKÿP_ÿzqKTOMÿÿ56.17+ÿ62ÿ699+7.+/ÿ{:+4/-ÿ62ÿ-..+9ÿ7+/<,+ÿ269
                                    IxÿpqUV          8+-914:ÿ64ÿ;<4+ÿ=>3ÿ>?=@ÿ-.ÿ==A??ÿ{ÿDEFGÿIJKLMNKOÿOPQRSKTNIUVWxXZ
                                                     YoVÿL̀KOÿabÿdMJJK̀ÿÿMJOSMTÿPTÿaKuML_ÿP_ÿvKLMǸjǸbÿhKOM̀ZÿffdgÿǸu
                                                     uKMJT̀qÿNPÿaKÿuKLOÿPTÿ^mYWmWXYnÿMNÿYYlXXÿzhÿMNÿdPRJNJPPSÿ^YoÿIhkV
  X^mXnmWXYn                                         IMJOSMTZÿdMJJK̀VÿIkTNKJKOlÿX^mXnmWXYnV
                                   ÿWxWÿ             raKQǸPTÿNPÿhPǸPTÿÿ+7.164ÿ62ÿ5+.2,1¡3ÿ47Bÿ.6ÿ.+ÿ~+.69
                                    IxxÿpqUÿ\ÿOPQUV {,17-.164ÿ269ÿE4.9ÿ62ÿ-4ÿ9/+9ÿ{<.69114:ÿ.+ÿ*+.+4.164ÿ-4/
                                                     EC,6C+4.ÿ62ÿ14.64ÿÿ.9-4ÿÿ-ÿ{..694+ÿ269ÿ.+ÿ~+.69ÿ-4/
                                                     ~+.69ÿ14ÿ6+164ÿ5<47ÿ96ÿF<47ÿ.6ÿ.+ÿ+.1.164ÿ~-.+ÿIJKLMNKO
                                                     OPQRSKTNIUVWWnVÿ_L̀KOÿabÿvPaKJNÿygÿc_ÙNKJÿPTÿaKuML_ÿP_ÿKN_L̀¢ZÿTQggÿǸu
                                                     uKMJT̀qÿNPÿaKÿuKLOÿPTÿ^mWnmWXYnÿMNÿYYlXXÿzhÿMNÿdPRJNJPPSÿ^YoÿIhkV
                                                     IzNNMQuSKTNUlÿwÿYÿk¢uàǸÿYÿwÿWÿk¢uàǸÿWÿwÿ[ÿk¢uàǸÿ[ÿwÿxÿk¢uàǸÿxÿwÿ]
                                                     k¢uàǸÿ]ÿwÿ^ÿk¢uàǸÿ^ÿwÿoÿk¢uàǸÿoÿwÿnÿk¢uàǸÿnVÿIc_ÙNKJZÿvPaKJNV
  X^mYYmWXYn                                         IkTNKJKOlÿX^mYYmWXYnV
                                   ÿWx[ÿ             z__ÒMjǸÿP_ÿsKJjQ̀Kÿ62ÿ-<,ÿ<,,6ÿ*+:-9/14:ÿ56.17+ÿ62ÿ699+7.+/ÿ{:+4/-
                                    IY]ÿpqUV         62ÿ-..+9ÿ7+/<,+/ÿ269ÿ8+-914:ÿ64ÿ;<4+ÿ=>3ÿ>?=@ÿ-.ÿ==A??ÿ-BCBÿDEFG
                                                     IJKLMNKOÿOPQRSKTNIUVWxYVÿL̀KOÿabÿzOMSÿhgÿzOLKJÿPTÿaKuML_ÿP_ÿcJS̀K
  X^mYYmWXYn                                         dLKJeZÿffdgÿIzOLKJZÿzOMSVÿIkTNKJKOlÿX^mYYmWXYnV
                                   ÿWxxÿ             PǸQKÿP_ÿzqKTOMÿÿ56.17+ÿ62ÿ{C+4/+/ÿ{:+4/-ÿ62ÿ-..+9ÿ7+/<,+/ÿ269
                                    IxÿpqUV          8+-914:ÿ64ÿ;<4+ÿ=>3ÿ>?=@ÿ-.ÿ==A??ÿ{ÿDEFGÿIJKLMNKOÿOPQRSKTNIUVWxXZ
                                                     WxYZÿYoVÿ_L̀KOÿabÿdMJJK̀ÿÿMJOSMTÿPTÿaKuML_ÿP_ÿvKLMǸjǸbÿhKOM̀Zÿffdg
                                                     ǸuÿuKMJT̀qÿNPÿaKÿuKLOÿPTÿ^mYWmWXYnÿMNÿYYlXXÿzhÿMNÿdPRJNJPPSÿ^Yo
  X^mYYmWXYn                                         IMJOSMTZÿdMJJK̀VÿIkTNKJKOlÿX^mYYmWXYnV
  X^mYYmWXYn                       ÿWx]ÿ             PǸQKÿP_ÿcJPpPUKOÿrJOKJÿÿ5FEÿ}ÿ}5ÿ}ÿ*E~
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                                    )*+ÿ-./0ÿ1ÿ234/5 6789:;ÿ=:>7?=@ÿA?=;B7ÿ9?;7?CÿD=EÿFG>H9?=I=:Bÿ>H7
                                                           #:2255
                                                     ;7A>9?6ÿ>9ÿDFEÿ9A>F=:ÿJ96>KJ7>=>=9:ÿL=:F:8=:BÿF:;ÿDAE
                                                     G67ÿ8F6Hÿ89MMF>7?FMNÿD==EÿB?F:>=:BÿF;7OGF>7
                                                     J?9>78>=9:NÿD===Eÿ@9;=LP=:Bÿ>H7ÿFG>9@F>=8ÿ6>FPNÿD=QE
                                                     68H7;GM=:BÿFÿL=:FMÿH7F?=:BNÿF:;ÿDQEÿB?F:>=:Bÿ?7MF>7;
                                                     ?7M=7Lÿ)RSTUVS2ÿ234WXSYV)/5Z*[\ÿ*[\ÿ]^5ÿ_T̀S2ÿabÿcURRS̀ÿdÿeUR2XUYÿ3Y
                                                     aSfUT_ÿ3_ÿgSTUV̀hV̀bÿiS2Ù\ÿjjckÿlV̀fÿfSURỲ.ÿV3ÿaSÿfST2ÿ3Yÿ^m*ZmZn*+ÿUV
                                                     **onnÿpiÿUVÿc3WRVR33Xÿ^*[ÿ)iqr5ÿ)pVVU4fXSYV/oÿsÿ*ÿqtfàV̀ÿ*ÿsÿZ
                                                     qtfàV̀ÿZ5)eUR2XUY\ÿcURRS̀5ÿ)qYVSRS2oÿn^m**mZn*+5
                                   ÿZu^ÿ             vS43Y2ÿwYVSRX̀ÿxR2̀.SÿyR2SRÿ/.̀YS2ÿ3Yÿ^m*ZmZn*+ÿpWVf3Rz̀Ỳ.ÿVfS
                                    )^ÿ-./5          {SaV3R/ÿV3ÿ)p5ÿyaVUỲÿ|3/V}|SV̀V̀3Yÿ~ỲUY4Ỳ.ÿUY2ÿ)x5ÿ/SÿcU/f
                                                     c3TTUVSRUT0ÿ)ww5ÿRUYV̀Y.ÿp2SWUVSÿ|R3VS4V̀3Y0ÿ)www5ÿi32`_bỲ.ÿVfS
                                                     pWV3XUV̀4ÿvVUb0ÿ)wd5ÿv4fS2WT̀Y.ÿUÿ~ỲUTÿeSURỲ.ÿÿÿÿÿ
                                                     ÿ0ÿUY2ÿ)d5ÿRUYV̀Y.ÿgSTUVS2ÿgST̀S_k)RSTUVS2ÿ234WXSYV)/5Z*[\ÿ*[\
                                                     ]^5ÿ)i4cU__RSb\ÿ{UlY5ÿi32`_S̀2ÿ3Yÿ^mZZmZn*+ÿ)g4̀fUR2/\ÿxShSRTb5k
  n^m*ZmZn*+                                         )qYVSRS2oÿn^m*ZmZn*+5
                                   ÿZu[ÿ             p__2̀UhV̀ÿ3_ÿvSRh4̀SÿD6Eÿÿ:ÿ8ÿ?¡
                                    )1ÿ-./5          ;¢£ÿ;¢ÿ@¡ÿÿÿ9ÿF¤¡¥¡ÿ¤ÿ;¢ÿÿ9¢¡
                                                     >¡ÿ=¦ÿÿ8¡ÿJ¡¡ÿ=¦ÿ8§ÿÿJ¨
                                                     9¢¡¡ÿ?¡ÿ>¤ÿ)RSTUVS2ÿ234WXSYV)/5]u5ÿ_T̀S2ÿabÿ|RX̀S
  n^m*ZmZn*+                                         cTSR©\ÿjjck)iUT3\ÿ{Uh2̀5ÿ)qYVSRS2oÿn^m*ZmZn*+5
                                   ÿZu+ÿ             ªRUY/4R-̀VÿRS.UR2Ỳ.ÿeSURỲ.ÿeST2ÿ3Yÿn^m**mZn*+ÿUVÿ**on^ÿUXÿgqo
                                    )1+ÿ-./5         c3Y_SRSY4SÿgSoÿ{/̀43hSRbÿ2/̀-WVSkÿgSX3VSÿSTS4VR3Y4̀ÿU44S//ÿV3ÿVfS
                                                     VRUY/4R-̀Vÿ̀/ÿRS/VR4̀VS2ÿWYV̀Tÿ«m*nmZn*+kÿªfSÿVRUY/4R-̀VÿXUbÿaSÿhS̀lS2ÿUV
                                                     VfSÿxUY©RW-V4bÿc3WRVÿcTSR©/ÿy__4̀Skÿ¬ªRUY/4R-̀V̀3YÿvSRh4̀Sÿp.SY4bo
                                                     Sv4RàSR/\ÿjjck­kÿ)vSSÿVfSÿc3WRV/ÿrSa/V̀Sÿ_3Rÿ43YVU4Vÿ̀Y_3RXUV̀3Yÿ_3RÿVfS
                                                     ªRUY/4R-̀V̀3YÿvSRh4̀Sÿp.SY4bk5kÿ®3V̀4Sÿ3_ÿwYVSYVÿV3ÿgSWS/VÿgS2U4V̀3Y
                                                     {SU2T̀YSÿ{WSÿxbÿ^m*«mZn*+kÿvVUVSXSYVÿ3_ÿgS2U4V̀3YÿgSWS/Vÿ{WSÿxb
                                                     [m1mZn*+kÿgS2U4VS2ÿªRUY/4R-̀VÿvWaX/̀/3̀Yÿ{WSÿxbÿ[m*1mZn*+kÿªRUY/4R-̀V
                                                     U44S//ÿlT̀TÿaSÿRS/VR4̀VS2ÿVfR3W.fÿ«m*nmZn*+kÿ)jSl/̀\ÿªSYT̀TS5ÿ)qYVSRS2o
  n^m*ZmZn*+                                         n^m*1mZn*+5
                                   ÿZ]^ÿ             ªRUY/4R-̀VÿRS.UR2Ỳ.ÿeSURỲ.ÿeST2ÿ3Yÿn^m*ZmZn*+ÿUVÿ**oZ+ÿUXÿgqo
                                    )*uÿ-./5         ~WRVfSRÿwYVSRX̀ÿ{w|ÿfSURỲ.kÿ{34sÿZu]ÿ®3V̀4Sÿ3_ÿ-R3-3/S2ÿ3R2SRÿmÿ®3V̀4S
                                                     3_ÿ_T̀Ỳ.ÿ3_ÿ-R3-3/S2ÿ/S43Y2ÿ̀YVSRX̀ÿaR2̀.Sÿ3R2SRoÿ)w5ÿpWVf3Rz̀Ỳ.ÿVfS
                                                     2SaV3R/ÿV3ÿ)p5ÿ3aVUỲÿ-3/V}-SV̀V̀3Yÿ_ỲUY4Ỳ.ÿUY2ÿ)a5ÿW/Sÿ4U/fÿ43TTUVSRUTo
                                                     )ww5ÿRUYV̀Y.ÿU2SWUVSÿ-R3VS4V̀3Y0ÿ)www5ÿi32`_bỲ.ÿVfSÿUWV3XUV̀4ÿ/VUb0
                                                     )wd5ÿv4fS2WT̀Y.ÿUÿ_ỲUTÿfSURỲ.oÿUY2ÿ)d5ÿRUYV̀Y.ÿRSTUVS2ÿRST̀S_ÿ)RSTUVS2
                                                     234WXSYV)/5ÿZ*[\ÿ*[\ÿ]^5kÿgSX3VSÿSTS4VR3Y4̀ÿU44S//ÿV3ÿVfSÿVRUY/4R-̀Vÿ̀/
                                                     RS/VR4̀VS2ÿWYV̀Tÿ«m*nmZn*+kÿªfSÿVRUY/4R-̀VÿXUbÿaSÿhS̀lS2ÿUVÿVfS
                                                     xUY©RW-V4bÿc3WRVÿcTSR©/ÿy__4̀Skÿ¬ªRUY/4R-̀V̀3YÿvSRh4̀Sÿp.SY4bo
                                                     Sv4RàSR/\ÿjjck­kÿ)vSSÿVfSÿc3WRV/ÿrSa/V̀Sÿ_3Rÿ43YVU4Vÿ̀Y_3RXUV̀3Yÿ_3RÿVfS
                                                     ªRUY/4R-̀V̀3YÿvSRh4̀Sÿp.SY4bk5ÿ)gqoÿRSTUVS2ÿ234WXSYV)/5ÿZu]5kÿ®3V̀4Sÿ3_
                                                     wYVSYVÿV3ÿgSWS/VÿgS2U4V̀3Yÿ{SU2T̀YSÿ{WSÿxbÿ^m*«mZn*+kÿvVUVSXSYVÿ3_
                                                     gS2U4V̀3YÿgSWS/Vÿ{WSÿxbÿ[m1mZn*+kÿgS2U4VS2ÿªRUY/4R-̀VÿvWaX/̀/3̀Y
                                                     {WSÿxbÿ[m*1mZn*+kÿªRUY/4R-̀VÿU44S//ÿlT̀TÿaSÿRS/VR4̀VS2ÿVfR3W.f
  n^m*ZmZn*+                                         «m*nmZn*+kÿ)jSl/̀\ÿªSYT̀TS5ÿ)qYVSRS2oÿn^m*+mZn*+5
  n^m*1mZn*+                       ÿZu«ÿ             i3V̀3YÿV3ÿpWVf3Rz̀Sÿ̄ÿ;7A>9?6ÿ@9>=9:ÿJG?6GF:>ÿ>9ÿ°°ÿG±6±8±ÿ²²
                                    )*[ÿ-./0ÿZÿ234/5 °³´DEµÿ¶¶³µÿF:;ÿ¶¶°µÿL7;±ÿ?±ÿAF:·?±ÿJ±ÿ̧³°¹µÿF:;ÿM98FMÿ?GM7
                                                     ¸³°¹K°µÿL9?ÿ7:>?Pÿ9LÿF:ÿ9?;7?ÿ76>FAM=6H=:BÿJ?987;G?76
                                                     L9?ÿ=:>7?=@ÿ89@J7:6F>=9:ÿF:;ÿ?7=@AG?67@7:>ÿ9L
                                                     7ºJ7:676ÿ9LÿJ?9L766=9:FM6ÿ_T̀S2ÿabÿ{UYS̀Tÿ»kÿi4WR̀Sÿ3YÿaSfUT_
                                                     3_ÿgSTUV̀hV̀bÿiS2Ù\ÿjjcÿlV̀fÿfSURỲ.ÿV3ÿaSÿfST2ÿ3Yÿ^mZ+mZn*+ÿUVÿ**onn
                                                     piÿUVÿc3WRVR33Xÿ^*[ÿgS/-3Y/S/ÿ2WSÿabÿ^mZ*mZn*+\kÿ)pVVU4fXSYV/oÿsÿ*
                                                     qtfàV̀ÿpÿ}ÿ|R3-3/S2ÿyR2SR5ÿ)i4WR̀S\ÿ{UYS̀T5ÿ)qYVSRS2oÿn^m*1mZn*+5
117 11! "#$55524%5&''2'2'5(5(45                                                        201543
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                                                           #:2256
                                   ÿ.1)ÿ              789:;<ÿ8=ÿ><?@:A4ÿBÿDEFGHIÿEJÿEKDGLMNÿOIPQGDRÿEDÿSMDIÿTUV
                                    2.ÿ3456           TWXUÿPFÿXXYWWÿPKÿZIF[ÿ=:\<]ÿ^_ÿ̀?@@:<ÿaÿ>?@]b?Aÿ8Aÿ^<c?\=ÿ8=
                                                      d<\?9:e:9_ÿf<]:?gÿhh`iÿj:9cÿc<?@:A4ÿ98ÿ^<ÿc<\]ÿ8Aÿ*+./+.),/ÿ?9ÿ,,k))
                                                      lfÿ?9ÿ̀8m@9@88bÿ*,nÿo^p<;9:8A5ÿ]m<ÿ^_ÿ*+.,+.),/gÿ2>?@]b?Agÿ̀?@@:<6
  )*+,-+.),/                                          2qA9<@<]kÿ)*+,-+.),/6
                                   ÿ.1,ÿ              l==:]?e:9ÿ8=ÿs<@e:;<ÿtuÿvwxyyzÿH{wz|w}~yÿQy}wx~}ÿDtyÿtuÿJ~}
                                    2,rÿ3456          tuÿt|tyxÿNyt~xÿG~yzÿLx}yÿExyYÿZG[ÿP{t~}ÿ{yÿytÿt
                                                      ZP[ÿEw~ÿtyt~ÿJ~w~~}ÿw~xÿZL[ÿM yÿHw{ÿHtwywÿZGG[
                                                      Rw~~}ÿPxywyÿtyt~ÿZGGG[ÿKtxu~}ÿ{yÿPtzwÿNwÿZG[
                                                      N{yx~}ÿwÿJ~wÿOyw~}ÿw~xÿZ[ÿRw~~}ÿQywyxÿQyyuÿ2@<\?9<]
                                                      ]8;mb<A9256.r16ÿ=:\<]ÿ^_ÿ@:b<ÿ̀\<@gÿhh`i2s9<<\<gÿ<Ap?b:A6ÿ2qA9<@<]k
  )*+,r+.),/                                          )*+,r+.),/6
                                   ÿ.1.ÿ              l==:]?e:9ÿ8=ÿs<@e:;<ÿtuÿwÿtÿQy}wx~}ÿDtyÿtuÿPzy~xyxÿP}y~xw
                                    2,1ÿ3456          tuÿKwyÿN{yxyxÿutÿOyw~}ÿt~ÿS~yÿXTVÿTWXUÿwÿXXYWWÿwzÿZIF[
                                                      2@<\?9<]ÿ]8;mb<A9256.rr6ÿ=:\<]ÿ^_ÿ@:b<ÿ̀\<@gÿhh`i2f?\8gÿ?e:]6
  )*+,r+.),/                                          2qA9<@<]kÿ)*+,r+.),/6
                                   ÿ.1-ÿ              789:;<ÿ8=ÿ><?@:A4ÿDtyÿtuÿJ~}ÿtuÿSt~xyÿtuÿDyuVÿG~ÿtÿKtt~ÿtu
                                    2..-ÿ345ÿ*ÿ]8;56 M~yxÿNwyÿFyyÿutÿw~ÿExyÿHt~y~}ÿ{yÿH{w|yÿXXÿHwyÿt
                                                      HwyÿM~xyÿH{w|yÿÿtuÿ{yÿLw~|ÿHtxyÿ=:\<]ÿ^_ÿ?e:]ÿfiÿm<55
                                                      8Aÿ^<c?\=ÿ8=ÿ7<9=\:gÿA;iiÿj:9cÿc<?@:A4ÿ98ÿ^<ÿc<\]ÿ8Aÿ*+./+.),/ÿ?9ÿ,,k))
                                                      lfÿ?9ÿ̀8m@9@88bÿ*,nÿ2fq6ÿ2l99?;cb<A95kÿÿ,ÿqc:^:9ÿlÿ2?@9ÿ,6ÿÿ.
                                                      qc:^:9ÿlÿ2?@9ÿ.6ÿÿ-ÿqc:^:9ÿlÿ2?@9ÿ-6ÿÿrÿqc:^:9ÿlÿ2?@9ÿr6ÿÿ1
  )*+,r+.),/                                          qc:^:9ÿlÿ2?@9ÿ1662m<55gÿ?e:]6ÿ2qA9<@<]kÿ)*+,r+.),/6
                                   ÿ.1rÿ              `<@9:=:;?9<ÿ8=ÿs<@e:;<ÿyÿDtyÿtuÿJ~}ÿtuÿSt~xyÿtuÿDyuVÿG~ÿt
                                    2.ÿ3456           Ktt~ÿtuÿM~yxÿNwyÿFyyÿutÿw~ÿExyÿHt~y~}ÿ{yÿH{w|yÿXX
                                                      HwyÿtÿHwyÿM~xyÿH{w|yÿÿtuÿ{yÿLw~|ÿHtxyÿÿDtÿT¡
                                                      2@<\?9<]ÿ]8;mb<A9256.1-6ÿ¢:\<]ÿ^_ÿ?e:]ÿfiÿm<55ÿ8Aÿ^<c?\=ÿ8=ÿ7<9=\:g
  )*+,1+.),/                                          A;iiÿ2m<55gÿ?e:]6ÿ2qA9<@<]kÿ)*+,1+.),/6
                                   ÿ.11ÿ              l==:]?e:9ÿ8=ÿs<@e:;<ÿtuÿvwxyyzÿH{wz|w}~yÿQy}wx~}ÿNyt~xÿG~yz
                                    2,rÿ3456          Lx}yÿExyYÿZG[ÿP{t~}ÿ{yÿytÿtÿZP[ÿEw~ÿtyt~
                                                      J~w~~}ÿw~xÿZL[ÿM yÿHw{ÿHtwywÿZGG[ÿRw~~}ÿPxywy
                                                      tyt~ÿZGGG[ÿKtxu~}ÿ{yÿPtzwÿNwÿZG[ÿN{yx~}ÿwÿJ~w
                                                      Oyw~}ÿw~xÿZ[ÿRw~~}ÿQywyxÿQyyuÿ2@<\?9<]ÿ]8;mb<A9256.r*6ÿ¢:\<]
                                                      ^_ÿl]?bÿfiÿl]\<@ÿ8Aÿ^<c?\=ÿ8=ÿ@:b<ÿ̀\<@gÿhh`iÿ2l]\<@gÿl]?b6
  )*+,1+.),/                                          2qA9<@<]kÿ)*+,1+.),/6
                                   ÿ.1nÿ              789:;<ÿ98ÿ@8]m;<ÿ8;mb<A95ÿBBÿDyuVÿG~¤ÿDtyÿtuÿNyyÿtuÿNwy
                                    2//ÿ345ÿ£ÿ]8;56 Ktt~Qywyxÿtyÿt~ÿ{yÿytÿw~xÿMwÿw~xÿDtyÿtu
                                                      G w~yÿtuÿF{xwÿN|ty~wÿtÿMwÿPuuwyÿ2@<\?9<]
                                                      ]8;mb<A9256nn6ÿ=:\<]ÿ^_ÿd8^<@9ÿ¥iÿ=:59<@ÿ8Aÿ^<c?\=ÿ8=ÿ7<9=\:gÿA;ii
                                                      2l99?;cb<A95kÿÿ,ÿqc:^:9ÿlÿ¦ÿ7<9=\:gÿA;i§5ÿ¢:@59ÿs<9ÿ8=ÿd<¨m<595ÿ98ÿ9c<
                                                      <^98@5ÿ=8@ÿ@8]m;9:8Aÿ8=ÿ8;mb<A95ÿd<4?@]:A4ÿ9c<ÿ<^98@5ÿs?\<
                                                      f89:8Aÿÿ.ÿqc:^:9ÿÿ¦ÿ7<9=\:gÿA;i5ÿ¢:@59ÿs<9ÿ8=ÿd<¨m<595ÿ98ÿ©\9@?a
                                                      >8\]:A45ÿhh`ÿ=8@ÿ@8]m;9:8Aÿ8=ÿ8;mb<A95ÿd<4?@]:A4ÿ9c<ÿ<^98@5ÿs?\<
                                                      f89:8Aÿÿ-ÿqc:^:9ÿ̀ÿ¦ÿsm^38<A?ÿ98ÿl7ÿ>8\]:A45ÿÿhh`ÿÿrÿqc:^:9
                                                      ÿ¦ÿsm^38<A?ÿ98ÿdfdfÿ>8\]:A45gÿhh`ÿÿ1ÿqc:^:9ÿqÿ¦ÿs8mA]ÿ8:A9
                                                      `?3:9?\ÿf?A?4<b<A9gÿhÿÿ*ÿqc:^:9ÿ¢ÿ¦ÿsm^38<A?ÿ98ÿ?e:]ÿd8^^:A5ÿÿn
                                                      qc:^:9ÿÿ¦ÿsm^38<A?ÿ98ÿh<ÿf:@8Aÿÿ/ÿqc:^:9ÿ>ÿ¦ÿsm^38<A?ÿ98ÿh?@@_
  )*+,/+.),/                                          d8^^:A562=:59<@gÿd8^<@96ÿ2qA9<@<]kÿ)*+,/+.),/6
  )*+,/+.),/                       ÿ.1/ÿ              l==:]?e:9ÿ8=ÿs<@e:;<ÿEuÿvwxyyzÿH{wz|w}~yÿQy}wx~}ÿytÿKtt~
                                    2,nÿ3456          utÿI~ÿtuÿw~ÿExyÿIw{~}ÿtyxyÿutÿG~yzÿHtz|y~wt~
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                                                    )*+ÿ-./01234.0.*5ÿ67ÿ89:.*4.4ÿ67ÿ;367.44/6*)<4ÿ)*+ÿ=65/>.ÿ67ÿ?0*/124
                                                           #:2257
                                                    @.)3/*Aÿ6*ÿB2*.ÿCDEÿCFGDÿ)5ÿGGHFFÿ)I0IÿJ8KLÿNOPQRSPTÿTUVWXPYSNZ[\]^_
                                                    \`a[ÿbcQPTÿdeÿfOcXPÿgQPOh_ÿiigjNkSPPQP_ÿlPYmRXcY[ÿNnYSPOPTo
                                                    apqrsq\ars[
                                   ÿ\`^ÿ            wUScVPÿUbÿxuuPRORYVPÿ)*+ÿ-.y2.45ÿ763ÿz.3{/>.ÿ67ÿ=65/>.4ÿ)*+ÿ;):.34
                                    NtÿuvZ[         bcQPTÿdeÿ|RXcTÿ}jÿ}RbRSmUUÿUYÿdP~RQbÿUbÿgROUQÿPYcZjÿN}RbRSmUU_ÿ|RXcT[
  apqr^q\ars                                        NnYSPOPToÿapqr^q\ars[
                                   ÿ\paÿ            iPSSPOÿÿ=?K8ÿ?ÿ= ÿ?ÿ?=K@ÿzK= ÿ-8;?-Kÿ
                                    N`ÿuvZ[         ÿ;-K=8-zÿ?-ÿK@8ÿ;8-?ÿ?ÿÿEÿCFGDÿK@-? @
                                                    ÿGEÿCFGDÿcQPTÿdeÿgROOcPÿÿ|ROTXRYÿUYÿdP~RQbÿUbÿ}PQRSccSeÿPTcR_
                                                    iigjÿdmPVScUYZÿTWPÿdeÿq̀q\ars_ÿN|ROTXRY_ÿgROOcP[ÿNnYSPOPTo
  apq\aq\ars                                        apq\aq\ars[
                                   ÿ\prÿ            gPOScbcVRSPÿUbÿkPOcVPÿ67ÿ)33/.ÿIÿ@)3+0)*ÿ3.A)3+/*Aÿ=65/>.ÿ67ÿ/</*Aÿ67
                                    N\ÿuvZ[         6*5<ÿz5)77/*Aÿ-.:635ÿ1ÿÿ;)35*.34ÿ63ÿ5.ÿ;.3/6+ÿ67ÿ)ÿE
                                                    CFGDÿ5362Aÿ)ÿGEÿCFGDÿNOPQRSPTÿTUVWXPYSNZ[\pa[ÿbcQPTÿdeÿgROOcPÿ
                                                    |ROTXRYÿUYÿdP~RQbÿUbÿ}PQRSccSeÿPTcR_ÿiigjÿN|ROTXRY_ÿgROOcP[
  apq\rq\ars                                        NnYSPOPToÿapq\rq\ars[
                                   ÿ\p\ÿ            wUScVPÿUbÿ|PROcYvÿ=65/>.ÿ67ÿ/</*Aÿ67ÿz2::<.0.*5ÿ56ÿB6/*+.3ÿ67ÿ=.57</9E
                                    NpÿuvZÿ\ÿTUVZ[ *>Iÿ56ÿ65/6*ÿ67ÿ*/5.+ÿz5)5.4ÿK3245..ÿ763ÿ)*ÿ?3+.3ÿ6*{.35/*Aÿ5.
                                                    ):5.3ÿGGÿ)4.4ÿ56ÿ)4.4ÿ*+.3ÿ):5.3ÿÿ67ÿ5.ÿ)*32:5>ÿ6+.
                                                    NOPQRSPTÿTUVWXPYSNZ[\`t[ÿbcQPTÿdeÿ}UdPOSÿjÿfbcZSPOÿUYÿdP~RQbÿUbÿwPSbQc_
                                                    YVjjÿcS~ÿ~PROcYvÿSUÿdPÿ~PQTÿUYÿpq\sq\arsÿRSÿrroaaÿxÿRSÿgUWOSOUUXÿpr
                                                    Nn[ÿNxSSRV~XPYSZoÿÿrÿn~cdcSÿx[NfbcZSPO_ÿ}UdPOS[ÿNnYSPOPTo
  apq\rq\ars                                        apq\rq\ars[
                                   ÿ\ptÿ            wUScVPÿUbÿxuuPRORYVPÿ)*+ÿ-.y2.45ÿ763ÿz.3{/>.ÿ67ÿ;):.34ÿbcQPTÿdeÿkSPu~RY
                                    N]ÿuvZ[         njÿ|UOYWYvÿUYÿdP~RQbÿUbÿfRORXUWYSÿfcVSWOPZÿgUOuUORScUY_ÿcRVUX
  apq\rq\ars                                        YSPOYRScUYRQÿYVjjÿN|UOYWYv_ÿkSPu~RY[ÿNnYSPOPToÿapq\rq\ars[
                                   ÿ\p]ÿ            dmPVScUYÿSUÿUScUYÿ/0/5.+ÿ?1.>5/6*ÿ)*+ÿ-.4.3{)5/6*ÿ67ÿ-/A54ÿ67
                                    N]ÿuvZ[         ;)3)062*5ÿ;/>523.4ÿ63:63)5/6*ÿ56ÿ5.ÿ.15634¡ÿ65/6*ÿ763ÿ8*53ÿ67
                                                    *5.3/0ÿ)*+ÿ/*)<ÿ?3+.34HÿJLÿ2563/¢/*Aÿ5.ÿ.15634ÿ56ÿJLÿ?15)/*
                                                    ;645;.5/5/6*ÿ/*)*>/*Aÿ)*+ÿJLÿ4.ÿ)4ÿ6<<)5.3)<£ÿJLÿ3)*5/*A
                                                    +.y2)5.ÿ;365.>5/6*£ÿJLÿ6+/7/*Aÿ5.ÿ2560)5/>ÿz5)£ÿJL
                                                    z>.+2</*Aÿ)ÿ/*)<ÿ@.)3/*A£ÿ)*+ÿJLÿ3)*5/*Aÿ-.<)5.+ÿ-.</.7ÿNOPQRSPT
                                                    TUVWXPYSNZ[r[ÿbcQPTÿdeÿkSPu~RYÿnjÿ|UOYWYvÿUYÿdP~RQbÿUbÿfRORXUWYS
                                                    fcVSWOPZÿgUOuUORScUYjÿcS~ÿ~PROcYvÿSUÿdPÿ~PQTÿUYÿpq\sq\arsÿRSÿrroaaÿx
  apq\rq\ars                                        RSÿgUWOSOUUXÿprÿNn[ÿN|UOYWYv_ÿkSPu~RY[ÿNnYSPOPToÿapq\rq\ars[
                                   ÿ\p`ÿ            dmPVScUYÿSUÿUScUYÿÿ)*+ÿ-.4.3{)5/6*ÿ67ÿ-/A54ÿNOPQRSPT
                                    NpÿuvZ[         TUVWXPYSNZ[r[ÿbcQPTÿdeÿPQcZZRÿkjÿUUTZÿUYÿdP~RQbÿUbÿ¤cOPVSUOZÿWcQT
                                                    UbÿxXPOcVR_ÿYVj_ÿ¤cOPVSUOZÿWcQTÿUbÿxXPOcVR_ÿYVj¥fOUTWVPOÿfPYZcUYÿRYT
                                                    |PRQS~ÿfQRYZ_ÿUScUYÿfcVSWOPÿYTWZSOeÿfPYZcUYÿRYTÿ|PRQS~ÿfQRYZ_ÿkVOPPY
                                                    xVSUOZÿWcQTÿ¥ÿxXPOcVRYÿPTPORScUYÿUbÿ¦PQPcZcUYÿRYTÿ}RTcUÿxOScZSZ_
                                                    kVOPPYÿxVSUOZÿWcQT¥fOUTWVPOZÿfPYZcUYÿ§ÿ|PRQS~ÿfQRYZ_ÿOcSPOZÿWcQT
                                                    fPYZcUYÿfQRYÿRYTÿYTWZSOeÿ|PRQS~ÿWYT_ÿOcSPOZÿWcQTÿUbÿxXPOcVR_ÿPZS_
  apq\rq\ars                                        YVjjÿNUUTZ_ÿPQcZZR[ÿNnYSPOPToÿapq\rq\ars[
  apq\\q\ars                       ÿ\ppÿ            xbbcTRcSÿUbÿkPOcVPÿJz2::<.0.*5)<Lÿ67ÿ=2*6ÿ)3+646ÿ-.A)3+/*A
                                    NtÿuvZ[         .15634¡ÿ65/6*ÿ763ÿ8*53ÿ67ÿ)*ÿ?3+.3ÿ845)1</4/*Aÿ;36>.+23.4ÿ763
                                                    *5.3/0ÿ60:.*4)5/6*ÿ)*+ÿ-./01234.0.*5ÿ67ÿ89:.*4.4ÿ67ÿ;367.44/6*)<4
                                                    )*+ÿ=65/>.ÿ67ÿ?0*/124ÿ@.)3/*Aÿ6*ÿB2*.ÿCDEÿCFGDÿ)5ÿGGHFFÿ)I0IÿJ8KL
                                                    NOPQRSPTÿTUVWXPYSNZ[\]^_ÿ\`a[ÿcQPTÿdeÿxTRXÿjÿxTQPOÿUYÿdP~RQbÿUb
                                                    fOcXPÿgQPOh_ÿiigjÿNxTQPO_ÿxTRX[ÿNnYSPOPToÿapq\\q\ars[
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                                                           #:2258
                                   ÿ,*0ÿ                  56789:9;<86ÿ=:ÿ>67?9;6ÿ176@<86AÿA=;BC6D81E4,*F4ÿG9@6AÿHIÿ>862J<DÿKL
                                    1-ÿ234                M=7DBD3ÿ=DÿH6J<@:ÿ=:ÿN<7<C=BD8ÿN9;8B76Eÿ5=72=7<89=DLÿ1M=7DBD3O
  )*+,,+,)-.                                              >862J<D4ÿ1KD8676APÿ)*+,,+,)-.4
                                   ÿ,*.ÿ                  R6;@<7<89=DÿSÿUVWWXYZY[\]Xÿ^Y_X]`]\ab[ÿbcÿ_bXa[ÿZdÿ]^]ZU
                                    1Qÿ23E4               a[ÿUVWWb`\ÿbcÿ^Ye\b`UÿZb\ab[ÿcb`ÿY[\`fÿbcÿa[\Y`aZÿ][^
                                                          ca[]Xÿb`^Y`Ugÿhaiÿ]V\jb`aka[lÿ\jYÿ^Ye\b`Uÿ\bÿh]iÿbe\]a[
                                                          WbU\mWY\a\ab[ÿca[][_a[lÿ][^ÿheiÿVUYÿ_]Ujÿ_bXX]\Y`]Xnÿhaai
                                                          l`][\a[lÿ]^YoV]\YÿW`b\Y_\ab[nÿhaaaiÿZb^acfa[lÿ\jY
                                                          ]V\bZ]\a_ÿU\]fnÿhapiÿU_jY^VXa[lÿ]ÿca[]XÿjY]`a[lnÿ][^ÿhpi
                                                          l`][\a[lÿ̀YX]\Y^ÿ̀YXaYcÿhqrsturvÿvwxyzr{uh|iÿ}~ÿÿ~i
                                                          176@<86AÿA=;BC6D81E4-04ÿ:9@6AÿHIÿR<D96@ÿLÿ; B976ÿ=DÿH6J<@:ÿ=:
                                                          6@<89?98Iÿ6A9<Oÿ5Lÿ98JÿJ6<79D3ÿ8=ÿH6ÿJ6@Aÿ=Dÿ*+,.+,)-.ÿ<8ÿ--P))
  )*+,,+,)-.                                              ÿ<8ÿ5=B787==Cÿ*-0ÿ1; B976OÿR<D96@4ÿ1KD8676APÿ)*+,,+,)-.4
                                   ÿ,*Qÿ                  =89=Dÿ8=ÿEEBC6ÿ6<E6Eÿ=7ÿK6;B8=7Iÿ5=D87<;8EÿSÿ[b\a_Yÿbc
                                    10Fÿ23EÿÿA=;E4      Zb\ab[ÿcb`ÿY[\`fÿbcÿ][ÿb`^Y`ÿ]V\jb`aka[lÿ̀ZXÿb_VXVU
                                                          caXZUÿXX_ÿ\bgÿh]iÿY[\Y`ÿa[\bÿUY\\XYZY[\ÿ]l`YYZY[\ÿa\j
                                                          YÿU\V^abUÿa[_dnÿ][^ÿheiÿY[\Y`ÿa[\bÿ]ZY[^ZY[\ÿ][^
                                                          ]UUVZYÿ]UUb_a]\Y^ÿ]l`YYZY[\ÿ:9@6AÿHIÿR<D96@ÿLÿ; B976ÿ=D
                                                          H6J<@:ÿ=:ÿ6@<89?98Iÿ6A9<Oÿ5ÿ98JÿJ6<79D3ÿ8=ÿH6ÿJ6@Aÿ=Dÿ0+,F+,)-.ÿ<8
                                                          ),P))ÿNÿ<8ÿ5=B787==Cÿ*-0ÿ6E2=DE6EÿAB6ÿHIÿ0+-0+,)-.OLÿ188<;JC6D8EP
                                                          ÿ-ÿN@6<A9D3ÿ=89=Dÿÿ,ÿKJ9H98ÿÿÿ>688@6C6D8ÿ3766C6D8ÿÿÿKJ9H98ÿ
                                                          ÿ3766C6D8ÿÿFÿN7=2=E6Aÿ7A674ÿ1; B976OÿR<D96@4ÿ1KD8676AP
  )*+,,+,)-.                                              )*+,,+,)-.4
                                   ÿ,0)ÿ                  22@9;<89=Dÿ:=7ÿN7=ÿM<;ÿ9;6ÿAC9EE9=Dÿ:9@6AÿHIÿ5ID8J9<ÿLÿ5=J6Dÿ=D
                                    1ÿ23Eÿ,ÿA=;E4       H6J<@:ÿ=:ÿN<879;9<ÿLÿ@<E67Lÿ188<;JC6D8EPÿÿ-ÿN7=2=E6Aÿ7A67ÿ7<D89D3
                                                          AC9EE9=Dÿ8=ÿN7<;89;6OÿN7=ÿM<;ÿ9;64ÿ15=J6DOÿ5ID8J9<4ÿ1KD8676AP
  )*+,+,)-.                                              )*+,+,)-.4
                                   ÿÿ                     6;6928ÿ=:ÿ22@9;<89=Dÿ:=7ÿN7=ÿM<;ÿ9;6ÿAC9EE9=D1-.--.C64
                                                          C=89=DO-,,ÿ1ÿ,))L))4ÿG9@9D3ÿG66Lÿ6;6928ÿDBCH67ÿ-,*F)).LÿG66
  )*+,+,)-.                                              <C=BD8ÿ,))L))Lÿ16PÿR=;ÿÿ,0)4ÿ1L>Lÿ76<EB7I4ÿ1KD8676APÿ)*+,+,)-.4
                                   ÿ,0-ÿ                  22@9;<89=Dÿ:=7ÿN7=ÿM<;ÿ9;6ÿAC9EE9=Dÿ:9@6AÿHIÿ5ID8J9<ÿLÿ5=J6Dÿ=D
                                    1ÿ23Eÿ,ÿA=;E4       H6J<@:ÿ=:ÿLÿ9@@ÿ<E9D367Lÿ188<;JC6D8EPÿÿ-ÿN7=2=E6Aÿ7A67ÿ7<D89D3
                                                          AC9EE9=Dÿ8=ÿN7<;89;6OÿN7=ÿM<;ÿ9;64ÿ15=J6DOÿ5ID8J9<4ÿ1KD8676AP
  )*+,+,)-.                                              )*+,+,)-.4
                                   ÿÿ                     6;6928ÿ=:ÿ22@9;<89=Dÿ:=7ÿN7=ÿM<;ÿ9;6ÿAC9EE9=D1-.--.C64
                                                          C=89=DO-,,ÿ1ÿ,))L))4ÿG9@9D3ÿG66Lÿ6;6928ÿDBCH67ÿ-,*F),)LÿG66
  )*+,+,)-.                                              <C=BD8ÿ,))L))Lÿ16PÿR=;ÿÿ,0-4ÿ1L>Lÿ76<EB7I4ÿ1KD8676APÿ)*+,+,)-.4
                                   ÿ,0,ÿ                  =89;6ÿ=:ÿ226<7<D;6ÿ:9@6AÿHIÿR<D96@ÿLÿ=6D8J<@ÿ=DÿH6J<@:ÿ=:ÿ9DE8=D
  )*+,*+,)-.                        1,ÿ23E4               ÿ>87<DÿNLÿ1=6D8J<@OÿR<D96@4ÿ1KD8676APÿ)*+,*+,)-.4
                                   ÿ,0ÿ                  62@Iÿ8=ÿ=89=Dÿ176@<86AÿA=;BC6D81E4,,.4ÿ:9@6AÿHIÿR<D96@ÿLÿ=6D8J<@
                                    1Qÿ23Eÿ.ÿA=;E4      =DÿH6J<@:ÿ=:ÿ9DE8=Dÿÿ>87<DÿNLÿ188<;JC6D8EPÿÿ-ÿKJH98ÿ-ÿ
                                                          R6;@<7<89=Dÿ=:ÿ<8J679D6ÿ9A<@ÿÿ,ÿKJ9H98ÿ-ÿ8=ÿ9A<@ÿR6;@<7<89=Dÿÿ
                                                          KJ9H98ÿ,ÿ8=ÿ9A<@ÿR6;@<7<89=DÿÿFÿKJ9H98ÿ,ÿÿR6;@<7<89=Dÿ=:ÿK@9<H68J
                                                          >=@A<DÿÿÿKJ9H98ÿ-ÿ8=ÿ>=@A<DÿR6;@<7<89=Dÿÿ*ÿKJ9H98ÿ,ÿ8=ÿ>=@A<D
                                                          R6;@<7<89=Dÿÿ0ÿKJ9H98ÿÿ8=ÿ>=@A<DÿR6;@<7<89=D4ÿ1=6D8J<@OÿR<D96@4
  )*+,*+,)-.                                              1KD8676APÿ)*+,*+,)-.4
  )*+,*+,)-.                       ÿ,0Fÿ                  =89;6ÿ=:ÿ36DA<ÿSÿ[b\a_Yÿbcÿ]lY[^]ÿbcÿZ]\\Y`UÿU_jY^VXY^
117 11! "#$55524%5&''2'2'5(5(45                                                          '21543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 379 of 494 Page ID
                                    )*ÿ,-./           012ÿ4562789ÿ18ÿ:;85ÿ<=>ÿ<?@=ÿ6Aÿ@@B??ÿ6CÿD5AEÿFGHIJÿKLÿMNOGIHÿPQ
                                                           #:2259
                                                      RSTUGVIÿWOÿKIXNHFÿWFÿYIHNZG[GZLÿRIJGN\ÿ]]^Qÿ_GZXÿXINVGO-ÿZWÿKIÿXIHJÿWO
                                                      `ab*abcd*ÿNZÿddeccÿfRÿNZÿ^WUVZVWWgÿ̀dhÿ)RSTUGVI\ÿMNOGIH/ÿ)iOZIVIJe
                                                      c`ab`abcd*/
                                   ÿbhjÿ              kVJIVÿ.G-OIJÿWOÿ̀ab`abcd*ÿNJgGZZGO-ÿlNZVGSGNÿ]QÿTHN.IV\ÿi.mQÿZWÿ,VNSZGSI
                                    )dÿ,-/            ,VWÿXNSÿ[GSIÿGOÿZXG.ÿ^WUVZÿ)YIHNZIJÿMWSÿnÿbhc/Qÿ)MIlGIVWHN\ÿPNSmUIHGOI/
  c`ab`abcd*                                          )iOZIVIJeÿc`ab`abcd*/
                                   ÿbh`ÿ              kVJIVÿ.G-OIJÿWOÿ̀ab`abcd*ÿNJgGZZGO-ÿTQÿPGHHÿoN.GO-IV\ÿi.mQÿZWÿ,VNSZGSI
                                    )dÿ,-/            ,VWÿXNSÿ[GSIÿGOÿZXG.ÿ^WUVZÿ)YIHNZIJÿMWSÿnÿbhd/Qÿ)MIlGIVWHN\ÿPNSmUIHGOI/
  c`ab`abcd*                                          )iOZIVIJeÿc`ab`abcd*/
                                   ÿbhhÿ              f,,HGSNZGWOÿZWÿig,HWLÿYWKGO.ÿsN,HNOÿ]]lÿN.ÿSWUO.IHÿZWÿZXIÿ^WggGZZII
                                    )hpÿ,-.qÿrÿJWS./ Atuÿ1vvwxwyzÿ{|}}w~~uuÿ|vÿ;uxuÿ{uw~|ÿ6zwxy~w|ÿ~|ÿ2u~yw
                                                      2|wÿyzyÿÿyÿ{|uzÿFGHIJÿKLÿRGOLNWÿNO-ÿWOÿKIXNHFÿWF
                                                      k^f]ÿ^kRRiiÿkÿi^YiMÿ^YiMkYQ
                                                      )fZZNSXgIOZ.eÿnÿdÿiXGKGZÿiXGKGZÿflVW,W.IJÿkVJIVÿnÿbÿiXGKGZÿiXGKGZ
                                                      oXWgN.ÿGZ-IVNHJÿMISHNVNZGWOÿnÿpÿiXGKGZÿiXGKGZÿ^SWZZÿTNUZGIV
  c`ab`abcd*                                          MISHNVNZGWO/ÿ)NO-\ÿRGOLNW/ÿ)iOZIVIJeÿc`ab`abcd*/
                                   ÿbh*ÿ              WZGSIÿWFÿlVW,W.IJÿkVJIVÿ8|~wxuÿ|vÿ0wzwÿ|vÿ||uÿAtwÿ7~uw}
                                    )d*ÿ,-./          wuÿ1uBÿD7Eÿ6~t|wwÿ~tuÿu~|ÿ~|ÿD6Eÿ1 ~ywÿ|~u~w~w|
                                                      0wyxwÿyÿDEÿ;uÿ{ytÿ{|zzy~uyzÿD77Eÿ9y~wÿ6uy~u
                                                      |~ux~w|ÿD777EÿC|wvwÿ~tuÿ6~|}y~wxÿ~yÿD7Eÿxtuzwÿyÿ0wyz
                                                      4uywÿyÿDEÿ9y~wÿ2uzy~uÿ2uzwuvÿFGHIJÿKLÿMNOGIHÿPQÿRSTUGVIÿWO
                                                      KIXNHFÿWFÿYIHNZG[GZLÿRIJGN\ÿ]]^Qÿ_GZXÿXINVGO-ÿZWÿKIÿXIHJÿWOÿ̀ab*abcd*ÿNZ
                                                      ddeccÿfRÿNZÿ^WUVZVWWgÿ̀dhÿ)Ri/ÿ)RSTUGVI\ÿMNOGIH/ÿ)iOZIVIJe
  c`ab`abcd*                                          c`ab`abcd*/
                                   ÿbhÿ              ZNZIgIOZÿ8|~wxuÿ|vÿ0wzwÿ|vÿ{u~ywÿ{|}zu~uÿyÿ;uyx~u
                                    )d`dÿ,-.qÿrÿJWS./ Cy~uwyzÿ2uzy~wÿ~|ÿ~tuÿw~|ÿÿ~y¡ÿÿ5}z|}u~
                                                      6zwxy~w|ÿ)VIHNZIJÿJWSUgIOZ)./bb*\ÿbhp\ÿbrb/ÿFGHIJÿKLÿYWKIVZÿPQÿlFG.ZIV
                                                      WOÿKIXNHFÿWFÿIZFHG\ÿOSQQÿ)fZZNSXgIOZ.eÿnÿdÿiXGKGZÿfÿnÿbÿiXGKGZÿoÿnÿp
  c`abhabcd*                                          iXGKGZÿ^/ÿ)lFG.ZIV\ÿYWKIVZ/ÿ)iOZIVIJeÿc`abhabcd*/
                                   ÿb*cÿ              fFFGJN[GZÿWFÿIV[GSIÿ|vÿyuu}ÿ{ty}ywuÿ2uywÿzu}u~yz
                                    )djÿ,-./          uxzyy~w|ÿ|vÿ{|zwÿC¢ÿ6y}ÿwÿ|~ÿ|vÿu~|£ÿC|~w|ÿv|ÿ5~
                                                      |vÿ7~uw}ÿyÿ0wyzÿ1uBÿD7Eÿ6~t|wwÿ~tuÿu~|ÿ~|ÿD6Eÿ1 ~yw
                                                      |~u~w~w|ÿ0wyxwÿyÿDEÿ;uÿ{ytÿ{|zzy~uyzÿD77Eÿ9y~w
                                                      6uy~uÿ|~ux~w|ÿD777EÿC|wvwÿ~tuÿ6~|}y~wxÿ~yÿD7E
                                                      xtuzwÿyÿ0wyzÿ4uywÿyÿDEÿ9y~wÿ2uzy~uÿ2uzwuvÿyÿ8|~wxu
                                                      |vÿC|~w|ÿv|ÿ5~ÿ|vÿyÿ1uÿ6~t|wwÿ2Cÿ1xzÿ0wz}>ÿ{ÿ~|B
                                                      D6Eÿ5~uÿw~|ÿu~~zu}u~ÿ6uu}u~ÿ¡w~tÿ5ÿ~w|>ÿ7x¢ÿyÿDE
                                                      5~uÿw~|ÿ6}u}u~ÿyÿ6}uÿ6|xwy~uÿ6uu}u~ÿ)VIHNZIJ
                                                      JWSUgIOZ)./b`\ÿb`*/ÿFGHIJÿKLÿlVGgIÿ^HIV¤\ÿ]]^Q)ZIIHI\ÿoIO¥NgGO/
  c`abhabcd*                                          )iOZIVIJeÿc`abhabcd*/
                                   ÿb*dÿ              WZGSIÿWFÿlVW,W.IJÿkVJIVÿÿ81A7{5ÿ10ÿ07789ÿ10ÿ5¦477Aÿ6ÿA1
                                    )jÿ,-./           2115ÿA472ÿ78A527Cÿ2795ÿ1252BÿD7Eÿ6;A4127§789
                                                      A45ÿ5A12ÿA1ÿD6Eÿ1A678ÿ1A5A7A718ÿ07868{789ÿ68
                                                      DEÿ;5ÿ{64ÿ{16A526ÿD77Eÿ9268A789ÿ65¨;6A5
                                                      21A5{A718ÿD777EÿC170©789ÿA45ÿ6;A1C6A7{ÿA6©ÿD7E
                                                      {45;789ÿ6ÿ0786ÿ4562789ÿ68ÿDEÿ9268A789ÿ256A5
                                                      25750ÿ)VIHNZIJÿJWSUgIOZ)./bh*/ÿFGHIJÿKLÿMNOGIHÿPQÿRSTUGVIÿWOÿKIXNHF
                                                      WFÿYIHNZG[GZLÿRIJGN\ÿ]]^Qÿ_GZXÿXINVGO-ÿZWÿKIÿXIHJÿWOÿ̀ab*abcd*ÿNZÿddecc
  c`abhabcd*                                          fRÿNZÿ^WUVZVWWgÿ̀dhÿ)Ri/ÿ)RSTUGVI\ÿMNOGIH/ÿ)iOZIVIJeÿc`abhabcd*/
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                                                                        7ÿ7 Page 380 of 494 Page ID
  )*+,-+,)./                       ÿ,/,ÿ            6789:;ÿ7<ÿ=>7274;?ÿ@>?;>ÿAÿCDEFGHÿDIÿJKDJDLHMÿLGNHMOPFCQ
                                                           #:2260
                                    1,/ÿ2345        DKMHKÿFCÿGDCCHGEFDCÿRFENÿMHSEDKLÿTDEFDCÿIDKÿHCEKUÿDI
                                                    VCÿDKMHKÿWFXÿVOENDKFYFCQÿVCMÿVJJKDZFCQÿWVXÿENHÿMHSEDKL
                                                    HCEKUÿFCEDÿENHÿVLLHEÿJOKGNVLHÿVQKHHTHCEÿIDKÿENHÿLVPH
                                                    DIÿLOSLEVCEFVPPUÿVPPÿENHFKÿVLLHEL[ÿWSXÿENHÿLVPHÿDI
                                                    LOSLEVCEFVPPUÿVPPÿENHÿMHSEDKLÿVLLHELÿIKHHÿVCMÿGPHVKÿDI
                                                    PFHCL[ÿGPVFTLÿVCMÿHCGOTSKVCGHLÿWDENHKÿENVCÿVLLOTHM
                                                    PFVSFPFEFHLXÿJOKLOVCEÿEDÿLHGEFDCÿ\]\ÿDIÿENHÿSVC^KOJEGU
                                                    GDMHÿVCMÿWGXÿENHÿVLLOTJEFDCÿVCMÿVLLFQCTHCEÿDI
                                                    H_HGOEDKUÿGDCEKVGELÿVCMÿOCH_JFKHMÿPHVLHLÿJOKLOVCE
                                                    EDÿLHGEFDCÿ\]`ÿDIÿENHÿSVC^KOJEGUÿGDMH[ÿVCMÿWFFX
                                                    QKVCEFCQÿKHPVEHMÿKHPFHIÿ1>;ab8;?ÿ?7:cd;e8145--5ÿ<9a;?ÿfgÿhbe9;a
                                                    ijÿk:lc9>;ÿ7eÿf;mba<ÿ7<ÿn;ab89o98gÿk;?9bpÿqqrjÿs98mÿm;b>9e3ÿ87ÿf;ÿm;a?
                                                    7eÿ*+,/+,)./ÿb8ÿ..t))ÿukÿb8ÿr7c>8>77dÿ*.-ÿ1kvw5ÿ1k:lc9>;pÿhbe9;a5
                                                    1ve8;>;?tÿ)*+,-+,)./5
                                   ÿ,/xÿ            6789:;ÿ7<ÿu3;e?bÿAÿCyz{|}ÿy~ÿV}}ÿV}ÿy~ÿTzz}ÿL|}}ÿ~y
                                    1/ÿ2345         N}{ÿyÿ}ÿ[ÿÿzÿÿVTÿWHEXÿ1>;ab8;?ÿ?7:cd;e8145,-p
                                                    ,,/pÿ,pÿ--pÿ,.xpÿ.-pÿ,,-5ÿ<9a;?ÿfgÿrb>>9;ÿÿb>?dbeÿ7eÿf;mba<ÿ7<
                                                    n;ab89o98gÿk;?9bpÿqqrjÿs98mÿm;b>9e3ÿ87ÿf;ÿm;a?ÿ7eÿ*+,/+,)./ÿb8ÿ..t))
  )*+,-+,)./                                        ukÿb8ÿr7c>8>77dÿ*.-ÿ1kvw5ÿ1b>?dbepÿrb>>9;5ÿ1ve8;>;?tÿ)*+,-+,)./5
                                   ÿ,/ÿ            8b8;d;e8ÿAAÿLzz}}zÿy~ÿC}z~{[ÿF|ÿK}{ÿVy}zÿy~ÿN}{
                                    1xÿ2345         yÿR{zyÿÿLzÿPPJÿHy}zÿV{|z{yÿ1>;ab8;?
                                                    ?7:cd;e8145,/x5ÿ<9a;?ÿfgÿn7f;>8ÿijÿ=<948;>ÿ7eÿf;mba<ÿ7<ÿ6;8<a9pÿe:jjÿs98m
                                                    m;b>9e3ÿ87ÿf;ÿm;a?ÿ7eÿ*+,/+,)./ÿb8ÿ..t))ÿukÿb8ÿr7c>8>77dÿ*.-ÿ1kvw5
  )*+,-+,)./                                        1=<948;>pÿn7f;>85ÿ1ve8;>;?tÿ)*+,-+,)./5
                                   ÿ,/ÿ            8b8;d;e8ÿZ}{~{}ÿLzz}}zÿy~ÿz}ÿD~~{|{ÿGy{zz}}ÿy~ÿO}|}
                                    1ÿ234ÿ,ÿ?7:45 G}{zyÿy~ÿK}z{{zÿT}{[ÿPPGÿ}zÿ[ÿJzÿzyÿSz|ÿK}
                                                    ¡ÿ<9a;?ÿfgÿk9egb7ÿwbe3ÿ7eÿf;mba<ÿ7<ÿ@¢¢ruqÿr@kk££vvÿ@¢
                                                    ¤6vr¤nvhÿrnvh£@njÿ1u88b:md;e84tÿ¥ÿ.ÿvm9f98ÿu5ÿ1wbe3p
  )*+,/+,)./                                        k9egb75ÿ1ve8;>;?tÿ)*+,/+,)./5
                                   ÿ,/*ÿ            u<<9?bo98ÿ7<ÿ;>o9:;ÿy~ÿ^}}ÿG{}ÿK}{ÿM}¦zy§ÿTyz{y
                                    1,ÿ2345        ~yÿHzÿy~ÿÿD}ÿWFXÿVzy{¨{ÿÿVy{ÿWVXÿz}ÿM}¦zy§
                                                    Hzÿ{zyÿz}ÿV }zÿJ|}ÿV}}}zÿ~yÿz}ÿL}ÿy~ÿL¦zz{ÿ
                                                    z}{ÿV }z[ÿWSXÿz}ÿL}ÿy~ÿL¦zz{ÿÿz}ÿM}¦zy§ÿV }zÿI}}ÿ
                                                    G}ÿy~ÿP{}[ÿG{ ÿÿH|¦|}ÿWDz}ÿzÿV }
                                                    P{¦{{z{}XÿÿWGXÿz}ÿV z{yÿÿV {}zÿy~ÿH}|zy
                                                    Gyz|zÿÿO}{}ÿP}}[ÿÿWFFXÿQz{ÿK}z}ÿK}{}~[
                                                    Cyz{|}ÿy~ÿJyy}ÿH{¦{zÿVÿzyÿE{ÿS{}ÿD}[ÿCyz{|}ÿy~ÿJyy}
                                                    L|}{ÿD}ÿ{ÿGy}|z{yÿ{zÿM}¦zy§ÿTyz{yÿ~yÿHzÿy~ÿ
                                                    D}ÿWFXÿVzy{¨{ÿÿVy{ÿWVXÿz}ÿM}¦zy§ÿHzÿ{zyÿz}
                                                    V }zÿJ|}ÿV}}}zÿ~yÿz}ÿL}ÿy~ÿL¦zz{ÿÿz}{ÿV }z[
                                                    WSXÿz}ÿL}ÿy~ÿL¦zz{ÿÿz}ÿM}¦zy§ÿV }zÿI}}ÿÿG}ÿy~
                                                    P{}[ÿG{ ÿÿH|¦|}ÿWDz}ÿzÿV }ÿP{¦{{z{}Xÿ
                                                    WGXÿz}ÿV z{yÿÿV {}zÿy~ÿH}|zyÿGyz|zÿ
                                                    O}{}ÿP}}[ÿÿWFFXÿQz{ÿK}z}ÿK}{}~ÿÿCyz{|}ÿy~
                                                    V}}ÿV}ÿy~ÿTzz}ÿL|}}ÿ~yÿN}{ÿyÿ}ÿ[ÿÿz
                                                    ÿÿWHEXÿ1>;ab8;?ÿ?7:cd;e8145,/xpÿ,/.pÿ,/,pÿ--5ÿ¢9a;?ÿfgÿu?bd
                                                    kjÿu?a;>ÿ7eÿf;mba<ÿ7<ÿ=>9d;ÿra;>©pÿqqrjÿ1u?a;>pÿu?bd5ÿ1ve8;>;?t
  )*+,/+,)./                                        )*+,/+,)./5
  )*+,+,)./                       ÿ,/-ÿ            £m9>?ÿe8;>9dÿª>9?3;ÿ@>?;>ÿ493e;?ÿ7eÿ*+,+,)./ÿbc8m7>9«9e3ÿ8m;ÿh;f87>4
                                    1ÿ2345         87ÿ7f8b9eÿ2748¬2;89897eÿ<9ebe:9e3ÿbe?ÿc4;ÿ:b4mÿ:7aab8;>baÿ3>be89e3
                                                    b?;­cb8;ÿ2>78;:897eÿd7?9<g9e3ÿ8m;ÿbc87db89:ÿ48bgÿ4:m;?ca9e3ÿbÿ<9eba
                                                    m;b>9e3ÿbe?ÿ3>be89e3ÿ>;ab8;?ÿ>;a9;<ÿ1>;ab8;?ÿ?7:cd;e8145,*pÿ,.-pÿ.-p
117 11! "#$55524%5&''2'2'5(5(45                                                        '%1543
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                                                           40-5   7ÿ09/30/21
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                                                     *+,-ÿ/0123ÿ4526017ÿ89ÿ:5ÿ453;ÿ91ÿ<=>?=>?@Aÿ28ÿ@?B??ÿCDÿ28ÿE9F68699G
                                                           #:2261
                                                     +@<ÿHDIJ,-ÿHK5L056932MÿN2OPF53015,ÿHI18565;Bÿ?+=>Q=>?@A,
                                   ÿ>AAÿ             T6;56ÿS0715;ÿ91ÿ+=>Q=>?@Aÿ5S82:30S4017ÿR69O5;F65SÿU96ÿ018560G
                                    H+ÿR7S,          O9GR51S28091ÿ21;ÿ650G:F6S5G518ÿ9Uÿ5VR51S5Sÿ9UÿR69U5SS09123SÿHW53285;
  ?+=>Q=>?@A                                         K9OÿXÿ>YQ,-ÿHK5L056932MÿN2OPF53015,ÿHI18565;Bÿ?+=>Q=>?@A,
                                   ÿ>AQÿ             CUU0;2Z08ÿ9Uÿ[56Z0O5ÿ\]ÿ_`abbcÿde`cf`ghibÿjbg`kaihgÿl\minbÿ\]ÿoipihg
                                    H@*ÿR7S,         qk\f\rbaÿseikaÿthmbkicÿukiagbÿvkabkwÿxtyÿz{me\ki|ihgÿmebÿ}b~m\krÿm\ÿxzy
                                                     v~m̀ihÿq\rmqbmimi\hÿoih`hnihgÿ̀haÿxuyÿrbÿd`reÿd\pp̀mbk`pÿxtty
                                                     k`hmihgÿzab{`mbÿqk\mbnmi\hÿxtttyÿ\ai]ihgÿmebÿz{m\c`minÿm̀ ÿxty
                                                     neba{pihgÿ̀ÿoih`pÿb`kihgÿ̀haÿxyÿk`hmihgÿjbp̀mbaÿjbpib]ÿH653285;
                                                     ;9OFG518HS,><A,ÿU035;ÿ:ÿL60G5ÿE356MÿE-H[85535Mÿ512G01,ÿHI18565;B
  ?+=>Q=>?@A                                         ?+=>Q=>?@A,
                                   ÿ>Q?ÿ             980O5ÿ9Uÿ526017ÿ\hÿ}b~m\krÿzffpin`mi\hÿ]\kÿhmkÿ\]ÿ̀hÿvkabk
                                    H>ÿR7S,          z{me\ki|ihgÿmebÿjbmbhmi\hÿ̀haÿcfp\cbhmÿ\]ÿihrm\hÿÿmk`hÿqÿ̀r
                                                     zmm\khbrÿ]\kÿmebÿ}b~m\krÿ̀haÿ}b~m\krÿihÿq\rrbrri\hÿh{hnÿfk\ÿm{hnÿm\ÿmeb
                                                     qbmimi\hÿ}`mbÿH653285;ÿ;9OFG518HS,>>A,ÿU035;ÿ:ÿE26605ÿÿ26;G21ÿ91
                                                     :5423Uÿ9UÿW53280Z08ÿD5;02MÿE-ÿ084ÿ4526017ÿ89ÿ:5ÿ453;ÿ91ÿ<==>?@Aÿ28
                                                     @@B??ÿCDÿ28ÿE9F68699Gÿ+@<ÿHDIJ,ÿH26;G21MÿE26605,ÿHI18565;B
  ?+=>Q=>?@A                                         ?+=>Q=>?@A,
                                   ÿ>Q@ÿ             980O5ÿ9UÿC751;2ÿ\]ÿ`mmbkrÿneba{pbaÿ]\kÿb`kihgÿ\hÿ{pÿÿÿ̀m
                                    HYÿR7S,          wÿzÿxsyÿH653285;ÿ;9OFG518HS,>>A,ÿ/035;ÿ:ÿE26605ÿÿ26;G21ÿ91
                                                     :5423Uÿ9UÿW53280Z08ÿD5;02MÿE-ÿ084ÿ4526017ÿ89ÿ:5ÿ453;ÿ91ÿ<==>?@Aÿ28
                                                     @@B??ÿCDÿ28ÿE9F68699Gÿ+@<ÿHDIJ,ÿH26;G21MÿE26605,ÿHI18565;B
  ?+=>Q=>?@A                                         ?+=>Q=>?@A,
                                   ÿ>Q>ÿ             980O5ÿ9UÿJ084;6223ÿ\]ÿzffb`k`hnbÿ\]ÿ}`iaÿ¡ÿ{brrÿU035;ÿ:ÿK2Z0;
                                    H>ÿR7S,          D-ÿ¢F5SSÿ91ÿ:5423Uÿ9Uÿ58U30VMÿ£1O--ÿH¢F5SSMÿK2Z0;,ÿHI18565;B
  ?+=>Q=>?@A                                         ?+=>Q=>?@A,
                                   ÿ>Qÿ             [8285G518ÿÿihrm\hÿÿmk`hrÿ{ffpbcbhm̀pÿm̀mbcbhmÿkbg`kaihgÿmeb
                                    HYÿR7S¤ÿÿ;9OS, }b~m\krÿzffpin`mi\hÿ]\kÿ̀hÿvkabkÿz{me\ki|ihgÿmebÿjbmbhmi\hÿ̀ha
                                                     cfp\cbhmÿ\]ÿihrm\hÿÿmk`hÿqÿH653285;ÿ;9OFG518HS,>>A,ÿU035;ÿ:
                                                     K21053ÿC-ÿ9518423ÿ91ÿ:5423Uÿ9UÿJ01S891ÿ¥ÿ[8621ÿL-ÿHC882O4G518SB
  ?+=>Q=>?@A                                         Xÿ@ÿIV40:08ÿ@ÿXÿ>ÿIV40:08ÿ>,ÿH9518423MÿK21053,ÿHI18565;Bÿ?+=>Q=>?@A,
                                   ÿ>QYÿ             [FRR35G51823ÿK5O32628091ÿ\]ÿd\pihÿ¡ÿza`crÿihÿ{ff\kmÿ\]ÿ}b~m\kr
                                    HÿR7S,          zffpin`mi\hÿ]\kÿhmkÿ\]ÿ̀hÿvkabkÿz{me\ki|ihgÿmebÿjbmbhmi\hÿ̀ha
                                                     cfp\cbhmÿ\]ÿihrm\hÿÿmk`hÿqÿ̀rÿzmm\khbrÿ]\kÿmebÿ}b~m\krÿ̀ha
                                                     }b~m\krÿihÿq\rrbrri\hÿl{hnÿqk\ÿs{hnÿm\ÿmebÿqbmimi\hÿ}`mbÿU035;ÿ:
                                                     K21053ÿC-ÿ9518423ÿ91ÿ:5423Uÿ9UÿJ01S891ÿ¥ÿ[8621ÿL-ÿH9518423M
  ?+=>Q=>?@A                                         K21053,ÿHI18565;Bÿ?+=>Q=>?@A,
                                   ÿ>Q*ÿ             D98091ÿ89ÿ[58ÿ2S8ÿK2ÿ89ÿ/035ÿL699USÿ9UÿE320Gÿ¦ÿ}usvjÿvstvl
                                    HY<ÿR7S¤ÿ>ÿ;9OS, qjzlsÿsvÿdstvlÿ§x~yÿzl}ÿ§x`yÿvoÿs
                                                     uzl_jqsd¨ÿdv}ÿuzl_jqsd¨ÿjÿÿzl}ÿÿzl}
                                                     vdzÿuzl_jqsd¨ÿjÿÿovjÿzlÿvj}j
                                                     szuttlÿ}z}tlÿovjÿottlÿqjvvoÿvoÿdztÿzl}
                                                     zqqjvtlÿsÿovjÿzl}ÿzlljÿvoÿlvstdÿsjvo
                                                     xv~©bnmi\hrÿ}{bÿ~ÿª¦ª¦ÿ̀mÿ«wÿqÿxsyyÿU035;ÿ:ÿK21053ÿN-
                                                     DO¢F065ÿ91ÿ:5423Uÿ9UÿW53280Z08ÿD5;02MÿEÿ084ÿ4526017ÿ89ÿ:5ÿ453;ÿ91
                                                     <=>Y=>?@Aÿ28ÿ?>B??ÿLDÿ28ÿE9F68699Gÿ+@<ÿW5SR91S5Sÿ;F5ÿ:ÿ<=@<=>?@AM-
                                                     HC882O4G518SBÿXÿ@ÿIV40:08ÿCÿ¬ÿL69R9S5;ÿ26ÿK285ÿT6;56,ÿHDO¢F065M
  ?+=>Q=>?@A                                         K21053,ÿHI18565;Bÿ?+=>Q=>?@A,
117 11! "#$55524%5&''2'2'5(5(45                                                     ')1543
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                                                           40-5   7ÿ09/30/21
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  )*+),+-),.                       ÿ0)*ÿ              789:5;8<3=ÿ8>498?<:4ÿ@>98<:4ÿ@>A?ÿB:ÿ)2+-.+-),.ÿ9=ÿ,,C)2ÿ9DÿEFCÿG<:9A
                                                           #:2262
                                    12*ÿ3456          HIJÿK>98<:4LÿM33A<;9=<B:ÿ=Bÿ>D3ABNÿ9:?ÿ8>=9<:ÿOPIIIÿJ98=:>85ÿ=Bÿ38BQ<?>
                                                      <:=>8<DÿD9:94>D>:=ÿ5>8Q<;>5ÿ:R:;ÿ38Bÿ=R:;ÿ=Bÿ=K>ÿ3>=<=<B:ÿ?9=>Sÿ9:?
                                                      ?>5<4:9=>ÿTBA<:ÿM?9D5ÿ95ÿ;K<>Uÿ8>5=8R;=R8<:4ÿBUU<;>8ÿOB=<B:ÿ5>>V<:4
                                                      >:=8NÿBUÿB8?>8ÿ>5=9WA<5K<:4ÿ38B;>?R8>5ÿUB8ÿ<:=>8<Dÿ;BD3>:59=<B:ÿ9:?
                                                      8><DWR85>D>:=ÿBUÿ>X3>:5>5ÿBUÿ38BU>55<B:9A5YYÿE>DB=>ÿ>A>;=8B:<;ÿ9;;>55ÿ=B
                                                      =K>ÿ=89:5;8<3=ÿ<5ÿ8>5=8<;=>?ÿR:=<Aÿ,)+,+-),.Yÿ7K>ÿ=89:5;8<3=ÿD9NÿW>ÿQ<>Z>?
                                                      9=ÿ=K>ÿ[9:V8R3=;NÿTBR8=ÿTA>8V5ÿ\UU<;>Yÿ]789:5;8<3=<B:ÿ^>8Q<;>ÿM4>:;NC
                                                      >^;8<W>85Sÿ__TỲYÿ1^>>ÿ=K>ÿTBR8=5ÿa>W5<=>ÿUB8ÿ;B:=9;=ÿ<:UB8D9=<B:ÿUB8ÿ=K>
                                                      789:5;8<3=<B:ÿ^>8Q<;>ÿM4>:;NY6YÿbB=<;>ÿBUÿI:=>:=ÿ=BÿE>cR>5=ÿE>?9;=<B:
                                                      H>9?A<:>ÿHR>ÿ[Nÿ*+d+-),.Yÿ^=9=>D>:=ÿBUÿE>?9;=<B:ÿE>cR>5=ÿHR>ÿ[N
                                                      *+-0+-),.YÿE>?9;=>?ÿ789:5;8<3=ÿ^RWD<55<B:ÿHR>ÿ[Nÿ.+,+-),.Yÿ789:5;8<3=
                                                      9;;>55ÿZ<AAÿW>ÿ8>5=8<;=>?ÿ=K8BR4Kÿ,)+,+-),.Yÿ1_>Z<5Sÿ7>:<AA>6ÿ1F:=>8>?C
                                                      )*+)2+-),.6
                                   ÿ-d2ÿ              \We>;=<B:ÿ=BÿOB=<B:ÿfÿhijklmnopÿoqÿmrkÿspnmktÿumvmkwÿxyzwmkkÿmoÿmrk
                                    1,.ÿ3456          {kimoyw|ÿ}~~nlvmnopÿqoyÿpmyÿoqÿvpÿhytkyÿ}zmroynnpÿmrkÿkmkpmnopÿvpt
                                                       ~o kpmÿoqÿnpwmopÿÿumyvpÿÿvwÿ}mmoypkwÿqoyÿmrkÿ{kimoywÿvpt
                                                      {kimoywÿpÿowwkwwnopÿzplÿyoÿxzplÿmoÿmrkÿkmnmnopÿ{vmkÿ18>A9=>?
                                                      ?B;RD>:=156--.6ÿU<A>?ÿWNÿ[>:e9D<:ÿYÿ@<44<:5ÿB:ÿW>K9AUÿBUÿ:<=>?ÿ^=9=>5
                                                      78R5=>>YÿZ<=KÿK>98<:4ÿ=BÿW>ÿK>A?ÿB:ÿ*+0+-),.ÿ9=ÿ,,C))ÿMOÿ9=ÿTBR8=8BBD
  )*+)-+-),.                                          2,*ÿ1OFa6ÿ1@<44<:5Sÿ[>:e9D<:6ÿ1F:=>8>?Cÿ)*+)-+-),.6
                                   ÿ-d*ÿ              bB=<;>ÿBUÿM4>:?9ÿfÿomnlkÿoqÿ} kptktÿ}kptvÿoqÿvmmkywÿulrktzktÿqoy
                                    10ÿ3456           kvynpÿopÿzÿÿÿvmÿÿ}ÿxÿ18>A9=>?ÿ?B;RD>:=156--.Sÿ-,06
                                                      G<A>?ÿWNÿT988<>ÿÿ@98?D9:ÿB:ÿW>K9AUÿBUÿE>A9=<Q<=NÿO>?<9Sÿ__TYÿZ<=K
                                                      K>98<:4ÿ=BÿW>ÿK>A?ÿB:ÿ*+0+-),.ÿ9=ÿ,,C))ÿMOÿ9=ÿTBR8=8BBDÿ2,*ÿ1OFa6
  )*+)-+-),.                                          1@98?D9:SÿT988<>6ÿ1F:=>8>?Cÿ)*+)-+-),.6
                                   ÿ-d.ÿ              H>;A989=<B:ÿoqÿorpÿÿrnn~wÿyÿnpÿuz~~oymÿoqÿmrkÿ{kimoywÿ}~~nlvmnop
                                    1ÿ345Lÿ-ÿ?B;56 qoyÿpmyÿoqÿvpÿhytkyÿ}zmroynnpÿmrkÿkmkpmnopÿvptÿ ~o kpmÿoq
                                                      npwmopÿÿumyvpÿÿvwÿ}mmoypkwÿqoyÿmrkÿ{kimoywÿvptÿ{kimoywÿnp
                                                      owwkwwnopÿzplÿyoÿxzplÿmoÿmrkÿkmnmnopÿ{vmkÿ18>A9=>?ÿ?B;RD>:=156--.6
                                                      U<A>?ÿWNÿH9:<>AÿMYÿ_BZ>:=K9AÿB:ÿW>K9AUÿBUÿa<:5=B:ÿÿ^=89Z:ÿ__JY
  )*+)-+-),.                                          1M==9;KD>:=5Cÿÿ,ÿFXK<W<=ÿM6ÿ1_BZ>:=K9ASÿH9:<>A6ÿ1F:=>8>?Cÿ)*+)-+-),.6
                                   ÿ-ddÿ              bB=<;>ÿBUÿM4>:?9ÿfÿomnlkÿoqÿukloptÿ} kptktÿ}kptvÿoqÿvmmkyw
                                    1ÿ3456           ulrktzktÿqoyÿkvynpÿopÿzÿÿÿvmÿÿ}ÿxÿ18>A9=>?
                                                      ?B;RD>:=156-,0Sÿ-,.6ÿG<A>?ÿWNÿT988<>ÿÿ@98?D9:ÿB:ÿW>K9AUÿBUÿE>A9=<Q<=N
                                                      O>?<9Sÿ__TYÿZ<=KÿK>98<:4ÿ=BÿW>ÿK>A?ÿB:ÿ*+0+-),.ÿ9=ÿ,,C))ÿMOÿ9=
  )*+)-+-),.                                          TBR8=8BBDÿ2,*ÿ1OFa6ÿ1@98?D9:SÿT988<>6ÿ1F:=>8>?Cÿ)*+)-+-),.6
                                   ÿ0))               ¡¢£¤¥¦¥§ÿ©£ÿ¢¦¦ª¦«ÿT>8=<U<;9=>ÿBUÿO9<A<:4ÿBUÿTA9<D5ÿM4>:=ÿoqÿvzÿzo
                                                      kvytnpÿxrnytÿ¬yntkÿhytkyÿhytkyÿwmvinwrnpÿyolktzykwÿqoy
                                                      pmkynÿo ~kpwvmnopÿvptÿknizywk kpmÿoqÿ­~kpwkwÿoqÿyoqkwwnopvw
                                                      omnlkÿoqÿkvynpÿopÿ{kimoyw|ÿ}~~nlvmnopÿqoyÿpmyÿoqÿvpÿhytky
                                                      }zmroynnpÿmrkÿkmkpmnopÿvptÿ ~o kpmÿoqÿnpwmopÿÿumyvpÿÿvw
                                                      }mmoypkwÿqoyÿmrkÿ{kimoywÿvptÿ{kimoywÿnpÿowwkwwnopÿpzplÿ~yoÿmzplÿmoÿmrk
                                                      kmnmnopÿ{vmkÿomnlkÿoqÿ}kptvÿoqÿvmmkywÿulrktzktÿqoyÿkvynpÿop
                                                      zÿÿÿvmÿÿvÿxÿvptÿ{kimoyw|ÿomnopÿqoyÿvpÿhytky
                                                      wmvinwrnpÿ{kvtnpkwÿqoyÿ®nnpÿyooqwÿoqÿvnÿvptÿ}~~yo¯npÿmrk
                                                      ®oy ÿvptÿvppkyÿoqÿomnlkÿxrkykoqÿ18>A9=>?ÿ?B;RD>:=156-d°Sÿ-d,Sÿ-.*S
                                                      -d)Sÿ-..6ÿU<A>?ÿWNÿM?9DÿOYÿM?A>8ÿB:ÿW>K9AUÿBUÿJ8<D>ÿTA>8VSÿ__TY
                                                      1M?A>8SÿM?9D6ÿOB?<U<>?ÿB:ÿ*+2+-),.ÿ1E<;K98?5Sÿ[>Q>8AN6Yÿ1F:=>8>?C
  )*+)-+-),.                                          )*+)-+-),.6
  )*+)0+-),.                       ÿ0),ÿ              ^=9=>D>:=ÿkw~opwkÿhqÿkmqn­ÿplÿxoÿuz~~k kpmvÿ®nnpwÿp
                                    1*0ÿ345Lÿ,)ÿ?B;56 oppklmnopÿnmrÿxrkÿ}~~nlvmnopÿxoÿ ~oÿnpwmopÿÿumyvpÿ
117 11! "#$55524%5&''2'2'5(5(45                                                         '&1543
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                                                           40-5   7ÿ09/30/21
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                                                     )*+,-.+/ÿ/1234+5.)678897ÿ:;,+/ÿ<=ÿ>1<+*.ÿ?@ÿA:;6.+*ÿ15ÿ<+B-,:ÿ1:ÿC+.:,;DE
                                                           #:2263
                                                     F52@@ÿ)G..-2B4+5.6HÿIÿJÿKDB;<;.ÿKDB;<;.ÿGÿIÿ8ÿKDB;<;.ÿKDB;<;.ÿLÿIÿM
                                                     KDB;<;.ÿKDB;<;.ÿNÿIÿOÿKDB;<;.ÿKDB;<;.ÿPÿIÿQÿKDB;<;.ÿKDB;<;.ÿKÿIÿRÿKDB;<;.
                                                     KDB;<;.ÿSÿIÿTÿKDB;<;.ÿKDB;<;.ÿUÿIÿ9ÿKDB;<;.ÿKDB;<;.ÿVÿIÿWÿKDB;<;.ÿKDB;<;.
                                                     F7ÿ)A:;6.+*Eÿ>1<+*.7ÿ)K5.+*+/HÿXTYXMY8XJ97
                                   ÿMX8ÿ             GZZ,;2-.;15ÿ.1ÿK4Z,1=ÿP3::ÿ]ÿAB+,Z6ÿ^+23*;.;+6Eÿ__Nÿ-6ÿS;5-52;-,
                                    )QQÿZ[6\ÿOÿ/1267 -/`;61*ÿabÿadeÿfggÿ:;,+/ÿ<=ÿh;5=-1ÿi-5[ÿ15ÿ<+B-,:ÿ1:ÿjSSFNFG_
                                                     NjhhFkkKKÿjSÿlC^KNl>KPÿN>KPFkj>^@ÿ)G..-2B4+5.6HÿIÿJ
                                                     KDB;<;.ÿGHÿA*1Z16+/ÿj*/+*ÿIÿ8ÿKDB;<;.ÿLHÿS;.m[+*-,/ÿP+2,-*-.;15ÿIÿM
  XTYXMY8XJ9                                         KDB;<;.ÿNHÿN3,,+5ÿP+2,-*-.;157ÿ)i-5[Eÿh;5=-17ÿ)K5.+*+/HÿXTYXMY8XJ97
                                   ÿMXMÿ             G::;/-`;.ÿ1:ÿ^+*`;2+ÿnopqqresetaurvÿbwÿxptbÿguyzb{bÿ|e}uyz~t}ÿxba~e
                                    )JÿZ[7           bwÿgduqaeyÿÿutypqaÿgu{eÿ)*+,-.+/ÿ/1234+5.)67MW7ÿS;,+/ÿ<=ÿG/-4
                                                     h@ÿG/,+*ÿ15ÿ<+B-,:ÿ1:ÿA*;4+ÿN,+*Eÿ__N@ÿ)G/,+*EÿG/-47ÿ)K5.+*+/H
  XTYXMY8XJ9                                         XTYXMY8XJ97
                                   ÿMXOÿ             ^2B+/3,;5[ÿj*/+*ÿ6;[5+/ÿ15ÿTYQY8XJ9ÿ;5ÿ2155+2.;15ÿ;.BÿP+<.1*6ÿ41.;15
                                    )8OÿZ[67         -3.B1*;m;5[ÿ-5/ÿ-ZZ*1`;5[ÿ.B+ÿP+<.1*6ÿ+5.*=ÿ;5.1ÿ.B+ÿ-66+.ÿZ3*2B-6+
                                                     -[*++4+5.ÿ:1*ÿ.B+ÿ6-,+ÿ1:ÿ63<6.-5.;-,,=ÿ-,,ÿ.B+;*ÿ-66+.6Eÿ.B+ÿ6-,+ÿ1:
                                                     63<6.-5.;-,,=ÿ-,,ÿ.B+ÿP+<.1*6ÿ-66+.6ÿ:*++ÿ-5/ÿ2,+-*ÿ1:ÿ,;+56Eÿ2,-;46ÿ-5/
                                                     +5234<*-52+6ÿ)1.B+*ÿ.B-5ÿ-6634+ÿ,;-<;,;.;+67ÿ-5/ÿ.B+ÿ-6634Z.;15ÿ-5/
                                                     -66;[54+5.ÿ1:ÿ+D+23.1*=ÿ215.*-2.6ÿ-5/ÿ35+DZ;*+/ÿ,+-6+6ÿ-5/ÿ[*-5.;5[
                                                     *+,-.+/ÿ*+,;+:ÿ)*+,-.+/ÿ/1234+5.)67TT7@ÿ^-,+ÿB+-*;5[ÿ.1ÿ<+ÿB+,/ÿ15
                                                     TY8QY8XJ9ÿ-.ÿJJHXXÿGhÿ-.ÿN13*.*114ÿRJTÿ)hKi7ÿ)P+A;+*1,-E
  XTYXQY8XJ9                                         ?-23+,;5+7@ÿ)K5.+*+/HÿXTYXQY8XJ97
                                   ÿMX9ÿ             k*-562*;Z.ÿ*+[-*/;5[ÿV+-*;5[ÿV+,/ÿ15ÿXTYXMY8XJ9ÿJJHXRÿ-4ÿ>KH
                                    )JORÿZ[67        GZZ,;2-.;15ÿ.1ÿ*+.-;5ÿi;56.15ÿ]ÿ^.*- 5ÿ__Aÿ-6ÿ-..1*5+=6ÿ:1*ÿ.B+ÿP+<.1*6
                                                     5352ÿZ*1ÿ.352ÿ.1ÿ.B+ÿZ+.;.;15ÿ/-.+@@ÿ>+41.+ÿ+,+2.*15;2ÿ-22+66ÿ.1ÿ.B+
                                                     .*-562*;Z.ÿ;6ÿ*+6.*;2.+/ÿ35.;,ÿJXYMY8XJ9@ÿkB+ÿ.*-562*;Z.ÿ4-=ÿ<+ÿ̀;+ +/ÿ-.
                                                     .B+ÿL-5*3Z.2=ÿN13*.ÿN,+*6ÿj::;2+@ÿk*-562*;Z.;15ÿ^+*`;2+ÿG[+52=H
                                                     +^2*;<+*6Eÿ__N@@ÿ)^++ÿ.B+ÿN13*.6ÿi+<6;.+ÿ:1*ÿ215.-2.ÿ;5:1*4-.;15ÿ:1*ÿ.B+
                                                     k*-562*;Z.;15ÿ^+*`;2+ÿG[+52=@7@ÿC1.;2+ÿ1:ÿF5.+5.ÿ.1ÿ>+3+6.ÿ>+/-2.;15
                                                     P+-/,;5+ÿP3+ÿL=ÿTYJ8Y8XJ9@ÿ^.-.+4+5.ÿ1:ÿ>+/-2.;15ÿ>+3+6.ÿP3+ÿL=
                                                     TY8RY8XJ9@ÿ>+/-2.+/ÿk*-562*;Z.ÿ^3<4;66;15ÿP3+ÿL=ÿ9YRY8XJ9@ÿk*-562*;Z.
                                                     -22+66ÿ;,,ÿ<+ÿ*+6.*;2.+/ÿ.B*13[BÿJXYMY8XJ9@ÿ)_+ ;6Eÿk+5;,,+7ÿ)K5.+*+/H
  XTYXQY8XJ9                                         XTYXRY8XJ97
                                   ÿMXQÿ             _+..+*ÿuzzye{{ezÿabÿpz}eÿ~re{ÿS;,+/ÿ<=ÿP-5;+,ÿG@ÿ_1 +5.B-,ÿ15ÿ<+B-,:
                                    )JMÿZ[6\ÿ8ÿ/1267 1:ÿi;56.15ÿ]ÿ^.*- 5ÿ__A@ÿ)G..-2B4+5.6HÿIÿJÿKDB;<;.ÿJÿÿA*1Z16+/
  XTYXRY8XJ9                                         >+`;6+/ÿj*/+*7)_1 +5.B-,EÿP-5;+,7ÿ)K5.+*+/HÿXTYXRY8XJ97
                                   ÿMXRÿ             j*/+*ÿ6;[5+/ÿ15ÿTYRY8XJ9ÿ-3.B1*;m;5[ÿ.B+ÿP+<.1*6ÿ.1ÿ+4Z,1=ÿ-5/ÿ*+.-;5
                                    )QÿZ[67          hFFFÿA-*.5+*6ÿ.1ÿZ*1`;/+ÿ;5.+*;4ÿ4-5-[+4+5.ÿ6+*`;2+6ÿ5352ÿZ*1ÿ.352ÿ.1
                                                     .B+ÿZ+.;.;15ÿ/-.+Eÿ-5/ÿ/+6;[5-.+ÿN1,;5ÿG/-46ÿ-6ÿ2B;+:ÿ*+6.*32.3*;5[
                                                     1::;2+*ÿ)>+,-.+/ÿP12ÿIÿ88T7@ÿ)P+A;+*1,-Eÿ?-23+,;5+7ÿ)K5.+*+/H
  XTYXRY8XJ9                                         XTYXRY8XJ97
  XTYXRY8XJ9                       ÿMXWÿ             G::;/-`;.ÿ1:ÿ^+*`;2+ÿbwÿuprÿprrbÿ|e}uyz~t}ÿd~yzÿy~z}eÿyzeyÿyzey
                                    )JQÿZ[67         {aur~{d~t}ÿybezpye{ÿwbyÿtaey~sÿgbsqet{ua~btÿutzÿ|e~spy{eseta
                                                     bwÿqet{e{ÿbwÿybwe{{~btur{ÿxba~eÿbwÿeuy~t}ÿbtÿeaby{ÿqqr~ua~bt
                                                     wbyÿtayÿbwÿutÿyzeyÿpadby~~t}ÿadeÿ|eaeta~btÿutzÿsqrbsetaÿbw
                                                     ~t{abtÿÿoayutÿÿu{ÿaabyte{ÿwbyÿadeÿeaby{ÿutzÿeaby{ÿ~t
                                                     b{{e{{~btÿtptÿqybÿaptÿabÿadeÿea~a~btÿuaeÿxba~eÿbwÿ}etzuÿbw
                                                     uaaey{ÿodezprezÿwbyÿeuy~t}ÿbtÿprÿÿ¡ÿuaÿ¢ ÿu£s£ÿnvÿutz
                                                     eaby{ÿba~btÿwbyÿutÿyzeyÿ{aur~{d~t}ÿeuzr~te{ÿwbyÿ¤~r~t}ÿybbw{ÿbw
                                                     gru~sÿutzÿqqyb¥~t}ÿadeÿ¤bysÿutzÿutteyÿbwÿxba~eÿdeyebwÿ)*+,-.+/
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                                                     *+,-./012345667ÿ9:;7ÿ9:<7ÿ9=>7ÿ9:67ÿ9==4ÿ?@A/*ÿBCÿD*E.ÿFGÿD*A/Hÿ+0
                                                           #:2264
                                                     B/IEAJÿ+JÿKH@./ÿLA/HM7ÿNNLGÿ2D*A/H7ÿD*E.4ÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<6              STUVWXYZWT[ÿVXXÿ]^WWX]_XTÿX`_WabÿT^]cdX`_ÿ̀^[
                                                     efghÿi/0,Iÿj/,@3@+0ÿ3@k0/*ÿ+0ÿ>QRQ96<=ÿH/kEH*@0kÿEllA@,E1@+0ÿJ+H
                                                     l/H.@33@+0ÿ1+ÿH/1E@0ÿm@031+0ÿnÿo1HEp0ÿNNKÿE0*ÿ+Bq/,1@+03ÿ1I/H/1+
                                                     2H/AE1/*ÿ*+,-./0123499=4Gÿ2j/K@/H+AE7ÿrE,s-/A@0/4ÿF+*@J@/*ÿ+0ÿ>QRQ96<=
  6>Q6RQ96<=                                         2t+./u7ÿr/33@,E4Gÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<<              STUVWXYZWT[ÿVXXÿ]^WWX]_XTÿX`_WaÿT^]cdX`_ÿ̀^[ÿefeh
                                                     vH*/Hÿ3@k0/*ÿ+0ÿ>QRQ96<=ÿE-1I+H@u@0kÿ1I/ÿH/1/01@+0ÿE0*ÿ/.lA+C./01ÿ+J
                                                     m@031+0ÿnÿo1HEp0ÿNNKÿE3ÿE11+H0/C3ÿJ+Hÿ1I/ÿj/B1+H3ÿE0*ÿj/B1+H3ÿw0
                                                     K+33/33@+0ÿ0-0,ÿlH+ÿ1-0,ÿ1+ÿ1I/ÿl/1@1@+0ÿ*E1/ÿ2x/AE1/*ÿj+,ÿ99=ÿE0*ÿ5<64G
                                                     2j/K@/H+AE7ÿrE,s-/A@0/4ÿF+*@J@/*ÿ+0ÿ>QRQ96<=ÿ2t+./u7ÿr/33@,E4G
  6>Q6RQ96<=                                         2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<9ÿ             i/0,Iÿj/,@3@+0ÿ3@k0/*ÿ+0ÿ>QRQ96<=ÿH/kEH*@0kÿEllA@,E1@+0ÿJ+Hÿl/H.@33@+0
                                    2<yÿlk34         1+ÿH/1E@0ÿm@031+0ÿnÿo1HEp0ÿNNKÿE0*ÿ+Bq/,1@+03ÿ1I/H/1+ÿ2H/AE1/*
  6>Q6RQ96<=                                         *+,-./0123499=4Gÿ2j/K@/H+AE7ÿrE,s-/A@0/4ÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<5ÿ             vH*/Hÿ3@k0/*ÿ+0ÿ>QRQ96<=ÿE-1I+H@u@0kÿ1I/ÿH/1/01@+0ÿE0*ÿ/.lA+C./01ÿ+J
                                    2yÿlk34          m@031+0ÿnÿo1HEp0ÿNNKÿE3ÿE11+H0/C3ÿJ+Hÿ1I/ÿj/B1+H3ÿE0*ÿj/B1+H3ÿw0
                                                     K+33/33@+0ÿ0-0,ÿlH+ÿ1-0,ÿ1+ÿ1I/ÿl/1@1@+0ÿ*E1/ÿ2H/AE1/*ÿ*+,-./012345<97
  6>Q6RQ96<=                                         99=4Gÿ2j/K@/H+AE7ÿrE,s-/A@0/4ÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<yÿ             DJJ@*Ez@1ÿ+Jÿo/Hz@,/ÿ{|ÿ~ÿ~{ÿÿ{ÿ{|ÿÿ
                                    2<6ÿlk34         {|ÿÿÿ|{ÿÿ{ÿÿÿÿÿÿÿ
                                                     ¡{ÿ{|ÿ{ÿ¢ÿ~£ÿÿÿ££{ÿ{|ÿÿ¡¤{ÿ££{
                                                     |{ÿÿ{|ÿÿ¥ ÿ{¦ÿÿ{ÿÿ£{ÿ{|
                                                     §{ÿ̈ÿ©ÿªª~ÿÿ{ÿ|{ÿÿ¡¤{ÿÿ¡¤{ÿ
                                                     ~{{ÿÿ£{ÿÿ{ÿÿ~{ÿ¡ÿÿ{ÿ{|ÿ{
                                                     ÿÿ{|ÿÿÿ|{ÿÿ{ÿÿÿÿ
                                                     ÿÿÿ2H/AE1/*ÿ*+,-./012349::7ÿ9:>7ÿ9:=4ÿJ@A/*ÿBCÿKH@./ÿLA/HM7
  6>Q6RQ96<=                                         NNLG2o1//A/7ÿi/0qE.@04ÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<;ÿ             «ÿ{ÿ{|ÿ¬ÿ{|ÿ{ÿ¢{£{ÿÿ¤ÿ­®®®ÿ~
                                    2<yÿlk34         |{ÿÿ~{ÿ{|ÿÿÿÿ{ÿÿÿÿ?@A/*ÿBCÿLEHH@/ÿ̄
                                                     °EH*.E0ÿ+0ÿB/IEAJÿ+JÿF±wwwÿKEH10/H3GÿvBq/,1@+03ÿ*-/ÿBCÿ>Q96Q96<=7
                                                     2°EH*.E07ÿLEHH@/4ÿT²³´µ¶ÿ_µ·¶ÿd²¸¹º¹µ¸ÿ²»ÿ¼½f¾½g¾f¿ÿSÀÁÂÃbÿÀÄµ»¶h
  6>Q6RQ96<=                                         2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<Rÿ             «ÿ{ÿ{|ÿ¬ÿ{|ÿ¢{¤ÿ{ÿ||ÿ£{ÿ
                                    2<;ÿlk34         ¢{£{ÿÿ¤ÿ­®®®ÿ~ÿ|{ÿÿ~{ÿ{|ÿÿ
                                                     ÿ{ÿÿÿÿ?@A/*ÿBCÿLEHH@/ÿ̄ÿ°EH*.E0ÿ+0ÿB/IEAJÿ+JÿF±
                                                     wwwÿKEH10/H3GÿvBq/,1@+03ÿ*-/ÿBCÿ>Q96Q96<=7ÿ2°EH*.E07ÿLEHH@/4ÿd²¸¹º¹µ¸
  6>Q6RQ96<=                                         ²»ÿ¼½f¾½g¾f¿ÿSÀÁÂÃbÿÀÄµ»¶hÿ2O01/H/*Pÿ6>Q6RQ96<=4
                                   ÿ5<>ÿ             F+1@+0ÿJ+Hÿx/A@/JÿJH+.ÿo1ECÿ|Æÿ®Çÿ{{ÿ|{ÿ|ÿ|{ÿ
                                    29>ÿlk3Åÿ5ÿ*+,34 {ÿÿ{ÿÆÿ¢ÿÿ{|ÿ{||ÿJ@A/*ÿBCÿx+B/H1ÿrG
                                                     KJ@31/Hÿ+0ÿB/IEAJÿ+JÿÈ/1JA@É7ÿw0,GGÿ2D11E,I./013PÿÊÿ<ÿOÉI@B@1ÿOÉI@B@1ÿDÿÊÿ9
  6>Q6:Q96<=                                         OÉI@B@1ÿOÉI@B@1ÿi4ÿ2KJ@31/H7ÿx+B/H14ÿ2O01/H/*Pÿ6>Q6:Q96<=4
                                   ÿÿ                x/,/@l1ÿ+JÿF+1@+0ÿJ+Hÿx/A@/JÿJH+.ÿo1ECÿ2J//42<=±<<5;=±./p4
                                                     Ë.+1@+07<=;Ìÿ2ÿ<=<G664ÿ?@A@0kÿ?//Gÿx/,/@l1ÿ0-.B/Hÿ<9RR55=;Gÿ?//
  6>Q6:Q96<=                                         E.+-01ÿ<=<G66Gÿ2x/Pÿj+,ÿÊÿ5<>4ÿ2ÍGoGÿÎH/E3-HC4ÿ2O01/H/*Pÿ6>Q6:Q96<=4
  6>Q<6Q96<=                       ÿ5<=ÿ             L/H1@J@,E1/ÿ+Jÿo/Hz@,/ÿÿ|Æÿ®Çÿ{{ÿ|{ÿ|ÿ|{ÿ
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                                    )*ÿ,-./          012345267ÿ925:ÿ23ÿ;<=>76?=ÿ@=>256AÿB6CD2?ÿ3Eÿ9=23EEÿ)FGHIJGK
                                                           #:2265
                                                     KLMNOGPJ)./QRS/ÿTUHGKÿVWÿXLVGFJÿYZÿ[\U.JGFÿLPÿVG]IH\ÿL\ÿ^GJ\HU_ÿ̀aPMZZ
                                                     )[\U.JGF̀ÿXLVGFJ/ÿ)bPJGFGKcÿdSeRde*dRf/
                                   ÿQRgÿ             hGJJGFÿiÿj3267=ÿ3Eÿklmÿn>3o3?=pÿ0??14o263Aÿ5Apÿ0??6CA4=A2ÿ3Eÿ;<=7123>:
                                    )fSÿ,-./         @3A2>572?ÿ5ApÿqA=<o6>=pÿr=5?=?ÿ6Aÿ@3AA=7263Aÿs62Dÿ95t=ÿ5Apÿkllm
                                                     0??37652=pÿ@1>=ÿ@3?2?ÿ)FGHIJGKÿKLMNOGPJ)./SSÿ̀Qdu/ÿTUHGKÿVWÿvIFFUGÿw
                                                     xIFKOIPÿLPÿVG]IH\ÿL\ÿXGHIJUyUJWÿzGKUIÿ̀hhvZÿ)xIFKOIPÿ̀vIFFUG/
  dSeRde*dRf                                         )bPJGFGKcÿdSeRde*dRf/
                                   ÿQ*dÿ             zLJULPÿJLÿ|NJ]LFU}Gÿ~3263Aÿ3Eÿ2D=ÿEE6765tÿ@344622==ÿ3EÿqA?=71>=p
                                    )*Rÿ,-.{ÿ*ÿKLM./ @>=p623>?ÿ3EÿB=t52662:ÿ~=p65ÿrr@ÿ=2ÿ5tÿE3>ÿ;A2>:ÿ3Eÿ5Aÿ>p=>ÿklm
                                                     @t5>6E:6ACÿ2D=ÿB=16>=4=A2ÿ23ÿn>36p=ÿ077=??ÿ23ÿ@3AE6p=A265tÿ3>
                                                     n>66t=C=pÿlAE3>45263Aÿ5Apÿ0oo>36ACÿ5ÿn>32373tÿB=C5>p6ACÿ@>=p623>
                                                     B=1=?2?ÿE3>ÿlAE3>45263Aÿ5Apÿkllmÿ012D3>66ACÿD=ÿ@344622==ÿ23ÿq26t6=
                                                     n>64=ÿ@t=>ÿrr@ÿ5?ÿlAE3>45263Aÿ0C=A2ÿ6Aÿ@3AA=7263AÿD=>=s62Dÿ\UHGKÿVW
                                                     zUPWILÿIP-ÿLPÿVG]IH\ÿL\ÿTTava|hÿvzzabbÿTÿ^bvXb
                                                     vXbaXÿXG.,LP.G.ÿKNGÿVWÿSeRSe*dRfZ̀ÿ)|JJIM]OGPJ.cÿÿRÿb_]UVUJ
  dSeRde*dRf                                         |cÿ[FL,L.GKÿFKGF/ÿ)IP-ÿ̀zUPWIL/ÿ)bPJGFGKcÿdSeRde*dRf/
                                   ÿQ*Rÿ             ^LJUMGÿL\ÿvGFJU\UMIJULPÿL\ÿ[NVHUMIJULPÿ3Eÿ=3>C65ÿrÿ51?2ÿB=C5>p6AC
                                    )uÿ,-./          j3267=ÿ3Eÿ95t=ÿ~3263Aÿ5Apÿoo3>21A62:ÿ23ÿ91462ÿ5ÿ@34o=26ACÿEE=>
                                                     o1t6?D=pÿ3Aÿ1t:ÿÿÿ6Aÿ5>6=2:ÿ\UHGKÿVWÿ[FUOGÿvHGFÿ̀hhvZ)JGGHG`
  dSeRRe*dRf                                         GPIOUP/ÿ)bPJGFGKcÿdSeRRe*dRf/
                                   ÿQ**ÿ             |,,HUMIJULPÿJLÿbO,HLWÿUHHUGÿTIFFÿÿIHHI-]GFÿhh[ÿI.ÿ,GMUIH
                                    )Qÿ,-./         hUJU-IJULPÿvLNP.GHÿ23ÿ=23>?ÿ5Apÿ=23>?ÿ6Aÿn3??=??63Aÿn1>?15A2ÿ23
                                                     9=7263A?ÿk5mÿ5Apÿk5mÿ3Eÿ2D=ÿ5A>1o27:ÿ@3p=ÿj1A7ÿn>3ÿ1A7ÿ23
                                                     1t:ÿ¡ÿÿ\UHGKÿVWÿYL]PÿhLP-OUFGÿLPÿVG]IH\ÿL\ÿXGHIJUyUJWÿzGKUIÿ̀hhv
                                                     XG.,LP.G.ÿKNGÿVWÿSeRfe*dRfÿ̀¢UJ]ÿ,FG.GPJOGPJÿJLÿVGÿ]GHKÿLPÿSeRfe*dRf
                                                     IJÿR*cddÿ[zÿIJÿvLNFJFLLOÿ£RSÿ)zb/Zÿ)hLP-OUFGÿ̀YL]P/ÿ)bPJGFGKc
  dSeRRe*dRf                                         dSeRRe*dRf/
                                   ÿQ*Qÿ             ^LJUMGÿL\ÿ[FG.GPJOGPJÿ3Eÿ0oot675263Aÿ23ÿ;4ot3:ÿ5ApÿB=256Aÿ¤6tt6=ÿ5>>
                                    )Qÿ,-./          ¥ÿ5tt5CD=>ÿrrnÿ5?ÿ9o=765tÿr626C5263Aÿ@31A?=tÿ23ÿ=23>?ÿ5Apÿ=23>?
                                                     6Aÿn3??=??63Aÿn1>?15A2ÿ23ÿ9=7263A?ÿk5mÿ5Apÿk5mÿ3Eÿ2D=ÿ5A>1o27:
                                                     @3p=ÿj1A7ÿn>3ÿ1A7ÿ23ÿ1t:ÿ¡ÿÿ)FGHIJGKÿKLMNOGPJ)./Q**/ÿ\UHGKÿVW
                                                     YL]PÿhLP-OUFGÿLPÿVG]IH\ÿL\ÿXGHIJUyUJWÿzGKUIÿ̀hhvZÿ¢UJ]ÿ,FG.GPJOGPJÿJL
                                                     VGÿ]GHKÿLPÿSeRfe*dRfÿIJÿR*cddÿ[zÿIJÿvLNFJFLLOÿ£RSÿ)zb/ÿVGMJULP.
  dSeRRe*dRf                                         KNGÿVWÿSeRfe*dRfÿ̀)hLP-OUFGÿ̀YL]P/ÿ)bPJGFGKcÿdSeRRe*dRf/
                                   ÿQ*uÿ             |\\UKIyUJÿL\ÿGFyUMGÿ3Eÿj1A3ÿ@5>p3?3ÿB=C5>p6ACÿj3267=ÿ3Eÿ6t6ACÿ3E
                                    )Rÿ,-/           ~3A2Dt:ÿ@34o=A?5263Aÿ9252=4=A2ÿ:ÿ~¦lllÿn5>2A=>?ÿE3>ÿ2D=ÿn=>63pÿ3E
                                                     ~5:ÿÿÿ2D>31CDÿ~5:ÿÿÿ5Apÿj3267=ÿ3Eÿ6t6ACÿ3Eÿ@346A=p
                                                     ~3A2Dt:ÿ925EE6ACÿB=o3>2ÿ5Apÿ@34o=A?5263Aÿ9252=4=A2ÿ:ÿ~¦lllÿn5>2A=>?
                                                     E3>ÿ2D=ÿn=>63pÿ3Eÿ1A=ÿÿÿ2D>31CDÿ1A=ÿÿÿ)FGHIJGK
                                                     KLMNOGPJ)./QR£ÿ̀QR/ÿ\UHGKÿVWÿ[FUOGÿvHGFÿ̀hhvZ)zIHLÿ̀IyUK/
  dSeRRe*dRf                                         )bPJGFGKcÿdSeRRe*dRf/
                                   ÿQ*ÿ             ^LJUMGÿL\ÿ|,,GIFIPMGÿ\UHGKÿVWÿYL]Pÿ[ZÿvIO,LÿLPÿVG]IH\ÿL\ÿwGMJLFÿzGKUI
  dSeRRe*dRf                        )Qÿ,-./          xLHKUP-ÿvLF,ZZÿ)vIO,Lÿ̀YL]P/ÿ)bPJGFGKcÿdSeRRe*dRf/
                                   ÿQ*£ÿ             VGMJULPÿJLÿzLJULPÿn>=t646A5>:ÿ§=7263Aÿ3Eÿj=2Et6<ÿlA7ÿ23ÿ=23>?¨
                                    )gÿ,-./          ~3263Aÿn1>?15A2ÿ23ÿÿq9@ÿ©ÿ5Apÿ¡©ÿ5Apÿ=pÿBÿ5A>ÿnÿ¡¡
                                                     E3>ÿ;A2>:ÿ3Eÿ5Aÿ>p=>ÿ0oo>36ACÿ0??14o263Aÿ3Eÿ;<=7123>:ÿ@3A2>572?ÿs62D
                                                     j=2Et6<ÿlA7ÿ)FGHIJGKÿKLMNOGPJ)./*RQ/ÿ\UHGKÿVWÿXLVGFJÿYZÿ[\U.JGFÿLPÿVG]IH\
  dSeRRe*dRf                                         L\ÿ^GJ\HU_ÿ̀aPMZZÿ)[\U.JGFÿ̀XLVGFJ/ÿ)bPJGFGKcÿdSeRRe*dRf/
117 11! "#$55524%5&''2'2'5(5(45                                                          '01543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 386 of 494 Page ID
  )*+,-+-),.                       ÿ0-*ÿ            :22;<8=><7?ÿ@7AÿBA7ÿC=8ÿD<8Eÿ:6F<44<7?ÿ@<;E6ÿGHÿI=AJÿIE<AÿKL=A@ÿ7?
                                                           #:2266
                                    1-ÿ2345ÿ-ÿ67849 GEL=;@ÿ7@ÿM<;FÿIN4<8<=?4ÿKE87?6=AHÿI=AJE>4ÿMN?6Oÿ1:>>=8LFE?>4PÿQÿ,
                                                    RA6EA9ÿ1KL=A@SÿI=AJ9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿÿ               UE8E<2>ÿ7@ÿ:22;<8=><7?ÿ@7AÿBA7ÿC=8ÿD<8Eÿ:6F<44<7?1,.V,,0W.VFEX9
                                                    YF7><7?S,--Zÿ1ÿ-))O))9ÿM<;<?3ÿMEEOÿUE8E<2>ÿ?NFGEAÿ,-[[.--[OÿMEE
  )*+,-+-),.                                        =F7N?>ÿ-))O))Oÿ1UEPÿ\78ÿQÿ0-*9ÿ1]OKOÿ^AE=4NAH9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿ0-.ÿ            :22;<8=><7?ÿ@7AÿBA7ÿC=8ÿD<8Eÿ:6F<44<7?ÿ_`abcadÿfagÿhijckkcadÿba
                                    1-ÿ2345ÿ-ÿ67849 lgmnbcnopÿlgaÿqmnÿrcnoÿ@<;E6ÿGHÿs=?EÿtOÿK2A<?3X=>EAÿ7?ÿGEL=;@ÿ7@
                                                    ]?<uEA4=;ÿIN4<8ÿT?>EA2A<4E4Sÿ=ÿ6<u<4<7?ÿ7@ÿ]IvÿUE87A6<?34Sÿw?8OO
                                                    1:>>=8LFE?>4PÿQÿ,ÿBA7274E6ÿRA6EAÿvA=?><?3ÿ:6F<44<7?ÿ>7ÿBA=8><8ESÿBA7
  )*+,-+-),.                                        C=8ÿD<8E9ÿ1K2A<?3X=>EASÿs=?E9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿÿ               UE8E<2>ÿ7@ÿ:22;<8=><7?ÿ@7AÿBA7ÿC=8ÿD<8Eÿ:6F<44<7?1,.V,,0W.VFEX9
                                                    YF7><7?S,--Zÿ1ÿ-))O))9ÿM<;<?3ÿMEEOÿUE8E<2>ÿ?NFGEAÿ,-[[.W)xOÿMEE
  )*+,-+-),.                                        =F7N?>ÿ-))O))Oÿ1UEPÿ\78ÿQÿ0-.9ÿ1]OKOÿ^AE=4NAH9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿ0-xÿ            yEA><@<8=>Eÿ7@ÿKEAu<8Eÿgozmgicdzÿ{abcnoÿafÿ|c}cdzÿafÿ̀adb~}ÿbmffcdz
                                    1-ÿ2349         oagbÿÿ̀ ÿlmgbdogkÿ|agÿb~oÿlogcaiÿafÿ̀mÿpÿÿb~gaz~ÿ̀mÿp
                                                    ÿmdiÿ{abcnoÿafÿ|c}cdzÿafÿajcdoiÿ̀adb~}ÿbmffcdzÿoagbÿmdi
                                                    ajodkmbcadÿbmbojodbÿÿ̀ ÿlmgbdogkÿ|agÿb~oÿlogcaiÿafÿdoÿp
                                                    ÿb~gaz~ÿdoÿpÿÿ1AE;=>E6ÿ678NFE?>1490,[Sÿ0,W9ÿ@<;E6ÿGH
                                                    y=AA<EÿDÿC=A6F=?ÿ7?ÿGEL=;@ÿ7@ÿUE;=><u<>HÿIE6<=SÿyOÿ1C=A6F=?S
  )*+,-+-),.                                        y=AA<E9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿ00)ÿ            yEA><@<8=>Eÿ7@ÿKEAu<8Eÿgoÿlgo}cjcdmgÿonbcadÿafÿ{obf}cpÿdnÿba
                                    1-ÿ2349         obagkÿ̀abcadÿlgkmdbÿbaÿÿÿÿÿmdiÿÿmdiÿ|oiÿ
                                                    mdgÿlÿÿfagÿdbgÿafÿmdÿgiogÿhgacdzÿhkkjbcadÿafÿonbag
                                                    adbgmnbkÿcb~ÿ{obf}cpÿdnÿ1AE;=>E6ÿ678NFE?>1490-[9ÿM<;E6ÿGHÿU7GEA>ÿsO
  )*+,-+-),.                                        B@<4>EAÿ7?ÿGEL=;@ÿ7@ÿE>@;<Sÿw?8OOÿ1B@<4>EASÿU7GEA>9ÿ1T?>EAE6Pÿ)*+,-+-),.9
                                   ÿ00,ÿ            7><8Eÿ7@ÿ:67NA?FE?>ÿ7@ÿCE=A<?3ÿ_ÿ{¡ÿ|ÿh`{¡ÿ|
                                    1-ÿ2349         qh{¢ÿ{ÿ¡ÿ̀¡{ÿ|ÿ{¡£ÿ|ÿ{¡`ÿh{
                                                    |{h¤ÿ¥ÿ¦§ÿh¡q¨{¢ÿ¡qÿ¡ÿ¡ÿ¦h§ÿ¡h{
                                                    l¡l¡¡{ÿ|{h{{¢ÿh{ÿ¦§ÿÿhqÿ¤¤h¡h¤©ÿ¦§
                                                    ¢h{¡{¢ÿhªh¡ÿl¡¡{©ÿ¦ §ÿ̀|£{¢ÿ¡q
                                                    h¡`h¡ÿ¡h£©ÿ¦r§ÿq¤{¢ÿhÿ|{h¤ÿqh{¢©ÿh{ÿ¦r§
                                                    ¢h{¡{¢ÿ¤h¡ÿ¤|ÿ¦onbcadkÿioÿÿ}ÿ«pÿÿmb
                                                    ¬¥ÿl`ÿ¦¡§§ÿ1AE;=>E6ÿ678NFE?>149,*9ÿ@<;E6ÿGHÿy=AA<EÿDÿC=A6F=?ÿ7?
                                                    GEL=;@ÿ7@ÿUE;=><u<>HÿIE6<=SÿyOÿX<>LÿLE=A<?3ÿ>7ÿGEÿLE;6ÿ7?ÿ*+-­+-),.ÿ=>
                                                    )-P))ÿBIÿ=>ÿy7NA>A77Fÿ[,*ÿRGE8><7?4ÿ6NEÿGHÿ*+,x+-),.Sÿ1C=A6F=?S
  )*+,0+-),.                                        y=AA<E9ÿ1T?>EAE6Pÿ)*+,0+-),.9
                                   ÿ00-ÿ            :@@<6=u<>ÿ7@ÿKEAu<8Eÿfÿ{daÿmgiakaÿgozmgicdzÿh}cnmbcadÿbaÿj}a
                                    1,)ÿ2349        mdiÿobmcdÿ®c}}coÿ|mggÿ̄ÿ¢m}}mz~ogÿ¤¤lÿmkÿoncm}ÿ¤cbczmbcadÿadko}
                                                    baÿobagkÿmdiÿobagkÿcdÿlakkokkcadÿddnÿgaÿbdnÿbaÿ}ÿpÿÿmdi
                                                    {abcnoÿafÿlgokodbjodbÿafÿh}cnmbcadÿbaÿj}aÿmdiÿobmcdÿ®c}}coÿ|mgg
                                                    ¯ÿ¢m}}mz~ogÿ¤¤lÿmkÿoncm}ÿ¤cbczmbcadÿadko}ÿbaÿobagkÿmdiÿobagk
                                                    cdÿlakkokkcadÿddnÿgaÿbdnÿbaÿ}ÿpÿÿ1AE;=>E6ÿ678NFE?>1490--S
                                                    0-09ÿM<;E6ÿGHÿ:6=FÿIOÿ:6;EAÿ7?ÿGEL=;@ÿ7@ÿBA<FEÿy;EAJSÿyOÿ1:6;EAS
  )*+,0+-),.                                        :6=F9ÿ1T?>EAE6Pÿ)*+,0+-),.9
                                   ÿ000ÿ            :@@<6=u<>ÿ7@ÿKEAu<8Eÿafÿlm}ÿl}}aÿozmgicdzÿm}oÿ{abcnoÿmdiÿ{abcnoÿaf
                                    1W0Wÿ2349       lgaakoiÿadbgmnbkÿmdiÿ¤omkokÿ1AE;=>E6ÿ678NFE?>1490,x9ÿ@<;E6ÿGHÿBA<FE
  )*+,0+-),.                                        y;EAJSÿyO1K>EE;ESÿ°E?=F<?9ÿ1T?>EAE6Pÿ)*+,0+-),.9
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 387 of 494 Page ID
  )*+,-+.),/                       ÿ112ÿ            =:>?;@ÿ>:ÿAB:9C;@ÿD:;CE@F>7ÿGÿIJKLMNOPÿQRSTUVÿIWKNSJÿWLÿQVVXYRSJÿWL
                                                           #:2267
                                    34ÿ5678ÿ.ÿ9:;7< Z[N\]^_Y\K̀ÿaXbcWJRYÿd?e@9ÿfgÿh:f@B>ÿijÿAd?7>@Bÿ:Fÿf@kledÿ:dÿ=@>de?mnÿoF;jj
                                                    3p>>l;kE@F>7qÿrÿ,ÿsmk?f?>ÿpÿtÿuCf5:@Flÿ>:ÿvtoooÿp9w?7:BgÿAlB>F@B7nÿxA<
                                                    3Ad?7>@Bnÿh:f@B><ÿ3sF>@B@9qÿ)*+,-+.),/<
                                   ÿ11-ÿ            yB9@Bÿ7?6F@9ÿ:Fÿ*+,4+.),/ÿl9E?>>?F6ÿvlBzÿvjÿuklBdnÿs7{jÿ>:ÿ5Bl;>?;@ÿ5B:
                                    3,ÿ56<          kl;ÿw?;@ÿ?Fÿ>k?7ÿ|:CB>ÿ3h@el>@9ÿD:;ÿrÿ1.*<jÿ3D@A?@B:elnÿil;{C@e?F@<
  )*+,4+.),/                                        3sF>@B@9qÿ)*+,4+.),/<
                                   ÿ114ÿ            yB9@Bÿ7?6F@9ÿ:Fÿ*+,4+.),/ÿl9E?>>?F6ÿilF@ÿ}jÿu5B?F6~l>@Bnÿs7{jÿ>:
                                    3,ÿ56<          5Bl;>?;@ÿ5B:ÿkl;ÿw?;@ÿ?Fÿ>k?7ÿ|:CB>ÿ3h@el>@9ÿD:;ÿrÿ1./<jÿ3D@A?@B:eln
  )*+,4+.),/                                        il;{C@e?F@<ÿ3sF>@B@9qÿ)*+,4+.),/<
                                   ÿ11*ÿ            y5@Bl>?F6ÿh@5:B>ÿLW\ÿK[JÿWRK[ÿWLÿY`ÿ^Pÿÿ?e@9ÿfgÿ|lBB?@ÿ
                                    3.4ÿ567<        lB9ElFÿ:Fÿf@kledÿ:dÿh@el>?w?>gÿv@9?lnÿxx|jÿ3lB9ElFnÿ|lBB?@<
  )*+,4+.),/                                        3sF>@B@9qÿ)*+,4+.),/<
                                   ÿ11/ÿ            y5@Bl>?F6ÿh@5:B>ÿLW\ÿK[JÿWRK[ÿWLÿXRJÿ^Pÿÿ?e@9ÿfgÿ|lBB?@ÿ
                                    3.4ÿ567<        lB9ElFÿ:Fÿf@kledÿ:dÿh@el>?w?>gÿv@9?lnÿxx|jÿ3lB9ElFnÿ|lBB?@<
  )*+,4+.),/                                        3sF>@B@9qÿ)*+,4+.),/<
                                   ÿ11ÿ            u>l>@E@F>ÿYR]ÿJVJ\YKNWRÿWLÿN[KVÿb`ÿK[JÿRNWRÿRKNKNJVÿ3B@el>@9
                                    34ÿ567<         9:;CE@F>37<.4<ÿd?e@9ÿfgÿv@e?77lÿujÿ::97ÿ:Fÿf@kledÿ:dÿD?B@;>:B7ÿC?e9
                                                    :dÿpE@B?;lnÿoF;jnÿD?B@;>:B7ÿC?e9ÿ:dÿpE@B?;lnÿoF;jtAB:9C;@BÿA@F7?:FÿlF9
                                                    @le>kÿAelF7nÿv:>?:FÿA?;>CB@ÿoF9C7>BgÿA@F7?:FÿlF9ÿ@le>kÿAelF7nÿu;B@@F
                                                    p;>:B7ÿC?e9ÿtÿpE@B?;lFÿ@9@Bl>?:Fÿ:dÿ@e@w?7?:FÿlF9ÿhl9?:ÿpB>?7>7n
                                                    u;B@@Fÿp;>:B7ÿC?e9tAB:9C;@B7ÿA@F7?:Fÿÿ@le>kÿAelF7nÿB?>@B7ÿC?e9
                                                    A@F7?:FÿAelFÿlF9ÿoF9C7>Bgÿ@le>kÿCF9nÿB?>@B7ÿC?e9ÿ:dÿpE@B?;lnÿ@7>n
  )*+,*+.),/                                        oF;jjÿ3::97nÿv@e?77l<ÿ3sF>@B@9qÿ)*+,*+.),/<
                                   ÿ12)ÿ            yB9@Bÿ7?6F@9ÿ:Fÿ*+,/+.),/ÿlC>k:B??F6ÿ@E5e:gE@F>ÿlF9ÿB@>@F>?:Fÿ:d
                                    31ÿ567<         ?eez?@ÿlBBÿÿleel6k@BÿxxAÿl7ÿ75@;?leÿe?>?6l>?:Fÿ;:CF7@eÿ>:ÿD@f>:B7
                                                    FCF;ÿ5B:ÿ>CF;ÿ>:ÿiCegÿ4nÿ.),/ÿ3h@el>@9ÿD:;ÿrÿ1..<jÿ3D@A?@B:eln
  )*+,/+.),/                                        il;{C@e?F@<ÿ3sF>@B@9qÿ)*+,/+.),/<
                                   ÿ12,ÿ            pdd?9lw?>ÿ:dÿu@Bw?;@ÿaXccMJJRKYMÿWLÿIXRWÿY\]WVWÿJY\]NRÿIWKNSJ
                                    3,ÿ56<          WLÿNMNRÿWLÿO[NbNKÿÿKWÿ_\WcWVJ]ÿZ[N\]ÿQRKJ\Nÿ\N]Jÿ\]J\ÿQ
                                                    XK[W\NNRÿK[JÿJbKW\VÿKWÿÿbKYNRÿ_WVK^_JKNKNWRÿNRYRSNRÿYR]ÿ
                                                    VJÿYV[ÿWMMYKJ\YMÿQQÿ\YRKNRÿ]J¡XYKJÿ_\WKJSKNWRÿQQQÿW]NL̀NR
                                                    K[JÿXKWYKNSÿaKY`ÿQ¢ÿaS[J]XMNRÿYÿNRYMÿ£JY\NRÿYR]ÿ¢ÿ\YRKNR
                                                    JMYKJ]ÿJMNJLÿ3B@el>@9ÿ9:;CE@F>37<./,<ÿd?e@9ÿfgÿAB?E@ÿ|e@Bznÿxx|j
  )*+,/+.),/                                        3u>@@e@nÿ¤@F¥lE?F<ÿ3sF>@B@9qÿ)*+,/+.),/<
                                   ÿ12.ÿ            x@>>@Bÿ3B@el>@9ÿ9:;CE@F>37<**nÿ.,1<ÿ?e@9ÿfgÿpelFÿhjÿe?;zElFÿ:Fÿf@kled
  )*+,/+.),/                        3ÿ567<         :dÿ¦e>Blÿ:e9?F67ÿxx|jÿ3e?;zElFnÿpelF<ÿ3sF>@B@9qÿ)*+,/+.),/<
                                   ÿ121ÿ            pdd?9lw?>ÿ:dÿu@Bw?;@ÿaXccMJJRKYMÿWLÿVN\ÿTÿV[\YLÿJY\]NRÿIWKNSJ
                                    3ÿ567<         WLÿaYMJÿWKNWRÿYR]ÿccW\KXRNK̀ÿKWÿaXbNKÿYÿWcJKNRÿLLJ\ÿd?e@9ÿfg
  )*+,/+.),/                                        AB?E@ÿ|e@Bznÿxx|j3u>@@e@nÿ¤@F¥lE?F<ÿ3sF>@B@9qÿ)*+,/+.),/<
                                   ÿ122ÿ            u>l>@E@F>ÿGÿJVJ\YKNWRÿWLÿN[KVÿ3B@el>@9ÿ9:;CE@F>37<**<ÿd?e@9ÿfg
                                    3-ÿ567<         |kB?7>:5k@Bÿijÿ|elBzÿ:Fÿf@kledÿ:dÿh}pÿ?eEÿ?FlF;?F6nÿxx|jÿ3|elBzn
  )*+,/+.),/                                        |kB?7>:5k@B<ÿ3sF>@B@9qÿ)*+,/+.),/<
  )*+,/+.),/                       ÿ12-ÿ            pdd?9lw?>ÿ:dÿu@Bw?;@ÿWLÿ§Y]JJÿ[YcYRNJÿJY\]NRÿIWKNSJÿWL
                                    3,2ÿ567<        ]ẄX\RJRKÿWLÿ£JY\NRÿWRÿJbKW\VUÿWKNWRÿLW\ÿRK\`ÿWLÿQRKJ\NÿYR]
                                                    NRYMÿ\]J\VÿQÿXK[W\NNRÿK[JÿJbKW\VÿKWÿÿbKYNRÿ_WVK^_JKNKNWR
117 11! "#$55524%5&''2'2'5(5(45                                                        %51543
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                                                           40-5   7ÿ09/30/21
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                                                     )*+,+-*+.ÿ,+0ÿ123ÿ456ÿ7,58ÿ79::,;6<,:=ÿ1>>3ÿ?<,+;*+.ÿ@06AB,;6
                                                           #:2268
                                                     C<9;6-;*9+=ÿ1>>>3ÿD90*EF*+.ÿ;86ÿ@B;9G,;*-ÿH;,F=ÿ1>I3ÿH-860B:*+.ÿ,ÿ)*+,:
                                                     J6,<*+.=ÿ,+0ÿ1I3ÿ?<,+;*+.ÿK6:,;60ÿK6:*6EÿMNOPQROSÿSTUVWOXRMYZ[[\Zÿ]^POS
                                                     _`ÿaSQWÿbcÿaSPONÿTXÿ_OdQPeÿTeÿfN^WOÿgPONhiÿjjgcÿMaSPONiÿaSQWZ
                                                     MkXRONOSlÿmno\poqm\pZ
                                   ÿ[stÿ             wTR^UOÿTeÿfNOYOXRWOXRÿ9EÿC<9x9560ÿ79+E*06+;*,:*;FÿH;*xB:,;*9+ÿ,+0
                                    MqmÿuvYZ         C<9;6-;*y6ÿz<06<ÿe^POSÿ_`ÿaXRTX^Tÿ{QXO|ÿ}NcÿTXÿ_OdQPeÿTeÿ~OPQR^^R̀
                                                     bOS^Qiÿjjgcÿ^RdÿuNOYOXRWOXRÿRTÿ_OÿdOPSÿTXÿnoqsoqm\pÿQRÿ\qlmmÿfbÿQR
                                                     gTVNRNTTWÿt\nÿMbkZÿ_OUR^TXYÿSVOÿ_`ÿnoqsoqm\piÿM{QXO|iÿaXRTX^TZ
  mno\roqm\p                                         MkXRONOSlÿmno\roqm\pZ
                                   ÿ[snÿ             bTR^TXÿRTÿ}T^Xÿÿ9*+06<ÿzEÿ4:;<,IÿJ9:0*+.5ÿ7ÿ9ÿ6;9<5ÿD9;*9+
                                    MqÿuvYZ          CB<5B,+;ÿ9ÿÿ4H7ÿÿÿ@+0ÿÿ@+0ÿ)60ÿKÿ2,+<ÿCÿÿ)9<
                                                     +;<FÿzEÿ@+ÿz<06<ÿ@xx<9y*+.ÿ@55BGx;*9+ÿzEÿ6-B;9<Fÿ79+;<,-;5ÿ*;8
                                                     6;E:*ÿ>+-ÿMNOPQROSÿSTUVWOXRMYZq\[Zÿe^POSÿ_`ÿaSQWÿgNQ^vÿQNN^YÿTX
  mno\roqm\p                                         _OdQPeÿTeÿPRNQÿTPS^XvYÿjjgcÿMQNN^YiÿaSQWZÿMkXRONOSlÿmno\roqm\pZ
                                   ÿ[spÿ             bTR^TXÿRTÿauuNTOÿgTWuNTW^YOÿÿ6;9<5ÿD9;*9+ÿE9<ÿ+;<Fÿ9Eÿ,+ÿz<06<
                                    MpnÿuvYÿqÿSTUYZ @B;89<**+.ÿ;86ÿ6;9<5ÿ,+0ÿ76<;,*+ÿ9+6;9<ÿ@EE*:*,;65ÿ;9ÿ+;6<ÿ>+;9
                                                     H6;;:6G6+;ÿ@.<66G6+;ÿ*;8ÿ;86ÿzEE*-*,:ÿ79GG*;;66ÿ9Eÿ4+56-B<60
                                                     7<60*;9<5ÿ,+0ÿ4:;<,IÿJ9:0*+.5ÿ7ÿe^POSÿ_`ÿQX^OPÿ}cÿbUV^NOÿTX
                                                     _OdQPeÿTeÿ~OPQR^^R̀ÿbOS^QiÿjjgcÿMaRRQUdWOXRYlÿÿ\ÿk d^_^Rÿaÿ¡ÿfNTuTYOS
  mno\roqm\p                                         NSONZÿMbUV^NOiÿQX^OPZÿMkXRONOSlÿmno\roqm\pZ
                                   ÿ[srÿ             OUPQNQR^TXÿ9Eÿ79:*+ÿDÿ@0,G5ÿ*+ÿHBxx9<;ÿ9Eÿ6;9<5ÿD9;*9+ÿE9<ÿ+;<Fÿ9E
                                    MsÿuvYZ          ,+ÿz<06<ÿ@B;89<**+.ÿ;86ÿ6;9<5ÿ,+0ÿ76<;,*+ÿ9+6;9<ÿ@EE*:*,;65ÿ;9
                                                     +;6<ÿ>+;9ÿH6;;:6G6+;ÿ@.<66G6+;ÿ*;8ÿ;86ÿzEE*-*,:ÿ79GG*;;66ÿ9E
                                                     4+56-B<60ÿ7<60*;9<5ÿ,+0ÿ4:;<,IÿJ9:0*+.5ÿ7ÿMNOPQROSÿSTUVWOXRMYZ[spZ
                                                     e^POSÿ_`ÿQX^OPÿ}cÿbUV^NOÿTXÿ_OdQPeÿTeÿ~OPQR^^R̀ÿbOS^Qiÿjjgc
  mno\roqm\p                                         MbUV^NOiÿQX^OPZÿMkXRONOSlÿmno\roqm\pZ
                                   ÿ[¢mÿ             bTR^TXÿRTÿ£dTNROXÿ¤^WOÿÿ6;9<5¥ÿD9;*9+ÿE9<ÿ,+ÿz<06<ÿH89<;6+*+.ÿ*G6
                                    MqtÿuvYZ         *;8ÿK65x6-;ÿ;9ÿ;86ÿ6;9<5ÿD9;*9+ÿE9<ÿ+;<Fÿ9Eÿ,+ÿz<06<ÿ@B;89<**+.
                                                     ;86ÿ6;9<5ÿ,+0ÿ76<;,*+ÿ9+6;9<ÿ@EE*:*,;65ÿ;9ÿ+;6<ÿ>+;9ÿH6;;:6G6+;
                                                     @.<66G6+;ÿ*;8ÿ;86ÿzEE*-*,:ÿ79GG*;;66ÿ9Eÿ4+56-B<60ÿ7<60*;9<5ÿ,+0
                                                     4:;<,IÿJ9:0*+.5ÿ7ÿMNOPQROSÿSTUVWOXRMYZ[sriÿ[spZÿe^POSÿ_`ÿQX^OPÿ}c
                                                     bUV^NOÿTXÿ_OdQPeÿTeÿ~OPQR^^R̀ÿbOS^QiÿjjgcÿMbUV^NOiÿQX^OPZ
  mno\roqm\p                                         MkXRONOSlÿmno\roqm\pZ
                                   ÿ[¢\ÿ             aee^SQ^RÿTeÿ£ON^UOÿ9EÿB+9ÿ7,<0959ÿK6.,<0*+.ÿ79<x9<,;6ÿD9+;8:F
                                    M\mÿuvYZ         zx6<,;*+.ÿK6x9<;ÿE9<ÿ;86ÿC6<*90ÿE<9GÿD,Fÿÿ¦§ÿ;8<9B.8ÿD,Fÿÿ¦§
                                                     ,+0ÿ79<x9<,;6ÿD9+;8:Fÿzx6<,;*+.ÿK6x9<;ÿE9<ÿ;86ÿC6<*90ÿE<9GÿB+6ÿ
                                                     ¦§ÿ;8<9B.8ÿB+6ÿÿ¦§ÿMNOPQROSÿSTUVWOXRMYZ[[piÿ[[nZÿ]^POSÿ_`
                                                     aSQWÿbcÿaSPONÿTXÿ_OdQPeÿTeÿfN^WOÿgPONhiÿjjgcÿMaSPONiÿaSQWZÿMkXRONOSl
  mno\roqm\p                                         mno\roqm\pZ
                                   ÿ[¢qÿ             wTR^UOÿTeÿfNTuTYOSÿNSONÿ@G6+0*+.ÿC6<;*+6+;ÿ,;65ÿ,+0ÿ6,0:*+65ÿH6;
                                    MqmÿuvYZ         )9<;8ÿ*+ÿ;86ÿ1@3ÿH,:6ÿH-860B:*+.ÿz<06<ÿ,+0ÿ123ÿK6:,;60ÿ2*00*+.
                                                     C<9-60B<65ÿMNOPQROSÿSTUVWOXRMYZ[msZÿe^POSÿ_`ÿQX^OPÿ}cÿbUV^NOÿTX
                                                     _OdQPeÿTeÿ~OPQR^^R̀ÿbOS^QiÿjjgcÿMbUV^NOiÿQX^OPZÿMkXRONOSl
  mnoqmoqm\p                                         mnoqmoqm\pZ
                                   ÿ[¢[ÿ             wTR^UOÿTeÿauuOQNQXUOÿe^POSÿ_`ÿ~TXQPSÿbcÿ¤VUhONÿTXÿ_OdQPeÿTeÿ£^WTX
  mnoqmoqm\p                        M[ÿuvYZ          fNTuONR̀ÿNTVuiÿjcfccÿM¤VUhONiÿ~TXQPSZÿMkXRONOSlÿmnoqmoqm\pZ
  mnoqmoqm\p                       ÿ[¢sÿ             NSONÿY^vXOSÿTXÿnoqmoqm\pÿYdTNROX^XvÿR^WOÿ^RdÿNOYuOURÿRTÿRdOÿO_RTNY¨
117 11! "#$55524%5&''2'2'5(5(45                                                     %21543
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                                    )*ÿ,-./               012314ÿ5627183934-ÿ27:ÿ;:<218.ÿ54;ÿ=:82534ÿ414>;:<218ÿ5??3@352:.ÿ21ÿ:42:8
                                                           #:2269
                                                          3421ÿ.:22@:0:42ÿ5-8::0:42ÿA327ÿ27:ÿB??3=35@ÿC100322::ÿ1?ÿD4.:=68:;
                                                          C8:;3218.ÿ54;ÿD@285EÿF1@;34-.ÿGGCÿ)8:@52:;ÿ;1=60:42)./HIJKÿHLM/NÿO327
                                                          7:5834-ÿ21ÿ<:ÿ7:@;ÿ14ÿPQHRQ*MRJÿ52ÿM*SMMÿTUÿ52ÿC16828110ÿVRPÿ)UWO/N
                                                          )X:T3:81@5KÿY5=Z6:@34:/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHLLÿ                  [123=:ÿ1?ÿ\-:4;5ÿ)8:@52:;ÿ;1=60:42)./*]LKÿH*MKÿ*RHKÿ*V]Kÿ*PPKÿHM*KÿRP/
                                    )Jÿ,-./               ?3@:;ÿ<^ÿC5883:ÿ_ÿF58;054ÿ14ÿ<:75@?ÿ1?ÿ̀:@523E32^ÿU:;35KÿGGCNÿA327
                                                          7:5834-ÿ21ÿ<:ÿ7:@;ÿ14ÿPQ*IQ*MRJÿ52ÿM*SMMÿTUÿ52ÿC16828110ÿVRPÿ)UWO/
  MPQ*MQ*MRJ                                              )F58;054KÿC5883:/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHLVÿ                  B8;:8ÿ.3-4:;ÿ14ÿPQ*MQ*MRJÿ50:4;34-ÿ,:8234:42ÿ;52:.ÿ54;ÿ;:5;@34:.ÿ.:2
                                    )RJÿ,-./              ?1827ÿ34ÿ27:ÿ.5@:ÿ.=7:;6@34-ÿ18;:8ÿ54;ÿ8:@52:;ÿ<3;ÿ,81=:;68:.ÿ)8:@52:;
                                                          ;1=60:42)./PPKÿHMI/Nÿa5@:ÿ7:5834-ÿ21ÿ<:ÿ7:@;ÿ14ÿJQHQ*MRJÿ52ÿMISMMÿTUÿ52
  MPQ*MQ*MRJ                                              C16828110ÿVRPÿ)UWO/Nÿ)X:T3:81@5KÿY5=Z6:@34:/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHLPÿ                  [123=:ÿ1?ÿT81,1.:;ÿB8;:8ÿcÿefghijÿfkÿlhmhnoÿfkÿpqfrfsjtÿlfuqgvÿwngjqhx
                                    )*Mÿ,-.bÿHÿ;1=./      yqhtojÿzqtjq{ÿ|w}ÿ~ugvfqhhnoÿgvjÿjgfqsÿgfÿ|~}ÿzghnÿpfsgpjghghfn
                                                          lhnnihnoÿntÿ|y}ÿsjÿsvÿfmmgjqmÿ|ww}ÿqnghnoÿ~tjugj
                                                          pqfgjighfnÿ|www}ÿfthkhnoÿgvjÿ~ugfxghiÿgÿ|w}ÿivjtumhnoÿÿlhnm
                                                          jqhnoÿntÿ|}ÿqnghnoÿjmgjtÿjmhjkÿ)8:@52:;ÿ;1=60:42)./RP/ÿ?3@:;
                                                          <^ÿC5883:ÿ_ÿF58;054ÿ14ÿ<:75@?ÿ1?ÿ̀:@523E32^ÿU:;35KÿGGCNÿ)\225=70:42.S
  MPQ*MQ*MRJ                                              ÿRÿW73<32ÿ\ÿÿ*ÿW73<32ÿ/)F58;054KÿC5883:/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHLJÿ                  B<:=2314ÿzkÿhnjthoxÿhohgmÿlunthnoÿwÿ ÿ~ntÿ~iijssÿhohgm
                                    )RMÿ,-.bÿ*ÿ;1=./        hnjxÿpvsjÿÿfqrÿfÿjgfqsÿpqfrfsjtÿuqjÿ~xfungsÿ?3@:;ÿ<^
                                                          Y50:.ÿaNÿC588ÿ14ÿ<:75@?ÿ1?ÿC34:;3-0ÿC18,NNÿA327ÿ7:5834-ÿ21ÿ<:ÿ7:@;ÿ14
                                                          PQ*LQ*MRJÿ52ÿRRSMMÿ\Uÿ52ÿC16828110ÿVRPÿ)UWO/ÿB<:=2314.ÿ;6:ÿ<^
                                                          PQ*HQ*MRJKÿ)\225=70:42.SÿÿRÿC:823?3=52:ÿ1?ÿa:8E3=:/ÿ)C588KÿY50:./
  MPQ*MQ*MRJ                                              )W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHL]ÿ                  \,,@3=52314ÿ?18ÿT81ÿF5=ÿ_3=:ÿ\;03..314ÿfkÿfjÿuqÿ?3@:;ÿ<^ÿU3=75:@ÿN
                                    )*ÿ,-.bÿ*ÿ;1=./       122?83:;ÿ14ÿ<:75@?ÿ1?ÿ@5=O732:ÿGGCNÿ)\225=70:42.SÿÿRÿB8;:8/
  MPQ*MQ*MRJ                                              )122?83:;KÿU3=75:@/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿÿ                     `:=:3,2ÿ1?ÿ\,,@3=52314ÿ?18ÿT81ÿF5=ÿ_3=:ÿ\;03..314)RJ>RRHLJ>0:A/
                                                          012314KR**ÿ)ÿ*MMNMM/ÿ3@34-ÿ::Nÿ̀:=:3,2ÿ460<:8ÿR*VJHVRPNÿ::
  MPQ*MQ*MRJ                                              501642ÿ*MMNMMNÿ)`:SÿX1=ÿÿHL]/ÿ)DNaNÿ8:5.68^/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHVMÿ                  16827ÿ42:830ÿ83;-:ÿB8;:8ÿ.3-4:;ÿ14ÿPQ*MQ*MRJÿ5627183934-ÿX:<218.ÿ21
                                    )RMÿ,-.bÿ*ÿ;1=./      1<2534ÿ,1.2>,:232314ÿ?3454=34-ÿ54;ÿ6.:ÿ=5.7ÿ=1@@52:85@bÿ-854234-ÿ5;:Z652:
                                                          ,812:=2314¡ÿ01;3?^34-ÿ27:ÿ56210523=ÿ.25^bÿ.=7:;6@34-ÿ5ÿ?345@ÿ7:5834-bÿ54;
                                                          -854234-ÿ8:@52:;ÿ8:@3:?ÿ)8:@52:;ÿ;1=60:42)./*JPKÿ*IVKÿ*RPKÿRPKÿLV/Nÿ345@
                                                          7:5834-ÿ21ÿ<:ÿ7:@;ÿ14ÿPQHRQ*MRJÿ52ÿ*SMMÿTUÿ52ÿC16828110ÿVRPÿ)UWO/N
                                                          )X:T3:81@5KÿY5=Z6:@34:/ÿ¢£¤¥¦§ÿ©¦ª§ÿ«¦¬­®¯°ÿ©®±¦ÿ²£³®´®¦³ÿ£¯
  MPQ*MQ*MRJ                                              µ¶·¸¶·¹º»ÿ¼½¾¿ÀÁÿ½­¦¯§Âÿ)W42:8:;SÿMPQ*MQ*MRJ/
                                   ÿHVRÿ                  B8;:8ÿ.3-4:;ÿ14ÿPQ*MQ*MRJÿ5;032234-ÿ̀1^:ÿÃ68KÿW.ZNÿ21ÿ,85=23=:ÿ,81ÿ75=
                                    )Rÿ,-/                E3=:ÿ34ÿ273.ÿC1682ÿ)`:@52:;ÿX1=ÿÿHL]/Nÿ)X:T3:81@5KÿY5=Z6:@34:/ÿ)W42:8:;S
  MPQ*MQ*MRJ                                              MPQ*MQ*MRJ/
                                   ÿHV*ÿ                  a252:0:42ÿcÿjsjqÄsghfnÿfkÿhovgsÿjoqthnoÿÅÅÆÿguthfsÿwnisÿuqj
                                    )Vÿ,-./               ~xfungÿ)8:@52:;ÿ;1=60:42)./HR]/ÿ?3@:;ÿ<^ÿF58@:^ÿYNÿ1@;.2:34ÿ14ÿ<:75@?
  MPQ*MQ*MRJ                                              1?ÿOOWÿa26;31.Kÿ4=NNÿ)1@;.2:34KÿF58@:^/ÿ)W42:8:;SÿMPQ*MQ*MRJ/
  MPQ*MQ*MRJ                       ÿHVHÿ                  a252:0:42ÿfkÿjsjqÄghfnÿfkÿhovgsÿfkÿw~ÿ ÿÇhgvÿjsrjigÿgfÿmj
                                    )Iÿ,-./               fghfnÿlhmjtÿÿgvjÿjgfqsÿ?3@:;ÿ<^ÿC581@ÿC71Aÿ14ÿ<:75@?ÿ1?ÿ\ UK
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                                                          ))*+ÿ-*./01ÿ*23/45ÿ-678939:;ÿ<=>?<>?<@A5
                                                           #:2270

                                   ÿBCDÿ                  JKL9I8M/7ÿ8/ÿN/8M/7ÿOÿQRSRTUVÿWXYUZTR[\ÿ]\Vÿ^U_U`a]TR[\ÿ[bÿ^RcdT_ÿ[b
                                    -DCÿEFGHÿDÿ:/IG5      e`f_T]gÿhZ`UU\_ÿiUVR]ÿj\ZkÿT[ÿlUXT[`_mÿi[TR[\ÿT[ÿnoTd[`RpUÿ]\Vÿnqq`[aU
                                                          TdUÿh]gUÿ[bÿhoX_T]\TR]ggfÿnggÿ[bÿlUXT[`_mÿn__UT_ÿ-394289:ÿ:/Irs978-G5==5
                                                          tM49:ÿKuÿ63MIÿv+ÿwMG9ÿ/7ÿK9.24tÿ/tÿ*3uG824ÿxI3997GÿN9:M2ÿy7I+1ÿN2Izr23M9
                                                          {xÿ|32:M7Fÿ))*+ÿ-}882I.s978G;ÿ~ÿ@ÿ6.MKM8ÿ}ÿÿ9u/7:ÿ8.9ÿ)MF.8Gÿ~ÿ?
                                                          6.MKM8ÿÿÿw/s27ÿM7ÿ42Iÿ?ÿ~ÿBÿ6.MKM8ÿ*ÿÿ)223rGÿ6tt9I85ÿ-wMG91
  <=>?<>?<@A                                              63MI5ÿ-678939:;ÿ<=>?<>?<@A5
                                   ÿBCÿ                  }s97:9:ÿ/8MI9ÿ/tÿ}F97:2ÿOÿ[TRZUÿ[bÿnSU\VUVÿncU\V]ÿ[bÿi]TTU`_
                                    -AÿEFG5               hZdUVogU_ÿb[`ÿU]`R\cÿ[\ÿogfÿÿÿ]Tÿÿiÿÿ-394289:
                                                          :/Irs978-G5?1ÿB?<1ÿB1ÿ?@B1ÿ?C1ÿ?==1ÿB<?1ÿ@=5ÿM49:ÿKuÿ*233M9ÿ
                                                          23:s27ÿ/7ÿK9.24tÿ/tÿ9428MM8uÿN9:M21ÿ))*+ÿ0M8.ÿ.923M7Fÿ8/ÿK9ÿ.94:ÿ/7
                                                          =>?D>?<@Aÿ28ÿ<?;<<ÿNÿ28ÿ*/r383//sÿC@=ÿ-N6w5ÿ-23:s271ÿ*233M95
  <=>?<>?<@A                                              -678939:;ÿ<=>?<>?<@A5
                                   ÿBCCÿ                  }ttM:2M8ÿ/tÿx93MI9ÿ-394289:ÿ:/Irs978-G5BD=5ÿM49:ÿKuÿ}:2sÿ*32MF
                                    -@BÿEFG5              233MGÿ/7ÿK9.24tÿ/tÿ{4832ÿ/4:M7FGÿ))*+ÿ-233MG1ÿ}:2s5ÿ-678939:;
  <=>?B>?<@A                                              <=>?B>?<@A5
                                   ÿBC=ÿ                  JKL9I8M/7ÿ8/ÿN/8M/7ÿWXYUZTR[\ÿ[bÿUaR\ÿe[_T\U`ÿg]ZdRTUÿQQeÿ]\V
                                    -@<ÿEFGHÿ?ÿ:/IG5      RcÿRgS_ÿj\ZkÿT[nÿ`[q[_UVÿeo`UÿnS[o\Tÿ]\Vÿÿn__oSqTR[\ÿ[b
                                                          ¡UZoT[`fÿe[\T̀]ZT_¢ÿ]\Vÿ^U_U`a]TR[\ÿ[bÿ^RcdT_ÿe[\ZU`\R\cÿTdUÿi[TR[\
                                                          RZTo`Uÿg]Zÿ[`ÿdRTUÿ-394289:ÿ:/Irs978-G5==5ÿtM49:ÿKuÿ/u9ÿ£r3ÿ/7
                                                          K9.24tÿ/tÿ42Iw.M89ÿ))*+ÿ-}882I.s978G;ÿ~ÿ@ÿ*938MtMI289ÿ/tÿx93MI95
  <=>?B>?<@A                                              -£r31ÿ/u95ÿ-678939:;ÿ<=>?B>?<@A5
                                   ÿBCAÿ                  *938MtMI289ÿ/tÿ/ÿJKL9I8M/7ÿr3Gr278ÿ8/ÿ)ÿ<=?ÿT[ÿi[TR[\ÿ[bÿdU
                                    -ÿEFGHÿ?ÿ:/IG5       WbbRZR]gÿe[SSRTTUUÿ[bÿ¤\_UZo`UVÿe`UVRT[`_ÿb[`ÿ]\ÿW`VU`ÿjÿeg]`RbfR\c
                                                          TdUÿ^U¥oR̀USU\TÿT[ÿ`[aRVUÿnZZU__ÿT[ÿe[\bRVU\TR]gÿ[`ÿ`RaRgUcUV
                                                          j\b[`S]TR[\ÿ]\Vÿnqq`[aR\cÿ]ÿ`[T[Z[gÿ^Uc]`VR\cÿe`UVRT[`ÿ^U¥oU_T_ÿb[`
                                                          j\b[`S]TR[\ÿ]\VÿjjÿnoTd[`RpR\cÿTdUÿe[SSRTTUUÿT[ÿ¤TRgRpUÿ`RSUÿegU`
                                                          QQeÿ]_ÿj\b[`S]TR[\ÿncU\TÿR\ÿe[\\UZTR[\ÿdU`U¦RTdÿ-394289:
                                                          :/Irs978-G5B?<5ÿM49:ÿKuÿNM7u2/ÿw27Fÿ/7ÿK9.24tÿ/tÿJy*y})
                                                          *JNNy||66ÿJÿ{ x6*{6§ÿ*6§y|Jx+ÿ-}882I.s978G;ÿ~ÿ@
  <=>?B>?<@A                                              6.MKM8ÿ}5-w27F1ÿNM7u2/5ÿ-678939:;ÿ<=>?B>?<@A5
                                   ÿBCÿ                  *938MtMI289ÿ/tÿ/ÿJKL9I8M/7ÿr3Gr278ÿ8/ÿ)ÿ<=?ÿT[ÿnqqgRZ]TR[\ÿ[bÿdU
                                    -@@ÿEFGHÿBÿ:/IG5      WbbRZR]gÿe[SSRTTUUÿ[bÿ¤\_UZo`UVÿe`UVRT[`_ÿb[`ÿ]\ÿW`VU`ÿnqq`[aR\cÿTdU
                                                          Sqg[fSU\Tÿ]\Vÿ^UTU\TR[\ÿ[bÿ^[XR\_ÿ]qg]\ÿQQÿ]_ÿe[o\_Ugÿo\Zÿ`[
                                                          o\ZÿT[ÿi]fÿÿÿ-394289:ÿ:/Irs978-G5?==5ÿM49:ÿKuÿNM7u2/ÿw27F
                                                          /7ÿK9.24tÿ/tÿJy*y})ÿ*JNNy||66ÿJÿ{ x6*{6§
                                                          *6§y|Jx+ÿ-}882I.s978G;ÿ~ÿ@ÿ6.MKM8ÿ}ÿ~ÿ?ÿ6.MKM8ÿ5-w27F1
  <=>?B>?<@A                                              NM7u2/5ÿ-678939:;ÿ<=>?B>?<@A5
                                   ÿB=<ÿ                  *938MtMI289ÿ/tÿ/ÿJKL9I8M/7ÿr3Gr278ÿ8/ÿ)ÿ<=?ÿT[ÿnqqgRZ]TR[\ÿ[bÿdU
                                    -@ÿEFGHÿBÿ:/IG5      WbbRZR]gÿe[SSRTTUUÿ[bÿ¤\_UZo`UVÿe`UVRT[`_ÿb[`ÿ]\ÿW`VU`ÿnqq`[aR\cÿTdU
                                                          Sqg[fSU\Tÿ]\Vÿ^UTU\TR[\ÿ[bÿlobbÿ̈ÿdUgq_ÿhUZo`RTRU_ÿQQeÿ]_
                                                            R\]\ZR]gÿnVa_R[`ÿo\Zÿ`[ÿo\ZÿT[ÿi]fÿ©ÿÿ-394289:
                                                          :/Irs978-G5B<?5ÿM49:ÿKuÿNM7u2/ÿw27Fÿ/7ÿK9.24tÿ/tÿJy*y})
                                                          *JNNy||66ÿJÿ{ x6*{6§ÿ*6§y|Jx+ÿ-}882I.s978G;ÿ~ÿ@
  <=>?B>?<@A                                              6.MKM8ÿ}ÿ~ÿ?ÿ6.MKM8ÿ5-w27F1ÿNM7u2/5ÿ-678939:;ÿ<=>?B>?<@A5
  <=>?B>?<@A                       ÿB=@ÿ                  )98893ÿOÿ[TRZUÿ[bÿ^UaR_UVÿ¡dRXRTÿnÿT[ÿi[TR[\ÿb[`ÿ\T̀fÿ[bÿ]\ÿW`VU`
                                    -BBÿEFGHÿBÿ:/IG5      noTd[`RpR\cÿ^iQÿWZogo_ÿRgS_ÿQQeÿT[ÿnÿ\TU`ÿj\T[ÿhUTTgUSU\T
                                                          nc`UUSU\TÿRTdÿÿhToVR[_ÿj\Zk¢ÿ]\Vÿÿ\TU`ÿj\T[ÿnSU\VSU\Tÿ]\V
                                                          n__oSUÿn__[ZR]TUVÿnc`UUSU\Tÿ-394289:ÿ:/Irs978-G5?C5ÿM49:ÿKuÿ§27M94
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                                                          *+ÿ-./0123ÿ45ÿ63789:ÿ4:ÿ;398<1=1<>ÿ-3?18@ÿAAB+ÿC1<7ÿ738215Dÿ<4ÿ63ÿ739?
                                                           #:2271
                                                          45ÿEFGHFGIJKÿ8<ÿIGLIIÿM-ÿ8<ÿB402<244NÿOJEÿP-QRSÿPT<<8.7N35<ULÿVÿJ
                                                          QW7161<ÿTÿVÿGÿQW7161<ÿXSP-./0123@ÿY85139SÿPQ5<323?LÿIEFGZFGIJKS
                                   ÿZEGÿ                  T::1?8=1<ÿ4:ÿ\32=1.3ÿP2398<3?ÿ?4.0N35<PUSZOHSÿ]193?ÿ6>ÿQ21.ÿ*+ÿR1U3ÿ45
                                    PZÿ[DUS               63789:ÿ4:ÿB2>U<89ÿ\.2335Uÿ-3?18ÿ^5.+@ÿ-8._08213ÿ̀\ÿa28?15DÿAAB+
  IEFGHFGIJK                                              PR1U3@ÿQ21.SÿPQ5<323?LÿIEFGHFGIJKS
                                   ÿZEZÿ                  c2?32ÿU1D53?ÿ45ÿEFGHFGIJKÿ.9821:>15Dÿ<73ÿ23_0123N35<ÿ<4ÿ[24=1?3ÿ8..3UU
                                    Pbÿ[DUS               <4ÿ.45:1?35<189ÿ42ÿ[21=193D3?ÿ15:42N8<145ÿ85?ÿ8[[24=15Dÿ8ÿ[24<4.49
                                                          23D82?15Dÿ.23?1<42ÿ23_03U<Uÿ:42ÿ15:42N8<145@ÿ85?ÿ80<7421d15Dÿ<73
                                                          .4NN1<<33ÿ<4ÿ0<191d3ÿM21N3ÿB932e@ÿAABÿ8Uÿ15:42N8<145ÿ8D35<ÿ15
                                                          .4553.<145ÿ<7323C1<7ÿP;398<3?ÿY4.ÿVÿZGIS+ÿPY3M132498@ÿ*8._039153S
  IEFGHFGIJK                                              PQ5<323?LÿIEFGHFGIJKS
                                   ÿZEHÿ                  T::1?8=1<ÿ4:ÿ\32=1.3ÿfgÿijkfÿlmnofpfÿqrsmnotksÿurvwfnpxÿyfwtfkÿgfn
                                    PJIÿ[DUS              zkwn{ÿfgÿmkÿ|nornÿ}jw~fnttksÿw~rÿurvwfnpÿmkoÿlrnwmtkÿifkurvwfn
                                                          }ggttmwrpÿwfÿzkwrnÿtkwfÿrwwrrkwÿ}snrrrkwÿtw~ÿw~rÿ|ggttmÿlftwwrr
                                                          fgÿkprjnroÿlnrotwfnpÿmkoÿwnmÿfotkspÿlÿurmnmwtfkÿfgÿlftk
                                                          yÿ}ompÿtkÿjfnwÿfgÿurvwfnpxÿyfwtfkÿgfnÿzkwn{ÿfgÿmkÿ|norn
                                                          }jw~fnttksÿw~rÿurvwfnpÿmkoÿlrnwmtkÿifkurvwfnÿ}ggttmwrpÿwfÿzkwrnÿtkwf
                                                          rwwrrkwÿ}snrrrkwÿtw~ÿw~rÿ|ggttmÿlftwwrrÿfgÿkprjnro
                                                          lnrotwfnpÿmkoÿwnmÿfotkspÿlÿurvwfnpxÿyfwtfkÿgfnÿmkÿ|norn
                                                          ~fnwrktksÿtrÿtw~ÿqrprwÿwfÿw~rÿurvwfnpxÿyfwtfkÿgfnÿzkwn{ÿfgÿmk
                                                          |nornÿ}jw~fnttksÿw~rÿurvwfnpÿmkoÿlrnwmtkÿifkurvwfnÿ}ggttmwrpÿwf
                                                          zkwrnÿtkwfÿrwwrrkwÿ}snrrrkwÿtw~ÿw~rÿ|ggttmÿlftwwrrÿfg
                                                          kprjnroÿlnrotwfnpÿmkoÿwnmÿfotkspÿlÿP2398<3?ÿ?4.0N35<PUSZH@
                                                          ZHK@ÿZbISÿ:193?ÿ6>ÿM21N3ÿB932e@ÿAAB+P\<3393@ÿX358N15SÿPQ5<323?L
  IEFGHFGIJK                                              IEFGHFGIJKS
                                   ÿZEbÿ                  T::1?8=1<ÿ4:ÿ\32=1.3ÿ|gÿijkfÿlmnofpfÿqrsmnotksÿi|lzÿ|ÿqzzu
                                    PKÿ[DUS               zÿ}ÿ|ÿy||iÿ|qÿziqÿ|ÿ}iÿ|quzqÿ}|qi
                                                          qyÿ|lÿyÿlÿ|ÿ}ÿzizqÿi|ÿzzyzi
                                                          }qzzyziÿÿzÿu|ÿilÿ}iuÿÿzizqÿi|
                                                          }yziuyziÿ}iuÿ}yzÿ}|l}zuÿ}qzzyziÿP2398<3?
                                                          ?4.0N35<PUSZEJSÿ:193?ÿ6>ÿM21N3ÿB932e@ÿAAB+P\<3393@ÿX358N15SÿPQ5<323?L
  IEFGHFGIJK                                              IEFGHFGIJKS
                                   ÿZEOÿ                  4<1.3ÿ4:ÿT[[38285.3ÿifwtrÿfgÿ}rmnmkrÿmkoÿqrjrpwÿgfnÿrntrÿfg
                                    PHÿ[DUS               ufjrkwpÿ:193?ÿ6>ÿ*853ÿ+ÿ\[215DC8<32ÿ45ÿ63789:ÿ4:ÿ̀51=32U89ÿ-0U1.
                                                          Q5<32[21U3U@ÿ8ÿ?1=1U145ÿ4:ÿ̀-/ÿ;3.42?15DU@ÿ^5.++ÿP\[215DC8<32@ÿ*853S
  IEFGHFGIJK                                              PQ5<323?LÿIEFGHFGIJKS
                                   ÿZEEÿ                  T::1?8=1<ÿ4:ÿ\32=1.3ÿfgÿijkfÿlmnofpfÿqrsmnotksÿifwtrÿfgÿ¡nrprkwrkw
                                    Pÿ[DUS               fgÿ¡nffproÿlfkgtorkwtmtw{ÿwtjmwtfkÿmkoÿ¡nfwrwtrÿ|nornÿP2398<3?
                                                          ?4.0N35<PUSZHOSÿ:193?ÿ6>ÿM21N3ÿB932e@ÿAAB+P\<3393@ÿX358N15SÿPQ5<323?L
  IEFGHFGIJK                                              IEFGHFGIJKS
                                   ÿZEKÿ                  TN35?3?ÿc[328<15Dÿ;3[42<ÿgfnÿw~rÿ¡rntfoÿym{ÿ¢¢£ÿ¤¥£¦ÿ]193?ÿ6>
                                    PGIÿ[DUS              B82213ÿ§ÿ̈82?N85ÿ45ÿ63789:ÿ4:ÿ;398<1=1<>ÿ-3?18@ÿAAB+ÿP¨82?N85@
  IEFGHFGIJK                                              B82213SÿPQ5<323?LÿIEFGHFGIJKS
                                   ÿZEÿ                  TN35?3?ÿc[328<15Dÿ;3[42<ÿgfnÿw~rÿ¡rntfoÿ©jkrÿ£¢¥ÿ¤¥£¦ÿ]193?ÿ6>
                                    PGIÿ[DUS              B82213ÿ§ÿ̈82?N85ÿ45ÿ63789:ÿ4:ÿ;398<1=1<>ÿ-3?18@ÿAAB+ÿP¨82?N85@
  IEFGHFGIJK                                              B82213SÿPQ5<323?LÿIEFGHFGIJKS
  IEFGbFGIJK                       ÿZKIÿ                  T::1?8=1<ÿ4:ÿ\32=1.3ÿjrrkwmÿfgÿijkfÿlmnofpfÿqrsmnotksÿifwtr
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                                    )*ÿ,-./         01ÿ345ÿ670809:;ÿ<99=>8?@0AÿBA;ÿ<99@CA>:A?ÿ01ÿDE:F=?07GÿH0A?7BF?9ÿBA;
                                                           #:2272
                                                    IA:E8@7:;ÿJ:B9:9ÿ@AÿH0AA:F?@0AÿK@?LÿMBN:ÿBA;ÿ3445ÿ<990F@B?:;ÿH=7:
                                                    H09?9ÿ)OPQRSPTÿTUVWXPYS)./Z[\/ÿ]^QPTÿ_`ÿaO^XPÿbQPOcdÿeebf)gRQUdÿhRi^T/
                                                    )jYSPOPTkÿlmnopnol[*/
                                   ÿZ*[ÿ            qUS^VPÿU]ÿrPRO^Y-ÿsÿt0?@F:ÿ01ÿMFL:;=N:;ÿu7@BNÿvB?:9ÿ)OPQRSPT
                                    )Zÿ,-./         TUVWXPYS)./Z[mdÿo[Z/ÿ]^QPTÿ_`ÿwUxYÿeUY-X^OPÿUYÿ_PxRQ]ÿU]ÿyPQRS^i^S̀
  lmnopnol[*                                        gPT^Rdÿeebfÿ)eUY-X^OPdÿwUxY/ÿ)jYSPOPTkÿlmnopnol[*/
                                   ÿZ*oÿ            z]]^TRi^SÿU]ÿ{POi^VPÿ01ÿ|B1B:NÿM?@??ÿ|:CB7;@ACÿv:}?079ÿ~0?@0Aÿ107ÿDA?7G
                                    )Z*[ÿ,-./       01ÿBAÿ7;:7ÿ<=?L07@@ACÿ?L:ÿv:}?079ÿBA;ÿH:7?B@Aÿt0Av:}?07ÿ<11@N@B?:9
                                                    ?0ÿDA?:7ÿ@A?0ÿM:??N:>:A?ÿ<C7::>:A?ÿK@?Lÿ?L:ÿ11@F@BNÿH0>>@??::ÿ01
                                                    IA9:F=7:;ÿH7:;@?079ÿBA;ÿIN?7Bÿ0N;@AC9ÿJJHÿv:}?079ÿ~0?@0Aÿ107ÿBA
                                                    7;:7ÿML07?:A@ACÿu@>:ÿK@?Lÿ|:98:F?ÿ?0ÿ?L:ÿv:}?079ÿ~0?@0Aÿ107ÿDA?7Gÿ01
                                                    BAÿ7;:7ÿ<=?L07@@ACÿ?L:ÿv:}?079ÿBA;ÿH:7?B@Aÿt0Av:}?07ÿ<11@N@B?:9ÿ?0
                                                    DA?:7ÿ@A?0ÿM:??N:>:A?ÿ<C7::>:A?ÿK@?Lÿ?L:ÿ11@F@BNÿH0>>@??::ÿ01
                                                    IA9:F=7:;ÿH7:;@?079ÿBA;ÿIN?7Bÿ0N;@AC9ÿJJHÿ7;:7ÿML07?:A@ACÿu@>:
                                                    K@?Lÿ|:98:F?ÿ?0ÿ?L:ÿv:}?079ÿ~0?@0Aÿ107ÿDA?7Gÿ01ÿBAÿ7;:7ÿ<=?L07@@ACÿ?L:
                                                    v:}?079ÿBA;ÿH:7?B@Aÿt0Av:}?07ÿ<11@N@B?:9ÿ?0ÿDA?:7ÿ@A?0ÿM:??N:>:A?
                                                    <C7::>:A?ÿK@?Lÿ?L:ÿ11@F@BNÿH0>>@??::ÿ01ÿIA9:F=7:;ÿH7:;@?079ÿBA;
                                                    IN?7Bÿ0N;@AC9ÿJJHÿt0?@F:ÿ01ÿ<C:A;Bÿ01ÿ~B??:79ÿMFL:;=N:;ÿ107
                                                    :B7@ACÿ0Aÿ=NGÿÿÿB?ÿÿ8>ÿ3Du5ÿBA;ÿ7;:7ÿ<>:A;@AC
                                                    6:7?@A:A?ÿvB?:9ÿBA;ÿv:B;N@A:9ÿ9:?ÿ107?Lÿ@Aÿ?L:ÿ3<5ÿMBN:ÿMFL:;=N@ACÿ7;:7
                                                    BA;ÿ35ÿ|:NB?:;ÿ@;ÿ670F:;=7:9ÿ0=7?Lÿ4A?:7@>ÿ7@;C:ÿ7;:7ÿ<>:A;:;
                                                    t0?@F:ÿ01ÿ<C:A;Bÿ<>:A;:;ÿH=7:ÿt0?@F:ÿBA;ÿ<>:A;:;ÿMBN:ÿ~0?@0A
                                                    t0?@F:ÿ)OPQRSPTÿTUVWXPYS)./ZppdÿZldÿZpdÿZpdÿZ*dÿZpdÿZpl/ÿ^QPTÿ_`
                                                    zTRXÿgfÿzTQPOÿUYÿ_PxRQ]ÿU]ÿaO^XPÿbQPOcdÿeebfÿ)zTQPOdÿzTRX/ÿ)jYSPOPTk
  lmnopnol[*                                        lmnopnol[*/
                                   ÿZ*Zÿ            OTPOÿ.^-YPTÿUYÿmnonol[*ÿRWSxUO^^Y-ÿhP_SUO.ÿSUkÿPYSPOÿ^YSUÿ.PSSQPXPYS
                                    )Zÿ,-./         R-OPPXPYSÿ^Sxÿjÿ{SWT^U.dÿYVfÿRYTÿPYSPOÿ^YSUÿRXPYTXPYSÿRYT
                                                    R..WXPÿR..UV^RSPTÿR-OPPXPYSÿ)yPQRSPTÿhUVÿÿo\/fÿ)hPa^POUQRd
  lmnonol[*                                        wRVWPQ^YP/ÿ)jYSPOPTkÿlmnonol[*/
                                   ÿZ*ÿ            bUY]^TPYS^RQ^S̀ÿ{S^,WQRS^UYÿRYTÿaOUSPVS^iPÿOTPOÿ.^-YPTÿUYÿmnonol[*
  lmnonol[*                        )[*ÿ,-./        )OPQRSPTÿTUVWXPYS)./Z/fÿ)hPa^POUQRdÿwRVWPQ^YP/ÿ)jYSPOPTkÿlmnonol[*/
                                   ÿZ*pÿ            z,,Q^VRS^UYÿ]UOÿaOUÿrRVÿ^VPÿzTX^..^UYÿ01ÿ:@?LÿHÿK:A9ÿ]^QPTÿ_`
                                    )Zÿ,-.ÿoÿTUV./ P^SxÿbfÿPY.ÿUYÿ_PxRQ]ÿU]ÿ{VUSSÿOUU,]dÿgRY`ÿy^iPO.ÿaOUTWVS^UY.d
                                                    YVfdÿgROcÿRxQ_PO-dÿgW.^VÿUOÿxPÿaPU,QPdÿYVfdÿeP.Q^Pÿh^UYdÿU`ÿU]
                                                    SxPÿPROdÿYVffÿ)zSSRVxXPYS.kÿÿ[ÿaOU,U.PTÿOTPO/ÿ)PY.dÿP^Sx/
  lmnonol[*                                        )jYSPOPTkÿlmnonol[*/
                                   ÿÿ               yPVP^,SÿU]ÿz,,Q^VRS^UYÿ]UOÿaOUÿrRVÿ^VPÿzTX^..^UY)[*¡[[Zp*¡XP/
                                                    ¢XUS^UYd[oo£ÿ)ÿollfll/ÿ^Q^Y-ÿPPfÿyPVP^,SÿYWX_POÿ[o\o[[[fÿPP
  lmnonol[*                                        RXUWYSÿollfllfÿ)yPkÿhUVÿÿZ*p/ÿ)¤f{fÿOPR.WO`/ÿ)jYSPOPTkÿlmnonol[*/
                                   ÿZ*ÿ            qUS^VPÿU]ÿz,,PRORYVPÿBA;ÿ|:¥=:9?ÿ107ÿM:7¦@F:9ÿ01ÿ6B8:79ÿ]^QPTÿ_`ÿP^Sx
                                    )Zÿ,-./         bfÿPY.ÿUYÿ_PxRQ]ÿU]ÿU`ÿU]ÿSxPÿPROdÿYVfdÿeP.Q^Pÿh^UYdÿ{VUSSÿOUU,]d
  lmnonol[*                                        gRY`ÿy^iPO.ÿaOUTWVS^UY.dÿYVffÿ)PY.dÿP^Sx/ÿ)jYSPOPTkÿlmnonol[*/
                                   ÿZ*mÿ            qUS^VPÿU]ÿz,,PRORYVPÿBA;ÿ|:¥=:9?ÿ107ÿM:7¦@F:9ÿ01ÿ6B8:79ÿ]^QPTÿ_`ÿP^Sx
                                    )Zÿ,-./         bfÿPY.ÿUYÿ_PxRQ]ÿU]ÿgW.^VÿUOÿxPÿaPU,QPdÿYVfdÿgROcÿRxQ_PO-f
  lmnonol[*                                        )PY.dÿP^Sx/ÿ)jYSPOPTkÿlmnonol[*/
  lmnonol[*                       ÿZ**ÿ            {SRSPXPYSÿ:7@1@:;ÿM?B?:>:A?ÿ01ÿ:AB}N:ÿJJ6ÿ6=79=BA?ÿ?0ÿ|=N:ÿ§ÿ01
                                    )ÿ,-./         ?L:ÿ:;:7BNÿ|=N:9ÿ01ÿBA¨7=8?FGÿ670F:;=7:ÿ107ÿH:7?B@AÿH0=A?:7ÿ6B7?@:9
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                                                    )*ÿ,*-)./0)1ÿ23)4ÿ)45ÿ657)*.1ÿ9:;<=ÿ>?ÿ@<:ABÿCDÿEF<GHÿIGÿ><BJ;9ÿI9ÿKI?
                                                           #:2273
                                                    I9ÿAB<ÿL<JMNÿOGPDNÿQ<H;:<ÿR:SIGNÿTPIAAÿ@MIIU9NÿVJG?ÿW:X<MHÿYMI=ZPA:IGHN
                                                    OGPDDÿ[EF<GHNÿ@<:AB\ÿ[]GA<M<=^ÿ_`abcab_de\
                                   ÿfghÿ            jMJGHPM:UAÿM<iJM=:Giÿk<JM:Giÿk<;=ÿIGÿ_`abfab_deÿJAÿb^_`ÿUlÿW]^
                                    [deÿUiH\        mUU;:PJA:IGÿI9ÿAB<ÿE99:P:J;ÿCIll:AA<<ÿI9ÿnGH<PZM<=ÿCM<=:AIMHÿJUUMIX:Gi
                                                    AB<ÿM<A<GA:IGÿJG=ÿ<lU;I?l<GAÿI9ÿRZ99ÿoÿYB<;UHÿT<PZM:A:<HNÿQQCÿJH
                                                    9:GJGP:J;ÿJ=X:HIMÿGZGPÿUMIÿAZGPÿAIÿVJ?ÿbgNÿb_depÿmUU;:PJA:IGÿI9ÿAB<
                                                    E99:P:J;ÿCIll:AA<<ÿI9ÿnGH<PZM<=ÿCM<=:AIMHÿJUUMIX:GiÿAB<ÿ<lU;I?l<GA
                                                    JG=ÿM<A<GA:IGÿI9ÿWI>:GHÿ@JU;JGÿQQYÿJHÿPIZGH<;ÿGZGPÿUMIÿAZGPÿAIÿVJ?ÿdeN
                                                    b_depÿVIA:IGÿI9ÿAB<ÿE99:P:J;ÿCIll:AA<<ÿI9ÿnGH<PZM<=ÿCM<=:AIMH
                                                    P;JM:9?:GiÿAB<ÿM<qZ:M<l<GAÿAIÿUMIX:=<ÿJPP<HHÿAIÿPIG9:=<GA:J;ÿIMÿUM:X:;<i<=
                                                    :G9IMlJA:IGÿJG=ÿJUUMIX:GiÿJÿUMIAIPI;ÿM<iJM=:GiÿPM<=:AIMÿM<qZ<HAHÿ9IM
                                                    :G9IMlJA:IGNÿJG=ÿJZABIM:r:GiÿAB<ÿPIll:AA<<ÿAIÿZA:;:r<ÿYM:l<ÿC;<MsNÿQQC
                                                    JHÿ:G9IMlJA:IGÿJi<GAÿ:GÿPIGG<PA:IGÿAB<M<F:ABÿVIA:IGÿJZABIM:r:GiÿWVQ
                                                    EPZ;ZHÿt:;lHNÿQQCÿAIÿ<GA<Mÿ:GAIÿH<AA;<l<GAÿJiM<<l<GAÿF:ABÿuu]
                                                    TAZ=:IHNÿOGPDNÿJG=ÿ<GA<Mÿ:GAIÿJl<G=l<GAÿJG=ÿJHHZl<ÿJHHIP:JA<=
                                                    JiM<<l<GAÿVIA:IGÿ<HAJ>;:HB:Giÿ=<J=;:G<Hÿ9IMÿ9:;:GiÿUMII9HÿI9ÿP;J:lÿJG=
                                                    JUUMIX:GiÿAB<ÿ9IMlÿJG=ÿlJGG<MÿI9ÿGIA:P<ÿAB<M<I9DÿW<lIA<ÿ<;<PAMIG:P
                                                    JPP<HHÿAIÿAB<ÿAMJGHPM:UAÿ:HÿM<HAM:PA<=ÿZGA:;ÿd_abfab_deDÿjB<ÿAMJGHPM:UAÿlJ?
                                                    ><ÿX:<F<=ÿJAÿAB<ÿKJGsMZUAP?ÿCIZMAÿC;<MsHÿE99:P<DÿvjMJGHPM:UA:IGÿT<MX:P<
                                                    mi<GP?^ÿ<TPM:><MHNÿQQCDwDÿ[T<<ÿAB<ÿCIZMAHÿu<>H:A<ÿ9IMÿPIGAJPA
                                                    :G9IMlJA:IGÿ9IMÿAB<ÿjMJGHPM:UA:IGÿT<MX:P<ÿmi<GP?D\DÿxIA:P<ÿI9ÿOGA<GAÿAI
                                                    W<qZ<HAÿW<=JPA:IGÿR<J=;:G<ÿRZ<ÿK?ÿeabab_deDÿTAJA<l<GAÿI9ÿW<=JPA:IG
                                                    W<qZ<HAÿRZ<ÿK?ÿeadcab_deDÿW<=JPA<=ÿjMJGHPM:UAÿTZ>l:HH:IGÿRZ<ÿK?
                                                    eab`ab_deDÿjMJGHPM:UAÿJPP<HHÿF:;;ÿ><ÿM<HAM:PA<=ÿABMIZiBÿd_abfab_deD
  _`abcab_de                                        [Q<F:HNÿj<G:;;<\ÿ[]GA<M<=^ÿ_ea_dab_de\
                                   ÿgehÿ            xIA:P<ÿI9ÿmi<G=Jÿ*yÿz/))5.1ÿ{045|}~5|ÿy*.ÿ5/.3-ÿ*-ÿ}~ÿÿÿ/)
                                    [cÿUiH\         ÿzÿÿ[M<;JA<=ÿ=IPZl<GA[H\gfeNÿd`\ÿt:;<=ÿ>?ÿCJMM:<ÿÿkJM=lJG
                                                    IGÿ><BJ;9ÿI9ÿW<;JA:X:A?ÿV<=:JNÿQQCDÿF:ABÿB<JM:GiÿAIÿ><ÿB<;=ÿIGÿ̀agdab_de
                                                    JAÿ_b^__ÿYVÿJAÿCIZMAMIIlÿcd`ÿ[V]u\ÿ[kJM=lJGNÿCJMM:<\ÿ[]GA<M<=^
  _`ab`ab_de                                        _`ab`ab_de\
                                   ÿgh_ÿ            E><PA:IGÿAIÿVIA:IGÿz6ÿ,ÿ6ÿ{ÿ
                                    [d_ÿUiH\        {ÿÿz{,ÿÿÿÿ,ÿ6ÿz
                                                    ÿÿ6{ÿzÿÿÿÿÿ6ÿ
                                                    ÿ6ÿÿÿÿ6{ÿÿ
                                                    ÿ{{ÿ,{ÿzÿÿÿ{ÿ
                                                    {{ÿÿÿ{{{ÿÿÿ{ÿ
                                                    {{ÿÿÿ6{ÿ{{{ÿÿ6ÿ,ÿ
                                                    {ÿ,z{ÿ6ÿ,z,{ÿÿÿ{{z6
                                                    {ÿ{ÿÿ{,ÿ¡ÿÿÿ,
                                                    ,6ÿ6ÿ,ÿÿ{{zÿ6ÿ{{zÿ
                                                    ¢,ÿ[M<;JA<=ÿ=IPZl<GA[H\``\ÿ9:;<=ÿ>?ÿ@<:ABÿCDÿEF<GHÿIG
                                                    ><BJ;9ÿI9ÿVZH:PÿtIMÿjB<ÿY<IU;<NÿOGPDNÿVJMsÿuJB;><MiDÿ[EF<GHNÿ@<:AB\
  _`ab`ab_de                                        []GA<M<=^ÿ_`ab`ab_de\
                                   ÿghdÿ            E><PA:IGÿAIÿVIA:IGÿ*ÿ})4*.3£5ÿ-|ÿ¤¤.*¥5ÿ45ÿ{/~5ÿyÿ{}71)/-)3/~~
                                    [eÿUiH\         ~~ÿyÿ657)*.1ÿ115)1ÿ-|ÿÿ11}¦¤)3*-ÿyÿ§50})*.ÿ,*-)./0)1ÿ-|
                                                    515.¥/)3*-ÿyÿ34)1ÿ9:;<=ÿ>?ÿQ:;;:JGÿTA<G9<;=AÿIGÿ><BJ;9ÿI9ÿYZM<ÿt;:S
  _`ab`ab_de                                        ]GA<MAJ:Gl<GAÿQQCDÿ[TA<G9<;=ANÿQ:;;:JG\ÿ[]GA<M<=^ÿ_`ab`ab_de\
  _`ab`ab_de                       ÿghbÿ            E><PA:IGÿAIÿVIA:IGÿ̈ÿ3¦3)5|ÿ7©50)3*-ÿ*yÿ)45ÿ-3)5|ÿ{)/)51ÿ.}1)55ÿ)*
                                    [eÿUiHpÿbÿ=IPH\ )45ÿ657)*.1ªÿz*)3*-ÿy*.ÿ-).ÿ*yÿ/-ÿ.|5.ÿ})4*.3£3-ÿ/-|ÿ¤¤.*¥3-
                                                    {/~5ÿ/-|ÿ*.ÿ)45.ÿ5~35yÿ[M<;JA<=ÿ=IPZl<GA[H\``\ÿ9:;<=ÿ>?ÿK<GJl:Gÿ«D
                                                    k:ii:GHÿIGÿ><BJ;9ÿI9ÿnG:A<=ÿTAJA<HÿjMZHA<<DÿF:ABÿB<JM:GiÿAIÿ><ÿB<;=ÿIG
                                                    eagab_deÿJAÿ_f^__ÿYVÿJAÿCIZMAMIIlÿcd`ÿ[V]u\ÿ[mAAJPBl<GAH^ÿ¬ÿd
                                                    ]SB:>:Aÿm\ÿ[k:ii:GHNÿK<GJl:G\ÿ[]GA<M<=^ÿ_`ab`ab_de\
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                                                           40-5   7ÿ09/30/21
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                                                           #:2274
                                   ÿ121ÿ              =>?@;AB:CÿA:ÿD:AB:CÿEFGHIJKLMÿLOÿPHJOQKRSÿTMIUÿJLÿVHFJLWXYÿZ[QHÿ\LJKLM
                                    3-42ÿ5678ÿ2ÿ9:;7< 3]@^_A@9ÿ9:;`a@CA37<++<ÿbB^@9ÿ>cÿd:>@]AÿefÿgbB7A@]ÿ:Cÿ>@h_^bÿ:bÿi@Ab^Bjk
                                                      lC;ffÿmBAhÿh@_]BC6ÿA:ÿ>@ÿh@^9ÿ:Cÿ/,1,-*./ÿ_Aÿ*4n**ÿgDÿ_Aÿo:`]A]::aÿp.+
                                                      3Dqr<ÿ=>?@;AB:C7ÿ9`@ÿ>cÿ+,-+,-*./kÿ3sAA_;ha@CA7nÿtÿ.ÿqjhB>BAÿsÿtÿ-
                                                      qjhB>BAÿuÿtÿ1ÿqjhB>BAÿoÿtÿ4ÿqjhB>BAÿvÿtÿwÿqjhB>BAÿqÿtÿpÿqjhB>BAÿxÿtÿ+
  *+,-+,-*./                                          qjhB>BAÿyÿtÿ/ÿqjhB>BAÿz<ÿ3gbB7A@]kÿd:>@]A<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ124ÿ              =>?@;AB:CÿA:ÿD:AB:Cÿ3]@^_A@9ÿ9:;`a@CA37<++<ÿbB^@9ÿ>cÿy@:]6@ÿdfÿD@7B]@7
  *+,-+,-*./                        3.*ÿ567<          :Cÿ>@h_^bÿ:bÿ{@;hCB;:^:]kÿlC;ffÿ3D@7B]@7kÿy@:]6@<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ12wÿ              =>?@;AB:CÿA:ÿD:AB:Cÿ|K}KJH~ÿEFGHIJKLMÿ[M~ÿHXHW[JKLMÿLOÿKJXÿLOÿKMH
                                    3wÿ567<           |KFW[WÿL}[Mÿ|UUÿJLÿVHFJLWXYÿ\LJKLMÿJLÿJLWKHÿ[M~ÿWLHÿJH
                                                      Z[QHÿLOÿZFXJ[MJK[QQÿQQÿLOÿVHFJLWXYÿXXHJXÿ3]@^_A@9ÿ9:;`a@CA37<++<ÿbB^@9
                                                      >cÿe:7h`_ÿv:];h_ÿ:Cÿ>@h_^bÿ:bÿBC@ÿB>]_]cÿo:a5_Ccÿfgffÿ3v:];h_k
  *+,-+,-*./                                          e:7h`_<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ12pÿ              o@]ABbB;_A@ÿ:bÿ@]B;@ÿWHÿEFGHIJKLMÿLOÿPHJOQKRSÿTMIUÿJLÿVHFJLWXYÿZ[QH
                                    3-ÿ567<           \LJKLMÿ3]@^_A@9ÿ9:;`a@CA37<121<ÿxB^@9ÿ>cÿd:>@]AÿefÿgbB7A@]ÿ:Cÿ>@h_^bÿ:b
  *+,-+,-*./                                          i@Ab^BjkÿlC;ffÿ3gbB7A@]kÿd:>@]A<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ12+ÿ              =]9@]ÿ7B6C@9ÿ:Cÿ+,-+,-*./ÿ_9aBAABC6ÿ@BAhÿofÿ=m@C7kÿq7fÿA:ÿ5]_;AB;@
                                    3.ÿ56<            5]:ÿh_;ÿB;@ÿBCÿAhB7ÿo:`]Aÿ3d@^_A@9ÿv:;ÿtÿ1/w<fÿ3v@gB@]:^_kÿe_;`@^BC@<
  *+,-+,-*./                                          3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ12/ÿ              D:AB:CÿA:ÿxB^@ÿC9@]ÿ@_^ÿPHJOQKRSÿTMIUYXÿRÿ[WJHÿ\LJKLMÿJLÿKQH
                                    3-w/ÿ5678ÿ1ÿ9:;7< [WJK[QQÿH~[IJH~ÿZ[QHÿEFGHIJKLMÿ3]@^_A@9ÿ9:;`a@CA37<1/4kÿ121<ÿbB^@9ÿ>c
                                                      d:>@]AÿefÿgbB7A@]ÿ:Cÿ>@h_^bÿ:bÿi@Ab^BjkÿlC;fÿmBAhÿh@_]BC6ÿA:ÿ>@ÿh@^9ÿ:C
                                                      /,1,-*./ÿ_Aÿ*4n**ÿgDÿ_Aÿo:`]A]::aÿp.+ÿ3Dqr<fÿ3sAA_;ha@CA7nÿtÿ.
  *+,-+,-*./                                          qjhB>BAÿsÿtÿ-ÿqjhB>BAÿu<ÿ3gbB7A@]kÿd:>@]A<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ122ÿ              =]9@]ÿ7B6C@9ÿ:Cÿ+,-+,-*./ÿ@7A_>^B7hBC6ÿ@5A@a>@]ÿ.-kÿ-*./ÿ_7ÿAh@
                                    311ÿ567<          9@_9^BC@ÿb:]ÿbB^BC6ÿ5]::b7ÿ:bÿ;^_Baÿ_C9ÿ_55]:BC6ÿAh@ÿb:]aÿ_C9ÿa_CC@]ÿ:b
                                                      C:AB;@ÿAh@]@:bÿ3]@^_A@9ÿ9:;`a@CA37<-2w<fÿ=;A:>@]ÿ1*kÿ-*./ÿB7ÿAh@ÿ9@_9^BC@
                                                      A:ÿbB^@ÿ;^_Ba7ÿb]:aÿ6:@]Ca@CA_^ÿ̀CBA7fÿ3v@gB@]:^_kÿe_;`@^BC@<ÿ3qCA@]@9n
  *+,-+,-*./                                          *+,-+,-*./<
                                   ÿ4**ÿ              A_A@a@CAÿ[M~ÿHXHW[JKLMÿLOÿKJXÿLOÿHÿEOOKIK[QÿL}}KJJHHÿLO
                                    3pÿ567<           MXHIWH~ÿWH~KJLWXÿJLÿJHÿVHFJLWXYÿPLJKIHÿLOÿTÿWLLXH~ÿXX}JKLM
                                                      [M~ÿXXKM}HMJÿLOÿRHIJLWÿLMJW[IJXÿ[M~ÿMHRKWH~ÿ|H[XHXÿKM
                                                        LMMHIJKLMÿKJÿZ[QHÿ[M~ÿTTÿXXLIK[JH~ÿWHÿLXJXÿ3]@^_A@9
                                                      9:;`a@CA37<++<ÿbB^@9ÿ>cÿ;:AAÿxfÿy_`AB@]ÿ:Cÿ>@h_^bÿ:bÿ=xxlols
                                                      o=DDl{{qqÿ=xÿiqodqvÿodqvl{=dfÿ3y_`AB@]kÿ;:AA<
  *+,-+,-*./                                          3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ4*.ÿ              o@]ABbB;_A@ÿ:bÿ@]B;@ÿWHÿPHJOQKRSÿTMIUYXÿRÿ[WJHÿ\LJKLMÿJLÿKQHÿ[WJK[QQ
                                    3-ÿ567<           H~[IJH~ÿZ[QHÿEFGHIJKLMÿ3]@^_A@9ÿ9:;`a@CA37<12/<ÿxB^@9ÿ>cÿd:>@]Aÿef
  *+,-+,-*./                                          gbB7A@]ÿ:Cÿ>@h_^bÿ:bÿi@Ab^BjkÿlC;ffÿ3gbB7A@]kÿd:>@]A<ÿ3qCA@]@9nÿ*+,-+,-*./<
                                   ÿ4*-ÿ              i:AB;@ÿ:bÿ_^@ÿÿPLJKIHÿLOÿPLÿIJKLMÿ[M~ÿVHXKM[JKLMÿLOÿQJW[
                                    3-ÿ567<           LQ~KMXÿ|| ÿ[XÿZIIHXXOQÿWI[XHWÿ3]@^_A@9ÿ9:;`a@CA37<++<ÿbB^@9ÿ>c
                                                      o_]]B@ÿÿz_]9a_Cÿ:Cÿ>@h_^bÿ:bÿd@^_ABBAcÿD@9B_kÿofÿ3z_]9a_Ck
  *+,-/,-*./                                          o_]]B@<ÿ3qCA@]@9nÿ*+,-/,-*./<
  *+,1*,-*./                       ÿ4*1ÿ              i:AB;@ÿ:bÿrBAh9]_m_^ÿÿKJ~W[[QÿLOÿH[W[MIHÿ[M~ÿHHXJÿJLÿFH
                                    3-ÿ567<           H}LH~ÿOWL}ÿ ÿ[M~ÿQQÿZHWKIHÿ|KXJXÿbB^@9ÿ>cÿo_]@cÿvfÿ;h]@B>@]ÿ:C
117 11! "#$55524%5&''2'2'5(5(45                                                          %)1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 395 of 494 Page ID
                                                    )*+,-.ÿ0.ÿ1*-,234325ÿ6*73,8ÿ99:;ÿ<=>+?*3)*?8ÿ:,?*5@ÿ<AB2*?*7C
                                                           #:2275
                                                    DEFGDFHDIJ@
                                   ÿKDKÿ            O?7*?ÿN3MB*7ÿ0BÿEFGDFHDIJÿM?,B23BMÿP*2.-3Q8ÿRB>;SNÿ*QÿL,?2*ÿT0230Bÿ20ÿ.3-*
                                    <HÿLMN@         L,?23,--5ÿ?*7,>2*7ÿN,-*ÿ0)U*>230Bÿ<1*-,2*7ÿV0>ÿWÿGXJÿ,B7ÿGXG@;
  DEFGDFHDIJ                                        <V*Y3*?0-,8ÿZ,>[\*-3B*@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKD]ÿ            =2,2*T*B2ÿ^ÿ̀abcdebaÿdfÿgahfijklÿmenoÿhdÿpaqhdrbsÿtdhjdeÿfdrÿuehrvÿdfÿwe
                                    <GÿLMN@         xryarÿz{h|drj}je~ÿh|aÿpaqhdrbÿweyÿarhwjeÿgdepaqhdrÿzffjijwhabÿhd
                                                    ueharÿjehdÿahhiaaehÿz~raaaehÿjh|ÿh|aÿxffjnjwiÿdjhhaaÿdf
                                                    eban{rayÿrayjhdrbÿweyÿihrwÿÿdiyje~bÿ<?*-,2*7ÿ70>\T*B2<N@GKJ@
                                                    .3-*7ÿ)5ÿ10)*?2ÿZ;ÿY.3N2*?ÿ0Bÿ)*+,-.ÿ0.ÿP*2.-3Q8ÿRB>;;ÿ<Y.3N2*?8ÿ10)*?2@
  DEFGDFHDIJ                                        <AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKDÿ            O)U*>230Bÿ20ÿ60230Bÿ^ÿjjhayÿxqanhjdeÿdfÿh|aÿejhayÿhwhabÿr{bhaaÿhd
                                    <]ÿLMN@         h|aÿpaqhdrsbÿtdhjdeÿfdrÿuehrvÿdfÿweÿxryarÿz{h|drj}je~ÿh|aÿpaqhdrbÿwey
                                                    arhwjeÿgdepaqhdrÿzffjijwhabÿhdÿueharÿjehdÿahhiaaehÿz~raaaeh
                                                    <?*-,2*7ÿ70>\T*B2<N@GKJ@ÿ.3-*7ÿ)5ÿ*BU,T3BÿZ;ÿ3MM3BNÿ0Bÿ)*+,-.ÿ0.
                                                    B32*7ÿ=2,2*Nÿ?\N2**;ÿ32+ÿ+*,?3BMÿ20ÿ)*ÿ+*-7ÿ0BÿEFGIFHDIJÿ,2ÿDHCDDÿY6
  DEFGDFHDIJ                                        ,2ÿ:0\?2?00TÿIEÿ<6A@ÿ<3MM3BN8ÿ*BU,T3B@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKDEÿ            O)U*>230Bÿ20ÿ60230Bÿ^ÿgahfijklÿmenosbÿxqanhjdeÿhdÿgdhjnaÿdfÿmÿrdcdbay
                                    <GÿLMN@         zbb{chjdeÿweyÿzbbj~eaehÿdfÿukan{hdrvÿdehrwnhbÿweyÿeakcjray
                                                    awbabÿjeÿdeeanhjdeÿjh|ÿwiaÿweyÿmmÿzbbdnjwhayÿ{raÿdbhbÿ<?*-,2*7
                                                    70>\T*B2<N@EE@ÿ.3-*7ÿ)5ÿ10)*?2ÿZ;ÿY.3N2*?ÿ0Bÿ)*+,-.ÿ0.ÿP*2.-3Q8ÿRB>;;
  DEFGDFHDIJ                                        <Y.3N2*?8ÿ10)*?2@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKDJÿ            6*T0?,B7\Tÿ0.ÿ9,ÿ^ÿ̀aiwhjjhvÿtayjwlÿÿweyÿ̀tÿpjbhrjq{hjde
                                    <K]ÿLMN@        pdabhjnlÿsbÿrahrjwiÿrjafÿ.3-*7ÿ)5ÿB20B30ÿ,B*ÿZ?;ÿ0Bÿ)*+,-.ÿ0.
  DEFGDFHDIJ                                        1*-,234325ÿ6*73,8ÿ99:;ÿ<,B*8ÿB20B30@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKDXÿ            AQÿY,?2*ÿ60230Bÿ20ÿ3-*ÿB7*?ÿ=*,-ÿwrhjwiivÿ̀aywnhayÿrahrjwiÿrjaf
                                    <]ÿLMN@        <?*-,2*7ÿ70>\T*B2<N@KDJ@ÿ.3-*7ÿ)5ÿB20B30ÿ,B*ÿZ?;ÿ0Bÿ)*+,-.ÿ0.
  DEFGDFHDIJ                                        1*-,234325ÿ6*73,8ÿ99:;ÿ<,B*8ÿB20B30@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKIDÿ            =2,2*T*B2ÿhwhaaehÿweyÿ̀abarwhjdeÿdfÿ̀j~|hbÿdfÿhaaeÿdyarqar~|ÿwey
                                    <EÿLMNÿHÿ70>N@ dc{ijbhÿjnh{rablÿmenolÿjeÿdeeanhjdeÿjh|ÿzÿrdcdbayÿ{raÿzd{eh
                                                    weyÿÿzbb{chjdeÿdfÿukan{hdrvÿdehrwnhbÿ<?*-,2*7ÿ70>\T*B2<N@EE@ÿ.3-*7
                                                    )5ÿ105*ÿ\?ÿ0Bÿ)*+,-.ÿ0.ÿY0L\-3N2ÿY3>2\?*N8ÿRB>;;ÿ<22,>+T*B2NCÿWÿI
  DEFGDFHDIJ                                        :*?23.3>,2*ÿ0.ÿ=*?43>*@ÿ<\?8ÿ105*@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKIIÿ            O?7*?ÿN3MB*7ÿ0BÿEFGDFHDIJÿ,\2+0?33BMÿ2+*ÿO..3>3,-ÿ:0TT322**ÿ0.
                                    <]ÿLMN@         BN*>\?*7ÿ:?*7320?Nÿ20ÿ?*2,3Bÿ,B7ÿ*TL-05ÿV\..ÿÿY+*-LNÿ=*>\?323*N8ÿ99:
                                                    ,Nÿ.3B,B>3,-ÿ,743N0?ÿB\B>ÿL?0ÿ2\B>ÿ20ÿ6,5ÿHG8ÿHDIJÿ<1*-,2*7ÿV0>ÿWÿGDH@;
  DEFGDFHDIJ                                        <V*Y3*?0-,8ÿZ,>[\*-3B*@ÿ<AB2*?*7CÿDEFGDFHDIJ@
                                   ÿKIHÿ            O?7*?ÿN3MB*7ÿ0BÿEFGDFHDIJÿ,\2+0?33BMÿ2+*ÿO..3>3,-ÿ:0TT322**ÿ0.
                                    <GÿLMN@         BN*>\?*7ÿ:?*7320?Nÿ20ÿ*TL-05ÿ10)3BNÿ,L-,Bÿ99Yÿ,Nÿ),B?\L2>5
                                                    >0\BN*-ÿB\B>ÿL?0ÿ2\B>ÿ20ÿ6,5ÿIJ8ÿHDIJÿ<1*-,2*7ÿV0>ÿWÿHEE@;ÿ<V*Y3*?0-,8
  DEFGDFHDIJ                                        Z,>[\*-3B*@ÿ<AB2*?*7CÿDEFGDFHDIJ@
  DEFGDFHDIJ                       ÿKIGÿ            O)U*>230Bÿ20ÿ60230Bÿxqanhjdeÿweyÿ̀abarwhjdeÿdfÿ̀j~|hbÿdfÿwrba
                                    <JÿLMNÿHÿ70>N@ je~|ÿweyÿxayjc{bÿrdy{nhjdeblÿmenoÿjeÿdeeanhjdeÿjh|ÿzÿrdcdbay
                                                    {raÿzd{ehÿweyÿÿzbb{chjdeÿdfÿukan{hdrvÿdehrwnhbÿ<?*-,2*7
                                                    70>\T*B2<N@EE@ÿ.3-*7ÿ)5ÿ105*ÿ\?ÿ0Bÿ)*+,-.ÿ0.ÿO*73L\NÿY?07\>230BN8
                                                    RB>;;ÿ<22,>+T*B2NCÿWÿIÿ:*?23.3>,2*ÿ0.ÿ=*?43>*@ÿ<\?8ÿ105*@ÿ<AB2*?*7C
                                                    DEFGDFHDIJ@
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                                                           #:2276
                                   ÿ2/2ÿ             9::;<=>;?ÿ@:ÿABC>;DBÿEFÿHIJEÿKLMNEOEÿPQRLMNSJRÿHETSUQÿEFÿVUWQNIXQN
                                    34ÿ5678          YMSLXÿZLTQOÿ3CB[=?B<ÿ<@D\]B^?378-0/8ÿ_;[B<ÿ̀aÿ9<=]ÿbcÿ9<[BCÿ@^ÿ̀Bd=[:
  *+,-*,.*/0                                         @:ÿeC;]Bÿf[BCghÿiifcÿ39<[BChÿ9<=]8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2/lÿ             9::;<=>;?ÿ@:ÿABC>;DBÿmVInnXQoQJTLXpÿEFÿqOSMÿrsÿqOWMLFÿPQRLMNSJR
                                    3.*ÿ5678         qoQJNQNÿVLXQÿHETSUQtÿqoQJNQNÿKIMQÿHETSUQÿLJNÿHETSUQÿEFÿmupÿvMEnEOQN
                                                     qOOIonTSEJÿLJNÿqOOSRJoQJTÿEFÿwxQUITEMyÿKEJTMLUTOÿLJNÿrJQxnSMQN
                                                     zQLOQOÿSJÿKEJJQUTSEJÿ{STWÿVLXQÿLJNÿmuupÿqOOEUSLTQNÿKIMQÿKEOTOÿ3CB[=?B<
                                                     <@D\]B^?378-/48ÿ_;[B<ÿ̀aÿ9<=]ÿbcÿ9<[BCÿ@^ÿ̀Bd=[:ÿ@:ÿeC;]Bÿf[BCgh
  *+,-*,.*/0                                         iifcÿ39<[BChÿ9<=]8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2/|ÿ             bB]@C=^<\]ÿ@:ÿi=}ÿ~ÿHQTFXSxtÿuJUsOÿvMQYMSLXÿMSQFÿ:;[B<ÿ̀aÿ@`BC?ÿc
  *+,-*,.*/0                        32.ÿ5678         e:;7?BCÿ@^ÿ̀Bd=[:ÿ@:ÿB?:[;hÿ^Dccÿ3e:;7?BChÿ@`BC?8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2/+ÿ             C<BCÿ7;6^B<ÿ@^ÿ+,-*,.*/0ÿ=\?d@C;;^6ÿ?dBÿB`?@C7ÿ?@ÿ:;[Bÿ5=C?;=[[a
                                    3-ÿ5678          CB<=D?B<ÿ5CB?C;=[ÿ̀C;B:ÿ3B[=?B<ÿ@Dÿÿ2*48cÿ3Be;BC@[=hÿ=D\B[;^B8
  *+,-*,.*/0                                         3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2/0ÿ             BD[=C=?;@^ÿEFÿqXQxSOÿSMEJÿSJÿVInnEMTÿEFÿTWQÿESJNQMÿEFÿrXTMLÿEXNSJRO
                                    3/lÿ5678         zzKÿTEÿTWQÿZQTEMOÿETSEJÿvIMOILJTÿTEÿÿrsVsKsÿÿÿLJNÿÿLJN
                                                     QNsÿPsÿLJMsÿvsÿÿFEMÿwJTMyÿEFÿLJÿMNQMÿqnnMESJRÿqOOIonTSEJÿEF
                                                     wxQUITEMyÿKEJTMLUTOÿ{STWÿHQxFXSxtÿuJUsÿFSXQNÿyÿqNLoÿKMLSRÿLMMSOÿEJ
                                                     QWLXFÿEFÿrXTMLÿEXNSJROÿzzKsÿmLMMSOtÿqNLopÿ3CB[=?B<
                                                     <@D\]B^?378-2+8ÿ:;[B<ÿ̀aÿ9<=]ÿfC=;6ÿ=CC;7ÿ@^ÿ̀Bd=[:ÿ@:ÿ[?C=
  *+,-*,.*/0                                         @[<;^67ÿiifcÿ3=CC;7hÿ9<=]8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2/4ÿ             955[;D=?;@^ÿ:@Cÿj ÿe=C?BÿB[;B:ÿEFÿrXTMLÿEXNSJROÿzzKÿnIMOILJTÿTE
                                    3.|ÿ5678         OQUTSEJÿmpÿEFÿTSTXQÿÿEFÿTWQÿrJSTQNÿVTLTQOÿKENQÿTEÿFSXQÿnEMTSEJOÿEFÿTWQ
                                                     ZQUXLMLTSEJÿEFÿqXQxSOÿSMEJÿSJÿVInnEMTÿEFÿTWQÿESJNQMÿEFÿrXTMLÿEXNSJRO
                                                     zzKÿTEÿTWQÿZQTEMOÿETSEJÿvIMOILJTÿTEÿÿrsVsKsÿÿÿLJNÿÿLJN
                                                     QNsÿPsÿLJMsÿvsÿÿFEMÿwJTMyÿEFÿLJÿMNQMÿqnnMESJRÿqOOIonTSEJÿEF
                                                     wxQUITEMyÿKEJTMLUTOÿ{STWÿHQTFXSxtÿuJUsÿ:;[B<ÿ̀aÿ9<=]ÿfC=;6ÿ=CC;7ÿ@^
  *+,-*,.*/0                                         `Bd=[:ÿ@:ÿ[?C=ÿ@[<;^67ÿiifcÿ3=CC;7hÿ9<=]8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2.*ÿ             b@?;@^ÿ?@ÿAB=[ÿ~ÿHQTFXSxtÿuJUsOÿwxÿvLMTQÿETSEJÿTEÿSXQÿvLMTSLXXy
                                    3l.ÿ567ÿ-ÿ<@D78 PQNLUTQNÿvMQYMSLXÿMSQFÿ3CB[=?B<ÿ<@D\]B^?3782/|8ÿ:;[B<ÿ̀aÿ@`BC?ÿc
                                                     e:;7?BCÿ@^ÿ̀Bd=[:ÿ@:ÿB?:[;hÿ^Dccÿ39??=Dd]B^?7kÿÿ/ÿj d;`;?ÿ9ÿÿ.ÿj d;`;?
  *+,-*,.*/0                                           8ÿ3e:;7?BChÿ@`BC?8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2./ÿ             9::;<=>;?ÿ@:ÿABC>;DBÿEFÿHIJEÿKLMNEOEÿPQRLMNSJRÿHETSUQÿEFÿqRQJNLÿEF
                                    30ÿ5678          LTTQMOÿVUWQNIXQNÿFEMÿQLMSJRÿEJÿIXyÿtÿ¡¢ÿLTÿ¡£ÿvÿ3CB[=?B<
                                                     <@D\]B^?378-048ÿ:;[B<ÿ̀aÿeC;]Bÿf[BCghÿiifc3b=[@hÿ=>;<8ÿ3j^?BCB<k
  *+,-*,.*/0                                         *+,-*,.*/08
                                   ÿ2..ÿ             @?;DBÿ@:ÿ9<¤@\C^]B^?ÿ@:ÿB=C;^6ÿEFÿLTTQMOÿVUWQNIXQNÿFEMÿQLMSJRÿEJ
                                    3.ÿ5678          IXyÿtÿ¡¢ÿLTÿ¡£ÿvÿmwYpÿTEÿqIRIOTÿtÿ¡¢ÿLTÿ¥£ÿvÿmwYp
                                                     3CB[=?B<ÿ<@D\]B^?378-20hÿ/+8ÿ:;[B<ÿ̀aÿf=CC;Bÿÿ=C<]=^ÿ@^ÿ̀Bd=[:ÿ@:
  *+,-*,.*/0                                         B[=?;>;?aÿbB<;=hÿiifcÿ3=C<]=^hÿf=CC;B8ÿ3j^?BCB<kÿ*+,-*,.*/08
                                   ÿ2.-ÿ             `¤BD?;@^ÿ3CB[=?B<ÿ<@D\]B^?378++8ÿ:;[B<ÿ̀aÿ=^Bÿ¦cÿA5C;^6}=?BCÿ@^
                                    3./ÿ567ÿ2ÿ<@D78 `Bd=[:ÿ@:ÿ^;>BC7=[ÿb\7;Dÿj^?BC5C;7B7hÿ=ÿ<;>;7;@^ÿ@:ÿb§ÿBD@C<;^67h
                                                     ^Dccÿ39??=Dd]B^?7kÿÿ/ÿj d;`;?ÿ9ÿÿ.ÿj d;`;?ÿÿÿ-ÿfBC?;:;D=?Bÿ@:
  *+,-*,.*/0                                         ABC>;DB8ÿ3A5C;^6}=?BChÿ=^B8ÿ3j^?BCB<kÿ*+,-*,.*/08
  *+,-*,.*/0                       ÿ2.2ÿ             fBC?;:;D=?Bÿ@:ÿABC>;DBÿMQÿZEUQTÿHEsÿ¥ÿ3CB[=?B<ÿ<@D\]B^?3782*l8ÿ_;[B<
                                    3.ÿ5678          `aÿ@`BC?ÿcÿe:;7?BCÿ@^ÿ̀Bd=[:ÿ@:ÿB?:[;hÿ^Dccÿ3e:;7?BChÿ@`BC?8ÿ3j^?BCB<k
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                                   ÿ3.4ÿ                  9:;<=>=?@<:ÿA>ÿB:;C=?:ÿDEÿGHIJEKÿLHMNÿOPQRÿOSTRÿUVWÿOXPÿ5;:Y@<:Z
                                    5-ÿ6781               ZA?[\:]<5813.*^ÿ3/_^ÿ3*+1ÿ̀=Y:ZÿabÿcAa:;<ÿdeÿf>=8<:;ÿA]ÿa:g@Y>ÿA>
  *+,-*,.*/0                                              h:<>Y=i^ÿj]?eeÿ5f>=8<:;^ÿcAa:;<1ÿ5k]<:;:Zlÿ*+,-*,.*/01
                                   ÿ3._ÿ                  m>>=Z@C=<ÿA>ÿB:;C=?:ÿ5;:Y@<:ZÿZA?[\:]<5813/n^ÿ3/01ÿ̀=Y:ZÿabÿmZ@\ÿ9;@=7
                                    5/3ÿ6781              o@;;=8ÿA]ÿa:g@Y>ÿA>ÿpY<;@qÿoAYZ=]78ÿrr9eÿ5o@;;=8^ÿmZ@\1ÿ5k]<:;:Zl
  *+,-/,.*/0                                              *+,-/,.*/01
                                   ÿ3.+ÿ                  s;Z:;ÿ8=7]:ZÿA]ÿ+,-/,.*/0ÿ7;@]<=]7ÿh:<>Y=i^ÿj]?et8ÿ:iÿ6@;<:ÿ\A<=A]ÿ<Aÿ>=Y:
                                    5-ÿ6781               6@;<=@YYbÿ;:Z@?<:Zÿ6;:u<;=@Yÿa;=:>ÿ5c:Y@<:ZÿvA?ÿwÿ3.*1eÿ5v:f=:;AY@^
  *+,-/,.*/0                                              d@?x[:Y=]:1ÿ5k]<:;:Zlÿ*+,-/,.*/01
                                   ÿ3.0ÿ                  s;Z:;ÿ8=7]:ZÿA]ÿ+,-/,.*/0ÿ7;@]<=]7ÿ:iu6@;<:ÿ\A<=A]ÿA>ÿpY<;@qÿoAYZ=]78
                                    5-ÿ6781               rr9ÿ<Aÿ>=Y:ÿ[]Z:;ÿ8:@Yÿ6A;<=A]8ÿA>ÿ<g:ÿZ:?Y@;@<=A]ÿA>ÿmY:i=8ÿy=;A]=]
                                                          8[66A;<ÿA>ÿ<g:ÿzA=]Z:;ÿA>ÿpY<;@qÿoAYZ=]78ÿrr9ÿ<Aÿ<g:ÿv:a<A;8tÿ\A<=A]
                                                          @66;AC=]7ÿ@88[\6<=A]ÿA>ÿ:i:?[<A;ÿ?A]<;@?<8ÿ{=<gÿh:<>Y=i^ÿj]?eÿ5c:Y@<:Z
  *+,-/,.*/0                                              vA?ÿwÿ3/n1eÿ5v:f=:;AY@^ÿd@?x[:Y=]:1ÿ5k]<:;:Zlÿ*+,-/,.*/01
                                   ÿ3.nÿ                  saz:?<=A]ÿ<AÿyA<=A]ÿ5;:Y@<:ZÿZA?[\:]<581++1ÿ>=Y:Zÿabÿy@;|ÿy:=;ÿBg@;>
                                    5._ÿ6781              A]ÿa:g@Y>ÿA>ÿ̀=Y\ÿy[8=?=@]8ÿB:?A]Z@;bÿy@;|:<8ÿ̀[]Zeÿ{=<gÿg:@;=]7ÿ<Aÿa:
                                                          g:YZÿA]ÿ0,-,.*/0ÿ@<ÿ*3l**ÿfyÿ@<ÿ9A[;<;AA\ÿ_/+ÿ5yk}1ÿsaz:?<=A]8ÿZ[:
  *+,-/,.*/0                                              abÿ+,-/,.*/0^ÿ5Bg@;>^ÿy@;|1ÿ5k]<:;:Zlÿ*+,-/,.*/01
                                   ÿ3-*ÿ                  r:<<:;ÿ~ÿVKEWÿKUKEMÿDMKEEMÿEEMKÿHDÿUÿKUKMÿHVEDEVIEÿ̀=Y:Zÿab
                                    5.ÿ6781               :]z@\=]ÿdeÿo=77=]8ÿA]ÿa:g@Y>ÿA>ÿp]=<:ZÿB<@<:8ÿ;[8<::eÿ5o=77=]8^
  *+,-/,.*/0                                              :]z@\=]1ÿ5k]<:;:Zlÿ*+,-/,.*/01
                                   ÿ3-/ÿ                  9:;<=>=?@<:ÿA>ÿB:;C=?:ÿ5;:Y@<:ZÿZA?[\:]<5813.n1ÿ>=Y:Zÿabÿy@;|ÿy:=;ÿBg@;>
                                    5-ÿ6781               A]ÿa:g@Y>ÿA>ÿ̀=Y\ÿy[8=?=@]8ÿB:?A]Z@;bÿy@;|:<8ÿ̀[]Zeÿ{=<gÿg:@;=]7ÿ<Aÿa:
                                                          g:YZÿA]ÿ0,-,.*/0ÿ@<ÿ*3l**ÿfyÿ@<ÿ9A[;<;AA\ÿ_/+ÿ5yk}1ÿ5Bg@;>^ÿy@;|1
  *+,-/,.*/0                                              5k]<:;:Zlÿ*+,-/,.*/01
                                   ÿ3-.ÿ                  saz:?<=A]ÿ<AÿyA<=A]ÿGÿLÿLGÿ Lÿ
                                    5//ÿ6781                ÿÿÿÿÿ RÿLNRÿÿGLRÿL
                                                             ÿ GLRÿLNÿLGÿÿ ÿÿG 
                                                          Lÿ ÿL ÿÿLÿ G ÿÿ LÿLG
                                                           LÿÿÿG ÿL ÿLÿÿ
                                                            Lÿ ÿÿÿÿLÿ
                                                          ÿRÿÿÿÿÿLÿÿ
                                                          G ÿÿ ÿLGÿ ÿÿLRÿÿLG
                                                          L Lÿ ÿLÿGÿ
                                                           LÿÿLÿTÿÿÿL ÿGÿLG
                                                          ÿÿLÿLGÿLLÿÿ 
                                                          L ÿLGÿLGÿÿ LÿÿL
                                                          TÿÿÿL ÿGÿLGÿÿ LLÿG
                                                            ÿ5;:Y@<:ZÿZA?[\:]<581++1ÿ>=Y:Zÿabÿ:=<gÿ9eÿs{:]8ÿA]ÿa:g@Y>ÿA>
                                                          AbÿA>ÿ<g:ÿ¡:@;^ÿj]?e^ÿr:8Y=:ÿv=iA]^ÿB?A<<ÿ;AA6>^ÿy@]bÿc=C:;8
  *+,-/,.*/0                                              f;AZ[?<=A]8^ÿj]?eeÿ5s{:]8^ÿ:=<g1ÿ5k]<:;:Zlÿ*+,-/,.*/01
  *+,-/,.*/0                       ÿ3--ÿ                  saz:?<=A]ÿ<AÿyA<=A]ÿ¢KEWÿ£¤EIKHVÿUVWÿEMED¥UKHVÿHÿ¦§KMÿKHÿK§E
                                    5nÿ6781               GE£KHDMÿHKHVÿHDÿVKD¨ÿHÿUVÿDWEDÿÿK§HD©V¦ÿUVWÿªªDH¥V¦ÿ
                                                          K§EÿGE£KHDMÿVKD¨ÿVKHÿK§EÿMMEKÿDI§UMEÿ¦DEE¢EVKÿHDÿK§EÿU«EÿH
                                                          £MKUVKU««¨ÿU««ÿ§EDÿMMEKMRÿÿK§EÿU«EÿHÿ£MKUVKU««¨ÿU««ÿK§E
                                                          GE£KHDMÿMMEKMÿDEEÿUVWÿ«EUDÿHÿEVMRÿ«U¢MÿUVWÿVI¢£DUVIEM
                                                          HK§EDÿK§UVÿMM¢EWÿU£«KEMÿDMUVKÿKHÿEIKHVÿTÿHÿK§E
117 11! "#$55524%5&''2'2'5(5(45                                                             )51543
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                                                           40-5   7ÿ09/30/21
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                                                          *+,-./0123ÿ5678ÿ+,7ÿ95:ÿ1;8ÿ<==/>01?6,ÿ+,7ÿ<==?@,>8,1ÿ6AÿBC82/16.3
                                                           #:2278
                                                          56,1.+21=ÿ+,7ÿD,8C0?.87ÿE8+=8=ÿF/.=/+,1ÿ16ÿG821?6,ÿHIJÿ6Aÿ1;8
                                                          *+,-./0123ÿ5678Kÿ+,7ÿ9LL:ÿM.+,1?,@ÿN8O+187ÿN8O?8AÿQRSTUVSW
                                                          WXYZ[S\VQ]^__^ÿ̀aTSWÿbcÿdVSefU\ÿghÿiXR\Z\jÿX\ÿbSfUT̀ÿX`ÿkURU[XZ\V
                                                          kaYVZRS]ÿlXReXRUVaX\mÿnaUYX[ÿo\VSR\UVaX\UTÿo\YhhÿQiXR\Z\jmÿdVSefU\^
                                                          Qg\VSRSWpÿq_rstruqtv^
                                   ÿwswÿ                  lSRVàaYUVSÿX`ÿdSRxaYSÿ6AÿE?>?187ÿyz{821?6,ÿ+,7ÿN8=8.|+1?6,ÿ6AÿN?@;1=ÿ16
                                    Qtÿej^                1;8ÿ}8z16.=ÿ~61?6,ÿA6.ÿB,1.3ÿ6Aÿ+,ÿy.78.ÿ9L:ÿ</1;6.??,@ÿ+,7ÿ<00.6|?,@
                                                          9<:ÿ1;8ÿ}8z16.=ÿB,1.3ÿ?,16ÿ1;8ÿ<==81ÿF/.2;+=8ÿ<@.88>8,1ÿA6.ÿ1;8ÿG+O8ÿ6A
                                                          G/z=1+,1?+OO3ÿ+OOÿ;8?.ÿ<==81=Kÿ9*:ÿ1;8ÿG+O8ÿ6AÿG/z=1+,1?+OO3ÿ+OOÿ1;8
                                                          }8z16.=ÿ<==81=ÿ.88ÿ+,7ÿ5O8+.ÿ6AÿE?8,=Kÿ5O+?>=ÿ+,7ÿB,2/>z.+,28=
                                                          961;8.ÿ1;+,ÿ<==/>87ÿE?+z?O?1?8=:ÿF/.=/+,1ÿ16ÿG821?6,ÿHIHÿ6Aÿ1;8
                                                          *+,-./0123ÿ5678ÿ+,7ÿ95:ÿ1;8ÿ<==/>01?6,ÿ+,7ÿ<==?@,>8,1ÿ6AÿBC82/16.3
                                                          56,1.+21=ÿ+,7ÿD,8C0?.87ÿE8+=8=ÿF/.=/+,1ÿ16ÿG821?6,ÿHIJÿ6Aÿ1;8
                                                          *+,-./0123ÿ5678Kÿ+,7ÿ9LL:ÿM.+,1?,@ÿN8O+187ÿN8O?8AÿQRSTUVSW
                                                          WXYZ[S\VQ]^wss^ÿ̀aTSWÿbcÿdVSefU\ÿghÿiXR\Z\jÿX\ÿbSfUT̀ÿX`ÿkURU[XZ\V
                                                          kaYVZRS]ÿlXReXRUVaX\mÿnaUYX[ÿo\VSR\UVaX\UTÿo\YhhÿQiXR\Z\jmÿdVSefU\^
  q_rstruqtv                                              Qg\VSRSWpÿq_rstruqtv^
                                   ÿwsÿ                  SYTURUVaX\ÿ6Aÿ;6>+=ÿMÿ?1@8.+O7ÿ?,ÿG/006.1ÿ6Aÿ}8z16.=ÿ~61?6,ÿA6.
                                    Qwÿej]^               B,1.3ÿ6Aÿ+,ÿy.78.ÿ</1;6.??,@ÿ1;8ÿ}8z16.=ÿ+,7ÿ58.1+?,ÿ6,}8z16.
                                                          <AA?O?+18=ÿ16ÿB,18.ÿ?,16ÿG811O8>8,1ÿ<@.88>8,1ÿ?1;ÿ;8ÿyAA?2?+Oÿ56>>?1188
                                                          6AÿD,=82/.87ÿ5.87?16.=ÿ+,7ÿDO1.+ÿ6O7?,@=ÿEE5ÿQRSTUVSW
                                                          WXYZ[S\VQ]^swv^ÿ̀aTSWÿbcÿdYXVVÿhÿUZVaSRÿX\ÿbSfUT̀ÿX`ÿolo
                                                          loggÿÿdglgÿlgodhÿQUZVaSRmÿdYXVV^
  q_rstruqtv                                              Qg\VSRSWpÿq_rstruqtv^
                                   ÿwsÿ                  ``aWUxaVÿX`ÿdSRxaYSÿyAÿ/,6ÿ5+.76=6ÿ.8@+.7?,@ÿN8O+1?|?13ÿ~87?+KÿEE5
                                    Qvÿej]^               +,7ÿN~Eÿ}?=1.?z/1?6,ÿ}6>8=1?2KÿEE5=ÿF.81.?+Oÿ*.?8Aÿ+,7ÿ}8z16.=ÿBC
                                                          F+.18ÿ~61?6,ÿA6.ÿy.78.Kÿ</1;6.??,@ÿ1;8ÿ}8z16.=ÿ16ÿ?O8ÿF+.1?+OO3
                                                          N87+2187ÿF.81.?+Oÿ*.?8AÿQRSTUVSWÿWXYZ[S\VQ]^wqmÿwqv^ÿaTSWÿbcÿWU[ÿh
                                                          WTSRÿX\ÿbSfUT̀ÿX`ÿkRa[SÿlTSRmÿlhÿQWTSRmÿWU[^ÿQg\VSRSWp
  q_rstruqtv                                              q_rstruqtv^
                                   ÿws_ÿ                  XVaYSÿX`ÿWXZR\[S\VÿX`ÿiSURa\jÿ6Aÿ58.1+?,ÿ~+118.=ÿG2;87/O87ÿA6.
                                    Quÿej]^               8+.?,@ÿ6,ÿ</@/=1ÿHKÿÿ+1ÿÿF~ÿ9B:ÿ16ÿ</@/=1ÿKÿÿ+1ÿ
                                                          F~ÿ9B:ÿQRSTUVSWÿWXYZ[S\VQ]^__mÿswvmÿt_^ÿ̀aTSWÿbcÿlURRaSÿnÿiURW[U\ÿX\
                                                          bSfUT̀ÿX`ÿSTUVaxaVcÿSWaUmÿlhÿaVfÿfSURa\jÿVXÿbSÿfSTWÿX\ÿvrvruqtvÿUV
                                                          qupqqÿkÿUVÿlXZRVRXX[ÿt_ÿQg ^ÿQiURW[U\mÿlURRaS^ÿQg\VSRSWp
  q_rstruqtv                                              q_rstruqtv^
                                   ÿw_t                   ¡¢£¤¥¦§¨ÿª§«¦¬ÿ­¦®ÿ̄°¦¬ÿ±¢¤¬¨ÿ²¬«¦¬hÿSYTURUVaX\ÿX`ÿTS³a]ÿaRX\
                                                          a\ÿ]ZeeXRVÿX`ÿVfSÿXa\WSRÿX`ÿTVRUnÿiXTWa\j]ÿlÿVXÿVfSÿSbVXR]ÿ́XVaX\
                                                          UeeRXxa\jÿU]]Z[eVaX\ÿX`ÿS³SYZVXRcÿYX\VRUYV]ÿaVfÿSV̀Ta³mÿo\YhÿaTSWÿbc
                                                          WU[ÿiURRa]hÿQRSTUVSWÿWXYZ[S\VQ]^wuv^ÿQXeSµmÿURc^hÿQg\VSRSWp
  q_rstruqtv                                              qvrtqruqtv^
                                   ÿwsvÿ                  SVVSRÿ61?28ÿ6Aÿ?O?,@ÿ6Aÿ?.=1ÿ<>8,7>8,1ÿ16ÿG811O8>8,1ÿ<@.88>8,1
                                    Qttÿej]^              N8O+1?,@ÿ16ÿ}8z16.=ÿ~61?6,ÿA6.ÿB,1.3ÿ6Aÿ+,ÿy.78.ÿ</1;6.??,@ÿ1;8
                                                          }8z16.=ÿ+,7ÿ58.1+?,ÿ6,}8z16.ÿ<AA?O?+18=ÿ16ÿB,18.ÿL,16ÿG811O8>8,1
                                                          <@.88>8,1ÿ¶?1;ÿ1;8ÿyAA?2?+Oÿ56>>?1188ÿ6AÿD,=82/.87ÿ5.87?16.=ÿ+,7
                                                          DO1.+ÿ6O7?,@=ÿEE5ÿQRSTUVSWÿWXYZ[S\VQ]^swv^ÿaTSWÿbcÿlURRaSÿn
                                                          iURW[U\ÿX\ÿbSfUT̀ÿX`ÿSTUVaxaVcÿSWaUmÿlhÿaVfÿfSURa\jÿVXÿbSÿfSTWÿX\
                                                          vrvruqtvÿUVÿqupqqÿkÿUVÿlXZRVRXX[ÿt_ÿQg ^ÿQiURW[U\mÿlURRaS^
  qvrqtruqtv                                              Qg\VSRSWpÿqvrqtruqtv^
  qvrqtruqtv                       ÿw_                   ¡¢£¤¥¦§¨ÿª§«¦¬ÿ­¦®ÿ̄°¦¬ÿ±¢¤¬¨ÿ²¬«¦¬hÿSV̀Ta³mÿo\Yh́]ÿkRS·RaUTÿ̧RaS`
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                                                                        7ÿ7 Page 399 of 494 Page ID
                                                          *+,-.ÿ01ÿ230-45ÿ67ÿ89+:5-47ÿ;4-,<5-.ÿ.3=>?-@5;:ABCDAÿ;E3F-GHÿI<41A7
                                                           #:2279
                                                          ;J@5-4-.KÿLMNOLNCLOMA
                                   ÿBDP                   QRSTUVWXÿZW[V\ÿ]V^_ÿ̀V\ÿaRT\Xÿb\[V\7ÿc0d-=5+3@ÿ39ÿe-59,+fHÿg@=7ÿ53
                                                          h-0534i:ÿj<,-ÿI35+3@ÿ*+,-.ÿ01ÿ230-45ÿ67ÿ89+:5-47ÿ;4-,<5-.ÿ.3=>?-@5;:ABLBA
  LMNLONCLOM                                              ;E3F-GHÿI<41A7ÿ;J@5-4-.KÿLMNOLNCLOMA
                                   ÿBBLÿ                  e35+=-ÿ39ÿmFF-<4<@=-ÿnopqrsÿouÿvwwsxyxzrsÿxz{ÿ|s}~spÿuoyÿsyqrsÿou
                                    ;kÿFl:A               xwsyÿ9+,-.ÿ01ÿ6-994-1ÿI+:F<l-,ÿ3@ÿ0-<,9ÿ39ÿ2mÿ*+,?ÿ*+@<@=+@lH
  LMNLCNCLOM                                              EE 7ÿ;I+:F<l-,Hÿ6-994-1Aÿ;J@5-4-.KÿLMNLCNCLOMA
                                   ÿBBOÿ                  m99+.<+5ÿ39ÿj-4+=-ÿuÿn~zoÿxy{ooÿysxy{qzÿy{syÿpxqqz
                                    ;ÿFl:A               sx{qzsÿuoyÿqqzÿyoouÿouÿxqÿxz{ÿvwwyoqzÿpsÿoyÿxz{
                                                          xzzsyÿouÿnopqrsÿsysouÿszsyxÿxyÿxpsÿozÿswpssyÿÿÿxp
                                                          ÿwÿÿosyzszpxÿxyÿxpsÿozÿrposyÿÿÿxpÿ
                                                          wÿÿnopqrsÿouÿnoÿv~rpqozÿxz{ÿsqzxpqozÿouÿ¡pyx¢ÿ£o{qz
                                                          ¤¤ÿxÿ~rrsu~ÿ~yrxsyÿxz{ÿnopqrsÿouÿv{¥o~yzszpÿouÿ£sxyqzÿou
                                                          xppsyÿrs{~s{ÿuoyÿ£sxyqzÿozÿ¦~§ÿÿÿxpÿÿwÿÿpo
                                                          v~~pÿÿÿxpÿ̈ÿwÿÿ;4-,<5-.ÿ.3=>?-@5;:ABLCHÿBCCHÿkA
                                                          *+,-.ÿ01ÿm.<?ÿI7ÿm.,-4ÿ3@ÿ0-<,9ÿ39ÿ84+?-ÿ,-4©HÿEE 7ÿ;m.,-4Hÿm.<?A
  LMNLCNCLOM                                              ;J@5-4-.KÿLMNLCNCLOMA
                                   ÿBBCÿ                  e35+=-ÿ39ÿ843F3:-.ÿc4.-4ÿªÿnopqrsÿouÿqqzÿouÿyowos{ÿqupÿ«zpsyq
                                    ;COÿFl:A              yq{sÿy{syÿ«ÿv~poyq¬qzÿpsÿspoyÿpoÿpxqzÿvÿop­spqpqoz
                                                          qzxzrqzÿxz{ÿÿ¡sÿxÿoxpsyx®ÿ««ÿyxzpqzÿv{s}~xps
                                                          yopsrpqoz®ÿ«««ÿo{qu§qzÿpsÿv~poxpqrÿpx§®ÿ«¢ÿrs{~qzÿxÿqzx
                                                          £sxyqz®ÿxz{ÿ¢ÿyxzpqzÿ|sxps{ÿ|sqsuÿ;4-,<5-.ÿ.3=>?-@5;:AODAÿ9+,-.
                                                          01ÿ<44+-ÿ̄ÿ°<4.?<@ÿ3@ÿ0-<,9ÿ39ÿ2-,<5++51ÿI-.+<HÿEE 7ÿ;°<4.?<@H
  LMNLkNCLOM                                                <44+-Aÿ;J@5-4-.KÿLMNLkNCLOMA
                                   ÿBBkÿ                  e35+=-ÿ39ÿ843F3:-.ÿc4.-4ÿnopqrsÿouÿoyysrps{ÿ±qqpÿÿpoÿnopqrsÿou
                                    ;OCÿFl:A              qqzÿouÿyowos{ÿqupÿ«zpsyqÿyq{sÿy{syÿ«ÿv~poyq¬qzÿps
                                                          spoyÿpoÿpxqzÿvÿop­spqpqozÿqzxzrqzÿxz{ÿÿ¡sÿx
                                                          oxpsyx®ÿ««ÿyxzpqzÿv{s}~xpsÿyopsrpqoz®ÿ«««ÿo{qu§qzÿps
                                                          v~poxpqrÿpx§®ÿ«¢ÿrs{~qzÿxÿqzxÿ£sxyqz®ÿxz{ÿ¢ÿyxzpqz
                                                          |sxps{ÿ|sqsuÿ;4-,<5-.ÿ.3=>?-@5;:ABBCAÿ9+,-.ÿ01ÿ<44+-ÿ̄ÿ°<4.?<@ÿ3@
                                                          0-<,9ÿ39ÿ2-,<5++51ÿI-.+<HÿEE 7ÿ;°<4.?<@Hÿ<44+-Aÿ;J@5-4-.K
  LMNLkNCLOM                                              LMNLkNCLOMA
                                   ÿBBBÿ                  *+95ÿg@5-4+?ÿ²4+.l-ÿc4.-4ÿ:+l@-.ÿ3@ÿMNkNCLOMÿ<>534+G+@lÿh-0534:ÿ53
                                    ;ÿFl:A               305<+@ÿF3:5³F-5+5+3@ÿ9+@<@=+@lÿ<@.ÿ>:-ÿ=<:ÿ=3,,<5-4<,́ÿl4<@5+@lÿ<.-µ><5-
                                                          F435-=5+3@ÿ?3.+91+@lÿ5-ÿ<>53?<5+=ÿ:5<1ÿ́:=-.>,+@lÿ<ÿ9+@<,ÿ-<4+@lÿ́<@.
                                                          l4<@5+@lÿ4-,<5-.ÿ4-,+-9ÿ;4-,<5-.ÿ.3=>?-@5;:ACMDHÿCBPHÿCODHÿODHÿ¶PAÿ;4-,<5-.
                                                          .3=>?-@5;:AkPLHÿCMDHÿCBPHÿCODHÿODHÿ¶PA7ÿ*+@<,ÿ-<4+@lÿ53ÿ0-ÿ-,.ÿ3@
                                                          MNMNCLOMÿ<5ÿLCKLLÿ8Iÿ<5ÿ3>45433?ÿPODÿ;IJ·A7ÿ;h-8+-43,<Hÿ6<=µ>-,+@-A
  LMNLkNCLOM                                              ;J@5-4-.KÿLMNLkNCLOMA
                                   ÿBB¶ÿ                  m99+.<+5ÿ39ÿj-4+=-ÿouÿn~zoÿxy{ooÿ|sxy{qzÿnopqrsÿouÿv{¥o~yzszp
                                    ;MÿFl:A               ouÿ£sxyqzÿouÿsypxqzÿxppsyÿrs{~s{ÿuoyÿ£sxyqzÿozÿv~~pÿÿ
                                                          xpÿ̈ÿwÿÿpoÿv~~pÿÿÿxpÿÿwÿÿ;4-,<5-.
                                                          .3=>?-@5;:ABkDAÿ*+,-.ÿ01ÿm.<?ÿI7ÿm.,-4ÿ3@ÿ0-<,9ÿ39ÿ84+?-ÿ,-4©H
  LMNLkNCLOM                                              EE 7ÿ;m.,-4Hÿm.<?Aÿ;J@5-4-.KÿLMNLkNCLOMA
                                   ÿBBPÿ                  m99+.<+5ÿ39ÿj-4+=-ÿouÿ|xuxsÿpqppÿysxy{qzÿnopqrsÿouÿnoÿv~rpqozÿxz{
                                    ;C¶¶ÿFl:A             sqzxpqozÿouÿ¡pyx¢ÿ£o{qzÿ¤¤ÿxÿ~rrsu~ÿ~yrxsyÿ;4-,<5-.
                                                          .3=>?-@5;:ABLCAÿ9+,-.ÿ01ÿ84+?-ÿ,-4©HÿEE 7;j5--,-Hÿ²-@d<?+@Aÿ;J@5-4-.K
  LMNLkNCLOM                                              LMNLkNCLOMA
117 11! "#$55524%5&''2'2'5(5(45                                                              )'1543
012312425Case 2:21-cv-04913-VAP-AS                Document678ÿ ÿFiled
                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 400 of 494 Page ID
  *+,*-,.*/+                       ÿ112ÿ                  899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGHIJÿKLMNJOJÿPQRLMNSIRÿGJTSUQÿJEÿVWXÿYMJZJOQN
                                                           #:2280
                                    3.2ÿ4567              [OOH\ZTSJIÿLINÿ[OOSRI\QITÿJEÿ]^QUHTJM_ÿKJITMLUTOÿLINÿ̀IQ^ZSMQN
                                                          aQLOQOÿSIÿKJIIQUTSJIÿbSTcÿdLeQÿLINÿVWWXÿ[OOJUSLTQNÿKHMQÿKJOTOfÿ[\QINQN
                                                          KHMQÿGJTSUQÿLINÿ[\QINQNÿdLeQÿgJTSJIÿGJTSUQÿ3BAh<>A;ÿ;?CijAk>367-/l7
                                                          9:hA;ÿmnÿoB:jAÿphABqrÿsspt3@>AAhArÿuAkv<j:k7ÿ3wk>ABA;xÿ*+,*-,.*/+7
                                   ÿ11+ÿ                  z?>:CAÿ?9ÿ8;v?iBkjAk>ÿ?9ÿ{A<B:k5ÿJIÿdLeQÿgJTSJIÿEMJ\ÿ[HRHOTÿ|fÿ}~|
                                    3.ÿ4567               LTÿ}~~ÿYgÿV]XÿTJÿ[HRHOTÿfÿ}~|ÿLTÿ}~~ÿYgÿV]Xÿ3BAh<>A;
                                                          ;?CijAk>367227ÿ9:hA;ÿmnÿp<BB:Aÿÿ{<B;j<kÿ?kÿmA<h9ÿ?9ÿAh<>:=:>n
                                                          A;:<rÿssptÿ:>ÿA<B:k5ÿ>?ÿmAÿAh;ÿ?kÿ+,l,.*/+ÿ<>ÿ*.x**ÿoÿ<>
  *+,*y,.*/+                                              p?iB>B??jÿy/2ÿ3w7ÿ3{<B;j<krÿp<BB:A7ÿ3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ11lÿ                  z?>:CAÿ?9ÿ85Ak;<ÿJEÿgLTTQMOÿdUcQNHeQNÿEJMÿQLMSIRÿJIÿ[HRHOTÿ|fÿ}~|ÿLT
                                    3+ÿ4567               }~~ÿYgÿV]Xÿ3BAh<>A;ÿ;?CijAk>367./-rÿ-1+rÿ/27ÿ9:hA;ÿmnÿp<BB:Aÿ
                                                          {<B;j<kÿ?kÿmA<h9ÿ?9ÿAh<>:=:>nÿA;:<rÿssptÿ:>ÿA<B:k5ÿ>?ÿmAÿAh;ÿ?k
                                                          +,+,.*/+ÿ<>ÿ*.x**ÿoÿ<>ÿp?iB>B??jÿy/2ÿ3w7ÿ3{<B;j<krÿp<BB:A7
  *+,*y,.*/+                                              3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ1*ÿ                  899:;<=:>ÿ?9ÿ@AB=:CAÿJEÿGHIJÿKLMNJOJÿPQRLMNSIRÿGJTSUQÿJEÿVWXÿYMJZJOQN
                                    3/lÿ4567              [OOH\ZTSJIÿLINÿ[OOSRI\QITÿJEÿ]^QUHTJM_ÿKJITMLUTOÿLINÿ̀IQ^ZSMQN
                                                          aQLOQOÿSIÿKJIIQUTSJIÿbSTcÿdLeQÿLINÿVWWXÿ[OOJUSLTQNÿKHMQÿKJOTOfÿ[\QINQN
                                                          GJTSUQÿJEÿVWXÿYMJZJOQNÿ[OOH\ZTSJIÿLINÿ[OOSRI\QITÿJEÿ]^QUHTJM_
                                                          KJITMLUTOÿLINÿ̀IQ^ZSMQNÿaQLOQOÿSIÿKJIIQUTSJIÿbSTcÿdLeQÿLINÿVWWX
                                                          [OOJUSLTQNÿKHMQÿKJOTOfÿ[\QINQNÿGJTSUQÿJEÿdLeQÿgJTSJIÿLINÿDZZJMTHIST_
                                                          TJÿdH\STÿLÿKJ\ZQTSIRÿDEEQMÿLINÿGJTSUQÿJEÿGJÿ[HUTSJIÿLINÿQOSRILTSJI
                                                          JEÿ̀eTMLÿJeNSIROÿaaKÿLOÿdHUUQOOEHeÿYHMUcLOQMÿ3BAh<>A;
                                                          ;?CijAk>3671*.rÿ-/l7ÿ:hA;ÿmnÿ8;<jÿtÿ8;hABÿ?kÿmA<h9ÿ?9ÿoB:jAÿphABqr
  *+,*y,.*/+                                              ssptÿ38;hABrÿ8;<j7ÿ3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ1/ÿ                  ACh<B<>:?kÿJEÿKJeSIÿgÿ[NL\OÿSIÿHMTcQMÿdHZZJMTÿJEÿV[XÿeJLe
                                    3+ÿ4567               dQTTeQ\QITÿgJTSJIfÿVXÿWYÿgJTSJIfÿLINÿVKXÿdLeQÿgJTSJIÿ3BAh<>A;
                                                          ;?CijAk>36722rÿ-1+rÿ/27ÿ9:hA;ÿmnÿp<BB:Aÿÿ{<B;j<kÿ?kÿmA<h9ÿ?9
                                                            Ah<>:=:>nÿA;:<rÿssptÿ:>ÿA<B:k5ÿ>?ÿmAÿAh;ÿ?kÿ+,+,.*/+ÿ<>ÿ*.x**ÿo
  *+,*y,.*/+                                              <>ÿp?iB>B??jÿy/2ÿ3w7ÿ3{<B;j<krÿp<BB:A7ÿ3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ1.ÿ                  ACh<B<>:?kÿDEÿLSNÿPJSIOÿWIÿdHZZJMTÿDEÿcQÿQTJMOÿVWXÿgJTSJIÿJ
                                    3/.ÿ4567              DTLSIÿYJOTYQTSTSJIÿSILIUSIRÿ[INÿPQeLTQNÿPQeSQEÿ[INÿVWWXÿdLeQÿgJTSJI
                                                          3BAh<>A;ÿ;?CijAk>36722rÿ/27ÿ9:hA;ÿmnÿ8;<jÿpB<:5ÿ{<BB:6ÿ?kÿmA<h9ÿ?9
  *+,*y,.*/+                                              h>B<ÿ{?h;:k56ÿssptÿ3{<BB:6rÿ8;<j7ÿ3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ1-ÿ                  ?k>hnÿAAÿ@><>AjAk>ÿÿGJTSUQÿJEÿSeSIRÿJEÿKJ\SIQNÿgJITce_ÿdTLEESIR
                                    3.*ÿ4567              PQZJMTÿLINÿKJ\ZQIOLTSJIÿdTLTQ\QITÿ_ÿgWWWÿYLMTIQMOÿEJMÿTcQÿYQMSJNÿJE
                                                          He_ÿfÿ}~|ÿcMJHRcÿHe_ÿfÿ}~|ÿ:hA;ÿmnÿp<BB:Aÿÿ{<B;j<kÿ?kÿmA<h9
  *+,*y,.*/+                                              ?9ÿAh<>:=:>nÿA;:<rÿssptÿ3{<B;j<krÿp<BB:A7ÿ3wk>ABA;xÿ*+,*y,.*/+7
                                   ÿ11ÿ                  z?>:CAÿ?9ÿ8;v?iBkjAk>ÿ?9ÿ{A<B:k5ÿJIÿKQMTLSIÿgLTTQMOÿMJ\ÿ[HRHOTÿ|f
                                    3.ÿ4567               }~|ÿLTÿ}~~ÿYgÿV]XÿTJÿ[HRHOTÿfÿ}~|ÿLTÿ}~~ÿYgÿV]Xÿ3BAh<>A;
                                                          ;?CijAk>367-1+rÿ/27ÿ9:hA;ÿmnÿp<BB:Aÿÿ{<B;j<kÿ?kÿmA<h9ÿ?9ÿAh<>:=:>n
                                                          A;:<rÿssptÿ:>ÿA<B:k5ÿ>?ÿmAÿAh;ÿ?kÿ+,l,.*/+ÿ<>ÿ*.x**ÿoÿ<>
  *+,*2,.*/+                                              p?iB>B??jÿy/2ÿ3w7ÿ3{<B;j<krÿp<BB:A7ÿ3wk>ABA;xÿ*+,*2,.*/+7
                                   ÿ1ÿ                  z?>:CAÿ?9ÿ8;v?iBkjAk>ÿ?9ÿ{A<B:k5ÿJIÿTcQÿdLeQÿgJTSJIÿEMJ\ÿ[HRHOTÿf
                                    3.ÿ4567               }~|ÿTJÿ[HRHOTÿfÿ}~|ÿLTÿ~~ÿ[gÿV]Xÿ3BAh<>A;ÿ;?CijAk>367227ÿ9:hA;
                                                          mnÿp<BB:Aÿÿ{<B;j<kÿ?kÿmA<h9ÿ?9ÿAh<>:=:>nÿA;:<rÿssptÿ:>ÿA<B:k5
                                                          >?ÿmAÿAh;ÿ?kÿ+,/1,.*/+ÿ<>ÿ//x**ÿ8ÿ<>ÿp?iB>B??jÿy/2ÿ3w7
  *+,*2,.*/+                                              3{<B;j<krÿp<BB:A7ÿ3wk>ABA;xÿ*+,*2,.*/+7
117 11! "#$55524%5&''2'2'5(5(45                                                          )%1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 401 of 494 Page ID
  *+,*-,.*/+                       ÿ123ÿ             9:;<=>ÿ:?ÿ@6>ABCÿDEÿGHIIJKLÿMNOJPQRJPÿEDKÿSJHKTUVÿDUÿWQVQLIÿXYÿZ[\]ÿHI
                                                           #:2281
                                    4+ÿ5678          Z^[[ÿ_Gÿ̀aÿ4b>cC;>BÿB:=de>A;478f1+gÿ/-8ÿh<c>BÿijÿkCbb<>ÿlÿmCbBeCAÿ:A
                                                     i>nCc?ÿ:?ÿo>cC;<p<;jÿq>B<Cgÿrrksÿt<;nÿn>Cb<A6ÿ;:ÿi>ÿn>cBÿ:Aÿ+,u,.*/+ÿC;
                                                     *.v**ÿwqÿC;ÿk:db;b::eÿ3/-ÿ4qxy8ÿ4mCbBeCAgÿkCbb<>8ÿ4xA;>b>Bv
                                                     *+,*-,.*/+8
                                   ÿ12-ÿ             @??<BCp<;ÿ:?ÿz>bp<=>ÿ4b>cC;>BÿB:=de>A;47812.8ÿ?<c>Bÿijÿ@BCeÿkbC<6
                                    4/1ÿ5678         mCbb<7ÿ:Aÿi>nCc?ÿ:?ÿ{c;bClÿm:cB<A67ÿrrksÿ4mCbb<7gÿ@BCe8ÿ4xA;>b>Bv
  *+,*-,.*/+                                         *+,*-,.*/+8
                                   ÿ12+ÿ             @??<BCp<;ÿ:?ÿz>bp<=>ÿDEÿ|QUDÿ}HKPDLDÿ~JVHKPTUVÿ|DITNJÿDEÿWPDQKUJUI
                                    4uÿ5678          DEÿSJHKTUVÿDUÿMHRJÿGDITDUÿEKDÿWQVQLIÿ]YÿZ[\]ÿHIÿZ^[[ÿÿ`aÿID
                                                     WQVQLIÿXYÿZ[\]ÿHIÿZ^[[ÿÿ`aYÿ|DITNJÿDEÿWVJUPHÿDEÿGHIIJKLÿMNOJPQRJP
                                                     EDKÿSJHKTUVÿDUÿWQVQLIÿ]YÿZ[\]ÿHIÿZ^[[ÿÿ`aYÿHUPÿJNRHKHITDUÿDE
                                                     }DRTUÿGÿWPHLÿTUÿQKIOJKÿMQDKIÿDEÿWÿRDHRÿMJIIRJJUIÿGDITDUYÿ
                                                       _ÿGDITDUYÿHUPÿ}ÿMHRJÿGDITDUÿ4b>cC;>BÿB:=de>A;47812/gÿ11ugÿ11+8
                                                     h<c>Bÿijÿ@BCeÿqsÿ@Bc>bÿ:Aÿi>nCc?ÿ:?ÿwb<e>ÿkc>bgÿrrksÿ4@Bc>bgÿ@BCe8
  *+,*-,.*/+                                         4xA;>b>Bvÿ*+,*-,.*/+8
                                   ÿ12uÿ             9:;<=>ÿ:?ÿ@B:dbAe>A;ÿ:?ÿm>Cb<A6ÿDUÿ}JKIHTUÿGHIIJKLÿKDÿWQVQLIÿ]Y
                                    4.ÿ5678          Z[\]ÿHIÿZ^[[ÿ_Gÿ`aÿIDÿWQVQLIÿXYÿZ[\]ÿHIÿZ^[[ÿ_Gÿ`aÿHUP
                                                     }HUNJRRHITDUÿDEÿWQVQLIÿ]YÿZ[\]ÿSJHKTUVÿ4b>cC;>BÿB:=de>A;478./f8ÿ?<c>B
                                                     ijÿkCbb<>ÿlÿmCbBeCAÿ:Aÿi>nCc?ÿ:?ÿo>cC;<p<;jÿq>B<Cgÿrrksÿ4mCbBeCAg
  *+,*-,.*/+                                         kCbb<>8ÿ4xA;>b>Bvÿ*+,*-,.*/+8
                                   ÿ13*ÿ             9:;<=>ÿ:?ÿwb:5:7>BÿbB>bÿÿ|DITNJÿDEÿTRTUVÿDEÿ_KDDLJPÿTUHRÿKPJK^ÿ
                                    433ÿ567ÿfÿB:=78 WQIODKTTUVÿIOJÿJIDKLÿIDÿWÿIHTUÿ_DLI_JITITDUÿTUHUNTUVÿHUPÿ
                                                     LJPÿ}HLOÿ}DRRHIJKHRÿÿKHUITUVÿWPJQHIJÿ_KDIJNITDUÿ
                                                     GDPTETUVÿIOJÿWQIDHITNÿMIHÿHUPÿÿKHUITUVÿ~JRHIJPÿ~JRTJEÿ4b>cC;>B
                                                     B:=de>A;478/-8ÿ?<c>BÿijÿkCbb<>ÿlÿmCbBeCAÿ:Aÿi>nCc?ÿ:?ÿo>cC;<p<;j
                                                     q>B<Cgÿrrksÿt<;nÿn>Cb<A6ÿ;:ÿi>ÿn>cBÿ:Aÿ+,u,.*/+ÿC;ÿ*.v**ÿwqÿC;
                                                     k:db;b::eÿ3/-ÿ4qxy8ÿ4@;;C=ne>A;7vÿÿ/ÿxn<i<;ÿ@ÿÿ.ÿxn<i<;ÿ8
  *+,*+,.*/+                                         4mCbBeCAgÿkCbb<>8ÿ4xA;>b>Bvÿ*+,*+,.*/+8
                                   ÿ13/ÿ             @??<BCp<;ÿ:?ÿz>bp<=>ÿDEÿ|QUDÿ}HKPDLDÿ~JVHKPTUVÿ|DITNJÿDEÿWPDQKUJUI
                                    4/*ÿ5678         DEÿSJHKTUVÿDUÿ}JKIHTUÿGHIIJKLÿEKDÿWQVQLIÿ]YÿZ[\]ÿHIÿZ^[[ÿÿ`aÿID
                                                     WQVQLIÿXYÿZ[\]ÿHIÿZ^[[ÿÿ`aYÿ|DITNJÿDEÿWPDQKUJUIÿDEÿSJHKTUVÿDU
                                                     IOJÿMHRJÿGDITDUÿEKDÿWQVQLIÿXYÿZ[\]ÿIDÿWQVQLIÿ\YÿZ[\]ÿHIÿ\\^[[ÿH
                                                     `aYÿ|DITNJÿDEÿWVJUPHÿDEÿGHIIJKLÿMNOJPQRJPÿEDKÿSJHKTUVÿDUÿWQVQLIÿXY
                                                     Z[\]ÿHIÿZ^[[ÿÿ`aYÿHUPÿ|DITNJÿDEÿWPDQKUJUIÿDEÿSJHKTUVÿDU
                                                     }JKIHTUÿGHIIJKLÿEKDÿWQVQLIÿ]YÿZ[\]ÿHIÿZ^[[ÿÿ`aÿIDÿWQVQLIÿXYÿZ[\]
                                                     HIÿZ^[[ÿÿ`aÿHUPÿ}HUNJRRHITDUÿDEÿWQVQLIÿ]YÿZ[\]ÿSJHKTUVÿ4b>cC;>B
                                                     B:=de>A;478123gÿ122gÿ12ugÿ1218ÿh<c>Bÿijÿ@BCeÿqsÿ@Bc>bÿ:Aÿi>nCc?ÿ:?
  *+,*+,.*/+                                         wb<e>ÿkc>bgÿrrksÿ4@Bc>bgÿ@BCe8ÿ4xA;>b>Bvÿ*+,*+,.*/+8
                                   ÿ13.ÿ             @??<BCp<;ÿ:?ÿz>bp<=>ÿMQRJJUIHRÿEÿWLTKÿÿWLOKHEÿKJVHKPTUV
                                    4.fÿ5678         WJUPJPÿ|DITNJÿDEÿMHRJÿGDITDUÿHUPÿDKIQUTIÿIDÿMQTIÿHÿ}DJITUV
                                                     EEJKYÿ|DITNJÿDEÿ|DÿWQNITDUÿHUPÿJLTVUHITDUÿDEÿRIKHÿSDRPTUVLÿ}ÿHL
                                                     MQNNJLLEQRÿ_QKNOHLJKYÿ|DITNJÿDEÿÿ_KDDLJPÿWLLQITDUÿHUPÿWLLTVUJUI
                                                     DEÿ̀JNQIDKÿ}DUIKHNILÿHUPÿUJTKJPÿJHLJLÿTUÿ}DUUJNITDUÿTIOÿMHRJ
                                                     HUPÿÿWLLDNTHIJPÿ}QKJÿ}DLILYÿHUPÿWJUPJPÿ|DITNJÿDEÿÿ_KDDLJP
                                                     WLLQITDUÿHUPÿWLLTVUJUIÿDEÿ̀JNQIDKÿ}DUIKHNILÿHUPÿUJTKJP
                                                     JHLJLÿTUÿ}DUUJNITDUÿTIOÿMHRJÿHUPÿÿWLLDNTHIJPÿ}QKJÿ}DLILÿ4b>cC;>B
                                                     B:=de>A;4781*.gÿf/u8ÿh<c>Bÿijÿ@BCeÿqsÿ@Bc>bÿ:Aÿi>nCc?ÿ:?ÿwb<e>ÿkc>bg
  *+,*+,.*/+                                         rrksÿ4@Bc>bgÿ@BCe8ÿ4xA;>b>Bvÿ*+,*+,.*/+8
  *+,*+,.*/+                       ÿ13fÿ             @??<BCp<;ÿ:?ÿz>bp<=>ÿDEÿ|QUDÿ}HKPDLDÿ~JVHKPTUVÿ|DITNJÿDEÿTRTUVÿDE
                                    4/1ÿ5678         _KDDLJPÿTEIOÿUIJKTÿKTPVJÿKPJK^ÿÿWQIODKTTUVÿIOJÿJIDKLÿIDÿW
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                                                     *+,-./ÿ123,415,.,.2/ÿ6./-/7./8ÿ-/9ÿ:;<ÿ=35ÿ>-3?ÿ>2@@-,5A-@Bÿ:CC<
                                                           #:2282
                                                     DA-/,./8ÿE95FG-,5ÿ1A2,57,.2/Bÿ:CCC<ÿH29.IJ./8ÿ,?5ÿEG,2K-,.7ÿL,-JBÿ:CM<
                                                     L7?59G@./8ÿ-ÿ6./-@ÿN5-A./8Bÿ-/9ÿ:M<ÿDA-/,./8ÿO5@-,59ÿO5@.5IPÿQ2,.75ÿ2I
                                                     >2AA57,59ÿRS?.+.,ÿ;ÿ,2ÿQ2,.75ÿ2Iÿ6.@./8ÿ2Iÿ1A2T2359ÿ6.I,?ÿC/,5A.Kÿ;A.985
                                                     *A95AUÿ:C<ÿEG,?2A.V./8ÿ,?5ÿW5+,2A3ÿ,2ÿ:E<ÿ*+,-./ÿ123,415,.,.2/ÿ6./-/7./8
                                                     -/9ÿ:;<ÿ=35ÿ>-3?ÿ>2@@-,5A-@Bÿ:CC<ÿDA-/,./8ÿE95FG-,5ÿ1A2,57,.2/Bÿ:CCC<
                                                     H29.IJ./8ÿ,?5ÿEG,2K-,.7ÿL,-JBÿ:CM<ÿL7?59G@./8ÿ-ÿ6./-@ÿN5-A./8Bÿ-/9ÿ:M<
                                                     DA-/,./8ÿO5@-,59ÿO5@.5IPÿ-/9ÿ6.I,?ÿC/,5A.Kÿ;A.985ÿ*A95AUÿ:C<ÿEG,?2A.V./8
                                                     ,?5ÿW5+,2A3ÿ,2ÿ:E<ÿ*+,-./ÿ123,415,.,.2/ÿ6./-/7./8ÿ-/9ÿ:;<ÿ=35ÿ>-3?
                                                     >2@@-,5A-@Bÿ:CC<ÿDA-/,./8ÿE95FG-,5ÿ1A2,57,.2/Bÿ:CCC<ÿH29.IJ./8ÿ,?5
                                                     EG,2K-,.7ÿL,-JBÿ:CM<ÿL7?59G@./8ÿ-ÿ6./-@ÿN5-A./8Bÿ-/9ÿ:M<ÿDA-/,./8
                                                     O5@-,59ÿO5@.5IÿYZ[\]^[_ÿ_`abc[d^Yefggghÿggihÿggjfÿkl\[_ÿmnÿoZlc[ÿp\[Zqh
                                                     rrpsYt^[[\[hÿu[dv]cldfÿYwd^[Z[_xÿyz{yz{iy|zf
                                   ÿg}gÿ             [a\]Z]^l̀dÿ4ÿLGTT@5K5/,-@ÿW57@-A-,.2/ÿ2IÿW-.9ÿO2++./3ÿ./ÿLGTT2A,ÿ2I
                                    Yjÿ~ef          ?5ÿW5+,2A3ÿ:C<ÿH2,.2/ÿ,2ÿ*+,-./ÿ123,415,.,.2/ÿ6./-/7./8ÿ-/9ÿO5@-,59
                                                     O5@.5Iÿ-/9ÿ:CC<ÿL-@5ÿH2,.2/ÿYZ[\]^[_ÿ_`abc[d^Yefhÿgihÿ|fÿkl\[_ÿmn
                                                     _]cÿpZ]lÿ]ZZleÿ̀dÿm[]\kÿ̀kÿ\^Z]ÿ`\_ldeÿrrpsÿY]ZZlehÿ_]cf
  yz{yz{iy|z                                         Ywd^[Z[_xÿyz{yz{iy|zf
                                   ÿg}ÿ              `^la[ÿ̀kÿ[d_]ÿÿQ2,.75ÿ2IÿEK5/959ÿE85/9-ÿ2IÿH-,,5A3ÿL7?59G@59ÿI2A
                                    Yÿ~ef          N5-A./8ÿ2/ÿEG8G3,ÿPÿÿ-,ÿUÿ1Hÿ:R<ÿYZ[\]^[_ÿ_`abc[d^Yefi|jh
                                                     jgzhÿ|fÿl\[_ÿmnÿp]ZZl[ÿÿ]Z_c]dÿ̀dÿm[]\kÿ̀kÿ[\]^ll^nÿ[_l]hÿrrps
                                                     l^ÿ[]Zldÿ^`ÿm[ÿ[\_ÿ̀dÿz{{iy|zÿ]^ÿyixyyÿoÿ]^ÿp`bZ^Z``cÿ}|
  yz{yz{iy|z                                         YwfÿY]Z_c]dhÿp]ZZl[fÿYwd^[Z[_xÿyz{yz{iy|zf
                                   ÿg}}ÿ             kkl_]l^ÿ̀kÿt[Zla[ÿ2IÿQG/2ÿ>-A9232ÿO58-A9./8ÿ;-AÿW-,5ÿQ2,.75ÿ-/9
                                    Yi}ÿ~ef        1A22Iÿ2Iÿ>@-.Kÿ62AKÿkl\[_ÿmnÿoZlc[ÿp\[ZqhÿrrpsYt^[[\[hÿu[dv]cldf
  yz{yz{iy|z                                         Ywd^[Z[_xÿyz{yz{iy|zf
                                   ÿg}ÿ             `^la[ÿ̀kÿp[Z^lkla]^l̀dÿ̀kÿobm\la]^l̀dÿ2Iÿ-955Kÿ>?-KT-8/.5ÿO58-A9./8
                                    Yÿ~ef          Q2,.75ÿ2IÿW5-9@./53ÿI2Aÿ,?5ÿ6.@./8ÿ2Iÿ1A22I3ÿ2Iÿ>@-.Kÿ-/9ÿO557,.2/
                                                     W-K-853ÿ>@-.K3ÿYZ[\]^[_ÿ_`abc[d^Yefjfÿkl\[_ÿmnÿ_]cÿsÿ_\[Zÿ̀d
  yz{y{iy|z                                         m[]\kÿ̀kÿoZlc[ÿp\[ZqhÿrrpsÿY_\[Zhÿ_]cfÿYwd^[Z[_xÿyz{y{iy|zf
                                   ÿg}zÿ             kkl_]l^ÿ̀kÿt[Zla[ÿYZ[\]^[_ÿ_`abc[d^Yefg}gfÿl\[_ÿmnÿ_]cÿpZ]l
                                    Y|gÿ~ef         ]ZZleÿ̀dÿm[]\kÿ̀kÿ\^Z]ÿ`\_ldeÿrrpsÿY]ZZlehÿ_]cfÿYwd^[Z[_x
  yz{y{iy|z                                         yz{y{iy|zf
                                   ÿg}ÿ             [~\nÿ^`ÿ`^l̀dÿW5+,2A3ÿ*K/.+G3ÿO5T@Jÿ./ÿLGTT2A,ÿ2IÿW5+,2A3ÿL-@5
                                    Y|ÿ~ef          H2,.2/ÿYZ[\]^[_ÿ_`abc[d^Yeffÿkl\[_ÿmnÿp]ZZl[ÿÿ]Z_c]dÿ̀dÿm[]\kÿ̀k
  yz{|y{iy|z                                         [\]^ll^nÿ[_l]hÿrrpsÿY]Z_c]dhÿp]ZZl[fÿYwd^[Z[_xÿyz{|y{iy|zf
                                   ÿgyÿ             `^la[ÿ̀kÿ[d_]ÿYZ[\]^[_ÿ_`abc[d^Yeffÿkl\[_ÿmnÿp]ZZl[ÿÿ]Z_c]dÿ̀d
                                    Y}ÿ~ef          m[]\kÿ̀kÿ[\]^ll^nÿ[_l]hÿrrpsÿY]Z_c]dhÿp]ZZl[fÿYwd^[Z[_x
  yz{|y{iy|z                                         yz{|y{iy|zf
                                   ÿgiÿ             `^la[ÿ̀kÿoZ`~`e[_ÿZ_[ZÿÿQ2,.75ÿ2Iÿ1A2T2359ÿL,.TG@-,.2/ÿ-/9ÿ*A95A
                                    Y|ÿ~eÿiÿ_`aef EK2/8ÿW5+,2A3Pÿ=@,A-MÿN2@9./83ÿ>ÿ-/9ÿQ5,I@.SPÿC/7ÿkl\[_ÿmnÿ`d
                                                     r`dclZ[ÿ̀dÿm[]\kÿ̀kÿ[\]^ll^nÿ[_l]hÿrrpsÿl^ÿ[]Zldÿ^`ÿm[ÿ[\_ÿ̀d
                                                     z{|g{iy|zÿ]^ÿ||xyyÿÿ]^ÿp`bZ^Z``cÿ}|ÿYwfÿmv[a^l̀deÿ_b[ÿmn
                                                     z{|g{iy|zhÿY^^]ac[d^exÿÿ|ÿt^l~b\]^l̀dfYr`dclZ[hÿ`dfÿYwd^[Z[_x
  yz{|y{iy|z                                         yz{|y{iy|zf
  yz{|y{iy|z                       ÿgjÿ             `^l̀dÿ^`ÿt`Z^[dÿ¡lc[ÿ¢.,?ÿO53T57,ÿ,2ÿETTA2-@ÿ2IÿL,.TG@-,.2/ÿ-/9
                                    Yÿ~ef          *A95AÿEK2/8ÿW5+,2A3Pÿ=@,A-MÿN2@9./83ÿ>ÿ-/9ÿQ5,I@.SPÿC/7ÿYZ[\]^[_
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                                                     *+,-./012345674ÿ9:;/*ÿ<=ÿ>+?0ÿ@+0A.:B/ÿ+0ÿ</?C;9ÿ+9ÿD/;C1:E:1=ÿF/*:CG
                                                           #:2283
                                                     @@HIÿ2@+0A.:B/Gÿ>+?04ÿ2J01/B/*KÿLMNOLN7LOM4
                                   ÿ565ÿ             QB*/Bÿ3:A0/*ÿ+0ÿMNOLN7LOMÿR?+B1/0:0AÿS:./ÿT:1?ÿD/3P/,1ÿ1+ÿUPPB+EC;ÿ+9
                                    27ÿPA34          R1:P-;C1:+0ÿC0*ÿQB*/BÿU.+0AÿV/<1+B3GÿW;1BCXÿY+;*:0A3ÿ@@HÿC0*
                                                     Z/19;:[Gÿ\0,Iÿ2D/;C1/*ÿV+,ÿ]ÿ56^4ÿT:1?ÿ?/CB:0Aÿ1+ÿ</ÿ?/;*ÿ+0ÿMNO5N7LOMÿC1
                                                     OOKLLÿUFÿC1ÿH+-B1B++.ÿ_O6ÿ2FJ`4ÿ2@+P/aGÿFCB=4ÿ2J01/B/*K
  LMNOLN7LOM                                         LMNOLN7LOM4
                                   ÿ566              bcdeÿghijkÿlmnÿnopeÿgqrÿsjteheuvÿweeÿmixyzejtÿ{i|ÿ}~ÿQB*/B
                                                     3:A0/*ÿ+0ÿMNOLN7LOMÿU-1?+B:a:0AÿR/11;/./01ÿUAB//./01ÿ̀:1?ÿV/<1+B3
                                                     C0*ÿH/B1C:0ÿZ+0V/<1+BÿU99:;:C1/3GÿS?/ÿQ99:,:C;ÿH+..:11//ÿ+9ÿW03/,-B/*
                                                     HB/*:1+B3ÿC0*ÿW;1BCXÿY+;*:0AGÿ@@HIÿ2D/;C1/*ÿV+,ÿ^5M4Iÿ2@+P/aGÿFCB=4
  LMNOLN7LOM                                         iuooeuÿijÿÿbyrdvÿhejtÿ2J01/B/*KÿLMNOLN7LOM4
                                   ÿ56Mÿ             QB*/Bÿ3:A0/*ÿ+0ÿMNOLN7LOMÿU-1?+B:a:0AÿR/11;/./01ÿUAB//./01ÿ̀:1?
                                    2MOÿPA3ÿ^ÿ*+,34 V/<1+B3ÿC0*ÿH/B1C:0ÿZ+0V/<1+BÿU99:;:C1/3GÿS?/ÿQ99:,:C;ÿH+..:11//ÿ+9
                                                     W03/,-B/*ÿHB/*:1+B3ÿC0*ÿW;1BCXÿY+;*:0AGÿ@@HIÿ2D/;C1/*ÿV+,ÿ]ÿ^5M4
  LMNOLN7LOM                                         2@+P/aGÿFCB=4ÿ2J01/B/*KÿLMNOLN7LOM4
                                   ÿ56ÿ             :0C;ÿQB*/Bÿ3:A0/*ÿ+0ÿMNOLN7LOMÿ2\4ÿU-1?+B:a:0Aÿ1?/ÿV/<1+B3ÿ1+ÿ2U4
                                    27ÿPA3ÿ7ÿ*+,34 Q<1C:0ÿ+31/1:1:+0ÿ:0C0,:0AÿC0*ÿ24ÿW3/ÿHC3/ÿH+;;C1/BC;ÿ2\\4
                                                     BC01:0AÿU*/-C1/ÿB+1/,1:+0ÿ2\\\4ÿF+*:9=:0Aÿ1?/ÿU-1+.C1:,ÿR1C=ÿC0*
                                                     2\X4ÿBC01:0AÿD/;C1/*ÿD/;:/9ÿ2D/;C1/*ÿV+,ÿ]ÿO64ÿIÿ2D+-a/C-GÿU0C1:04
  LMNOLN7LOM                                         2J01/B/*KÿLMNOLN7LOM4
                                   ÿ5MLÿ             U99:*CE:1ÿ+9ÿR/BE:,/ÿÿÿÿÿ¡ÿÿ¢£ÿ
                                    2O^ÿPA34         ¤¥ÿ¢£ÿ¦ÿÿ¡ÿÿ§¨ÿ§ÿÿ©
                                                     ª¡«£ÿÿ¬ÿÿ§ÿ­®ÿ̄°±²ÿÿ̄³°°ÿ¥´¨ÿ́µ¶·¸ÿ2B/;C1/*
                                                     *+,-./012345_LGÿ5_4ÿ:;/*ÿ<=ÿU*C.ÿFIÿU*;/Bÿ+0ÿ</?C;9ÿ+9ÿB:./ÿH;/B¹G
  LMNO^N7LOM                                         @@HIÿ2U*;/BGÿU*C.4ÿ2J01/B/*KÿLMNO^N7LOM4
                                   ÿ5MOÿ             Z+1:,/ÿ+9ÿU*º+-B0./01ÿ+9ÿY/CB:0Aÿÿ«ÿª£ÿ©ÿ¨ÿ§ÿ±»®
                                    27ÿPA34          ¯°±²ÿÿ§ÿ±¼®ÿ̄°±²ÿÿ±±³°°ÿ§©ÿµ¶·¸ÿ2B/;C1/*ÿ*+,-./01234664ÿ9:;/*
                                                     <=ÿHCBB:/ÿXÿYCB*.C0ÿ+0ÿ</?C;9ÿ+9ÿD/;C1:E:1=ÿF/*:CGÿ@@HIÿT:1?ÿ?/CB:0A
                                                     1+ÿ</ÿ?/;*ÿ+0ÿMNO_N7LOMÿC1ÿOOKLLÿUFÿC1ÿH+-B1B++.ÿ_O6ÿ2FJ`4
  LMNO^N7LOM                                         2YCB*.C0GÿHCBB:/4ÿ2J01/B/*KÿLMNO^N7LOM4
                                   ÿ5M7ÿ             Z+1:,/ÿ+9ÿUA/0*Cÿ½ÿ¡ÿÿ§¨ÿ§ÿÿ©ÿª¡«£ÿ
                                    26ÿPA34          ¬ÿÿ§ÿ±»®ÿ̄°±²ÿÿ±±³°°ÿ§©ÿµ¶·¸ÿ:;/*ÿ<=ÿHCBB:/ÿX
                                                     YCB*.C0ÿ+0ÿ</?C;9ÿ+9ÿD/;C1:E:1=ÿF/*:CGÿ@@HIÿT:1?ÿ?/CB:0Aÿ1+ÿ</ÿ?/;*ÿ+0
                                                     MNO5N7LOMÿC1ÿOOKLLÿUFÿC1ÿH+-B1B++.ÿ_O6ÿ2FJ`4ÿ2YCB*.C0GÿHCBB:/4
  LMNO^N7LOM                                         2J01/B/*KÿLMNO^N7LOM4
                                   ÿ5M^ÿ             U99:*CE:1ÿ+9ÿR/BE:,/ÿÿ¾¨ÿ«¨¥ÿÿ¿ÀÁ
                                    2O5ÿPA34         ¦¨Àÿ¥£Âÿÿª¥¥ÿÿ¿ÀÁÿª£ÿ©®ÿ¡ÿÿ§ÿ
                                                     ©ÿª¡«£ÿÿ¬ÿÿ§ÿ±»®ÿ̄°±²ÿÿ±±³°°ÿ´¨´®ÿ¡
                                                     ÿ¤¥®ÿª¥£ÿÿ¦ÿ§¨ÿ¿À®ÿÃ£Äÿ¬£
                                                     ÅÅÿÿ£Æ®ÿÇ¡´®ÿ¦ÿª«ÿ·¨ÿÈ«ÿ¥¡ÿÿ§¥¥É£
                                                     ÿª¥£ÿÿ¦ÿ§¨ÿ¿À®ÿÃ£Äÿ¬£ÿÅÅÿ
                                                     £Æ®ÿÇ¡ÿ́2B/;C1/*ÿ*+,-./012345_Gÿ56LGÿ565Gÿ5674ÿ9:;/*ÿ<=ÿB:./
  LMNO^N7LOM                                         H;/B¹Gÿ@@HI2FC;+GÿVCE:*4ÿ2J01/B/*KÿLMNO^N7LOM4
  LMNO^N7LOM                       ÿ5M5ÿ             U99:*CE:1ÿ+9ÿR/BE:,/ÿÿÿÿÿ§¨ÿÿ¡ÿ
                                    2^6ÿPA34         µÇ¸ÿ¤¥ÿ§¨¥ÿÿ§¨ÿÿ¶Æ¡Âÿ¡ÿ
                                                     ÃÆ¥ÿÅÿÿ¡ÿÈ«ÿª£ÿÿµÇÇ¸ÿ§¡ÿ
                                                     ®ÿ§¨ÿ¡ÿÿª£ÿ©ÿÿ¦¥¥ÂÿÿªÀ¨ÿ
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                                                          +,-./0123ÿ566/78ÿ9,ÿ:;<01,2ÿ=2>ÿ?/@132=01,2ÿ,6ÿAB07=CÿD,B>123@ÿEE+
                                                           #:2284
                                                          =@ÿF;<</@@6;BÿG;7<H=@/7ÿ9,01</8ÿI=7ÿ?=0/ÿ9,01</8ÿ=2>ÿG7,,6ÿ,6ÿ+B=1-
                                                          J,7-ÿLMNOPQNRÿRSTUVNWQLXYZ[\]ÿ^_`YÿabONRÿcdÿeMbVNÿfONMgÿhhfÿfOPbVX
                                                          ijNWQkLlQNNON]ÿmNWnPVbWYÿLoWQNMNRpÿ[qr_^r\[_qY
                                   ÿZqsÿ                  hNQQNMÿvÿ9,01</ÿ,6ÿJ1B123ÿ,6ÿw/x1@/>ÿ:@@/0ÿG;7<H=@/ÿ:37//-/20ÿLMNOPQNR
                                    L_^^ÿtjXuÿ^ÿRSTXY     RSTUVNWQLXYyyYÿzbONRÿcdÿfPMMbNÿ{ÿ|PMRVPWÿSWÿcN}POaÿSaÿ~NOPQbbQd
                                                          NRbP]ÿhhfkÿbQ}ÿ}NPMbWjÿQSÿcNÿ}NORÿSWÿqr_r\[_qÿPQÿ__p[[ÿiÿPQ
                                                          fSUMQMSSVÿ_yÿLoYÿLiQQPT}VNWQXpÿÿ_ÿo }bcbQÿiÿÿ\ÿo }bcbQÿmY
  [qr_^r\[_q                                              L|PMRVPW]ÿfPMMbNYÿLoWQNMNRpÿ[qr_^r\[_qY
                                   ÿZq`ÿ                  MPWXTMbtQÿMNjPMRbWjÿ|NPMbWjÿ|NORÿSWÿ[qr[`r\[_qÿPQÿ\p_^ÿtVÿ~opÿzbWPO
                                    L_^\ÿtjXY             }NPMbWjÿMNpÿeuÿ|NPMbWjÿMNpÿVSQbSWÿPUQ}SMbbWjÿQ}NÿRNcQSMXÿPWRÿTNMQPbW
                                                          WSWRNcQSMÿPaabObPQNXÿQSÿNWQNMÿbWQSÿXNQQONVNWQÿPjMNNVNWQÿbQ}ÿQ}NÿaabTbPO
                                                          fSVVbQQNNÿSaÿWXNTUMNRÿfMNRbQSMXÿPWRÿOQMPÿ{ÿ|SORbWjXÿhhfÿlPON
                                                          |NPMbWjkÿ~NVSQNÿNONTQMSWbTÿPTTNXXÿQSÿQ}NÿQMPWXTMbtQÿbXÿMNXQMbTQNRÿUWQbO
                                                          __r_^r\[_qkÿ}NÿQMPWXTMbtQÿVPdÿcNÿbNNRÿPQÿQ}NÿmPWgMUtQTdÿfSUMQ
                                                          fONMgXÿaabTNkÿMPWXTMbtQbSWÿlNMbTNÿijNWTdpÿNlTMbcNMX]ÿhhfkkÿLlNNÿQ}N
                                                          fSUMQXÿNcXbQNÿaSMÿTSWQPTQÿbWaSMVPQbSWÿaSMÿQ}NÿMPWXTMbtQbSWÿlNMbTN
                                                          ijNWTdkYkÿSQbTNÿSaÿWQNWQÿQSÿ~NUNXQÿ~NRPTQbSWÿNPRObWNÿUNÿmd
                                                          qr\[r\[_qkÿlQPQNVNWQÿSaÿ~NRPTQbSWÿ~NUNXQÿUNÿmdÿ̀rZr\[_qkÿ~NRPTQNR
                                                          MPWXTMbtQÿlUcVbXXbSWÿUNÿmdÿ̀r_^r\[_qkÿMPWXTMbtQÿPTTNXXÿbOOÿcN
  [qr_^r\[_q                                              MNXQMbTQNRÿQ}MSUj}ÿ__r_^r\[_qkÿLhNbX]ÿNWbOONYÿLoWQNMNRpÿ[qr_Zr\[_qY
                                   ÿZqÿ                  hNQQNMÿvÿ9,01</ÿ,6ÿ+,2012;/>ÿD/=7123ÿ,2ÿ+/70=12ÿ+;7/ÿ=2>ÿ:@@;-.01,2
                                    L^ÿtjXY               =2>ÿ:@@132-/20ÿ5/<01,2@ÿLMNOPQNRÿRSTUVNWQLXYyyYÿzbONRÿcdÿfPMMbNÿ{
                                                          |PMRVPWÿSWÿcN}POaÿSaÿ~NOPQbbQdÿNRbP]ÿhhfkÿbQ}ÿ}NPMbWjÿQSÿcNÿ}NORÿSW
                                                          qr\`r\[_qÿPQÿ__p[[ÿiÿPQÿfSUMQMSSVÿ_yÿLoYÿL|PMRVPW]ÿfPMMbNY
  [qr_Zr\[_q                                              LoWQNMNRpÿ[qr_Zr\[_qY
                                   ÿZqyÿ                  SQbTNÿSaÿijNWRPÿ,6ÿ=00/7@ÿF<H/>;B/>ÿ6,7ÿD/=7123ÿ,2ÿ:;3;@0ÿ8ÿ
                                    LÿtjXY               =0ÿÿ:ÿÿLMNOPQNRÿRSTUVNWQLXYyyYÿabONRÿcdÿfPMMbNÿ{ÿ|PMRVPWÿSW
                                                          cN}POaÿSaÿ~NOPQbbQdÿNRbP]ÿhhfkÿbQ}ÿ}NPMbWjÿQSÿcNÿ}NORÿSWÿqr_r\[_qÿPQ
                                                          __p[[ÿiÿPQÿfSUMQMSSVÿ_yÿLoYÿL|PMRVPW]ÿfPMMbNYÿLoWQNMNRp
  [qr_Zr\[_q                                              [qr_Zr\[_qY
                                   ÿZqqÿ                  lSÿMRNMNRÿlQbtUOPQbSWÿXbjWNRÿSWÿqr_Zr\[_qÿiVSWjÿNcQSMX]ÿOQMP
                                    L_sÿtjXuÿ\ÿRSTXY      |SORbWjXÿhhfÿPWRÿNQaOb]ÿWTkÿLMNOPQNRÿRSTUVNWQLXYZy\YkÿLSVN]
  [qr_Zr\[_q                                              NXXbTPYÿLoWQNMNRpÿ[qr_Zr\[_qY
                                   ÿZ`[ÿ                  cnNTQbSWÿQSÿSQbSWÿ5/<01,2ÿ=2>ÿw/@/7x=01,2ÿ,6ÿw13H0@ÿ,6ÿG1,2//7
                                    L`ÿtjXuÿ\ÿRSTXY       G1<0;7/@8ÿEE+8ÿw,/70ÿ7=x1@8ÿ=2>ÿ=7BÿD/77-=22ÿ12ÿ+,22/<01,2ÿ10H
                                                          :@@;-.01,2ÿ,6ÿ¡/<;0,7¢ÿ+,207=<0@ÿLMNOPQNRÿRSTUVNWQLXYyyYÿabONRÿcd
                                                          ~SdNÿ£UMÿSWÿcN}POaÿSaÿebSWNNMÿebTQUMNX]ÿhhfkÿLiQQPT}VNWQXpÿÿ_
  [qr_Zr\[_q                                              fNMQbabTPQNÿSaÿlNMbTNYÿL£UM]ÿ~SdNYÿLoWQNMNRpÿ[qr_Zr\[_qY
                                   ÿZ`_ÿ                  hNQQNMÿvÿ9,01</ÿ,6ÿJ1B123ÿ,6ÿF<H/>;B/@ÿ0,ÿ:@@/0ÿG;7<H=@/ÿ:37//-/20
                                    LZ_ÿtjXuÿ\ÿRSTXY      LMNOPQNRÿRSTUVNWQLXYZqs]ÿyyYÿzbONRÿcdÿfPMMbNÿ{ÿ|PMRVPWÿSWÿcN}POaÿSa
                                                          ~NOPQbbQdÿNRbP]ÿhhfkÿbQ}ÿ}NPMbWjÿQSÿcNÿ}NORÿSWÿqr_r\[_qÿPQÿ__p[[
                                                          iÿPQÿfSUMQMSSVÿ_yÿLoYÿLiQQPT}VNWQXpÿÿ_ÿo }bcbQÿiÿ¤ÿlT}NRUONXY
  [qr_sr\[_q                                              L|PMRVPW]ÿfPMMbNYÿLoWQNMNRpÿ[qr_sr\[_qY
                                   ÿZ`\ÿ                  tNMPQbWjÿ~NtSMQÿ6,7ÿ0H/ÿG/71,>ÿ¥;B¢ÿ¦§8ÿÿzbONRÿcdÿfPMMbNÿ{
                                    L\ÿtjXY              |PMRVPWÿSWÿcN}POaÿSaÿ~NOPQbbQdÿNRbP]ÿhhfkÿL|PMRVPW]ÿfPMMbNY
  [qr_sr\[_q                                              LoWQNMNRpÿ[qr_sr\[_qY
  [qr_sr\[_q                       ÿZ`^ÿ                  SQbTNÿSaÿeMStSXNRÿMRNMÿvÿ9,01</ÿ,6ÿJ1B123ÿ,6ÿw/x1@/>ÿG7,.,@/>ÿF=B/
117 11! "#$55524%5&''2'2'5(5(45                                                            )*1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 405 of 494 Page ID
                                    *+,-ÿ/012ÿ3ÿ45617 89:;9ÿ*<=>?@=4ÿ456AB=C@*17DD7ÿEF>=4ÿGHÿI?<<F=ÿJÿK?<4B?Cÿ5CÿG=L?>Eÿ5E
                                                           #:2285
                                                      M=>?@FNF@HÿO=4F?PÿQQIRÿSF@LÿL=?<FC0ÿ@5ÿG=ÿL=>4ÿ5Cÿ-T+UTV,+-ÿ?@ÿ++W,,
                                                      XOÿ?@ÿI5A<@<55BÿU+Dÿ*OYZ7ÿ*X@@?6LB=C@1Wÿ[ÿ+ÿY\LFGF@ÿXÿ]ÿM=NF1=4
                                                      ^<5/51=4ÿ_?>=ÿ̀<4=<ÿ[ÿVÿY\LFGF@ÿaÿ]ÿa>?6b>FC=ÿ@5ÿ̀<F0FC?>ÿ^<5/51=4ÿ_?>=
                                                      `<4=<7*K?<4B?CPÿI?<<F=7ÿ*YC@=<=4Wÿ,-T+cTV,+-7
                                   ÿdedÿ              XEEF4?NF@ÿ5Eÿ_=<NF6=ÿfgÿijklÿikllfÿm;nj9:opnÿqfros;ÿfgÿtfpropk;:
                                    *+3ÿ/017          u;j9opnÿfpÿt;9rjopÿtk9;ÿjp:ÿvwwkxyrofpÿjp:ÿvwwonpx;prÿ8z{;srofpw
                                                      jp:ÿqfros;ÿfgÿvn;p:jÿfgÿ|jrr;9wÿ}s~;:kl;:ÿgf9ÿu;j9opnÿfpÿvknkwrÿ
                                                      ÿjrÿÿjxÿ*<=>?@=4ÿ456AB=C@*17d-UPÿd-D7ÿF>=4ÿGHÿX4?BÿOR
                                                      X4>=<ÿ5CÿG=L?>Eÿ5Eÿ^<FB=ÿI>=<bÿQQIÿI>?FB1ÿX0=C@Rÿ*X4>=<PÿX4?B7
  ,-T+cTV,+-                                          *YC@=<=4Wÿ,-T+cTV,+-7
                                   ÿdecÿ              Q=@@=<ÿÿqfros;ÿfgÿolopnÿfgÿv::orofpjlÿ}s~;:kl;wÿrfÿvww;rÿik9s~jw;
                                    *eVÿ/017          vn9;;x;prÿ*<=>?@=4ÿ456AB=C@*17de+Pÿd-cPÿDD7ÿF>=4ÿGHÿI?<<F=ÿJÿK?<4B?C
                                                      5CÿG=L?>Eÿ5EÿM=>?@FNF@HÿO=4F?PÿQQIRÿSF@LÿL=?<FC0ÿ@5ÿG=ÿL=>4ÿ5Cÿ-T+UTV,+-
                                                      ?@ÿ++W,,ÿXOÿ?@ÿI5A<@<55BÿU+Dÿ*OYZ7ÿ*K?<4B?CPÿI?<<F=7ÿ*YC@=<=4W
  ,-T+UTV,+-                                          ,-T+UTV,+-7
                                   ÿdeUÿ              5@F6=ÿ5EÿX0=C4?ÿÿqfros;ÿfgÿvx;p:;:ÿvn;p:jÿfgÿ|jrr;9wÿ}s~;:kl;ÿgf9
                                    *Dÿ/017           u;j9opnÿfpÿvknkwrÿÿÿjrÿÿv|ÿÿ*<=>?@=4ÿ456AB=C@*17DD7
                                                      F>=4ÿGHÿI?<<F=ÿJÿK?<4B?Cÿ5CÿG=L?>Eÿ5EÿM=>?@FNF@HÿO=4F?PÿQQIRÿSF@L
                                                      L=?<FC0ÿ@5ÿG=ÿL=>4ÿ5Cÿ-T+UTV,+-ÿ?@ÿ++W,,ÿXOÿ?@ÿI5A<@<55BÿU+Dÿ*OYZ7
  ,-T+UTV,+-                                          *K?<4B?CPÿI?<<F=7ÿ*YC@=<=4Wÿ,-T+UTV,+-7
                                   ÿdeDÿ              Q=@@=<ÿÿvx;p:;:ÿqfros;ÿfgÿtfpropk;:ÿu;j9opnÿfpÿt;9rjopÿtk9;ÿjp:
                                    *3ÿ/017           vwwkxyrofpÿjp:ÿvwwonpx;prÿ8z{;srofpwÿ*<=>?@=4ÿ456AB=C@*17d-UPÿDD7
                                                      F>=4ÿGHÿI?<<F=ÿJÿK?<4B?Cÿ5CÿG=L?>Eÿ5EÿM=>?@FNF@HÿO=4F?PÿQQIRÿSF@L
                                                      L=?<FC0ÿ@5ÿG=ÿL=>4ÿ5Cÿ-TVeTV,+-ÿ?@ÿ++W,,ÿXOÿ?@ÿI5A<@<55BÿU+Dÿ*OYZ7
  ,-T+UTV,+-                                          *K?<4B?CPÿI?<<F=7ÿ*YC@=<=4Wÿ,-T+UTV,+-7
                                   ÿde-ÿ              XEEF4?NF@ÿ5Eÿ_=<NF6=ÿfgÿqkpfÿtj9:fwfÿm;nj9:opnÿqfros;ÿfgÿv:{fk9px;pr
                                    *++ÿ/017          fgÿu;j9opnÿfpÿr~;ÿ}jl;ÿ|frofpÿg9fxÿvknkwrÿÿÿrfÿvknkwrÿÿ
                                                      jrÿÿjxÿÿqfros;ÿfgÿvx;p:;:ÿvn;p:jÿfgÿ|jrr;9wÿ}s~;:kl;:ÿgf9
                                                      u;j9opnÿfpÿvknkwrÿÿÿjrÿÿjxÿÿjp:ÿqfros;ÿfgÿolopnÿfg
                                                      m;ow;:ÿvww;rÿik9s~jw;ÿvn9;;x;prÿ*<=>?@=4ÿ456AB=C@*17d-cPÿd-+Pÿd-V7
                                                      EF>=4ÿGHÿ^<FB=ÿI>=<bÿQQIÿI>?FB1ÿX0=C@R*O?>5Pÿ?NF47ÿ*YC@=<=4W
  ,-T+UTV,+-                                          ,-T+UTV,+-7
                                   ÿÿ                 X4N=<1?<HÿI?1=ÿ+W+-]?/]+ccVÿI>51=4RÿLF1ÿX4N=<1?<Hÿ^<56==4FC0ÿF1
                                                      I>51=4ÿ_AG=6@ÿ@5ÿ@L=ÿF>FC0ÿ5Eÿ?ÿ5@F6=ÿ5EÿX//=?>ÿZF@LFCÿ5A<@==Cÿ*+d7
                                                      ?H1ÿ5Eÿ@L=ÿYC@<Hÿ5Eÿ@L=ÿ̀<4=<ÿ=<BFC?@FC0ÿ@LF1ÿX4N=<1?<Hÿ^<56==4FC0R
  ,-T+DTV,+-                                          *=^F=<5>?Pÿ?6A=>FC=7ÿ*YC@=<=4Wÿ,-T+DTV,+-7
                                   ÿdeeÿ              XEEF4?NF@ÿ5Eÿ_=<NF6=ÿ}kyyl;x;prjlÿ8gÿqkpfÿtj9:fwfÿ9;nj9:opnÿqfros;
                                    *d,ÿ/017          fgÿÿi9fyfw;:ÿvwwkxyrofpÿjp:ÿvwwonpx;prÿfgÿ;skrf9ÿtfpr9jsrwÿjp:
                                                      p;yo9;:ÿ;jw;wÿopÿtfpp;srofpÿor~ÿ}jl;ÿjp:ÿÿvwwfsojr;:ÿtk9;
                                                      tfwrwÿvx;p:;:ÿqfros;ÿfgÿÿi9fyfw;:ÿvwwkxyrofpÿjp:ÿvwwonpx;prÿfg
                                                      ;skrf9ÿtfpr9jsrwÿjp:ÿp;yo9;:ÿ;jw;wÿopÿtfpp;srofpÿor~ÿ}jl;ÿjp:
                                                      ÿvwwfsojr;:ÿtk9;ÿtfwrwÿvx;p:;:ÿqfros;ÿfgÿ}jl;ÿ|frofpÿjp:
                                                      8yyf9rkporÿrfÿ}kzxorÿjÿtfxy;ropnÿ8gg;9ÿqfros;ÿfgÿv:{fk9px;prÿfg
                                                      u;j9opnÿfpÿr~;ÿ}jl;ÿ|frofpÿg9fxÿvknkwrÿÿÿrfÿvknkwrÿÿÿjr
                                                      ÿjxÿÿqfros;ÿfgÿ;j:lop;wÿgf9ÿr~;ÿolopnÿfgÿi9ffgwÿfgÿtljox
                                                      jp:ÿm;{;srofpÿjxjn;wÿtljoxwÿjp:ÿy9ffgÿfgÿsljoxÿgf9xÿ*<=>?@=4
                                                      456AB=C@*173+ePÿd-+7ÿF>=4ÿGHÿX4?BÿORÿX4>=<ÿ5CÿG=L?>Eÿ5Eÿ^<FB=ÿI>=<b
  ,-T+DTV,+-                                          QQIÿI>?FB1ÿX0=C@Rÿ*X4>=<PÿX4?B7ÿ*YC@=<=4Wÿ,-T+DTV,+-7
  ,-TV,TV,+-                       ÿc,,ÿ              XEEF4?NF@ÿ5Eÿ_=<NF6=ÿfgÿfk:;l;;pÿtÿ9jpwÿm;nj9:opnÿqfros;ÿfgÿolopnÿfg
117 11! "#$55524%5&''2'2'5(5(45                                                       )01543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 406 of 494 Page ID
                                    )*ÿ,-./           012345637ÿ9:ÿ;7739ÿ<5=12>73ÿ;?=33@3A9BÿC:=D:=>93ÿE:A926FÿGD3=>9HA?
                                                           #:2286
                                                      I3D:=9ÿJ:=ÿ923ÿ<3=H:4ÿK56FÿLMNLBÿOPLQÿ>A4ÿR:9H13ÿ:JÿSH6HA?ÿ:JÿI3TH734
                                                      <=:D:734ÿ0>63ÿG=43=ÿ)UVWXYVZÿZ[\]^V_Y)./`abcÿ̀a*cÿ̀ad/ÿefWVZÿghÿiZX^
                                                      jkÿiZWVUÿ[_ÿgVlXWmÿ[mÿnUf^VÿoWVUpÿqqoÿoWXf^.ÿi-V_Ykÿ)iZWVUcÿiZX^/
                                                      )r_YVUVZsÿtuvbtvbtdu/
                                   ÿwtdÿ              immfZXxfYÿ[mÿyVUxf\Vÿ:JÿR5A:ÿC>=4:7:ÿI3?>=4HA?ÿR:9H13ÿ:JÿSH6HA?ÿ:J
                                    )d*ÿ,-./          ;44H9H:A>6ÿ012345637ÿ9:ÿ;7739ÿ<5=12>73ÿ;?=33@3A9ÿ>A4ÿ;@3A434ÿR:9H13
                                                      :JÿC:A9HA534ÿz3>=HA?ÿ:AÿC3=9>HAÿC5=3ÿ>A4ÿ;775@D9H:Aÿ>A4ÿ;77H?A@3A9
                                                      G{|319H:A7ÿ)UVWXYVZÿZ[\]^V_Y)./`awcÿ̀a}/ÿmfWVZÿghÿnUf^VÿoWVUpÿqqo
  tuvbdvbtdu                                          oWXf^.ÿi-V_Yk)yYVVWVcÿ~V_X^f_/ÿ)r_YVUVZsÿtuvbdvbtdu/
                                   ÿwtbÿ              UZVUÿ.f-_VZÿ[_ÿuvbdvbtduÿX,,U[xf_-ÿX..VYÿ,]U\lX.VÿX-UVV^V_Y
                                    )dtaÿ,-.ÿbÿZ[\./ X,,U[xf_-ÿ.XWVÿ[mÿ\VUYXf_ÿX..VY.ÿmUVVÿX_Zÿ\WVXUÿ[mÿXWWÿWfV_.cÿ\WXf^.c
                                                      f_YVUV.Y.cÿX_ZÿV_\]^gUX_\V.ÿ)[YlVUÿYlX_ÿX.ÿ.VYÿm[UYlÿf_ÿYlVÿX..VYÿ,]U\lX.V
                                                      X-UVV^V_YÿX_ZÿlVUVf_/ÿY[ÿYlVÿVYV_Yÿ,VU^fYYVZÿX,,U[xf_-ÿYlVÿX..]^,Yf[_
                                                      X_ZÿX..f-_^V_Yÿ[mÿ\VUYXf_ÿVV\]Y[Uÿ\[_YUX\Y.ÿX_Zÿ]_V,fUVZÿWVX.V.
                                                      X]Yl[Uff_-ÿYlVÿVgY[U.ÿY[ÿ\[_.]^^XYVÿYUX_.X\Yf[_.ÿUVWXYVZÿY[ÿYlVÿXg[xV
                                                      X_Zÿ-UX_Yf_-ÿ[YlVUÿUVWfVmÿ)VWXYVZÿ[\ÿÿ}}/kÿ)VnfVU[WXcÿX\]VWf_V/
  tuvbdvbtdu                                          )r_YVUVZsÿtuvbdvbtdu/
                                   ÿwt*ÿ              immfZXxfYÿ[mÿyVUxf\Vÿ;@3A434ÿ:JÿK:543633AÿCÿS=>A7ÿI3?>=4HA?ÿR:9H13
                                    )uÿ,-./           :JÿSH6HA?ÿ:Jÿ012345637ÿ9:ÿ;7739ÿ<5=12>73ÿ;?=33@3A9BÿC:=D:=>93ÿE:A926F
                                                      GD3=>9HA?ÿI3D:=9ÿJ:=ÿ923ÿ<3=H:4ÿK56FÿLMNLBÿOPLQBÿ>A4ÿR:9H13ÿ:JÿSH6HA?ÿ:J
                                                      I3TH734ÿ<=:D:734ÿ0>63ÿG=43=ÿ)UVWXYVZÿZ[\]^V_Y)./`abcÿ̀a*cÿ̀adcÿwtt/
                                                      mfWVZÿghÿnUf^VÿoWVUpÿqqoÿoWXf^.ÿi-V_Yk)yYVVWVcÿ~V_X^f_/ÿ)r_YVUVZs
  tuvbdvbtdu                                          tuvbdvbtdu/
                                   ÿwt`ÿ              immfZXxfYÿ[mÿyVUxf\Vÿ05DD63@3A9>6ÿ:Jÿ;7H=ÿÿ;72=>JÿI3?>=4HA?
                                    )**ÿ,-./          ;@3A434ÿR:9H13ÿ:Jÿ0>63ÿE:9H:Aÿ>A4ÿGDD:=95AH9Fÿ9:ÿ05{@H9ÿ>ÿC:@D39HA?
                                                      GJJ3=BÿR:9H13ÿ:Jÿ0>63BÿR:9H13ÿ:Jÿ3>46HA3ÿI35H=HA?ÿ05{@H77H:Aÿ:Jÿ<=::J7
                                                      :JÿC6>H@ÿ:Aÿ:=ÿ3J:=3ÿ03D93@{3=ÿLOBÿOPLQBÿ>A4ÿI36>934ÿ<=:1345=37ÿJ:=
                                                      05{@H99HA?ÿ<=::J7ÿ:JÿC6>H@ÿHAÿ923ÿ;{:T3MC>D9H:A34ÿC2>D93=ÿLLÿC>737
                                                      >A4ÿ;ÿD=::Jÿ:Jÿ16>H@ÿJ:=@ÿ)UVWXYVZÿZ[\]^V_Y)./`tb/ÿmfWVZÿghÿnUf^VÿoWVUp
  tuvbbvbtdu                                          qqoÿoWXf^.ÿi-V_Yk)yYVVWVcÿ~V_X^f_/ÿ)r_YVUVZsÿtuvbbvbtdu/
                                   ÿwtwÿ              immfZXxfYÿ[mÿyVUxf\Vÿ:JÿR5A:ÿC>=4:7:ÿI3?>=4HA?ÿR:9H13ÿ:Jÿÿ<=:D:734
                                    )bbÿ,-./          ;775@D9H:Aÿ>A4ÿ;77H?A@3A9ÿ:Jÿ3159:=FÿC:A9=>197ÿ>A4ÿA3DH=34
                                                      3>737ÿHAÿC:AA319H:AÿH92ÿ0>63ÿ>A4ÿÿ;77:1H>934ÿC5=3ÿC:797Bÿ;@3A434
                                                      R:9H13ÿ:Jÿÿ<=:D:734ÿ;775@D9H:Aÿ>A4ÿ;77H?A@3A9ÿ:Jÿ3159:=F
                                                      C:A9=>197ÿ>A4ÿA3DH=34ÿ3>737ÿHAÿC:AA319H:AÿH92ÿ0>63ÿ>A4ÿ
                                                      ;77:1H>934ÿC5=3ÿC:797ÿ>A4ÿ01234563ÿÿ)UVWXYVZÿZ[\]^V_Y)./*da/ÿmfWVZÿgh
  tuvb*vbtdu                                          nUf^VÿoWVUpcÿqqok)yYVVWVcÿ~V_X^f_/ÿ)r_YVUVZsÿtuvb*vbtdu/
                                   ÿwtÿ              [Yf\Vÿ[mÿiZ[]U_^V_Yÿ[mÿVXUf_-ÿÿR:9H13ÿ:Jÿ;4|:5=A@3A9ÿ:Jÿz3>=HA?ÿ:J
                                    )bÿ,-./           C:A9HA534ÿz3>=HA?ÿ:AÿC3=9>HAÿC5=3ÿ>A4ÿ;775@D9H:Aÿ>A4ÿ;77H?A@3A9
                                                      G{|319H:A7ÿ)UVWXYVZÿZ[\]^V_Y)./}}/ÿmfWVZÿghÿoXUUfVÿÿXUZ^X_ÿ[_ÿgVlXWm
                                                      [mÿVWXYfxfYhÿjVZfXcÿqqokÿfYlÿlVXUf_-ÿY[ÿgVÿlVWZÿ[_ÿavbtvbtduÿXYÿddstt
  tuvb*vbtdu                                          ijÿXYÿo[]UYU[[^ÿd}ÿ)jr/ÿ)XUZ^X_cÿoXUUfV/ÿ)r_YVUVZsÿtuvb*vbtdu/
                                   ÿwt}ÿ              qVYYVUÿR:9H13ÿ:JÿC>A1366>9H:Aÿ:Jÿz3>=HA?ÿ:Aÿ;5?579ÿOBÿOPLQÿ>9ÿLLPP
                                    )dÿ,-/            >@ÿ)UVWXYVZÿZ[\]^V_Y)./wt/ÿefWVZÿghÿoXUUfVÿÿXUZ^X_ÿ[_ÿgVlXWmÿ[m
  tuvb`vbtdu                                            VWXYfxfYhÿjVZfXcÿqqokÿ)XUZ^X_cÿoXUUfV/ÿ)r_YVUVZsÿtuvb`vbtdu/
  tuvb`vbtdu                       ÿwtuÿ              immfZXxfYÿ[mÿyVUxf\Vÿ:JÿR5A:ÿC>=4:7:ÿI3?>=4HA?ÿG=43=ÿÿ;DD=:THA?
                                    )dtÿ,-./          ;7739ÿ<5=12>73ÿ;?=33@3A9ÿÿ;DD=:THA?ÿ0>63ÿ:JÿC3=9>HAÿ;77397ÿS=33
                                                      >A4ÿC63>=ÿ:Jÿ;66ÿH3A7BÿC6>H@7BÿA93=3797Bÿ>A4ÿA15@{=>A137ÿG923=
                                                        2>Aÿ>7ÿ039ÿS:=92ÿHAÿ923ÿ;7739ÿ<5=12>73ÿ;?=33@3A9ÿ>A4ÿ23=3HAÿ9:ÿ923
117 11! "#$55524%5&''2'2'5(5(45                                                         &41543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 407 of 494 Page ID
                                                   )*+,-+ÿ/,012++,34ÿ56667ÿ8990:;2-<ÿ+=,ÿ8>>?19+2:-ÿ@-3ÿ8>>2<-1,-+ÿ:A
                                                           #:2287
                                                   B,0+@2-ÿ)*,C?+:0DÿB:-+0@C+>ÿ@-3ÿE-,*920,3ÿF,@>,>4ÿ56G7ÿ8?+=:02H2-<ÿ+=,
                                                   I,J+:0>ÿ+:ÿB:->?11@+,ÿK0@->@C+2:->ÿL,M@+,3ÿ+:ÿ+=,ÿ8J:;,4ÿ@-3ÿ5G7
                                                   N0@-+2-<ÿO+=,0ÿL,M2,AÿQRSTUVSWÿWXYZ[S\VQ]^_`a^ÿbcTSWÿdeÿfWU[ÿghÿfWTSR
                                                   X\ÿdSiUTjÿXjÿkRc[SÿlTSRmÿnnlÿlTUc[]ÿfoS\VhÿQfWTSRpÿfWU[^ÿQq\VSRSWr
                                                   `stauta`vs^
                                   ÿ_`wÿ           fjjcWUycVÿXjÿzSRycYSÿ:Aÿ{?-:ÿB@03:>:ÿL,<@032-<ÿ{:+2C,ÿ:Aÿ83|:?0-1,-+
                                    Qv`ÿxo]^       :AÿB:-+2-?,3ÿ},@02-<ÿ:-ÿB,0+@2-ÿB?0,ÿ@-3ÿ8>>?19+2:-ÿ@-3ÿ8>>2<-1,-+
                                                   OJ|,C+2:->ÿQRSTUVSWÿWXYZ[S\VQ]^_`~^ÿjcTSWÿdeÿkRc[SÿlTSRmÿnnlÿlTUc[]
  `stasta`vs                                       foS\VhQgUTXpÿUycW^ÿQq\VSRSWrÿ̀stasta`vs^
                                   ÿ_v`ÿ           fjjcWUycVÿXjÿzSRycYSÿ:Aÿ{?-:ÿB@03:>:ÿL,<@032-<ÿ{:+2C,ÿ:Aÿ567ÿ/0:9:>,3
                                    Qvvÿxo]^       8>>?19+2:-ÿ@-3ÿ8>>2<-1,-+ÿ:Aÿ)*,C?+:0DÿB:-+0@C+>ÿ@-3ÿE-,*920,3
                                                   F,@>,>ÿ2-ÿB:--,C+2:-ÿ2+=ÿ@M,ÿ@-3ÿ5667ÿ8>>:C2@+,3ÿB?0,ÿB:>+>ÿ@-3
                                                   81,-3,3ÿ{:+2C,ÿ:Aÿ567ÿ/0:9:>,3ÿ8>>?19+2:-ÿ@-3ÿ8>>2<-1,-+ÿ:A
                                                   )*,C?+:0DÿB:-+0@C+>ÿ@-3ÿE-,*920,3ÿF,@>,>ÿ2-ÿB:--,C+2:-ÿ2+=ÿ@M,ÿ@-3
                                                   5667ÿ8>>:C2@+,3ÿB?0,ÿB:>+>ÿQRSTUVSWÿWXYZ[S\VQ]^vw^ÿjcTSWÿdeÿkRc[SÿlTSRm
  `stasta`vs                                       nnlÿlTUc[]ÿfoS\VhQzVSSTSpÿS\U[c\^ÿQq\VSRSWrÿ̀stasta`vs^
                                   ÿ_vvÿ           XVcYSÿXjÿfxxSURU\YSÿ@-3ÿI,1@-3ÿA:0ÿ,0;2C,ÿ:Aÿ/@9,0>ÿ/?0>?@-+ÿ+:
                                    Q_ÿxo]ÿaÿWXY]^ @-0?9+CDÿL?M,ÿÿjcTSWÿdeÿX\UTWÿghÿSRS\cÿX\ÿdSiUTjÿXjÿlU\UT
                                                   kRXWZYVcX\]pÿ\YhhÿQfVVUYi[S\V]rÿÿvÿfjjcWUycVÿXjÿzSRycYS^QSRS\cp
  `stvta`vs                                       X\UTW^ÿQq\VSRSWrÿ̀stvta`vs^
                                   ÿ_vaÿ           nSVVSRÿ{:+2C,ÿ:Aÿ)*+,->2:-ÿ:Aÿ+@+,3ÿ@+?02+DÿI@+,ÿ/?0>?@-+ÿ+:ÿ2-@M
                                    Qaÿxo]^        O03,0ÿ567ÿ8?+=:02H2-<ÿ+=,ÿI,J+:0>ÿ+:ÿ587ÿOJ+@2-ÿ/:>+9,+2+2:-ÿ2-@-C2-<
                                                   @-3ÿ57ÿE>,ÿB@>=ÿB:MM@+,0@M4ÿ5667ÿN0@-+2-<ÿ83,?@+,ÿ/0:+,C+2:-4ÿ56667
                                                   :32AD2-<ÿ+=,ÿ8?+:1@+2Cÿ+@D4ÿ@-3ÿ56G7ÿN0@-+2-<ÿL,M@+,3ÿL,M2,AÿQRSTUVSW
                                                   WXYZ[S\VQ]^uwpÿv^ÿbcTSWÿdeÿlURRcSÿÿURW[U\ÿX\ÿdSiUTjÿXjÿSTUVcycVe
  `stvta`vs                                       gSWcUpÿnnlhÿQURW[U\pÿlURRcS^ÿQq\VSRSWrÿ̀stvta`vs^
                                   ÿ_vÿ           fxxTcYUVcX\ÿVXÿq[xTXeÿkRc[SÿlTSRmÿU]ÿfW[c\c]VRUVcySÿfWyc]XRÿ{:+2C,ÿ:A
                                    Quaÿxo]^       /0,>,-+1,-+ÿ:AÿI,J+:0>ÿ899M2C@+2:-ÿA:0ÿ@-ÿO03,0ÿ8?+=:02H2-<
                                                   )19M:D1,-+ÿ@-3ÿL,+,-+2:-ÿ:Aÿ/021,ÿBM,0ÿFFBÿ@>ÿ8312-2>+0@+2;,
                                                   83;2>:0ÿ{?-Cÿ/0:ÿK?-Cÿ+:ÿ+=,ÿ/,+2+2:-ÿI@+,ÿjcTSWÿdeÿlURRcSÿÿURW[U\
                                                   X\ÿdSiUTjÿXjÿSTUVcycVeÿgSWcUpÿnnlÿS]xX\]S]ÿWZSÿdeÿwtvta`vspÿcVi
                                                   xRS]S\V[S\VÿVXÿdSÿiSTWÿX\ÿwtvsta`vsÿUVÿvar̀`ÿkgÿUVÿlXZRVRXX[ÿ~v
  `stvta`vs                                       Qgq^hÿQURW[U\pÿlURRcS^ÿQq\VSRSWrÿ̀stvta`vs^
                                   ÿ_vuÿ           fjjcWUycVÿXjÿzSRycYSÿ5?99M,1,-+@M7ÿ:Aÿ@0:-ÿK=:19>:-ÿL,<@032-<
                                    Qvwÿxo]^       {:+2C,ÿ:Aÿ567ÿ/0:9:>,3ÿ8>>?19+2:-ÿ@-3ÿ8>>2<-1,-+ÿ:Aÿ)*,C?+:0D
                                                   B:-+0@C+>ÿ@-3ÿE-,*920,3ÿF,@>,>ÿ2-ÿB:--,C+2:-ÿ2+=ÿ@M,ÿ@-3ÿ5667
                                                   8>>:C2@+,3ÿB?0,ÿB:>+>ÿ81,-3,3ÿ{:+2C,ÿ:Aÿ567ÿ/0:9:>,3ÿ8>>?19+2:-ÿ@-3
                                                   8>>2<-1,-+ÿ:Aÿ)*,C?+:0DÿB:-+0@C+>ÿ@-3ÿE-,*920,3ÿF,@>,>ÿ2-ÿB:--,C+2:-
                                                   2+=ÿ@M,ÿ@-3ÿ5667ÿ8>>:C2@+,3ÿB?0,ÿB:>+>ÿ@-3ÿ81,-3,3ÿ{:+2C,ÿ:Aÿ@M,
                                                   :+2:-ÿ@-3ÿO99:0+?-2+Dÿ+:ÿ?J12+ÿ@ÿB:19,+2-<ÿOAA,0ÿQRSTUVSW
                                                   WXYZ[S\VQ]^vw^ÿjcTSWÿdeÿkRc[SÿlTSRmÿnnlÿlTUc[]ÿfoS\VhQgUTXpÿUycW^
  `wt̀uta`vs                                       Qq\VSRSWrÿ̀wt̀uta`vs^
  `wt̀_ta`vs                       ÿ_v_ÿ           XVcYSÿXjÿkRS]S\V[S\Vÿ:Aÿ+29?M@+2:-ÿ@-3ÿ8<0,,3ÿO03,0ÿjcTSWÿdeÿgSTc]]U
                                    Qwÿxo]ÿaÿWXY]^ zhÿXXW]ÿX\ÿdSiUTjÿXjÿcRSYVXR]ÿZcTWÿXjÿf[SRcYUpÿ\YhpÿcRSYVXR]ÿZcTW
                                                   Xjÿf[SRcYUpÿ\YhkRXWZYSRÿkS\]cX\ÿU\WÿSUTViÿkTU\]pÿgXVcX\ÿkcYVZRS
                                                   \WZ]VReÿkS\]cX\ÿU\WÿSUTViÿkTU\]pÿzYRSS\ÿfYVXR]ÿZcTWÿÿf[SRcYU\
                                                   bSWSRUVcX\ÿXjÿSTSyc]cX\ÿU\WÿUWcXÿfRVc]V]pÿzYRSS\ÿfYVXR]ÿZcTW
                                                   kRXWZYSR]ÿkS\]cX\ÿÿSUTViÿkTU\]pÿRcVSR]ÿZcTWÿkS\]cX\ÿkTU\ÿU\W
                                                   \WZ]VReÿSUTViÿbZ\WpÿRcVSR]ÿZcTWÿXjÿf[SRcYUpÿS]Vpÿ\YhhÿcVi
                                                   xRS]S\V[S\VÿVXÿdSÿiSTWÿX\ÿwtvata`vsÿUVÿvar̀`ÿkgÿUVÿlXZRVRXX[ÿ~v
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                                                     )*+,-ÿ/012345678ÿ9:2ÿ0;ÿ<=<=>?@ABÿ)C44D3EF2748GÿHÿ@ÿI45J:KD4567ÿD79
                                                           #:2288
                                                     CLM229ÿ/M92M-),6698Bÿ*2K588D-ÿ)+742M29Gÿ?<=?N=>?@A-
                                   ÿN@Oÿ             CPP59DQ54ÿ6PÿI2MQ532ÿRSÿUVWRÿXYZ[R\Rÿ]^_YZ[Ẁ_ÿa^bcRZ\dÿeffg̀hYc̀RW
                                    )<ÿJL8-          SRZÿYWÿiZ[^ZÿeVcjRZk̀Ẁ_ÿlmfgRnm^WcÿYW[ÿ]^c^Wc̀RWÿRSÿoZm̀^ÿXg^ZpÿqqX
                                                     Y\ÿe[mẀ`\cZYc̀r^ÿe[r`\RZÿWVWhÿfZRÿcVWhÿcRÿcj^ÿo^c̀c̀RWÿaYc^ÿ)M2KD429
                                                     963:F274)8-N@s-ÿt5K29ÿ0;ÿC9DFÿ*uÿC9K2Mÿ67ÿ02EDKPÿ6PÿvM5F2ÿwK2Mxÿyyw
  ?<=?O=>?@A                                         wKD5F8ÿCL274uÿ)C9K2MBÿC9DF-ÿ)+742M29Gÿ?<=?O=>?@A-
                                   ÿN@zÿ             *674EK;ÿt22ÿI4D42F274ÿ{ÿURc̀h^ÿRSÿ|g̀Ẁ_ÿRSÿXRmbẀ^[ÿ}RWcjgnÿ~cYSS̀W_
                                    )@AÿJL8-         ]^fRZcÿYW[ÿXRmf^W\Yc̀RWÿ~cYc^m^Wcÿbnÿ}ÿoYZcW^Z\ÿSRZÿcj^ÿo^ZR̀[ÿRS
                                                     eV_V\cÿÿÿjZRV_jÿeV_V\cÿÿÿt5K29ÿ0;ÿwDMM52ÿÿDM9FD7ÿ67
                                                     02EDKPÿ6Pÿ2KD45Q54;ÿ*295DBÿyywuÿ)DM9FD7BÿwDMM52-ÿ)+742M29G
  ?<=?O=>?@A                                         ?<=?O=>?@A-
                                   ÿN@Aÿ             CPP59DQ54ÿ6PÿI2MQ532ÿRSÿUVWRÿXYZ[R\Rÿ]^_YZ[Ẁ_ÿURc̀h^ÿRSÿlc^W\R̀WÿRS
                                    )<ÿJL8-          ~cYc^[ÿ}YcVZc̀nÿaYc^ÿoVZ\VYWcÿcRÿ|ẀYgÿiZ[^ZÿÿeVcjRZk̀Ẁ_ÿcj^
                                                     a^bcRZ\ÿcRÿeÿibcYẀÿoR\cf^c̀c̀RWÿ|ẀYWhẀ_ÿYW[ÿÿ\^ÿXY\j
                                                     XRggYc^ZYgÿÿZYWc̀W_ÿe[^VYc^ÿoZRc^hc̀RWÿÿ}R[S̀nẀ_ÿcj^
                                                     eVcRmYc̀hÿ~cYnÿYW[ÿÿZYWc̀W_ÿ]^gYc^[ÿ]^g̀^Sÿ)M2KD429
                                                     963:F274)8-N@>-ÿt5K29ÿ0;ÿC9DFÿ*uÿC9K2Mÿ67ÿ02EDKPÿ6PÿvM5F2ÿwK2Mxÿyyw
  ?<=?O=>?@A                                         wKD5F8ÿCL274uÿ)C9K2MBÿC9DF-ÿ)+742M29Gÿ?<=?O=>?@A-
                                   ÿN@<ÿ             I6ÿ/M92M29ÿI45J:KD4567ÿD79ÿCLM229ÿ/M92Mÿ85L729ÿ67ÿ<=@?=>?@Aÿ0;ÿD79
                                    )OÿJL8-          DF67Lÿ4E2ÿwM29546M8ÿw6FF54422Bÿ4E2ÿ2046M8ÿD79ÿ4E2ÿ7567ÿ+7454528ÿ46
                                                     5FJK2F274ÿ32M4D57ÿDLM22F2748ÿ72L645D429ÿDF67Lÿ4E2ÿJDM4528ÿ)M2KD429
  ?<=@?=>?@A                                         963:F274)8-N@N-uÿ)2v52M6KDBÿD3:2K572-ÿ)+742M29Gÿ?<=@?=>?@A-
                                   ÿN>?ÿ             CPP59DQ54ÿ6PÿI2MQ532ÿ~Vffg^m^WcYgÿRSÿUVWRÿXYZ[R\Rÿ]^_YZ[Ẁ_ÿURc̀h^
                                    )@@ÿJL8-         RSÿÿoZRfR\^[ÿe\\Vmfc̀RWÿYW[ÿe\\`_Wm^WcÿRSÿl^hVcRZnÿXRWcZYhc\ÿYW[
                                                     W^fZ̀^[ÿq^Y\^\ÿ̀WÿXRWW^hc̀RWÿc̀jÿ~Yg^ÿYW[ÿÿe\\RhỲc^[ÿXVZ^
                                                     XR\c\ÿYW[ÿem^W[^[ÿURc̀h^ÿRSÿÿoZRfR\^[ÿe\\Vmfc̀RWÿYW[ÿe\\`_Wm^Wc
                                                     RSÿl^hVcRZnÿXRWcZYhc\ÿYW[ÿW^fZ̀^[ÿq^Y\^\ÿ̀WÿXRWW^hc̀RWÿc̀jÿ~Yg^
                                                     YW[ÿÿe\\RhỲc^[ÿXVZ^ÿXR\c\ÿ)M2KD429ÿ963:F274)8-s@<-ÿP5K29ÿ0;ÿvM5F2
  ?<=@?=>?@A                                         wK2MxÿyywÿwKD5F8ÿCL274u)I422K2Bÿ271DF57-ÿ)+742M29Gÿ?<=@?=>?@A-
                                   ÿN>@ÿ             y2442MÿURc̀h^ÿRSÿ|VZcj^Zÿlc^W\R̀WÿRSÿ~cYc^[ÿ}YcVZc̀nÿaYc^ÿoVZ\VYWcÿcR
                                    )>ÿJL8-          |ẀYgÿiZ[^ZÿÿeVcjRZk̀Ẁ_ÿcj^ÿa^bcRZ\ÿcRÿeÿibcYẀÿoR\cf^c̀c̀RW
                                                     |ẀYWhẀ_ÿYW[ÿÿ\^ÿXY\jÿXRggYc^ZYgÿÿZYWc̀W_ÿe[^VYc^
                                                     oZRc^hc̀RWÿÿ}R[S̀nẀ_ÿcj^ÿeVcRmYc̀hÿ~cYnÿYW[ÿÿZYWc̀W_
                                                     ]^gYc^[ÿ]^g̀^Sÿ)M2KD429ÿ963:F274)8-z<BÿN@>-ÿt5K29ÿ0;ÿwDMM52ÿÿDM9FD7
                                                     67ÿ02EDKPÿ6Pÿ2KD45Q54;ÿ*295DBÿyywuÿ)DM9FD7BÿwDMM52-ÿ)+742M29G
  ?<=@s=>?@A                                         ?<=@s=>?@A-
                                   ÿN>>ÿ             t5M84ÿCJJK53D4567ÿP6Mÿ742M5FÿvM6P288567DKÿw6FJ278D4567ÿ{ÿ|Z̀\cÿWc^Zm̀
                                    )z?ÿJL8ÿOÿ9638- |^^ÿeffg̀hYc̀RWÿRSÿ}ÿoYZcW^Z\ÿY\ÿoZRr`[^ZÿRSÿWc^Zm̀ÿ}YWY_^m^Wc
                                                     ~^Zrh̀^\ÿSRZÿcj^ÿa^bcRZ\ÿYW[ÿa^bcRZ\ÿ̀WÿoR\\^\\R̀WÿSRZÿcj^ÿo^ZR̀[ÿSZRm
                                                     }YnÿÿÿjZRV_jÿVgnÿÿÿP6Mÿ*ÿvDM472M8Bÿ/4E2M
                                                     vM6P288567DKBÿJ2M569GÿN=s=>?@Aÿ46ÿz=s@=>?@ABÿP22Gzz@B@s?u??Bÿ2¡J27828G
                                                      >>BAN<u@AuÿP5K29ÿ0;ÿ*ÿvDM472M8ÿ¢54EÿE2DM57Lÿ46ÿ02ÿE2K9ÿ67
                                                     @?=@A=>?@AÿD4ÿ@@G??ÿC*ÿD4ÿw6:M4M66FÿO@zÿ)*+,-ÿ28J67828ÿ9:2ÿ0;
                                                     @?=@@=>?@ABuÿ)C44D3EF2748GÿHÿ@ÿ+¡E5054ÿCÿHÿ>ÿ+¡E5054ÿÿHÿsÿ+¡E5054ÿwÿHÿ
  ?<=@s=>?@A                                         +¡E5054ÿÿHÿNÿ+¡E5054ÿ+-ÿ)DM9FD7BÿwDMM52-ÿ)+742M29Gÿ?<=@s=>?@A-
  ?<=@=>?@A                       ÿN>sÿ             CPP59DQ54ÿ6PÿI2MQ532ÿRSÿe\Z̀ÿ£ÿe\jZYSÿ]^_YZ[Ẁ_ÿem^W[^[ÿURc̀h^ÿRSÿ~Yg^
                                    )s>ÿJL8-         }Rc̀RWÿYW[ÿiffRZcVWc̀nÿcRÿ~Vbmc̀ÿYÿXRmf^c̀W_ÿiSS^ZÿURc̀h^ÿRSÿ~Yg^
                                                     URc̀h^ÿRSÿa^Y[g̀W^ÿ]^VZ̀Ẁ_ÿ~Vbm`\\R̀WÿRSÿoZRRS\ÿRSÿXgYm̀ÿRWÿRZ
                                                     ^SRZ^ÿ~^fc^mb^ZÿÿÿYW[ÿ]^gYc^[ÿoZRh^[VZ^\ÿSRZÿ~Vbmc̀c̀W_
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                                                          )*++,-ÿ+,ÿ/0123ÿ24ÿ567ÿ89+:7;/1<52+47=ÿ/61<57*ÿ>>ÿ/1-7-?ÿ14=ÿ)*++,ÿ+,
                                                           #:2289
                                                          /0123ÿ@+*3ÿBCDEFGDHÿHIJKLDMGBNOPQROÿSTEDHÿUVÿWCTLDÿXEDCYZÿ[[X\B]GDDEDZ
                                                          ^DM_FLTMOÿB`MGDCDHaÿQbcdPcRQdeO
                                   ÿgRPÿ                  kiDCFGTMjÿlDiICGÿ,+*ÿ567ÿm+456ÿ+,ÿ8non-5ÿ>;p>?ÿqr>sÿtTEDHÿUVÿXFCCTDÿu
                                    BRhÿijNO              vFCHLFMÿIMÿUDwFESÿISÿlDEFGTxTGVÿyDHTFZÿ[[X\ÿBvFCHLFMZÿXFCCTDO
  QbcdfcRQde                                              B`MGDCDHaÿQbcdfcRQdeO
                                   ÿgRgÿ                  zIGTJDÿISÿ{H_IKCMLDMGÿISÿvDFCTMjÿ|}+52~7ÿ+,ÿ8=+n*43745ÿ+,ÿ/+4524n7=
                                    BRÿijNO               71*24oÿ+4ÿ/7*5124ÿ/n*7ÿ14=ÿ8--n3<52+4ÿ14=ÿ8--2o43745ÿ97~52+4-
                                                          *70157=ÿ5+ÿ+~ÿrÿSTEDHÿUVÿXFCCTDÿuÿvFCHLFMÿIMÿUDwFESÿISÿlDEFGTxTGV
                                                          yDHTFZÿ[[X\ÿTGwÿwDFCTMjÿGIÿUDÿwDEHÿIMÿdQcdecRQdeÿFGÿddaQQÿ{yÿFG
  QbcdfcRQde                                              XIKCGCIILÿhdfÿBy`OÿBvFCHLFMZÿXFCCTDOÿB`MGDCDHaÿQbcdfcRQdeO
                                   ÿgRhÿ                  [DGGDCÿ|}+52~7ÿ+,ÿ/14~700152+4ÿ+,ÿ7<57397*ÿqr?ÿqr>sÿ71*24oÿBCDEFGDH
                                    BRÿijNO               HIJKLDMGBNOgRgOÿtTEDHÿUVÿXFCCTDÿuÿvFCHLFMÿIMÿUDwFESÿISÿlDEFGTxTGV
                                                          yDHTFZÿ[[X\ÿTGwÿwDFCTMjÿGIÿUDÿwDEHÿIMÿbcRQcRQdeÿFGÿddaQQÿ{yÿFG
  QbcdfcRQde                                              XIKCGCIILÿhdfÿBy`OÿBvFCHLFMZÿXFCCTDOÿB`MGDCDHaÿQbcdfcRQdeO
                                   ÿgRfÿ                  {SSTHFxTGÿISÿ]DCxTJDÿ+,ÿ}n4+ÿ/1*=+-+ÿ7o1*=24oÿ}+52~7ÿ+,ÿ@n*567*
                                    BdÿijNO              574-2+4ÿ+,ÿ5157=ÿm15n*25ÿ157ÿ)n*-n145ÿ5+ÿ@2410ÿ*=7*ÿ
                                                          8n56+*224oÿ567ÿ795+*-ÿ5+ÿ8ÿ95124ÿ)+-5<75252+4ÿ@2414~24oÿ14=ÿ
                                                          -7ÿ/1-6ÿ/+00157*10ÿÿ*14524oÿ8=7n157ÿ)*+57~52+4ÿÿm+=2,24o
                                                          567ÿ8n5+3152~ÿ51ÿ14=ÿÿ*14524oÿ70157=ÿ7027,ÿBCDEFGDH
                                                          HIJKLDMGBNOgRdOÿSTEDHÿUVÿWCTLDÿXEDCYÿ[[XÿXEFTLNÿ{jDMG\B]GDDEDZ
  QbcdecRQde                                              ^DM_FLTMOÿB`MGDCDHaÿQbcdecRQdeO
                                   ÿgReÿ                  {SSTHFxTGÿISÿ]DCxTJDÿ+,ÿ}n4+ÿ/1*=+-+ÿ7o1*=24oÿ@2*-5ÿ457*23ÿ@77
                                    BÿijNO               8<<02~152+4ÿ+,ÿm;ÿ)1*547*-ÿ1-ÿ)*+:2=7*ÿ+,ÿ457*23ÿm141o73745
                                                          7*:2~7-ÿ,+*ÿ567ÿ795+*-ÿ14=ÿ795+*-ÿ24ÿ)+--7--2+4ÿ,+*ÿ567ÿ)7*2+=ÿ,*+3
                                                          m1ÿp?ÿqr>sÿ56*+no6ÿn0ÿp>?ÿqr>sÿBCDEFGDHÿHIJKLDMGBNOgRROÿSTEDHÿUV
  QbcdecRQde                                              WCTLDÿXEDCYZÿ[[X\ByFEIZÿFxTHOÿB`MGDCDHaÿQbcdecRQdeO
                                   ÿgRbÿ                  {SSTHFxTGÿISÿ]DCxTJDÿn<<0ÿ+,ÿ1*+4ÿ6+3<-+4ÿ7o1*=24oÿ}+52~7ÿ+,ÿ
                                    BdfÿijNO              )*+<+-7=ÿ8--n3<52+4ÿ14=ÿ8--2o43745ÿ+,ÿ7~n5+*ÿ/+45*1~5-ÿ14=
                                                          47<2*7=ÿ71-7-ÿ24ÿ/+447~52+4ÿ256ÿ107ÿ14=ÿÿ8--+~2157=ÿ/n*7
                                                          /+-5-?ÿ8374=7=ÿ}+52~7ÿ+,ÿÿ)*+<+-7=ÿ8--n3<52+4ÿ14=ÿ8--2o43745ÿ+,
                                                          7~n5+*ÿ/+45*1~5-ÿ14=ÿ47<2*7=ÿ71-7-ÿ24ÿ/+447~52+4ÿ256ÿ107ÿ14=
                                                          ÿ8--+~2157=ÿ/n*7ÿ/+-5-?ÿ14=ÿ8374=7=ÿ}+52~7ÿ+,ÿ107ÿm+52+4ÿ14=
                                                          <<+*5n425ÿ5+ÿn9325ÿ1ÿ/+3<7524oÿ,,7*ÿBCDEFGDHÿHIJKLDMGBNOdbOÿSTEDH
  QbcRQcRQde                                              UVÿWCTLDÿXEDCYZÿ[[X\ByFEIZÿFxTHOÿB`MGDCDHaÿQbcRQcRQdeO
                                   ÿgQÿ                  {SSTHFxTGÿISÿ]DCxTJDÿ+,ÿ}n4+ÿ/1*=+-+ÿ7o1*=24oÿ}+52~7ÿ+,ÿ8=+n*43745
                                    BddÿijNO              +,ÿ/+4524n7=ÿ71*24oÿ+4ÿ/7*5124ÿ/n*7ÿ14=ÿ8--n3<52+4ÿ14=ÿ8--2o43745
                                                          97~52+4-ÿ14=ÿ}+52~7ÿ+,ÿ/14~700152+4ÿ+,ÿ7<57397*ÿqr?ÿqr>sÿ71*24o
                                                          BCDEFGDHÿHIJKLDMGBNOgRgZÿgRhOÿtTEDHÿUVÿ{HFLÿy\ÿ{HEDCÿIMÿUDwFESÿIS
  QbcRQcRQde                                              WCTLDÿXEDCYÿ[[XÿXEFTLNÿ{jDMG\ÿB{HEDCZÿ{HFLOÿB`MGDCDHaÿQbcRQcRQdeO
                                   ÿgdÿ                  tTCNGÿ{iiETJFGTIMÿSICÿ¡MGDCTLÿWCISDNNTIMFEÿXILiDMNFGTIMÿSICÿTMNGIMÿ¢
                                    BReRÿijNO             ]GCFMÿ[[WZÿDUGIC£Nÿ{GGICMDVZÿiDCTIHaÿgccRQdeÿGIÿfcdcRQdeZ
                                                          SDDa¤ddQgg\bQZÿD¥iDMNDNaÿ¤dRb\bf\ÿSTEDHÿUVÿXFCCTDÿuÿvFCHLFMÿTGw
                                                          wDFCTMjÿGIÿUDÿwDEHÿIMÿdQcdecRQdeÿFGÿddaQQÿ{yÿFGÿXIKCGCIILÿhdfÿBy`O
  QbcRdcRQde                                              lDNiIMNDNÿHKDÿUVÿdQcddcRQdeZ\ÿBvFCHLFMZÿXFCCTDOÿB`MGDCDHaÿQbcRdcRQdeO
  QbcRdcRQde                       ÿgRÿ                  [DGGDCÿ|}/ÿ@ÿ@ÿ¦}}ÿ@ÿ8ÿm8§
                                    BRÿijNO               8ÿ)8}ÿÿ@}8ÿÿÿ8¨}ÿ
                                                          ÿÿ8ÿ8}ÿ))}ÿ@}8}/}ÿ8}ÿÿ
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                                                          )*+,ÿ).//*012*/3ÿ4556ÿ72*80587ÿ*91:;*01ÿ<2.01)05.83
                                                           #:2290
                                                          45556ÿ=.95>?587ÿ0,1ÿ*;0.=*05)ÿ+0*?3ÿ*89ÿ45@6ÿ72*80587
                                                          21/*019ÿ21/51>ÿBCDEFGDHÿHIJKLDMGBNOPQRSÿTUVSÿPRWSÿPWROÿXYEDHÿZ[
                                                          \FCCYDÿ]ÿ^FCHLFMÿIMÿZD_FÈÿI`ÿaDEFGYbYG[ÿcDHYFSÿdd\eÿB^FCHLFMS
                                                          \FCCYDOÿBfMGDCDHgÿQVhRWhRQWiO
                                   ÿPjjÿ                  cIMG_E[ÿXDDÿmGFGDLDMGÿnÿ)opqorstuvwtÿ=opvxryÿ>wwÿ+vuvwzwpvÿo{ÿ2o|spq
                                    BUUÿklNO              }u~rupÿ//<ÿ{oÿvxwÿ<wsotÿo{ÿ=uyÿÿÿvxoxÿryÿÿÿXYEDH
                                                          Z[ÿmJIGGÿXeÿFKGYDCÿIMÿZD_FÈÿI`ÿXX\dÿ\ccffÿX
  QVhRWhRQWi                                              mf\afÿ\afameÿBFKGYDCSÿmJIGGOÿBfMGDCDHgÿQVhRWhRQWiO
                                   ÿPjTÿ                  cIGYIMÿGIÿKG_ICYDÿ=ovsopÿ{oÿ*~~ourÿuptÿ1pvyÿo{ÿupÿ.tw
                                    BWWÿklNO              )rus{yspÿvxwÿ+urwÿ.twÿBCDEFGDHÿHIJKLDMGBNOPQROÿ̀YEDHÿZ[ÿFMYDEÿe
                                                          cJKYCDÿIMÿZD_FÈÿI`ÿaDEFGYbYG[ÿcDHYFSÿdd\eÿBcJKYCDSÿFMYDEO
  QVhRThRQWi                                              BfMGDCDHgÿQVhRThRQWiO
                                   ÿPjPÿ                  cIGYIMÿGIÿm_ICGDMÿYLDÿBCDEFGDHÿHIJKLDMGBNOPjTOÿ̀YEDHÿZ[ÿFMYDEÿe
                                    BiÿklNO               cJKYCDÿIMÿZD_FÈÿI`ÿaDEFGYbYG[ÿcDHYFSÿdd\eÿBcJKYCDSÿFMYDEO
  QVhRThRQWi                                              BfMGDCDHgÿQVhRThRQWiO
                                   ÿPjÿ                  kkEYJFGYIMÿ̀ICÿXYMFEÿCI`DNNYIMFEÿ\ILkDMNFGYIMÿ̀ICÿYEEYDÿXFCCÿ
                                    BWRVÿklNO             FEEFl_DCÿddSÿDZGICNÿGGICMD[SÿkDCYIHgÿUhhRQWiÿGIÿVhRWhRQWiS
                                                          `DDgWSiVPSiReVQSÿDkDMNDNgÿWPTSWUjeWQeÿ̀YEDHÿZ[ÿYEEYDÿXFCCÿ
                                                          FEEFl_DCÿddÿYG_ÿ_DFCYMlÿGIÿZDÿ_DEHÿIMÿWQhWihRQWiÿFGÿWQgQQÿcÿFG
                                                          \IKCGCIILÿWUÿBcfOÿaDNkIMNDNÿHKDÿZ[ÿWQhWWhRQWiSeÿBdIMlLYCDSÿI_MO
  QVhRPhRQWi                                              BfMGDCDHgÿQVhRPhRQWiO
                                   ÿPjUÿ                  CHDCÿNYlMDHÿIMÿVhRPhRQWiÿN_ICGDMYMlÿGYLDÿYG_ÿCDNkDJGÿGIÿG_DÿDZGICN
                                    BRÿklNO               LIGYIMÿ̀ICÿDMGC[ÿI`ÿFMÿICHDCÿJEFCỲ[YMlÿG_DÿNFEDÿICHDCÿBCDEFGDH
                                                          HIJKLDMGBNOPjTSÿPjPOeÿYG_ÿ_DFCYMlÿGIÿZDÿ_DEHÿIMÿWQhWhRQWiÿFGÿWWgQQ
                                                          cÿFGÿ\IKCGCIILÿWUÿBcfOeÿBDYDCIEFSÿFJKDEYMDOÿBfMGDCDHg
  QVhRPhRQWi                                              QVhRPhRQWiO
                                   ÿPjiÿ                  ``YHFbYGÿI`ÿmDCbYJDÿo{ÿ<urÿ< rroÿwutspÿ>sqvÿ*~~rsuvsopÿo{ÿspqvop
                                    BWÿklNO              +vu¡pÿ//<ÿuqÿ)opqwrÿvoÿvxwÿ9w|voqÿ{oÿ5pvwszÿ)oz~wpquvsopÿ{o
                                                          <o{wqqsopurÿ+wswqÿ2wptwwtÿuptÿ2wsz|qwzwpvÿo{ÿ*vurÿupt
                                                          8wwqquyÿ1¢~wpqwqÿ{oÿvxwÿ<wsotÿ=uyÿÿÿvxoxÿuptÿ5prtsp
                                                          ryÿÿÿuptÿ8ovswÿo{ÿ> vxwÿ1¢vwpqsopÿo{ÿ+vuvwtÿ=uvsvyÿ9uvw
                                                          < qupvÿvoÿ>spurÿ.tw£ÿ456ÿ* vxos¤spÿvxwÿ9w|voqÿvoÿ4*6ÿ.|vusp
                                                          <oqv~wvsvsopÿ>spupspÿuptÿ4¥6ÿ;qwÿ)uqxÿ)orruvwur3ÿ4556ÿ7upvsp
                                                          *tw¦uvwÿ<ovwvsop3ÿ45556ÿ=ots{yspÿvxwÿ* vozuvsÿ+vuy3ÿuptÿ45@6
                                                          7upvspÿ2wruvwtÿ2wrsw{ÿBCDEFGDHÿHIJKLDMGBNOPjWSÿPjROÿXYEDHÿZ[ÿHFL
                                                          ceÿHEDCÿIMÿZD_FÈÿI`ÿCYLDÿ\EDCÿdd\ÿ\EFYLNÿlDMGeÿBHEDCSÿHFLO
  QVhRhRQWi                                              BfMGDCDHgÿQVhRhRQWiO
                                   ÿPjVÿ                  dDGGDCÿÿ8ovswÿo{ÿ,wuspÿopÿ>sqvÿ5pvwszÿuptÿ)wvuspÿ>spur
                                    BjÿklNO               *~~rsuvsopqÿ{oÿ*rro¡upwÿo{ÿ)oz~wpquvsopÿ{oÿ<o{wqqsopurÿ+wswq
                                                          2wptwwtÿuptÿ2wsz|qwzwpvÿo{ÿ1¢~wpqwqÿBCDEFGDHÿHIJKLDMGBNOPRRSÿPjWS
                                                          PjOÿXYEDHÿZ[ÿ\FCCYDÿ]ÿ^FCHLFMÿIMÿZD_FÈÿI`ÿaDEFGYbYG[ÿcDHYFSÿdd\e
                                                          YG_ÿ_DFCYMlÿGIÿZDÿ_DEHÿIMÿWQhWihRQWiÿFGÿWWgQQÿcÿFGÿ\IKCGCIILÿWU
                                                          BcfOÿZ§DJGYIMNÿHKDÿZ[ÿWQhWWhRQWiSÿB^FCHLFMSÿ\FCCYDOÿBfMGDCDHg
  QVhRhRQWi                                              QVhRhRQWiO
  QVhRUhRQWi                       ÿPTQÿ                  ``YHFbYGÿI`ÿmDCbYJDÿo{ÿ<urÿ< rroÿ2wutspÿ9w|voqÿ̈=ovsopÿ1pvyÿo{
                                    BWWÿklNO              upÿ.twÿ)rus{yspÿvxwÿ+urwÿ.twÿuptÿ9w|voqÿ̈=ovsopÿ{oÿ1pvyÿo{ÿup
                                                          .twÿ+xovwpspÿ0szwÿ2wutspÿ9w|voqÿ̈=ovsopÿ{oÿ1pvyÿo{ÿupÿ.tw
                                                          )rus{yspÿvxwÿ+urwÿ.twÿBCDEFGDHÿHIJKLDMGBNOPjTSÿPjPOÿ̀YEDHÿZ[ÿCYLD
                                                          \EDCÿdd\ÿ\EFYLNÿlDMGeBcFEISÿFbYHOÿBfMGDCDHgÿQVhRUhRQWiO
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                                   ÿ23/ÿ                  :;<8=ÿ>66?;@A=;BCÿDB<ÿEC=F<;GÿH<BDF88;BCA?ÿIBG6FC8A=;BCÿDB<ÿJBK;C8
                                    4/35ÿ6789             LA6?ACÿMMHNÿI<FO;=B<ÿIBGGPÿ>=QNÿ6F<;BORÿ2,/0,-*/0ÿ=Bÿ.,S/,-*/0N
                                                          DFFRT30..52NÿFU6FC8F8RÿT/S+S0P0-P4<F?A=FOÿOB@VGFC=4892S+9ÿD;?FOÿKQ
                                                          W@B==ÿ:PÿXAV=;F<ÿY;=ZÿZFA<;C7ÿ=BÿKFÿZF?OÿBCÿ/*,/0,-*/0ÿA=ÿ/*R**ÿ>[ÿA=
                                                          IBV<=<BBGÿ5/.ÿ4[\]9ÿJF86BC8F8ÿOVFÿKQÿ/*,//,-*/0NPÿ4XAV=;F<NÿW@B==9
  *+,-.,-*/0                                              4\C=F<FORÿ*+,-.,-*/09
                                   ÿ23-ÿ                  >DD;OA^;=ÿBDÿWF<^;@Fÿ_ÿ̀bcdeÿbdee_ÿfghcijklhÿmklceÿnooekpcqk_lÿ_ÿ̀rkeeskg
                                    4/-ÿ6789              mciiÿtÿuceechvgiÿwwbxÿyogpkceÿwkqkhcqk_lÿz_dl{geÿ̀_iÿ|g}q_i{ÿclj
                                                          |g}q_i{ÿklÿb_{{g{{k_lxÿ̀_iÿmklceÿnee_~clpgÿ_ÿ̀z_ogl{cqk_lÿ̀_iÿygikpg{
                                                          fgljgigjÿcljÿfgk}di{gglqÿ_ÿ̀ogl{g{ÿlpdiigjÿ̀i_ÿdeÿxÿ
                                                          qvi_dhvÿygoqg}giÿxÿÿcljÿijgiÿyv_iqglklhÿkgÿ~kqvÿfg{ogpqÿq_
                                                          qvgÿ|g}q_i{ÿ_qk_lÿ̀_iÿlqiÿ_ÿ̀clÿijgiÿzecik̀klhÿqvgÿycegÿijgi
                                                          4<F?A=FOÿOB@VGFC=4892S.Nÿ2S59ÿD;?FOÿKQÿH<;GFÿI?F<NÿMMIP4[A?BNÿA^;O9
  *+,-0,-*/0                                              4\C=F<FORÿ*+,-0,-*/09
                                   ÿ23Sÿ                  <OF<ÿ8;7CFOÿBCÿ/*,/,-*/0ÿ@?A<;DQ;C7ÿ=ZFÿ8A?FÿB<OF<ÿ4JF?A=FOÿB@ÿÿ2S39P
  /*,*/,-*/0                        4Sÿ6789               4FH;F<B?ANÿA@VF?;CF9ÿ4\C=F<FORÿ/*,*/,-*/09
                                   ÿ233ÿ                  >DD;OA^;=ÿBDÿWF<^;@Fÿ_ÿ̀bcdeÿbdee_ÿfghcijklhÿ_qkpgÿ_ÿ̀gciklhÿ_lÿmki{q
                                    4Sÿ6789               lqgikÿcljÿzgiqcklÿmklceÿnooekpcqk_l{ÿ̀_iÿnee_~clpgÿ_ÿ̀z_ogl{cqk_l
                                                          `_iÿbi_g̀{{k_lceÿygikpg{ÿfgljgigjÿcljÿfgk}di{gglqÿ_ÿ̀ogl{g{
                                                          4<F?A=FOÿOB@VGFC=4892S+9ÿD;?FOÿKQÿH<;GFÿI?F<ÿMMIÿI?A;G8ÿ>7FC=P4[A?BN
  /*,*/,-*/0                                              A^;O9ÿ4\C=F<FORÿ/*,*/,-*/09
                                   ÿ232ÿ                  >DD;OA^;=ÿBDÿWF<^;@Fÿydooegglqceÿ_ÿ̀c}ggecÿnvcjÿfghcijklhÿ_qkpg
                                    4/+ÿ6789              _ÿ̀|gcjeklg{ÿ̀_iÿqvgÿ̀keklhÿ_ÿ̀bi__`{ÿ_ÿ̀zeckÿcljÿfggpqk_lÿ|cchg{
                                                          zeck{ÿcljÿcÿoi__ÿ̀_ÿ̀peckÿ̀_iÿ4<F?A=FOÿOB@VGFC=489S++9ÿ:;?FOÿKQ
                                                          >OAGÿ[Pÿ>O?F<ÿBCÿKFZA?DÿBDÿH<;GFÿI?F<ÿMMIÿI?A;G8ÿ>7FC=Pÿ4>O?F<N
  /*,*-,-*/0                                              >OAG9ÿ4\C=F<FORÿ/*,*-,-*/09
                                   ÿ235ÿ                  [BC=Z?Qÿ:FFÿW=A=FGFC=ÿ_qkpgÿ_ÿ̀mkeklhÿ_ÿ̀z_}klgjÿ_lqveÿyqc`k̀lh
                                    4-Sÿ6789              fgo_iqÿcljÿz_ogl{cqk_lÿyqcqgglqÿ}ÿÿbciqlgi{ÿ̀_iÿqvgÿbgik_j
                                                          ygoqg}giÿxÿÿvi_dhvÿygoqg}giÿxÿÿ:;?FOÿKQÿIA<<;Fÿ
                                                          A<OGACÿBCÿKFZA?DÿBDÿ[EEEÿHA<=CF<8Pÿ4A<OGACNÿIA<<;F9ÿ4\C=F<FOR
  /*,*3,-*/0                                              /*,*3,-*/09
                                   ÿ23.ÿ                  >DD;OA^;=ÿBDÿWF<^;@Fÿ_ÿ̀zvcieg{ÿÿpzicpsglÿfghcijklhÿ_qkpgÿÿ̀
                                    4/+ÿ6789              bi_o_{gjÿn{{doqk_lÿnljÿn{{khlglqÿÿ̀gpdq_iÿz_lqicpq{ÿnlj
                                                          ¡lgokigjÿwgc{g{ÿlÿz_llgpqk_lÿrkqvÿycegÿnljÿÿn{{_pkcqgjÿzdig
                                                          z_{q{xÿngljgjÿ_qkpgÿ_ÿ̀ÿbi_o_{gjÿn{{doqk_lÿcljÿn{{khlglqÿ_`
                                                          gpdq_iÿz_lqicpq{ÿcljÿ¡lgokigjÿwgc{g{ÿklÿz_llgpqk_lÿ~kqvÿycegÿclj
                                                          ÿn{{_pkcqgjÿzdigÿz_{q{xÿcljÿngljgjÿ_qkpgÿ_ÿ̀ycegÿ_qk_lÿclj
                                                          oo_iqdlkqÿq_ÿyd}kqÿcÿz_ogqklhÿ`g̀iÿ4<F?A=FOÿOB@VGFC=489S/+9ÿD;?FO
  /*,*3,-*/0                                              KQÿH<;GFÿI?F<ÿMMIÿI?A;G8ÿ>7FC=P4[A?BNÿA^;O9ÿ4\C=F<FORÿ/*,*3,-*/09
                                   ÿ230ÿ                  ¢B=;@FÿBDÿH<F8FC=GFC=ÿ_ÿ̀bi_o_{gjÿyqkodecqk_lÿcljÿijgiÿn_lh
                                    4/-ÿ6789              |g}q_i{xÿ¡eqic£ÿ_ejklh{ÿwwzxÿ|unxÿynunmfnxÿrunÿcljÿbbb
                                                          D;?FOÿKQÿIA<<;FÿÿA<OGACÿBCÿKFZA?DÿBDÿJF?A=;^;=Qÿ[FO;ANÿMMIPÿY;=Z
                                                          6<F8FC=GFC=ÿ=BÿKFÿZF?OÿBCÿ/*,/+,-*/0ÿA=ÿ/-R**ÿH[ÿA=ÿIBV<=<BBGÿ5/.
                                                          4[\]9ÿK¤F@=;BC8ÿOVFÿKQÿ/*,/5,-*/0Nÿ4A<OGACNÿIA<<;F9ÿ4\C=F<FOR
  /*,*+,-*/0                                              /*,*+,-*/09
  /*,//,-*/0                       ÿ23+ÿ                  MF==F<ÿ_qkpgÿ_ÿ̀yqcqd{ÿclj_iÿnj_dilglqÿ_ÿ̀z_lqkldgjÿgciklhÿ_l
                                    4Sÿ6789               zgiqcklÿzdigÿcljÿn{{doqk_lÿcljÿn{{khlglqÿ}gpqk_l{ÿ4<F?A=FO
                                                          OB@VGFC=4892-29ÿ:;?FOÿKQÿIA<<;FÿÿA<OGACÿBCÿKFZA?DÿBDÿJF?A=;^;=Q
                                                          [FO;ANÿMMIPÿ4A<OGACNÿIA<<;F9ÿ4\C=F<FORÿ/*,//,-*/09
117 11! "#$55524%5&''2'2'5(5(45                                                            &)1543
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                                                                        7ÿ7 Page 412 of 494 Page ID
                                                           #:2292
                                   ÿ//*ÿ                  566789:7;ÿ<6ÿ=>?:7@>ÿABÿDEFGGHÿIJEHKELMNGÿOGLEPFNMLÿQARNSGÿAB
                                    0))ÿ1234              TPGUGMRHGMRÿABÿTPAKAUGFÿVRNKWXERNAMÿEMFÿYPFGPÿZHAMLÿ[G\RAPU]ÿ^XRPE_
                                                          `AXFNMLUÿaaI]ÿ[bZ]ÿVZbcZdeOZ]ÿfbZÿEMFÿgThT`Tÿ0?>i9;>8
                                                          8<@jk>l;034/m-4ÿn7i>8ÿopÿ589kÿqrÿ58i>?ÿ<lÿo>s9i6ÿ<6ÿt?7k>ÿui>?vÿwwu
  )*+),+,*)-                                              ui97k3ÿ52>l;rÿ058i>?xÿ589k4ÿ0yl;>?>8zÿ)*+),+,*)-4
                                   ÿ//)ÿ                  566789:7;ÿ<6ÿ=>?:7@>ÿ|VWKKXGHGMREX}ÿABÿQWMAÿIEPFAUAÿOGLEPFNMLÿQARNSG
                                    0){ÿ1234              ABÿTPAKAUGFÿIAMRPESRUÿEMFÿaGEUGU]ÿZHGMFGFÿVEXGÿQARNSGÿEMFÿZHGMFGF
                                                          IWPGÿQARNSGÿ0?>i9;>8ÿ8<@jk>l;034~)4ÿ67i>8ÿopÿt?7k>ÿui>?vÿwwuÿui97k3
  )*+),+,*)-                                              52>l;r0q9i<xÿ9:784ÿ0yl;>?>8zÿ)*+),+,*)-4
                                   ÿ//,ÿ                  566789:7;ÿ<6ÿ=>?:7@>ÿOGÿdNPURÿZKKXNSERNAMÿYBÿOA\NMUÿDEKXEMÿaaT]ÿZU
                                    0))ÿ1234              IAWMUGXÿeAÿeJGÿYBBNSNEXÿIAHHNRRGGÿYBÿ^MUGSWPGFÿIPGFNRAPU]ÿdAPÿhMRGPNH
                                                          IAHKGMUERNAMÿdAPÿTPABGUUNAMEXÿVGPNSGUÿOGMFGPGFÿZMFÿOGNH\WPUGHGMR
                                                          YBÿZSRWEXÿZMFÿQGSGUUEPÿKGMUGUÿdAPÿeJGÿTGPNAFÿYBÿgEÿ]ÿ
                                                          eJPAWLJÿZMFÿhMSXWFNMLÿWXÿ]ÿÿ0?>i9;>8ÿ8<@jk>l;034/m)4ÿ67i>8ÿop
                                                          =@<;;ÿnrÿ9j;7>?ÿ<lÿo>s9i6ÿ<6ÿ<o7l3ÿ91i9lÿwwtrÿ09j;7>?xÿ=@<;;4
  )*+),+,*)-                                              0yl;>?>8zÿ)*+),+,*)-4
                                   ÿ//~ÿ                  w>;;>?ÿÿQARNSGÿABÿIXAUNMLÿABÿVEXGÿABÿIGPRENMÿZUUGRUÿTWPUWEMRÿRAÿVGSRNAM
                                    0,*,ÿ1234             ÿABÿRJGÿEMPWKRSÿIAFGÿdPGGÿEMFÿIXGEPÿABÿZXXÿaNGMU]ÿIXENHU]
                                                          hMRGPGURU]ÿEMFÿMSWH\PEMSGUÿRAÿRJGÿRGMRÿTGPHNRRGFÿ\ÿVGSRNAMÿ|B}ÿAB
                                                          RJGÿEMPWKRSÿIAFGÿ0?>i9;>8ÿ8<@jk>l;034/*,4ÿn7i>8ÿopÿu9??7>ÿ
                                                          9?8k9lÿ<lÿo>s9i6ÿ<6ÿ>i9;7:7;pÿq>879xÿwwurÿ09?8k9lxÿu9??7>4
  )*+)/+,*)-                                              0yl;>?>8zÿ)*+)/+,*)-4
                                   ÿ//mÿ                  1>?9;7l2ÿ>1<?;ÿBAPÿRJGÿTGPNAFÿVGKRGH\GPÿc]ÿÿn7i>8ÿopÿu9??7>ÿ
                                    0,ÿ1234              9?8k9lÿ<lÿo>s9i6ÿ<6ÿ>i9;7:7;pÿq>879xÿwwurÿ09?8k9lxÿu9??7>4
  )*+)/+,*)-                                              0yl;>?>8zÿ)*+)/+,*)-4
                                   ÿ///ÿ                  <;7@>ÿ<6ÿ52>l89ÿ67i>8ÿopÿu9??7>ÿÿ9?8k9lÿ<lÿo>s9i6ÿ<6ÿ>i9;7:7;p
                                    0/ÿ1234               q>879xÿwwurÿ7;sÿs>9?7l2ÿ;<ÿo>ÿs>i8ÿ<lÿ)*+)-+,*)-ÿ9;ÿ))z**ÿ5qÿ9;
  )*+)+,*)-                                              u<j?;?<<kÿ){ÿ0qy4ÿ09?8k9lxÿu9??7>4ÿ0yl;>?>8zÿ)*+)+,*)-4
                                   ÿ//ÿ                  566789:7;ÿ<6ÿ=>?:7@>ÿABÿQWMAÿIEPFAUAÿOGLEPFNMLÿQARNSGÿABÿVRERWUÿEMFAP
                                    0))ÿ1234              ZFAWPMHGMRÿABÿIAMRNMWGFÿ̀GEPNMLÿAMÿIGPRENMÿIWPGÿEMFÿZUUWHKRNAMÿEMF
                                                          ZUUNLMHGMRÿY\GSRNAMUÿ0?>i9;>8ÿ8<@jk>l;034/m4ÿ67i>8ÿopÿt?7k>ÿui>?v
  )*+)+,*)-                                              wwuÿui97k3ÿ52>l;r0q9i<xÿ9:784ÿ0yl;>?>8zÿ)*+)+,*)-4
                                   ÿ//{ÿ                  =j11i>k>l;9iÿ>@i9?9;7<lÿV^TTagQeZaÿ[IaZOZehYQÿYd
                                    0ÿ1234               QZghQÿÿVeaÿhQÿV^TTYOeÿYdÿ|Z}ÿ[eYOVÿZTTahIZehYQ
                                                          dYOÿZQÿYO[OÿZ^e`YOhhQbÿgTaYgQeÿZQ[ÿOeQehYQ
                                                          YdÿTOhgÿIaODÿaaIÿZVÿZ[ghQhVeOZeh_ÿZ[_hVYOÿQ^QIÿTOY
                                                          e^QIÿeYÿe`ÿTehehYQÿ[ZeÿZQ[ÿ|}ÿ[eYOVÿZTTahIZehYQ
                                                          dYOÿQeOÿYdÿZQÿYO[Oÿ|h}ÿZ^e`YOhhQbÿe`ÿ[eYOVÿeY
                                                          gTaYÿZQ[ÿOeZhQÿTOhgÿIaODÿaaIÿZVÿIaZhgVÿZQ[
                                                          QYehIhQbÿZbQe]ÿddIeh_ÿQ^QIÿTOYÿe^QIÿeYÿe`
                                                          TehehYQÿ[ZeÿZQ[ÿ|hh}ÿbOZQehQbÿOaZe[ÿOahdÿ0?>i9;>8
                                                          8<@jk>l;034/)~xÿ))4ÿ67i>8ÿopÿu9??7>ÿÿ9?8k9lÿ<lÿo>s9i6ÿ<6ÿ>i9;7:7;p
  )*+)+,*)-                                              q>879xÿwwurÿ09?8k9lxÿu9??7>4ÿ0yl;>?>8zÿ)*+)+,*)-4
  )*+)+,*)-                       ÿ//-ÿ                  566789:7;ÿABÿeJAHEUÿbÿdNRLGPEXFÿhMÿVWKKAPRÿABÿdNPURÿZKKXNSERNAMÿAB
                                    0,ÿ1234               OA\NMUÿDEKXEMÿaaT]ÿEUÿIAWMUGXÿRAÿRJGÿYBBNSNEXÿIAHHNRRGGÿABÿ^MUGSWPGF
                                                          IPGFNRAPU]ÿBAPÿhMRGPNHÿIAHKGMUERNAMÿBAPÿTPABGUUNAMEXÿVGPNSGUÿOGMFGPGF
                                                          EMFÿOGNH\WPUGHGMRÿABÿZSRWEXÿEMFÿQGSGUUEPÿKGMUGUÿBAPÿRJGÿTGPNAFÿAB
                                                          gEÿ]ÿÿeJPAWLJÿEMFÿhMSXWFNMLÿWXÿ]ÿÿ0?>i9;>8
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                                                                        7ÿ7 Page 413 of 494 Page ID
                                                          )*+,-./01234563ÿ89:.)ÿ;<ÿ=+*00ÿ8>ÿ?@,09.Aÿ*/ÿ;.B@:Cÿ*CÿD*;9/2ÿE@F:@/
                                                           #:2293
                                                          GGH>ÿ1?@,09.AIÿ=+*003ÿ1J/0.A.)Kÿ6LM6NMOL6P3
                                   ÿ44Rÿ                  T*09+.ÿ*CÿHA*F*2.)ÿUA).AÿVWXYZ[Y\ÿ^[W_Zÿ̀YZaW[bÿXYcÿdaWZX[Yÿ^[YXe
                                    1NÿFS23               fgge[hXZ[iY_ÿjiWÿfeeikXYhaÿijÿdibgaY_XZ[iYÿjiWÿlWija__[iYXeÿmaWn[ha_
                                                          XYcÿoa[bpqW_abaYZÿijÿrsgaY_a_ÿC9:.)ÿ;<ÿt@AA9.ÿuÿv@A)-@/ÿ*/ÿ;.B@:Cÿ*C
                                                          D.:@09w90<ÿx.)9@IÿGGt>ÿy90BÿB.@A9/Sÿ0*ÿ;.ÿB.:)ÿ*/ÿ6LM6PMOL6Pÿ@0ÿ66KLL
  6LM6QMOL6P                                              zxÿ@0ÿt*,A0A**-ÿN6Qÿ1xJ{3ÿ1v@A)-@/Iÿt@AA9.3ÿ1J/0.A.)Kÿ6LM6QMOL6P3
                                   ÿ4NLÿ                  zCC9)@w90ÿ*Cÿ=.Aw9+.ÿijÿ|qYiÿdXWci_iÿoa\XWc[Y\ÿ|iZ[haÿijÿf\aYcX}
                                    16OÿFS23              |iZ[haÿijÿdei_[Y\ÿijÿmXeaÿXYcÿmqggeabaYZXeÿ~aheXWXZ[iYÿijÿaYXb[Yÿ
                                                          mZaaeaÿ[YÿmqggiWZÿijÿfÿ~apZiW_ÿfgge[hXZ[iYÿjiWÿXYÿWcaWÿfqZiW[[Y\
                                                          rbgeibaYZÿXYcÿoaZaYZ[iYÿijÿlW[baÿdeaWÿdÿX_ÿfcb[Y[_ZWXZ[na
                                                          fcn[_iWÿYqYhÿgWiÿZqYhÿZiÿZaÿlaZ[Z[iYÿ~XZaÿXYcÿÿ~apZiW_ÿfgge[hXZ[iY
                                                          jiWÿrYZWÿijÿfYÿWcaWÿ`ÿfqZiW[[Y\ÿZaÿ~apZiW_ÿZiÿrbgeiÿXYcÿoaZX[Y
                                                          lW[baÿdeaWÿdÿX_ÿdeX[b_ÿXYcÿ|iZ[h[Y\ÿf\aYZ}ÿrjjahZ[naÿYqYhÿgWiÿZqYh
                                                          ZiÿZaÿlaZ[Z[iYÿ~XZaÿXYcÿ``ÿVWXYZ[Y\ÿoaeXZacÿoae[ajÿ1A.:@0.)
                                                          )*+,-./012344Iÿ444Iÿ44Q3ÿ89:.)ÿ;<ÿz)@-ÿx>ÿz):.Aÿ*/ÿ;.B@:Cÿ*CÿHA9-.
  6LM6QMOL6P                                              t:.AÿGGtÿt:@9-2ÿzS./0>ÿ1z):.AIÿz)@-3ÿ1J/0.A.)Kÿ6LM6QMOL6P3
                                   ÿ4N6ÿ                  T*09+.ÿ*Cÿ{90B)A@y@:ÿ[ZcWXkXeÿÿ|aZje[s}ÿ̀Yhÿijÿ|aZje[sÿleaXc[Y\_ÿ[Y
                                    1OÿFS23               dXgZaWÿÿdX_a_ÿXYcÿfcnaW_XWÿlWihaac[Y\ÿ1A.:@0.)ÿ)*+,-./0123ONI
                                                          6QIÿRIÿ5L4IÿOOIÿ5LQ3ÿC9:.)ÿ;<ÿD*;.A0ÿ>ÿHC920.Aÿ*/ÿ;.B@:Cÿ*CÿT.0C:9I
  6LM6QMOL6P                                              /+>>ÿ1HC920.AIÿD*;.A03ÿ1J/0.A.)Kÿ6LM6QMOL6P3
                                   ÿ4NOÿ                  UA).Aÿ29S/.)ÿ*/ÿ6LM6PMOL6Pÿ?A@/09/Sÿ89A20ÿ/0.A9-ÿ@/)ÿt.A0@9/ÿ89/@:
                                    15ÿFS23               zFF:9+@09*/2ÿ8*Aÿz::*y@/+.ÿ*Cÿt*-F./2@09*/ÿC*AÿHA*C.229*/@:ÿ=.Aw9+.2
                                                          D./).A.)ÿ@/)ÿD.9-;,A2.-./0ÿ*CÿJF./2.2>ÿD.:@0.)ÿ*+ÿÿ4OO38*Aÿx
                                                          H@A0/.A2IÿC..2ÿ@y@A).)KÿN6NIRL5>LLIÿ.F./2.ÿ@y@A).)KÿOOIP4R>6PI
                                                          ?A@/09/SÿzFF:9+@09*/ÿC*Aÿ/0.A9-ÿHA*C.229*/@:ÿt*-F./2@09*/ÿ1D.:@0.)
                                                          *+ÿÿ4638*Aÿ{9/20*/ÿÿ=0A@y/ÿGGHIÿC..2ÿ@y@A).)KÿPPOIPOP>QOI
                                                          .F./2.ÿ@y@A).)Kÿ6IOR>RQIÿ?A@/09/SÿzFF:9+@09*/ÿC*Aÿ89/@:
                                                          HA*C.229*/@:ÿt*-F./2@09*/ÿ1D.:@0.)ÿ*+ÿÿ4N38*Aÿ{9::9.ÿ8@AAÿ
                                                          ?@::@SB.AÿGGHIÿC..2ÿ@y@A).)Kÿ6IPR4IPON>RLIÿ.F./2.ÿ@y@A).)K
                                                          645I6Q>6LIÿ?A@/09/SÿzFF:9+@09*/ÿC*Aÿ/0.A9-ÿHA*C.229*/@:
                                                          t*-F./2@09*/ÿ1D.:@0.)ÿ*+ÿÿ45638*AÿD*;9/2ÿE@F:@/ÿGGHIÿC..2
                                                          @y@A).)KÿRLIO6O>LLIÿ.F./2.ÿ@y@A).)Kÿ6IRP>PO>ÿ1x+t@CCA.<I
  6LM6PMOL6P                                              @y/3ÿ1J/0.A.)Kÿ6LM6PMOL6P3
                                   ÿ4Nÿ                  *9/0ÿtB@F0.Aÿ66ÿH:@/ÿ~apZiW_ÿXYcÿdWac[ZiW_ÿdibb[ZZaa_ÿi[YZ
                                    15NÿFS23              [q[cXZ[Y\ÿleXYÿYcaWÿdXgZaWÿÿijÿZaÿXYWqgZhÿdicaÿC9:.)ÿ;<
                                                          t@AA9.ÿuÿv@A)-@/ÿ*/ÿ;.B@:Cÿ*CÿD.:@09w90<ÿx.)9@IÿGGt>ÿ1v@A)-@/I
  6LMOOMOL6P                                              t@AA9.3ÿ1J/0.A.)Kÿ6LMOOMOL6P3
                                   ÿ4N5ÿ                  =*ÿUA).A.)ÿ=09F,:@09*/ÿ29S/.)ÿ*/ÿ6LMOMOL6Pÿ@-*/Sÿ.;0*A2Iÿ:0A@w
                                    16LÿFS23              v*:)9/S2ÿGGtIÿ?zIÿ=z?z8DzIÿ{?zÿ@/)ÿxHHvHÿ1A.:@0.)
  6LMOMOL6P                                              )*+,-./012345P3>ÿ1.H9.A*:@Iÿ@+,.:9/.3ÿ1J/0.A.)Kÿ6LMOMOL6P3
                                   ÿ4N4ÿ                  zCC9)@w90ÿ*Cÿ=.Aw9+.ÿmqggeabaYZXeÿijÿdXWea_ÿÿhdWXhaYÿoa\XWc[Y\
                                    16QÿFS23              |iZ[haÿijÿlWigi_acÿdiYZWXhZ_ÿXYcÿaX_a_ÿ1A.:@0.)ÿ)*+,-./01236R3ÿ89:.)
                                                          ;<ÿz)@-ÿx>ÿz):.Aÿ*/ÿ;.B@:Cÿ*CÿHA9-.ÿt:.AÿGGtÿt:@9-2ÿzS./0>ÿ1z):.AI
  6LMO4MOL6P                                              z)@-3ÿ1J/0.A.)Kÿ6LMO4MOL6P3
                                   ÿ4NNÿ                  T*09+.ÿ*Cÿ{90B)A@y@:ÿijÿoaeXZ[n[Zÿac[X}ÿdÿXYcÿoÿ~[_ZW[pqZ[iY
                                    1OÿFS23               ~iba_Z[h}ÿdÿleaXc[Y\_ÿ[YÿfcnaW_XWÿlWihaac[Y\ÿC9:.)ÿ;<ÿ*B/
                                                          G*/S-9A.ÿ*/ÿ;.B@:Cÿ*CÿD.:@09w90<ÿx.)9@IÿGGt>ÿ1G*/S-9A.Iÿ*B/3
  6LMO4MOL6P                                              1J/0.A.)Kÿ6LMO4MOL6P3
117 11! "#$55524%5&''2'2'5(5(45                                                            &31543
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                                                           40-5   7ÿ09/30/21
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  *+,-.,-+*/                       ÿ.12ÿ              899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGHIJÿGIJJDÿKLMHNOPQMÿRLSTDNUVÿHQOÿTWLÿXNLOPTDNUV
                                                           #:2294
                                    3/ÿ4567           XDYYPTTLLVUÿZDPQTÿ[P\IPOHTPQMÿGJHQÿ]QOLNÿXWH^TLNÿ__ÿDEÿTWLÿ̀HQaNI^Tbc
                                                      XDOLÿ3BAd<>A;ÿ;?CefAg>367.1h7ÿi:dA;ÿjkÿ8;<fÿlmÿ8;dABÿ?gÿjAn<d9ÿ?9
                                                      oB:fAÿpdABqrÿsspmÿ38;dABrÿ8;<f7ÿ3tg>ABA;uÿ*+,-.,-+*/7
                                   ÿ.1/ÿ              v?>:CAÿ?9ÿ844A<B<gCAÿ9:dA;ÿjkÿ8g;BAwÿx?ngÿi:ggÿ?gÿjAn<d9ÿ?9ÿ@>A=Ag
  *+,-1,-+*/                        3-ÿ4567           lgeCn:gmÿ3i:ggrÿ8g;BAw7ÿ3tg>ABA;uÿ*+,-1,-+*/7
                                   ÿ.1yÿ              v?>:CAÿ?9ÿzA<B:g5ÿDQÿ{DTPDQÿTDÿ{DOPEcÿ|ITDYHTPbÿ}THcÿ9:dA;ÿjkÿ8g;BAw
                                    3-ÿ4567           x?ngÿi:ggÿ?gÿjAn<d9ÿ?9ÿ@>A=AgÿlgeCn:gmÿw:>nÿnA<B:g5ÿ>?ÿjAÿnAd;ÿ?g
                                                      **,*~,-+*/ÿ<>ÿ**u++ÿ8lÿ<>ÿp?eB>B??fÿ1*2ÿ3lt7ÿjAC>:?g6ÿ;eAÿjk
  *+,-1,-+*/                                          **,2,-+*/rÿ3i:ggrÿ8g;BAw7ÿ3tg>ABA;uÿ*+,-1,-+*/7
                                   ÿ.2+ÿ              l?>:?gÿ9?BÿAd:A9ÿ9B?fÿ@><kÿ3BAd<>A;ÿ;?CefAg>367.1y7ÿ9:dA;ÿjkÿ8g;BAw
                                    31*hÿ456ÿ1ÿ;?C67 x?ngÿi:ggÿ?gÿjAn<d9ÿ?9ÿ@>A=AgÿlgeCn:gÿw:>nÿnA<B:g5ÿ>?ÿjAÿnAd;ÿ?g
                                                      **,*~,-+*/ÿ<>ÿ**u++ÿ8lÿ<>ÿp?eB>B??fÿ1*2ÿ3lt7ÿA64?g6A6ÿ;eAÿjk
                                                      **,2,-+*/rmÿ38>><CnfAg>6uÿÿ*ÿt n:j:>ÿoB?4?6A;ÿB;ABÿÿ-ÿt n:j:>
                                                      <gqBe4>CkÿB;AB6ÿ:gÿ*.**y/yÿÿhÿt n:j:>ÿg6eB<gCAÿo?d:Ckÿÿ~ÿt n:j:>
                                                      B:<dÿp?eB>ÿxe;5fAg>ÿÿ.ÿt n:j:>ÿi:B6>ÿA4<B>fAg>ÿ4:g:?g7ÿ3i:ggr
  *+,-1,-+*/                                          8g;BAw7ÿ3tg>ABA;uÿ*+,-1,-+*/7
                                   ÿÿ                 ACA:4>ÿ?9ÿl?>:?gÿ9?BÿAd:A9ÿ9B?fÿ@><kÿ39AA73ÿ*/**h./fAw7
                                                      f?>:?gr*/.ÿ3ÿ*/*m++7ÿi:d:g5ÿiAAmÿACA:4>ÿgefjABÿ8*-/~*222mÿiAA
  *+,-1,-+*/                                          <f?eg>ÿ*/*m++mÿ3Auÿ?Cÿÿ.2+7ÿ3m@mÿBA<6eBk7ÿ3tg>ABA;uÿ*+,-1,-+*/7
                                   ÿ.2*ÿ              :6Cd?6eBAÿ@><>AfAg>ÿR}X[}]Kÿ}|{ÿKÿR`K}V
                                    3**yÿ456ÿ-ÿ;?C67 |RÿÿXKRK}VÿX{{V}ÿZÿ[]R|ÿG[|
                                                      ]RKÿX|GKÿ__ÿÿÿ̀|K]GXÿXRÿ3BAd<>A;
                                                      ;?CefAg>367.1h7ÿ9:dA;ÿjkÿ<g:AdÿxmÿlCe:BAÿ?gÿjAn<d9ÿ?9ÿAd<>:=:>k
                                                      lA;:<rÿsspmÿ38>><CnfAg>6uÿÿ*ÿt n:j:>ÿ873lCe:BArÿ<g:Ad7ÿ3tg>ABA;u
  *+,-1,-+*/                                          *+,-1,-+*/7
                                   ÿ.2-ÿ              l?>:?gÿ>?ÿ844B?=AÿR`K}Vÿ{ÿKÿKÿÿ|ÿKRK
                                    3/hÿ456ÿ-ÿ;?C67 ÿ|GGKÿÿ|R]|XÿÿÿR}X[}]K
                                                      }|{ÿÿ|GGKÿÿ}[X|ÿ|RÿX
                                                      GKXR]K}ÿÿK}GXÿÿXK{|ÿÿR`K}V
                                                      |RÿÿXKRK}VÿX{{V}ÿZÿG[|ÿ
                                                      []R|ÿÿ|GGKÿÿK{}ÿÿ̀|[[}ÿ|R
                                                      X}ÿÿXXÿKÿÿ}XR][
                                                      XK|ÿR|}ÿÿK}GXÿKÿ|RÿÿK|
                                                      K[|RÿK[ÿ3BAd<>A;ÿ;?CefAg>367.2*7ÿ9:dA;ÿjkÿ<g:AdÿxmÿlCe:BA
                                                      ?gÿjAn<d9ÿ?9ÿAd<>:=:>kÿlA;:<rÿsspÿw:>nÿnA<B:g5ÿ>?ÿjAÿnAd;ÿ?g
                                                      **,-y,-+*/ÿ<>ÿ**u++ÿ8lÿ<>ÿp?eB>B??fÿ1*2ÿ3lt7ÿA64?g6A6ÿ;eAÿjk
                                                      **,*y,-+*/rmÿ38>><CnfAg>6uÿÿ*ÿt n:j:>ÿ87ÿ3lCe:BArÿ<g:Ad7ÿ3tg>ABA;u
  *+,-1,-+*/                                          *+,-1,-+*/7
                                   ÿ.2hÿ              899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGHIJÿGIJJDÿKLMHNOPQMÿRPUbJDUINLÿ}THTLYLQTÿEDN
                                    3yÿ4567           RLSTDNUVÿHQOÿWLÿXNLOPTDNUVÿXDYYPTTLLVUÿZDPQTÿ[P\IPOHTPQMÿGJHQÿ]QOLN
                                                      XWH^TLNÿ__ÿDEÿTWLÿ̀HQaNI^TbcÿXDOLÿHQOÿRLSTDNUVÿ{DTPDQÿEDNÿQTNcÿDEÿHQ
                                                      NOLNÿÿ|^^NDPQMÿTWLÿ|OL\IHbcÿDEÿTWLÿRPUbJDUINLÿ}THTLYLQTÿ
                                                      |^^NDPQMÿTWLÿ}DJPbPTHTPDQÿHQOÿDTPbLÿGNDbLOINLUÿ¡PTWÿKLU^LbTÿTD
                                                      XDQEPNYHTPDQÿDEÿRLSTDNUVÿHQOÿTWLÿXNLOPTDNUVÿXDYYPTTLLVUÿZDPQTÿGJHQÿDE
                                                      [P\IPOHTPDQÿÿ|^^NDPQMÿTWLÿDNYUÿDEÿ̀HJJDTUÿHQOÿDTPbLUÿPQ
                                                      XDQQLbTPDQÿWLNL¡PTWÿÿ}bWLOIJPQMÿXLNTHPQÿRHTLUÿ¡PTWÿKLU^LbT
                                                      WLNLTDÿHQOÿÿNHQTPQMÿKLJHTLOÿKLJPLEÿ3BAd<>A;ÿ;?CefAg>367.2-rÿ.2*7
                                                      i:dA;ÿjkÿ8;<fÿlmÿ8;dABÿ?gÿjAn<d9ÿ?9ÿoB:fAÿpdABqrÿsspmÿ38;dABrÿ8;<f7
  *+,h+,-+*/                                          3tg>ABA;uÿ*+,h+,-+*/7
117 11! "#$55524%5&''2'2'5(5(45                                                        &)1543
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                                                           40-5   7ÿ09/30/21
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  )*+,*+-*).                       ÿ012ÿ             899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGDHIJKÿLMÿGNHIOÿGIPQJRSTPÿUDKSVIÿDEÿWSKXRJQYQO
                                                           #:2295
                                    3.ÿ4567          DEÿGIOQKSZSK[ÿ\IRSQ]ÿ^^_ÿQTRÿG\^ÿ̀SaKJSHNKSDTÿ̀DbIaKSV]ÿ^^_
                                                     cOIQRSTPaÿSTÿdRZIJaQJ[ÿcJDVIIRSTPÿ3BAe<>A;ÿ;?CfgAh>3670ii7ÿj:eA;ÿkl
                                                     8;<gÿmnÿ8;eABÿ?hÿkAo<e9ÿ?9ÿpB:gAÿqeABrÿssqÿqe<:g6ÿ85Ah>nÿ38;eABt
                                                     8;<g7ÿ3uh>ABA;vÿ)*+,*+-*).7
                                   ÿ010ÿ              wB;ABÿ6:5hA;ÿ?hÿ)*+,)+-*).ÿ<f>o?B:x:h5ÿAg4e?lgAh>ÿ<h;ÿBA>Ah>:?hÿ?9
                                    32ÿ4567           pB:gAÿqeABrÿssqÿ<6ÿ<;g:h:6>B<>:=Aÿ<;=:6?BÿhfhCÿ4B?ÿ>fhCÿ>?ÿ>oAÿ4A>:>:?h
                                                      ;<>Aÿ3yAe<>A;ÿz?Cÿ{ÿ0),7nÿ3zAp:AB?e<tÿ|<C}fAe:hA7ÿ3uh>ABA;v
  )*+,)+-*).                                          )*+,)+-*).7
                                   ÿ01iÿ              qAB>:9:C<>Aÿ?9ÿ@AB=:CAÿDEÿUDKSVIÿDEÿ~IQJSTPÿDTÿ\DKSDTÿQTRÿ\DKSDTÿKD
                                    3-ÿ4567           \DRSE[ÿKQ[ÿ3BAe<>A;ÿ;?CfgAh>36701*tÿ0i7ÿ9:eA;ÿklÿ8h;BAÿ|?ohÿj:hh
  )*+,)+-*).                                          ?hÿkAo<e9ÿ?9ÿ@>A=AhÿmhfCo:hnÿ3j:hhtÿ8h;BA7ÿ3uh>ABA;vÿ)*+,)+-*).7
                                   ÿ011ÿ              m?>:?hÿ9?BÿyAe:A9ÿ9B?gÿ@><lÿ9:eA;ÿklÿ<g:;ÿynÿy<9<>??ÿ?hÿkAo<e9ÿ?9
                                    3,,ÿ456ÿ,ÿ;?C67 q<B?eÿAh:6ÿ:>oÿoA<B:h5ÿ>?ÿkAÿoAe;ÿ?hÿ))+)2+-*).ÿ<>ÿ))v**ÿ8mÿ<>
                                                      q?fB>B??gÿi)1ÿyA64?h6A6ÿ;fAÿklÿ))+1+-*).tnÿ38>><CogAh>6vÿ{ÿ)ÿuo:k:>
                                                      8ÿÿpB??96ÿ?9ÿqe<:gÿ{ÿ-ÿuo:k:>ÿÿÿpB?4?6A;ÿwB;AB7ÿ3y<9<>??tÿ<g:;7
  )*+,)+-*).                                          3uh>ABA;vÿ)*+,)+-*).7
                                   ÿÿ                 yACA:4>ÿ?9ÿm?>:?hÿ9?BÿyAe:A9ÿ9B?gÿ@><lÿ39AA73ÿ).)),0.gA7
                                                      g?>:?ht).0ÿ3ÿ).)n**7ÿj:e:h5ÿjAAnÿyACA:4>ÿhfgkABÿ8)-.0)21*nÿjAA
  )*+,)+-*).                                          <g?fh>ÿ).)n**nÿ3yAvÿz?Cÿ{ÿ0117ÿ3n@nÿBA<6fBl7ÿ3uh>ABA;vÿ)*+,)+-*).7
                                   ÿ01.ÿ              ?>:CAÿ?9ÿA<B:h5ÿDTÿ\DKSDTÿEDJÿGIOSIEÿEJDbÿdNKDbQKSVÿKQ[ÿ9:eA;ÿkl
                                    3-ÿ4567           <g:;ÿynÿy<9<>??ÿ?hÿkAo<e9ÿ?9ÿq<B?eÿAh:6nÿ:>oÿoA<B:h5ÿ>?ÿkAÿoAe;ÿ?h
                                                      ))+)2+-*).ÿ<>ÿ))v**ÿ8mÿ<>ÿq?fB>B??gÿi)1ÿwkAC>:?h6ÿ;fAÿkl
  )*+,)+-*).                                          ))+1+-*).tÿ3y<9<>??tÿ<g:;7ÿ3uh>ABA;vÿ)*+,)+-*).7
                                   ÿ01ÿ              qAB>:9:C<>Aÿ?9ÿ@AB=:CAÿ3BAe<>A;ÿ;?CfgAh>36701.tÿ0117ÿ9:eA;ÿklÿ<g:;ÿyn
                                    3-ÿ4567           y<9<>??ÿ?hÿkAo<e9ÿ?9ÿq<B?eÿAh:6nÿ:>oÿoA<B:h5ÿ>?ÿkAÿoAe;ÿ?h
                                                      ))+)2+-*).ÿ<>ÿ))v**ÿ8mÿ<>ÿq?fB>B??gÿi)1ÿwkAC>:?h6ÿ;fAÿkl
  )*+,)+-*).                                          ))+1+-*).tÿ3y<9<>??tÿ<g:;7ÿ3uh>ABA;vÿ)*+,)+-*).7
                                   ÿ0.*ÿ              8gAh;A;ÿqAB>:9:C<>Aÿ?9ÿ@AB=:CAÿ3BAe<>A;ÿ;?CfgAh>36701.tÿ0117ÿ9:eA;ÿkl
                                    3-ÿ4567           <g:;ÿynÿy<9<>??ÿ?hÿkAo<e9ÿ?9ÿq<B?eÿAh:6nÿ:>oÿoA<B:h5ÿ>?ÿkAÿoAe;ÿ?h
                                                      ))+)2+-*).ÿ<>ÿ))v**ÿ8mÿ<>ÿq?fB>B??gÿi)1ÿwkAC>:?h6ÿ;fAÿkl
  )*+,)+-*).                                          ))+1+-*).tÿ3y<9<>??tÿ<g:;7ÿ3uh>ABA;vÿ)*+,)+-*).7
                                   ÿ0.)ÿ              899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿQRIIbÿ_XQbQPTSIÿGIPQJRSTPÿUDKSVIÿDE
                                    3,),ÿ4567         `IHKDJaÿ\DKSDTÿEDJÿTKJ[ÿDEÿQTÿJRIJÿÿdJDZSTPÿKXIÿdRINQV[ÿDE
                                                      KXIÿ̀SaVODaNJIÿKQKIbITK]ÿÿdJDZSTPÿKXIÿDOSVSKQKSDTÿQTRÿUDKSVI
                                                      cJDVIRNJIaÿYSKXÿGIaIVKÿKDÿ_DTESJbQKSDTÿDEÿ̀IHKDJaÿQTRÿKXIÿ_JIRSKDJa
                                                      _DbbSKKIIaÿLDSTKÿcOQTÿDEÿ^SNSRQKSDT]ÿÿdJDZSTPÿKXIÿDJbaÿDE
                                                      QOODKaÿQTRÿUDKSVIaÿSTÿ_DTTIVKSDTÿXIJIYSKX]ÿÿVXIRNOSTPÿ_IJKQST
                                                      `QKIaÿYSKXÿGIaIVKÿXIJIKDÿQTRÿÿJQTKSTPÿGIOQKIRÿGIOSIEÿ9:eA;ÿkl
                                                      pB:gAÿqeABrÿssqÿqe<:g6ÿ85Ah>n3@>AAeAtÿAh<g:h7ÿ3uh>ABA;v
  ))+*)+-*).                                          ))+*)+-*).7
                                   ÿ0.-ÿ              899:;<=:>ÿ?9ÿ@AB=:CAÿNOIbITKQOÿDEÿ_XQJOIaÿLMÿ\V_JQVIT
                                    3)ÿ457            GIPQJRSTPÿUDKSVIÿDEÿ_ODaSTPÿDEÿQOIÿDEÿ_IJKQSTÿdaaIKaÿcNJaNQTKÿKD
                                                      IVKSDTÿÿDEÿKXIÿQTJNKV[ÿ_DRIÿJIIÿQTRÿ_OIQJÿDEÿdOOÿ^SITa]
                                                      _OQSba]ÿTKIJIaKa]ÿQTRÿTVNbHJQTVIaÿKDÿKXIÿKITKÿcIJbSKKIRÿH[ÿIVKSDT
                                                      EÿDEÿKXIÿQTJNKV[ÿ_DRIÿ3BAe<>A;ÿ;?CfgAh>36700,7ÿ9:eA;ÿklÿpB:gA
  ))+*-+-*).                                          qeABrÿssqÿqe<:g6ÿ85Ah>n3@>AAeAtÿAh<g:h7ÿ3uh>ABA;vÿ))+*-+-*).7
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  ))*+,*-+).                       ÿ,.0ÿ              6789:;:<=>?ÿ@ABCCDEFEGHIDÿKELDIMIHNOGÿOPÿKIGNEDÿQR
                                                           #:2296
                                    10ÿ2345           FLSBNMEÿMESIMKNGSÿHTEÿMEHEGHNOGÿIGKÿEFCDOUFEGHÿOP
                                                      VNGAHOGÿWÿAHMIVGÿDDCÿIAÿIHHOMGEUAÿPOMÿHTEÿKEXHOMA
                                                      IGKÿKEXHOMAÿNGÿCOAAEAANOGÿ1;79:<7YÿY>8Z[7?<145--.5ÿ\=97Yÿ]^
                                                      _:;;=7ÿ̀ÿa:;Y[:?ÿ>?ÿ]7b:9\ÿ>\ÿc79:<=d=<^ÿe7Y=:fÿgg_hÿ1a:;Y[:?f
                                                      _:;;=75ÿ1i?<7;7Yjÿ))*+,*-+).5
                                   ÿ,.lÿ              m><=87ÿ>\ÿa7:;=?3ÿ@GnopqrÿnsÿMrtqurvwxpyzÿnsÿTr{|pyzÿ1;79:<7Y
                                    1-ÿ2345           Y>8Z[7?<1450k}fÿl-0fÿl)+fÿl)0fÿ0k0fÿ,}}fÿ,}+fÿl005ÿ\=97Yÿ]^ÿ_:;;=7ÿ̀
                                                      a:;Y[:?ÿ>?ÿ]7b:9\ÿ>\ÿc79:<=d=<^ÿe7Y=:fÿgg_hÿ~=<bÿb7:;=?3ÿ<>ÿ]7ÿb79Y
                                                      >?ÿ))*)k*-+).ÿ:<ÿ))j++ÿeÿ:<ÿ_>Z;<;>>[ÿk)}ÿ1ei5ÿ1a:;Y[:?f
  ))*+k*-+).                                          _:;;=75ÿ1i?<7;7Yjÿ))*+k*-+).5
                                   ÿ,.,ÿ              <:<7[7?<ÿ@GnopqrÿnsÿLu{yzrÿnsÿIvv|rttÿ\=97Yÿ]^ÿ̀=8<>;ÿhÿ:b?ÿ>?
  ))*+.*-+).                        1-ÿ2345           ]7b:9\ÿ>\ÿZ9[7^7;Z27<fÿ_hÿ1:b?fÿ̀=8<>;5ÿ1i?<7;7Yjÿ))*+.*-+).5
                                   ÿ,.kÿ              \\=Y:d=<ÿ>\ÿ7;d=87ÿnsÿC{wxÿCwxxnÿMrz{|vpyzÿAw xrryo{xÿKrqx{|{opny
                                    1.ÿ2345           nsÿK{yprxÿQRÿFqSwp|rÿMrz{|vpyzÿourÿMroryopnyÿ{yvÿE xnryoÿns
                                                      VpytonyÿWÿAo|{yÿDDCÿ{tÿIoon|yrtÿsn|ÿourÿKron|tÿ{yvÿKron|tÿNy
                                                      Cnttrttpnyÿ1;79:<7YÿY>8Z[7?<145,.05ÿ=97Yÿ]^ÿY:[ÿehÿY97;ÿ>?ÿ]7b:9\
                                                      >\ÿ;=[7ÿ_97;ÿgg_ÿ_9:=[4ÿ37?<hÿ1Y97;fÿY:[5ÿ1i?<7;7Yj
  ))*+.*-+).                                          ))*+.*-+).5
                                   ÿ,.}ÿ              22>4=<=>?ÿnsÿOsspqp{xÿLnpoorrÿnsÿBytrqw|rvÿL|rvpon|tÿonÿFnopnyÿsn|
                                    1),ÿ2345          MrxprsÿP|nÿAo{ÿPpxrvÿÿL{|nxÿSryptÿ1;79:<7YÿY>8Z[7?<145,}}5ÿ\=97Y
                                                      ]^ÿ8><<ÿhÿ:Z<=7;ÿ>?ÿ]7b:9\ÿ>\ÿ_gÿ_eeiiÿ
  ))*+*-+).                                          mi_ci6ÿ_ci6chÿ1:Z<=7;fÿ8><<5ÿ1i?<7;7Yjÿ))*+*-+).5
                                   ÿ,..ÿ              22>4=<=>?ÿnsÿOsspqp{xÿLnpoorrÿnsÿBytrqw|rvÿL|rvpon|tÿonÿFnopnyÿsn|
                                    1}ÿ2345           Eyo|ÿnsÿIyÿO|vr|ÿFnvpspyzÿourÿIwon{opqÿAo{ÿHnÿEoryoÿI xpq{xr
                                                      HnÿCr|poÿC{ryoÿnsÿKrsrytrÿLntotÿByvr|ÿourÿKp|rqon|tÿ{yvÿOsspqr|
                                                      CnxpqÿPpxrvÿXÿAorryÿFywqupyÿ1;79:<7YÿY>8Z[7?<145,}+5ÿ\=97Yÿ]^ÿ8><<
                                                      hÿ:Z<=7;ÿ>?ÿ]7b:9\ÿ>\ÿ_gÿ_eeiiÿÿmi_ci6
  ))*+*-+).                                          _ci6chÿ1:Z<=7;fÿ8><<5ÿ1i?<7;7Yjÿ))*+*-+).5
                                   ÿ,.ÿ              6789:;:<=>?ÿnsÿAqnooÿPRÿS{wopr|ÿpyÿAw n|oÿnsÿO ntpopnyÿOsÿOsspqp{x
                                    1-llÿ234ÿlÿY>845 LnpoorrÿOsÿBytrqw|rvÿL|rvpon|tÿHnÿÿFnopnyÿPn|ÿMrxprsÿP|n
                                                      Ao{ÿPpxrvÿXÿL{|nxÿSryptÿIyvÿÿFnopnyÿPn|ÿEyo|ÿOsÿIyÿO|vr|
                                                      FnvpspyzÿHurÿIwon{opqÿAo{ÿHnÿHurÿEoryoÿI xpq{xrÿHnÿCr|po
                                                      C{ryoÿOsÿKrsrytrÿLntotÿByvr|ÿHurÿKp|rqon|tÿWÿOsspqr|ÿCnxpqÿPpxrv
                                                      XÿAorryÿFywqupyÿ\=97Yÿ]^ÿ8><<ÿhÿ:Z<=7;ÿ>?ÿ]7b:9\ÿ>\ÿ_g
                                                      _eeiiÿÿmi_ci6ÿ_ci6chÿ1<<:8b[7?<4jÿÿ)
                                                      ib=]=<ÿihÿÿÿ;7:<ÿ[7;=8:?ÿ>9=8^ÿÿ-ÿib=]=<ÿihÿÿÿgÿ>9=8^ÿ
                                                      0ÿib=]=<ÿihÿ_ÿÿm:<=>?:9ÿ?=>?ÿ>9=8^5ÿ1:Z<=7;fÿ8><<5ÿ1i?<7;7Yj
  ))*+*-+).                                          ))*+*-+).5
                                   ÿ,+ÿ              _7;<=\=8:<7ÿ>\ÿ7;d=87ÿ\=97Yÿ]^ÿ8><<ÿhÿ:Z<=7;ÿ>?ÿ]7b:9\ÿ>\ÿ_g
                                    1-ÿ2345           _eeiiÿÿmi_ci6ÿ_ci6chÿ1:Z<=7;fÿ8><<5
  ))*+*-+).                                          1i?<7;7Yjÿ))*+*-+).5
                                   ÿ,)ÿ              \\=Y:d=<ÿ>\ÿ7;d=87ÿnsÿC{wxÿCwxxnÿMrz{|vpyzÿGnopqrÿnsÿMrtqurvwxpyzÿns
                                    1))ÿ2345          Gnrr|ÿ¡ÿ¢£ÿTr{|pyzÿonÿGnrr|ÿ¤ÿ¢£ÿ{oÿ¢¢{RRÿEH
                                                      1;79:<7YÿY>8Z[7?<145,.l5ÿ=97Yÿ]^ÿY:[ÿehÿY97;ÿ>?ÿ]7b:9\ÿ>\ÿ;=[7
  ))*)-*-+).                                          _97;ÿgg_ÿ_9:=[4ÿ37?<hÿ1Y97;fÿY:[5ÿ1i?<7;7Yjÿ))*)-*-+).5
  ))*)0*-+).                       ÿ,-ÿ              \\=Y:d=<ÿ>\ÿ7;d=87ÿAw xrryo{xÿOsÿItp|ÿBRÿItu|{sÿ|rz{|vpyzÿGnopqr
                                    1)kÿ2345          nsÿNÿC|nntrvÿIttw opnyÿ{yvÿIttpzyryoÿnsÿErqwon|ÿLnyo|{qotÿ{yv
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                                                            )*+,-./+0ÿ2+34+4ÿ.*ÿ56**+78.6*ÿ9.8:ÿ;3<+ÿ3*0ÿ=>>?ÿ@4467.38+0ÿ5A/+
                                                           #:2297
                                                            56484Bÿ@C+*0+0ÿD68.7+ÿ6Eÿ=>?ÿF/6-64+0ÿ@44AC-8.6*ÿ3*0ÿ@44.G*C+*8ÿ6E
                                                            H,+7A86/Iÿ56*8/3784ÿ3*0ÿ)*+,-./+0ÿ2+34+4ÿ.*ÿ56**+78.6*ÿ9.8:ÿ;3<+ÿ3*0
                                                            =>>?ÿ@4467.38+0ÿ5A/+ÿ56484BÿD68.7+ÿ6EÿD6ÿ@A78.6*ÿ3*0ÿJ+4.G*38.6*ÿ6E
                                                            )<8/3KÿL6<0.*G4ÿ225ÿ34ÿ;A77+44EA<ÿFA/7:34+/ÿ3*0ÿD68.7+ÿ6EÿJ+M86/4
                                                            N68.6*ÿE6/ÿH*8/Iÿ6Eÿ3*ÿO/0+/ÿ=>?ÿ@--/6P.*Gÿ8:+ÿ@0+QA37Iÿ6Eÿ8:+
                                                            J.47<64A/+ÿ;838+C+*8Bÿ=>>?ÿ@--/6P.*Gÿ8:+ÿ;6<.7.838.6*ÿ3*0ÿD68.7+
                                                            F/67+0A/+4ÿ9.8:ÿR+4-+78ÿ86ÿ56*E./C38.6*ÿ6EÿJ+M86/4ÿ3*0ÿ8:+ÿ5/+0.86/4
                                                            56CC.88++4ÿS6.*8ÿF<3*ÿ6Eÿ2.QA.038.6*Bÿ=>>>?ÿ@--/6P.*Gÿ8:+ÿT6/C4ÿ6E
                                                            U3<<684ÿ3*0ÿD68.7+4ÿ.*ÿ56**+78.6*ÿV:+/+9.8:Bÿ=>K?ÿ;7:+0A<.*Gÿ5+/83.*
                                                            J38+4ÿ9.8:ÿR+4-+78ÿV:+/+86ÿ3*0ÿ=K?ÿW/3*8.*GÿR+<38+0ÿR+<.+EÿYZ[\]^[_
                                                            _`abc[d^Yefghijÿklmfÿno\[_ÿpqÿr_]cÿstÿr_\[Zÿ̀dÿp[u]\vÿ̀vÿwZoc[
                                                            x\[ZyjÿzzxtÿYr_\[Zjÿr_]cfÿY{d^[Z[_|ÿll}lk}ihl~f
                                   ÿmkÿ                    [\qÿ^`ÿs`^òdÿE6/ÿH*8/Iÿ6EÿO/0+/ÿN60.EI.*Gÿ8:+ÿ@A86C38.7ÿ;83I
                                    Yÿef                 YZ[\]^[_ÿ_`abc[d^Yefhfÿvo\[_ÿpqÿrd_Z[ÿ`udÿnoddÿ̀dÿp[u]\vÿ̀v
  ll}lk}ihl~                                                ^[[dÿsdbauodtÿYnoddjÿrd_Z[fÿY{d^[Z[_|ÿll}lk}ihl~f
                                   ÿmgÿ                    [\qÿ^`ÿs`^òdÿR+-<Iÿ.*ÿ;A--6/8ÿ6EÿN68.6*ÿE6/ÿR+<.+EÿE/6Cÿ;83I
                                    Ylhÿef                YZ[\]^[_ÿ_`abc[d^Yeffÿvo\[_ÿpqÿ]co_ÿtÿ]v]^``ÿ̀dÿp[u]\vÿ̀vÿx]Z`\
  ll}lk}ihl~                                                [doetÿY]v]^``jÿ]co_fÿY{d^[Z[_|ÿll}lk}ihl~f
                                   ÿmÿ                    x[Z^ovoa]^[ÿ̀vÿ[Zoa[ÿYZ[\]^[_ÿ_`abc[d^Yefmgfÿno\[_ÿpqÿ]co_ÿt
                                    Yiÿef                 ]v]^``ÿ̀dÿp[u]\vÿ̀vÿx]Z`\ÿ[doetÿY]v]^``jÿ]co_fÿY{d^[Z[_|
  ll}lk}ihl~                                                ll}lk}ihl~f
                                   ÿmÿ                    `^oa[ÿ̀vÿr[d_]ÿvo\[_ÿpqÿx]ZZo[ÿÿ]Z_c]dÿ̀dÿp[u]\vÿ̀vÿ[\]^oo^q
                                    Yÿef                 s[_o]jÿzzxtÿo^uÿu[]Zodÿ^`ÿp[ÿu[\_ÿ̀dÿll}l}ihl~ÿ]^ÿll|hhÿrsÿ]^
  ll}lg}ihl~                                                x`bZ^Z``cÿlÿYs{fÿY]Z_c]djÿx]ZZo[fÿY{d^[Z[_|ÿll}lg}ihl~f
                                   ÿmÿ                    s`d^u\qÿn[[ÿ^]^[c[d^ÿD68.7+ÿ6EÿT.<.*Gÿ6Eÿ56CM.*+0ÿN6*8:<Iÿ;83EE.*G
                                    Ylÿef                R+-6/8ÿ3*0ÿ56C-+*438.6*ÿ;838+C+*8ÿE6/ÿ8:+ÿF+/.60ÿ6EÿO786M+/ÿBÿ
                                                            V:/6AG:ÿO786M+/ÿBÿÿno\[_ÿpqÿx]ZZo[ÿÿ]Z_c]dÿ̀dÿp[u]\vÿ̀vÿs
  ll}lg}ihl~                                                ÿw]Z^d[ZetÿY]Z_c]djÿx]ZZo[fÿY{d^[Z[_|ÿll}lg}ihl~f
                                   ÿm~ÿ                    `^oa[ÿ̀vÿr[d_]ÿD68.7+ÿ6Eÿ@C+*0+0ÿ@G+*03ÿYZ[\]^[_ÿ_`abc[d^Yefmf
                                    Yÿef                 vo\[_ÿpqÿx]ZZo[ÿÿ]Z_c]dÿ̀dÿp[u]\vÿ̀vÿ[\]^oo^qÿs[_o]jÿzzxt
  ll}lg}ihl~                                                Y]Z_c]djÿx]ZZo[fÿY{d^[Z[_|ÿll}lg}ihl~f
                                   ÿmmÿ                    x[Z^ovoa]^[ÿ̀vÿ[Zoa[ÿYZ[\]^[_ÿ_`abc[d^Yefmfÿno\[_ÿpqÿx]ZZo[ÿ
                                    Yiÿef                 ]Z_c]dÿ̀dÿp[u]\vÿ̀vÿ[\]^oo^qÿs[_o]jÿzzxtÿY]Z_c]djÿx]ZZo[f
  ll}l}ihl~                                                Y{d^[Z[_|ÿll}l}ihl~f
                                   ÿhhÿ                    x[Z^ovoa]^[ÿ̀vÿ[Zoa[ÿ6EÿR+-<Iÿ.*ÿ;A--6/8ÿ6EÿN68.6*ÿ86ÿN60.EIÿ;83I
                                    Yiÿef                 YZ[\]^[_ÿ_`abc[d^Yefmkfÿno\[_ÿpqÿrd_Z[ÿ`udÿnoddÿ̀dÿp[u]\vÿ̀v
  ll}l}ihl~                                                ^[[dÿsdbauodtÿYnoddjÿrd_Z[fÿY{d^[Z[_|ÿll}l}ihl~f
                                   ÿhlÿ                    rvvo_]o^ÿ̀vÿ[Zoa[ÿ6EÿS+44+ÿOEE+*:3/8ÿR+G3/0.*GÿD68.7+ÿ6Eÿ@C+*0+0
                                    Yllÿef                @G+*03ÿ6EÿN388+/4ÿ;7:+0A<+0ÿE6/ÿL+3/.*Gÿ6*ÿD6P+CM+/ÿBÿÿ38
                                                            ÿ3Cÿ=-/+P3.<.*GÿH348+/*ÿV.C+?ÿYZ[\]^[_ÿ_`abc[d^Yefm~fÿno\[_ÿpq
                                                            r_]cÿstÿr_\[Zÿ̀dÿp[u]\vÿ̀vÿwZoc[ÿx\[Zyÿzzxÿx\]oceÿr[d^tÿYr_\[Zj
  ll}l}ihl~                                                r_]cfÿY{d^[Z[_|ÿll}l}ihl~f
                                   ÿhiÿ                    [Z]^odÿ[`Z^ÿE6/ÿ8:+ÿF+/.60ÿ6EÿO786M+/ÿÿÿO786M+/ÿBÿÿno\[_
                                    Yiÿef                pqÿx]ZZo[ÿÿ]Z_c]dÿ̀dÿp[u]\vÿ̀vÿ[\]^oo^qÿs[_o]jÿzzxtÿY]Z_c]dj
  ll}l}ihl~                                                x]ZZo[fÿY{d^[Z[_|ÿll}l}ihl~f
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                                                                        7ÿ7 Page 418 of 494 Page ID
  ))*)+*,-).                       ÿ+-0ÿ             67789:;8<ÿ=7ÿ>?@;8A?ÿBCDEEFGHGIJKFLÿNOÿPDINÿQKRSNTNÿUGVKRSWIV
                                                           #:2298
                                    1)0ÿ2345         XHGISGSÿPNJWYGÿNOÿBZLÿ[RNENTGSÿXTTDHEJWNIÿKISÿXTTWVIHGIJÿNO
                                                     \]GYDJNR^ÿQNIJRKYJTÿKISÿ_IG]EWRGSÿ̀GKTGTÿWIÿQNIIGYJWNIÿaWJbÿCKFGÿKIS
                                                     BZZLÿXTTNYWKJGSÿQDRGÿQNTJTcÿPNJWYGÿNOÿdGeJNRTÿfNJWNIÿONRÿ\IJR^ÿNOÿKI
                                                     gRSGRÿBZLÿXEERNhWIVÿJbGÿXSGiDKY^ÿNOÿJbGÿdWTYFNTDRGÿCJKJGHGIJcÿBZZL
                                                     XEERNhWIVÿJbGÿCNFWYWJKJWNIÿKISÿPNJWYGÿ[RNYGSDRGTÿaWJbÿUGTEGYJÿJN
                                                     QNIOWRHKJWNIÿNOÿdGeJNRTÿKISÿJbGÿQRGSWJNRTÿQNHHWJJGGTÿjNWIJÿ[FKIÿNO
                                                     `WiDWSKJWNIcÿBZZZLÿXEERNhWIVÿJbGÿkNRHTÿNOÿlKFFNJTÿKISÿPNJWYGTÿWI
                                                     QNIIGYJWNIÿmbGRGaWJbcÿBZnLÿCYbGSDFWIVÿQGRJKWIÿdKJGTÿaWJbÿUGTEGYJ
                                                     mbGRGJNÿKISÿBnLÿoRKIJWIVÿUGFKJGSÿUGFWGOcÿPNJWYGÿNOÿBZLÿ[RNENTGS
                                                     XTTDHEJWNIÿKISÿXTTWVIHGIJÿNOÿ\]GYDJNR^ÿQNIJRKYJTÿKISÿ_IG]EWRGS
                                                     1@?p:<?9ÿ9=Aqr?s<145tt0uÿ0)v5ÿw8p?9ÿxyÿ69:rÿz{ÿ69p?@ÿ=sÿx?|:p7ÿ=7
                                                     }@8r?ÿ~p?@uÿ~{ÿ169p?@uÿ69:r5ÿ1s<?@?9ÿ))*)+*,-).5
                                   ÿ+-ÿ             @9?@ÿ483s?9ÿ=sÿ))*)v*,-).ÿr=987y8s3ÿ<|?ÿ:q<=r:<8Aÿ4<:yÿ8<|ÿ@?42?A<
                                    1,ÿ2345          <=ÿ><?;?sÿzsqA|8suÿ<=ÿ<|?ÿ?<?s<ÿ:22p8A:xp?uÿ<=ÿ2?@r8<ÿ2:yr?s<ÿ=7
                                                     9?7?s4?ÿA=4<4ÿqs9?@ÿ<|?ÿ98@?A<=@4ÿÿ=778A?@4ÿ2=p8Ayÿ1?p:<?9ÿ=Aÿÿt-5{
  ))*)v*,-).                                         1?}8?@=p:uÿ:Aq?p8s?5ÿ1s<?@?9ÿ))*)v*,-).5
                                   ÿ+-tÿ             67789:;8<ÿ=7ÿ>?@;8A?ÿBCDEEFGHGIJKFLÿNOÿCJGhGIÿoWFeGRJÿUGVKRSWIVÿPNJWYG
                                    1+ÿ2345          NOÿdGeJNRTÿfNJWNIÿkNRÿ\IJR^ÿNOÿKIÿgRSGRÿBZLÿXEERNhWIVÿJbGÿXSGiDKY^ÿNO
                                                     JbGÿdWTYFNTDRGÿCJKJGHGIJcÿBZZLÿXEERNhWIVÿJbGÿCNFWYWJKJWNIÿKISÿPNJWYG
                                                     [RNYGSDRGTÿaWJbÿUGTEGYJÿJNÿQNIOWRHKJWNIÿNOÿdGeJNRTÿKISÿJbGÿQRGSWJNRT
                                                     QNHHWJJGGTÿjNWIJÿ[FKIÿNOÿ̀WiDWSKJWNIcÿBZZZLÿXEERNhWIVÿJbGÿkNRHTÿNO
                                                     lKFFNJTÿKISÿPNJWYGTÿWIÿQNIIGYJWNIÿmbGRGaWJbcÿBZnLÿCYbGSDFWIVÿQGRJKWI
                                                     dKJGTÿaWJbÿUGTEGYJÿmbGRGJNÿKISÿBnLÿoRKIJWIVÿUGFKJGSÿUGFWGOÿw8p?9ÿxy
                                                     69:rÿz{ÿ69p?@ÿ=sÿx?|:p7ÿ=7ÿ}@8r?ÿ~p?@uÿ~{ÿ169p?@uÿ69:r5
  ))*,-*,-).                                         1s<?@?9ÿ))*,-*,-).5
                                   ÿ+-+ÿ             >?A=s9ÿ622p8A:<8=sÿ7=@ÿs<?@8rÿ}@=7?448=s:pÿ~=r2?s4:<8=sÿÿCGYNIS
                                    1.ÿ234ÿtÿ9=A45 ZIJGRWHÿkGGÿXEEFWYKJWNIÿNOÿfZZZÿ[KRJIGRTÿKTÿ[RNhWSGRÿNOÿZIJGRWH
                                                     fKIKVGHGIJÿCGRhWYGTÿONRÿJbGÿdGeJNRTÿKISÿdGeJNRTÿWIÿ[NTTGTTWNIÿONRÿJbG
                                                     [GRWNSÿORNHÿXDVDTJÿcÿÿmbRNDVbÿgYJNeGRÿcÿÿ7=@ÿz
                                                     }:@<s?@4uÿ<|?@ÿ}@=7?448=s:puÿ2?@8=9ÿ.*)*,-).ÿ<=ÿ)-*0)*,-).u
                                                     7??t-t.+,{t-uÿ?2?s4?4ÿ+,{+t{ÿ78p?9ÿxyÿzÿ}:@<s?@4ÿ8<|ÿ|?:@8s3
                                                     <=ÿx?ÿ|?p9ÿ=sÿ),*).*,-).ÿ:<ÿ))--ÿ6zÿ:<ÿ~=q@<@==rÿ+)ÿ1z5
                                                     ?42=s4?4ÿ9q?ÿxyÿ),*))*,-).u{ÿ16<<:A|r?s<4ÿÿ)ÿ|8x8<ÿ6ÿÿ,ÿ|8x8<
  ))*,-*,-).                                         ÿÿ0ÿ|8x8<ÿ~ÿÿÿ|8x8<ÿ5ÿ1:@9r:suÿ~:@@8?5ÿ1s<?@?9ÿ))*,-*,-).5
                                   ÿ+-ÿ             x?A<8=sÿ<=ÿz=<8=sÿÿ_IWJGSÿCJKJGTÿmRDTJGGTÿgeGYJWNIÿJNÿJbGÿdGeJNRT
                                    1)ÿ2345         fNJWNIÿONRÿ\IJR^ÿNOÿKIÿgRSGRÿXEERNhWIVÿJbGÿXSGiDKY^ÿNOÿJbGÿdWTYFNTDRG
                                                     CJKJGHGIJÿKISÿoRKIJWIVÿgJbGRÿUGFWGOÿ1@?p:<?9ÿ9=Aqr?s<145t,5ÿ78p?9ÿxy
                                                     ?s:r8sÿ{ÿ8338s4ÿ=sÿx?|:p7ÿ=7ÿs8<?9ÿ><:<?4ÿ@q4<??{ÿ8<|ÿ|?:@8s3ÿ<=
                                                     x?ÿ|?p9ÿ=sÿ))*,v*,-).ÿ:<ÿ))--ÿ6zÿ:<ÿ~=q@<@==rÿ+)ÿ1z5ÿ18338s4u
  ))*,)*,-).                                         ?s:r8s5ÿ1s<?@?9ÿ))*,)*,-).5
                                   ÿ+-.ÿ             z=s<|pyÿw??ÿ><:<?r?s<ÿNOÿUNeWITÿ¡KEFKIÿ̀`[ÿONRÿJbGÿfNIJbÿNOÿXDVDTJ
                                    10-ÿ2345         ÿw8p?9ÿxyÿ>A=<<ÿw{ÿ¢:q<8?@ÿ=sÿx?|:p7ÿ=7ÿ=x8s4ÿ£:2p:sÿ}{
  ))*,)*,-).                                         1¢:q<8?@uÿ>A=<<5ÿ1s<?@?9ÿ))*,)*,-).5
                                   ÿ+-vÿ             z=s<|pyÿw??ÿ><:<?r?s<ÿNOÿUNeWITÿ¡KEFKIÿ̀`[ÿONRÿJbGÿfNIJbÿNO
                                    10)ÿ2345         CGEJGHeGRÿÿw8p?9ÿxyÿ>A=<<ÿw{ÿ¢:q<8?@ÿ=sÿx?|:p7ÿ=7ÿ=x8s4ÿ£:2p:s
  ))*,)*,-).                                         }{ÿ1¢:q<8?@uÿ>A=<<5ÿ1s<?@?9ÿ))*,)*,-).5
  ))*,)*,-).                       ÿ+)-ÿ             >?A=s9ÿ622p8A:<8=sÿ7=@ÿs<?@8rÿ}@=7?448=s:pÿ~=r2?s4:<8=sÿ7=@ÿ=x8s4
                                    1))ÿ2345        £:2p:sÿ}uÿ~@?98<=@ÿ~=rr{ÿ6<yuÿ2?@8=9ÿ.*)*,-).ÿ<=ÿv*0-*,-).u
                                                     7??)v.u)-uÿ?2?s4?4ÿ.v0.{0,{ÿ78p?9ÿxyÿ>A=<<ÿw{ÿ¢:q<8?@ÿ8<|
                                                     |?:@8s3ÿ<=ÿx?ÿ|?p9ÿ=sÿ),*).*,-).ÿ:<ÿ))--ÿ6zÿ:<ÿ~=q@<@==rÿ+)
117 11! "#$55524%5&''2'2'5(5(45                                                      321543
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                                                           40-5   7ÿ09/30/21
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                                                      )*+,-ÿ/01234101ÿ560ÿ78ÿ9:;99;:<9=>?ÿ)@A6BC0D>ÿEF3BB-ÿ)+4B0D05G
                                                           #:2299
                                                      99;:9;:<9=-
                                   ÿI99ÿ              E0F345ÿL22MCFABC34ÿN3DÿO4B0DCPÿQD3N011C34AMÿR3P2041ABC34ÿSÿUVWXYZ
                                    )9I9ÿ2J1Kÿ:ÿ53F1- [\\]^W_`^XYÿXaÿb^YcX̀YÿdÿUè_fYÿgghiÿ_cÿjXkYcV]ÿ̀Xÿ̀lVÿmVnX̀eciÿaXe
                                                      oYV̀e^pÿjXp\VYc_`^XYÿaXeÿheXaVcc^XY_]ÿUVeq^WVcÿrVYZVeVZÿ_YZ
                                                      rV^pnkecVpVYÿ̀Xaÿ[Wk̀_]ÿ_YZÿsVWVcc_etÿuv\VYcVcÿaXeÿ̀lVÿhVe^XZ
                                                      [kwkcÿ̀xiÿyzx{ÿ|leXkwlÿ_YZÿoYW]kZ^Ywÿ}WX̀nVeÿ~xiÿyzx{ÿN3Dÿ,C41B34ÿ
                                                      EBDA4ÿQ>ÿ07B3D1ÿLBB3D408>ÿ20DC35Gÿ=;9;:<9=ÿB3ÿ9<;H9;:<9=>
                                                      N00GI:<>9?<<>ÿ0204101Gÿ:>H:?9?ÿNCM05ÿ78ÿ,C41B34ÿÿEBDA4ÿQ
                                                      CBÿ0ADC4JÿB3ÿ70ÿ0M5ÿ34ÿ9:;9=;:<9=ÿABÿ99G<<ÿL*ÿABÿR36DBD33PÿI9
                                                      )*+,-ÿ/01234101ÿ560ÿ78ÿ9:;99;:<9=>?ÿ)LBBAFP04B1Gÿÿ9ÿ+C7CBÿÿLMM
  99;:H;:<9=                                          +C7CB1-ÿ)AD5PA4>ÿRADDC0-ÿ)+4B0D05Gÿ99;:H;:<9=-
                                   ÿI9:ÿ              0BB0DÿSÿsX`^WVÿXaÿV_e^YwÿXYÿUVWXYZÿoYV̀e^pÿ[\\]^W_`^XYcÿaXe
                                    )Hÿ2J1-           []]Xf_YWVÿXaÿjXp\VYc_`^XYÿaXeÿheXaVcc^XY_]ÿUVeq^WVcÿrVYZVeVZÿ_YZ
                                                      rV^pnkecVpVYÿ̀Xaÿuv\VYcVcÿ)D0MAB05ÿ53F6P04B)1-I<I>ÿI9<>ÿI99-ÿCM05
                                                      78ÿRADDC0ÿÿAD5PA4ÿ34ÿ70AMNÿ3Nÿ,C41B34ÿÿEBDA4ÿQ?ÿCBÿ0ADC4J
                                                      B3ÿ70ÿ0M5ÿ34ÿ9:;9=;:<9=ÿABÿ99G<<ÿL*ÿABÿR36DBD33PÿI9ÿ)*+,-
                                                      70FBC341ÿ560ÿ78ÿ9:;99;:<9=>ÿ)AD5PA4>ÿRADDC0-ÿ)+4B0D05G
  99;:H;:<9=                                          99;:H;:<9=-
                                   ÿI9Hÿ              LNNC5ACBÿ3NÿE0DCF0ÿXaÿUV̀qVYÿ^]nVeÿ̀rVw_eZ^YwÿsX`^WVÿXaÿmVnX̀ec
                                    )Iÿ2J1-           X`^XYÿaXeÿuYètÿXaÿ_Yÿ}eZVeÿoÿ[\\eXq^Ywÿ̀lVÿ[ZVk_WtÿXaÿ̀lV
                                                      m^cW]XckeVÿU`_V̀pVYìÿooÿ[\\eXq^Ywÿ̀lVÿUX]^W^`_`^XYÿ_YZÿsX`^WV
                                                      heXWVZkeVcÿf^l̀ÿrVc\VWÿ̀X̀ÿjXYa^ep_`^XYÿXaÿmVnX̀ecÿ_YZÿ̀lVÿjeVZ^X̀ec
                                                      jXpp^`V̀VcÿX^Yÿ̀h]_YÿXaÿg^k^Z_`^XYiÿoooÿ[\\eXq^Ywÿ̀lVÿXepcÿXa
                                                      _]]Xc̀ÿ_YZÿsX`^WVcÿ^YÿjXYYVW`^XYÿ|lVeVf^l̀iÿoÿUWlVZk]^YwÿjVe`_^Y
                                                      m_V̀cÿf^l̀ÿrVc\VWÿ̀|lVeVX̀ÿ_YZÿÿe_Y`^YwÿrV]_V̀ZÿrV]^VaÿCM05ÿ78
                                                      L5APÿ*?ÿL5M0Dÿ34ÿ70AMNÿ3NÿQDCP0ÿRM0DÿRÿRMACP1ÿLJ04B?ÿ)L5M0D>
  99;:I;:<9=                                          L5AP-ÿ)+4B0D05Gÿ99;:I;:<9=-
                                   ÿI9ÿ              0BB0DÿSÿsX`^WVÿXaÿ[wVYZ_ÿXaÿ_`V̀ecÿUWlVZk]VZÿaXeÿV_e^YwÿXY
                                    )Hÿ2J1-           sXqVpnVeÿyiÿyzx{ÿ_ÿ̀xxzzÿ[ ÿu|ÿ)D0MAB05ÿ53F6P04B)1-:-ÿCM05
                                                      78ÿRADDC0ÿÿAD5PA4ÿ34ÿ70AMNÿ3Nÿ/0MABCCB8ÿ*05CA>ÿR?ÿCBÿ0ADC4J
                                                      B3ÿ70ÿ0M5ÿ34ÿ99;:¡;:<9=ÿABÿ99G<<ÿL*ÿABÿR36DBD33PÿI9ÿ)*+,-
  99;:;:<9=                                           )AD5PA4>ÿRADDC0-ÿ)+4B0D05Gÿ99;:;:<9=-
                                   ÿI9ÿ              LNNC5ACBÿ3NÿE0DCF0ÿUk\\]VpVY`_]ÿ}aÿjl_e]VcÿWje_W¢VYÿeVw_eZ^Yw
                                    )ÿ2J1-           sX`^WVÿXaÿj]Xc^YwÿXaÿU_]VÿXaÿjVe`_^Yÿ[ccVc̀ÿhkeck_Yÿ̀X̀ÿUVW`^XYÿ~£~ÿXa
                                                       l̀Vÿ_Y¢ek\ẀtÿjXZVÿeVVÿ_YZÿj]V_eÿXaÿ[]]ÿg^VYciÿj]_^pciÿoYV̀eVcc̀iÿ_YZ
                                                      uYWkpne_YWVcÿ̀Xÿ̀lVÿuvV̀Yÿ̀hVep^`V̀ZÿntÿUVW`^XYÿ~£~aÿXaÿ̀lV
                                                      _Y¢ek\ẀtÿjXZVÿ_YZÿsX`^WVÿXaÿmVnX̀ecÿX`^XYÿaXeÿuYètÿXaÿ_Yÿ}eZVe
                                                      oÿ[\\eXq^Ywÿ̀lVÿ[ZVk_WtÿXaÿ̀lVÿm^cW]XckeVÿU`_V̀pVYìÿooÿ[\\eXq^Yw
                                                       l̀VÿUX]^W^`_`^XYÿ_YZÿsX`^WVÿheXWVZkeVcÿf^l̀ÿrVc\VWÿ̀X̀ÿjXYa^ep_`^XYÿXa
                                                      mVnX̀ecÿ_YZÿ̀lVÿjeVZ^X̀ecÿjXpp^`V̀VcÿX^Yÿ̀h]_YÿXaÿg^k^Z_`^XYiÿooo
                                                      [\\eXq^Ywÿ̀lVÿXepcÿXaÿ_]]Xc̀ÿ_YZÿsX`^WVcÿ^YÿjXYYVW`^XYÿ|lVeVf^l̀i
                                                      oÿUWlVZk]^YwÿjVe`_^Yÿm_V̀cÿf^l̀ÿrVc\VWÿ̀|lVeVX̀ÿ_YZÿÿe_Y`^Yw
                                                      rV]_V̀ZÿrV]^Vaÿ)D0MAB05ÿ53F6P04B)1-H-ÿCM05ÿ78ÿL5APÿ*?ÿL5M0Dÿ34
  99;:;:<9=                                           70AMNÿ3NÿQDCP0ÿRM0D>ÿR?ÿ)L5M0D>ÿL5AP-ÿ)+4B0D05Gÿ99;:;:<9=-
  99;:=;:<9=                       ÿI9Iÿ              LNNC5ACBÿ3NÿE0DCF0ÿXaÿh_k]ÿhk]]XÿrVw_eZ^YwÿUVWXYZÿoYV̀e^pÿVV
                                    )ÿ2J1-           [\\]^W_`^XYÿXaÿ¤oooÿh_eỲVecÿ_cÿheXq^ZVeÿXaÿoYV̀e^pÿ_Y_wVpVY`
                                                      UVeq^WVcÿaXeÿ̀lVÿmVnX̀ecÿ_YZÿmVnX̀ecÿ^YÿhXccVcc^XYÿaXeÿ̀lVÿhVe^XZÿaeXp
                                                      [kwkcÿ̀xiÿyzx{ÿ̀leXkwlÿ}WX̀nVeÿ~xiÿyzx{iÿUVWXYZÿ[\\]^W_`^XYÿXa
                                                      b^YcX̀YÿdÿUè_fYÿgghiÿ_cÿjXkYcV]ÿ̀Xÿ̀lVÿmVnX̀eciÿaXeÿoYV̀e^p
                                                      jXp\VYc_`^XYÿaXeÿheXaVcc^XY_]ÿUVeq^WVcÿrVYZVeVZÿ_YZÿrV^pnkecVpVY`
                                                      Xaÿ[Wk̀_]ÿ_YZÿsVWVcc_etÿuv\VYcVcÿaXeÿ̀lVÿhVe^XZÿ[kwkcÿ̀xiÿyzx{
                                                       l̀eXkwlÿ_YZÿ^YW]kZ^Ywÿ}WX̀nVeÿ~xiÿyzx{ÿ_YZÿsX`^WVÿXaÿV_e^YwÿXY
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                                                      )*+,-.ÿ0-1*234ÿ56673+813,-9ÿ:,2ÿ577,;8-+*ÿ,:ÿ<,46*-9813,-ÿ:,2
                                                           #:2300
                                                      =2,:*993,-87ÿ)*2>3+*9ÿ?*-.*2*.ÿ8-.ÿ?*34@A29*4*-1ÿ,:ÿBC6*-9*9
                                                      DEFGHIFJÿJLMNOFPIDQRSTSUÿSVWUÿSVVRÿXYGFJÿZ[ÿ\JHOÿ]^ÿ\JGFEÿLPÿZF_HG̀
                                                      L`ÿaEYOFÿbGFEcÿddbÿbGHYOQÿ\eFPI^ÿD\JGFEUÿ\JHORÿDfPIFEFJg
                                                      VVhWihWTViR
                                   ÿSVjÿ              nIHIFOFPIÿop,13+*ÿ,:ÿq373-rÿ,:ÿq3291ÿ54*-.*.ÿ=78-ÿ8-.ÿ?*781*.
                                    DWkkÿleQmÿkÿJLMQR s39+7,9A2*ÿ)181*4*-1ÿDEFGHIFJÿJLMNOFPIDQRkjWRÿ̀YGFJÿZ[ÿbHEEYFÿt
                                                      uHEJOHPÿLPÿZF_HG̀ÿL`ÿvFGHIYwYI[ÿ]FJYHUÿddb^ÿxYI_ÿ_FHEYPeÿILÿZFÿ_FGJ
                                                      LPÿVVhWyhWTViÿHIÿVVgTTÿ\]ÿHIÿbLNEIELLOÿSVjÿD]fzRÿD\IIHM_OFPIQgÿ{
                                                      Vÿf|_YZYIÿ\ÿ{ÿWÿf|_YZYIÿ}ÿ{ÿ~ÿf|_YZYIÿbÿ{ÿÿf|_YZYIÿRÿDuHEJOHPU
  VVhWihWTVi                                          bHEEYFRÿDfPIFEFJgÿVVhWihWTViR
                                   ÿSViÿ              LIYMFÿL`ÿ\eFPJHÿop,13+*ÿ,:ÿ54*-.*.ÿ5r*-.8ÿ,:ÿ811*29ÿ)+*.A7*.ÿ:,2
                                    D~ÿleQR           *823-rÿ,-ÿp,>*4@*2ÿÿÿ81ÿÿ5ÿBÿDEFGHIFJ
                                                      JLMNOFPIDQRSVRÿ̀YGFJÿZ[ÿbHEEYFÿtÿuHEJOHPÿLPÿZF_HG̀ÿL`ÿvFGHIYwYI[
                                                      ]FJYHUÿddb^ÿxYI_ÿ_FHEYPeÿILÿZFÿ_FGJÿLPÿVVhWyhWTViÿHIÿVVgTTÿ\]ÿHI
  VVhWihWTVi                                          bLNEIELLOÿSVjÿD]fzRÿDuHEJOHPUÿbHEEYFRÿDfPIFEFJgÿVVhWihWTViR
                                   ÿSVyÿ              \``YJHwYIÿL`ÿnFEwYMFÿ,:ÿpA-,ÿ<82.,9,ÿ?*r82.3-rÿp,13+*ÿ,:ÿ5r*-.8ÿ,:
                                    DiÿleQR           811*29ÿ)+*.A7*.ÿ:,2ÿ*823-rÿ,-ÿp,>*4@*2ÿÿÿ81ÿÿ84
                                                      BÿDEFGHIFJÿJLMNOFPIDQRSVRÿXYGFJÿZ[ÿ\JHOÿ]^ÿ\JGFEÿLPÿZF_HG̀ÿL`
  VVhWihWTVi                                          aEYOFÿbGFEcUÿddb^ÿD\JGFEUÿ\JHORÿDfPIFEFJgÿVVhWihWTViR
                                   ÿSWTÿ              \``YJHwYIÿL`ÿnFEwYMFÿ)A667*4*-187ÿ,:ÿpA-,ÿ<82.,9,ÿ?*r82.3-r
                                    DV~ÿleQR          54*-.*.ÿp,13+*ÿ,:ÿ0ÿ=2,6,9*.ÿ599A4613,-ÿ8-.ÿ5993r-4*-1ÿ,:
                                                      BC*+A1,2ÿ<,-128+19ÿ8-.ÿ-*C632*.ÿ*89*9ÿ3-ÿ<,--*+13,-ÿ;31ÿ)87*ÿ8-.
                                                      00ÿ599,+381*.ÿ<A2*ÿ<,919ÿp,13+*ÿ,:ÿs*@1,29ÿ,13,-ÿ:,2ÿB-12ÿ,:ÿ8-
                                                      2.*2ÿ0ÿ5662,>3-rÿ1*ÿ5.*A8+ÿ,:ÿ1*ÿs39+7,9A2*ÿ)181*4*-1ÿ00
                                                      5662,>3-rÿ1*ÿ),73+31813,-ÿ8-.ÿp,13+*ÿ=2,+*.A2*9ÿ;31ÿ?*96*+1ÿ1,
                                                      <,-:324813,-ÿ,:ÿs*@1,29ÿ8-.ÿ1*ÿ<2*.31,29ÿ<,44311**9ÿ,3-1ÿ=78-ÿ,:
                                                      3A3.813,-ÿ000ÿ5662,>3-rÿ1*ÿq,249ÿ,:ÿ877,19ÿ8-.ÿp,13+*9ÿ3-
                                                      <,--*+13,-ÿ*2*;31ÿ0ÿ)+*.A73-rÿ<*2183-ÿs81*9ÿ;31ÿ?*96*+1
                                                      *2*1,ÿ8-.ÿÿ28-13-rÿ?*781*.ÿ?*73*:ÿp,13+*ÿ,:ÿ0ÿ=2,6,9*.
                                                      599A4613,-ÿ8-.ÿ5993r-4*-1ÿ,:ÿBC*+A1,2ÿ<,-128+19ÿ8-.ÿ-*C632*.
                                                      *89*9ÿ3-ÿ<,--*+13,-ÿ;31ÿ)87*ÿ8-.ÿ00ÿ599,+381*.ÿ<A2*ÿ<,919ÿp,13+*
                                                      ,:ÿ<7,93-rÿ,:ÿ)87*ÿ,:ÿ<*2183-ÿ599*19ÿ=A29A8-1ÿ1,ÿ)*+13,-ÿÿ,:ÿ1*
                                                      8-2A61+ÿ<,.*ÿq2**ÿ8-.ÿ<7*82ÿ,:ÿ577ÿ3*-9ÿ<78349ÿ0-1*2*919ÿ8-.
                                                      B-+A4@28-+*9ÿ1,ÿ1*ÿBC1*-1ÿ=*24311*.ÿ@ÿ)*+13,-ÿ:ÿ,:ÿ1*
                                                      8-2A61+ÿ<,.*ÿs39+7,9A2*ÿ)181*4*-1ÿ:,2ÿs*@1,29ÿ8-.ÿ*ÿ<2*.31,29
                                                      <,44311**9ÿ,3-1ÿ3A3.813-rÿ=78-ÿ-.*2ÿ<861*2ÿÿ,:ÿ1*
                                                      8-2A61+ÿ<,.*ÿs*@1,29ÿ,13,-ÿ:,2ÿB-12ÿ,:ÿ8-ÿ2.*2ÿ0ÿ5662,>3-r
                                                      1*ÿ5.*A8+ÿ,:ÿ1*ÿs39+7,9A2*ÿ)181*4*-1ÿ00ÿ5662,>3-rÿ1*
                                                      ),73+31813,-ÿ8-.ÿp,13+*ÿ=2,+*.A2*9ÿ;31ÿ?*96*+1ÿ1,ÿ<,-:324813,-ÿ,:
                                                      s*@1,29ÿ8-.ÿ1*ÿ<2*.31,29ÿ<,44311**9ÿ,3-1ÿ=78-ÿ,:ÿ3A3.813,-ÿ000
                                                      5662,>3-rÿ1*ÿq,249ÿ,:ÿ877,19ÿ8-.ÿp,13+*9ÿ3-ÿ<,--*+13,-ÿ*2*;31
                                                      0ÿ)+*.A73-rÿ<*2183-ÿs81*9ÿ;31ÿ?*96*+1ÿ*2*1,ÿ8-.ÿÿ28-13-r
                                                      ?*781*.ÿ?*73*:ÿ8-.ÿ)A667*4*-187ÿs*+782813,-ÿ,:ÿ*-843-ÿÿ)1**7*ÿ0-
                                                      )A66,21ÿ,:ÿ5ÿs*@1,29ÿ56673+813,-ÿ:,2ÿ5-ÿ2.*2ÿ5A1,233-r
                                                      B467,4*-1ÿ8-.ÿ?*1*-13,-ÿ,:ÿ=234*ÿ<7*2ÿ<ÿ89ÿ5.XX-XXXXXXX>*
                                                      5.>39,2ÿ-A-+ÿ62,ÿ1A-+ÿ1,ÿ1*ÿ=*1313,-ÿs81*ÿ8-.ÿÿs*@1,29ÿ56673+813,-
                                                      :,2ÿB-12ÿ,:ÿ5-ÿ2.*2ÿ0ÿ5A1,233-rÿ1*ÿs*@1,29ÿ1,ÿB467,ÿ8-.ÿ?*183-
                                                      =234*ÿ<7*2ÿ<ÿ89ÿ<78349ÿ8-.ÿp,13+3-rÿ5r*-1ÿB::*+13>*ÿ-A-+ÿ62,ÿ1A-+
                                                      1,ÿ1*ÿ=*1313,-ÿs81*ÿ00ÿ28-13-rÿ?*781*.ÿ?*73*:ÿDEFGHIFJ
                                                      JLMNOFPIDQRkk~UÿkjWUÿkjVUÿkkjUÿ~VyRÿXYGFJÿZ[ÿ\JHOÿ]^ÿ\JGFEÿLPÿZF_HG̀
                                                      L`ÿaEYOFÿbGFEcÿddbÿbGHYOQÿ\eFPI^ÿD\JGFEUÿ\JHORÿDfPIFEFJg
  VVhWyhWTVi                                          VVhWyhWTViR
  VVhWyhWTVi                       ÿSWVÿ              FMGHEHIYLPÿ:ÿ,489ÿÿq31r*287.ÿ0-ÿ)A66,21ÿ:ÿ)*+,-.ÿ56673+813,-
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                                    *+ÿ-./0            12ÿ456789ÿ:;<=;8ÿ>>?@ÿA9ÿB5C89D=ÿE5ÿEFDÿ1227G7;=ÿB5HH7IIDDÿ12
                                                           #:2301
                                                       J89DGCKDLÿBKDL7I5K9@ÿM5KÿN8IDK7HÿB5H<D89;I758ÿM5Kÿ?K52D99758;=
                                                       ODKP7GD9ÿ4D8LDKDLÿA8Lÿ4D7H6CK9DHD8Iÿ12ÿAGIC;=ÿA8LÿQDGD99;KR
                                                       ST<D89D9ÿM5KÿEFDÿ?DK75Lÿ12ÿACUC9IÿV@ÿWXVYÿEFK5CUFÿA8LÿN8G=CL78U
                                                       OD<IDH6DKÿZX@ÿWXVYÿ*[\]^_\`ÿ̀abcd\e_*/0fgh0ÿij]\`ÿklÿmba__ÿnoÿp^c_j\[
                                                       aeÿk\q^]iÿaiÿrakje/ÿs^-]^eÿttuoÿ*p^c_j\[vÿmba__0ÿ*we_\[\`xÿggy+zy+hg{0
                                   ÿf++ÿ               |iij̀^}j_ÿaiÿm\[}jb\ÿ4D~ÿVÿODG58LÿA<<=7G;I758ÿ12ÿ456789ÿ:;<=;8ÿ>>?@
                                    *g+ÿ-./0           A9ÿB5C89D=ÿE5ÿEFDÿ1227G7;=ÿB5HH7IIDDÿ12ÿJ89DGCKDLÿBKDL7I5K9@ÿM5K
                                                       N8IDK7HÿB5H<D89;I758ÿM5Kÿ?K52D99758;=ÿODKP7GD9ÿ4D8LDKDLÿA8L
                                                       4D7H6CK9DHD8Iÿ12ÿAGIC;=ÿA8LÿQDGD99;KRÿST<D89D9ÿM5KÿEFDÿ?DK75Lÿ12
                                                       ACUC9IÿV@ÿWXVYÿEFK5CUFÿA8LÿN8G=CL78UÿOD<IDH6DKÿZX@ÿWXVYÿA8LÿW
                                                       DG=;K;I758ÿ12ÿEF5H;9ÿÿM7IUDK;=LÿN8ÿOC<<5KIÿ12ÿODG58LÿA<<=7G;I758
                                                       12ÿ456789ÿ:;<=;8ÿ>>?@ÿA9ÿB5C89D=ÿE5ÿEFDÿ1227G7;=ÿB5HH7IIDDÿ12
                                                       J89DGCKDLÿBKDL7I5K9@ÿM5KÿN8IDK7HÿB5H<D89;I758ÿM5Kÿ?K52D99758;=
                                                       ODKP7GD9ÿ4D8LDKDLÿA8Lÿ4D7H6CK9DHD8Iÿ12ÿAGIC;=ÿA8LÿQDGD99;KR
                                                       ST<D89D9ÿM5KÿEFDÿ?DK75Lÿ12ÿACUC9IÿV@ÿWXVYÿEFK5CUFÿA8LÿN8G=CL78U
                                                       OD<IDH6DKÿZX@ÿWXVYÿ*[\]^_\`ÿ̀abcd\e_*/0fgh0ÿnj]\`ÿklÿmba__ÿnoÿp^c_j\[
  ggy+zy+hg{                                           aeÿk\q^]iÿaiÿrakje/ÿs^-]^eÿttuoÿ*p^c_j\[vÿmba__0ÿ*we_\[\`xÿggy+zy+hg{0
                                   ÿf+ÿ               ae_q]lÿn\\ÿm_^_\d\e_ÿÿB5H678DLÿ58IF=RÿMDDÿOI;IDHD8Iÿ52ÿ?K7HD
                                    *+fÿ-./0           B=DKÿ>>B@ÿ;9ÿALH7879IK;I7PDÿALP795KÿI5ÿIFDÿD6I5K9@ÿ25KÿIFDÿ?DK75L
                                                       2K5HÿNÿ;RÿZ@ÿWXVYÿIFK5CUFÿ;RÿZV@ÿWXVYÿ;8LÿNNÿC=RÿV@ÿWXVY
                                                       IFK5CUFÿ1GI56DKÿZV@ÿWXVYÿnj]\`ÿklÿ|`^dÿoÿ|`]\[ÿaeÿk\q^]iÿaiÿu[jd\
  ggyhy+hg{                                           ]\[ÿttÿ]^jd/ÿ|.\e_oÿ*|`]\[vÿ|`^d0ÿ*we_\[\`xÿggyhy+hg{0
                                   ÿf+ÿ               |iij̀^}j_ÿaiÿm\[}jb\ÿ52ÿ4;2;D=ÿOI7IIÿ4DU;KL78UÿQ5I7GDÿ52ÿM7=78Uÿ52ÿM7K9I
                                    *fÿ-./0            AHD8LDLÿ?=;8ÿ;8Lÿ4D=;IDLÿ79G=59CKDÿOI;IDHD8Iÿ;8LÿQ5I7GDÿ52
                                                       AHD8LDLÿAUD8L;ÿ52ÿ;IIDK9ÿOGFDLC=DLÿ25KÿD;K78Uÿ58ÿQ5PDH6DKÿW@
                                                       WXVYÿ;IÿVV~XXÿ;HÿSEÿ*[\]^_\`ÿ̀abcd\e_*/0fg{vÿfg0ÿnj]\`ÿklÿ|`^d
                                                       oÿ|`]\[ÿaeÿk\q^]iÿaiÿu[jd\ÿ]\[vÿttoÿ*|`]\[vÿ|`^d0ÿ*we_\[\`x
  g+yhy+hg{                                           g+yhy+hg{0
                                   ÿf+ÿ               ae_q]lÿn\\ÿm_^_\d\e_ÿQ5I7GDÿ52ÿM7=78Uÿ52ÿB5H678DLÿ58IF=RÿOI;2278U
                                    *gfÿ-./0           4D<5KIÿ;8LÿB5H<D89;I758ÿOI;IDHD8Iÿ25KÿIFDÿ?DK75Lÿ52ÿQ5PDH6DKÿV@
                                                       WXVYÿEFK5CUFÿQ5PDH6DKÿZX@ÿWXVYÿnj]\`ÿklÿ^[[j\ÿÿ^[`d^eÿae
  g+yhy+hg{                                           k\q^]iÿaiÿÿu^[_e\[/oÿ*^[`d^evÿ^[[j\0ÿ*we_\[\`xÿg+yhy+hg{0
                                   ÿf+fÿ               |iij̀^}j_ÿaiÿm\[}jb\ÿ52ÿ?;C=ÿ?C==5ÿ4DU;KL78UÿB5H678DLÿ58IF=RÿMDD
                                    *ÿ-./0            OI;IDHD8Iÿ52ÿ?K7HDÿB=DKÿ>>B@ÿ;9ÿALH7879IK;I7PDÿALP795KÿI5ÿIFD
                                                       D6I5K9@ÿ25KÿIFDÿ?DK75Lÿ2K5HÿNÿ;RÿZ@ÿWXVYÿIFK5CUFÿ;RÿZV@ÿWXVY
                                                       ;8LÿNNÿC=RÿV@ÿWXVYÿIFK5CUFÿ1GI56DKÿZV@ÿWXVYÿ*[\]^_\`
                                                       `abcd\e_*/0f+0ÿnj]\`ÿklÿ|`^dÿoÿ|`]\[ÿaeÿk\q^]iÿaiÿu[jd\ÿ]\[v
  g+yhy+hg{                                           ttoÿ*|`]\[vÿ|`^d0ÿ*we_\[\`xÿg+yhy+hg{0
                                   ÿf+ÿ               mc--]\d\e_^]ÿa_jaeÿ_aÿm_^lÿOC<<=DHD8I;=ÿK7D2ÿ78ÿOC<<5KIÿ52ÿ5I758
                                    *hÿ-./ÿÿ̀ab/0 25Kÿ4D=7D2ÿ2K5HÿOI;Rÿ*[\]^_\`ÿ̀abcd\e_*/00ÿij]\`ÿklÿ^dj̀ÿro
                                                       r^i^_aaÿaeÿk\q^]iÿaiÿ^[a]ÿp\ej/ÿj_qÿq\^[je.ÿ_aÿk\ÿq\]`ÿae
                                                       g+yg{y+hg{ÿ^_ÿggxhhÿ|ÿ^_ÿac[_[aadÿfgÿ*w0ÿr\/-ae/\/ÿ̀c\ÿkl
                                                       g+ygy+hg{voÿ*|__^bqd\e_/xÿÿgÿwqjkj_ÿ|ÿÿe/c[^eb\ÿq^[_ÿÿ+ÿwqjkj_
                                                       ÿÿr\`^b_\`ÿwd-]ald\e_ÿ|.[\\d\e_0ÿ*r^i^_aavÿ^dj̀0ÿ*we_\[\`x
  g+yhfy+hg{                                           g+yhfy+hg{0
  g+yhfy+hg{                       ÿf+{ÿ               \b]^[^_jaeÿ52ÿ;H7Lÿ4ÿ4;2;I55ÿ78ÿOC<<5KIÿ52ÿOC<<=DHD8I;=ÿK7D2ÿ78
                                    *{ÿ-./ÿg+ÿ̀ab/0 OC<<5KIÿ52ÿ5I758ÿ25Kÿ4D=7D2ÿ2K5HÿOI;Rÿ*[\]^_\`ÿ̀abcd\e_*/0f+vÿ0
                                                       ij]\`ÿklÿ^dj̀ÿroÿr^i^_aaÿaeÿk\q^]iÿaiÿ^[a]ÿp\ej/oÿj_qÿq\^[je.ÿ_aÿk\
                                                       q\]`ÿaeÿg+yg{y+hg{ÿ^_ÿggxhhÿ|ÿ^_ÿac[_[aadÿfgÿ*w0ÿr\-]lÿ̀c\
                                                       klÿg+ygy+hg{vÿ*|__^bqd\e_/xÿÿgÿwoÿ|ÿÿ¡^_jae^]ÿ¢ejaeÿua]jblÿÿ+ÿwo
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                                                      )ÿ+ÿ,-./0ÿ12.-34/5ÿ678349ÿ:ÿ;ÿ<=>3?30ÿ@ÿ+ÿ<5AB-/54.ÿ678349ÿ:ÿCÿ<=>3?30
                                                           #:2302
                                                      Dÿ+ÿ1-E7ÿ678349ÿ:ÿFÿ<=>3?30ÿ<ÿ+ÿG.H47ÿ678349ÿ:ÿIÿ<=>3?30ÿJÿ+ÿKLMÿ678349
                                                      :ÿNÿ<=>3?30ÿ,ÿ+ÿ1883.AÿG7-8Aÿ678349ÿ:ÿOÿ<=>3?30ÿPÿ+ÿ).-Q8.9ÿ678349ÿ:ÿR
                                                      <=>3?30ÿMÿ+ÿ1STÿ678349ÿ:ÿUVÿ<=>3?30ÿWÿ+ÿXLÿ678349ÿ:ÿUUÿ<=>3?30ÿYÿ+
                                                      P3H47=ÿ<5A7-H.2.50Zÿ[K/\/0]77^ÿP/23AZÿ[<50.-.A_ÿU`aVIàVUOZ
                                   ÿI`Rÿ              @.-03\34/0.ÿ7\ÿc.-d34.ÿ\38.Aÿ?9ÿP/23AÿKeÿK/\/0]77ÿ75ÿ?.>/8\ÿ7\ÿ@/-78
  U`aVIàVUO                        [`ÿbEHZ           ,.53Heÿ[K/\/0]77^ÿP/23AZÿ[<50.-.A_ÿU`aVIàVUOZ
                                   ÿI;Vÿ              cBbb8.2.50/8ÿfbb7H30375ÿghÿjklÿmhhnonpqÿrgssnjjllÿghÿtuvlowxly
                                    [OÿbEHZ           rxlynjgxvÿjgÿzgjnguÿhgxÿ{lqnlhÿ|xgsÿ}jp~ÿpuyÿ}wqlslujpqÿxnlhÿnu
                                                      }wgxjÿghÿzgjnguÿhgxÿ{lqnlhÿ|xgsÿ}jp~ÿ[-.8/0.AÿA74B2.50[HZI`NZÿ\38.A
                                                      ?9ÿc4700ÿJeÿ,/B03.-ÿ75ÿ?.>/8\ÿ7\ÿfJJM@M1Lÿ@fM<<ÿfJ
  U`aU;àVUO                                          Sc<@K<Dÿ@K<DMfKceÿ[,/B03.-^ÿc4700Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;Uÿ              @.-03\34/0.ÿ7\ÿc.-d34.ÿxlÿ}wqlslujpqÿmgvnjnguÿmhÿklÿmhhnonpq
                                    [`ÿbEHZ           rgssnjjllÿmhÿtuvlowxlyÿrxlynjgxvÿgÿzgjnguÿ|gxÿ{lqnlhÿ|xgsÿ}jp~
                                                      uyÿ}wqlslujpqÿxnlhÿuÿ}wgxjÿmhÿzgjnguÿ|gxÿ{lqnlhÿ|xgsÿ}jp~
                                                      [-.8/0.AÿA74B2.50[HZI;VZÿ\38.Aÿ?9ÿc4700ÿJeÿ,/B03.-ÿ75ÿ?.>/8\ÿ7\
                                                      fJJM@M1Lÿ@fM<<ÿfJÿSc<@K<Dÿ@K<DMfKceÿ[,/B03.-^
  U`aU;àVUO                                          c4700Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;`ÿ              @.-03\34/0.ÿ7\ÿS7ÿf?].40375ÿ6B-HB/50ÿ07ÿLKÿRVNF+`ÿ[-.8/0.A
                                    [IÿbEHZ           A74B2.50[HZIVI^ÿIUV^ÿIUUZÿJ38.Aÿ?9ÿ@/--3.ÿTÿP/-A2/5ÿ75ÿ?.>/8\ÿ7\
  U`aU;àVUO                                          G35H075ÿÿc0-/5ÿLL6eÿ[P/-A2/5^ÿ@/--3.Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;;ÿ              c.475Aÿ12.5A.Aÿ68/5ÿÿljgxvÿpuyÿjklÿrxlynjgxvÿrgssnjjllvÿ}loguy
                                    [CFÿbEHZ          sluylyÿgnujÿnwnypjnuÿqpuÿtuylxÿrkpjlxÿÿghÿjklÿpuxwjo~
                                                      rgylÿ\38.Aÿ?9ÿ@/--3.ÿTÿP/-A2/5ÿ75ÿ?.>/8\ÿ7\ÿK.8/03d309ÿ.A3/^ÿLL@e
  U`aU;àVUO                                          [P/-A2/5^ÿ@/--3.Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;Cÿ              12.5A.AÿD3H487HB-.ÿc0/0.2.50ÿÿnvoqgvwxlÿ}jpjlslujÿhgxÿljgxvÿpuy
                                    [U`FÿbEHÿCÿA74HZ jklÿrxlynjgxvÿrgssnjjllvÿ}loguyÿsluylyÿgnujÿnwnypjnuÿqpu
                                                      tuylxÿrkpjlxÿÿghÿjklÿpuxwjo~ÿrgylÿ[-.8/0.AÿA74B2.50[HZI;;Z
                                                      \38.Aÿ?9ÿ@/--3.ÿTÿP/-A2/5ÿ75ÿ?.>/8\ÿ7\ÿK.8/03d309ÿ.A3/^ÿLL@e
                                                      [100/4>2.50H_ÿ:ÿUÿ<=>3?30ÿ1ÿ:ÿ̀ÿ<=>3?30ÿ)ÿ:ÿ;ÿ<=>3?30ÿ@Z[P/-A2/5^
  U`aU;àVUO                                          @/--3.Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;Fÿ              c0/0.2.50ÿÿgjnolÿghÿ|nqnuÿghÿ}loguyÿsluylyÿqpuÿpuyÿ{lqpjly
                                    [U`NÿbEHÿ;ÿA74HZ nvoqgvwxlÿ}jpjlslujÿ[-.8/0.AÿA74B2.50[HZI;;^ÿI;CZÿ\38.Aÿ?9ÿ@/--3.ÿT
                                                      P/-A2/5ÿ75ÿ?.>/8\ÿ7\ÿK.8/03d309ÿ.A3/^ÿLL@eÿ[100/4>2.50H_ÿ:ÿU
  U`aU;àVUO                                          <=>3?30ÿ1ÿ:ÿ̀ÿ<=>3?30ÿ)Zÿ[P/-A2/5^ÿ@/--3.Zÿ[<50.-.A_ÿU`aU;àVUOZ
                                   ÿI;Iÿ              f-A.-ÿH3E5.Aÿ75ÿU`aUCàVUOÿ[MZÿ1bb-7d35Eÿ0>.ÿ1A.B/49ÿ7\ÿ0>.
                                    [FCÿbEHZ          D3H487HB-.ÿc0/0.2.50^ÿ[MMZÿ1bb-7d35Eÿ0>.ÿc783430/0375ÿ/5AÿS7034.
                                                      6-74.AB-.HÿG30>ÿK.Hb.40ÿ07ÿ@75\3-2/0375ÿ7\ÿD.?07-Hÿ/5Aÿ0>.ÿ@-.A307-H
                                                      @722300..HÿW7350ÿ68/5ÿ7\ÿL3B3A/0375^ÿ[MMMZÿ1bb-7d35Eÿ0>.ÿJ7-2Hÿ7\
                                                      )/8870Hÿ/5AÿS7034.Hÿ35ÿ@755.40375ÿ>.-.30>^ÿ[MTZÿc4>.AB835Eÿ@.-0/35
                                                      D/0.Hÿ30>ÿK.Hb.40ÿ>.-.07ÿ/5Aÿ[TZÿ,-/5035EÿK.8/0.AÿK.83.\ÿ[K.8/0.A
                                                      D74ÿFN`^ÿI;;ÿ^ÿI;CZeÿ@75\3-2/0375ÿ>./-35Eÿ07ÿ?.ÿ>.8Aÿ75ÿUàRàVURÿ/0
                                                      UV_VVÿ1ÿ/0ÿ@7B-0-772ÿIUNÿ[<GZeÿ[,72.^ÿW.HH34/Zeÿ[<50.-.A_
  U`aUCàVUO                                          U`aUCàVUOZ
  U`aUCàVUO                       ÿI;Nÿ              S7034.ÿ7\ÿP./-35Eÿjgÿrguvnylxÿrguhnxspjnguÿghÿljgxvÿpuyÿrxlynjgxv
                                    [;ÿbEHZ           rgssnjjllvÿ}loguyÿsluylyÿgnujÿnwnypjnuÿqpuÿtuylxÿrkpjlxÿ
                                                      ghÿjklÿpuxwjo~ÿrgylÿ[-.8/0.AÿA74B2.50[HZI;;^ÿI;CZÿ\38.Aÿ?9ÿ@/--3.ÿT
                                                      P/-A2/5ÿ75ÿ?.>/8\ÿ7\ÿK.8/03d309ÿ.A3/^ÿLL@eÿ30>ÿ>./-35Eÿ07ÿ?.ÿ>.8A
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                                                      )*ÿ,-./-.0,/ÿ12ÿ,,300ÿ45ÿ12ÿ6)7828))9ÿ:,;ÿ<5=>?ÿ<@18A91*Bÿ6188CD?
                                                           #:2303
                                                      <=*2D8DA3ÿ,.-,E-.0,F?
                                   ÿ:GFÿ              K)2CLDÿ)Mÿ4ID*A1ÿNOÿQRSSTUVÿWXYTZ[\TZÿONUÿ]TRU^_`ÿN_ÿaTXTbcTUÿdef
                                    <:ÿHIJ?           ghdeÿRSÿddihhÿjQÿklmnÿ<8Do12DAÿA)L79D*2<J?:0:Bÿ:,0Bÿ:,,Bÿp;;?ÿMCoDAÿqr
                                                      6188CDÿsÿ@18A91*ÿ)*ÿqDt1oMÿ)MÿuDo12CvC2rÿ5DAC1Bÿww6xÿyC2tÿtD18C*Iÿ2)
                                                      qDÿtDoAÿ)*ÿ,.-,F-.0,Fÿ12ÿ,,300ÿ45ÿ12ÿ6)7828))9ÿ:,;ÿ<5=>?
  ,.-,E-.0,F                                          <@18A91*Bÿ6188CD?ÿ<=*2D8DA3ÿ,.-,E-.0,F?
                                   ÿ:G/ÿ              z8AD8ÿJCI*DAÿ)*ÿ,.-,;-.0,Fÿ{81*2C*Iÿ|DL)*Aÿ}*2D8C9ÿ4HHoCL12C)*ÿM)8
                                    <GÿHIJ?           4oo)y1*LDÿ)Mÿ6)9HD*J12C)*ÿM)8ÿ~8)MDJJC)*1oÿ|D8vCLDJÿuD*AD8DAÿ1*A
                                                      uDC9q78JD9D*2ÿ)Mÿ=HD*JDJxÿ<uDo12DAÿ)Lÿ:0:?M)8ÿ5}}}ÿ~182*D8JBÿMDDJ
                                                      1y18ADA3ÿEppB.;:x.pÿBÿDHD*JDÿ1y18ADA3ÿ:E.x:pB
                                                      <uDo12DAÿ)Lÿ:,0?M)8ÿu)qC*Jÿ1Ho1*ÿww~BÿMDDJÿ1y18ADA3ÿ,;FB./:xG0
                                                      BÿDHD*JDÿ1y18ADA3ÿFB/GFxG.Bÿ<uDo12DAÿ)Lÿ:,,?M)8
                                                      >C*J2)*ÿÿ|281y*ÿww~BÿMDDJÿ1y18ADA3ÿppFB:E.x:0ÿB
                                                      DHD*JDÿ1y18ADA3ÿ.EBG.px;,xÿ<5L61MM8DrBÿ1y*?ÿ5)ACMCDAÿ)*
  ,.-,;-.0,F                                          ,-/-.0,/ÿ<uCLt18AJBÿDvD8or?xÿ<=*2D8DA3ÿ,.-,;-.0,F?
                                   ÿ:E0ÿ              K)2CLDÿ)Mÿ4ID*A1ÿNS^XTÿNOÿjbT_ZTZÿj`T_ZRÿNOÿQRSSTUVÿWXYTZ[\TZÿONU
                                    <;ÿHIJ?           ]TRU^_`ÿN_ÿaTXTbcTUÿdefÿghdeÿRSÿddihhÿRbÿklmnÿ<8Do12DA
                                                      A)L79D*2<J?:GF?ÿMCoDAÿqrÿ6188CDÿsÿ@18A91*ÿ)*ÿqDt1oMÿ)MÿuDo12CvC2r
                                                      5DAC1Bÿww6xÿyC2tÿtD18C*Iÿ2)ÿqDÿtDoAÿ)*ÿ,.-,F-.0,Fÿ12ÿ,,300ÿ45ÿ12
  ,.-,;-.0,F                                          6)7828))9ÿ:,;ÿ<5=>?ÿ<@18A91*Bÿ6188CD?ÿ<=*2D8DA3ÿ,.-,;-.0,F?
                                   ÿ:E,ÿ              |212D9D*2ÿNS^XTÿNOÿ[UXYRVTUVÿknÿ^VSÿNOÿaTV^`_RSTZÿ^`YSVÿN_SURXSV
                                    <G:FÿHIJÿGÿA)LJ? W[cTXSÿSNÿjVV[bS^N_ÿR_ZNUÿ[UXYRVTÿR_Zÿknÿ^VSÿNOÿjZZ^S^N_R\
                                                      aTV^`_RS^N_ÿ^`YSVÿN_SURXSVÿ<8Do12DAÿA)L79D*2<J?E/pBÿp0.?ÿMCoDAÿqr
                                                      6188CDÿsÿ@18A91*ÿ)*ÿqDt1oMÿ)MÿuDo12CvC2rÿ5DAC1Bÿww6xÿ<4221Lt9D*2J3ÿ
  ,.-,;-.0,F                                          ,ÿ=tCqC2ÿ4ÿÿ.ÿ=tCqC2ÿ?ÿ<@18A91*Bÿ6188CD?ÿ<=*2D8DA3ÿ,.-,;-.0,F?
                                   ÿ:E.ÿ              zHD812C*IÿuDH)82ÿONUÿTU^NZÿNTbcTUÿdfÿghdeÿSYUN[`YÿNTbcTUÿhf
                                    <.;ÿHIJ?          ghdeÿ¡CoDAÿqrÿ6188CDÿsÿ@18A91*ÿ)*ÿqDt1oMÿ)MÿuDo12CvC2rÿ5DAC1Bÿww6x
  ,.-,;-.0,F                                          <@18A91*Bÿ6188CD?ÿ<=*2D8DA3ÿ,.-,;-.0,F?
                                   ÿ:EGÿ              5)*2torÿ¡DDÿ|212D9D*2ÿNOÿa[OOÿ¢ÿYT\VÿWTX[U^S^TVfÿÿONUÿSYTÿTU^NZ
                                    <E,ÿHIJ?          NOÿQR£ÿgfÿghdeÿmYUN[`Yÿ¤XSNcTUÿdfÿghdeÿkN_VN\^ZRSTZÿWSRSTbT_Sn
                                                      ¡CoDAÿqrÿ|L)22ÿ¡xÿ{172CD8ÿ)*ÿqDt1oMÿ)Mÿ7MMÿÿ~tDoHJÿ|DL78C2CDJBÿww6x
  ,.-,;-.0,F                                          <{172CD8Bÿ|L)22?ÿ<=*2D8DA3ÿ,.-,;-.0,F?
                                   ÿ:EEÿ              4MMCA1vC2ÿ)Mÿ|D8vCLDÿNOÿNcTUSÿ¥ÿ[cT\ÿT`RUZ^_`ÿTUS^O^XRSTÿNOÿN
                                    </ÿHIJ?           ¤cTXS^N_ÿT`RUZ^_`ÿ_STU^bÿ¦TTÿj\^XRS^N_Vfÿ¤UZTUÿknÿjUN^_`ÿSYT
                                                      jZT§[RX£ÿNOÿSYTÿa^VX\NV[UTÿWSRSTbT_SfÿknÿjUN^_`ÿSYTÿWN\^X^SRS^N_
                                                      R_ZÿNS^XTÿUNXTZ[UTVÿ̈^SYÿTVTXSÿSNÿN_O^UbRS^N_ÿNOÿaTcSNUVÿR_Z
                                                      SYTÿUTZ^SNUVÿNbb^SSTTVÿ¥N^_Sÿ\R_ÿNOÿ^§[^ZRS^N_fÿknÿjUN^_`
                                                      SYTÿ¦NUbVÿNOÿ©R\\NSVÿR_ZÿNS^XTVÿ^_ÿN__TXS^N_ÿmYTUT¨^SYfÿkªn
                                                      WXYTZ[\^_`ÿTUSR^_ÿaRSTVÿ̈^SYÿTVTXSÿmYTUTSNÿR_Zÿkªnÿ«UR_S^_`
                                                      T\RSTZÿT\^TOfÿNS^XTÿNOÿj`T_ZRÿNOÿQRSSTUVÿWXYTZ[\TZÿONUÿ]TRU^_`ÿN_
                                                      aTXTbcTUÿdefÿghdeÿRSÿddihhÿRbklmnÿ<8Do12DAÿA)L79D*2<J?:G:Bÿ:GFB
                                                      :G.?ÿMCoDAÿqrÿ~8C9Dÿ6oD8¬ÿww6ÿ6o1C9Jÿ4ID*2x<|2DDoDBÿD*­19C*?
  ,.-,/-.0,F                                          <=*2D8DA3ÿ,.-,/-.0,F?
                                   ÿ:Epÿ              4MMCA1vC2ÿ)Mÿ|D8vCLDÿ¤Oÿ[_NÿRUZNVNÿUT`RUZ^_`ÿNS^XTÿNOÿjbT_ZTZ
                                    <:ÿHIJ?           j`T_ZRÿNOÿQRSSTUVÿWXYTZ[\TZÿONUÿ]TRU^_`ÿN_ÿaTXTbcTUÿdefÿghdeÿRS
                                                      ddihhÿRbÿklmnÿ<8Do12DAÿA)L79D*2<J?:E0?ÿMCoDAÿqrÿ~8C9Dÿ6oD8¬ÿww6
  ,.-.0-.0,F                                          6o1C9Jÿ4ID*2x<|2DDoDBÿD*­19C*?ÿ<=*2D8DA3ÿ,.-.0-.0,F?

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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 424 of 494 Page ID
  *+,+-,+-*.                       ÿ010ÿ             899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGHIJKÿLHMDNHÿOJPHQRNSPÿLNKTMDKUQJÿVWHWJIJSW
                                                           #:2304
                                    21*3ÿ4567        XMHKYÿLQNZJ[ÿ\DSENQIHWNDSÿ]JHQNSPÿ^DWNTJ[ÿ^DWNTJÿDEÿ^DS_`DWNSP
                                                     VWHWUK[ÿLJaWDQKÿ\DZJQÿbJWWJQ[ÿ\MHKKÿcÿdHMMDWÿHSRÿOJWUQSÿeSZJMDfJ
                                                     2BAg<>A;ÿ;?ChiAj>2670k0lÿ0kklÿ0kmlÿ0k17ÿ9:gA;ÿnoÿpB:iAÿqgABrlÿssqt
                                                     2@>AAgAlÿuAjv<i:j7ÿ2wj>ABA;xÿ*+,+-,+-*.7
                                   ÿ01mÿ             yB<j6CB:4>ÿBA5<B;:j5ÿzA<B:j5ÿzAg;ÿ?jÿ**,+{,+-*.ÿ<>ÿ**x-.ÿ<iÿ|wx
                                    23kÿ4567         }?>:?jÿ<44B?=:j5ÿ<;A~h<Coÿ?9ÿ>Aÿ;:6Cg?6hBAÿ6><>AiAj>ttÿ|Ai?>A
                                                     AgAC>B?j:Cÿ<CCA66ÿ>?ÿ>Aÿ>B<j6CB:4>ÿ:6ÿBA6>B:C>A;ÿhj>:gÿk,+-,+-*{tÿyA
                                                     >B<j6CB:4>ÿi<oÿnAÿ=:AA;ÿ<>ÿ>Aÿu<jrBh4>Coÿq?hB>ÿqgABr6ÿ99:CAt
                                                     yB<j6CB:4>:?jÿ@AB=:CAÿ85AjCoxÿA@CB:nAB6lÿssqttÿ2@AAÿ>Aÿq?hB>6
                                                     An6:>Aÿ9?BÿC?j><C>ÿ:j9?Bi<>:?jÿ9?Bÿ>AÿyB<j6CB:4>:?jÿ@AB=:CAÿ85AjCot7t
                                                       ?>:CAÿ?9ÿj>Aj>ÿ>?ÿ|A~hA6>ÿ|A;<C>:?jÿA<;g:jAÿhAÿuoÿ*+,+m,+-*.t
                                                     @><>AiAj>ÿ?9ÿ|A;<C>:?jÿ|A~hA6>ÿhAÿuoÿ*,*-,+-*{tÿ|A;<C>A;
                                                     yB<j6CB:4>ÿ@hni:66:?jÿhAÿuoÿ*,++,+-*{tÿyB<j6CB:4>ÿ<CCA66ÿ:ggÿnA
  *+,+-,+-*.                                         BA6>B:C>A;ÿ>B?h5ÿk,+-,+-*{tÿ2sA:6lÿyAj:ggA7ÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ01.ÿ             q<4>ABÿ**ÿpg<jÿ^DWNTJÿDEÿMHSÿVUffMJIJSWÿ2BAg<>A;ÿ;?ChiAj>2670k17
                                    2k-ÿ456ÿkÿ;?C67 9:gA;ÿnoÿq<BB:Aÿÿz<B;i<jÿ?jÿnA<g9ÿ?9ÿ|Ag<>:=:>oÿ}A;:<lÿssqtÿ:>
                                                     A<B:j5ÿ>?ÿnAÿAg;ÿ?jÿ*,+{,+-*{ÿ<>ÿ**x--ÿ8}ÿ<>ÿq?hB>B??iÿ0*mÿ2}w7
                                                     28>><CiAj>6xÿÿ*ÿw:n:>ÿ8ÿÿ+ÿw:n:>ÿuÿÿkÿw:n:>ÿq72z<B;i<jl
  *+,+*,+-*.                                         q<BB:A7ÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ01{              ÿÿÿ¡ÿÿÿ¢£¤¥ÿÿ¦§
                                                     ¨ÿ©ª«ÿ@><>AiAj>ÿ^DWNTJÿDEÿXNMNSPÿDEÿ\DQQJTWJKÿe¬YNaNWÿdÿWD
                                                     MHSÿVUffMJIJSWÿ2BAg<>A;ÿ;?ChiAj>26701.7ÿ9:gA;ÿnoÿq<BB:Aÿÿz<B;i<j
                                                     ?jÿnA<g9ÿ?9ÿ|Ag<>:=:>oÿ}A;:<lÿssqtÿ:>ÿA<B:j5ÿ>?ÿnAÿAg;ÿ?j
                                                     *,+{,+-*{ÿ<>ÿ**x--ÿ8}ÿ<>ÿq?hB>B??iÿ0*mÿ2}w7ÿ28>><CiAj>6xÿÿ*
                                                     w:n:>ÿu7ÿ2z<B;i<jlÿq<BB:A7ÿ}?;:9:A;ÿ?jÿ*+,+0,+-*.ÿ2|:C<B;6l
  *+,+*,+-*.                                         uA=ABgo7tÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ03-ÿ             @><>AiAj>ÿ^DWNTJÿDEÿ\DQQJTWJRÿe¬YNaNWÿdÿWDÿMHSÿVUffMJIJSWÿ­
                                    2kÿ456ÿ+ÿ;?C67 ®«£¯°«ÿ9:gA;ÿnoÿq<BB:Aÿÿz<B;i<jÿ?jÿnA<g9ÿ?9ÿ|Ag<>:=:>o
                                                     }A;:<lÿssqtÿ:>ÿA<B:j5ÿ>?ÿnAÿAg;ÿ?jÿ*,+{,+-*{ÿ<>ÿ**x--ÿ8}ÿ<>
                                                     q?hB>B??iÿ0*mÿ2}w7ÿ28>><CiAj>6xÿÿ*ÿw:n:>ÿu7ÿ2z<B;i<jlÿq<BB:A7
  *+,+*,+-*.                                         }?;:9:A;ÿ?jÿ*+,+0,+-*.ÿ2|:C<B;6lÿuA=ABgo7tÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ03*ÿ             }?j>goÿ}?j>goÿ±AAÿ@><>AiAj>ÿDEÿODaNSKÿ²HfMHSÿbbÿEDQÿWYJÿ³DSWY
                                    2+.ÿ4567         DEÿ́TWDaJQÿµ¶·¸ÿ±:gA;ÿnoÿ@C?>>ÿ±tÿ¹<h>:ABÿ?jÿnA<g9ÿ?9ÿ|?n:j6ÿº<4g<j
  *+,+*,+-*.                                         ssptÿ2¹<h>:ABlÿ@C?>>7ÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ03+ÿ             }?j>goÿ±AAÿ@><>AiAj>ÿDEÿODaNSKÿ²HfMHSÿbbÿEDQÿWYJÿ³DSWYÿDE
                                    2kkÿ4567         ^DZJIaJQÿµ¶·¸ÿ±:gA;ÿnoÿ@C?>>ÿ±tÿ¹<h>:ABÿ?jÿnA<g9ÿ?9ÿ|?n:j6ÿº<4g<j
  *+,+*,+-*.                                         ssptÿ2¹<h>:ABlÿ@C?>>7ÿ2wj>ABA;xÿ*+,+*,+-*.7
                                   ÿ03kÿ             899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿLHSNJMÿ²DUSNSÿOJPHQRNSPÿ^DWNTJÿDEÿUQTYHKJQ»K
                                    2m+ÿ4567         ¼½¾ÿbNKWÿDEÿLJKNPSHWJRÿONPYWKÿ\DSWQHTWKÿVUa¿JTWÿWDÿÀKKUIfWNDSÿHSRDQ
                                                     UQTYHKJÿHSRÿ¼½½¾ÿbNKWÿDEÿÀRRNWNDSHMÿLJKNPSHWNDSÿONPYWKÿ\DSWQHTWK[
                                                     ^DWNTJÿDEÿMHSÿVUffMJIJSW[ÿ^DWNTJÿDEÿXNMNSPÿDEÿ\DQQJTWJRÿe¬YNaNWÿdÿWD
                                                     MHSÿVUffMJIJSW[ÿ^DWNTJÿDEÿXNMNSPÿDEÿ\DQQJTWJRÿe¬YNaNWÿdÿWDÿMHSÿHSR
                                                     ^DWNTJÿDEÿ¼À¾ÿe¬JTUWDQÁÿ\DSWQHTWKÿHSRÿÂSJ¬fNQJRÿbJHKJKÿWDÿaJÿÀKKUIJR
                                                     HSRÿÀKKNPSJRÿaÁÿWYJÿLJaWDQKÿUQKUHSWÿWDÿWYJÿMHS[ÿ¼d¾ÿ\UQJÿÀIDUSWK[ÿNE
                                                     HSÁ[ÿHSRÿ¼\¾ÿOJMHWJRÿQDTJRUQJKÿNSÿ\DSSJTWNDSÿÃYJQJÄNWYÿ2BAg<>A;
                                                     ;?ChiAj>26701*lÿ01{lÿ01.lÿ03-7ÿ9:gA;ÿnoÿpB:iAÿqgABrÿssqÿqg<:i6
  *+,+m,+-*.                                         85Aj>t2@>AAgAlÿuAjv<i:j7ÿ2wj>ABA;xÿ*+,+m,+-*.7
  *+,+.,+-*.                       ÿ031ÿ               ?>:CAÿ?9ÿpBA6Aj>iAj>ÿDEÿLJaWDQK»ÿ³DWNDSÿEDQÿeSWQÁÿDEÿ́QRJQÿUQKUHSW
                                    2+kÿ4567         WDÿ··ÿÂÅVÅ\ÅÿÆÿ·¶Ç¼H¾ÿHSRÿXJRÅÿOÅÿdHSÈQÅÿÅÿÉ¶¶ÊÿHSRÿË¶·Ë¼a¾
117 11! "#$55524%5&''2'2'5(5(45                                                     3)1543
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                                                                        7ÿ7 Page 425 of 494 Page ID
                                                            )*+,-./0/12ÿ+,4ÿ546+-.7ÿ+-ÿ89:ÿ;/<4ÿ=>1/6*7ÿ?<@/>7ÿ=6A4B+/-17ÿ@1Cÿ899:
                                                           #:2305
                                                            D7+@6</7,ÿE.-B4C*.47ÿF-.ÿG4++</12ÿ?4.+@/1ÿ?<@/>7ÿIJKLMÿNOÿPQRRJLÿS
                                                            TQRMUQVÿWVÿNLXQKIÿWIÿYLKQZJ[JZOÿ\LMJQ]ÿ^^P_ÿ̀JZXÿaRLbLVZULVZÿZWÿNL
                                                            XLKMÿWVÿcdcedfgchÿQZÿcciggÿj\ÿQZÿPWkRZRWWUÿlcmÿn\opqÿrNsLtZJWVb
                                                            MkLÿNOÿcdccdfgch]ÿnTQRMUQV]ÿPQRRJLqÿnoVZLRLMiÿcfdfudfgcuq
                                   ÿlvvÿ                    \WZJWVÿIWRÿrUVJNkbÿrNsLtZJWVÿZWÿPKQJUnbqÿxkUNLRiÿy]ÿe]ÿcc]ÿcy]ÿce]
                                    ncvÿawbq                yy]ÿvu]ÿmf]ÿmy]ÿhlc]ÿcyhf]ÿQVMÿcyhvÿzÿ546+-.7{ÿ;/.7+ÿ=>1/6*7ÿ=6A4B+/-1
                                                            +-ÿ?4.+@/1ÿ?<@/>7ÿ8|--}7ÿ@1Cÿ~4B-.C7:ÿIJKLMÿNOÿPQRRJLÿSÿTQRMUQVÿWV
                                                            NLXQKIÿWIÿYLKQZJ[JZOÿ\LMJQ]ÿ^^Pÿ̀JZXÿXLQRJVwÿZWÿNLÿXLKMÿWVÿcdfhdfgchÿQZ
                                                            cciggÿj\ÿQZÿPWkRZRWWUÿlcmÿn\opqÿYLbaWVbLbÿMkLÿNOÿcdffdfgch]_
  cfdfudfgcu                                                nTQRMUQV]ÿPQRRJLqÿnoVZLRLMiÿcfdfudfgcuq
                                   ÿlvlÿ                    \WZJWVÿIWRÿrUVJNkbÿrNsLtZJWVÿZWÿPKQJUnbqÿxkUNLRiÿcg]ÿvh]ÿlg]ÿlc]ÿlf]
                                    nclÿawbq                fge]ÿfcu]ÿffm]ÿfyl]ÿyym]ÿyyu]ÿuhg]ÿhgc]ÿQVMÿcymeÿzÿ546+-.7{ÿG4B-1C
                                                            =>1/6*7ÿ=6A4B+/-1ÿ+-ÿ?4.+@/1ÿ?<@/>7ÿ8@+4ÿ;/<4Cÿ.@C4ÿ?<@/>7ÿ.@C4
                                                            ?<@/>7ÿF-.ÿ~4B<@77/F/B@+/-1:ÿIJKLMÿNOÿPQRRJLÿSÿTQRMUQVÿWVÿNLXQKIÿWI
                                                            YLKQZJ[JZOÿ\LMJQ]ÿ^^Pÿ̀JZXÿXLQRJVwÿZWÿNLÿXLKMÿWVÿcdfhdfgchÿQZÿccigg
                                                            j\ÿQZÿPWkRZRWWUÿlcmÿn\opqÿYLbaWVbLbÿMkLÿNOÿcdffdfgch]_
  cfdfudfgcu                                                nTQRMUQV]ÿPQRRJLqÿnoVZLRLMiÿcfdfudfgcuq
                                   ÿlvmÿ                    \WZJWVÿIWRÿrUVJNkbÿrNsLtZJWVÿZWÿPKQJUnbqÿxkUNLRiÿeyg]ÿeeu]ÿeme]
                                    nchÿawbq                emm]ÿeug]ÿeuc]ÿeum]ÿehg]ÿehc]ÿehe]ÿehv]ÿehm]ÿehh]ÿvgc]ÿvgy]ÿvgv]ÿvgl]
                                                            vcgvch]ÿvffvfe]ÿvfmvyg]ÿvyvvyh]ÿvefvel]ÿvvy]ÿvve]ÿvvu]ÿvvh]ÿvmg]
                                                            vmm]ÿvuh]ÿvhe]ÿlgclgy]ÿlgl]ÿlgm]ÿlcy]ÿlcm]ÿlfg]ÿlfu]ÿlll]ÿQVMÿmevÿz
                                                            546+-.7{ÿ,/.Cÿ=>1/6*7ÿ=6A4B+/-1ÿ+-ÿ?4.+@/1ÿ?<@/>7ÿ8?<@/>7ÿ-Fÿ~
                                                            |/CC4.ÿ?:ÿIJKLMÿNOÿPQRRJLÿSÿTQRMUQVÿWVÿNLXQKIÿWIÿYLKQZJ[JZOÿ\LMJQ]
                                                            ^^Pÿ̀JZXÿXLQRJVwÿZWÿNLÿXLKMÿWVÿcdfhdfgchÿQZÿcciggÿj\ÿQZÿPWkRZRWWU
                                                            lcmÿn\opqÿYLbaWVbLbÿMkLÿNOÿcdffdfgch]_ÿnTQRMUQV]ÿPQRRJLqÿnoVZLRLMi
  cfdfudfgcu                                                cfdfudfgcuq
                                   ÿlvuÿ                    jIIJMQ[JZÿWIÿLR[JtLÿ-Fÿ~@1ÿ7}-B/<ÿ~42@.C/12ÿ-+/B4ÿ-Fÿ4@./12ÿ+-
                                    nuÿawbq                 ?-17/C4.ÿ?-1F/.>@+/-1ÿ-Fÿ546+-.7ÿ@1Cÿ+,4ÿ?.4C/+-.7ÿ?->>/++447
                                                            G4B-1Cÿ)>41C4Cÿ-/1+ÿ/*/C@+/-1ÿE<@1ÿ1C4.ÿ?,@+4.ÿÿ-Fÿ+,4
                                                            |@1}.*+Bÿ?-C4ÿIJKLMÿNOÿRJULÿPKLRÿ^^PÿPKQJUbÿjwLVZ_nZLLKL]
  gcdgfdfgch                                                LVsQUJVqÿnoVZLRLMiÿgcdgfdfgchq
                                   ÿlvhÿ                    jIIJMQ[JZÿWIÿLR[JtLÿ-Fÿ~@F@4<ÿG+/++ÿ~42@.C/12ÿ-+/B4ÿ-FÿE.4741+>41+ÿ-F
                                    ncyÿawbq                546+-.7ÿ-+/-1ÿF-.ÿD1+.ÿ-Fÿ=.C4.ÿ)*+,-./0/12ÿ+,4ÿ546+-.7ÿ+-ÿ89:ÿ;/<4
                                                            =>1/6*7ÿ?<@/>7ÿ=6A4B+/-17ÿ@1Cÿ899:ÿD7+@6</7,ÿE.-B4C*.47ÿF-.ÿG4++</12
                                                            ?4.+@/1ÿ?<@/>7ÿ546+-.7ÿ;/.7+ÿ=>1/6*7ÿ=6A4B+/-1ÿ+-ÿ?4.+@/1ÿ?<@/>7
                                                            8|--}7ÿ@1Cÿ~4B-.C7:ÿ546+-.7ÿG4B-1Cÿ=>1/6*7ÿ=6A4B+/-1ÿ+-ÿ?4.+@/1
                                                            ?<@/>7ÿ8@+4ÿ;/<4Cÿ.@C4ÿ?<@/>7ÿ.@C4ÿ?<@/>7ÿF-.ÿ~4B<@77/F/B@+/-1:
                                                            @1Cÿ546+-.7ÿ,/.Cÿ=>1/6*7ÿ=6A4B+/-1ÿ+-ÿ?4.+@/1ÿ?<@/>7ÿ8?<@/>7ÿ-F
                                                            ~ÿ|/CC4.ÿ?:ÿnRLKQZLMÿMWtkULVZnbqlve]ÿlvm]ÿlvv]ÿlvlqÿJKLMÿNO
                                                            jMQUÿ\_ÿjMKLRÿWVÿNLXQKIÿWIÿRJULÿPKLRÿ^^PÿPKQJUbÿjwLVZ_ÿnjMKLR]
  gcdgydfgch                                                jMQUqÿnoVZLRLMiÿgcdgydfgchq
                                   ÿllgÿ                    \WVZXKOÿLLÿZQZLULVZÿzÿ?->6/14Cÿ-1+,<ÿG+@FF/12ÿ~4-.+ÿ@1C
                                    nceÿawbq                ?->417@+/-1ÿG+@+4>41+ÿ6ÿ999ÿE@.+14.7ÿF-.ÿ+,4ÿE4./-Cÿ-Fÿ54B4>64.
                                                            ÿÿ,.-*2,ÿ54B4>64.ÿÿÿJKLMÿNOÿPQRRJLÿSÿTQRMUQVÿWV
  gcdgedfgch                                                NLXQKIÿWIÿ\ÿQRZVLRb_ÿnTQRMUQV]ÿPQRRJLqÿnoVZLRLMiÿgcdgedfgchq
  gcdgmdfgch                       ÿllcÿ                    jIIJMQ[JZÿWIÿLR[JtLÿ8G*<4>41+@<:ÿ-Fÿ*1-ÿ?@.C-7-ÿ~42@.C/12ÿ-+/B4
                                    nyÿawbq                 -FÿE*.B,@74.{7ÿ89:ÿ/7+ÿ-Fÿ547/21@+4Cÿ~/2,+7ÿ?-1+.@B+7ÿG*6A4B+ÿ+-
                                                            )77*>+/-1ÿ@1Cz-.ÿE*.B,@74ÿ@1Cÿ899:ÿ/7+ÿ-Fÿ)CC/+/-1@<ÿ547/21@+/-1
                                                            ~/2,+7ÿ?-1+.@B+7ÿnRLKQZLMÿMWtkULVZnbqlecqÿIJKLMÿNOÿRJULÿPKLRÿ^^P
                                                            PKQJUbÿjwLVZ_nZLLKL]ÿLVsQUJVqÿnoVZLRLMiÿgcdgmdfgchq
117 11! "#$55524%5&''2'2'5(5(45                                                            301543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 426 of 494 Page ID
                                                           #:2306
                                   ÿ00-ÿ             7889:;<9=ÿ>8ÿ?@A<9B@ÿCDEFFGHIHJKLGMÿOPÿQEJOÿRLSTOUOÿVHWLSTXJWÿQOKXYH
                                    12ÿ3456          OPÿZESY[LUHS\UÿC]Mÿ^XUKÿOPÿ_HUXWJLKHTÿVXW[KUÿROJKSLYKUÿDE`aHYKÿKO
                                                     bUUEIFKXOJÿLJTcOSÿZESY[LUHÿLJTÿC]]Mÿ^XUKÿOPÿbTTXKXOJLGÿ_HUXWJLKXOJ
                                                     VXW[KUÿROJKSLYKUÿ1A@d;=@:ÿ:>Bef@g=15602+6ÿ89d@:ÿhiÿjA9f@ÿkd@Alÿmmk
  *+,+*,-*+.                                         kd;9f5ÿ74@g=n1?=@@d@oÿp@gq;f9g6ÿ1rg=@A@:sÿ*+,+*,-*+.6
                                   ÿ00tÿ             v@Bd;A;=9>gÿcÿQOKXYHÿOPÿwXGXJWÿOPÿZSOFOUHTÿ^XxEXTLKXJWÿySEUKHH\U
                                    1-+ÿ345uÿ-ÿ:>B56 _HYGLSLKXOJÿXJÿDEFFOSKÿOPÿZGLJÿLJTÿZGLJÿDEFFGHIHJKÿ1A@d;=@:
                                                     :>Bef@g=1560ttoÿ0t2oÿ02zoÿ0{*6ÿ89d@:ÿhiÿk;AA9@ÿ|ÿ};A:f;gÿ>gÿh@~;d8ÿ>8
                                                     @d;=9<9=iÿ@:9;oÿmmknÿ9=~ÿ~@;A9g4ÿ=>ÿh@ÿ~@d:ÿ>gÿ+,-.,-*+.ÿ;=ÿ++s**
                                                     7ÿ;=ÿk>eA=A>>fÿ0+ÿ1r6ÿ17==;B~f@g=5sÿÿ+ÿr ~9h9=ÿ7ÿÿv;9d@;:@A
  *+,+*,-*+.                                         v@Bd;A;=9>g6ÿ1};A:f;goÿk;AA9@6ÿ1rg=@A@:sÿ*+,+*,-*+.6
                                   ÿ002ÿ             7889:;<9=ÿ>8ÿ?@A<9B@ÿCDEFFGHIHJKLGMÿOPÿDKHHJÿXG̀HSKÿVHWLSTXJWÿQOKXYH
                                    1{ÿ3456          OPÿHLSXJWÿKOÿROJUXTHSÿROJPXSILKXOJÿOPÿ_H`KOSU\ÿLJTÿK[HÿRSHTXKOSU\
                                                     ROIIXKKHH\UÿDHYOJTÿbIHJTHTÿOXJKÿ^XxEXTLKXJWÿZGLJÿEJTHSÿR[LFKHSÿ
                                                     OPÿK[HÿLJSEFKYÿROTHÿ1A@d;=@:ÿ:>Bef@g=1560t6ÿ89d@:ÿhiÿjA9f@ÿkd@Alo
  *+,+2,-*+.                                         mmkn1?=@@d@oÿp@gq;f9g6ÿ1rg=@A@:sÿ*+,+2,-*+.6
                                   ÿ00{ÿ             hq@B=9>gÿ=>ÿ>=9>gÿC`aHYKXOJÿKOÿRGLXIMÿ1A@d;=@:ÿ:>Bef@g=1560{{6
                                    1ÿ345uÿtÿ:>B56 89d@:ÿhiÿ;f@5ÿvnÿ@h>d:ÿ>gÿh@~;d8ÿ>8ÿdd9g>95ÿv@3;A=f@g=ÿ>8
                                                     @<@ge@nÿ17==;B~f@g=5sÿÿ+ÿr ~9h9=ÿ7ÿÿ-ÿr ~9h9=ÿp6ÿ1@h>d:oÿ;f@56
  *+,+2,-*+.                                         1rg=@A@:sÿ*+,+2,-*+.6
                                   ÿ000ÿ             7889:;<9=ÿ>8ÿ?@A<9B@ÿOPÿZLEGÿZEGGOÿVHWLSTXJWÿQOKXYHÿOPÿwXGXJWÿOP
                                    10ÿ3456          ZSOFOUHTÿ^XxEXTLKXJWÿySEUKHH\Uÿ_HYGLSLKXOJÿXJÿDEFFOSKÿOPÿZGLJÿLJT
                                                     ZGLJÿDEFFGHIHJKÿ1A@d;=@:ÿ:>Bef@g=15600t6ÿ9d@:ÿhiÿ7:;fÿnÿ7:d@Aÿ>g
                                                     h@~;d8ÿ>8ÿjA9f@ÿkd@Alÿmmkÿkd;9f5ÿ74@g=nÿ17:d@Aoÿ7:;f6ÿ1rg=@A@:s
  *+,+{,-*+.                                         *+,+{,-*+.6
                                   ÿ00ÿ             >g=~diÿ3@A;=9g4ÿ@3>A=ÿPOSÿK[HÿZHSXOTÿOPÿ_HYHI`HSÿÿÿ9d@:
                                    1-ÿ3456         hiÿk;AA9@ÿ|ÿ};A:f;gÿ>gÿh@~;d8ÿ>8ÿ@d;=9<9=iÿ@:9;oÿmmknÿ1};A:f;go
  *+,+{,-*+.                                         k;AA9@6ÿ1rg=@A@:sÿ*+,+{,-*+.6
                                   ÿ00zÿ             7889:;<9=ÿ>8ÿ?@A<9B@ÿCDEFFGHIHJKLGMÿOPÿQEJOÿRLSTOUOÿVHWLSTXJWÿQOKXYH
                                    12ÿ3456          OPÿZESY[LUHS\UÿC]Mÿ^XUKÿOPÿ_HUXWJLKHTÿVXW[KUÿROJKSLYKUÿDE`aHYKÿKO
                                                     bUUEIFKXOJÿLJTcOSÿZESY[LUHÿLJTÿC]]Mÿ^XUKÿOPÿbTTXKXOJLGÿ_HUXWJLKXOJ
                                                     VXW[KUÿROJKSLYKUÿQOKXYHÿOPÿZGLJÿDEFFGHIHJKÿQOKXYHÿOPÿwXGXJWÿOP
                                                     ROSSHYKHTÿ[X̀XKÿÿKOÿK[HÿZGLJÿDEFFGHIHJKÿLJTÿQOKXYHÿOPÿCbM
                                                     HYEKOSÿROJKSLYKUÿLJTÿJHFXSHTÿ^HLUHUÿKOÿ̀HÿbUUEIHTÿLJT
                                                     bUUXWJHTÿ̀ÿK[Hÿ_H`KOSUÿZESUELJKÿKOÿK[HÿZGLJÿCMÿRESHÿbIOEJKUÿXPÿLJ
                                                     LJTÿCRMÿVHGLKHTÿZSOYHTESHUÿXJÿROJJHYKXOJÿy[HSHXK[ÿ1A@d;=@:
                                                     :>Bef@g=15602+oÿ02zoÿ0{*6ÿ89d@:ÿhiÿjA9f@ÿkd@Alÿmmkÿkd;9f5ÿ74@g=n
  *+,+0,-*+.                                         1?=@@d@oÿp@gq;f9g6ÿ1rg=@A@:sÿ*+,+0,-*+.6
                                   ÿ00.ÿ             733d9B;=9>gÿ8>AÿjA>ÿ};Bÿ|9B@ÿ7:f9559>gÿ89d@:ÿhiÿ}@d@g;ÿnÿ¡5@A@4>eg95
                                    1-ÿ345uÿ-ÿ:>B56 >gÿh@~;d8ÿ>8ÿrg=@A=;9gf@g=ÿg@ÿm=:nnÿ17==;B~f@g=5sÿÿ+ÿjA>3>5@:
  *+,+z,-*+.                                         A:@A6ÿ1¡5@A@4>eg95oÿ}@d@g;6ÿ1rg=@A@:sÿ*+,+z,-*+.6
                                   ÿÿ                @B@93=ÿ>8ÿ733d9B;=9>gÿ8>AÿjA>ÿ};Bÿ|9B@ÿ7:f9559>g1ÿ+z++t{zf@6
                                                     ¢f>=9>go+--£ÿ1ÿ-**n**6ÿ9d9g4ÿ@@nÿ@B@93=ÿgefh@Aÿ7+-.z0**0nÿ@@
  *+,+z,-*+.                                         ;f>eg=ÿ-**n**nÿ1@sÿv>Bÿÿ00.6ÿ1¤n?nÿ¡A@;5eAi6ÿ1rg=@A@:sÿ*+,+z,-*+.6
  *+,+z,-*+.                       ÿ0*ÿ             hq@B=9>gÿ=>ÿ>=9>gÿ^XIXKHTÿ`aHYKXOJÿLJTÿROJTXKXOJLGÿQOKXYHÿOP
                                    1++ÿ345uÿ-ÿ:>B56 GHYKXOJÿJTHSÿDHYKXOJÿ¥¦CQMÿOPÿK[HÿLJSEFKYÿROTHÿOP
                                                     JKHSKLXJIHJKÿJHÿ^KTÿ89d@:ÿhiÿ}@d@g;ÿnÿ¡5@A@4>eg95ÿ>gÿh@~;d8ÿ>8
117 11! "#$55524%5&''2'2'5(5(45                                                     )41543
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                                                                        7ÿ7 Page 427 of 494 Page ID
                                                      *+,-.,/0+1-+,ÿ3+-ÿ4,566ÿ78,,/9:1-+,;<ÿ=ÿ>ÿ*?:0@0,ÿ8Aÿ7B;-.-CDE+0;F
                                                           #:2307
                                                      G-H-+/Aÿ7*+,-.-5<ÿI>J>KJLI>MA
                                   ÿNO>ÿ              R-1D./+5E1ÿDSÿ4/TÿUVWXYZ[\]ÿ_W`Z[abcd`ÿZeÿfagÿhbÿidjjZ[YÿZe
                                    7PPÿQC;A          kZbeh[`aYhZbÿZeÿYlWÿVWXYZ[\]ÿabcÿk[WchYZ[\]ÿkZ``hYYWW]\ÿiWmZbc
                                                      n`WbcWcÿoZhbYÿfhpdhcaYhbqÿrsabÿtbcW[ÿklajYW[ÿuuÿZeÿYlWÿvabw[djYmx
                                                      kZcWÿ7.-H/,-5ÿ5D9E1-+,7;ANyyAÿS0H-5ÿ@zÿ{/+0-Hÿ|6ÿR9}E0.-ÿD+ÿ@-:/HSÿDS
  I>J>KJLI>M                                          ~-H/,00,zÿR-50/Fÿ446ÿ7R9}E0.-Fÿ{/+0-HAÿ7*+,-.-5<ÿI>J>KJLI>MA
                                   ÿNOLÿ              {-9H/./,0D+ÿUkZshbÿ_ÿnca`\ÿVWmsa[aYhZbÿhbÿidjjZ[YÿZeÿkZbeh[`aYhZbÿZe
                                    7>NÿQC;A          YlWÿVWXYZ[\]ÿabcÿk[WchYZ[\]ÿkZ``hYYWW]\ÿiWmZbcÿn`WbcWcÿoZhbY
                                                      fhpdhcaYhbqÿrsabÿtbcW[ÿklajYW[ÿuuÿZeÿYlWÿvabw[djYmxÿkZcWÿ7.-H/,-5
                                                      5D9E1-+,7;ANO>AÿS0H-5ÿ@zÿ{/+0-Hÿ|6ÿR9}E0.-ÿD+ÿ@-:/HSÿDSÿ~-H/,00,z
  I>J>KJLI>M                                          R-50/Fÿ446ÿ7R9}E0.-Fÿ{/+0-HAÿ7*+,-.-5<ÿI>J>KJLI>MA
                                   ÿNOyÿ            -.,0S09/,-ÿDSÿ-.09-ÿZeÿ_WqabÿV[abÿ7.-H/,-5ÿ5D9E1-+,7;ANOIAÿ0H-5ÿ@z
                                    7ÿQC;A         G-H-+/ÿ}6ÿB;-.-CDE+0;ÿD+ÿ@-:/HSÿDSÿ*+,-.,/0+1-+,ÿ3+-ÿ4,566
  I>J>KJLI>M                                        7B;-.-CDE+0;FÿG-H-+/Aÿ7*+,-.-5<ÿI>J>KJLI>MA
                                   ÿNOÿ            ~-;QD+;-ÿZeÿ[abcÿisa`ÿ_d\hmÿbmÿYZÿiWmZbcÿ`bhXd\ÿXWmYhZbÿYZ
                                    7PÿQC;A         kW[Yahbÿksah̀\ÿVwYÿÿhbÿVWeWb\WÿZeÿksah̀\ÿZÿÿÿÿÿ7.-H/,-5
                                                    5D9E1-+,7;ANNAÿS0H-5ÿ@zÿ40;/ÿ/;0/6ÿ74DQ-FÿR/.zAÿ7*+,-.-5<
  I>J>KJLI>M                                        I>JLLJLI>MA
                                   ÿNOPÿ            3.5-.ÿ;0C+-5ÿD+ÿ>JLLJLI>Mÿ5-+z0+Cÿ1D,0D+ÿ@zÿ/.DHÿ}-+0;ÿSD.ÿ.-H0-S
                                    7>ÿQCA          S.D1ÿ;,/zÿ7~-H/,-5ÿ{D9;ÿ=ÿOOÿ/+5ÿNLOA6ÿ8ÿ:-/.0+Cÿ,Dÿ5-,-.10+-ÿSE.,:-.
                                                    Q.D9--50+C;ÿT0HHÿ@-ÿ:-H5ÿD+ÿR/.9:ÿNFÿLI>Mÿ/,ÿ>><IIÿ/16ÿ7{-0-.DH/F
  I>JLLJLI>M                                        |/9E-H0+-Aÿ7*+,-.-5<ÿI>JLLJLI>MA
                                   ÿNONÿ            {-9H/./,0D+ÿZeÿoa`W\ÿVasZhaÿZeÿr[h̀WÿksW[wÿffkÿWqa[chbqÿYlW
                                    7KÿQC;A         iZshmhYaYhZbÿZeÿZYW\ÿabcÿaXdsaYhZbÿZeÿvassZY\ÿka\YÿZbÿYlWÿVWXYZ[\]ÿabc
                                                    k[WchYZ[\]ÿkZ``hYYWW]\ÿiWmZbcÿn`WbcWcÿoZhbYÿfhpdhcaYhbqÿrsabÿtbcW[
                                                    klajYW[ÿuuÿZeÿYlWÿvabw[djYmxÿkZcWÿ7.-H/,-5ÿ5D9E1-+,7;ANyyAÿS0H-5ÿ@z
                                                    /..0-ÿÿG/.51/+ÿD+ÿ@-:/HSÿDSÿ~-H/,00,zÿR-50/Fÿ446ÿ7G/.51/+F
  I>JLLJLI>M                                        /..0-Aÿ7*+,-.-5<ÿI>JLLJLI>MA
                                   ÿNOOÿ            3.5-.ÿ;0C+-5ÿD+ÿ>JLyJLI>Mÿ/510,,0+CÿG-H-+/ÿ}6ÿB;-.-CDE+0;Fÿ*;6ÿ,D
                                    7>ÿQCA          Q./9,09-ÿQ.Dÿ:/9ÿ09-ÿ0+ÿ,:0;ÿDE.,ÿ7~-H/,-5ÿ{D9ÿ=ÿNNMA6ÿ7{-0-.DH/F
  I>JLyJLI>M                                        |/9E-H0+-Aÿ7*+,-.-5<ÿI>JLyJLI>MA
                                   ÿNOKÿ            3.5-.ÿ;0C+-5ÿD+ÿ>JLyJLI>Mÿ/E,:D.00+Cÿ,:-ÿ{-@,D.;ÿ,DÿS0H-ÿD1+0@E;
                                    7PÿQC;A         9H/01;ÿD@-9,0D+;ÿ/+5ÿ-;,/@H0;:ÿQ.D9-5E.-;ÿSD.ÿ;-,,H0+Cÿ9-.,/0+ÿ9H/01;
  I>JLyJLI>M                                        7.-H/,-5ÿ5D9E1-+,7;ANPA6ÿ7{-0-.DH/Fÿ|/9E-H0+-Aÿ7*+,-.-5<ÿI>JLyJLI>MA
                                   ÿNOMÿ            8SS05/0,ÿDSÿ-.09-ÿZeÿdbZÿka[cZ\ZÿWqa[chbqÿVWXYZ[\]ÿ_W`Z[abcd`
                                    7OÿQC;A         ZeÿfagÿhbÿidjjZ[YÿZeÿkZbeh[`aYhZbÿZeÿYlWÿVWXYZ[\]ÿabcÿk[WchYZ[\]
                                                    kZ``hYYWW]\ÿiWmZbcÿn`WbcWcÿoZhbYÿfhpdhcaYhbqÿrsabÿtbcW[ÿklajYW[ÿuu
                                                    ZeÿYlWÿvabw[djYmxÿkZcWÿabcÿVWmsa[aYhZbÿZeÿkZshbÿ_ÿnca`\ÿhbÿidjjZ[Y
                                                    ZeÿkZbeh[`aYhZbÿZeÿYlWÿVWXYZ[\]ÿabcÿk[WchYZ[\]ÿkZ``hYYWW]\ÿiWmZbc
                                                    n`WbcWcÿoZhbYÿfhpdhcaYhbqÿrsabÿtbcW[ÿklajYW[ÿuuÿZeÿYlWÿvabw[djYmx
                                                    kZcWÿ7.-H/,-5ÿ5D9E1-+,7;ANOLFÿNO>Aÿ0H-5ÿ@zÿ85/1ÿR6ÿ85H-.ÿD+ÿ@-:/HS
  I>JLyJLI>M                                        DSÿ.01-ÿH-.ÿ44ÿH/01;ÿ8C-+,6ÿ785H-.Fÿ85/1Aÿ7*+,-.-5<ÿI>JLyJLI>MA
  I>JLPJLI>M                       ÿNKIÿ            8QQH09/,0D+ÿSD.ÿ.DÿG/9ÿ09-ÿ8510;;0D+ÿZeÿZXW[YÿÿfxbmlÿS0H-5ÿ@z
                                    7LÿQC;ÿLÿ5D9;A |/1-;ÿ{6ÿ-T@DH5ÿD+ÿ@-:/HSÿDSÿHH0+D0;ÿ{-Q/.,1-+,ÿDSÿ~--+E-6
                                                    78,,/9:1-+,;<ÿ=ÿ>ÿ.DQD;-5ÿ3.5-.Aÿ7-T@DH5Fÿ|/1-;Aÿ7*+,-.-5<
                                                    I>JLPJLI>MA
117 11! "#$55524%5&''2'2'5(5(45                                                     )51543
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                                                           #:2308
                                   ÿÿ                 1232456ÿ78ÿ955:43;647<ÿ87=ÿ>=7ÿ?;3ÿ@432ÿ9AB4CC47<Dÿ+EF++GHEFB2IJ
                                                      KB7647<L+--MÿDÿ-**N**JÿO4:4<PÿO22Nÿ1232456ÿ<QBR2=ÿ9+-//HS-GNÿO22
  *+,-.,-*+/                                          ;B7Q<6ÿ-**N**NÿD12TÿU73ÿVÿWE*JÿDXNYNÿZ=2;CQ=[JÿD\<62=2ATÿ*+,-.,-*+/J
                                   ÿWE+ÿ              ]76432ÿ78ÿ9P2<A;ÿ^_ÿabccdefÿghidjkldjÿ_^eÿmdbenopÿ^oÿqbokberÿstuÿsvwt
                                    DWÿ5PCJ           bcÿwwxvvÿyzazÿ{|}~ÿ84:2AÿR[ÿ;==42ÿ@ÿ?;=AB;<ÿ7<ÿR2;:8ÿ78ÿ12:;6446[
                                                      2A4;LÿNÿI46ÿ2;=4<Pÿ67ÿR2ÿ2:Aÿ7<ÿ+,-/,-*+/ÿ;6ÿ++T**ÿ9ÿ;6
  *+,-H,-*+/                                          7Q=6=77BÿW+SÿD\JÿD?;=AB;<Lÿ;==42JÿD\<62=2ATÿ*+,-H,-*+/J
                                   ÿWE-ÿ                =A2=ÿC4P<2Aÿ7<ÿ+,-H,-*+/ÿ;AB4664<Pÿ17R2=6ÿNÿ[<3Lÿ\CNÿ67ÿ5=;36432
                                    D+ÿ5PJ            5=7ÿ;3ÿ432ÿ4<ÿ64Cÿ7Q=6ÿD12:;62AÿU73ÿVÿWE*JNÿDU2>42=7:;Lÿ;3Q2:4<2J
  *+,-H,-*+/                                          D\<62=2ATÿ*+,-H,-*+/J
                                   ÿWEGÿ              9884A;46ÿ78ÿY2=432ÿ^_ÿko^ÿbej^f^ÿdpbejnopÿdhlbebcn^oÿ^_ÿqbdf
                                    DWÿ5PCJ           bl^nbÿ^_ÿendÿldeÿÿdpbejnopÿcidÿg^lnhncbcn^oÿ^_ÿ^cdfÿboj
                                                      }bklbcn^oÿ^_ÿbll^cfÿbfcÿ^oÿcidÿdc^efÿbojÿedjnc^efÿ^nccddf
                                                      gdh^ojÿydojdjÿq^nocÿnknjbcnopÿlboÿojdeÿibcdeÿwwÿ^_ÿcid
                                                      boekchrÿ^jdÿD=2:;62AÿA73QB2<6DCJWSWJÿ84:2AÿR[ÿ>=4B2ÿ:2=ÿ
  *+,-H,-*+/                                          :;4BCÿ9P2<6NDY622:2Lÿ2<;B4<JÿD\<62=2ATÿ*+,-H,-*+/J
                                   ÿWE.ÿ              ]76432ÿ78ÿ>=757C2Aÿ=A2=ÿÿ^cnhdÿ^_ÿnlnopÿ^_ÿe^^fdjÿejde
                                    DG*ÿ5PCÿ-ÿA73CJ ^o_nenopÿdc^efÿbojÿcidÿedjnc^efÿ^nccddfÿgdh^ojÿydojdj
                                                      q^nocÿnknjbcnopÿlboÿojdeÿibcdeÿwwÿ^_ÿcidÿboekchrÿ^jd
                                                      D=2:;62AÿA73QB2<6DCJWGGJÿ84:2AÿR[ÿ;==42ÿ@ÿ?;=AB;<ÿ7<ÿR2;:8ÿ78
                                                      12:;6446[ÿ2A4;LÿNÿI46ÿ2;=4<Pÿ67ÿR2ÿ2:Aÿ7<ÿ+,-/,-*+/ÿ;6ÿ++T**
                                                      9ÿ;6ÿ7Q=6=77BÿW+SÿD\JÿD966;3B2<6CTÿVÿ+ÿ\4R46ÿ9ÿFÿ>=757C2A
  *+,-H,-*+/                                          7<84=B;647<ÿ=A2=JD?;=AB;<Lÿ;==42JÿD\<62=2ATÿ*+,-H,-*+/J
                                   ÿWEH               ¡¢£¤¤¥¢¦ÿ̈©¥¡¦ÿª£«¥ÿ¬¥­¥¢¦¥«®ÿ¬¥¥ÿ̄£¢°±¥¡¦ÿ²³´´ÿµ£¤ÿ¶·¥ÿª£¤¤¥¢¦
                                                      ¨¡¦¤¸¹ÿ7647<ÿ67ÿY6;[ÿa^cn^oÿ^eÿ|ocerÿ_ÿyoÿejdeÿa^jn_rnopÿ}id
                                                      ykc^bcnhÿgcbruÿ}^ÿ}idÿ|ºcdocÿylnhblduÿ}^ÿdencÿbrdocÿ_
                                                      d_dofdÿ^fcfÿojdeÿ}idÿdc^efÿnedhc^efÿ»ÿ__nhdefÿ^lnhndfÿ84:2AÿR[
                                                      Y;<;ÿ\:R2=Pÿ7<ÿR2;:8ÿ78ÿ1[;<ÿ¼;;<;QPNÿD966;3B2<6CTÿVÿ+ÿ\4R46ÿ9
                                                      Vÿ-ÿ\4R46ÿÿVÿGÿ\4R46ÿÿVÿ.ÿ\4R46ÿUÿVÿHÿ\4R46ÿ\ÿVÿWÿ\4R46ÿOJ
                                                      D\:R2=PLÿY;<;Jÿ7A4842Aÿ7<ÿ+,-/,-*+/ÿD143;=ACLÿ22=:[JNÿD\<62=2AT
  *+,-H,-*+/                                          *+,-H,-*+/J
                                   ÿWEWÿ              9884A;46ÿ78ÿY2=432ÿ^_ÿebnpÿ½bk_boÿdpbejnopÿ^cnhdÿc^ÿmboj
                                    D++ÿ5PCJ          bljbhinoÿ»ÿykepdrÿuÿ^cnhdÿc^ÿadffdopdefuÿ¾ohÿbojÿ^cnhdÿc^
                                                      on¿nfn^oÿ¾ocdebhcn¿dÿadjnbÿ84:2AÿR[ÿ>=4B2ÿ:2=LÿNDY622:2L
  *+,-H,-*+/                                          2<;B4<JÿD\<62=2ATÿ*+,-H,-*+/J
                                   ÿWESÿ              9884A;46ÿ78ÿY2=432ÿ^_ÿÀdeibljÿzÿbfbbopnÿedpbejnopÿ^cnhdÿ^_
                                    D/ÿ5PCJ           ypdojbÿ^_ÿabccdefÿghidjkldjÿ_^eÿmdbenopÿ^oÿqbokberÿstuÿsvwtÿbcÿwwxvv
                                                      bzzÿ{|}~ÿbojÿ^cnhdÿ^_ÿnlnopÿ^_ÿe^^fdjÿejdeÿ^o_nenopÿdc^ef
                                                      bojÿcidÿedjnc^efÿ^nccddfÿgdh^ojÿydojdjÿq^nocÿnknjbcnopÿlbo
                                                      ojdeÿibcdeÿwwÿ^_ÿcidÿboekchrÿ^jdÿD=2:;62AÿA73QB2<6DCJWE.LÿWE+J
                                                      84:2AÿR[ÿ>=4B2ÿ:2=ÿÿ:;4BCÿ9P2<6NDY622:2Lÿ2<;B4<JÿD\<62=2AT
  *+,-E,-*+/                                          *+,-E,-*+/J
                                   ÿWEEÿ              7647<ÿ87=ÿ12:428ÿ8=7BÿY6;[ÿa^cn^oÿ^eÿ|ocerÿ_ÿyoÿejdeÿa^jn_rnop
                                    D++Sÿ5PCÿSÿA73CJ }idÿykc^bcnhÿgcbruÿ}^ÿ}idÿ|ºcdocÿylnhblduÿ}^ÿdencÿbrdocÿ_
                                                      d_dofdÿ^fcfÿojdeÿ}idÿdc^efÿnedhc^efÿ»ÿ__nhdefÿ^lnhndfÿ84:2AÿR[
                                                      Y;<;ÿ\:R2=Pÿ7<ÿR2;:8ÿ78ÿ1[;<ÿ¼;;<;QPNÿD966;3B2<6CTÿVÿ+ÿ\4R46ÿ9
                                                      Vÿ-ÿ\4R46ÿÿVÿGÿ\4R46ÿÿVÿ.ÿ\4R46ÿUÿVÿHÿ\4R46ÿ\ÿVÿWÿ\4R46ÿOJ
  *+,-E,-*+/                                          D\:R2=PLÿY;<;JÿD\<62=2ATÿ*+,-E,-*+/J
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  *+,-.,-*+/                       ÿÿ                1232456ÿ78ÿ97647:ÿ87;ÿ12<428ÿ8;7=ÿ>6?@ÿA822BAÿ+.C++DE.C=2FB
                                                           #:2309
                                                     G=7647:H+.EIÿAÿ+.+J**BÿK4<4:LÿK22Jÿ1232456ÿ:M=N2;ÿO+D**-*PPJÿK22
                                                     ?=7M:6ÿ+.+J**JÿA12QÿR73ÿSÿP..BÿATJ>JÿU;2?VM;@BÿAW:62;2XQÿ*+,-.,-*+/B
                                   ÿP./ÿ             K4:X4:LVÿ78ÿ8?36Hÿ37:3<MV47:Vÿ78ÿ<?FHÿ?:Xÿ7;X2;ÿV4L:2Xÿ7:ÿ+,D+,-*+/
                                    AYEÿ5LVZÿ-ÿX73VB 37:84;=4:LÿR2N67;V[ÿ?:Xÿ\;2X467;V[ÿ\7==46622[VÿV237:Xÿ?=2:X2Xÿ5<?:ÿ78
                                                     <4]M4X?647:ÿM:X2;ÿ3^?562;ÿ++ÿ78ÿ6^2ÿ_?:`;M563@ÿ37X2ÿA;2<?62X
  *+,D+,-*+/                                         X73M=2:6AVBPDDBJÿAR2a42;7<?Hÿb?3]M2<4:2BÿAW:62;2XQÿ*+,D+,-*+/B
                                   ÿP/*ÿ             >6?62=2:6ÿcdefghiÿekÿehhlmmidhiÿekÿikkihfgniÿopfiÿek
                                    ADÿ5LVB          oiqfemrsÿpdoÿftiÿhmiogfemrsÿheuugffiisrÿrihedo
                                                     puidoioÿvegdfÿwgxlgopfgdyÿzwpdÿldoimÿhtpzfimÿ{{ÿek
                                                     ftiÿqpd|mlzfh}ÿheoiÿA;2<?62XÿX73M=2:6AVBP./Bÿ84<2XÿN@ÿ\?;;42ÿ~
                                                     ?;X=?:ÿ7:ÿN2^?<8ÿ78ÿ12<?6446@ÿ92X4?Hÿ\JÿA?;X=?:Hÿ\?;;42B
  *+,D+,-*+/                                         AW:62;2XQÿ*+,D+,-*+/B
                                   ÿP/+ÿ             97:6^<@ÿK22ÿ>6?62=2:6ÿcÿdÿÿkÿÿhÿuÿr
                                    A+-ÿ5LVB         mÿÿhÿrÿÿugggÿzÿÿÿzÿ
                                                     vÿ{ÿ{ÿfÿvÿ{ÿ{ÿK4<2XÿN@ÿ\?;;42ÿ~ÿ?;X=?:
  *-,*,-*+/                                         7:ÿN2^?<8ÿ78ÿ9Cÿa?;6:2;VJÿA?;X=?:Hÿ\?;;42BÿAW:62;2XQÿ*-,*,-*+/B
                                   ÿP/-ÿ             O884X?46ÿ78ÿ>2;432ÿÿpÿlÿpÿmÿdÿÿzs
                                    Aÿ5LVB          gÿwÿÿoÿmÿhÿrÿÿpÿc
                                                     zÿÿggÿwÿÿpÿoÿmÿh
                                                     A;2<?62XÿX73M=2:6AVBP+Bÿ84<2XÿN@ÿa;4=2ÿ\<2;`ÿ\ÿ\<?4=VÿOL2:6J
  *-,*,-*+/                                         A>622<2Hÿ_2:¡?=4:BÿAW:62;2XQÿ*-,*,-*+/B
                                   ÿP/Dÿ             U;?:V3;456ÿ;2L?;X4:Lÿ2?;4:Lÿ2<Xÿ7:ÿ*+,-/,-*+/ÿ?6ÿ++Q*Yÿ?=ÿ1WQ
                                    APÿ5LVB         \7:84;=?647:ÿ^2?;4:LZÿ97647:ÿ;2QÿR2N67;V[ÿK4;V6ÿ¢=:4NMVÿ¢N¡23647:ÿ67
                                                     \<?4=VQÿ£M=N2;QÿDHÿHÿ++Hÿ+DHÿ+HÿDDHÿE.HÿY-HÿYDHÿ/P+Hÿ+D/-Hÿ?:Xÿ+D/E
                                                     A_77`Vÿ?:Xÿ1237;XVBJÿ97647:ÿ;2QÿR2N67;V[ÿU^4;Xÿ¢=:4NMVÿ¢N¡23647:ÿ67
                                                     \<?4=Vÿ£M=N2;QÿD*Hÿ.HÿYHÿYYHÿ.*Hÿ.+Hÿ.YHÿ/*Hÿ/+Hÿ/Hÿ/EH
                                                     /YHÿ//HÿE*+HÿE*DHÿE*EHÿE*PHÿE+*CE+/HÿE--CE-HÿE-YCED*HÿEDECED/HÿE-C
                                                     EPHÿEEDHÿEEHÿEE.HÿEE/HÿEY*HÿEYYHÿE./HÿE/HÿP*+CP*DHÿP*PHJJÿ26ÿ?<J
                                                     12=762ÿ2<236;7:43ÿ?332VVÿ67ÿ6^2ÿ6;?:V3;456ÿ4Vÿ;2V6;4362XÿM:64<ÿE,Y,-*+/JÿU^2
                                                     6;?:V3;456ÿ=?@ÿN2ÿ42F2Xÿ?6ÿ6^2ÿ_?:`;M563@ÿ\7M;6ÿ\<2;`Vÿ¢88432J
                                                     GU;?:V3;45647:ÿ>2;432ÿOL2:3@Qÿ2>3;4N2;VHÿ\JIJÿA>22ÿ6^2ÿ\7M;6V
                                                     ¤2NV462ÿ87;ÿ37:6?36ÿ4:87;=?647:ÿ87;ÿ6^2ÿU;?:V3;45647:ÿ>2;432ÿOL2:3@JBJ
                                                     £76432ÿ78ÿ:62:6ÿ67ÿ12]M2V6ÿ12X?3647:ÿR2?X<4:2ÿRM2ÿ_@ÿ-,+D,-*+/J
                                                     >6?62=2:6ÿ78ÿ12X?3647:ÿ12]M2V6ÿRM2ÿ_@ÿ-,-Y,-*+/Jÿ12X?362XÿU;?:V3;456
                                                     >MN=4VV47:ÿRM2ÿ_@ÿD,++,-*+/JÿU;?:V3;456ÿ?332VVÿF4<<ÿN2ÿ;2V6;4362X
  *-,*P,-*+/                                         6^;7ML^ÿE,Y,-*+/JÿA2F4VHÿU2:4<<2BÿAW:62;2XQÿ*-,*P,-*+/B
                                   ÿP/ÿ             O884X?46ÿ78ÿ>2;432ÿÿ|ÿhÿmÿdÿ
                                    A./ÿ5LVB         eÿÿi¥ÿoÿÿosÿÿÿhsÿhs
                                                     rÿpÿvÿw¦ÿzÿlÿhÿ{{ÿÿ
                                                     q§ÿhÿA;2<?62XÿX73M=2:6AVBP/*Bÿ84<2XÿN@ÿa;4=2ÿ\<2;`ÿ\
  *-,*Y,-*+/                                         \<?4=VÿOL2:6JA>622<2Hÿ_2:¡?=4:BÿAW:62;2XQÿ*-,*Y,-*+/B
                                   ÿP/Eÿ             £76432ÿ78ÿ¤46^X;?F?<ÿÿeÿÿhÿdÿ̈©ÿA;2<?62X
                                    A+ÿ5LB           X73M=2:6AVBPEEBÿ84<2XÿN@ÿ\?;;42ÿ~ÿ?;X=?:ÿ7:ÿN2^?<8ÿ78ÿ12<?6446@
  *-,+D,-*+/                                         92X4?Hÿ\JÿA?;X=?:Hÿ\?;;42BÿAW:62;2XQÿ*-,+D,-*+/B
                                   ÿP/Pÿ             ¢;X2;ÿV4L:2Xÿ7:ÿ-,+D,-*+/ÿª;?:64:LÿK4;V6ÿ¢=:4NMVÿ¢N¡23647:ÿ67ÿ\2;6?4:
                                    ADÿ5LVB          \<?4=VÿA_77`Vÿ?:Xÿ1237;XVBÿA12<?62XÿR73ÿSÿPEEBJÿAª7=2«Hÿb2VV43?B
  *-,+D,-*+/                                         AW:62;2XQÿ*-,+D,-*+/B
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  *+,-.,+*-/                       ÿ1/2ÿ             89:;9ÿ6<5=;:ÿ>=ÿ+,-.,+*-/ÿ?9@=A<=5ÿB;C>=:ÿ8D=<EF6ÿ8EG;CA<>=ÿA>
                                                           #:2310
                                    3.ÿ4567          H;9A@<=ÿHI@<D6ÿ3J@A;ÿK<I;:ÿL9@:;ÿHI@<D6MÿL9@:;ÿHI@<D6ÿN>9
                                                     O;CI@66<N<C@A<>=7ÿ3O;I@A;:ÿP>CÿQÿ1R17Sÿ3?>D;TUÿV;66<C@7ÿ3W=A;9;:X
                                                     *+,-.,+*-/7
                                   ÿ1/Zÿ             [>A<C;ÿ>Nÿ\9;6;=AD;=Aÿ]^ÿ̀abcaÿdeafeghiÿi]ÿj]kglÿmghnaeoikpÿqelc
                                    31ÿ4567          rstuvuwgxÿyooa]z{h|ÿ}{~ciglcÿ]aÿefighi{glÿ]hfe~~gi{]hÿ]^
                                                     ck]hbÿy~chbcbÿgoicaÿuuÿdlghÿ]^ÿj{e{bgi{]hÿghbÿhiapÿ]^ÿ{hgl
                                                     ckaccÿN<I;:ÿEÿBC>AAÿKSÿ?@FA<;9ÿ>=ÿE;@INÿ>NÿO;I@A<<AÿJ<F<:@A<=5ÿL9F6AS
                                                     <Aÿ49;6;=AD;=AÿA>ÿE;ÿ;I:ÿ>=ÿ+,+R,+*-/ÿ@Aÿ-+X**ÿ\ÿ@AÿH>F9A9>>Dÿ1-2
                                                     3W7ÿ8EG;CA<>=6ÿ:F;ÿEÿ+,+*,+*-/Uÿ3?@FA<;9UÿBC>AA7ÿ3W=A;9;:X
  *+,-Y,+*-/                                         *+,-Y,+*-/7
                                   ÿ1//ÿ             44I<C@A<>=ÿN>9ÿK<=@Iÿ\9>N;66<>=@IÿH>D4;=6@A<>=ÿ}qÿ} q
                                    32Zÿ456MÿYÿ:>C67 yÿyjÿ ÿyddjy}`ÿ̀ÿvÿdyq} qÿyÿdq` q
                                                     `ÿ} qÿyy  }ÿ q ÿN>9ÿO;I@A<<Aÿ;:<@UÿJJHU
                                                     8A;9ÿ\9>N;66<>=@IUÿ4;9<>:Xÿ--,-,+*-ZÿA>ÿ-,.-,+*-/UÿN;;X-UYZ2U+.+SR*
                                                     +-*U+Y*S**ÿUÿ;4;=6;6Xÿ+1U/..SYYÿ.UY.-S1-ÿSÿN<I;:ÿEÿO;I@A<<A
                                                     ;:<@UÿJJHÿ<Aÿ;@9<=5ÿA>ÿE;ÿ;I:ÿ>=ÿ.,-/,+*-/ÿ@Aÿ--X**ÿÿ@A
                                                     H>F9A9>>Dÿ1-2ÿ3W7ÿO;64>=6;6ÿ:F;ÿEÿ.,-+,+*-/USÿ3AA@CD;=A6XÿQÿ-
                                                     W<E<AÿP-ÿQÿ+ÿW<E<AÿP+ÿQÿ.ÿW<E<AÿP.7ÿ3@9:D@=UÿH@99<;7
  *+,-R,+*-/                                         >:<N<;:ÿ>=ÿ.,+*,+*-/ÿ3O>FT;@FUÿ=@A<=7Sÿ3W=A;9;:Xÿ*+,-R,+*-/7
                                   ÿ2**ÿ             NN<:@<Aÿ>NÿB;9<C;ÿ̀^ÿeh]ÿgab]f]ÿac|gab{h|ÿ]i{kcÿ]^ÿ{ibagglÿ]^
                                    31ÿ4567          `cki{]hÿi]ÿlg{~ÿ]ÿÿ39;I@A;:ÿ:>CFD;=A3671/R7ÿN<I;:ÿEÿ\9<D;ÿHI;9
  *+,-Z,+*-/                                         JJHÿHI@<D6ÿ5;=AS3BA;;I;Uÿ¡;=G@D<=7ÿ3W=A;9;:Xÿ*+,-Z,+*-/7
                                   ÿ2*-ÿ             NN<:@<Aÿ>NÿB;9<C;ÿ]^ÿyf{aÿ¢ÿyfag^ÿqc|gab{h|ÿ]i{kcÿ]^ÿdacfchi~chi
                                    31ÿ4567          ]^ÿwda]o]fcbxÿ̀abcaÿyooa]z{h|ÿ}{~ciglcÿ^]aÿefighi{glÿ]hfe~~gi{]h
                                                     ]^ÿck]hbÿy~chbcbÿgoicaÿuuÿdlghÿ]^ÿj{e{bgi{]hÿghbÿhiapÿ]^ÿ{hgl
                                                     ckaccÿ39;I@A;:ÿ:>CFD;=A3671/Z7ÿK<I;:ÿEÿ:@DÿSÿ:I;9ÿ>=ÿE;@INÿ>N
  *+,-/,+*-/                                         \9<D;ÿHI;9ÿJJHÿHI@<D6ÿ5;=ASÿ3:I;9Uÿ:@D7ÿ3W=A;9;:Xÿ*+,-/,+*-/7
                                   ÿ2*+ÿ             NN<:@<Aÿ>NÿB;9<C;ÿweoolc~chiglxÿ]^ÿyf{aÿ¢ÿyfag^ÿqc|gab{h|ÿ]i{kc
                                    3.ÿ4567          ]^ÿdeakgfca£fÿwxÿj{fiÿ]^ÿcf{|hgicbÿq{|ifÿ]hiagkifÿeckiÿi]
                                                     yffe~oi{]hÿghb]aÿdeakgfcÿghbÿwxÿj{fiÿ]^ÿybb{i{]hglÿcf{|hgi{]h
                                                     q{|ifÿ]hiagkifÿ39;I@A;:ÿ:>CFD;=A3671Y-7ÿN<I;:ÿEÿ\9<D;ÿHI;9ÿJJH
  *+,+*,+*-/                                         HI@<D6ÿ5;=AS3@I>UÿP@<:7ÿ3W=A;9;:Xÿ*+,+*,+*-/7
                                   ÿ2*.ÿ             BA@A;D;=Aÿ]i{kcÿ]^ÿgh|cÿ{hÿ]ealpÿqgicfÿ]^ÿ{hfi]hÿ¤ÿiaghÿjjd¥
                                    3+ÿ4567          yfÿ]ehfclÿi]ÿci]afÿghbÿci]afÿ{hÿd]ffcff{]hÿN<I;:ÿEÿH@99<;ÿ¦
                                                     @9:D@=ÿ>=ÿE;@INÿ>NÿO;I@A<<Aÿ;:<@UÿJJHSÿ3@9:D@=UÿH@99<;7
  *+,+-,+*-/                                         3W=A;9;:Xÿ*+,+-,+*-/7
                                   ÿ2*Yÿ             NN<:@<Aÿ>NÿB;9<C;ÿ]^ÿ§]ebclcchÿÿaghfÿqc|gab{h|ÿ}{abÿhica{~ÿghb
                                    3Zÿ4567          {hglÿccÿyool{kgi{]hÿ]^ÿvÿdgaihcafÿgfÿda]z{bcaÿ]^ÿhica{~
                                                     ghg|c~chiÿcaz{kcfÿ^]aÿicÿci]afÿghbÿci]afÿ{hÿd]ffcff{]hÿ^]aÿic
                                                     dca{]bÿ^a]~ÿgpÿr¥ÿtsuÿ}a]e|ÿ§ghegapÿru¥ÿtsu¨ÿ39;I@A;:
                                                     :>CFD;=A3671//7ÿN<I;:ÿEÿ\9<D;ÿHI;9ÿJJHÿHI@<D6ÿ5;=AS3BA;;I;U
  *+,+-,+*-/                                         ¡;=G@D<=7ÿ3W=A;9;:Xÿ*+,+-,+*-/7
                                   ÿ2*Rÿ             BA@A;D;=Aÿ]i{kcÿ]^ÿgh|cÿ{hÿ]ealpÿqgicfÿ]^ÿq]{hfÿ©golghÿjjd¥ÿgf
                                    3.ÿ4567          ]ehfclÿi]ÿicÿ̀^^{k{glÿ]~~{iiccÿ]^ÿ¢hfckeacbÿacb{i]afÿN<I;:ÿEÿBC>AA
                                                     KSÿ?@FA<;9ÿ>=ÿE;@INÿ>Nÿ8KKªHªJÿH8ªLLWWÿ8Kÿ«[BWH«OWP
  *+,++,+*-/                                         HOWPªL8OBSÿ3?@FA<;9UÿBC>AA7ÿ3W=A;9;:Xÿ*+,++,+*-/7
  *+,++,+*-/                       ÿ2*1ÿ             K<=@Iÿ44I<C@A<>=ÿN>9ÿK<=@Iÿ\9>N;66<>=@IÿH>D4;=6@A<>=ÿ]^ÿq]{hfÿ©golgh
117 11! "#$55524%5&''2'2'5(5(45                                                         )%1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 431 of 494 Page ID
                                    +,-.ÿ0123         4456ÿ89ÿ:;<=9>?ÿ@;ÿ@A>ÿBCCDED8?ÿ:;FFD@@>>ÿ;CÿG=9>E<H>Iÿ:H>ID@;H9ÿJKL
                                                           #:2311
                                                      MKNOP2ÿQR0SRPÿTTUVÿWLXYOZKLÿWK[[\ÿ]Z^Vÿ0XLOKY_ÿ̀a,ba-c,bÿZK
                                                      ,ad,a-c,.VÿJXX_e,cd-.d-\`cVÿXf0XP2X2_ÿeddgh.\bd\ÿJOSXYÿN^ÿijKZZÿk\
                                                      lRmZOXLÿnOZoÿoXRLOP1ÿZKÿNXÿoXSYÿKPÿda,.a-c,.ÿRZÿ,,_ccÿ]pÿRZÿWKmLZLKK[
                                                      g,hÿ+pqr3ÿMX20KP2X2ÿYmXÿN^ÿda,-a-c,.V\ÿ+lRmZOXLVÿijKZZ3ÿ+qPZXLXY_
                                                      c-a--a-c,.3
                                   ÿhchÿ              kOPRSÿ]00SOjRZOKPÿJKLÿkOPRSÿULKJX22OKPRSÿWK[0XP2RZOKPÿ;Cÿs<CCÿtÿ5A>?u9
                                    +hhÿ0123          v>E<HD@D>96ÿ44:6ÿ89ÿwD=8=ED8?ÿxIyD9;Hÿ@;ÿ@A>ÿBCCDED8?ÿ:;FFD@@>>ÿ;C
                                                      G=9>E<H>Iÿ:H>ID@;H9ÿJKLÿzmJJÿ{ÿUoXS02ÿiXjmLOZOX2VÿTTWVÿ]jjKmPZRPZV
                                                      0XLOKY_ÿ̀a-da-c,bÿZKÿ,ad,a-c,.VÿJXX_e-cc.`|\bcVÿXf0XP2X2_ÿec\ÿJOSXYÿN^
                                                      ijKZZÿk\ÿlRmZOXLÿnOZoÿoXRLOP1ÿZKÿNXÿoXSYÿKPÿda,.a-c,.ÿRZÿ,,_ccÿ]pÿRZ
                                                      WKmLZLKK[ÿg,hÿ+pqr3ÿMX20KP2X2ÿYmXÿN^ÿda,-a-c,.V\ÿ+lRmZOXLVÿijKZZ3
  c-a--a-c,.                                          +qPZXLXY_ÿc-a--a-c,.3
                                   ÿhcbÿ              ]00SOjRZOKPÿJKLÿkOPRSÿULKJX22OKPRSÿWK[0XP2RZOKPÿ~sÿ
                                    +,d`ÿ012}ÿgÿYKj23 xsÿwx4ÿx554:xBÿwBÿx44Bx:ÿBwÿxs
                                                      :B 5vxBÿwBÿ5BwvvBx4ÿv:vÿssÿxs
                                                      x44Bx:ÿxsÿ Gv ÿBwÿx:Gx4ÿxs
                                                      :vvxÿ5vvÿJKLÿrOP2ZKPÿ{ÿiZLRnPÿTTUVÿzXNZKL2ÿ]ZZKLPX^V
                                                      0XLOKY_ÿ,,a,a-c,bÿZKÿ,ad,a-c,.VÿJXX_e-Vc-.Vhgc\.cÿedc`V̀,,\ccÿV
                                                      Xf0XP2X2_ÿeg|V|--\d|ÿebVhgg\gg\ÿJOSXYÿN^ÿrOP2ZKPÿ{ÿiZLRnPÿTTUÿnOZo
                                                      oXRLOP1ÿZKÿNXÿoXSYÿKPÿda,.a-c,.ÿRZÿ,,_ccÿ]pÿRZÿWKmLZLKK[ÿg,hÿ+pqr3
                                                      MX20KP2X2ÿYmXÿN^ÿda,-a-c,.V\ÿ+]ZZRjo[XPZ2_ÿÿ,ÿqfoONOZÿ]ÿÿ-ÿqfoONOZÿ
                                                      ÿdÿqfoONOZÿWÿÿ|ÿqfoONOZÿzÿÿ̀ÿqfoONOZÿq3ÿ+RLY[RPVÿWRLLOX3ÿpKYOJOXY
  c-a--a-c,.                                          KPÿda-ca-c,.ÿ+MKmXRmVÿ]PRZOP3\ÿ+qPZXLXY_ÿc-a--a-c,.3
                                   ÿhc.ÿ              KZOjXÿKJÿXRLOP1ÿ~B:ÿBwÿxÿBÿwx4ÿx554:xBv
                                    +dÿ0123           wBÿx44Bx:ÿBwÿ:B 5vxBÿwBÿ5BwvvBx4
                                                      v:vÿssÿxsÿ Gv ÿBwÿ5vv
                                                      +LXSRZXYÿYKjm[XPZ+23hcbVÿhchVÿg..Vÿhcg3ÿJOSXYÿN^ÿWRLLOXÿÿRLY[RPÿKP
                                                      NXoRSJÿKJÿMXSRZOOZ^ÿpXYORVÿTTW\ÿnOZoÿoXRLOP1ÿZKÿNXÿoXSYÿKPÿda,.a-c,.ÿRZ
                                                      ,,_ccÿ]pÿRZÿWKmLZLKK[ÿg,hÿ+pqr3ÿNXjZOKP2ÿYmXÿN^ÿda,-a-c,.V
  c-a--a-c,.                                          +RLY[RPVÿWRLLOX3ÿ+qPZXLXY_ÿc-a--a-c,.3
                                   ÿh,cÿ              ]JJOYROZÿKJÿiXLOjXÿ;CÿF>?DA=ÿ>>9ÿ>8HID=ÿ;@DE>ÿ;CÿBEE<HH>=E>
                                    +dÿ0123           ;CÿCC>E@Dy>ÿs8@>ÿ;Cÿs>@;H9ÿ8=Iÿ@A>ÿ:H>ID@;H9ÿ:;FFD@@>>9ÿv>E;=I
                                                      xF>=I>Iÿ;D=@ÿ4D<DI8@D=ÿ5?8=ÿG=I>Hÿ:A8u@>Hÿÿ;Cÿ@A>ÿ8=H<u@E
                                                      :;I>ÿ+LXSRZXYÿYKjm[XPZ+23g.c3ÿkOSXYÿN^ÿ]YR[ÿp\ÿ]YSXLÿKPÿNXoRSJÿKJ
  c-a-ga-c,.                                          ULO[XÿWSXLVÿTTW\ÿ+]YSXLVÿ]YR[3ÿ+qPZXLXY_ÿc-a-ga-c,.3
                                   ÿh,,ÿ              pKZOKPÿJKLÿUR^[XPZÿKJÿ]Y[OPO2ZLRZOXÿqf0XP2X2ÿ~ÿxuu?DE8@D;=ÿ;Cÿ:H9@8?
                                    +hbÿ0123          vEH>>=9ÿ >ID8ÿ=EÿC;Hÿx??;¡8=E>ÿ8=Iÿ58F>=@ÿ;CÿxIFD=D9@H8@Dy>
                                                      5HD;HD@ÿu>=9>9ÿJKLÿWL^2ZRSÿijLXXP2ÿpXYORÿ¢Pj\VÿZoXLÿULKJX22OKPRSV
                                                      0XLOKY_ÿ̀ada-c,bÿZKÿ,ad,a-c,.VÿJXX_e,-dVch|\``VÿXf0XP2X2_ÿedV|.d\.g\
                                                      JOSXYÿN^ÿWL^2ZRSÿijLXXP2ÿpXYORÿ¢Pj\ÿnOZoÿoXRLOP1ÿZKÿNXÿoXSYÿKPÿda,.a-c,.
                                                      RZÿ,,_ccÿ]pÿRZÿWKmLZLKK[ÿg,hÿ+pqr3ÿMX20KP2X2ÿYmXÿN^ÿda,-a-c,.V\
  c-a-ga-c,.                                          +QXS2X^VÿpRZZoXn3ÿ+qPZXLXY_ÿc-a-ga-c,.3
                                   ÿh,-ÿ              zXjSRLRZOKPÿ;CÿA;F89ÿwD@£>H8?IÿD=ÿv<uu;H@ÿ;Cÿ@A>ÿxuu?DE8@D;=ÿ;C
                                    +`.ÿ0123          :H9@8?ÿvEH>>=9ÿ >ID8ÿ=EÿC;Hÿx??;¡8=E>ÿ8=Iÿ58F>=@ÿ;CÿxIFD=D9@H8@Dy>
                                                      5HD;HD@ÿu>=9>9ÿ+LXSRZXYÿYKjm[XPZ+23h,,3ÿJOSXYÿN^ÿpRZZoXnÿQ\ÿQXS2X^
                                                      KPÿNXoRSJÿKJÿWL^2ZRSÿijLXXP2ÿpXYORÿ¢Pj\\ÿ+QXS2X^VÿpRZZoXn3ÿ+qPZXLXY_
  c-a-ga-c,.                                          c-a-ga-c,.3
  c-a-ga-c,.                       ÿh,dÿ              zXjSRLRZOKPÿ;CÿvE;@@ÿ8<@D>HÿD=ÿv<uu;H@ÿ;Cÿ@A>ÿxuu?DE8@D;=ÿ;Cÿ:H9@8?
                                    +dÿ0123           vEH>>=9ÿ >ID8ÿ=EÿC;Hÿx??;¡8=E>ÿ8=Iÿ58F>=@ÿ;CÿxIFD=D9@H8@Dy>
                                                      5HD;HD@ÿu>=9>9ÿ+LXSRZXYÿYKjm[XPZ+23h,,3ÿJOSXYÿN^ÿpRZZoXnÿQ\ÿQXS2X^
117 11! "#$55524%5&''2'2'5(5(45                                                        )*1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 432 of 494 Page ID
                                                          *+ÿ-./012ÿ*2ÿ3456701ÿ894..+6ÿ:.;<0ÿ=+9>>ÿ?@.16.5Aÿ:077/.BCÿ?D+7.4.;E
                                                           #:2312
                                                          FGHGIHGFJKC
                                   ÿLJMÿ                  Q4;.4ÿ6<P+.;ÿ*+ÿGHGLHGFJKÿ0OO4*R<+Pÿ7<S.70-1.ÿ2*4ÿ6T-670+7<01
                                    ?NÿOP6C               9*+6TSS07<*+ÿ*2ÿ6.9*+;ÿ0S.+;.;ÿ9/0O7.4ÿJJÿO10+ÿ*2ÿ1<UT<;07<*+ÿ0+;
                                                          .+745ÿ*2ÿ2<+01ÿ;.94..ÿ?4.107.;ÿ;*9TS.+7?6CIKVC>ÿ?W.X<.4*10AÿY09UT.1<+.C
  FGHGLHGFJK                                              ?D+7.4.;EÿFGHGLHGFJKC
                                   ÿLJZÿ                  [22<;0R<7ÿ*2ÿ8.4R<9.ÿ\]ÿ_`a\ÿbcde\f\ÿghicdejaiÿ_\kjlhÿ\]ÿmjnjaiÿ\]ÿkoh
                                    ?IÿOP6C               pojdeÿqakhdjrÿcaeÿmjacnÿsttnjlckj\aÿ\]ÿujafk\aÿvÿwkdcxaÿyyz{ÿcf
                                                          b\`afhnÿk\ÿkohÿ|h}k\df{ÿ]\dÿsnn\xcalhÿ\]ÿcaeÿb\rthafckj\aÿ]\d
                                                          zd\]hffj\acnÿwhd~jlhfÿghaehdheÿcaeÿsnn\xcalhÿcaeÿghjr}`dfhrhakÿ\]
                                                          slk̀cnÿcaeÿ_hlhffcdÿthafhfÿ]\dÿkohÿzhdj\eÿcÿ{ÿÿkod\`ioÿcae
                                                          qalǹejaiÿca`cdÿ{ÿÿcaeÿ_\kjlhÿ\]ÿhcdjaiÿ\aÿmjacnÿsttnjlckj\af
                                                          ]\dÿsnn\xcalhÿ\]ÿb\rthafckj\aÿ]\dÿzd\]hffj\acnÿwhd~jlhfÿghaehdheÿcae
                                                          ghjr}`dfhrhakÿ\]ÿthafhfÿ?4.107.;ÿ;*9TS.+7?6CLFVAÿLFKCÿ2<1.;ÿ-5
                                                          X4<S.ÿ31.4ÿ3ÿ310<S6ÿ[P.+7>?87..1.Aÿ.+0S<+Cÿ?D+7.4.;E
  FGHGLHGFJK                                              FGHGLHGFJKC
                                   ÿLJIÿ                  :*7<*+ÿ2*4ÿQ-.97<*+ÿ7*ÿ310<S?6CÿTS-.4EÿZIVAÿZLGÿ_\kjlhÿ\]ÿ}hlkj\a
                                    ?ZNÿOP6C              caeÿ}hlkj\aÿ\]ÿghnckj~jkÿyj`jeckjaiÿpd`fkÿk\ÿsnn\xcalhÿ\]ÿbncjrÿ_\f
                                                          ÿcaeÿÿmjnheÿ}ÿbcd\nÿhajfÿB<7/ÿ/.04<+Pÿ7*ÿ-.ÿ/.1;ÿ*+ÿMHJFHGFJK
                                                          07ÿJJEFFÿ[:ÿ07ÿ3*T474**SÿIJLÿ?:DCÿ.6O*+6.6ÿ;T.ÿ-5ÿMHNHGFJKAÿ2<1.;
                                                          -5ÿ89*77ÿ>ÿ0T7<.4ÿ*+ÿ-./012ÿ*2ÿ.107<R<75ÿ<UT<;07<+Pÿ4T67>ÿ?0T7<.4A
  FGHGVHGFJK                                              89*77Cÿ?D+7.4.;EÿFGHGVHGFJKC
                                   ÿLJLÿ                  [S.+;.;ÿ*7<9.ÿ*2ÿ.04<+Pÿdhÿ}hlkj\aÿ\]ÿghnckj~jkÿyj`jeckjaiÿpd`fk
                                    ?NÿOP6C               k\ÿsnn\xcalhÿ\]ÿbncjrÿ_\fÿÿcaeÿÿmjnheÿ}ÿbcd\nÿhajfÿ?4.107.;
                                                          ;*9TS.+7?6CLJICÿ2<1.;ÿ-5ÿ89*77ÿ>ÿ0T7<.4ÿ*+ÿ-./012ÿ*2ÿ.107<R<75
                                                          <UT<;07<+Pÿ4T67>ÿB<7/ÿ/.04<+Pÿ7*ÿ-.ÿ/.1;ÿ*+ÿMHJFHGFJKÿ07ÿJJEFFÿ[:ÿ07
                                                          3*T474**SÿIJLÿ?:DCÿQ-.97<*+6ÿ;T.ÿ-5ÿMHNHGFJKAÿ?0T7<.4Aÿ89*77C
  FGHGVHGFJK                                              ?D+7.4.;EÿFGHGVHGFJKC
                                   ÿLJVÿ                  :*7<*+ÿ2*4ÿX05S.+7ÿ*2ÿ[;S<+<67407<R.ÿDO.+6.6ÿ>ÿ2<1.;ÿ-5ÿ<1S
                                    ?JFÿOP6C              :T6<9<0+6ÿ8.9*+;045ÿ:04.76ÿT+;>ÿ?8/042Aÿ:04Cÿ?D+7.4.;E
  FNHFJHGFJK                                              FNHFJHGFJKC
                                   ÿLJKÿ                  3.47<2<907.ÿ*2ÿ8.4R<9.ÿ?4.107.;ÿ;*9TS.+7?6CLJVCÿ<1.;ÿ-5ÿ:04ÿ:.<4
                                    ?NÿOP6C               8/042ÿ*+ÿ-./012ÿ*2ÿ<1Sÿ:T6<9<0+6ÿ8.9*+;045ÿ:04.76ÿT+;>ÿ?8/042A
  FNHFJHGFJK                                              :04Cÿ?D+7.4.;EÿFNHFJHGFJKC
                                   ÿLGFÿ                  *7<9.ÿ*2ÿ<7/;40B01ÿ\]ÿ\kj\aÿ]\dÿakdÿ\]ÿcaÿdehdÿ\ej]jaiÿkoh
                                    ?GÿOP6C               s`k\rckjlÿwkc{ÿk\ÿkohÿkhakÿsttnjlc}nh{ÿk\ÿzhdrjkÿzcrhakÿ\]ÿ|h]hafh
                                                          b\fkfÿaehdÿkohÿ|h}k\df¡ÿ|jdhlk\dfÿvÿ]]jlhdfÿz\njljhfÿ?4.107.;
                                                          ;*9TS.+7?6CIVVCÿ2<1.;ÿ-5ÿ8/0+0ÿD1-.4Pÿ*+ÿ-./012ÿ*2ÿ50+ÿ@0R0+0TP/>
  FNHFJHGFJK                                              ?D1-.4PAÿ8/0+0Cÿ?D+7.4.;EÿFNHFJHGFJKC
  FNHFJHGFJK                       ÿLGJÿ                  <+01ÿ[OO1<907<*+ÿ2*4ÿ<+01ÿX4*2.66<*+01ÿ3*SO.+607<*+ÿ¢ÿb\r}jahe
                                    ?ZLÿOP6C              \akon{ÿqakhdjrÿcaeÿmjacnÿmhhÿsttnjlckj\aÿ\]ÿzdjrhÿbnhd£ÿyyb{ÿcf
                                                          serjajfkdckj~hÿse~jf\dÿk\ÿkohÿ|h}k\df{ÿ]\dÿwhd~jlhfÿghaehdheÿcae
                                                          ghjr}`dfhrhakÿ\]ÿthafhfÿ]\dÿ¤j¥ÿkohÿb\r}jaheÿ\akonÿzhdj\eÿ]d\r
                                                          _\~hr}hdÿ{ÿÿkod\`ioÿca`cdÿ{ÿ¦ÿ¤jj¥ÿkohÿqakhdjrÿzhdj\e
                                                          ]d\rÿcÿ{ÿÿkod\`ioÿlk\}hdÿ{ÿ¦ÿcaeÿ¤jjj¥ÿkohÿmjacnÿzhdj\e
                                                          ]d\rÿcÿ{ÿÿkod\`ioÿca`cdÿ{ÿÿ2*4ÿX4<S.ÿ31.4ÿ3
                                                          310<S6ÿ[P.+7AÿQ7/.4ÿX4*2.66<*+01AÿO.4<*;EÿZHNHGFJVÿ7*ÿJHNJHGFJKA
                                                          2..E§IVALFV>JJÿ§ZFANKI>VZÿAÿ.O.+6.6Eÿ§JAMLM>IMÿJANJV>GNÿ>ÿ2<1.;ÿ-5
                                                          X4<S.ÿ31.4ÿ3ÿ310<S6ÿ[P.+7ÿB<7/ÿ/.04<+Pÿ7*ÿ-.ÿ/.1;ÿ*+ÿNHJKHGFJKÿ07
                                                          JJEFFÿ[:ÿ07ÿ3*T474**SÿIJLÿ?:DCÿ.6O*+6.6ÿ;T.ÿ-5ÿNHJZHGFJKA>
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                                                     *+,-./0ÿ+,234ÿ56,787.,ÿ69ÿ:;<=;<=>?ÿ*@6AB.2A0ÿ+92C794Dÿ*E9C./.,F
                                                           #:2313
                                                     =:;=>;<=>?4
                                   ÿH<<ÿ             +887,2M7Cÿ68ÿN./M7O.ÿPQÿSTUPÿVWXYPZPÿ[\]WXY^U]ÿSP_^`\ÿPQÿabc\`_^PUÿWUY
                                    *IÿJKL4          de\UY\YÿSP_^`\ÿPQÿabc\`_^PUÿPQÿ[\fW_^g^_hÿi^jT^YW_^U]ÿkXTZ_ÿ_P
                                                     dffPlWU`\ÿPQÿVfW^eÿSPZmÿnopÿWUYÿnqrÿs^f\YÿbhÿVWXPfÿt\U^Zÿ*/.-2C.,
                                                     ,6OA3.9C*L4H>H0ÿH>u4ÿ87-.,ÿvwÿx/73.ÿy-./zÿ{{yÿy-273Lÿ+K.9CD*NC..-.0
  =:;=G;<=>?                                         |.9}23794ÿ*E9C./.,Fÿ=:;=G;<=>?4
                                   ÿH<:ÿ             +887,2M7Cÿ68ÿN./M7O.ÿPQÿ~WTfÿ~TffPÿ[\]WXY^U]ÿSP_^`\ÿPQÿs^f^U]ÿVPeb^U\Y
                                    *uÿJKL4          PU_fhÿU_\X^eÿWUYÿs^UWfÿs\\ÿdf^`W_^PUÿPQÿ~X^e\ÿVf\XÿiiVÿWZ
                                                     dYe^U^Z_XW_^g\ÿdYg^ZPXÿ_Pÿ_\ÿ\b_PXZÿQPXÿ\Xg^`\Zÿ[\UY\X\YÿWUY
                                                     [\^ebTXZ\e\U_ÿPQÿ\UZ\ZÿQPXÿÿ_\ÿVPeb^U\YÿPU_fhÿ~\X^PYÿQXPe
                                                     SPg\eb\Xÿÿrpÿ_XPT]ÿWUTWXhÿÿrÿÿ_\ÿU_\X^eÿ~\X^PY
                                                     QXPeÿWhÿÿrpÿ_XPT]ÿa`_Pb\XÿÿrpÿWUYÿÿ_\ÿs^UWfÿ~\X^PY
                                                     QXPeÿWhÿÿrpÿ_XPT]ÿWUTWXhÿÿrÿ*/.-2C.,ÿ,6OA3.9C*L4H<>4
                                                     7-.,ÿvwÿ+,23ÿ5Dÿ+,-./ÿ69ÿv.2-8ÿ68ÿx/73.ÿy-./zÿ{{yÿy-273Lÿ+K.9CD
  =:;=u;<=>?                                         *+,-./0ÿ+,234ÿ*E9C./.,Fÿ=:;=u;<=>?4
                                   ÿH<ÿ             +887,2M7Cÿ68ÿN./M7O.ÿTf\e\U_WfÿPQÿe\f^Uÿ[\h\Zÿ[\]WXY^U]ÿSP_^`\
                                    *:ÿJKL4          PQÿa``TXX\U`\ÿPQÿQQ\`_^g\ÿW_\ÿPQÿ\b_PXZÿWUYÿ_\ÿVX\Y^_PXZ
                                                     VPee^__\\Zÿ\`PUYÿde\UY\YÿP^U_ÿi^jT^YW_^U]ÿ~fWUÿUY\XÿVW_\Xÿ
                                                     PQÿ_\ÿWUXT_`hÿVPY\ÿ*/.-2C.,ÿ,6OA3.9C*L4u?=4ÿ7-.,ÿvwÿ+,23ÿ5D
                                                     +,-./ÿ69ÿv.2-8ÿ68ÿx/73.ÿy-./zÿ{{yÿy-273Lÿ+K.9CDÿ*+,-./0ÿ+,234
  =:;=u;<=>?                                         *E9C./.,Fÿ=:;=u;<=>?4
                                   ÿH<Gÿ             /29LO/7JCÿ/.K2/,79Kÿ.2/79Kÿ.-,ÿ69ÿ>=;>I;<=>Iÿ2Cÿ>=FGHÿ23ÿ@EF
                                    *>:ÿJKL4         .2/79Kÿ@EFÿ2JJ-7O2C769Lÿ86/ÿO63J.9L2C769ÿvwFÿ5ÿx2/C9./Lÿ79LC69ÿ
                                                     NC/29ÿ{{xÿ7--z7.ÿ2//ÿÿ2--2K./ÿ{{xÿ@6v79Lÿ2J-29ÿ{{xDÿ@.36C.
                                                     .-.OC/697Oÿ2OO.LLÿC6ÿC.ÿC/29LO/7JCÿ7Lÿ/.LC/7OC.,ÿA9C7-ÿu;u;<=>?Dÿ.
                                                     C/29LO/7JCÿ32wÿv.ÿM7..,ÿ2CÿC.ÿ|29z/AJCOwÿy6A/Cÿy-./zLÿ887O.D
                                                     ¡/29LO/7JC769ÿN./M7O.ÿ+K.9OwFÿ.NO/7v./L0ÿ{{yD¢Dÿ*N..ÿC.ÿy6A/CL
                                                     .vL7C.ÿ86/ÿO69C2OCÿ7986/32C769ÿ86/ÿC.ÿ/29LO/7JC769ÿN./M7O.ÿ+K.9OwD4D
                                                     £6C7O.ÿ68ÿ9C.9CÿC6ÿ@.¤A.LCÿ@.,2OC769ÿ¥.2,-79.ÿ¥A.ÿ|wÿ:;>G;<=>?D
                                                     NC2C.3.9Cÿ68ÿ@.,2OC769ÿ@.¤A.LCÿ¥A.ÿ|wÿ:;<?;<=>?Dÿ@.,2OC.,ÿ/29LO/7JC
                                                     NAv37LL769ÿ¥A.ÿ|wÿ;I;<=>?Dÿ/29LO/7JCÿ2OO.LLÿ7--ÿv.ÿ/.LC/7OC.,
  =:;=I;<=>?                                         C/6AKÿu;u;<=>?Dÿ*{.7L0ÿ.97--.4ÿ*E9C./.,Fÿ=:;>>;<=>?4
                                   ÿH<uÿ               v}.OC769ÿC6ÿ56C769ÿ§ÿs^UWfÿs\\ÿdf^`W_^PUZÿPQ̈ÿÿ[Pb^UZÿ©WfWUÿii~
                                    *>uÿJKL¦ÿ<ÿ,6OL4 dZÿVPTUZ\fÿ_PÿaQQ^`^WfÿVPee^__\\ÿPQÿUZ\`TX\YÿVX\Y^_PXZÿWUYÿr
                                                     VXhZ_Wfÿ`X\\UZÿ\Y^WÿU`mÿdZÿVPªVW^XÿPQÿaQQ^`^WfÿVPee^__\\ÿPQ
                                                     UZ\`TX\YÿVX\Y^_PXZÿ*/.-2C.,ÿ,6OA3.9C*L4H>>0ÿH=u4ÿ87-.,ÿvwÿ2/-.wÿ«D
                                                     6-,LC.79ÿ69ÿv.2-8ÿ68ÿEÿNCA,76L0ÿ9ODDÿ*+CC2O3.9CLFÿ¬ÿ>ÿE­7v7Cÿ+4
  =:;>>;<=>?                                         *6-,LC.790ÿ2/-.w4ÿ*E9C./.,Fÿ=:;>>;<=>?4
                                   ÿH<Hÿ             y./C787O2C.ÿ68ÿN./M7O.ÿ§ÿSP_^`\ÿPQÿs^f^U]ÿ*/.-2C.,ÿ,6OA3.9C*L4H<u4ÿ87-.,ÿvw
                                    *<ÿJKL4          2/-.wÿ«Dÿ6-,LC.79ÿ69ÿv.2-8ÿ68ÿEÿNCA,76L0ÿ9ODDÿ*6-,LC.790ÿ2/-.w4
  =:;>>;<=>?                                         *E9C./.,Fÿ=:;>>;<=>?4
  =:;>>;<=>?                       ÿH<Iÿ             +887,2M7Cÿ68ÿN./M7O.ÿX\¨ÿÿk^XYÿU_\X^eÿdUYÿs^UWfÿdf^`W_^PUÿaQ
                                    *><ÿJKL4         [Pb^UZÿ©WfWUÿii~ÿdZÿVPTUZ\fÿkPÿk\ÿaQQ^`^WfÿVPee^__\\ÿaQÿUZ\`TX\Y
                                                     VX\Y^_PXZÿsPXÿVPe\UZW_^PUÿsPXÿ~XPQ\ZZ^PUWfÿ\Xg^`\Zÿ[\UY\X\YÿdUY
                                                     [\^ebTXZ\e\U_ÿaQÿd`_TWfÿdUYÿS\`\ZZWXhÿ\UZ\ZÿdUYÿrÿs^XZ_
                                                     U_\X^eÿdUYÿs^UWfÿdf^`W_^PUÿaQÿTQQÿ®ÿ~\fZÿ\`TX^_^\ZÿiiVÿdZ
                                                     s^UWU`^WfÿdYg^ZPXÿkPÿk\ÿaQQ^`^WfÿVPee^__\\ÿaQÿUZ\`TX\YÿVX\Y^_PXZ
                                                     sPXÿVPe\UZW_^PUÿsPXÿ~XPQ\ZZ^PUWfÿ\Xg^`\Zÿ[\UY\X\YÿdUY
                                                     [\^ebTXZ\e\U_ÿaQÿd`_TWfÿdUYÿS\`\ZZWXhÿ\UZ\Zÿ*/.-2C.,
                                                     ,6OA3.9C*L4H=H0ÿH=u4ÿ7-.,ÿvwÿNO6CCÿDÿ2AC7./ÿ69ÿv.2-8ÿ68ÿy+{
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                                                    *+,,-..//ÿ+1ÿ234/*25/6ÿ*5/6-.+547ÿ89:;<=>?@ÿ4AB<<C
                                                           #:2314
                                                    8/D<>?>EFÿGHIJJIKGJLC
                                   ÿNKLÿ            SOOT=A:<=BDÿUB?ÿV?BÿW:AÿX=A>ÿSEY=QQ=BDÿU=T>EÿZ[ÿ3:<\:D=>Tÿ];ÿBDÿZ>\:TU
                                    8KÿOPQRÿKÿEBAQC BUÿ2D=^>?Q:Tÿ,;Q=Aÿ/D<>?O?=Q>Q@ÿ:ÿE=^=Q=BDÿBUÿ2,9ÿ5>AB?E=DPQ@ÿ-DA77
                                                    8S<<:A\Y>D<QFÿ_ÿJÿV?BOBQ>Eÿ+?E>?Cÿ8];@ÿ3:<\:D=>TCÿ7ÿ8/D<>?>EF
  GHIJMIKGJL                                        GHIJMIKGJLC
                                   ÿNHGÿ            +Z`>A<=BDÿ<Bÿ,B<=BDÿabcÿefghihjkcekhlmÿnoehgÿpifmcÿqmnkhbiÿrstÿbaÿkum
                                    8JHÿOPQC        veiwcpxknyÿzbfmÿ8?>T:<>EÿEBA;Y>D<8QCNJJCÿU=T>EÿZ[ÿ9?>Pÿ,7ÿ{=O>QÿBD
                                                    Z>\:TUÿBUÿ2D=<>Eÿ4<:<>Qÿ.?;Q<>>7ÿ|=<\ÿ\>:?=DPÿ<BÿZ>ÿ\>TEÿBDÿHIJLIKGJLÿ:<
                                                    JJFGGÿS,ÿ:<ÿ*B;?<?BBYÿ}JNÿ8,/~Cÿ8{=O>Q@ÿ9?>PCÿ8/D<>?>EF
  GHIJMIKGJL                                        GHIJMIKGJLC
                                   ÿNHJÿ            +?E>?ÿQ=PD>EÿBDÿHIJIKGJLÿ:EY=<<=DPÿ3:<\:D=>Tÿ];@ÿ/Q7ÿ<BÿO?:A<=A>ÿO?B
                                    8JÿOPC          \:Aÿ^=A>ÿ=Dÿ<\=Qÿ*B;?<ÿ85>T:<>Eÿ6BAÿ_ÿNKLC7ÿ86>V=>?BT:@ÿ:A;>T=D>C
  GHIJIKGJL                                        8/D<>?>EFÿGHIJIKGJLC
                                   ÿNHKÿ            5>OT[ÿ<Bÿ,B<=BDÿmxoyÿbaÿbhijÿexoeiÿ ÿkbÿÿqkpfhbjÿinj
                                    8JHÿOPQC        mnkhbiÿkbÿhieoÿmmÿxxohnekhbijÿbaÿÿbhijÿexoeiÿ ÿej
                                                    zbpijmoÿkbÿaahnheoÿzbgghkkmmÿbaÿijmnpcmfÿzcmfhkbcjÿeifÿÿzcyjkeo
                                                    qncmmijÿmfheÿinÿejÿzbnuehcÿbaÿaahnheoÿzbgghkkmmÿbaÿijmnpcmf
                                                    zcmfhkbcjÿ8?>T:<>EÿEBA;Y>D<8QCNG}CÿU=T>EÿZ[ÿ4AB<<ÿ17ÿ9:;<=>?ÿBDÿZ>\:TUÿBU
  GHIJIKGJL                                        5BZ=DQÿ]:OT:DÿV7ÿ89:;<=>?@ÿ4AB<<Cÿ8/D<>?>EFÿGHIJIKGJLC
                                   ÿNHHÿ            +Z`>A<=BDÿlhfmikhecyÿmnkhbijÿbaÿbhijÿexoeiÿ ÿkbÿmnoecekhbi
                                    8ÿOPQC         baÿekkumÿÿhlmoeÿhiÿqpxxbckÿbaÿÿqkpfhbjÿinjÿmnkhbiÿkb
                                                    hieoÿmmÿxxohnekhbijÿbaÿÿbhijÿexoeiÿ ÿejÿzbpijmoÿkb
                                                    aahnheoÿzbgghkkmmÿbaÿijmnpcmfÿzcmfhkbcjÿeifÿÿzcyjkeoÿqncmmij
                                                    mfheÿinÿejÿzbnuehcÿbaÿaahnheoÿzbgghkkmmÿbaÿijmnpcmfÿzcmfhkbcj
                                                    8?>T:<>EÿEBA;Y>D<8QCNK}CÿU=T>EÿZ[ÿ4AB<<ÿ17ÿ9:;<=>?ÿBDÿZ>\:TUÿBUÿ5BZ=DQ
  GHIJIKGJL                                        ]:OT:DÿV7ÿ89:;<=>?@ÿ4AB<<Cÿ8/D<>?>EFÿGHIJIKGJLC
                                   ÿNHMÿ            3B<=A>ÿBUÿSP>DE:ÿbaÿekkmcjÿqnumfpomfÿabcÿmechiÿbiÿecnuÿÿs
                                    8ÿOPQC         ekÿssÿegÿ¡ÿU=T>EÿZ[ÿ4AB<<ÿ17ÿ9:;<=>?ÿBDÿZ>\:TUÿBUÿ5>T:<=^=<[
                                                    =;=E:<=DPÿ.?;Q<7ÿ|=<\ÿ\>:?=DPÿ<BÿZ>ÿ\>TEÿBDÿHIJLIKGJLÿ:<ÿJJFGGÿS,ÿ:<
  GHIJIKGJL                                        *B;?<?BBYÿ}JNÿ8,/~Cÿ89:;<=>?@ÿ4AB<<Cÿ8/D<>?>EFÿGHIJIKGJLC
                                   ÿNHÿ            SY>DE>Eÿ3B<=A>ÿBUÿSP>DE:ÿbaÿekkmcjÿqnumfpomfÿabcÿmechiÿbiÿecnu
                                    8ÿOPQC         ÿsÿekÿssÿegÿ¡ÿU=T>EÿZ[ÿ4AB<<ÿ17ÿ9:;<=>?ÿBDÿZ>\:TUÿBU
                                                    5>T:<=^=<[ÿ=;=E:<=DPÿ.?;Q<7ÿ|=<\ÿ\>:?=DPÿ<BÿZ>ÿ\>TEÿBDÿHIJLIKGJLÿ:<
                                                    JJFGGÿS,ÿ:<ÿ*B;?<?BBYÿ}JNÿ8,/~Cÿ89:;<=>?@ÿ4AB<<Cÿ8/D<>?>EF
  GHIJIKGJL                                        GHIJIKGJLC
                                   ÿNH}ÿ            3B<=A>ÿBUÿV?BOBQ>Eÿ+?E>?ÿxxcblhiÿ¡uhcfÿikmchgÿeifÿhieo
                                    8NÿOPQC         xxohnekhbijÿabcÿoobeinmÿbaÿzbgxmijekhbiÿabcÿcbamjjhbieoÿqmclhnmj
                                                    mifmcmfÿeifÿmhgpcjmgmikÿbaÿ¢xmijmjÿ8?>T:<>EÿEBA;Y>D<8QCNG@ÿNGN@
                                                    }LL@ÿNG}@ÿNKJCÿU=T>EÿZ[ÿ*:??=>ÿXÿW:?EY:DÿBDÿZ>\:TUÿBUÿ~=DQ<BDÿ£
                                                    4<?:|DÿV7ÿ|=<\ÿ\>:?=DPÿ<BÿZ>ÿ\>TEÿBDÿHIJLIKGJLÿ:<ÿJJFGGÿS,ÿ:<
  GHIJIKGJL                                        *B;?<?BBYÿ}JNÿ8,/~Cÿ8W:?EY:D@ÿ*:??=>Cÿ8/D<>?>EFÿGHIJIKGJLC
                                   ÿNHNÿ            SY>DE>Eÿ3B<=A>ÿBUÿSP>DE:ÿ¤bkhnmÿbaÿqmnbifÿgmifmfÿmifeÿba
                                    8ÿOPQC         ekkmcjÿqnumfpomfÿabcÿmechiÿbiÿecnuÿÿsÿekÿssÿegÿ¡
                                                    U=T>EÿZ[ÿ4AB<<ÿ17ÿ9:;<=>?ÿBDÿZ>\:TUÿBUÿ5>T:<=^=<[ÿ=;=E:<=DPÿ.?;Q<7ÿ|=<\
                                                    \>:?=DPÿ<BÿZ>ÿ\>TEÿBDÿHIJLIKGJLÿ:<ÿJJFGGÿS,ÿ:<ÿ*B;?<?BBYÿ}JNÿ8,/~C
  GHIJIKGJL                                        89:;<=>?@ÿ4AB<<Cÿ8/D<>?>EFÿGHIJIKGJLC
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                                                           #:2315
                                    32ÿ4567               YYZÿ[Dÿ\\]ÿ^[_RIDHÿ̀aSbLcHÿdWePb[IDSÿ[DÿfISNUÿfPPÿGTTUIbN[IDSHÿDEgÿhij
                                                          ODWISHÿXNTUNSÿYYZÿhNHÿkD_SHPUÿ[DÿdEEIbINUÿkDllI[[PPÿDEÿKSHPb_JPR
                                                          kJPRI[DJHjmÿNSRÿhnjÿkJVH[NUÿ^bJPPSHÿoPRINÿaSbLÿhNHÿkDpkMNIJÿDEÿdEEIbINU
                                                          kDllI[[PPÿDEÿKSHPb_JPRÿkJPRI[DJHjÿ̀]qIRPS[INJVÿdWePb[IDSHÿDEÿODWISH
                                                          XNTUNSÿYYZÿ[DÿrPbUNJN[IDSÿDEÿoN[[MPsÿGLÿOIqPUNÿISÿ^_TTDJ[ÿDEÿ\\]
                                                          ^[_RIDHÿ̀aSbLcHÿdWePb[IDSÿ[DÿfISNUÿfPPÿGTTUIbN[IDSÿDEgÿhijÿODWISHÿXNTUNS
                                                          YYZÿhNHÿkD_SHPUÿ[DÿdEEIbINUÿkDllI[[PPÿDEÿKSHPb_JPRÿkJPRI[DJHjmÿNSRÿhnj
                                                          kJVH[NUÿ^bJPPSHÿoPRINÿaSbLÿhNHÿkDpkMNIJÿDEÿdEEIbINUÿkDllI[[PPÿDE
                                                          KSHPb_JPRÿkJPRI[DJHjÿ̀tD[IbPÿDEÿGQPSRNÿ̀NSRÿGlPSRPRÿtD[IbPÿDEÿGQPSRN
                                                          3BAu<>A;ÿ;?CvwAx>3672+yzÿ2++zÿ2+/zÿ2+{7ÿ9:uA;ÿ|}ÿ~B:wAÿuABÿ
                                                          u<:w6ÿ85Ax>3@>AAuAzÿAx<w:x7ÿ3x>ABA;ÿ*+,-.,/*-07
                                   ÿ2+0ÿ                  B;ABÿ6:5xA;ÿ?xÿ+,/*,/*-0ÿ;Ax}:x5ÿ<44u:C<>:?xÿ?9ÿB}6><uÿ@CBAAxÿA;:<
                                    3-ÿ457                xCÿ9?Bÿ<uu?<xCAÿ<x;ÿ4<}wAx>ÿ?9ÿ<;w:x:6>B<>:=Aÿ4B:?B:>}ÿA4Ax6A6
  *+,/*,/*-0                                              3Au<>A;ÿ?Cÿÿ2--7ÿ3A~:AB?u<zÿ<CvAu:xA7ÿ3x>ABA;ÿ*+,/*,/*-07
                                   ÿ2y*ÿ                  B;ABÿ6:5xA;ÿ?xÿ+,/*,/*-0ÿB<x>:x5ÿ:B;ÿx>AB:wÿ<x;ÿ:x<uÿ844u:C<>:?x
                                    3yÿ4567               9?Bÿ8uu?<xCAÿ?9ÿ?w4Ax6<>:?xÿ9?Bÿ~B?9A66:?x<uÿ@AB=:CA6ÿAx;ABA;ÿ<x;
                                                          A:w|vB6AwAx>ÿ?9ÿ4Ax6A6ÿ3Au<>A;ÿ?Cÿÿ0079?Bÿÿ~<B>xAB6zÿ9AA6
                                                          <<B;A;ÿ-02y2/{zÿA4Ax6Aÿ<<B;A;ÿ+y+--zÿB<x>:x5ÿ844u:C<>:?x
                                                          9?Bÿ:x<uÿ~B?9A66:?x<uÿ?w4Ax6<>:?xÿ3Au<>A;ÿ?Cÿÿ2*279?Bÿv99ÿ
                                                          ~Au46ÿ@ACvB:>:A6zÿzÿ9AA6ÿ<<B;A;ÿy*-0*0zÿA4Ax6Aÿ<<B;A;
                                                          ***zÿB<x>:x5ÿ844u:C<>:?xÿ9?Bÿ:x<uÿ~B?9A66:?x<uÿ?w4Ax6<>:?x
                                                          3Au<>A;ÿ?Cÿÿ2*.79?Bÿ:x6>?xÿÿ@>B<xÿ~zÿ9AA6ÿ<<B;A;
                                                          /++{/2-0zÿA4Ax6Aÿ<<B;A;ÿ.2zÿB<x>:x5ÿ844u:C<>:?xÿ9?Bÿ:x<u
                                                          ~B?9A66:?x<uÿ?w4Ax6<>:?xÿ3Au<>A;ÿ?Cÿÿ2/-79?Bÿ~B:wAÿuABÿ
                                                          u<:w6ÿ85Ax>zÿ9AA6ÿ<<B;A;ÿ-**20+2zÿA4Ax6Aÿ<<B;A;ÿ-+-./+ÿ
  *+,/*,/*-0                                              3?vA<vzÿ8x<>:x7ÿ3x>ABA;ÿ*+,/*,/*-07
                                   ÿ2y-ÿ                  899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿt_SDÿkNJRDHDÿOPQNJRISQÿtD[IbPÿDEÿ^PbDSR
                                    3.ÿ4567               GlPSRPRÿGQPSRNÿDEÿoN[[PJHÿ^bMPR_UPRÿfDJÿPNJISQÿDSÿoNJbMÿiÿ̀ni
                                                          3BAu<>A;ÿ;?CvwAx>3672+27ÿ:uA;ÿ|}ÿ8;<wÿÿ8;uABÿ?xÿ|A<u9ÿ?9ÿ~B:wA
  *+,/-,/*-0                                              uABzÿÿ38;uABzÿ8;<w7ÿ3x>ABA;ÿ*+,/-,/*-07
                                   ÿ2y/ÿ                  B<x6CB:4>ÿBA5<B;:x5ÿA<B:x5ÿAu;ÿ?xÿ*+,-0,/*-0ÿ<>ÿ---/ÿ<wÿ 
                                    3y{ÿ4567              844u:C<>:?xÿ?9ÿB}6><uÿ@CBAAx6ÿA;:<ÿxCÿ9?Bÿ<uu?<xCAÿ<x;ÿ4<}wAx>ÿ?9
                                                          <;w:x:6>B<>:=Aÿ4B:?B:>}ÿA4Ax6A6ÿ|AC>:?xÿ:uA;ÿ|}ÿ@ÿ|AC>:?xÿ9:uA;
                                                          |}ÿ ÿ@>v;:?6ÿ?>:?xÿBAÿA|>?B6ÿ:B;ÿwx:|v6ÿ|AC>:?xÿ>?
                                                          u<:w6ÿ¡vw|ABÿu<:w6ÿ?9ÿÿ:;;ABÿ7A>ÿ<uÿAw?>AÿAuAC>B?x:C
                                                          <CCA66ÿ>?ÿ>Aÿ>B<x6CB:4>ÿ:6ÿBA6>B:C>A;ÿvx>:uÿ,/y,/*-0ÿAÿ>B<x6CB:4>ÿw<}
                                                          |Aÿ=:AA;ÿ<>ÿ>Aÿ<xBv4>C}ÿ?vB>ÿuAB6ÿ99:CAÿ¢B<x6CB:4>:?xÿ@AB=:CA
                                                          85AxC}ÿA@CB:|AB6zÿ£ÿ3@AAÿ>Aÿ?vB>6ÿA|6:>Aÿ9?BÿC?x><C>
                                                          :x9?Bw<>:?xÿ9?Bÿ>AÿB<x6CB:4>:?xÿ@AB=:CAÿ85AxC}7ÿ3 ÿBAu<>A;
                                                          ;?CvwAx>367ÿ2*.zÿ2+zÿ2*2zÿ2*zÿ2/-7ÿ¡?>:CAÿ?9ÿx>Ax>ÿ>?ÿAvA6>
                                                          A;<C>:?xÿA<;u:xAÿvAÿ}ÿy,-,/*-0ÿ@><>AwAx>ÿ?9ÿA;<C>:?xÿAvA6>
                                                          vAÿ}ÿy,-{,/*-0ÿA;<C>A;ÿB<x6CB:4>ÿ@v|w:66:?xÿvAÿ}ÿy,/{,/*-0
                                                          B<x6CB:4>ÿ<CCA66ÿ:uuÿ|AÿBA6>B:C>A;ÿ>B?v5ÿ,/y,/*-0ÿ3A:6zÿAx:uuA7
  *+,/{,/*-0                                              3x>ABA;ÿ*+,/0,/*-07
                                   ÿ2y+ÿ                  @v44uAwAx><uÿACu<B<>:?xÿDEÿ^bD[[ÿfLÿ¤N_[IPJÿISÿ^_TTDJ[ÿDEÿ¥MIJRÿaS[PJIl
                                    3yÿ4567               NSRÿfISNUÿGTTUIbN[IDSÿDEÿODWISHÿXNTUNSÿYYZÿ̀NHÿkD_SHPUÿ[Dÿ[MPÿdEEIbINU
                                                          kDllI[[PPÿDEÿKSHPb_JPRÿkJPRI[DJHÿ̀EDJÿkDlTPSHN[IDSÿEDJÿZJDEPHHIDSNU
                                                          ^PJqIbPHÿOPSRPJPRÿNSRÿOPIlW_JHPlPS[ÿDEÿGb[_NUÿNSRÿtPbPHHNJV
                                                          ]¦TPSHPHÿ3BAu<>A;ÿ;?CvwAx>3672*7ÿ9:uA;ÿ|}ÿ@C?>>ÿÿ<v>:ABÿ?xÿ|A<u9ÿ?9
  *+,/0,/*-0                                              ?|:x6ÿ§<4u<xÿ~ÿ3<v>:ABzÿ@C?>>7ÿ3x>ABA;ÿ*+,/0,/*-07
  *+,/0,/*-0                       ÿ2yyÿ                  ¡?>:CAÿ?9ÿ:>;B<<uÿDEÿdWePb[IDSÿDEÿ\\]ÿ^[_RIDHÿ̀aSbLÿ¥DÿfISNUÿfPP
                                    3/ÿ4567               GTTUIbN[IDSÿDEÿODWISHÿXNTUNSÿYYZÿhNHÿkD_SHPUÿ[Dÿ[MPÿdEEIbINUÿkDllI[[PP
117 11! "#$55524%5&''2'2'5(5(45                                                              )01543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 436 of 494 Page ID
                                                     )*ÿ,-./012/3ÿ42/356)2.7ÿ9:;<=>;?ÿ?@ABC;D>9EFGHIFÿJK<;?ÿLMÿN=:<;MÿOP
                                                           #:2316
                                                     Q@<?E>;KDÿ@DÿL;R=<Jÿ@JÿSSTÿU>B?K@EVÿWDAPPÿ9Q@<?E>;KDVÿN=:<;MFÿ9TD>;:;?X
                                                     YZ[H\[HY]\F
                                   ÿG^_ÿ             b@>KA;ÿ@Jÿca;D?=ÿJK<;?ÿLMÿUA@>>ÿdPÿQ=B>K;:ÿ@DÿL;R=<Jÿ@Jÿe;<=>KfK>M
                                    9^ÿ̀aEF          gKhBK?=>KDaÿi:BE>PÿjK>RÿR;=:KDaÿ>@ÿL;ÿR;<?ÿ@Dÿ^[H[HY]\ÿ=>ÿ]]XYYÿckÿ=>
  YZ[H\[HY]\                                         l@B:>:@@CÿI]Gÿ9kTSFÿ9Q=B>K;:VÿUA@>>Fÿ9TD>;:;?XÿYZ[H\[HY]\F
                                   ÿG^Iÿ             U>=>;C;D>ÿnÿo/./2pq65)-ÿ)*ÿo5rs6.ÿ)*ÿ6s/ÿ,-56/3ÿt6q6/.ÿu21.6//ÿ5-
                                    9_Yÿ̀aEmÿHÿ?@AEF 4)--/065)-ÿv56sÿ6s/ÿw//ÿxyyz50q65)-ÿ)*ÿo){5-.ÿ|qyzq-ÿ}}~ÿ9:;<=>;?
                                                     ?@ABC;D>9EFGHIVÿG^ZVÿGYIFÿJK<;?ÿLMÿ;D=CKDÿOPÿNKaaKDEÿ@DÿL;R=<Jÿ@J
                                                     DK>;?ÿU>=>;Eÿi:BE>;;Pÿ9c>>=ARC;D>EXÿÿ]ÿTRKLK>ÿcÿÿi:=DEA:K̀>ÿ@Jÿk=:AR
  Y^[Y][HY]\                                         ]\VÿHY]\ÿN;=:KDaFÿ9NKaaKDEVÿ;D=CKDFÿ9TD>;:;?XÿY^[Y][HY]\F
                                   ÿG^Gÿ             cC;D?;?ÿb@>KA;ÿ@Jÿca;D?=ÿJK<;?ÿLMÿUA@>>ÿdPÿQ=B>K;:ÿ@DÿL;R=<Jÿ@J
                                    9^ÿ̀aEF          e;<=>KfK>MÿgKhBK?=>KDaÿi:BE>PÿjK>RÿR;=:KDaÿ>@ÿL;ÿR;<?ÿ@Dÿ^[H[HY]\ÿ=>ÿ]]XYY
  Y^[Y][HY]\                                         ckÿ=>ÿl@B:>:@@CÿI]Gÿ9kTSFÿ9Q=B>K;:VÿUA@>>Fÿ9TD>;:;?XÿY^[Y][HY]\F
                                   ÿG^ÿ              cJJK?=fK>ÿ@JÿU;:fKA;ÿ)*ÿ~q1zÿ~1zz)ÿo/rq235-rÿ)650/ÿ)*ÿxr/-3qÿ)*
                                    9ÿ̀aEF           q66/2.ÿt0s/31z/3ÿ*)2ÿ/q25-rÿ)-ÿxy25zÿÿÿq6ÿÿqÿu7
                                                     9:;<=>;?ÿ?@ABC;D>9EFG^_FÿdK<;?ÿLMÿc?=CÿkPÿc?<;:ÿ@DÿL;R=<Jÿ@Jÿ:KC;
  Y^[Y][HY]\                                         l<;:ÿgglÿl<=KCEÿca;D>Pÿ9c?<;:Vÿc?=CFÿ9TD>;:;?XÿY^[Y][HY]\F
                                   ÿG^\ÿ             b@>KA;ÿ@Jÿ:;E;D>C;D>ÿ)*ÿt65y1zq65)-ÿq-3ÿxr2//3ÿ23/2ÿ2/rq235-rÿ4zq5.
                                    9Gÿ̀aEF          )*ÿoÿ533/2ÿ}}4ÿ9:;<=>;?ÿ?@ABC;D>9EFI_GFÿJK<;?ÿLMÿUA@>>ÿdPÿQ=B>K;:ÿ@D
                                                     L;R=<Jÿ@Jÿe;<=>KfK>MÿgKhBK?=>KDaÿi:BE>PÿjK>Rÿ̀:;E;D>C;D>ÿ>@ÿL;ÿR;<?ÿ@D
                                                     ^[]][HY]\ÿ=>ÿ]HXYYÿkÿ=>ÿl@B:>:@@CÿI]Gÿ9kTSFÿL;A>K@DEÿ?B;ÿLM
  Y^[YH[HY]\                                         ^[[HY]\Vÿ9Q=B>K;:VÿUA@>>Fÿ9TD>;:;?XÿY^[YH[HY]\F
                                   ÿG_Yÿ             cJJK?=fK>ÿ@JÿU;:fKA;ÿ)*ÿ~q1zÿ~1zz)ÿo/rq235-rÿx/-3/3ÿ)650/ÿ)*ÿxr/-3q
                                    9ÿ̀aEF           )*ÿq66/2.ÿt0s/31z/3ÿ*)2ÿ/q25-rÿ)-ÿ9:;<=>;?ÿ?@ABC;D>9EFG^GFÿJK<;?ÿLM
  Y^[Y^[HY]\                                         :KC;ÿl<;:ÿgglÿl<=KCEÿca;D>P9k=<@Vÿ=fK?Fÿ9TD>;:;?XÿY^[Y^[HY]\F
                                   ÿG_]ÿ             cJJK?=fK>ÿ@JÿU;:fKA;ÿ)*ÿ1-)ÿ4q23).)ÿo/rq235-rÿ)650/ÿ)*ÿ~2/./-6/-6
                                    9ÿ̀aEF           )*ÿt65y1zq65)-ÿq-3ÿxr2//3ÿ23/2ÿo/rq235-rÿ4zq5.ÿ)*ÿoÿ533/2ÿ}}4
                                                     9:;<=>;?ÿ?@ABC;D>9EFG^\FÿJK<;?ÿLMÿ:KC;ÿl<;:ÿgglÿl<=KCEÿca;D>P
  Y^[Y_[HY]\                                         9U>;;<;Vÿ;D=CKDFÿ9TD>;:;?XÿY^[Y_[HY]\F
                                   ÿG_Hÿ             b@>KA;ÿ@Jÿca;D?=ÿ)*ÿq66/2.ÿt0s/31z/3ÿ*)2ÿ/q25-rÿ)-ÿxy25zÿÿÿq6
                                    9Zÿ̀aEF          ÿqÿu7ÿJK<;?ÿLMÿUA@>>ÿdPÿQ=B>K;:ÿ@DÿL;R=<Jÿ@Jÿe;<=>KfK>M
                                                     gKhBK?=>KDaÿi:BE>PÿjK>RÿR;=:KDaÿ>@ÿL;ÿR;<?ÿ@Dÿ^[]Y[HY]\ÿ=>ÿ]]XYYÿckÿ=>
  Y^[Y[HY]\                                          l@B:>:@@CÿI]Gÿ9kTSFÿ9Q=B>K;:VÿUA@>>Fÿ9TD>;:;?XÿY^[Y[HY]\F
                                   ÿG_Zÿ             cJJK?=fK>ÿ@JÿU;:fKA;ÿ)*ÿ1-)ÿ4q23).)ÿo/rq235-rÿ)650/ÿ)*ÿxr/-3qÿ)*
                                    9ÿ̀aEF           q66/2.ÿt0s/31z/3ÿ*)2ÿ/q25-rÿ)-ÿxy25zÿÿÿq6ÿÿÿqÿ9:;<=>;?
                                                     ?@ABC;D>9EFG_HFÿJK<;?ÿLMÿ:KC;ÿl<;:ÿgglÿl<=KCEÿca;D>P9k=<@Vÿ=fK?F
  Y^[Y\[HY]\                                         9TD>;:;?XÿY^[Y\[HY]\F
                                   ÿG_^ÿ             U@ÿ:?;:;?ÿU>K̀B<=>K@Dÿ=D?ÿca:;;?ÿ:?;:ÿEKaD;?ÿ@Dÿ^[]][HY]\ÿ:;a=:?KDa
                                    9_ÿ̀aEF          A<=KCEÿ@JÿekÿK??;:ÿgglÿ9:;<=>;?ÿ?@ABC;D>9EFG^\FPÿ9;K;:@<=V
  Y^[]][HY]\                                         O=AhB;<KD;Fÿ9TD>;:;?XÿY^[]][HY]\F
  Y^[]H[HY]\                       ÿG__ÿ             k@>K@Dÿ>@ÿKE=<<@jÿl<=KCEÿw52.6ÿ-5{1.ÿ{/065)-ÿ)*ÿo/zq65p56
                                    9^Hÿ̀aEF         }5153q65-rÿu21.6ÿ6)ÿ4/26q5-ÿ4zq5.ÿ4zq5.ÿ)*ÿ/q6s/23/-ÿt/012565/.
                                                     }}47ÿJK<;?ÿLMÿUA@>>ÿdPÿQ=B>K;:ÿ@DÿL;R=<Jÿ@Jÿe;<=>KfK>MÿgKhBK?=>KDaÿi:BE>
                                                     jK>RÿR;=:KDaÿ>@ÿL;ÿR;<?ÿ@Dÿ_[]^[HY]\ÿ=>ÿ]]XYYÿckÿ=>ÿl@B:>:@@CÿI]G
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                                                    )*+,-ÿ/01234101ÿ560ÿ78ÿ9:;:<=>?@Aÿ)BC6DE0F@ÿGH3DD-ÿ)+4D0F05I
                                                           #:2317
                                                    =J:><:<=>?-
                                   ÿ;9Kÿ            *3DE34ÿD3ÿME1CNN3OÿPNCEQ1ÿRSTUVWÿYZV[\]^ÿY\_ST`[UVÿUaÿbScd`[e[f̀
                                    )<?ÿ2L1-        g[h][Wd`[Viÿjk]^ÿ̀ÙÿlSkd̀[Vÿlcd[Z^ÿmlcd[Z^ÿUaÿndVToS^S̀kÿRST]k[`[S^
                                                    lUkpqrÿsEN05ÿ78ÿGH3DDÿtAÿBC6DE0Fÿ34ÿ70uCNsÿ3sÿ/0NCDEvED8ÿwEx6E5CDE4LÿyF61D
                                                    OEDuÿu0CFE4LÿD3ÿ70ÿu0N5ÿ34ÿ9:>J:<=>?ÿCDÿ>>I==ÿz*ÿCDÿP36FDF33QÿK>;
                                                    )*+,-ÿ/01234101ÿ560ÿ78ÿ9:;:<=>?@Aÿ)BC6DE0F@ÿGH3DD-ÿ)+4D0F05I
  =J:><:<=>?                                        =J:><:<=>?-
                                   ÿ;9{ÿ            yFC41HFE2DÿF0LCF5E4Lÿ|0CFE4Lÿ|0N5ÿ34ÿ><:>{:<=>{ÿCDÿ>>I>>ÿCQÿ/+I
                                    )<?ÿ2L1-        |0CFE4Lÿ/+Iÿz22NEHCDE341ÿs3FÿH3Q2041CDE34ÿ78Iÿ,E41D34ÿ}ÿGDFCO4ÿww~
                                                    )P36410NÿD3ÿDu0ÿM07D3F1-ÿ/37E41ÿC2NC4ÿww~ÿ)PF05ED3FÿP3QQAÿzD8-ÿ*
                                                    ÿ~CFD40F1ÿ)4D0FEQÿ*C4CL0Q04DÿG0FvEH01-ÿ*3DE34ÿ78ÿPCF3NÿB04E1ÿs3F
                                                    F0NE0sÿsF3Qÿ1DC8AAÿ/0Q3D0ÿ0N0HDF34EHÿCHH011ÿD3ÿDu0ÿDFC41HFE2DÿE1ÿF01DFEHD05
                                                    64DENÿ;:>9:<=>?Aÿyu0ÿDFC41HFE2DÿQC8ÿ70ÿvE0O05ÿCDÿDu0ÿC4F62DH8ÿP36FD
                                                    PN0F1ÿssEH0AÿyFC41HFE2DE34ÿG0FvEH0ÿzL04H8Iÿ0GHFE70F1@ÿwwPAAÿ)G00ÿDu0
                                                    P36FD1ÿ,071ED0ÿs3FÿH34DCHDÿE4s3FQCDE34ÿs3FÿDu0ÿyFC41HFE2DE34ÿG0FvEH0
                                                    zL04H8A-Aÿ3DEH0ÿ3sÿ4D04DÿD3ÿ/0x601Dÿ/05CHDE34ÿM0C5NE40ÿM60ÿ8
                                                    J:<:<=>?AÿGDCD0Q04Dÿ3sÿ/05CHDE34ÿ/0x601DÿM60ÿ8ÿ9:;:<=>?Aÿ/05CHD05
                                                    yFC41HFE2DÿG67QE11E34ÿM60ÿ8ÿ9:>;:<=>?AÿyFC41HFE2DÿCHH011ÿOENNÿ70
  =J:>K:<=>?                                        F01DFEHD05ÿDuF36Luÿ;:>9:<=>?Aÿ)w0OE1@ÿy04ENN0-ÿ)+4D0F05Iÿ=J:>{:<=>?-
                                   ÿ;9;ÿ            zssE5CvEDÿ3sÿG0FvEH0ÿUaÿRS̀podV[SÿUkWdVÿbSidkW[Viÿ[k^ÿ̀YZV[\]^
                                    )>>ÿ2L1-        Y\_ST`[UVÿUaÿbScd`[e[f̀ÿg[h][Wd`[Viÿjk]^ÿ̀ÙÿlSkd̀[Vÿlcd[Z^ÿmlcd[Z^ÿUa
                                                    SdòSkWSVÿRST]k[`[S^ÿgglrÿdVWÿRSTUVWÿYZV[\]^ÿY\_ST`[UVÿUaÿbScd`[e[f̀
                                                    g[h][Wd`[Viÿjk]^ÿ̀ÙÿlSkd̀[Vÿlcd[Z^ÿmlcd[Z^ÿUaÿndVToS^S̀kÿRST]k[`[S^
                                                    lUkpqrÿ)F0NCD05ÿ53H6Q04D)1-;99@ÿ;9K-ÿtEN05ÿ78ÿz5CQÿ*Aÿz5N0Fÿ34ÿ70uCNs
  =J:>;:<=>?                                        3sÿ~FEQ0ÿPN0FÿwwPÿPNCEQ1ÿzL04DAÿ)z5N0F@ÿz5CQ-ÿ)+4D0F05Iÿ=J:>;:<=>?-
                                   ÿ;9?ÿ            3DEH0ÿ3sÿzL045CÿUaÿnd`S̀k^ÿRToSW]cSWÿaUkÿSdk[ViÿUVÿpk[cÿÿÿd`
                                    )Jÿ2L1-         ÿdqZqÿmjrÿsEN05ÿ78ÿGH3DDÿtAÿBC6DE0Fÿ34ÿ70uCNsÿ3sÿ/0NCDEvED8
                                                    wEx6E5CDE4LÿyF61DAÿOEDuÿu0CFE4LÿD3ÿ70ÿu0N5ÿ34ÿJ:<:<=>?ÿCDÿ>>I==ÿz*ÿCD
  =J:>?:<=>?                                        P36FDF33QÿK>;ÿ)*+,-ÿ)BC6DE0F@ÿGH3DD-ÿ)+4D0F05Iÿ=J:>?:<=>?-
                                   ÿ;K=ÿ            ~31DP34sEFQCDE34ÿ/023FDAÿbScd`[e[f̀ÿg[h][Wd`[Viÿjk]^`^ÿU^`
                                    )Jÿ2L1-         lUVa[kZd`[UVÿ]dkS̀kcfÿYpSkd`[ViÿbSpUkÿ̀aUkÿ̀oSÿSk[UWÿakUZÿdV]dkf
                                                    ÿÿ̀UÿndkToÿÿÿtEN05ÿ78ÿGH3DDÿtAÿBC6DE0Fÿ34ÿ70uCNsÿ3s
  =J:>?:<=>?                                        /0NCDEvED8ÿwEx6E5CDE4LÿyF61DAÿ)BC6DE0F@ÿGH3DD-ÿ)+4D0F05Iÿ=J:>?:<=>?-
                                   ÿ;K>ÿ            zssE5CvEDÿ3sÿG0FvEH0ÿUaÿdZS^ÿndppcSòUkpSÿbSidkW[ViÿU`[TSÿUaÿiSVWd
                                    )?ÿ2L1-         dVWÿbScd`[e[f̀ÿg[h][Wd`[Viÿjk]^`^ÿU^`lUVa[kZd`[UVÿ]dkS̀kcf
                                                    YpSkd`[ViÿbSpUkÿ̀aUkÿ̀oSÿSk[UWÿakUZÿdV]dkfÿÿÿ̀UÿndkToÿ
                                                    ÿ)F0NCD05ÿ53H6Q04D)1-;9?@ÿ;K=-ÿsEN05ÿ78ÿ~FEQ0ÿPN0F@ÿwwPA)GD00N0@
  =J:<<:<=>?                                        04CQE4-ÿ)+4D0F05Iÿ=J:<<:<=>?-
                                   ÿ;K<ÿ            3DEH0ÿ3sÿ,EDu5FCOCNÿUaÿY\_ST`[UVÿUaÿjdk^SZÿR[VioÿdVWÿYSW[p]^
                                    )Jÿ2L1ÿ<ÿ53H1- kUW]T`[UV^ÿVTqÿ)F0NCD05ÿ53H6Q04D)1-J>-ÿsEN05ÿ78ÿ*EHuC0NÿAÿB3DDsFE05
                                                    34ÿ70uCNsÿ3sÿ05E261ÿ~F356HDE341@ÿ4HAAÿ)zDDCHuQ04D1Iÿÿ>ÿP0FDEsEHCD0ÿ3s
  =J:<:<=>?                                        G0FvEH0-)B3DDsFE05@ÿ*EHuC0N-ÿ)+4D0F05Iÿ=J:<:<=>?-
                                   ÿ;Kÿ            3DEH0ÿ3sÿ,EDu5FCOCNÿUaÿRd̀S̀ZSVÿ̀UaÿRS̀eSVÿRUWSk\SkioÿdVWÿUp]c[^`
                                    )Jÿ2L1ÿ<ÿ53H1- [T`]kS^ÿVTqÿ)F0NCD05ÿ53H6Q04D)1-J>=-ÿsEN05ÿ78ÿ*EHuC0NÿAÿB3DDsFE05ÿ34
                                                    70uCNsÿ3sÿ~326NE1Dÿ~EHD6F01@ÿ4HAAÿ)zDDCHuQ04D1Iÿÿ>ÿP0FDEsEHCD0ÿ3sÿG0FvEH0-
  =J:<:<=>?                                        )B3DDsFE05@ÿ*EHuC0N-ÿ)+4D0F05Iÿ=J:<:<=>?-
  =J:<:<=>?                       ÿ;KJÿ            3DEH0ÿ3sÿPuC4L0ÿ3sÿz55F011ÿ3sÿPF05ED3Fÿ^ÿsEN05ÿ78ÿ*EHuC0NÿAÿB3DDsFE05
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                                                           40-5   7ÿ09/30/21
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                                    )*ÿ,-./               01ÿ234567ÿ07ÿ8659:;4<=3ÿ>>?@ÿA3B<,C.ÿDE0BC9=<01.@ÿF19G@ÿD<0133E
                                                           #:2318
                                                          D<9=CE3.@ÿ>>?@ÿD0,C6<.=ÿD<9=CE3.@ÿF19GGÿ)H0==7E<3B@ÿI<94536/ÿ)J1=3E3BK
                                                          LMN*ON*LPQ/
                                   ÿSRTÿ                  U0=<93ÿ07ÿDE3.31=V31=ÿWXÿZ[\]^_`[\Waÿ̀abÿcdbedÿdef`db\afÿ[geÿh\_i
                                    )Qÿ,-./               j^k\l\`akÿh^abmkÿneo^ek[ÿXWdÿp__Wq`aleÿ̀abÿr`siea[ÿWXÿpbi\a\k[d`[\te
                                                          u_`\iÿ)E365=3BÿB09CV31=)./SPv/ÿ7<63Bÿ2wÿx90==ÿyGÿH5C=<3Eÿ01ÿ234567ÿ07
                                                          z365=<{<=wÿ><|C<B5=<1-ÿ}EC.=Gÿ~<=4ÿ,E3.31=V31=ÿ=0ÿ23ÿ436Bÿ01ÿMN*QN*LPQÿ5=
                                                          P*KLLÿDIÿ5=ÿ?0CE=E00VÿRPSÿ)IJ;/ÿA239=<01.ÿBC3ÿ2wÿMN*QN*LPQ@
  LMN*RN*LPQ                                              )H5C=<3E@ÿx90==/ÿ)J1=3E3BKÿLMN*RN*LPQ/
                                   ÿSRRÿ                  I0=<01ÿ=0ÿx40E=31ÿ}<V3ÿq\[gÿdek]el[ÿ[Wÿp]]dWt`_ÿWXÿZ[\]^_`[\Waÿ̀ab
                                    )Qÿ,-./               cdbedÿdef`db\afÿ[geÿh\_iÿj^k\l\`akÿh^abmkÿneo^ek[ÿXWdÿp__Wq`aleÿ̀ab
                                                          r`siea[ÿWXÿpbi\a\k[d`[\teÿu_`\iÿ)E365=3BÿB09CV31=)./SRT/ÿ7<63Bÿ2wÿx90==
                                                          yGÿH5C=<3Eÿ01ÿ234567ÿ07ÿz365=<{<=wÿ><|C<B5=<1-ÿ}EC.=Gÿ)H5C=<3E@ÿx90==/
  LMN*RN*LPQ                                              )J1=3E3BKÿLMN*RN*LPQ/
                                   ÿSRSÿ                  U0=<93ÿ07ÿ?451-3ÿ07ÿBBE3..ÿ07ÿ32=0EÿW[\leÿWXÿug`afeÿWXÿpbbdekkÿXWd
                                    )*ÿ,-./               d^k[eeÿWXÿ[geÿne_`[\t\[sÿ\o^\b`[\afÿd^k[ÿ7<63Bÿ2wÿx90==ÿyGÿH5C=<3Eÿ01
                                                          234567ÿ07ÿz365=<{<=wÿ><|C<B5=<1-ÿ}EC.=Gÿ)H5C=<3E@ÿx90==/ÿ)J1=3E3BK
  LMN*RN*LPQ                                              LMN*RN*LPQ/
                                   ÿSRvÿ                  U0=<93ÿ07ÿDE0,0.3BÿAEB3EÿW[\leÿWXÿrdekea[iea[ÿWXÿcdbedÿd`a[\af
                                    )Rÿ,-./               ne_\eXÿXdWiÿ[geÿp^[Wi`[\lÿZ[`sÿ̀abÿneXedd\afÿj`[[edÿ[Wÿpd\[d`[\Wa
                                                          )E365=3BÿB09CV31=)./TSS/ÿ7<63Bÿ2wÿ5V<BÿzGÿz575=00ÿ01ÿ234567ÿ07ÿ?5E06
  LMN*QN*LPQ                                              H31<.Gÿ)z575=00@ÿ5V<B/ÿ)J1=3E3BKÿLMN*QN*LPQ/
                                   ÿSRQÿ                  ?3E=<7<95=3ÿ07ÿx3E{<93ÿ)E365=3BÿB09CV31=)./SRv/ÿ7<63Bÿ2wÿ5V<BÿzG
                                    )*ÿ,-./               z575=00ÿ01ÿ234567ÿ07ÿ?5E06ÿH31<.Gÿ)z575=00@ÿ5V<B/ÿ)J1=3E3BK
  LMN*QN*LPQ                                              LMN*QN*LPQ/
                                   ÿSSLÿ                  U0=<93ÿ07ÿ?0C1=3EDE0,0.3BÿAEB3EÿW[\leÿWXÿp_[eda`[eÿrdW]Wkebÿcdbed
                                    )vÿ,-./                  d`a[\afÿne_\eXÿXdWiÿZ[`sÿ̀abÿneXedd\afÿj`[[edÿ[Wÿpd\[d`[\Waÿ)E365=3B
                                                          B09CV31=)./SRv/ÿ7<63Bÿ2wÿx90==ÿyGÿH5C=<3Eÿ01ÿ234567ÿ07ÿz365=<{<=w
  LMN*QN*LPQ                                              ><|C<B5=<1-ÿ}EC.=Gÿ)H5C=<3E@ÿx90==/ÿ)J1=3E3BKÿLMN*QN*LPQ/
                                   ÿSSPÿ                 AEB3Eÿ,E<6ÿ*Q@ÿ*LPQÿ.40E=31<1-ÿ=<V3ÿ~<=4ÿE3.,39=ÿ=0ÿ5,,E0{56ÿ07
                                    )*ÿ,-./              .=<,C65=<01ÿ51Bÿ0EB3EÿE3-5EB<1-ÿ=43ÿy<6VÿIC.<9<51.ÿyC1B.ÿE3|C3.=ÿ70E
                                                         5660~5193ÿ51Bÿ,5wV31=ÿ07ÿ5BV<1<.=E5=<{3ÿ965<Vÿ)E365=3BÿB09CV31=)./SRR/G
                                                         x=<,C65=<01ÿ=0ÿ23ÿ,E3.31=3Bÿ70Eÿ.<-15=CE3ÿ01ÿI5wÿ*@ÿ*LPQÿ5=ÿP*KLLÿDIG
  LMN*QN*LPQ                                             )3D<3E065@ÿ59|C36<13/ÿ)J1=3E3BKÿLMN*QN*LPQ/
                                   ÿSS*ÿ                 77<B5{<=ÿ07ÿx3E{<93ÿWXÿ`iekÿj`]]_e[gWd]eÿnef`db\afÿrdW]Wkeb
                                    )Sÿ,-./              Z[\]^_`[\Waÿ̀abÿcdbedÿdef`db\afÿ[geÿh\_iÿj^k\l\`akÿh^abmkÿneo^ek[ÿXWd
                                                         p__Wq`aleÿ̀abÿr`siea[ÿWXÿpbi\a\k[d`[\teÿu_`\iÿ̀abÿne_`[\t\[s
                                                         \o^\b`[\afÿd^k[kÿjW[\WaÿXWdÿ̀aÿcdbedÿZgWd[ea\afÿ\ieÿq\[gÿdek]el[ÿ[W
                                                         p]]dWt`_ÿWXÿZ[\]^_`[\Waÿ̀abÿcdbedÿdef`db\afÿ[geÿh\_iÿj^k\l\`akÿh^abmk
                                                         neo^ek[ÿXWdÿp__Wq`aleÿ̀abÿr`siea[ÿWXÿpbi\a\k[d`[\teÿu_`\iÿ)E365=3B
                                                         B09CV31=)./SRT@ÿSRR/ÿ7<63Bÿ2wÿDE<V3ÿ?63E:ÿ>>?ÿ?65<V.ÿ-31=G)x=3363@
  LTNLPN*LPQ                                             8315V<1/ÿ)J1=3E3BKÿLTNLPN*LPQ/
                                   ÿSSOÿ                 AEB3Eÿ.<-13Bÿ01ÿTNPN*LPQÿ-E51=<1-ÿ,5E=<56ÿE36<37ÿ7E0Vÿ=43ÿ5C=0V5=<9ÿ.=5w
                                    )Sÿ,-./              51BÿE373EE<1-ÿV5==3Eÿ=0ÿ5E2<=E5=<01ÿ70Eÿ6<|C<B5=<01ÿ07ÿ965<V.ÿzJKÿ?5E06
                                                         H31<.)E365=3BÿB09CV31=)./SSL@ÿSRv@ÿTSS/Gÿ)3D<3E065@ÿ59|C36<13/
  LTNLPN*LPQ                                             )J1=3E3BKÿLTNLPN*LPQ/
  LTNL*N*LPQ                       ÿSSMÿ                 77<B5{<=ÿ07ÿx3E{<93ÿcXÿ`iekÿj`]]_e[gWd]eÿnef`db\afÿW[\leÿWXÿug`afe
117 11! "#$55524%5&''2'2'5(5(45                                                            021543
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                                    )*ÿ,-./          01ÿ3445677ÿ105ÿ859:6;5<9=>ÿ??@ÿ)ABCDEBFÿFGHIJBKE)./L*L/ÿMNCBFÿOPÿQANJB
                                                           #:2319
                                                     RCBASTÿUURV)WEBBCBTÿXBKYDJNK/ÿ)ZKEBABF[ÿ\]^\_^_\`a/
                                   ÿLL]ÿ             WGÿbAFBABFÿWEN,ICDENGKÿ.N-KBFÿGKÿ]^_^_\`aÿAB-DAFNK-ÿEcBÿdNCJÿeI.NHNDK.
                                    )*ÿ,-./          dIKFf.ÿABgIB.EÿMGAÿDCCGhDKHBÿDKFÿ,DPJBKEÿGMÿDFJNKN.EADENiBÿHCDNJÿ)ABCDEBF
  \]^\_^_\`a                                         FGHIJBKE)./L*]/Vÿ)jBQNBAGCDTÿkDHgIBCNKB/ÿ)ZKEBABF[ÿ\]^\_^_\`a/
                                   ÿLL*ÿ             lMMNFDiNEÿGMÿWBAiNHBÿ01ÿ3795ÿmnÿ37o5<1ÿp6q<549=qÿr0s9t6ÿ01ÿ3us65=<s6
                                    )aÿ,-./          v50w0764ÿx5465ÿy5<=s9=qÿp6u961ÿ150zÿ{s<|ÿ<=4ÿp616559=qÿ}<ss65ÿs0
                                                     35~9s5<s90=ÿ<=4ÿx5465ÿ{o05s6=9=qÿ;9z6ÿ9soÿp67w6tsÿs0ÿ3ww50:<uÿ01
                                                     {s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿso6ÿ9uzÿ}79t9<=7ÿ=47ÿp667sÿ105
                                                     3uu0<=t6ÿ<=4ÿv<|z6=sÿ01ÿ34z9=97s5<s9:6ÿ@u<9zÿ)ABCDEBFÿFGHIJBKE)./LL`T
  \]^\_^_\`a                                         LL\/ÿMNCBFÿOPÿQANJBÿRCBASTÿUURV)WEBBCBTÿXBKYDJNK/ÿ)ZKEBABF[ÿ\]^\_^_\`a/
                                   ÿLLLÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )_]ÿ,-./         01ÿ{o6ww<54ÿ}uu9=ÿp9tos65ÿÿ<zws0=ÿ??vÿMNCBFÿOPÿWHGEEÿdVÿDIENBAÿGK
                                                     OBcDCMÿGMÿBCDENiNEPÿUNgINFDENK-ÿAI.EVÿhNEcÿ,AB.BKEJBKEÿEGÿOBÿcBCFÿGK
                                                     ]^`*^_\`aÿDEÿ̀_[\\ÿQeÿDEÿRGIAEAGGJÿ*`Lÿ)eZ/ÿbOYBHENGK.ÿFIBÿOP
  \]^\_^_\`a                                         ]^`^_\`aTÿ)DIENBATÿWHGEE/ÿ)ZKEBABF[ÿ\]^\_^_\`a/
                                   ÿLLÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )`ÿ,-./         01ÿ}0s90=ÿv9ts56ÿ=47s5|ÿv6=790=ÿvu<=ÿ<=4ÿ}0s90=ÿv9ts56ÿ=47s5|
                                                     6<usoÿvu<=ÿMNCBFÿOPÿWHGEEÿdVÿDIENBAÿGKÿOBcDCMÿGMÿBCDENiNEPÿUNgINFDENK-
                                                     AI.EVÿhNEcÿ,AB.BKEJBKEÿEGÿOBÿcBCFÿGKÿ]^`L^_\`aÿDEÿ̀_[\\ÿQeÿDE
                                                     RGIAEAGGJÿ*`Lÿ)eZ/ÿbOYBHENGK.ÿFIBÿOPÿ]^`^_\`aTÿ)DIENBATÿWHGEE/
  \]^\^_\`a                                         )ZKEBABF[ÿ\]^\^_\`a/
                                   ÿLLaÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )aÿ,-./         01ÿv504t6559s657ÿy9u4ÿ01ÿ3z659t<ÿv6=790=ÿvu<=ÿ<=4ÿ59s657ÿy9u4
                                                     =47s5|ÿ6<usoÿ=4ÿMNCBFÿOPÿWHGEEÿdVÿDIENBAÿGKÿOBcDCMÿGMÿBCDENiNEP
                                                     UNgINFDENK-ÿAI.EVÿhNEcÿ,AB.BKEJBKEÿEGÿOBÿcBCFÿGKÿ]^`L^_\`aÿDEÿ̀_[\\ÿQe
                                                     DEÿRGIAEAGGJÿ*`Lÿ)eZ/ÿbOYBHENGK.ÿFIBÿOPÿ]^`^_\`aTÿ)DIENBATÿWHGEE/
  \]^\^_\`a                                         )ZKEBABF[ÿ\]^\^_\`a/
                                   ÿL\ÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )aÿ,-./         01ÿ{3y3;p3ÿ6<usoÿvu<=ÿ<=4ÿ{3yv504t657ÿv6=790=ÿvu<=ÿMNCBFÿOP
                                                     WHGEEÿdVÿDIENBAÿGKÿOBcDCMÿGMÿBCDENiNEPÿUNgINFDENK-ÿAI.EVÿhNEc
                                                     ,AB.BKEJBKEÿEGÿOBÿcBCFÿGKÿ]^`L^_\`aÿDEÿ̀_[\\ÿQeÿDEÿRGIAEAGGJÿ*`L
                                                     )eZ/ÿbOYBHENGK.ÿFIBÿOPÿ]^`^_\`aTÿ)DIENBATÿWHGEE/ÿ)ZKEBABF[
  \]^\^_\`a                                         \]^\^_\`a/
                                   ÿL`ÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )*Lÿ,-./         01ÿ59s657ÿy9u4ÿ01ÿ3z659t<ÿ67s>ÿ=tnÿMNCBFÿOPÿWHGEEÿdVÿDIENBAÿGKÿOBcDCM
                                                     GMÿBCDENiNEPÿUNgINFDENK-ÿAI.EVÿhNEcÿ,AB.BKEJBKEÿEGÿOBÿcBCFÿGKÿ]^`L^_\`a
                                                     DEÿ̀_[\\ÿQeÿDEÿRGIAEAGGJÿ*`Lÿ)eZ/ÿbOYBHENGK.ÿFIBÿOPÿ]^`^_\`aT
  \]^\^_\`a                                         )DIENBATÿWHGEE/ÿ)ZKEBABF[ÿ\]^\^_\`a/
                                   ÿL_ÿ             GENHBÿGMÿQAB.BKEJBKEÿ01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿ56q<549=qÿ@65s<9=ÿ@u<9z7
                                    )*ÿ,-.ÿ_ÿFGH./ 01ÿ{t566=ÿ3ts057ÿy9u43z659t<=ÿ6465<s90=ÿ01ÿ;6u6:9790=ÿ<=4ÿp<490
                                                     35s97s7ÿMNCBFÿOPÿWHGEEÿdVÿDIENBAÿGKÿOBcDCMÿGMÿBCDENiNEPÿUNgINFDENK-ÿAI.EV
                                                     hNEcÿ,AB.BKEJBKEÿEGÿOBÿcBCFÿGKÿ]^`L^_\`aÿDEÿ̀_[\\ÿQeÿDEÿRGIAEAGGJÿ*`L
                                                     )eZ/ÿbOYBHENGK.ÿFIBÿOPÿ]^`^_\`aTÿ)lEEDHcJBKE.[ÿÿ̀ÿZcNONE/)DIENBAT
  \]^\^_\`a                                         WHGEE/ÿ)ZKEBABF[ÿ\]^\^_\`a/
  \]^\L^_\`a                       ÿLÿ             lMMNFDiNEÿGMÿWBAiNHBÿ01ÿ{s6wo<=96ÿ054<=ÿp6q<549=qÿr0s9t6ÿ01ÿv5676=sz6=s
                                    )*ÿ,-./          01ÿ{s9wu<s90=ÿ<=4ÿx5465ÿp6q<549=qÿ@65s<9=ÿ@u<9z7ÿ01ÿ{o6ww<54ÿ}uu9=
                                                     p9tos65ÿÿ<zws0=ÿ??vÿ)ABCDEBFÿFGHIJBKE)./LLL/ÿdNCBFÿOPÿlFDJÿeV
117 11! "#$55524%5&''2'2'5(5(45                                                          0'1543
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                                                     )*+,-ÿ/0ÿ1,23+4ÿ/4ÿ5-67,ÿ8+,-9:ÿ;;8<ÿ=)*+,-:ÿ)*37>ÿ=?0@,-,*A
                                                           #:2320
                                                     BCDBEDFBGH>
                                   ÿEIJÿ             )446*3N6@ÿ/4ÿO,-N6P,ÿQRÿTUVQÿWXYZQ[Qÿ\]^XYZ_V^ÿ̀aYQbQ[]Zcÿde_bUfXe_QV
                                    =EÿKLM>          XVZÿgYZ]YÿY]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿiQe_QVÿa_jeUY]ÿkVZU[eYlÿa]V[_QV
                                                     afXVÿXVZÿiQe_QVÿa_jeUY]ÿkVZU[eYlÿm]XfenÿafXVoÿ̀aYQbQ[]Zcÿde_bUfXe_QVÿXVZ
                                                     gYZ]YÿY]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿaYQZUj]YpqY_e]Y[ÿrU_fZÿQRÿsh]Y_jX
                                                     a]V[_QVÿafXVÿXVZÿqY_e]Y[tÿrU_fZpkVZU[eYlÿm]XfenÿuUVZoÿ̀aYQbQ[]Zc
                                                     de_bUfXe_QVÿXVZÿgYZ]YÿY]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿdsrpsuv\sÿm]Xfen
                                                     afXVÿXVZÿdsrpaYQZUj]Y[ÿa]V[_QVÿafXVoÿ̀aYQbQ[]Zcÿde_bUfXe_QVÿXVZÿgYZ]Y
                                                     Y]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿqY_e]Y[ÿrU_fZÿQRÿsh]Y_jXÿq][eoÿkVjwÿXVZ
                                                     `aYQbQ[]Zcÿde_bUfXe_QVÿXVZÿgYZ]YÿY]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿdjY]]V
                                                     sjeQY[ÿrU_fZpsh]Y_jXVÿu]Z]YXe_QVÿQRÿv]f]x_[_QVÿXVZÿ\XZ_QÿsYe_[e[ÿ=-,+3@,*
                                                     */Py7,0@=M>EIG:ÿEIB:ÿEIF:ÿEEI:ÿEEH>ÿz6+,*ÿ1{ÿ)*37ÿ|<ÿ)*+,-ÿ/0ÿ1,23+4
  BCDBIDFBGH                                         /4ÿ5-67,ÿ8+,-9ÿ;;8ÿ8+367Mÿ)L,0@<ÿ=)*+,-:ÿ)*37>ÿ=?0@,-,*AÿBCDBIDFBGH>
                                   ÿEICÿ             }/@6P,ÿ/4ÿ5-,M,0@7,0@ÿQRÿde_bUfXe_QVÿXVZÿgYZ]YÿY]^XYZ_V^ÿW]YeX_VÿWfX_h[
                                    =GEÿKLM>         QRÿ~X[Q_eÿ]V[QVÿvQYY][ÿÿuY_]ZhXVÿaÿ46+,*ÿ1{ÿOP/@@ÿz<ÿ3y@6,-ÿ/0
                                                     1,23+4ÿ/4ÿ,+3@6N6@{ÿ;6y6*3@60Lÿ-yM@<ÿ6@2ÿK-,M,0@7,0@ÿ@/ÿ1,ÿ2,+*ÿ/0
                                                     CDFDFBGHÿ3@ÿGFABBÿ5|ÿ3@ÿ8/y-@-//7ÿGEÿ=|?>ÿ1,P@6/0Mÿ*y,ÿ1{
  BCDBIDFBGH                                         CDFBDFBGH:ÿ=3y@6,-:ÿOP/@@>ÿ=?0@,-,*AÿBCDBIDFBGH>
                                   ÿEIÿ             8,-@646P3@,ÿ/4ÿ}/ÿ1,P@6/0ÿ5y-My30@ÿ@/ÿ; ÿHBECFÿW]Ye_R_jXe]ÿQRÿTQ
                                    =IÿKLM>          g]je_QVÿUVZ]YÿÿwdwWwÿÿÿY]^XYZ_V^ÿu_Y[eÿXVZÿd]jQVZÿghV_U[
                                                     g]je_QV[ÿeQÿW]YeX_VÿWfX_h[ÿ=-,+3@,*ÿ*/Py7,0@=M>ECC:ÿEC>ÿz6+,*ÿ1{ÿOP/@@
                                                     z<ÿ3y@6,-ÿ/0ÿ1,23+4ÿ/4ÿ,+3@6N6@{ÿ;6y6*3@60Lÿ-yM@<ÿ=3y@6,-:ÿOP/@@>
  BCDGBDFBGH                                         =?0@,-,*AÿBCDGBDFBGH>
                                   ÿEIEÿ             }/@6P,ÿ/4ÿ)L,0*3ÿQRÿiXee]Y[ÿdjn]ZUf]ZÿRQYÿm]XY_V^ÿQVÿiXlÿoÿÿXe
                                    =ÿKLM>          ÿXwhwÿ̀vcÿz6+,*ÿ1{ÿOP/@@ÿz<ÿ3y@6,-ÿ/0ÿ1,23+4ÿ/4ÿ,+3@6N6@{
                                                     ;6y6*3@60Lÿ-yM@<ÿ6@2ÿ2,3-60Lÿ@/ÿ1,ÿ2,+*ÿ/0ÿCDGJDFBGHÿ3@ÿGGABBÿ)|ÿ3@
  BCDGBDFBGH                                         8/y-@-//7ÿGEÿ=|?>ÿ=3y@6,-:ÿOP/@@>ÿ=?0@,-,*AÿBCDGBDFBGH>
                                   ÿEIIÿ             )446*3N6@ÿ/4ÿO,-N6P,ÿQRÿr]YnXfZÿ\wÿaX[XXV^_ÿ\]^XYZ_V^ÿW]Ye_R_jXe]ÿQRÿTQ
                                    =IÿKLM>          g]je_QVÿ\]^XYZ_V^ÿu_Y[eÿXVZÿd]jQVZÿghV_U[ÿg]je_QV[ÿeQÿW]YeX_V
                                                     WfX_h[ÿXVZÿTQe_j]ÿQRÿs^]VZXÿQRÿiXee]Y[ÿdjn]ZUf]ZÿRQYÿm]XY_V^ÿQVÿiXl
                                                     oÿÿXeÿÿXwhwÿ̀vcÿ=-,+3@,*ÿ*/Py7,0@=M>EI:ÿEIE>ÿ46+,*ÿ1{ÿ5-67,
  BCDGDFBGH                                         8+,-9:ÿ;;8<=O@,,+,:ÿ,03760>ÿ=?0@,-,*AÿBCDGDFBGH>
                                   ÿEIHÿ             )446*3N6@ÿ/4ÿO,-N6P,ÿQRÿTUVQÿWXYZQ[Qÿ\]^XYZ_V^ÿ̀aYQbQ[]Zcÿde_bUfXe_QV
                                    =ÿKLM>          XVZÿgYZ]Yÿ\]^XYZ_V^ÿW]YeX_VÿWfX_h[ÿQRÿ~X[Q_eÿ]V[QVÿvQYY][ÿ
                                                     uY_]ZhXVÿaÿ=-,+3@,*ÿ*/Py7,0@=M>EIC>ÿz6+,*ÿ1{ÿ)*37ÿ|<ÿ)*+,-ÿ/0
  BCDGDFBGH                                         1,23+4ÿ/4ÿ5-67,ÿ8+,-9:ÿ;;8<ÿ=)*+,-:ÿ)*37>ÿ=?0@,-,*AÿBCDGDFBGH>
                                   ÿEHBÿ             -*,-ÿM6L0,*ÿ/0ÿCDGDFBGHÿL-30@60LÿM,P/0*ÿ/7061yMÿ/1,P@6/0ÿ/4
                                    =FÿKLM>            ,+3@6N6@{ÿ;6y6*3@60Lÿ-yM@ÿ@/ÿP,-@360ÿP+367Mÿ=P+367Mÿ/4ÿ|30P2,M@,-
                                                     O,Py-6@6,Mÿ8/-K<>ÿ=,+3@,*ÿ/PÿÿEC><ÿ=,56,-/+3:ÿ3Py,+60,>ÿ=?0@,-,*A
  BCDGDFBGH                                         BCDGDFBGH>
                                   ÿEHGÿ             -*,-ÿM6L0,*ÿ/0ÿCDGDFBGHÿL-30@60Lÿ46-M@ÿ/7061yMÿ/1,P@6/0ÿ/4ÿ,+3@6N6@{
                                    =FÿKLM>          ;6y6*3@60Lÿ-yM@ÿ@/ÿP,-@360ÿP+367Mÿ=P+367Mÿ/4ÿ¡,3@2,-*,0ÿO,Py-6@6,Mÿ;;8>
  BCDGDFBGH                                         =,+3@,*ÿ/PÿÿECC><ÿ=,56,-/+3:ÿ3Py,+60,>ÿ=?0@,-,*AÿBCDGDFBGH>
                                   ÿEHFÿ             O/ÿ-*,-,*ÿO@6Ky+3@6/0ÿM6L0,*ÿ/0ÿCDGDFBGHÿ-,L3-*60LÿP,-@360ÿP+367Mÿ/4
                                    =FÿKLM¢ÿFÿ*/PM> O2,KK3-*ÿ|y++60ÿ6P2@,-ÿ£ÿ¡37K@/0ÿ;;5ÿ=-,+3@,*ÿ*/Py7,0@=M>EEE><
  BCDGDFBGH                                         =,56,-/+3:ÿ3Py,+60,>ÿ=?0@,-,*AÿBCDGDFBGH>
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                                                           40-5   7ÿ09/30/21
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  *+,-.,/*-.                       ÿ1.2ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿFGVÿWXYÿWZX[ÿGH
                                                           #:2321
                                    32ÿ4567              XZ\ZZÿG]^]ÿ_`ÿ>;a=Aÿbcÿd<9::ÿefÿgBh:;=iÿ9@ÿb=jBa>ÿ9>ÿk=aB:;l;:cÿm;nh;AB:;@5
                                                         oih6:fÿp;:jÿj=Bi;@5ÿ:9ÿb=ÿj=aAÿ9@ÿ+,/-,/*-.ÿB:ÿ-*q**ÿ?rÿB:ÿs9hi:i99t
                                                         u-1ÿ3rvw7ÿ3gBh:;=ixÿd<9::7ÿ3v@:=i=Aqÿ*+,-.,/*-.7
                                   ÿ1.yÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/*,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    3u+ÿ456zÿ/ÿA9<67     wi;:=i6ÿgh;aAÿ9>ÿ?t=i;<Bÿw=6:xÿ|@<fÿ3i=aB:=AÿA9<ht=@:3671}-7fÿ3~=;=i9aBx
  *+,/*,/*-.                                             B<nh=a;@=7ÿ3v@:=i=Aqÿ*+,/*,/*-.7
                                   ÿ1.+ÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/*,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    321ÿ456zÿ/ÿA9<67     d?g?>:iBÿ=Ba:jÿaB@ÿB@Aÿd?gi9Ah<=i6ÿ=@6;9@ÿaB@ÿ3i=aB:=A
  *+,/*,/*-.                                             A9<ht=@:3671}*7fÿ3~=;=i9aBxÿB<nh=a;@=7ÿ3v@:=i=Aqÿ*+,/*,/*-.7
                                   ÿ1.uÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/*,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    3/.ÿ456zÿ/ÿA9<67     t9:;9@ÿ;<:hi=ÿ|@Ah6:icÿ=@6;9@ÿaB@ÿB@Aÿr9:;9@ÿ;<:hi=ÿ|@Ah6:icÿ=Ba:j
                                                         aB@ÿ3i=aB:=AÿA9<ht=@:36711}7fÿ3~=;=i9aBxÿB<nh=a;@=7ÿ3v@:=i=Aq
  *+,/*,/*-.                                             *+,/*,/*-.7
                                   ÿ1.1ÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/*,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    321ÿ456zÿ/ÿA9<67     i9Ah<=iwi;:=i6ÿgh;aAÿ9>ÿ?t=i;<Bÿ=@6;9@ÿaB@ÿB@Aÿwi;:=i6ÿgh;aA
                                                         |@Ah6:icÿ=Ba:jÿeh@Aÿ3i=aB:=AÿA9<ht=@:36711.7fÿ3~=;=i9aBxÿB<nh=a;@=7
  *+,/*,/*-.                                             3v@:=i=Aqÿ*+,/*,/*-.7
                                   ÿ1.}ÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/*,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    321ÿ456zÿ/ÿA9<67     d<i==@ÿ?<:9i6ÿgh;aA?t=i;<B@ÿe=A=iB:;9@ÿ9>ÿo=a=l;6;9@ÿB@AÿkBA;9ÿ?i:;6:6
  *+,/*,/*-.                                             3i=aB:=AÿA9<ht=@:3671}/7fÿ3~=;=i9aBxÿB<nh=a;@=7ÿ3v@:=i=Aqÿ*+,/*,/*-.7
                                   ÿ1..ÿ                 ?>>;ABl;:ÿ9>ÿd=il;<=ÿCDÿG^IKÿFG QIHNCJIÿIUGJOSTUÿCHSMIÿCDÿUITOG
                                    3uÿ4567              CDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿFGVÿWXYÿWZX[ÿGHÿXZ\ZZÿG]^]ÿ_`
                                                         3i=aB:=AÿA9<ht=@:3671.27ÿe;a=Aÿbcÿ?ABtÿrfÿ?Aa=iÿ9@ÿb=jBa>ÿ9>ÿi;t=
  *+,//,/*-.                                             sa=ixÿmmsfÿ3?Aa=ixÿ?ABt7ÿ3v@:=i=Aqÿ*+,//,/*-.7
                                   ÿ}**ÿ                 d9ÿ{iA=i=Aÿd:;4haB:;9@ÿ6;5@=Aÿ9@ÿ+,/2,/*-.ÿi=5BiA;@5ÿ<=i:B;@ÿ<aB;t6ÿ9>
                                    3-uÿ456zÿ/ÿA9<67     B69p;:ÿ=@69@ÿo9ii=6ÿÿei;=AtB@ÿmmÿ3i=aB:=AÿA9<ht=@:3671}+7f
  *+,/2,/*-.                                             3~=;=i9aBxÿB<nh=a;@=7ÿ3v@:=i=Aqÿ*+,/2,/*-.7
                                   ÿ}*-ÿ                 {iA=iÿ6;5@=Aÿ9@ÿ+,/2,/*-.ÿgiB@:;@5ÿoj;iAÿ|@:=i;tÿB@Aÿe;@Baÿ?44a;<B:;9@
                                    3+ÿ4567              9>ÿk9b;@6ÿB4aB@ÿmmÿ>9iÿs9t4=@6B:;9@ÿ>9iÿi9>=66;9@Baÿd=il;<=6
                                                         k=@A=i=AÿB@Aÿk=;tbhi6=t=@:ÿ9>ÿv4=@6=63k=aB:=Aÿ~9<ÿÿ1*u7>9iÿk9b;@6
                                                         B4aB@ÿmmxÿ>==6ÿBpBiA=Aqÿ/++/.ufyyxÿ=4=@6=ÿBpBiA=Aqÿuu1-f.yÿf
  *+,/y,/*-.                                             3k9h=Bhxÿ?@B:;@7ÿ3v@:=i=Aqÿ*+,/y,/*-.7
                                   ÿ}*/ÿ                 oiB@6<i;4:ÿi=5BiA;@5ÿ=Bi;@5ÿ=aAÿ9@ÿ*+,/-,/*-.ÿ-*q-2ÿBtÿkvqÿd:B:h6ÿi=q
                                    3--ÿ4567             k9b;@6ÿB4aB@ÿ>==ÿB44a;<B:;9@fÿk=6=ilB:;9@ÿ9>ÿi;5j:6ÿ>;a=Aÿbcÿ:j=ÿdoff
                                                         k=t9:=ÿ=a=<:i9@;<ÿB<<=66ÿ:9ÿ:j=ÿ:iB@6<i;4:ÿ;6ÿi=6:i;<:=Aÿh@:;aÿ.,2,/*-.fÿoj=
                                                         :iB@6<i;4:ÿtBcÿb=ÿl;=p=AÿB:ÿ:j=ÿB@ih4:<cÿs9hi:ÿsa=i6ÿ{>>;<=f
                                                         oiB@6<i;4:;9@ÿd=il;<=ÿ?5=@<cqÿ=d<i;b=i6xÿmmsffÿ3d==ÿ:j=ÿs9hi:6ÿw=b6;:=
                                                         >9iÿ<9@:B<:ÿ;@>9itB:;9@ÿ>9iÿ:j=ÿoiB@6<i;4:;9@ÿd=il;<=ÿ?5=@<cf7fÿ89:;<=ÿ9>
                                                         |@:=@:ÿ:9ÿk=nh=6:ÿk=AB<:;9@ÿ~=BAa;@=ÿ~h=ÿcÿu,-*,/*-.fÿd:B:=t=@:ÿ9>
                                                         k=AB<:;9@ÿk=nh=6:ÿ~h=ÿcÿu,/y,/*-.fÿk=AB<:=AÿoiB@6<i;4:ÿdhbt;66;9@
                                                         ~h=ÿcÿ1,},/*-.fÿoiB@6<i;4:ÿB<<=66ÿp;aaÿb=ÿi=6:i;<:=Aÿ:ji9h5jÿ.,2,/*-.f
  *u,*2,/*-.                                             3m=p;6xÿo=@;aa=7ÿ3v@:=i=Aqÿ*u,*+,/*-.7
  *u,*1,/*-.                       ÿ}*2ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿPTIÿXXYÿWZX[ÿGH
                                    3yÿ4567              XX\ZZÿG]^]ÿ_`ÿ>;a=Aÿbcÿd<9::ÿefÿgBh:;=iÿ9@ÿb=jBa>ÿ9>ÿk=aB:;l;:c
                                                         m;nh;AB:;@5ÿoih6:fÿp;:jÿj=Bi;@5ÿ:9ÿb=ÿj=aAÿ9@ÿu,--,/*-.ÿB:ÿ--q**ÿ?rÿB:
                                                         s9hi:i99tÿu-1ÿ3rvw7ÿ3gBh:;=ixÿd<9::7ÿ3v@:=i=Aqÿ*u,*1,/*-.7
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                                                           #:2322
                                   ÿ0)1ÿ                 899:;<=:>ÿ?9ÿ@AB=:CAÿDEÿGHIJÿKLÿGHMJNEÿOPQNJRISQÿTDUIVPÿDEÿGQPSRNÿDE
                                    23ÿ4567              WNUUPJHÿXVMPRYZPRÿEDJÿ[PNJISQÿDSÿ\YSPÿ]]^ÿ_`]aÿNUÿ]]b``ÿNLcLÿdefg
                                                         2BAh<>A;ÿ;?CijAk>2670)l7ÿm:hA;ÿnoÿ8;<jÿpqÿ8;hABÿ?kÿnAr<h9ÿ?9ÿsB:jA
  )*+,)+-),.                                             thABuÿvvtqÿ28;hABwÿ8;<j7ÿ2xk>ABA;yÿ)*+,)+-),.7
                                   ÿ0)zÿ                 {?>:CAÿ?9ÿ85Ak;<ÿDEÿWNUUPJHÿXVMPRYZPRÿEDJÿ[PNJISQÿDSÿ\YSPÿ]|^ÿ_`]aÿNU
                                    2-ÿ4567              ]]b``ÿNLcLÿdefgÿ9:hA;ÿnoÿ@C?>>ÿmqÿ}<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>o
                                                         v:i:;<>:k5ÿBi6>qÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;ÿ?kÿ*+,0+-),.ÿ<>ÿ,,y))ÿ8pÿ<>
  )*+,1+-),.                                             t?iB>B??jÿ*,3ÿ2px7ÿ2}<i>:ABwÿ@C?>>7ÿ2xk>ABA;yÿ)*+,1+-),.7
                                   ÿ0)*ÿ                 {?>:CAÿ?9ÿ8;?iBkjAk>ÿ?9ÿA<B:k5ÿTDUIVPÿDEÿGRDYJScPSUÿDEÿWNUUPJH
                                    21ÿ4567              XVMPRYZPRÿEDJÿ[PNJISQÿDSÿ\YZÿa^ÿ_`]aÿNUÿ]]b``ÿNLcLÿdefgÿ9:hA;ÿnoÿ@C?>>ÿmq
                                                         }<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>qÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;
                                                         ?kÿ3+.+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ2}<i>:ABwÿ@C?>>7
  )*+,1+-),.                                             2xk>ABA;yÿ)*+,1+-),.7
                                   ÿ0)3ÿ                 899:;<=:>ÿ?9ÿ@AB=:CAÿEÿ\NcPHÿWNZPUMDJPÿOPQNJRISQÿTDUIVPÿDEÿGQPSRN
                                    23ÿ4567              DEÿWNUUPJHÿXVMPRYZPÿEDJÿ[PNJISQÿDSÿ\YSPÿ]|^ÿ_`]aÿNUÿ]]b``ÿNLcLÿdefgÿNSR
                                                         TDUIVPÿDEÿGRDYJScPSUÿDEÿWNUUPJHÿXVMPRYZPRÿEDJÿ[PNJISQÿDSÿ\YZÿa^ÿ_`]a
                                                         NUÿ]]b``ÿNLcLÿdefgÿ2BAh<>A;ÿ;?CijAk>2670)zwÿ0)*7ÿ9:hA;ÿnoÿsB:jAÿthABu
  )*+,.+-),.                                             vvtq2@>AAhAwÿAk<j:k7ÿ2xk>ABA;yÿ)*+,.+-),.7
                                   ÿ0)0ÿ                 844h:C<>:?kÿ9?Bÿm~sÿ-))1ÿx<j:k<>:?kÿWDUIDSÿDEÿOPZNUIIUÿIYIRNUISQ
                                    21zÿ4567             fJYHUÿEDJÿNSÿJRPJÿGYUMDJIISQÿUMPÿeNcISNUIDSÿDEÿONSÿNNSNYQMÿNSR
                                                         JDRYVUIDSÿDEÿDVYcPSUHÿYJHYNSUÿUDÿNSJYUVÿOYZPÿ_``ÿ9:hA;ÿnoÿ@C?>>
                                                         mqÿ}<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>ÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;
                                                         ?kÿ3+,*+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ~A64?k6A6ÿ;iAÿno
  )*+-z+-),.                                             3+.+-),.wqÿ2}<i>:ABwÿ@C?>>7ÿ2xk>ABA;yÿ)*+-z+-),.7
                                   ÿ0).ÿ                 844h:C<>:?kÿ9?Bÿm~sÿ-))1ÿx<j:k<>:?kÿWDUIDSÿDEÿOPZNUIIUÿIYIRNUISQ
                                    21zÿ4567             fJYHUÿEDJÿNSÿJRPJÿGYUMDJIISQÿUMPÿeNcISNUIDSÿDEÿPSSPUMÿSVMÿNSR
                                                         JDRYVUIDSÿDEÿDVYcPSUHÿYJHYNSUÿUDÿNSJYUVÿOYZPÿ_``ÿ9:hA;ÿnoÿ@C?>>
                                                         mqÿ}<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>ÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;
                                                         ?kÿ3+,*+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ~A64?k6A6ÿ;iAÿno
  )*+-z+-),.                                             3+.+-),.wqÿ2}<i>:ABwÿ@C?>>7ÿ2xk>ABA;yÿ)*+-z+-),.7
                                   ÿ0,)ÿ                 844h:C<>:?kÿ9?Bÿm~sÿ-))1ÿx<j:k<>:?kÿWDUIDSÿDEÿOPZNUIIUÿIYIRNUISQ
                                    211ÿ4567             fJYHUÿEDJÿNSÿJRPJÿGYUMDJIISQÿUMPÿeNcISNUIDSÿDEÿPSSPUMÿ[NZHNSRÿNSR
                                                         JDRYVUIDSÿDEÿDVYcPSUHÿYJHYNSUÿUDÿNSJYUVÿOYZPÿ_``ÿ9:hA;ÿnoÿ@C?>>
                                                         mqÿ}<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>ÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;
                                                         ?kÿ3+,*+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ~A64?k6A6ÿ;iAÿno
  )*+-z+-),.                                             3+.+-),.wqÿ2}<i>:ABwÿ@C?>>7ÿ2xk>ABA;yÿ)*+-z+-),.7
                                   ÿ0,,ÿ                 844h:C<>:?kÿ9?Bÿm~sÿ-))1ÿx<j:k<>:?kÿWDUIDSÿDEÿOPZNUIIUÿIYIRNUISQ
                                    211ÿ4567             fJYHUÿEDJÿNSÿJRPJÿGYUMDJIISQÿUMPÿeNcISNUIDSÿDEÿNJDZÿPSIHÿNSR
                                                         JDRYVUIDSÿDEÿDVYcPSUHÿYJHYNSUÿUDÿNSJYUVÿOYZPÿ_``ÿ9:hA;ÿnoÿ@C?>>
                                                         mqÿ}<i>:ABÿ?kÿnAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>ÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;
                                                         ?kÿ3+,*+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ~A64?k6A6ÿ;iAÿno
  )*+-z+-),.                                             3+.+-),.wqÿ2}<i>:ABwÿ@C?>>7ÿ2xk>ABA;yÿ)*+-z+-),.7
  )*+-z+-),.                       ÿ0,-ÿ                 ACh<B<>:?kÿDEÿNIRÿWNVÿISÿXYDJUÿDEÿUMPÿWDUIDSHÿDEÿOPZNUIIU
                                    21ÿ4567              IYIRNUISQÿfJYHUÿEDJÿJRPJÿGYUMDJIISQÿUMPÿeNcISNUIDSÿDEÿPJUNIS
                                                         SRIIRYNZHÿNSRÿJDRYVUIDSÿDEÿDVYcPSUHÿYJHYNSUÿUDÿNSJYUVÿOYZP
                                                         _``ÿ2BAh<>A;ÿ;?CijAk>2670,)wÿ0).wÿ0,,wÿ0)07ÿ9:hA;ÿnoÿ@C?>>ÿmqÿ}<i>:ABÿ?k
                                                         nAr<h9ÿ?9ÿ~Ah<>:=:>oÿv:i:;<>:k5ÿBi6>qÿ:>rÿrA<B:k5ÿ>?ÿnAÿrAh;ÿ?k
                                                         3+,*+-),.ÿ<>ÿ,,y))ÿ8pÿ<>ÿt?iB>B??jÿ*,3ÿ2px7ÿ2}<i>:ABwÿ@C?>>7
                                                         2xk>ABA;yÿ)*+-z+-),.7
117 11! "#$55524%5&''2'2'5(5(45                                                              0&1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 443 of 494 Page ID
                                                           #:2323
                                   ÿ-.1ÿ            7889:;<9=ÿ>8ÿ?@A<9B@ÿCDÿFGHIIJÿKLGJMGNOPIÿQINGRHPONÿSCTPCOÿCD
                                    2/ÿ3456         QIUGTPVPTWÿXPYZPHGTPONÿ[RZ\TÿDCRÿGOÿ]RHIRÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCD
                                                    QWGOÿFGVGOGZNLÿGOHÿbRCHZcTPCOÿCDÿdCcZJIOT\eÿSCTPCOÿCDÿQIUGTPVPTW
                                                    XPYZPHGTPONÿ[RZ\TÿDCRÿGOÿ]RHIRÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCDÿFIOOITL
                                                    XWOcLÿGOHÿbRCHZcTPCOÿCDÿdCcZJIOT\eÿSCTPCOÿCDÿQIUGTPVPTWÿXPYZPHGTPON
                                                    [RZ\TÿDCRÿGOÿ]RHIRÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCDÿFIOOITLÿfGU\gGOHÿGOH
                                                    bRCHZcTPCOÿCDÿdCcZJIOT\eÿSCTPCOÿCDÿQIUGTPVPTWÿXPYZPHGTPONÿ[RZ\TÿDCRÿGO
                                                    ]RHIRÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCDÿKGRCUÿhIOP\ÿGOHÿbRCHZcTPCOÿCD
                                                    dCcZJIOT\ÿGOHÿdIcUGRGTPCOÿCDÿdGVPHÿSGciÿPOÿjZMMCRTÿCDÿTLIÿSCTPCO\ÿCD
                                                    QIUGTPVPTWÿXPYZPHGTPONÿ[RZ\TÿDCRÿ]RHIR\ÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCD
                                                    KIRTGPOÿkOHPVPHZGU\ÿGOHÿbRCHZcTPCOÿCDÿdCcZJIOT\ÿ2A@l;=@:
                                                    :>Bmn@o=256-.)pÿ-)/pÿ-..pÿ-)-pÿ-.,6ÿ89l@:ÿqrÿsA9n@ÿtl@Auÿvvtw2?=@@l@p
  )*+,-+,)./                                        x@oy;n9o6ÿ2zo=@A@:{ÿ)*+,-+,)./6
                                   ÿ-.}ÿ            ~qy@B=9>oÿ=>ÿ>=9>oÿDCRÿ]RHIRÿ^ZTLCRP_PONÿQZUIÿÿ̀aGJPOGTPCO
                                    2.1ÿ3456        2A@l;=@:ÿ:>Bmn@o=256-)-6ÿ89l@:ÿqrÿs;=A9Buÿt>ll9o5ÿ>oÿq@;l8ÿ>8ÿr;o
  )|+)/+,)./                                          ;<;o;m4wÿ2t>ll9o5pÿs;=A9Bu6ÿ2zo=@A@:{ÿ)|+)/+,)./6
                                   ÿ-.ÿ            @53>o5@ÿ=>ÿ>=9>oÿQI\MCO\IÿGOHÿXPJPTIHÿ]gIcTPCOÿCDÿFIOOITL
                                    2*ÿ345ÿ,ÿ:>B56 fGU\gGOHÿTCÿSCTPCOÿCDÿQIUGTPVPTWÿXPYZPHGTPONÿ[RZ\TÿDCRÿGOÿ]RHIR
                                                    ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCDÿFIOOITLÿfGU\gGOHÿGOHÿbRCHZcTPCOÿCD
                                                    dCcZJIOT\ÿbZR\ZGOTÿTCÿGOiRZMTcWÿQZUIÿÿ2A@l;=@:ÿ:>Bmn@o=256-.)6
                                                    89l@:ÿqrÿ9B=>Aÿ7wÿ?;oÿ>oÿq@;l8ÿ>8ÿ@oo@=ÿ;l5q;o:wÿ27==;Bn@o=5{ÿÿ.
  )|+)/+,)./                                        t@A=989B;=@ÿ>8ÿ?@A<9B@6ÿ2?;opÿ9B=>A6ÿ2zo=@A@:{ÿ)|+)/+,)./6
                                   ÿ-.*ÿ            733l9B;=9>oÿ8>AÿsA>ÿ;Bÿ9B@ÿ7:n9559>oÿ89l@:ÿqrÿ9B=>Aÿ7wÿ?;oÿ>oÿq@;l8
                                    2,ÿ345ÿ,ÿ:>B56 >8ÿ@oo@=ÿ;l5q;o:wÿ27==;Bn@o=5{ÿÿ.ÿsA>3>5@:ÿ~A:@A6ÿ2?;opÿ9B=>A6
  )|+)/+,)./                                        2zo=@A@:{ÿ)|+)/+,)./6
                                   ÿÿ               @B@93=ÿ>8ÿ733l9B;=9>oÿ8>AÿsA>ÿ;Bÿ9B@ÿ7:n9559>o2ÿ.-..1-n@6
                                                    n>=9>op.,,ÿ2ÿ,))w))6ÿ9l9o4ÿ@@wÿ@B@93=ÿomnq@Aÿ7.11)}-wÿ@@
  )|+)/+,)./                                        ;n>mo=ÿ,))w))wÿ2@{ÿ>Bÿÿ-.*6ÿ2w?wÿA@;5mAr6ÿ2zo=@A@:{ÿ)|+)/+,)./6
                                   ÿ-.|ÿ            ~A:@Aÿ594o@:ÿ>oÿ|+.)+,)./ÿ;:n9==9o4ÿ9B=>Aÿ;wÿ?;opÿz5wÿ=>ÿ3A;B=9B@ÿ3A>
                                    2.ÿ346          ;Bÿ<9B@ÿ9oÿ=95ÿt>mA=ÿ2@l;=@:ÿ>Bÿÿ-.*6wÿ2@s9@A>l;pÿ;Bm@l9o@6
  )|+.)+,)./                                        2zo=@A@:{ÿ)|+.)+,)./6
                                   ÿ-.-ÿ            >=9B@ÿ>8ÿ74@o:;ÿCTPcIÿCDÿKCOTPOZIHÿfIGRPONÿGOHÿ^NIOHGÿCDÿSGTTIR\
                                    2ÿ3456         jcLIHZUIHÿDCRÿfIGRPONÿCOÿZUWÿeÿÿGTÿÿGJÿ`[¡ÿ2A@l;=@:
                                                    :>Bmn@o=256-.)pÿ-)/pÿ-..pÿ-)-pÿ|.*6ÿ9l@:ÿqrÿ?B>==ÿwÿ¢;m=9@Aÿ>oÿq@;l8ÿ>8
                                                    @l;=9<9=rÿv9m9:;=9o4ÿAm5=wÿ9=ÿ@;A9o4ÿ=>ÿq@ÿ@l:ÿ>oÿ|+.*+,)./ÿ;=ÿ..{))
  )|+.,+,)./                                        7ÿ;=ÿt>mA=A>>nÿ*.|ÿ2z£6ÿ2¢;m=9@Apÿ?B>==6ÿ2zo=@A@:{ÿ)|+.,+,)./6
                                   ÿ-./ÿ            t@A=989B;=@ÿ>8ÿ>ÿ~qy@B=9>oÿsmA5m;o=ÿ=>ÿvÿ/)|,ÿRINGRHPONÿSCTPCOÿCD
                                    2*ÿ3456         QIUGTPVPTWÿXPYZPHGTPONÿ[RZ\TÿDCRÿGOÿ]RHIRÿ^ZTLCRP_PONÿTLIÿ̀aGJPOGTPCOÿCD
                                                    FIOOITLÿXWOcLÿGOHÿbRCHZcTPCOÿCDÿdCcZJIOT\ÿMZR\ZGOTÿTCÿGOiRZMTcW
                                                    QZUIÿÿ2A@l;=@:ÿ:>Bmn@o=256-)/6ÿ9l@:ÿqrÿ?B>==ÿwÿ¢;m=9@Aÿ>oÿq@;l8ÿ>8
  )|+.+,)./                                        @l;=9<9=rÿv9m9:;=9o4ÿAm5=wÿ2¢;m=9@Apÿ?B>==6ÿ2zo=@A@:{ÿ)|+.+,)./6
                                   ÿ-,)ÿ            ~A:@Aÿ594o@:ÿ>oÿ|+.*+,)./ÿ4A;o=9o4ÿn>=9>oÿ>8ÿ@l;=9<9=rÿv9m9:;=9o4ÿAm5=
                                    2,ÿ3456         ;m=>A9¤9o4ÿ=@ÿ@¥;n9o;=9>oÿ>8ÿ@oo@=ÿvroBÿ;o:ÿ3A>:mB=9>oÿ>8
                                                    :>Bmn@o=5ÿmo:@AÿAml@ÿ,))}ÿ2@l;=@:ÿ>Bÿÿ-)/6wÿ2@s9@A>l;pÿ;Bm@l9o@6
  )|+.*+,)./                                        2zo=@A@:{ÿ)|+.*+,)./6
  )|+.*+,)./                       ÿ-,.ÿ            >9o=ÿ~A:@Aÿ594o@:ÿ>oÿ|+.*+,)./ÿ4A;o=9o4ÿ9oÿ3;A=ÿn>=9>oÿ>8ÿ@l;=9<9=r
                                    21ÿ3456         v9m9:;=9o4ÿAm5=ÿ;m=>A9¤9o4ÿ=@ÿ@¥;n9o;=9>oÿ>8ÿ@oo@=ÿ;l5q;o:ÿ;o:
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                                                    *+,-./01,2ÿ,4ÿ-,/.56207ÿ.2-6+ÿ+.86ÿ9::;ÿ<=68>06-ÿ?,/ÿ@ÿAB:CD
                                                           #:2324
                                                    <?6E16+,8>FÿG>/H.68126Cÿ<I206+6-Jÿ:KLBML9:BNC
                                   ÿA99ÿ            Q,01,2ÿ0,ÿIR062-ÿS156ÿTUVWUXÿUZÿ[\]^VW_WV̀ÿaWbcWd^VWXeÿfgchVÿVUÿijV\Xd
                                    <BOÿ*P7C        Vk\ÿl\^d]WX\ÿVUÿmno\pVÿVUÿq]^Wrhÿ4186-ÿstÿu/,00ÿvDÿw>.016+ÿ,2ÿs6x>84ÿ,4
                                                    =68>01y10tÿz1H.1->012PÿS+.70ÿ{10xÿx6>+12Pÿ0,ÿs6ÿx68-ÿ,2ÿKL|:L9:BNÿ>0ÿBBJ::
                                                    }Qÿ>0ÿ~,.+0+,,5ÿMBKÿ<QICÿ=67*,2767ÿ-.6ÿstÿKL9|L9:BNFDÿ<w>.016+F
  :KLBML9:BN                                        u/,00Cÿ<I206+6-Jÿ:KLBML9:BNC
                                   ÿA9|ÿ            ?6/8>+>01,2ÿUZÿl^_WdÿT^pÿWXÿcUgVÿUZÿVk\ÿTUVWUXÿUZÿ[\]^VW_WV̀
                                    <|ÿ*P7C         aWbcWd^VWXeÿfgchVÿVUÿijV\XdÿVk\ÿl\^d]WX\ÿVUÿmno\pVÿVUÿq]^Wrhÿ<+68>06-
                                                    -,/.5620<7CA99Cÿ4186-ÿstÿu/,00ÿvDÿw>.016+ÿ,2ÿs6x>84ÿ,4ÿ=68>01y10t
                                                    z1H.1->012PÿS+.70Dÿ{10xÿx6>+12Pÿ0,ÿs6ÿx68-ÿ,2ÿKL|:L9:BNÿ>0ÿBBJ::ÿ}Qÿ>0
  :KLBML9:BN                                        ~,.+0+,,5ÿMBKÿ<QICÿ<w>.016+Fÿu/,00Cÿ<I206+6-Jÿ:KLBML9:BNC
                                   ÿA9;ÿ            }441->y10ÿ,4ÿu6+y1/6ÿUZÿ^r\hÿT^]\VkUg\ÿ[\e^gdWXeÿUVWp\ÿUZ
                                    <Mÿ*P7C         qUXVWXc\dÿ\^gWXeÿ^Xdÿe\Xd^ÿUZÿT^VV\ghÿpk\dc]\dÿZUgÿ\^gWXeÿUXÿc]`
                                                    ÿÿ^Vÿÿ^rÿifÿ<+68>06-ÿ-,/.5620<7CABACÿv186-ÿstÿ}->5ÿQD
                                                    }-86+ÿ,2ÿs6x>84ÿ,4ÿE+156ÿ~86+ÿzz~Dÿ<}-86+Fÿ}->5Cÿ<I206+6-J
  :KLBKL9:BN                                        :KLBKL9:BNC
                                   ÿA9Oÿ            ~6+0141/>06ÿ,4ÿu6+y1/6ÿ<+68>06-ÿ-,/.5620<7CAB;Cÿv186-ÿstÿE>0+1/ÿ~,88127ÿ,2
  :KLBKL9:BN                        <Mÿ*P7C         s6x>84ÿ,4ÿ=t>2ÿ>y>2>.PxDÿ<~,88127FÿE>0+1/Cÿ<I206+6-Jÿ:KLBKL9:BNC
                                   ÿA9Mÿ            }**81/>01,2ÿ4,+ÿE+,ÿ>/ÿ1/6ÿ}-51771,2ÿ4186-ÿstÿv>+x>-ÿ,y1>2ÿ,2ÿs6x>84
                                    <9ÿ*P7ÿ9ÿ-,/7C ,4ÿ=t>2ÿ>y>2>.PxDÿ<}00>/x56207Jÿ@ÿBÿE+,*,76-ÿ+-6+Cÿ<,y1>2Fÿv>+x>-C
  :KLBNL9:BN                                        <I206+6-Jÿ:KLBNL9:BNC
                                   ÿÿ               =6/61*0ÿ,4ÿ}**81/>01,2ÿ4,+ÿE+,ÿ>/ÿ1/6ÿ}-51771,2<ÿBABB|OA56{C
                                                    5,01,2FB99ÿ<ÿ9::D::Cÿv1812Pÿv66Dÿ=6/61*0ÿ2.5s6+ÿ}B||9|A|9Dÿv66
  :KLBNL9:BN                                        >5,.20ÿ9::D::Dÿ<=6Jÿ?,/ÿ@ÿA9MCÿ<DuDÿS+6>7.+tCÿ<I206+6-Jÿ:KLBNL9:BNC
                                   ÿA9Kÿ            }**81/>01,2ÿ4,+ÿE+,ÿ>/ÿ1/6ÿ}-51771,2ÿ4186-ÿstÿ1/,8>7ÿ}2{>2-06+ÿ,2
                                    <9ÿ*P7ÿ9ÿ-,/7C s6x>84ÿ,4ÿ=t>2ÿ>y>2>.PxDÿ<}00>/x56207Jÿ@ÿBÿE+,*,76-ÿ+-6+C
  :KLBNL9:BN                                        <}2{>2-06+Fÿ1/,8>7Cÿ<I206+6-Jÿ:KLBNL9:BNC
                                   ÿA9Aÿ            }441->y10ÿ,4ÿu6+y1/6ÿUZÿ^r\hÿT^]\VkUg\ÿ[\e^gdWXeÿqmÿg\e^gdWXe
                                    <Kÿ*P7C         ij^rWX^VWUXÿUZÿ\XX\Vkÿa`Xpkÿmgd\gÿcVkUgWWXeÿij^rWX^VWUXÿUZ
                                                    \XX\Vkÿa`Xpkÿmgd\gÿcVkUgWWXeÿij^rWX^VWUXÿUZÿ\XX\Vkÿ^]hn^Xd
                                                    TUVWUXÿVUÿijV\Xdÿmno\pVWUXÿl\^d]WX\ÿ^Xdÿl\p]^g^VWUXÿWXÿcUgVÿUZÿVk\
                                                    TUVWUXÿVUÿijV\Xdÿmno\pVWUXÿl\^d]WX\ÿ<+68>06-ÿ-,/.5620<7CABNFÿA9:FÿA9|F
                                                    A99FÿA9BCÿ4186-ÿstÿE+156ÿ~86+ÿzz~D<u06686Fÿ62>512Cÿ<I206+6-J
  :KLBNL9:BN                                        :KLBNL9:BNC
                                   ÿA9Nÿ            +-6+ÿ71P26-ÿ,2ÿKL99L9:BNÿ>-510012Pÿv>+x>-ÿ,y1>2FÿI7HDÿ0,ÿ*+>/01/6ÿ*+,
                                    <Bÿ*PC          x>/ÿy1/6ÿ12ÿ0x17ÿ~,.+0ÿ<=68>06-ÿ?,/ÿ@ÿA9MCDÿ<?6E16+,8>FÿG>/H.68126C
  :KL99L9:BN                                        <I206+6-Jÿ:KL99L9:BNC
                                   ÿA|:ÿ            +-6+ÿ71P26-ÿ,2ÿKL99L9:BNÿ>-510012PÿGDÿ1/,8>7ÿ}2{>2-06+FÿI7HDÿ0,
                                    <Bÿ*PC          *+>/01/6ÿ*+,ÿx>/ÿy1/6ÿ12ÿ0x17ÿ~,.+0ÿ<=68>06-ÿ?,/ÿ@ÿA9KCDÿ<?6E16+,8>F
  :KL99L9:BN                                        G>/H.68126Cÿ<I206+6-Jÿ:KL99L9:BNC
                                   ÿA|Bÿ            E,70~,241+5>01,2ÿ=6*,+0Dÿ[\]^VW_WV̀ÿaWbcWd^VWXeÿfgchVhÿ¡UhV
                                    <;ÿ*P7C         qUXZWgr^VWUXÿ¢c^gV\g]`ÿm\g^VWXeÿ[\UgVÿZUgÿVk\ÿ¡\gWUdÿZgUrÿgW]ÿ
                                                    ÿVUÿcX\ÿ£ÿÿv186-ÿstÿu/,00ÿvDÿw>.016+ÿ,2ÿs6x>84ÿ,4ÿ=68>01y10t
  :KL9;L9:BN                                        z1H.1->012PÿS+.70Dÿ<w>.016+Fÿu/,00Cÿ<I206+6-Jÿ:KL9;L9:BNC
117 11! "#$55524%5&''2'2'5(5(45                                                        0)1543
012312425Case 2:21-cv-04913-VAP-AS                Document678ÿ ÿFiled
                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 445 of 494 Page ID
  )*+,-+,)./                       ÿ12,ÿ                 89:;<=<>?;9ÿ@=ÿA@ÿBCD9>;<@EÿFG:6G?E;ÿ;@ÿHIÿ/)*-J,ÿKLMNKOPQMÿSTUPTQÿTV
                                                           #:2325
                                    3-ÿ4567              WLXNUPYPUZÿ[P\]PONUPQMÿ^K]_UÿUTÿ̀aULQOÿUbLÿcLNOXPQLÿUTÿdefLgUÿUTÿhXNPi_
                                                         3:9j?;9kÿk@>Gl9E;3671,,7ÿm<j9kÿCnÿo>@;;ÿmpÿq?G;<9:ÿ@EÿC9r?j=ÿ@=ÿI9j?;<s<;n
                                                         H<tG<k?;<E5ÿu:G6;pÿ3q?G;<9:vÿo>@;;7ÿ3wE;9:9kxÿ)*+,-+,)./7
                                   ÿ122ÿ                 B:k9:ÿ6<5E9kÿ@Eÿ*+,y+,)./ÿq:?E;<E5ÿz@;<@Eÿ@=ÿI9j?;<s<;nÿH<tG<k?;<E5
                                    3,ÿ4567              u:G6;ÿ;@ÿw{;9Ekÿ;r9ÿ|9?kj<E9ÿ;@ÿBCD9>;ÿ;@ÿ8j?<l6ÿ3I9j?;9kÿ|@>ÿ}ÿ1,,7p
                                                         ur9ÿ8j?<l6ÿBCD9>;<@Eÿ|9?kj<E9ÿ<6ÿ9{;9Ek9kÿ.1)ÿk?n6vÿ=:@lÿ~Gjnÿ2)vÿ,)./
                                                         ;@ÿ?Ekÿ<E>jGk<E5ÿ~?EG?:nÿ,yvÿ,),)pÿ3q@l9vÿ~966<>?7ÿ3wE;9:9kx
  )*+,y+,)./                                             )*+,y+,)./7
                                   ÿ12ÿ                 A@;<>9ÿ@=ÿ59Ek?ÿTVÿSNUULK_ÿgbLO]XLOÿVTKÿLNKPQMÿTQÿ]XZÿÿÿNU
                                    3,ÿ4567              ÿNiÿ`^ÿ3:9j?;9kÿk@>Gl9E;3671,,7ÿ=<j9kÿCnÿo>@;;ÿmpÿq?G;<9:ÿ@E
                                                         C9r?j=ÿ@=ÿI9j?;<s<;nÿH<tG<k?;<E5ÿu:G6;pÿ<;rÿr9?:<E5ÿ;@ÿC9ÿr9jkÿ@E
                                                         *+2)+,)./ÿ?;ÿ..x))ÿzÿ?;ÿ8@G:;:@@lÿy.*ÿ3zw7ÿ3q?G;<9:vÿo>@;;7
  )*+,y+,)./                                             3wE;9:9kxÿ)*+,y+,)./7
                                   ÿÿ                    I9>9<4;ÿ@=ÿ44j<>?;<@Eÿ=@:ÿF:@ÿ?>ÿ<>9ÿkl<66<@E3ÿ.1J..2-1Jl97
                                                         l@;<@Ev.,,ÿ3ÿ,))p))7ÿm<j<E5ÿm99pÿI9>9<4;ÿEGlC9:ÿ,)y)pÿm99ÿ?l@GE;
  )*+,y+,)./                                             ,))p))pÿ3I9xÿ|@>ÿ}ÿ1,*7ÿ3H9<67ÿ3wE;9:9kxÿ)*+,y+,)./7
                                   ÿ12-ÿ                 ==<k?s<;ÿ@=ÿo9:s<>9ÿTVÿ]QTÿhNKOT_TÿWLMNKOPQMÿWLXNUPYPUZÿ[P\]PONUPQM
                                    3yÿ4567              ^K]_U_ÿT_UÿhTQVPKiNUPTQÿ]NKULKXZÿdLKNUPQMÿWLTKUÿVTKÿUbLÿLKPTOÿVKTi
                                                         KPXÿÿÿUTÿ]QLÿÿÿ3:9j?;9kÿk@>Gl9E;36712.7ÿ=<j9kÿCnÿF:<l9
  )*+,/+,)./                                             8j9:ÿHH8p3o;99j9vÿ9ED?l<E7ÿ3wE;9:9kxÿ)*+,/+,)./7
                                   ÿ12yÿ                 ==<k?s<;ÿ@=ÿo9:s<>9ÿTVÿ]QTÿhNKOT_TÿWLMNKOPQMÿTUPgLÿTVÿMLQONÿTV
                                    3yÿ4567              SNUULK_ÿgbLO]XLOÿVTKÿLNKPQMÿTQÿ]XZÿÿÿNUÿÿNiÿ`^
                                                         3:9j?;9kÿk@>Gl9E;367127ÿ=<j9kÿCnÿF:<l9ÿ8j9:ÿHH8p3o;99j9vÿ9ED?l<E7
  )*+,/+,)./                                             3wE;9:9kxÿ)*+,/+,)./7
                                   ÿ12*ÿ                 ==<k?s<;ÿ@=ÿo9:s<>9ÿTVÿ]QTÿhNKOT_TÿWLMNKOPQMÿhLKUPVPgNULÿTVÿT
                                    3yÿ4567              defLgUPTQÿSTUPTQÿTVÿWLXNUPYPUZÿ[P\]PONUPQMÿ^K]_UÿUTÿ̀aULQOÿUbLÿcLNOXPQLÿUT
                                                         defLgUÿUTÿhXNPi_ÿ3:9j?;9kÿk@>Gl9E;36712,7ÿ=<j9kÿCnÿF:<l9ÿ8j9:ÿHH8p
  )*+,/+,)./                                             3o;99j9vÿ9ED?l<E7ÿ3wE;9:9kxÿ)*+,/+,)./7
                                   ÿ121ÿ                 A@;<>9ÿ@=ÿ59Ek?ÿTVÿSNUULK_ÿgbLO]XLOÿVTKÿLNKPQMÿTQÿ]M]_UÿÿÿNU
                                    3ÿ4567              ÿNiÿ`^ÿ=<j9kÿCnÿo>@;;ÿmpÿq?G;<9:ÿ@EÿC9r?j=ÿ@=ÿI9j?;<s<;n
                                                         H<tG<k?;<E5ÿu:G6;pÿ<;rÿr9?:<E5ÿ;@ÿC9ÿr9jkÿ@Eÿ1+.2+,)./ÿ?;ÿ..x))ÿzÿ?;
  )1+)/+,)./                                             8@G:;:@@lÿy.*ÿ3zw7ÿ3q?G;<9:vÿo>@;;7ÿ3wE;9:9kxÿ)1+)/+,)./7
                                   ÿ12/ÿ                 ==<k?s<;ÿ@=ÿo9:s<>9ÿTVÿ]QTÿhNKOT_TÿWLMNKOPQMÿTUPgLÿTVÿMLQONÿTV
                                    31ÿ4567              SNUULK_ÿgbLO]XLOÿVTKÿLNKPQMÿTQÿ]M]_UÿÿÿNUÿÿNiÿ`^
                                                         3:9j?;9kÿk@>Gl9E;3671217ÿm<j9kÿCnÿk?lÿzpÿkj9:ÿ@EÿC9r?j=ÿ@=ÿF:<l9
  )1+.,+,)./                                             8j9:ÿHH8pÿ3kj9:vÿk?l7ÿ3wE;9:9kxÿ)1+.,+,)./7
                                   ÿ1)ÿ                 ~@<E;ÿB:k9:ÿ6<5E9kÿ@Eÿ1+.y+,)./ÿq:?E;<E5ÿ<EÿF?:;ÿz@;<@Eÿ@=ÿI9j?;<s<;n
                                    32ÿ4567              H<tG<k?;<E5ÿu:G6;ÿm@:ÿ?EÿB:k9:ÿG;r@:<<E5ÿ;r9ÿw{?l<E?;<@Eÿ@=ÿIn?E
                                                         ?s?E?G5rÿ?EkÿF:@kG>;<@Eÿ@=ÿ|@>Gl9E;6ÿ4G:6G?E;ÿ;@ÿ?E:G4;>nÿIGj9
  )1+.y+,)./                                             ,))ÿ3I9j?;9kÿ|@>ÿ}ÿ1)17pÿ3q@l9vÿ~966<>?7ÿ3wE;9:9kxÿ)1+.y+,)./7
                                   ÿ1.ÿ                 ~@<E;ÿB:k9:ÿ6<5E9kÿ@Eÿ1+.y+,)./ÿq:?E;<E5ÿ<EÿF?:;ÿz@;<@Eÿ@=ÿI9j?;<s<;n
                                    32ÿ4567              H<tG<k?;<E5ÿu:G6;ÿ=@:ÿ?EÿB:k9:ÿG;r@:<<E5ÿ;r9ÿw{?l<E?;<@Eÿ@=ÿ8?:@j
                                                         q9E<6ÿ?EkÿF:@kG>;<@Eÿ@=ÿ|@>Gl9E;6ÿ4G:6G?E;ÿ;@ÿ?E:G4;>nÿIGj9ÿ,))
  )1+.y+,)./                                             3I9j?;9kÿ|@>ÿ}ÿ1..7pÿ3q@l9vÿ~966<>?7ÿ3wE;9:9kxÿ)1+.y+,)./7
117 11! "#$55524%5&''2'2'5(5(45                                                            001543
012312425Case 2:21-cv-04913-VAP-AS                Document678ÿ ÿFiled
                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 446 of 494 Page ID
  )*+,-+.),/                       ÿ*1.ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿVPUPKHÿWXYÿWXZ[ÿGH
                                                           #:2326
                                    23ÿ4567              ZZ\XXÿG]^]ÿ_`abÿ2c=dB:=AÿA9<ef=@:267*,,gÿ*)*7ÿ>;d=Aÿhiÿj<9::ÿklÿmBe:;=cÿ9@
                                                         h=nBd>ÿ9>ÿo=dB:;p;:iÿq;re;AB:;@5ÿsce6:lÿt;:nÿn=Bc;@5ÿ:9ÿh=ÿn=dAÿ9@
                                                         *+.)+.),/ÿB:ÿ,,u))ÿ?vÿB:ÿw9ec:c99fÿ-,xÿ2vyz7ÿ2mBe:;=cgÿj<9::7
                                                         2y@:=c=Auÿ)*+,-+.),/7
                                   ÿ*13ÿ                 ?>>;ABp;:ÿ9>ÿj=cp;<=ÿCDÿ{PTCÿ|GJOCKCÿ}IUGJOSTUÿ~CSTHÿJOIJÿJGTHSTUÿST
                                    2,.ÿ4567             GJHÿFCHSCTÿCDÿ}IQGHSSHÿSPSOGHSTUÿaJPKHÿDCJÿGTÿJOIJÿVPHNCJSSTUÿHNI
                                                         `G^STGHSCTÿCDÿ}GTÿGGTGPUNÿGTOÿJCOPMHSCTÿCDÿCMP^ITHKÿPJKPGTH
                                                         HCÿGTJPHMÿ}PQIÿWXXYÿ~CSTHÿJOIJÿJGTHSTUÿSTÿGJHÿFCHSCTÿCD
                                                         }IQGHSSHÿSPSOGHSTUÿaJPKHÿDCJÿGTÿJOIJÿVPHNCJSSTUÿHNIÿ̀G^STGHSCTÿCD
                                                         |GJCQÿITSKÿGTOÿJCOPMHSCTÿCDÿCMP^ITHKÿPJKPGTHÿHCÿGTJPHMÿ}PQI
                                                         WXXÿGTOÿ{CHSMIÿCDÿVUITOGÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿVPUPKH
                                                         WXYÿWXZ[ÿGHÿZZ\XXÿG]^]ÿ_`abÿ2c=dB:=AÿA9<ef=@:267*1.gÿ*1)gÿ*1,7ÿk;d=Aÿhi
                                                         ?ABfÿvlÿ?Ad=cÿ9@ÿh=nBd>ÿ9>ÿc;f=ÿwd=cÿqqwlÿ2?Ad=cgÿ?ABf7ÿ2y@:=c=Au
  )*+,/+.),/                                             )*+,/+.),/7
                                   ÿ*11ÿ                 96:w9@>;cfB:;9@ÿo=49c:lÿV^ITOIOÿCKHÿ|CTDSJ^GHSCTÿPGJHIJQ
                                    2ÿ4567              IJGHSTUÿ}ICJHÿDCJÿHNIÿIJSCOKÿDJC^ÿ~GTPGJÿZYÿWXZ[ÿHCÿFGJMNÿZYÿWXZ[
                                                         GTOÿVJSQÿZYÿWXZ[ÿHCÿ~PTIÿXYÿWXZ[ÿk;d=Aÿhiÿj<9::ÿklÿmBe:;=cÿ9@ÿh=nBd>ÿ9>
  )/+)1+.),/                                             o=dB:;p;:iÿq;re;AB:;@5ÿsce6:lÿ2mBe:;=cgÿj<9::7ÿ2y@:=c=Auÿ)/+)1+.),/7
                                   ÿ*1ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿLIHI^IJÿZXY
                                    23ÿ4567              WXZ[ÿGHÿZZ\XXÿG]^]ÿ_`abÿ>;d=Aÿhiÿj<9::ÿklÿmBe:;=cÿ9@ÿh=nBd>ÿ9>ÿo=dB:;p;:i
                                                         q;re;AB:;@5ÿsce6:lÿt;:nÿn=Bc;@5ÿ:9ÿh=ÿn=dAÿ9@ÿ/+,)+.),/ÿB:ÿ,,u))ÿ?vÿB:
  )/+)-+.),/                                             w9ec:c99fÿ-,xÿ2vyz7ÿ2mBe:;=cgÿj<9::7ÿ2y@:=c=Auÿ)/+)-+.),/7
                                   ÿ*1-ÿ                 ?>>;ABp;:ÿ9>ÿj=cp;<=ÿCDÿVKSJÿ]ÿVKNJGDÿ}IUGJOSTUÿIHCJKÿV^ITOIOÿCKH
                                    2-ÿ4567              |CTDS^ZGHSCTÿPGJHIJQÿIJGHSTUÿ}ICJHÿDCJÿHNIÿIJSCOKÿDJC^ÿ~GTPGJÿZY
                                                         WXZ[ÿHCÿFGJMNÿZYÿWXZ[ÿGTOÿVJSQÿZYÿWXZ[ÿHCÿ~PTIÿXYÿWXZ[ÿ2c=dB:=A
                                                         A9<ef=@:267*117ÿk;d=Aÿhiÿ?ABfÿvlÿ?Ad=cÿ9@ÿh=nBd>ÿ9>ÿc;f=ÿwd=cÿqqwl
  )/+)/+.),/                                             2?Ad=cgÿ?ABf7ÿ2y@:=c=Auÿ)/+)/+.),/7
                                   ÿ*1xÿ                 ?>>;ABp;:ÿ9>ÿj=cp;<=ÿCDÿ~G^SIÿ]ÿRIJKGDHÿ}IUGJOSTUÿ{CHSMIÿCDÿVUITOGÿCD
                                    2-ÿ4567              FGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿLIHI^IJÿZXYÿWXZ[ÿGHÿZZ\XXÿG]^]ÿ_`ab
                                                         2c=dB:=AÿA9<ef=@:267*17ÿk;d=Aÿhiÿ?ABfÿvlÿ?Ad=cÿ9@ÿh=nBd>ÿ9>ÿc;f=
  )/+,)+.),/                                             wd=cÿqqwlÿ2?Ad=cgÿ?ABf7ÿ2y@:=c=Auÿ)/+,)+.),/7
                                   ÿ*1*ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿLIHI^IJÿZY
                                    2.ÿ4567              WXZ[ÿGHÿZZ\XXÿG]^]ÿ_`abÿ>;d=Aÿhiÿj<9::ÿklÿmBe:;=cÿ9@ÿh=nBd>ÿ9>ÿo=dB:;p;:i
                                                         q;re;AB:;@5ÿsce6:lÿt;:nÿn=Bc;@5ÿ:9ÿh=ÿn=dAÿ9@ÿ/+,x+.),/ÿB:ÿ,,u))ÿ?vÿB:
  )/+,3+.),/                                             w9ec:c99fÿ-,xÿ2vyz7ÿ2mBe:;=cgÿj<9::7ÿ2y@:=c=Auÿ)/+,3+.),/7
                                   ÿ*1/ÿ                 ?>>;ABp;:ÿ9>ÿj=cp;<=ÿCDÿ~G^SIÿ]ÿRIJKGDHÿ}IUGJOSTUÿ{CHSMIÿCDÿVUITOGÿCD
                                    2-ÿ4567              FGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿLIHI^IJÿZYÿWXZ[ÿGHÿZZ\XXÿG]^]ÿ_`ab
                                                         2c=dB:=AÿA9<ef=@:267*1*7ÿ>;d=Aÿhiÿc;f=ÿwd=cÿqqwl2j:==d=gÿ=@Bf;@7
  )/+,*+.),/                                             2y@:=c=Auÿ)/+,*+.),/7
                                   ÿ*)ÿ                 89:;<=ÿ9>ÿ?5=@ABÿCDÿFGHHIJKÿLMNIOPQIOÿDCJÿRIGJSTUÿCTÿMHCIJÿZYÿWXZ[Y
                                    23ÿ4567              GHÿZZ\XXÿG]^]ÿ_`abÿ>;d=Aÿhiÿj<9::ÿklÿmBe:;=cÿ9@ÿh=nBd>ÿ9>ÿo=dB:;p;:i
                                                         q;re;AB:;@5ÿsce6:lÿt;:nÿn=Bc;@5ÿ:9ÿh=ÿn=dAÿ9@ÿ,)+,+.),/ÿB:ÿ,,u))ÿ?vÿB:
  ,)+,,+.),/                                             w9ec:c99fÿ-,xÿ2vyz7ÿ2mBe:;=cgÿj<9::7ÿ2y@:=c=Auÿ,)+,,+.),/7
                                   ÿ*,ÿ                 ?>>;ABp;:ÿ9>ÿj=cp;<=ÿCDÿ{CJGÿRGDIÿ}IUGJOSTUÿ{CHSMIÿCDÿVUITOGÿCDÿFGHHIJK
                                    2-ÿ4567              LMNIOPQIOÿDCJÿRIGJSTUÿCTÿMHCIJÿZYÿWXZ[YÿGHÿZZ\XXÿG]^]ÿ_`abÿ2c=dB:=A
                                                         A9<ef=@:267*)7ÿ>;d=Aÿhiÿc;f=ÿwd=cÿqqwl2j:==d=gÿ=@Bf;@7ÿ2y@:=c=Au
  ,)+,1+.),/                                             ,)+,1+.),/7
117 11! "#$55524%5&''2'2'5(5(45                                                           5441543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 447 of 494 Page ID
  )*+),+-*).                       ÿ,0-ÿ                 7898:5ÿ;<3=>8ÿ?@ABCD@EFGHIJBG@EÿLBJBMAÿNOP@HBÿ@FÿBQOÿNORJBGSGBT
                                                           #:2327
                                    12ÿ3456              UGVMGWJBGEXÿYHMABÿZ[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_
                                                         g[h:[]98[c4ÿi>:58aÿ1b9:8[<>jÿ7`=886ÿ1kc8<><]lÿ)*+),+-*).6
                                   ÿ,0mÿ                 7898:5ÿ;<3=>8ÿ?@ABCD@EFGHIJBG@EÿoMJHBOHRTÿpPOHJBGEXÿNOP@HBÿF@HÿBQO
                                    1nÿ3456              ?OHG@WÿFH@IÿqMRTÿrsÿturvÿB@ÿLOPBOIwOHÿxusÿturvÿZ[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>
                                                         =cÿ^<d9\eÿ=eÿ;<\98[f[8_ÿg[h:[]98[c4ÿi>:58aÿ1b9:8[<>jÿ7`=886ÿ1kc8<><]l
  )*+),+-*).                                             )*+),+-*).6
                                   ÿ,02ÿ                 yee[]9f[8ÿ=eÿ7<>f[`<ÿ@FÿzME@ÿDJHW@A@ÿNOXJHWGEXÿ?@ABCD@EFGHIJBG@EÿLBJBMA
                                    1nÿ3456              NOP@HBÿ@FÿBQOÿNORJBGSGBTÿUGVMGWJBGEXÿYHMABsÿ{OwB@H|Aÿ?@ABCD@EFGHIJBG@E
                                                         oMJHBOHRTÿpPOHJBGEXÿNOP@HBÿF@HÿBQOÿ?OHG@WÿFH@IÿqMRTÿrsÿturvÿB@ÿLOPBOIwOH
                                                         xusÿturvÿ1><\98<]ÿ]=`:}<c8156,0-jÿ,0m6ÿZ[\<]ÿ^_ÿy]9}ÿ~aÿy]\<>ÿ=c
  )*+-m+-*).                                             ^<d9\eÿ=eÿ>[}<ÿ\<>ÿggaÿ1y]\<>jÿy]9}6ÿ1kc8<><]lÿ)*+-m+-*).6
                                   ÿ,00ÿ                 =8[`<ÿ=eÿy4<c]9ÿ@FÿJBBOHAÿLQOWMROWÿF@HÿOJHGEXÿ@Eÿz@SOIwOHÿsÿturv
                                    1mÿ3456              JBÿrruuÿJIÿYÿe[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_
                                                         g[h:[]98[c4ÿi>:58aÿ[8dÿd<9>[c4ÿ8=ÿ^<ÿd<\]ÿ=cÿ))+n+-*).ÿ98ÿ))l**ÿy~ÿ98
  ))+*2+-*).                                             =:>8>==}ÿn)ÿ1~k6ÿ1b9:8[<>jÿ7`=886ÿ1kc8<><]lÿ))+*2+-*).6
                                   ÿ,0nÿ                 yee[]9f[8ÿ=eÿ7<>f[`<ÿ@FÿORAOTÿUÿ@HW@EÿNOXJHWGEXÿz@BGOÿ@FÿXOEWJÿ@F
                                    1nÿ3456              JBBOHAÿLQOWMROWÿF@HÿOJHGEXÿ@Eÿz@SOIwOHÿsÿturvÿJBÿrruuÿJIÿY
                                                         1><\98<]ÿ]=`:}<c8156,006ÿZ[\<]ÿ^_ÿy]9}ÿ~aÿy]\<>ÿ=cÿ^<d9\eÿ=eÿ>[}<
  ))+*+-*).                                             \<>ÿggaÿ1y]\<>jÿy]9}6ÿ1kc8<><]lÿ))+*+-*).6
                                   ÿ,0ÿ                 y33\[`98[=cÿe=>ÿZ[c9\ÿ<`><<ÿ@BG@Eÿ@FÿBQOÿNORJBGSGBTÿUGVMGWJBGEXÿYHMABÿF@H
                                    1-)ÿ3456             EBHTÿ@FÿGEJRÿ{OHOOÿDR@AGEXÿLMwABJEBGSORTÿD@EA@RGWJBOWÿDQJPBOHÿrr
                                                         DJAOAÿe[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_ÿg[h:[]98[c4ÿi>:58
  ))+).+-*).                                             ;<53=c5<5ÿ]:<ÿ^_ÿ)-+m+-*).jaÿ1b9:8[<>jÿ7`=886ÿ1kc8<><]lÿ))+).+-*).6
                                   ÿ,0,ÿ                 <`\9>98[=cÿ@Fÿ{JSGWÿJÿGEÿLMPP@HBÿ@FÿBQOÿ@BG@Eÿ@FÿBQOÿNORJBGSGBT
                                    1mÿ3456              UGVMGWJBGEXÿYHMABÿF@HÿEBHTÿ@FÿGEJRÿ{OHOOÿDR@AGEXÿLMwABJEBGSORT
                                                         D@EA@RGWJBOWÿDQJPBOHÿrrÿDJAOAÿ1><\98<]ÿ]=`:}<c8156,06ÿe[\<]ÿ^_ÿ7`=88ÿZa
                                                         b9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_ÿg[h:[]98[c4ÿi>:58aÿ[8dÿd<9>[c4ÿ8=ÿ^<ÿd<\]
                                                         =cÿ)-+)*+-*).ÿ98ÿ))l**ÿy~ÿ98ÿ=:>8>==}ÿn)ÿ1~k6ÿ1b9:8[<>jÿ7`=886
  ))+).+-*).                                             1kc8<><]lÿ))+).+-*).6
                                   ÿ,0.ÿ                 yee[]9f[8ÿ=eÿ7<>f[`<ÿ@FÿORAOTÿUÿ@HW@EÿNOXJHWGEXÿ@BG@Eÿ@FÿBQO
                                    1ÿ3456              NORJBGSGBTÿUGVMGWJBGEXÿYHMABÿF@HÿEBHTÿ@FÿGEJRÿ{OHOOÿDR@AGEX
                                                         LMwABJEBGSORTÿD@EA@RGWJBOWÿDQJPBOHÿrrÿDJAOAÿJEWÿ{ORJHJBG@Eÿ@Fÿ{JSGW
                                                         JÿGEÿLMPP@HBÿ@FÿBQOÿ@BG@Eÿ@FÿBQOÿNORJBGSGBTÿUGVMGWJBGEXÿYHMABÿF@HÿEBHT
                                                         @FÿGEJRÿ{OHOOÿDR@AGEXÿLMwABJEBGSORTÿD@EA@RGWJBOWÿDQJPBOHÿrrÿDJAOA
                                                         1><\98<]ÿ]=`:}<c8156,0jÿ,0,6ÿe[\<]ÿ^_ÿ>[}<ÿ\<>ÿgga178<<\<j
  ))+--+-*).                                             <c9}[c6ÿ1kc8<><]lÿ))+--+-*).6
                                   ÿ,n*ÿ                 =8[`<ÿ=eÿy4<c]9ÿ@FÿJBBOHAÿLQOWMROWÿF@HÿOJHGEXÿ@Eÿ{OOIwOHÿsÿturv
                                    1-ÿ3456              JBÿrruuÿJIÿYÿe[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_
                                                         g[h:[]98[c4ÿi>:58aÿ[8dÿd<9>[c4ÿ8=ÿ^<ÿd<\]ÿ=cÿ)-+2+-*).ÿ98ÿ))l**ÿy~ÿ98
  )-+*-+-*).                                             =:>8>==}ÿn)ÿ1~k6ÿ1b9:8[<>jÿ7`=886ÿ1kc8<><]lÿ)-+*-+-*).6
                                   ÿ,n)ÿ                 yee[]9f[8ÿ=eÿ7<>f[`<ÿ@FÿqJIOAÿJPPROBQ@HPOÿNOXJHWGEXÿz@BGOÿ@FÿXOEWJ
                                    1nÿ3456              @FÿJBBOHAÿLQOWMROWÿF@HÿOJHGEXÿ@Eÿ{OOIwOHÿsÿturvÿJBÿrruuÿJIÿY
                                                         1><\98<]ÿ]=`:}<c8156,n*6ÿZ[\<]ÿ^_ÿy]9}ÿ~aÿy]\<>ÿ=cÿ^<d9\eÿ=eÿ>[}<
  )-+*2+-*).                                             \<>ÿggaÿ1y]\<>jÿy]9}6ÿ1kc8<><]lÿ)-+*2+-*).6
  )-+*n+-*).                       ÿ,n-ÿ                 =8[`<ÿ=eÿy4<c]9ÿ@FÿJBBOHAÿLQOWMROWÿF@HÿOJHGEXÿ@Eÿ{OOIwOHÿrus
                                    1mÿ3456              turvÿJBÿrruuÿJIÿYÿe[\<]ÿ^_ÿ7`=88ÿZaÿb9:8[<>ÿ=cÿ^<d9\eÿ=eÿ;<\98[f[8_
117 11! "#$55524%5&''2'2'5(5(45                                                            5451543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 448 of 494 Page ID
                                                         )*+,*-./*01ÿ34,5/6ÿ7*/8ÿ89.4*01ÿ/:ÿ;9ÿ89<-ÿ:0ÿ=>?=@?>@=Aÿ./ÿ==B@@ÿCDÿ./
                                                           #:2328
                                                         E:,4/4::FÿG=HÿIDJKLÿIM.,/*94NÿOP://LÿIJ0/949-Bÿ=>?@G?>@=AL
                                   ÿQGRÿ                 E94/*T*P./9ÿ:TÿU:ÿV;W9P/*:0ÿX,45,.0/ÿ/:ÿ)YÿA@HZ[>ÿ\]^_\`ab^ÿdefaebÿeg
                                    IQÿS15L              fh]ÿi]j_fakaflÿmanoà_fab^ÿp\oqfÿge\ÿrbf\lÿegÿsab_jÿt]u\]]ÿvjeqab^
                                                         woxqf_bfak]jlÿvebqejà_f]`ÿvh_yf]\ÿzzÿv_q]qÿI49<./9-ÿ-:P,F90/I5LQZHL
                                                         {*<9-ÿ;|ÿOP://ÿ{6ÿM.,/*94ÿ:0ÿ;98.<Tÿ:TÿY9<./*}*/|ÿ)*+,*-./*01ÿ34,5/6
  =>?@A?>@=A                                             IM.,/*94NÿOP://LÿIJ0/949-Bÿ=>?@A?>@=AL
                                   ÿQG~ÿ                 CTT*-.}*/ÿ:TÿO94}*P9ÿegÿ_]qÿd_yyj]fhe\y]ÿi]^_\`ab^ÿefau]ÿegÿ^]b`_
                                    IQÿS15L              egÿd_ff]\qÿwuh]`oj]`ÿge\ÿ]_\ab^ÿebÿt]u]x]\ÿzÿzÿ_fÿzzÿ_
                                                         rpÿI49<./9-ÿ-:P,F90/I5LQG>Lÿ{*<9-ÿ;|ÿC-.FÿD6ÿC-<94ÿ:0ÿ;98.<Tÿ:T
  =>?=@?>@=A                                             X4*F9ÿE<94ÿ))E6ÿIC-<94NÿC-.FLÿIJ0/949-Bÿ=>?=@?>@=AL
                                   ÿQGZÿ                 V4-94ÿ5*109-ÿ:0ÿ=>?=@?>@=Aÿ14.0/*01ÿF:/*:0ÿ:Tÿ/89ÿY9<./*}*/|ÿ)*+,*-./*01
                                    IZÿS15L              34,5/ÿT:4ÿ90/4|ÿ:TÿT*0.<ÿ-9P499ÿP<:5*01ÿ5,;5/.0/*}9<|ÿP:05:<*-./9-ÿP8.S/94
                                                         ==ÿP.595ÿIY9<./9-ÿ:PÿÿQZHL6ÿI9X*94:<.Nÿ.P+,9<*09LÿIJ0/949-B
  =>?=@?>@=A                                             =>?=@?>@=AL
                                   ÿQGGÿ                 CTT*-.}*/ÿ:TÿO94}*P9ÿegÿe\_ÿ_g]ÿ\]^_\`ab^ÿv]\fagau_f]ÿegÿeÿx]ufaeb
                                    IHÿS15L              i]^_\`ab^ÿdefaebÿegÿfh]ÿi]j_fakaflÿmanoà_fab^ÿp\oqfÿge\ÿrbf\lÿegÿsab_j
                                                         t]u\]]ÿvjeqab^ÿwoxqf_bfak]jlÿvebqejà_f]`ÿvh_yf]\ÿzzÿv_q]qÿI49<./9-
                                                         -:P,F90/I5LQGRLÿT*<9-ÿ;|ÿX4*F9ÿE<94ÿ))E6ID.<:Nÿ.}*-LÿIJ0/949-B
  =>?=>?>@=A                                             =>?=>?>@=AL
                                   ÿQGHÿ                 D:/*:0ÿ/:ÿJ/90-ÿ3*F9ÿw]ueb`ÿdefaebÿegÿi]j_fakaflÿmanoà_fab^ÿp\oqfÿfe
                                    I=ZÿS15L             rf]b`ÿfh]ÿt]_`jab]ÿfeÿx]ufÿfeÿvj_aqÿT*<9-ÿ;|ÿOP://ÿ{6ÿM.,/*94ÿ:0
                                                         ;98.<Tÿ:TÿY9<./*}*/|ÿ)*+,*-./*01ÿ34,5/ÿ7*/8ÿ89.4*01ÿ/:ÿ;9ÿ89<-ÿ:0
                                                         =?>>?>@>@ÿ./ÿ==B@@ÿCDÿ./ÿE:,4/4::FÿG=HÿIDJKLÿY95S:0595ÿ-,9ÿ;|
  @=?@H?>@>@                                             =?=Z?>@>@N6ÿIM.,/*94NÿOP://LÿIJ0/949-Bÿ@=?@H?>@>@L
                                   ÿQGQÿ                 9P<.4./*:0ÿegÿt_kàÿd_uÿabÿwoyye\fÿegÿfh]ÿw]ueb`ÿdefaebÿegÿi]j_fakafl
                                    IRÿS15L              manoà_fab^ÿp\oqfÿfeÿrf]b`ÿfh]ÿt]_`jab]ÿfeÿx]ufÿfeÿvj_aqÿI49<./9-
                                                         -:P,F90/I5LQGHLÿT*<9-ÿ;|ÿOP://ÿ{6ÿM.,/*94ÿ:0ÿ;98.<Tÿ:TÿY9<./*}*/|
                                                         )*+,*-./*01ÿ34,5/6ÿ7*/8ÿ89.4*01ÿ/:ÿ;9ÿ89<-ÿ:0ÿ=?>>?>@>@ÿ./ÿ==B@@ÿCDÿ./
                                                         E:,4/4::FÿG=HÿIDJKLÿV;W9P/*:05ÿ-,9ÿ;|ÿ=?=Z?>@>@NÿIM.,/*94NÿOP://L
  @=?@H?>@>@                                             IJ0/949-Bÿ@=?@H?>@>@L
                                   ÿQGAÿ                 CTT*-.}*/ÿ:TÿO94}*P9ÿegÿqa\ÿÿqh\_gÿi]^_\`ab^ÿw]ueb`ÿdefaebÿeg
                                    IHÿS15L              i]j_fakaflÿmanoà_fab^ÿp\oqfÿfeÿrf]b`ÿfh]ÿt]_`jab]ÿfeÿx]ufÿfeÿvj_aq
                                                         _b`ÿt]uj_\_faebÿegÿt_kàÿd_uÿabÿwoyye\fÿegÿfh]ÿw]ueb`ÿdefaebÿeg
                                                         i]j_fakaflÿmanoà_fab^ÿp\oqfÿfeÿrf]b`ÿfh]ÿt]_`jab]ÿfeÿx]ufÿfeÿvj_aq
                                                         I49<./9-ÿ-:P,F90/I5LQGHNÿQGQLÿT*<9-ÿ;|ÿX4*F9ÿE<94ÿ))E6IO/99<9N
  @=?=@?>@>@                                             90W.F*0LÿIJ0/949-Bÿ@=?=@?>@>@L
                                   ÿQH@ÿ                 U:/*P9ÿ:TÿC190-.ÿegÿd_ff]\qÿwuh]`oj]`ÿge\ÿ]_\ab^ÿebÿ_bo_\lÿÿ
                                    I>ÿS15L              _fÿzzÿ_ÿrpÿT*<9-ÿ;|ÿOP://ÿ{6ÿM.,/*94ÿ:0ÿ;98.<Tÿ:TÿY9<./*}*/|
                                                         )*+,*-./*01ÿ34,5/6ÿ7*/8ÿ89.4*01ÿ/:ÿ;9ÿ89<-ÿ:0ÿ=?>>?>@>@ÿ./ÿ==B@@ÿCDÿ./
  @=?=H?>@>@                                             E:,4/4::FÿG=HÿIDJKLÿIM.,/*94NÿOP://LÿIJ0/949-Bÿ@=?=H?>@>@L
                                   ÿQH=ÿ                 E94/*T*P./9ÿ:TÿU:ÿV;W9P/*:0ÿX,45,.0/ÿ/:ÿ)YÿA@HZ[>ÿ\]^_\`ab^ÿw]ueb`
                                    IZÿS15L              defaebÿegÿfh]ÿi]j_fakaflÿmanoà_fab^ÿp\oqfÿfeÿrf]b`ÿfh]ÿt]_`jab]ÿfe
                                                         x]ufÿfeÿvj_aqÿI49<./9-ÿ-:P,F90/I5LQGHLÿ{*<9-ÿ;|ÿOP://ÿ{6ÿM.,/*94ÿ:0
                                                         ;98.<Tÿ:TÿY9<./*}*/|ÿ)*+,*-./*01ÿ34,5/6ÿIM.,/*94NÿOP://LÿIJ0/949-B
  @=?=H?>@>@                                             @=?=H?>@>@L
  @=?=H?>@>@                       ÿQH>ÿ                 X:5/[E:0T*4F./*:0ÿY9S:4/6ÿi]j_fakaflÿmanoà_fab^ÿp\oqfqÿeqf
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                                    )*ÿ,-./              012345678412ÿ:;758<5=>ÿ?@<57842AÿB<@158ÿ315ÿ8C<ÿD<541Eÿ3516ÿ?F81G<5ÿHI
                                                           #:2329
                                                         JKHLÿ81ÿM<F<6G<5ÿNHIÿJKHLÿOPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXa
                                                         bRQ\YPcPYUÿdPe]PS\YP_-ÿf^].YZÿ)[\]YPR^gÿVWXYY/ÿ)h_YR^RSiÿjklk*lmjmj/
                                   ÿn*oÿ                 p^SR^ÿ.P-_RSÿX_ÿklmklmjmjÿ-^\_YP_-ÿ.RWX_SÿqXYPX_ÿXaÿbRQ\YPcPYU
                                    )mÿ,-./              dPe]PS\YP_-ÿf^].YÿYXÿRrYR_SÿỲRÿSR\SQP_RÿYXÿXTsRWYÿYXÿWQ\Pq.ÿ)bRQ\YRSÿtXWÿu
  jklmklmjmj                                             nv*/Zÿ)tRwPR^XQ\gÿx\We]RQP_R/ÿ)h_YR^RSiÿjklmklmjmj/
                                   ÿn*yÿ                 zaaPS\cPYÿXaÿVR^cPWRÿ13ÿ{|45ÿ}ÿ{|C573ÿ5<A75E42Aÿ~184F<ÿ13ÿ{A<2E7ÿ13
                                    )vÿ,-./              788<5|ÿFC<E;=<Eÿ315ÿ<7542Aÿ12ÿ72;75>ÿJJIÿJKJKÿ78ÿHHKKÿ76ÿI
                                                         0<58434F78<ÿ13ÿ~1ÿ?G<F8412ÿ5<A75E42Aÿ<F12Eÿ18412ÿ13ÿ8C<ÿB<=78448>
                                                         4;4E7842Aÿ5;|8ÿ81ÿ8<2Eÿ8C<ÿM<7E=42<ÿ81ÿ?G<F8ÿ81ÿ0=746|ÿ72EÿM<G815|
                                                         D1|8ÿ012345678412ÿ:;758<5=>ÿ?@<57842AÿB<@158ÿ315ÿ8C<ÿD<541Eÿ3516
                                                         ?F81G<5ÿHIÿJKHLÿ81ÿM<F<6G<5ÿNHIÿJKHLÿ)^RQ\YRSÿSXW]qR_Y)./n*kgÿn*jg
                                                         n*m/ÿOPQRSÿTUÿzS\qÿZÿzSQR^ÿX_ÿTR`\QaÿXaÿw^PqRÿQR^ÿddZÿ)zSQR^g
  jklmolmjmj                                             zS\q/ÿ)h_YR^RSiÿjklmolmjmj/
                                   ÿn*ÿ                 XYPWRÿXaÿz-R_S\ÿ13ÿ788<5|ÿFC<E;=<Eÿ315ÿ<7542Aÿ12ÿ72;75>ÿJIÿJKJK
                                    )oÿ,-./              78ÿHHKKÿ76ÿÿaPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXaÿbRQ\YPcPYU
                                                         dPe]PS\YP_-ÿf^].YZÿPỲÿ̀R\^P_-ÿYXÿTRÿ̀RQSÿX_ÿklmnlmjmjÿ\Yÿkkijjÿzÿ\Y
  jklmylmjmj                                             X]^Y^XXqÿvk*ÿ)h/ÿ)[\]YPR^gÿVWXYY/ÿ)h_YR^RSiÿjklmylmjmj/
                                   ÿn*vÿ                 zaaPS\cPYÿXaÿVR^cPWRÿ13ÿ{|45ÿ}ÿ{|C573ÿ5<A75E42Aÿ~184F<ÿ13ÿ{A<2E7ÿ13
                                    )vÿ,-./              788<5|ÿFC<E;=<Eÿ315ÿ<7542Aÿ12ÿ72;75>ÿJIÿJKJKÿ78ÿHHKKÿ76ÿ
                                                         )^RQ\YRSÿSXW]qR_Y)./n*/ÿOPQRSÿTUÿzS\qÿZÿzSQR^ÿX_ÿTR`\QaÿXaÿw^PqR
  jklmlmjmj                                             QR^ÿddZÿ)zSQR^gÿzS\q/ÿ)h_YR^RSiÿjklmlmjmj/
                                   ÿn**ÿ                 z,,QPW\YPX_ÿaX^ÿObwÿmjjyÿhr\qP_\YPX_ÿ~184F<ÿ13ÿ18412ÿ72Eÿ18412ÿ13
                                    )myÿ,-./             B<=78448>ÿ4;4E7842Aÿ5;|8ÿ315ÿ{2ÿ?5E<5ÿ{;8C15442Aÿ8C<ÿ764278412ÿ13
                                                         {6<54F72ÿ@5<||ÿ016@72>ÿ72EÿD51E;F8412ÿ13ÿM1F;6<28|ÿD;5|;728ÿ81
                                                         725;@8F>ÿB;=<ÿJKKÿaPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXaÿbRQ\YPcPYU
                                                         dPe]PS\YP_-ÿf^].YÿPỲÿ̀R\^P_-ÿYXÿTRÿ̀RQSÿX_ÿmlmlmjmjÿ\Yÿkkijjÿzÿ\Y
                                                         X]^Y^XXqÿvk*ÿ)h/ÿbR.,X_.R.ÿS]RÿTUÿmlknlmjmjgZÿ)[\]YPR^gÿVWXYY/
  jmlkklmjmj                                             )h_YR^RSiÿjmlkklmjmj/
                                   ÿn*nÿ                 z,,QPW\YPX_ÿaX^ÿObwÿmjjyÿhr\qP_\YPX_ÿ~184F<ÿ13ÿ18412ÿ72Eÿ18412ÿ13
                                    )myÿ,-./             B<=78448>ÿ4;4E7842Aÿ5;|8ÿ315ÿ{2ÿ?5E<5ÿ{;8C15442Aÿ8C<ÿ764278412ÿ13
                                                         048>ÿ~784127=ÿ72ÿ72EÿD51E;F8412ÿ13ÿM1F;6<28|ÿD;5|;728ÿ81ÿ725;@8F>
                                                         B;=<ÿJKKÿaPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXaÿbRQ\YPcPYUÿdPe]PS\YP_-
                                                         f^].YÿPỲÿ̀R\^P_-ÿYXÿTRÿ̀RQSÿX_ÿmlmlmjmjÿ\Yÿkkijjÿzÿ\YÿX]^Y^XXqÿvk*
                                                         )h/ÿbR.,X_.R.ÿS]RÿTUÿmlknlmjmjgZÿ)[\]YPR^gÿVWXYY/ÿ)h_YR^RSi
  jmlkklmjmj                                             jmlkklmjmj/
                                   ÿn*ÿ                 z,,QPW\YPX_ÿaX^ÿObwÿmjjyÿhr\qP_\YPX_ÿ~184F<ÿ13ÿ18412ÿ72Eÿ18412ÿ13
                                    )myÿ,-./             B<=78448>ÿ4;4E7842Aÿ5;|8ÿ315ÿ{2ÿ?5E<5ÿ{;8C15442Aÿ8C<ÿ764278412ÿ13
                                                         016<54F7ÿ72ÿ72EÿD51E;F8412ÿ13ÿM1F;6<28|ÿD;5|;728ÿ81ÿ725;@8F>
                                                         B;=<ÿJKKÿaPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXaÿbRQ\YPcPYUÿdPe]PS\YP_-
                                                         f^].YÿPỲÿ̀R\^P_-ÿYXÿTRÿ̀RQSÿX_ÿmlmlmjmjÿ\Yÿkkijjÿzÿ\YÿX]^Y^XXqÿvk*
                                                         )h/ÿbR.,X_.R.ÿS]RÿTUÿmlknlmjmjgZÿ)[\]YPR^gÿVWXYY/ÿ)h_YR^RSi
  jmlkklmjmj                                             jmlkklmjmj/
  jmlkklmjmj                       ÿnnjÿ                 z,,QPW\YPX_ÿaX^ÿObwÿmjjyÿhr\qP_\YPX_ÿ~184F<ÿ13ÿ18412ÿ72Eÿ18412ÿ13
                                    )myÿ,-./             B<=78448>ÿ4;4E7842Aÿ5;|8ÿ315ÿ{2ÿ?5E<5ÿ{;8C15442Aÿ8C<ÿ764278412ÿ13
                                                         ?2<<|8ÿ72ÿ72EÿD51E;F8412ÿ13ÿM1F;6<28|ÿD;5|;728ÿ81ÿ725;@8F>ÿB;=<
                                                         JKKÿaPQRSÿTUÿVWXYYÿOZÿ[\]YPR^ÿX_ÿTR`\QaÿXaÿbRQ\YPcPYUÿdPe]PS\YP_-ÿf^].Y
                                                         PỲÿ̀R\^P_-ÿYXÿTRÿ̀RQSÿX_ÿmlmlmjmjÿ\Yÿkkijjÿzÿ\YÿX]^Y^XXqÿvk*
                                                         )h/ÿbR.,X_.R.ÿS]RÿTUÿmlknlmjmjgZÿ)[\]YPR^gÿVWXYY/ÿ)h_YR^RSi
                                                         jmlkklmjmj/
117 11! "#$55524%5&''2'2'5(5(45                                                            54'1543
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                                                           40-5   7ÿ09/30/21
                                                                        7ÿ7 Page 450 of 494 Page ID
                                                           #:2330
                                   ÿ..,                  /01203ÿ10ÿ4560372859ÿ:4;<ÿ=)ÿ09ÿ:4><ÿ?)).ÿ@ABCADÿAFÿBGHÿIHJKBCLCBM
                                                         NCOPCQKBCDRÿSTPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCADÿ[95\]158
                                                         806^_531[7`aa?`ÿb2\58ÿcdÿe6011ÿ:fÿg]^1259ÿ03ÿc5h]\bÿ0bÿ45\]12i21d
                                                         j2k^28]123lÿm9^71ÿn21hÿh5]923lÿ10ÿc5ÿh5\8ÿ03ÿ*+*o+*)*)ÿ]1ÿ,,p))ÿq/ÿ]1
                                                         ;0^91900_ÿ=,aÿ[/rs`ÿ457t03757ÿ8^5ÿcdÿ*+,.+*)*)ufÿ[g]^1259uÿe6011̀
  )*+,,+*)*)                                             [r315958pÿ)*+,,+*)*)`
                                   ÿ..*ÿ                 w56\]9]1203ÿAFÿxKLCQÿ@KyzÿCDÿXP{{ATBÿAFÿBGHÿ@ABCADÿAFÿIHJKBCLCBM
                                    [vÿtl7`              NCOPCQKBCDRÿSTPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCADÿ[95\]158
                                                         806^_531[7`..,`ÿb2\58ÿcdÿe6011ÿ:fÿg]^1259ÿ03ÿc5h]\bÿ0bÿ45\]12i21d
                                                         j2k^28]123lÿm9^71fÿn21hÿh5]923lÿ10ÿc5ÿh5\8ÿ03ÿ*+*o+*)*)ÿ]1ÿ,,p))ÿq/ÿ]1
  )*+,,+*)*)                                             ;0^91900_ÿ=,aÿ[/rs`ÿ[g]^1259uÿe6011̀ÿ[r315958pÿ)*+,,+*)*)`
                                   ÿ..?ÿ                 w56\]9]1203ÿAFÿ@CyGKHJÿS|ÿxHJKDHMÿCDÿXP{{ATBÿAFÿBGHÿ@ABCADÿAFÿBGH
                                    [oÿtl7`              IHJKBCLCBMÿNCOPCQKBCDRÿSTPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCADÿ[95\]158
                                                         806^_531[7`..,`ÿb2\58ÿcdÿe6011ÿ:fÿg]^1259ÿ03ÿc5h]\bÿ0bÿ45\]12i21d
                                                         j2k^28]123lÿm9^71fÿn21hÿh5]923lÿ10ÿc5ÿh5\8ÿ03ÿ*+*o+*)*)ÿ]1ÿ,,p))ÿq/ÿ]1
  )*+,,+*)*)                                             ;0^91900_ÿ=,aÿ[/rs`ÿ[g]^1259uÿe6011̀ÿ[r315958pÿ)*+,,+*)*)`
                                   ÿ..vÿ                 /01203ÿ10ÿeh09153ÿm2_5ÿ@ABCADÿAFÿBGHÿIHJKBCLCBMÿNCOPCQKBCADÿSTPUBÿFATÿKD
                                    [,)ÿtl7`             WTQHTÿXGATBHDCDRÿSC}Hÿ~CBGÿIHU{HyBÿBAÿBGHÿ@ABCADUÿYPBGATCCDR
                                                         VK}CDKBCADÿKDQÿTAQPyBCADÿAFÿxAyP}HDBUÿ[95\]158ÿ806^_531[7`.auÿ.aau
                                                         .a.uÿ..)`ÿb2\58ÿcdÿe6011ÿ:fÿg]^1259ÿ03ÿc5h]\bÿ0bÿ45\]12i21dÿj2k^28]123l
  )*+,*+*)*)                                             m9^71fÿ[g]^1259uÿe6011̀ÿ[r315958pÿ)*+,*+*)*)`
                                   ÿ..oÿ                 9859ÿ72l358ÿ03ÿ*+,?+*)*)ÿ7h0915323lÿ12_5ÿn21hÿ957t561ÿ10ÿ1h5ÿ_012037
                                    [*ÿtl7`              ]^1h09223lÿ5]_23]1203ÿ]38ÿt908^61203ÿ0bÿ806^_5317ÿ[95\]158
                                                         806^_531[7`.auÿ..vuÿ.aauÿ.a.uÿ..)`fÿ5]923lÿ10ÿc5ÿh5\8ÿ03ÿ*+*o+*)*)ÿ]1
                                                         ,,p))ÿq/ÿ]1ÿ;0^91900_ÿ=,aÿ[/rs`fÿ[w5<2590\]uÿ]6k^5\235`ÿ[r315958p
  )*+,?+*)*)                                             )*+,?+*)*)`
                                   ÿ..=ÿ                 qbb28]i21ÿ0bÿe59i265ÿAFÿK}CHÿ|ÿHTUKFBÿIHRKTQCDRÿ@ABCADÿAFÿBGH
                                    [,)ÿtl7`             IHJKBCLCBMÿNCOPCQKBCDRÿSTPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCAD
                                                         xHyJKTKBCADÿAFÿxKLCQÿ@KyzÿCDÿXP{{ATBÿAFÿBGHÿ@ABCADÿAFÿIHJKBCLCBM
                                                         NCOPCQKBCDRÿSTPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCADÿxHyJKTKBCADÿAF
                                                         @CyGKHJÿS|ÿxHJKDHMÿCDÿXP{{ATBÿAFÿBGHÿ@ABCADÿAFÿBGHÿIHJKBCLCBMÿNCOPCQKBCDR
                                                         STPUBÿFATÿVDBTMÿAFÿWTQHTÿXBKMCDRÿYTZCBTKBCADÿ@ABCADÿAFÿIHJKBCLCBM
                                                         NCOPCQKBCDRÿSTPUBÿFATÿKDÿWTQHTÿYPBGATCCDRÿBGHÿVK}CDKBCADÿAFÿY}HTCyKD
                                                         V{THUUÿA}{KDMÿKDQÿTAQPyBCADÿAFÿxAyP}HDBUÿ@ABCADÿAFÿIHJKBCLCBM
                                                         NCOPCQKBCDRÿSTPUBÿFATÿKDÿWTQHTÿYPBGATCCDRÿBGHÿVK}CDKBCADÿAFÿCBM
                                                         KBCADKJÿKDzÿKDQÿTAQPyBCADÿAFÿxAyP}HDBUÿ@ABCADÿAFÿIHJKBCLCBM
                                                         NCOPCQKBCDRÿSTPUBÿFATÿKDÿWTQHTÿYPBGATCCDRÿBGHÿVK}CDKBCADÿAFÿA}HTCyK
                                                         KDzÿKDQÿTAQPyBCADÿAFÿxAyP}HDBUÿ@ABCADÿAFÿIHJKBCLCBMÿNCOPCQKBCDR
                                                         STPUBÿFATÿKDÿWTQHTÿYPBGATCCDRÿBGHÿVK}CDKBCADÿAFÿWDH~HUBÿKDzÿKDQ
                                                         TAQPyBCADÿAFÿxAyP}HDBUÿKDQÿ@ABCADÿAFÿBGHÿIHJKBCLCBMÿNCOPCQKBCADÿSTPUB
                                                         FATÿKDÿWTQHTÿXGATBHDCDRÿSC}Hÿ~CBGÿIHU{HyBÿBAÿBGHÿ@ABCADUÿYPBGATCCDR
                                                         VK}CDKBCADÿKDQÿTAQPyBCADÿAFÿxAyP}HDBUÿ[95\]158ÿ806^_531[7`..?uÿ.au
                                                         ..*uÿ..vuÿ.aauÿ..,uÿ.a.uÿ..)`ÿb2\58ÿcdÿ<92_5ÿ;\59ÿjj;f[e155\5u
  )*+,?+*)*)                                             >53]_23`ÿ[r315958pÿ)*+,?+*)*)`
                                   ÿ..aÿ                 /01203ÿ10ÿ:2\5ÿ3859ÿe5]\ÿ@ABCADÿAFÿBGHÿIHJKBCLCBMÿNCOPCQKBCDRÿSTPUBÿFAT
                                    [ÿtl7`              VDBTMÿAFÿWTQHTÿYPBGATCCDRÿBGHÿCJCDRÿPDQHTÿXHKJÿAFÿBGHÿ@ABCADÿXBKMCDR
                                                         YTZCBTKBCADÿKDQÿVGCZCBUÿBGHTHBAÿ[95\]158ÿ806^_531[7`..,`ÿb2\58ÿcdÿe6011ÿ:f
                                                         g]^1259ÿ03ÿc5h]\bÿ0bÿ45\]12i21dÿj2k^28]123lÿm9^71fÿ[g]^1259uÿe6011̀
  )*+,v+*)*)                                             [r315958pÿ)*+,v+*)*)`
  )*+,v+*)*)                       ÿ...ÿ                 q_53858ÿ/01203ÿ10ÿ:2\5ÿ3859ÿe5]\ÿY}HDQHQÿ@ABCADÿAFÿBGHÿIHJKBCLCBM
117 11! "#$55524%5&''2'2'5(5(45                                                             54%1543
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                                    *+,ÿ./01         2345367839:ÿ<=5>8ÿ?@=ÿA98=Bÿ@?ÿC=6D=ÿE58F@=3G39:ÿ8FDÿH3I39:ÿ596D=ÿJD7Iÿ@?
                                                           #:2331
                                                     AKF3L38ÿMÿ8@ÿ8FDÿN@83@9ÿJ87B39:ÿE=L38=783@9ÿ*OPQRSPTÿTUVWXPYS*01ZZ[\ÿZZ]1
                                                     ^_QPTÿ̀aÿbVUSSÿcdÿeRWS_POÿUYÿ̀PfRQ^ÿU^ÿgPQRS_h_Saÿi_jW_TRS_Y/ÿkOW0Sd
                                                     *eRWS_PO\ÿbVUSS1ÿ*lYSPOPTmÿ,no]+on,n,1
                                   ÿZZqÿ             r`sPVS_UYÿSUÿtUS_UYÿ8@ÿ>D7Iÿ*OPQRSPTÿTUVWXPYS*01ZZZ1ÿ^_QPTÿ̀aÿeOP/ÿtd
                                    *pÿ./01          u_.P0ÿUYÿ̀PfRQ^ÿU^ÿvY_SPTÿbSRSP0ÿkOW0SPPdÿ*u_.P0\ÿeOP/1ÿ*lYSPOPTm
  ,no]pon,n,                                         ,no]pon,n,1
                                   ÿZq,ÿ             r..U0_S_UYÿy7=@IÿzD93>{>ÿC||@>383@9ÿ8@ÿN@83@9ÿ@?ÿ}DI783~38Bÿ2345367839:
                                    *+[ÿ./0wÿxÿTUV01 <=5>8ÿ?@=ÿA98=Bÿ@?ÿ79ÿC=6D=ÿJ87B39:ÿE=L38=783@9ÿ*OPQRSPTÿTUVWXPYS*01ZZ]1
                                                     ^_QPTÿ̀aÿRX_TÿgdÿgR^RSsUUÿUYÿ̀PfRQ^ÿU^ÿROUQÿePY_0dÿ_SfÿfPRO_Y/ÿSUÿ̀P
                                                     fPQTÿUYÿnonon,n,ÿ*VfPVÿ_SfÿVUWOSÿ^UOÿQUVRS_UY1ÿ*SSRVfXPYS0mÿÿ]
  ,no]Zon,n,                                         lf_`_Sÿÿÿnÿlf_`_Sÿ1ÿ*gR^RSsUU\ÿRX_T1ÿ*lYSPOPTmÿ,no]Zon,n,1
                                   ÿZq]ÿ             ^^_TRh_SÿU^ÿbPOh_VPÿ@?ÿE96=Dÿzÿ3:97I3ÿ}D:7=639:ÿED96D6ÿN@83@9ÿ@?
                                    *pÿ./01          8FDÿ}DI783~38Bÿ2345367839:ÿ<=5>8ÿ?@=ÿA98=Bÿ@?ÿC=6D=ÿE58F@=3G39:ÿ8FDÿH3I39:
                                                     96D=ÿJD7Iÿ@?ÿAKF3L38ÿMÿ8@ÿ8FDÿN@83@9ÿJ87B39:ÿE=L38=783@9ÿ*OPQRSPT
                                                     TUVWXPYS*01ZZZ1ÿ^_QPTÿ̀aÿO_XPÿQPOÿiid*bSPPQP\ÿPYsRX_Y1ÿ*lYSPOPTm
  ,no]qon,n,                                         ,no]qon,n,1
                                   ÿZqnÿ             ^^_TRh_SÿU^ÿbPOh_VPÿ@?ÿE96=Dÿzÿ3:97I3ÿ}D:7=639:ÿN@83@9ÿ@?ÿ8FD
                                    *pÿ./01          }DI783~38Bÿ2345367839:ÿ<=5>8ÿ?@=ÿA98=Bÿ@?ÿC=6D=ÿE58F@=3G39:ÿ8FDÿH3I39:
                                                     96D=ÿJD7Iÿ@?ÿ8FDÿN@83@9ÿJ87B39:ÿE=L38=783@9ÿ796ÿAKF3L38>ÿ<FD=D8@
                                                     *OPQRSPTÿTUVWXPYS*01ZZ[1ÿc_QPTÿ̀aÿTRXÿtdÿTQPOÿUYÿ̀PfRQ^ÿU^ÿO_XP
  ,no]qon,n,                                         QPOÿiidÿ*TQPO\ÿTRX1ÿ*lYSPOPTmÿ,no]qon,n,1
                                   ÿZqxÿ             gP.QaÿSUÿtUS_UYÿ}D|IBÿ@?ÿ8FDÿ}DI783~38Bÿ2345367839:ÿ<=5>8ÿ39ÿJ5||@=8ÿ@?ÿ8FD
                                    *],ÿ./01         N@83@9ÿ?@=ÿA98=Bÿ@?ÿC=6D=ÿJ87B39:ÿE=L38=783@9ÿ*OPQRSPTÿTUVWXPYS*01ZZ]1
                                                     ^_QPTÿ̀aÿbVUSSÿcdÿeRWS_POÿUYÿ̀PfRQ^ÿU^ÿgPQRS_h_Saÿi_jW_TRS_Y/ÿkOW0Sd
  ,non]on,n,                                         *eRWS_PO\ÿbVUSS1ÿ*lYSPOPTmÿ,non]on,n,1
                                   ÿZq+ÿ             US_VPÿU^ÿ/PYTRÿ@83Dÿ@?ÿ}D>FD65ID6ÿD7=39:ÿ796ÿE:D967ÿ@?ÿN788D=>
                                    *+ÿ./01          JFD65ID6ÿ?@=ÿD7=39:ÿ@9ÿHDL=57=Bÿÿÿ78ÿÿ7ÿA<ÿc_QPTÿ̀a
                                                     bVUSSÿcdÿeRWS_POÿUYÿ̀PfRQ^ÿU^ÿgPQRS_h_Saÿi_jW_TRS_Y/ÿkOW0Sdÿ_SfÿfPRO_Y/ÿSU
                                                     `PÿfPQTÿUYÿnonon,n,ÿRSÿ]]m,,ÿtÿRSÿUWOSOUUXÿp][ÿ*tl1ÿ*eRWS_PO\
  ,non]on,n,                                         bVUSS1ÿ*lYSPOPTmÿ,non]on,n,1
                                   ÿZqÿ             XPYTPTÿtUS_UYÿSUÿc_QPÿvYTPOÿbPRQÿJD@96ÿED96D6ÿN@83@9ÿ@?ÿ8FD
                                    *xnÿ./01         }DI783~38Bÿ2345367839:ÿ<=5>8ÿ?@=ÿA98=Bÿ@?ÿC=6D=ÿE58F@=3G39:ÿ8FDÿH3I39:
                                                     596D=ÿJD7Iÿ@?ÿAKF3L38ÿMÿ8@ÿ8FDÿN@83@9ÿJ87B39:ÿE=L38=783@9ÿ*OPQRSPT
                                                     TUVWXPYS*01ZZ[\ÿZZZ1ÿ^_QPTÿ̀aÿbVUSSÿcdÿeRWS_POÿUYÿ̀PfRQ^ÿU^ÿgPQRS_h_Sa
  ,non]on,n,                                         i_jW_TRS_Y/ÿkOW0Sdÿ*eRWS_PO\ÿbVUSS1ÿ*lYSPOPTmÿ,non]on,n,1
                                   ÿZqpÿ             ^^_TRh_SÿU^ÿbPOh_VPÿ@?ÿ73DÿMÿD=>G7?8ÿ=D:7=639:ÿC=6D=ÿJF@=8D939:
                                    *Zÿ./01          <3Dÿ38Fÿ}D>|D8ÿ8@ÿ8FDÿN@83@9>ÿE58F@=3G39:ÿAK739783@9ÿ796
                                                     =@6583@9ÿ@?ÿ@5D98>ÿ*OPQRSPTÿTUVWXPYS*01ZZ1ÿc_QPTÿ̀aÿTRXÿtd
                                                     TQPOÿUYÿ̀PfRQ^ÿU^ÿO_XPÿQPOÿiidÿ*TQPO\ÿTRX1ÿ*lYSPOPTm
  ,non]on,n,                                         ,non]on,n,1
                                   ÿZq[ÿ             POS_^_VRSPÿU^ÿUÿr`sPVS_UYÿWO0WRYSÿSUÿigÿq,[nÿyD=83?378Dÿ@?ÿ@
                                    *]qÿ./01         CLD83@9ÿ96D=ÿÿJyÿ>ÿ¡¢£ÿ}D:7=639:ÿN@83@9>ÿH@=ÿC=6D=>
                                                     E58F@=3G39:ÿAK739783@9ÿ796ÿ=@6583@9ÿ@?ÿ@5D98>ÿ5=>5798ÿ8@ÿHD6
                                                     }ÿM79¤=ÿÿ¢ÿ*OPQRSPTÿTUVWXPYS*01Z[q\ÿZ[[\ÿZ[Z\ÿZZ,1ÿc_QPTÿ̀aÿbVUSS
                                                     cdÿeRWS_POÿUYÿ̀PfRQ^ÿU^ÿgPQRS_h_Saÿi_jW_TRS_Y/ÿkOW0Sdÿ*eRWS_PO\ÿbVUSS1
  ,non+on,n,                                         *lYSPOPTmÿ,non+on,n,1
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  )*+*,+*)*)                       ÿ./.ÿ                 56789:ÿ6<ÿ=8>8?@ÿAB:?C:CÿDEF8G87ÿ76ÿ7F:ÿH:96?CÿAB:?C:CÿI6786?ÿ6<ÿ7F:
                                                           #:2332
                                    0,,ÿ1234             J:>K78L87MÿN8OP8CK78?@ÿQRPS7ÿ<6RÿD?7RMÿ6<ÿTRC:RÿAP7F6R8U8?@ÿ7F:ÿ=8>8?@
                                                         P?C:RÿH:K>ÿ6<ÿDEF8G87ÿVÿ76ÿ7F:ÿI6786?ÿH7KM8?@ÿARG87RK786?ÿ0WXYZ[X\
                                                         \]^_`Xa[034./b4ÿcdYX\ÿefÿg^][[ÿhiÿjZ_[dXWÿ]aÿeXkZYcÿ]cÿlXYZ[dmd[f
                                                         ndo_d\Z[da2ÿpW_3[iÿ0jZ_[dXWqÿg^][[4ÿrstuvwÿyvzwÿ{s|}~}v|ÿsÿ
                                                         ÿvwÿ0a[XWX\ÿ)*+*,+*)*)4
                                   ÿ.//ÿ                 W\XWÿ3d2aX\ÿ]aÿ*+*b+*)*)ÿ2WZa[da2ÿ3X^]a\ÿZ`Xa\X\ÿ̀][d]aÿ]cÿ[kX
                                    0,ÿ1234             lXYZ[dmd[fÿndo_d\Z[da2ÿpW_3[ÿZ_[k]Wdda2ÿ[kXÿcdYda2ÿ_a\XWÿ3XZYÿ]cÿYd̀d[X\
                                                         1]W[d]a3ÿ]cÿXkded[ÿÿ[]ÿ[kXÿ̀][d]aÿ3[Zfda2ÿZWed[WZ[d]aÿ0lXYZ[X\ÿ]^ÿ
  )*+*b+*)*)                                             ./b4iÿ0XdXW]YZqÿZ^o_XYdaX4ÿ0a[XWX\ÿ)*+*b+*)*)4
                                   ÿ/))ÿ                 W\XWÿ3d2aX\ÿ]aÿ*+*b+*)*)ÿ2WZa[da2ÿ̀][d]aÿZ_[k]Wdda2ÿ[kXÿXZ`daZ[d]aÿ]c
                                    0ÿ1234              `XWd^Zaÿ1WX33ÿ^]`1ZafÿZa\ÿ1W]\_^[d]aÿ]cÿ\]^_`Xa[3ÿ1_W3_Za[ÿ[]ÿW_YX
  )*+*b+*)*)                                             *)),ÿ0lXYZ[X\ÿ]^ÿÿ.4iÿ0XdXW]YZqÿZ^o_XYdaX4ÿ0a[XWX\ÿ)*+*b+*)*)4
                                   ÿ/)ÿ                 W\XWÿ3d2aX\ÿ]aÿ*+*b+*)*)ÿ2WZa[da2ÿ̀][d]aÿZ_[k]Wdda2ÿ[kXÿXZ`daZ[d]aÿ]c
                                    0ÿ1234              d[fÿZ[d]aZYÿZaÿZa\ÿ1W]\_^[d]aÿ]cÿ\]^_`Xa[3ÿ1_W3_Za[ÿ[]ÿW_YXÿ*)),
  )*+*b+*)*)                                             0lXYZ[X\ÿ]^ÿÿ..4iÿ0XdXW]YZqÿZ^o_XYdaX4ÿ0a[XWX\ÿ)*+*b+*)*)4
                                   ÿ/)*ÿ                 W\XWÿ3d2aX\ÿ]aÿ*+*b+*)*)ÿ2WZa[da2ÿ̀][d]aÿZ_[k]Wdda2ÿ[kXÿXZ`daZ[d]aÿ]c
                                    0ÿ1234              ]`XWd^ZÿZaÿZa\ÿ1W]\_^[d]aÿ]cÿ\]^_`Xa[3ÿ_a\XWÿW_YXÿ*)),ÿ0lXYZ[X\
  )*+*b+*)*)                                             ]^ÿÿ./4iÿ0XdXW]YZqÿZ^o_XYdaX4ÿ0a[XWX\ÿ)*+*b+*)*)4
                                   ÿ/)ÿ                 W\XWÿ3d2aX\ÿ]aÿ*+*b+*)*)ÿ2WZa[da2ÿ̀][d]aÿZ_[k]Wdda2ÿ[kXÿXZ`daZ[d]aÿ]c
                                    0ÿ1234              aXX3[ÿZaÿZa\ÿ1W]\_^[d]aÿ]cÿ\]^_`Xa[3ÿ1_W3_Za[ÿ[]ÿW_YXÿ*)),
  )*+*b+*)*)                                             0lXYZ[X\ÿ]^ÿÿ..)4iÿ0XdXW]YZqÿZ^o_XYdaX4ÿ0a[XWX\ÿ)*+*b+*)*)4
                                   ÿ/),ÿ                 ccd\Zmd[ÿ]cÿgXWmd^Xÿ6<ÿ56RKÿK<:UÿJ:@KRC8?@ÿJ:>Mÿ6<ÿ7F:ÿJ:>K78L87M
                                    0ÿ1234              N8OP8CK78?@ÿQRPS7ÿ8?ÿHP 6R7ÿ6<ÿ7F:ÿI6786?ÿ<6RÿD?7RMÿ6<ÿTRC:RÿH7KM8?@
                                                         ARG87RK786?¡ÿ56789:ÿ6<ÿJ:S9F:CP>:Cÿ:KR8?@ÿK?CÿA@:?CKÿ6<ÿIK77:RS
                                                         H9F:CP>:Cÿ<6Rÿ:KR8?@ÿ6?ÿ=:GRPKRMÿ¢£¡ÿ¢¤¢¤ÿK7ÿ¥¥¦¤¤ÿK§B§ÿ̈DQ©¡ÿK?C
                                                         H:96?CÿAB:?C:CÿI6786?ÿ6<ÿ7F:ÿJ:>K78L87MÿN8OP8CK78?@ÿQRPS7ÿ<6RÿD?7RMÿ6<
                                                         TRC:RÿAP7F6R8U8?@ÿ7F:ÿ=8>8?@ÿP?C:RÿH:K>ÿ6<ÿDEF8G87ÿVÿ76ÿ7F:ÿI6786?
                                                         H7KM8?@ÿARG87RK786?ÿ0WXYZ[X\ÿ\]^_`Xa[034./qÿ./,qÿ./b4ÿcdYX\ÿefÿWd̀X
  )*+*+*)*)                                             YXWÿnni0g[XXYXqÿXaªZ`da4ÿ0a[XWX\ÿ)*+*+*)*)4
                                   ÿ/)bÿ                 ccd\Zmd[ÿ]cÿgXWmd^Xÿ6<ÿAS8Rÿ«§ÿASFRK<ÿJ:@KRC8?@ÿ¬:R78<89K7:ÿ6<ÿ56
                                    0/ÿ1234              TG­:9786?ÿJ:@KRC8?@ÿI6786?Sÿ<6RÿTRC:RSÿAP7F6R8U8?@ÿDEKB8?K786?ÿK?C
                                                         ®R6CP9786?ÿ6<ÿ̄69PB:?7SÿK?Cÿ56789:ÿ6<ÿ=8>8?@ÿAB:?C:CÿDEF8G87ÿ76ÿ7F:
                                                         H:96?CÿAB:?C:CÿI6786?ÿ6<ÿ7F:ÿJ:>K78L87MÿN8OP8CK78?@ÿQRPS7ÿ<6RÿD?7RMÿ6<
                                                         TRC:RÿAP7F6R8U8?@ÿ7F:ÿ=8>8?@ÿ«?C:RÿH:K>ÿ6<ÿDEF8G87ÿVÿ76ÿ7F:ÿI6786?
                                                         H7KM8?@ÿARG87RK786?ÿ0WXYZ[X\ÿ\]^_`Xa[034./.qÿ./4ÿhdYX\ÿefÿ\Z`ÿ°i
                                                         \YXWÿ]aÿeXkZYcÿ]cÿWd̀XÿYXWÿnniÿ0\YXWqÿ\Z`4ÿ0a[XWX\
  )*+*+*)*)                                             )*+*+*)*)4
                                   ÿ/)ÿ                 W\XWÿ3d2aX\ÿ]aÿ+,+*)*)ÿXafda2ÿ°][d]aÿ]cÿ[kXÿlXYZ[dmd[fÿndo_d\Z[da2
                                    0*ÿ1234              pW_3[ÿc]Wÿa[Wfÿ]cÿW\XWÿg[Zfda2ÿWed[WZ[d]aÿ0lXYZ[X\ÿ]^ÿÿ..qÿ./.4i
  )+),+*)*)                                             0j]`XqÿX33d^Z4ÿ0a[XWX\ÿ)+),+*)*)4
                                   ÿ/)ÿ                 ][d^Xÿ]cÿ\ª]_Wa`Xa[ÿ]cÿ±XZWda2ÿ56789:ÿ6<ÿAC­6PR?B:?7ÿK?CÿA@:?CKÿ6<
                                    0ÿ1234              IK77:RSÿH9F:CP>:Cÿ<6Rÿ:KR8?@ÿ6?ÿIKR9Fÿ¥²¡ÿ¢¤¢¤ÿK7ÿ¥¥¦¤¤ÿK§B§ÿ̈DQ©
                                                         cdYX\ÿefÿg^][[ÿhiÿjZ_[dXWÿ]aÿeXkZYcÿ]cÿlXYZ[dmd[fÿndo_d\Z[da2ÿpW_3[i
  )++*)*)                                             0jZ_[dXWqÿg^][[4ÿ0a[XWX\ÿ)++*)*)4
  )+/+*)*)                       ÿ/).ÿ                 ccd\Zmd[ÿ]cÿgXWmd^Xÿ6<ÿ5K7FK?ÿ¬F8:?ÿJ:@KRC8?@ÿ56789:ÿ6<ÿAC­6PR?B:?7
                                    0ÿ1234              K?CÿA@:?CKÿ6<ÿIK77:RSÿH9F:CP>:Cÿ<6Rÿ:KR8?@ÿ6?ÿIKR9Fÿ¥²¡ÿ¢¤¢¤K7ÿ¥¥¦¤¤
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                                                     )*+*ÿ-./0ÿ23456748ÿ89:;<4=72>?@AB?ÿCD548ÿEFÿG86<ÿHIÿG8543ÿ9=ÿE4J65Kÿ9K
                                                           #:2333
                                                     L3D<4ÿM543NÿOOMIÿ2G8543PÿG86<?ÿ2Q=74348RÿASTU@TVAVA?
                                   ÿ@A@ÿ             Z97D:4ÿ9KÿL34>4=7<4=7ÿ[\]^_`ÿabÿcd`e`f]+`f]ÿabÿg]^hij)]^\fÿkflÿadl`d
                                    2USÿXY>?         m`n)dl^fnÿaop̀_]^\fÿabÿq`r^fÿs\e]f`dtÿuj)_vwx^]`ÿyystÿkflÿ/z{ÿ|^j+et
                                                     zf_*ÿ/\}ÿ-k0ÿcd\h\e`lÿsid`ÿk+\if]ÿkflÿ-u0ÿkeei+h]^\fÿabÿ.~`_i]\d
                                                     s\f]d)_]eÿkflÿm`e`dr)]^\fÿabÿm^nx]eÿs\f_`df^fnÿ/x`ÿ\]^\fÿc^_]id`
                                                     uj)_vÿadÿx^]`ÿKD548ÿEFÿ:977ÿCIÿ6;7D43ÿ9=ÿE4J65Kÿ9Kÿ4567DD7F
                                                     OD;D867D=Yÿ3;>7IÿD7JÿX34>4=7<4=7ÿ79ÿE4ÿJ458ÿ9=ÿWTUTVAVAÿ67ÿUVRAAÿLH
                                                     67ÿM9;37399<ÿUBÿ2HQ?ÿE4:7D9=>ÿ8;4ÿEFÿWTUUTVAVAPÿ26;7D43Pÿ:977?
  AWTAUTVAVA                                         2Q=74348RÿAWTAUTVAVA?
                                   ÿ@UAÿ             Z97D:4ÿ9KÿL34>4=7<4=7ÿ[\]^_`ÿabÿcd`e`f]+`f]ÿabÿg]^hij)]^\fÿkflÿadl`d
                                    2UAÿXY>?         m`n)dl^fnÿaop̀_]^\fÿabÿf^r`de)jÿie^_ÿ.f]`dhd^e`eÿ/\ÿkeei+h]^\fÿkfl
                                                     kee^nf+`f]ÿ/\ÿj]d)ÿ\jl^fneÿyysÿabÿs`d])^fÿ.~`_i]\dÿs\f]d)_]eÿKD548
                                                     EFÿ:977ÿCIÿ6;7D43ÿ9=ÿE4J65Kÿ9Kÿ4567DD7FÿOD;D867D=Yÿ3;>7IÿD7J
                                                     X34>4=7<4=7ÿ79ÿE4ÿJ458ÿ9=ÿWTUTVAVAÿ67ÿUVRAAÿLHÿ67ÿM9;37399<ÿUB
                                                     2HQ?ÿE4:7D9=>ÿ8;4ÿEFÿWTUUTVAVAPÿ26;7D43Pÿ:977?ÿ2Q=74348R
  AWTAUTVAVA                                         AWTAUTVAVA?
                                   ÿ@UUÿ             G<4=848ÿZ97D:4ÿ9KÿL34>4=7<4=7ÿ\bÿg]^hij)]^\fÿ)flÿadl`dÿd`n)dl^fn
                                    2VSÿXY>?         aop̀_]^\fÿ\bÿf^r`de)jÿie^_ÿ.f]`dhd^e`eÿ]\ÿkeei+h]^\fÿ)flÿkee^nf+`f]
                                                     ]\ÿj]d)ÿ\jl^fneÿyysÿ\bÿs`d])^fÿ.~`_i]\dÿs\f]d)_]eÿKD548ÿEFÿ:977ÿCI
                                                     6;7D43ÿ9=ÿE4J65Kÿ9Kÿ4567DD7FÿOD;D867D=Yÿ3;>7IÿD7JÿX34>4=7<4=7ÿ79ÿE4
                                                     J458ÿ9=ÿWTUTVAVAÿ67ÿUVRAAÿLHÿ67ÿM9;37399<ÿUBÿ2HQ?ÿE4:7D9=>ÿ8;4
  AWTAUTVAVA                                         EFÿWTUUTVAVAPÿ26;7D43Pÿ:977?ÿ2Q=74348RÿAWTAUTVAVA?
                                   ÿ@UVÿ             GKKD86D7ÿ9Kÿ43D:4ÿ\bÿud^)fÿy^ÿm`n)dl^fnÿ[\]^_`ÿ\bÿcd`e`f]+`f]ÿ\b
                                    2UÿXY>?         -cd\h\e`l0ÿg]^hij)]^\fÿ)flÿadl`dÿd`n)dl^fnÿaop̀_]^\fÿ\bÿq`r^fÿs\e]f`dt
                                                     uj)_vÿwx^]`ÿyystÿ)flÿ/z{ÿ|^j+etÿzf_*ÿ]\}ÿ-k0ÿcd\h\e`lÿsid`ÿk+\if]ÿ)fl
                                                     -u0ÿkeei+h]^\fÿ\bÿ.~`_i]\dÿs\f]d)_]eÿ)flÿm`e`dr)]^\fÿ\bÿm^nx]e
                                                     s\f_`df^fnÿ]x`ÿ\]^\fÿc^_]id`ÿuj)_vÿ\dÿx^]`tÿ[\]^_`ÿ\bÿcd`e`f]+`f]ÿ\b
                                                     -cd\h\e`l0ÿg]^hij)]^\fÿ)flÿadl`dÿd`n)dl^fnÿaop̀_]^\fÿ\bÿf^r`de)jÿie^_
                                                     .f]`dhd^e`eÿ]\ÿkeei+h]^\fÿ)flÿkee^nf+`f]ÿ]\ÿj]d)ÿ\jl^fneÿyysÿ\b
                                                     s`d])^fÿ.~`_i]\dÿs\f]d)_]etÿ)flÿk+`fl`lÿ[\]^_`ÿ\bÿcd`e`f]+`f]ÿ\b
                                                     -cd\h\e`l0ÿg]^hij)]^\fÿ)flÿadl`dÿd`n)dl^fnÿaop̀_]^\fÿ\bÿf^r`de)jÿie^_
                                                     .f]`dhd^e`eÿ]\ÿkeei+h]^\fÿ)flÿkee^nf+`f]ÿ]\ÿj]d)ÿ\jl^fneÿyysÿ\b
                                                     s`d])^fÿ.~`_i]\dÿs\f]d)_]eÿ23456748ÿ89:;<4=72>?@UUPÿ@UAPÿ@A@?ÿKD548ÿEF
  AWTATVAVA                                         L3D<4ÿM543NÿOOMI274454Pÿ4=6<D=?ÿ2Q=74348RÿAWTATVAVA?
                                   ÿ@USÿ             L9>7M9=KD3<67D9=ÿ4X937Iÿm`j)]^r^]ÿy^i^l)]^fnÿ/die]eÿc\e]
                                    2WÿXY>?          s\fb^d+)]^\fÿi)d]`djÿah`d)]^fnÿm`h\d]ÿb\dÿ]x`ÿc`d^\lÿbd\+ÿ)fi)dÿt
                                                     ÿ]\ÿ)d_xÿtÿÿCD548ÿEFÿ:977ÿCIÿ6;7D43ÿ9=ÿE4J65Kÿ9Kÿ4567DD7F
  AWTUTVAVA                                         OD;D867D=Yÿ3;>7Iÿ26;7D43Pÿ:977?ÿ2Q=74348RÿAWTUTVAVA?
                                   ÿ@UWÿ             9ÿ384348ÿ7DX;567D9=ÿ>DY=48ÿ9=ÿWTUTVAVAÿ34Y638D=Yÿ9E4:7D9=ÿ9K
                                    2U@ÿXY>ÿVÿ89:>? =D43>65ÿH;>D:ÿQ=743X3D>4>ÿ79ÿ6>>;<X7D9=ÿ6=8ÿ6>>DY=<4=7ÿ79ÿ5736
                                                     958D=Y>ÿOOMÿ9Kÿ:4376D=ÿ44:;793Fÿ:9=736:7>ÿ23456748ÿ89:;<4=72>?@UUP
  AWTUTVAVA                                         @UA?Iÿ2¡4LD43956Pÿ¢6:;45D=4?ÿ2Q=74348RÿAWTUTVAVA?
                                   ÿ@Uÿ             9ÿ384348ÿ7DX;567D9=ÿ>DY=48ÿ9=ÿWTUTVAVAÿ34Y638D=Yÿ9E4:7D9=ÿ9Kÿ¤4D=
                                    2£ÿXY>?          M9>7=43Pÿ56:NJD74ÿOOMPÿ¥ÿCD5<>Pÿ¥=:Pÿ79ÿX39X9>48ÿ:;34ÿ6<9;=7ÿ6=8
                                                     6>>;<X7D9=ÿ9Kÿ44:;793Fÿ:9=736:7>ÿ6=8ÿ34>4367D9=ÿ9Kÿ3DYJ7>ÿ:9=:43=D=Y
                                                     7J4ÿ<97D9=ÿXD:7;34ÿE56:Nÿ93ÿJD74ÿ23456748ÿ89:;<4=72>?@A@?Iÿ2¡4LD43956P
  AWTUTVAVA                                         ¢6:;45D=4?ÿ2Q=74348RÿAWTUTVAVA?

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                                                                                +,-./ÿ12.34/ÿ56+.-7/ÿ5689,:
                                              ;<9<ÿ=>?@ABC2DEÿ5FBA2
                                     9FB2GHA?ÿ:IJ2AID2ÿFKÿLHMÿNFA@ÿO+>?G>22>?P
                                       =>?@ABC2DEÿQH2I2IF?ÿRSÿTUVTTWXUV4HM
                                                                                     ~ a^ÿ[^_cÿÿx
YZZ[\]^_ÿabcÿefghiÿjklmnioÿpqÿrkois                                            ~ a^ÿa^[]a^_cÿÿxxx
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                                                                 wiuwisi{vigÿ|5>AAIHÿ«ÿ¬>A34>?ÿ
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 In re:                                                       Chapter 11

 RELATIVITY MEDIA, LLC, et al.,1                              Case No. 18-11358 (MEW)

                    Debtors.                                  (Jointly Administered)




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     Each of the Debtors in the above-captioned jointly administered chapter 11 cases and their respective tax
   identification numbers are set forth (a) in the Order (A) Authorizing the Joint Administration of their Chapter 11 Cases
   and (B) Waiving Requirements of Section 342(C)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n) [Docket
   No. 5] and (b) at https://cases.primeclerk.com/relativity. The location of Relativity Media, LLC’s corporate
   headquarters and the Debtors’ service address is: 9242 Beverly Blvd #300, Beverly Hills, CA 90210.
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 Proposed Counsel to the Debtors and Debtors in Possession

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            ZLWK WKH ILQDQFLDO VWDWHPHQWV RI HDFK 'HEWRU  $GGLWLRQDOO\ WKH 6FKHGXOHV DQG
            6WDWHPHQWV FRQWDLQ XQDXGLWHG LQIRUPDWLRQ WKDW LV VXEMHFW WR IXUWKHU UHYLHZ DQG
            SRWHQWLDODGMXVWPHQWDQGUHIOHFWWKH'HEWRUV¶UHDVRQDEOHHIIRUWVWRUHSRUWWKHDVVHWV
            DQGOLDELOLWLHVRIHDFK'HEWRURQDQXQFRQVROLGDWHGEDVLV

        E 'HEWRUV¶&RQVROLGDWHG&DVK0DQDJHPHQW6\VWHP7KH'HEWRUVXVHDFHQWUDOL]HG
            FDVKPDQDJHPHQWV\VWHPWRVWUHDPOLQHFROOHFWLRQWUDQVIHUDQGGLVEXUVHPHQWRIIXQGV
            JHQHUDWHG E\ WKH 'HEWRUV¶ EXVLQHVV RSHUDWLRQV  7KH FDVK PDQDJHPHQW V\VWHP LV
            RSHUDWHGDQGPDLQWDLQHGE\'HEWRU5HODWLYLW\0HGLD//&DVGHVFULEHGLQDebtors’
            Motion for Entry of Interim and Final Orders (A) Authorizing Continued Use of
            Existing Cash Management System, Bank Accounts and Business Forms, and Payment
            of Related Prepetition Obligations, (B) Waiving Certain Investment and Deposit
            Requirements on a Limited Basis, (C) Authorizing Continued Engagement in
            Intercompany Transactions, and (D) According Administrative Expense Priority
            Status to all Postpetition Intercompany Claims>'RFNHW1R@

        F &RQILGHQWLDO ,QIRUPDWLRQ  ,Q FHUWDLQ OLPLWHG LQVWDQFHV LQ WKH 6FKHGXOHV DQG
            6WDWHPHQWVWKH'HEWRUVKDYHGHHPHGLWQHFHVVDU\DQGDSSURSULDWHWRUHGDFWIURPWKH
            SXEOLFUHFRUGLQIRUPDWLRQVXFKDVQDPHVDGGUHVVHVRUDPRXQWV7KH'HEWRUVKDYH
            JHQHUDOO\XVHGWKLVDSSURDFKEHFDXVHRIDQDJUHHPHQWEHWZHHQWKH'HEWRUVDQGDWKLUG
            SDUW\FRQFHUQVRIFRQILGHQWLDOLW\RUFRQFHUQVIRUWKHSULYDF\RIDQLQGLYLGXDO7KH
            'HEWRUV ZLOO SURYLGH FRSLHV RI WKH XQUHGDFWHG LQIRUPDWLRQ WR WKH 86 7UXVWHH WKH
            &RPPLWWHHDQGDQ\SDUWLHVLQLQWHUHVWZKRKDYHDUHDVRQDEOHEDVLVIRUUHYLHZRIVXFK
            LQIRUPDWLRQ

        G 1HW%RRN9DOXHRI$VVHWV7KH'HEWRUVGRQRWKDYHFXUUHQWPDUNHWYDOXDWLRQVIRU
            WKHLU DVVHWV  ,W ZRXOG EH SURKLELWLYHO\ H[SHQVLYH XQGXO\ EXUGHQVRPH DQG DQ
            LQHIILFLHQWXVHRIHVWDWHUHVRXUFHVIRUWKH'HEWRUVWRREWDLQFXUUHQWPDUNHWYDOXDWLRQV
            IRUWKHLUDVVHWV:KHUHYHUSRVVLEOHXQDXGLWHGQHWERRNYDOXHVDVRIWKH3HWLWLRQ'DWH
            DUHSUHVHQWHG:KHQQHFHVVDU\WKH'HEWRUVKDYHLQGLFDWHGWKDWWKHYDOXHRIFHUWDLQ
            DVVHWV LV ³8QNQRZQ´ RU ³8QGHWHUPLQHG´  $PRXQWV XOWLPDWHO\ UHDOL]HG PD\ YDU\
            PDWHULDOO\ IURP QHW ERRN YDOXH RU ZKDWHYHU YDOXH ZDV RU PD\ EH DVFULEHG 
            $FFRUGLQJO\WKH'HEWRUVUHVHUYHDOOULJKWVWRDPHQGVXSSOHPHQWRUDGMXVWWKHDVVHW
            YDOXHVVHWIRUWKLQWKH6FKHGXOHVDQG6WDWHPHQWV

        H /LDELOLWLHV8QOHVVRWKHUZLVHLQGLFDWHGDOOOLDELOLWLHVDUHOLVWHGDVRIWKH3HWLWLRQ'DWH

        I &XUUHQF\$OODPRXQWVVKRZQLQWKH6FKHGXOHVDQG6WDWHPHQWVDUHLQ86'ROODUV
            XQOHVVRWKHUZLVHLQGLFDWHG


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         J 3D\PHQW RI 3UHSHWLWLRQ &ODLPV 3XUVXDQW WR )LUVW 'D\ 2UGHUV  7KH &RXUW KDV
             HQWHUHGRUGHUVDXWKRUL]LQJEXWQRWGLUHFWLQJWKH'HEWRUVWRDPRQJRWKHUWKLQJV D 
             SD\ SUHSHWLWLRQ HPSOR\HH ZDJHV DQG UHODWHG LWHPV LQFOXGLQJ HPSOR\HH EHQHILW
             SURJUDPVDQGLQGHSHQGHQWFRQWUDFWRUREOLJDWLRQV E SD\LQVXUDQFHREOLJDWLRQVDQG
              F SD\SUHSHWLWLRQUHVLGXDOVDQGSDUWLFLSDWLRQV$FFRUGLQJO\PDQ\RIWKH'HEWRUV¶
             SUHSHWLWLRQ REOLJDWLRQV WR HPSOR\HHV LQGHSHQGHQW FRQWUDFWRUV RU
             UHVLGXDOSDUWLFLSDWLRQEHQHILFLDULHVKDYHEHHQRUDUHLQWKHSURFHVVRIEHLQJVDWLVILHG
             DQGDUHWKXVQRWUHIOHFWHGLQWKH6FKHGXOHVDQG6WDWHPHQWV7KH'HEWRUVUHVHUYHWKH
             ULJKWWRXSGDWHWKH6FKHGXOHVDQG6WDWHPHQWVWRUHIOHFWIXUWKHUSD\PHQWVPDGHSXUVXDQW
             WRWKHDERYHUHIHUHQFHGRUGHUV

         K ,QWHUFRPSDQ\7UDQVIHUV7KHQHWEDODQFHRILQWHUFRPSDQ\WUDQVDFWLRQVEHWZHHQWKH
             'HEWRUVLIDQ\LVUHIOHFWHGRQ6FKHGXOH$%,WHPRU6FKHGXOH$%,WHPVDV
             DSSOLFDEOH  &HUWDLQ LQWHUFRPSDQ\ WUDQVIHUV EHWZHHQ 'HEWRUV DUH DOVR FDSWXUHG RQ
             62)$  F   7KH OLVWLQJ LQ WKH 6FKHGXOHV RU 6WDWHPHQWV E\ WKH 'HEWRUV RI DQ\
             REOLJDWLRQEHWZHHQD'HEWRUDQGDQRWKHU'HEWRULVDVWDWHPHQWRIZKDWDSSHDUVLQWKH
             'HEWRUV¶ERRNVDQGUHFRUGVDQGGRHVQRWUHIOHFWDQ\DGPLVVLRQRUFRQFOXVLRQRIWKH
             'HEWRUVUHJDUGLQJZKHWKHUVXFKDPRXQWVKRXOGEHDOORZHGDVDFODLPRUKRZVXFK
             REOLJDWLRQVPD\EHFODVVLILHGDQGRUFKDUDFWHUL]HGLQDSODQRIUHRUJDQL]DWLRQRUE\WKH
             %DQNUXSWF\&RXUW

         L ,QVLGHUV)RUSXUSRVHVRIWKH6FKHGXOHVDQG6WDWHPHQWVWKH'HEWRUVGHILQHLQVLGHUV
              LQDFFRUGDQFHZLWKLQVHFWLRQ  RIWKH%DQNUXSWF\&RGH DVWKH'HEWRUV¶ D 
             FXUUHQWDQGIRUPHUGLUHFWRUV E FXUUHQWDQGIRUPHUVHQLRUOHYHORIILFHUV F SHUVRQV
             LQFRQWURORIWKH'HEWRUV G UHODWLYHVRIHDFKRIWKHIRUHJRLQJ H DIILOLDWHVRIWKH
             'HEWRUV LQFOXGLQJ HTXLW\ KROGHUV KROGLQJ  RU PRUH RI WKH 'HEWRUV¶ YRWLQJ
             VHFXULWLHVDQGFRUSRUDWLRQVRIZKLFKWKH'HEWRUV RUWKHLUPDMRUHTXLW\KROGHUV KROG
             RUPRUHRIYRWLQJVHFXULWLHVDQG I LQVLGHUVRIVXFKDIILOLDWHVDOOWRWKHH[WHQW
             NQRZQWRWKH'HEWRUV HDFKDQ³,QVLGHU´ 

  'HEWRUV¶ 5HVHUYDWLRQ RI 5LJKWV  1RWKLQJ FRQWDLQHG LQ WKH 6FKHGXOHV 6WDWHPHQWV RU WKH
     1RWHVVKDOOFRQVWLWXWHDZDLYHURIULJKWVZLWKUHVSHFWWRWKHVHFKDSWHUFDVHVLQFOXGLQJEXW
     QRWOLPLWHGWRLVVXHVLQYROYLQJHTXLWDEOHVXERUGLQDWLRQFKDUDFWHUL]DWLRQRUUHFKDUDFWHUL]DWLRQ
     RIFRQWUDFWVDVVXPSWLRQRUUHMHFWLRQRIH[HFXWRU\FRQWUDFWVXQGHUWKHSURYLVLRQVRIFKDSWHU
     RIWKH%DQNUXSWF\&RGHDQGFDXVHVRIDFWLRQDULVLQJXQGHUWKHSURYLVLRQVRIFKDSWHURIWKH
     %DQNUXSWF\&RGHRUDQ\DSSOLFDEOHQRQEDQNUXSWF\ODZVWRUHFRYHUDVVHWVRUDYRLGWUDQVIHUV

         D $Q\IDLOXUHWRGHVLJQDWHDFODLPOLVWHGRQWKH6FKHGXOHVDV³GLVSXWHG´³FRQWLQJHQW´
             RU³XQOLTXLGDWHG´GRHVQRWFRQVWLWXWHDQDGPLVVLRQE\WKH'HEWRUVWKDWVXFKDPRXQWLV
             QRW ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´  7KH 'HEWRUV UHVHUYH WKH ULJKW WR
             GLVSXWHRUWRDVVHUWVHWRIIULJKWVFRXQWHUFODLPVRUGHIHQVHVWRDQ\FODLPUHIOHFWHGRQ
             LWV6FKHGXOHVDVWRDPRXQWOLDELOLW\RUFODVVLILFDWLRQRUWRDPHQGWKH6FKHGXOHVDQG
             6WDWHPHQWV WR VXEVHTXHQWO\ GHVLJQDWH DQ\ FODLP DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU
             ³XQOLTXLGDWHG´

         E /LVWLQJDFODLPRQWKH¶6FKHGXOHVDV³VHFXUHG´GRHVQRWFRQVWLWXWHDQDGPLVVLRQE\WKH
             'HEWRUV RI WKH OHJDO ULJKWV RI WKH FODLPDQW RU D ZDLYHU RI WKH 'HEWRUV¶ ULJKWV WR


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            UHFODVVLI\VXFKFODLPRUFRQWUDFW0RUHRYHUDOWKRXJKWKH'HEWRUVPD\KDYHVFKHGXOHG
            FODLPVRIYDULRXVFUHGLWRUVDVVHFXUHGFODLPVIRULQIRUPDWLRQDOSXUSRVHVQRFXUUHQW
            YDOXDWLRQ RI WKH 'HEWRUV¶ DVVHWV LQ ZKLFK VXFK FUHGLWRUV PD\ KDYH D OLHQ KDV EHHQ
            XQGHUWDNHQ7KH'HEWRUVUHVHUYHDOOULJKWVWRGLVSXWHRUFKDOOHQJHWKHVHFXUHGQDWXUH
            RIDQ\VXFKFUHGLWRU¶VFODLPVRUWKHFKDUDFWHUL]DWLRQRIWKHVWUXFWXUHRIDQ\WUDQVDFWLRQ
            RUDQ\GRFXPHQWRULQVWUXPHQWUHODWHGWRVXFKFUHGLWRU¶VFODLP

        F /LVWLQJ D FODLP RQ WKH 6FKHGXOHV DV ³XQVHFXUHG SULRULW\´ GRHV QRW FRQVWLWXWH DQ
            DGPLVVLRQE\WKH'HEWRUVRIWKHOHJDOULJKWVRIWKHFODLPDQW7KH'HEWRUVH[SUHVVO\
            UHVHUYHWKHULJKWWRDVVHUWWKDWDQ\FODLPOLVWHGDVDQXQVHFXUHGSULRULW\FODLPGRHVQRW
            FRQVWLWXWHDQXQVHFXUHGSULRULW\FODLPXQGHUVHFWLRQRIWKH%DQNUXSWF\&RGHDQG
            WKXVFRQVWLWXWHVDQXQVHFXUHGQRQSULRULW\FODLP

        G $OWKRXJK WKH 'HEWRUV KDYH PDGH UHDVRQDEOH HIIRUWV WR HQVXUH WKH DFFXUDF\ RI WKHLU
            6FKHGXOHV DQG 6WDWHPHQWV LQDGYHUWHQW HUURUV RPLVVLRQV RU LQFOXVLRQV PD\ KDYH
            RFFXUUHG  7KH 'HEWRUV UHVHUYH DOO RI WKHLU ULJKWV WR GLVSXWH WKH YDOLGLW\ VWDWXV RU
            HQIRUFHDELOLW\RIDQ\FRQWUDFWVDJUHHPHQWVRUOHDVHVVHWIRUWKRQWKH6FKHGXOHVDQG
            6WDWHPHQWV DQG WR DPHQG IXUWKHU RU VXSSOHPHQW WKH 6FKHGXOHV DQG 6WDWHPHQWV DV
            QHFHVVDU\

        H 7KH'HEWRUVIXUWKHUUHVHUYHDOORIWKHLUULJKWVFODLPVDQGFDXVHVRIDFWLRQZLWKUHVSHFW
            WRWKHFRQWUDFWVDQGDJUHHPHQWVOLVWHGRQWKH6FKHGXOHVDQG6WDWHPHQWVLQFOXGLQJWKH
            ULJKWWRGLVSXWHRUFKDOOHQJHWKHFKDUDFWHUL]DWLRQRUWKHVWUXFWXUHRIDQ\WUDQVDFWLRQ
            GRFXPHQWRULQVWUXPHQWUHODWHGWRDFUHGLWRU¶VFODLP7KHSODFLQJRIDFRQWUDFWRU
            OHDVHRQWRWKH6FKHGXOHVVKDOOQRWEHGHHPHGDQDGPLVVLRQWKDWVXFKFRQWUDFWLVDQ
            H[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHRUWKDWLWLVQHFHVVDULO\DELQGLQJYDOLGDQG
            HQIRUFHDEOH FRQWUDFW  7KH 'HEWRUV H[SUHVVO\ UHVHUYH WKH ULJKW WR DVVHUW WKDW DQ\
            FRQWUDFW OLVWHG RQ WKH 'HEWRUV¶ 6FKHGXOHV GRHV QRW FRQVWLWXWH DQ H[HFXWRU\ FRQWUDFW
            ZLWKLQWKHPHDQLQJRIVHFWLRQRIWKH%DQNUXSWF\&RGH

        I 7KH'HEWRUVXVHGWKHLUUHDVRQDEOHHIIRUWVWRORFDWHDQGLGHQWLI\JXDUDQWHHVDQGRWKHU
            VHFRQGDU\OLDELOLW\FODLPV WKH³*XDUDQWHHV´ LQWKHLUH[HFXWRU\FRQWUDFWVXQH[SLUHG
            OHDVHV VHFXUHG ILQDQFLQJV GHEW LQVWUXPHQWV DQG RWKHU DJUHHPHQWV  :KHUH VXFK
            *XDUDQWHHV KDYH EHHQ LGHQWLILHG WKH\ DUH LQFOXGHG LQ WKH UHOHYDQW 6FKHGXOHV  7KH
            'HEWRUVSODFHG*XDUDQW\REOLJDWLRQVRQ6FKHGXOH+IRUERWKWKHSULPDU\REOLJRUDQG
            WKH JXDUDQWRU RI WKH UHOHYDQW REOLJDWLRQ *XDUDQWHHV HPEHGGHG LQ WKH 'HEWRUV¶
            H[HFXWRU\FRQWUDFWVXQH[SLUHGOHDVHVVHFXUHGILQDQFLQJVGHEWLQVWUXPHQWVDQGRWKHU
            DJUHHPHQWV PD\ KDYH EHHQ LQDGYHUWHQWO\ RPLWWHG  7KXV WKH 'HEWRUV UHVHUYH WKHLU
            ULJKWVWRDPHQGRUVXSSOHPHQWWKH6FKHGXOHVWRWKHH[WHQWWKDWDGGLWLRQDO*XDUDQWHHV
            DUHLGHQWLILHG,QDGGLWLRQWKH'HEWRUVUHVHUYHWKHULJKWWRDPHQGWKH6FKHGXOHVDQG
            VWDWHPHQWVWRUHFKDUDFWHUL]HRUUHFODVVLI\DQ\VXFKFRQWUDFWRUFODLP

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      6FKHGXOH$%

         D *HQHUDOO\7RWKHH[WHQWDOLQHLWHPSHUWDLQLQJWRWKH'HEWRUV¶DVVHWVLQGLFDWHVDYDOXH
             RI³´'HEWRUVQRWHWKDWVXFKDPRXQWLVHLWKHU³XQNQRZQ´RU³XQGHWHUPLQHG´DQG
             VXFK ³´ GHVLJQDWLRQ GRHV QRW FRQVWLWXWH DQ DGPLVVLRQ WKDW DVVHWV DUH LQ IDFW
             YDOXHG DW ³´  )XUWKHUPRUH EHFDXVH FHUWDLQ DVVHWV RU OLDELOLWLHV DUH QRWHG DV
             ³´VXPPDU\OLQHLWHPVLQWKH'HEWRUV¶VFKHGXOHVUHIOHFWWRWDOVWKDWPD\EHOHVV
             WKDQWKHXOWLPDWHYDOXHRIVXFKDVVHWVRUOLDELOLWLHV

         E 6FKHGXOH$%,WHPV8QOHVVRWKHUZLVHQRWHGWKHDPRXQWVVKRZQDUHEDVHGRQ
             FORVLQJ DFFRXQW EDODQFHV RU DPRXQWV RQ GHSRVLWSUHSDLG DV RI WKH 3HWLWLRQ 'DWH
             )XUWKHUPRUHWKH'HEWRUVPDLQWDLQFHUWDLQLQVXUDQFHSROLFLHVZKLFKLQFOXGHSD\PHQWV
             PDGHRQDFFRXQWRISROLF\SUHPLXPVZKLFKDUHGHVFULEHGLQIXUWKHUGHWDLOLQ6FKHGXOH
             $%,WHP

         F 6FKHGXOH $% ,WHPV   7KH DFFRXQWV UHFHLYDEOH LQFOXGHV LQWHUFRPSDQ\
             UHFHLYDEOHV ZKLFK DUH DFFRXQWLQJ DOORFDWLRQV SHUIRUPHG DV SDUW RI WKH 'HEWRUV¶
             FHQWUDOL]HG FDVK PDQDJHPHQW V\VWHP  7R WKH H[WHQW WKDW DPRXQWV DUH FROOHFWHG RQ
             DFFRXQWRISD\79UHFHLYDEOHVRQO\QHWDPRXQWVRZHGWRWKH'HEWRUVDUHUHIOHFWHGLQ
             WKH'HEWRUV¶6FKHGXOH$%,WHP

         G 6FKHGXOH$%,WHP2ZQHUVKLSLQWHUHVWVLQVXEVLGLDULHVWRWKHH[WHQWDSSOLFDEOH
             KDYHEHHQOLVWHGLQ6FKHGXOH$%,WHPDVDQXQGHWHUPLQHGDPRXQWEHFDXVHWKHIDLU
             PDUNHWYDOXHRIVXFKRZQHUVKLSLVGHSHQGHQWRQQXPHURXVYDULDEOHVDQGIDFWRUVDQG
             OLNHO\GLIIHUVVLJQLILFDQWO\IURPWKHLUQHWERRNYDOXH,QDGGLWLRQWKH'HEWRUVKDYH
             LQWHUHVWV LQ YDULRXV MRLQW YHQWXUHV WKDW DUH LQFRUSRUDWHG DQGRU XQLQFRUSRUDWHG
             EXVLQHVVHV  :KHUH SRVVLEOH LQWHUHVWV LQ VXFK MRLQW YHQWXUHV DUH DOVR LGHQWLILHG RQ
             6FKHGXOH$%,WHP

         H 6FKHGXOH$%,WHPVDQG7KHRPLVVLRQRIDQ\SDWHQWWUDGHPDUNFRS\ULJKW
             RUWUDGHVHFUHWIURP6FKHGXOH$%,WHPVDQGRUGRHVQRWFRQVWLWXWHDZDLYHURI
             DQ\VXFKSDWHQWWUDGHPDUNFRS\ULJKWRUWUDGHVHFUHW7KH'HEWRUVKDYHQRWDVVLJQHG
             YDOXHWRRULGHQWLILHGWKHH[SLUDWLRQGDWHIRUDOORIWKHWUDGHPDUNVSDWHQWVFRS\ULJKWV
             DQGRWKHULQWHOOHFWXDOSURSHUW\LGHQWLILHGRQ6FKHGXOH$%,WHPVDQG7KHIDLU
             PDUNHW YDOXH RI VXFK LQWHOOHFWXDO SURSHUW\ LV GHSHQGHQW RQ QXPHURXV YDULDEOHV DQG
             IDFWRUVDQGOLNHO\GLIIHUVVLJQLILFDQWO\IURPLWVQHWERRNYDOXH

         I 6FKHGXOH $% ,WHP   7KH 'HEWRUV KDYH QRW DVVLJQHG YDOXH WR WKH SHUPLWV DQG
             OLFHQVHVLGHQWLILHGRQ6FKHGXOH$%,WHP7KHIDLUPDUNHWYDOXHRIVXFKSHUPLWV
             DQG OLFHQVHV LV GHSHQGHQW RQ QXPHURXV YDULDEOHV DQG IDFWRUV DQG OLNHO\ GLIIHUV
             VLJQLILFDQWO\IURPWKHLUQHWERRNYDOXH

         J 6FKHGXOH$%,WHP7KHRPLVVLRQRIDQ\WD[UHIXQGRUQHWRSHUDWLQJORVVIURP
             6FKHGXOH$%,WHPGRHVQRWFRQVWLWXWHDZDLYHURIDQ\WD[UHIXQGRUQHWRSHUDWLQJ
             ORVV


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         K 6FKHGXOH$%,WHP7KH'HEWRUVPDLQWDLQFHUWDLQLQVXUDQFHSROLFLHV$GGLWLRQDO
             LQIRUPDWLRQ UHJDUGLQJ WKH LQVXUDQFH SROLFLHV OLVWHG RQ 6FKHGXOH $% ,WHP  LV
             DYDLODEOHLQ D Debtors’ Motion for an Order (A) Authorizing, but not Directing, the
             Debtors to Continue Prepetition Insurance Coverage and Pay Prepetition Obligations
             Relating Thereto and (B) Authorizing, but not Directing, all Financial Institutions to
             Honor all Related Payment Requests>'RFNHW1R@DQG E Debtors Motion for an
             Order Authorizing the Debtors to Obtain Tail Insurance to Continue Prepetition
             Insurance Coverage and Pay Obligations Relating Thereto>'RFNHW1R@

         L 6FKHGXOH$%,WHPVDQG7KHRPLVVLRQRIDQ\FRXQWHUFODLPFODLPRUFDXVH
             RIDFWLRQIURP6FKHGXOH$%,WHPVDQGGRHVQRWFRQVWLWXWHDZDLYHURIDQ\VXFK
             FRXQWHUFODLPFODLPRUFDXVHRIDFWLRQ$VSUHYLRXVO\GHVFULEHGWRWKHH[WHQWDOLQH
             LWHPSHUWDLQLQJWRWKH'HEWRUV¶DVVHWVLQGLFDWHVDYDOXHRI³´'HEWRUVQRWHWKDW
             VXFK DPRXQW LV HLWKHU ³XQNQRZQ´ RU ³XQGHWHUPLQHG´ DQG VXFK ³´ GHVLJQDWLRQ
             GRHVQRWFRQVWLWXWHDQDGPLVVLRQWKDWDVVHWVDUHLQIDFWYDOXHGDW³´

      6FKHGXOH'

            D 7KH FODLPV OLVWHG RQ 6FKHGXOH ' DURVH RU ZHUH LQFXUUHG RQ YDULRXV GDWHV  $
                GHWHUPLQDWLRQRIWKHGDWHXSRQZKLFKHDFKFODLPDURVHRUZDVLQFXUUHGZRXOGEH
                XQGXO\ EXUGHQVRPH DQG FRVW SURKLELWLYH  $FFRUGLQJO\ QRW DOO VXFK GDWHV DUH
                LQFOXGHGIRUHDFKFODLP7RWKHEHVWRIWKH'HEWRUV¶NQRZOHGJHDOOFODLPVOLVWHG
                RQ6FKHGXOH'DSSHDUWRKDYHDULVHQRUWRKDYHEHHQLQFXUUHGEHIRUHWKH3HWLWLRQ
                'DWH

            E ([FHSWDVRWKHUZLVHDJUHHGRURUGHUHGE\WKH%DQNUXSWF\&RXUWWKH'HEWRUVUHVHUYH
                WKHLU ULJKWV WR GLVSXWH RU FKDOOHQJH WKH YDOLGLW\ SHUIHFWLRQ RU LPPXQLW\ IURP
                DYRLGDQFHRIDQ\OLHQSXUSRUWHGWREHJUDQWHGRUSHUIHFWHGLQDQ\VSHFLILFDVVHWRI
                D VHFXUHGFUHGLWRU OLVWHG RQ 6FKHGXOH ' RI DQ\ 'HEWRU  0RUHRYHU DOWKRXJK WKH
                'HEWRUVKDYHVFKHGXOHGFODLPVRIYDULRXVFUHGLWRUVDVVHFXUHGFODLPVWKH'HEWRUV
                UHVHUYH DOO RI WKHLUULJKWV WR GLVSXWHRU FKDOOHQJH WKH VHFXUHG QDWXUH RI DQ\ VXFK
                FUHGLWRU¶VFODLPRUWKHFKDUDFWHUL]DWLRQRIWKHVWUXFWXUHRIDQ\VXFKWUDQVDFWLRQRU
                DQ\ GRFXPHQW RU LQVWUXPHQW UHODWHG WR VXFK FUHGLWRU¶V FODLP  7KH GHVFULSWLRQV
                SURYLGHGLQ6FKHGXOH'DUHVROHO\LQWHQGHGWREHDVXPPDU\DQGQRWDQDGPLVVLRQ
                RIOLDELOLW\

            F 5HIHUHQFHWRWKHDSSOLFDEOHORDQDJUHHPHQWVDQGRUVHFXULW\DJUHHPHQWVDQGUHODWHG
                GRFXPHQWVLVQHFHVVDU\IRUDFRPSOHWHGHVFULSWLRQRIWKHFROODWHUDODQGWKHQDWXUH
                H[WHQW DQG SULRULW\ RI OLHQV  ([FHSW DV VSHFLILFDOO\ VWDWHG KHUHLQ UHDO SURSHUW\
                OHVVRUVXWLOLW\FRPSDQLHVDQGRWKHUSDUWLHVWKDWPD\KROGVHFXULW\GHSRVLWVPD\QRW
                KDYHEHHQOLVWHGRQ6FKHGXOH'

            G 7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVWRDPHQG6FKHGXOH'WRWKHH[WHQWWKDWWKH
                'HEWRUV GHWHUPLQH WKDW DQ\ FODLPV DVVRFLDWHG ZLWK VXFK DJUHHPHQW VKRXOG EH
                UHSRUWHGRQ6FKHGXOH'1RWKLQJKHUHLQVKDOOEHFRQVWUXHGDVDQDGPLVVLRQE\WKH
                'HEWRUVRIWKHOHJDOULJKWVRIWKHFODLPDQWGHHPHGDPRGLILFDWLRQRULQWHUSUHWDWLRQ



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                RIWKHWHUPVRIVXFKDJUHHPHQWVRUFRQVLGHUHGDZDLYHURIWKH'HEWRUV¶ULJKWVWR
                UHFKDUDFWHUL]HRUUHFODVVLI\VXFKFODLPRUFRQWUDFW

            H 0RUHRYHUWKH'HEWRUVKDYHQRWLQFOXGHGRQ6FKHGXOH'SDUWLHVWKDWPD\EHOLHYH
                WKHLUFODLPVDUHVHFXUHGWKURXJKVHWRIIULJKWVRULQFKRDWHVWDWXWRU\OLHQULJKWV

      6FKHGXOH()

            D 7KH'HEWRUVKDYHXVHGUHDVRQDEOHHIIRUWVWRUHSRUWDOOXQVHFXUHGFODLPVDJDLQVWWKH
                'HEWRUVRQ6FKHGXOH()EDVHGXSRQWKH'HEWRUV¶H[LVWLQJERRNVDQGUHFRUGVDVRI
                WKH3HWLWLRQ'DWH7KHFODLPVOLVWHGRQ6FKHGXOH()DURVHRUZHUHLQFXUUHG RQ
                YDULRXVGDWHV,QFHUWDLQLQVWDQFHVWKHGDWHRQZKLFKDFODLPDURVHLVDQRSHQLVVXH
                RI IDFW  $OWKRXJK UHDVRQDEOH HIIRUWV KDYH EHHQ PDGH WR LGHQWLI\ WKH GDWH RI
                LQFXUUHQFHRIHDFKFODLPGHWHUPLQDWLRQRIWKHGDWHWKDWHDFKFODLPLQ6FKHGXOH)
                ZDV LQFXUUHG RU DURVH ZRXOG EH XQGXO\ EXUGHQVRPH DQG FRVW SURKLELWLYH
                7KHUHIRUHZKLOHWKH'HEWRUVGRQRWOLVWDGDWHIRUHDFKFODLPOLVWHGRQ6FKHGXOH
                ()WRWKHEHVWRIWKH'HEWRUV¶NQRZOHGJHDOOFODLPVOLVWHGRQ6FKHGXOH()DSSHDU
                WRKDYHDULVHQRUWRKDYHEHHQLQFXUUHGEHIRUHWKH3HWLWLRQ'DWH

            E 7KH'HEWRUVUHVHUYHWKHULJKWWRDVVHUWDQ\VXFKFODLPVDUHFRQWLQJHQWXQOLTXLGDWHG
                DQGRUGLVSXWHGDVDSSOLFDEOH7KH'HEWRUVKDYHQRWOLVWHGRQ6FKHGXOH()DQ\
                SULRULW\ HPSOR\HH ZDJH DQGRU EHQHILW FODLPV IRU ZKLFK WKH 'HEWRUV KDYH EHHQ
                JUDQWHG DXWKRULW\ EXW QRW GLUHFWLRQ  WR SD\ SXUVXDQW WR DQ RUGHU IURP WKH
                %DQNUXSWF\&RXUW7KH'HEWRUVEHOLHYHWKDWDOOVXFKFODLPVKDYHEHHQVDWLVILHG
                GXULQJ WKHVH FKDSWHU  FDVHV SXUVXDQW WR WKH DXWKRULW\ JUDQWHG LQ WKH UHOHYDQW
                RUGHU V 

            F 7KH'HEWRUVUHVHUYHWKHULJKWWRDVVHUWWKDWDQ\FODLPOLVWHGRQ6FKHGXOH()GRHV
                QRWFRQVWLWXWHDSULRULW\FODLPXQGHUVHFWLRQRIWKH%DQNUXSWF\&RGHDQGWKXV
                FRQVWLWXWHVDQXQVHFXUHGQRQSULRULW\FODLP

            G 6FKHGXOH () GRHV QRW LQFOXGH FHUWDLQ EDODQFHV LQFOXGLQJ GHIHUUHG OLDELOLWLHV
                DFFUXDOVRUJHQHUDOUHVHUYHV6XFKDFFUXDOVSULPDULO\UHSUHVHQWJHQHUDOHVWLPDWHV
                RI OLDELOLWLHV DQG GR QRW UHSUHVHQW VSHFLILF FODLPV DV RI WKH 3HWLWLRQ 'DWH  7KH
                'HEWRUVKDYHPDGHUHDVRQDEOHHIIRUWVWRLQFOXGHDVFRQWLQJHQWXQOLTXLGDWHGDQGRU
                GLVSXWHGWKHFODLPRIDQ\SDUW\QRWLQFOXGHGRQWKH'HEWRUV¶RSHQDFFRXQWVSD\DEOH
                WKDWLVDVVRFLDWHGZLWKDQDFFRXQWWKDWKDVDFFUXDORUUHFHLSWQRWLQYRLFHG

            H 7KHFODLPVRILQGLYLGXDOFUHGLWRUVPD\QRWUHIOHFWFUHGLWVDQGRUDOORZDQFHVGXH
                IURPFUHGLWRUVWRWKHDSSOLFDEOH'HEWRU7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWK
                UHVSHFW WR DQ\ VXFK FUHGLWV DQGRU DOORZDQFHV LQFOXGLQJ WKH ULJKW WR DVVHUW
                REMHFWLRQVDQGRUVHWRIIVZLWKUHVSHFWWRVDPH

            I 7KH%DQNUXSWF\&RXUWKDVDXWKRUL]HGWKH'HEWRUVWRSD\LQWKHLUGLVFUHWLRQFHUWDLQ
                QRQSULRULW\XQVHFXUHGFODLPVSXUVXDQWWR%DQNUXSWF\&RXUWRUGHUV7RWKHH[WHQW
                SUDFWLFDEOHHDFK'HEWRU¶V6FKHGXOH()LVLQWHQGHGWRUHIOHFWWKHEDODQFHDVRIWKH
                3HWLWLRQ'DWHDVDGMXVWHGE\DQ\VXEVHTXHQWSD\PHQWRUVDWLVIDFWLRQ7RWKHH[WHQW


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                DQXQVHFXUHGFODLPKDVEHHQSDLGRUPD\EHSDLGLWLVSRVVLEOHVXFKFODLPLVQRW
                LQFOXGHGRQ6FKHGXOH()&HUWDLQ'HEWRUVPD\SD\DGGLWLRQDOFODLPVOLVWHGRQ
                6FKHGXOH () GXULQJ WKHVH FKDSWHU  FDVHV SXUVXDQW WR H[LVWLQJ DQGRU IXUWKHU
                RUGHUVRIWKH%DQNUXSWF\&RXUWDQGWKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVWRXSGDWH
                6FKHGXOH()WRUHIOHFWVXFKSD\PHQWVRUWRPRGLI\WKHFODLPVUHJLVWHUWRDFFRXQW
                IRU WKH VDWLVIDFWLRQ RI VXFK FODLPV  &HUWDLQ FODLPV OLVWHG RQ 6FKHGXOH () PD\
                LQFOXGHDPRXQWVHQWLWOHGWRDGPLQLVWUDWLYHSULRULW\SXUVXDQWWRVHFWLRQ E  RI
                WKH%DQNUXSWF\&RGH

            J 6FKHGXOH () FRQWDLQV LQIRUPDWLRQ UHJDUGLQJ SHQGLQJ OLWLJDWLRQ LQYROYLQJ WKH
                'HEWRUV  ,Q FHUWDLQ LQVWDQFHV WKH DPRXQW WKDW LV WKH VXEMHFW RI WKH OLWLJDWLRQ LV
                XQFHUWDLQRUXQGHWHUPLQHG7KHGROODUDPRXQWRISRWHQWLDOFODLPVDVVRFLDWHGZLWK
                DQ\VXFKSHQGLQJOLWLJDWLRQLVOLVWHGDV³XQGHWHUPLQHG´DQGPDUNHGDVFRQWLQJHQW
                XQOLTXLGDWHGDQGGLVSXWHGLQWKH6FKHGXOHVDQG6WDWHPHQWV7KHLQFOXVLRQRIDQ\
                OLWLJDWLRQLQ6FKHGXOH()RURWKHUZLVHGRHVQRWFRQVWLWXWHDQDGPLVVLRQRIOLDELOLW\
                DOOHJHGLQVXFKOLWLJDWLRQ

            K ,Q DGGLWLRQ DOWKRXJK WKH 'HEWRUV KDYH PDGH UHDVRQDEOH HIIRUWV WR DWWULEXWH WKH
                6FKHGXOH()GHEWWRWKHULJKWIXO'HEWRUHQWLW\LQFHUWDLQLQVWDQFHVWKH6FKHGXOH
                ()GHEWLQIDFWPD\SURSHUO\EHDJDLQVWDQRWKHU'HEWRUHQWLW\$FFRUGLQJO\WKH
                'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFWWRWKHDWWULEXWLRQRIWKHOLDELOLWLHVDQG
                UHVHUYHWKHULJKWWRDPHQGWKH6FKHGXOHVDQG6WDWHPHQWV

            L 7R WKH H[WHQW WKH\ DUH NQRZQ 6FKHGXOH () UHSUHVHQWV WKH SUHSHWLWLRQ DPRXQWV
                RZLQJ WR FRXQWHUSDUWLHV WR H[HFXWRU\ FRQWUDFWV DQG XQH[SLUHG OHDVHV  6XFK
                SUHSHWLWLRQDPRXQWVKRZHYHUPD\EHSDLGLQFRQQHFWLRQZLWKWKHDVVXPSWLRQRU
                WKH DVVXPSWLRQ DQG DVVLJQPHQW RI DQ H[HFXWRU\ FRQWUDFW RU XQH[SLUHG OHDVH
                $GGLWLRQDOO\6FKHGXOH()GRHVQRWLQFOXGHSRWHQWLDOUHMHFWLRQGDPDJHFODLPVLI
                DQ\RIWKHFRXQWHUSDUWLHVWRH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVWKDWPD\EH
                UHMHFWHG

            M 7R WKH H[WHQW D FODLP LV OLVWHG XQGHU 6FKHGXOH () DV RZHG WR D SURIHVVLRQDO
                SDUWLFXODUO\DVWRDSURIHVVLRQDORUSURIHVVLRQDOVZKRUHQGHUHGVHUYLFHVGXULQJWKH
                'HEWRUV¶ILUVWFKDSWHUFDVHWKRXJKVXFKFODLPVPD\FRQVWLWXWHDQREOLJDWLRQRI
                RQH RU PRUH RWKHU 'HEWRUV¶ HVWDWHV IRU WKH VDNH RI FODULW\ VXFK DPRXQWV DUH
                UHIOHFWHGDVFODLPVDJDLQVWWKH'HEWRU5HODWLYLW\0HGLD//&

      6FKHGXOH*

            D $OWKRXJKWKH'HEWRUV¶H[LVWLQJUHFRUGVDQGLQIRUPDWLRQV\VWHPVKDYHEHHQUHOLHG
                XSRQ WR LGHQWLI\ DQG VFKHGXOH H[HFXWRU\ FRQWUDFWV DQG XQH[SLUHG OHDVHV DQG
                UHDVRQDEOH HIIRUWV KDYH EHHQ PDGH WR HQVXUH WKH DFFXUDF\ RI 6FKHGXOH *
                LQDGYHUWHQWHUURUVRURPLVVLRQVPD\KDYHRFFXUUHG7KH'HEWRUVUHVHUYHDOOULJKWV
                WR GLVSXWH WKH YDOLGLW\ VWDWXV RU HQIRUFHDELOLW\ RI DQ\ FRQWUDFWV DJUHHPHQWV RU
                OHDVHVVHWIRUWKLQ6FKHGXOH*DQGWRDPHQGRUVXSSOHPHQW6FKHGXOH*DVQHFHVVDU\
                7KH FRQWUDFWV DJUHHPHQWV DQG OHDVHV OLVWHG WKHUHLQ PD\ KDYH H[SLUHG RU EHHQ
                PRGLILHGDPHQGHGRUVXSSOHPHQWHGIURPWLPHWRWLPHE\YDULRXVDPHQGPHQWV


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                UHVWDWHPHQWV ZDLYHUV HVWRSSHO FHUWLILFDWHV OHWWHUV PHPRUDQGD DQG RWKHU
                GRFXPHQWVLQVWUXPHQWVDQGDJUHHPHQWVZKLFKPD\QRWEHOLVWHGWKHUHLQ

            E 7KH SUHVHQFH RI D FRQWUDFW RU DJUHHPHQW RQ 6FKHGXOH * GRHV QRW FRQVWLWXWH DQ
                DGPLVVLRQ DV WR WKH H[LVWHQFH YDOLGLW\ RU HQIRUFHDELOLW\ RI WKH FRQWUDFW RU
                DJUHHPHQWRUWKDWVXFKFRQWUDFWRUDJUHHPHQWLVDQH[HFXWRU\FRQWUDFWRUXQH[SLUHG
                OHDVH DQG WKH RPLVVLRQ RI D FRQWUDFW RU DJUHHPHQW IURP 6FKHGXOH * GRHV QRW
                FRQVWLWXWHDQDGPLVVLRQWKDWDFRQWUDFWRUDJUHHPHQWGRHVQRWH[LVW7KHSUHVHQFH
                RIDFRQWUDFWRUDJUHHPHQWRQ6FKHGXOH*GRHVQRWFRQVWLWXWHDQDGPLVVLRQ7KH
                'HEWRUVUHVHUYHDOOULJKWVFODLPVDQGFDXVHVRIDFWLRQZLWKUHVSHFWWRWKHFRQWUDFWV
                DQGDJUHHPHQWVOLVWHGRQ6FKHGXOH*LQFOXGLQJWKHULJKWVWRGLVSXWHRUFKDOOHQJH
                WKH FKDUDFWHUL]DWLRQ RU WKH VWUXFWXUH RI DQ\ WUDQVDFWLRQ GRFXPHQW RU LQVWUXPHQW
                &HUWDLQ H[HFXWRU\ DJUHHPHQWV PD\ QRW KDYH EHHQ PHPRULDOL]HG LQ ZULWLQJ DQG
                FRXOGEHVXEMHFWWRGLVSXWH

      6FKHGXOH+

            D )RUSXUSRVHVRI6FKHGXOH+WKH'HEWRUVWKDWDUHHLWKHUWKHSULQFLSDOREOLJRUVRU
                JXDUDQWRUVXQGHUWKHSUHSHWLWLRQVHFXUHGFUHGLWIDFLOLWLHVDUHOLVWHGDV&R'HEWRUV
                RQ6FKHGXOH+7KH'HEWRUVPD\QRWKDYHLGHQWLILHGFHUWDLQ*XDUDQWHHVDVVRFLDWHG
                ZLWKWKH'HEWRUV¶H[HFXWRU\FRQWUDFWVXQH[SLUHGOHDVHVVHFXUHGILQDQFLQJVGHEW
                LQVWUXPHQWVDQGRWKHUVXFKDJUHHPHQWV7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVWR
                DPHQGWKH6FKHGXOHVWRWKHH[WHQWWKDWDGGLWLRQDO*XDUDQWHHVDUHLGHQWLILHGRUVXFK
                *XDUDQWHHVDUHGLVFRYHUHGWRKDYHH[SLUHGRUEHXQHQIRUFHDEOH

            E ,QWKHRUGLQDU\FRXUVHRIWKHLUEXVLQHVVHVWKH'HEWRUVPD\EHLQYROYHGLQSHQGLQJ
                RU WKUHDWHQHG OLWLJDWLRQ  7KHVH PDWWHUV PD\ LQYROYH PXOWLSOH SODLQWLIIV DQG
                GHIHQGDQWV VRPH RU DOO RI ZKRP PD\ DVVHUW FURVVFODLPV DQG FRXQWHUFODLPV
                DJDLQVW RWKHU SDUWLHV  %HFDXVH DOO VXFK FODLPV DUH FRQWLQJHQW GLVSXWHG DQGRU
                XQOLTXLGDWHG VXFK FODLPV KDYH QRW EHHQ VHW IRUWK LQGLYLGXDOO\ RQ 6FKHGXOH +
                /LWLJDWLRQPDWWHUVFDQEHIRXQGRQHDFK'HEWRU¶V6FKHGXOH()

       6SHFLILF1RWHV5HJDUGLQJWKH'HEWRUV¶6WDWHPHQWVRI)LQDQFLDO$IIDLUV ³62)$´ 

      62)$,WHP$VLVVHWIRUWKLQ,WHPRIHDFKRIWKH'HEWRUV¶62)$VUHJDUGLQJFHUWDLQ
         RIWKH'HEWRUV¶IRUPHURIILFHUVPHPEHUVRUPDQDJHUVEHFDXVHWKHGDWHVRILQVWDOOPHQWIRU
         HDFKRIWKRVHLQGLYLGXDOVYDULHVIURP'HEWRUWR'HEWRUDQGDUHQRWUHDGLO\FRQILUPHGE\
         WKH'HEWRUV¶ERRNVDQGUHFRUGVWKH'HEWRUVQRWHLQ62)$,WHPWKDWHDFKVXFKIRUPHU
         RIILFHUPHPEHURUPDQDJHUVHUYHGIRUDWOHDVWWKHSHULRGLQTXHVWLRQ i.e.WKH\HDUSULRU
         WRWKH3HWLWLRQ'DWH HYHQWKRXJKWKHLUWHUPVEHJDQRQGDWHVPXFKHDUOLHULQWLPH




                                                   
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 Fill in this information to identify the case:

 'HEWRUQDPH            Relativity Rogue, LLC

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH                       6287+(51',675,&72)1(:<25.

 &DVHQXPEHU LINQRZQ                18-11328
                                                                                                                                                                                      &KHFNLIWKLVLVDQ
                                                                                                                                                                                       DPHQGHGILOLQJ



2IILFLDO)RUP6XP
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 3DUW      Summary of Assets


     6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\ 2IILFLDO)RUP$%

       DReal property:
       &RS\OLQHIURPSchedule A/B.............................                                    0.00

       ETotal personal property:
       &RS\OLQH$IURPSchedule A/B....................................                                       0.00

       FTotal of all property:
       &RS\OLQHIURPSchedule A/B............................                                      0.00


 3DUW      Summary of Liabilities


     6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\ 2IILFLDO)RUP'
       &RS\WKHWRWDOGROODUDPRXQWOLVWHGLQ&ROXPQ$Amount of claim,IURPOLQHRISchedule D....................................                                                       119,013,263.61


     6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV 2IILFLDO)RUP()

       3a. Total claim amounts of priority unsecured claims:
       &RS\WKHWRWDOFODLPVIURP3DUWIURPOLQHDRISchedule E/F..........................................                                                       0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
       &RS\WKHWRWDORIWKHDPRXQWRIFODLPVIURP3DUWIURPOLQHERISchedule E/F................                                           +                    0.00


     Total liabilities 
       /LQHVDE                                                                                                                                                                   119,013,263.61




 2IILFLDO)RUP6XP                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                                          %HVW&DVH%DQNUXSWF\
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                                                Pg 13 of 30
 Fill in this information to identify the case:

 'HEWRUQDPH         Relativity Rogue, LLC

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            6287+(51',675,&72)1(:<25.

 &DVHQXPEHU LINQRZQ          18-11328
                                                                                                                        &KHFNLIWKLVLVDQ
                                                                                                                         DPHQGHGILOLQJ



2IILFLDO)RUP$%
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on 6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 3DUW      Cash and cash equivalents
 Does the debtor have any cash or cash equivalents?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 3DUW        Deposits and Prepayments
 Does the debtor have any deposits or prepayments?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Accounts receivable
 Does the debtor have any accounts receivable?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Investments
 Does the debtor own any investments?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Inventory, excluding agriculture assets
 Does the debtor own any inventory (excluding agriculture assets)?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Farming and fishing-related assets (other than titled motor vehicles and land)
 Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    1R*RWR3DUW
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                 SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                %HVW&DVH%DQNUXSWF\
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 'HEWRU         Relativity Rogue, LLC                                                         &DVHQXPEHU(If known) 18-11328
                1DPH


    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Office furniture, fixtures, and equipment; and collectibles
 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Machinery, equipment, and vehicles
 Does the debtor own or lease any machinery, equipment, or vehicles?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        Real property
 Does the debtor own or lease any real property?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW       Intangibles and intellectual property
 Does the debtor have any interests in intangibles or intellectual property?

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                               :KHUHDYDLODEOH

         Patents, copyrights, trademarks, and trade secrets
            See SOAL Part 10, Question 60 Attachment                                        $0.00                                                 $0.00



         Internet domain names and websites

         Licenses, franchises, and royalties

         Customer lists, mailing lists, or other compilations

         Other intangibles, or intellectual property

         Goodwill

         Total of Part 10.                                                                                                                  $0.00
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

         Do your lists or records include personally identifiable information of customers DVGHILQHGLQ86& $ DQG?
            1R
            <HV
         Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            1R
            <HV
         Has any of the property listed in Part 10 been appraised by a professional within the last year?
            1R
            <HV
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                   SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                     %HVW&DVH%DQNUXSWF\
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 'HEWRU         Relativity Rogue, LLC                                                        &DVHQXPEHU(If known) 18-11328
                1DPH



 3DUW       All other assets
 Does the debtor own any other assets that have not yet been reported on this form?
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                               Current value of
                                                                                                                               debtor's interest


         Notes receivable
            'HVFULSWLRQ LQFOXGHQDPHRIREOLJRU

         Tax refunds and unused net operating losses (NOLs)
            'HVFULSWLRQ IRUH[DPSOHIHGHUDOVWDWHORFDO

         Interests in insurance policies or annuities

         Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Possible action; Relativity Roge LLC claim against
            Black Monday Film Services, LLC; Breach of agreement
            dated 5/17/10 re film Skyline; failed to honor Relativity’s
            first and last match right.                                                                                                    Unknown
            Nature of claim           Breach of agreement dated
                                      5/17/10 re film Skyline
            Amount requested                                $0.00



         Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

         Trusts, equitable or future interests in property

         Other property of any kind not already listed Examples: 6HDVRQWLFNHWV
            FRXQWU\FOXEPHPEHUVKLS

         Total of Part 11.                                                                                                                 $0.00
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

         Has any of the property listed in Part 11 been appraised by a professional within the last year?
            1R
            <HV




2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                  SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                    %HVW&DVH%DQNUXSWF\
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 'HEWRU          Relativity Rogue, LLC                                                                               &DVHQXPEHU(If known) 18-11328
                 1DPH



 3DUW        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

  Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

  Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

  Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

  Investments. Copy line 17, Part 4.                                                                                      $0.00

  Inventory. Copy line 23, Part 5.                                                                                        $0.00

  Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

  Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

  Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

  Real property. Copy line 56, Part 9..........................................>                                $0.00

  Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

  All other assets. Copy line 78, Part 11.                                                    +                           $0.00

  Total. $GGOLQHVWKURXJKIRUHDFKFROXPQ                                                                      $0.00       + E                      $0.00


  Total of all property on Schedule A/B$GGOLQHVDE                                                                                                           $0.00




2IILFLDO)RUP$%                                               6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                                          SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                 %HVW&DVH%DQNUXSWF\
                                                                                                                                 In re Relativity Rogue, LLC
                                                                                 18-11358-mew            Doc 166        Filed 05/20/18 Entered 05/20/18 21:18:17                        Main Document
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                                                                                                                                     Pg 17 of 30
                                                                                                       SOAL A/B: P10, Q60, Patents, copyrights, trademarks, and trade secrets




                    Specific Information                                                                                                                         Description                                                                                                             Current Value
                                                       09 - AUDIO RECORDINGS FEATURING MUSIC; CINEMATOGRAPHIC FILMS FEATURING A WIDE VARIETY OF THEMES; COMPACT DISCS FEATURING MUSIC; COMPUTER GAME SOFTWARE; COMPUTER PROGRAMS FOR VIDEO AND COMPUTER GAMES; COMPUTER
                                                       SOFTWARE FEATURING MUSICAL SOUND RECORDINGS AND MUSICAL VIDEO RECORDINGS; COMPUTER SOFTWARE THAT PROVIDES WEB-BASED ACCESS TO APPLICATIONS AND SERVICES THROUGH A WEB OPERATING SYSTEM OR PORTAL INTERFACE; DIGITAL
                                                       MEDIA, NAMELY, CDS, DVDS, HIGH DEFINITION DIGITAL DISCS, AND DOWNLOADABLE FLIES FEATURING MOVIES, SHOWS, GAMES AND MUSIC; DIGITAL MUSIC DOWNLOADABLE FROM THE INTERNET; DOWNLOADABLE FILMS AND TELEVISION PROGRAMS
                                                       FEATURING WIDE VARIETY OF THEMES PROVIDED VIA A VIDEO-ON-DEMAND SERVICE; DOWNLOADABLE MP3 FILES AND MP3 RECORDINGS FEATURING MOVIES, SHOWS, GAMES AND MUSIC; DOWNLOADABLE MULTIMEDIA FILE CONTAINING ARTWORK, TEXT,
                                                       AUDIO, VIDEO, GAMES, AND INTERNET WEB LINKS RELATING TO A WIDE VARIETY OF THEMES; DOWNLOADABLE MUSICAL SOUND RECORDINGS; DOWNLOADABLE RING TONES FOR MOBILE PHONES; DOWNLOADABLE VIDEO RECORDINGS FEATURING MOVIES,
                                                       SHOWS, GAMES AND MUSIC; DOWNLOADABLE MOVIES, SHOWS, MULTIMEDIA, AUDIO, VIDEO, GAMES AND MUSIC VIA THE INTERNET AND WIRELESS DEVICES; DVDS FEATURING MOVIES, SHOWS, GAMES AND MUSIC; ELECTRONIC GAME PROGRAMS; ELECTRONIC
                                                       GAME SOFTWARE; GAME SOFTWARE; INTERACTIVE MULTIMEDIA COMPUTER GAME PROGRAM; INTERACTIVE VIDEO GAME PROGRAMS; MOTION PICTURE FILMS ABOUT A WIDE VARIETY OF THEMES; MUSICAL SOUND RECORDINGS; MUSICAL VIDEO RECORDINGS;
                                                       PRE-RECORDED CDS, VIDEO TAPES, LASER DISKS AND DVDS FEATURING MOVIES, SHOWS, GAMES AND MUSIC; PRE-RECORDED DIGITAL MEDIA FEATURING MOVIES, SHOWS, GAMES AND MUSIC; PRE-RECORDED ELECTRONIC MEDIA FEATURING MOVIES, SHOWS,
                                                       GAMES AND MUSIC; SUNGLASSES; VIDEO AND COMPUTER GAME PROGRAMS; VIDEO DISCS FEATURING MOVIES, SHOWS, GAMES AND MUSIC, VIDEO GAME CARTRIDGES AND DISCS; VIDEO GAME SOFTWARE; VIDEO RECORDINGS FEATURING MOVIES, SHOWS,
                                                       GAMES AND MUSIC; VIRTUAL REALITY GAME SOFTWARE. 41 - ANIMATION PRODUCTION SERVICES; AUDIO AND VIDEO RECORDING SERVICES; AUDIO RECORDING AND PRODUCTION; CINEMA STUDIOS; CINEMA THEATERS; CINEMATOGRAPHIC ADAPTATION AND
                                                       EDITING; DIGITAL VIDEO, AUDIO, AND MULTIMEDIA PUBLISHING SERVICES; DIRECTION OF MAKING RADIO OR TELEVISION PROGRAMS; DISTRIBUTION OF MOTION PICTURE FILMS; DISTRIBUTION OF RADIO PROGRAMS FOR OTHERS; DISTRIBUTION OF TELEVISION
                                                       PROGRAMMING TO CABLE TELEVISION SYSTEMS; DISTRIBUTION OF TELEVISION PROGRAMS FOR OTHERS; EDITING OF RADIO AND TELEVISION PROGRAMMES; EDITING OR RECORDING OF SOUNDS AND IMAGES; ENTERTAINMENT AND EDUCATION SERVICES IN THE
                                                       NATURE OF A SERIES OF SHORT SHOWS FEATURING A WIDE VARIETY OF THEMES DISTRIBUTED TO MOBILE HANDSETS, WHICH MAY INCLUDE VIDEO, TEXT, PHOTOS, ILLUSTRATIONS OR HYPERTEXT, ENTERTAINMENT AND EDUCATIONAL SERVICES, NAMELY,
                                                       PROVIDING ADVICE AND INFORMATION FOR MUSIC, VIDEO AND FILM CONCEPT AND SCRIPT DEVELOPMENT; ENTERTAINMENT IN THE NATURE OF AN ON-GOING SPECIAL VARIETY, NEWS, MUSIC OR COMEDY SHOW FEATURING VARIOUS TOPICS BROADCAST OVER
                                                       TELEVISION, SATELLITE, AUDIO, AND VIDEO MEDIA; ENTERTAINMENT IN THE NATURE OF ON-GOING TELEVISION PROGRAMS IN THE FIELD OF VARIOUS TOPICS; ENTERTAINMENT SERVICES, NAMELY, A MULTIMEDIA PROGRAM SERIES FEATURING COMEDY, ACTION
                                                       AND ADVENTURE DISTRIBUTED VIA VARIOUS PLATFORMS ACROSS MULTIPLE FORMS OF TRANSMISSION MEDIA; ENTERTAINMENT SERVICES, NAMELY, MULTIMEDIA PRODUCTION SERVICES; ENTERTAINMENT SERVICES, NAMELY, PRODUCTION OF COMPUTER-
                                                       GENERATED IMAGERY FOR USE IN MOTION PICTURES; ENTERTAINMENT SERVICES, NAMELY, PRODUCTION OF SPECIAL EFFECTS INCLUDING MODEL-MAKING SERVICES, COMPUTER-GENERATED IMAGERY AND COMPUTER-GENERATED GRAPHICS FOR THE
                                                       PRODUCTION OF MOTION PICTURES, VIDEOS, AND MOVIE TRAILERS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A RADIO PROGRAM IN THE FIELD OF VARIOUS TOPICS VIA A GLOBAL COMPUTER NETWORK; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A
                                                       TELEVISION PROGRAM IN THE FIELD OF VARIOUS TOPICS VIA A GLOBAL COMPUTER NETWORK; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A WEB SITE FEATURING MUSICAL PERFORMANCES, MUSICAL VIDEOS, RELATED FILM CLIPS, PHOTOGRAPHS, AND
                                                       OTHER MULTIMEDIA MATERIALS FEATURING VARIOUS GENRES; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A WEB SITE FEATURING USER-GENERATED VIDEOS ON A WIDE VARIETY OF TOPICS AND SUBJECTS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING
                                                       AN ON-LINE COMPUTER GAME; ENTERTAINMENT SERVICES, NAMELY, PROVIDING ONLINE COMPUTER GAMES; ENTERTAINMENT SERVICES, NAMELY, PROVIDING PODCASTS IN THE FIELD OF VARIOUS TOPICS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING
                                                       PRERECORDED MUSIC, INFORMATION IN THE FIELD OF MUSIC, AND COMMENTARY AND ARTICLES ABOUT MUSIC, ALL ON-LINE VIA A GLOBAL COMPUTER NETWORK; ENTERTAINMENT SERVICES, NAMELY, PROVIDING WEBCASTS IN THE FIELD OF VARIOUS TOPICS;
                                                       FILM AND VIDEO PRODUCTION; FILM AND VIDEO PRODUCTION CONSULTING SERVICES; FILM DISTRIBUTION; FILM EDITING; FILM STUDIOS; INFORMATION RELATING TO ENTERTAINMENT AND EDUCATION, PROVIDED ONLINE FROM A COMPUTER DATABASE OR
                                                       THE INTERNET; MEDIA PRODUCTION SERVICES, NAMELY, VIDEO AND FILM PRODUCTION; MOTION PICTURE FILM PRODUCTION; MOTION PICTURE SONG PRODUCTION; MOTION PICTURE THEATERS; MULTIMEDIA ENTERTAINMENT SERVICES IN THE NATURE OF
                                                       RECORDING, PRODUCTION AND POST-PRODUCTION SERVICES IN THE FIELDS OF MUSIC, VIDEO, AND FILMS; MULTIMEDIA ENTERTAINMENT SOFTWARE PRODUCTION SERVICES; MULTIMEDIA PUBLISHING OF BOOKS, MAGAZINES, JOURNALS, SOFTWARE, GAMES,
                                                       MUSIC, AND ELECTRONIC PUBLICATIONS; MUSIC PRODUCTION SERVICES; OPERATING OF FILM STUDIOS; POST-PRODUCTION EDITING SERVICES IN THE FIELD OF MUSIC, VIDEOS AND FILMS; PRODUCTION AND DISTRIBUTION OF MOTION PICTURES; PRODUCTION
                                                       AND DISTRIBUTION OF RADIO PROGRAMS; PRODUCTION AND DISTRIBUTION OF TELEVISION SHOWS AND MOVIES; PRODUCTION OF CABLE TELEVISION PROGRAMS; PRODUCTION OF DVDS, VIDEOTAPES AND TELEVISION PROGRAMS FEATURING A WIDE VARIETY
                                                       OF THEMES; PRODUCTION OF FILMS; PRODUCTION OF RADIO OR TELEVISION PROGRAMS; PRODUCTION OF SOUND RECORDINGS; PRODUCTION OF VIDEO AND COMPUTER GAME SOFTWARE; PRODUCTION OF VISUAL EFFECTS FOR VIDEOS, DVDS, TELEVISION AND
                                                       FOR INTERNET WEB SITES; PROVIDING A COMPUTER GAME THAT MAY BE ACCESSED NETWORK-WIDE BY NETWORK USERS; ENTERTAINMENT SERVICES IN RELATION TO PROVIDING A WEB SITE WHERE USERS CAN POST RATINGS, REVIEWS AND RECOMMENDATIONS
                                                       ON EVENTS AND ACTIVITIES IN THE FIELD OF ENTERTAINMENT AND EDUCATION; ENTERTAINMENT SERVICES IN RELATION TO PROVIDING AN INTERNET NEWS PORTAL FEATURING LINKS TO NEWS STORIES AND ARTICLES IN THE FIELD OF CURRENT EVENTS;
                                                       PROVIDING AUDIO OR VIDEO STUDIOS; PROVIDING CURRENT EVENT NEWS AND INFORMATION VIA A GLOBAL COMPUTER NETWORK; PROVIDING FACILITIES FOR PRODUCING VIDEO, CINEMA AND PHOTOGRAPHY PRODUCTIONS; PROVIDING INFORMATION IN THE
                                                       FIELD OF ENTERTAINMENT, FEATURING ANIMATION RENDERED BY MEANS OF A GLOBAL COMPUTER NETWORK; PROVIDING INFORMATION ON-LINE RELATING TO COMPUTER GAMES AND COMPUTER ENHANCEMENTS FOR GAMES; PROVIDING INFORMATION,
                                                       NEWS AND COMMENTARY IN THE FIELD OF ENTERTAINMENT; PROVISION OF NON-DOWNLOADABLE FILMS AND TELEVISION PROGRAMMES VIA A VIDEO-ON-DEMAND SERVICE, RADIO ENTERTAINMENT PRODUCTION, RECORD PRODUCTION; RECORDING STUDIO
                                                       SERVICES; SCRIPTWRITING SERVICES; SOUND RECORDING STUDIOS; SPECIAL EFFECTS ANIMATION SERVICES FOR FILM AND VIDEO; TELEVISION SHOW PRODUCTION; VIDEO EDITING; VIDEO PRODUCTION SERVICES; ENTERTAINMENT SERVICES, NAMELY,
                                                       PRODUCTION AND DISTRIBUTION OF AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS; PRODUCTION AND DISTRIBUTION OF AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS; PRODUCTION AND DISTRIBUTION OF
ROGUE PICTURES TRADEMARK APPLICATION (HONG KONG)       AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS, FOR TELEVISION, CABLE AND THEATRICAL AND THEATRICAL RELEASE.; 301683162                                                                                             UNDETERMINED
                                                       041 - ENTERTAINMENT SERVICES, NAMELY, PRODUCTION AND DISTRIBUTION OF AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS; PRODUCTION AND DISTRIBUTION OF AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS;
ROGUE PICTURES TRADEMARK APPLICATION (UNITED STATES)   PRODUCTION AND DISTRIBUTION OF AUDIOVISUAL WORKS, NAMELY, FULL LENGTH MOTION PICTURE FILMS, FOR TELEVISION, CABLE AND THEATRICAL RELEASE; 2,531,913                                                                              UNDETERMINED


                                                       041 - ANIMATION PRODUCTION SERVICES; AUDIO AND VIDEO RECORDING SERVICES; AUDIO RECORDING AND PRODUCTION; CINEMA STUDIOS; CINEMA THEATERS; CINEMATOGRAPHIC ADAPTATION AND EDITING; DIGITAL VIDEO, AUDIO, AND MULTIMEDIA
                                                       PUBLISHING SERVICES; DIRECTION OF MAKING RADIO OR TELEVISION PROGRAMS; DISTRIBUTION OF MOTION PICTURE FILMS; DISTRIBUTION OF RADIO PROGRAMS FOR OTHERS; DISTRIBUTION OF TELEVISION PROGRAMMING TO CABLE TELEVISION SYSTEMS;
                                                       DISTRIBUTION OF TELEVISION PROGRAMS FOR OTHERS; EDITING OF RADIO AND TELEVISION PROGRAMMES; EDITING OR RECORDING OF SOUNDS AND IMAGES; ENTERTAINMENT AND EDUCATION SERVICES IN THE NATURE OF A SERIES OF SHORT SHOWS
                                                                                                                                                                                                                                                                                                                                             #:2355




                                                       FEATURING A WIDE VARIETY OF THEMES DISTRIBUTED TO MOBILE HANDSETS, WHICH MAY INCLUDE VIDEO, TEXT, PHOTOS, ILLUSTRATIONS OR HYPERTEXT; ENTERTAINMENT AND EDUCATIONAL SERVICES, NAMELY, PROVIDING ADVICE AND INFORMATION FOR
                                                       MUSIC, VIDEO AND FILM CONCEPT AND SCRIPT DEVELOPMENT; ENTERTAINMENT IN THE NATURE OF AN ON-GOING SPECIAL VARIETY, NEWS, MUSIC OR COMEDY SHOW FEATURING VARIOUS TOPICS BROADCAST OVER TELEVISION, SATELLITE, AUDIO, AND VIDEO
                                                       MEDIA; ENTERTAINMENT IN THE NATURE OF ON-GOING TELEVISION PROGRAMS IN THE FIELD OF VARIOUS TOPICS; ENTERTAINMENT SERVICES, NAMELY, A MULTIMEDIA PROGRAM SERIES FEATURING COMEDY, ACTION AND ADVENTURE DISTRIBUTED VIA VARIOUS
                                                       PLATFORMS ACROSS MULTIPLE FORMS OF TRANSMISSION MEDIA; ENTERTAINMENT SERVICES, NAMELY, MULTIMEDIA PRODUCTION SERVICES; ENTERTAINMENT SERVICES, NAMELY, PRODUCTION OF COMPUTER-GENERATED IMAGERY FOR USE IN MOTION
                                                       PICTURES; ENTERTAINMENT SERVICES, NAMELY, PRODUCTION OF SPECIAL EFFECTS INCLUDING MODEL-MAKING SERVICES, COMPUTER-GENERATED IMAGERY AND COMPUTER-GENERATED GRAPHICS FOR THE PRODUCTION OF MOTION PICTURES, VIDEOS, AND
                                                       MOVIE TRAILERS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A RADIO PROGRAM IN THE FIELD OF ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE, CRIME, HISTORICAL, BIOGRAPHICAL,
                                                       SUSPENSE, THRILLER, FANTASY, HORROR, MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY AND ANIMATION TOPICS VIA A GLOBAL COMPUTER NETWORK VIA A GLOBAL COMPUTER NETWORK;
                                                       ENTERTAINMENT SERVICES, NAMELY, PROVIDING A TELEVISION PROGRAM IN THE FIELD OF ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE, CRIME, HISTORICAL, BIOGRAPHICAL, SUSPENSE, THRILLER,
                                                       FANTASY, HORROR, MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY AND ANIMATION TOPICS VIA A GLOBAL COMPUTER NETWORK; ENTERTAINMENT SERVICES, NAMELY, PROVIDING A WEB
                                                       SITE FEATURING MUSICAL PERFORMANCES, MUSICAL VIDEOS, RELATED FILM CLIPS, PHOTOGRAPHS, AND OTHER MULTIMEDIA MATERIALS FEATURING ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE,
                                                       CRIME, HISTORICAL, BIOGRAPHICAL, SUSPENSE, THRILLER, FANTASY, HORROR, MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY AND ANIMATION TOPICS; ENTERTAINMENT SERVICES, NAMELY,
                                                       PROVIDING A WEB SITE FEATURING USER-GENERATED VIDEOS ON A WIDE VARIETY OF TOPICS AND SUBJECTS; ENTERTAINMENT SERVICES, NAMELY, PROVIDING AN ON-LINE COMPUTER GAME; ENTERTAINMENT SERVICES, NAMELY, PROVIDING ON-LINE COMPUTER
                                                       GAMES; ENTERTAINMENT SERVICES, NAMELY, PROVIDING PODCASTS IN THE FIELD OF NEWS, FASHION, CULTURE, ENTERTAINMENT, MEDIA, THE ARTS, COMEDY, HISTORY AND LIFESTYLES; ENTERTAINMENT SERVICES, NAMELY, PROVIDING NON-DOWNLOADABLE
                                                       PRERECORDED MUSIC, INFORMATION IN THE FIELD OF MUSIC, AND COMMENTARY AND ARTICLES ABOUT MUSIC, ALL ON-LINE VIA A GLOBAL COMPUTER NETWORK; ENTERTAINMENT SERVICES, NAMELY, PROVIDING WEBCASTS IN THE FIELDS OF SPORTS, POP
                                                       CULTURE, TELEVISION, NEWS, FASHION, CULTURE, ENTERTAINMENT, MEDIA, THE ARTS, COMEDY, HISTORY, MUSIC AND LIFESTYLES; FILM AND VIDEO PRODUCTION; FILM AND VIDEO PRODUCTION CONSULTING SERVICES; FILM DISTRIBUTION; FILM EDITING; FILM
                                                       STUDIOS; INFORMATION RELATING TO ENTERTAINMENT AND EDUCATION, PROVIDED ON-LINE FROM A COMPUTER DATABASE OR THE INTERNET; MEDIA PRODUCTION SERVICES, NAMELY, VIDEO AND FILM PRODUCTION; MOTION PICTURE FILM PRODUCTION;
                                                       MOTION PICTURE SONG PRODUCTION; MOTION PICTURE THEATERS; MULTIMEDIA ENTERTAINMENT SERVICES IN THE NATURE OF RECORDING, PRODUCTION AND POST-PRODUCTION SERVICES IN THE FIELDS OF MUSIC, VIDEO, AND FILMS; MULTIMEDIA
                                                       ENTERTAINMENT SOFTWARE PRODUCTION SERVICES; MULTIMEDIA PUBLISHING OF BOOKS, MAGAZINES, JOURNALS, SOFTWARE, GAMES, MUSIC, AND ELECTRONIC PUBLICATIONS; MUSIC PRODUCTION SERVICES; OPERATING OF FILM STUDIOS; POST-PRODUCTION
                                                       EDITING SERVICES IN THE FIELD OF MUSIC, VIDEOS AND FILMS; PRODUCTION AND DISTRIBUTION OF MOTION PICTURES; PRODUCTION AND DISTRIBUTION OF RADIO PROGRAMS; PRODUCTION AND DISTRIBUTION OF TELEVISION SHOWS AND MOVIES;
                                                       PRODUCTION OF CABLE TELEVISION PROGRAMS; PRODUCTION OF DVDS, VIDEOTAPES AND TELEVISION PROGRAMS FEATURING A WIDE VARIETY OF THEMES; PRODUCTION OF FILMS; PRODUCTION OF RADIO OR TELEVISION PROGRAMS; PRODUCTION OF SOUND
                                                       RECORDINGS; PRODUCTION OF VIDEO AND COMPUTER GAME SOFTWARE; PRODUCTION OF VISUAL EFFECTS FOR VIDEOS, DVDS, TELEVISION AND FOR INTERNET WEB SITES; PROVIDING A COMPUTER GAME THAT MAY BE ACCESSED NETWORK-WIDE BY NETWORK
                                                       USERS; PROVIDING A WEB SITE WHERE USERS CAN POST RATINGS, REVIEWS AND RECOMMENDATIONS ON EVENTS AND ACTIVITIES IN THE FIELD OF ENTERTAINMENT AND EDUCATION; PROVIDING AN INTERNET NEWS PORTAL FEATURING LINKS TO NEWS STORIES
                                                       AND ARTICLES IN THE FIELD OF CURRENT EVENTS; PROVIDING AUDIO OR VIDEO STUDIOS; PROVIDING CURRENT EVENT NEWS AND INFORMATION VIA A GLOBAL COMPUTER NETWORK; PROVIDING FACILITIES FOR PRODUCING VIDEO, CINEMA AND PHOTOGRAPHY
                                                       PRODUCTIONS; PROVIDING INFORMATION IN THE FIELD OF ENTERTAINMENT, FEATURING ANIMATION RENDERED BY MEANS OF A GLOBAL COMPUTER NETWORK; PROVIDING INFORMATION ON-LINE RELATING TO COMPUTER GAMES AND COMPUTER
                                                       ENHANCEMENTS FOR GAMES; PROVIDING INFORMATION, NEWS AND COMMENTARY IN THE FIELD OF ENTERTAINMENT; PROVISION OF NON-DOWNLOADABLE FILMS AND TELEVISION PROGRAMMES VIA A VIDEO-ON-DEMAND SERVICE; RADIO ENTERTAINMENT
                                                       PRODUCTION; RECORD PRODUCTION; RECORDING STUDIO SERVICES; SCRIPTWRITING SERVICES; SOUND RECORDING STUDIOS; SPECIAL EFFECTS ANIMATION SERVICES FOR FILM AND VIDEO; TELEVISION SHOW PRODUCTION; VIDEO EDITING; VIDEO PRODUCTION
ROGUE PICTURES TRADEMARK APPLICATION (UNITED STATES)   SERVICES; 4,703,958                                                                                                                                                                                                                 UNDETERMINED

                                                       009 - CINEMATOGRAPHIC FILMS FEATURING A WIDE VARIETY OF THEMES, NAMELY, ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE, CRIME, HISTORICAL, BIOGRAPHICAL, SUSPENSE, THRILLER,
                                                       FANTASY, HORROR, MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY, AND ANIMATION TOPICS; DIGITAL MEDIA, NAMELY, DVDS, HIGH DEFINITION DIGITAL DISCS, AND DOWNLOADABLE FILES
                                                       FEATURING MOVIES, DOWNLOADABLE FILMS FEATURING A WIDE VARIETY OF THEMES, NAMELY, ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE, CRIME, HISTORICAL, BIOGRAPHICAL, SUSPENSE,
                                                       THRILLER, FANTASY, HORROR, MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY, EXERCISE AND FITNESS, HEALTH, RELIGION, COOKING, AND ANIMATION TOPICS PROVIDED VIA A VIDEO-
                                                       ONDEMAND SERVICE; DOWNLOADABLE MP3 FILES AND MP3 RECORDINGS FEATURING MOVIES; DOWNLOADABLE VIDEO RECORDINGS FEATURING MOVIES; DOWNLOADABLE MOVIES VIA THE INTERNET AND WIRELESS DEVICES; DVDS FEATURING MOVIES;
                                                       MOTION PICTURE FILMS ABOUT A WIDE VARIETY OF THEMES, NAMELY, ACTION, ADVENTURE, FAMILY, MYSTERY, NEWS, WAR, FILM NOIR, COMEDY, DRAMA, WESTERNS, WAR, DANCE, CRIME, HISTORICAL, BIOGRAPHICAL, SUSPENSE, THRILLER, FANTASY, HORROR,
                                                       MUSIC, SPORTS, MUSICALS, ROMANCE, REALITY, SCIENCE FICTION, EDUCATIONAL, DOCUMENTARY, MOCKUMENTARY, AND ANIMATION TOPICS; PRE-RECORDED DVDS FEATURING MOVIES; PRE-RECORDED DIGITAL MEDIA FEATURING MOVIES; PRE-RECORDED
ROGUE PICTURES TRADEMARK APPLICATION (UNITED STATES)   ELECTRONIC MEDIA FEATURING MOVIES; VIDEO DISCS FEATURING MOVIES; VIDEO RECORDINGS FEATURING MOVIES; 4,712,692                                                                                                                     UNDETERMINED
                                                                                                                                                                                                                                                                                  Total: UNDETERMINED
                                                                                                                                                                                                                                                                                                          Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 475 of 494 Page ID




                                                                                                                                             1 of 1
          Case 2:21-cv-04913-VAP-AS
          18-11358-mew               Document
                          Doc 166 Filed 05/20/1840-5  Filed 05/20/18
                                                   Entered  09/30/21 21:18:17
                                                                      Page 476Main
                                                                              of 494 Page ID
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                                                #:2356
                                               Pg 18 of 30
 Fill in this information to identify the case:

 'HEWRUQDPH          Relativity Rogue, LLC

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            6287+(51',675,&72)1(:<25.

 &DVHQXPEHU LINQRZQ               18-11328
                                                                                                                                              &KHFNLIWKLVLVDQ
                                                                                                                                              DPHQGHGILOLQJ

2IILFLDO)RUP'
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
          <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
  List in alphabetical order all creditors who have secured claims.,IDFUHGLWRUKDVPRUHWKDQRQHVHFXUHG
 FODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    'RQRWGHGXFWWKHYDOXH     claim
                                                                                                                    RIFROODWHUDO
        See Schedule D
                                                                                                                   $119,013,263.61                        $0.00
        Attachment                                    Describe debtor's property that is subject to a lien
        &UHGLWRU V1DPH




        &UHGLWRU VPDLOLQJDGGUHVV                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                          1R
        &UHGLWRU VHPDLODGGUHVVLINQRZQ                <HV
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           1R
                                                         <HV)LOORXWSchedule H: Codebtors 2IILFLDO)RUP+
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                &KHFNDOOWKDWDSSO\
            1R                                          &RQWLQJHQW
            <HV6SHFLI\HDFKFUHGLWRU                 8QOLTXLGDWHG
        LQFOXGLQJWKLVFUHGLWRUDQGLWVUHODWLYH         'LVSXWHG
        SULRULW\



     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $119,013,263.61

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




2IILFLDO)RUP'                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 SDJH RI
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                     %HVW&DVH%DQNUXSWF\
                                          18-11358-mew     Doc 166               Filed 05/20/18 Entered 05/20/18 21:18:17              Main Document
                                                                                        In re Relativity
                                                                                                Pg 19 Rogue,
                                                                                                         of 30 LLC
                                                                               Case No. 18-11328 (MEW)
                                                          Schedule D: Part 1 - Creditors Who Have Claims Secured by Property



                                                                                                                       Date Debt was Incurred,                                              Amount of Claim        Value of
                                                        Insider or              If Multiple Creditors Have Interest in Description of Debtor's                                             (Do not deduct the   Collateral that
                                                         Related                   the Same Property, Specify Each Property Subject to the Lien                                               value of the      Supports this




                                                                     CoDebtor
                                                                                                                                                    Contingent
                                                                                                                                                                 Unliquidated
                                                                                                                                                                                Disputed
                         Creditor                         Party?                   Creditor and Its Relative Priority   and the Nature of Lien                                                 collateral)          Claim
Directors Guild of America (DGA)
Joe Kohanski
c/o Bush Gottlieb
801 N. Brand Blvd, Suite 950
Glendale CA 91203                                                                                                Residuals                                                                       $310,466.00          Unknown
                                                                                                                 Promissory note dated April
Relativity Secured Lender (Joseph Nicholas)                                                                      12, 2016 (maturing April 12,
10 South Riverside Plaza                                                                                         2021) granted blanket lien
Suite 700                                                              Subordinate to Midcap as to certain on all assets subject to
Chicago IL 60606                                                       Debtors’ assets (i.e., the film library); specified priority. UCC lien
                                                    X                X subordinate to UltraV as to all assets filed.                                                                          $44,795,331.61          Unknown

                                                                                                                   Promissory noted dated
UltraV Holdings
                                                                                                                   April 12, 2016 (matured
c/o Schulte Roth & Zabel LLP
                                                                                                                   April 12, 2018) assigned to
Attn: Adam C. Harris and Kristine Manoukian
                                                                                                                   UltraV Holdings granted
                                                                                                                                                                                                                                                                     #:2357




919 Third Avenue
                                                                       Subordinate to Midcap’s security            blanket lien on all assets
New York NY 10022
                                                                       interest in certain Debtors’ assets         subject to specified priority.
                                                                     X (i.e., the film library)                    UCC lien filed.                                                            $73,597,000.00          Unknown
Writers Guild of America (WGA)
Joe Kohanski
c/o Bush Gottlieb
801 N. Brand Blvd, Suite 950
Glendale CA 91203                                                                                                  Residuals                                                                     $310,466.00          Unknown
                                                                                                                                                                 Total:                      $119,013,263.61
                                                                                                                                                                                                                                  Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 477 of 494 Page ID




                                                                                                  1 of 1
         Case 2:21-cv-04913-VAP-AS
         18-11358-mew               Document
                         Doc 166 Filed 05/20/1840-5  Filed 05/20/18
                                                  Entered  09/30/21 21:18:17
                                                                     Page 478Main
                                                                             of 494 Page ID
                                                                                  Document
                                               #:2358
                                              Pg 20 of 30
 Fill in this information to identify the case:

 'HEWRUQDPH         Relativity Rogue, LLC

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            6287+(51',675,&72)1(:<25.

 &DVHQXPEHU LINQRZQ          18-11328
                                                                                                                                                  &KHFNLIWKLVLVDQ
                                                                                                                                                   DPHQGHGILOLQJ


2IILFLDO)RUP()
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on 6FKHGXOH$%$VVHWV5HDODQG
3HUVRQDO3URSHUW\ (Official Form 206A/B) and on 6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? 6HH86& .

         1R*RWR3DUW
         <HV*RWROLQH

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims,IWKHGHEWRUKDVPRUHWKDQFUHGLWRUVZLWKQRQSULRULW\XQVHFXUHGFODLPVILOO
        RXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW
     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                             &RQWLQJHQW
                                                                             8QOLTXLGDWHG
           Date or dates debt was incurred
                                                                             'LVSXWHG
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             ,VWKHFODLPVXEMHFWWRRIIVHW"   1R <HV

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. ([DPSOHVRIHQWLWLHVWKDWPD\EHOLVWHGDUHFROOHFWLRQDJHQFLHV
   DVVLJQHHVRIFODLPVOLVWHGDERYHDQGDWWRUQH\VIRUXQVHFXUHGFUHGLWRUV

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                     related creditor (if any) listed?                 account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                            D                                      0.00
 5b. Total claims from Part 2                                                                            E     +                                0.00

 5c. Total of Parts 1 and 2
     /LQHVDE F                                                                                 F                                        0.00




2IILFLDO)RUP()                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     SDJHRI
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                     %HVW&DVH%DQNUXSWF\
         Case 2:21-cv-04913-VAP-AS
         18-11358-mew               Document
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                                               #:2359
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 Fill in this information to identify the case:

 'HEWRUQDPH         Relativity Rogue, LLC

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 &DVHQXPEHU LINQRZQ          18-11328
                                                                                                                                &KHFNLIWKLVLVDQ
                                                                                                                                 DPHQGHGILOLQJ


2IILFLDO)RUP*
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

 Does the debtor have any executory contracts or unexpired leases?
     1R&KHFNWKLVER[DQGILOHWKLVIRUPZLWKWKHGHEWRU VRWKHUVFKHGXOHV7KHUHLVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
     <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZHYHQLIWKHFRQWDFWVRIOHDVHVDUHOLVWHGRQSchedule A/B: Assets - Real and Personal           Property
2IILFLDO)RUP$% 

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

         6WDWHZKDWWKHFRQWUDFWRU
             OHDVHLVIRUDQGWKHQDWXUHRI
             WKHGHEWRU VLQWHUHVW

                  6WDWHWKHWHUPUHPDLQLQJ

             /LVWWKHFRQWUDFWQXPEHURIDQ\                                       See Schedule G Attachment
                   JRYHUQPHQWFRQWUDFW




2IILFLDO)RUP*                               Schedule G: Executory Contracts and Unexpired Leases                                           3DJHRI
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                        %HVW&DVH%DQNUXSWF\
                                  18-11358-mew   Doc 166   Filed 05/20/18 Entered 05/20/18 21:18:17         Main Document
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                                                                                   of 30 LLC
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                                                     Schedule G: Executory Contracts and Unexpired Leases

                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE
                                                                                   OF DEBTOR'S INTEREST; STATE THE REMAINING
                                                                                      TERM. LIST CONTRACT NUMBER OF ANY      FILM / TV SHOW CONTRACT RELATES
          CONTRACT COUNTERPARTY                        ADDRESS                              GOVERNMENT CONTRACT.                            TO
                                         23679 CALABASAS ROAD
                                         SUITE 980                              SETTLEMENT AND RELEASE AGREEMENT DATED OR
7786 HOLDINGS, LLC                       CALABAS CA 92302                       EFFECTIVE AS OF 6/28/2012
                                         ATTN: ANDREW JARECKI AND MARC
                                         SMERLING
                                         741 MADISON AVENUE                     CATFISH - EXCLUSIVE LICENSE AGREEMENT DATED OR
CATFISH PICTURE COMPANY, LLC             NEW YORK NY 10065                      EFFECTIVE AS OF 2/3/2010                       CATFISH

                                         ATTN: JAMES K. SIMONS AND DAISY STALL
                                         2450 BROADWAY AVENUE
                                         4TH FLOOR                             INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
CIT BANK, N.A.                           SANTA MONICA CA 90404                 AS OF 4/12/2016
                                                                               CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         30 ROCKEFELLER PLZ                    MUTUAL RELEASE DATED OR EFFECTIVE AS OF
EVERGREEN PICTURES LLC                   NEW YORK NY 10112-0015                1/31/2012
                                         ATTN: AMY ESCHENASY                   ASSUMPTION AND AMENDMENT OF CO-FINANCING
                                                                                                                                                                                                  #:2360




                                         100 UNIVERSAL CITY PLAZA              AND DISTRIBUTION AGREEMENT DATED OR
FOCUS FEATURES                           UNIVERSAL CITY CA 91608               EFFECTIVE AS OF 12/23/2008                     WIRELESS
                                                                               CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         100 UNIVERSAL CITY PLAZA              MUTUAL RELEASE DATED OR EFFECTIVE AS OF
FOCUS FEATURES                           UNIVERSAL CITY CA 91608               1/31/2012
                                                                               CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         3201B SOUTH LA CIENEGA BLVD           MUTUAL RELEASE DATED OR EFFECTIVE AS OF
LAVA FILMS LLC                           LOS ANGELES CA 90016                  1/31/2012
                                         76 PROGRESS DR                        CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         #200                                  MUTUAL RELEASE DATED OR EFFECTIVE AS OF
LUCKY CRICKET PRODUCTIONS LLC            STAMFORD CT 06902                     1/31/2012
                                         ATTN: GENERAL COUNSEL
                                         125 WEST 55TH STREET                  INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
MACQUARIE US TRADING LLC                 NEW YORK NY 10019                     AS OF 4/12/2016
                                         ATTN: JOHANNES WEBER
                                         40 WEST 57TH STREET                   INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
MANCHESTER LIBRARY COMPANY LLC           NEW YORK NY 10019                     AS OF 4/12/2016
                                                                                                                                                               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 480 of 494 Page ID




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                                                                                     of 30 LLC
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                                                       Schedule G: Executory Contracts and Unexpired Leases

                                                                                   DESCRIPTION OF CONTRACT OR LEASE AND NATURE
                                                                                     OF DEBTOR'S INTEREST; STATE THE REMAINING
                                                                                        TERM. LIST CONTRACT NUMBER OF ANY      FILM / TV SHOW CONTRACT RELATES
          CONTRACT COUNTERPARTY                         ADDRESS                               GOVERNMENT CONTRACT.                            TO
                                         ATTN: GENERAL COUNSEL
                                         40 WEST 57TH STREET 4TH FLOOR            RELEASE OF DOCUMENTS DATED OR EFFECTIVE AS OF
MANCHESTER SECURITIES CORP.              NEW YORK NY 10019                        06/01/2017
                                         C/O MIDCAP FINANCIAL SERVICES, LLC, AS
                                         SERVICER
                                         ATTN: ACCOUNT MANAGER FOR
                                         RELATIVITY TRANSACTION
                                         7255 WOODMONT AVENUE
                                         SUITE 200                                INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
MIDCAP FINANCIAL TRUST                   BETHESDA MD 20814                        AS OF 4/12/2016
                                         9242 BEVERLY BLVD                        CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         SUITE 300                                MUTUAL RELEASE DATED OR EFFECTIVE AS OF
RELATIVITY JACKSON,LLC                   BEVERLY HILLS CA 90210                   1/31/2012
                                         ATTN: JOSEPH NICHOLAS, MANAGER
                                         17001 COLLINS AVE., SUITE 4305           SUBORDINATION AGREEMENT DATED OR EFFECTIVE
RELATIVITY SECURED LENDER, LLC           NORTH MIAMI FL 33160                     AS OF 4/12/2016
                                                                                                                                                                                                    #:2361




                                         ATTN: GENERAL COUNSEL
                                         17001 COLLINS AVE., SUITE 4305           TRADEMARK SECURITY AGREEMENT DATED OR
RELATIVITY SECURED LENDER, LLC           NORTH MIAMI FL 33160                     EFFECTIVE AS OF 4/12/2016
                                                                                  CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                         260 MOUNTAIN ROAD                        MUTUAL RELEASE DATED OR EFFECTIVE AS OF
RIDER PRODUCTIONS LLC                    NORTH GRANBY CT 06060                    1/31/2012
                                         ATTN: CHAIRMAN
                                         510 LAGUARDIA PLACE
                                         5TH FLOOR                                INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
RKA FILM FINANCING, LLC                  NEW YORK NY 10012                        AS OF 4/12/2016
                                         ATTN: CHAIRMAN
                                         510 LAGUARDIA PLACE
                                         5TH FLOOR
RKA FILM FINANCING, LLC                  NEW YORK NY 10012                        THEATRICAL ACCOUNTS INTERCREDITOR AGREEMENT
                                         ATTN: BOB SOLOMON
                                         1083 N. LAS PALMAS AVENUE, BUILDING
                                         40                                       INTERCREDITOR AGREEMENT DATED OR EFFECTIVE
RM BIDDER, LLC                           LOS ANGELES CA 90081                     AS OF 4/12/2016
                                                                                                                                                                 Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 481 of 494 Page ID




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                                                                                         of 30 LLC
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                                                           Schedule G: Executory Contracts and Unexpired Leases

                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE
                                                                                         OF DEBTOR'S INTEREST; STATE THE REMAINING
                                                                                            TERM. LIST CONTRACT NUMBER OF ANY      FILM / TV SHOW CONTRACT RELATES
          CONTRACT COUNTERPARTY                             ADDRESS                               GOVERNMENT CONTRACT.                            TO
                                              ATTN: GENERAL COUNSEL
                                              1074 N. LAS PALMAS AVENUE, BUILDING
                                              40                                      PLEDGE AND SECURITY AGREEMENT DATED OR
RM BIDDER, LLC                                LOS ANGELES CA 90072                    EFFECTIVE AS OF 4/12/2016
                                              ATTN: BOB SOLOMON
                                              1080 N. LAS PALMAS AVENUE, BUILDING
                                              40                                      SUBORDINATION AGREEMENT DATED OR EFFECTIVE
RM BIDDER, LLC                                LOS ANGELES CA 90078                    AS OF 4/12/2016
                                              ATTN: GENERAL COUNSEL
                                              750 N. SAN VICENTE BLVD.
                                              RED EAST TOWER
                                              12TH FLOOR                              TRADEMARK SECURITY AGREEMENT DATED OR
RM BIDDER, LLC                                WEST HOLLYWOOD CA 90069                 EFFECTIVE AS OF 4/12/2016
                                              ATTN: AMY ESCHENASY                     ASSUMPTION AND AMENDMENT OF CO-FINANCING
                                              100 UNIVERSAL CITY PLAZA                AND DISTRIBUTION AGREEMENT DATED OR
ROGUE PICTURES                                UNIVERSAL CITY CA 91608                 EFFECTIVE AS OF 12/23/2008                    WIRELESS
                                                                                                                                                                                                        #:2362




                                                                                      CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                              515 GREENWICH ST                        MUTUAL RELEASE DATED OR EFFECTIVE AS OF
ROSEY FILM PRODUCTIONS LLC                    NEW YORK NY 10013                       1/31/2012
                                              ATTN: WAYNE MARC GODFREY/ROBERT
                                              JONES
                                              77 FORTRESS ROAD, 2ND FLOOR             PURCHASE AGREEMENT DATED OR EFFECTIVE AS OF
THE FYZZ FACILITY FILM 7 LIMITED              LONDON NW5 1AG UNITED KINGDOM           05/03/2017
                                                                                      CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                              100 UNIVERSAL CITY PLAZA                MUTUAL RELEASE DATED OR EFFECTIVE AS OF
UNIVERSAL CITY STUDIOS LLC                    UNIVERSAL CITY CA 91608-1002            1/31/2012
                                                                                      CONFIDENTIAL SETTLEMENT AGREEMENT AND
                                              100 UNIVERSAL CITY PLAZA                MUTUAL RELEASE DATED OR EFFECTIVE AS OF
UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP       UNIVERSAL CITY CA 91608-1002            1/31/2012
                                              ATTN: FEATURE LAW DEPARTMENT
                                              100 UNIVERSAL CITY PLAZA                ASSUMPTION AND AMENDMENT OF CO-FINANCING
UNIVERSAL PICTURES, A DIVISION OF UNIVERSAL   13201 3W                                AND DISTRIBUTION AGREEMENT DATED OR
CITY STUDIOS LLP                              UNIVERSAL CITY CA 91608                 EFFECTIVE AS OF 12/23/2008                    WIRELESS
                                                                                                                                                                     Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 482 of 494 Page ID




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                                                     Schedule G: Executory Contracts and Unexpired Leases

                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE
                                                                                   OF DEBTOR'S INTEREST; STATE THE REMAINING
                                                                                      TERM. LIST CONTRACT NUMBER OF ANY      FILM / TV SHOW CONTRACT RELATES
         CONTRACT COUNTERPARTY                        ADDRESS                               GOVERNMENT CONTRACT.                            TO
                                        11846 VENTURA BOULEVARD
                                        SUITE 130                               SOUNDTRACK LICENSE AGREEMENT DATED OR
VARESE SARABANDE RECORDS INC            STUDIO CITY CA 91604                    EFFECTIVE AS OF 10/13/2010                       SKYLINE
                                        65 BLEECKER ST
                                        #6                                      VIRGIN PRODUCED, LLC LIMITED LIABILITY COMPANY
VIRGIN MANAGEMENT USA, INC              NEW YORK NY 10012                       AGREEMENT JOINDER
                                        65 BLEECKER ST., #6                     SETTLEMENT AND RELEASE AGREEMENT DATED OR
VIRGIN MANAGEMENT USA, INC.             NEW YORK NY 10012                       EFFECTIVE AS OF 6/28/2012
                                        C/O EISNER, FRANK & KAHAN
                                        ATTN: DARIN FRAKN, ESQ.
                                        9601 WILSHIRE BOULEVARD
                                        SUITE 700                               MEDORANDUM OF AGREEMENT DATED OR
VIRGIN PRODUCED LLC                     BEVERLY HILLS CA 90210                  EFFECTIVE AS OF 6/28/2010
                                        JASON FELTS
                                        9601 WILSHIRE BOULEVARD
                                        SUITE 700                               MEMORANDUM OF AGREEMENT, AS AMENDED
                                                                                                                                                                                                  #:2363




VIRGIN PRODUCED LLC                     BEVERLY HILLS CA 90210                  06/28/2010 DATED OR EFFECTIVE AS OF 6/28/2010
                                        C/O EISNER, FRANK & KAHAN
                                        9601 WILSHIRE BOULEVARD
                                        SUITE 700                               VIRGIN PRODUCED, LLC LIMITED LIABILITY COMPANY
VIRGIN PRODUCED LLC                     BEVERLY HILLS CA 90210                  AGREEMENT JOINDER
                                        C/O EISNER FRANK & KAHAN
                                        ATTN: DARIN FRANK, ESQ
                                        9601 WILSHIRE BLVD
                                        SUITE 700                               MEMORANDUM OF AGREEMENT, AMENDMENT
VIRGIN PRODUCED, LLC                    BEVERLY HILLS CA 90210                  DATED OR EFFECTIVE AS OF 4/26/2011
                                        C/O DMF LAW
                                        ATTN: DARIN FRANK, ESQ.
                                        9454 WILSHIRE BOULEVARD
                                        SUITE 300                               OVERALL AGREEMENT DATED OR EFFECTIVE AS OF
VIRGIN PRODUCED, LLC                    BEVERLY HILLS CA 90212                  6/28/2010                                        COLUMBUS
                                        ATTN: JASON FELTS
                                        23679 CALABASAS ROAD
                                        SUITE 980                               SETTLEMENT AND RELEASE AGREEMENT DATED OR
                                                                                                                                                               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 483 of 494 Page ID




VIRGIN PRODUCED, LLC                    CALABASAS CA 91302                      EFFECTIVE AS OF 6/28/2012


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                                                                          Pg 26 Rogue,
                                                                                   of 30 LLC
                                                                   Case No. 18-11328 (MEW)
                                                     Schedule G: Executory Contracts and Unexpired Leases

                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE
                                                                                   OF DEBTOR'S INTEREST; STATE THE REMAINING
                                                                                      TERM. LIST CONTRACT NUMBER OF ANY      FILM / TV SHOW CONTRACT RELATES
         CONTRACT COUNTERPARTY                        ADDRESS                               GOVERNMENT CONTRACT.                            TO
                                        ATTN: GENERAL COUNSEL
                                        333 S. GRAND AVENUE, 38TH FLOOR         LETTER RE: MARCH 19, 2018 ENGAGEMENT LETTER
WINSTON & STRAWN LLP                    LOS ANGELES CA 90071                    DATED OR EFFECTIVE AS OF 04/21/2017
                                                                                                                                                                                                  #:2364
                                                                                                                                                               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 484 of 494 Page ID




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 Fill in this information to identify the case:

 'HEWRUQDPH         Relativity Rogue, LLC

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                                                                                                                              &KHFNLIWKLVLVDQ
                                                                                                                               DPHQGHGILOLQJ


2IILFLDO)RUP+
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 1R&KHFNWKLVER[DQGVXEPLWWKLVIRUPWRWKHFRXUWZLWKWKHGHEWRU VRWKHUVFKHGXOHV1RWKLQJHOVHQHHGVWREHUHSRUWHGRQWKLVIRUP
 <HV
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. ,QFOXGHDOOJXDUDQWRUVDQGFRREOLJRUV,Q&ROXPQLGHQWLI\WKHFUHGLWRUWRZKRPWKHGHEWLVRZHGDQGHDFKVFKHGXOH
      RQZKLFKWKHFUHGLWRULVOLVWHG,IWKHFRGHEWRULVOLDEOHRQDGHEWWRPRUHWKDQRQHFUHGLWRUOLVWHDFKFUHGLWRUVHSDUDWHO\LQ&ROXPQ
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

          See Schedule H                                                                                                     '
             Attachment                                                                                                         ()
                                                                                                                                 *




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                                                                          18-11358-mew                 Doc 166            Filed 05/20/18 Entered 05/20/18 21:18:17                                Main Document
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                                                                                                                                    Case No. 18-11328 (MEW)
                                                                                                                                     Schedule H - Codebtors




                                                                                       UltraV Holdings                    Relativity Secured Lender
                                        RKA Film Financing, LLC                                                                                                      MidCap Financial                 Fireman's Fund Insurance   International Film    Aperture Media
                                                                              First Lien; 12% on the first $30 million;       (Joseph Nicholas)
                                      First Lien; Treasury Rate plus 1.5% per                                                                                   ABL; LIBOR plus 15%, per annum;
                 Debtor                                                          15.5% on remaining balance, per          Second Lien; 12% per annum; Date                                                   Company              Guarantors, LLC     Participations, LLC
                                       annum; Date entered April 12, 2016;                                                                                     Date entered April 12, 2016; Matures
                                                                               annum; Date entered April 12, 2016;        entered April 12, 2016; Matures on                                                   UCC Lien               UCC Lien              UCC Lien
                                           Matures on February 1, 2019                                                                                                   on July 12, 2018
                                                                                     Matures on April 12, 2018                      April 12, 2021

21 & Over Productions, LLC                                                                        X                                       X                                     X
3 Days To Kill Productions, LLC                                                                   X                                       X                                     X
Armored Car Productions, LLC                             X                                        X                                       X                                                                                                                    X
Best of Me Productions, LLC                                                                       X                                       X                                     X
Black or White Films, LLC                                                                         X                                       X                                     X
Blackbird Productions, LLC                                                                        X                                       X
Brick Mansions Acquisitions, LLC                                                                  X                                       X                                     X
Don Jon Acquisitions, LLC                                                                         X                                       X                                     X                                 X                      X
DR Productions, LLC                                      X                                        X                                       X
Furnace Films, LLC                                                                                X                                       X                                     X                                 X                      X
Malavita Productions, LLC                                                                         X                                       X                                     X                                 X                      X
Movie Productions, LLC                                                                            X                                       X                                     X
Paranoia Acquisitions, LLC                                                                        X                                       X                                     X
Phantom Acquisitions, LLC                                                                         X                                       X
Relative Motion Music, LLC                                                                        X                                       X
Relative Velocity Music, LLC                                                                      X                                       X
Relativity Development, LLC                                                                       X                                       X
Relativity Fashion, LLC                                                                           X                                       X
Relativity Films, LLC                                                                             X                                       X
Relativity Foreign, LLC                                                                           X                                       X
Relativity Holdings LLC                                                                           X                                       X
Relativity Jackson, LLC                                                                           X                                       X
Relativity Media Distribution, LLC                                                                X                                       X
                                                                                                                                                                                                                                                                                                               #:2366




Relativity Media Films, LLC                                                                       X                                       X
Relativity Media, LLC                                                                             X                                       X                                                                                                                    X
Relativity Music Group, LLC                                                                       X                                       X
Relativity Production LLC                                                                         X                                       X
Relativity Rogue, LLC                                                                             X                                       X
RML Acquisitions I, LLC                                                                           X                                       X                                     X
RML Acquisitions II, LLC                                                                          X                                       X                                     X
RML Acquisitions III, LLC                                                                         X                                       X                                     X
RML Acquisitions IV, LLC                                                                          X                                       X                                     X                                 X                      X
RML Acquisitions IX, LLC                                                                          X                                       X                                     X
RML Acquisitions V, LLC                                                                           X                                       X                                     X
RML Acquisitions VI, LLC                                                                          X                                       X                                     X
RML Acquisitions VIII, LLC                                                                        X                                       X                                     X
RML Acquisitions X, LLC                                                                           X                                       X                                     X
RML Acquisitions XI, LLC                                                                          X                                       X                                     X
RML Acquisitions XIII, LLC                                                                        X                                       X
RML Acquisitions VII, LLC                                                                         X                                       X
RML Desert Films, LLC                                                                             X                                       X                                     X
RML Distribution Domestic, LLC                                                                    X                                       X                                                                       X                      X                     X
RML Distribution International, LLC                                                               X                                       X
RML Echo Films, LLC                                                                               X                                       X                                     X
RML Film Development, LLC                                                                         X                                       X
RML Hector Films, LLC                                                                             X                                       X                                     X
RML International Assets, LLC                                                                     X                                       X
RML November Films, LLC                                                                           X                                       X                                     X
                                                                                                                                                                                                                                                                            Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 486 of 494 Page ID




RML Oculus Films, LLC                                                                             X                                       X                                     X




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                                                                                                                                       Case No. 18-11328 (MEW)
                                                                                                                                        Schedule H - Codebtors




                                                                                          UltraV Holdings                    Relativity Secured Lender
                                           RKA Film Financing, LLC                                                                                                      MidCap Financial                 Fireman's Fund Insurance   International Film    Aperture Media
                                                                                 First Lien; 12% on the first $30 million;       (Joseph Nicholas)
                                         First Lien; Treasury Rate plus 1.5% per                                                                                   ABL; LIBOR plus 15%, per annum;
                  Debtor                                                            15.5% on remaining balance, per          Second Lien; 12% per annum; Date                                                   Company              Guarantors, LLC     Participations, LLC
                                          annum; Date entered April 12, 2016;                                                                                     Date entered April 12, 2016; Matures
                                                                                  annum; Date entered April 12, 2016;        entered April 12, 2016; Matures on                                                   UCC Lien               UCC Lien              UCC Lien
                                              Matures on February 1, 2019                                                                                                   on July 12, 2018
                                                                                        Matures on April 12, 2018                      April 12, 2021

RML Romeo and Juliet Films, LLC                                                                      X                                       X
RML Turkeys Films, LLC                                                                               X                                       X                                     X
RML WIB Films, LLC                                                                                   X                                       X
RMLDD Financing, LLC                                                                                 X                                       X                                                                                                                    X
Rogue Digital, LLC                                                                                   X                                       X
Rogue Games, LLC                                                                                     X                                       X
Roguelife LLC (dba Relativity Digital)                                                               X                                       X
Safe Haven Productions, LLC                                                                          X                                       X                                     X                                 X                      X
Snow White Productions, LLC                                                                          X                                       X                                     X
                                                                                                                                                                                                                                                                                                                  #:2367
                                                                                                                                                                                                                                                                               Case 2:21-cv-04913-VAP-AS Document 40-5 Filed 09/30/21 Page 487 of 494 Page ID




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                                               #:2368
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 Fill in this information to identify the case:

 'HEWRUQDPH         Relativity Rogue, LLC

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 &DVHQXPEHU LINQRZQ          18-11328
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2IILFLDO)RUP
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRUDQRWKHU
       LQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW

                 Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%

                 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'

                 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()

                 Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*

                 Schedule H: Codebtors 2IILFLDO)RUP+

                 Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
                 $PHQGHGSchedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders 2IILFLDO)RUP
                 2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQ

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

        ([HFXWHGRQ          May 20, 2018                            ; /s/ Colin M. Adams
                                                                       6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU

                                                                       Colin M. Adams
                                                                       3ULQWHGQDPH

                                                                       Chief Restructuring Officer / Authorized Representative
                                                                       3RVLWLRQRUUHODWLRQVKLSWRGHEWRU




2IILFLDO)RUP                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                           %HVW&DVH%DQNUXSWF\
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                 EXHIBIT GG
Case 2:21-cv-04913-VAP-AS
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 -------------------------------------- X
                                        :
 In re:                                                           Chapter 11
                                        :
 RELATIVITY MEDIA, LLC, et al.,1                                  Case No. 18-11358 (MEW)
                                        :
                Debtors.                                          (Jointly Administered)
                                        :
 -------------------------------------- X

         ORDER GRANTING MOTION OF THE RELATIVITY LIQUIDATING TRUST
             FOR ENTRY OF FINAL DECREE CLOSING SUBSTANTIVELY
                      CONSOLIDATED CHAPTER 11 CASES

            Upon consideration of the Motion of the Relativity Liquidating Trust for Entry of Final

 Decree Closing Substantively Consolidated Chapter 11 Cases (the “Motion”)2 [Docket No. 857]

 filed by Drivetrain LLC, the duly appointed, qualified and acting trustee of the Relativity

 Liquidating Trust, pursuant to section 350 of the Bankruptcy Code, Rule 3022 of the Bankruptcy

 Rules, and Rule 3022-1 of the Local Bankruptcy Rules, seeking entry of a final decree and order

 closing the Consolidated Cases, which are identified on Appendix A hereto; and finding due and

 proper notice of the Motion having been provided, and it appearing that no further or additional

 notice need be provided; and there being no objection or opposition to the Motion or the relief

 therein requested; and finding that the Court has jurisdiction to consider and enter a final order

 with respect to the Motion and the relief therein requested in accordance with 28 U.S.C. §§ 157

 and 1334 and the Amended Standing Order of Reference M-431 dated January 31, 2012 (Preska,

 C.J.); and finding that the consideration of the Motion and the relief therein requested are core


 1
  The Relativity Liquidating Trust EIN is XX-XXXXXXX. Each of the debtors in the above-captioned chapter 11 cases
 and their respective tax identification numbers are set forth (a) in the Order (A) Authorizing the Joint Administration
 of their Chapter 11 Cases and (B) Waiving Requirements of Section 342(c)(1) of the Bankruptcy Code and Bankruptcy
 Rule 2002(n) [Docket No. 5] and (b) at https://cases.primeclerk.com/relativity.
 2
     Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in the Motion.

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 proceedings pursuant to 28 U.S.C. § 157(b); and finding that venue in this district and before this

 Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and upon consideration of the record of

 all the proceedings before the Court with respect to the Motion and these Chapter 11 Cases; and

 finding that the Consolidated Estates have been “fully administered” within the meaning of section

 350(a) of the Bankruptcy Code and Rule 3022 of the Bankruptcy Rules; and finding that the

 Consolidated Cases have been substantially consummated within the meaning of section 1101(2)

 of the Bankruptcy Code; and finding that the Consolidated Estates have been substantively

 consolidated with the bankruptcy estate of Relativity Media, LLC, and the assets of the foregoing

 have been vested in the Trust under the terms of the Plan and Confirmation Order; and, after due

 deliberation, finding good and sufficient cause therefor,

          IT IS HEREBY ORDERED that the Motion is GRANTED as provided herein;

          IT IS FURTHER ORDERED that, pursuant to section 350(a) of the Bankruptcy Code

 and Rule 3022 of the Bankruptcy Rules, the Court hereby enters this final decree and orders the

 Consolidated Cases identified on Appendix A, annexed hereto, closed effective January 31, 2019;

          IT IS FURTHER ORDERED that the closure of the Consolidated Cases or entry of this

 final decree shall not divest, limit or otherwise affect the rights or interests of the Trust to the assets

 of the Consolidated Estates, which were irrevocably transferred to and vested in the Trust pursuant

 to the Plan and Confirmation Order on the Effective Date, or alter or affect the substantive

 consolidation of the Consolidated Estates pursuant to the Plan and Confirmation Order;

          IT IS FURTHER ORDERED that the Court waives the requirement to file a final report

 pursuant to Rule 3022-1 of the Local Bankruptcy Rules with respect to the Consolidated Cases at

 this time; provided, however, the Trust shall file a final report in accordance with Rule 3022-1 of

 the Local Bankruptcy Rules as to all Chapter 11 Cases, including the Consolidated Cases, upon



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 the full and final administration of the Trust and closure of the final Chapter 11 Case;

          IT IS FURTHER ORDERED that the Court shall retain jurisdiction over any and all

 assets and liabilities of the Consolidated Estates vested in the Trust and any and all disputes

 pertaining to this Order, the entry of a final decree in the Consolidated Cases, and closure of the

 Consolidated Cases;

          IT IS FURTHER ORDERED that the Trustee is authorized to take any and all actions

 necessary to effectuate this Order; and

          IT IS FURTHER ORDERED that notwithstanding Rules 6004(g), 7062, or 9014 of the

 Bankruptcy Rules, or any other potentially applicable analogous rule or law, the terms and

 conditions of this Order shall be immediately effective and enforceable upon its entry.



 Dated: December 10, 2019
        New York, New York

                                                s/Michael E. Wiles
                                                HONORABLE MICHAEL E. WILES
                                                UNITED STATES BANKRUPTCY JUDGE




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                                          Appendix A

   1.    Relativity Fashion, LLC, case no. 18-11291-mew
   2.    Rogue Digital, LLC, case no. 18-11301-mew
   3.     3 Days to Kill Productions, LLC, case no. 18-11302-mew
   4.    21 & Over Productions, LLC, case no. 18-11304-mew
   5.    Best of Me Productions, LLC, case no. 18-11306-mew
   6.    Black or White Films, LLC, case no. 18-11307-mew
   7.    Blackbird Productions, LLC, case no. 18-11308-mew
   8.    Brick Mansions Acquisitions, LLC, case no. 18-11309-mew
   9.    Don Jon Acquisitions, LLC, case no. 18-11310-mew
   10.   Furnace Films, LLC, case no. 18-11312-mew
   11.   Malavita Productions, LLC, case no. 18-11313-mew
   12.   Movie Productions, LLC, case no. 18-11314-mew
   13.   Paranoia Acquisitions, LLC, case no. 18-11315-mew
   14.   Phantom Acquisitions, LLC, case no. 18-11316-mew
   15.   Relative Motion Music, LLC, case no. 18-11317-mew
   16.   Relative Velocity Music, LLC, case no. 18-11318-mew
   17.   Relativity Development, LLC, case no. 18-11319-mew
   18.   Relativity Films, LLC, case no. 18-11320-mew
   19.   Relativity Foreign, LLC, case no. 18-11321-mew
   20.   Relativity Holdings LLC, case no. 18-11322-mew
   21.   Relativity Jackson, LLC, case no. 18-11323-mew
   22.   Relativity Media Distribution, LLC, case no. 18-11324-mew
   23.   Relativity Media Films, LLC, case no. 18-11325-mew
   24.   Relativity Music Group, LLC, case no. 18-11326-mew
   25.   Relativity Production LLC, case no. 18-11327-mew
   26.   Relativity Rogue, LLC, case no. 18-11328-mew
   27.   RML Acquisitions I, LLC, case no. 18-11329-mew
   28.   RML Acquisitions II, LLC, case no. 18-11330-mew
   29.   RML Acquisitions III, LLC, case no. 18-11331-mew
   30.   RML Acquisitions IV, LLC, case no. 18-11332-mew
   31.   RML Acquisitions IX, LLC, case no. 18-11333-mew
   32.   RML Acquisitions V, LLC, case no. 18-11334-mew
   33.   RML Acquisitions VI, LLC, case no. 18-11335-mew
   34.   RML Acquisitions VII, LLC, case no. 18-11336-mew
   35.   RML Acquisitions VIII, LLC, case no. 18-11337-mew
   36.   RML Acquisitions X, LLC, case no. 18-11338-mew
   37.   RML Acquisitions XI, LLC, case no. 18-11339-mew
   38.   RML Acquisitions XIII, LLC, case no. 18-11340-mew
   39.   RML Desert Films, LLC, case no. 18-11341-mew
   40.   RML Distribution International, LLC, case no. 18-11342-mew
   41.   RML Echo Films, LLC, case no. 18-11343-mew
   42.   RML Film Development, LLC, case no. 18-11344-mew
   43.   RML Hector Films, LLC, case no. 18-11345-mew
   44.   RML International Assets, LLC, case no. 18-11346-mew
   45.   RML November Films, LLC, case no. 18-11347-mew

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   46.   RML Oculus Films, LLC, case no. 18-11348-mew
   47.   RML Romeo and Juliet Films, LLC, case no. 18-11350-mew
   48.   RML Turkeys Films, LLC, case no. 18-11351-mew
   49.   RML WIB Films, LLC, case no. 18-11352-mew
   50.   Rogue Games, LLC, case no. 18-11354-mew
   51.   Roguelife LLC, case no. 18-11355-mew
   52.   Safe Haven Productions, LLC, case no. 18-11356-mew
   53.   Snow White Productions, LLC, case no. 18-11357-mew




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